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                       EXHIBIT B
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business. Based on the aforementioned, I have personal knowledge of the facts and matters hereinafter
deposed to except where stated to be based on information and belief and where so stated, I verily believe
the same to be true.

2.        HSBC acts in its capacity as administrative agent (Agent) for and on behalf of a syndicate of
predominantly Canadian based lenders, currently comprised of HSBC, Bank of Montreal, Business
Development Bank of Canada, Export Development Canada and HSBC Bank USA (Lenders).


3.        I am authorized to make this affidavit on behalf of the Agent (on behalf of the Lenders) in support
of an application to appoint a receiver and manager over the assets, undertakings and properties of Q’Max
Solutions Inc. (QSI), Fluid Holding Corp. (Fluid Holding), Q’Max Solutions Holdings Inc. (QSH), 1356760
Alberta Ltd. (135 Alberta) and QMax Canada Operations Inc. (QCO) (collectively, the Respondents),
being the Canadian corporations within the Q’Max group (Q’Max Group) who are Loan Parties (as defined
below).


4.        Capitalized terms used herein but not otherwise defined shall have the meaning ascribed to them
in the Credit Agreement (as defined below).

THE BUSINESS AND BUSINESS STRUCTURE OF THE Q’MAX GROUP


5.        The Q’Max Group carries on business as an oilfield services provider, focused on onshore and
offshore drilling fluids, solids control, and waste management solutions in the upstream oil and gas drilling
and producing industry. The clients of the Q’Max Group include national oil companies, major international
energy companies and independent exploration and production companies in Canada, the United States,
Mexico, Colombia, the Middle East and Africa.


6.        The financial affairs of the Q’Max Group are managed on an integrated basis.

7.         Fluid Holding is the direct 100% owner of QSI. QSI, which is extra-provincially registered in Alberta,
is the direct or indirect owner of all or substantially all of the other Loan Parties, including all of the
Respondents. Among the Respondents are 135 Alberta and QSH (both Alberta corporations with their
registered offices in Calgary) and QCO (a British Columbia corporation with its head office in Vancouver).
The Q’Max Group has previously advised that QCO employs approximately 30 persons in Canada,
predominantly in Calgary but also elsewhere.


8.        All of the Respondents are Loan Parties (as defined below); however, there are additional, non
Respondent Loan Parties who are Q’Max corporations in countries other than Canada.


9.         A chart depicting the organizational structure of the Q’Max Group is attached as Exhibit 1.
Corporate search results for Fluid Holding, QSI, 135 Alberta, QSH and QCO are attached as Exhibit 2.




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10.      In recent months, the business of the Q’Max Group were negatively impacted by depressed oil and
natural gas pricing and a corresponding reduction in rig and drilling activity. Such negative impacts were
exacerbated by public health restrictions in response to the COVID-1 9 pandemic. Demand for the Q’Max
Group’s products and services thus declined to the detriment of the Q’Max Group’s earnings.

CREDIT AGREEMENT

11.      Fluid Acquisition Corp. (now QSI) and Q’Max America Inc. (QAI), as borrowers, HSBC Bank
Canada, as Agent, and certain lenders (including HSBC Bank Canada) entered into a credit agreement
dated May 23, 2014, which was thereafter amended and restated from time to time, as discussed below
(as so amended and restated, the Credit Agreement).

12.      The Credit Agreement was amended and restated under an amended and restated credit
agreement dated January 30, 2015.       It was then amended by a series of amending agreements made
effective as at September 3,2015, March 30, 2016, November 2,2016, April 21, 2017, and November 21,
2017.


13.      The Borrowers (QSI, QAI and QCO, as defined above), HSBC Bank Canada, as Agent, and certain
lenders (including HSBC Bank Canada) amended and restated the Credit Agreement under a second
amended and restated credit agreement dated July 31, 2018 (Second ARCA), which was further amended
by a series of four amending agreements made effective as at May 13, 2019, July 22, 2019, September 6,
2019 and March 31, 2020. The Credit Agreement is thus now comprised of the Second ARCA and the four
subsequent amending agreements.         Copies of the Second ARCA and the subsequent four amending
agreements are attached hereto as Exhibits 3 to 7.


14.      Under the Credit Agreement, the Lenders agreed to provide the Borrower with the following credit
facilities (Credit Facilities):


         (a)      Canadian operating facility in the maximum amount of the lesser of (i) the Canadian
                  Operating Facility Commitment (U.S. $109,681,471), and (ii) the sum of the Borrowing
                  Base less the then outstanding Advances under the Term Facility and the U.S. Operating
                  Facility;

         (b)      Term facility in the maximum amount of $13,656,250; and

         (c)      U.S. operating facility in the maximum amount of the lesser of(i) the U.S. Operating Facility
                  Commitment (U.S. $15,000,000), and (ii) the sum of the Borrowing Base less the then
                  outstanding Advances under the Term Facility and the Canadian Operating Facility,


15.      The terms of the Second ARCA, as amended, include:




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       (a)      interest on the Credit Facilities (i) in respect of Canadian Dollar Prime Rate Loans, U.S.
                Dollar Base Rate Loans and LIBOR Loans is payable monthly at the Canadian Prime Rate,
                the U.S. Base Rate, or the U.S. Dollar LIBOR Rate, respectively, plus the Applicable
                Margin; (ii) in respect of Bankers’ Acceptances and BA Equivalent Loans is payable at a
                stamping fee (calculated by referenced to the Applicable Margin); and (iii) upon certain
                other terms more fully described in the Second ARCA, including at Sections 2.6, 3.6 and
                4.6;

       (b)      a Default Rate of interest applies when an Event of Default exists, whereby the interest
                rate and fees comprising the Applicable Margin each increase by 2.0% per annum;


       (c)      financial covenants, including requiring the Borrowers to maintain a prescribed Net
                Leverage Ratio and Fixed Charge Coverage Ratio;

       (d)      reporting obligations pursuant to which the Borrowers must provide regular reporting to the
                Agent, including annual, quarterly and monthly financial statements;

       (e)      that, upon the occurrence of an Event of Default and expiration of any applicable cure
                period, the Agent may declare all amounts advanced under the Credit Agreement
                immediately due and payable;

        (f)     Events of Default that include, inter a/ia, an Insolvency Event, non-performance of
                obligations in relation to Funded Debt, ceasing to continue a material portion of the
                business, and any Material Adverse Change; and


        (g)     a Maturity Date of May 22, 2021.

GUARANTEES


16.     Unlimited guarantees of all indebtedness, liabilities and obligations under the Credit Agreement
and related loan documents were granted in favour of the Agent, as follows:


        (a)       on May 23, 2014, by QSI, QSH and 135 Alberta; and

        (b)       on September 1, 2016, by QCO.

Attached hereto and marked as Exhibit 8 to 11 are copies of the unlimited guarantees from QSI, QSH,
135 Alberta, and QCO.

17.     On May 23, 2014, Fluid Holding granted a limited recourse guarantee (Limited Recourse
Guarantee) in favour of the Agent whereby the Agent’s recourse was limited to the collateral granted by




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Fluid Holding under a Securities Pledge Agreement dated May 23, 2014 (as described below). Attached
as Exhibit 12 is a copy of the Limited Recourse Guarantee from Fluid Holding.

18.     Other guarantees of the Borrowers’ indebtedness, liabilities and obligations to the Lenders were
granted by other Q’Max Group corporations from outside of Canada and the United States (the Borrowers
and all guarantors, wherever located, are the Loan Parties).

LENDERS’ SECURITY

19.     General security agreements (GSAs) were granted to secure the amounts advanced by the
Lenders under the Credit Agreement, as follows:

        (a)       on or about May 23, 2014, by QSI, QSH and 135 Alberta; and

        (b)       on or about September 1, 2016, by QCO.

20.     Subject to prescribed exceptions, each GSA grants, inter alia, a first priority security interest over
all present and after-acquired personal property of each grantor to the Agent. Attached as Exhibits 13 to
16 are copies of the GSAs.


21.     Each GSA provides that the Agent may seek the appointment of a receiver or receiver and manager
in the event of a default under the Credit Agreement or related loan documents.

22.     Additionally, on May 23, 2014:


        (a)     Fluid Holding granted a Securities Pledge Agreement in favour of the Agent pursuant to
                which it pledged its shares in Fluid Acquisition Corp. (which amalgamated to become QSI);
                and


        (b)     QSI granted two Securities Pledge Agreements in favour of the Agent pursuant to which it
                pledged its shares in QAI, QSH, 135 Alberta and QCO.

All such shares were pledged as collateral security for the repayment and performance of the obligations
of the Borrowers to the Lenders. Attached hereto as Exhibits 17 to 20 are copies of these Securities
Pledge Agreements and an amendment to one of QSl’s Securities Pledge Agreements.


23.     Security in respect of the Borrowers’ indebtedness to the Lenders was also granted by other Loan
Parties (Q’Max Group corporations) from outside of Canada and the United States.




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INTERCREDITOR AGREEMENT


24.     An lntercreditor Agreement dated September 6, 2019 was entered into between Encina Business
Credit, LLC (Encina), as ABL agent, and HSBC, as parent facility agent. The purpose and effect of the
Intercreditor Agreement was to subordinate a portion of the Agent’s security to security held by Encina in
respect of funds, in excess of U.S. $23,884,000 as at January 31, 2020, owing under a credit agreement
between QAI, as holdco, Anchor Drilling Fluids USA, LLC (Anchor), as borrower, Encina, as administrative
agent, and certain lenders (not being the Lenders under the HSBC-administered Credit Agreement). QAI
and Anchor are United States-based Loan Parties under the Credit Agreement, but they are not
Respondents. A copy of the Intercreditor Agreement is attached as Exhibit 21.


25.     Under the Intercreditor Agreement, I verily believe that Encina has priority over the ABL Priority
Collateral (as defined in the lntercreditor Agreement), consisting of Anchor’s receivables (including any
insurance payments in respect of same), Anchor’s shares (which are 100% owned by QAI) and certain
other intangible assets of Anchor. The Agent has priority in respect of all of its other security, including,
without limitation, all property of Anchor that is not ABL Priority Collateral such as Anchor’s real property,
equipment, and inventory.

FOURTH AMENDMENT TO THE CREDIT FACILITY


26.     In order to provide the Borrowers with financial relief in the face of known and ongoing liquidity
issues, the Agent and the Lenders most recently entered into the Waiver and Fourth Amending Agreement
with the Borrowers dated March 31, 2020 (Fourth Amendment). The Fourth Amendment included waivers
of specified terms of the Credit Agreement in order to defer certain payment obligations, and waive the
Borrowers’ compliance with certain financial covenants and liquidity thresholds. The Fourth Amendment
also suspended certain borrowing options under the Credit Agreement, lowered cash hoarding limits,
imposed certain additional financial and business reporting covenants. The Fourth Amendment did not
waive, inter alia, the Agent’s authority to rely on Events of Defaults arising from non-performance of
obligations relating to Funded Debt, any Insolvency Event, any failure by the Loan Parties to continue a
material portion of the business, or any Material Adverse Change (all as defined in the Second ARCA).

DEFAULTS OF LOAN PARTIES


27.     I verily believe that beginning by not later than June 2018, the Borrowers and other Loan Parties
began to encounter financial difficulties and, from then onward, started defaulting under the Credit
Agreement. Such defaults included failing to (a) maintain financial covenant ratios for the fiscal quarters
ending December 31, 2019 and March 31, 2020, (b) meet interest, fee and principal payment obligations
due on, at the very least, March 31 and April 30, 2020, and (c) maintain minimum liquidity requirements for,
at the very least, March 31 and April 30, 2020.




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28.     While certain defaults were waived by the Agent pursuant to amendments to the Credit Agreement,
others were not. In particular, but without limitation, I verily believe there is a current and persisting Event
of Default under the Credit Agreement because of an Insolvency Event. Such Insolvency Event arose from
the insolvency of the Borrowers and other Loan Parties within the meaning of the Credit Agreement and
BIA, at least on a cash flow basis, and perhaps also on a balance sheet basis.


29.     With respect to such insolvency, I note that, on or about February 12, 2020, the Q’Max Group made
a presentation to the Agent about its illiquidity and its failed efforts to raise capital over the past twelve
months. The Q’Max Group reported about the following:


        (a)      difficulties the Q’Max Group was having with the collection of receivables in Mexico and
                 the contemplated wind-down of the Q’Max Group’s operations there:

        (b)      a failed bond offering in spring 2019:

        (c)      the hiring of various accounting firms and sales agents, inter alia, to implement a vendor
                 management program, cost savings program, and to market certain assets and operations
                 for sale:

        (d)      a failed preferred equity offering in September 2019;

        (e)      failed efforts to sell the Q’Max Group’s operations in Colombia and the Middle East: and

        (f)      the “very limited” opportunity to pursue “capital raises, refinancings and M&A”.


30.     In light of the challenging financial circumstances, the Q’Max Group approached the Agent and the
Q’Max Group’s primary equity holder, Palladium Equity Partners, LLC (Palladium), about advancing the
additional sum of U.S. $70,000,000 in aggregate. The Q’Max Group proposed a split of such additional
sum between the Lenders (increasing the limit under the Credit Facility by U.S. $63,000,000) and Palladium
($7,000,000 in new equity). The Q’Max Group also asked the lenders to eliminate all repayments under
the Credit Facility through to the Maturity Date. A copy of a presentation from the Q’Max Group dated
February 2020 is attached as Exhibit 22.


31.     The Lenders and Palladium both declined to advance any additional sums.

32.     To assist the Q’Max Group with navigating its illiquidity and financial challenges, the Fourth
Amendment was entered on March 31, 2020. However, the Q’Max Group’s financial reporting to the Agent
immediately thereafter, throughout April 2020, revealed ongoing negative cash flows and included “asks”
for further credit from the Agent and Lenders to maintain cash flow neutrality. Such reporting included
Global Liquidity Summaries, which were provided by the Q’Max Group weekly.                The Global Liquidity




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Summaries received by the Agent on April 15, April 22 and April 29, 2020 are attached as Exhibits 23 to
25, respectively.


33.        The Q’Max Group contemplated filing an application under the Companies’ Creditors Arrangement
Act (CCAA) for creditor protection to address illiquidity and related financial challenges. Hearing dates
were tentatively booked with the Court, and a draft (unsworn) affidavit and an unfiled originating application
were delivered to the Court by counsel for Q’Max Group, which admitted the Q’Max Group’s insolvency.

34.        Ultimately, an initial application under the CCAA was not made because the Q’Max Group, Encina
and the Agent were unable to negotiate interim financing on mutually agreeable terms.


35.        Further, Anchor failed to perform obligations to Encina that prompted Encina to deliver the Encina
Notice (as defined below) on May 22, 2020. The Encina Notice was delivered by Encina to enforce against
certain security (all as described below). I verily believe that such non-performance by Anchor constitutes
an Event of Default under the Credit Agreement.


36.        Further, I verily believe that the occurrence of Events of Default under the Credit Agreement (as
described above) caused the immediate termination of the waivers of payment obligations, financial
covenants and liquidity thresholders under the Fourth Amendment, thus resulting in additional Events of
Default.

ENCINA


37.        On May 22, 2020, the Agent received a letter in which Encina’s general counsel asserted the
Demand and Notices (as defined below) were delivered by the Agent in contravention of the lntercreditor
Agreement. A copy of this letter from Encina is attached as Exhibit 26.


38.        Also on May 22, 2020, the Agent’s counsel was copied with a letter from Encina’s general counsel
pursuant to which Encina purported to give notice to QAI of Encina’s enforcement under a Pledge
Agreement (Encina Notice). Encina further purported to, inter alia, appoint CR3 Partners, LLC (CR3) as
the interim manager of Anchor, terminate various senior officers of Anchor, and ratify an Engagement
Agreement between Encinca, QAI and CR3 from the previous day (May 21, 2020) appointing a
representative of CR3 as the Chief Restructuring Officer (CR0) of Anchor. The Encina Notice states: “CR3
has and shall have sole and exclusive authority over the management of the business and assets of the
Borrower.” A copy of this letter from Encina is attached as Exhibit 27.


39.        Counsel for the Agent sent a responding letter to Encina’s general counsel and others, also on May
22, 2020, explaining why HSBC had not contravened the lntercreditor Agreement by delivering the Demand
and Notices. It was instead Encina who had contravened the Intercreditor Agreement through the Encina
Notice by purporting to, inter alia, appoint a CR0 for Anchor unilaterally and granting such CR0 sole and




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exclusive authority over assets that included the Agent’s priority collateral.   The Agent’s counsel also
requested a copy of the Engagement Agreement for the CR0. A copy of this letter from the Agent’s counsel
is attached as Exhibit 28.


40.      I am advised by the Agent’s counsel and verily believe that, to date, he has not received a copy of
the Engagement Agreement for the CR0 in response to his request, or otherwise.


41.      Subsequent to the delivery of the letter from the Agent’s counsel, described in paragraph 39 above,
but also on May 22, 2020, the Agent’s counsel was copied with a further letter from Encina’s general counsel
to QAI. Therein, Encina’s general counsel purported to suspend the Encina Notice through Sunday, May
24, 2020 at 11:59 p.m. (prevailing eastern time), at which time the Encina Notice would again become
effective if Anchor had not made a voluntary Chapter 7 bankruptcy filing in the United States Bankruptcy
Court. A copy of this letter from Encina’s general counsel is attached as Exhibit 29.

CHAPTER 7 FILING BY QAI AND ANCHOR


42.      In the early evening on May 24, 2020, counsel for the Agent was advised by the Q’Max Group that
the directors of QAI and Anchor had voted to file Chapter 7 bankruptcy under the United States Bankruptcy
Code.    Such filings were made immediately afterwards, on the same day.         Copies of the Bankruptcy
Petitions and Corporate Ownership Statements for QAI and Anchor are attached as Exhibits 30 to 33.


43.      The Bankruptcy Petitions for QAI and Anchor disclose that QAI and Anchor had resolved to enter
into an Asset Purchase Agreement to sell the assets for the Q’Max Group’s operations in the northeastern
United States and Permian basin, including assets which I verily believe constitute the Agent’s priority
collateral. A form of Asset Purchase Agreement is attached to both Bankruptcy Petitions.


44.      I verily believe such Chapter 7 filings by QAI and Anchor constitute new and additional Events of
Default under the Credit Agreement because they are Insolvency Events and constitute the non-
performance of obligations relating to Funded Debt, and perhaps also because they represent a Material
Adverse Change and an intention by the Loan Parties to discontinue a material portion of the business.

DEMAND


45.      On May 12, 2020, counsel to the Agent (on behalf of the Lenders) issued to the Loan Parties, by
email to counsel, a demand letter that included notices of intention to enforce security under section 244(1)
of the BIA (Demand and Notices).        The Demand constitutes an acceleration notice under the Credit
Agreement. Receipt and acceptance of the Demand and Notices was acknowledged by reply email from
counsel for the Q’Max Group. Copies of the Demand and Notices and the related email exchange among
counsel are attached as Exhibit 34.




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46.     The Demand and Notices were also sent in respect of Loan Parties who are not Respondents,
being Q’Max Group corporations from outside of Canada and the United States.

47.     Despite extensive negotiations over a considerable period of time, since not later than June 2018,
the Loan Parties have not put forward a restructuring proposal acceptable to the Agent, while their
indebtedness to the Lenders continues to grow.

INDEBTEDNESS


48.     As at May 5, 2020, the amounts outstanding and owing to the Agent (on behalf of the Lenders)
under and in connection with the Credit Agreement, inclusive of interest, was approximately USD
$145,381,623.21 plus CDN $1,228,668.47 as well as outstanding letters of credit in the amounts of USD
$3,916,296.42 and CDN $1,161,408.79 and outstanding credit card balances, plus accrued and accruing
costs and disbursements, and interest continuing to accrue per diem.

RECEIVER AND MANAGER

49.     By the terms of the Credit Agreement and GSAs, in the event of a default by the Loan Parties, or
any of them, the Agent may seek the appointment of a receiver and manager over the assets, undertakings
and properties of the Loan Parties.


50.     In all of the circumstances, I verily believe that the appointment of a receiver and manager over the
assets, undertakings and properties of the Respondents is necessary and appropriate to protect the
interests of the Lenders, and to preserve and realize upon the Lenders’ security.

51.     I verily believe that KPMG Inc. (KPMG) is a Licensed Insolvency Trustee and is competent and
prepared to act as receiver and manager over the assets, undertakings and properties of the Respondents.
KPMG has advised me that it will provide an executed consent to act prior to the hearing of the Agent’s
receivership application.

CONCLUSION

52.     I am authorized to swear this Affidavit on behalf of HSBC, as Agent.


53.     I make this Affidavit for no improper purpose.


54.     I make this Affidavit in support of an application to appoint KPMG as receiver and manager over
the assets, undertakings and property of the Respondents.




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 SWORN BEFORE ME at the City of Calgary,
 Alberta, this 26th day of May 2020.




 (Cofmissioner for Oaths in and for the Province          (Signature)
 of Alberta)
                    Jonathan Tomm
                  Barrister and Solicitor
 N3 rn e:
 Expiry:
                                                        Cameron Bailey




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                  THIS IS EXHmIT”__
                     referred to in the Affidavit of
                      (/‘                 cI
                  Sworn before me this__________
                  dayof                  A.D.2O




                             Jonathan Yomm
                           Bamster and Soljcftor
                                                                                                                                                                                                    Case 20-34791 Document 7-2 Filed in TXSB on 09/30/20 Page 14 of 1445
                                                                                                                                                                                                                                                                              Owners & Officers
                                                                                                                                                        Palladium Equity Partners IV LLC                                                                                      Marcus A. Rodriguez
                                                                                                                                      Registered as Relying Advisor via affili ate Palladium Equity Partners
                                                                                                                                                                                                                                                                              David Perez




                                                                                                       Manages and
                                                                                                                                                        Adv isor, LLC (SEC CRD #15906)




                                                                                                                                                                                                                                  Manages and
                                                                                                                                                                                                                                                                              Kevin L. Reymond




                                                                                                        Controls




                                                                                                                                                                                                                                   Controls
                                                                                                                                                                                                                                                                              Erik A. Scott                                                                                                                                                                         Joint Venture
                                                                                                                                                                                       General Partner                                                                        Luis Zaldivar
                                                                                                                                                                                                                                                                              Eugenie M. Cesar-Fabian
                                                                                                                                                       Palladium Equity Partners IV, L.P.                                                                                                                                                                                                                                                                             Dissolving
                                                                                                                                                                                                                                                                                                                                                                 QMAX




                                                                                                                                                                                                                                    Affiliated
                                                                                                        Affiliated
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Ultimate

                                                                                                                                                                                                                                                             Directors
                                                                                                                                                                                                                                                                                                                                                          CORPORATE OWNERSHIP                                                                                       Shareholders

                                                                                                                                                               Fluid Global G.P. Corp
                                                                                                                                                                 BC Corp No. BC0999308
                                                                                                                                                                                                                                                             Adam Shebitz
                                                                                                                                                                                                                                                             David Perez
                                                                                                                                                                                                                                                                                                                                                         STRUCTURE AND CONTROL                                                                                          Branch
                                                                                                                                                                    Inc. April 10, 2014
                                                                                                                                                                                                                                                             Daniel Ilundain

                                                                                                                                                                                General Partner
                                                                                                                                                                                                                                                                                                                                                                 CHART                                                                                         (1) Wael Elessawy: 10%
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Seedat Ahmed: 5%
                                                                                                                                                                                                                                                                                                                                                                                   as of 10.2.19
                                                                                                                                                                 PEP Fluid G.P. L.P.
                                                                                                                                                                            Cayman
                                                                                                                                                                                                                                                                                                                                                                           PRIVILEGED AND CONFIDENTIAL                                                          (2) Adb Touabi: 7%
                                                                                                                                                                                                                                                                                                                                                                           FOR INTERNAL PURPOSES ONLY                                                           Adlane Daoudi: 14%
                                                                                                                                                                                                                                                                                                                                                                                                                                                                Naella Madani: 30%
                                                                                                                                      General                                                                General
                                                                                                                                                                                                                                                                                                                                                                                                                                                               (3) United Oil Projects
                                                                                                                                      Partner                                                                Partner
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Company (K.S.C.C.)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        51%
                                                                            Calumet Specialty                                       PEP Fluid Co-Invest L.P.                                PEP Fluid L.P.
                                                                          Products Partners, L.P.                                                Cayman                                        Cayman                                                                                                                                                                                                                                                                (4) Cimbar
                                                                                                                                                                                                                                                                                                                                                                                                                                                               Performance Minerals
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   WV, LLC: 50%

                                                                                                                                                                                                                                                                                                                                                                                                                                                                  (5) Ahmad Samir
                                                                                                                                                                                                                                                                                                                                                                                                                                                               Albinali Company: 49%

                                                                                                                                                                 Fluid Holding Corp
                                                                                                                                                                 BC Corp. No.BC0999796
                                                                                                                                                                    Inc. April 16, 2014




                                                                                                                          QM Holding Corp                      100%
                                                                                                                          BC Corp. No.BC1206277
                                                                                                                             Inc. April 25, 2019

                                                                                                                                                                                                         100%          1356760 Alberta Ltd.
                                                                                                                                                                                                                        AB Corp. No. 2013567603
                                                                                                                                                                                       100%                                 Inc. Oct 17 2007
                                                                           International Drilling Fluids
                                                                           & Engineering Services Co. 85%(1)                                                Q Max Solutions Inc.
                                                                                   (IDEC) LTD.                                                             BC Corp. No. BC1003177
                                                                                   BVI BC NO 1696871                                                          Inc. Sept 16 1993                                                                     .07%
                                                                                    Inc. Feb 20 2012
                                                                                                                                                                                                                    QMax do Brasil Solucoes
                                                                                                                                                                                                                      do Petroleo Ltda
                                          100%                      100%                            100%                          100%                          100%                                     99.9%          Brazil NIRE 3220140048 7
                                                                                                                                                                                                                             Inc. Feb 9 2009
                              South Sudan                                           Dubai Branch                                                                                                                                                                                                                        Uganda Branch                      Chad Branch
                                                          Iraq Branch                                                   Kenya Branch               Tanzania Branch
                                Branch               Kurdistan Reg. No. 20635
                                                                                DMCC License No. DMCC-
                                                                                                                       Permit No. 1419355        Registration. No. 121868
                                                                                                                                                                                                                                                                                                                       Co. No.8002000014 1707         Reg. No RCCMTC/NDJ/17B584
                               Reg. No. 195                                             32478                                                                                                                                                                                                                            Reg. March 15, 2017                Reg. Nov 21, 2017
                                                        Reg. July 21 2014                                               Reg. Dec 17 2014            Reg. Nov 24 2015
                             Reg. Sept 14 2012                                     Reg. Sept 6 2012

                                                                                                                                                                                                                                                                                                                                        100%                              100%
                100%                             100%                                  100%                                          100%                                            100%                                                                                    100%                               100%
                                                                                                                                                                                                                       99.9%                                                                                                                 49%(3)                                51%(5)                       100%                          99.9%                             99.98%
                                                                                                                                                                                                                                                           Q Max Solutions Singapore                                                                                                                                                                           Environmental Solutions for
QMax Financial Holdings     QMax Canada Operations                                                                                                                                                                                               .01%                                                                   United QMax Drilling Fluids    QMax Arabia for Oil & Gas            Tri-Max Solutions Limited      Q Max Solutions Holdings                                                 .01%
                                                                   Central Procurement Inc.                          Central Procurement Inc.                  QMax Middle East FZE                     QMax Ecuador S.A.                                          Pte. Ltd.                    India Project Office                                                                                                                                    .01%    Petroleum Services – Free
         Inc.                        Inc.                             Delaware File No. 5992714                        Barbados Corp. No.15133                    JAFZA Reg. No. 180435            Ecuador RUC No. 1791399757 001                                                                 Reg. No. 205800469          Company Co.              Services Limited Company                    Trinidad & Tobago                 Inc.
   BC Corp. No. BC1206278       BC Corp. No. BC1060333                                                                                                                                                                                                      Singapore Corp. No. 201506359E                                                                                                      Co. No. C2017042103 834       AB Corp. No. 2012853491                 Zone – S.A.E.
                                                                         Inc. March 18 2016                               Inc. March 16 1998                         Inc. May 17 2016                     Inc. April 15 1998                                                                       Reg. June 19 2008             Inc. July 9, 2017            Inc. Sept 18, 2018                                                                                      Egypt Reg. No. 1533
      Inc. April 25, 2019      Inc. in AB on May 9 2012                                                                                                                                                                                                           Inc. March 10 2015                                                                                                                Inc. April 13, 2017            Inc. Dec 4 2006
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Inc. April 26 2007




                                                                                                                                                                                                                    99.9%                                                                                                                                                                                                                       100%
                                                                                          100%                                        100%                                                                                                                                                                                                                                                                                                                                           49%*(2)

                                                                                                                        Colombia Branch                                                                                                          .06%                                                                                                                                                                                                   .1%         SARL Environmental
                                                                       Q Max America Inc.                                                                                                               QMax Peru S.A.C.                                                                                                                                                                                                   QMax Mexico, S.A. de C.V.
                                                                      Delaware File No. 3393010                          Reg. No. 830095262                                                          Peru RUC N o. 2050333205 2                                                                                                                                                                                              Mexico RFC QME000424KB1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Solutions Algeria
                                                                          Inc. May 16 2001                                                                                                                Inc. Nov 23 2001                                                                                                                                                                                                        Inc. April 7 2000             Algeria Reg. No. 16/00-0988267B13
                                                                                                                          Reg. Oct 12 2001
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Inc. Dec 10 2015




                                                                                            100%                                                                                                                                                                                                                                                                                                                99.9%                         99.9%                                  99.9%
                                                                  Anchor Drillings Fluids USA,                                                                                                                                                                                                                                                                                                   QMax Servicios             QMax Servicios Tecnicos
                                                                                                                                                                                                                                                                                                                                                                                                                           .1%                          .1%    QMax Servicios de Ingenieria         .1%
                                                                              LLC                                                                                                                                                                                                                                                                                                           Administrativos S.A. de C.V.         S.A. de C.V.                         S.A. de C.V.
                                                                      Delaware File No. 5923464                                                                                                                                                                                                                                                                                               Mexico RFC QSA1201207U03       Mexico RFC QST1201209X8               Mexico RFC QSI1201209V0
                                                                        Formed Dec 31, 2015                                                                                                                                                                                                                                                                                                        Inc. Jan 19 2012               Inc. Jan 19 2012                     Inc. Jan 19 2012


                                                                                            50%(4)

                                                                      C&A Grinding, L.L.C.
                                                                       Georgia File N o. 11082749
                                                                         Formed Nov 3, 2011
Case 20-34791 Document 7-2 Filed in TXSB on 09/30/20 Page 15 of 1445




                  THIS IS EXHIBIT”_________
                     referred to in the A1davit of


                  Sworn before me this___________
                  dayof                A.D.2O



                            Jonathan Tomm
                          Bamster and Solicitor
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                              Corporation/Non-Profit Search
                              Corporate Registration System
Date of Search:                 2020/05/25
Time of Search:                 07:07 AM
Search provided by:             NORTON ROSE FULBRIGHT CANADA LLP
Service Request Number:    33483623
Customer Reference Number: C.Hickey/104190



Corporate Access Number: 2119805816
Business Number:
Legal Entity Name:       QMAX CANADA OPERATIONS INC.

Legal Entity Status:                         Active
Extra-Provincial Type:                       Other Prov/Territory Corps
Registration Date:                           2016/07/08 YYYY/MM/DD
Date Of Formation in Home Jurisdiction:      2016/01/01 YYYY/MM/DD
Home Jurisdiction:                           BRITISH COLUMBIA
Home Jurisdiction CAN:                       C1060333



Primary Attorney:

Last     First        Middle                                                                            Postal
                                 Firm Name         Street                             City   Province
Name     Name         Name                                                                              Code
FORD     KELLY        R.         BENNETT           4500 BANKERS HALL EAST, CALGARY ALBERTA T2P4K7
                                 JONES LLP         855 - 2ND STREET S.W.

Head Office Address:
Street:                    SUITE 2500 - 666 BURRARD STREET
City:                      VANCOUVER
Province:                  BRITISH COLUMBIA
Postal Code:               V6C2X8
Country:                   CANADA
Email Address:             SIDDIQUII@BENNETTJONES.COM




Other Information:


Filing History:

List Date (YYYY/MM/DD) Type of Filing
2016/07/08                     Register Extra-Provincial Profit / Non-Profit Corporation
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2019/03/11                     Change Address



The Registrar of Corporations certifies that, as of the date of this search, the above information is an accurate
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                           Corporation/Non-Profit Search
                           Corporate Registration System
Date of Search:               2020/05/25
Time of Search:               07:11 AM
Search provided by:           NORTON ROSE FULBRIGHT CANADA LLP
Service Request Number:    33483631
Customer Reference Number: C.Hickey/104190



Corporate Access Number: 2013567603
Business Number:         830204756
Legal Entity Name:       1356760 ALBERTA LTD.

Name History:

Previous Legal Entity Name Date of Name Change (YYYY/MM/DD)
1356760 ALBERTA INC.          2010/02/02

Legal Entity Status:          Active
Alberta Corporation Type:     Numbered Alberta Corporation
Registration Date:            2007/10/17 YYYY/MM/DD
Date of Last Status Change:   2015/01/28 YYYY/MM/DD


Registered Office:
Street:              4000, 421 - 7TH AVENUE SW
City:                CALGARY
Province:            ALBERTA
Postal Code:         T2P4K9
Records Address:
Street:              4000, 421 - 7TH AVENUE SW
City:                CALGARY
Province:            ALBERTA
Postal Code:         T2P4K9

Email Address: CAL-ANNUAL-DOCS@MCCARTHY.CA

Directors:

Last Name:            DIAZ-GRANADOS
First Name:           RAFAEL
Street/Box Number:    11700 KATY FREEWAY, SUITE 200
City:                 HOUSTON
Province:             TEXAS
Postal Code:          77079
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Last Name:             KOSTIUK
First Name:            CHRISTOPHER
Street/Box Number:     1210, 585 - 8TH AVENUE S.W.
City:                  CALGARY
Province:              ALBERTA
Postal Code:           T2P1G1


Voting Shareholders:

Legal Entity Name:             Q'MAX SOLUTIONS INC.
Corporate Access Number:       2118274907
Street:                        1700, 407 - 2ND STREET S.W.
City:                          CALGARY
Province:                      ALBERTA
Postal Code:                   T2P2Y3
Percent Of Voting Shares:      100




Details From Current Articles:

The information in this legal entity table supersedes equivalent electronic attachments
Share Structure:                 SEE ATTACHED SCHEDULE "A"
Share Transfers Restrictions:    SEE SHARE TRANSFERS RESTRICTIONS ELECTRONIC ATTACHMENT.
Min Number Of Directors:         1
Max Number Of Directors:         5
Business Restricted To:          NO RESTRICTIONS
Business Restricted From:        NO RESTRICTIONS
Other Provisions:                SEE ATTACHED SCHEDULE "B"



Other Information:

Last Annual Return Filed:

File Year Date Filed (YYYY/MM/DD)
     2018 2018/12/13

Outstanding Returns:

Annual returns are outstanding for the 2019 file year(s).


Filing History:

List Date (YYYY/MM/DD) Type of Filing
2007/10/17                     Incorporate Alberta Corporation
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2010/02/02                     Name Change Alberta Corporation
2014/12/02                     Status Changed to Start for Failure to File Annual Returns
2018/12/13                     Enter Annual Returns for Alberta and Extra-Provincial Corp.
2019/10/08                     Change Address
2020/02/19                     Update BN
2020/05/04                     Change Director / Shareholder



Attachments:

Attachment Type                  Microfilm Bar Code Date Recorded (YYYY/MM/DD)
Share Structure                  ELECTRONIC              2007/10/17
Restrictions on Share Transfers ELECTRONIC               2007/10/17
Other Rules or Provisions        ELECTRONIC              2007/10/17

The Registrar of Corporations certifies that, as of the date of this search, the above information is an accurate
reproduction of data contained in the official public records of Corporate Registry.
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                           Corporation/Non-Profit Search
                           Corporate Registration System
Date of Search:              2020/05/25
Time of Search:              07:08 AM
Search provided by:          NORTON ROSE FULBRIGHT CANADA LLP
Service Request Number:    33483624
Customer Reference Number: C.Hickey/104190



Corporate Access Number: 2012853491
Business Number:         832402762
Legal Entity Name:       Q'MAX SOLUTIONS HOLDINGS INC.

Legal Entity Status:      Active
Alberta Corporation Type: Named Alberta Corporation
Registration Date:        2006/12/04 YYYY/MM/DD


Registered Office:
Street:              4000, 421 - 7TH AVENUE SW
City:                CALGARY
Province:            ALBERTA
Postal Code:         T2P4K9
Records Address:
Street:              4000, 421 - 7TH AVENUE SW
City:                CALGARY
Province:            ALBERTA
Postal Code:         T2P4K9

Email Address: CAL-ANNUAL-DOCS@MCCARTHY.CA

Directors:

Last Name:            DIAZ-GRANADOS
First Name:           RAFAEL
Street/Box Number:    11700 KATY FREEWAY, SUITE 200
City:                 HOUSTON
Province:             TEXAS
Postal Code:          77079

Last Name:            KOSTIUK
First Name:           CHRISTOPHER
Street/Box Number:    1210, 585 - 8TH AVENUE S.W.
City:                 CALGARY
Province:             ALBERTA
         Case 20-34791 Document 7-2 Filed in TXSB on 09/30/20 Page 22 of 1445


Postal Code:           T2P1G1


Voting Shareholders:

Legal Entity Name:             Q'MAX SOLUTIONS INC.
Corporate Access Number:       2118274907
Street:                        2200, 1055 WEST HASTINGS STREET
City:                          VANCOUVER
Province:                      BRITISH COLUMBIA
Postal Code:                   V6E2E9
Percent Of Voting Shares:      100




Details From Current Articles:

The information in this legal entity table supersedes equivalent electronic attachments
Share Structure:                 SEE ATTACHED SCHEDULE "A"
Share Transfers Restrictions:    SEE SHARE TRANSFERS RESTRICTIONS ELECTRONIC ATTACHMENT.
Min Number Of Directors:         1
Max Number Of Directors:         5
Business Restricted To:          NO RESTRICTIONS
Business Restricted From:        NO RESTRICTIONS
Other Provisions:                SEE ATTACHED SCHEDULE "B"



Other Information:

Last Annual Return Filed:

File Year Date Filed (YYYY/MM/DD)
     2018 2019/01/16

Outstanding Returns:

Annual returns are outstanding for the 2019 file year(s).


Filing History:

List Date (YYYY/MM/DD) Type of Filing
2006/12/04                     Incorporate Alberta Corporation
2019/01/16                     Enter Annual Returns for Alberta and Extra-Provincial Corp.
2019/10/08                     Change Address
2020/02/19                     Update BN
2020/05/04                     Change Director / Shareholder
         Case 20-34791 Document 7-2 Filed in TXSB on 09/30/20 Page 23 of 1445


Attachments:

Attachment Type                  Microfilm Bar Code Date Recorded (YYYY/MM/DD)
Restrictions on Share Transfers ELECTRONIC               2006/12/04
Other Rules or Provisions        ELECTRONIC              2006/12/04
Share Structure                  ELECTRONIC              2006/12/04

The Registrar of Corporations certifies that, as of the date of this search, the above information is an accurate
reproduction of data contained in the official public records of Corporate Registry.
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                              Corporation/Non-Profit Search
                              Corporate Registration System
Date of Search:                 2020/05/25
Time of Search:                 07:09 AM
Search provided by:             NORTON ROSE FULBRIGHT CANADA LLP
Service Request Number:    33483628
Customer Reference Number: C.Hickey/104190



Corporate Access Number: 2118274907
Business Number:
Legal Entity Name:       Q'MAX SOLUTIONS INC.

Legal Entity Status:                       Active
Extra-Provincial Type:                     Other Prov/Territory Corps
Registration Date:                         2014/06/06 YYYY/MM/DD
Date Of Formation in Home Jurisdiction:    2014/05/23 YYYY/MM/DD
Home Jurisdiction:                         BRITISH COLUMBIA
Home Jurisdiction CAN:                     BC1003177



Primary Attorney:

Last     First        Middle                                                              Postal
                                 Firm Name      Street                  City   Province
Name     Name         Name                                                                Code
FORD     KELLY        R.         BENNETT        4500 BANKERS HALL EAST, CALGARY ALBERTA T2P4K7
                                 JONES LLP      855 - 2ND STREET SW

Head Office Address:
Street:                    SUITE 2500 - 666 BURRARD STREET
City:                      VANCOUVER
Province:                  BRITISH COLUMBIA
Postal Code:               V6C2X8
Country:                   CANADA
Email Address:             SIDDIQUII@BENNETTJONES.COM



Holding Shares In:

Legal Entity Name
Q'MAX SOLUTIONS HOLDINGS INC.
1356760 ALBERTA LTD.
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Other Information:


Filing History:

List Date (YYYY/MM/DD) Type of Filing
2014/06/06                     Register Extra-Provincial Profit / Non-Profit Corporation
2015/02/11                     Change Attorney
2019/03/11                     Change Address



The Registrar of Corporations certifies that, as of the date of this search, the above information is an accurate
reproduction of data contained in the official public records of Corporate Registry.
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                                                    Mailing Address:                Location:
                                                    PO Box 9431 Stn Prov Govt       2nd Floor - 940 Blanshard Street
                                                    Victoria BC V8W 9V3             Victoria BC
                                                    www.corporateonline.gov.bc.ca   1 877 526-1526



                                BC Company Summary
                                              For
                                      FLUID HOLDING CORP.

Date and Time of Search:      May 25, 2020 06:15 AM Pacific Time
Currency Date:                February 28, 2020


                                               ACTIVE
Incorporation Number:        BC0999796
Name of Company:             FLUID HOLDING CORP.
Recognition Date and Time:   Incorporated on April 16, 2014 03:00 PM Pacific Time            In Liquidation: No
Last Annual Report Filed:    April 16, 2019                                                  Receiver:             No


REGISTERED OFFICE INFORMATION
Mailing Address:                                  Delivery Address:
SUITE 2400, 745 THURLOW STREET                    SUITE 2400, 745 THURLOW STREET
VANCOUVER BC V6E 0C5                              VANCOUVER BC V6E 0C5
CANADA                                            CANADA


RECORDS OFFICE INFORMATION
Mailing Address:                                  Delivery Address:
SUITE 2400, 745 THURLOW STREET                    SUITE 2400, 745 THURLOW STREET
VANCOUVER BC V6E 0C5                              VANCOUVER BC V6E 0C5
CANADA                                            CANADA


DIRECTOR INFORMATION

Last Name, First Name, Middle Name:
Clark, Caleb
Mailing Address:                                  Delivery Address:
1270 AVENUE OF THE AMERICAS                       1270 AVENUE OF THE AMERICAS
SUITE 2200                                        SUITE 2200
NEW YORK NY 10020                                 NEW YORK NY 10020
UNITED STATES                                     UNITED STATES




                                                                                              BC0999796 Page: 1 of 2
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Last Name, First Name, Middle Name:
Diaz-Granados, Rafael
Mailing Address:                              Delivery Address:
11700 KATY FREEWAY                            11700 KATY FREEWAY
SUITE 200                                     SUITE 200
HOUSTON TX 77079                              HOUSTON TX 77079
UNITED STATES                                 UNITED STATES

Last Name, First Name, Middle Name:
Kirschner, Scott
Mailing Address:                              Delivery Address:
1270 AVENUE OF THE AMERICAS                   1270 AVENUE OF THE AMERICAS
SUITE 2200                                    SUITE 2200
NEW YORK NY 10020                             NEW YORK NY 10020
UNITED STATES                                 UNITED STATES

Last Name, First Name, Middle Name:
Lyon, Grant
Mailing Address:                              Delivery Address:
60 WEST 66TH STREET, 33EF                     60 WEST 66TH STREET, 33EF
NEW YORK NY 10023                             NEW YORK NY 10023
UNITED STATES                                 UNITED STATES

Last Name, First Name, Middle Name:
McNulty, Michael J.
Mailing Address:                              Delivery Address:
303, 407 - 8TH AVENUE SW                      303, 407 - 8TH AVENUE SW
CALGARY AB T2P 1E5                            CALGARY AB T2P 1E5
CANADA                                        CANADA

Last Name, First Name, Middle Name:
Rivers, Christopher
Mailing Address:                              Delivery Address:
11700 KATY FREEWAY                            11700 KATY FREEWAY
SUITE 200                                     SUITE 200
HOUSTON TX 77079                              HOUSTON TX 77079
UNITED STATES                                 UNITED STATES


NO OFFICER INFORMATION FILED AS AT April 16, 2019.




                                                                            BC0999796 Page: 2 of 2
Case 20-34791 Document 7-2 Filed in TXSB on 09/30/20 Page 28 of 1445




                  THIS IS EXHIBIT”_________
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                     (Z/’& j’
                  Sworn before me this             /
                  dayof                  A.D.2OO



                            Jonathan Tomm
                          Banister and Solicitor
      Case 20-34791 Document 7-2 Filed in TXSB on 09/30/20 Page 29 of 1445
                                                                         Execution Version



                       SECOND AMENDED AND RESTATED
                            CREDIT AGREEMENT



                                        Among

               Q’MAX SOLUTIONS INC. and Q’MAX AMERICA INC.
                               as Borrowers

                                          and

                       QMAX CANADA OPERATIONS INC.
                       as Specified Canadian Swingline Borrower

                                          and

              THE PERSONS PARTY HERETO FROM TIME TO TIME
                     IN THEIR CAPACITIES AS LENDERS
                                as Lenders

                                          and

                               HSBC BANK CANADA
                               as Administrative Agent

                                       and with

                                HSBC BANK CANADA
                  as Sole Lead Arranger, Bookrunner, Syndication Agent
                                and Documentation Agent



                               Dated as of July 31, 2018




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               SECOND AMENDED AND RESTATED CREDIT AGREEMENT

         This Agreement is dated as of July 31, 2018,

AMONG:

                   Q’MAX SOLUTIONS INC. and Q’MAX AMERICA INC.
                                   as Borrowers

                                               – and –

                             QMAX CANADA OPERATIONS INC.
                             as Specified Canadian Swingline Borrower

                                               – and –

                 THE PERSONS PARTY HERETO FROM TIME TO TIME
                        IN THEIR CAPACITIES AS LENDERS
                                   as Lenders

                                               – and –

                                     HSBC BANK CANADA,
                                      as Administrative Agent

                                               – with –

                                    HSBC BANK CANADA,
                      as Sole Lead Arranger, Bookrunner, Syndication Agent
                                    and Documentation Agent

PREAMBLE:

A.       The Borrowers have requested and the Lenders have agreed to further amend and restate
         the credit facilities under the Existing Credit Agreement and to continue to provide certain
         credit facilities on the terms and conditions and for the purposes set out in this Agreement.

B.       HSBC has agreed to continue to act as administrative agent for the Lenders under the
         Facilities on the terms and conditions and for the purposes set out in this Agreement.

AGREEMENT:

       In consideration of the covenants and agreements between the Parties contained in this
Agreement and other good and valuable consideration, the receipt and sufficiency of which are
hereby acknowledged, the Parties agree as follows:




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                                           ARTICLE 1
                                        INTERPRETATION

1.1      Definitions

        In this Agreement, the following words and phrases shall have the respective meanings set
forth below:

         1.1.1     “Acceleration Date” means the earlier of:

         (a)     the occurrence of an Insolvency Event in respect of any Credit Party; and

         (b)     the delivery by the Agent to the Borrower of a written notice that the Obligations
                 are immediately due and payable, following the occurrence and during the
                 continuation of an Event of Default other than an Insolvency Event.

         1.1.2    “Acceptable Account Debtors” means those account debtors in respect of
         Eligible Receivables who have Investment Grade long term unsecured debt ratings or are
         otherwise acceptable to the Required Lenders, in their Permitted Discretion.

         1.1.3     “Account Receivable Insurance” means one or more credit insurance policies
         issued by (a) Export Development Canada, (b) Export-Import Bank of the United States,
         or (c) such other governmental entity of Canada or the U.S. or a private insurer, in either
         case, with, and only for so long as such other insurer maintains, a credit rating of at least
         A by Standard & Poor’s Ratings Services (or an equivalent rating issued by another rating
         agency acceptable to the Required Lenders, acting reasonably) that is reasonably
         acceptable to the Required Lenders, in each case, together with all endorsements and
         agreements related thereto (including a tripartite agreement among the insured, the insurer
         and the Agent), and on terms and in amounts reasonably acceptable to Agent and which
         provides for the payment of claims thereunder directly to Agent.

         1.1.4    “Acquired Business” means the entity or assets acquired by a Credit Party in an
         Acquisition consummated after the date hereof.

         1.1.5     “Acquisition” means any transaction or series of related transactions for the
         purpose of or resulting, directly or indirectly, in (a) the acquisition of all or substantially
         all of the assets of a Person, or of any business or division of a Person, (b) the acquisition
         of a controlling interest in the capital stock, partnership interests, membership interests or
         equity of any Person (other than a Person that is a Subsidiary or the formation of a
         Subsidiary solely to facilitate a Permitted Acquisition), or (c) a merger, amalgamation,
         consolidation or any other combination with another Person (other than a Person that is a
         Credit Party); provided, that the Borrower or a Person that is or will become a Credit Party
         is the surviving entity.

         1.1.6    “Advance” means an extension of credit by one or more of the Lenders to a
         Borrower pursuant to this Agreement (including by way of issuance of a Letter of Credit
         or by way of any other Loan permitted by Section 2.7.2 under the Swingline), but does not
         include any Conversion or Rollover.

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         1.1.7    “Advisory Services Agreement” means the management and advisory service
         agreement dated as of May 23, 2014 between the Canadian Borrower and Palladium, as
         the same may be amended restated or supplemented from time to time permitted hereunder.

         1.1.8    “Affiliate” means with respect to any Person, any Person directly or indirectly
         controlling, controlled by or under direct or indirect common control with such other
         Person.

         1.1.9   “Agent” means HSBC in its capacity as administrative agent hereunder and any
         successors in such capacity appointed as agent pursuant to Section 11.18.

         1.1.10 “Agreement” means this amended and restated credit agreement (including the
         exhibits and schedules) as it may be amended, replaced or restated from time to time.

         1.1.11 “Amendment and Restatement Date” means the date of this Agreement or such
         later Business Day upon which each condition in Section 9.1 shall be satisfied or waived
         in a manner acceptable to the Required Lenders in their discretion.

         1.1.12   “Anchor” means Anchor Drilling Fluids USA, LLC.

         1.1.13 “Anchor Acquisition Agreement” means the Membership Interest Purchase
         Agreement, dated as of November 21, 2017, by and among Anchor Drilling Fluids USA,
         LLC, a Delaware limited liability company, Calumet Operating, LLC, a Delaware limited
         liability company, Q’Max Solutions Inc., a British Columbia corporation, and Q’Max
         America Inc., a Delaware corporation.

         1.1.14 “Anchor Sale and Leaseback Transaction” means any arrangement, whether in
         one transaction or in a series of transactions, with any Person whereby Anchor sells or
         transfers all or some portion of its truck fleet or similar motor vehicles, whether now owned
         or hereafter acquired, and thereafter, as part of such transaction, rents or leases such
         property that it intends to use for substantially the same purpose or purposes as the property
         being sold or transferred.

         1.1.15 “Annual Management Fee Cap” means U.S. $2,500,000 in the aggregate in any
         Fiscal Year.

         1.1.16 “Applicable Law” means, in respect of any Person, property, transaction or event,
         all Laws applicable thereto.

         1.1.17 “Applicable Margin” means, in respect of any Fiscal Quarter and in respect of
         any Availment Option or standby fee, the percentage in the column relating to such
         Availment Option or standby fee in the following table which corresponds to the Net
         Leverage Ratio in respect of such Fiscal Quarter described in the first column; subject to
         adjustment from time to time in accordance with Section 5.1.4:




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                                                                                             Standby Fee (For
                                        Canadian Dollar Prime
                                                                  BA Fee, LIBOR Loans       Canadian Operating
                                       Based Loans, U.S. Dollar
  Level*         Net Leverage Ratio                               and Financial Letter of    Facility and U.S.
                                       Base Rate Loans and U.S.
                                                                       Credit Fee**          Operating Facility
                                       Dollar Prime Rate Loans
                                                                                                   only)
     I                < 1.50:1                 100 bps                   200 bps                45.000 bps
    II            ≥ 1.50:1 < 2.00:1            125 bps                   225 bps                50.625 bps
    III           ≥ 2.00:1 < 2.50:1            175 bps                   275 bps                61.875 bps
    IV            ≥ 2.50:1 < 3.00:1            200 bps                   300 bps                67.500 bps
    V             ≥ 3.00:1 < 3.50:1            275 bps                   375 bps                84.375 bps
    VI            ≥ 3.50:1 < 4.00:1            325 bps                   425 bps                95.625 bps
    VII               ≥ 4.00:1                 375 bps                   475 bps                106.875 bps


           * On the Amendment and Restatement Date, the Applicable Margin shall be deemed to be
           at Level VII and shall remain at Level VII at all times during the Covenant Relief Period.

           **Non-Financial Letters of Credit will be issued at 66⅔% of the pricing quoted above for
           Financial Letters of Credit.

           1.1.18 “Approved Fund” means any Fund that is administered or managed by (a) a
           Lender, (b) an Affiliate of a Lender or (c) an entity or an Affiliate of an entity that
           administers or manages a Lender.

           1.1.19 “Assignment” means an agreement whereby a financial institution becomes a
           Lender substantially in the form of Exhibit “G”, with the blanks completed.

           1.1.20 “Availment Option” means a method of borrowing which is available to the
           Borrower as provided herein and in respect of each Facility, means those particular
           methods of borrowing which are specifically identified as being available thereunder (in
           the case of the Canadian Operating Facility under Section 2.5.1, in the case of the Facility
           under Section 3.5.1 and in the case of the U.S. Operating Facility under Section 4.5.1).

           1.1.21 “BA Equivalent Loan” means an Advance in Canadian Dollars made by a
           Non-BA Lender pursuant to Section 5.10.2.

           1.1.22 “BA Lender” means a Lender identified in Exhibit “A” attached hereto as a
           Lender which will accept Bankers’ Acceptances hereunder.

           1.1.23 “Bankers’ Acceptance” means a bill of exchange or a blank non-interest bearing
           depository bill as defined in the Depository Bills and Notes Act (Canada) drawn by the
           Borrower and accepted by a BA Lender in respect of which the Borrower becomes
           obligated to pay the face amount thereof to the holder (which may be a third party or such
           BA Lender) upon maturity.

           1.1.24 “Banking Service Agreements” means agreements made between a Borrower or
           any other Credit Party and the Agent or any Lender or any of their respective Affiliates in
           respect of payment cards, credit cards, cash management, payroll, pooling, netting, or other

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         banking services; and “Banking Service Agreement” means any one of them as required
         by the context.

         1.1.25 “Banking Services Liabilities” mean, collectively, any and all direct and indirect,
         contingent and absolute obligations and liabilities of each Borrower and each other Credit
         Party to the Agent, any Lender or any of their respective Affiliates in respect of any
         Banking Service Agreement as the Credit Parties may from time to time enter into with the
         Agent, any Lender or any of their respective Affiliates; provided, that a liability shall
         constitute a “Banking Service Liability” if the agreement under which it arose was entered
         into with the Person who was an Agent, Lender or the Affiliate of a Person who was an
         Agent or Lender, at the time such agreement was entered into, regardless of whether such
         Agent or Lender ceased to be the Agent or a Lender hereunder.

         1.1.26 “BCBCA” means the Business Corporations Act (British Columbia), as amended
         from time to time.

         1.1.27 “BIA” means the Bankruptcy and Insolvency Act (Canada), as amended from time
         to time.

         1.1.28 “Borrowers” means, collectively, the Canadian Borrower, the Specified
         Canadian Swingline Borrower and the U.S. Borrower and “Borrower”, means any one of
         them; provided, that “Borrower”, in the context of provision hereunder relating to:

         (a)    the Term Facility and the Canadian Operating Facility, and Loans thereunder, shall
                mean the Canadian Borrower and its successors and assigns;

         (b)    the U.S. Operating Facility, and Loans thereunder, shall mean the U.S. Borrower
                and its successors and assigns; and

         (c)    the Swingline, and Loans thereunder, shall mean the applicable Swingline
                Borrower and its successors and assigns.

         1.1.29 “Borrowing Base” means the amount in U.S. Dollars calculated by the Borrower
         and approved by the Agent, in its sole discretion, as set out in the most recent Borrowing
         Base Certificate, being the aggregate amount of (without duplication):

         (a)    Marginable Receivables; plus

         (b)    Marginable Inventory; plus

         (c)    Marginable Cash; plus

         (d)    Marginable Capital Assets; minus

         (e)    Priority Claims; minus

         (f)    $150,000 (but only until such time as the Agent and HSBC US have received an
                environmental report or other information from or on behalf of Anchor which is

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                  satisfactory to each of them (acting reasonably) related to the Norge, Oklahoma and
                  Roosevelt, Utah properties owned by the Credit Parties, and the Agent and HSBC
                  US agree to no longer require the reserve set out in this clause (f)), provided such
                  reserve shall only apply to the extent such properties form part of the Borrowing
                  Base, minus

         (g)      the amount in U.S. Dollars of unrealized losses resulting from mark to market
                  accounting for hedging activities calculated in accordance with GAAP, minus

         (h)      the amount in U.S. Dollars of any deductible payable in respect of the Account
                  Receivable Insurance (other than in respect of Anchor, Terra and their respective
                  Subsidiaries), minus

         (i)      any amount that is payable to the insurer under the Account Receivable Insurance
                  (other than in respect of Anchor, Terra and their respective Subsidiaries).

         1.1.30 “Borrowing Base Certificate” means a certificate of the Canadian Borrower,
         substantially in the form of Exhibit “H”.

         1.1.31    “Borrowing Base Shortfall” is defined under Section 5.3.5.

         1.1.32    “Business Day” means:

         (a)      for the purpose of giving any communication pursuant to Section 13.11 and in the
                  context of U.S. Dollar Base Rate Loans and U.S. Dollar Prime Rate Loans, a day
                  on which the main branches of the Agent or any of its Affiliates in Toronto,
                  Calgary, Montreal, Quebec and New York are open for normal banking business;

         (b)      for purposes of LIBOR Loans, also must be a LIBOR Business Day; and

         (c)      for all other purposes, a day on which the main branch of the Agent in Calgary,
                  Alberta, Montreal, Quebec and Toronto, Ontario is open for normal banking
                  business,

         but in any event not including a Saturday or Sunday or other day on which banks in Calgary
         or Toronto are authorized or required by law to close.

         1.1.33 “Calumet” means Calumet Operating, LLC and its successors and permitted
         assigns.

         1.1.34 “Canadian Borrower” means Q’Max Solutions Inc., a corporation amalgamated
         pursuant to the BCBCA, and its successors and permitted assigns.

         1.1.35 “Canadian Dollar Prime Rate Loan” means a loan made by a Lender to the
         Canadian Borrower in Canadian Dollars in respect of which interest is determined by
         reference to the Canadian Prime Rate, but excluding Advances in the form of Overdrafts
         and BA Equivalent Loans.


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         1.1.36    “Canadian Dollars” or “Cdn. $” means the lawful money of Canada.

         1.1.37    “Canadian Operating Facility” is defined in Section 2.1.

         1.1.38 “Canadian Operating Facility Commitment” means, as the context requires,
         (a) as of the Amendment and Restatement Date, collectively with respect to all Canadian
         Operating Lenders, in the aggregate, U.S. $109,681,471 or the Equivalent Amount in Cdn.
         $ (or any combination thereof), as otherwise increased or decreased pursuant to this
         Agreement and (b) means, with respect to each individual Canadian Operating Lender, the
         individual commitment amount of such Lender in the maximum principal amount indicated
         opposite such Canadian Operating Lender’s name in Exhibit “A” under the heading
         “Canadian Operating Facility Commitments”, as amended from time to time.

         1.1.39 “Canadian Operating Facility Limit” means the lesser of (a) the Canadian
         Operating Facility Commitment, and (b) the sum of the Borrowing Base less the then
         outstanding Advances under the Term Facility and the U.S. Operating Facility.

         1.1.40 “Canadian Operating Lenders” means the Lenders who have provided a
         Commitment under the Canadian Operating Facility as set forth in Exhibit “A”.

         1.1.41    “Canadian Prime Rate” means the greater of the following:

         (a)      the rate of interest announced from time to time by the Agent as its reference rate
                  then in effect for determining rates of interest on Canadian dollar loans to its
                  customers in Canada and designated as its prime rate; and

         (b)      the 30-day CDOR Rate plus 1% per annum;

         provided that if the Canadian Prime Rate calculated for any purpose would be less than
         zero on any day, then such rate shall be deemed to be zero for such purpose.

         1.1.42 “Capital Adequacy Requirements” means the Guideline dated January 2017,
         entitled “Capital Adequacy Requirements (CAR)” issued by OSFI and all other guidelines
         or requirements relating to capital adequacy issued by OSFI or any other Governmental
         Authority regulating or having jurisdiction with respect to any Lender, as amended,
         modified, supplemented, reissued or replaced from time to time.

         1.1.43 “Capital Expenditures” means, with respect to any Person for any period,
         without duplication, the aggregate amount of all expenditures (whether paid in cash or
         accrued as a liability) by such Person during that period for investments in other Persons
         and the acquisition or leasing (pursuant to a Capital Lease) of fixed or capital assets or
         additions to property, plant, or equipment (including replacements, capitalized repairs, and
         improvements), in each case, which are required to be capitalized on the balance sheet of
         such Person in accordance with GAAP; provided, however, that Capital Expenditures shall
         not include:

         (a)      expenditures with proceeds of insurance settlements, condemnation awards and
                  other settlements in respect of lost, destroyed, damaged or condemned assets,

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                equipment or other property to the extent such expenditures are made to replace or
                repair such lost, destroyed, damaged or condemned assets, equipment or other
                property or otherwise to acquire, maintain, develop, construct, improve, upgrade or
                repair assets or properties useful in the business of a Borrower and its Subsidiaries
                within one year of receipt of such proceeds (or, if not made within such one year
                period, are committed to be made during such period, but if not so made, such
                amount will not be excluded in the next applicable period);

         (b)    interest capitalized during such period;

         (c)    expenditures that are accounted for as Capital Expenditures of such Person and that
                actually are paid for by a third party (excluding a Borrower or any Subsidiary
                thereof) and for which neither any Borrower nor any Subsidiary has provided or is
                required to provide or incur, directly or indirectly, any consideration or obligation
                to such third party or any other Person (whether before, during or after such period);

         (d)    the purchase price of equipment (i) that is purchased simultaneously with the trade-
                in of existing equipment to the extent that the gross amount of such purchase price
                is reduced by the credit granted by the seller of such equipment for the equipment
                being traded in at such time, (ii) to the extent the consideration therefor consists of
                any combination of (A) used or surplus equipment traded in at the time of such
                purchase and (B) the proceeds of a substantially concurrent sale of used or surplus
                equipment, in each case in the ordinary course of business; provided that only such
                credit value of such traded equipment will be excluded for this purpose;

         (e)    for purposes of Section 7.2.10 only, expenditures that constitute Permitted
                Acquisitions and Permitted Investments;

         (f)    the book value of any asset owned to the extent such book value is included as a
                capital expenditure as a result of reusing or beginning to reuse such asset during
                such period without a corresponding expenditure actually having been made in such
                period;

         (g)    expenditures of leasehold improvements for which such Person is reimbursed in
                cash or receives a credit; and

         (h)    any non-cash amounts reflected as additions to property, plant or equipment on
                such Person’s consolidated balance sheet.

         1.1.44 “Capital Lease” means any lease, license or similar transaction determined as a
         capital lease in accordance with GAAP as in effect on the Amendment and Restatement
         Date, or any sale and lease back transaction or any other lease (whether a synthetic lease
         or otherwise).

         1.1.45 “Cash Equivalents” means, as of the date of any determination thereof, the
         following:



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         (a)      marketable direct obligations issued or unconditionally guaranteed by the
                  Government of Canada, the U.S., or any agency or instrumentality thereof, a
                  government of a province of Canada or of a state of the U.S. or, in each case, any
                  agency thereof, maturing no more than one year after the date of acquisition thereof;

         (b)      commercial paper maturing no more than one year after the date of acquisition
                  thereof and having, at the time of acquisition, a rating of at least A1 by Standard &
                  Poor’s Ratings Services or at least Prime 1 by Moody’s Investors Service, Inc. or
                  at least R1 (low) by Dominion Bond Rating Service Inc.;

         (c)      certificates of deposit, deposit notes, term deposit receipts, or time deposits or
                  bankers’ acceptances, maturing no more than one year after the date of acquisition
                  thereof, issued by the Lender or by commercial banks incorporated under the laws
                  of Canada or the U.S. or a state thereof, each having a rating of at least A1 by
                  Standard & Poor’s Ratings Services or at least Prime 1 by Moody’s Investors
                  Service, Inc. or at least R1 (low) by Dominion Bond Rating Service Inc.;

         (d)      such local currencies in those countries in which the Borrowers and their
                  Subsidiaries transact business from time to time in the ordinary course of business;

         (e)      investments of comparable tenor and credit quality to those described in the
                  foregoing clauses (a) through (c) or otherwise customarily utilized in countries in
                  which the Borrowers and their Subsidiaries operate for short term cash management
                  purposes; and

         (f)      investments in any investment company, money market or fund which invests
                  substantially all of their assets in Cash Equivalents of a kind described in
                  (a) through (c) of this definition.

         1.1.46 “Cash Taxes” means, in respect of any Person for any applicable period, the
         amount of all income taxes (including federal and provincial income taxes) paid or payable
         by such Person on its net taxable income for such period (which for greater certainty, does
         not include future income taxes).

         1.1.47    “Catch Up Management Fee Payments” is defined in Section 1.1.201(a).

         1.1.48 “CDOR Rate” means on any day the annual rate of interest which is the rate
         determined as being the arithmetic average of the quotations of all institutions listed in
         respect of the rate for Canadian Dollar denominated bankers’ acceptances for the relevant
         period displayed and identified as such on the “Reuters Screen CDOR Page” (as defined
         in the International Swaps and Derivatives Association, Inc. definitions, as modified and
         amended from time to time) as of 10:00 a.m. Toronto, Ontario local time on such day and,
         if such day is not a Business Day, then on the immediately preceding Business Day (as
         adjusted by the Agent after 10:00 a.m. Toronto, Ontario local time to reflect any error in a
         posted rate of interest or in the posted average annual rate of interest with notice of such
         adjustment in reasonable detail evidencing the basis for such determination being
         concurrently provided to the Borrower). If such rates are not available on the Reuters
         Screen CDOR Page on any particular day, then the CDOR Rate on that day shall be
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         calculated as the arithmetic mean of the rates applicable to Canadian Dollar denominated
         bankers’ acceptances for the relevant period publicly quoted for customers in Canada by
         those Lenders which are banks listed in Schedule I of the Bank Act (Canada) as of
         10:00 a.m. Toronto, Ontario local time on such day; or if such day is not a Business Day,
         then on the immediately preceding Business Day; provided that if the CDOR Rate
         calculated for any purpose would be less than zero on any day, then such rate shall be
         deemed to be zero for such purpose.

         1.1.49 “Change of Control” means in respect of the Canadian Borrower or Holdco, the
         occurrence of any of the following events:

         (a)    prior to any initial public offering of the Canadian Borrower or Holdco, as
                applicable, when Permitted Holders do not beneficially own, collectively, directly
                or indirectly, shares in the Canadian Borrower or Holdco, as applicable,
                representing more than 50% of the Voting Securities of the Canadian Borrower or
                Holdco; and

         (b)    after any initial public offering of the Canadian Borrower or Holdco, as applicable,
                when a Person or Group (other than any employee benefit plan and/or Person acting
                as the trustee, agent or other fiduciary or administrator) acquires shares in the
                Canadian Borrower or Holdco, as applicable, representing more than the greater of
                (i) 35% of the aggregate outstanding Voting Securities of the Canadian Borrower
                or Holdco, as applicable and (ii) the percentage of then outstanding Voting
                Securities of the Canadian Borrower or Holdco, as applicable, directly or indirectly,
                owned by Permitted Holders.

         1.1.50 “Code” means the United States Internal Revenue Code of 1986, and any
         successor statute and any regulations thereunder.

         1.1.51 “Collateral” means, collectively, all property, assets and undertaking of the
         Credit Parties encumbered by the Liens granted pursuant to the Security in support of the
         Obligations, and all property, assets and undertaking encumbered by the Liens granted
         pursuant to the Security in support of the Guarantees, together with all proceeds of the
         foregoing. For the avoidance of doubt, Collateral shall not include (a) capital assets or
         inventory of any Credit Party organized outside of the U.S. or Canada, (b) pending United
         States “intent-to-use” trademark applications for which a verified statement of use or an
         amendment to allege use has not been filed with and accepted by the United States Patent
         and Trademark Office, (c) Securitization Assets but only once transferred to a
         Securitization SPE and (d) any of the “Excluded Property” (as defined in the general
         security agreement from the U.S. Borrower as described in Section 8.1(a)).

         1.1.52 “Collection Rights” means, in respect of any Eligible Approved Contracts
         between a Pemex Entity, on the one hand, and QMax Mexico, on the other hand, the
         collection or credit rights granted to QMax Mexico by such Pemex Entity pursuant to such
         Eligible Approved Contract.




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         1.1.53 “Colombian Free Cash Flow” means, for any fiscal period, all EBITDA
         attributable to all Colombian operations of the Canadian Borrower and its Material
         Subsidiaries determined in accordance with the definition of EBITDA, minus Cash Taxes,
         Interest Expense and Unfunded Capital Expenditures, in each case, attributable to such
         Colombian Subsidiaries and operations.

         1.1.54 “Commitment” means, in respect of any Lender, such Lender’s commitment to
         make Advances to the Borrowers (or any one of them) under all Facilities or under any
         Facility, as the context requires as set forth in Exhibit “A”.

         1.1.55    “Common Shares” means the common shares in the capital of a Borrower.

         1.1.56 “Compliance Certificate” means a certificate delivered by the Canadian
         Borrower to the Agent in the form of Exhibit “F”.

         1.1.57 “Consolidated Net Income” shall mean, for any period, the net income (loss) of
         any Person and its Subsidiaries determined on a consolidated basis on the basis of GAAP;
         provided, however, that any net income (loss) of any Person (excluding any Securitization
         SPE) (i) who is not during such period a Material Subsidiary or (ii) whose net income is
         accounted for by the equity method of accounting, shall in each case be included in the
         calculation of Consolidated Net Income for all purposes of this Agreement only to the
         extent of the amount of any Distributions of such Person paid in cash (or to the extent
         converted into cash) to the Canadian Borrower or a Material Subsidiary, and
         “Consolidated Net Income” for such period shall include any ordinary course dividends
         in cash received by the Canadian Borrower or any of its Material Subsidiaries in excess of
         the amounts included in the foregoing item (i).

         1.1.58 “Consolidated Net Tangible Assets” means, as at any date of determination, all
         consolidated assets of the any Person as shown in the most recent consolidated balance
         sheet of such Person, less the aggregate of the following amounts reflected upon such
         balance sheet:

         (a)      all goodwill, deferred assets, trademarks, copyrights and other similar intangible
                  assets; and

         (b)      to the extent not already deducted in computing such assets and without duplication,
                  depreciation, depletion, amortization, reserves and any other account which reflects
                  a decrease in the value of an asset or a periodic allocation of the cost of an asset;
                  provided, that no deduction will be made under this paragraph (b) to the extent that
                  such account reflects a decrease in value or periodic allocation of the cost of any
                  asset referred in the paragraph (a) of this definition,

         all as determined in accordance with GAAP.

         1.1.59    “Contributing Lenders” is defined in Section 11.4.2.

         1.1.60 “control” means, in respect of any Person, the power to direct or cause the
         direction of management and policies of such Person, directly or indirectly, through the

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         ownership of Voting Securities, contract or otherwise; and “controlled” has a
         corresponding meaning.

         1.1.61 “Conversion” means the substitution of one Availment Option for another, and,
         for certainty, does not constitute a fresh or new Advance (and “Convert” shall have a
         corresponding meaning).

         1.1.62 “Conversion Notice” means a notice substantially in the form of Exhibit “D”
         given by a Borrower to the Agent for the purposes of requesting a Conversion.

         1.1.63 “Covenant Relief Period” means the period from the Amendment and
         Restatement Date, up to and including December 31, 2019, subject to the Borrowers’ right
         to elect a shorter period pursuant to Section 1.18.

         1.1.64 “Credit Documents” means this Agreement, the Security and all other
         agreements, documents, instruments and certificates required or contemplated herein to be
         provided by the Credit Parties and other Persons to the Agent and the Lenders.

         1.1.65 “Credit Parties” means, collectively, the Borrowers and any Guarantor; and
         “Credit Party” means any one of them as the context requires. Notwithstanding any
         provision in this Agreement or any other Credit Document, in no event shall any
         Securitization SPE be deemed a Credit Party.

         1.1.66 “Currency Hedging Agreement” means any swap, hedge or other agreement
         that does not contravene Section 7.2.12 entered into between a Credit Party and a
         counterparty, from time to time for the purpose of mitigating or hedging currency risk,
         including foreign exchange forward contracts.

         1.1.67 “Default” means an event which has occurred and is continuing, and which, with
         the giving of notice or the lapse of time or both, would constitute an Event of Default.

         1.1.68 “Default Rate” means, while an Event of Default exists, the interest rates and fess
         comprising the Applicable Margin will each increase by 2.0% per annum.

         1.1.69 “Defaulting Lender” means any Lender or, in the case of paragraph (e) below, a
         Lender’s parent (being any Person that directly or indirectly controls a Lender where
         control has the same meaning as in the definition of Affiliate):

         (a)    that has failed to fund any payment or its portion of any Advances required to be
                made by it hereunder, including as a result of being a Non-Paying Lender, within
                two Business Days of the date such Advances were required to be funded hereunder
                unless such Lender notifies the Agent and the Canadian Borrower in writing that
                such failure is the result of such Lender’s determination that one or more conditions
                precedent to funding (each of which conditions precedent, together with any
                applicable default, shall be specifically identified in such writing) has not been
                satisfied;



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         (b)      that has failed to pay the Agent or any other Lender any other amount required to
                  be paid by it hereunder within two Business Days of the date when due;

         (c)      that has notified a Borrower (in writing) that it does not intend to or is unable to
                  comply with any of its funding obligations under this Agreement or has made a
                  public statement to that effect (unless such written notice or public statement relates
                  to such Lender’s obligation to fund a Loan hereunder and states that such position
                  is based on such Lender’s determination that a condition precedent to funding
                  (which condition precedent, together with any applicable default, shall be
                  specifically identified in such written notice of public statement) cannot be
                  satisfied);

         (d)      that has failed, within three Business Days after request by a Borrower, to confirm
                  that it will comply with the terms of this Agreement relating to its obligations to
                  fund prospective Advances; or

         (e)      that becomes insolvent, has been deemed insolvent by a court of competent
                  jurisdiction, or becomes the subject of bankruptcy or insolvency proceeding.

         1.1.70    “Departing Lenders” is defined in Section 11.5.2.

         1.1.71 “Deposit Account Control Agreement” means the deposit account control
         agreement dated December 29, 2014 between the Agent, Wells Fargo and the U.S.
         Borrower, as the same may be amended from time to time.

         1.1.72    “Designated Financial Covenants” is defined in Section 7.3.2

         1.1.73    “Distribution” means:

         (a)      any declaration or payment of dividends or returns of capital, including advisory
                  fees and management fees, of any kind or nature directly or indirectly to any holder
                  of shares of any Credit Party or to any Affiliate or Related Party of such holder and
                  including any similar payments paid by any Credit Party to Palladium or its
                  Affiliates, whether pursuant to the Advisory Services Agreement or any other
                  similar agreement now or hereafter in effect between any one or more Credit Party
                  and any one or more of Palladium or its Affiliates;

         (b)      any repurchase, retraction or redemption of shares of any Credit Party for cash or
                  other property; and

         (c)      any payment, repayment or prepayment by a Person in cash of any amount of any
                  principal, interest, fees or other amounts in respect of any Subordinated Debt.

         For certainty, Distributions shall not include the reimbursement of reasonable out-of-
         pocket expenses incurred by Palladium or the directors of the Credit Parties in the ordinary
         cause of business in rendering advisory or management services to the Credit Parties or
         performing a director’s obligations to the applicable Credit Party, as the case may be.


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         1.1.74 “Drawdown Request” means a notice in the form of Exhibit “B” given by the
         Borrower to the Agent for the purpose of requesting an Advance.

         1.1.75 “Earnout Payments” means, in respect of any Acquisition, the requirement for
         any Credit Party, as purchaser, to pay to the vendor under such Acquisition (or any nominee
         thereof) contingent payments of the purchase price thereof after the closing thereof which
         are payable when specified targets (including related to revenue or earnings), are satisfied
         within specified periods.

         1.1.76 “EBITDA” means, for any fiscal period, Consolidated Net Income of the
         Canadian Borrower and the Subsidiaries determined on a consolidated basis in accordance
         with GAAP and measured on a trailing four Fiscal Quarter basis for such period, plus all
         amounts deducted in the calculation thereof on account of (without duplication irrespective
         if any expense, loss or gain would fall into one or more of the foregoing categories):

         (a)    interest expense calculated in accordance with GAAP, including (i) the
                amortization of debt discounts, (ii) the amortization of all fees (including fees with
                respect to Hedging Agreements) payable in connection with the incurrence of
                Funded Debt to the extent included in interest expense, (iii) deferred financing fees
                and expenses, and (iv) the portion of any payments or accruals with respect to
                Capital Lease Obligations allocable to interest expense and the capitalized interest
                of such Person;

         (b)    any provision for or payment of taxes based on income, profits or capital gains,
                calculated in accordance with GAAP, including, without limitation, state,
                provincial, franchise, property and similar taxes and foreign withholding taxes
                (including penalties and interest related to such taxes or arising from tax
                examinations) and any deferred/future taxes;

         (c)    depreciation and amortization expense, calculated in accordance with GAAP,
                including amortization of intangible assets, unrecognized prior service costs and
                actuarial non-cash losses related to pensions and other post-employment benefits,
                of such;

         (d)    Permitted Management Fees (but for certainty, in an amount not exceeding the
                Annual Management Fee Cap in any Fiscal Year) and the reasonable out-of-pocket
                expenses related thereto which have been reimbursed by a Credit Party, and any
                payments permitted under clause (j) of Section 7.2.6, to the extent paid by a Credit
                Party to a non-Credit Party;

         (e)    all non-cash expenses and losses calculated in accordance with GAAP related to:
                (i) extraordinary and nonrecurring losses to the extent not otherwise dealt with in
                this definition, (ii) all non-recurring deferred financing costs written off and
                premiums paid or other expenses incurred directly in connection with any early
                extinguishment of Funded Debt and any net loss attributable to any write-off or
                forgiveness of Funded Debt, (iii) any non-cash expense or loss arising from the
                application of purchase accounting adjustments as a result of any Permitted

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               Acquisition, and (iv) other non-cash expenses and charges to the extent not
               otherwise dealt with in this definition (in each case, calculated on a pro forma basis
               as though realized on the first day of such period) reducing Consolidated Net
               Income for such period including resulting from impairment charges and including
               losses against book value on the disposal or write-off of any business or assets
               (including pursuant to any sale/leaseback transaction);

         (f)   [reserved];

         (g)   unrealized losses resulting from mark to market accounting for hedging activities
               calculated in accordance with GAAP;

         (h)   any unrealized foreign currency translation or transaction losses in respect of
               (i) Funded Debt denominated in a currency other than the functional currency of
               the relevant Person and (ii) any unrealized foreign exchange losses relating to
               translation of assets and liabilities denominated in foreign currencies;

         (i)   charges, expenses or losses reasonably related to (i) fees and expense in connection
               with Permitted Acquisitions, Permitted Investments, Permitted Dispositions, the
               incurrence of Permitted Funded Debt (but only to the extent not already included
               in clause (a) above), amendments and other modifications to the Credit Documents,
               the offering or issuance of equity interests and other activities permitted hereunder
               (in each case, whether or not successful) and (ii) business optimization expenses
               and restructuring charges, reserves or expenses, (including losses from disposed,
               abandoned, transferred, closed or discontinued operations) in each case as
               documented by evidence provided by the Canadian Borrower and acceptable to the
               Agent (acting reasonably and responding to requests for approval within five (5)
               Business Days); provided, that all of the foregoing may not exceed a maximum
               aggregate amount of $5,500,000 for each applicable measurement period of four
               consecutive Fiscal Quarters, or such higher amount as the Required Lenders may
               consent to from time, acting reasonably;

         (j)   non-cash expenses incurred in connection with any equity based compensation
               provided pursuant to any management or employee equity based compensation plan
               (in each case, calculated on a pro forma basis as though realized on the first day of
               such period), and including (i) costs or expenses realized in connection with or
               resulting from stock appreciation or similar rights, stock options or other rights of
               officers, directors and employees, in each case of such Person or any such
               Subsidiary, and (ii) non-cash losses attributable to deferred compensation plans or
               trusts;

         (k)   third party audit, advisory and consulting fees and related out-of-pocket expenses
               of the Canadian Borrower or any of its Subsidiaries incurred in connection with
               audits, inspections and reviews conducted in connection with this Agreement at the
               direction of the Agent or any Lender (but which for certainty does not include audit
               fees related to the preparation of the financial statements required hereunder);


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         (l)    fees, costs and expenses in connection with the Anchor Acquisition not to exceed
                U.S. $11,000,000;

         (m)    discounts on sales of receivables and related assets in connection with any
                Permitted Securitization Financing;

         minus, in each case to the extent added in the calculation thereof (without duplication
         irrespective if any expense, loss or gain would fall into one or more of the foregoing
         categories):

         (n)    income tax credits calculated in accordance with GAAP;

         (o)    all cash payments during such period relating to non-cash charges which were
                added back in determining EBITDA in any prior period;

         (p)    other non-cash and non-recurring items increasing Consolidated Net Income that
                are not otherwise dealt with in this definition (but excluding any such non-cash
                items to the extent that it will result in the receipt of cash payments in any future
                period), including gains against book value on the disposal of any business or
                assets;

         (q)    unrealized gains resulting from mark to market accounting for hedging activities
                calculated in accordance with GAAP;

         (r)    any unrealized foreign currency translation or transaction gains in respect of
                Funded Debt denominated in a currency other than the functional currency of the
                relevant Person and any unrealized foreign exchange gains relating to translation
                of assets and liabilities denominated in foreign currencies;

         (s)    any net gain attributable to any write-off or forgiveness of Funded Debt;

         (t)    net gains on the disposal, abandonment, transfer, closing or discontinuance of
                operations;

         (u)    non-cash gains attributable of deferred compensation plans and trusts;

         (v)    any non-cash gains arising from the application of purchase accounting adjustments
                as a result of any Permitted Acquisition or other Acquisitions approved by the
                Lenders; and

         (w)    Consolidated Net Income attributable to or generated from any minority interest in
                a Person owned directly or indirectly by the Canadian Borrower, except for cash
                Distributions received by a Credit Party therefrom;

         provided, that if any of the events described in Section 1.13 occurs during the relevant
         period, the calculation of EBITDA will be adjusted as set forth in Section 1.13.



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         Notwithstanding the foregoing, the Borrowers may elect to calculate EBITDA on the
         following annualized basis (as opposed to a trailing four Fiscal Quarter basis) for the
         periods specified below: (i) for the Fiscal Quarter ending March 31, 2018, by calculating
         EBITDA for the six month period ending as of March 31, 2018 and multiplied by two, and
         (ii) for the Fiscal Quarter ending June 30, 2018, by calculating EBITDA for the nine month
         period ending as of June 30, 2018, and multiplied by four-thirds, but only if such alternative
         calculation would result in a greater value for EBITDA for such period.

         In addition, if EBITDA is calculated on the basis described in the immediately preceding
         paragraph, then the amounts described in paragraph (i) above (the “Prescribed Amounts”)
         shall be limited to, the lesser of (x) the Prescribed Amounts actually paid during such
         period and (y) $5,325,000.

         1.1.77 “Economic Sanctions” means the restrictions with respect to funding operations,
         or financing investments, in any country, or making payments to, or receiving payments or
         property from, any country or Person, then prohibited by:

         (a)    any sanctions or requirements imposed by, or based upon the obligations or
                authorities set forth in the Executive Order, the U.S. Money Laundering Control
                Act of 1986 (18 U.S.C. §§ 1956 et seq.), the PATRIOT Act, the U.S. International
                Emergency Economic Powers Act (50 U.S.C. §§ 1701 et seq.), the U.S. Trading
                with the Enemy Act (50 U.S.C. App. §§ 1 et seq.), the U.S. United Nations
                Participation Act, the U.S. Syria Accountability and Lebanese Sovereignty Act, the
                U.S. Comprehensive Iran Sanctions, Accountability, and Divestment Act of 2010 or
                the Iran Sanctions Act, all as amended, or any of the foreign assets control
                regulations of the U.S. Department of the Treasury (including but not limited to
                31 CFR, Subtitle B, Chapter V, as amended) or any other law or executive order
                relating thereto or regulation administered by the US State Department or the
                United States Treasury Department’s Office of Foreign Assets Control, in each
                case, to the extent applicable; and

         (b)    any of the economic sanctions of Canada, including those provided for pursuant to
                the Special Economic Measures Act (Canada) or the United Nations Act (Canada),
                in each case, to the extent applicable.

         1.1.78 “Eligible Approved Contracts” means a contract or other agreement of a Credit
         Party to provide goods or perform services: (a) that is listed on Schedule 6.1.33; (b) or
         designated by the Agent as an Eligible Approved Contract pursuant to Section 5.17.

         1.1.79 “Eligible Capital Assets” means, at any time, the capital assets of the Credit
         Parties; provided, that, in any event, no capital asset shall be deemed to be a Eligible Capital
         Asset unless each of the following statements is accurate and complete (and by including
         such capital asset in any computation of the Borrowing Base, the Borrowers will be deemed
         to made each of these statements in respect thereof):

         (a)    such capital asset is located in Canada or the U.S.;



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         (b)    such capital asset is in good condition, merchantable, meets all standards imposed
                by any Governmental Authority having regulatory authority over it or its use and/or
                sale and is not obsolete and is either currently usable or currently saleable in the
                normal course of business of the applicable Credit Party;

         (c)    the Agent, on behalf of the Lenders, has a First-Ranking Security Interest covering
                such capital asset;

         (d)    such capital asset is, and at all times will be, free and clear of all Liens other than
                Permitted Liens and unregistered Liens in respect of Priority Claims that are not
                yet due and payable;

         (e)    such capital asset does not constitute Hazardous Materials;

         (f)    such capital asset is covered by all applicable insurance as required by
                Section 7.1.9; and

         (g)    the Agent has not determined in its Permitted Discretion that it may not sell or
                otherwise dispose of such capital asset in accordance with the terms of the
                applicable Credit Documents without infringing upon the rights of another Person
                or violating any contract with any other Person.

         1.1.80 “Eligible Cash” means, as of the date of determination, the aggregate U.S. Dollar
         amount of the unrestricted cash (determined in accordance with GAAP) and Cash
         Equivalents of Credit Parties (other than with respect to Anchor and its Subsidiaries until
         such time as the Encina ABL Loan Agreement is terminated and the obligations thereunder
         have been repaid in full) that:

         (a)    the Agent on behalf of the Lenders, has a first priority perfected Lien covering such
                unrestricted cash or Cash Equivalent, and such unrestricted cash or Cash Equivalent
                is, and at all times will be, free and clear of all Liens other than Permitted Liens and
                unregistered Liens in respect of Priority Claims that are not yet due and payable;

         (b)    are held in collateral accounts located in Canada, the U.S., Mexico or another
                OECD member country; provided, such collateral accounts may be located in non-
                OECD member countries to the extent maintained by HSBC or an affiliate thereof
                (or such other bank deemed reasonable in the sole discretion of the Agent);

         (c)    subject to the proviso at the end of Section 8.1(i), are held in collateral accounts in
                the name of the Agent or an agent thereof (or, with the consent of the Agent, the
                applicable Credit Party), in each case maintained with (i) the Agent or (ii) an
                Affiliate of the Agent, another Lender, an Affiliate of another Lender or another
                depositary that has entered into a control agreement (in form and substance
                reasonably acceptable to the Agent) with the Agent and the applicable Credit Party,
                and, in each case, with respect to which the Agent retains exclusive control to direct
                the transfer of funds therefrom during the continuation of an Event of Default (with
                withdrawals by the applicable Credit Party to be permitted upon notice to the Agent


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                so long as the Agent has not delivered a notice of exclusive control upon the
                occurrence and during the continuation of an Event of Default);

         (d)    subject to clause (ii) above, is otherwise available for use by a Credit Party, without
                condition or restriction; and

         (e)    upon a reasonable request therefor by the Agent, for which Agent shall have
                received evidence, in form and substance reasonably satisfactory to Agent, of the
                amount thereof as of the applicable date of calculation,

         provided, that such unrestricted cash and Cash Equivalents shall be reduced by an amount
         equal to, as reasonably estimated by the Borrowers, the withholding tax payable on any
         cash and Cash Equivalents that are to be remitted by any Credit Party to a foreign
         jurisdiction; and further provided, that to the extent that any debit balances (or overdrawn
         amounts) of any accounts of such Credit Parties are deducted from the calculation of
         unrestricted cash and Cash Equivalents above, they shall be increased by an amount equal
         to the such debit balances (or overdrawn amounts) solely to the extent that availability
         under the Operating Facilities is reduced by the amount of any Letters of Credits (or any
         portion thereof) issued and outstanding under the Operating Facilities to backstop such
         deficit amounts.

         1.1.81 “Eligible Inventory” means, at any time, all inventory of the Credit Parties
         valued in U.S. Dollars on a lower of cost (excluding any component of cost representing
         intercompany profit in the case of inventory acquired from an Affiliate) or market basis in
         accordance with GAAP, with detailed calculations of lower of cost or market; provided
         that, in any event, no inventory shall be deemed Eligible Inventory unless each of the
         following statements is accurate and complete (unless all of the Lenders in their sole
         discretion elect to otherwise include such inventory) (and by including such inventory in
         any computation of the applicable Borrowing Base the Borrowers will be deemed to have
         made each of these statements in respect thereof):

         (a)    such inventory is in good condition, merchantable, meets all material standards
                imposed by any Governmental Authority having regulatory authority over it or its
                use and/or sale and is not obsolete and is either currently usable or currently
                saleable in the normal course of business of the applicable Credit Party;

         (b)    with respect to any such inventory in excess of $250,000 per location, such
                inventory is:

                (i)     in possession of a Credit Party and (1) located on real property owned or
                        leased by a Credit Party, and (2) within the U.S. or Canada; provided, that
                        if such inventory is located on real property leased by a Credit Party and if
                        so requested by the Agent, the landlord of such real property shall have
                        executed and delivered to the Agent a Landlord Agreement or at the request
                        of a Borrower or in lieu of such an agreement, the Lenders may take a
                        reserve against Eligible Inventory equal to three month’s rent;



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               (ii)    in the possession of a bailee and such bailee shall have executed and
                       delivered to the Agent, a bailee letter in form and substance satisfactory to
                       the Agent or at the request of a Borrower, the Lenders shall be permitted to
                       take a reasonable reserve against Eligible Inventory related to the applicable
                       Credit Party’s economic exposure to such bailee;

               (iii)   in the case of inventory located in the U.S., is placed on consignment with
                       a consignee and such consignee shall have executed a valid consignment
                       agreement in form and substance satisfactory to Agent and the applicable
                       Borrower has filed (when applicable) appropriate UCC (or comparable)
                       filings to perfect its interest in such inventory; or

               (iv)    in transit in Canada or the U.S. (provided, that the jurisdictions through
                       which such inventory is in transit are jurisdictions where the Liens in such
                       inventory under the Security are validly perfected first priority Liens as
                       required by Applicable Law) and between owned or leased locations of the
                       Credit Parties, and upon arrival at its destination, will comply with either
                       clause (i) or (ii) above;

         (c)   the Agent on behalf of the Lenders, has a first priority perfected Lien covering such
               inventory, and such inventory is, and at all times will be, free and clear of all Liens
               other than Permitted Liens and unregistered Liens in respect of Priority Claims that
               are not yet due and payable;

         (d)   such inventory does not include goods (i) that are not owned by a Credit Party,
               (ii) that are held by a Credit Party pursuant to a consignment agreement, or
               (iii) which have been sold by a Credit Party on a bill and hold basis;

         (e)   such inventory is not subject to repossession on account of the “30 day goods” rule
               under section 81.1 of the Bankruptcy and Insolvency Act (Canada) or similar Laws
               except to the extent the applicable vendor has entered into an agreement with the
               Agent, in form and substance satisfactory to the Agent, waiving its right to
               repossession;

         (f)   such inventory does not consist of work in process, store room materials, samples,
               prototypes, or packing and shipping materials not considered for sale by the Credit
               Parties in the ordinary course of business;

         (g)   such inventory does not consist of goods that are returned (as defective or not fit
               for purpose) or used goods taken in trade;

         (h)   any portion of the value of such inventory which results from a profit or gain
               resulting from an inter-company sale or other disposition of such inventory shall be
               excluded;

         (i)   any “seconds” or scrap inventory shall be valued at scrap value;



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         (j)    such inventory is not evidenced by negotiable documents of title unless delivered
                to the Agent with endorsements;

         (k)    such inventory does not constitute Hazardous Materials;

         (l)    such inventory is covered by casualty insurance; and

         (m)    the Agent has not determined in its Permitted Discretion that it may not sell or
                otherwise dispose of such inventory in accordance with the terms of the applicable
                Credit Documents without infringing upon the rights of another Person or violating
                any contract with any other Person.

         1.1.82 “Eligible Line of Business” means any business engaged in as of the date of this
         Agreement by any of the Credit Parties, and any business reasonably related thereto.

         1.1.83 “Eligible Receivables” means, at the time of determination, the Receivables of
         the Credit Parties then existing (other than with respect to Anchor, Terra and their
         respective Subsidiaries), minus any Receivable to which any of the criteria set forth below
         applies (unless all of the Lenders in their sole discretion elect to otherwise include such
         Receivables):

         (a)    is not then subject to the applicable duly perfected Liens created by the Security;

         (b)    is subject to any Lien or deemed trust (other than a Permitted Lien which does not
                rank in priority to the Liens created by the Security);

         (c)    is outstanding more than (i) 120 days, in the case of Acceptable Account Debtors
                or (ii) 90 days, in the case of all other account debtors, in either case after the date
                of shipment of inventory or the provision of the service that created such
                Receivable;

         (d)    is subject to any offset or counterclaim by the applicable account debtor (but only
                to the extent of such offset);

         (e)    is owed by any Person whose principal place of business is located outside Canada
                or the U.S. unless the sale is on letter of credit, guarantee or some other terms
                acceptable to the Agent, acting reasonably;

         (f)    is payable in a currency other than Canadian Dollars or U.S. Dollars;

         (g)    is owed by an Affiliate of the Borrower or any employee, agent or representative
                of the Borrower or of any such Affiliate;

         (h)    with respect to which a cheque, note, draft or other payment instrument has not
                been honoured in accordance with its terms;

         (i)    is owed by any Person that is subject to an Insolvency Event; provided that the
                Receivables from insolvent account debtors shall be Eligible Receivables if and to

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                  the extent that such Receivables are fully covered by credit insurance, letters of
                  credit or other sufficient third-party credit support, or are otherwise deemed by the
                  Agent not to pose an unreasonable risk of non-collectability;

         (j)      is subject to a holdback, but only to the extent of the amount of such holdback;

         (k)      is in dispute, but only to the extent of the amount thereof in dispute, or is subject to
                  a claim regarding rescission, cancellation or avoidance, whether by operation of
                  law or otherwise;

         (l)      to the extent such Receivable is evidenced by a judgment, provided that such
                  Receivables shall be Eligible Receivables if and to the extent that such Receivables
                  are fully covered by credit insurance, letters of credit or other sufficient third-party
                  credit support, or are otherwise deemed by the Agent not to pose an unreasonable
                  risk of non-collectability; and

         (m)      is owed by a Governmental Authority where Applicable Law imposes any
                  requirement (including any requirement of notice, acceptance or acknowledgment
                  by the Governmental Authority) to constitute a valid assignment as against such
                  Governmental Authority, unless the applicable Credit Party has assigned its rights
                  to payment of such Receivable to the Agent pursuant to, in the case of a U.S. federal
                  Governmental Authority, the Assignment of Claims Act of 1940, as amended, or
                  complied with such requirement pursuant to Applicable Law in the case of any
                  other Governmental Authority.

         (n)      is or has been sold, contributed, financed or otherwise conveyed or pledged
                  pursuant to either of a Permitted Factoring Transaction or a Permitted Securitization
                  Financing.

         For certainty, if any Receivable that is otherwise an Eligible Receivable is sold,
         contributed, financed or otherwise conveyed or pledged pursuant to a Permitted
         Securitization Financing it shall immediately cease to be an Eligible Receivable.

         1.1.84 “Encina” means Encina Business Credit, LLC and its successors and permitted
         assigns.

         1.1.85 “Encina ABL Loan Agreement” means the credit agreement dated as the
         November 21, 2017 by and among Anchor, the U.S. Borrower, each Person joined thereto
         as a borrower form time to time, the lenders from time to time party thereto and Encina as
         agent on behalf of such lenders, as may be amended, restated, replaced or otherwise
         modified from time to time to the extent permitted by the Encina Intercreditor Agreement.

         1.1.86 “Encina Intercreditor Agreement” means the intercreditor agreement dated as
         of the November 21, 2017 among Encina, the Agent, Anchor and the U.S. Borrower, as
         may be amended, restated, replaced or otherwise modified from time to time.

         1.1.87    “Equity Cure” is defined in Section 7.3.2.


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         1.1.88   “Equity Cure Repayment” is defined in Section 7.3.2.

         1.1.89 “Equivalent Amount” means, in relation to an amount in one currency, the
         amount in another currency that could be purchased by the amount in the first currency
         determined by reference to the applicable Exchange Rate at the time of such determination.

         1.1.90 “ERISA” means the Employee Retirement Income Security Act of 1974, as
         amended from time to time, and any applicable regulation promulgated thereunder.

         1.1.91 “ERISA Affiliate” means any Person that for purposes of Title IV of ERISA is a
         member of the controlled group of any Credit Party, or under common control with any
         Credit Party, within the meaning of Section 414 of the Code.

         1.1.92 “ERISA Event” means (i) the occurrence of a reportable event, as defined in
         Section 4043 of ERISA, with respect to any Plan unless the 30 day notice requirement with
         respect to such event has been waived by the PBGC; (ii) the application for a minimum
         funding waiver pursuant to Section 412(c) of the Code or Section 302(c) of ERISA with
         respect to a Plan; (iii) the receipt by any Credit Party from the administrator of any Plan of
         a notice pursuant to Section 4041(a)(2) of ERISA of intent to terminate such Plan in a
         distress termination described in Section 4041(c) of ERISA; (iv) the cessation of
         operations at a facility of any Credit Party or any ERISA Affiliate in the circumstances
         described in Section 4062(e) of ERISA; (v) the withdrawal by any Credit Party or any
         ERISA Affiliate from a Multiple Employer Plan during a plan year for which it was a
         substantial employer, as defined in Section 4001(a)(2) of ERISA; (vi) the conditions for
         imposition of a Lien under Section 303 of ERISA shall have been met with respect to any
         Plan; or (vii) the institution by the PBGC of proceedings to terminate a Plan pursuant to
         Section 4042 of ERISA, or the occurrence of any event or condition described in
         Section 4042(a) of ERISA that constitutes grounds for the termination of, or the
         appointment of a trustee to administer, such Plan.

         1.1.93 “Exchange Rate” means, on the date of determination of any amount of one
         currency to be converted into another currency pursuant to this Agreement for any reason,
         or vice-versa, the spot rate of exchange for converting Canadian Dollars into such other
         currency or vice-versa, as the case may be, established by the Bank of Canada at
         approximately 4:30 p.m. (Toronto time) on the Business Day immediately preceding the
         date of determination, and if no such rate is quoted, the spot rate of exchange for wholesale
         transactions by the Agent in Toronto, Ontario in accordance with its normal practice;.

         1.1.94 “Excluded Account” means (a) any deposit account used solely for: (i) funding
         payroll or segregating payroll taxes or funding other employee wage or benefit payments
         in the ordinary course of business or (ii) segregating 401k contributions or contributions to
         an employee stock purchase plan and other health and benefit plan, in each case for
         payment in accordance with any Applicable Laws, (iii) any zero-balance disbursement
         accounts, or (iv) disbursements to pay independent contractors, (b) any deposit account the
         funds in which consist solely of funds held by Holdco or any Subsidiary on behalf of or in
         trust for the benefit of any third party that is not an Affiliate of Holdco, any Subsidiary or
         any Investor, (c) any deposit account the funds in which consist solely of cash earnest

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         money deposits or funds deposited under escrow or similar arrangements in connection
         with any letter of intent or purchase agreement for a Permitted Acquisition or any other
         transaction permitted under this Agreement, and (d) any deposit account the funds in which
         consist solely of funds held by Anchor and its Subsidiaries until such time as the Encina
         ABL Loan Agreement is terminated and the obligations thereunder have been repaid in
         full;

         1.1.95 “Excluded Hedging Obligation” means, with respect to any Credit Party, any
         Hedging Liabilities if, and to the extent that, all or a portion of the Financial Assistance of
         such Credit Party of, or the grant by such Credit Party of a security interest to secure, such
         Hedging Liabilities (or any Financial Assistance in respect thereof) is or becomes illegal
         under the Commodity Exchange Act or any rule, regulation or order of the Commodity
         Futures Trading Commission (or the application or official interpretation of any thereof)
         by virtue of such Credit Party’s failure for any reason to constitute an Qualified ECP
         Guarantor at the time the Financial Assistance of such Credit Party, or a grant by such
         Credit Party of a security interest, becomes effective with respect to such Hedging
         Liabilities. If a Hedging Liability arises under a master agreement governing more than
         one swap, such exclusion shall apply only to the portion of such Hedging Liabilities that is
         attributable to swaps for which such Financial Assistance or security interest is or becomes
         excluded in accordance with the first sentence of this definition.

         1.1.96 “Executive Order” means the Executive Order No. 13224 of 23 September 2001,
         entitled “Blocking Property and Prohibiting Transactions With Persons Who Commit,
         Threaten to Commit, or Support Terrorism”.

         1.1.97 “Existing Credit Agreement” means the Amended and Restated Credit
         Agreement, dated January 30, 2015 (as amended, supplemented or otherwise modified
         from time to time prior to the Amendment and Restatement Date), among the Canadian
         Borrower, the U.S. Borrower, HSBC, as administrative agent thereunder and the financial
         institutions from time to time party thereto as lenders.

         1.1.98 “Facilities” means, collectively, the Term Facility, the Canadian Operating
         Facility and the U.S. Operating Facility; and “Facility” means any of them as the context
         requires.

         1.1.99   “Facilities Maturity Date” means, in respect of each Facility, May 22, 2021.

         1.1.100 “FATCA” means Section 1471 through 1474 of the Code, as of the date of this
         Agreement (or any amended or successor version that is substantively comparable and not
         materially more onerous to comply with), any current and future regulations or official
         interpretations thereof and any agreements entered into pursuant to Section 1471(b)(1) of
         the Code.

         1.1.101 “Federal Funds Rate” means, for any day, the rate of interest per annum set forth
         in the weekly statistical release designated as H.15(519), or any successor publication,
         published by the Federal Reserve Board (including any such successor, the “H.15(519)”)
         for such day opposite the caption “Federal Funds (Effective)”. If on any relevant day such

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         rate is not yet published in H.15(519), the rate for such day will be the rate of interest per
         annum set forth in the daily statistical release designated as the Composite 3:30 p.m.
         Quotations for U.S. Government Securities, or any successor publication, published by the
         Federal Reserve Bank of New York (including any successor, the “Composite 3:30 p.m.
         Quotations”) for such day under the caption “Federal Funds Effective Rate”. If on any
         relevant day the appropriate rate per annum for such day is not yet published in either
         H.15(519) or the Composite 3:30 p.m. Quotations, the rate for such day will be the
         arithmetic mean of the rates per annum for the last transaction in overnight Federal funds
         arranged prior to 9:00 a.m. (New York time) on that day by each of three major brokers of
         Federal funds transactions in New York City, selected by the Agent in its sole discretion,
         acting reasonably; provided that if the Federal Funds Rate calculated for any purpose would
         be less than zero on any day, then such rate shall be deemed to be zero for such purpose.

         1.1.102 “Fee Agreement” means the agreement between the Borrowers and the Agent
         delivered on or before the Amendment and Restatement Date under Section 9.1(n).

         1.1.103 “Financial Assistance” means with respect of any Person and without
         duplication, any loan, guarantee, indemnity, assurance, acceptance, extension of credit,
         loan purchase, share purchase, equity or capital contribution, investment or other form of
         direct or indirect financial assistance or support of any other Person or any obligation
         (contingent or otherwise) primarily for the purpose of enabling another Person to incur or
         pay any indebtedness or to comply with agreements relating thereto or otherwise to assure
         or protect creditors of the other Person against loss in respect of indebtedness of the other
         Person and includes any guarantee of or indemnity in respect of the indebtedness of the
         other Person and any absolute or contingent obligation to (directly or indirectly):

         (a)    advance or supply funds for the payment or purchase of any indebtedness of any
                other Person;

         (b)    purchase, sell or lease (as lessee or lessor) any property, assets, goods, services,
                materials or supplies primarily for the purpose of enabling any Person to make
                payment of Funded Debt or to assure the holder thereof against loss;

         (c)    guarantee, indemnify, hold harmless or otherwise become liable to any creditor of
                any other Person from or against any losses, liabilities or damages in respect of
                Funded Debt;

         (d)    make a payment to another for goods, property or services regardless of the non-
                delivery or non-furnishing thereof to a Person; or

         (e)    make an advance, loan or other extension of credit to or to make any subscription
                for equity, equity or capital contribution, or investment in or to maintain the capital,
                working capital, solvency or general financial condition of another Person;

         provided, however, that the term “Financial Assistance” shall not include endorsements of
         instruments for deposit or collection in the ordinary course of business or customary and
         reasonable indemnity obligations in effect on the Amendment and Restatement Date or


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         entered into in connection with any acquisition or disposition of assets permitted by this
         Agreement.

         The amount of any Financial Assistance is the amount of any loan or direct or indirect
         financial assistance or support, without duplication, given, or all indebtedness of the
         obligor to which the Financial Assistance relates, unless the Financial Assistance is limited
         to a determinable amount, in which case the amount of the Financial Assistance is the
         determinable amount.

         1.1.104 “Financial Letter of Credit” means a standby Letter of Credit if it serves as a
         payment guarantee of a Credit Party’s financial obligations and is treated as a direct credit
         substitute for purposes of the Capital Adequacy Guidelines in the Swingline Lender’s or
         Issuing Bank’s, as applicable, reasonable opinion.

         1.1.105 “First-Ranking Security Interest” in respect of any Collateral means a Lien in
         such Collateral which is registered where necessary or desirable to record and perfect the
         charges contained therein and which ranks in priority to all other Liens in such Collateral
         except for any Permitted Liens which have priority thereto in accordance with Applicable
         Law or as otherwise agreed in writing by the Lenders.

         1.1.106 “Fiscal Quarter” means the three (3) month period commencing on the first day
         of each Fiscal Year and each successive three (3) month period thereafter during such
         Fiscal Year.

         1.1.107 “Fiscal Year” means the fiscal year of the Borrowers and their Subsidiaries
         commencing on January 1 of each year and ending on December 31 of each year.

         1.1.108 “Fixed Charge Coverage Ratio” means, in respect of the Credit Parties on a
         combined basis for any applicable period, the ratio of:

         (a)    (i) EBITDA for such period, plus, to the extent not included in EBITDA, the
                aggregate amount of all unencumbered cash (except pursuant to the Security)
                received by any Credit Party as payment of unbilled Receivables outstanding as of
                December 31, 2015 that were outstanding for more than 720 days from any of the
                Pemex Entities, in respect of contract number 423023821 dated August 6, 2013,
                between Pemex Exploracion y Produccion and Qmax Mexico, S.A. de C.V., and
                contract number 423023813 dated July 25, 2013, between Pemex Exploracion y
                Produccion and Qmax Mexico, S.A. de C.V. (in each case, as may be amended or
                otherwise modified from time to time), in an amount not to exceed $13,500,000,
                minus (ii) Earnout Payments made during such period (but only to the extent not
                directly funded by the cash proceeds from the sale of equity interests of the
                Canadian Borrower and, to the extent contributed to the capital of the Canadian
                Borrower, equity interests of any of the Canadian Borrower’s direct or indirect
                parent companies), minus (iii) Unfunded Capital Expenditures made during such
                period, minus (iv) all Cash Taxes during such period, minus (v) Permitted
                Management Fees and Catch Up Management Fee Payments, if any, paid during
                such period, minus (vi) any payments made during such period pursuant to clauses

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                7.2.6(l), minus (vii) all other Distributions to Persons that are not Credit Parties paid
                during such period, minus (viii) the fees and expenses described in clause (k) of the
                definition of EBITDA; provided that, any deferred purchase price payments made
                in accordance with the terms of the Anchor Acquisition Agreement shall not be
                deducted from EBITDA for the purposes of calculating the Fixed Charge Coverage
                Ratio;

                divided by

         (b)    the sum total of:

                (i)     all Interest Expense paid or payable in cash for such period;

                (ii)    the scheduled principal component of all Capital Lease payments for such
                        period; and

                (iii)   all scheduled principal repayments under the Term Facility pursuant to
                        Section 3.4.2 or under any other Funded Debt paid during such period;

         all determined on a consolidated basis in accordance with GAAP and tested on a trailing
         12 month basis at the end of each Fiscal Quarter.

         1.1.109 “Fund” means any Person (other than a natural person) that is (or will be) engaged
         in making, purchasing, holding or otherwise investing in commercial loans and similar
         extensions of credit in the ordinary course of its business.

         1.1.110 “Funded Debt” means, with respect to any Person, all indebtedness, liabilities
         and obligations which would in accordance with GAAP be classified in the consolidated
         balance sheet of such Person as indebtedness for borrowed money and including without
         duplication:

         (a)    money borrowed by way of overdraft;

         (b)    indebtedness represented by bonds, debentures or notes payable and drafts accepted
                representing extensions of credit;

         (c)    bankers’ acceptances and similar instruments;

         (d)    letters of credit, letters of guarantee and surety bonds issued at the request of such
                Person (to the extent not cash collateralized), but excluding Non-Financial Letters
                of Credit;

         (e)    actual amounts owed under Hedging Agreements upon termination of such
                Hedging Agreements, including net settlement amounts payable upon maturity and
                termination payments payable upon termination or early termination, which are not
                paid when due;



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         (f)    indebtedness secured by any Lien existing on property of such Person, whether or
                not the indebtedness secured thereby shall have been assumed;

         (g)    all obligations (whether or not with respect to the borrowing of money) that are
                evidenced by bonds, debentures, notes or other similar instruments, or that are not
                so evidenced but that would be considered by GAAP to be indebtedness for
                borrowed money;

         (h)    all redemption obligations and mandatory dividend obligations of such Person with
                respect to any shares issued by such Person and which are by their terms or pursuant
                to any contract, agreement or arrangement:

                (i)     redeemable, retractable, payable or required to be purchased or otherwise
                        retired or extinguished, or convertible into debt of such Person (A) at a fixed
                        or determinable date, (B) at the option of any holder thereof, or (C) upon
                        the occurrence of a condition not solely within the control and discretion of
                        such Person; or

                (ii)    convertible into any other shares described in clause (i) above;

                in any case under this clause (h), except as a result of an initial public offering,
                change of control or asset sale (so long as the Obligations have otherwise been paid
                in full prior to any such payment being required to be made under clause (i) above).

         (i)    all obligations as lessee under Capital Leases;

         (j)    all obligations under or in connection with any (i) Permitted Factoring Transaction
                and (ii) Permitted Securitization Financing (to the extent included in the
                consolidated balance sheet of such Person), which shall in each case be deemed to
                be equal to the net proceeds received thereunder;

         (k)    all obligations of such Person secured by Purchase-Money Security Interests; and

         (l)    any guarantee or indemnity (other than by endorsement of negotiable instruments
                for collection or deposit in the ordinary course of business) in any manner of any
                part or all of an obligation of another Person of the type included in items (a)
                through (k) above;

         but excluding for greater certainty, deferred income taxes and normal course trade
         payables.

         1.1.111 “GAAP” means generally accepted accounting principles in Canada or the United
         States as approved by the Canadian Institute of Chartered Accountants or American
         Institute of Certified Public Accountants, respectively, in effect from time to time, and as
         of the Amendment and Restatement Date, includes Canadian or United States generally
         accepted accounting principles for private enterprises.

         1.1.112 “Governmental Authority” means any:

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         (a)    national, federal, provincial, state, municipal, local or other governmental or public
                department, central bank, court, commission, board, bureau, agency or
                instrumentality, domestic or foreign;

         (b)    any subdivision or authority of any of the foregoing; or

         (c)    any quasi-governmental, judicial or administrative body exercising any regulatory,
                expropriation or taxing authority under or for the account of any of the foregoing.

         1.1.113 “Group” means any “group” such term as used in Sections 13(d) and 14(d) of
         the United States Securities Exchange Act of 1934, as amended, other than the Permitted
         Holders.

         1.1.114 “Guarantee” means any agreement by which any Person assumes, guarantees,
         indemnifies, endorses, contingently agrees to purchase or provide funds for the payment
         of, or otherwise becomes liable upon, the obligation of any other Person, or agrees to
         maintain the net worth or working capital or other financial condition of any other Person
         or otherwise assures any creditor of such Person against loss, and shall include any
         contingent liability under any letter of credit or similar document or instrument.

         1.1.115 “Guarantors” means Holdco and all current and future direct and indirect
         Material Subsidiaries of the Canadian Borrower.

         1.1.116 “Hazardous Materials” means any contaminant, pollutant, waste or substance
         that is likely to cause immediately or at some future time harm or degradation to the
         surrounding environment or risk to human health; and without restricting the generality of
         the foregoing, including any pollutant, contaminant, waste, hazardous waste or dangerous
         goods that is regulated by any Requirements of Environmental Law or that is designated,
         classified, listed or defined as hazardous, toxic, radioactive or dangerous or as a
         contaminant, pollutant or waste by any Requirements of Environmental Law.

         1.1.117 “Hedge Provider” means any Lender or any Affiliate thereof that enters into a
         Hedging Agreement with a Credit Party prior to such Lender ceasing to be a Lender under
         this Agreement. For certainty, any Person who enters into a Hedging Agreement after such
         Person ceases to be a Lender hereunder is not a Hedge Provider for purposes such Hedging
         Agreement.

         1.1.118 “Hedging Agreements” means Interest Rate Hedging Agreements and Currency
         Hedging Agreements.

         1.1.119 “Hedging Liability” means the actual indebtedness or obligations of any Credit
         Party to a counterparty who enters into a Hedging Agreement with such Credit Party under
         or pursuant to such Hedging Agreement.

         1.1.120 “Holdco” means Fluid Holding Corp., a corporation incorporated under the
         BCBCA, and its successors and permitted assigns.



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         1.1.121 “Hostile Acquisition” means an acquisition, which is required to be reported to
         applicable securities regulatory authorities, of shares of a corporation where the board of
         directors of that corporation has not approved such acquisition nor recommended to the
         shareholders of the corporation that they sell their shares pursuant to the proposed
         acquisition or of units of a trust where the trustee or manager or administrator of that trust
         has not approved such acquisition nor recommended to the unitholders of the trust that they
         sell their units pursuant to the proposed acquisition or of units of a partnership where the
         board of directors of the general partner(s) thereof has not approved such acquisition nor
         recommended to the partners of the partnership that they sell their units pursuant to the
         proposed acquisition.

         1.1.122 “HSBC” means HSBC Bank Canada and its successors and permitted assigns.

         1.1.123 “HSBC Mexico” means HSBC México, S.A., Institución de Banca Múltiple,
         Grupo Financiero HSBC.

         1.1.124 “HSBC US” means HSBC Bank USA, National Association and its successors
         and permitted assigns.

         1.1.125 “Impositions” is defined in Section 12.4.1.

         1.1.126 “Indemnitees” means the Lenders, the Agent and their respective successors and
         permitted assignees, any agent of any of them (specifically including a receiver or
         receiver-manager) and the respective officers, directors and employees of the foregoing.

         1.1.127 “Insolvency Event” means, in respect of any Person:

         (a)    such Person commits an act of bankruptcy or becomes insolvent (as such terms are
                used in the BIA); or makes an assignment for the benefit of creditors, files a petition
                in bankruptcy, makes a proposal or commences a proceeding under Insolvency
                Legislation; or petitions or applies to any tribunal for, or consents to, the
                appointment of any receiver, trustee or similar liquidator in respect of all or a
                substantial part of its property; or admits the material allegations of a petition or
                application filed with respect to it in any proceeding commenced in respect of it
                under Insolvency Legislation; or takes any board action for specifically authorizing
                any of the foregoing actions; or

         (b)    any proceeding or filing is commenced against such Person seeking to have an order
                for relief entered against it as debtor or to adjudicate it a bankrupt or insolvent, or
                seeking liquidation, winding-up, reorganization, arrangement, adjustment or
                composition of it or its debts under any Insolvency Legislation, or seeking
                appointment of a receiver, trustee, custodian or other similar official for it or any of
                its property or assets; unless:

                (i)     such Person is diligently defending such proceeding in good faith and on
                        reasonable grounds as determined by the Required Lenders acting
                        reasonably and the same shall continue undismissed, or unstayed and in
                        effect, for any period of 60 consecutive days; and
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                (ii)   such proceeding does not in the reasonable opinion of the Required Lenders
                       materially adversely affect the ability of such Person to carry on its business
                       and to perform and satisfy all of its obligations.

         1.1.128 “Insolvency Legislation” means legislation in any applicable jurisdiction relating
         to reorganization, arrangement, compromise or re-adjustment of debt, dissolution or
         winding-up, or any similar legislation, and specifically includes the BIA, the Companies’
         Creditors Arrangement Act (Canada), the Winding-Up and Restructuring Act (Canada) and
         the Bankruptcy Code (United States) and any similar legislation under Applicable Law.

         1.1.129 “Insurance Proceeds” is defined in Section 5.3.1(c).

         1.1.130 “Insured Receivables” means Receivables of the Credit Parties owing from
         account debtors that:

         (a)    solely in respect of Insured Receivables that do not derive from and are not
                governed by the laws of Canada or the United States of America or any political
                subdivision thereof, no less than 80% of such Receivables arise from Eligible
                Approved Contracts; provided that if the revenue derived from any such single
                contract exceeds 10% of the Canadian Borrower’s annual revenue as set out in the
                then most recent income statement of the Canadian Borrower that was delivered to
                the Lenders hereunder, such contract must be an Eligible Approved Contract;

         (b)    does not arise under an “excluded contract” or any similar term as provided in the
                Account Receivable Insurance, are within the approved credit, sovereign, country,
                single obligor and other limits under the Account Receivable Insurance and are
                otherwise covered under the Account Receivable Insurance which is in full force
                and effect;

         (c)    the Credit Parties have complied with the credit policy provided for in the Account
                Receivable Insurance with respect to such Receivables, including the issuance of
                invoices, pro forma invoices and final invoices within the required time periods
                thereunder;

         (d)    there are no events, facts or circumstances which would reasonably be expected to
                result in the insurer under the Account Receivable Insurance denying (or
                withholding or delaying) payment of a claim in respect of such Receivables or
                asserting any defense, dispute or counterclaim with respect to such Receivables;

         (e)    the insurer under the Account Receivable Insurance has not denied all or any
                portion of a claim in respect of such Receivable, and has not asserted any defense,
                dispute or counterclaim with respect to such Receivable;

         (f)    the Credit Parties have not suffered any loss with respect to such Receivables,
                unless such loss is covered by the Account Receivable Insurance;

         (g)    are not in dispute and are valid and enforceable obligations of the account debtor
                under Applicable Law;

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         (h)    if Credit Parties have suffered a loss in respect of such Receivable covered by the
                Account Receivable Insurance, they have submitted a claim for such loss in
                accordance with the terms of the Account Receivable Insurance and have otherwise
                complied with all provisions of the Account Receivable Insurance on a timely basis
                in order to be entitled to have such claim paid by the insurer under the Account
                Receivable Insurance;

         (i)    the Credit Parties have paid any required deductibles under the Account Receivable
                Insurance in respect of such Receivables; and

         (j)    in any case, are due within the time period, including any “waiting period”, from
                the date of billing required under the Account Receivable Insurance in respect of
                such Receivable.

         1.1.131 “Intercreditor Agreement” means that certain intercreditor and priority
         agreement between the Agent, HSBC Mexico, and the Borrower or QMax Mexico, as
         amended, modified, supplemented or restated from time to time, with respect to any
         Permitted Factoring Transaction with HSBC Mexico.

         1.1.132 “Interest” means interest on loans, stamping fees in respect of bankers’
         acceptances, the difference between the proceeds received by the issuers of bankers’
         acceptances and the amounts payable upon the maturity thereof, issuance fees in respect of
         letters of credit, and any other charges or fees in connection with the extension of credit
         which are determined by reference to the amount of credit extended, plus standby fees in
         respect of the unutilized portion of any credit facility; but for greater certainty “Interest”
         shall not include agency fees, arrangement fees, structuring fees, fees relating to the
         granting of consents, waivers, amendments, extensions or restructurings, the
         reimbursement of costs and expenses, and any similar amounts which may be charged from
         time to time in connection with the establishment, administration or enforcement of the
         credit facilities.

         1.1.133 “Interest Expense” means, with respect to any Person for any period, the sum of
         (without duplication) (a) interest expense of such Person for such period on a consolidated
         basis, including (i) the amortization of debt discounts, (ii) all commissions, discounts and
         other fees and charges owed with respect to letters of credit and bankers’ acceptances,
         (iii) standby fees in respect of undrawn debt, (iv) discounts applied to the proceeds of any
         Permitted Factoring Transaction or Permitted Securitization Financing, and (v) the portion
         of any payments or accruals with respect to Capital Lease obligations allocable to interest
         expense (but excluding (A) non-cash interest expense attributable to the movement of
         mark-to-market hedging obligations or other derivative instruments pursuant to GAAP
         (B) penalties and interest related to taxes, amortization of debt financing fees, debt issuance
         costs, commissions, fees and expenses and the expensing of any commitment and other
         financing fee in each case, to the extent constituting interest expense under GAAP), and
         (b) capitalized interest of such Person. For purposes of the foregoing, cash interest expense
         shall be determined after giving effect to any net payments made or received and costs
         incurred by the Borrower and the Subsidiaries with respect to Interest Rate Hedging
         Agreements, and interest on a Capital Lease obligation shall be deemed to accrue at an

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         interest rate reasonably determined by the Borrower to be the rate of interest implicit in
         such Capital Lease obligation in accordance with GAAP.

         1.1.134 “Interest Rate Hedging Agreement” means any agreement that does not
         contravene Section 7.2.13 entered into between the Borrower and a counterparty from time
         to time for the purpose of hedging interest rate risk, including interest rate exchange
         agreements (commonly known as “interest rate swaps”) and forward rate agreements; and
         for greater certainty, including interest rate exchange agreements in U.S. Dollars
         (commonly known as “cross-currency swaps”).

         1.1.135 “Interim Financial Statements” in respect of any Fiscal Quarter means, in
         respect of any Person, the unaudited financial statements of such Person on a consolidated
         basis in respect of such Fiscal Quarter (and also on a year-to-date basis in respect of such
         Fiscal Quarter and all previous Fiscal Quarters in the same Fiscal Year).

         1.1.136 “Investment Grade” means, with respect to the long term unsecured debt ratings
         of a Person, of the rating agencies on the date hereof, Baa3 or higher for Moody’s Investors
         Services, Inc. or BBB- or higher for Standard & Poor’s Rating Services, a division of The
         McGraw Hill Companies, Inc. (or in either case, their respective successors).

         1.1.137 “Investments” has the meaning given to it in Section 7.2.3.

         1.1.138 “Investors” means Pep Fluid Co-Invest L.P., PEP Fluid L.P. and any other
         investors from time to time who are approved in writing by the Agent on behalf of the
         Required Lenders.

         1.1.139 “ISDA” means the International Swaps and Derivatives Association and its
         successors and assigns.

         1.1.140 “ISP98” means the International Standby Practices ISP98, as published by the
         International Chamber of Commerce and in effect from time to time.

         1.1.141 “Issuing Bank” means the Swingline Lender under the Canadian Operating
         Facility and HSBC US under the U.S. Operating Facility, as applicable.

         1.1.142 “Land” means real property (including a leasehold interest in land) and all
         buildings, improvements, fixtures and plant situated thereon.

         1.1.143 “Landlord Agreement” means an agreement between the Agent, the applicable
         Credit Party and the landlord of a Leased Property in form and substance reasonably
         satisfactory to the Agent, which shall include the following provisions (except to the extent
         otherwise agreed by the Agent in its discretion): such landlord consents to the granting of
         a security interest in the lease applicable to such Leased Property by a Credit Party which
         is a tenant thereunder in favour of the Agent, agrees to give written notice to the Agent in
         respect of and a reasonable opportunity to cure any default before terminating the lease,
         and agrees to waive (or subordinate and defer the enforcement of) its rights and remedies
         and any security it may hold in respect of any assets owned by the applicable Credit Party
         located on or affixed to such Leased Property.

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         1.1.144 “Laws” means all laws, statutes, codes, ordinances, decrees, rules, regulations,
         municipal by-laws, judicial or arbitral or administrative or ministerial or departmental or
         regulatory judgments, orders, decisions, rulings or awards, or any provisions of such laws,
         including general principles of common and civil law and equity or policies or guidelines,
         to the extent such policies or guidelines have the force of law, binding on the Person
         referred to in the context in which such word is used; and “Law” means any of the
         foregoing.

         1.1.145 “LC Payment” is defined in Section 2.7.9.

         1.1.146 “Leased Properties” means all Land leased by any Credit Party as tenant from
         time to time, specifically including as at the date of this Agreement the Land described in
         Schedule 6.1.10; and “Leased Property” means any of the Leased Properties as the
         context requires.

         1.1.147 “Lenders” means the lenders identified in Exhibit “A” attached hereto and any
         other Persons which may from time to time become lenders pursuant to this Agreement;
         and their respective successors and permitted assigns; and “Lender” means any of them as
         the context requires.

         1.1.148 “Lending Office” in respect of any Lender means the office of such Lender
         designated by it from time to time as the office from which it will make Advances
         hereunder.

         1.1.149 “Letter of Credit” means a stand-by letter of credit or a letter of guarantee or
         documentary letter of credit issued, at the request of and on behalf of the Borrower, by the
         applicable Issuing Bank.

         1.1.150 “Level” means the applicable level as set forth in the table set forth in the
         definition of Applicable Margin.

         1.1.151 “LIBOR Business Day” means a day on which the main branches of the Agent
         and commercial banks generally are open for international business (including dealings in
         U.S. Dollar deposits in the London interbank market) in London, England and New York,
         New York.

         1.1.152 “LIBOR Interest Period” means, with respect to each LIBOR Loan, the initial
         period (subject to availability) of approximately one, two, three, six or twelve months or
         such other periods as selected by the Borrower and notified in writing to the Agent
         commencing on and including the date of any Advance, Conversion or Rollover, as the
         case may be, applicable to such LIBOR Loan and ending on and including the last day of
         such initial period, and thereafter, each successive period (subject to availability) of
         approximately one, two, three, six or twelve months or such other periods as selected by
         the Borrower and notified to the Agent in writing commencing on and including the
         last day of the prior LIBOR Interest Period; provided, however, that:

         (a)    in the case of a Rollover, the last day of each LIBOR Interest Period shall also be
                the first day of the next LIBOR Interest Period;

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         (b)    the last day of each LIBOR Interest Period shall be a LIBOR Business Day and if
                not, the Borrower shall be deemed to have selected a LIBOR Interest Period the
                last day of which is the first LIBOR Business Day following the last day of the
                LIBOR Interest Period selected by the Borrower;

         (c)    if the Borrower selects a LIBOR Interest Period for a period longer than three
                months, the last day of such LIBOR Interest Period shall be the date falling three
                months after the beginning of such LIBOR Interest Period and the next LIBOR
                Interest Period shall begin on such date; and

         (d)    notwithstanding any of the foregoing, the last day of each LIBOR Interest Period
                shall be on or before the maturity date of the applicable Facility.

         1.1.153 “LIBOR Loan” means an Advance made by a Lender to a Borrower in
         U.S. Dollars in accordance with the provisions hereof, bearing interest by reference to the
         U.S. Dollar LIBOR Rate.

         1.1.154 “LIBOR Market” means the London Interbank Eurodollar offering market.

         1.1.155 “LIBOR Period” means, in respect of a LIBOR Loan, the period commencing
         on the date of the Advance of such LIBOR Loan and ending on the scheduled maturity date
         of such LIBOR Loan.

         1.1.156 “LIBOR Rate” means, with respect to each LIBOR Interest Period pertaining to
         any LIBOR Loan, the London interbank offered rate administered by ICE Benchmark
         Administration Limited (or any other successor thereto which takes over administration of
         such rate) appearing on Bloomberg Page BBAM1 screen (or on any successor or substitute
         page of such Bloomberg screen providing rate quotations comparable to those currently
         provided on such page of such Bloomberg screen, as determined by the Agent from time
         to time for purposes of providing quotations of interest rates applicable to U.S. Dollar
         deposits in the London interbank market) at approximately 11:00 a.m., London time, two
         LIBOR Business Days prior to the making a LIBOR Loan, as the rate for the offering of
         U.S. Dollar deposits with a maturity comparable to the LIBOR Interest Period of such
         LIBOR Loan; provided, however, that if the said page is not available for any reason, the
         term “LIBOR Rate” shall mean the rate per annum at which deposits in U.S. Dollars for
         the applicable interest period and amount are offered to the Agent in the LIBOR Market;
         provided that if the LIBOR Rate calculated for any purpose would be less than zero on any
         day, then such rate shall be deemed to be zero for such purpose.

         1.1.157 “Lien” means:

         (a)    a lien, charge, mortgage, deed of trust, pledge, security interest or conditional sale
                or title retention agreement in the nature of security which secures payment or
                performance of an obligation;

         (b)    an assignment, lease, consignment, deposits, trust or deemed trust that secures
                payment or performance of an obligation;


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         (c)    a garnishment; and

         (d)    any other encumbrance of any kind in the nature of security which secures payment
                or performance of an obligation (including any garantía prioritaria por adquisición
                under law 1676 of 2013 Colombia).

         1.1.158 “Loan” means a Canadian Dollar Prime Rate Loan, U.S. Dollar Base Rate Loan,
         U.S. Dollar Prime Rate Loan, LIBOR Loan, Bankers’ Acceptance, BA Equivalent Loan or
         Letter of Credit outstanding hereunder, or in the case of the Swingline, Overdraft
         borrowings and such other Advances permitted under Section 2.7.2.

         1.1.159 “Management Shareholders” means each of the employees of the Canadian
         Borrower who hold Common Shares of the Canadian Borrower or options in respect of the
         same on the Amendment and Restatement Date and such other holders thereof from time
         to time who are approved in writing by the Agent on behalf of the Required Lenders, and
         “Management Shareholder” means any one of them.

         1.1.160 “Marginable Capital Assets” means 60% of the net book value of Eligible
         Capital Assets at the time of determination, up to a maximum amount of U.S. $50,000,000
         less the amount of each completed Anchor Sale and Leaseback Transaction; provided that,
         reductions resulting from Anchor Sale and Leaseback Transactions shall not reduce the
         amount available below U.S. $30,000,000.

         1.1.161 “Marginable Cash” means 100% of Eligible Cash up to a maximum amount of
         U.S. $15,000,000 at any time.

         1.1.162 “Marginable Inventory” means 50% of Eligible Inventory at the time of
         determination, up to U.S. $35,000,000.

         1.1.163 “Marginable Receivables” means the sum of the following (without
         duplication):

         (a)    90% of Insured Receivables (or such lower percentage as is covered by the
                applicable Account Receivable Insurance) up to a maximum amount of U.S.
                $175,000,000;

         (b)    85% of Eligible Receivables owed to a Credit Party by Acceptable Account
                Debtors;

         (c)    75% of all other Eligible Receivables; and

         (d)    90% of Insured Receivables from Pemex outstanding more than 300 days, but not
                more than 540 days, in respect of contract numbers 423023819 and 423023813
                between Pemex Exploracion y Produccion and Qmax Mexico, S.A. de C.V., dated
                April 22, 2014 and July 17, 2013, respectively, and contract number 423023813,
                dated July 25, 2013, between Pemex Exploracion y Produccion and Qmax Mexico,
                S.A. de C.V. (in each case, as may be amended or otherwise modified from time to
                time).

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         1.1.164 “Material Adverse Change” or “Material Adverse Effect” means any matter,
         event or circumstance that individually or in the aggregate could, in the opinion of the
         Required Lenders, acting reasonably, be expected to result in a material adverse change to
         or have a material adverse effect on:

         (a)    the business, financial condition, prospects, operations, or property, of the
                Canadian Borrower and its Subsidiaries (excluding any Securitization SPE), taken
                as a whole;

         (b)    the ability of any Credit Party to pay and perform its obligations in accordance with
                this Agreement or any of the other Credit Documents; or

         (c)    the validity or enforceability of this Agreement or any other Credit Document.

         1.1.165 “Material Agreement” means, in respect of the Credit Parties, an agreement
         made between the applicable Credit Party or its predecessors and another Person
         (a) pursuant to which such Credit Party is reasonably expected to incur obligations or
         liabilities in excess of $10,000,000 in any Fiscal Year (other than any agreement related to
         the purchase of equipment, software or utility services) and (b) which if terminated (other
         than at its scheduled maturity) would, unless replaced with a substantially similar
         agreement, result, or would have a reasonable likelihood of resulting, in a Default, an Event
         of Default or a Material Adverse Change, specifically including, as at the Amendment and
         Restatement Date, each agreement listed in Schedule 6.1.13; provided, in each case, in no
         event shall the Wells Fargo Credit Agreement or any agreement in connection with a
         Permitted Securitization Financing be considered a Material Agreement.

         1.1.166 “Material Permit” means, in respect of the Credit Parties, a licence, permit,
         approval, registration or qualification granted to or held by the applicable Credit Party
         which if terminated and not replaced would result, or would have a reasonable likelihood
         of resulting, in a Default, an Event of Default or a Material Adverse Change; specifically
         including, as at the date of this Agreement, each licence, permit, approval, registration or
         qualification listed in Schedule 6.1.8.

         1.1.167 “Material Subsidiary” means (a) any wholly-owned Subsidiary of the Canadian
         Borrower which:

                (i)     has Consolidated Net Tangible Assets owned directly by it on an
                        unconsolidated basis equal or greater than 5% of the Canadian Borrower’s
                        Consolidated Net Tangible Assets as at the end of the Fiscal Quarter
                        immediately prior to the date of such determination;

                (ii)    has EBITDA generated by it on an unconsolidated basis equal or greater
                        than 5% of the Canadian Borrower’s consolidated EBITDA as at the end of
                        the Fiscal Quarter immediately prior to the date of such determination; or

                (iii)   any Subsidiary of the Canadian Borrower that has been designated as a
                        “Material Subsidiary” by the Borrower,


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         and (b) any Subsidiary which owns, directly or indirectly, any equity or other ownership
         interest in a Material Subsidiary.

         1.1.168 “Minimum Liquidity” means the sum of (A) the amount of unrestricted cash
         (determined in accordance with GAAP) and Cash Equivalents of the Credit Parties held in
         accounts with any of the Lenders, Encina (or any other lenders party to the Encina ABL
         Loan Agreement) and Wells Fargo (or any other lenders party to the Wells Fargo Credit
         Agreement), plus (B) the Minimum Margin Availability and undrawn available amount
         under the Encina ABL Loan Agreement or the Wells Fargo Credit Agreement, as
         applicable, plus (C) undrawn and available amounts under other facilities constituting
         Permitted Funded Debt plus (D) non-Marginable Cash.

         1.1.169 “Minimum Margin Availability” means the undrawn available amount under
         the Operating Facilities up to the Borrowing Base (as at the time of determination).

         1.1.170 “Minor Title Defects” in respect of any parcel of Land means encroachments,
         restrictions, easements, rights-of-way, servitudes and defects or irregularities in the title to
         such Land which are of a minor nature and which, in the aggregate, will not materially
         impair the use of such Land for the purposes for which such Land is held by the owner
         thereof.

         1.1.171 “Multiemployer Plan” means a multiemployer plan, as defined in
         Section 4001(a)(3) of ERISA, to which any Credit Party or any ERISA Affiliate is making
         or accruing an obligation to make contributions, or has within any of the preceding five
         plan years made or accrued an obligation to make contributions.

         1.1.172 “Multiple Employer Plan” means a plan that is described in Section 210 of
         ERISA and subject to Title IV of ERISA, and (i) is maintained for employees of any Credit
         Party or any ERISA Affiliate and (ii) in respect of which any Credit Party or any ERISA
         Affiliate could have liability under Section 4069 of ERISA in the event such plan has been
         or were to be terminated.

         1.1.173 “Net Leverage Ratio” means, in respect of any Fiscal Quarter, the ratio of Total
         Net Debt at the end of such Fiscal Quarter to EBITDA in the fiscal period comprised of
         such Fiscal Quarter and the immediately preceding three Fiscal Quarters.

         1.1.174 “New Rules” is defined in Section 12.1.3.

         1.1.175 “Non-BA Lender” means a Lender identified in Exhibit “A” attached hereto as a
         Lender which will make BA Equivalent Loans instead of accepting Bankers’ Acceptances
         hereunder.

         1.1.176 “Non-Consenting Lender” is defined in Section 11.5.2.

         1.1.177 “Non-Financial Letter of Credit” means a Letter of Credit that is not a Financial
         Letter of Credit.



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         1.1.178 “Non-OECD Guarantor” means any Guarantor whose governing jurisdiction is
         located in a country which not a member of OECD, excluding Colombia.

         1.1.179 “Non-Paying Lender” is defined in Section 11.4.2.

         1.1.180 “Obligations” means, at any time all direct and indirect, contingent and absolute
         obligations and liabilities of the Borrower and the other Credit Parties to the Agent and the
         Lenders under or in connection with this Agreement and the Security (specifically
         including for greater certainty all Guarantees provided hereunder) at such time, specifically
         including the Outstanding Advances, all accrued and unpaid interest thereon, all Secured
         Hedging Liabilities and all Banking Service Liabilities, all indemnity obligations arising
         under, any other Credit Document, any Banking Service Agreement or any Hedging
         Agreement with a Hedge Provider, all fees payable in connection with prepayments, all
         breakage fees payable pursuant to Section 5.15 and all other fees, expenses and other
         amounts payable pursuant to this Agreement and the Security (specifically including fees
         relating to the Facilities as may be agreed in writing from time to time between a Borrower
         and any Lender); except that if otherwise specified or required by the context,
         “Obligations” shall mean any portion of the foregoing. Notwithstanding anything herein to
         the contrary, the “Obligations” shall exclude any Excluded Hedging Obligations.

         1.1.181 “OECD” means The Organisation for Economic Co-operation and Development.

         1.1.182 “OECD Credit Party” means any Credit Party whose governing jurisdiction is
         in a country which is an OECD member or which has a sovereign currency credit rating at
         an Investment Grade level.

         1.1.183 “OFAC” means the U.S. Treasury Department Office of Foreign Assets Control.

         1.1.184 “Operating Facilities” means, collectively, the Canadian Operating Facility and
         the U.S. Operating Facility, and “Operating Facility” means any of them as the context
         requires.

         1.1.185 “Other Taxes” is defined in Section 12.4.2.

         1.1.186 “Outstanding Advances” means, at any time, the aggregate of all obligations of
         the Borrowers to the Lenders (or if the context requires, to any Lender) in respect of all
         Advances made under the Facilities (or if the context requires, under any Facility) which
         have not been repaid or satisfied at such time, determined as follows:

         (a)    in the case of Canadian Dollar Prime Rate Loans and Overdrafts in Canadian
                Dollars, the principal amount thereof;

         (b)    in the case of Bankers’ Acceptances and BA Equivalent Loans and Letters of
                Credit, the face amount thereof;

         (c)    in the case of Letter of Credit, the undrawn amount thereof (to the extent not cash
                collateralized, backstopped or otherwise provided for in a manner acceptable to the
                Issuing Bank, in its discretion, in respect thereof); and

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         (d)    in the case of U.S. Dollar Base Rate Loans, Overdrafts in U.S. Dollars and LIBOR
                Loans the Equivalent Amount of the principal amount thereof expressed in
                Canadian Dollars.

         1.1.187 “Overdraft” means indebtedness of the Canadian Borrower to the Swingline
         Lender arising under the Swingline in connection with all amounts debited to all overdraft
         accounts established by the Canadian Borrower with the Swingline Lender (in Canadian
         Dollars or U.S. Dollars, as the case may be), including without limitation all cheques,
         transfers, withdrawals, interest, costs, charges and fees debited to such accounts.

         1.1.188 “Palladium” means Palladium Capital Management IV LLC.

         1.1.189 “Palladium Equity Line” means the Loan Agreement, dated as of October 18,
         2017, by and between Holdco, as borrower, and PEP Fluid L.P., as lender (together with
         the revolving demand note related thereto), and any related loan agreement and revolving
         demand note with PEP Fluid Co-Invest LP and/or Calumet, in an aggregate principal
         amount of up to $5,000,000, as may be amended, restated, replaced or otherwise modified
         from time to time.

         1.1.190 “Participant” is defined in Section 13.6.4.

         1.1.191 “Participant Register” is defined in Section 13.6.4

         1.1.192 “Parties” means the Borrowers, the Agent and the Lenders and their respective
         successors and permitted assigns.

         1.1.193 “PATRIOT Act” means The Uniting and Strengthening America by Providing
         Adequate Tools Required to Intercept and Obstruct Terrorism Act of 2001 (Title III of
         Pub. L. No. 107-56 (signed into law October 26, 2001)).

         1.1.194 “PBGC” means the Pension Benefit Guaranty Corporation (or any successor).

         1.1.195 “Pemex Entities” means, collectively, Petroleos Mexicanos, Pemex Exploracion
         y Produccion and Pemex Perforacion y Servicios.

         1.1.196 “Pension Plan” means:

         (a)    a “pension plan” or “plan” which is subject to the funding requirements of
                applicable pension benefits legislation in any jurisdiction of Canada and is
                applicable to employees of a Credit Party resident in Canada; or

         (b)    any pension benefit plan or similar arrangement (other than Plans or Multiemployer
                Plans) applicable to employees of a Credit Party.

         1.1.197 “Permitted Acquisition” means any Acquisition with respect to which all of the
         following conditions shall have been satisfied:



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         (a)   the Acquired Business has positive EBITDA calculated on a trailing twelve month
               basis (determined using the definition thereof set for herein as if the Acquired
               Business was the Canadian Borrower for such purpose);

         (b)   the Acquired Business is in an Eligible Line of Business in Canada or the U.S.;

         (c)   the Acquisition shall not be a Hostile Acquisition and, if the Acquisition involves
               a merger involving a Credit Party, the surviving entity is or becomes a Credit Party
               concurrently with the completion of such merger;

         (d)   the aggregate purchase price of all such Acquisitions shall not exceed the sum of
               $50,000,000 in any Fiscal Year;

         (e)   if the consideration payable at the closing of the acquisition of the Acquired
               Business in cash, shares or other tangible assets (but for certainty excluding Earnout
               Payments), plus the Permitted Funded Debt of the Acquired Business assumed as
               part of such acquisition, is greater than $15,000,000, then (i) the Net Leverage Ratio
               on a pro forma basis (including the EBITDA and, if applicable, Permitted Funded
               Debt of the Acquired Business) as of the end of and for the most recently completed
               four Fiscal Quarter period occurring prior to the closing of the Acquisition in
               question for which financial statements are available does not exceed the maximum
               Net Leverage Ratio permitted for such four Fiscal Quarter period under Section
               7.3.1(a) minus 0.25 to 1, (ii) after giving effect to the funding of the Acquisition in
               question the sum of: (A) unrestricted cash on hand of the Credit Parties, plus
               (B) undrawn and available amounts under the Operating Facilities, plus
               (C) undrawn and available amounts permitted under operating facilities provided
               under clauses (c) and (d) of the definition of Permitted Funded Debt (provided, that
               the stated maturity date of any such facility, if any, is not within 90 days after the
               date of such Acquisition), is no less than $25,000,000; and (iii) at least 10 Business
               Days prior to the date that the Acquisition is to close, the Lenders shall have
               received financial statements and quarterly earnings reports in respect of the
               Acquired Business which shall be satisfactory to the Required Lenders, acting
               reasonably, together with any other information in respect of the Acquired Business
               which the Agent may reasonably request (and in the case of (i) and (ii) above, the
               resident and/or chief financial officer of the Canadian Borrower will deliver to the
               Agent an officer’s certificate confirming such items, together with detailed
               calculations thereof);

         (f)   if the Acquisition relates to the purchase of shares or other equity of a Person, it
               must be for 100% of the issued and outstanding shares of such Person;

         (g)   if a new Material Subsidiary is formed or acquired as a result of or in connection
               with the Acquisition, the Borrower shall have complied with the requirements of
               Article 8 in connection therewith, subject to the last sentence of Section 8.2;

         (h)   any existing indebtedness of the Acquired Business will be repaid and, if
               applicable, cancelled, unless otherwise constituting Permitted Funded Debt; and

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         (i)    after giving effect to the Acquisition and any Advance in connection therewith, and
                subject to clause (j) below with respect to the representations and warranties in this
                Agreement, no Default or Event of Default shall exist, including with respect to the
                financial covenants contained in Section 7.3 on a pro forma basis as of the end of
                and for the most recently completed four Fiscal Quarter period occurring prior to
                the closing of the Acquisition for which financial statements are available; and

         (j)    all representations and warranties set forth herein (other than those which are
                specified to be given as of specific date) shall be repeated as of the date of the
                Acquisition (after giving effect to the Acquisition and any Advance in connection
                therewith) and must be true in all material respects;

         provided that, notwithstanding anything herein to the contrary, the Terra Acquisition shall
         constitute a Permitted Acquisition if the following conditions shall have been satisfied:

                (i)     the Terra Acquisition shall not be funded in whole or in part with the
                        proceeds of any Advance hereunder;

                (ii)    on the date hereof, all amounts outstanding under the Palladium Equity Line
                        shall be repaid in full and, immediately following such repayment,
                        Palladium shall make an equity contribution to the Canadian Borrower in
                        an amount not less than $7,000,000; and

                (iii)   prior to or substantially concurrently with the closing of the Terra
                        Acquisition, the Permitted Securitization Financing among ADF SPV,
                        LLC, as borrower, Anchor, as servicer, and Wells Fargo Bank, National
                        Association, as lender and agent shall also be consummated or the Credit
                        Parties shall have otherwise arranged sufficient funding to fund such
                        acquisition in a manner that is acceptable to the Required Lenders, acting
                        reasonably.

         1.1.198 “Permitted Contest” means action taken by or on behalf of a Credit Party in
         good faith by appropriate proceedings diligently pursued to contest a tax, claim or Lien;
         provided, that:

         (a)    the Person to which the tax, claim or Lien being contested is relevant (and, in the
                case of a Subsidiary of the Canadian Borrower, the Canadian Borrower on a
                consolidated basis) has established reasonable reserves therefor if and to the extent
                required by GAAP;

         (b)    proceeding with such contest does not have, and would not reasonably be expected
                to result in, a Material Adverse Change; and

         (c)    proceeding with such contest will not create a material risk of sale, forfeiture or loss
                of, or interference with the use or operation of, a material part of the assets of the
                Credit Parties, taken as a whole.



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         1.1.199 “Permitted Discretion” shall mean the Agent’s or any Required Lender’s
         discretion, as the context requires, exercising its reasonable credit judgment in accordance
         with customary business practices for comparable asset-based lending transactions and, as
         it relates to the adjustment or imposition of exclusionary criteria, shall require that, (a) such
         establishment, increase, adjustment or imposition after the Amendment and Restatement
         Date be based on the analysis of facts or events first occurring, first discovered or quantified
         by the Agent, or the applicable Required Lender, after the Amendment and Restatement
         Date or that are materially different from facts or events occurring or known to the Agent,
         or the Required Lender, on the Amendment and Restatement Date, (b) the contributing
         factors to such change shall not duplicate the exclusionary criteria set forth in the
         definitions of “Eligible Capital Assets”, “Eligible Inventory” and “Eligible Receivables”
         as applicable (and vice versa), and (c) the effect of any adjustment or imposition of
         exclusionary criteria shall be a quantification of the incremental reduction of the Borrowing
         Base attributable to such contributing factors which is reasonable in light of reasonable
         credit judgment exercised in senior secured asset-based revolving credit facilities with
         comparable companies of similar size, industries, businesses and business practices,
         including, without limitation, leverage profile and projected free cash flow, in the
         applicable market.

         1.1.200 “Permitted Dispositions” is defined in Section 7.2.4.

         1.1.201 “Permitted Distribution” means:

         (a)     the Permitted Management Fees; provided, that no such Distribution is permitted if
                 a Default or an Event of Default exists at such time or would result therefrom; and
                 further provided, that any such payments that were not able to be made during the
                 occurrence of a Default or an Event of Default may be “caught up” when such
                 Default or Event of Default no longer exists (regardless of the Annual Management
                 Fee Cap) (with any such catch up payments in excess of the Annual Management
                 Fee Cap in any Fiscal Year being referred to herein as the “Catch Up Management
                 Fee Payments”);

         (b)     any Distribution from one Credit Party to another Credit Party;

         (c)     any other Distribution payable to the shareholders of the Canadian Borrower by
                 any Credit Party if at the time such Distribution is made (i) no Default or Event of
                 Default exists at such time or would result therefrom, (ii) on a pro forma basis after
                 giving effect to such Distribution, the Net Leverage Ratio would not exceed
                 2.50 to 1, as evidenced by the Canadian Borrower providing an officer’s certificate
                 to the Agent confirming same, and (iii) no Borrowing Base Shortfall has occurred
                 and is continuing or would result from any such Distribution on a pro forma basis
                 as if such Distribution had been made as of the end of the last Fiscal Quarter;

         (d)     any dividend payments or other Distributions payable by Holdco or any of its
                 Subsidiaries solely in the equity interests of such Person;

         (e)     any Distribution permitted under Section 7.2.6(l);

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         (f)    non-cash repurchases by Holdco or its Subsidiaries of equity interests deemed to
                occur upon exercise of stock options or similar equity incentive awards if such
                equity interests represents a portion of the exercise price of such options or similar
                equity incentive awards;

         (g)    cash dividends to Holdco (and by Holdco to its parent companies) by any Credit
                Party not to exceed an amount necessary to permit Holdco and its parent companies
                to pay for normal, reasonable and documented over-head and administrative costs
                and expenses of Holdco and its parent companies and franchise fees or similar taxes
                and fees required to maintain its corporate existence and to reimburse out-of-pocket
                expenses actually incurred by Holdco and its parent companies for the benefit of
                the Canadian Borrower, and other Distributions for customary directors’ fees to any
                board members and the reimbursement of out-of-pocket expenses incurred by any
                board members in such capacity, provided that no Default or Event of Default exists
                at such time or would result therefrom; and

         (h)    Distributions made (i) to Holdco to permit Holdco to, and Holdco may, redeem or
                repurchase equity interests of Holdco from officers, employees, consultants,
                managers and directors of the Canadian Borrower or any of its Subsidiaries in
                connection with the termination of employment or engagement of any such Person
                or (ii) pursuant to any management equity plan or stock option plan or any other
                management or employee benefit plan or other agreement or arrangement
                (including, but not limited to, employment, compensation, severance agreements
                or arrangements or stockholders agreements), provided that no Default or Event of
                Default exists at such time or would result therefrom; and

         (i)    prior to the closing of the Terra Acquisition, Distributions to Palladium or its
                Affiliates in repayment of the Palladium Equity Line; provided in the event the
                Palladium Equity Line is not repaid as contemplated in clause (ii) of the proviso set
                forth in the definition of “Permitted Acquisition”, (x) the Canadian Borrower and
                its Subsidiaries shall, on a pro forma basis, have a Minimum Liquidity of not less
                than U.S. $15,000,000 immediately after such repayment, and (y) the principal in
                respect of the Palladium Equity Line will not be repaid prior to October 31, 2018,
                unless (A) such prepayment is made in the manner prescribed by clause (ii) of the
                proviso set forth in the definition of “Permitted Acquisition” and the subsequent
                equity contribution described in such clause is also effected, or (B) the Required
                Lenders consent to such earlier prepayment in their Permitted Discretion;

         provided that the aggregate of all Distributions made under clauses (g) and (h) above do
         not in any Fiscal Year exceed $2,000,000 (with unusual amounts in any Fiscal Year being
         carried over to succeeding Fiscal Years), other than to the extent such Distributions are
         funded by the cash proceeds from the sale of equity interests of the Canadian Borrower
         and, to the extent contributed to the capital of the Canadian Borrower, equity interests of
         any of the Canadian Borrower’s direct or indirect parent companies.




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         1.1.202 “Permitted Factoring Debtors” means, collectively, the Pemex Entities,
         Petroamazones EP, Operaciones Río Napo CEM and any other Person agreed to in advance
         by the Agent, acting reasonably.

         1.1.203 “Permitted Factoring Transaction” means: at the Borrower’s option,

         (a)   the financing of certain Collection Rights by HSBC Mexico; provided that (i) such
               transaction is non-recourse to the Borrowers and their Material Subsidiaries, except
               for any Liens granted solely over the Collection Rights and the proceeds thereof,
               (ii) such transaction shall be and remain subject to the terms and conditions of the
               Intercreditor Agreement, (iii) QMax Mexico may remain responsible for the
               legitimacy and existence of the Collection Rights financed by such transaction at
               the time of execution of the relevant factoring transaction and (iv) QMax Mexico
               will no longer be liable for the payment of the Collection Rights to HSBC Mexico
               or any permitted assignee but may remain liable for the decrease in value of the
               Collection Rights; and/or

         (b)   the financing by the Borrowers or one or more of their Material Subsidiaries of any
               Receivables (other than as described in paragraph (a) above); provided that (i) such
               transaction results in a legal “true sale” of Receivables, (ii) such transaction is non-
               recourse to the Borrowers and their Material Subsidiaries, except for any Liens
               granted solely over such Receivables and the proceeds thereof, and (iii) such
               transaction shall only involve the sale of Receivables either (x) owing by any of the
               Permitted Factoring Debtors to a Credit Party or (y) not constituting Eligible
               Receivables; provided that, the aggregate principal, stated or investment amount of
               all outstanding loans made to the Credit Parties in respect of all Permitted Factoring
               Transactions shall not exceed $25,000,000 at any time outstanding; provided, such
               amount shall be increased to an amount specified by the Borrowers at any time if
               the Borrowers or one or more Material Subsidiaries provides notice to the Agent of
               such an increase, and the Agent (on the instruction of Required Lenders) has not
               objected within three Business Days following receipt of notice thereof. For
               certainty, if any Eligible Receivable is sold, contributed, financed or otherwise
               conveyed or pledged pursuant to a Permitted Factoring Transaction it shall
               immediately cease to be an Eligible Receivable.

         1.1.204 “Permitted Funded Debt” means, without duplication:

         (a)   the Obligations under the Facilities and, to the extent constituting Funded Debt,
               obligations in respect of Banking Services Agreements of the Canadian Borrower
               and its Subsidiaries owing to the Agent and the Lenders (and their Affiliates);

         (b)   Funded Debt up to Cdn. $10,000,000 under a bilateral letter of credit facility with
               HSBC and insured by Export Development Canada;

         (c)   Funded Debt of any Credit Party whose governing jurisdiction is Mexico or
               Colombia which is unsecured or, if secured, which is secured solely by capital



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               assets and/or inventory located in Mexico or Colombia and which are not subject
               to the Security (subject to the proviso at the end of this definition);

         (d)   Funded Debt under the Surviving Colombian Credit Agreements and any Permitted
               Refinancing Indebtedness in respect thereof from time to time (subject to the
               proviso at the end of this definition);

         (e)   Funded Debt secured by Permitted Purchase Money Security Interests and Funded
               Debt incurred in conjunction with any Anchor Sale and Leaseback Transaction (in
               each case subject to the proviso at the end of this definition);

         (f)   Permitted Hedging Liabilities;

         (g)   Permitted Intercompany Loans;

         (h)   Subordinated Debt;

         (i)   Funded Debt as set out in Schedule 1.1.204 hereto and any Permitted Refinancing
               Indebtedness thereof;

         (j)   Funded Debt under a corporate credit card facility with a Lender and other cash
               management liabilities, up to a maximum aggregate amount of $2,000,000;

         (k)   Funded Debt (other than a revolving credit facility) of a Subsidiary acquired or
               assumed pursuant to a Permitted Acquisition after the Amendment and Restatement
               Date and any Permitted Refinancing Indebtedness in respect thereof (subject to the
               proviso at the end of this definition); provided, that such Funded Debt shall not be
               incurred in anticipation of such Permitted Acquisition;

         (l)   obligations in respect of Guarantees or Financial Assistance not prohibited under
               Section 7.2.3;

         (m)   other Funded Debt of the Credit Parties and Permitted Refinancing Indebtedness in
               respect thereof (subject to the proviso at the end of this definition);

         (n)   Funded Debt under a Permitted Factoring Transaction;

         (o)   Funded Debt consented to by the Required Lenders, in their discretion, prior to the
               incurrence or assumption thereof;

         (p)   Funded Debt up to an aggregate principal amount of U.S. $75,000,000 under the
               Encina ABL Loan Agreement and any Permitted Refinancing Indebtedness in
               respect thereof, provided that all such Funded Debt is and remains subject to the
               terms of the Encina Intercreditor Agreement;

         (q)   after, or concurrently with, the repayment of all Funded Debt incurred under, and
               the cancellation of, the Encina ABL Loan Agreement, Funded Debt up to an
               aggregate principal amount of U.S. $90,000,000 in connection with all Permitted

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                Securitization Financing and any Permitted Refinancing Indebtedness in respect
                thereof; and

         (r)    Funded Debt in respect of one or more promissory notes issued by the U.S.
                Borrower to Calumet, by the U.S. Borrower to the Canadian Borrower and by the
                Canadian Borrower to Holdco, in each case, substantially contemporaneously with
                the Anchor Acquisition (the “Anchor Acquisition Promissory Notes”),

         provided that the outstanding principal amount of Funded Debt under clauses (c), (d), (e),
         (k) and (m) above does not exceed in the aggregate $45,700,000 during the Covenant Relief
         Period and $75,000,000 at any time after the Covenant Relief Period.

         1.1.205 “Permitted Hedging Liability” means a Hedging Liability permitted by the
         provisions of Sections 7.2.11 and 7.2.13.

         1.1.206 “Permitted Holders” means (a) Palladium, the Investors, Management
         Shareholders and (b) any Person with which Palladium and the Management Shareholders
         form a Group as long as, in the case of clause (b), Palladium and its Affiliates beneficially
         own more than 50% of the relevant stock beneficially owned by that Group.

         1.1.207 “Permitted Intercompany Loan” means a loan made by any Credit Party to
         another Credit Party, provided that the Agent holds a First Ranking Security Interest in all
         property and assets of both such Credit Parties to the extent required under the terms of the
         Credit Documents.

         1.1.208 “Permitted Investments” is defined in Section 7.2.3.

         1.1.209 “Permitted Liens” means:

         (a)    Statutory Liens in respect of any amount which is not at the time overdue;

         (b)    Statutory Liens in respect of any amount which may be overdue but the validity of
                which is subject to a Permitted Contest;

         (c)    the reservations, limitations, provisos and conditions, if any, expressed in any
                original grant from the Crown of any Land or any interest therein;

         (d)    servicing agreements, development agreements, site plan agreements and other
                agreements with Governmental Authorities pertaining to the use or development of
                any Land, provided same are complied with in all material respects;

         (e)    applicable municipal and other governmental restrictions, including municipal
                by-laws and regulations, affecting the use of Land or the nature of any structures
                which may be erected thereon, provided such restrictions have been complied with
                in all material respects;




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         (f)   Liens or rights of distress reserved in or exercisable under any lease for rent not at
               the time overdue or for compliance with the terms of such lease not at the time in
               default;

         (g)   Liens or rights reserved to or exercisable by or any obligations or duties affecting
               any Land due to any public utility or to any Governmental Authority, under or with
               respect to any franchise, temporary grant, licence or permit in good standing and
               any defects in title to structures or other facilities arising solely from the fact that
               such structures or facilities are constructed or installed on Land under government
               permits, leases or other grants in good standing; provided such facilities, temporary
               grants, licences and permits have been complied with in all material respects and
               are in good standing and such Liens, rights, obligations, duties and defects in the
               aggregate do not materially impair the use of such property, structures or facilities
               for the purpose for which they are held;

         (h)   Liens incurred or deposits made in connection with contracts, bids, tenders or
               expropriation proceedings, surety or appeal bonds, costs of litigation when required
               by law, public and statutory obligations, and warehousemen’s, storers’, repairers’,
               carriers’ and other similar Liens and deposits;

         (i)   security given to a public utility or any Governmental Authority to secure
               obligations incurred to such utility, municipality, government or other authority in
               the ordinary course of business and not at the time overdue;

         (j)   Liens and privileges arising out of judgments or awards in respect of which: an
               appeal or proceeding for review has been commenced; a stay of execution pending
               such appeal or proceedings for review has been obtained; and reserves have been
               established as reasonably required by the Required Lenders;

         (k)   any Lien arising in connection with the construction or improvement of any Land
               or arising out of the furnishing of materials or supplies therefor, provided that such
               Lien secures moneys not at the time overdue (or if overdue, the validity of which
               is subject to a Permitted Contest), notice of such Lien has not been given to the
               Agent or any Lender and such Lien has not been registered against title to such
               Land;

         (l)   licenses (including licences of intellectual property), leases or subleases granted to
               third parties or Credit Parties in the ordinary course of business which, individually
               or in the aggregate, do not materially interfere with the ordinary course of business
               of the Borrower or any of its Subsidiaries;

         (m)   the filing of UCC or PPSA financing statements (or equivalents thereto in other
               jurisdictions) solely as a precautionary measure in connection with operating leases
               and consignment arrangements;

         (n)   Liens in favor of customs and revenue authorities arising as a matter of law and in
               the ordinary course of business to secure payment of customs duties in connection
               with the importation of goods;
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         (o)   Liens arising out of conditional sale, title retention, consignment or similar
               arrangements for the sale of goods entered into by any Credit Party in the ordinary
               course of business;

         (p)   Liens (i) on deposits of cash or Cash Equivalents in favor of the seller of any
               property to be acquired in any Permitted Investment to be applied against the
               purchase price for such Permitted Investment, (ii) consisting of an agreement to
               dispose of any property in a Permitted Disposition and (iii) earnest money deposits
               of cash or Cash Equivalents made by any Credit Party in connection with any letter
               of intent or purchase agreement permitted hereunder;

         (q)   rights of setoff or bankers’ liens upon deposits of funds in favor of banks or other
               depository institutions or upon securities in favor of securities intermediaries,
               solely to the extent incurred in connection with the maintenance of deposit accounts
               or securities accounts in the ordinary course of business;

         (r)   Minor Title Defects;

         (s)   the Permitted Purchase-Money Security Interests;

         (t)   Liens which are secured solely by assets which are located outside of Canada and
               the U.S. and which are not subject to the Security; provided that the aggregate
               principal amount of Funded Debt or other obligations secured thereby constitutes
               Permitted Funded Debt;

         (u)   Liens as set out in Schedule 1.1.209 and any extension, renewal or replacement (or
               successive extensions, renewals or replacements), as a whole or in part, of thereof,
               so long as any such extension, renewal or replacement of such Lien is limited to all
               or any part of the same property that secured the Lien extended, renewed or
               replaced (plus improvements on such property) and the Funded Debt secured
               thereby is not increased and constitutes Permitted Funded Debt;

         (v)   any Lien from time to time which is consented in writing to by the Required
               Lenders;

         (w)   the Security or any other Liens securing the Obligations;

         (x)   Liens which secure obligations owing under Permitted Funded Debt described in
               clause (c), (d) or (m) of the definition thereof; provided that in the case of such
               clause (m), such Lien does not apply to any of the Collateral; subject to the
               limitation set forth in the proviso at the end of the definition of Permitted Funded
               Debt;

         (y)   Liens securing Funded Debt permitted by clause (k) of the definition of Permitted
               Funded Debt, subject to the limitation set forth in the proviso at the end of the
               definition of Permitted Funded Debt, and existing on any property or asset prior to
               the acquisition thereof by any Credit Party or any Subsidiary or existing on any
               property or asset of any Person that becomes a Subsidiary after the date hereof prior

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                to the time such Person becomes a Subsidiary; provided, that (i) such Liens do not
                apply to all of the assets of the acquired Subsidiary generally or to any other
                property or assets of any Credit Party not securing such Funded Debt prior to the
                acquisition of such property or asset and (ii) such Lien shall secure only those
                obligations which it secured on the date of acquisition and extensions, renewals and
                replacements thereof permitted hereunder that do not increase the outstanding
                principal amount thereof; provided further, with respect to Liens in connection with
                Funded Debt that is assumed in connection with an acquisition of assets or equity
                interests, no such Lien extends to or covers any other assets (other than the proceeds
                or products thereof, accessions or additions thereto and improvements thereon) or
                was created in contemplation of, or in connection with, the applicable acquisition
                of assets or equity interests (except to the extent the same is otherwise Permitted
                Funded Debt);

         (z)    Liens which secure Subordinated Debt permitted hereunder;

         (aa)   Liens arising under a Permitted Factoring Transaction but only to the extent that
                any such Lien relates to the applicable Receivables sold, contributed, financed or
                otherwise conveyed or pledged pursuant to such transaction;

         (bb)   Liens arising under the Encina ABL Loan Agreement but only to the extent that
                any such Lien is and remains subject to the terms of the Encina Intercreditor
                Agreement;

         (cc)   Liens arising under any Anchor Sale and Leaseback Transaction;

         (dd)   Liens on the Receivables of a Securitization SPE sold pursuant to a Permitted
                Securitization Financing (together with any and all related security and ancillary
                rights related thereto which are customary for transactions of such nature) to the
                extent incurred pursuant to a Permitted Securitization Financing; and

         (ee)   any other Liens; provided, that the aggregate principal amount of Funded Debt or
                other obligations secured thereby does not exceed U.S. $3,000,000;

         provided, that the use of the term “Permitted Liens” to describe the foregoing Liens shall
         mean that such Liens are permitted to exist (whether in priority to or subsequent in priority
         to the Security, as determined by Applicable Law); and for greater certainty such Liens
         shall not be entitled to priority over the Security by virtue of being described in this
         Agreement as “Permitted Liens”.

         1.1.210 “Permitted Management Fees” means advisory or management fees payable by
         the Credit Parties to Palladium and Calumet in an aggregate amount not to exceed the
         Annual Management Fee Cap in any Fiscal Year.

         1.1.211 “Permitted Purchase-Money Security Interests” means Purchase-Money
         Security Interests incurred or assumed in connection with the purchase, leasing or
         acquisition of capital equipment in the ordinary course of business; provided, that the


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         obligations secured thereby are permitted under clause (e) of the definition of Permitted
         Funded Debt.

         1.1.212 “Permitted Refinancing Indebtedness” shall mean any Funded Debt issued in
         exchange for, or the net proceeds of which are used to extend, refinance, renew, replace,
         defease or refund (collectively, to “Refinance”), the Permitted Funded Debt being
         Refinanced (or previous refinancings thereof constituting Permitted Refinancing
         Indebtedness); provided, that (a) the principal amount (or accreted value, if applicable) of
         such Permitted Refinancing Indebtedness does not exceed the principal amount (or
         accreted value, if applicable) of the Permitted Funded Debt so Refinanced (plus unpaid
         accrued interest and premium (including tender premiums) thereon and underwriting
         discounts, defeasance costs, fees, commissions and expenses), (b) if the Permitted Funded
         Debt being Refinanced is subordinated in right of payment to the Obligations under this
         Agreement, such Permitted Refinancing Indebtedness shall be subordinated in right of
         payment to such Obligations on terms at least as favorable to the Lenders as those contained
         in the documentation governing the Permitted Funded Debt being Refinanced, (c) no
         Permitted Refinancing Indebtedness shall have different obligors, or greater guarantees or
         security, than the Permitted Funded Debt being Refinanced, unless such new obligors are
         Credit Parties and (d) if the Permitted Funded Debt being Refinanced is secured by any
         collateral (whether equally and ratably with, or junior to, the Lenders or otherwise), such
         Permitted Refinancing Indebtedness may be secured by such collateral (including pursuant
         to after acquired property clauses to the extent such type collateral secured the Funded Debt
         being Refinanced) on terms not materially less favorable to the Lenders than those
         contained in the documentation governing the Permitted Funded Debt being so Refinanced.

         1.1.213 “Permitted Securitization Financing” shall mean one or more transactions
         pursuant to which (i) Securitization Assets or interests therein are sold or transferred to or
         financed by one or more Securitization SPE, and (ii) such Securitization SPE finance (or
         refinance) their acquisition of such Securitization Assets or interests therein, or the
         financing thereof, by selling or borrowing against Securitization Assets (including conduit
         and warehouse financings) and any Hedging Agreements entered into in connection with
         such Securitization Assets; provided, that recourse to the Borrowers or any Subsidiary
         (other than the Securitization SPE) in connection with such transactions shall be limited to
         the extent customary (as determined by the Agent and the Canadian Borrower each acting
         reasonably and in good faith and acceptable to the Agent acting reasonably) for similar
         transactions in the applicable jurisdictions (including, to the extent applicable, in a manner
         consistent with the delivery of a “true sale”/“absolute transfer” opinion with respect to any
         transfer by the Borrowers or any Subsidiary (other than a Securitization SPE)).

         1.1.214 “Person” includes an individual, corporation, partnership, trust, union,
         unincorporated association, Governmental Authority or any combination of the above.

         1.1.215 “Plan” means a Single Employer Plan or a Multiple Employer Plan.

         1.1.216 “Priority Claims” means, with respect to any Person, any amount payable or
         accrued by such Person which ranks or is capable of ranking prior to or pari passu with the
         Liens created by the Security in respect of any Collateral, including amounts owing for

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         wages, vacation pay, severance pay, employee deductions, sales tax, excise tax, tax payable
         pursuant to Part IX of the Excise Tax Act (Canada) (net of GST input credits), income tax,
         employment insurance, unemployment insurance, workers compensation, government
         royalties, pension fund obligations or deficiencies, overdue rents or taxes, and other
         statutory or other claims, deemed trusts or Liens that have or may have priority over, or
         rank pari passu with, the Liens created by the Security. For the avoidance of doubt, no
         Banking Services Liabilities shall be deemed Priority Claims due to their pari passu
         ranking with the Obligations.

         1.1.217 “Proceeds of Realization”, in respect of the Security or any portion thereof,
         means all amounts received by the Agent and any Lender in connection with:

         (a)    any realization thereof, whether occurring as a result of enforcement or otherwise;

         (b)    any sale, expropriation, loss or damage or other disposition of the Collateral or any
                portion thereof; and

         (c)    the dissolution, liquidation, bankruptcy or winding-up of a Credit Party or any other
                distribution of its assets to creditors,

         and all other amounts which are expressly deemed to constitute “Proceeds of Realization”
         in this Agreement.

         1.1.218 “Project Desert” means the acquisition by the Borrowers or any Material
         Subsidiary of Environmental Solutions for Petroleum Services, an oilfield services
         company with operations in Algeria and Egypt on substantially the same terms and
         conditions set forth in the letter of intent dated as of December 11, 2016, as amended,
         between the Canadian Borrower and Project Desert Egypt.

         1.1.219 “Project Desert Algeria” means Environmental Solutions Algeria S.A.R.L., an
         Algerian company.

         1.1.220 “Project Desert Egypt” means Environmental Solutions for Petroleum Services
         (S.A.E.), an Egyptian company.

         1.1.221 “Project Desert Subsidiaries” means each of Project Desert Egypt and Project
         Desert Algeria.

         1.1.222 “Proportionate Share” means:

         (a)    in the context of any Lender’s obligation to make Advances under all Facilities,
                such Lender’s Commitment to make Advances under all Facilities divided by the
                aggregate amount of all Lenders’ Commitments to make Advances under all
                Facilities;

         (b)    in the context of any Lender’s obligation to make Advances under a Facility, such
                Lender’s Commitment (excluding, as the case may be, the applicable Swingline
                Limit in the case of the Canadian Operating Facility) to make Advances under such

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                Facility divided by the aggregate amount of all Lenders’ Commitments (excluding,
                as the case may be, the applicable Swingline Limit in the case of Canadian
                Operating Facility) to make Advances under such Facility;

         (c)    in the context of any Lender’s entitlement to receive a portion of the standby fee in
                respect of Canadian Operating Facility or the U.S. Operating Facility payable
                pursuant to Section 2.6.1(h) or Section 4.6.1(d), as applicable, such Lender’s
                Commitment (excluding, as the case may be, the applicable Swingline Limit) under
                the applicable Facility to make Advances under Canadian Operating Facility or the
                U.S. Operating Facility divided by the aggregate amount of all such Lenders’
                Commitments (excluding, as the case may be, the applicable Swingline Limit) to
                make Advances under Canadian Operating Facility or the U.S. Operating Facility,
                as applicable;

         (d)    in the context of any Lender’s entitlement to receive payments of principal, interest
                or fees under all Facilities (other than a portion of the standby fee under Canadian
                Operating Facility or the U.S. Operating Facility), the Outstanding Advances due
                to such Lender under all Facilities divided by the aggregate amount of the
                Outstanding Advances due to all Lenders under all Facilities; and

         (e)    in the context of any Lender’s entitlement to receive payments of principal, interest
                or fees under a Facility (other than a portion of the standby fee under Canadian
                Operating Facility or the U.S. Operating Facility), the Outstanding Advances due
                to such Lender under such Facility divided by the aggregate amount of the
                Outstanding Advances due to all Lenders under such Facility.

         1.1.223 “Purchase-Money Security Interest” means:

         (a)    a Capital Lease; or

         (b)    a Lien on any property or asset which is created, issued or assumed to secure the
                unpaid purchase price thereof, provided that such Lien is restricted to such property
                or asset and secures an amount not in excess of the purchase price thereof and any
                interest and fees payable in respect thereof.

         1.1.224 “QMax Mexico” means QMax Mexico, S.A. de C.V.

         1.1.225 “Qualified ECP Guarantor” means, in respect of any Hedging Agreement, each
         Credit Party that has total assets exceeding $10,000,000 at the time of the grant of the
         relevant Security of such Credit Party to such Hedging Agreement or such other Person as
         constitutes an “eligible contract participant” under the Commodity Exchange Act or any
         regulations promulgated thereunder and can cause another Person to qualify as an “eligible
         contract participant” at such time by entering into a keep well under
         Section 1a(18)(A)(v)(II) of the Commodity Exchange Act.

         1.1.226 “Receivables” means and includes, as to the Credit Parties, all of Credit Parties’
         accounts, contract rights, payment intangibles, instruments (other than those evidencing
         indebtedness owed to a Credit Party), documents, chattel paper (including electronic chattel

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         paper), general intangibles relating to accounts, drafts and acceptances, and all other forms
         of obligations owing to a Credit Party arising out of or in connection with the sale or lease
         of inventory or for services rendered (including, in the case of Insured Receivables,
         amounts owed with respect to work in progress that are covered by Account Receivable
         Insurance), all supporting obligations, guarantees and other security therefor, whether
         secured or unsecured, now existing or hereafter created, and whether or not specifically
         sold or assigned to the Agent hereunder.

         1.1.227 “Register” is defined in Section 13.6.5.

         1.1.228 “Regulation T” means Regulation T of the Board of Governors of the Federal
         Reserve System as from time to time in effect and all official rulings and interpretations
         thereunder or thereof.

         1.1.229 “Regulation U” means Regulation U of the Board of Governors of the Federal
         Reserve System as from time to time in effect and all official rulings and interpretations
         thereunder or thereof.

         1.1.230 “Regulation X” means Regulation X of the Board of Governors of the Federal
         Reserve System as from time to time in effect and all official rulings and interpretations
         thereunder or thereof.

         1.1.231 “Related Party” means, with respect to any Person, an Affiliate of such Person,
         a shareholder of such Person (if applicable), or a Person related to or not at arm’s length to
         such Person or holder of shares of such Person, and with respect to the Borrower and its
         Subsidiaries, includes Palladium, the Management Shareholders, the Investors and any
         company or entity controlled directly or indirectly by any one or more of such Persons.

         1.1.232 “Repayment” means a repayment by the Borrower on account of the Outstanding
         Advances under all Facilities or a Facility, as the context requires, other than the reduction
         of an Overdraft (and “Repay” shall have a corresponding meaning).

         1.1.233 “Repayment Notice” means a notice delivered by the Borrower to the Agent
         committing it to make a Repayment, in the form of Exhibit “E”.

         1.1.234 “Required Lenders” means, with the exception of those matters set out in
         Section 11.2 which require the agreement of all Lenders, (a) if there are two or less
         Lenders, all Lenders, (b) if there are three or more Lenders, Lenders holding, in aggregate,
         at least 66⅔% of the Commitments, or (c) during the continuance of an Event of Default,
         Lenders holding at least 66⅔% of the Outstanding Advances under the Facilities. The
         Advances and Commitments of any Defaulting Lender shall be disregarded in determining
         Required Lenders at any time in accordance with Section 11.5.1(b).

         1.1.235 “Requirements of Environmental Law” means:

         (a)    obligations under common law;



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         (b)    requirements imposed by or pursuant to statutes, regulations and by-laws whether
                presently or hereafter in force;

         (c)    directives, policies and guidelines issued or relied upon by any Governmental
                Authority to the extent such directives policies or guidelines have the force of law;

         (d)    permits, licenses, certificates and approvals issued by Governmental Authorities
                which are required in connection with air emissions, discharges to surface or
                groundwater, noise emissions, solid or liquid waste disposal, the use, generation,
                storage, transportation or disposal of Hazardous Materials; and

         (e)    requirements imposed under any clean-up, compliance or other order made by a
                Governmental Authority pursuant to any of the foregoing,

         in each and every case relating to environmental, health or safety matters including all such
         obligations and requirements which relate to:

                (i)     solid, gaseous or liquid waste generation, handling, treatment, storage,
                        disposal or transportation; and

                (ii)    exposure to Hazardous Materials.

         1.1.236 “Resignation Notice” is defined in Section 11.18.

         1.1.237 “Rollover” means the renewal of an Availment Option upon its maturity in the
         same form.

         1.1.238 “Rollover Notice” means a notice substantially in the form of Exhibit “C” given
         by the Borrower to the Agent for the purpose of requesting a Rollover.

         1.1.239 “Sales Proceeds” is defined in Section 5.3.1(b).

         1.1.240 “Secured Hedging Liability” means any Hedging Liability under a Hedging
         Agreement entered into between the Canadian Borrower and a Hedge Provider permitted
         by the provisions of Sections 7.2.12 and 7.2.13 and, provided that if a Hedge Provider does
         not have actual knowledge that such Hedging Liability was not permitted under such
         Sections at the time the applicable Hedging Agreement was entered into by such Hedge
         Provider, then such Hedging Liability will be deemed to be a Secured Hedging Liability
         for purposes of Section 8.5.

         1.1.241 “Securitization Assets” shall mean any of the following assets (or interests
         therein) from time to time originated, acquired or otherwise owned by the Borrowers or
         any Subsidiary or in which the Borrowers or any Subsidiary has any rights or interests, in
         each case, without regard to where such assets or interests are located: (a) Receivables, (b)
         franchise fees, royalties and other similar payments made related to the use of trade names
         and other intellectual property, business support, training and other services, (c) revenues
         related to distribution and merchandising of the products of the Borrower and its
         Subsidiaries, (d) any equipment, contractual rights with unaffiliated third parties, website

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         domains and associated property and rights necessary for a Securitization SPE to operate
         in accordance with its stated purposes, and (e) other assets and property (or proceeds of
         such assets or property) to the extent customarily included in securitization transactions of
         the relevant type in the applicable jurisdictions (as determined by the Agent and the
         Canadian Borrower each acting reasonably and in good faith).

         1.1.242 “Securitization SPE” means (i) a direct or indirect Subsidiary of any Borrower
         established in connection with a Permitted Securitization Financing for the acquisition of
         Securitization Assets or interests therein, and which is organized in a manner (as
         determined by the Canadian Borrower in good faith) intended to reduce the likelihood that
         it would be substantively consolidated with Holdings, the Borrowers or any of the
         Subsidiaries (other than Securitization SPE) in the event Holdings, the Borrowers or any
         such Subsidiary becomes subject to a proceeding under the U.S. Bankruptcy Code (or other
         insolvency law) and (ii) any subsidiary of a Securitization SPE.

         1.1.243 “Security” means all Guarantees, security agreements, mortgages, control
         agreements, pledge agreements, debentures and other documents required to be provided
         to the Agent or the Lenders pursuant to Article 8 and all other documents and agreements
         delivered by the Borrower and other Persons to the Agent for the benefit of the Lenders
         from time to time as security for the payment and performance of the Obligations, and the
         security interests, assignments and Liens constituted by the foregoing.

         1.1.244 “Shareholders’ Equity” means, at any time, the shareholders’ equity as shown
         on the consolidated balance sheet of the Canadian Borrower.

         1.1.245 “Single Employer Plan” means a single employer plan, as defined in
         Section 4001(a)(15) of ERISA, that is subject to Title IV of ERISA, and (i) is maintained
         for employees of any Credit Party or any ERISA Affiliate and no Person other than the
         Credit Parties and the ERISA Affiliates or (ii) was so maintained and in respect of which
         any Credit Party or any ERISA Affiliate could have liability under Section 4069 of ERISA
         in the event such plan has been or were to be terminated.

         1.1.246 “Specified Canadian Swingline Borrower” means (i) QMax Canada Operations
         Inc. or (ii) any other Material Subsidiary of the Canadian Borrower that has been formed
         under the laws of Canada or any province thereof as agreed to in writing by the Canadian
         Borrower, the Swingline Lender and the Agent, in their sole and absolute discretion.

         1.1.247 “Specified Equity Contribution” is defined in Section 7.3.2.

         1.1.248 “Statutory Lien” means a Lien in respect of any property or assets of a Credit
         Party created by or arising pursuant to any applicable legislation in favour of any Person
         (such as but not limited to a Governmental Authority), including a Lien for the purpose of
         securing such Credit Party’s obligation to deduct and remit employee source deductions
         and goods and services tax pursuant to the Income Tax Act (Canada), the Excise Tax Act
         (Canada), the Canada Pension Plan (Canada), the Employment Insurance Act (Canada)
         and any legislation in any jurisdiction similar to or enacted in replacement of the foregoing
         from time to time.

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         1.1.249 “Subordinated Debt” means any indebtedness of any Credit Party to any Person,
         in respect of which the holder thereof has entered into a subordination and postponement
         agreement in favour of the Agent on behalf of itself and the Lenders, substantially in the
         form of Exhibit “J” for any indebtedness which is governed by Applicable Laws of Canada
         or the U.S., or for any indebtedness governed by other Applicable Laws, such other
         agreement as is reasonably satisfactory to the Required Lenders (each, a “Subordination
         Agreement”) and, to the extent necessary or desirable under Applicable Law, registered
         in all places where necessary or desirable to protect the priority of the Security, which shall
         provide (among other things) that:

         (a)    upon notice of the occurrence and continuance of an Event of Default hereunder,
                the holder of such indebtedness may not receive payments on account of principal
                or interest thereon;

         (b)    any security held in respect of such indebtedness is subordinated to the Security;
                and

         (c)    the holder of such indebtedness may not take any enforcement action in respect of
                any such security without the prior written consent of the Agent (except to the
                extent, if any, expressly permitted therein).

         1.1.250 “Subordination Agreement” is defined in the definition of Subordinated Debt.

         1.1.251 “Subsidiary” means any Person of which more than 50% of the outstanding
         Voting Securities are owned, directly or indirectly by or for a Credit Party, provided that
         the ownership of such securities confers the right to elect at least a majority of the board of
         directors of such Person, or a majority of Persons serving similar roles, and includes any
         legal entity in like relationship to a Subsidiary.

         1.1.252 “Surviving Colombian Credit Agreements” means the following agreements
         by and between QMAX Solutions Colombia, as borrower: (i) revolving credit agreement
         with Helm Bank, as lender, dated as of October 6, 2009; (ii) common terms agreement for
         the execution of derivatives with Banco Corpobanca Colombia S.A., as lender, dated as of
         April 19, 2013; and (iii) common terms agreement for the execution of derivatives with
         Banco de Bogotá S.A., as lender, dated as of May 5, 2009; (iv) line of credit agreement
         with BBVA Colombia, as lender, dated as of December 3, 2012; and (v) line of credit
         agreement with Bancolombia dated January 20, 2010; in each case up to the respective
         maximum facility amounts set forth in Schedule 1.1.252 (each as amended, restated,
         supplemented, waived, replaced, (whether or not upon termination, and whether with the
         original agents, lenders, or otherwise), restructured, repaid, refunded, refinanced or
         otherwise modified from time to time, including any agreement refinancing, replacing or
         otherwise restructuring all or any portion of the indebtedness thereunder or increasing the
         amount loaned thereunder or altering the maturity thereof), subject to clause (d) of the
         definition of Permitted Funded Debt.

         1.1.253 “Swingline” is defined in Section 2.7.1.

         1.1.254 “Swingline Borrower” is defined in Section 2.7.1.
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         1.1.255 “Swingline Lender” means HSBC.

         1.1.256 “Swingline Limit” means $10,000,000 or the Equivalent Amount in Cdn. $, or
         any combination thereof.

         1.1.257 “Swingline Loan” means any Advance made available to the Borrower by the
         Swingline Lender outstanding from time to time under the Swingline.

         1.1.258 “Syndicated Advance” means any Advance under the Canadian Operating
         Facility that is not a Swingline Loan.

         1.1.259 “Taxes” is defined in Section 12.4.1.

         1.1.260 “Term Facility” is defined in Section 3.1.

         1.1.261 “Term Facility Commitment” means, as the context requires, (a) collectively
         with respect to all Term Lenders, in the aggregate as of the Amendment and Restatement
         Date, U.S. $13,656,250, as otherwise increased or decreased pursuant to this Agreement
         and (b) means, with respect to each individual Term Lender, the individual commitment
         amount of such Lender in the maximum principal amount indicated opposite such Term
         Lender’s name in Exhibit “A” under the heading “Term Facility Commitments”, as
         amended from time to time.

         1.1.262 “Term Lenders” means the Lenders who have provided a Commitment under the
         Term Facility as set forth in Exhibit “A”.

         1.1.263 “Terra” means Terra Oilfield Solutions, LLC, a Delaware limited liability
         company.

         1.1.264 “Terra Acquisition” means the purchase of all of the membership interests of
         Terra pursuant to the Terra Purchase Agreement.

         1.1.265 “Terra Purchase Agreement” means the Membership Interest Purchase
         Agreement dated July 15, 2018 by and between Q’Max America Inc., as purchaser, and
         OFS Commander LLC, a Delaware limited liability company, as seller, as the same may
         be amended, restated or otherwise modified from time to time.

         1.1.266 “Total Net Debt” means, in respect of the Credit Parties and determined on a
         combined basis and without duplication, all interest bearing indebtedness for borrowed
         money, Capital Leases, the drawn and unreimbursed amount outstanding under all letters
         of credit, letters of guarantee and surety bonds to the extent not cash collateralized
         (excluding performance bonds provided by insurers), mark to market liabilities on Hedging
         Agreements, bankers’ acceptances and similar instruments, indebtedness secured by a
         Lien, redemption and mandatory dividend obligations with respect to a Credit Party’s
         shares that are redeemable or convertible into debt at a fixed time at the option of the holder
         thereof or upon the occurrence of a condition within the control of such Person, obligations
         evidenced by bonds, debentures, notes or similar instruments and any guarantees or
         indemnity in any manner in respect of any part or all of an obligations of any other Person

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         of the type included above, less the aggregate amount of cash and Cash Equivalents of the
         Credit Parties which are held with the Agent or an Affiliate thereof in Canada, the United
         States or Mexico which is unencumbered (except pursuant to the Security) and the use of
         which is otherwise unrestricted up to an aggregate principal amount of U.S. $20,000,000.

         1.1.267 “Unadjusted EBITDA” means, as at the date of determination, EBITDA, less
         any items that were added back in calculation thereof pursuant to paragraphs (d) (other
         than to the extent such amounts are made by payment-in-kind), (h) and (j) of the definition
         thereof.

         1.1.268 “Unfunded Capital Expenditures” means for any applicable period, Capital
         Expenditures of the Credit Parties that are not financed with Funded Debt, or from the
         proceeds of the issuance of any new equity by the Credit Parties, any Sales Proceeds or any
         Insurance Proceeds in that period, but excluding therefrom any Capital Expenditures for
         which any Credit Party has received any reimbursement in the form of cash or Cash
         Equivalents from any Person other than another Credit Party in connection with such
         Capital Expenditure, but only to the extent of such reimbursement.

         1.1.269 “Uniform Customs” means the Uniform Customs and Practice for Documentary
         Credits, published as International Chamber of Commerce publication no. 600 and all
         subsequent amendments to same, in each case, as are current at the time of issuance of the
         applicable Letter of Credit.

         1.1.270 “Unrestricted Subsidiary” means any Subsidiary of the Borrower that is not a
         Material Subsidiary.

         1.1.271 “U.S.” means the United States of America.

         1.1.272 “U.S. Base Rate” means the greater of the following:

         (a)    the rate of interest announced from time to time by the Agent as its reference rate
                then in effect for determining rates of interest on U.S. dollar loans to its customers
                in Canada and designated as its U.S. base rate;

         (b)    the Federal Funds Rate plus three-quarters of one percent (0.75%) per annum; and

         (c)    sum of (i) the LIBOR Rate and (ii) one percent (1.00%) per annum.

         1.1.273 “U.S. Borrower” means Q’Max America Inc., a corporation incorporated
         pursuant to the Laws of the state of Delaware, and its successors and permitted assigns.

         1.1.274 “U.S. Dollar Base Rate Loan” means an Advance made by a Lender in Canada
         to the Borrower by way of a direct loan in U.S. Dollars, but excluding Advances in the
         form of a LIBOR Loan.

         1.1.275 “U.S. Dollar LIBOR Rate” means, at any time, the LIBOR Rate applicable to
         LIBOR Loans denominated in U.S. Dollars determined at such time.


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         1.1.276 “U.S. Dollar Prime Rate Loan” means an Advance in U.S. Dollars bearing
         interest at a fluctuating rate determined by reference to the U.S. Prime Rate.

         1.1.277 “U.S. Dollars” or “U.S. $” means the lawful money of the U.S.

         1.1.278 “U.S. Operating Facility” is defined in Section 4.1.

         1.1.279 “U.S. Operating Facility Commitment” means, as the context requires, (a)
         collectively with respect to all U.S. Operating Lenders, in the aggregate as of the
         Amendment and Restatement Date, U.S. $15,000,000, as otherwise increased or decreased
         pursuant to this Agreement and (b) means, with respect to each individual U.S. Operating
         Lender, the individual commitment amount of such Lender in the maximum principal
         amount indicated opposite such U.S. Operating Lender’s name in Exhibit “A” under the
         heading “U.S. Operating Facility Commitments”, as amended from time to time.

         1.1.280 “U.S. Operating Facility Limit” means the lesser of (a) the U.S. Operating
         Facility Commitment, and (b) the sum of the Borrowing Base less the then outstanding
         Advances under the Term Facility and the Canadian Operating Facility.

         1.1.281 “U.S. Operating Lenders” means the Lenders who have provided a Commitment
         under the U.S. Operating Facility as set forth in Exhibit “A”.

         1.1.282 “U.S. Prime Rate” means, for any day, the rate per annum from time to time
         announced by HSBC US as its prime rate in effect at its principal office in New York City.
         The U.S. Prime Rate is a reference rate and does not necessarily represent the lowest or
         best rate actually charged to any customer. HSBC US may make commercial loans or
         other loans at rates of interest at, above or below the U.S. Prime Rate. Any change in the
         U.S. Prime Rate shall take effect at the opening of business on the day specified in the
         public announcement of such change.

         1.1.283 “Voting Securities” means securities of capital stock of any class of any
         corporation, partnership units in the case of a partnership, trust units in the case of a trust,
         or other evidence of ownership serving similar purposes, carrying voting rights under all
         circumstances, provided that, for the purposes of this definition, shares which only carry
         the right to vote conditionally on the happening of an event will not be considered Voting
         Securities, whether or not such event will have occurred, nor will any securities be deemed
         to cease to be Voting Securities solely by reason of a right to vote accruing to securities of
         another class or classes by reason of the happening of such event.

         1.1.284 “Wells Fargo” means Wells Fargo Bank, National Association.

         1.1.285 “Wells Fargo Credit Agreement” means the Credit and Security Agreement to
         be dated on or after the Amendment and Restatement Date, by and among ADF SPV, LLC,
         as the borrower, Anchor, as the servicer, and Wells Fargo, as lender and collateral agent,
         as may be amended, restated, supplemented, replaced or otherwise modified from time to
         time.



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         1.1.286 “Wells Fargo Letter” means that certain letter to be dated as of the date of the
         Wells Fargo Credit Agreement between HSBC, as administrative agent, and Wells Fargo,
         as lender and collateral agent (to be in form and substance satisfactory to the Agent, acting
         reasonably), as the same may be amended, restated or otherwise modified from time to
         time.

         1.1.287 “Withdrawal Liability” has the meaning specified in Part I of Subtitle E of
         Title IV of ERISA.

         1.1.288 “Year-end Financial Statements” in respect of any Person means the audited
         consolidated financial statements of such Person prepared in accordance with GAAP,
         including the notes thereto, in respect of its most recently completed Fiscal Year.

1.2      Accounting Principles

         Except as otherwise expressly provided herein, all accounting terms, principles and
calculations applicable to the Facilities and this Agreement will be interpreted, applied and
calculated, as the case may be, in accordance with GAAP. If, after the date of this Agreement,
there shall occur any change in GAAP or change in the accounting method under GAAP that are
different from those used in the historical preparation of the financial statements, including any
change by reason of any change in the rules, regulations, pronouncements, opinions or other
requirements of the Canadian Institute of Chartered Accountants (or any successor thereto or
agency with similar function), including the adoption of International Financial Reporting
Standards, that are different from those used in the preparation of the financial statements delivered
pursuant to Section 7.4 and such change shall result in a change in the method of calculation of
any financial covenant, ratio, standard or term found in this Agreement, including the treatment of
operating and capital leases, either the Canadian Borrower or the Required Lenders may by notice
to the Agent and the Canadian Borrower, respectively, require that the Lenders and the Canadian
Borrower negotiate in good faith to amend such covenants, ratios, standards, and terms so as
equitably to reflect such change in accounting principles, with the desired result being that the
criteria for evaluating the financial condition of the Canadian Borrower and its Subsidiaries shall
be the same as if such change had not been made. No delay by the Canadian Borrower or the
Required Lenders in requiring such negotiation shall limit their right to so require such a
negotiation at any time after such a change in accounting principles. Until any such covenant, ratio,
standard or term is amended in accordance with this Section 1.2, financial covenants shall be
computed and determined in accordance with GAAP in effect prior to such change in accounting
principles.

1.3      Currency References

         All amounts referred to in this Agreement are in U.S. Dollars unless otherwise noted.

1.4      References to Statutes

        Whenever in this Agreement reference is made to a statute or regulations made pursuant to
a statute, such reference shall, unless otherwise specified, be deemed to include all amendments to
such statute or regulations from time to time and all statutes or regulations which may come into
effect from time to time substantially in replacement for the said statutes or regulations.
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1.5      Extended Meanings

        Terms defined in the singular have the same meaning when used in the plural, and
vice-versa. When used in the context of a general statement followed by a reference to one or more
specific items or matters, the term “including” shall mean “including, without limitation”, and the
term “includes” shall mean “includes, without limitation”. Any reference herein to the exercise of
discretion by the Agent or the Lenders (including phrases such as “in the discretion of”, “in the
opinion of”, “to the satisfaction of” and similar phrases) shall mean that such discretion is absolute
and unfettered and shall not imply any obligation to act reasonably, unless otherwise expressly
stated herein.

1.6      Headings

        Headings, subheadings and the table of contents contained in the Credit Documents are
inserted for convenience of reference only, and will not affect the construction or interpretation of
the Credit Documents.

1.7      Subdivisions

        Unless otherwise stated, reference herein to a Schedule or to an Article, Section, paragraph
or other subdivision is a reference to such Schedule to this Agreement or such Article, Section,
paragraph or other subdivision of this Agreement. Unless specified otherwise, reference in
Schedule “A” to a Schedule or to an Article, Section, paragraph or other subdivision is a reference
to such Schedule or Article, Section, paragraph or other subdivision of this Agreement.

1.8      Number

        Wherever the context in the Credit Documents so requires, a term used herein importing
the singular will also include the plural and vice versa.

1.9      Time

         Time will be of the essence of the Credit Documents.

1.10     Amendments

     No Credit Document may be amended orally and, subject to Sections 1.11(a) and 11.2, any
amendment may only be made by way of an instrument in writing signed by the Parties.

1.11     No Waiver

         (a)    No waiver by a Party of any provision or of the breach of any provision of the
                Credit Documents will be effective unless it is contained in a written instrument
                duly executed by an authorized officer or representative of such Party. Such written
                waiver will affect only the matter specifically identified in the instrument granting
                the waiver and will not extend to any other matter, provision or breach.



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         (b)   The failure of a Party to take any steps in exercising any right in respect of the
               breach or non fulfilment of any provision of the Credit Documents will not operate
               as a waiver of that right, breach or provision, nor will any single or partial exercise
               of any right preclude any other or future exercise of that right or the exercise of any
               other right, whether in Law or otherwise.

         (c)   Acceptance of payment by a Party after a breach or non fulfilment of any provision
               of the Credit Documents requiring a payment to such Party will constitute a waiver
               of such provision if cured by such payment, but will not constitute a waiver or cure
               of any other provision of the Credit Documents.

1.12     Inconsistency

       To the extent that there is any inconsistency or ambiguity between the provisions of this
Agreement and any other Credit Document, the provisions of this Agreement will govern to the
extent necessary to eliminate such inconsistency or ambiguity. For greater certainty, a provision
of this Agreement and a provision of another Credit Document shall be considered to be
inconsistent if both relate to the same subject-matter and the provision in one such document
imposes more onerous obligations or restrictions than the corresponding provision in the other.

1.13     Pro Forma Adjustments

        For purposes of making computations of the Net Leverage Ratio and the Fixed Charge
Coverage Ratio herein, if any applicable Person or makes any Permitted Acquisitions, mergers,
amalgamations, consolidations, dispositions of assets or divisions or the Canadian Borrower
makes any adjustments to the Capital Expenditure budget (each a “relevant transaction”) during
the reference period applicable to such computation shall be calculated on a pro forma basis
assuming that all such relevant transactions (and the change in EBITDA resulting therefrom) had
occurred on the first day of such reference period. If since the beginning of such reference period
any Person that subsequently became a Subsidiary or was merged with or into the Borrower or any
of its Subsidiaries since the beginning of such period shall have consummated any relevant
transactions that would have required adjustment pursuant to this definition, then the Net Leverage
Ratio shall be calculated giving pro forma effect thereto for such reference period as if such
relevant transaction had occurred at the beginning of the applicable reference period.

        For purposes of this Section 1.13, whenever pro forma effect is to be given to a transaction,
the pro forma calculations shall be made in good faith by a responsible financial or accounting
officer of the Canadian Borrower and may include, without duplication, cost savings, operating
expense reductions, restructuring charges and expenses and cost-saving synergies resulting from
such acquisition or other relevant transaction, in each case in a manner acceptable to the Required
Lenders, acting reasonably.

1.14     Joint and Several Liability of Borrowers

       Notwithstanding anything else set forth in the Credit Documents to the contrary, each of
the Borrowers agrees and confirms to the Agent and Lenders that the liabilities and obligations of
the Borrowers under this Agreement and the other Credit Documents are joint and several as
between each Borrower.
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1.15     Deemed Action by all Borrowers

       All consents, waivers, notices and other action required, made, given to or received by the
Borrowers under this Agreement or any of the other Credit Documents will be deemed to be
required, made, given or received by all of the Borrowers if required, made, given or received by
one or more of the Borrowers. If a representation, certification or other statement under this
Agreement or any of the other Credit Documents is made by one Borrower, or to the knowledge
of one Borrower, it will be deemed to be made by all Borrowers, or the knowledge of all
Borrowers, as applicable.

1.16     Amendment and Restatement

        The Borrowers, the Agent and the Lenders agree that effective on the Amendment and
Restatement Date, this Agreement is an amendment and restatement of the Existing Credit
Agreement and is not a novation of the Existing Credit Agreement. As a consequence, the
obligations, indebtedness and liabilities outstanding under the Existing Credit Agreement
(including any existing letters of credit thereunder which will be deemed to be Letters of Credit
issued by the applicable Issuing Bank under the corresponding Facility hereunder) shall constitute
obligations, indebtedness and liabilities hereunder governed by the terms hereof and shall continue
to be secured by the Security. Such obligations, indebtedness and liabilities shall be continuing in
all respects, and this Agreement shall not be deemed to evidence or result in a novation of such
obligations, indebtedness and liabilities or a repayment and reborrowing of such obligations,
indebtedness and liabilities. The Existing Credit Agreement has been amended and restated solely
for the purposes of reflecting amendments to the Existing Credit Agreement which the Lenders,
the Agent and the Borrowers have agreed upon. All references to the “Credit Agreement”
contained in the Credit Documents delivered prior to the effectiveness of this Agreement shall be
references to this Agreement without further amendment to those Credit Documents. The
Borrowers confirm that each of the Credit Documents otherwise remains in full force and effect.
All deliverables made under the Existing Credit Agreement shall be deemed to have been delivered
under this Agreement. Each Lender authorizes the Agent to take all actions and make such
adjustments as are reasonably necessary to give effect to the foregoing. Notwithstanding the
foregoing or any other term hereof, all of the applicable continuing covenants, representations and
warranties on the part of the Borrowers under the Existing Credit Agreement and all of the claims
and causes of action arising against the Borrowers in connection therewith, in respect of all matters,
events, circumstances and obligations arising or existing prior to the Amendment and Restatement
Date shall continue, survive and shall not be merged in the execution of this Agreement or any
other Credit Documents or any advance or provision of any Loan hereunder.

1.17     Exhibits and Schedules

        The following exhibits and schedules are attached to this Agreement and incorporated
herein by reference:

             Exhibit “A”       – Lenders and Lenders’ Commitments
             Exhibit “B”       – Form of Drawdown Request
             Exhibit “C”       – Form of Rollover Notice


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             Exhibit “D”        –   Form of Conversion Notice
             Exhibit “E”        –   Form of Repayment Notice
             Exhibit “F”        –   Form of Compliance Certificate
             Exhibit “G”        –   Form of Assignment Agreement
             Exhibit “H”        –   Form of Borrowing Base Certificate
             Exhibit “I”        –   Form of Designation Notice
             Exhibit “J”        –   Form of Subordination Agreement
             Schedule 1.1.204   –   Existing Permitted Funded Debt
             Schedule 1.1.209   –   Existing Permitted Liens
             Schedule 1.1.252   –   Surviving Colombian Credit Agreements
             Schedule 6.1.2     –   Corporate Information
             Schedule 6.1.3     –   Subsidiaries
             Schedule 6.1.5     –   Consents and Approvals Required
             Schedule 6.1.8     –   Material Permits
             Schedule 6.1.10    –   Leased Properties
             Schedule 6.1.11    –   Intellectual Property
             Schedule 6.1.12    –   Insurance Policies
             Schedule 6.1.13    –   Material Agreements
             Schedule 6.1.14    –   Labour Matters
             Schedule 6.1.15    –   Environmental Matters
             Schedule 6.1.16    –   Litigation
             Schedule 6.1.17    –   Pension Plans
             Schedule 6.1.23    –   Taxes
             Schedule 6.1.33    –   Eligible Approved Contracts
             Schedule 7.2.3     –   Investments
             Schedule 7.2.6     –   Transactions with Affiliates
             Schedule 9.1       –   Post-Closing Schedule

1.18     Covenant Relief Period

        The Borrowers may, by providing an irrevocable written notice to the Agent, terminate the
Covenant Relief Period, which notice shall specify the date on which the Covenant Relief Period
is to end; provided that, such termination date shall not be retroactive to a date that precedes such
notice.




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                                     ARTICLE 2
                            CANADIAN OPERATING FACILITY

2.1      Establishment of Canadian Operating Facility

        Subject to the terms and conditions in this Agreement, each Canadian Operating Lender
hereby establishes a committed, revolving credit facility in favour of the Canadian Borrower in the
maximum principal amount indicated opposite such Canadian Operating Lender’s name in
Exhibit “A” under the heading “Canadian Operating Facility Commitments”. Such credit facility
in the maximum aggregate principal amount of the Canadian Operating Facility Limit are
established by the Canadian Operating Lenders severally and not jointly, and are hereinafter
collectively referred to as “Canadian Operating Facility”. Each Advance by a Canadian
Operating Lender under the Canadian Operating Facility shall be made by such Canadian
Operating Lender in its Proportionate Share of the Canadian Operating Facility. If the Canadian
Operating Facility Limit is at any time less than the Canadian Operating Facility Commitment,
then each Canadian Operating Lender’s obligation to provide Advances under the Canadian
Operating Facility will be reduced accordingly on a pro rata basis.

2.2      Purpose

        Advances under the Canadian Operating Facility shall be used by the Canadian Borrower
to fund working capital needs and for general corporate purposes, including Permitted Acquisitions
(other than a Hostile Acquisition and the Terra Acquisition).

2.3      Revolving Nature

        The Canadian Operating Facility shall be a revolving facility. For greater certainty, the
Borrower shall, subject to the terms of this Agreement, be entitled to obtain Advances under the
Canadian Operating Facility from time to time and repay all or any portion of the Outstanding
Advances under the Canadian Operating Facility from time to time; provided, that the Outstanding
Advances under the Canadian Operating Facility at any time shall not exceed the Canadian
Operating Facility Limit in effect at such time. If at any time and for whatever reason the
Outstanding Advances under the Canadian Operating Facility exceed the Canadian Operating
Facility Limit then in effect, the Canadian Borrower shall, within two Business Days of receipt of
a written notice from the Agent, pay to the Agent the principal amount required to reduce the
Outstanding Advances under the Canadian Operating Facility to an amount not greater than the
Canadian Operating Facility Limit then in effect.

2.4      Repayment

        The Obligations under the Canadian Operating Facility shall become due and payable on
the earlier of: (i) the Acceleration Date; and (ii) the Facilities Maturity Date.

2.5      Availment Options

         2.5.1  Subject to the restrictions contained in this Section 2.5 and elsewhere in this
         Agreement (and in particular, Sections 5.4 and 5.5), the Canadian Borrower may receive
         Advances under the Canadian Operating Facility by any one or more of the following

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         Availment Options (or any combination thereof) in minimum amounts and multiples as
         provided in Section 5.5:

         (a)    Overdrafts in Canadian Dollars or U.S. Dollars (but only under the Swingline);

         (b)    Letters of Credit in Canadian Dollars or U.S. Dollars (but only under the
                Swingline);

         (c)    Canadian Dollar Prime Rate Loans;

         (d)    U.S. Dollar Base Rate Loans;

         (e)    Bankers’ Acceptances from the BA Lenders in Canadian Dollars only with a
                maturity of 30, 60, 90 or 180 days, subject to availability;

         (f)    BA Equivalent Loans from the Non-BA Lenders in Canadian Dollars only with a
                maturity of 30, 60, 90 or 180 days, subject to availability; or

         (g)    LIBOR Loans in U.S. Dollars, with a LIBOR Period of 30, 60, 90 or 180 days,
                subject to availability.

         2.5.2   Bankers’ Acceptances, BA Equivalent Loans and LIBOR Loans under the
         Canadian Operating Facility will not be issued with a maturity date later than the Facilities
         Maturity Date.

         2.5.3    The Canadian Borrower may Convert Outstanding Advances under the Canadian
         Operating Facility in the form of any above Availment Option applicable to it into another
         form of Availment Option in the same currency, subject to and in accordance with the
         terms and conditions of this Agreement (but for greater certainty, Bankers’ Acceptances,
         BA Equivalent Loans, LIBOR Loans and Letters of Credit may not be converted into
         another Availment Option prior to the maturity thereof, except in the case of unexpired
         Letter of Credits by the return of the original thereof to the Swingline Lender for
         cancellation).

2.6      Interest and Fees

         2.6.1  In respect of Advances under the Canadian Operating Facility, the Canadian
         Borrower agrees to pay the following:

         (a)    interest on Overdrafts in Canadian Dollars and interest on Canadian Dollar Prime
                Rate Loans at the Canadian Prime Rate plus the Applicable Margin per annum,
                payable monthly in arrears on the last Business Day of such month;

         (b)    in respect of each Letter of Credit issued under the Canadian Operating Facility:

                (i)     to the Swingline Lender in respect of the period from the date of issuance
                        of such Letter of Credit to the date of expiry of such Letter of Credit
                        (including the first day but excluding the last day) and divided by 365 or

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                      366 days, as the case may be, a fee equal to the Applicable Margin in effect
                      at the time of issuance multiplied by the face amount of such Letter of Credit
                      multiplied by the number of days in such period and divided by 365 or
                      366 days, as the case may be, payable on the date of issuance of such Letter
                      of Credit; and

               (ii)   in respect of each Letter of Credit, in addition to the fees referred to in
                      clause (i) immediately above, fees generally applicable to Letters of Credit
                      from time to time (such as issuance, drawing, registration, amendment,
                      communication and other processing and out of pocket fees) at the
                      Swingline Lender’s usual rates, payable to the Swingline Lender for its own
                      account,

               and each fee referred to in this Section in respect of a Letter of Credit shall be paid
               in the same currency as the currency of such Letter of Credit;

         (c)   in respect of each Bankers’ Acceptance, a stamping fee equal to the Applicable
               Margin multiplied by the face amount of the Bankers’ Acceptance with the product
               thereof further multiplied by the number of days to maturity of the Bankers’
               Acceptance and divided by 365 or 366 days, as the case may be, payable at the time
               of acceptance (and for greater certainty, in addition to paying the said stamping fee,
               the Canadian Borrower acknowledges that the proceeds received upon the issuance
               of such Bankers’ Acceptance will be less than the face amount payable to the holder
               of such Bankers’ Acceptance on the maturity thereof, as more particularly provided
               in Section 5.10);

         (d)   in respect of each BA Equivalent Loan, a stamping fee equal to the Applicable
               Margin multiplied by the face amount of the BA Equivalent Loan with the product
               thereof further multiplied by the number of days to maturity of the BA Equivalent
               Loan and divided by 365 or 366 days, as the case may be, payable at the time of
               acceptance (and for greater certainty, in addition to paying the said stamping fee,
               the Canadian Borrower acknowledges that the proceeds received upon the issuance
               of such BA Equivalent Loan will be less than the principal amount of such
               BA Equivalent Loan on the maturity thereof, as more particularly provided in
               Section 5.12);

         (e)   interest on Overdrafts in U.S. Dollars and interest on U.S. Dollar Base Rate Loans
               at the U.S. Base Rate plus the Applicable Margin per annum, payable monthly in
               arrears on the last day of each and every month (provided, that if the last day of any
               month is not a Business Day, interest shall be payable on the next Business Day
               thereafter);

         (f)   interest on LIBOR Loans in U.S. Dollars at the U.S. Dollar LIBOR Rate plus the
               Applicable Margin per annum calculated on the basis of a year of 360 days, payable
               in the manner set out in Section 5.13.2;




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         (g)    a standby fee with respect to the unused portion of the Canadian Operating Facility
                (other than the Swingline), calculated in U.S. Dollars on a daily basis as being the
                difference between (i) the Canadian Operating Facility Commitment less the
                Swingline Limit and (ii) the Outstanding Advances under that portion of the
                Canadian Operating Facility other than the Swingline, multiplied by the Applicable
                Margin and divided by 365 or 366 days, as the case may be, which standby fee shall
                be payable quarterly in arrears on the last day of each Fiscal Quarter;

         (h)    a standby fee with respect to the Swingline payable to the Agent for the account of
                the Swingline Lender, calculated in U.S. Dollars on a daily basis as being the
                difference between (i) the Swingline Limit and (ii) the Outstanding Advances
                under the Swingline, multiplied by the Applicable Margin and divided by 365 or
                366 days, as the case may be, which standby fee shall be payable quarterly in arrears
                on the last day of each Fiscal Quarter; and

         (i)    such fees payable to the Agent as may be agreed in writing from time to time
                between the Canadian Borrower and the Agent relating to any Banking Services
                Agreements and related services which may be provided by the Agent for the
                Canadian Borrower from time to time.

         2.6.2    With respect to any Availment Option under the Canadian Operating Facility,
         “Applicable Margin” means, in respect of any Fiscal Quarter, the percentage in the column
         relating to such Availment Option which corresponds to the Net Leverage Ratio as
         determined pursuant to Section 5.1.4.

2.7      Swingline

         2.7.1   A portion of the Canadian Operating Facility in the maximum amount of the
         Swingline Limit is hereby designated as the “Swingline” and shall be subject to the terms
         and conditions in this Section 2.7 (in addition to any other applicable terms and conditions
         contained in this Agreement). The Swingline shall be available to each of the Canadian
         Borrower and the Specified Canadian Swingline Borrower (collectively the “Swingline
         Borrowers”).

         2.7.2    The Swingline shall be established and maintained by the Swingline Lender only.
         Either Swingline Borrower may only receive Advances under the Swingline by way of
         Overdrafts, LIBOR Loans, Bankers’ Acceptances or the issuance of Letters of Credit, in
         each case (other than with respect to Bankers’ Acceptances), in Canadian Dollars or U.S.
         Dollars. The aggregate amount owing under the Swingline may at no time exceed the
         Swingline Limit and the aggregate principal amount outstanding under the Swingline plus
         the other Outstanding Advances under the Canadian Operating Facility shall at no time
         exceed the Canadian Operating Facility Limit. The total number of Bankers’ Acceptances
         and LIBOR Loans outstanding under the Swingline shall not exceed fifteen at any time.

         2.7.3    The Swingline shall form a part of the Canadian Operating Facility and, except
         for the purpose of calculating the Canadian Operating Facility standby fee, any Swingline



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         Loan shall reduce availability under the Canadian Operating Facility on a dollar for dollar
         basis.

         2.7.4     The Swingline Lender will make Advances to the Swingline Borrowers under the
         Swingline by way of (a) Canadian Dollar Overdraft into Canadian Dollar accounts, or U.S.
         Dollar Overdraft into U.S. Dollar accounts, in each case held at a branch of the Agent and
         as designated by either Swingline Borrower from time to time as required in order to
         honour cheques drawn by either Swingline Borrower on such accounts which are presented
         to the Swingline Lender for payment, (b) the issuance of Letters of Credit in Canadian
         Dollars or U.S. Dollars or (c) LIBOR Loans or Bankers’ Acceptances. Other than in respect
         of Letters of Credit, LIBOR Loans or Bankers’ Acceptances, no Drawdown Request or
         minimum amount shall be required in connection therewith and each Swingline Loan shall
         be on a dollar for dollar basis (i.e. not subject to multiples). As deposits are made into such
         accounts by the applicable Swingline Borrower, the Swingline Lender shall withdraw
         funds from such accounts from time to time and apply such funds as Repayments under
         the Swingline; provided, that the foregoing shall not apply to any Swingline Loans made
         by way of issuance of a Letter of Credit, LIBOR Loan or Bankers’ Acceptance. No notice
         of repayment shall be required to be given by the Canadian Borrower in respect of any such
         repayment of any Swingline Loan (other than in respect of LIBOR Loans or Bankers’
         Acceptances). The Swingline Borrowers authorize and direct the Swingline Lender, in its
         discretion, to automatically debit, by mechanical, electronic or manual means, the bank
         accounts of the Swingline Borrowers maintained by it for any amounts (including principal,
         interest or fees) that are due and payable under this Section 2.7.

         2.7.5     Letters of Credit may be issued under the Swingline in Canadian Dollars or U.S.
         Dollars (or such other currencies as may be agreed to by the Swingline Lender); provided,
         that the Equivalent Amount expressed in U.S. Dollars (or such other currency, if
         applicable) of the aggregate face amount of all Letters of Credit outstanding under the
         Swingline at any time may not exceed U.S. $10,000,000. Each Letter of Credit shall have
         an expiry date not exceeding the earlier of (a) one year from the date of issuance thereof
         (subject to any customary auto-renewal terms contained in such Letter of Credit; provided,
         that such auto-renewal provisions do not provide for a renewal in the singular instance in
         excess of one year from the date of such renewal), and (b) five Business Days prior to the
         Facilities Maturity Date. Letters of Credit will not be issued for the purpose of guaranteeing
         obligations of any Person other than a Credit Party. On the date of issue, the Swingline
         Lender will complete and issue one or more Letters of Credit in favour of the beneficiary
         as specified by the applicable Swingline Borrower in its Drawdown Request. No Letter of
         Credit shall require payment against a conforming draft to be made thereunder on the same
         Business Day upon which such draft is presented, if such presentation is made after
         11:00 a.m. (Toronto time) on such Business Day. Prior to the issue date, the applicable
         Swingline Borrower shall specify a precise description of the documents and the verbatim
         text of any certificate to be presented by the beneficiary prior to payment under the Letter
         of Credit. The Swingline Lender may require changes in any such documents or certificate,
         acting reasonably. In determining whether to pay under a Letter of Credit, the Swingline
         Lender shall be responsible only to determine that the documents and certificates required
         to be delivered under such Letter of Credit have been delivered and that they comply on
         their face with the requirements of such Letter of Credit. Sections 4.7.2, 4.7.3, 4.7.4 and

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         4.7.6 shall apply to Letters of Credit issued under the Swingline mutatis mutandis as if the
         Swingline Lender was the Issuing Bank.

         2.7.6    If the Canadian Borrower requests a Syndicated Advance and the Swingline
         Lender’s Proportionate Share of such Syndicated Advance would cause its Proportionate
         Share of all Syndicated Advances under the Canadian Operating Facility then outstanding
         together with the aggregate outstanding principal amount of all Swingline Loans to exceed
         the Swingline Lender’s Commitment under the Canadian Operating Facility, then the
         Canadian Borrower shall be required to repay such Swingline Loans (or to convert the
         same into a Syndicated Advance in accordance with Section 2.7.7) to the extent of such
         excess on or before the requested date of such Syndicated Advance; provided, that the
         foregoing shall not apply to any Swingline Loans made by way of issuance of a Letter of
         Credit.

         2.7.7     Notwithstanding anything to the contrary herein contained, the Canadian
         Borrower may at any time give notice to the Swingline Lender and the Agent, which notice
         shall direct a Conversion of any outstanding Swingline Loan into a Syndicated Advance
         (other than by way of issuance of a Letter of Credit) and shall specify the particulars of
         such Swingline Loans, and the Agent shall forthwith provide a copy of such notice to the
         Canadian Operating Lenders and, effective on the effective date of such notice, the
         Canadian Borrower shall be deemed to have requested a Conversion of such Swingline
         Loan into a Syndicated Advance (whether or not it was the actual borrower under such
         Swingline Loan) and in an amount sufficient to repay the relevant Swingline Loan and
         accrued and unpaid interest in respect thereof. Subject to the same notice period set out in
         Section 5.4, each Canadian Operating Lender shall disburse to the Agent for payment to
         the Swingline Lender its respective Proportionate Share of such amounts and such amounts
         shall thereupon be deemed to have been advanced by such other Canadian Operating
         Lenders to the Canadian Borrower and to constitute Syndicated Advances by way of
         Canadian Dollar Prime Rate Loans or U.S. Dollar Base Rate Loans, as applicable. Such
         Syndicated Advances shall be deemed to be comprised of principal and accrued and unpaid
         interest in the same proportions as the corresponding Swingline Loans.

         2.7.8    Upon the occurrence and any time during the continuance of an Event of Default,
         the Canadian Operating Lenders shall make such adjusting payments amongst themselves
         in any manner as may be required to ensure their respective participations in outstanding
         Advances under the Canadian Operating Facility reflect their respective Proportionate
         Share under the Canadian Operating Facility. If any Swingline Loans (other than by way
         of Letters of Credit) are outstanding, the Swingline Lender may at any time in its sole and
         absolute discretion, on behalf of either Swingline Borrower (which hereby irrevocably
         directs and authorizes the Swingline Lender to make such request on its behalf), request
         that each Canadian Operating Lender, through the Agent, make a Canadian Dollar Prime
         Rate Loan or U.S. Dollar Base Rate Loan, as applicable, to the Canadian Borrower
         (whether or not it was the actual borrower under such Swingline Loan) in an amount equal
         to the Lender’s Proportionate Share of the principal amount of such Swingline Loan
         outstanding on the date such notice is given (in this Section, the “Refunded Swingline
         Loans”), provided that the provisions of this clause shall not affect the applicable
         Swingline Borrower’s obligation to repay the Swingline Loans to the extent they remain

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         outstanding. Each Canadian Operating Lender will make the proceeds of any such
         Canadian Dollar Prime Rate Loan or U.S. Dollar Base Rate Loan, as applicable, available
         to the Swingline Lender on the Business Day next following the date such notice is given
         in immediately available funds. The proceeds of such a Canadian Dollar Prime Rate Loan
         or U.S. Dollar Base Rate Loan shall be applied by the Swingline Lender to the payment in
         full of the Refunded Swingline Loans.

         2.7.9    In the event of any request for a drawing under any Letter of Credit, the Swingline
         Lender may notify the applicable Swingline Borrower (with a copy of the notice to the
         Agent) on or before the date on which it intends to honour such drawing. The applicable
         Swingline Borrower (whether or not such notice is given) shall reimburse the Swingline
         Lender within two Business Days of demand by the Swingline Lender, in the relevant
         currency, an amount, in same day funds, equal to the amount of such drawing (in this
         Section, an “LC Payment”). The applicable Swingline Borrower shall pay to the
         Swingline Lender interest on the amount of any such drawn Letter of Credit as if such
         drawn amount was a Canadian Dollar Prime Rate Loan or U.S. Dollar Base Rate Loan, as
         applicable, from the date such Letter of Credit is drawn upon until such time as the
         applicable Swingline Borrower reimburses the Swingline Lender for the drawn amount of
         such Letter of Credit. If the applicable Swingline Borrower does not reimburse the
         Swingline Lender within such two Business Days, the Canadian Operating Lenders shall,
         on the third Business Day following the date of such initial demand on the applicable
         Swingline Borrower by the Swingline Lender, at the request of the Swingline Lender,
         provide its Proportionate Share of the amount drawn under any such Letter of Credit and
         the Agent shall apply the proceeds thereof to the reimbursement of the Swingline Lender
         for the amount of such drawing. The applicable Swingline Borrower shall pay to Canadian
         Operating Lenders interest on the amount of any such drawn Letter of Credit from the date
         the Swingline Lender requests payment from each of Canadian Operating Lenders in
         respect of such drawn Letter of Credit until such time as the Canadian Borrower reimburses
         the Swingline Lender and each of Canadian Operating Lenders for the drawn amount of
         such Letter of Credit which has been drawn upon as if such drawn amount was a Canadian
         Dollar Prime Rate Loan or U.S. Dollar Base Rate Loan, as applicable. Each Canadian
         Operating Lender acknowledges and agrees that its obligation to acquire participations in
         each Letter of Credit issued by the Swingline Lender and its obligation to make the
         payments specified herein, and the right of the Swingline Lender to receive the same, in
         the manner specified herein, are absolute and unconditional and shall not be affected by
         any circumstance whatsoever, including the occurrence and continuance of a Default or
         Event of Default hereunder, and that each such payment shall be made without any offset,
         abatement, withholding or reduction whatsoever.

         2.7.10 The obligations of each Canadian Operating Lender under Sections 2.7.8 and
         2.7.9 are unconditional, shall not be subject to any qualification or exception whatsoever
         and shall be performed in accordance with the terms and conditions of this Agreement
         under all circumstances including:

         (a)    any lack of validity or enforceability of the applicable Swingline Borrower’s
                obligations under this Section 2.7;


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         (b)    the occurrence of any Default or Event of Default or the exercise of any rights by
                the Agent under the Credit Documents;

         (c)    whether the Borrower under a Swingline loan was the Canadian Borrower or the
                Specified Canadian Swingline Borrower; and

         (d)    the absence of any demand for payment being made, any proof of claim being filed,
                any proceeding being commenced or any judgment being obtained by any Lender
                against any Credit Party.

         2.7.11 For certainty, it is hereby acknowledged and agreed that the Canadian Operating
         Lenders shall be obligated to disburse to the Agent for payment to the Swingline Lender
         their respective Proportionate Shares of any Syndicated Advances contemplated in this
         Section 2.7 regardless of:

         (a)    whether a Default or Event of Default has occurred or is then continuing or whether
                any other condition in Section 9.2 is met;

         (b)    whether or not the Canadian Borrower has, in fact, actually requested such
                Conversion; and

         (c)    whether or not a Person was a Canadian Operating Lender at the time the applicable
                Swingline Loan was made.

         2.7.12 Notwithstanding any other terms of this Section 2.7, this Agreement or any other
         Loan Document, the Canadian Borrower shall be jointly and severally liable with the
         Specified Canadian Swingline Borrower for all obligations and indebtedness arising out of
         any Swingline Loan advanced by the Swingline Lender to the Specified Canadian
         Swingline Borrower.

                                          ARTICLE 3
                                        TERM FACILITY

3.1      Establishment of the Term Facility

        Subject to the terms and conditions in this Agreement, each Term Lender hereby
establishes a committed non-revolving reducing term credit facility in favour of the Canadian
Borrower in the maximum principal amount indicated opposite such Term Lender’s name in
Exhibit “A” under the heading “Term Facility Commitments”. Such credit facility in the maximum
aggregate principal amount of the Term Facility Commitment is established by the Term Lenders
severally and not jointly, and is hereinafter referred to as the “Term Facility”. Each Advance by
a Term Lender under the Term Facility shall be made by such Term Lender in its Proportionate
Share of the Term Facility.

3.2      Purpose

         Advances to partially finance the purchase price of certain Acquisitions.


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3.3      Nature

        The Term Facility shall be a non-revolving facility, and any Repayment under the Term
Facility may not be re-borrowed. As of the Amendment and Restatement Date, no new Advances
are available under the Term Facility.

3.4      Repayment

         3.4.1     The Obligations under the Term Facility shall become due and payable on the
         earlier of: (a) the Acceleration Date; and (b) the Facilities Maturity Date.

         3.4.2    The Canadian Borrower shall make Repayments under the Term Facility in
         quarterly installments on the last day of each Fiscal Quarter (and if the last day of a Fiscal
         Quarter is not a Business Day, such payment shall be due on the next Business Day) of
         U.S. $1,195,000 in each case, payable on the last Business Day of each such Fiscal Quarter.

         3.4.3    Each Repayment under the Term Facility shall be applied to the Term Lenders
         holding such Loans pro rata based upon their Proportionate Share thereof and the Term
         Facility Commitment shall be reduced by the amount of each such Repayment.

3.5      Availment Options

         3.5.1    Subject to the restrictions contained in this Section 3.5, the Canadian Borrower
         may receive Advances under the Term Facility by way of (and may convert Outstanding
         Advances under the Term Facility into) any one or more of the following Availment
         Options (or any combination thereof) in minimum amounts and multiples as provided in
         Section 5.5:

         (a)      Canadian Dollar Prime Rate Loans;

         (b)      Bankers’ Acceptances from the BA Lenders in Canadian Dollars only with a
                  maturity date of 30, 60, 90 or 180 days, subject to availability;

         (c)      BA Equivalent Loans from the Non-BA Lenders in Canadian Dollars only with a
                  maturity date of 30, 60, 90 or 180 days, subject to availability;

         (d)      U.S. Dollar Base Rate Loans; or

         (e)      LIBOR Loans in U.S. Dollars only with a LIBOR Period of 30, 60, 90 or 180 days,
                  subject to availability.

         3.5.2    Bankers’ Acceptances, BA Equivalent Loans and LIBOR Loans under the Term
         Facility may not be converted into another Availment Option prior to the maturity thereof,
         and may not be issued with a maturity date later than the Facilities Maturity Date.




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3.6      Interest and Fees

         3.6.1    In respect of Advances under the Term Facility, the Canadian Borrower agrees to
         pay the following:

         (a)    interest on Canadian Dollar Prime Rate Loans at the Canadian Prime Rate plus the
                Applicable Margin per annum, payable monthly in arrears on the first Business Day
                of the next month;

         (b)    in respect of each Bankers’ Acceptance, a stamping fee equal to the Applicable
                Margin multiplied by the face amount of the Bankers’ Acceptance with the product
                thereof further multiplied by the number of days to maturity of the Bankers’
                Acceptance and divided by 365 or 366 days, as the case may be, payable at the time
                of acceptance (and for greater certainty, in addition to paying the said stamping fee,
                the Canadian Borrower acknowledges that the proceeds received upon the issuance
                of such Bankers’ Acceptance will be less than the face amount payable to the holder
                of such Bankers’ Acceptance on the maturity thereof, as more particularly provided
                in Section 5.10);

         (c)    in respect of each BA Equivalent Loan, a stamping fee equal to the Applicable
                Margin multiplied by the face amount of the BA Equivalent Loan with the product
                thereof further multiplied by the number of days to maturity of the BA Equivalent
                Loan and divided by 365 or 366 days, as the case may be, payable at the time of
                acceptance (and for greater certainty, in addition to paying the said stamping fee,
                the Canadian Borrower acknowledges that the proceeds received upon the issuance
                of such BA Equivalent Loan will be less than the principal amount of such
                BA Equivalent Loan on the maturity thereof, as more particularly provided in
                Section 5.12);

         (d)    interest on U.S. Dollar Base Rate Loans at the U.S. Base Rate plus the Applicable
                Margin per annum, payable monthly in arrears on the first Business Day of the next
                month; and

         (e)    interest on LIBOR Loans in U.S. Dollars at the U.S. Dollar LIBOR Rate plus the
                Applicable Margin per annum calculated on the basis of a year of 360 days, payable
                in the manner set out in Section 5.13.2.

         3.6.2    With respect to any Availment Option under the Term Facility, “Applicable
         Margin” means, in respect of any Fiscal Quarter, the percentage in the column relating to
         such Availment Option which corresponds to the Net Leverage Ratio as determined
         pursuant to Section 5.1.4.




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                                         ARTICLE 4
                                 U.S. OPERATING FACILITY

4.1      Establishment of U.S. Operating Facility

        Subject to the terms and conditions in this Agreement, each U.S. Operating Lender hereby
establishes a committed, revolving credit facility in favour of the U.S. Borrower in the maximum
principal amount indicated opposite such U.S. Operating Lender’s name in Exhibit “A” under the
heading “U.S. Operating Facility Commitments”. Such credit facility in the maximum aggregate
principal amount of the U.S. Operating Facility Limit are established by the U.S. Operating
Lenders severally and not jointly, and are hereinafter collectively referred to as the “U.S.
Operating Facility”. Each Advance by a U.S. Operating Lender under the U.S. Operating Facility
shall be made by such U.S. Operating Lender in its Proportionate Share of the U.S. Operating
Facility.

4.2      Purpose

        Advances under the U.S. Operating Facility shall be used by the U.S. Borrower to fund
working capital needs and for general corporate purposes including the Permitted Acquisitions
(other than a Hostile Acquisition and the Terra Acquisition).

4.3      Revolving Nature

        The U.S. Operating Facility shall be a revolving facility. For greater certainty, the U.S.
Borrower shall, subject to the terms of this Agreement, be entitled to obtain Advances by way of
U.S. Dollar Prime Rate Loans, LIBOR Loans or Letters of Credit in U.S. Dollars under the U.S.
Operating Facility from time to time and repay all or any portion of the Outstanding Advances
under the U.S. Operating Facility from time to time; provided, that the Outstanding Advances
under the U.S. Operating Facility at any time shall not exceed the U.S. Operating Facility
Commitment in effect at such time. If at any time and for whatever reason the Outstanding
Advances under the U.S. Operating Facility exceed the U.S. Operating Facility Commitment then
in effect, the U.S. Borrower shall, within two Business Days of receipt of a written notice from the
Agent, pay to the Agent the principal amount required to reduce the Outstanding Advances under
the U.S. Operating Facility to an amount not greater than the U.S. Operating Facility Commitment
then in effect.

4.4      Repayment

        The Obligations under the U.S. Operating Facility shall become due and payable on the
earlier of: (i) the Acceleration Date; and (ii) the Facilities Maturity Date.

4.5      Availment Options

         4.5.1    Subject to the restrictions contained in this Section 4.5 and elsewhere in this
         Agreement (and in particular, Sections 5.4 and 5.5), the U.S. Borrower may receive
         Advances under the U.S. Operating Facility by any one or more of the following Availment
         Options (or any combination thereof) in minimum amounts and multiples as provided in
         Section 5.5:

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         (a)    Letters of Credit in U.S. Dollars;

         (b)    U.S. Dollar Prime Rate Loans; or

         (c)    LIBOR Loans in U.S. Dollars, with a LIBOR Period of 30, 60, 90 or 180 days,
                subject to availability.

         4.5.2     LIBOR Loans under the U.S. Operating Facility will not be issued with a maturity
         date later than the Facilities Maturity Date.

         4.5.3     The U.S. Borrower may convert Outstanding Advances under the U.S. Operating
         Facility in the form of any above Availment Option applicable to it into another form of
         Availment Option in the same currency, subject to and in accordance with the terms and
         conditions of this Agreement (but for greater certainty, LIBOR Loans and Letters of Credit
         may not be converted into another Availment Option prior to the maturity thereof, except
         in the case of unexpired Letter of Credits by the return of the original thereof to the Issuing
         Bank for cancellation).

4.6      Interest and Fees

         4.6.1    In respect of Advances under the U.S. Operating Facility, the U.S. Borrower
         agrees to pay the following:

         (a)    interest on U.S. Dollar Prime Rate Loans in U.S. Dollars at the U.S. Prime Rate
                plus the Applicable Margin per annum, payable monthly in arrears on the last day
                of each and every month (provided, that if such day is not a Business Day, interest
                shall be payable on the next Business Day thereafter);

         (b)    interest on LIBOR Loans in U.S. Dollars at the U.S. Dollar LIBOR Rate plus the
                Applicable Margin per annum calculated on the basis of a year of 360 days, payable
                in the manner set out in Section 5.13.2;

         (c)    in respect of each Letter of Credit issued under the U.S. Operating Facility:

                (i)     to the Agent for the account of the U.S. Operating Lenders in respect of the
                        period from the date of issuance of such Letter of Credit to the date of expiry
                        of such Letter of Credit (including the first day but excluding the last day)
                        and divided by 360 days, a fee equal to the Applicable Margin in effect at
                        the time of issuance multiplied by the face amount of such Letter of Credit
                        multiplied by the number of days in such period and divided by 360 days,
                        payable on the date of issuance of such Letter of Credit; and

                (ii)    in respect of each Letter of Credit, in addition to the fees referred to in
                        Section 4.6.1(c), fees generally applicable to Letters of Credit from time to
                        time (such as issuance, drawing, registration, amendment, communication
                        and other processing and out of pocket fees) at the Issuing Bank’s usual
                        rates, payable to the Issuing Bank for its own account.


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                Each fee referred to in this Section in respect of a Letter of Credit shall be paid in
                U.S. Dollars; and

         (d)    an unused commitment fee with respect to the unused portion of the U.S. Operating
                Facility calculated in U.S. Dollars on a daily basis as being the difference between
                (i) the U.S. Operating Facility Commitment and (ii) the Outstanding Advances
                under the U.S. Operating Facility, multiplied by the Applicable Margin and divided
                by 360 days which standby fee shall be payable quarterly in arrears on the last day
                of each Fiscal Quarter.

         4.6.2    With respect to any Availment Option under the U.S. Operating Facility,
         “Applicable Margin” means, in respect of any Fiscal Quarter, the percentage in the column
         relating to such Availment Option which corresponds to the Net Leverage Ratio as
         determined pursuant to Section 5.1.4.

4.7      Letters of Credit

         4.7.1    Letters of Credit may be issued under the U.S. Operating Facility in U.S. Dollars
         (or such other currencies as may be agreed to by the Agent and by the applicable Issuing
         Bank); provided, that the Equivalent Amount expressed in U.S. Dollars of the aggregate
         face amount of all Letters of Credit outstanding under the U.S. Operating Facility at any
         time may not exceed U.S. $5,000,000. Each Letter of Credit shall have an expiry date not
         exceeding the earlier of (a) one year from the date of issuance thereof (subject to any
         customary auto-renewal terms contained in such Letter of Credit; provided, that such auto-
         renewal provisions do not provide for a renewal in the singular instance in excess of one
         year from the date of such renewal), and (b) five Business Days prior to the Facilities
         Maturity Date.

         4.7.2     Each request for the issuance of a Letter of Credit shall be delivered by the U.S.
         Borrower to the Issuing Bank (with a copy to the Agent) in accordance with the notice
         requirements set out in Section 5.4 herein, together with Issuing Bank’s customary form of
         application and indemnity agreement completed to its satisfaction and the proposed form
         of the Letter of Credit (which shall be satisfactory to the Issuing Bank) and such other
         certificates, documents and other papers and information as the Issuing Bank may
         reasonably request.

         4.7.3     On the date of issue, the Issuing Bank will complete and issue one or more Letters
         of Credit in favour of the beneficiary as specified by the U.S. Borrower in its Drawdown
         Request. No Letter of Credit shall require payment against a conforming draft to be made
         thereunder on the same Business Day upon which such draft is presented, if such
         presentation is made after 11:00 a.m. (New York time) on such Business Day. Prior to the
         issue date, the U.S. Borrower shall specify a precise description of the documents and the
         verbatim text of any certificate to be presented by the beneficiary prior to payment under
         the Letter of Credit. The Issuing Bank may require changes in any such documents or
         certificate, acting reasonably. In determining whether to pay under a Letter of Credit, the
         Issuing Bank shall be responsible only to determine that the documents and certificates


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         required to be delivered under such Letter of Credit have been delivered and that they
         comply on their face with the requirements of such Letter of Credit.

         4.7.4     In the event of any request for a drawing under any Letter of Credit, the Issuing
         Bank may notify the U.S. Borrower (with a copy of the notice to the Agent) on or before
         the date on which it intends to honour such drawing. The U.S. Borrower (whether or not
         such notice is given) shall reimburse the Issuing Bank within one Business Day of demand
         by the Issuing Bank, an amount, in same day funds, equal to the amount of such drawing.
         The U.S. Borrower shall pay to the Issuing Bank interest on the amount of any such drawn
         Letter of Credit as if such drawn amount was a U.S. Dollar Prime Rate Loan from the date
         such Letter of Credit is drawn upon until such time as the U.S. Borrower reimburses the
         Issuing Bank for the drawn amount of such Letter of Credit. If the U.S. Borrower does not
         reimburse the Issuing Bank within such two Business Days, U.S. Operating Lenders shall,
         on the third Business Day following the date of such initial demand on the U.S. Borrower
         by the Issuing Bank, at the request of the Issuing Bank, provide its Proportionate Share of
         the amount drawn under any such Letter of Credit and the Agent shall apply the proceeds
         thereof to the reimbursement of the Issuing Bank for the amount of such drawing. The U.S.
         Borrower shall pay to U.S. Operating Lenders interest on the amount of any such drawn
         Letter of Credit from the date the Issuing Bank requests payment from each of U.S.
         Operating Lenders in respect of such drawn Letter of Credit until such time as the U.S.
         Borrower reimburses the Issuing Bank and each of U.S. Operating Lenders for the drawn
         amount of such Letter of Credit which has been drawn upon as if such drawn amount was
         a U.S. Dollar Base Rate Loan. Each U.S. Operating Lender acknowledges and agrees that
         its obligation to acquire participations in each Letter of Credit issued by the Issuing Bank
         and its obligation to make the payments specified herein, and the right of the Issuing Bank
         to receive the same, in the manner specified herein, are absolute and unconditional and
         shall not be affected by any circumstance whatsoever, including the occurrence and
         continuance of a Default or Event of Default hereunder, and that each such payment shall
         be made without any offset, abatement, withholding or reduction whatsoever.

         4.7.5    The Issuing Bank shall notify each the Agent of the principal amount, the number,
         and the expiration date of each Letter of Credit and upon receipt of such information, the
         Agent shall notify each U.S. Operating Lender of the amount of such U.S. Operating
         Lender’s participation therein. The Issuing Bank shall review each draft and any
         accompanying documents presented under a Letter of Credit and shall notify the Agent of
         any such presentment and upon receipt of such information, the Agent shall notify each
         U.S. Operating Lender of such presentment.

         4.7.6    The Issuing Bank shall not be obligated to issue any Letter of Credit (i) in
         violation of any Applicable Law or policy of such Issuing Bank or any Lender or (ii) if any
         order, judgment or decree of any Governmental Authority or arbitrator shall by its terms
         purport to enjoin or restrain the Issuing Bank from issuing such Letter of Credit. The
         Issuing Bank shall not at any time be obligated to issue any Letter of Credit if such issuance
         would conflict with, or cause the Issuing Bank to exceed any limits imposed by, this
         Agreement or any applicable requirements of Applicable Law or any regulatory or internal
         limit.


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                                        ARTICLE 5
                                    GENERAL CONDITIONS

5.1      Matters relating to Interest and Fees

         5.1.1    Unless otherwise indicated, Interest on any outstanding principal amount
         hereunder shall be calculated daily and shall be payable monthly in arrears on the last day
         of each and every month. If the last day of a month is not a Business Day, the Interest
         payment due on such day shall be made on the next Business Day, and Interest shall
         continue to accrue on the said principal amount and shall also be paid on such next Business
         Day. Interest shall accrue from and including the day upon which an Advance is made or
         is deemed to have been made, and ending on but excluding the day on which such Advance
         is repaid or satisfied. Any change in the Canadian Prime Rate shall cause an immediate
         adjustment of the interest rate applicable to Canadian Dollar Prime Rate Loans and
         Overdrafts in Canadian Dollars and any change in the U.S. Base Rate shall cause an
         immediate adjustment of the interest rate applicable to U.S. Dollar Base Rate Loans and
         Overdrafts in U.S. Dollars, in each case without the necessity of any notice to any
         Borrower.

         5.1.2     Unless otherwise stated, in this Agreement if reference is made to a rate of
         Interest, fee or other amount “per annum” or a similar expression is used, such interest, fee
         or other amount shall be calculated on the basis of a year of 365 or 366 days (or 360 days
         in the case of Loans or Letters of Credit denominated in U.S. Dollars), as the case may be.
         If the amount of any Interest, fee or other amount is determined or expressed on the basis
         of a period of less than one year of 365 days or 366 days (or 360 days in the case of Loans
         denominated in U.S. Dollars), as the case may be, the equivalent yearly rate is equal to the
         rate so determined or expressed, divided by the number of days in the said period, and
         multiplied by the actual number of days in that calendar year.

         5.1.3    Notwithstanding any other provisions of this Agreement:

         (a)     the Borrowers and the Lenders intend to strictly comply with all Applicable Laws,
                 including applicable usury laws (or the usury laws of any jurisdiction whose usury
                 laws are deemed to apply to this Agreement and the other Credit Documents despite
                 the intention and desire of the parties to apply the usury laws of the Province of
                 Alberta and the federal laws applicable therein);

         (b)     in no event shall any Borrower or any other Person be obligated to pay, or any
                 Lender have any right or privilege to reserve, receive or retain, (a) any interest in
                 excess of the maximum amount of nonusurious interest permitted under the laws of
                 the Province of Alberta the federal laws of Canada applicable therein, or the
                 Applicable Laws of any other jurisdiction, or (b) total interest in excess of the
                 amount which such Lender could lawfully have contracted for, reserved, received,
                 retained or charged had the interest been calculated for the full term of the
                 applicable Loan; and




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         (c)    if the amount of any interest, premium, fees or other monies or any rate of interest
                stipulated for, taken, reserved or extracted under the Credit Documents would
                otherwise contravene the provisions of Section 347 of the Criminal Code (Canada),
                Section 8 of the Interest Act (Canada) or any successor or similar legislation
                (including any usury law in the U.S.), or would exceed the amounts which any
                Lender is legally entitled to charge and receive under any law to which such
                compensation is subject, then such amount or rate of interest shall be reduced to
                such maximum amount as would not contravene such provision; and to the extent
                that any excess has been charged or received such Lender shall apply such excess
                against the Outstanding Advances and refund any further excess amount to the
                applicable Borrower.

         As used in this Section 5.1.3, the term “interest” includes the aggregate of all charges, fees,
         benefits or other compensation which constitute interest under Applicable Law; provided,
         that, to the maximum extent permitted by Applicable Law, (a) any non-principal payment
         shall be characterized as an expense or as compensation for something other than the use,
         forbearance or detention of money and not as interest, and (b) all interest at any time
         contracted for, reserved, charged or received shall be amortized, prorated, allocated and
         spread, using the actuarial method, during the full term of the Facilities. The daily interest
         rates to be used in calculating interest for the purposes of this Section 5.1.3 shall be
         determined by dividing the applicable interest rate per annum by the number of days in the
         calendar year for which such calculation is being made. None of the terms and provisions
         contained in this Agreement or in any other Credit Document which directly or indirectly
         relate to interest shall ever be construed without reference to this Section 5.1.3, or be
         construed to create a contract to pay for the use, forbearance or detention of money at any
         interest rate in excess of the amounts permitted under any Applicable Law.

         The provisions of this Section shall govern and control over every other provision of this
         Agreement or any other Credit Document which conflicts or is inconsistent with this
         Section 5.1.3.

         5.1.4     Any change in the Applicable Margin in respect of any Availment Option under
         a Facility shall be determined in accordance with this Section. For purposes of this Section,
         the term “Pricing Date” means, for any Fiscal Quarter of the Canadian Borrower ending
         on or after the Amendment and Restatement Date, the date on which the Agent is in receipt
         of the financial statements and Compliance Certificate pursuant to Section 7.4.1(b) or
         Section 7.4.1(d), as applicable, for such Fiscal Quarter. The Applicable Margin shall be
         established on a Pricing Date based on the Net Leverage Ratio as of the end of the most
         recently completed Fiscal Quarter and the Applicable Margin established on a Pricing Date
         shall remain in effect until the next Pricing Date. If the financial statements and
         Compliance Certificate are delivered before 10:00 a.m. Toronto time on a specific Business
         Day (the “Specific Business Day”) then pricing will be adjusted starting on the Specific
         Business Day. If the financial statements and Compliance Certificate are received after
         10:00 a.m. Toronto time on the Specific Business Day then any pricing adjustment will be
         effective on the next Business Day. If the Canadian Borrower has not delivered its financial
         statements and Compliance Certificate by the date such financial statements and
         Compliance Certificate are required to be delivered pursuant to Section 7.4.1(b) or

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         Section 7.4.1(d), as applicable, then until such financial statements and Compliance
         Certificate are delivered, the Applicable Margin shall be based on Level VI. The
         Applicable Margin established by such financial statements shall be in effect from the
         Pricing Date that occurs immediately after the end of the Fiscal Quarter covered by such
         financial statements until the next Pricing Date; provided, that no changes will be made in
         respect of any Bankers’ Acceptances or BA Equivalent Loans which are outstanding on
         the effective date, until the Rollover thereof and fees paid on the issuance or renewal of a
         Letter of Credit will not change during the term of a Letter of Credit as a result of a change
         in the Net Leverage Ratio.

         5.1.5    The determination of the Applicable Margin by the Agent shall be conclusive and
         binding on the Borrowers and the Lenders if reasonably determined, absent manifest error.

         5.1.6     Effective upon the occurrence of an Event of Default (the “effective date”), the
         interest rates then applicable to all Availment Options will each increase by 200 basis
         points and such increase will remain in effect for as long as such Event of Default subsists.
         An increase in interest rates and fees as aforesaid arising from an Event of Default shall
         apply to all outstanding Advances under the Facilities and will on the effective date apply
         proportionately to each outstanding Advance during the continuance of such Event of
         Default. The Borrowers will pay to the Agent on behalf of the Lenders any resulting
         increase in stamping fees and Letter of Credit fees on or prior to the third Business Day
         following the effective date. In addition to the conditions set forth above, the Lenders’
         obligation to provide any Advances under any Facility, other than Rollovers or
         Conversions of then maturing Advances (in each case not to exceed a 30 day term), will be
         suspended for as long as there exists an Event of Default.

         5.1.7    If the Canadian Borrower has delivered a Compliance Certificate that is
         subsequently found to be inaccurate in any way as a result of the Canadian Borrower’s
         financial results having to be restated or if the Canadian Borrower’s financial results were
         inaccurately reflected in the original financial results on which such Compliance Certificate
         was based or for any other reason and the result thereof is that the Net Leverage Ratio was
         originally reported as lower (and the corresponding Level in the Applicable Margin table
         was lower) than it otherwise would have been in the absence of such inaccuracy or prior to
         such restatement, then the Borrowers will, immediately upon the correction of such
         inaccuracy or upon such restatement, pay to the Agent for the benefit of the applicable
         Lenders an amount equal to the interest, Letter of Credit fees, stamping fees in respect of
         Bankers’ Acceptances and standby fees that the Lenders should have received, but did not
         receive, over the applicable period had the Net Leverage Ratio, and the underlying
         components thereof, been reported correctly in the first instance.

5.2      Voluntary Prepayments

       Subject to Section 5.15, the Borrowers may from time to time, without payment of any
penalty or fee, upon at least two Business Days’ prior written notice to the Agent make a
prepayment in respect of any Outstanding Advances under any of the Facilities. In the case of
Term Facility, the Term Facility Commitment shall be automatically and permanently reduced by
the amount of any such prepayment. Notwithstanding the foregoing, Bankers’ Acceptances,

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BA Equivalent Loans and LIBOR Loans may not be repaid prior to the maturity thereof (except
in accordance with Sections 5.11 and 5.14, as applicable) and unexpired Letter of Credits may not
be prepaid prior to the maturity thereof (except by the return of the original thereof to the Issuing
Bank or Swingline Lender, as applicable, for cancellation or by the collateralization thereof in the
manner set forth in Section 5.16(f)). Prepayments under the Facilities other than under the
Swingline shall be in a minimum principal amount of U.S. $500,000 and integral multiples of
U.S. $100,000 in excess thereof and shall be applied as directed by the Borrowers to the remaining
payments thereof. Any prepayments under the Term Facility shall be made in inverse order of
maturity.

5.3      Mandatory Prepayments

         5.3.1    If any Credit Party receives cash proceeds, or net cash proceeds in the case of
         clauses (a), (b) and (c) below, from:

         (a)    a transaction after the Amendment and Restatement Date involving the creation or
                incurrence of any Funded Debt (other than Permitted Funded Debt), and
                notwithstanding any Default or Event of Default that results therefrom;

         (b)    transactions involving the sale, lease or other disposition of any assets (other than
                transactions described in clauses (a) through (d) inclusive and (f) through (j)
                inclusive of Section 7.2.4), except where such proceeds are reinvested in the
                business of any Credit Party within the applicable time period permitted in
                accordance with Section 5.3.2 (the “Sales Proceeds”); or

         (c)    property, casualty or other insurance proceeds received by any Credit Party, except
                where such proceeds are reinvested in the business of any Credit Party within the
                applicable time period permitted in accordance with Section 5.3.2 (the “Insurance
                Proceeds”); and/or

         (d)    Specified Equity Contribution;

         then, subject to Sections 5.3.2 and 8.6, the Borrowers shall make a Repayment on account
         of the Outstanding Advances in an amount equal to 100% of such proceeds, or net cash
         proceeds in the case of clauses (a), (b) and (c) above, within three Business Days (i) after
         such proceeds are received by the applicable Credit Party in the case of clauses (a) and (d)
         above, (ii) within three Business Days of the expiry of the applicable reinvestment period
         set out in Section 5.3.2 after such proceeds are received by the applicable Credit Party in
         the case of clause (b) above and within three Business Days of the expiry of the insurance
         proceeds reinvestment period described in Section 5.3.2(a) after such proceeds are received
         by the applicable Credit Party in the case of clause (c) above. As used herein, “net cash
         proceeds” in respect of any such transaction means the gross amount payable to the
         applicable Credit Party in cash in respect of such transaction less (i) any sales commissions,
         selling expenses, brokers’ fees, consulting fees, legal fees, other costs and expenses of the
         transaction actually incurred, investment banking fees, accountants’ fees, consulting fees,
         underwriting discounts and commissions and other customary fees and expenses actually
         incurred, (ii) amounts required to be applied to the repayments of Funded Debt, (including

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         the principal amount, premium or penalty, if any, interest and other amounts required to be
         applied to the repayment of any Funded Debt secured by a Lien (including because the
         asset sold is removed from a borrowing base supporting such Funded Debt)), (iii) taxes
         payable in connection with the transaction, (iv) usual and reasonable adjustments in
         connection with the transaction and, including the amount of any liability paid or to be paid
         or reasonable reserve established in accordance with GAAP against any liabilities
         associated with the assets that are the subject of such event and retained by the Canadian
         Borrower or any of its Subsidiaries, and (v) any other amount specifically approved by the
         Agent in writing.

         5.3.2    The Sales Proceeds or Insurance Proceeds, as applicable, need not be used by the
         Credit Parties to make a repayment under Section 5.3.1 and may be used by a Credit Party
         to purchase assets of the general type then used in the operation of an Eligible Line of
         Business, or, provided no Default (unless such repayment would cure any such Default) or
         Event of Default exists at such time, in the case of:

         (a)    Insurance Proceeds (i) of insured claims that do not exceed in the aggregate in any
                one Fiscal Year $7,500,000 or (ii) are used to repair or replace the property in
                respect of which such Insurance Proceeds were received, if such purchase, repair
                or replacement occurs within twelve (12) months of the receipt of such proceeds,
                subject to an extension of up to a further six (6) months to complete such
                reinvestment; provided, that the Credit Party is contractually bound to such
                reinvestment prior to the expiry of the initial twelve (12) months period; or

         (b)    Sales Proceeds (i) arising from any single transaction or series of related
                transactions that do not exceed in the aggregate in any one Fiscal Year $3,000,000
                or (ii) are used or useful by a Credit Party to purchase assets of the general type
                then used in the operation of an Eligible Line of Business, within nine (9) months
                of the receipt of such proceeds, subject to an extension of up to a further three
                (3) months to complete such reinvestment; provided, that the Credit Party is
                contractually bound to such reinvestment prior to the expiry of the initial nine (9)
                period.

         In connection with the foregoing, the Agent and the Lenders may rely upon and assume
         the correctness of all asset values and other statements contained in any certificate provided
         by an officer of the Canadian Borrower confirming the value of the relevant assets.

         5.3.3    Repayments under this Section 5.3 are to be applied first to Outstanding Advances
         under the Term Facility until they have been fully repaid, and then to Outstanding
         Advances under the Operating Facilities, as directed by the Canadian Borrower, or failing
         such direction, pro rata between the Operating Facilities. Repayments under the Facilities
         under this Section 5.3 shall be applied in inverse order of maturity and will be made
         pro rata to each Lender under the applicable Facility.

         5.3.4     If as a result of currency rate fluctuation, the Outstanding Advances under the
         Canadian Operating Facility exceeds the Canadian Operating Facility Limit by at least 3%
         thereof (in each case, a “Currency Excess”), the Borrowers will, by the earlier of (a) five

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         (5) Business Days after a written request from the Agent, and (b) the next date of a Rollover
         or Conversion, pay the applicable Currency Excess to the Agent as a Repayment for the
         benefit of the Canadian Operating Lenders to be shared on the basis of each applicable
         Lender’s Proportionate Share under the Canadian Operating Facility. If to pay a Currency
         Excess it is necessary to repay an Advance made by way of Bankers’ Acceptance or a
         LIBOR Loan prior to the maturity date thereof, the Borrowers will not be required to repay
         such Advances until the maturity date applicable thereto; provided, however, that at the
         request of the Agent, the Borrowers will forthwith pay the Currency Excess to the Agent
         for deposit into a cash collateral account maintained by and in the name of the Agent for
         the benefit of the Canadian Operating Lenders. The Currency Excess will be held by the
         Agent for set off against future obligations owing by the Borrowers to the Canadian
         Operating Lenders in respect of such Currency Excess, if any, and, pending such
         application, such amounts will bear interest for the Borrowers’ account at the rate payable
         by the Agent in respect of deposits of similar amounts and for similar periods of time. The
         Agent shall have exclusive control over all amounts at any time on deposit in such cash
         collateral account. The deposit of the Currency Excess by the Borrowers with the Agent as
         herein provided will not operate as a Repayment under the Canadian Operating Facility
         until such time as the Currency Excess is actually paid to the Canadian Operating Lenders
         as a Repayment. If the Borrowers are required to provide a deposit under this Section 5.3.4
         as a result of the Currency Excess with respect to an unmatured Bankers’ Acceptance or a
         LIBOR Loan, and such Currency Excess (or any portion thereof) is no longer in effect on
         the maturity date of such Bankers’ Acceptance or LIBOR Loan, such deposit (or the
         applicable portion thereof) shall be returned to the Borrowers within three Business Days
         after the maturity date of such Bankers’ Acceptance or LIBOR Loan.

         5.3.5     If the aggregate Outstanding Advances under the Facilities, is at any time greater
         than the then applicable Borrowing Base (the amount of such excess being a “Borrowing
         Base Shortfall”), one or all of the Borrowers shall within three (3) Business Days repay
         such portion of the Outstanding Advances under the Operating Facilities to the Agent for
         the Canadian Operating Lenders as is required to eliminate such Borrowing Base Shortfall.
         The Agent will apply such payments (a) against the Term Facility and (b) thereafter,
         pro rata amongst the Canadian Operating Facility and the U.S. Operating Facility and in
         the following order: (i) first against Canadian Dollar Prime Rate Loans, U.S. Dollar Base
         Rate Loans, U.S. Dollar Prime Rate Loans, (ii) second to collateralize Bankers’
         Acceptances as provided in Section 5.11, (iii) third to repay LIBOR Loans, subject to
         Section 5.14, and (iv) fourth to collateralize Letters of Credit as provided in
         Section 5.16(f), until any such Borrowing Base Shortfall has been eliminated. If the
         Borrowers are required to provide cash collateral under this Section 5.3.5 as a result of a
         Borrowing Base Shortfall, such amount shall be returned to the Borrowers within three (3)
         Business Days after such Borrowing Base Shortfall is no longer continuing.

         5.3.6    If any Credit Party receives net cash proceeds from any Anchor Sale and
         Leaseback Transaction, then the Borrowers shall make a Repayment on account of the
         Outstanding Advances under the Operating Facilities in an amount equal to 100% of such
         net cash proceeds within five Business Days after such proceeds are received by the
         applicable Credit Party. As used herein, “net cash proceeds” has the same meaning ascribed
         thereto in Section 5.3.1. Repayments under this Section 5.3.6 are to be applied to

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         Outstanding Advances under the Operating Facilities on a pro rata basis. Repayments under
         this Section 5.3.6 shall not result in a permanent reduction of any Operating Facility.

5.4      Notice Periods

         5.4.1   The Borrowers shall provide written notice to the Agent in respect of Advances,
         Rollovers, Conversions and Repayments to the extent set out below:

         (a)    no notice is required for Advances and Repayments in respect of Overdrafts under
                the Swingline;

         (b)    notice is required for each voluntary Repayment under any Facility in accordance
                with Section 5.2;

         (c)    except as provided in clauses (a) and (b) above, but subject to (d), (e) and (f) below,
                one Business Days’ notice is required before 10:00 a.m. Toronto time in respect of
                any Advance, Rollover, Conversion or voluntary Repayment in Canadian Dollars
                or in U.S. Dollars;

         (d)    notwithstanding the foregoing, if an Advance, Rollover, Conversion or voluntary
                Repayment relates to a Bankers’ Acceptance or BA Equivalent Loan, two Business
                Days’ notice is required before 10:00 a.m. Toronto time;

         (e)    notwithstanding the foregoing, if an Advance, Rollover, Conversion or voluntary
                Repayment relates to a LIBOR Loan, three Business Days’ notice is required before
                10:00 a.m. Toronto time; and

         (f)    notwithstanding the foregoing, if an Advance relates to the issuance of a Letter of
                Credit, (i) if issued to a beneficiary located in Canada or the U.S., three Business
                Days’ notice is required before 10:00 a.m. Toronto time and (ii) if issued to a
                beneficiary located outside of Canada or the U.S., five (5) Business Days’ notice is
                required before 10:00 a.m. Toronto time.

         5.4.2    Notice of any Advance, Rollover, Conversion or voluntary Repayment referred
         to in Section 5.4.1 above shall be given in the form of a Drawdown Request, Rollover
         Notice, Conversion Notice or Repayment Notice, as the case may be, attached hereto as
         Exhibits, and shall be given to the Agent at its address set out in Section 13.11.

         5.4.3   If notice is not provided as contemplated herein with respect to the maturity of
         any Bankers’ Acceptance, BA Equivalent Loan and LIBOR Loan the Agent may convert
         such Bankers’ Acceptance, BA Equivalent Loan or LIBOR Loan upon its maturity into a
         Canadian Dollar Prime Rate Loan or a U.S. Dollar Base Rate Loan, as applicable.

         5.4.4     Any Conversion from one form of Availment Option to another shall be subject
         to satisfaction of all terms and conditions applicable to the form of the new Availment
         Option.



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5.5      Minimum Amounts, Multiples and Procedures re Advances, Conversions and
         Repayments

         5.5.1    Each request by a Borrower for an Advance or Conversion in the form of a
         Canadian Dollar Prime Rate Loan shall be in a minimum amount of Cdn. $500,000 and
         multiples of Cdn. $100,000 thereafter.

         5.5.2   Each request of a Borrower for an Advance or Conversion in the form of a U.S.
         Dollar Base Rate Loan shall be in a minimum amount of U.S. $500,000 and multiples of
         U.S. $100,000 thereafter.

         5.5.3   Each request by a Borrower for an Advance or Conversion in the form of a
         Bankers’ Acceptance or BA Equivalent Loan shall be in a minimum amount of Cdn.
         $500,000 and multiples of Cdn. $100,000 thereafter.

         5.5.4   Each request by a Borrower for an Advance or Conversion in the form of a LIBOR
         Loan in U.S. Dollars shall be in a minimum amount of U.S. $500,000 and in a multiple of
         U.S. $100,000 thereafter.

         5.5.5    Conversions or Rollovers under the Term Facility can be in such lesser amounts
         as are necessary to give effect to the principal repayments under the Term Facility required
         pursuant to Sections 3.4, 5.3.1 and 5.3.2.

         5.5.6    Upon receipt of a Drawdown Request under any Facility, the Agent shall promptly
         notify each Lender under such Facility of the contents thereof and such Lender’s
         Proportionate Share of the Advance. Such Drawdown Request shall not thereafter be
         revocable.

         5.5.7     Each Advance shall be made by the applicable Lenders to the Agent at its address
         referred to in Section 13.11 or such other address as the Agent may designate by notice in
         writing to the Lenders from time to time. Each Lender shall make available its
         Proportionate Share of each said Advance to the Agent. Unless the Agent determines that
         any condition of the Advance has not been satisfied or waived, the Agent shall make the
         funds so received from the Lenders available to the applicable Borrower by 2:00 p.m.
         (Toronto time) on the requested date of the Advance. No Lender shall be responsible for
         any other Lender’s obligation to make available its Proportionate Share of the said
         Advance.

         5.5.8    Each Borrower agrees to deliver to the Agent in favour of any requesting Lender
         such other agreements and documentation as such Lender may reasonably require (not
         inconsistent with this Agreement and upon at least two (2) Business Days’ prior written
         notice) in respect of such Lender’s requirements for the acceptance of Bankers’
         Acceptances or the issuance of BA Equivalent Loans.

         5.5.9    All payments of principal, interest and other amounts made by the Credit Parties
         to the Agent in respect of the Outstanding Advances under a Facility shall be paid by the
         Agent to the Lenders in accordance with their respective Proportionate Shares of the
         Outstanding Advances under such Facility. For greater certainty, however, (a) stamping

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         fees in respect of Bankers’ Acceptances and BA Equivalent Loans shall be received and
         retained by the respective Lenders which issued or accepted such Bankers’ Acceptances
         and BA Equivalent Loans and (b) in the event that any payments of principal, interest and
         other amounts made by the Credit Parties to the Agent instead of to the Swingline Lender
         in respect of the Outstanding Advances under the Swingline, any such payments shall be
         paid by the Agent to the Swingline Lender.

5.6      Place of Advances and Repayments

         5.6.1    Advances by any Lender to a Borrower shall be made by such Lender to the Agent
         from such Lender’s applicable Lending Office. All payments of principal, interest and
         other amounts to be made by the Borrowers and the other Credit Parties pursuant to this
         Agreement shall be made to the Agent at its address noted in Section 13.11 or to such other
         address at a major city in Canada as the Agent may direct in writing from time to time. All
         such payments received by the Agent on a Business Day before 2:00 p.m. (Toronto time)
         shall be treated as having been received by the Agent on that day; payments made after
         such time on a Business Day shall be treated as having been received by the Agent on the
         next Business Day.

         5.6.2    Whenever any payment or the performance of any covenant, duty or other
         obligation shall be due on (or required within a time period ending on) a day which is not
         a Business Day, the date for payment or performance thereof shall be extended to the next
         succeeding Business Day. Interest shall continue to accrue and be payable thereon as
         provided herein, until the date on which such payment is received by the Agent.

5.7      Evidence of Obligations (Noteless Advances)

        The Agent shall open and maintain, in accordance with its usual practice, accounts
evidencing the Obligations; and the information entered in such accounts shall constitute
conclusive evidence of the Obligations absent manifest error. The Agent may, but shall not be
obliged to, request the Borrowers to execute and deliver from time to time such promissory notes
as may be required as additional evidence of the Obligations; provided, that no promissory notes
shall be required in respect of any Hedging Agreements or Banking Services Agreements.

5.8      Determination of Equivalent Amounts

        Whenever it is necessary or desirable at any time to determine the Equivalent Amount in
Canadian Dollars of an amount expressed in U.S. Dollars, or vice-versa (specifically including the
determination of the Equivalent Amount in Canadian Dollars of an Advance made in U.S. Dollars
(as applicable), the determination of each Lender’s Proportionate Share of any Repayment on any
date, and the determination of whether the Outstanding Advances under any Facility exceed the
limit applicable to such Facility at any time), the Equivalent Amount shall be determined by
reference to the Exchange Rate on the date of such determination. Notwithstanding the foregoing,
however, for the purposes of determining any Letter of Credit fees under the Canadian Operating
Facility or the standby fees applicable to the Canadian Operating Facility, the Agent shall make
such determination based upon the Bank of Canada noon spot rate on the first Business Day of
each quarter for such quarter as the case may be.

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        If any basket used hereunder is exceeded solely as a result of fluctuations in applicable
currency exchange rates after the last time such basket was utilized, such basket will not be deemed
to have been exceeded solely as a result of such fluctuations in currency exchange rates. For
purposes of determining the Net Leverage Ratio, amounts denominated in a currency other than
U.S. Dollars will be converted to U.S. Dollars for the purposes of (A) testing the financial covenant
under Section 7.3.1(a), at the Exchange Rate as of the last day of the Fiscal Quarter for which such
measurement is being made, and (B) calculating any Net Leverage Ratio (other than for the
purposes of determining compliance with Section 7.3.1(a)), at the Exchange Rate as of the date of
calculation, and will, in the case of Funded Debt, reflect the currency translation effects,
determined in accordance with GAAP, of Hedging Agreements permitted hereunder for currency
exchange risks with respect to the applicable currency in effect on the date of determination of the
Equivalent Amount in U.S. Dollars of such Funded Debt.

5.9      Commitment to Purchase Bankers’ Acceptances and BA Equivalent Loans

         5.9.1    Each BA Lender which is a bank listed in Schedule I of the Bank Act (Canada)
         agrees to purchase those Bankers’ Acceptances which it has accepted, at a discount from
         the face amount thereof calculated at the CDOR Rate for the relevant period in effect on
         the issuance date thereof.

         5.9.2    Each BA Lender which is a bank listed in Schedule II or Schedule III of the Bank
         Act (Canada) agrees to purchase those Bankers’ Acceptances which it has accepted, at a
         discount from the face amount thereof calculated using a rate not in excess of the CDOR
         Rate for the relevant period in effect on the issuance date thereof plus up to one-tenth of
         one percent (0.10%).

         5.9.3    Each Non-BA Lender agrees to purchase BA Equivalent Loans issued by it
         hereunder at a discount from the face amount thereof calculated using a rate not in excess
         of the CDOR Rate plus up to one tenth of one percent (0.10%) for the relevant period in
         effect on the issuance date thereof.

         5.9.4     The discount applicable to each Bankers’ Acceptances and BA Equivalent Loan
         shall be determined on the basis of a year of 365 days.

5.10     Special Provisions Regarding Bankers’ Acceptances

      The following provisions are applicable to Bankers’ Acceptances issued by the Canadian
Borrower and accepted by any BA Lender hereunder.

         5.10.1 Payment of Bankers’ Acceptances. The Canadian Borrower agrees to provide for
         each Bankers’ Acceptance by payment of the face amount thereof to the Agent on behalf
         of the BA Lender on the maturity of the Bankers’ Acceptance or, prior to such maturity,
         on the Acceleration Date; and the Agent shall remit the said amount to such BA Lender
         and such BA Lender shall in turn remit such amount to the holder of the Bankers’
         Acceptance. If the Canadian Borrower fails to provide for the payment of the Bankers’
         Acceptance accordingly, any amount not so paid shall be immediately payable by the
         Canadian Borrower to the Agent on behalf of the BA Lender together with interest on such
         amount calculated daily and payable monthly at the rate and in the manner applicable to
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         Canadian Dollar Prime Rate Loans under the Facility under which such Bankers’
         Acceptance was issued. The Canadian Borrower agrees not to claim any days of grace for
         the payment at maturity of any Bankers’ Acceptance and agrees to indemnify and save
         harmless the BA Lender in connection with all payments made by the BA Lender (or by
         the Agent on its behalf) pursuant to Bankers’ Acceptances accepted by the BA Lender,
         together with all reasonable costs and expenses incurred by the BA Lender in this regard.
         The Canadian Borrower hereby waives any defences to payment which might otherwise
         exist if for any reason a Bankers’ Acceptance is held by the BA Lender for its own account
         at maturity.

         5.10.2 Availability of Bankers’ Acceptances. If at any time and from time to time the
         Agent determines, acting reasonably, that there no longer exists a market for Bankers’
         Acceptances for the term requested by the Canadian Borrower, or at all, or if any BA
         Lenders representing no less than 35% of the Commitments advise the Agent in writing
         that the CDOR Rate will not or does not accurately reflect the cost of funds of such BA
         Lender, the Agent shall so advise the Canadian Borrower, and in such event the
         BA Lenders shall not be obliged to accept and the Canadian Borrower shall not be entitled
         to issue Bankers’ Acceptances. If such notice is given and there is any outstanding
         Drawdown Request, Rollover Notice or Conversion Notice requesting an Advance by way
         of, or a Rollover or Conversion into, a Bankers’ Acceptance at such a time, then such
         request will be deemed to be a request for, or a Rollover or Conversion into, a Canadian
         Dollar Prime Rate Loan.

         5.10.3 Power of Attorney. The Canadian Borrower hereby appoints each BA Lender as
         its true and lawful attorney to complete and issue Bankers’ Acceptances on behalf of the
         Canadian Borrower in accordance with written (including facsimile) transmitted
         instructions provided by the Canadian Borrower to the Agent on behalf of such BA Lender,
         and the Canadian Borrower hereby ratifies all lawful acts that its said attorney may do by
         virtue thereof. The Canadian Borrower agrees to indemnify and hold harmless the Agent
         and the BA Lenders and their respective directors, officers and employees from and against
         any charges, complaints, costs, damages, expenses, losses or liabilities of any kind or
         nature which they may incur, sustain or suffer, arising from or by reason of acting, or failing
         to act, as the case may be, in reliance upon this power of attorney, except to the extent
         caused by the gross negligence or willful misconduct of the Agent or the BA Lender or
         their respective directors, officers and employees. The Canadian Borrower hereby agrees
         that each Bankers’ Acceptance completed and issued and accepted in accordance with this
         Section by a BA Lender on behalf of the Canadian Borrower is a valid, binding and
         negotiable instrument of the Canadian Borrower as drawer and endorser. The Canadian
         Borrower agrees that each BA Lender’s accounts and records will constitute prima facie
         evidence of the execution and delivery by the Canadian Borrower of Bankers’
         Acceptances. This power of attorney is coupled with an interest and shall continue in force
         until written notice of revocation with respect to any BA Lender has been served upon the
         Agent by the Canadian Borrower at the Agent’s address set out in Section 13.11.

         5.10.4 Repayment Prior to Maturity. The Canadian Borrower acknowledges that
         Advances made by a Lender by way of Bankers’ Acceptances and BA Equivalent Loans
         may not be repaid prior to the maturity thereof. If any Bankers’ Acceptance or BA

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         Equivalent Loan is repaid prior to the scheduled maturity date hereof (whether as a result
         of Section 2.3 or Section 10.2 or otherwise), the Canadian Borrower will forthwith pay to
         the Agent for deposit into an escrow account maintained by and in the name of the Agent
         for the benefit of the applicable Lenders the principal amount of such Bankers’ Acceptance
         or BA Equivalent Loan and the Agent will in its discretion invest any funds in respect of
         such purported repayment in a term deposit maturing on the scheduled maturity date of the
         Bankers’ Acceptance or BA Equivalent Loan. Any interest accruing on the term deposit
         will be paid to the Canadian Borrower on the maturity date thereof; provided, that no Event
         of Default has occurred and is continuing.

         5.10.5 Depository Bills. It is the intention of the Parties that pursuant to the Depository
         Bills and Notes Act (Canada) (“DBNA”), all Bankers’ Acceptances accepted by the
         Lenders under this Agreement will be issued in the form of a “depository bill” (as defined
         in the DBNA), deposited with a “clearing house” (as defined in the DBNA), including The
         Canadian Depository for Securities Limited or its nominee CDS Clearing and Depository
         Services Inc. (“CDS”). In order to give effect to the foregoing, the Agent will, subject to
         the approval of the Canadian Borrower and the Lenders, establish and notify the Canadian
         Borrower and the Lenders of any additional procedures, consistent with the terms of this
         Agreement, as are reasonably necessary to accomplish such intention, including:

         (a)    any instrument held by the Agent for purposes of Bankers’ Acceptances will have
                marked prominently and legibly on its face and within its text, at or before the time
                of issue, the words “This is a depository bill subject to the Depository Bills and
                Notes Act (Canada)”;

         (b)    any reference to the authentication of the Bankers’ Acceptance will be removed;
                and

         (c)    any reference to the “bearer” will be removed and such Bankers’ Acceptances will
                not be marked with any words prohibiting negotiation, transfer or assignment of it
                or of an interest in it.

         5.10.6 Rounding. In the case of an issue of Bankers’ Acceptances, the Agent will round
         allocations amongst the Lenders to ensure that each Bankers’ Acceptance issued has a face
         amount which is a whole number multiple of $100,000 (and such rounded allocations shall
         constitute the Lenders’ respective Proportionate Share for the purposes of this Agreement).

5.11     Escrowed Funds

        Upon the request of the Agent after the occurrence and during the continuance of an Event
of Default on the cancellation of this Agreement, or if any Outstanding Advances by way of
Bankers’ Acceptances are required to be prepaid hereunder prior to their maturity, the Canadian
Borrower will forthwith pay to the Agent for deposit into an escrow account maintained by and in
the name of the Agent for the benefit of the applicable Lenders, an amount equal to the Lenders’
maximum potential liability under then outstanding Bankers’ Acceptances. Such escrowed funds
will be held by the Agent for set-off against future Obligations owing by the Canadian Borrower
to the applicable Lenders in respect of such Bankers’ Acceptances and pending such application

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may be invested in accordance with Section 5.10.4. In the case such Event of Default is either
waived or cured in compliance with the terms of this Agreement, then the remaining escrow funds
if any, together with any accrued interest to the date of release, will be released to the Canadian
Borrower. The deposit of such escrow funds by the Canadian Borrower with the Agent as herein
provided, will not operate as a repayment of the Outstanding Advance under the applicable Facility
until such time as the escrow funds are actually paid to the applicable Lenders as a Repayment on
the applicable maturity date thereof.

5.12     Special Provisions regarding BA Equivalent Loans

        Each Non-BA Lender will not accept Bankers’ Acceptances hereunder, and shall instead
from time to time make BA Equivalent Loans to the Canadian Borrower. The amount of each
BA Equivalent Loan will be equal to the discount proceeds (based on the discount rate set forth in
Section 5.9.3 and subject to Section 5.10.6) which would be realized from a hypothetical sale of
the corresponding Bankers’ Acceptance on the basis the Lenders purchased such Bankers’
Acceptance and the maturity date of each such BA Equivalent Loan will be the same as the
maturity date of the corresponding Bankers’ Acceptance. Upon the reasonable request of a Non-
BA Lender, each BA Equivalent Loan may be evidenced by a non-interest bearing promissory
note payable by the Canadian Borrower to the Non-BA Lender in a form acceptable to each such
party, acting reasonably. Any such BA Equivalent Loan shall be negotiable by the Non-BA Lender
without notice to or the consent of the Canadian Borrower, and the holder thereof shall be entitled
to enforce such BA Equivalent Loan against the Canadian Borrower free of any equities, defences
or rights of set-off that may exist between the Credit Parties and the Non-BA Lender. In this
Agreement, all references to a BA Equivalent Loan shall mean the loan evidenced thereby if
required by the context; and all references to the “issuance” of a BA Equivalent Loan by a
Non-BA Lender and similar expressions shall mean the making of a BA Equivalent Loan by the
Non-BA Lender which is evidenced by a BA Equivalent Loan as if applicable. The following
provisions are applicable to each BA Equivalent Loan made by a Non-BA Lender to the Canadian
Borrower hereunder:

         5.12.1 Payment of BA Equivalent Loans. The Canadian Borrower agrees to provide for
         each BA Equivalent Loan by payment of the face amount thereof to the Agent on behalf of
         the Non-BA Lender on the maturity of the BA Equivalent Loan or, prior to such maturity,
         on the Acceleration Date; and the Agent shall remit the said amount to such
         Non-BA Lender and such Non-BA Lender shall in turn remit such amount to the holder of
         the BA Equivalent Loan. If the Canadian Borrower fails to provide for the payment of the
         BA Equivalent Loan accordingly, any amount not so paid shall be immediately payable by
         the Canadian Borrower to the Agent on behalf of the Non-BA Lender together with interest
         on such amount calculated daily and payable monthly at the rate and in the manner
         applicable to Canadian Dollar Prime Rate Loans under the Facility under which such BA
         Equivalent Loan was made. The Canadian Borrower agrees not to claim any days of grace
         for the payment at maturity of any BA Equivalent Loan and agrees to indemnify and save
         harmless the Non-BA Lender in connection with all payments made by the
         Non-BA Lender (or by the Agent on its behalf) pursuant to BA Equivalent Loans accepted
         by the Non-BA Lender, together with all reasonable costs and expenses incurred by the
         Non-BA Lender in this regard. The Canadian Borrower hereby waives any defences to


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         payment which might otherwise exist if for any reason a BA Equivalent Loan is held by
         the Non-BA Lender for its own account at maturity.

         5.12.2 Availability of BA Equivalent Loans. No Non-BA Lender shall have any
         obligation to issue BA Equivalent Loans during any period in which the BA Lenders’
         obligation to issue Bankers’ Acceptances is suspended pursuant to Section 5.10.2.

5.13     Special Provisions Regarding LIBOR Loans

      The following provisions are applicable to LIBOR Loans made by any Lender to the
Borrowers.

         5.13.1 Drawdown Procedures. Upon receipt by the Agent from a Borrower of a
         Drawdown Request, Conversion Notice or Rollover Notice in respect of a LIBOR Loan,
         the Agent will promptly advise such Borrower of the U.S. Dollar LIBOR Rate, such rate
         to be determined as at approximately 11:00 a.m. London time, two LIBOR Business Days
         before the commencement of the LIBOR Period for such LIBOR Loan.

         5.13.2 Interest Payment Dates for LIBOR Loans. Interest in respect of any LIBOR Loan
         in U.S. Dollars shall be calculated on the basis of a year of 360 days. Interest in respect of
         any LIBOR Loan with a LIBOR Period of between one month and three months (inclusive)
         shall be payable at the time the principal amount of such LIBOR Loan is payable. Interest
         in respect of any LIBOR Loan with a LIBOR Period longer than three months shall be
         payable in arrears every three months commencing on the last day of the third month
         following the commencement of such LIBOR Period, and also at the time the principal
         amount of such LIBOR Loan is payable.

         5.13.3 Laws Applicable to LIBOR Loans. Each Borrower acknowledges that the ability
         of the Lenders to maintain or provide any LIBOR Loan and to charge interest on any
         LIBOR Loan at the U.S. Dollar LIBOR Rate is and will be subject to any statute, law,
         regulation, rule or direction by any Governmental Authority having jurisdiction which may
         prohibit or restrict or limit such loans or such interest. Each Borrower agrees that the
         Lenders shall have the right to comply with any such requirements and, if the Agent
         determines it to be necessary as a result of such requirement, the Agent may convert any
         LIBOR Loan to a U.S. Dollar Base Rate Loan or require immediate repayment of all
         LIBOR Loans, including accrued interest thereon and all applicable breakage costs
         pursuant to Section 5.15.

5.14     Breakage Costs

        The Borrowers may only Repay or Convert any LIBOR Loan prior to the scheduled
maturity date thereof, whether as a result of acceleration or for any other reason, if the Borrowers
agree to pay to the Agent upon demand all losses, damages, costs and expenses which such Lender
has incurred or may incur as a result of such Repayment or Conversion prior to the said scheduled
maturity date. The Agent shall provide the Borrowers with a written certificate showing in
reasonable detail the basis for such claim, which shall be deemed to be prima facie correct, in the
absence of manifest error.


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5.15     Inability to Make LIBOR Loans

         If at any time and from time to time:

         (a)    the Agent (acting reasonably) determines that by reason of circumstances affecting
                the London Interbank Eurodollar Market, adequate and fair means do not exist for
                ascertaining the rate of interest with respect to, or deposits are not available in
                sufficient amounts in the ordinary course of business at the rate determined
                hereunder to fund, a requested LIBOR Loan during the ensuing LIBOR Period
                selected;

         (b)    the Agent (acting reasonably) determines that the making or continuing of the
                requested LIBOR Loan by the Lenders has been made impracticable by the
                occurrence of an event which materially adversely affects the London Interbank
                Eurodollar Market generally; or

         (c)    the Agent is advised by Lenders representing no less than 35% of the Commitments
                that the U.S. Dollar LIBOR Rate will not or does not represent the effective cost to
                such Lender of U.S. Dollar deposits in such market for the relevant LIBOR Period,

         then the Agent shall give notice thereof to the Lenders and the Borrowers as soon as
         possible after such determination or receipt of such notice, as the case may be, and if such
         notice is given subsequent to the giving of a Drawdown Request or any Rollover Notice or
         Conversion Notice to the Agent by a Borrower with regard to any requested LIBOR Loan,
         such Borrower shall, within one Business Day after receipt of such notice and in
         replacement of the Drawdown Request, Rollover Notice or Conversion Notice, as the case
         may be, previously given by such Borrower, give the Agent a Drawdown Request or a
         Conversion Notice, as the case may be, which specifies the Advance of a U.S. Dollar Base
         Rate Loan or the Conversion of the relevant LIBOR Loan on the last day of the applicable
         LIBOR Period into a U.S. Dollar Base Rate Loan. In the event a Borrower fails to give, if
         applicable, a valid replacement Conversion Notice with respect to the maturing LIBOR
         Loans which were the subject of a Rollover Notice, such maturing LIBOR Loans shall be
         converted on the last day of the applicable LIBOR Period into U.S. Dollar Base Rate Loans
         under the applicable Facility as if a Conversion Notice had been given to the Agent by such
         Borrower pursuant to the provisions hereof. In the event a Borrower fails to give, if
         applicable, a valid replacement Drawdown Request with respect to an Advance originally
         requested by way of a LIBOR Loan, then such Borrower shall be deemed to have requested
         an Advance by way of a U.S. Dollar Base Rate Loan in the amount specified in the original
         Drawdown Request and, on the originally requested date of Advance, the applicable
         Lenders (subject to the other provisions hereof) shall make available the requested amount
         by way of a U.S. Dollar Base Rate Loan under the applicable Facility.

         If at any time the Agent determines (which determination shall be conclusive absent
         manifest error) that (i) the circumstances set forth in Section 5.15(b) have arisen and such
         circumstances are unlikely to be temporary or (ii) the circumstances set forth in Section
         5.15(b) have not arisen but the supervisor for the administrator of LIBOR Rate or a
         Governmental Authority having jurisdiction over the Agent has made a public statement

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         identifying a specific date after which the LIBOR Rate shall no longer be used for
         determining interest rates for loans, then the Agent and the Borrowers shall negotiate in
         good faith to establish an alternate rate of interest to LIBOR Rate that gives due
         consideration to the then prevailing market convention for determining a rate of interest
         for LIBOR Loans made in Canada or in the United States at such time, and upon an
         agreement being reached, shall enter into an amendment to this Agreement to reflect such
         alternate rate of interest and such other related changes to this Agreement as may be
         applicable. Notwithstanding anything to the contrary herein, such amendment shall become
         effective without any further action or consent of any other party to this Agreement so long
         as the Agent shall not have received, within five (5) Business Days of the date notice of
         such alternate rate of interest is provided to the Lenders, a written notice from the Required
         Lenders stating that such Required Lenders object to such amendment. Provided that, if
         such alternate rate of interest shall be less than zero, such rate shall be deemed to be zero
         for the purposes of this Agreement.

5.16     Special Provisions Regarding Letters of Credit

         The following additional provisions are applicable to Letters of Credit issued by hereunder:

         (a)    The obligation of a Borrower to reimburse any Issuing Bank for all drawings under
                Letters of Credit shall be absolute, unconditional and irrevocable and shall be
                satisfied strictly in accordance with their terms, irrespective of:

                (i)     any lack of validity or enforceability of any Letter of Credit;

                (ii)    the existence of any claim, setoff, defence or other right which such
                        Borrower or any other Person may at any time have against the beneficiary
                        under any Letter of Credit, such Issuing Bank, the Agent or any Lender
                        (other than the defence of payment in accordance with the terms of this
                        Agreement or a defence based on the gross negligence or willful misconduct
                        of such Issuing Bank as determined by a court of competent jurisdiction by
                        final and non-appealable judgment) or any other Person in accordance with
                        this Agreement or other transaction;

                (iii)   any draft or other document presented under any Letter of Credit proving to
                        be forged, fraudulent, invalid or insufficient in any respect or any statement
                        therein being untrue or inaccurate in any respect; and

                (iv)    any other circumstance or event whatsoever, whether or not similar to any
                        of the foregoing.

         (b)    In making any payment under any Letter of Credit (a) an Issuing Bank’s exclusive
                reliance on the documents presented to it under such Letter of Credit as to any and
                all matters set forth therein, including reliance on the amount of any draft presented
                under such Letter of Credit, whether or not the amount due to the beneficiary equals
                the amount of such draft and whether or not any document presented pursuant to
                such Letter of Credit proves to be insufficient in any respect, if such document on
                its face appears to be in order, and whether or not any other statement or any other
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               document presented pursuant to such Letter of Credit proves to be forged or invalid
               or any statement therein proves to be inaccurate or untrue in any respect whatsoever
               and (b) any non-compliance in any immaterial respect of the documents presented
               under such Letter of Credit with the terms thereof shall, in each case, not be deemed
               willful misconduct or negligence of such Issuing Bank.

         (c)   Each Issuing Bank and its correspondents may accept and act upon the name,
               signature, or act of any party purporting to be the executor, administrator, receiver,
               trustee in bankruptcy or other legal representative of any party designated in any
               Letter of Credit in the place of the name, signature, or act of such party.

         (d)   In addition to amounts payable as elsewhere provided in this Section 5.16, each
               Borrower hereby agrees to protect, indemnify, pay and save each Issuing Bank and
               its respective directors, officers, employees, agents and representatives harmless
               from and against any and all claims, demands, liabilities, damages, losses, costs,
               charges and expenses (including legal fees and expenses) which each such
               indemnitee may incur or be subject to as a consequence, direct or indirect, of:

               (i)     the issuance of any Letter of Credit, other than as a result of the breach of
                       the standards of reasonable care where such Issuing Bank would not be
                       entitled to the foregoing indemnification under the Uniform Customs or
                       under ISP98, in each case as stated on its face to be applicable to such Letter
                       of Credit;

               (ii)    the inability of an indemnitee to honour a drawing under any Letter of Credit
                       as a result of any act or omission, whether rightful or wrongful, of any
                       present or future de jure or de facto Governmental Authority; or

               (iii)   any of the matters listed in Section 5.16(e).

         (e)   As between a Borrower, on the one hand, and an Issuing Bank, on the other hand,
               such Borrower assumes all risks of the acts and omissions of, or misuse of the
               Letters of Credit issued at its request hereunder by, the respective beneficiaries of
               such Letters of Credit and, without limitation of the foregoing (but other than to the
               extent such Issuing Bank breaches the standards of reasonable care specified in the
               Uniform Customs and otherwise as may be required under ISP98, as applicable,
               where such Issuing Bank would not be entitled to indemnification under the
               Uniform Customs or under ISP98, in each case as stated on its face to be applicable
               to such Letter of Credit), such Issuing Bank shall not be responsible for:

               (i)     the form, validity, accuracy, genuineness or legal effect of any document
                       submitted by any party in connection with the application for and issuance
                       of such Letter of Credit, even if it should in fact prove to be in any or all
                       respects invalid, inaccurate, fraudulent or forged;

               (ii)    the invalidity or insufficiency of any instrument transferring or assigning or
                       purporting to transfer or assign any such Letter of Credit or the rights or


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                       benefits thereunder or proceeds thereof, in whole or in part, which may
                       prove to be invalid or ineffective for any reason;

               (iii)   errors, omissions, interruptions or delays in transmission or delivery of any
                       messages, by fax, electronic transmission, mail, cable telegraph, telex or
                       otherwise, whether or not they are in cipher;

               (iv)    errors in interpretation of technical terms;

               (v)     any loss or delay in the transmission or otherwise of any document required
                       in order to make a drawing under any such Letter of Credit or of the
                       proceeds thereof;

               (vi)    the misapplication by the beneficiary of any such Letter of Credit of the
                       proceeds of any drawing under such Letter of Credit; and

               (vii)   any consequences arising from causes beyond the reasonable control of any
                       Lender, including any act or omission, whether rightful or wrongful, of any
                       present or future de jure or de facto Governmental Authority.

               None of the above shall affect, impair or prevent the vesting of any Issuing Bank’s
               rights or powers hereunder. No action taken or omitted by an Issuing Bank under
               or in connection with any Letter of Credit issued by it or the related certificates, if
               taken or omitted in good faith, shall put such Issuing Bank under any resulting
               liability to the applicable Borrower (provided, that such Issuing Bank acts in
               accordance with the standards of reasonable care specified in the Uniform Customs
               and otherwise as may be required under ISP98, in each case as stated on its face to
               be applicable to the respective Letter of Credit).

         (f)   If any Letter of Credit is outstanding on the Facilities Maturity Date, on the date
               this Agreement and all Commitments hereunder are cancelled, at any time that an
               Event of Default occurs, a demand for repayment is made hereunder, or a domestic
               or foreign court issues any judgment or order restricting or prohibiting payment by
               the applicable Issuing Bank under such Letter of Credit or extending the liability of
               the applicable Issuing Bank to make payment under such Letter of Credit beyond
               the expiry date specified therein, the applicable Borrower will forthwith upon
               demand by the Agent or the applicable Issuing Bank deposit into a cash collateral
               account maintained by and in the name of the Agent or the applicable Issuing Bank
               funds in the applicable currency in the amount of the Advance constituted by such
               Letter of Credit and such funds (together with interest thereon) will be held by the
               Agent or the applicable Issuing Bank for payment of the liability of the applicable
               Borrower pursuant to this Section 5.16 or otherwise in respect of such Letter of
               Credit so long as such Issuing Bank has or may in any circumstance have any
               liability under such Letter of Credit, and, pending such payment, shall bear interest
               at the Agent’s or the applicable Issuing Bank, as applicable then prevailing rate in
               respect of deposits of similar amounts and of similar periods of time. Any balance
               of such funds and interest remaining at such time as the applicable Issuing Bank

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               does not have and may never have any liability under such Letter of Credit will
               nevertheless continue to be held by the Agent or the applicable Issuing Bank, if and
               so long as any Default or Event of Default is continuing or after a demand for
               repayment is made or both, as security for the remaining liabilities of the applicable
               Borrower hereunder. The Agent or the applicable Issuing Bank, as applicable, shall
               have exclusive control over all amounts at any time on deposit in such cash
               collateral account. The deposit of such funds by a Borrower with the Agent or the
               applicable Issuing Bank as herein provided will not operate as a repayment of the
               U.S. Operating Facility or the Swingline Commitment, as applicable, until such
               time as such funds are actually paid to the U.S. Operating Lenders or the Swingline
               Lender, as applicable, as a principal repayment.

         (g)   The Issuing Bank and the Agent, in the case of Letters of Credit issued under the
               U.S. Operating Facility, and the Swingline Lender, in the case of Letters of Credit
               issued under the Swingline, shall each maintain records showing the undrawn and
               unexpired amount of each Letter of Credit outstanding under such Facility, and
               showing for each such Letter of Credit:

               (i)     the dates of issuance and expiration thereof;

               (ii)    the amount thereof; and

               (iii)   the date and amount of all payments made thereunder.

               The Issuing Bank and the Agent shall make copies of such records in the respect of
               Letters of Credit issued under the U.S. Operating Facility available to the U.S.
               Borrower and the U.S. Operating Lenders upon request. The Swingline Lender,
               shall make copies of such records in respect to Letters of Credit issued under the
               Swingline available to the Canadian Borrower, the Agent and the Canadian
               Operating Lenders upon request.

5.17     Eligible Approved Contracts

        The Canadian Borrower may request, from time to time and by written notice to the Agent,
that the Agent designate additional contracts of the Credit Parties (the “Additional Contracts”)
as Eligible Approved Contracts, provided that, any such notice shall only be given concurrently
with the delivery of a Borrowing Base Certificate pursuant to 7.4.1(a) and such notice shall include
a true and correct copy of each Additional Contract.

        If an Additional Contract is in a form (a) previously approved by the Lenders or (b) in
respect of which the Agent has previously received a legal opinion opining that such contract or
agreement is valid and enforceable under the governing law thereof, then such Additional Contract
shall be designated by the Agent as an Eligible Approved Contract as of the date of the notice
referred to above, otherwise, such Additional Contract shall not be designated as an Eligible
Approved Contract until such time as the Agent has received an opinion of legal counsel opining
that such contract or agreement is valid and enforceable under the governing law thereof, which
opinion is in form and substance satisfactory to the Agent and is delivered by legal counsel
acceptable to the Agent (in each case acting reasonably).
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                                    ARTICLE 6
                          REPRESENTATIONS AND WARRANTIES

6.1      Representations and Warranties

        Each Borrower jointly and severally hereby represents and warrants to the Agent and the
Lenders as follows, with respect to itself and, in the case of the Canadian Borrower, also with
respect to each Credit Party:

         6.1.1     Status. It has been duly incorporated, amalgamated, constituted, formed or
         established as the case may be, and is validly subsisting under the Laws of its governing
         jurisdiction and is up to date in respect of all corporate or similar filings and has all
         necessary corporate power, capacity and authority to carry on its business in each
         jurisdiction where it carries on business except, in the case of other jurisdiction, to the
         extent the failure to do so would reasonably be expected to have a Material Adverse Effect.

         6.1.2     Information. As of the date hereof, Schedule 6.1.2 contains the following
         information in respect of each Credit Party and each Subsidiary thereof as of the
         Amendment and Restatement Date: predecessors and prior names (within the immediately
         preceding five years), jurisdiction of incorporation or establishment, present governing
         jurisdiction, registered office, chief executive office, all locations at which it has owned or
         leased places of business or maintained a material amount of assets (other than assets
         temporarily out of a Credit Party’s custody or possession, including assets on the premises
         of others and items in transit) the number and classes of its issued and outstanding shares
         and a list of its shareholders including the number and class of shares held by each. All
         material records related to the Credit Party’s Receivables are located at those certain chief
         executive offices as identified in Schedule 6.1.2, as may be updated from time to time.

         6.1.3   Subsidiaries. As of the Amendment and Restatement Date, neither Holdco nor the
         Canadian Borrower has any Material Subsidiaries or other Subsidiaries other than as set
         out in Schedule 6.1.3 and 100% of the issued and outstanding shares of each Material
         Subsidiary are directly or indirectly owned by the Canadian Borrower.

         6.1.4     No Pending Corporate Changes. As of the Amendment and Restatement Date, no
         Person has any agreement or option or any right or privilege (whether by law, pre-emptive
         or contractual) capable of becoming an agreement for the purchase of any properties or
         assets of any Credit Party out of the ordinary course of business or for the purchase,
         subscription, allotment or issuance of any debt or equity securities, including convertible
         securities, warrants or convertible obligations of any nature, of the Canadian Borrower.

         6.1.5    No Conflicts under Material Agreements or Material Permits. Except as disclosed
         in Schedule 6.1.5, the execution and delivery by each Credit Party of those Credit
         Documents to which it is a party, will not conflict with, result in a breach of or require any
         approval or consent under any Material Agreement or Material Permit, other than consents
         or approvals which have been obtained unconditionally and without imposition of any
         material conditions.



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         6.1.6    No Conflict with Charter Documents. There are no provisions contained in the
         charter documents, or by-laws of any Credit Party, or any partnership agreement,
         shareholders’ agreement, voting trust agreement or similar agreement relating thereto or in
         any Material Agreement or Material Permit, which restrict or limit its powers to borrow
         money, issue debt obligations, guarantee the payment or performance of the obligations of
         others or encumber all or any of its present and after-acquired property; or which would be
         contravened by the execution and delivery of those Credit Documents to which any Credit
         Party is a party or the performance by any Credit Party of its obligations thereunder and
         which contravention would reasonably be expected to result in Material Adverse Change.

         6.1.7    Credit Documents. Each Credit Party has the necessary capacity, power, legal
         right and authority to borrow from the Lenders, guarantee payment to the Agent and the
         Lenders of those Obligations which are payable by the Borrowers, perform its obligations
         under the Credit Documents and provide the Security required to be provided by it
         hereunder. The execution and delivery of the Credit Documents by the Credit Parties and
         the performance of their respective obligations therein have been duly authorized by all
         necessary corporate or other action. This Agreement and the other Credit Documents
         constitute legal, valid and binding obligations of the Credit Parties, enforceable against
         them in accordance with the terms and provisions thereof, subject to Laws of general
         application affecting creditors’ rights and the discretion of the court in awarding equitable
         remedies.

         6.1.8     Conduct of Business; Compliance with Laws and Material Permits. Except as
         disclosed in Schedule 6.1.8, each Credit Party is in compliance in all material respects with
         all Applicable Laws of each jurisdiction in which it carries on business and is duly licensed,
         registered and qualified to do business and is in good standing in each jurisdiction in which
         the nature of the business conducted by it or the property owned or leased by it make such
         qualification necessary, except to the extent that the failure to hold any such licences,
         registrations and permits would not constitute a Material Adverse Change. Schedule 6.1.8
         contains a true and complete list of all Material Permits, and all such Material Permits are
         valid and subsisting and in good standing.

         6.1.9      Ownership of Assets; Permitted Liens. Each Credit Party has good and marketable
         title to (or a valid leasehold interest in) and owns and possesses its undertaking, property
         and assets (other than intellectual property) (or has a valid leasehold interest in) free and
         clear of any and all Liens except for Permitted Liens. No Credit Party has any commitment
         or obligation (contingent or otherwise) to grant any Liens except for Permitted Liens. No
         event has occurred which constitutes, or which with the giving of notice, lapse of time or
         both would constitute, a default under any specific Permitted Lien, which default would
         reasonably be expected to result in a Material Adverse Change.

         6.1.10 Leased Properties. As of the date hereof, Schedule 6.1.10 contains a true and
         complete list of the Leased Properties.

         6.1.11 Intellectual Property. Each Credit Party possesses or has the exclusive right to
         use all patents, patent rights, trademarks, trademark rights, trade names, trade name rights,
         service marks, service mark rights, copyrights and other forms of intellectual property

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         material to the conduct of its business, each of which is in good standing in all material
         respects, and, to its knowledge, has the right to use such intellectual property without
         violation of any material rights of others with respect thereto, except, in each case, as would
         not reasonably be expected to have a Material Adverse Effect. Schedule 6.1.11 contains a
         list of all such Credit Party’s owned material, registered and pending trademarks, service
         marks, patents and copyrights (excluding commercially available software) as of the
         Amendment and Restatement Date.

         6.1.12 Insurance. The Credit Parties have (a) placed insurance, including property, boiler
         and machinery, business interruption and liability insurance, in appropriate amounts and
         for appropriate risks as would be considered prudent for similar businesses, and (b) placed
         Account Receivable Insurance. Attached hereto as Schedule 6.1.12 is a true and complete
         list of all insurance policies (including the Account Receivable Insurance) held by the
         Credit Parties as of the Amendment and Restatement Date.

         6.1.13 Material Agreements. As of the date hereof, Schedule 6.1.13 contains a true and
         complete list of all Material Agreements, including a description of the nature of each
         Material Agreement. Each Material Agreement is in full force and effect; and none of the
         Credit Parties is in breach of any of the terms or conditions contained therein, in each case,
         which would reasonably be expected to have a Material Adverse Effect. Except as
         disclosed in writing to the Agent and as permitted hereby, no Material Agreement has been
         materially amended, supplemented or revised in any manner adverse to the Lenders since
         the date of execution thereof.

         6.1.14 Labour Agreements. Except as disclosed in Schedule 6.1.14, there are no labour
         agreements in effect between any of the Credit Parties and any labour union or employee
         association and the Credit Parties are not under any obligation to assume any labour
         agreements to or conduct negotiations with any labour union or employee association with
         respect to any future agreements; and the Credit Parties are not aware of any current
         attempts to organize or establish any such labour union or employee association which, in
         each case, would reasonably be expected to result in a Material Adverse Effect.

         6.1.15 Environmental Laws. Each Credit Party and its business, operations, assets,
         equipment, property, leaseholds and other facilities is in compliance with all applicable
         Requirements of Environmental Law, specifically including all applicable Requirements
         of Environmental Law concerning the storage and handling of Hazardous Materials except
         where the failure to do so would not reasonably be expected to result in a Material Adverse
         Change. Each Credit Party holds all permits, licenses, certificates and approvals from
         Governmental Authorities which are required by the applicable Requirements of
         Environmental Law in connection with (i) air emissions; (ii) discharges to surface or
         groundwater; (iii) noise emissions; (iv) solid or liquid waste disposal; (v) the use,
         generation, storage, transportation or disposal of Hazardous Materials; and (vi) all other
         applicable Requirements of Environmental Law, except in each case where the failure to
         do so would reasonably be expected to result in a Material Adverse Change. Except as
         disclosed in Schedule 6.1.15 to the knowledge of the Credit Parties there has been no
         emissions, spills, releases, or discharges into or upon (i) the air; (ii) soils, or any
         improvements located thereon; (iii) surface water or groundwater; or (iv) any sewer, septic

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         system or waste treatment, storage or disposal system servicing the premises, of any
         Hazardous Materials at or from any Land owned by any Credit Party or any of the Leased
         Properties that would reasonably be expected to have a Material Adverse Effect. Except as
         disclosed in Schedule 6.1.15 no complaint, order, directive, claim, citation, or notice from
         any Governmental Authority or any other Person has been received by any Credit Party
         with respect to (i) air emissions; (ii) spills, releases, or discharges to soils or improvements
         located thereon, surface water, groundwater or any sewer, septic system or waste treatment,
         storage or disposal systems servicing any Land owned by any Credit Party or any of the
         Leased Properties; (iii) noise emissions; (iv) solid or liquid waste disposal; (v) the use,
         generation, storage, transportation, or disposal of Hazardous Materials; or (vi) other
         applicable Requirements of Environmental Law affecting any Land owned by any Credit
         Party or the Leased Properties, in each case, which would reasonably be expected to result
         in a Material Adverse Change. Except as disclosed in Schedule 6.1.15, there are no legal
         or administrative proceedings, investigations or claims outstanding or to the Credit Parties’
         knowledge now threatened or pending, with respect to the presence on or under, or the
         discharge, emission, spill, radiation or disposal into, upon or from any Land owned by any
         Credit Party or any of the Leased Properties of any Hazardous Material, including the
         discharge, emission, spill, radiation or disposal of any Hazardous Material from any such
         Land or Leased Properties onto or into the atmosphere or any adjacent land, watercourse
         or body of water; nor are there any material matters under discussion with any
         Governmental Authority relating thereto; and there is no factual basis for any such
         proceedings, investigations or claims, in each case, which would reasonably be expected
         to result in a Material Adverse Change. The Credit Parties have no indebtedness, obligation
         or liability with respect to the storage, treatment, cleanup or disposal of any Hazardous
         Materials (including without limitation any such indebtedness, obligation, or liability under
         any applicable Requirements of Environmental Law regarding such storage, treatment,
         cleanup or disposal) which would reasonably be expected to result in a Material Adverse
         Change.

         6.1.16 No Litigation. Except as disclosed in Schedule 6.1.16, there are no actions, suits
         or proceedings pending, or to the knowledge of the Credit Parties threatened in writing,
         against any Credit Party in any court or before or by any federal, provincial, state,
         municipal or other Governmental Authority, which would reasonably be expected to result
         in a Material Adverse Change.

         6.1.17 Pension Plans. As of the Amendment and Restatement Date, the Credit Parties
         have not established any Pension Plans except as disclosed in Schedule 6.1.17. All of the
         Credit Parties’ Pension Plans have been duly registered under Applicable Law. No steps
         have been taken to terminate any such Pension Plan (in whole or in part), no contribution
         failure has occurred with respect to any such Pension Plan sufficient to give rise to a Lien
         under any Applicable Laws of any jurisdiction, and no condition exists and no event or
         transaction has occurred with respect to any such Pension Plan, in each case, which would
         reasonably be expected to result in the incurrence by any Credit Party of any material
         liability, fine or penalty. Each such Pension Plan is in compliance in all material respects
         with all applicable pension benefits and tax laws, (i) all contributions (including employee
         contributions made by authorized payroll deductions or other withholdings) required to be
         made to the appropriate funding agency in accordance with all Applicable Laws and the

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         terms of such Pension Plan have been made in accordance with all Applicable Laws and
         the terms of such Pension Plan, (ii) all liabilities under such Pension Plan are funded, on a
         going concern and solvency basis, in accordance with the terms of the respective Pension
         Plans, the requirements of applicable pension benefits laws and of applicable regulatory
         authorities and the most recent actuarial report filed with respect to the Pension Plan, and
         (iii) no event has occurred and no conditions exist with respect to any such Pension Plan
         that has resulted or would reasonably be expected to result in such Pension Plan having its
         registration revoked or refused for the purposes of any applicable pension benefits or tax
         laws or being placed under the administration of any relevant pension benefits regulatory
         authority or being required to pay any taxes or penalties under any applicable pension
         benefits or tax laws.

         6.1.18 ERISA Liabilities. No ERISA Event has occurred or is reasonably expected to
         occur with respect to any Plan which would reasonably be expected to have a Material
         Adverse Effect. Since the most recent financial statement with respect to a Plan, there has
         been no change in the funding status of such Plan which would reasonably be expected to
         result in a Material Adverse Change. Neither any Credit Party nor any ERISA Affiliate has
         incurred or is reasonably expected to incur any Withdrawal Liability to any Multiemployer
         Plan which would reasonably be expected to result in a Material Adverse Change. Neither
         any Credit Party nor any ERISA Affiliate has been notified by the sponsor of a
         Multiemployer Plan that (i) such Multiemployer Plan has been terminated, within the
         meaning of Title IV of ERISA, or (ii) such Multiemployer Plan is reasonably expected to
         be terminated, within the meaning of Title IV of ERISA, which termination would
         reasonably be expected to result in a Material Adverse Change.

         6.1.19 Financial Statements. The most recent Year-end Financial Statements and Interim
         Financial Statements of the Canadian Borrower delivered to the Agent and the Lenders
         have been prepared in accordance with GAAP (except that in the case of the Interim
         Financial Statements, subject to normal adjustments and the absence of footnotes) on a
         basis which is consistent with the previous fiscal period (unless otherwise noted), and
         present fairly in all material respects in accordance with GAAP:

         (a)    its assets and liabilities (whether accrued, absolute, contingent or otherwise) and
                financial condition as at the dates therein specified;

         (b)    its sales, earnings and results of its operations during the periods covered thereby;
                and

         (c)    in the case of the Year-end Financial Statements, its changes in financial position,

         and no Material Adverse Change has occurred since the date thereof.

         6.1.20 Financial and Other Information. All financial and other information provided in
         writing by or in respect of the Credit Parties to the Agent or the Lenders (other than
         projections, other forward looking information and information of a general economic or
         industry-specific nature to) taken as a whole, to the best of the Credit Party’s knowledge
         and belief (including good faith estimates and stated assumptions believed to be reasonable

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         and fair as of the date made in light of conditions and facts then known), do not contain
         any untrue statement of a material fact or omit to state a material fact necessary to make
         the statements contained therein not materially misleading in light of the circumstances
         under which such statements were made (after giving effect to all supplements from time
         to time).

         6.1.21 No Funded Debt/Liens. No Funded Debt has been incurred or assumed by any
         Credit Party, except for Permitted Funded Debt. No Liens exist on the assets of any Credit
         Party, except for Permitted Liens.

         6.1.22 Validity and Ranking of Security. Each Security agreement is effective to create
         in favor of the Agent for the benefit of the Lenders, legal, valid and enforceable Liens on,
         and security interests in, the collateral referred to therein. The Obligations are secured by
         a First-Ranking Security Interest, other than in respect of any Priority Claims.

         6.1.23 Taxes. Except as disclosed in Schedule 6.1.23, each Credit Party has duly and
         timely filed all tax returns required to be filed by it, and has paid all taxes which are due
         and payable by it, except for any taxes which are subject to a Permitted Contest or which
         the failure to pay, individually or in the aggregate has not and would not reasonably be
         expected to have a Material Adverse Effect. Each Credit Party has also paid all other taxes,
         charges, penalties and interest due and payable under or in respect of all assessments and
         re-assessments of which it has received written notice, except to the extent that such
         assessments or re-assessments are subject to a Permitted Contest or which the failure to
         pay, individually or in the aggregate has not and would not reasonably be expected to have
         a Material Adverse Effect. There are no actions, suits, proceedings, investigations or claims
         threatened or pending against any Credit Party in respect of taxes, governmental charges
         or assessments or any matters under discussion with any Governmental Authority relating
         to taxes, governmental charges or assessments asserted by any such Governmental
         Authority which would reasonably be expected to result in a Material Adverse Change.

         6.1.24 Statutory Liens. Each Credit Party has remitted on a timely basis all amounts
         required to have been withheld and remitted (including withholdings from employee wages
         and salaries relating to income tax, employment insurance, unemployment insurance and
         Canada Pension Plan contributions), goods and services tax and all other amounts which if
         not paid when due could result in the creation of a Statutory Lien against any of its property,
         except for Permitted Liens.

         6.1.25   No Default, etc. No Default or Event of Default has occurred and is continuing.

         6.1.26 Solvency. On the Amendment and Restatement Date (i) the fair market value of
         the assets of the Credit Parties, on a consolidated basis, at a fair valuation, will exceed their
         debt and liabilities, subordinated, contingent or otherwise; (ii) the present fair saleable
         value of the property of the Credit Parties, on a consolidated basis, will be greater than the
         amount that will be required to pay the probable liability of their indebtedness and other
         liabilities, subordinated, contingent or otherwise, as such indebtedness and other liabilities
         become absolute and matured; (iii) the Credit Parties, on a consolidated basis, will be able
         to pay their debts and liabilities, subordinated, contingent or otherwise, as such debts and

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         liabilities become absolute and matured; (iv) the Credit Parties, on a consolidated basis,
         will not have unreasonably small capital with which to conduct the business in which they
         are engaged as such business is now conducted and is proposed to be conducted following
         the date of determination, and (v) the Credit Parties, on a consolidated basis, are not
         “insolvent” under any applicable Insolvency Legislation or otherwise unable to pay their
         debts as they fall due.

         6.1.27 Residency. The Canadian Borrower is not a non-resident of Canada as defined by
         the Income Tax Act (Canada).

         6.1.28 Investment Company Act. Neither the Canadian Borrower nor any Subsidiary is
         an “investment company” or a company “controlled” by an “investment company,” in each
         case, within the meaning of the Investment Company Act of 1940, as amended.

         6.1.29    Fiscal Year. The Fiscal Year end of each Credit Party is December 31.

         6.1.30 Place and Type of Business. As of the Amendment and Restatement Date,
         Schedule 6.1.2 contains a list of the only jurisdictions in which the Credit Parties carry on
         any material business. The Credit Parties’ sole business is providing drilling fluid and
         technical expertise to assist in drilling oil and gas wells, including skid controls, drilling
         waste management and drilling water treatment services and the rental of well bore cleanup
         tools.

         6.1.31 Economic Sanctions; Corrupt Practices. No Credit Party is in violation of any
         Economic Sanctions or the Foreign Corrupt Practices Act, the Corruption of Foreign
         Public Officials Act (Canada) or any similar legislation or, to its knowledge, is the target
         or subject of any Economic Sanctions. No Credit Party or any of their respective
         Subsidiaries and, to the knowledge of any Credit Party, no director, officer, employee,
         broker or other agent of any Credit Party acting or benefiting in any capacity in connection
         with the Loans is any of the following:

         (a)      a Person that is listed in the annex to the Executive Order, or is otherwise the subject
                  of Economic Sanctions;

         (b)      a Person owned or controlled by, or acting for or on behalf of, any Person that is
                  listed in the annex to the Executive Order, or is otherwise the subject of Economic
                  Sanctions;

         (c)      a Person with which any Lender is prohibited from dealing or otherwise engaging
                  in any transaction by any Economic Sanctions;

         (d)      a Person that commits, threatens or conspires to commit or supports “terrorism” as
                  defined in the Executive Order;

         (e)      a Person located, organized or resident in a country or territory that is, or whose
                  government is, the subject of Economic Sanctions; or



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         (f)    a Person that is named as a “specially designated national and blocked person” on
                the most current list published by OFAC at its official website or any replacement
                website or other replacement official publication of such list.

         No Credit Party or any of their respective Subsidiaries and, to the knowledge of any Credit
         Party, no director, officer, employee, broker or other agent of any Credit Party acting in
         any capacity in connection with the Loans (i) conducts any business or engages in making
         or receiving any contribution of funds, goods or services to or for the benefit of any Person
         described in clauses (a) through (f) above, (ii) deals in, or otherwise engages in any
         transaction relating to, any property or interests in property blocked pursuant to any
         Economic Sanctions, (iii) engages in or conspires to engage in any transaction that evades
         or avoids, or has the purpose of evading or avoiding, or attempts to violate, any of the
         prohibitions set forth in any Economic Sanctions, or (iv) is in violation of any applicable
         Economic Sanctions.

         6.1.32 Use of Facilities. Each Borrower acknowledges that the Facilities are for the use
         by the Credit Parties and will be used for the Credit Parties’ and their Subsidiaries’ lawful
         business purposes only.

         6.1.33 Use of Eligible Approved Contracts. As of June 30, 2018, all of the Insured
         Receivables used in determining the Borrowing Base were Receivables derived from and
         governed by Eligible Approved Contracts in existence as the Amendment and Restatement
         Date as set out in Schedule 6.1.33.

         6.1.34 Margin Regulations. No Credit Party is engaged principally, or as one of its
         important activities, in the business of extending credit for the purpose of buying or
         carrying Margin Stock (as defined in Regulation U). No part of the proceeds of any Loan
         or any Letter of Credit will be used, whether directly or indirectly, and whether
         immediately, incidentally or ultimately, for any purpose that entails a violation of, or that
         is inconsistent with, the provisions of the regulations of the Board of Governors of the
         Federal Reserve, including Regulation T, Regulation U or Regulation X. The pledge of the
         Collateral pursuant to the Security does not violate such regulations.

6.2      Acknowledgement and Deemed Repetition

        Each Borrower acknowledges that the Agent and the Lenders are relying upon the
representations and warranties in this Article 6 in making the Facilities available to the Borrowers
and that the representations and warranties contained in Article 6, except for any representation
and warranty made solely as of an earlier date will be deemed to be restated and shall be true and
correct effective on the date each and every Advance is made (and any representations and
warranties made solely as of an earlier date shall be true and correct as of such earlier date).

6.3      Survival of Representations and Warranties

       The Credit Parties acknowledge that the Agent and the Lenders shall rely upon the
representations and warranties contained in this Article 6 in connection with the establishment and
continuation of the Facilities and also in connection with the entering into by a Hedge Provider of
any Hedging Agreement with the Credit Parties. Notwithstanding any investigations which may
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be made by the Agent or the Lenders, the said representations and warranties shall survive the
execution and delivery of this Agreement until full and final payment and satisfaction of the
Obligations and this Agreement has been terminated.

                                            ARTICLE 7
                                           COVENANTS

7.1      Positive Covenants

       While there are any Outstanding Advances under the Facilities or while any of the Facilities
remains available to any Borrower, each Borrower hereby covenants and agrees with the Agent
and the Lenders that it will, and will cause each of the other Credit Parties to:

         7.1.1    Prompt Payment. In the case of the Borrowers, punctually and unconditionally
         pay all principal, interest and other amounts due hereunder at the times and in the manner
         specified herein.

         7.1.2     Preservation of Existence. Except as permitted by Section 7.2.8, maintain its
         existence in good standing (or similar status), preserve its rights, powers, licences,
         privileges, franchises and goodwill, exercise any rights of renewal or extensions of any
         leases, licences, concessions, franchises or any other rights whatsoever which are material
         to the conduct of its business, maintain all qualifications to carry on business in each
         jurisdiction in which such qualifications are required where the failure to do so would not
         reasonably be expected to result in a Material Adverse Change, and carry on and conduct
         its business in a proper and efficient manner so as to protect its property and income; and
         not materially change the nature of its business.

         7.1.3    Compliance with Applicable Laws; Use of Proceeds; Maintenance of Leases and
         Material Permits. Comply with all Applicable Laws (specifically including all applicable
         Requirements of Environmental Law and Economic Sanctions and the Foreign Corrupt
         Practices Act) except where the failure to do so would not reasonably be expected to result
         in a Material Adverse Change, use the proceeds of all Advances hereunder for legal and
         proper purposes, and obtain and maintain in good standing all material leases and Material
         Permits from any and all Governmental Authorities required in respect of its business and
         operations except where the failure to do so would not reasonably be expected to result in
         a Material Adverse Change.

         7.1.4    Payment of Priority Claims, Taxes, etc. Pay when due all Priority Claims, rents,
         ERISA liabilities, taxes, rates, pension obligations, levies, assessments and governmental
         charges, fees and dues lawfully levied, assessed or imposed in respect of its property which
         are material to the conduct of its business, and deliver to the Agent upon request receipts
         evidencing such payments; except for rents, taxes, rates, pension obligations, levies,
         assessments and governmental charges, fees or dues in respect of which an appeal or review
         proceeding has been commenced, a stay of execution pending such appeal or review
         proceeding has been obtained, reserves reasonably required by the Required Lenders have
         been established; and except where the failure to pay individually or in the aggregate,
         would not reasonably be expected to result in a Material Adverse Change.

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         7.1.5    Maintain Records. Maintain adequate books, accounts and records in accordance
         with GAAP and all material records related to the Credit Parties’ Receivables shall be
         located at the chief executive offices as identified in Schedule 6.1.2, as the same may be
         updated from time to time.

         7.1.6    Maintenance and Operation of Properties. Keep its property and assets in good
         repair and working condition, reasonable wear and tear and casualty or condemnation
         excepted, and operate its property in accordance with prudent industry standards and the
         requirements of its insurance policies.

         7.1.7     Inspection. Permit the Agent and its employees and agents (who may be
         accompanied by any Lender and its employees and agents), upon reasonable notice and at
         their own cost, to enter upon and inspect their properties, assets, books and records from
         time to time during normal business hours and in a manner which does not materially
         interfere with the operations of the Credit Parties, and make copies of and abstracts from
         such books and records, and discuss their affairs, finances and accounts with any of their
         officers, directors, accountants and auditors; provided, that the Agent will deal with any
         personal information obtained in accordance with applicable privacy legislation; provided,
         that the Agent may not conduct more than one such examination during any calendar year
         unless a Default or an Event of Default has occurred and is continuing, in which case the
         foregoing limit shall not apply. All reasonable and documented out-of-pocket costs and
         expenses incurred by the Agent and its duly authorized representatives and agents in
         connection with the exercise of the Agent’s rights pursuant to this Section 7.1.7 shall be
         paid by the Canadian Borrower in accordance with Section 13.5; provided, that so long as
         no Default or Event of Default exists the Canadian Borrower shall not be responsible for
         the expenses of the Agent in connection with more than one such visit and inspection per
         calendar year.

         7.1.8    Liens. Maintain all of its property, assets and undertaking free of all Liens except
         Permitted Liens and maintain a First-Ranking Security Interest in favour of the Agent over
         all of the Collateral subject only to the Security and Permitted Liens which under
         Applicable Law rank in priority thereto.

         7.1.9     General Insurance Coverage. Obtain and maintain from financially responsible
         insurance companies and maintain liability insurance, all-risks property insurance on a
         replacement cost basis (less a reasonable deductible not to exceed amounts customary in
         the industry for similarly situated businesses and properties), and insurance in respect of
         such other risks and in such amounts (giving effect to self-insurance) as would be
         considered prudent for similar businesses, to the extent available on commercially
         reasonable terms, all of which policies of insurance shall include a standard mortgage
         clause approved by the Insurance Bureau of Canada; and the interest of the Agent shall be
         noted as an additional insured on all liability insurance policies and as first mortgagee
         and/or lender loss payee, as applicable, on all other insurance policies (other than directors
         and officers insurance); and the Agent shall be provided with certificates of insurance and
         certified copies of such policies from time to time upon request; provided, that no more
         than one request shall be made in any calendar year unless a Default or an Event of Default
         is continuing or if there has been a material change in any such policy.

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         7.1.10 Account Receivable Insurance Coverage. Obtain and maintain Account
         Receivable Insurance, pay all required premiums in respect thereof once due and payable
         and renew such Account Receivable Insurance not less than sixty (60) days prior to the
         expiry thereof; and the Agent shall be provided with certificates of insurance and certified
         copies of such policies from time to time upon request; provided that no more than one
         request shall be made in any twelve month period unless a Default or an Event of Default
         is continuing. At least 10 days prior to the renewal of any Account Receivable Insurance,
         the Borrowers shall provide the Agent with all information reasonably requested by the
         Agent, including for certainty, any proposed modifications to the existing policies then in
         place, in order for the Agent and third party legal counsel to conduct a review of such
         Account Receivable Insurance.

         7.1.11 Colombia Payments. Ensure that payments in favour of a Credit Party which are
         made under any material agreement executed by any Credit Party which are to be made in
         Colombian Pesos in Colombia are either directed to a trust established in Colombia which
         is subject to the Security or to an account over which the Agent has a First-Ranking
         Security Interest pursuant to an account control agreement or if such payments are
         otherwise subject to the Security in a manner satisfactory to the Agent, acting reasonably.

         7.1.12 Perform Obligations. Fulfill all covenants and obligations required to be
         performed by it under the Credit Documents, the Material Agreements, the Material
         Permits and the policy governing the Account Receivable Insurance (and as reasonably
         requested by the Agent, provide evidence of compliance with the risk management and
         credit policies required thereunder).

         7.1.13    Bank Accounts and Banking Service Agreements. Maintain:

         (a)      all of its bank primary accounts and Banking Service Agreements of the Borrowers
                  in Canada, the U.S. and Mexico with the Agent or an Affiliate thereof unless
                  otherwise consented to by the Required Lenders, in their sole discretion; provided,
                  that the U.S. Borrower shall be permitted to maintain its current bank accounts in
                  the U.S. with Wells Fargo provided that the Deposit Account Control Agreement
                  between the U.S. Borrower, such financial institution and the Agent remains in
                  force and effect, which agreement shall, among other things, provide that such
                  financial institution acknowledges that the Agent has a First-Ranking Security
                  Interest over the applicable bank accounts and that upon written notice from the
                  Agent, the Agent can exert control over such accounts; and

         (b)      except as set forth in Section 8.1(i), maintain all of the Credit Parties’ other bank
                  accounts used as a primary concentration accounts for collection of proceeds of
                  Eligible Receivables with financial institutions reasonably satisfactory to the
                  Required Lenders; provided, that within 90 days after the formation of any new
                  Material Subsidiary that is a Credit Party from time to time hereafter, such financial
                  institution has entered into a deposit account control or similar account agreement
                  with the Agent and the applicable Credit Party, in a form and substance reasonably
                  satisfactory to the Agent, which agreement, among other things, provides that such
                  financial institution acknowledges that the Agent has a First-Ranking Security

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                Interest over the applicable bank accounts and that upon written notice from the
                Agent, the Agent can exert control over such accounts.

         Notwithstanding anything herein to the contrary, it is understood and agreed that no deposit
         account agreements or account agreement shall be required with respect to (i) any account
         which is not used as a primary concentration account for collection of proceeds of Eligible
         Receivables or for the direct collection of such proceeds or (ii) any other Excluded
         Account.

         7.1.14 Formation of Material Subsidiaries. In the event that any Borrower or any other
         Credit Party forms or acquires a Material Subsidiary, or a Person otherwise becomes a
         Material Subsidiary (in each case, for the avoidance of doubt, other than a Securitization
         SPE), after the Amendment and Restatement Date then, subject to Section 8.9, the
         Canadian Borrower shall deliver, and shall cause the applicable Subsidiary to deliver, to
         the Agent not later than (a) thirty (30) Business Days in the case of Material Subsidiaries
         formed outside of Canada and the U.S., or (b) ten (10) Business Days for Material
         Subsidiaries formed in Canada or the U.S., in either case, after the formation or acquisition
         of such Material Subsidiary (or such longer period as the Agent may approve, acting
         reasonably), a full recourse guarantee and the, within the applicable period therefor, any
         other Security relative to such Material Subsidiary referred to in Section 8.1 or such other
         Security as may be requested by the Agent, acting reasonably, together with related
         corporate documentation and legal opinions as may be requested by the Agent, acting
         reasonably.

         7.1.15 Ownership of Credit Parties. The Canadian Borrower will at all times be the
         (direct or indirect) sole beneficial owner of all of the issued and outstanding shares of each
         other Credit Party, other than Holdco.

         7.1.16 EBITDA; Ownership of Assets. Except as otherwise specifically permitted
         hereunder, the Canadian Borrower will ensure at all times that:

         (a)    the EBITDA directly attributed to the Credit Parties determined on an
                unconsolidated but combined basis is equal to at least 90% of the Canadian
                Borrower’s EBITDA determined on a consolidated basis;

         (b)    the Credit Parties legally, beneficially and directly own at least 90% of the
                Consolidated Net Tangible Assets of the Canadian Borrower (based on the amount
                thereof set forth in the financial statements most recently delivered as required
                hereunder); and

         (c)    the EBITDA directly attributed to the OECD Credit Parties determined on a
                consolidated basis is equal to at least 85% of the Canadian Borrower’s EBITDA
                determined on a consolidated basis; provided, that for the purposes of such
                calculation any Distribution remitted to an OECD Credit Party by any other
                Subsidiary of the Borrower shall be included in EBITDA;

         7.1.17 Colombian Free Cash Flow Distribution. The Canadian Borrower will cause the
         Distribution to it or any other Credit Party whose governing jurisdiction is in Canada, the
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         U.S., Barbados or another jurisdiction reasonably acceptable to the Required Lenders by
         way of dividend (or a series of dividends) of no less than 75% of the Colombian Free Cash
         Flow for each Fiscal Year within 60 days of the end of such Fiscal Year; provided that such
         60 day period may be extended by the Required Lenders, acting reasonably, upon the
         written request of the Canadian Borrower in light of cash flow needs in Colombia at the
         time of such scheduled distribution.

         7.1.18 Further Assurances. Provide the Agent and the Lenders with such further
         information, financial data, documentation and other assurances as they may reasonably
         require from time to time in order to ensure ongoing compliance with the terms of this
         Agreement and to achieve the spirit and intent of this Agreement.

         7.1.19 Reviews. Within 60 days of written demand by the Agent, the Borrowers will have
         initiated an independent business review by a third party satisfactory to the Agent, acting
         reasonably, of the business and operations of the Borrowers and their operations in scope,
         form and substance satisfactory to the Agent, acting reasonably; provided, only one such
         demand by the Agent may be made under this Section 7.1.19.

         7.1.20 Minimum Margin Availability. The Canadian Borrower will not permit the
         Minimum Margin Availability measured at the end of each Fiscal Quarter to be less than
         U.S. $5,000,000.

         7.1.21 Minimum Liquidity. The Borrowers will not permit the Minimum Liquidity
         measured at the end of each Fiscal Quarter to be less than U.S. $10,000,000.

7.2      Negative Covenants

       While there are any Outstanding Advances under the Facilities or while any of the Facilities
remains available to the Borrowers, each Borrower hereby covenants and agrees with the Agent
and the Lenders that it will not, and will ensure that each of its Material Subsidiaries does not,
without the prior written consent of the Agent on behalf of the Lenders:

         7.2.1   Liens. Grant or suffer to exist any Lien in respect of any of its property or assets,
         except Permitted Liens.

         7.2.2    Funded Debt. Create, incur or assume any Funded Debt, except Permitted Funded
         Debt.

         7.2.3   Investments/Financial Assistance. Provide Financial Assistance to, or invest
         money in, any Person, firm, joint venture, partnership, company or corporation whether by
         way of loan, acquisition of shares, acquisition of debt obligations or in any other way
         whatsoever (collectively “Investments”), except for the following (each, a “Permitted
         Investment”):

         (a)     Investments in cash and Cash Equivalents;

         (b)     Permitted Intercompany Loans;


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         (c)   Guarantees which comprise part of the Security, are in respect of other Permitted
               Funded Debt or obligations of other Credit Parties or related to indemnities incurred
               in the ordinary cause of business;

         (d)   Permitted Acquisitions;

         (e)   Investments in other Credit Parties; provided, that such Investments together with
               any Financial Assistance provided to any Non-OECD Guarantors does not exceed
               in the aggregate at any one time an amount equal to 10% of the net book value of
               the Canadian Borrower’s Consolidated Net Tangible Assets;

         (f)   loans and advances by the Credit Parties to employees or directors of any Credit
               Party in the ordinary course of business (including for travel, entertainment and
               relocation expenses) not in excess of $250,000 at any one time outstanding in the
               aggregate so long as no Default or Event of Default has occurred and is continuing
               or would reasonably be expected to result therefrom;

         (g)   Investments made by the Credit Parties in the ordinary course of business consisting
               of (i) accounts receivables, (ii) negotiable instruments held for collection in the
               ordinary course of business, (iii) lease, utility and other similar deposits in the
               ordinary course of business, (iv) securities or debt obligations of trade creditors or
               customers that are received in settlement of bona fide disputes or pursuant to any
               plan of reorganization or liquidation or similar arrangement upon the bankruptcy
               or insolvency of such trade creditors or customers;

         (h)   Investments in existence on the Amendment and Restatement Date and set forth on
               Schedule 7.2.3 hereto and, in each case, any extensions or renewals thereof, so long
               as the amount of any Investment made pursuant to this clause (h) is not increased
               at any time above the amount of such Investment set forth on Schedule 7.2.3 hereto;

         (i)   Acquisitions outside of Canada and the U.S., Investments in joint ventures or other
               minority interest holdings and other Investments in, or Financial Assistance to,
               Persons which are not Credit Parties (provided, that no such Acquisitions or
               Investments would result in a breach of Section 7.2.17 or otherwise involve Persons
               or countries that are the subject of Economic Sanctions or that any Lender’s internal
               compliance policy would prohibit it from engaging in business with) which, after
               giving pro forma effect to all other Acquisitions, Investments or Financial
               Assistance permitted in reliance on this clause (i) since the date of the last
               consolidated balance sheet of the Canadian Borrower delivered to the Agent
               hereunder and outstanding on the date of such Acquisition, Investment or Financial
               Assistance, do not exceed at any one time, in the aggregate, 15% of Shareholders’
               Equity (taking into account any increase in Shareholders’ Equity as of such date
               since the date of the last consolidated balance sheet of the Canadian Borrower
               delivered to the Agent hereunder, and with the fair market value of each Investment
               being measured at the time made and without giving effect to subsequent changes
               in value); so long as no Default or Event of Default has occurred and is continuing
               or would reasonably be expected to result therefrom; and further provided that in

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                the case of any Acquisitions under this clause (i), if more than 50% of the revenues
                generated by the Acquired Business are derived from outside of Canada or the U.S.,
                then the applicable Credit Party must receive the prior consent of the Required
                Lenders thereto;

         (j)    extensions of trade credit by the Canadian Borrower and its Material Subsidiaries
                in the ordinary course of business;

         (k)    Investments arising as a result of Permitted Securitization Financings;

         (l)    any Acquisition, Financial Assistance or Investment made in respect of Project
                Desert, the Anchor Acquisition or the Terra Acquisition;

         provided, that notwithstanding the foregoing, during the Covenant Relief Period, the
         Borrowers and the Material Subsidiaries shall not (i) complete any Acquisitions pursuant
         to Sections 7.2.3(d) or 7.2.3(i) without the prior written consent of the Required Lenders,
         or (ii) make any Investment or provide any Financial Assistance other than Investments
         and Financial Assistance: (x) existing as of the Amendment and Restatement Date and set
         forth on Schedule 7.2.3, and any extension or renewal thereof; (y) permitted under
         paragraphs (a), (b), (c), (e), (g), (j), (k) or (l) of Section 7.2.3; and/or (z) made in or
         provided to one or more joint ventures or Persons that are not Credit Parties in an aggregate
         amount, in the case of this clause (z), not to exceed $3,000,000.

         7.2.4     Disposition of Assets. Directly or indirectly sell, lease, assign, transfer, convey or
         otherwise dispose of all or any part of its assets, except the Credit Parties may sell, lease,
         assign, transfer, convey or otherwise dispose of the following:

         (a)    inventory and Cash Equivalents in the ordinary course of business;

         (b)    worn out, obsolete, no longer useful or immaterial, including assets sales, licenses,
                sublicenses or other dispositions or abandonment of intellectual property of a Credit
                Party or its subsidiaries determined by the management of such Credit Party to be
                no longer useful or necessary in the operation of the business of such Credit Party
                or any of its subsidiaries;

         (c)    assets to a Borrower or any other Credit Party or if a Subsidiary is not a Credit
                Party, to the Credit Parties or any of their Subsidiaries;

         (d)    transactions permitted by Section 7.2.8, Permitted Investments and Permitted
                Distributions permitted by Section 7.2.5 hereof;

         (e)    transfers of properties that have been subject to a casualty to the respective insurer
                of such property as part of an insurance settlement any casualty or other event of
                loss; provided, that the requirements of Section 5.3.1 are complied with in
                connection therewith;

         (f)    consignments in the ordinary course of business;


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         (g)    dispositions of accounts receivables and other assets of Subsidiaries (other than
                Credit Parties) in the ordinary course of business;

         (h)    any assets the value of which (at the time the disposition is made) is not more than
                the greater of (i) $5,000,000 and (ii) 5% of the net book value of the Canadian
                Borrower’s Consolidated Net Tangible Assets as of the end of the Fiscal Quarter
                immediately prior to the date of such disposition, in any Fiscal Year; provided, that
                for such purpose, if such sale, transfer or other disposition is as part of an exchange
                of equipment to the extent that (A) such equipment is exchanged for credit against
                the purchase price of similar replacement property or (B) the proceeds thereof are
                reasonably promptly applied to the purchase price of such replacement property,
                then the amount of such purchase price of such replacement property in excess of
                such credited value will still count towards the determination of such 5% of net
                book value;

         (i)    the disposition of Receivables pursuant to a Permitted Factoring Transaction;

         (j)    the disposition of Receivables pursuant to a Permitted Securitization Financing,
                provided that the Receivables subject to such disposition originated in the United
                States;

         (k)    any Anchor Sale and Leaseback Transaction, provided the proceeds of each such
                Anchor Sale and Leaseback Transaction shall be used to repay the Operating
                Facilities in accordance with Section 5.3.6;

         (clauses (a)-(k), collectively, the “Permitted Dispositions”); provided, that the Borrower
         and its Subsidiaries may, with the prior consent of the Required Lenders, sell, lease, assign,
         transfer, convey or otherwise dispose of all or any part of its assets in a transaction that
         does not constitute a Permitted Disposition to the extent that the proceeds thereof are to be
         used in accordance with Section 5.3.1.

         7.2.5    Distributions. Make any Distributions other than Permitted Distributions;
         provided that, during the Covenant Relief Period, only Distributions described in
         paragraphs (b), (f), (g) and (i) of the definition of “Permitted Distribution” shall be
         permitted under this Section 7.2.5.

         7.2.6   Dealing with Related Parties. Consummate any transaction with any Affiliate of
         Holdco or the Canadian Borrower or any of its Subsidiaries other than the following:

         (a)    any transaction that is on fair and reasonable terms that are substantially as
                favorable to the Canadian Borrower and/or its applicable Subsidiary as would be
                obtainable by the Canadian Borrower or such Subsidiary at the relevant time in a
                comparable arm’s length transaction with a Person that is not an Affiliate;

         (b)    payments and transactions provided for in the Material Agreements;

         (c)    any issuances of securities or other payments, awards or grants in cash, securities
                or otherwise pursuant to, or the funding of, employment agreements, stock option

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                and stock ownership plans approved by the board of directors (or similar governing
                body) of Holdco, the Canadian Borrower or any of its Subsidiaries or the senior
                management thereof;

         (d)    employment arrangements and transactions pursuant thereto entered into in the
                ordinary course of business between Credit Parties and any employee thereof
                including any employee compensation, benefit plan or arrangement, any health,
                disability or similar insurance plan which covers employees;

         (e)    the payments of reasonable and customary fees, compensation, benefits and
                incentive arrangements paid or provided to, and indemnities provided on behalf of,
                officers, directors, employees or consultants of Holdco (or any direct or indirect
                parent thereof), the Canadian Borrower or any of its Subsidiaries;

         (f)    any transaction with an Affiliate where the only consideration paid by a Credit Party
                is capital stock of such Credit Party or any of its Subsidiaries;

         (g)    the payment of any Permitted Distribution;

         (h)    transactions with customers, clients, suppliers or purchasers or sellers of goods or
                services, in each case, in the ordinary course of business and otherwise in
                compliance with the terms and conditions of this Agreement that are fair to the
                Credit Parties (as determined in good faith by the board of directors of the Canadian
                Borrower);

         (i)    transactions (i) among the Credit Parties or (ii) between Subsidiaries that are not
                Credit Parties, in each case that are permitted by this Agreement;

         (j)    so long as no Default or Event of Default shall have occurred and be continuing at
                the time of any action described below or would result therefrom the payment of
                transaction, advisory or similar fees payable to the Palladium or any Affiliate
                thereof in an aggregate amount in any Fiscal Year not to exceed $1,000,000,
                provided, that such fee is paid in connection with a bona fide transaction;

         (k)    those transactions set forth on Schedule 7.2.6 which are in place as of the
                Amendment and Restatement Date;

         (l)    transactions pursuant to any Permitted Securitization Financing; and

         (m)    the Anchor Acquisition Promissory Notes.

         7.2.7    Change or Cease Business. Cease to carry on the business or change in any
         material respect the nature of the business as is currently being carried on by it as of the
         Amendment and Restatement Date, including, for the avoidance of doubt, transactions in
         connection with a Permitted Securitization Financing, other than as part of a business
         reasonably related or ancillary thereto, or as otherwise approved in writing by the Required
         Lenders, acting reasonably.


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         7.2.8    Corporate Changes. Consummate any transaction whereby all or a substantial
         portion of its undertaking, property and assets would become the property of any other
         Person, whether by way of reconstruction, reorganization, recapitalization, consolidation,
         amalgamation, merger, transfer, sale or otherwise; nor merge, amalgamate or acquire any
         other Person or all or substantially all of its assets; except that any of the foregoing
         transactions may take place: (a) among the Credit Parties if prompt written notice is given
         to the Agent, a Material Adverse Change will not occur as a result thereof and the
         applicable Credit Parties provide such additional or replacement Security as the Agent may
         reasonably require, (b) to consummate any Permitted Acquisition and (c) in connection
         with any Permitted Dispositions of all or substantially all of the assets of a Subsidiary of
         the Canadian Borrower; provided that in any such event which involves the Canadian
         Borrower, the successor entity is a Person formed under the Laws of Canada or any
         province thereof remains a Borrower under the same Facilities that it was a borrower under
         immediately prior to such event.

         7.2.9     Constating Documents. Amend or restate or otherwise alter the articles of
         incorporation, amalgamation or continuance, as applicable, or by-laws of (i) any Credit
         Party in any manner that would reasonably be expected to materially and adversely affect
         the rights of the Agent and the Lenders under the Credit Documents or (ii) any Subsidiary
         (other than a Securitization SPE) which is not a Credit Party which would impose any
         restrictions upon the ability of such Subsidiary to make any Distributions to any Credit
         Party.

         7.2.10 Capital Expenditures. Make, or permit any Subsidiary to make, any Capital
         Expenditure in any Fiscal Year that exceeds in aggregate, for each Fiscal Year, 110% of
         the estimated maximum amount of such Capital Expenditures as set forth in the annual
         budget in respect of such Fiscal Year provided by the Canadian Borrower pursuant to
         Section 7.4.1(c) (unless such Capital Expenditures are funded entirely by the proceeds of
         equity contributions or Sales Proceeds to the extent permitted under Section 5.3.2);
         provided that, notwithstanding the foregoing, the maximum aggregate amount of Capital
         Expenditures permitted by this Section 7.2.10 shall be, for the Fiscal Year ending
         December 31, 2018, U.S. $30,000,000.

         7.2.11    Fiscal Year. Change its Fiscal Year end.

         7.2.12 Currency Hedging Agreements. Enter into or be a party to any Currency Hedging
         Agreement, unless:

         (a)      such Currency Hedging Agreement is entered into with one or more Hedge
                  Providers or other counterparties, provided that if it is with any such other
                  counterparties the obligations and liabilities thereunder shall be unsecured;

         (b)      in the case of a Currency Hedging Agreement with a Hedge Provider, the Canadian
                  Borrower shall execute an ISDA agreement and all other documentation as may be
                  required by the applicable counterparty to such Interest Rate Hedging Agreement;



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         (c)    such Currency Hedging Agreement is entered into for the purpose of hedging
                against the risk of fluctuations in currencies and not for speculative purposes; and

         (d)    the maturity date of such Currency Hedging Agreement is not more than one year
                from the date thereof and, in any event, not later than the Facilities Maturity Date.

         7.2.13 Interest Rate Hedging Agreements. Enter into or be a party to any Interest Rate
         Hedging Agreement, unless:

         (a)    the aggregate notional amount under all such Interest Rate Hedging Agreements at
                such time does not exceed $75,000,000;

         (b)    such Interest Rate Hedging Agreement is entered into with one or more Hedge
                Providers or other counterparties, provided that if it is with any such other
                counterparties the obligations and liabilities thereunder shall be unsecured;

         (c)    in the case of an Interest Rate Hedging Agreement with a Hedge Provider, the
                Canadian Borrower shall execute an ISDA agreement and all other documentation
                as may be required by the applicable counterparty to such Interest Rate Hedging
                Agreement;

         (d)    such Interest Rate Hedging Agreement is entered into for the purpose of hedging
                against the risk of fluctuations in interest rates, and not for speculative purposes;
                and

         (e)    the maturity date of such Interest Rate Hedging Agreement is not later than the
                Facilities Maturity Date.

         7.2.14 Use of Advances Sanctions. Directly or indirectly use the proceeds of Advances
         to fund operations, or finance investments in, any country that at the time is prohibited by
         Economic Sanctions, the Foreign Corrupt Practices Act, the Corruption of Foreign Public
         Officials Act (Canada) or other Applicable Law, or make payments to any country or
         Person that at the time is prohibited by Economic Sanctions, the Foreign Corrupt Practices
         Act, the Corruption of Foreign Public Officials Act (Canada) or other Applicable Law, or
         directly or indirectly fund any principal repayment with proceeds derived from any such
         country or Person that will result in a violation by a Credit Party (or any Lender hereunder)
         of such Economic Sanctions, the Foreign Corrupt Practices Act, the Corruption of Foreign
         Public Officials Act (Canada) or other Applicable Law.

         7.2.15 Use of Advances General. Use a material amount of the proceeds of any Advance
         for any purposes other than those expressly contemplated in this Agreement.

         7.2.16 Subordinated Debt. Make any payment to any holders of the Subordinated Debt
         in connection with principal, interest, fees or any other amounts in respect thereof or amend
         the terms thereof, except payments permitted in accordance with the terms of the applicable
         Subordination Agreement, and so long as no Default or Event of Default has occurred and
         is continuing or would reasonably be expected to result therefrom.


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         7.2.17 Sanctions. Directly or indirectly, (i) knowingly conduct any business or engage in
         making or receiving any contribution of funds, goods or services to or for the benefit of
         any Person described in 6.1.31, (ii) knowingly deal in, or otherwise engage in any
         transaction relating to, any property or interests in property blocked pursuant to the
         Executive Order or any other Economic Sanction, or (iii) knowingly engage in or conspire
         to engage in any transaction that evades or avoids, or has the purpose of evading or
         avoiding, or attempts to violate, any of the prohibitions set forth in any Economic Sanction
         and the Credit Parties shall deliver to the Agent any certification or other evidence
         requested from time to time confirming the Credit Parties’ compliance with this
         Section 7.2.17.

         7.2.18 Account Receivable Insurance Coverage. Provide the Agent with prior written
         notice of all proposed amendments or modifications to any Account Receivable Insurance
         and, to the extent that any such amendments or modifications (i) de-insures all or a portion
         of any Marginable Receivable that constitutes part of the Borrowing Base, (ii) modifies the
         individual country limits under the Account Receivable Insurance, (iii) extends any
         coverage period under the Account Receivable Insurance, or (iv) affects any of the
         coverage amounts or any coverage period(s) related to receivables of Petróleos Mexicanos
         or its Affiliates, shall not give effect to any such amendment or modification without the
         prior written consent of the Agent, acting reasonably, and in no case taking longer than
         3 Business Days to provide such consent, it being understood that should the Agent fail to
         act within 3 Business Days to provide a an affirmative or negative written response, that
         failure should be deemed to be an act of consent with regards to the proposed amendment.
         For certainty, nothing in this Section 7.2.18 shall derogate from the obligations of the
         Borrowers, or the rights of the Agent, under Section 7.1.10.

         7.2.19 Cash Hoarding. Use the proceeds of any Advance to accumulate or maintain cash
         or Cash Equivalents in one or more depository or investment accounts maintained by any
         Credit Party in an amount, in the aggregate, greater than $20,000,000, but excluding
         therefrom cash or Cash Equivalents accumulated or maintained for a specified business
         purpose (to the extent permitted hereunder and other than simply accumulating cash
         reserve in a manner that is not consistent with past practice of the Credit Parties), and, for
         certainty, the Lenders may refuse to make any requested Advance which the Lenders,
         acting reasonably, determine would result in a contravention of this Section 7.2.19.

7.3      Financial Covenants

         7.3.1    Subject to the Equity Cure provided below in Section 7.3.2, while there are any
         Outstanding Advances under the Facilities or while any of the Facilities remains available
         to the Borrowers, the Borrowers will not, without the prior written consent of the Required
         Lenders:

         (a)    permit the Net Leverage Ratio measured at the end of each Fiscal Quarter to exceed
                (i) 4.75 to 1 for the Fiscal Quarters ending March 31, 2019 and June 30, 2019;
                (ii) 4.50 to 1 for the Fiscal Quarter ending September 30, 2019; (iii) 4.00 to 1 for
                the Fiscal Quarter ending December 31, 2019; and (iv) 3.00 to 1 for the Fiscal
                Quarters ending March 31, 2020 and thereafter;

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         (b)    permit the Fixed Charge Coverage Ratio measured at the end of each Fiscal Quarter
                to be less than (i) 1.10 to 1 for the Fiscal Quarters ending June 30, 2018, September
                30, 2018 and December 31, 2018; and (ii) 1.25 to 1 for the Fiscal Quarters ending
                March 31, 2019 and thereafter; and

         (c)    permit the Unadjusted EBITDA measured at the end of each Fiscal Quarter to be
                less than (i) U.S. $4,160,000 for the Fiscal Quarter ending June 30, 2018; (ii) U.S.
                $5,980,000 for the Fiscal Quarter ending September 30, 2018; (iii) U.S. $6,240,000
                for the Fiscal Quarter ending December 31, 2018; and (iv) U.S. $8,580,000 for the
                Fiscal Quarter ending March 31, 2019.

         7.3.2     In the event of any Event of Default of the financial covenants set forth in
         Section 7.3.1(a) and 7.3.1(b) (the “Designated Financial Covenants”), any equity
         contribution made by Holdco or the shareholders of Holdco to the Canadian Borrower will,
         at the request of the Canadian Borrower, be included in the calculation of EBITDA solely
         for the purposes of determining compliance with such financial covenants at the end of the
         applicable Fiscal Quarter and any subsequent period that includes such Fiscal Quarter (any
         such equity contribution, a “Specified Equity Contribution”); provided, that:

         (a)    prior written notice of the Canadian Borrower’s intention to utilize such Specified
                Equity Contribution is received by the Agent no later than the date on which the
                financial statements for such Fiscal Quarter or Fiscal Year (as applicable) are
                required to be delivered as provided for in Section 7.4;

         (b)    such Specified Equity Contribution is received by the Canadian Borrower within
                ten (10) Business Days after the Canadian Borrower being required to deliver the
                financial statements for such Fiscal Quarter or Fiscal Year (as applicable) as
                provided for in Section 7.4;

         (c)    the amount of any Specified Equity Contribution included in the calculation of
                EBITDA will be no greater than: (i) the amount required to cause the Canadian
                Borrower to be in compliance with the applicable Designated Financial Covenants
                and (ii) 40% of EBITDA as calculated on a trailing twelve month basis;

         (d)    all Specified Equity Contributions will be disregarded for all other purposes under
                the Credit Documents (including, to the extent applicable, calculating EBITDA for
                purposes of determining compliance with Section 7.1.16, the Applicable Margin
                for pricing and other items governed by reference to EBITDA or that include
                EBITDA in the determination thereof in any respect);

         (e)    there shall be no more than four Specified Equity Contributions made during the
                term of this Agreement and the aggregate amount of all such Specified Equity
                Contributions shall not exceed $20,000,000;

         (f)    no Specified Equity Contribution may be made in consecutive Fiscal Quarters; and

         (g)    the proceeds of all Specified Equity Contributions are actually received by the
                Canadian Borrower and the Canadian Borrower delivered to the Agent 100% of the

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                 aggregate proceeds of such Specified Equity Contribution as a Repayment pursuant
                 to Section 5.3.1(d) (each such Repayment, an “Equity Cure Repayment”), and the
                 Equity Cure Repayment shall be ignored for purposes of determining the amount
                 of Total Net Debt of the Borrower and calculating the Designated Financial
                 Covenants and until such time that the Specified Equity Contribution ceases to be
                 calculated as EBITDA pursuant to the provisions of this Section 7.3.2; provided
                 that, (i) notwithstanding the provisions of Section 5.3.3, the proceeds of each
                 Equity Cure Repayment are to be applied first to Outstanding Advances under the
                 Term Facility in inverse order of maturity until they have been fully repaid and,
                 thereafter, to Outstanding Advances under the Operating Facilities in accordance
                 with Section 5.3.3.

         If, after giving effect to the recalculations set forth in this Section 7.3.2, the Borrower shall
         then be in compliance with the Designated Financial Covenants, the Borrower shall be
         deemed to have satisfied the requirements of the Designated Financial Covenants and the
         applicable breach or default of the Designated Financial Covenants that had occurred shall
         be deemed cured for the purposes of this Agreement (in each instance, an “Equity Cure”).

7.4      Reporting Requirements

         7.4.1     While there are any Outstanding Advances under the Facilities or while any of the
         Facilities remains available to the Borrower, the Borrowers shall deliver, or cause to be
         delivered, the following financial and other information to the Agent at the times indicated
         below:

         (a)     within 35 days after the end of each month after the Amendment and Restatement
                 Date: (i) monthly aged accounts receivable listings, monthly aged accounts payable
                 listings, listings of total inventory and total capital assets by stocking location, cash
                 and Cash Equivalent listing and a Borrowing Base Certificate executed by the
                 Borrower; and (ii) monthly unaudited financial statements of the Borrower, which
                 shall include a balance sheet, statement of cash flows and income statement;

         (b)     promptly upon becoming available and in any event within 45 days after the end of
                 each of the first three Fiscal Quarters in each Fiscal Year, a Compliance Certificate
                 along with the Interim Financial Statements of the Borrower, which shall include a
                 balance sheet, statement of cash flows and income statement, on which it is based,
                 and the Borrower shall also make available members of its senior management team
                 for a telephone call with Lenders within five Business Days of the end of each
                 Fiscal Quarter to discuss, inter alia, the financial position of the Borrower;

         (c)     promptly upon becoming available and in any event within 120 days after the end
                 of each Fiscal Year, an annual business and financial plan for the Borrower which
                 shall disclose all material assumptions utilized and shall include the following
                 items: projected financial covenant ratios, balance sheet, income statement, cash
                 flow statement and Capital Expenditure program;




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         (d)   promptly upon becoming available and in any event within 120 days after the end
               of each Fiscal Year, the Year-end Financial Statements for the Borrower, which
               shall include a balance sheet, statement of cash flows and income statement,
               together with a copy of the management discussion and analysis and a Compliance
               Certificate which shall include all new material business locations and any other
               changes to Schedule 6.1.2;

         (e)   within 15 days of a request therefor by the Agent and only after a Material Adverse
               Effect or during the continuance of a Default or Event of Default, a listing of
               (i) each of the “serial number goods” (as defined in the Personal Property Security
               Act (Alberta)) or “collateral” for which a security interest must be indicated on a
               “certificate of title” (as such terms are defined under the UCC) for such collateral
               owned by the Credit Parties and the location of such serial number goods or
               certificate of title collateral, and (ii), a legal description of any Lands; but in each
               case, only to the extent that such assets are included in the Borrowing Base;

         (f)   (i) within five Business Days of the end of each calendar week, solely during the
               Covenant Relief Period, a weekly liquidity report in form and substance satisfactory
               to the Agent, including, but not limited to, global cash balances and global facility
               utilization of the Borrower, including individual account summaries; and (ii) solely
               during the Covenant Relief Period, a rolling thirteen week cash flow and Borrowing
               Base projection, in form and substance satisfactory to the Agent, to be delivered
               within 10 Business Days from receipt by the Borrower of the written request of the
               Agent for such information;

         (g)   (i) together with the delivery of the Interim Financial Statements for the Fiscal
               Quarter ending June 30, 2018, a collateral exam based on such Interim Financial
               Statements; and (ii) prior to December 31, 2018, updated appraisals of the
               equipment, inventory and real estate of the Credit Parties; in each case, in form and
               substance satisfactory to the Lenders, acting reasonably;

         (h)   provide prompt notice to the Agent of: (i) the occurrence of any Default or Event
               of Default (for greater certainty, whether or not such Default or Event of Default is
               continuing); (ii) any Material Adverse Change or Material Adverse Effect; (iii) any
               material litigation affecting any Credit Party or any breach of any Requirement of
               Environmental Law, where in either such case there is a reasonable prospect that
               the liability of any Credit Party with respect thereto could exceed Cdn. $5,000,000
               in any Fiscal Year or which would reasonably be expected to result in a Material
               Adverse Change; (iv) any material amendments to or replacements of, or waivers
               of material breaches in respect of, the Material Agreements or the Material Permits;
               (v) any notice of default, termination or suspension received by any Credit Party in
               respect of material Funded Debt or in respect of any Material Agreement or
               Material Permit; and (vi) the occurrence of any ERISA Event that would reasonably
               be expected to have a Material Adverse Effect;

         (i)   provide prompt notice to the Agent of: (i) any labour dispute to which any Credit
               Party is or is expected to become a party, including any strikes, lockouts or other

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               labor disputes relating to any of such Person’s plants and other facilities, which
               could reasonably be expected to result in a Material Adverse Effect, (ii) any Worker
               Adjustment and Retraining Notification Act or related liability incurred with
               respect to the closing of any plant or other facility of any such Person and (iii) any
               material liability under Applicable Law similar to the Worker Adjustment and
               Retraining Notification Act or otherwise arising out of plant closings;

         (j)   (x) provide prompt notice to the Agent of any material notices it receives under or
               in connection with the Accounts Receivable Insurance, including related to: (i) any
               termination thereof, (ii) any disputed claims related thereto, (iii) any denied
               coverage thereunder or (iv) any alleged misrepresentations given by any Credit
               Party in connection therewith and (y) provide prior written notice of any
               amendment of material terms of the Account Receivable Insurance;

         (k)   provide written notice to the Agent of any event or circumstance, with the giving
               of notice or lapse of time or both, would constitute a default or event of default
               under a Permitted Securitization Financing promptly (and in any event not less than
               three Business Days) upon becoming aware of same constituted by a Permitted
               Securitization Financing; provided such notice shall include reasonable details of
               the nature of such event or circumstance and the corresponding default or event of
               default, any applicable cure period with respect thereto and any remedial actions to
               be taken with respect to same; and

         (l)   such additional information and documents as the Agent or the Lenders may
               reasonably require from time to time, not otherwise inconsistent with the terms of
               this Agreement, to ensure the ongoing compliance by the Borrower with the terms
               and conditions of this Agreement, in form reasonably acceptable to the Agent and
               the Lenders.

7.5      Designation of Unrestricted Subsidiaries

         (a)   The Canadian Borrower from time to time, by notice to the Agent in the form of
               Exhibit I, shall be entitled to designate that either:

               (i)    a Material Subsidiary will be an Unrestricted Subsidiary; or

               (ii)   an Unrestricted Subsidiary will be a Material Subsidiary;

               provided, that the Borrower will not be entitled to designate a Material Subsidiary
               to be an Unrestricted Subsidiary if:

                      (A)     a Default or an Event of Default has occurred and is continuing
                              unless the exercise of the Borrower’s discretion under paragraph (i)
                              or (ii) above would cause such Default or Event of Default to be
                              cured; or

                      (B)     a Default or an Event of Default would result from or exist
                              immediately after such a designation.

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         (b)     For the avoidance of doubt, notwithstanding anything in this Agreement or the
                 Credit Documents to the contrary, for purposes of calculating the Borrowing Base,
                 the definition of “Marginable Cash” shall include the unrestricted cash (determined
                 in accordance with GAAP) and Cash Equivalents of each of QMax do Brasil
                 Solucoes do Petroleo Ltda., International Drilling Fluids and Engineering Services
                 (IDEC) Ltd. and QMax Solutions India (Project Office) of QMax Solutions Inc. (or
                 any other Subsidiary of the Borrowers in the Agent’s sole discretion, acting
                 reasonably) to the extent (a) such cash and Cash Equivalents are held in collateral
                 account/s maintained by the Agent or an affiliate thereof (or such other bank
                 deemed reasonable in the sole discretion of the Agent), and (b) the Agent has
                 received a guarantee (to the extent of the value of the pledged cash and Cash
                 Equivalents in such account; it being understood that Agent may waive this
                 requirement in its sole discretion if the circumstances warrant) and a deposit
                 account agreement or substantially equivalent agreements under the laws of such
                 local jurisdiction, in form and substance reasonably satisfactory to Agent, whereby,
                 inter alia, the Agent retains exclusive control to direct the transfer of funds
                 therefrom during the continuation of an Event of Default under Section 10.1 hereof
                 (with withdrawals by the applicable Credit Party to be permitted upon notice to the
                 Agent so long as the Agent has not delivered a notice of exclusive control upon the
                 occurrence and during the continuation of an Event of Default), together with
                 evidence of all requisite registrations or filings of each such agreement under
                 Applicable Law and such other documentation reasonably satisfactory to Agent,
                 including legal opinions.

         (c)     Any Subsidiary of the Borrowers that pledges cash and/or Cash Equivalents in the
                 manner provided for in paragraph (b) above shall, notwithstanding that such
                 Subsidiary is not a Material Subsidiary, be subject to the provisions of Section 7.2.1
                 hereof; provided, such Subsidiary shall otherwise not be subject to Section 7.2.

         (d)     The Agent acknowledges that, as of the date hereof, Mud Movers LLC has been
                 designated as an Unrestricted Subsidiary.

7.6      Securitization SPE

         7.6.1      As of the Amendment and Restatement Date, ADF SPE, LLC, a Delaware limited
         liability company, shall be designated a Securitization SPE.

         7.6.2    After the Amendment and Restatement Date, the Canadian Borrower from time
         to time, by notice to the Agent, may designate any Unrestricted Subsidiary as a
         Securitization SPE; provided, that the Borrower will not be entitled to such a designation
         if (a) a Default or an Event of Default has occurred and is continuing (unless such
         designation would cause such Default or Event of Default to be cured) or (b) a Default or
         an Event of Default would result from or exist immediately after such a designation.

         7.6.3    No Securitization SPE




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         (a)   shall incur any Funded Debt other than Funded Debt pursuant to the Permitted
               Securitization Financing to which it is a party;

         (b)   shall conduct any business other than (i) the acquisition of accounts receivable from
               one or more Credit Parties, and (ii) the consummation and performance of
               Permitted Securitization Financing.

         7.6.4    As at the Amendment and Restatement Date, the Material Subsidiaries and
         Unrestricted Subsidiaries are as set out in Schedule 6.1.2.

                                           ARTICLE 8
                                           SECURITY

8.1      Security

       Each Borrower agrees to provide (or cause to be provided) the security listed below to the
Agent on behalf of the Lenders and the Hedge Providers as continuing security for the payment
and performance of all present and future, direct and indirect, indebtedness and obligations of the
Credit Parties to the Agent, the Lenders and the Hedge Providers (on a pari passu basis) related to
the Credit Documents, the Banking Service Agreements and the Hedging Agreements:

         (a)   a general security agreement from each Borrower creating a First-Ranking Security
               Interest in respect of all of its present and after-acquired property, assets and
               undertaking and a floating charge over all present and future owned real property;

         (b)   an unlimited Guarantee from the U.S. Borrower in respect of present and future,
               direct and indirect, indebtedness and Obligations of the Canadian Borrower and
               other Credit Parties to the Agent and the Lenders;

         (c)   an unlimited Guarantee from each Material Subsidiary of the Canadian Borrower
               (excluding, for the avoidance of doubt, any Securitization SPE) which is not a
               Borrower in respect of present and future, direct and indirect, indebtedness and
               Obligations of the Borrowers to the Agent and the Lenders;

         (d)   a general security agreement or debenture (or other equivalent security applicable
               in the relevant jurisdiction) from each Guarantor creating a First-Ranking Security
               Interest in respect of all its present and after acquired property, assets and
               undertaking and a floating charge over all present and future owned real property,
               provided, that (a) for so long as the Encina Loan Agreement is in effect, with respect
               to Anchor and its Subsidiaries the ranking of the First-Ranking Security Interest is
               to be in accordance with the Encina Intercreditor Agreement and (b) thereafter, so
               long as the Wells Fargo Credit Agreement is in effect, any Receivables and other
               assets encumbered by a lien pursuant to the Wells Fargo Credit Agreement and the
               other loan documents in connection therewith shall be excluded from the Security
               of the Agent and the Lenders;




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         (e)   a limited recourse guarantee from Holdco and a share pledge agreement from
               Holdco in respect of all of the issued and outstanding shares of the Canadian
               Borrower owned by it;

         (f)   a securities pledge agreement or charge over shares (or other equivalent security
               applicable in the relevant jurisdiction) in respect of the shares or units of the U.S.
               Borrower and any Material Subsidiary owned by a Credit Party;

         (g)   prior to the incurrence of any Subordinated Debt by any Credit Party, a
               Subordination Agreement in respect to such Subordinated Debt;

         (h)   for each Leased Property deemed material by the Required Lenders, acting
               reasonably, a Landlord Agreement in respect of each such Leased Property;
               provided that the Agent may impose a three month rent reserve against the
               Borrowing Base with respect to Eligible Inventory valued in excess of $250,000
               (per location) which is located at or on Leased Property in respect of which such
               Landlord Agreement is not obtained;

         (i)   for each Credit Party (other than Anchor, Terra and their Subsidiaries) who does
               not maintain all of its bank accounts exclusively with the Agent or its Affiliates,
               deposit account control or blocked account agreements among the Agent and the
               applicable financial institution which such bank account is maintained with, as may
               be reasonably required by the Agent subject to the last sentence of Section 7.1.13;

         (j)   estoppel letters, consignments agreements, bailee letters, certificates or consents
               from such third parties as may be reasonably required by the Agent, but subject to
               any limitations set forth herein or in any other Credit Document; and

         (k)   such other security as may be reasonably required by the Agent and the Lenders
               from time to time;

               in each case, in accordance with the time periods set out in Sections 7.1.14.

8.2      General Provisions re Security; Registration

        The Security shall be in form and substance satisfactory to the Agent and the Lenders,
acting reasonably. The Agent may require that any item of Security be governed by the laws of the
jurisdiction where the property subject to such item of Security is located. The Security shall be
registered by the Borrowers where necessary or desirable to record and perfect the charges
contained therein, as determined by the Agent giving consideration to, among other things, the
cost thereof relative to the benefit to the Lenders thereof, and if the Borrowers do not so register
the Security as requested or if the registration may be effected by the secured party thereunder, the
Agent may do the same. Notwithstanding the foregoing, the parties expressly agree that no actions
shall be required under this Section 8.2 or in respect of Security generally to the extent that the
costs of obtaining such Financial Assistance or Lien or perfecting or registering such Security
outweigh the benefits afforded thereby, in the opinion of the Required Lenders, acting reasonably,
such determination to be made at the written request of the Canadian Borrower; provided, that the
Agent and Lenders shall be entitled to re-evaluate whether the costs of obtaining such Financial

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Assistance or Lien or perfecting or registering such Security outweigh the benefits afforded
thereby from time to time in their discretion.

       If any Lender determines, acting reasonably, that any Applicable Law has made it
unlawful, or that any Governmental Authority has asserted that it is unlawful for such Lender to
hold or benefit from any Guarantee and/or Security, such Lender shall notify the Agent and
disclaim any benefit of such Guarantee and/or Security to the extent of such unlawfulness,
provided that such disclaimer shall not invalidate or render unenforceable such Guarantee and/or
Security for the benefit of any of the other Lenders

8.3      Opinions re Security

        The Credit Parties shall cause to be delivered to the Agent and the Lenders the results of
all applicable searches in respect of the Credit Parties in the applicable jurisdiction as well as the
opinions of solicitors for the Credit Parties regarding their corporate status, the due authorization,
execution and delivery of the Security provided by them, all registrations in respect of the Security,
and the enforceability of such Security; all such opinions to be in form and substance satisfactory
to the Agent and its counsel, acting reasonably.

8.4      After-Acquired Property, Further Assurances

        Each Credit Party agrees to execute and deliver from time to time, and cause each of its
Material Subsidiaries to execute and deliver from time to time, all such further documents and
assurances as may be reasonably required by the Agent from time to time in order to provide the
Security contemplated hereunder, specifically including: supplemental or additional security
agreements, assignments and pledge agreements which shall include lists of specific assets to be
subject to the security interests required hereunder.

8.5      Security for Swap Documents with Former Lenders

         (a)   If a Lender ceases to be a Lender under this Agreement (for purposes of this
               Section 8.5, a “Former Lender”), all Secured Hedging Liabilities owing to such
               Former Lender and its Affiliates under Hedging Agreements entered into while
               such Former Lender was a Lender shall remain secured by the Security (equally
               and rateably) to the extent that such Secured Hedging Liabilities were secured by
               the Security prior to such Lender becoming a Former Lender and, subject to the
               following provisions of this Section 8.5. For certainty, any Hedging Liabilities
               under Hedging Agreements entered into with a Former Lender or an Affiliate
               thereof after the Former Lender has ceased to be a Lender shall not be Secured
               Hedging Liabilities nor shall they be secured by the Security. Notwithstanding the
               foregoing, while any Obligations remain outstanding under the Facilities, no
               Former Lender or any Affiliate thereof shall have any right to cause or require the
               enforcement of the Security or any right to participate in any decisions relating to
               the Security, including any decisions relating to the enforcement or manner of
               enforcement of the Security or decisions relating to any amendment to, waiver
               under, release of or other dealing with all or any part of the Security; for certainty,
               the sole right of a Former Lender and its Affiliates with respect to the Security while

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               any Obligations remain outstanding under the Facilities is to share, on a pari passu
               basis, in any proceeds of realization and enforcement of the Security.

         (b)   If this Agreement is terminated, all Secured Hedging Liabilities owing to any
               Hedge Provider under Hedging Agreements entered into while such Hedge
               Provider, or its Affiliate, was a Lender hereunder and all Obligations under Banking
               Service Agreements between one or more Credit Parties and such Lender entered
               into while the Lender was a Lender hereunder shall no longer be secured by the
               Security.

8.6      Insurance Proceeds

      If insurance proceeds become payable in respect of loss of or damage to any property
owned by a Credit Party:

         (a)   if an Event of Default has occurred and is continuing at such time, the Agent shall
               apply such proceeds against the Obligations; and

         (b)   otherwise, the Agent shall apply such excess proceeds against the Obligations in
               accordance with Sections 5.3.1 and 5.3.2.

8.7      Qualified ECP Guarantor Keepwell

        Each Qualified ECP Guarantor hereby jointly and severally absolutely, unconditionally
and irrevocably undertakes to provide such funds or other support as may be needed from time to
time by each other Credit Party to honor all of such Credit Party’s obligations under this Agreement
and the applicable Security (provided, however, that each Qualified ECP Guarantor shall only be
liable under this Section 8.7 for the maximum amount of such liability that can be hereby incurred
without rendering its obligations under this Section 8.7, or otherwise under this Agreement and
the applicable Security, voidable under applicable law relating to fraudulent conveyance or
fraudulent transfer, and not for any greater amount). The obligations of each Qualified ECP
Guarantor under this Section 8.7 shall remain in full force and effect until its Obligations have
been discharged in full. Each Qualified ECP Guarantor intends that this Section 8.7 constitute, and
this Section 8.7 shall be deemed to constitute, a “keepwell, support, or other agreement” for the
benefit of each other Credit Party for all purposes of Section 1a(18)(A)(v)(II) of the Commodity
Exchange Act.

8.8      Additional Release by Lender

        If any Lender determines, acting reasonably, that any Applicable Law has made it
unlawful, or that any Governmental Authority has asserted that it is unlawful, for such Lender to
hold or benefit from a Lien over real property pursuant to any law of the United States or any State
thereof, such Lender may notify the Agent and disclaim any benefit of such Lien to the extent of
such illegality; provided, that such determination or disclaimer shall not invalidate or render
unenforceable such Lien for the benefit of any other beneficiary of such Lien.




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8.9      Security Principles Affecting Certain Subsidiaries

       In obtaining Security from Material Subsidiaries in their respective jurisdiction of
incorporation, the Agent, the Lenders and the Canadian Borrower agree that:

         (a)    all Guarantees and Security granted will be limited to the extent necessary to
                comply with local legal requirements, as determined by the Agent acting
                reasonably;

         (b)    general statutory limitations, financial assistance, corporate benefit, fraudulent
                preference, “thin capitalization” rules, tax restrictions (including tax thin
                capitalization issues), retention of title claims and similar principles may limit the
                ability of a Material Subsidiary to provide a Guarantee or other Security or may
                require that the Guarantee be limited by an amount or otherwise provided that the
                Canadian Borrower and the applicable Material Subsidiary will use reasonable
                endeavours to overcome such obstacles and to assist in demonstrating that adequate
                corporate benefit accrues to the relevant Guarantor;

         (c)    the Security and extent of its perfection will be agreed on the basis that the cost to
                the Credit Parties of providing such Security shall be proportionate to the benefit
                accruing to the Lenders;

         (d)    Material Subsidiaries will not be required to give Guarantees or enter into Security
                if that would conflict with the fiduciary duties of their directors or contravene any
                legal prohibition or result in a risk of personal or criminal liability on the part of an
                officer provided that the relevant Guarantor shall use reasonable endeavours to
                overcome any such obstacle;

         (e)    perfection of security, when required, and other legal formalities will be completed
                as soon as practicable and, in any event, within the relevant time periods specified
                herein or, if earlier or to the extent no such time periods are specified herein, within
                the time periods specified by applicable law in order to ensure due perfection,
                provided that the perfection of security granted will not be required if it would have
                a material adverse effect on the ability of the relevant Guarantor to conduct its
                operations and business in the ordinary course as otherwise permitted by this
                Agreement;

         (f)    where a class of assets to be secured includes material and immaterial assets, if the
                cost of granting Security over the immaterial assets is disproportionate to the
                benefit of such Security, security will be granted over the material assets only.

                                         ARTICLE 9
                                   CONDITIONS PRECEDENT

9.1      Conditions Precedent to Agreement

       This Agreement shall not become effective unless and until the following conditions have
been satisfied, in each case to the satisfaction of the Agent and the Lenders:

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         (a)   the conditions precedent in Section 9.2 shall have been satisfied;

         (b)   the Agent and the Lenders shall be satisfied, in their reasonable discretion, with all
               Material Agreements, including confirmation that Palladium beneficially owns
               (within the meaning of Rule 13d-3 promulgated under the United States Securities
               Exchange Act of 1934) at least 52% of the issued and outstanding shares (excluding
               stock options) of the Canadian Borrower;

         (c)   the Credit Parties shall have obtained insurance in respect of its consolidated
               property, business and assets, evidenced by an insurance certificate naming the
               Agent as additional insured and first loss payee;

         (d)   the Canadian Borrower shall have in place acceptable Account Receivable
               Insurance, evidenced by an endorsement or insurance certificate naming the Agent
               as first loss payee;

         (e)   subject to Schedule 9.1, (A) this Agreement and all Security (or in the case of
               Security that was previously delivered in connection with the Existing Credit
               Agreement, an acknowledgment and confirmation from the applicable Credit Party
               thereto if so requested by the Agent) required shall have been executed and
               delivered and (i) in Alberta, British Columbia and each other applicable Canadian
               jurisdiction, all registrations and deliveries necessary or desirable in connection
               therewith shall have been made, and (ii) in any other jurisdiction, the same, as
               applicable, shall have been delivered to the Agent in proper form for filing, and (B)
               all legal opinions and other documentation reasonably required by the Lenders in
               connection therewith shall have been executed and delivered, in each case, in form
               and substance reasonably satisfactory to the Agent and the Lenders;

         (f)   the Agent and the Lenders shall have received satisfactory evidence that there are
               no Liens affecting any of the assets of the Credit Parties, except for Permitted Liens;

         (g)   the Agent and Lenders shall have received satisfactory confirmation that at least
               80% of the Insured Receivables forming part of the Borrowing Base are derived
               from, subject to and governed by Eligible Approved Contracts;

         (h)   the Agent shall have received an officer’s certificate, certificate of incumbency and
               certified copies of the articles, by-laws and resolutions of the board of directors of
               each Borrower and each other Credit Party formed under the laws of Canada, the
               U.S. or any province or state thereof concerning the due authorization, execution
               and delivery of the Credit Documents to which it is a party, and such related matters
               as the Agent and the Lenders may reasonably require;

         (i)   the Agent shall have received a certificate of status, certificate of compliance or
               similar certificate for each Borrower and each other Credit Party formed under the
               laws of Canada, the U.S. or any province or state thereof issued by its governing
               jurisdiction;



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         (j)   the Agent and the Lenders shall have received opinions from the solicitors for the
               Credit Parties in Alberta, British Columbia and Delaware, regarding, amongst other
               things, its corporate status, the due authorization, execution, delivery and
               enforceability of the Credit Documents provided by it, perfection and registration
               of the Security, and such other matters as the Agent and the Lenders may require;

         (k)   the Agent shall have received an opinion of its solicitors, Torys LLP, with respect
               to matters as the Agent and the Lenders may require.

         (l)   the Canadian Borrower shall have delivered a duly executed and completed
               Borrowing Base Certificate and a pro forma Compliance Certificate;

         (m)   consolidated cash flow projections, pro forma balance sheet, income statement and
               capital expenditure budget of the Canadian Borrower for each of the 2018, 2019
               and 2020 Fiscal Years, including an analysis of the Mexican days of sales
               outstanding;

         (n)   the Borrowers and the Agent shall have entered into a Fee Agreement;

         (o)   the Borrowers shall have paid to the Agent all fees and expenses (including the
               Agent’s reasonable and documented out-of-pocket legal expenses) relating to the
               establishment, amendment and restatement of the Facilities;

         (p)   no Material Adverse Change shall have occurred since March 31, 2018;

         (q)   the Agent shall have received satisfactory evidence that the Credit Parties have
               obtained all necessary consents of all Governmental Authorities required in
               connection with the execution of the Credit Documents and the consummation of
               the transactions contemplated thereby and the Canadian Borrower shall have
               delivered an officer’s certificate certifying same;

         (r)   each of the representations and warranties in Article 6 shall be true and correct in
               all material respects and the Canadian Borrower shall have delivered an officer’s
               certificate certifying same; and

         (s)   Holdco shall have received no less than $3,000,000 by way of an equity
               contribution by Palladium, an Investor or an Affiliate thereof and shall,
               substantially concurrently therewith, provide reasonably satisfactory evidence of
               such receipt to the Agent.

9.2      Conditions Precedent to all Advances

        The Lenders shall have no obligation to make any Advance (including for greater certainty
the initial Advance hereunder), unless at the time of making each such Advance the following
terms and conditions shall have been satisfied:

         (a)   the representations and warranties in Article 6 shall be true and correct in all
               material respects as if made on the date of such Advance except to the extent such

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               representations and warranties relate to an earlier date in which case the information
               contained in representations and warranties shall be true and correct in all material
               respects as of such earlier date;

         (b)   no Material Adverse Effect shall have occurred since the date of the then most
               recent Year-end Financial Statements;

         (c)   no Default or Event of Default shall have occurred and be continuing, nor shall the
               making of the Advance result in the occurrence of any Default or Event of Default;

         (d)   no Borrowing Base Shortfall shall and be continuing, nor shall the making of the
               Advance result in the occurrence of any Borrowing Base Shortfall;

         (e)   after giving effect to the proposed drawdown, the outstanding principal of all
               Outstanding Advances under the applicable Facility shall not exceed the maximum
               amount of such Facility; and

         (f)   the Borrower shall have given a Drawdown Request to the Agent in accordance
               with the notice requirements provided herein (except in respect of Advances in the
               form of Overdrafts).

                                      ARTICLE 10
                                 DEFAULT AND REMEDIES

10.1     Events of Default

       The occurrence of any one or more of the following events, after the expiry of any
applicable cure period set out below, shall constitute an event of default under this Agreement (an
“Event of Default”):

         (a)   if,

               (i)     any Credit Party makes default in the due and punctual payment of any
                       principal amount owing under the Credit Documents, as and when the same
                       becomes due and payable, whether at maturity or otherwise;

               (ii)    any Credit Party makes default in the due and punctual payment of Interest
                       or fees owing under the Credit Documents (other than the Hedging
                       Agreements), as and when the same become due and payable, whether at
                       maturity or otherwise and such default continues for a period of three
                       Business Days after written notice thereof is given to the applicable Credit
                       Party by the Agent; or

               (iii)   any Credit Party makes default in the due and punctual payment of any
                       amounts in excess, in the aggregate, of $1,000,000 owing under the Hedging
                       Agreements with a Hedge Provider, as and when the same become due and
                       payable, whether at maturity or otherwise and such default continues for a


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                      period of ten (10) Business Days after written notice thereof is given to the
                      applicable Credit Party by the applicable Hedge Provider;

         (b)   the Borrower fails to be in compliance with any of the covenants set out in
               Section 7.2 or Section 7.3 (subject to the Equity Cure in compliance with Section
               7.3.2);

         (c)   any representation or warranty provided by a Credit Party to the Agent or the
               Lenders herein or in any other Credit Document was incorrect in any material
               respect on the date on which such representation or warranty was made;

         (d)   any Credit Party fails in a material way to perform or comply with any of its
               covenants or obligations contained in this Agreement or any other Credit Document
               (other than those set out in Subsections (a), (b) and (c) above); provided, that if
               such non-compliance is capable of remedy within 30 days after notice thereof from
               the Agent and such Credit Party diligently attempts to remedy such non-compliance
               and periodically informs the Agent of its efforts in this regard, and such
               non-compliance is remedied within such period, then such non-compliance shall be
               deemed not to constitute an Event of Default;

         (e)   the occurrence of a Change of Control;

         (f)   any one or more of the Credit Parties is in default in the payment or performance
               of any of its or their indebtedness or obligations under any agreement relating to
               any Funded Debt (other than the Obligations) where the principal amount owing
               under such agreements in the aggregate is in excess of $10,000,000 (after the expiry
               of any grace or cure periods relating thereto), and in either case, such indebtedness
               or obligations have been, or may be, accelerated, unless such default is waived by
               the applicable counterparties or holders of such debt in accordance with its terms;

         (g)   one or more final judgments or decrees for the payment of money shall have been
               obtained or entered against any one or more of the Credit Parties in excess of
               $10,000,000 in the aggregate and is not released, bonded, satisfied, discharged,
               vacated, or stayed within 30 days;

         (h)   an Insolvency Event occurs in respect of any Credit Party or any Subsidiary of the
               Borrowers that pledges cash and/or Cash Equivalents in accordance with
               Section 7.5(b) hereof; provided, this clause (h) shall exclude an Insolvency Event
               in respect of any Securitization SPE.

         (i)   the Credit Parties (taken as a whole) cease (or take an affirmative action towards
               ceasing) to carry on business, or a substantial part thereof, or make or threaten to
               make (or take an affirmative action towards making) a bulk sale of their property,
               except to the extent specifically permitted hereunder;

         (j)   the property of any one or more of the Credit Parties having a fair market value in
               excess of $10,000,000, in aggregate, shall be seized (including by way of execution,
               attachment, garnishment or distraint) or any Lien thereon shall be enforced, or such
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               property shall become subject to any charging order or equitable execution of a
               court, or any writ of enforcement, writ of execution or distress warrant with respect
               to obligations in excess of $10,000,000, in aggregate, shall exist in respect of any
               one or more of any of them, or such property, or any sheriff, civil enforcement agent
               or other Person shall become lawfully entitled to seize or distrain upon such
               property under the Civil Enforcement Act (Alberta), the Workers’ Compensation
               Act (Alberta), the Personal Property Security Act (Alberta) or any other applicable
               Laws whereunder similar remedies are provided, and in any case such seizure,
               execution, attachment, garnishment, distraint, charging order or equitable
               execution, or other seizure or right, shall continue in effect and not be released or
               discharged for more than 30 days;

         (k)   a Material Adverse Change has occurred since the date of the then most recent
               Year-end Financial Statements and remains continuing for more than 30 days after
               notice thereof is given to the Canadian Borrower by the Agent;

         (l)   if an ERISA Event shall have occurred that would reasonably be expected to have
               a Material Adverse Effect;

         (m)   any Credit Document or any material provision thereof is or is declared by any
               court of competent jurisdiction to be unenforceable, or any Credit Party terminates
               or purports to terminate its liability under any Credit Document or disputes the
               validity or enforceability of such Credit Document;

         (n)   any of the Security ceases to constitute a valid and perfected First-Ranking Security
               Interest over Collateral of a value in excess of $5,000,000 in the aggregate and the
               Borrower shall have failed to remedy such default within 5 days of becoming aware
               of such fact and being provided by the Agent with any documentation required to
               be executed to remedy such default; and

         (o)   if any Borrower fails to eliminate a Borrowing Base Shortfall as provided in
               Section 5.3.5.

        Notwithstanding the foregoing, a declaration of an Event of Default under clause (i) above
shall not: (1) prevent the commencement of a proceeding under Law 1116 of 2006 (“Law 1116”)
or the filing of a petition in Colombia to commence a proceeding under Law 1116 with respect to
any Colombian Branch of any Credit Party, whether in a voluntary or involuntary manner; (2) be
construed to mean that the purpose of this Section is to prevent or create obstacles to prevent,
directly or indirectly, that proceedings be commenced in Colombia under Law 1116 with respect
to any Colombian Branch of any Credit Party; (3) prohibit any Colombian Branch of any Credit
Party from negotiating or entering into a restructuring agreement under Law 1116; or (4) impose
any restrictions or prohibitions, or unfavorable effects “efectos desfavorables” upon any
Colombian Branch of any Credit Party for the negotiation or execution of a restructuring
agreement under Law 1116. The rights of the Lenders under this Section may not be exercised in
connection with clause (i) above if and for so long as a proceeding is commenced or a petition is
filed in Colombia to commence a proceeding under Law 1116 with respect to any Colombian
Branch clause (i) above, whether in a voluntary or involuntary manner or any Colombian Branch

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clause (i) above engage in negotiations to enter into, or enters into a restructuring agreement in
Colombia under Law 1116.

10.2     Acceleration; Additional Interest

        Upon the occurrence of an Insolvency Event in respect of any Credit Party, the Obligations
shall become immediately due and payable, without the necessity of any demand upon or notice
to the Borrower by the Agent and the Swingline shall be cancelled. Upon the occurrence and during
the continuation of any Event of Default other than such an Insolvency Event, the Agent, at the
request of and on behalf, of the Required Lenders, shall by written notice to the Borrowers declare
the Obligations to be immediately due and payable. From and after the date of the occurrence of
an Event of Default and for so long as such Event of Default continues, both before and after the
Acceleration Date, all Outstanding Advances may bear interest or fees at the Default Rate in order
to compensate the Lenders for the additional risk associated therewith.

10.3     Acceleration of Certain Contingent Obligations

        Upon the occurrence of an Event of Default which is continuing, any Lender which has
issued a Bankers’ Acceptance, BA Equivalent Loan, LIBOR Loan or Letter of Credit or entered
into a Hedging Agreement with Credit Party may make a Canadian Dollar Prime Rate Loan, a
U.S. Dollar Base Rate Loan or a U.S. Dollar Prime Rate Loan, as applicable, to a Borrower in an
amount equal to the face amount of such Bankers’ Acceptance, BA Equivalent Loan, LIBOR Loan
or Letter of Credit, or the amount required to unwind such Hedging Agreement (such amount to
be determined in accordance with the terms thereof), as the case may be; and the proceeds of any
such Loan shall be held by such Lender and used to satisfy the Lender’s obligations under the said
Bankers’ Acceptance, BA Equivalent Loan, LIBOR Loan or Letter of Credit as such becomes due,
or to effect the unwinding of such Hedging Agreement. Any such Loan shall bear interest at the
rate and in the manner applicable to Canadian Dollar Prime Rate Loans, U.S. Dollar Base Rate
Loans or U.S. Dollar Prime Rate Loan, as applicable, under the Facility under which such Bankers’
Acceptance, BA Equivalent Loan, LIBOR Loan or Letter of Credit was issued. Any such Loan
made in respect of a Hedging Agreement shall bear interest at the rate and in the manner applicable
to Canadian Dollar Prime Rate Loans under the Canadian Operating Facility which provides for
the highest interest rate at such time.

10.4     Combining Accounts, Set-Off

        Upon the occurrence and during the continuation of an Event of Default, in addition to and
not in limitation of any rights now or hereafter granted under Applicable Law, each Lender may
without notice to any Credit Party at any time and from time to time:

         (a)    combine, consolidate or merge any or all of the deposits or other accounts
                maintained with such Lender by such Credit Party in respect of this Agreement
                (whether term, notice, demand or otherwise and whether matured or unmatured)
                and such Credit Party’s obligations to such Lender hereunder; and

         (b)    set off, apply or transfer any or all sums standing to the credit of any such deposits
                or accounts in or towards the satisfaction of the said obligations,


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including all claims of any nature or description arising out of or connected with this Agreement,
including contingent obligations of the Lenders in respect of unmatured Bankers’ Acceptances, in
which case the Agent or such Lender will promptly notify the Borrower thereof after the
occurrence thereof; provided, that the Agent’s or such Lender’s failure to give any such notice will
not affect the validity thereof. Nothing contained in the Credit Documents will require the Agent
or a Lender to exercise any right, or will affect the right of the Agent or a Lender to exercise and
retain the benefits of exercising any right, with respect to any Obligations existing otherwise than
pursuant to the Credit Documents.

10.5     Attorney in Fact

        Each Borrower hereby irrevocably constitutes and appoints the Agent and any officer or
agent thereof, with full power of substitution, as its true and lawful attorney in fact with full
irrevocable power and authority in the place and stead of such Borrower and in the name of such
Borrower or in its own name, from time to time in the Agent’s discretion, for the purpose of
carrying out the terms of the Credit Documents, to take any and all appropriate action and to
execute any and all documents and instruments which may be necessary or desirable to accomplish
the purposes of the Credit Documents and which such Borrower being required by the terms
thereof to take or execute has failed to take or execute; provided, that this power of attorney will
not be effective until the occurrence and during the continuance of any Event of Default. Each
Borrower hereby ratifies all that said attorneys will lawfully do or cause to be done by virtue
hereof. This power of attorney is a power coupled with an interest and will be irrevocable until all
of the Obligations under the Credit Documents have been unconditionally and irrevocably paid
and performed in full. Each Borrower also authorizes the Agent, at any time and from time to time
following the occurrence and during the continuance of any Event of Default, to execute any
endorsements, assignments or other instruments of conveyance or transfer pursuant to the Security.
If requested by the Agent, each Borrower will cause each other Credit Party to constitute and
appoint the Agent and any officer or agent thereof, with full power of substitution, as its true and
lawful attorney in fact in accordance with the foregoing provisions of this Section 10.5.

10.6     Appropriation of Monies

        After the occurrence and during the continuation of an Event of Default, the Agent may
from time to time apply any Proceeds of Realization against any portion or portions of the
Obligations, and the Borrowers may not require any different application. The taking of a judgment
or any other action or dealing whatsoever by the Agent or the Lenders in respect of the Security
shall not operate as a merger of any of the Obligations hereunder or in any way affect or prejudice
the rights, remedies and powers which the Agent or the Lenders may have, and the foreclosure,
surrender, cancellation or any other dealing with any Security or the said obligations shall not
release or affect the liability of the Borrowers or any other Person in respect of the remaining
portion of the Obligations.

10.7     No Further Advances

        The Lenders shall not be obliged to make any further Advances (including honouring any
cheques drawn by a Borrower which are presented for payment) from and after the earliest to occur
of the following: (a) delivery by the Agent to the Borrowers of a written notice that a Default or

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an Event of Default has occurred and is continuing and that as a result thereof no further Advances
will be made (whether or not such notice also requires immediate repayment of the Obligations)
and (b) the occurrence and continuance of an Event of Default under Section 10.1(h).

10.8     Remedies Cumulative

        All of the rights and remedies granted to the Agent and the Lenders in this Agreement, and
any other Credit Documents or instruments in existence between the Parties or contemplated
hereby, and any other rights and remedies available to the Agent and the Lenders at law or in
equity, shall be cumulative. The exercise or failure to exercise any of the said remedies shall not
constitute a waiver or release thereof or of any other right or remedy, and shall be non-exclusive.

10.9     Performance of Covenants by Agent

        If a Credit Party fails to perform any covenant or obligation to be performed by it pursuant
to this Agreement, the Agent, at the request of the Required Lenders (in their sole discretion), after
written notice to the Borrowers, perform any of the said obligations but shall be under no obligation
to do so; and any amounts expended or advanced by the Agent for such purpose shall be payable
by the Borrowers upon demand, together with interest thereon at the highest rate then applicable
to the Facilities.

10.10 Purchase of Participation Following Acceleration

         After all Obligations are declared by the Agent to be due and payable pursuant to
Section 10.2, (i) each Lender agrees that it will at any time or from time to time thereafter at the
request of the Agent as required by any Lender, purchase at par on a non-recourse basis a
participation in the Outstanding Advances owing to each of the other Lenders under the Operating
Facilities and make any other adjustments as are necessary or appropriate, in order that the
Outstanding Advances owing to each of the Lenders under the Operating Facilities, as adjusted
pursuant to this Section 10.10, will be in the same proportion as each Lender’s Commitment under
all the Operating Facilities was to the aggregate Commitment of all Lenders under all the Operating
Facilities immediately prior to the Event of Default resulting in such declaration; (ii) the amount
of any repayment made by or on behalf of the Credit Parties under the Credit Documents or any
proceeds received by the Agent or the Lenders pursuant to Section 11.7 will be applied by the
Agent in a manner such that to the extent possible the amount of the Outstanding Advances owing
to each Lender under the Operating Facilities after giving effect to such application will be in the
same proportion as each Lender’s Commitment under all the Operating Facilities was to the
aggregate Commitment of all Lenders under all the Operating Facilities immediately prior to the
Event of Default resulting in such declaration; provided that: (i) HSBC US shall not purchase any
participation under this Section 10.10 from HSBC Bank Canada (and provided that for certainty,
the foregoing proviso shall not affect the obligations of HSBC US to any of the other Lenders
under this Section 10.10); and (ii) if Applicable Laws or a Lender's internal regulations and policies
prohibits such Lender from purchasing a participation in Outstanding Advances owing by a
Borrower other than the Canadian Borrower, such Lender shall not be required to purchase a
participation in the Outstanding Advances owing by such Borrower, provided that such Lender
hereby indemnifies the other Lenders for its Proportionate Share of such Outstanding Advances as
if such purchase had occurred.

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                                    ARTICLE 11
                          ADMINISTRATION OF THE FACILITIES

11.1     Authorization and Action

        Each Lender hereby irrevocably appoints and authorizes the Agent to be its agent in its
name and on its behalf and to exercise such rights or powers granted to the Agent or the Lenders
under the Credit Documents to the extent specifically provided therein and on the terms thereof,
together with such powers and authority as are reasonably incidental thereto. As to any matters not
expressly provided for by the Credit Documents, the Agent will not be required to exercise any
discretion or take any action, but will be required to act or to refrain from acting (and will be fully
indemnified and protected by the Lenders to the greatest extent permitted by Law in so acting or
refraining from acting) upon the instructions of the Required Lenders, and such instructions will
be binding upon all Lenders; provided, however, that the Agent will not be required to take any
action which, in the opinion of the Agent, might expose the Agent to liability in such capacity,
which could result in the Agent incurring any costs and expenses, or which is contrary to the spirit
and intent of this Agreement.

11.2     Decision-Making

         11.2.1 Any amendment to this Agreement relating to the following matters shall require
         the unanimous agreement of the Lenders:

         (a)    decreases in interest rates or fees payable in respect of any Facility;

         (b)    increases in the maximum amount of credit available under any Facility;

         (c)    extensions, or changes to the definition, of the Facilities Maturity Date;

         (d)    extensions or postponements of the scheduled dates or the scheduled amounts for
                Repayments hereunder;

         (e)    reductions in the Outstanding Advances under any Facility;

         (f)    releases of all or substantially all of the Security, unless in connection with a
                Permitted Disposition;

         (g)    any change to the definition of Required Lenders;

         (h)    any provision of this Agreement which expressly states that the unanimous consent
                of the Lenders is required in connection with an action to be taken or consent
                provided by the Lenders;

         (i)    any amendment, modification or elimination the definition of Borrowing Base or
                any of the defined terms that are used in such definition to the extent that any such
                change results in more credit being made available to the Borrowers based upon the
                Borrowing Base, but not otherwise;


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         (j)    any change to Sections 11.8.1, 11.9(b) or any other provision regarding the
                allocation of payments to the Lenders under this Agreement; and

         (k)    this Section 11.2;

         provided, that (A) any change to Section 2.6.1(i) or Article 11 will also require the consent
         of the Agent, (B) any change to Sections 4.6.1(c) and 4.7 (and the related definitions
         referenced therein) will require the consent of the Issuing Bank under the U.S. Operating
         Facility and the Agent, (C) any change to Sections 2.6.1(b) and 2.7 (and the related
         definitions referenced therein) will require the consent of the Swingline Lender and the
         Agent, (D) any change to Section 5.16 (and the related definitions referenced therein) will
         require the consent of each Issuing Bank and the Agent (E) any increase to the individual
         commitment amount of a Lender under a Facility can only be made with the consent of
         such Lender; and (F) any other change which only effects the Canadian Operating Lenders,
         the U.S. Operating Lenders, the Canadian Operating Lenders, Term Lenders, the Issuing
         Bank, the Swingline Lender or the Agent, respectively, shall only require the consent of
         the affected Persons.

         11.2.2 Except for the matters described in Section 11.2.1 above, any amendment to this
         Agreement or the other Credit Documents shall be effective if made among the Borrower
         and the Required Lenders, and for greater certainty any such amendment which is agreed
         to by the Required Lenders shall be final and binding upon all Lenders.

         11.2.3 Except for the matters which require the unanimous consent of the Lenders as set
         out above, any action to be taken or decision to be made by the Lenders pursuant to this
         Agreement (specifically including for greater certainty the issuance of written notice to the
         Borrower of the occurrence of a Default or Event of Default, the issuance of a demand for
         payment of the Obligations, a decision to make an Advance despite any condition
         precedent relating thereto not being satisfied, the provision of any waiver in respect of a
         breach of any covenant or the issuance of any consent which may be required under
         Section 7.2) shall be effective if approved by the Required Lenders; and any such decision
         or action shall be final and binding upon all the Lenders.

         11.2.4 Any action to be taken or decision to be made by the Lenders pursuant to this
         Agreement which is required to be unanimous shall be made at a meeting of the Lenders
         called by the Agent pursuant to Section 11.11(k) or by a written instrument executed by all
         of the Lenders. Any action to be taken or decision to be made by the Lenders pursuant to
         this Agreement which is required to be made by the Required Lenders shall be made at a
         meeting of the Lenders called by the Agent pursuant to Section 11.11(k) or by a written
         instrument executed by the Required Lenders. Any instrument contemplated in this
         Section 11.2.4 may be executed by fax or pdf and in counterparts.

         11.2.5 Subject to Section 8.5(b), the Agent may from time to time without notice to or
         the consent of the Lenders execute and deliver partial releases of the Security in respect of
         any item of Collateral (whether or not the proceeds of sale thereof are received by the
         Agent) which the Credit Parties are permitted to dispose of in connection with a Permitted
         Disposition; and in releasing any such Security the Agent may rely upon and assume the

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         correctness of all information contained in any certificate or document provided by any
         one or more of the Borrowers, without further enquiry. Otherwise, any release or discharge
         in respect of the Security or any portion thereof shall require the written consent of the
         Lenders acting unanimously.

11.3     Procedure for Making Advances

         11.3.1 Subject to Section 11.8.3, all Advances under each Facility will be made in
         accordance with each Lender’s Proportionate Share of such Advance under such Facility.

         11.3.2 The Lenders, through the Agent, will make Advances under a Facility available
         to the Borrower as required hereunder by debiting the account of the Agent to which each
         Lender’s Proportionate Share in respect of each Facility of such Advances has been
         credited (or causing such account to be debited) and, in the absence of other arrangements
         agreed to by the Agent and the Borrowers in writing, by transferring (or causing to be
         transferred) like funds in accordance with the instructions of the Borrowers as set forth in
         the a Drawdown Request, Conversion Notice or Rollover Notice, as the case may be, in
         respect of each Advance under each Facility; provided, that the obligation of the Agent
         hereunder will be limited to taking such steps as are in keeping with its normal banking
         practice and which are commercially reasonable in the circumstances to implement such
         instructions, and the Agent will not be liable for any damages, claims or costs which may
         be suffered by the Borrowers or any of the Lenders and occasioned by the failure of such
         funds to reach their designated destination, unless such failure is due to the gross
         negligence or wilful misconduct of the Agent.

11.4     Failure to Fund

         11.4.1 Unless the Agent has actual knowledge that a Lender has not made or will not
         make available to the Agent for value on the date of any Advance the applicable amount
         required from such Lender hereunder, the Agent shall be entitled to assume that such
         amount has been or will be received from such Lender when so due and the Agent may
         (but shall not under any circumstances be obliged to), in reliance upon such assumption,
         make available to the applicable Borrower a corresponding amount (except that no such
         amount shall be made available to the applicable Borrower in the case of a deemed
         Advance). If such amount is not in fact received by the Agent from such Lender on such
         date and the Agent has made available a corresponding amount to the applicable Borrower
         on such date as aforesaid (or is deemed to have made an Advance to the applicable
         Borrower in such amount), such Lender shall pay to the Agent on demand an amount equal
         to the aggregate of the applicable amount required from such Lender hereunder plus an
         amount equal to the product of (a) the rate per annum applicable to overnight deposits made
         with the Agent for amounts approximately equal to the amount required from such Lender
         multiplied by (b) the amount that should have been paid to the Agent by such Lender on
         such date and was not, multiplied by (c) a fraction, the numerator of which is the number
         of days that have elapsed from and including such date to but excluding the date on which
         the amount is received by the Agent from such Lender and the denominator of which is
         365 or 366 days, as the case may be, in the case of all Advances. A certificate of the Agent
         containing details of the amount owing by a Lender under this Section shall be binding and

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         conclusive in the absence of manifest error. If any such amount is not in fact received by
         the Agent from such Lender on such date, the Agent shall be entitled to recover from the
         applicable Borrower, on demand, the related amount made available by the Agent to such
         Borrower as aforesaid together with interest thereon at the applicable rate per annum
         payable by such Borrower hereunder.

         11.4.2 Notwithstanding the provisions of Section 11.4.1, if any Lender fails to make
         available to the Agent its Proportionate Share of any Advance, which for greater certainty
         includes a deemed Advance hereunder (such Lender being herein called the “Non-Paying
         Lender”), the Agent shall forthwith give notice of such failure by the Non-Paying Lender
         to the applicable Borrower (except where such failure relates to a deemed Advance) and to
         the other Lenders. The Agent shall then forthwith give notice to the other Lenders that any
         Lender may make available to the Agent all or any portion of the Non-Paying Lender’s
         Proportionate Share of such Advance (but in no way shall any other Lender or the Agent
         be obliged to do so) in the place of the Non-Paying Lender. If more than one Lender gives
         notice that it is prepared to make funds available in the place of a Non-Paying Lender in
         such circumstances and the aggregate of the funds which such Lenders (herein collectively
         called the “Contributing Lenders” and individually called the “Contributing Lender”)
         are prepared to make available exceeds the amount of the Advance which the Non-Paying
         Lender failed to make, then each Contributing Lender shall be deemed to have given notice
         that it is prepared to make available its Proportionate Share of such Advance based on the
         Contributing Lenders’ relative commitments to advance in such circumstances. If any
         Contributing Lender makes funds available in the place of a Non-Paying Lender in such
         circumstances, then the Non-Paying Lender shall pay to any Contributing Lender making
         the funds available in its place, forthwith on demand, any amount advanced on its behalf
         together with interest thereon at the rate applicable to such Advance from the date of
         advance to the date of payment, against payment by the Contributing Lender making the
         funds available of all interest received in respect of the Advance from the applicable
         Borrower. The failure of any Lender to make available to the Agent its Proportionate Share
         of any Advance as required herein shall not relieve any other Lender of its obligations to
         make available to the Agent its Proportionate Share of any Advance as required herein.

11.5     Defaulting Lenders and Replacement of Lenders

         11.5.1 Notwithstanding any provision of this Agreement to the contrary, if any Lender
         becomes a Defaulting Lender, then the following provisions shall apply for so long as such
         Lender is a Defaulting Lender:

         (a)    the standby fees payable to a Defaulting Lender hereunder shall cease to accrue on
                the unused portion of its Commitment under any Operating Facility, as applicable;

         (b)    a Defaulting Lender shall not be included in determining whether, and the
                Commitment and the Proportionate Share of the Outstanding Advances of such
                Defaulting Lender under the Facilities, or any of them, shall not be included in
                determining whether, all Lenders or the Required Lenders, have taken or may take
                any action hereunder; provided, that any waiver, amendment or modification
                requiring the consent of all Lenders or each affected Lender that affects such

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                Defaulting Lender differently than other affected Lenders shall require the consent
                of such Defaulting Lender;

         (c)    subject to Section 11.4.1, for the purposes of any Advance requested hereunder
                while there is a Defaulting Lender, each Lender’s Proportionate Share thereof shall
                be calculated based on such Lender’s (A) Commitment relative to the total
                Commitment under the applicable Facility reduced by the Commitment of the
                Defaulting Lender;

         (d)    the Agent, the Swingline Lender or the Issuing Bank may require such Defaulting
                Lender to pay to the Agent for deposit into an escrow account maintained by and
                in the name of the Agent an amount equal to such Defaulting Lender’s maximum
                contingent obligations hereunder to the Agent, the Swingline Lender or the Issuing
                Bank, as the case may be (provided that the foregoing shall not apply to Export
                Development Canada to the extent such a deposit is unlawful under the Financial
                Administration Act (Canada));

         (e)    the Agent may withhold any payments owing to such Defaulting Lender for set off
                against such Defaulting Lender’s existing or reasonably foreseeable future
                obligations hereunder; and

         (f)    for the avoidance of doubt, the Borrowers shall retain and reserve their other rights
                and remedies respecting each Defaulting Lender.

         11.5.2 If a Lender is a Defaulting Lender or refuses to give timely consent to an
         amendment, modification or waiver of this Agreement that, pursuant to Section 11.2,
         requires consent of all the Lenders (and the consent of the Required Lenders has been given
         with respect thereto) (a “Non-Consenting Lender”) (collectively, the “Departing
         Lenders”), then the Borrowers may:

         (a)    replace the Departing Lender with another financial institution acceptable to the
                Agent, the Swingline Lender and the Issuing Bank, each acting reasonably, who
                purchases at par, or such lower price as the Departing Lender may agree in its sole
                discretion, the Outstanding Advances and other amounts under all Facilities owing
                to the Departing Lender and such Lender’s entire Commitment and assumes the
                Departing Lender’s Commitment and all other obligations of the Departing Lender
                hereunder; provided, that prior to or concurrently with such replacement:

                (i)     the Departing Lender shall have received payment in full of all principal,
                        interest, fees and other amounts through such date of replacement and a
                        release from any further obligations to make Advances under the Credit
                        Documents after the date of such replacement;

                (ii)    the assignment fee required to be paid by Section 13.6.2 shall have been
                        paid to the Agent;

                (iii)   all of the other requirements for such assignment contained herein shall
                        have been satisfied, including the consent of the Agent, the Swingline

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                        Lender and the Issuing Bank and the receipt by the Agent of such
                        agreements, documents and instruments as the Agent may reasonably
                        require; and

                (iv)    in the case of a Departing Lender who is a Non-Consenting Lender, each
                        assignee consents, at the time of such assignment, to each matter in respect
                        of which such Non-Consenting Lender was a Non-Consenting Lender and
                        the Borrowers also requires each other Lender that is a Non-Consenting
                        Lender to assign the Outstanding Advances owing to it under each Facility
                        and its Commitment; or

         (b)    provided, no Default or Event of Default exists at such time, elect to terminate the
                Departing Lender’s Commitment, in which case the Commitment in respect of each
                Facility shall be reduced by an amount equal to the amount of any Commitment of
                such Facility so cancelled (provided, that prior to or concurrently with such
                cancellation the Departing Lender shall have received payment in full of all
                principal, interest, fees and other amounts through such date of cancellation
                (including breakage and other costs in accordance with Sections 5.10.4 and 5.14)
                and a release from any further obligations to make Advances under the Credit
                Documents after such termination); or

         (c)    exercise any combination of the rights under (a) and (b) above; provided, that in
                each case, each Departing Lender is treated ratably with the other Departing
                Lenders, if any.

11.6     Security and Exercise of Remedies

         11.6.1 Except to the extent provided in Section 11.6.2, the Security shall be granted in
         favour of and held by the Agent for and on behalf of the Lenders in accordance with the
         provisions of this Agreement. The Agent shall, in accordance with its usual practices in
         effect from time to time, take all steps required to perfect and maintain the Security to the
         extent required hereunder, including: taking possession of the certificates representing the
         securities required to be pledged hereunder to the extent required hereunder; filing
         renewals and change notices in respect of such Security; and ensuring that the name of the
         Agent is noted as loss payee or mortgagee on all property insurance policies covering the
         Collateral. If the Agent becomes aware of any matter concerning the Security which it
         considers to be material, it shall promptly inform the Lenders. The Agent shall comply
         with all instructions provided by the Lenders or the Required Lenders, as the case may be,
         in connection with the enforcement or release of the Security which it holds. The Agent
         agrees to permit each Lender to review and make photocopies of the original documents
         comprising the Security from time to time upon reasonable notice. The Agent is hereby
         authorized to enter into the Subordination Agreement on behalf of the Lenders and to any
         subordination and postponement agreements in respect of Subordinated Debt from time to
         time to the extent the same is permitted hereunder. Each Lender further authorizes the
         Agent to execute on its behalf, directly or through attorneys-in-fact duly appointed for such
         purposes, and to accept the benefits of, each of the Security governed under the laws of the
         Republic of Colombia and any other agreements or documents as may be necessary or

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         advisable in connection with the grant of, or attachment or perfection of, modification,
         supplement or waiver under any of, the security interest granted to the Agent, for the benefit
         of the Lenders, pursuant to the Security governed under the laws of the Republic of
         Colombia. The Lenders and the other Secured Parties authorize the Agent to release any
         Collateral or Guarantors in accordance with Section 13.21 or if approved, authorized or
         ratified in accordance with Section 11.2.1. The Lenders and the other Secured Parties
         hereby irrevocably authorize and instruct the Agent to, without any further consent of any
         Lender, enter into (or acknowledge and consent to) or amend, renew, extend, supplement,
         restate, replace, waive or otherwise modify the Encina Intercreditor Agreement and the
         Wells Fargo Letter to the extent this Agreement does not otherwise require the consent of
         the Required Lenders or all Lenders therefor.

         11.6.2 If any Credit Party has provided security in favour of any Lender directly, except
         for Permitted Purchase-Money Security Interests and Permitted Liens, such Lender agrees
         to pay to the Agent all amounts received by it in connection with the enforcement of such
         security, and all such amounts shall be deemed to constitute Proceeds of Realization and
         shall be dealt with as provided in Section 11.7.

         11.6.3 Except as otherwise provided herein, each Lender hereby acknowledges that, to
         the extent permitted by Applicable Law, rights and remedies provided under the Credit
         Documents to the Lenders are for the benefit of the Lenders collectively and not severally
         and further acknowledges that its rights and remedies thereunder are to be exercised not
         severally but collectively through the Agent upon the decision of the Lenders (with the
         required majority or unanimity as herein provided), regardless of whether acceleration of
         Obligations hereunder was made, and accordingly, notwithstanding any of the provisions
         contained herein, each of the Lenders hereby covenants and agrees that it will not be
         entitled to take any action with respect to the Facilities, including any acceleration of
         Obligations thereunder, but that any such action will be taken only by the Agent with the
         prior written direction of the Lenders (with the required majority or unanimity as herein
         provided). Notwithstanding the foregoing or anything else set forth herein to the contrary,
         in the absence of written instructions from the Lenders, and where in the sole opinion of
         the Agent the exigencies of the situation warrant such action, the Agent may without notice
         to or consent of the Lenders take such action on behalf of the Lenders as it deems
         appropriate or desirable in the circumstances. Each of the Lenders hereby covenants and
         agrees that it has not heretofore and will not seek, take, accept or receive any Liens in
         respect of any of the Obligations of the Credit Parties under the Credit Documents and will
         not enter into any agreement with any of the Parties relating in any manner whatsoever to
         the Facilities, unless all of the Lenders under the Facilities will at the same time obtain the
         benefit of any such security or agreement, as the case may be.

11.7     Application of Proceeds of Realization

       Notwithstanding any other provision of this Agreement, the Proceeds of Realization of the
Security or any portion thereof shall be distributed in the following order:




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         (a)   firstly, in payment of all costs and expenses incurred by the Agent and the Lenders
               in connection with such realization, including legal, accounting and receivers’ fees
               and disbursements;

         (b)   secondly, against the Obligations (including Secured Hedging Liabilities but
               excluding any other Hedging Liabilities in excess thereof, and, for certainty,
               excluding any Hedging Liabilities which are owed to a counterparty other than a
               Lender or Affiliate thereof), each Lender being entitled to receive its Proportionate
               Share thereof;

         (c)   thirdly, against all Hedging Liabilities which are owing to any Lender or Affiliate
               thereof in excess of Secured Hedging Liabilities; and

         (d)   fourthly, if all Obligations of the Borrowers listed above and all other Hedging
               Liabilities owing to any Lender or Affiliate thereof have been paid and satisfied in
               full, any surplus Proceeds of Realization shall be paid in accordance with
               Applicable Law.

11.8     Payments by Agent

         11.8.1 The following provisions shall apply to all payments made by the Agent to the
         Lenders hereunder:

         (a)   the Agent shall be under no obligation to make any payment (whether in respect of
               principal, Interest, fees or otherwise) to any Lender until an amount in respect of
               such payment has been received by the Agent from a Credit Party;

         (b)   if the Agent receives a payment of principal, Interest, fees or other amount owing
               by any Borrower under a Facility which is less than the full amount of any such
               payment due, the Agent shall distribute such amount received among the Lenders
               under such Facility in each Lender’s Proportionate Share of such Facility;

         (c)   if the Agent receives payments in respect of principal, Interest, fees or other
               amounts owing by a Borrower under more than one Facility which are due on the
               same day, and if the amounts received are insufficient to satisfy all payments
               required under such Facilities on such day, the Agent shall, except as otherwise
               specifically set forth herein, distribute such amounts received among the Lenders
               under such Facilities in each Lender’s Proportionate Share of such Facilities;

         (d)   if any Lender has advanced more or less than its Proportionate Share of its
               Commitment under a Facility, such Lender’s entitlement to such payment shall be
               increased or reduced, as the case may be, in proportion to the amount actually
               advanced by such Lender;

         (e)   if a Lender’s Proportionate Share of an Advance under a Facility has been advanced
               for less than the full period to which any payment by any Credit Party relates, such
               Lender’s entitlement to receive a portion of any payment of interest or fees shall be


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                reduced in proportion to the length of time such Lender’s Proportionate Share has
                actually been outstanding;

         (f)    the Agent acting reasonably and in good faith shall, after consultation with the
                Lenders in the case of any dispute, determine in all cases the amount of all payments
                to which each Lender is entitled and such determination shall be deemed to be
                prima facie correct;

         (g)    upon request by a Lender, the Agent shall deliver a statement detailing any of the
                payments to the Lenders referred to herein;

         (h)    all payments by the Agent to a Lender hereunder shall be made to such Lender at
                its address set out herein unless notice to the contrary is received by the Agent from
                such Lender; and

         (i)    if the Agent has received a payment from a Credit Party on a Business Day (not
                later than the time required for the receipt of such payment as set out in this
                Agreement) and fails to remit such payment to any Lender entitled to receive its
                Proportionate Share of such payment on such Business Day, the Agent agrees to
                pay interest on such late payment at a rate determined by the Agent in accordance
                with prevailing banking industry practice on interbank compensation.

         11.8.2 Each Borrower hereby irrevocably authorizes the Agent to debit any account
         maintained by it with the Agent after written notice to such Borrower in order to make
         payments to the Lenders or the Agent of any amount that is overdue and payable hereunder
         for the purposes of satisfying payment thereof.

         11.8.3 The Agent may in its discretion from time to time make adjustments in respect of
         any Lender’s share of an Advance, Conversion, Rollover or Repayment under a Facility in
         order that the Outstanding Advances due to such Lender under such Facility shall be
         approximately in accordance with such Lender’s Proportionate Share of the Facility.

11.9     Redistribution of Payment

         Each Lender agrees that, subject to Section 10.4:

         (a)    If it exercises any right of counterclaim, set off, bankers’ lien or similar right with
                respect to any property of any Credit Party or if under Applicable Law it receives a
                secured claim, it will apportion the amount thereof proportionately between:

                (i)     amounts outstanding at the time owed by the Credit Party to such Lender
                        under this Agreement, which amounts will be applied in accordance with
                        this Section 11.9; and

                (ii)    amounts otherwise owed to it by a Credit Party;

                provided, that any cash collateral account held by such Lender as collateral for a
                letter of credit or bankers’ acceptance (including a Bankers’ Acceptance) issued or

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                accepted by such Lender on behalf of a Credit Party may be applied by such Lender
                to such amounts owed by such Credit Party to such Lender pursuant to such letter
                of credit or in respect of any such bankers’ acceptance without apportionment.

         (b)    If it receives, through the exercise of a right or the receipt of a secured claim
                described in Section 11.9(a) or otherwise, payment of a proportion of the aggregate
                amount of principal, interest and fees due to it hereunder which is greater than the
                proportion received by any other Lender in respect of the aggregate amount of
                principal, interest and fees due in respect of the applicable Facility (having regard
                to the respective proportionate amounts advanced as Advances by each of the
                Lenders under the applicable Facility), the Lender receiving such proportionately
                greater payment will purchase a participation (which will be deemed to have been
                done simultaneously with receipt of such payment) in that portion of the applicable
                Facility of the other Lenders so that their respective receipts will be pro rata to their
                respective Proportionate Shares; provided, however, that, if all or part of such
                proportionately greater payment received by such purchasing Lender is otherwise
                recovered by it, such purchase will be rescinded and the purchase price for such
                participation will be returned to the extent of such recovery, but without interest.
                Such Lender will exercise its rights in respect of such secured claim in a manner
                consistent with the rights of the Lenders entitled under this Section 11.9 to share in
                the benefits of any recovery on such secured claims.

         (c)    If it does any act or thing permitted by Section 11.9(a) or 11.9(b), it will promptly
                provide full particulars thereof to the Agent.

         (d)    Except as permitted under Section 11.9(a) or 11.9(b), no Lender will be entitled to
                exercise any right of counter claim, set off, bankers’ lien or similar right without
                the prior written consent of the other Lenders.

         (e)    Notwithstanding anything else in this Section 11.9, any amounts which are lawfully
                received by any Hedge Provider in respect of Hedging Liabilities prior to the
                delivery by the Agent of a declaration of all Obligations becoming due pursuant to
                Section 11.9 are not required to be shared pursuant to the provisions of this
                Section 11.9.

         (f)    The provisions of this Section 11.9 shall survive repayment of the Obligations.

11.10 Protection of Agent

         11.10.1 Unless the Agent has actual knowledge or actual notice to the contrary, it may
         assume that each Lender’s address set out in Exhibit “A” attached hereto is correct, unless
         and until it has received from such Lender a notice designating a different address.

         11.10.2 The Agent may engage and pay for the advice or services of any lawyers,
         accountants or other experts whose advice or services may to it seem necessary, expedient
         or desirable and rely upon any advice so obtained (and to the extent that such costs are not
         recovered from the Credit Parties pursuant to this Agreement, each Lender agrees to
         reimburse the Agent in such Lender’s Proportionate Share of such costs).
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         11.10.3 Unless the Agent has actual knowledge or actual notice to the contrary, it may
         rely as to matters of fact which might reasonably be expected to be within the knowledge
         of any Credit Party upon a statement contained in any Credit Document.

         11.10.4 Unless the Agent has actual knowledge or actual notice to the contrary, it may
         rely upon any communication or document believed by it to be genuine.

         11.10.5 The Agent may refrain from exercising any right, power or discretion vested in it
         under this Agreement unless and until instructed by the Required Lenders as to whether or
         not such right, power or discretion is to be exercised and, if it is to be exercised, as to the
         manner in which it should be exercised (provided, that such instructions shall be required
         to be provided by all of the Lenders in respect of any matter for which the unanimous
         consent of the Lenders is required as set out herein).

         11.10.6 The Agent may refrain from exercising any right, power or discretion vested in it
         which would or might in its sole and unfettered opinion be contrary to any law of any
         jurisdiction or any directive or otherwise render it liable to any Person, and may do
         anything which is in its opinion in its sole discretion necessary to comply with any such
         law or directive.

         11.10.7 The Agent may delegate to such other Person, such duties and responsibilities of
         the Agent hereunder as it shall determine to be appropriate in respect of dealings with or
         relating to any Credit Party or any other Person and in particular, the Agent may execute
         any of its duties under this Agreement or any other Credit Document (including, for
         purposes of holding or enforcing any Lien on the Collateral (or any portion thereof) granted
         under the Security or of exercising any rights and remedies thereunder) by sub-agent or
         attorney-in-fact. The Agent shall not be responsible for the negligence or misconduct of
         any sub-agent or attorney-in-fact that it selects in the absence of gross negligence or willful
         misconduct on the part of the Agent, as determined by a final and non-appealable judgment
         of a court of competent jurisdiction. The exculpatory provisions of this Agreement
         applicable to the Agent shall apply to any such other Person, sub-agent or attorney-in-fact
         and to the Affiliates of the Agent and any such sub-agent or attorney-in-fact, and shall
         apply to their respective activities in connection with the syndication of the Facilities as
         well as activities as Agent.

         11.10.8 The Agent may refrain from acting in accordance with any instructions of the
         Required Lenders to begin any legal action or proceeding arising out of or in connection
         with this Agreement or take any steps to enforce or realize upon any Security, until it shall
         have received such security as it may reasonably require (whether by way of payment in
         advance or otherwise) against all costs, claims, expenses (including legal fees) and
         liabilities which it will or may expend or incur in complying with such instructions.

         11.10.9 The Agent shall not be bound to disclose to any Person any information relating
         to the Credit Parties or any Related Parties if such disclosure would or might in its opinion
         in its sole discretion constitute a breach of any law or regulation or be otherwise actionable
         at the suit of any Person.


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         11.10.10The Agent shall not accept any responsibility for the accuracy or completeness of
         any information supplied in connection herewith or for the legality, validity, effectiveness,
         adequacy or enforceability of any Credit Document and shall not be under any liability to
         any Lender as a result of taking or omitting to take any action in relation to any Credit
         Document except in the case of the Agent’s gross negligence or wilful misconduct.

11.11 Duties of Agent

         The Agent shall:

         (a)    hold and maintain the Security to the extent provided in Section 11.6;

         (b)    provide to each Lender copies of all financial information received from the Credit
                Parties promptly after receipt thereof, and copies of any Drawdown Requests,
                Conversion Notices, Rollover Notices, Repayment Notices and other notices
                received by the Agent from the Credit Parties upon request by any Lender;

         (c)    promptly advise each Lender of Advances required to be made by it hereunder and
                disburse all Repayments to the Lenders hereunder in accordance with the terms of
                this Agreement;

         (d)    promptly notify each Lender of the occurrence of any Default or Event of Default
                of which the Agent has actual knowledge or actual notice;

         (e)    at the time of engaging any agent, receiver, receiver-manager, consultant, monitor
                or other party in connection with the Security or the enforcement thereof, obtain
                the agreement of such party to comply with the applicable terms of this Agreement
                in carrying out any such enforcement activities and dealing with any Proceeds of
                Realization;

         (f)    account for any monies received by it in connection with this Agreement, the
                Security and any other agreement delivered in connection herewith or therewith;

         (g)    each time a Borrower requests the written consent of the Lenders in connection
                with any matter, use its best efforts to obtain and communicate to the Borrowers
                the response of the Lenders in a reasonably prompt and timely manner having due
                regard to the nature and circumstances of the request;

         (h)    give written notice to the Borrowers in respect of any other matter in respect of
                which notice is required in accordance with or pursuant to this Agreement,
                promptly or promptly after receiving the consent of the Required Lenders, if
                required under the terms of this Agreement;

         (i)    except as otherwise provided in this Agreement, act in accordance with any
                instructions given to it by the Required Lenders;




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         (j)   if so instructed by the Required Lenders, refrain from exercising any right, power
               or discretion vested in it under this Agreement or any document incidental thereto;
               and

         (k)   call a meeting of the Lenders at any time not earlier than five days and not later
               than 30 days after receipt of a written request for a meeting provided by any Lender.

11.12 Lenders’ Obligations Several; No Partnership

        The obligations of each Lender under this Agreement are several. The failure of any Lender
to carry out its obligations hereunder shall not relieve the other Lenders of any of their respective
obligations hereunder. No Lender shall be responsible for the obligations of any other Lender
hereunder. Neither the entering into of this Agreement nor the completion of any transactions
contemplated herein shall constitute the Lenders and the Agent, or any combination of them, a
partnership or give rise to any fiduciary relationship between them.

11.13 Reliance Upon Agent

        The Borrowers will be entitled to rely upon any certificate, notice or other document or
other advice, statement or instruction provided to them (or any one of them) by the Agent pursuant
to the Credit Documents, and the Borrowers will be entitled to deal with the Agent with respect to
matters under the Credit Documents which the Agent is authorized hereunder to deal with, without
any obligation whatsoever to satisfy themselves as to the authority of the Agent to act on behalf of
the Lenders and without any liability whatsoever to the Lenders for relying upon any certificate,
notice or other document or other advice, statement or instruction provided to them by the Agent,
notwithstanding any lack of authority of the Agent to provide the same.

11.14 No Liability of Agent

        The Agent, in its capacity as agent of the Lenders under the Credit Documents, will have
no responsibility or liability to the Borrowers or the Lenders on account of the failure of any Lender
to perform its obligations hereunder, or to any Lender on account of the failure of any Borrower
to perform its obligations under the Credit Documents.

11.15 Agent and Agent Authority

        With respect to its Proportionate Share of each Facility and the Advances made by it as a
Lender thereunder, as applicable, the Agent will have the same rights and powers under the Credit
Documents as any other Lender and may exercise the same as though it were not the Agent. The
Agent may accept deposits from, lend money to, and generally engage in any kind of business with
any Credit Party, any of their Subsidiaries, their respective shareholders or unitholders or any
Person owned or controlled by any of them and any Person which may do business with any of
them, all as if the Agent was not serving as Agent, and without any duty or obligation to account
therefor to the Lenders.




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11.16 Lenders’ Credit Decisions

         It is understood and agreed by each Lender that it has itself been, and will continue to be,
solely responsible for making its own independent appraisal of and investigations into the financial
condition, creditworthiness, condition, affairs, status and nature of the Credit Parties. Accordingly,
each Lender confirms with the Agent that it has not relied, and will not hereafter rely, on the Agent
(a) to check or inquire on its behalf into the adequacy, accuracy or completeness of any information
provided by the Credit Parties or any other Person under or in connection with the Facilities
(whether or not such information has been or is hereafter distributed to such Lender by the Agent)
or (b) to assess or keep under review on its behalf the financial condition, creditworthiness,
condition, affairs, status or nature of any Credit Party. Each Lender acknowledges that copies of
the Credit Documents have been made available to it for review and each Lender acknowledges
that it is satisfied with the form and substance of the Credit Documents. A Lender will not make
any independent arrangement with any Credit Party for the satisfaction of any Obligations owing
to it under the Credit Documents without the written consent of the other Lenders.

11.17 Indemnification

         The Lenders hereby severally agree to indemnify the Agent and its directors, officers,
agents and employees (to the extent not reimbursed by the Credit Parties) in accordance with their
respective Proportionate Share, from and against any and all liabilities, obligations, losses,
damages, penalties, actions, judgments, suits, costs, expenses or disbursements of any kind or
nature whatsoever which may be imposed on, incurred by, or asserted against the Agent or its
directors, officers, agents and employees in any way relating to or arising out of the Credit
Documents or any action taken or omitted by the Agent under or in respect of the Credit
Documents in its capacity as Agent; provided, that no Lender will be liable for any portion of such
liabilities, obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses or
disbursements resulting from the Agent’s gross negligence or wilful misconduct, as determined by
a final and non-appealable judgment of a court of component jurisdiction. Without limiting the
generality of the foregoing, each Lender agrees to reimburse the Agent promptly upon demand for
its Proportionate Share of any reasonable out of pocket expenses (including legal fees, on a
solicitor and his own client full indemnity basis) incurred by the Agent in connection with the
preservation of any right of the Agent or the Lenders under, or the enforcement of, or legal advice
in respect of rights or responsibilities under, the Credit Documents, to the extent that the Agent is
not reimbursed for such expenses by the Borrowers. This indemnity will survive the termination
of the other provisions of this Agreement as a separate and continuing covenant of the Lenders.

11.18 Successor Agent

        The Agent may, as hereinafter provided, resign at any time by giving 30 days’ notice (the
“Resignation Notice”) thereof to the Lenders and the Borrowers. The remaining Lenders, with the
consent of the Borrowers, such consent not to be unreasonably withheld, will forthwith upon
receipt of the Resignation Notice unanimously appoint a successor agent (the “Successor Agent”)
to assume the duties hereunder of the resigning Agent. Upon the acceptance of any appointment
as agent hereunder by a Successor Agent, such Successor Agent will thereupon succeed to and
become vested with all the rights, powers, privileges and duties as agent under the Credit
Documents of the resigning Agent. Upon such acceptance, the resigning Agent will be discharged

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from its further duties and obligations as agent under the Credit Documents, but any such
resignation will not affect such resigning Agent’s obligations hereunder as a Lender, including for
its Proportionate Share of the applicable Commitment. After the resignation of the Agent as agent
hereunder, the provisions of this Article 11 will continue to enure to its benefit as to any actions
taken or omitted to be taken by it while it was the agent of the Lenders hereunder. Notwithstanding
the foregoing, if the remaining Lenders fail to appoint a Successor Agent within 30 days of receipt
of the Resignation Notice, the resigning Agent may, with the approval of the Borrowers except
during the continuance of an Event of Default, such approval not to be unreasonably withheld,
appoint a Successor Agent from among the Lenders (other than Business Development Bank of
Canada).

11.19 Sharing of Information

       The Agent and the Lenders may share among themselves any information they may have
from time to time concerning the Credit Parties whether or not such information is confidential;
but shall have no obligation to do so (except for any obligations of the Agent to provide
information to the extent required in this Agreement). The Agent shall not have any duty to
disclose any information obtained or received by it or any of its Affiliates relating to any Credit
Party or any of its Subsidiaries to the extent such information was obtained or received in any
capacity other than as the Agent.

11.20 Acknowledgement by Borrowers

       Each Borrower hereby acknowledges notice of the terms of the provisions of this Article 11
and agrees to be bound hereby to the extent of its obligations hereunder, and further agrees not to
make any payments, take any action or omit to take any action which would result in the
non-compliance by the Agent or any Lender with its obligations hereunder.

11.21 Amendments to Article 11

        The Agent and the Lenders may amend any provision in this Article 11 (other than
Section 11.5) without prior notice to or the consent of the Borrowers, and the Agent shall provide
a copy of any such amendment to the Borrowers reasonably promptly thereafter; provided,
however, if, in the Agent’s opinion, any such amendment would materially and adversely affect
any rights, entitlements, obligations or liabilities of any Borrower, such amendment shall not be
effective until such Borrower provides its written consent thereto, such consent not to be
unreasonably withheld or arbitrarily delayed.

11.22 Deliveries, etc.

         As between the Credit Parties on the one hand, and the Agent and the Lenders on the other
hand:

         (a)    all statements, certificates, consents and other documents which the Agent purports
                to deliver to a Credit Party on behalf of the Lenders shall be binding on each of the
                Lenders, and none of the Credit Parties shall be required to ascertain or confirm the
                authority of the Agent in delivering such documents;


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         (b)      all certificates, statements, notices and other documents which are delivered by a
                  Credit Party to the Agent in accordance with this Agreement shall be deemed to
                  have been duly delivered to each of the Lenders; and

         (c)      all payments which are delivered by a Credit Party to the Agent in accordance with
                  this Agreement shall be deemed to have been duly delivered to each of the Lenders.

11.23 Agency Fee

         The Borrowers jointly and severally agree to pay to the Agent an annual agency fee as set
         out in the Fee Agreement, payable in advance on the Amendment and Restatement Date
         and annually on each anniversary date thereafter during the term of this Agreement.

                                           ARTICLE 12
                                        INCREASED COSTS

12.1     Changes in Law

         12.1.1    If, after the Amendment and Restatement Date, due to either:

         (a)      the introduction of, or any change in, any Law or any change in the interpretation
                  of any Law, whether having the force of law or not, resulting in the imposition or
                  increase of reserves, deposits or similar requirements by any central bank or
                  Governmental Authority charged with the administration thereof; or

         (b)      imposition of any Lender or requirements on any Lender to maintain any capital
                  adequacy or additional capital liquidity requirements in respect of any Advances or
                  Commitments hereunder, or any other condition with respect to this Agreement; or

         (c)      the compliance with any guideline or request from any central bank or other
                  Governmental Authority which a Lender, acting reasonably, determines that it is
                  required to comply with,

         there will be any increase in the cost to such Lender of agreeing to make or making, funding
         or maintaining an Advance or there will be any reduction in the effective return to such
         Lender thereunder, then, subject to Section 12.1.2, the Borrowers jointly and severally
         agree that they will, within ten Business Days after being notified by such Lender of such
         event, pay to such Lender, quarterly in arrears, that amount (the “Additional
         Compensation”) which such Lender, acting reasonably, determines will compensate it,
         after taking into account all applicable Taxes and all interest and other amounts received,
         for any such increased costs or reduced returns incurred or suffered by such Lender
         provided such Lender is also charging its other borrowers in similar circumstances similar
         additional compensation.

         12.1.2 If Additional Compensation is payable pursuant to Section 12.1.1(a), the
         Borrowers will have the option to convert the Advance to another type of Advance, in
         accordance with this Agreement, in respect of which no further such Additional
         Compensation will be payable, or prepay any amount of the Facility owed to the Lender

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         entitled to receive the Additional Compensation, subject always to Section 5.13 without
         obligation to make a corresponding prepayment to any other Lender. If the Additional
         Compensation relates to outstanding Bankers’ Acceptances, such Lender may require the
         Borrowers to deposit in an interest bearing cash collateral account with such Lender such
         amount as may be necessary to fully satisfy the contingent obligations of such Lender for
         all outstanding Bankers’ Acceptances in accordance with the arrangements similar to those
         set out in Section 5.11.

         12.1.3 Notwithstanding anything contained in this Section 12.1, the Dodd-Frank Wall
         Street Reform and Consumer Protection Act and all requests, rules, regulations, guidelines
         and directives thereunder or issued in connection therewith and all requests, rules,
         regulations, guidelines and directives concerning capital adequacy promulgated by the
         Bank for International Settlements, the Basel Committee on Banking Supervision (or any
         successor or similar authority or any United States, Canadian or foreign regulatory
         authority) (collectively, the “New Rules”) shall, in each case, be deemed a “change in
         Law” under Section 12.1.1(a) regardless of the date enacted, adopted or issued.

12.2     Changes in Circumstances

       Notwithstanding anything to the contrary herein or in any of the other Credit Documents
contained, if on any date a Lender determines, acting reasonably and in good faith, which
determination will be conclusive and binding on the Parties, and provided notice is given to the
Agent and the other Lenders and to the Borrowers that its ability to maintain, or continue to offer
any Advance has become unlawful or impossible due to:

         (a)    any change in Applicable Law, or in the interpretation or administration thereof by
                Governmental Authorities having jurisdiction in the matter; or

         (b)    any Material Adverse Change in or the termination of the London Interbank
                Eurodollar Market for Eurodollars; or

         (c)    the imposition of any condition, restriction or limitation upon such Lender which
                is outside of its control,

then in any such case, the Borrowers jointly and severally agree that they will forthwith repay to
such Lender all principal amounts affected thereby, together with all unpaid interest accrued
thereon to the date of Repayment and all other expenses incurred in connection with the
termination of any such Advance, including any expenses resulting from the early termination of
any LIBOR Period relating thereto in accordance with Section 5.13, without any obligation to
make a corresponding prepayment to any other Lender. The Borrowers may utilize other forms of
Advance not so affected in order to make any required Repayment and after any such Repayment,
the Borrowers may elect to re-borrow the amount repaid by way of some other Advance upon
complying with applicable requirements thereof.

12.3     Application of Sections 12.1 and 12.2

        If a Lender exercises its discretion under either Section 12.1 or 12.2, then concurrently with
a notice from such Lender to the Agent and the applicable Borrower requiring compliance with

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the applicable Section, such Lender will provide such Borrower (with a copy to the Agent who
will notify the other Lenders) with a certificate in reasonable detail outlining the particulars giving
rise to such notice and certifying (with reasonable supporting detail) the increased costs, if any,
payable by such Borrower thereunder, which will be prima facie evidence thereof and binding on
the Parties.

12.4     Taxes

         12.4.1 Except as provided in this Section 12.4, any and all payments by the Borrowers
         and any other Credit Party to or for the account of the Agent or any Lender under any
         Credit Document shall be made free and clear of and without deduction for any and all
         present or future taxes, duties, levies, imposts, deductions, assessments, fees, withholdings
         or similar charges imposed by any Governmental Authority, and all liabilities (including
         additions to tax, penalties and interest) related thereto (collectively, “Impositions”),
         excluding, in the case of the Agent and each Lender or other recipient or beneficial owner
         of payment to be made by or on account of a Credit Party under any Credit Document, (x)
         any Impositions imposed on or measured by its net income (including any taxes similar to
         branch profits tax or capital, and franchise (and similar) taxes imposed on it in lieu of net
         income taxes), by the jurisdiction (or any political subdivision thereof) under the Laws of
         which the Agent or such Lender, as the case may be, is organized, resident, in which its
         principal office is located, in which it maintains its Lending Office or in which it is subject
         to such Imposition by reason of a present or former connection between it and such
         jurisdiction (other than a connection arising solely from the Agent or such Lender (or its
         applicable Lending Office) as the case may be, becoming a party hereto, having executed,
         delivered or performed its obligations under any Credit Document, received a payment
         under, enforced its rights under, received or perfected a security interest under, or engaged
         in any other transaction pursuant to, a Credit Document), and all interest and penalties with
         respect thereto; (y) U.S. and Canadian federal withholding taxes imposed on amounts
         payable to or for the account of such Lender with respect to an applicable interest in a Loan
         or Commitment pursuant to a law in effect on the date on which (i) such Lender acquires
         such interest in the Loan or Commitment (other than pursuant to an assignment request by
         the Borrower under Section 12.4.6) or (ii) such Lender changes its Lending Office, except
         in each case to the extent that, pursuant to this Section, amounts with respect to such
         withholding taxes were payable either to such Lender’s assignor immediately before such
         Lender became a party hereto or to such Lender immediately before it changed its Lending
         Office; and (z)(i) U.S. federal withholding taxes imposed under FATCA, (ii) taxes
         attributable to such recipient’s or beneficial owner’s failure to comply with the applicable
         reporting requirements of FATCA, and (iii) taxes attributable to such recipient’s or
         beneficial owner’s failure to provide such documentation as is reasonably requested by the
         Borrower for the Borrower to comply with its obligations under FATCA and to determine
         that such recipient or beneficial owner has complied with such recipient’s or beneficial
         owner’s obligations under FATCA or to determine the amount to deduct and withhold from
         any payment to such recipient or beneficial owner (all such non-excluded Impositions
         being hereinafter referred to as “Taxes” and all such excluded Impositions being
         hereinafter referred to as “Excluded Taxes”). If any Credit Party or any other applicable
         withholding agent shall be required by the Applicable Laws of a relevant taxing jurisdiction
         to deduct any Taxes or Other Taxes from or in respect of any sum payable under any Credit

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         Document to the Agent or any Lender, (i) the sum payable shall be increased by the
         applicable Credit Party as necessary so that after all required deductions (including
         deductions applicable to additional sums payable under this Section 12.4) have been made,
         each of the Agent and such Lender receives an amount equal to the sum it would have
         received had only deductions attributable to Excluded Taxes been made, (ii) the applicable
         withholding agent shall make such deductions, (iii) the applicable withholding agent shall
         pay the full amount deducted to the relevant taxation authority or other Governmental
         Authority in accordance with Applicable Laws, and (iv) within thirty (30) days after the
         date of such payment, the Credit Party making such payments shall furnish to the Agent or
         Lender (as the case may be) the original or a certified copy of a receipt evidencing payment
         thereof to the extent such a receipt is issued therefor, or other written proof of payment
         thereof that is reasonably satisfactory to the Agent.

         12.4.2 In addition but without duplication, the Borrowers agree to pay any and all present
         or future stamp, court or documentary taxes and any other excise, property, intangible or
         mortgage recording taxes, charges or similar levies imposed by a relevant taxing
         jurisdiction which arise from any payment made under any Credit Document or from the
         execution, delivery, performance, enforcement or registration of, or otherwise with respect
         to, any Credit Document (hereinafter referred to as “Other Taxes”).

         12.4.3 Each Borrower agrees to indemnify the Agent and each Lender for (i) the full
         amount of Taxes and Other Taxes (including any Taxes or Other Taxes imposed or asserted
         by any Governmental Authority of any relevant taxing jurisdiction on amounts payable
         under this Section 12.4) paid by the Agent and such Lender, and (ii) any reasonable
         expenses arising therefrom or with respect thereto, in each case whether or not such Taxes
         or Other Taxes were correctly or legally imposed or asserted by the relevant Governmental
         Authority; provided the Agent or Lender, as the case may be, provides the Borrowers with
         a written statement thereof setting forth in reasonable detail the basis and calculation of
         such amounts. Payment under this Section 12.4.3 shall be made within thirty (30) days
         after the date such Lender or the Agent makes a written demand therefor.

         12.4.4 Notwithstanding anything herein to the contrary, each Borrower shall not be
         required pursuant to this Section 12.4 to pay any additional amount to, or to indemnify,
         any Lender or the Agent, as the case may be, (i) to the extent that such Lender or the Agent
         becomes subject to Taxes subsequent to the Amendment and Restatement Date (or, if later,
         the date such Lender or the Agent becomes a party to this Agreement) as a result of a
         change in the place of organization or residence of such Lender or the Agent, a change in
         the Lending Office of such Lender, or a change in the principal office of such Lender or
         the Agent, except to the extent that any such change is requested or required by the
         Borrowers or to the extent that such Lender or the Agent was entitled, at the time of the
         change in place of organization, residence or the change in Lending Office, to receive
         additional amounts from the Borrowers pursuant to Sections 12.4.1 and 12.4.3 (and
         provided, that nothing in this Section 12.4 shall be construed as relieving the Borrowers
         from any obligation to make such payments or indemnification in the event of a change in
         Applicable Law) or (ii) where for Canadian income tax purposes, such Lender or the
         Agent, as the case may be, becomes subject to Taxes as a consequence of such Lender or
         the Agent either not dealing at arm’s length with the Borrowers (for purposes of the Income

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         Tax Act (Canada)) or being, or not dealing at arm’s length with (for purposes of the Income
         Tax Act (Canada)) a “specified shareholder” (for purposes of the Income Tax Act (Canada))
         of the Borrower; provided, that this subclause (ii) shall not apply to the extent that such
         Lender or the Agent, as the case may be, is considered to have not dealt at arm’s length
         with the Borrowers for Canadian income tax purposes as a result of a change in Applicable
         Law after the Amendment and Restatement Date.

         12.4.5 If any Lender or the Agent determines in its sole discretion (exercised in good
         faith) that it has received a refund in respect of any Taxes or Other Taxes as to which
         indemnification or additional amounts have been paid to it by the Borrowers pursuant to
         this Section 12.4, it shall promptly remit such refund (including any interest included in
         such refund paid by the relevant Governmental Authority) to the Borrowers, net of all out-
         of-pocket expenses (including any taxes imposed with respect to such refund) of the Lender
         or the Agent, as the case may be; provided, however, that the Borrowers, upon the request
         of the Lender or the Agent, as the case may be, agree promptly to return such refund (plus
         any penalties, interest or other charges imposed by the relevant Governmental Authority)
         to such party in the event such party is required to repay such refund to the relevant taxing
         authority. Such Lender or the Agent, as the case may be, shall, at the Borrowers’ request,
         provide the Borrowers with a copy of any notice of assessment or other evidence of the
         requirement to repay such refund received from the relevant Governmental Authority
         (provided, that such Lender or the Agent may delete any information therein that such
         Lender or the Agent deems confidential). Notwithstanding anything to the contrary in this
         Section 12.4.5, in no event will a Lender be required to pay any amount to the Borrowers
         pursuant to this Section 12.4.5 the payment of which would place such Lender in a less
         favorable net after-tax position than such Lender would have been in if the Taxes or Other
         Taxes subject to indemnification and giving rise to such refund had not been deducted,
         withheld or otherwise imposed and the indemnification payments or additional amounts
         with respect to such Taxes or Other Taxes had never been paid. Nothing herein contained
         shall interfere with the right of a Lender or the Agent to arrange its tax affairs in whatever
         manner it thinks fit nor oblige any Lender or the Agent to disclose any information relating
         to its tax affairs or any computations in respect thereof or require any Lender or the Agent
         to do anything that would prejudice its ability to benefit from any other refunds, credits,
         reliefs, remissions or repayments to which it may be entitled.

         12.4.6 Each Lender agrees that, upon the occurrence of any event giving rise to the
         operation of Section 12.4.1 and 12.4.3 with respect to such Lender it will, if requested by
         the Borrowers, use commercially reasonable efforts (subject to such Lender’s overall
         internal policies of general application and legal and regulatory restrictions) to avoid or
         reduce to the greatest extent possible any indemnification or additional amounts being due
         under this Section 12.4, including to designate another Lending Office for any Loan
         (including, for certainty, any Letter of Credit) affected by such event; provided, that such
         efforts are made on terms that, in the reasonable judgment of such Lender, cause such
         Lender and its Lending Office(s) to suffer no material economic, legal or regulatory
         disadvantage, and provided, further, that nothing in this Section 12.4.6 shall affect or
         postpone any of the Obligations of the Borrowers or the rights of such Lender pursuant to
         Sections 12.4.1 and 12.4.3. The Borrowers hereby jointly and severally agree to pay all


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         reasonable costs and expenses incurred by any Lender as a result of a request by the
         Borrowers under this Section 12.4.6.

                                             ARTICLE 13
                                              GENERAL

13.1     Non-Disclosure

         13.1.1 All information received by the Agent and the Lenders from or in respect of the
         Credit Parties the confidential nature of which is made known or ought to have been known
         to the Party receiving such information, including any information relating to a Hostile
         Acquisition, other than information that is required to be disclosed by Applicable Law
         (including, for certainty, information required to be disclosed in connection with any legal
         proceedings, including proceedings relating to the Credit Documents) or to any
         Governmental Authority of competent jurisdiction, including any central bank or other
         banking regulatory authority and any official bank examiners or regulators, will be held by
         the Parties in the strictest confidence and will not be disclosed to any Person, except as
         provided in this Section 13.1.

         13.1.2    Section 13.1.1 does not apply to information:

         (a)      of a Party where that Party consents in writing to its disclosure;

         (b)      which becomes part of the public domain through no fault of the Agent or the
                  Lenders;

         (c)      received from a third party without restriction on further disclosure and which third
                  party was not to the knowledge of the Agent or such Lender, under a duty of
                  confidentiality to the applicable Credit Party at the time the information was so
                  received;

         (d)      developed independently without breach of Section 13.1;

         (e)      which the Agent or the relevant Lender can show was, prior to receipt thereof from
                  a Credit Party, lawfully in the Agent’s or Lender’s possession and not then subject
                  to any obligation on its part to the Credit Parties to maintain confidentiality; or

         (f)      to the extent required to be disclosed by order or direction of a court or
                  Governmental Authority of competent jurisdiction (including any self-regulatory
                  authority, such as the National Association of Insurance Commissioners) or as other
                  required to be disclosed by Applicable Law or by any subpoena or similar legal
                  process.

         13.1.3 Information received by the Agent or a Lender may be disclosed to their
         respective Affiliates, Hedge Providers, the Agent or any other Lender or Participant,
         including any financial institution which desires to become a Lender or Participant
         hereunder, any actual or prospective counterparty (or its advisors) to any securitization,
         swap or derivative transaction relating to a Borrower or any other Credit Party, and the

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         Obligations and to their respective employees, auditors, accountants, legal counsel,
         geologists, engineers and other consultants and financial advisors retained by such Persons
         on a need to know basis and subject to the obligation to maintain confidentiality; provided,
         that the Agent or Lender providing the information shall be responsible for any breach by
         its Affiliate of the aforementioned duty of confidentiality.

13.2     Waiver

        The failure or delay by the Agent or any Lender in exercising any right or privilege with
respect to the non-compliance with any provisions of this Agreement by the Borrower and any
course of action on the part of the Agent or any Lender, shall not operate as a waiver of any rights
of the Agent or such Lender unless made in writing by the Agent or such Lender. Any such waiver
in writing and shall be effective only in the specific instance and for the purpose for which it is
given and shall not constitute a waiver of any other rights and remedies of the Agent or such Lender
with respect to any other or future non-compliance.

13.3     Governing Law

        This Agreement shall be interpreted in accordance with the Laws of the Province of Alberta
and the federal Laws of Canada applicable therein. Without prejudice to the right of the Agent and
the Lenders to commence any proceedings with respect to this Agreement in any other proper
jurisdiction, the Parties hereby attorn and submit to the non-exclusive jurisdiction of the courts of
the Province of Alberta.

13.4     Judgment Currency

        To the extent permitted by Applicable Law, if for the purposes of obtaining judgment
against any Credit Party in any court in any jurisdiction with respect to this Agreement it becomes
necessary for a Lender to convert into the currency of such jurisdiction (in this Section called the
“Judgment Currency”) any amount due to the Lender by such Credit Party under the Credit
Documents in any currency other than the Judgment Currency, the conversion shall be made at the
Exchange Rate prevailing on the Business Day before the day on which judgment is given. To the
extent permitted by Applicable Law, in the event that there is a change in the Exchange Rate
prevailing between the Business Day before the day on which the judgment is given and the date
of payment of the amount due, the applicable Credit Party will, on the date of payment, pay such
additional amounts (if any) or be entitled to receive reimbursement of such amount, if any, as may
be necessary to ensure that the amount paid on such date is the amount in the Judgment Currency
which when converted at the Exchange Rate prevailing on the date of payment is the amount then
due under this Agreement in such other currency. To the extent permitted by Applicable Law, any
additional amount due by a Credit Party under this Section will be due as a separate debt and shall
not be affected by judgment being obtained for any other sums due under or in respect of this
Agreement.

13.5     Expenses of Agent and Lenders

       Whether or not the transactions contemplated by this Agreement are completed or any
Advance has been made, each Borrower hereby agrees, jointly and severally, to promptly pay,
following receipt of invoice therefor from the Agent (and in any event within 30 days after receipt
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thereof), from time to time all reasonable and documented expenses incurred by the Agent or any
Lender in connection with this Agreement, the Security and all documents contemplated hereby,
specifically including: expenses incurred by the Lenders in respect of due diligence, appraisals,
insurance consultations, credit reporting and responding to demands of any Governmental
Authority (provided, that reimbursement obligations in respect of costs and expenses arising under
inspection rights set forth in Section 7.1.7 shall be limited in the manner set forth in such Section);
reasonable out-of-pocket legal expenses in connection with the preparation and interpretation of
this Agreement and the other Credit Documents, the registration and perfection of the Security and
the administration of the Facilities generally, including the preparation of waivers and partial
discharges of Security (if there are any additional fees or expenses to be incurred in connection
with any of the foregoing over and above those that have already been disclosed to the Borrowers
then the Agent agrees to notify the Borrowers of those additional fees or expenses and obtain their
concurrence to their payment); and all legal fees and expenses (on a solicitor and his own client
basis) in connection with the protection and enforcement of the Security and the exercise of any
rights and remedies of the Agent and the Lenders under the Credit Documents. Each Borrower
hereby authorizes the Agent to debit its account in order to pay any such expenses if such amount
is not paid in full within 30 days after receipt of a written request from the Agent for payment of
such amount.

13.6     Assignment

         13.6.1 This Agreement and the rights and obligations hereunder will not be assignable,
         in whole or in part, by any Borrower without the prior written consent of all of the Lenders.

         13.6.2 Each Lender will have the right to sell or assign its Commitment in minimum
         amounts of U.S. $5,000,000 (with such Lender, where such sale or assignment is not of all
         of such Lender’s Commitment under the applicable Facility, retaining a Commitment
         under the applicable Facility of at least U.S. $5,000,000), together with a proportionate
         share of Outstanding Advances owing to it, to one or more financial institutions with the
         consent of the Canadian Borrower, the Agent, the Issuing Bank and the Swingline Lender
         each such consent not to be unreasonably withheld (provided, that the Canadian Borrower
         may withhold such consent if a Borrower would be required to pay withholding taxes solely
         as a result of such assignment). An assignment fee of U.S. $3,500 for each such assignment
         will be payable to the Agent by the assigning Lender. In the event of such sale or
         assignment, the Borrowers, the Agent and the other Lenders will execute and deliver all
         such agreements, documents and instruments as the Agent or Lender may reasonably
         request to effect and recognize such sale or assignment, including an Assignment.
         Notwithstanding the foregoing, no consent of the Canadian Borrower will be required if an
         assignment (a) occurs during an Event of Default which is continuing, (b) is made between
         financial institutions who, at the relevant time, are already Lenders or Affiliates thereof, or
         (c) is made by a Lender to an Approved Fund. In the event that the Canadian Borrower
         fails to provide a response to the request for any such consent within five Business Days
         of the receipt of such request by the Canadian Borrower, the Canadian Borrower shall be
         deemed to have consented to such request. No consent to an assignment by a Lender shall
         be required from the U.S. Borrower. Notwithstanding the foregoing, no Lender may assign
         all or any part of its Commitment or Outstanding Advances to Palladium, an Investor or an
         Affiliate thereof without the prior written consent of all of the Lenders.

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         13.6.3 To the extent that any Lender sells or assigns any portion of its Commitment and
         Outstanding Advances pursuant to this Section 13.6 and such new Lender or new Lenders,
         as the case may be, has executed and delivered to the Borrower and the Agent an
         Assignment, such Lender will be relieved and forever discharged of any and all of its
         covenants and obligations under the Credit Documents in respect of that portion of its
         Commitment and Outstanding Advances so sold or assigned from and after the date of such
         Assignment and the Borrower’s recourse under the Credit Documents in respect of such
         portion so sold or assigned from and after the date of the Assignment for matters arising
         thereunder from and after the date of the Assignment will be to such new Lender or new
         Lenders only, as the case may be, and their successors and permitted assigns.

         13.6.4 Any Lender may at any time sell to one or more financial institutions or other
         Persons (each of such financial institutions and other Persons being herein called a
         “Participant”) participating interests in any of the Advances, commitments, or other
         interests of such Lender hereunder, without notice to, or consent from, the Agent or the
         Borrowers; provided, however, that:

         (a)    no participation contemplated in this Section 13.6.4 will relieve such Lender from
                its commitments or its other obligations hereunder or under any other Credit
                Document;

         (b)    such Lender will remain solely responsible for the performance of its commitments
                and such other obligations as if such participation had not taken place;

         (c)    the Agent will continue to deal solely and directly with such Lender in connection
                with such Lender’s rights and obligations under this Agreement and each of the
                other Credit Documents;

         (d)    no Participant will have any rights (through a right of consent or approval or
                otherwise) to require such Lender to take or refrain from taking any action
                hereunder or under any other Credit Document;

         (e)    no Borrower will be required to pay any amount hereunder that is greater than the
                amount which it would have been required to pay had no participating interest been
                sold; and

         (f)    in the case of any outstanding Bankers’ Acceptances, the Participants execute an
                indemnity agreement in respect of such Bankers’ Acceptances.

         Each U.S. Operating Lender that sells a participation shall, acting solely for this purpose
         as an agent of the U.S. Borrower, maintain a register on which it enters the name and
         address of each Participant in the U.S. Operating Facility and the principal amounts (and
         stated interest) of each Participant’s interest in the Commitments, Outstanding Advances
         or other obligations under the Credit Documents (the “Participant Register”); provided
         that no U.S. Operating Lender shall have any obligation to disclose all or any portion of
         the Participant Register (including the identity of any Participant or any information
         relating to a Participant’s interest in any commitments, loans, letters of credit or its other
         obligations under the Credit Documents) to any Person except to the extent that such
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         disclosure is necessary to establish that such commitment, loan, letter of credit or other
         obligation is in registered form under Section 5f.103-1(c) of the United States Treasury
         Regulations. The entries in the Participant Register shall be conclusive absent manifest
         error, and such U.S. Operating Lender shall treat each Person whose name is recorded in
         the Participant Register as the owner of such participation for all purposes of this
         Agreement notwithstanding any notice to the contrary. For the avoidance of doubt, the
         Agent (in its capacity as Agent) shall have no responsibility for maintaining a Participant
         Register.

         13.6.5 The Agent, acting solely for this purpose as an agent of the U.S. Borrower, shall
         maintain at its office located at 452 Fifth Avenue, 5th Floor, New York, NY 10018, a copy
         of each Assignment delivered to it and a register for the recordation of the names and
         addresses of the U.S. Operating Lenders, and the Commitments of, and principal amounts
         (and stated interest) of the Outstanding Advances owing to, each U.S. Operating Lender
         pursuant to the terms hereof from time to time (the “Register”). The entries in the Register
         shall be conclusive absent manifest error, and the Borrower, the Agent and the U.S.
         Operating Lenders shall treat each Person whose name is recorded in the Register pursuant
         to the terms hereof as a U.S. Operating Lender hereunder for all purposes of this
         Agreement. The Register shall be available for inspection by the Borrowers and any U.S.
         Operating Lender, at any reasonable time and from time to time upon reasonable prior
         notice.

13.7     General Indemnity

        In addition to any liability of the Borrowers to the Lenders under any other provision
hereof, each Borrower will and does hereby, jointly and severally, indemnify each Indemnitee and
hold each Indemnitee harmless against any losses, claims, costs, damages or liabilities (including
reasonable and documented out of pocket expenses and reasonable and documented legal fees on
a solicitor and his own client full indemnity basis of one counsel (but, for the avoidance of doubt,
excluding the allocated costs of in-house counsel) plus one local counsel in each applicable
jurisdiction) incurred by the same as a result of or in connection with: (a) any cost or expense
incurred by reason of the liquidation or re-deployment in whole or in part of deposits or other funds
required by any Lender to fund any Bankers’ Acceptance or to fund or maintain any Advance as a
result of any Borrower’s failure to complete an Advance or to make any payment, repayment or
prepayment on the date required hereunder or specified by it in any notice given hereunder;
(b) subject to permitted or deemed Rollovers and Conversions, any Borrower’s failure to provide
for the payment to the Agent for the account of the Lenders of the full principal amount of each
Bankers’ Acceptance on its Maturity Date; (c) any Borrower’s failure to pay any other amount,
including any interest or fees, due hereunder on its due date after the expiration of any applicable
grace or notice periods; (d) the prepayment of any outstanding Bankers’ Acceptance before the
Maturity Date of such Bankers’ Acceptance; (e) any Borrower’s repayment or prepayment of a
LIBOR Loan otherwise than on the last day of its LIBOR Period; (f) the failure of any Borrower
or any other Credit Party to make any other payment due hereunder or under any of the other Credit
Documents; (g) the occurrence of any other Default or Event of Default and the enforcement of
rights and remedies in connection therewith; (h) any instructions given to any Lender to stop
payment on any cheque issued by any Borrower or to reverse any wire transfer or other transaction
initiated by such Lender at the request of any Borrower; (i) any use of the proceeds of the Facilities,

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including to pay the purchase price of the transaction or any other acquisition; and (j) any claim,
litigation or other proceeding related to the foregoing, regardless of whether such matter is initiated
by a third party or by Holdco, a Borrower or any of their Subsidiaries or Affiliates; provided that
this Section 13.7 will not apply to any losses, claims, costs, damages or liabilities that arise by
reason of (i) the gross negligence or wilful misconduct of the applicable Indemnitee claiming
indemnity hereunder, as determined by a final and non-appealable judgment of a court of
component jurisdiction; or (ii) a material breach of the applicable Indemnitee of its obligations
under the Credit Documents as determined by a final and non-appealable judgment of a court of
competent jurisdiction.

13.8     Environmental Indemnity

         In addition to any other liability of the Borrowers hereunder, each Borrower hereby agrees
to, jointly and severally, indemnify and save harmless the Indemnitees from and against:

         (a)   any losses suffered by them for, in connection with, or as a direct or indirect result
               of, the failure of any Borrower or any of their respective Subsidiaries to comply
               with all Requirements of Environmental Law;

         (b)   any losses suffered by the Indemnitees for, in connection with, or as a direct or
               indirect result of, the presence of any Hazardous Material situated in, on or under
               any property owned by any Borrower or any of their respective Subsidiaries or upon
               which any of them carries on business, specifically including any diminution in
               value of the business, property and assets of such Person; and

         (c)   any and all liabilities, losses, damages, penalties, expenses (including reasonable
               legal fees) and claims which may be paid, incurred or asserted against the
               Indemnitees for, in connection with, or as a direct or indirect result of, any legal or
               administrative proceedings with respect to the presence of any Hazardous Material
               on or under any property owned by any Borrower or any of its respective
               Subsidiaries or upon which any of them carries on business, or the discharge,
               emission, spill, radiation or disposal by any Borrower or any of their respective
               Subsidiaries of any Hazardous Material into or upon any Land, the atmosphere, or
               any watercourse or body of water; including the costs of defending,
               counterclaiming or claiming against third parties in respect of any action or matter
               and any cost, liability or damage arising out of a settlement entered into by the
               Indemnitees of any such action or matter,

except to the extent arising from the gross negligence or wilful misconduct of the applicable
Indemnitee, as determined by a final and non-appealable judgment of a court of component
jurisdiction. For the purpose of this Section 13.8, liabilities means those amounts that are
quantifiable and found to be the responsibility of the Indemnitees either alone or jointly or
severally with others.

13.9     Survival of Certain Obligations despite Termination of Agreement

       The termination of this Agreement shall not relieve the Borrowers from their obligations
to the Agent and the Lenders arising prior to such termination, such as obligations arising as a
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result of or in connection with any breach of this Agreement, any failure to comply with this
Agreement or the inaccuracy of any representations and warranties made or deemed to have been
made prior to such termination, and obligations arising pursuant to all indemnity obligations
contained herein. Without limiting the generality of the foregoing, the obligations of the Borrowers
to the Agent and the Lenders arising under or in connection with Sections 8.5(b), 13.7 and 13.8
shall continue in full force and effect despite any termination of this Agreement.

13.10 Interest on Unpaid Costs and Expenses

        If a Borrower fails to pay when due any amount in respect of costs or expenses or any other
amount required to be paid by it hereunder (other than principal or interest on any Advance), the
Borrowers shall, jointly and severally, pay interest on such unpaid amount from the time such
amount is due until paid at the rate equal to the highest rate of interest then applicable under the
Facilities.

13.11 Notice

        Without prejudice to any other method of giving notice, all communications provided for
or permitted hereunder shall be in writing and delivered to the addressee by prepaid private courier
or sent by facsimile to the applicable address and to the attention of the officer of the addressee as
follows:

         (a)   to the Borrowers:

               Q’Max Solutions Inc.
               11700 Katy Freeway, Suite 200
               Houston Texas 77079
               United States

               Attention:      Chief Financial Officer
               Fax No.         (832) 201-8146

         (b)   to the Agent:

               HSBC Bank Canada, as Agent
               7th Floor, 70 York Street
               Toronto, Ontario
               M5J 1S9

               Attention:      Manager Agency
               Fax No.         (647) 788-2185

               with a copy to (for all notices other than Drawdown Requests, Conversion Notices
               and Rollover Notices):

               HSBC Bank Canada
               5th Floor, 70 York Street


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               Toronto, Ontario
               M5J 1S9

               Attention:      Director
               Fax No.         (647) 788-2185

         (c)   to any Lender, at its addressed noted on Exhibit “A” attached hereto.

Any communication transmitted by prepaid private courier shall be deemed to have been validly
and effectively given or delivered on the Business Day after which it is submitted for delivery.
Any communication transmitted by facsimile shall be deemed to have been validly and effectively
given or delivered on the day on which it is transmitted, if transmitted on a Business Day on or
before 5:00 p.m. (local time of the intended recipient), and otherwise on the next following
Business Day. Any party may change its address for service or other notices, including electronic
communications, by notice given in the foregoing manner. The Parties each covenant to accept
service of judicial proceedings arising under the Credit Documents at its respective address set
forth herein.

13.12 Telephone Instructions

         Any verbal instructions given by a Borrower in relation to this Agreement will be at the
risk of the Borrowers and neither the Agent nor the Lenders will have any liability for any error or
omission in such verbal instructions or in the interpretation or execution thereof by the Agent or a
Lender, as the case may be; provided, that the Agent or Lender, as the case may be, acted without
gross negligence in the circumstances. The Agent will notify the applicable Borrower of any
conflict or inconsistency between any written confirmation of such verbal instructions received
from such Borrower and the said verbal advice as soon as practicable after the conflict or
inconsistency becomes apparent to the Agent.

13.13 Severability

         Any provision of this Agreement which is illegal, prohibited or unenforceable in any
jurisdiction, in whole or in part, shall not invalidate the remaining provisions hereof; and any such
illegality, prohibition or unenforceability in any such jurisdiction shall not invalidate or render
unenforceable such provision in any other jurisdiction.

13.14 Further Assurances

        Each Borrower shall, at its expense, promptly execute and deliver or cause to be executed
and delivered to the Agent upon request, acting reasonably, from time to time all such other and
further documents, agreements, opinions, certificates and instruments in compliance with this
Agreement, or if necessary or desirable to more fully record or evidence the obligations intended
to be entered into herein, or to make any recording, file any notice or obtain any consent.

13.15 Tombstone Marketing

        For the purpose of “tombstone marketing”, each Borrower hereby authorizes and consents
to the reproduction, disclosure and use by the Lenders and the Agent of its name, identifying logo

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and the Facilities to enable the Lenders to publish promotional “tombstones”. Each Borrower
acknowledges and agrees: that the Lenders shall be entitled to determine, in their discretion,
whether to use such information; that no compensation will be payable by the Lenders or the Agent
in connection therewith; and that the Lenders and the Agent shall have no liability whatsoever to
any Borrower or any of its respective employees, officers, directors, Affiliates or shareholders in
obtaining and using such information as contemplated herein.

13.16 Entire Agreement

        This Agreement supersedes all discussion papers, term sheets and other writings issued by
the Agent or the Lenders prior to the date hereof relating to the Facilities; and this Agreement and
any other documents or instruments contemplated herein or therein shall constitute the entire
agreement and understanding among the Borrowers, the Lenders and the Agent relating to the
subject-matter hereof.

13.17 Anti-Money Laundering Legislation

         (a)   Each Borrower acknowledges that, pursuant to the Proceeds of Crime (Money
               Laundering) and Terrorist Financing Act (Canada) and other applicable anti-
               money laundering, anti-terrorist financing, government sanction and “know your
               client” Laws, whether within Canada or elsewhere (collectively, including any
               guidelines or orders thereunder, “AML Legislation”), the Lenders and the Agent
               may be required to obtain, verify and record information regarding the Borrowers,
               Palladium, the other Credit Parties, their respective directors, authorized signing
               officers, direct or indirect shareholders or other Persons in control of the Credit
               Parties or Palladium, and the transactions contemplated hereby. The Borrowers
               shall promptly provide all such information, including supporting documentation
               and other evidence, as may be reasonably requested by any Lender or the Agent, or
               any prospective assignee of a Lender or the Agent, in order to comply with any
               applicable AML Legislation, whether now or hereafter in existence.

         (b)   If, upon the written request of any Lender, the Agent has ascertained the identity of
               a Borrower, Palladium or any Credit Party or any authorized signatories of any
               Borrower or any other Credit Party for the purposes of applicable AML Legislation
               on such Lender’s behalf, then the Agent:

               (i)     shall be deemed to have done so as an agent for such Lender, and this
                       Agreement shall constitute a “written agreement” in such regard between
                       such Lender and the Agent within the meaning of applicable
                       AML Legislation; and

               (ii)    shall provide to such Lender copies of all information obtained in such
                       regard without any representation or warranty as to its accuracy or
                       completeness.

         (c)   Notwithstanding the preceding sentence, each of the Lenders agrees that the Agent
               has no obligation to ascertain the identity of the Borrowers, Palladium or any other
               Credit Party or any authorized signatories of the Borrowers, Palladium or any other
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               Credit Party, on behalf of any Lender, or to confirm the completeness or accuracy
               of any information it obtains from the Borrowers, Palladium or any other Credit
               Party or any such authorized signatory in doing so.

         (d)   Each Lender that is subject to the PATRIOT Act and the Agent (for itself and not
               on behalf of any Lender) hereby notifies the Credit Parties that pursuant to the
               requirements of the PATRIOT Act, it is required to obtain, verify and record
               information that identifies the Credit Parties, which information includes the name,
               address and tax identification number of the Credit Parties and other information
               regarding the Credit Parties that will allow such Lender or the Agent, as applicable,
               to identify the Credit Parties in accordance with the PATRIOT Act. This notice is
               given in accordance with the requirements of the PATRIOT Act and is effective as
               to the Lenders and the Agent.

13.18 Binding Effect

        This Agreement shall be binding upon and shall enure to the benefit of the Parties and their
respective successors and permitted assigns; “successors” includes any corporation resulting from
the amalgamation of any party with any other corporation.

13.19 Execution by Electronic Means and Counterparts

        This Agreement may be executed in several counterparts, each of which, when so executed,
shall be deemed to be an original and which counterparts together shall constitute one and the same
Agreement. This Agreement may be executed by facsimile, pdf or other electronic means, and any
signature contained hereon by facsimile, pdf or other electronic means shall be deemed to be
equivalent to an original signature for all purposes.

13.20 Intercreditor Agreement

       In the event of a conflict between the provisions of this Agreement and the provisions of
the Encina Intercreditor Agreement, the provisions of the Encina Intercreditor Agreement shall
govern.

13.21 Release of Liens and Guarantees.

         (a)   The Agent shall not, during the term of this Agreement, discharge, surrender,
               amend or otherwise modify any Security without the prior written consent of all of
               the Lenders, provided that the Agent may accept additional or supplemental
               Security as provided in the Credit Documents, and shall discharge Security
               provided hereunder in the Permitted Discretion of the Agent with respect to any
               Permitted Disposition or, if applicable, any other transaction permitted by this
               Agreement in respect of which the Agent has received, upon its reasonable request,
               an officer’s certificate of the Canadian Borrower certifying that such disposition or
               other transaction is permitted by this Agreement, together with any other
               information from the Canadian Borrower reasonably required by the Agent, if any
               (and the Agent may rely conclusively on a certificate to that effect provided to it by
               the Canadian Borrower without further inquiry).

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         (b)   The Lenders hereby authorize the Agent, and the Agent hereby agrees, to:

               (i)    discharge the Security at the Borrower’s sole cost and expense, forthwith
                      after all of the Obligations under the Credit Documents (other than
                      contingent obligations intended to survive payout of the Facilities) have
                      been unconditionally and irrevocably paid or performed in full and the
                      Facilities, Credit Documents and all Hedging Agreements have been
                      terminated or, with respect to the Hedging Agreements, collateralized to the
                      satisfaction of the Agent and the applicable Hedge Providers, acting
                      reasonably; and

               (ii)   at the request of the Borrower and upon receipt of the Agent of an officer’s
                      certificate from a senior officer of the Borrower certifying that such
                      disposition is a Permitted Disposition, to discharge that portion of the
                      Security that applies to the property subject to such Permitted Disposition
                      or execute a no interest letter or similar document in connection therewith.

         (c)   As of the Amendment and Restatement Date, the Agent and other Secured Parties
               hereby release each of (x) QMax Ecuador S.A. and (y) Mud Movers Express LLC
               as Guarantors, hereby confirm that all such Subsidiaries’ Obligations are
               discharged, in each case, whether now existing or hereafter arising and whether or
               not matured or contingent, and that the Security granted by such Subsidiaries to the
               Agent is deemed to be released.



                              (SIGNATURE PAGES FOLLOW)




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    EXHIBIT “A” TO THE Q’MAX SECOND AMENDED AND RESTATED CREDIT
           AGREEMENT - LENDERS AND LENDERS’ COMMITMENTS

*All amounts in U.S. $

Lender                               Total                Swing Line    Syndicated
CANADIAN OPERATING FACILITY COMMITMENTS
HSBC Bank Canada             46,018,072.00                10,000,000   36,018,072
Bank of Montreal             29,307,284.00                      N/A    29,307,284
Export Development Canada    25,332,809.00                      N/A    25,332,809
Business Development Canada   9,023,306.00                      N/A     9,023,306
Total                       109,681,471.00                10,000,000   99,681,471

TERM FACILITY COMMITMENTS
Lender                                    Term Facility
HSBC Bank Canada                          8,155,815.93
Bank of Montreal                          4,552,083.49
Business Development Canada                 948,350.58
Total                                    13,656,250.00

U.S. OPERATING FACILITY COMMITMENTS
Lender                                Total
HSBC Bank USA, N.A.           15,000,000.00
Total                         15,000,000.00

TOTAL COMMITMENT – ALL FACILITIES
Lender                               Total
HSBC Bank Canada             54,173,877.93
HSBC Bank USA, N. A.         15,000,000.00
Bank of Montreal             33,859,367.49
Export Development Canada    25,332,809.00
Business Development Canada   9,971,656.58
Total                       138,337,721.00


 Lenders and Addresses for Service:

 (a)         HSBC Bank Canada
             9th Floor, 407-8th Avenue S.W.
             Calgary, Alberta T2P 1E5
             Attn: Senior Corporate Banking Manager
             Fax: (403) 693-8556

 (b)         HSBC Bank USA, N.A.
             6363 N. State Highway 161, Suite 125
             Irving, Texas 75039




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             Attn: Senior Corporate Banking Manager
             Fax: (972) 367-1050

 (c)         Bank of Montreal
             6th Floor, 595 Burrard Street
             Vancouver, British Colombia V7X 1L7
             Attn: Director
             Fax: (403) 234-1688

 (d)         Export Development Canada
             150 Slater Street
             Ottawa, Ontario K1A 1K3
             Attn: Senior Asset Manager
             Fax: (613) 598-3186

 (f)         Business Development Bank of Canada
             110, 444 – 7th Avenue S.W.
             Calgary, AB T2P 0X8
             Attn: Scott Overes or Bobby Chan
             Fax: (403) 292-6951


BA Lenders:              HSBC Bank Canada
                         Bank of Montreal

Non-BA Lenders:          Export Development Canada
                         Business Development Bank of Canada




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      EXHIBIT “B” TO THE Q’MAX SECOND AMENDED AND RESTATED CREDIT
                 AGREEMENT – FORM OF DRAWDOWN REQUEST

To:      HSBC Bank Canada, as Agent (in such capacity, the “Agent”)

Date:

        This Drawdown Request is delivered pursuant to the second amended and restated credit
agreement made among Q’MAX SOLUTIONS INC. and Q’MAX AMERICA INC., as
Borrowers; QMAX CANADA OPERATIONS INC., as Specified Canadian Swingline Borrower;
the Agent and the Lenders (as defined therein), dated as of July 31, 2018 (as amended, restated,
supplemented, replaced or otherwise modified from time to time, the “Credit Agreement”). All
capitalized terms not otherwise defined herein shall have the respective meanings ascribed to them
in the Credit Agreement.



1.       The [Canadian] [U.S.] [NTD: Select applicable] Borrower hereby requests an Advance
         under the [insert applicable Facility] as follows:

             (a)       Facility:

             (b)       Date of Advance:

             (c)       Amount of Advance:

             (d)       Type of Availment Option:

             (e)       If Availment Option is one of the following indicate period
                       requested (30 to 180 days):
                       (i) a Bankers’ Acceptance or BA
                            Equivalent Loan; or
                       (ii) LIBOR Loan.

             (f)       If Letter of Credit requested, attach schedule setting out
                       requested terms:


2.       The [Canadian] [U.S.] [NTD: Select applicable] Borrower hereby certifies that as at the
         date hereof:

         (a)       the representations and warranties in Article 6 of the Credit Agreement are true and
                   correct in all material respects as if made on the date hereof except to the extent
                   such representation and warranty relates to an earlier date in which case the
                   representation and warranty was true and correct as of such date;

         (b)       no Default or Event of Default has occurred and is continuing, nor shall the making
                   of the Advance result in the occurrence of any Default or Event of Default; and


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         (c)   with respect to all of the obligations of the Borrowers under the Credit Agreement
               that were to have been complied with on or prior to the date hereof, the Borrowers
               have complied with all of such obligations in all material respects.

Dated as of the date first written above.



                                                   [NTD: Name of applicable Borrower], as
                                                   Borrower


                                                   By:
                                                         Name:
                                                         Title:




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      EXHIBIT “C” TO THE Q’MAX SECOND AMENDED AND RESTATED CREDIT
                   AGREEMENT - FORM OF ROLLOVER NOTICE

To:                HSBC Bank Canada, as Agent (in such capacity, the “Agent”)

Date:

        This Rollover Notice is delivered pursuant to the second amended and restated credit
agreement made among Q’MAX SOLUTIONS INC. and Q’MAX AMERICA INC., as
Borrowers; QMAX CANADA OPERATIONS INC., as Specified Canadian Swingline Borrower;
the Agent and the Lenders (as defined therein), dated as of July 31, 2018 (as amended, restated,
supplemented, replaced or otherwise modified from time to time, the “Credit Agreement”). All
capitalized terms not otherwise defined herein shall have the respective meanings ascribed to them
in the Credit Agreement.



1.       The [Canadian] [U.S.] [NTD: Select applicable] Borrower hereby requests a Rollover as
         follows:

             (a)         Facility:

             (d)         type of Availment Option:

             (e)         amount of maturing Advance:

             (f)         date of maturing Advance:

             (g)         period requested:

2.       The [Canadian] [U.S.] [NTD: Select applicable] Borrower hereby certifies that as at the
         date hereof no Default or Event of Default has occurred and is continuing, nor shall the
         making of the Advance result in the occurrence of any Default or Event of Default.

Dated as of the date first written above.


                                                     [NTD: Name of applicable Borrower], as
                                                     Borrower


                                                     By:
                                                           Name:
                                                           Title:




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      EXHIBIT “D” TO THE Q’MAX SECOND AMENDED AND RESTATED CREDIT
                  AGREEMENT - FORM OF CONVERSION NOTICE

To:      HSBC Bank Canada, as Agent (in such capacity, the “Agent”)

Date:

        This Conversion Notice is delivered pursuant to the second amended and restated credit
agreement made among Q’MAX SOLUTIONS INC. and Q’MAX AMERICA INC., as
Borrowers; QMAX CANADA OPERATIONS INC., as Specified Canadian Swingline Borrower;
the Agent and the Lenders (as defined therein), dated as of July 31, 2018 (as amended, restated,
supplemented, replaced or otherwise modified from time to time, the “Credit Agreement”). All
capitalized terms not otherwise defined herein shall have the respective meanings ascribed to them
in the Credit Agreement.



1.       The [Canadian] [U.S.] [NTD: Select applicable] Borrower hereby requests a Conversion
         as follows:

             (a)     Facility:

             (b)     type of Availment Option to be converted:

             (c)     amount of maturing Advance:

             (d)     date of maturing Advance:

             (e)     type of Availment Option requested:

             (f)     period requested:


2.       The [Canadian] [U.S.] [NTD: Select applicable] Borrower hereby certifies that as at the
         date hereof no Default or Event of Default has occurred and is continuing, nor shall the
         making of the Advance result in the occurrence of any Default or Event of Default.




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Dated as of the date first written above.

                                                [NTD: Name of applicable Borrower], as
                                                Borrower


                                                By:
                                                      Name:
                                                      Title:




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      EXHIBIT “E” TO THE Q’MAX SECOND AMENDED AND RESTATED CREDIT
                  AGREEMENT - FORM OF REPAYMENT NOTICE

To:      HSBC Bank Canada, as Agent (in such capacity, the “Agent”)

Date:

        This Repayment Notice is delivered pursuant to the second amended and restated credit
agreement made among Q’MAX SOLUTIONS INC. and Q’MAX AMERICA INC., as
Borrowers; QMAX CANADA OPERATIONS INC., as Specified Canadian Swingline Borrower;
the Agent and the Lenders (as defined therein), dated as of July 31, 2018 (as amended, restated,
supplemented, replaced or otherwise modified from time to time, the “Credit Agreement”). All
capitalized terms not otherwise defined herein shall have the respective meanings ascribed to them
in the Credit Agreement.



The [Canadian] [U.S.] [NTD: Select applicable] Borrower hereby irrevocably commits to
make a Repayment as follows:

             (a)     Facility:

             (b)     Date of Repayment:

             (c)     Amount of Repayment:

             (d)     Type of Availment Option to be repaid:



Dated as of the date first written above.



                                                   [NTD: Name of applicable Borrower], as
                                                   Borrower


                                                   By:
                                                         Name:
                                                         Title:




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      EXHIBIT “F” TO THE Q’MAX SECOND AMENDED AND RESTATED CREDIT
              AGREEMENT - FORM OF COMPLIANCE CERTIFICATE1

TO:              HSBC Bank Canada, as Agent (in such capacity, the “Agent”)

DATE:

        This Compliance Certificate is delivered pursuant to the second amended and restated
credit agreement made among Q’MAX SOLUTIONS INC. and Q’MAX AMERICA INC., as
Borrowers; QMAX CANADA OPERATIONS INC., as Specified Canadian Swingline Borrower;
the Agent and the Lenders (as defined therein) dated July 31, 2018 (the “Credit Agreement”).
Terms used herein with initial capital letters (other than for grammatical purposes) and not
otherwise defined shall have the respective meanings ascribed thereto in the Credit Agreement.
______________________________________________________________________________

1.        The following are the financial ratios and covenants in respect of the Canadian Borrower
          on a consolidated basis, calculated in accordance with the provisions of the Credit
          Agreement, as at the end of the [Fiscal Quarter/Fiscal Year] ended [________] (the
          “Calculation Date”) (or in respect of the financial period(s) ended on such date, as
          indicated below):

          (a)    Net Leverage Ratio:

          (b)    Fixed Charge Coverage Ratio:

          (c)    Unadjusted EBITDA:

          (d)    Capital Expenditures as a percentage of the estimated maximum amount set forth
                 in the annual Capital Expenditure program made during the current Fiscal Year:
                         .

2.        Attached hereto as Exhibit 1 is a detailed calculation of each of the components comprising
          the financial ratios described in clauses 1(a), 1(b) and 1(c) above.

3.        As of the Calculation Date, the aggregate amount of Earnout Payments paid during the
          twelve month period ending on the Calculation Date is $______.

4.        The Credit Parties’ aggregate notional amount under their Interest Rate Hedging
          Agreements as of the Calculation Date is                            . The details of all
          Hedging Agreements of the Credit Parties are as set out in Exhibit 2 hereto.

5.        The aggregate amount of Insurance Proceeds received [during the current Fiscal Year
          as of the Calculation Date][as at the end of the Fiscal Year] was U.S.
          $             .


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    [NTD: Subject to QMax and PW ongoing review.]



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6.       The aggregate amount of Sales Proceeds received [during the current Fiscal Year as of
         the Calculation Date][as at the end of the Fiscal Year] was U.S. $           .

7.       Attached hereto as Exhibit 3 is a detailed calculation of the Capital Expenditures described
         in clauses 1(c) above.

8.       [This paragraph is applicable only if a Specified Equity Contribution was made in the
         most recently ended Fiscal Quarter in a Fiscal Year. ] The number of Specified Equity
         Contributions made as of the date is [one/two/three/four] and the aggregate amount of all
         such Specified Equity Contributions is U.S. $                      .

9.       All new material business locations and any changes to the corporate information of any
         Credit Party that differs from that set out in Schedule 6.1.2 of the Credit Agreement or any
         previously delivered Compliance Certificate are as set out in Exhibit 4A hereto.

10.      All Subsidiaries of Holdco and the Canadian Borrower and any changes to the designation
         of such Subsidiaries as Material Subsidiaries or Unrestricted Subsidiaries that differs from
         that set out in Schedule 6.1.3 of the Credit Agreement or any previously delivered
         Compliance Certificate are as set out in Exhibit 4B hereto.

11.      The EBITDA and ownership of assets required pursuant to Section 7.1.16 of the Credit
         Agreement are as follows:

         (a)    The Canadian Borrower’s EBITDA determined on a consolidated basis is equal to:
                                          .

         (b)    The EBITDA directly attributed to the Credit Parties determined on an
                unconsolidated but combined basis is equal to:                  .

         (c)    The EBITDA directly attributed to the OECD Credit Parties determined on a
                consolidated basis is equal to:                     .

         (d)    The percentage of the Consolidated Net Tangible Assets of the Canadian Borrower
                (based on the amount thereof set forth in the financial statements most recently
                delivered) that are legally, beneficially and directly owned by the Credit Parties is
                equal to:                               .

         Attached hereto as Exhibit 5 is a detailed calculation of the EBITDA described in clauses
         11(a), (b) and (c) above and the Consolidated Net Tangible Assets described in clause 11(d)
         above.

12.      [This paragraph is applicable only if this Compliance Certificate is given in respect
         of the last Fiscal Quarter in a Fiscal Year.]Colombian Free Cash Flow for such Fiscal
         year is _________________ and Distributions representing _______________% of such
         Colombian Free Cash Flow have been made to Credit Parties whose governing
         jurisdictions are in Canada, the United States of America or Barbados. Attached hereto as
         Exhibit 6 is a detailed calculation of the Colombian Free Cash Flow and the details of the
         Distributions described in the foregoing sentence.

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13.      Shareholders’ Equity as at the end of the [Fiscal Quarter/Fiscal Year] was
         $________________, and the aggregate amount of all Acquisitions made pursuant to
         Section 7.2.3(i) of the Credit Agreement as at the end of the [Fiscal Quarter/Fiscal Year]
         was equal to ___________% of such Shareholders’ Equity. Attached hereto as Exhibit 7 is
         a detailed calculation of the aggregate amount of such Acquisitions and the percentage of
         Shareholders’ Equity represented by same, together with the details of the Acquisitions
         described in the foregoing sentence.

14.      The undersigned officer of the Canadian Borrower hereby certifies on behalf of the
         Canadian Borrower and without personal liability that as at the date hereof:

         (a)    the foregoing information and all information contained in the attachments hereto
                was true, correct and complete as at the end of the [Fiscal Quarter/Fiscal Year];

         (b)    the Borrowers have complied in all material respects with all of their obligations
                under the Credit Agreement; and

         (c)    no Default or Event of Default has occurred and is continuing.

Dated as of the date first written above.

                                                     Q’Max Solutions Inc., as Canadian Borrower


                                                     By:
                                                           Name:
                                                           Title:




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                     EXHIBIT 1 - DETAILED CALCULATIONS
                         OF FINANCIAL COVENANTS




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                               EXHIBIT 2 – HEDGING AGREEMENTS

                     Applicable to the Fiscal Quarter ending __________________

     (Note: List all Hedging Agreements to which the Borrower or any Credit Party is a party)


      Deal Type        Counterparty   Notional   Start   Maturity   Mark-to      Deal
                                      Amounts    Date     Date      Market    Description

      Currency

     Interest Rate
                                                          TOTAL:




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                      EXHIBIT 3 - CAPITAL EXPENDITURES




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                    EXHIBIT 4A – NEW BUSINESS LOCATIONS/
                     CHANGES TO MATERIAL SUBSIDIARIES




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                    EXHIBIT 4B – CHANGES TO SUBSIDIARIES
                             AND DESIGNATIONS




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                  EXHIBIT 5 – EBITDA/OWNERSHIP OF ASSETS




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                   EXHIBIT 6 - COLOMBIAN FREE CASH FLOW
                        AND DISTRIBUTIONS OF SAME




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                      EXHIBIT 7 - SHAREHOLDERS’ EQUITY
                              AND ACQUISITIONS




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     EXHIBIT “G” TO THE Q’MAX SECOND AMENDED AND RESTATED CREDIT
              AGREEMENT - FORM OF ASSIGNMENT AGREEMENT

TO:             HSBC Bank Canada (“HSBC”), as Agent

AND TO:         The Lenders

AND TO:         The Borrowers

AND TO:         The Issuing Banks

AND TO:         The Swingline Lender

RE:             Second Amended and Restated Credit Agreement (the “Credit Agreement”) dated
                as of July 31, 2018 among Q’MAX SOLUTIONS INC. and Q’MAX AMERICA
                INC., as borrowers (collectively, the “Borrowers”); QMAX CANADA
                OPERATIONS INC., as Specified Canadian Swingline Borrower; the Lenders (as
                defined therein) and HSBC, as administrative agent for the Lenders (the “Agent”).

DATE:           [] (the “Effective Date”)

         Unless otherwise indicated, capitalized terms defined in the Credit Agreement have the
         same meanings when used herein.

1.       [Name of assignee lender] (the “Assignee”) acknowledges that its proper officers have
         received and reviewed a copy of the Credit Agreement and the other Credit Documents
         and further acknowledges the provisions of the Credit Agreement and the other Credit
         Documents.

2.       The Assignee desires to become a Lender under the Credit Agreement. Effective on the
         Effective Date, [Name of assigning lender] (the “Assignor”) has agreed to and does
         hereby sell, assign and transfer to the Assignee, and the Assignee hereby irrevocably
         purchases and assumes, an interest in [the Term Facility/the Canadian Operating
         Facility/the U.S. Operating Facility], the Assignee assumes the obligations of the
         Assignor in respect of the Assignor’s Commitment under [the Term Facility/the
         Canadian Operating Facility/the U.S. Operating Facility] to the extent of $[] of such
         commitment (the “Assigned Commitment”), and a share of the rights of the Assignor as
         a Lender under the Credit Agreement to the extent of the Assigned Commitment, including
         a share (the “Pro Rata Share”) of the rights of the Assignor with respect to the
         Outstanding Advance owing to the Assignor under [the Term Facility/the Canadian
         Operating Facility/the U.S. Operating Facility] equal to the proportion that the amount
         of the Assigned Commitment bears to $[] (being the amount of the Commitment of the
         Assignor under [the Term Facility/the Canadian Operating Facility/the U.S.
         Operating Facility] on the Effective Date prior to the assignment and transfer under this
         Assignment) (the Assigned Commitment and such Pro Rata Share are referred to herein as
         the “Assigned Interest”); and, accordingly, the Assignee has agreed to execute this
         Assignment and deliver an original of it to the Agent.



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3.       The Assignee, by its execution and delivery of this Assignment, agrees that from and after
         the date hereof it will be a Lender under the Credit Agreement to the extent of the Assigned
         Commitment and the Proportionate Share and agrees to be bound by and to perform, where
         required, all of the terms, conditions and covenants of the Credit Agreement and the other
         Credit Documents applicable to a Lender; but its liability to make Advances will be limited
         to its share of such Advances based upon its Commitment identified in paragraph [4]
         below, subject to the provisions of the Credit Agreement under [the Term Facility/the
         Canadian Operating Facility/the U.S. Operating Facility].

4.       The Assignee confirms that its Commitment under [the Term Facility/the Canadian
         Operating Facility/the U.S. Operating Facility] will be as follows:

[State amount in U.S. Dollars.]

5.       The Assignee agrees to assume all liabilities and obligations of the Assignor as a Lender
         under the Credit Agreement and the other Credit Documents to the extent of the Assigned
         Interest as provided for herein and the Assignor is hereby released and discharged from
         such obligations and liabilities to the same extent but only in respect of such obligations
         and liabilities arising from and after the Effective Date.

6.       The Assignor: (a) represents and warrants that: (i) it is the legal and beneficial owner of
         the Assigned Interest; (ii) the Assigned Interest is free and clear of any lien, encumbrance
         or other adverse claim; and (iii) it has full power and authority, and has taken all action
         necessary, to execute and deliver this Assignment and to consummate the transactions
         contemplated hereby; and (b) assumes no responsibility with respect to: (i) any statements,
         warranties or representations made in or in connection with the Credit Agreement or any
         other Credit Document; (ii) the execution, legality, validity, enforceability, genuineness,
         sufficiency or value of the Credit Documents; (iii) the financial condition of any of the
         Credit Parties or any other Person obligated in respect of any Credit Document; or (iv) the
         performance or observance by any of the Credit Parties or any other Person of any of their
         respective obligations under any Credit Document.

7.       The Assignee: (a) represents and warrants that: (i) it has full power and authority, and has
         taken all action necessary, to execute and deliver this Assignment and to consummate the
         transactions contemplated hereby and to become a Lender under the Credit Agreement;
         and (ii) it has received a copy of the Credit Agreement, copies of the most recent financial
         statements of the Canadian Borrower delivered pursuant to the Credit Agreement and such
         other documents and information as it has deemed appropriate to make its own credit
         analysis and decision to enter into this Assignment and to purchase the Assigned Interest
         on the basis of which it has made such analysis and decision independently and without
         reliance on the Agent or any other Lender; and (b) agrees that: (i) from and after the
         Effective Date, it shall be bound by the provisions of the Credit Agreement as a Lender
         thereunder and, to the extent of the Assigned Interest, shall have the obligations of a Lender
         thereunder; (ii) it will, independently and without reliance on the Agent, the Assignor or
         any other Lender, and based on such documents and information as it shall deem
         appropriate at the time, continue to make its own credit decisions in taking or not taking
         action under the Credit Documents; and (iii) it will perform in accordance with their terms

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         all of the obligations which by the terms of the Credit Documents are required to be
         performed by it as a Lender.

8.       From and after the Effective Date, the Agent shall make all payments in respect of the
         Assigned Interest (including payments of principal, interest, fees and other amounts) to the
         Assignee whether such amounts have accrued prior to, on or after the Effective Date. The
         Assignor and the Assignee shall make all appropriate adjustments in payments by the
         Agent for periods prior to the Effective Date or with respect to the making of this
         assignment directly between themselves.

9.       Notices will be given to the Assignee in the manner provided for in the Credit Agreement
         at the following address:

         []
         Attention:     []
         Facsimile:     []

10.      This Assignment shall be binding upon, and inure to the benefit of, the parties hereto and
         their respective successors and permitted assigns. This Assignment may be executed in any
         number of counterparts, which together shall constitute one instrument. Delivery of an
         executed counterpart of a signature page of this Assignment by telecopy or by sending a
         scanned copy by electronic mail shall be effective as delivery of a manually executed
         counterpart of this Assignment. This Assignment shall be governed by, and construed in
         accordance with, the Laws in force in the Province of Alberta from time to time.

DATED effective the date and year first above written.

                                                         [Name of Assignee]


                                                         Per:
                                                         Name:
                                                         Title:
                                                ***

The Assignor hereby acknowledges the above Assignment and agrees that its individual
commitment amount is reduced by an amount equal to the commitment assigned to the assignee
hereby.

DATED at Calgary, Alberta effective the date first above written.

                                                         [Name of Assignor]


                                                         Per:
                                                         Name:
                                                         Title:


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Consented to and acknowledged effective the date and year first above written by:


 HSBC BANK CANADA, as Agent and                    Q’MAX SOLUTIONS INC., as Canadian
 Swingline Lender                                  Borrower


 By:                                               By:
        Name:                                            Name:
        Title:                                           Title:


 HSBC BANK USA, NATIONAL
 ASSOCIATION, as Issuing Bank under U.S.           Q’MAX AMERICA INC., as U.S. Borrower
 Operating Facility

                                                   By:
 By:                                                     Name:
        Name:                                            Title:
        Title:

 [NTD: In the event of any assignment to
 Palladium or any Affiliate thereof, all
 Lenders to be added as additional
 signatories as requires their consent]




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      EXHIBIT “H” TO THE Q’MAX SECOND AMENDED AND RESTATED
     CREDIT AGREEMENT – FORM OF BORROWING BASE CERTIFICATE2

TO:              HSBC Bank Canada, as Agent (in such capacity, the “Agent”)

DATE:

This Borrowing Base Certificate is delivered pursuant to the Second Amended and
Restated Credit Agreement made among Q’MAX SOLUTIONS INC. and Q’MAX
AMERICA INC., as Borrowers; QMAX CANADA OPERATIONS INC., as Specified
Canadian Swingline Borrower; the Agent and the Lenders dated as of July 31, 2018 (the
“Credit Agreement”).


This Borrowing Base Certificate is delivered pursuant to Section 7.4(a) of the Credit
Agreement.

The Canadian Borrower hereby certifies that:

          (a)    This Borrowing Base Certificate is current to ____________________,
                 20_____ (the “Effective Date”).

          (b)    I am familiar with the provisions of the Credit Agreement and I have made
                 or caused to be made under my supervision such reasonable investigations
                 of corporate records and inquiries of other officers and personnel of the
                 Credit Parties as I have deemed necessary for purposes of this Borrowing
                 Base Certificate.

          (c)    As of the Effective Date, the Borrowing Base was U.S.
                 $________________, the detailed calculations of which are attached hereto
                 as Exhibit 1.

          (d)    As at the Effective Date, the percentage of Insured Receivables arising from
                 the Eligible Approved Contracts is _______________%. Attached hereto
                 as Exhibit 2 is a detailed calculation of the Insured Receivables arising from
                 the Eligible Approved Contracts, including a listing of any contract from
                 which more than 10% of the Canadian Borrower’s annual revenue was
                 derived from (based on the most recent income statement of the Borrower).

Capitalized words and phrases used herein and not otherwise defined herein have the
meanings attributed to them in or for the purposes of the Credit Agreement.

The Canadian Borrower has caused this Borrowing Base Certificate to be executed and
delivered, and the certification contained herein to be made, by a duly authorized officer
as of the date first written above.


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    [NTD: Subject to QMax and PW ongoing review.]



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Dated effective the date first above written.

                                                    Q’Max Solutions Inc., as Canadian Borrower


                                                    By:
                                                          Name:
                                                          Title:




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                         EXHIBIT 1 - CALCULATION OF BORROWING BASE

     Summary

1.     Marginable Receivables

       (a)        90% of Insured Receivables (or such lower
                  percentage as is covered by the applicable Account
                  Receivable Insurance) (not to exceed $175,000,000)      + $____________________

       (b)        85% of Eligible Receivables owed to a Credit Party
                  by Acceptable Account Debtors                           + $____________________

       (c)        75% of all other Eligible Receivables                   + $____________________

       (d)        90% of Insured Receivables from Pemex
                  outstanding more than 300 days, but not more than
                  540 days, in respect of contract numbers
                  423023819 and 423023813 between Pemex
                  Exploracion y Produccion and Qmax Mexico, S.A.
                  de C.V., dated April 22, 2014 and July 17, 2013,
                  respectively, and contract number 423023813,
                  dated July 25, 2013, between Pemex Exploracion y
                  Produccion and Qmax Mexico, S.A. de C.V. (in
                  each case, as may be amended or otherwise
                  modified from time to time)                              $____________________

                                                                                                     $

2.     Marginable Inventory

       (a)        50% of Eligible Inventory (not           to   exceed
                  $35,000,000)                                                                      +$

3.     Marginable Cash

       (a)        100% of Eligible Cash (not to exceed $15,000,000)                                 +$

4.     Marginable Capital Assets

       (a)        60% of the net book value of Eligible Capital Assets,
                  up to a maximum amount of $50,000,000 less the
                  amount of each completed Anchor Sale and
                  Leaseback Transaction; provided that, reductions
                  resulting from Anchor Sale and Leaseback
                  Transactions shall not reduce the amount available
                  below U.S. $30,000,000                                                            +$

5.     Priority Claims                                                                              -$


6.     $150,000 (only until such time as the Agent and HSBC USA                                     -$175,000
       have received an environmental report or other information
       from or on behalf of Anchor concerning the Norge, Oklahoma,
       Roosevelt, and Utah properties owed by the Credit Parties
       which is satisfactory to both the Agent and HSBC USA (acting
       reasonably), and the Agent and HSBC USA agree to no longer
       require this reserve).


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 7.       The amount in U.S. Dollars of unrealized losses resulting from
          mark to market accounting for hedging activities calculated in
          accordance with GAAP.                                            -$

 8.       The amount in U.S. Dollars of any deductible payable in
          respect of the Account Receivable Insurance (other than in
          respect of Anchor, Terra and their respective Subsidiaries).     -$

 9.       Any amount that is payable to the insurer under the Account
          Receivable Insurance (other than in respect of Anchor, Terra
          and their respective Subsidiaries).                              -$

 10.      x                                                                =$

 Borrowing Base (if x is greater than or equal to the Commitment)          =$

                                                                           +$10,000,000

 Borrowing Base (if x is less than the Commitment)                         =$

Details of the foregoing are shown attached hereto.




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             EXHIBIT 2 – CALCULATION OF INSURED RECEIVABLES
               ARISING FROM ELIGIBLE APPROVED CONTRACTS




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EXHIBIT “I” TO THE Q’MAX SECOND AMENDED AND RESTATED CREDIT
           AGREEMENT - FORM OF DESIGNATION NOTICE

TO:             HSBC Bank Canada, as Agent for the Lenders under the Credit
                Agreement (in such capacity, the “Agent”)
DATE:

Re:     Second Amended and Restated Credit Agreement dated as of July 31, 2018 among
Q’MAX SOLUTIONS INC. and Q’MAX AMERICA INC., as borrowers (collectively, the
“Borrowers”); QMAX CANADA OPERATIONS INC., as Specified Canadian Swingline
Borrower; those financial institutions which are or hereafter become lenders thereunder
(collectively, the “Lenders”) and HSBC BANK CANADA, as administrative agent for the
Lenders (in such capacity, together with its successors and assigns in such capacity, the
“Agent”) (as amended from time to time, the “Credit Agreement”).


1.       Capitalized terms in this Notice shall have the meanings set out in the Credit
         Agreement.

2.       [Pursuant to Section 7.5 of the Credit Agreement, the undersigned hereby
         designates [Name of Subsidiary] as a Material Subsidiary under and for the
         purposes of the Credit Agreement and the other Credit Documents.

         -or-
         Pursuant to Section 7.5 of the Credit Agreement, the undersigned hereby
         designates [Name of Subsidiary] (currently a Material Subsidiary) as an
         Unrestricted Subsidiary under and for the purposes of the Credit Agreement
         and the other Credit Documents.]

3.       [No Default or Event of Default has occurred and is continuing and no Default
         or Event of Default would result from or exist immediately after such a
         designation. –or–

         The exercise of the Borrower’s discretion under paragraph 2 above would
         cause such Default or Event of Default to be cured and no Default or Event of
         Default would result from or exist immediately after such designation.]

4.       The undersigned is entitled pursuant to the terms of the Credit Agreement to make
         the designation referenced in this Notice.

5.       The Material Subsidiaries and Unrestricted Subsidiaries under and for the purposes
         of the Credit Agreement and the Credit Documents as of the date hereof are as set
         forth in Exhibit A to this Notice.




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This Notice is given on the date first above written.

                                                    Q’Max Solutions Inc., as Canadian Borrower


                                                    By:
                                                          Name:
                                                          Title:




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             EXHIBIT A - MATERIAL AND UNRESTRICTED SUBSIDIARIES




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    EXHIBIT “J” TO THE Q’MAX SECOND AMENDED AND RESTATED CREDIT
           AGREEMENT – FORM OF SUBORDINATION AGREEMENT



               SUBORDINATION AND POSTPONEMENT AGREEMENT

[NTD: Template form for use in Canadian law context. To be revised as required for
Subordinated Indebtedness under jurisdictions outside of Canada to reflect
requirements in applicable jurisdiction, as reasonably satisfactory to the Borrowers and
Agent.]


               THIS AGREEMENT dated as of the [] day of [], 20[],

AMONG:

               HSBC BANK CANADA, in its capacity as administrative agent
               under the Senior Credit Agreement (together with is successors and
               assigns in such capacity, the “Agent”)

                                                - and -

               [], a [] formed under the laws of the [] (together with its
               successors and permitted assigns, the “Subordinated
               Lender”)[NTD: Insert description of applicable Subordinated
               Lender.]
                                                - and -

               [], a [] formed under the laws of the [] ([collectively,] together
               with [their respective/its] successors and permitted assigns, the
               “Debtor[s]”)[NTD: Insert description of applicable Credit Party
               which is the Debtor.]

PREAMBLE:

              WHEREAS the Debtor is indebted to the Senior Lenders for repayment of the
Senior Indebtedness and as security for such, the Debtor has granted, and in the future may grant,
the Senior Security to the Agent on behalf of the Senior Lenders to secure the repayment of the
Senior Indebtedness;

               AND WHEREAS the Debtor is indebted to the Subordinated Lender for repayment
of the Subordinated Indebtedness;

                AND WHEREAS the Subordinated Lender has agreed to subordinate and
postpone its interests in and to all of the Subordinated Indebtedness, to and in favour of the interests
of the Senior Lenders under the Senior Indebtedness.




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AGREEMENT:

             NOW THEREFORE in consideration of the mutual covenants herein contained,
and other good and valuable consideration (the receipt and sufficiency of which is hereby
acknowledged), the parties hereby covenant and agree as follows:

1.       In this Agreement, capitalized words and phrases used but not otherwise defined herein
         have the meanings given to them in the Senior Credit Agreement. In addition, the following
         terms shall have the meaning set forth below:

         (a)    “Collateral” shall mean all assets and properties of any kind or character
                whatsoever, real or personal, tangible or intangible, and wherever located, whether
                now owned or hereafter acquired, upon which a Lien is now or hereafter granted
                by the Debtor in favour of any as security for all or any portion of the Senior
                Indebtedness;

         (b)    “Event of Default” shall mean each “Event of Default”, as such term is defined in
                the Senior Credit Agreement or the Subordinated Loan Documents, as
                applicable[NTD: To be revised as required to reflect equivalent terminology to
                Event of Default under Subordinated Loan Documents];

         (c)    “Lien Enforcement Action” shall mean, (i) the taking of any action to enforce any
                Lien in respect of the Collateral, including the institution of any foreclosure
                proceedings, the provision of notice of any public or private sale or other
                disposition pursuant to the PPSA or any diligently pursued in good faith attempt to
                vacate or obtain relief from stay or other injunction restricting any other action
                described in this definition, (ii) the exercise of any right or remedy provided to a
                secured creditor under the Senior Security (including, in either case, any delivery
                of any notice to otherwise seek to obtain payment directly from any account debtor
                of the Debtor or the taking of any action or the exercise of any right or remedy in
                respect of the setoff or recoupment against the Collateral or proceeds of Collateral
                or the appointment of a receiver or receiver and manager), under applicable Laws,
                at equity, in an Insolvency Event or otherwise, including the acceptance of
                Collateral in full or partial satisfaction of a Lien, (iii) after the occurrence and
                during the continuance of a demand or an Event of Default, the sale, assignment,
                transfer, lease, license or other disposition of all or any portion of the Collateral, by
                private or public sale or any other means, (iv) the exercise of any other enforcement
                right relating to the Collateral (including the exercise of any voting rights relating
                to any capital stock composing a portion of the Collateral) whether under the Senior
                Security, under Applicable Law of any jurisdiction, in equity, in or as a result of an
                Insolvency Event, or otherwise or (v) the commencement of, or the joinder with
                any creditor in commencing, any Insolvency Event against the Debtor or any assets
                of the Debtor;

         (d)    “PPSA” shall mean the Personal Property Security Act (Alberta), including the
                regulations thereto, provided that, if perfection or the effect of perfection or non-
                perfection or the priority of any Lien created hereunder on the Collateral is
                governed by the personal property security legislation or other applicable


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                legislation with respect to personal property security as in effect in a jurisdiction
                other than Alberta, “PPSA” means the Personal Property Security Act or such other
                applicable legislation as in effect from time to time in such other jurisdiction for
                purposes of the provisions hereof relating to such perfection, effect of perfection or
                non-perfection or priority;[NTD: To be revised to reflect applicable jurisdiction
                if other than Alberta.]

         (e)    “Senior Credit Agreement” means the second amended and restated credit
                agreement dated as of July 31, 2018 among Q’Max Solutions Inc. and Q’Max
                America Inc., as joint and several borrowers; QMax Canada Operations Inc., as
                Specified Canadian Swingline Borrower; the financial institutions a party thereto
                from time to time as Lenders; and the Agent, as the same may be amended, restated,
                supplemented or replaced from time to time;

         (f)    “Senior Indebtedness” means, collectively, all the indebtedness, liabilities and
                obligations of the Debtor to the Senior Lenders, present or future, absolute or
                contingent, matured or unmatured, direct or indirect and whether secured or
                unsecured (including, without limitation, pursuant to the Senior Credit Agreement,
                the other Credit Documents, the Hedging Agreements and the Banking Service
                Agreements);

         (g)    “Senior Lenders” means, collectively, the Agent, the Lenders, the Hedge Providers and
                the Affiliates of the Agent and Lenders which are party to any Banking Services
                Agreements from time to time, and their respective successors and assigns;

         (h)    “Senior Security” means all security now held by the Agent on behalf of the Senior
                Lenders, or in the future, granted by the Debtor to the Agent on behalf of the Senior
                Lenders which in any manner secures the payment, performance or discharge of the
                Senior Indebtedness;

         (i)    “Subordinated Indebtedness” means all the indebtedness of the Debtor to the
                Subordinated Lender in connection with the Subordinated Loan Documents; and

         (j)    “Subordinated Loan Documents” means the [insert description] dated as of
                [insert date] granted by the Debtor in favour of the Subordinated Lender, a true
                and complete copy of which is attached hereto as Exhibit 1, and all security
                agreements, mortgages, debentures, pledge agreements, assignments and every
                other instrument which is provided in connection therewith.

2.       Subject to Section 3, the Debtor and the Subordinated Lender hereby covenant and agree
         that the payment of all Subordinated Indebtedness is hereby unconditionally and
         irrevocably deferred, postponed and subordinated in all respects to the prior indefeasible
         payment in full by the Debtor of all the Senior Indebtedness and until the Senior
         Indebtedness has been indefeasibly paid and performed in full and the Loan Documents
         have been terminated, no direct or indirect, distribution, payment (including, but not
         limited to, principal, interest and fees), prepayment or repayment on account of, or other
         distribution in respect of, the Subordinated Indebtedness shall be made by, or on behalf of,
         the Debtor or received by, or on behalf of, the Subordinated Lender.


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3.       Notwithstanding the foregoing, the Debtor may make (i) scheduled interest payments on
         the Subordinated Indebtedness and payments of fees in accordance with the terms of the
         Subordinated Loan Documents and (ii) scheduled principal payments of the Subordinated
         Indebtedness in accordance with the terms of the Subordinated Loan Documents; provided
         that in each case there exists no Default or Event of Default (as such terms are defined in
         the Senior Credit Agreement) at the time of such payment and the making of such payment
         will not result in the occurrence thereof, and the Subordinated Lender may receive such
         payments free and clear until such time as the delivery of a Default Notice to the
         Subordinated Lender from the Agent which has not been rescinded.

4.       The subordination and postponement set out in this Agreement shall apply notwithstanding
         any of the following:

         (a)    the dates of execution, attachment, delivery, registration, recordation, filing,
                perfection or notification with respect to any of the Senior Security, the Senior
                Credit Agreement, any other Credit Documents, any Hedging Agreements, any
                Banking Service Agreements or any Senior Loan Documents;

         (b)    the date of any advance or advances of all or any portion of the Senior Indebtedness
                to the Debtor from the Senior Lenders and the Subordinated Indebtedness from the
                Subordinated Lender or the date or dates any such amount or amounts arose or may
                hereafter arise, and the date or dates upon which the obligations secured by the
                Senior Security arise or become due;

         (c)    the time of crystallization of any Lien granted pursuant to the Senior Security;

         (d)    the timing of enforcement or realization of the Senior Security;

         (e)    failure, inadequate or ineffective registration, recordation, filing or notification with
                respect to any Lien granted pursuant to the Senior Security;

         (f)    that the amount of the obligations secured by the Senior Security may change from
                time to time;

         (g)    the extension of time being given to any Debtor or any other change in the terms of
                the Senior Credit Agreement, the Senior Security, any other Credit Documents, any
                Hedging Agreements, any Banking Service Agreements or any Subordinated Loan
                Documents;

         (h)    any compromise, arrangement or plan of debt restructuring or reorganization
                affecting the Debtor;

         (i)    the release of any Person liable as a surety, guarantor or otherwise in respect of the
                Subordinated Indebtedness or the Senior Indebtedness;

         (j)    the omission or refraining from proving the claim or any part of the claim of the
                Senior Lenders or the Subordinated Lender in any bankruptcy, winding-up,
                liquidation, arrangement, compromise or other proceeding involving the Debtor;



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         (k)    the priority granted by any principle of law or any statute, including any applicable
                real property or personal property security legislation; and

         (l)    any other fact, matter or defect which, but for this Agreement, would impact on the
                subordination and postponement herein provided.

5.       The Subordinated Lender hereby consents to the incurrence by the Debtor of the Senior
         Obligations, the entering into of the Senior Credit Agreement, the Senior Security, the other
         Loan Documents, the Hedging Agreements and the Banking Service Agreements,
         including in each case any amendments thereto from time to time hereafter, and to the
         granting of security interests and floating charges by the Debtor to the Senior Lenders over
         the Collateral pursuant to the Senior Security.

6.       The Agent hereby consents the incurrence by the Debtor of the Subordinated Indebtedness
         and to the entering into of the Subordinated Loan Documents, subject to Section 11(b) of
         this Agreement.

7.       The Subordinated Lender hereby waives any requirement for marshalling of assets by the
         Agent in connection with any foreclosure of any security interest or any other realization
         upon Collateral in respect of the Senior Security, or any exercise of any rights of setoff or
         otherwise.

8.       The Senior Lenders and the Subordinated Lender assume all responsibility for keeping
         themselves informed as to the condition (financial or otherwise) of the Debtor, the
         condition of the Collateral and other circumstances and, except for notices expressly
         required by this Agreement.

9.       The Agent may enforce the provisions of the Senior Security and exercise remedies
         thereunder, all in such order and in such manner as it may determine in the exercise of its
         sole discretion and business judgment, including, without limitation, the exclusive right to
         take or retake control or possession of such Collateral, to hold, prepare for sale, process,
         sell, lease, dispose of, or liquidate the Collateral, the rights of an agent appointed by the
         Agent to dispose of the Collateral, to incur expenses in connection with such disposition,
         and to exercise all the rights and remedies of a secured creditor under applicable Laws.

10.      Concurrently with the giving thereof to the Debtor, each of the Agent and the Subordinated
         Lender shall give the other (i) a copy of any written notice by such person of a demand
         being made under, or an Event of Default under, the Senior Credit Agreement or the
         Subordinated Loan Documents, as the case may be, or written notice of an acceleration
         thereunder to the Debtor, and (ii) a copy of any written notice sent by such party to the
         Debtor at any time a demand or Event of Default exists stating such person’s intention to
         exercise any action to the extent permitted hereunder, and any legal process served or filed
         in connection therewith (each a “Default Notice”); provided, that, that failure of any party
         to give notice as required hereby shall not result in liability for failure to do so and shall
         not affect the relative priorities of the Senior Lenders and the Subordinated Lender as
         provided herein or the validity or effectiveness of any such notice as against the Debtor.
         Each of the Agent and the Subordinated Lender also agree to provide a written notice of
         rescission, waiver or withdrawal of any outstanding Default Notice promptly after the


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         demand or the Event of Default which gave rise to the Default Notice has been cured or
         waived, as applicable.

11.      Until such time as this Agreement is terminated and of no further force and effect:

         (a)    the Subordinated Lender covenants and confirms in favour of the Senior Lenders
                that it will not take from the Borrower any security for the payment of or
                performance of obligations in respect of the Subordinated Indebtedness and the
                Debtor covenants and confirms in favour of the Senior Lenders that it will not
                deliver to the Subordinated Lender any security for the payment of or performance
                of obligations in respect of the Subordinated Indebtedness;[other than the
                following:][NTD: insert any applicable security which is a Permitted
                Encumbrance.]

         (b)    the Debtor and the Subordinated Lender covenant and confirm in favour of the
                Senior Lenders that they shall not amend, modify, supplement, revise or restate the
                Subordinated Loan Documents, as applicable, without the prior written consent of
                the Agent;

         (c)    without the prior written consent of the Agent, the Subordinated Lender covenants
                and confirms in favour of the Senior Lenders that it will not exercise or seek to
                exercise any rights or remedies (including the right to make demand, accelerate
                payment obligations) with respect to the Subordinated Indebtedness, other than to
                protect its right to file a claim or response upon the occurrence of an Insolvency
                Event in respect of the Debtor (but for certainty not to initiate such an Insolvency
                Event) and the Debtor hereby acknowledges and agrees that any limitation period
                applicable to the Subordinated Lender’s right to enforce the Subordinated
                Indebtedness shall be extended by such amount of time as the Subordinated Lender
                is restricted from exercising such rights or remedies;

         (d)    the Subordinated Lender covenants and confirms in favour of the Senior Lenders
                that it (i) will not contest, protest, or object to any exercise of any Lien Enforcement
                Action by the Senior Lenders and (ii) will have no right to take any other action
                under the Senior Security;

         (e)    the Subordinated Lender covenants and confirms in favour of the Senior Lenders
                that it will not object to (and hereby waives any and all claims with respect to) the
                forbearance by the Senior Lenders from exercising any Lien Enforcement Action;

         (f)    the Subordinated Lender covenants and confirms in favour of the Senior Lenders
                that it will not sell, assign or otherwise dispose of the Subordinated Loan
                Documents or the Subordinated Indebtedness.

12.      The Subordinated Lender represents, warrants and covenants to the Senior Lenders that it
         does not hold any security for the payment of or performance of obligations in respect of
         its Subordinated Indebtedness;[other than the following:][NTD: insert any applicable
         security which is a Permitted Encumbrance].[NTD: To the extent the Subordinated
         Loan Documents are secured, additional provisions regarding subordination and


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         postponement of all registrations and security interests related thereto will be added
         to this form of Subordination Agreement as appropriate for applicable jurisdiction.]

13.      Each of the Subordinated Lender and the Agent represents, warrants and covenants to each
         other that it has not, prior to the date hereof, sold, assigned or otherwise disposed of any
         interest in the Subordinated Loan Documents or the Senior Security, as applicable, to any
         other person or persons over whom it does not have the authority to bind under the terms
         hereof.

14.      The Agent represents, warrants and covenants to the Subordinated Lender that it has the
         authority to bind the Senior Lenders under the terms hereof.

15.      All and every part of the Senior Security is held by the Senior Lenders as security for all
         and every part of the Senior Indebtedness and the Senior Lenders may apply as a permanent
         reduction all payments, proceeds and amounts received by the Senior Lenders from the
         Debtor (resulting from a Lien Enforcement Action or otherwise), to any part of the Senior
         Debt as the Senior Lenders, in their sole discretion, may determine.

16.      In the event of an Insolvency Event commenced by or against the Debtor, the Senior
         Lenders shall be entitled to receive payment in full of all Senior Indebtedness (including
         interest accruing after the commencement of any such Insolvency Event at the rate
         specified in the Senior Credit Agreement, whether or not such interest is an allowable claim
         in any such proceedings) before the Subordinated Lender is entitled to receive any payment
         on account of principal, interest or any other amount in respect of its Subordinated
         Indebtedness.

17.      All payments or distributions which are received by the Subordinated Lender, other than
         as expressly permitted under Section 3 of this Agreement, shall be received by the
         Subordinated Lender and held in trust for the benefit of the Senior Lenders, shall be
         segregated from other funds and property held by the Subordinated Lender and shall be
         forthwith paid over to the Agent on behalf of the Senior Lenders (in the same form as
         received, if possible, with any necessary endorsement). Each of the Subordinated Lender
         and the Debtor does hereby acknowledge and agree that the Subordinated Lender will not
         accept, and the Debtor shall not make, any payment (whether of principal, interest or
         otherwise) of the Subordinated Indebtedness other than as expressly permitted under this
         Agreement.

18.      The Agent and the Subordinated Lender each acknowledge (and waive any defense based
         on a claim) that monetary damages are not an adequate remedy to redress a breach by the
         other hereunder and that a breach by either the Senior Lenders or the Subordinated Lender
         hereunder would cause irreparable harm to the other. Accordingly, the Agent, on behalf of
         the Senior Lenders, and the Subordinated Lender agree that upon a breach of this
         Agreement by the other, the remedies of injunction, declaratory judgment and specific
         performance shall be available to such non-breaching party.

19.      All notices, requests, demands and other communications hereunder shall be in writing and
         shall be furnished to the parties at the addresses listed below. Notices shall be deemed to
         have been duly given if delivered personally or by facsimile. Any such notice shall be


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         deemed to be received when delivered personally or when transmitted by facsimile, upon
         confirmation of the electronic transmission, on a business day (unless such transmission is
         received after 4:00 p.m., Calgary time, in which case it shall be deemed to have been
         received the following business day), as the case may be;

         (a)    if to the Agent, to:

                HSBC Bank Canada, as Agent
                7th Floor, 70 York Street
                Toronto, Ontario M5J 1S9

                Attention:        Manager Agency
                Fax No.           (647) 788-2185

                with a copy to:

                HSBC Bank Canada
                10th Floor, 407-8th Avenue S.W.
                Calgary, Alberta T2P 1E5

                Attention:        Assistant Vice President
                Fax No.           (403) 693-8561

         (b)    if to the Subordinated Lender, to:

                [insert address]

                Attention:        []
                Fax No.           []

         (c)    if to the Debtor, to:

                [insert address]

                Attention:        []
                Fax No.           []

         or at such other address as any party specifies from time to time in a notice to the others.

20.      No delay on the part of the Subordinated Lender or the Senior Lenders in the exercise of
         any right or remedy shall operate as a waiver thereof; and no single or partial exercise by
         the Subordinated Lender or the Senior Lenders of any right or remedy shall preclude other
         or further exercise thereof, or the exercise of any other right or remedy.

21.      In the event of any conflict or ambiguity between the provisions of this Agreement and the
         provisions of any of the Subordinated Loan Documents, the Senior Credit Agreement or
         the Senior Security, the provisions of this Agreement shall prevail to the extent necessary
         to remove the conflict or ambiguity.



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22.      The Subordinated Lender, the Agent and the Debtor shall each do, perform, execute and
         deliver all acts, deeds and documents as may be necessary from time to time to give full
         force and effect to the intent of this Agreement, in each case at the cost of the Debtor.

23.      All references herein to any document or documents, agreement or agreements, instruments
         shall be deemed to include reference to such document or documents, agreement or
         agreements, instrument or instruments as may be amended, extended, modified, varied,
         renewed, supplemented or replaced from time to time.

24.      No amendment or waiver of any provision of this Agreement shall in any event be effective
         unless the same shall be in writing and signed by each of the parties thereto and any such
         amendment or waiver shall be effective only in the specific instance and for the specific
         purpose for which given. Notwithstanding the foregoing, nothing in this Agreement shall
         create any rights in favour of, or obligations to, the Debtor, and the covenants and
         agreements of the Senior Lenders and the Subordinated Lender shall not be enforceable by
         the Debtor and no consent of the Debtor shall be necessary for any amendment to this
         Agreement by the Senior Lenders and the Subordinated Lender in order to have effect as
         between the Senior Lenders and the Subordinated Lender.

25.      This Agreement shall, subject to the provisions hereof, enure to the benefit of and be
         binding upon the parties hereto and their respective successors and assigns.

26.      The Debtor hereby acknowledges and agrees that the Agent, the Senior Lenders and the
         Subordinated Lender may, from time to time, exchange information and opinions with
         respect to the Debtor and the Debtor hereby consents to such exchange of information and
         opinions.

27.      This Agreement shall terminate upon the earlier of:

         (a)    the indefeasible payment and performance in full of the Senior Indebtedness and
                the termination of the Senior Credit Agreement, the Hedging Agreements and the
                Banking Services Agreements;

         (b)    to the extent such payment is permitted to be made pursuant to Section 3, payment
                in full of the Subordinated Indebtedness owing to the Subordinated Lender and
                termination of the Subordinated Loan Documents; and

         (c)    the written agreement of the Senior Lenders and the Subordinated Lender.

28.      [NTD: If more than one Debtor][The obligations each Debtor hereunder shall be joint
         and several.]

29.      This Agreement contains the entire agreement among the parties hereto with respect to the
         subject matter hereof. If any of the provisions of this Agreement shall be held invalid or
         unenforceable by any court having jurisdiction, this Agreement shall be construed as if not
         containing those provisions, and the rights and obligations of the parties hereto should be
         construed and enforced accordingly.




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30.      This Agreement may be executed in several counterparts, each of which when so executed
         shall be deemed to be an original and such counterparts together shall constitute one and
         the same instrument and shall be effective as of the date hereof. Such counterparts may be
         executed by facsimile, pdf or other electronic format.

31.      This Agreement shall be governed by and construed in accordance with the laws of the
         Province of Alberta and the federal laws of Canada therein, applicable to contracts made
         in and to be wholly performed within such Province.

                                     [signature pages follow]




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       IN WITNESS WHEREOF the parties hereto have executed this Agreement under the
hands of their duly authorized officers effective as of the date first written above.

 HSBC BANK CANADA, as Agent

 By:
             Name:
             Title:

 By:
             Name:
             Title:

 [ADD SIGNATURE BLOCK FOR EACH
 APPLICABLE DEBTOR]

 By:
             Name:
             Title:


 [ADD SIGNATURE BLOCK FOR EACH
 APPLICABLE SUBORDINATED
 LENDER]



 Per:
             Name:
             Title:




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                              EXHIBIT 1

             COPY OF SUBORDINATED LOAN DOCUMENTS

                              (see attached)




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                                    SCHEDULES TO THE Q’MAX

                       SECOND AMENDED AND RESTATED CREDIT AGREEMENT



             Schedule 1.1.204   –   Existing Permitted Funded Debt
             Schedule 1.1.209   –   Existing Permitted Liens
             Schedule 1.1.250   –   Surviving Colombian Credit Agreements
             Schedule 6.1.2     –   Corporate Information
             Schedule 6.1.3     –   Subsidiaries
             Schedule 6.1.5     –   Consents and Approvals Required
             Schedule 6.1.8     –   Material Permits
             Schedule 6.1.10    –   Leased Properties
             Schedule 6.1.11    –   Intellectual Property
             Schedule 6.1.12    –   Insurance Policies
             Schedule 6.1.13    –   Material Agreements
             Schedule 6.1.14    –   Labour Matters
             Schedule 6.1.15    –   Environmental Matters
             Schedule 6.1.16    –   Litigation
             Schedule 6.1.17    –   Pension Plans
             Schedule 6.1.23    –   Taxes
             Schedule 6.1.33    –   Eligible Approved Contracts
             Schedule 7.2.3     –   Investments
             Schedule 7.2.6     –   Transactions with Affiliates
             Schedule 9.1       –   Post-Closing Schedule




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                 SCHEDULE 1.1.204 - EXISTING PERMITTED FUNDED DEBT

1.       Credit Agreement between Q’Max México, as borrower, Perfolat de México, S.A. de C.V.,
as lender, and Q’Max Solutions Inc., as guarantor, dated October 27, 2017 (the “Perfolat Loan
Agreement”), in the amount of MXP $250,000,000 (Two Hundred Fifty Million Pesos 00/100),
ratified on November 1, 2017, before Laura Concepción Rodríguez Narváez, alternate Notary
Public of the Notary Public 181. The credit was guaranteed by two mortgages as described in
Schedule 1.1.208 hereto and certain machinery and inventory.

2.    Line of Credit with BBVA Colombia, dated December 3, 2012, by QMax Solutions
Colombia as Borrower in the amount of US$1,708,234.

3.     Common Terms Agreement, by and between QMax Solutions Colombia and Banco de
Bogota S.A., dated May 5, 2009, for the execution of derivatives. Amount currently outstanding
is US$1,007,858.

4.      Master Installment Payment Agreement NO. 584639, by and between De Lage Landen
Financial Services Canada Inc. and Q’Max Solutions Inc. dated June 24, 2015, in an initial principal
amount of $5,000,000. Amount currently outstanding is $1,525,000.

5.      Financial Lease Agreement by and between Corplease Egypt and Environmental Solutions
for Petroleum Services S.A.E. dated September 29, 2013.

6.       Revolving Loan Agreement by and between Fluid Holding Corp. and Q’Max Solutions
Inc., as Borrower, dated July 26, 2016 for up to $25 million. (the “Holdco Revolver”).

7.    Credit Facility by and between International Drilling Fluids & Engineering Services Co.
(IDEC) Ltd. and Emirates NBD Bank PSJC, dated August 6, 2015, in the amount of
AED7,203,000.

8.     Maintenance Management and Fleet Rental Agreement, dated as of August 4, 2014, by and
between Enterprise Fleet Management, Inc. and Terra Oilfield Solutions, LLC.




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                       SCHEDULE 1.1.209 - EXISTING PERMITTED LIENS

Mexico – Perfolat Loan Agreement

1.      Mortgage Agreement regarding the real estate property located in Ranchería González,
Tercera Sección de Municipio de Centro, Estado de Tabasco, with a surface area of 46,316 m and
a building of 2,368.63 m, formalized under public deed 4,333, granted before Laura Concepción
Rodríguez Narváez, alternate Notary Public of the Notary Public 181 of Chiapas on February 9,
2018. The mortgage was granted by QMax Mexico in favor of Perfolat de México, S.A. de C.V.
and Q’Max Solutions Inc. as guarantor.

2.       Mortgage Agreement over the real estate property Lotes 1-A y 21 de la Manzana M del
Parque Industrial Laguna Azul in Ciudad del Carmen, located in Prolongación 1 Sur Numero 2-A,
Colonia Puerto Pesquero, Laguna Azul, Ciudad del Carmen, Campeche, formalized under public
deed 4,334, granted before Laura Concepción Rodríguez Narváez, alternate Notary Public of the
Notary Public 181 of Chiapas on February 9, 2018. The mortgage was granted by QMax Mexico
in favor of Perfolat de México, S.A. de C.V. and Q’Max Solutions Inc. as guarantor.

Mexico – Scotiabank Loan Agreement 1

1.      Mortgage Agreement over the real estate property located in Parcel number 38 Z-1P, of
Ejido Paseo de Pital, Tihuatlán, Veracruz. The mortgage was granted by QMax Mexico in favor of
Scotiabank Inverlat, S.A. Institución de Banca Múltiple, Grupo Financiero Scotiabank Inverlat.

2.       Mortgage Agreement over the real estate property of 8 hectares, 46 areas, 70 centiares in
Camargo, Tamaulipas. The mortgage was granted by QMax Mexico in favor of Scotiabank
Inverlat, S.A. Institución de Banca Múltiple, Grupo Financiero Scotiabank Inverlat.

3.     Mortgage Agreement over the real estate property of 2 hectares, in Camargo, Tamaulipas.
The mortgage was granted by QMax Mexico in favor of Scotiabank Inverlat, S.A. Institución de
Banca Múltiple, Grupo Financiero Scotiabank Inverlat.

Egypt – Corplease Loan Agreement

    Flottweg centrifuge SN-NM04              HI-G Dryer LS 584-D                Auger 12 ft Long
    Shale Shaker                             VC - 1000                          Auger 12 ft Long
    KSN Centrifuge                           VC - 1000                          Auger 12 ft Long
    Shale Shaker                             VC - 1000                          Auger 12 ft Long
    Shale Shaker                             Auger 12 ft Long                   Auger 12 ft Long
    D 1000 Centrifuge                        Auger 12 ft Long                   Auger 12 ft Long
    D 1000 Centrifuge                        Auger 12 ft Long                   Auger 6 ft Long
    HI-G Dryer Q25833                        Auger 12 ft Long                   Auger 6 ft Long
    Vertical Centrifuge                      Auger 12 ft Long                   Auger 6 ft Long
    Control Panel                            Auger 12 ft Long                   Auger 6 ft Long
    Shale Shaker Black Rhino                 Auger 12 ft Long                   Drive Head
    Shale Shaker Black Rhino                 Auger 12 ft Long                   Drive Head

1
 The underlying indebtedness in respect of these mortgages was paid in full on January 17, 2018. These
mortgages will be released on a post-closing basis.


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      Decanter Centrifuge D355                    Auger 12 ft Long              Drive Head
      HI-G Dryer LS 584-D                         Auger 12 ft Long              Drive Head
      VC - 1000                                   Auger 12 ft Long              Electrical Panels
      G 70 - Screw pump                           Auger 12 ft Long              Electrical Panels
      HI-G Dryer LS 584-D                         Auger 12 ft Long              Electrical Panels
      HI-G Dryer LS 584-D                         Auger 12 ft Long              Electrical Panels
      HI-G Dryer LS 584-D                         Auger 12 ft Long              Centerifuge DC 450L
      Verti G Skid                                Centerifuge Skid GLN-297      Mono pump G70-1
      Water Tank         GLN-300                  Three side tank               Oil settling tank GLN-298
      Oil catch tank GLN-299
      Cabin GLN-300
      Pump 440V 60HZ 11KW (SN
      XBSYG03)
      Auger 11m
      Auger 8m
      Centrifuge D355
      Centrifuge D355
      Centrifuge D355
      TDU
      Centrifuge D355
      Centrifuge D355
      Centrifuge D355
      Centrifuge D355
      Centrifuge D355
      VC - 1000
      VC - 1000
      Pump
      Pump
      Pump
      Pump
      Pump
      VC
      Electric panel


     Terra Oilfield Solutions, LLC Liens (the “Terra Liens”)



      Jurisdiction          Secured Party          File Date   File Type     File #           Summary

                            FIFTH THIRD BANK AS                Original
      Delaware              AGENT; et al.          9/22/2014   UCC Filing    20143781598      Equipment
1.




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                            KOMATSU FINANCIAL                     Original
2.    Delaware              LIMITED PARTNERSHIP       6/26/2018   UCC Filing   20184368995     Equipment

                            KOMATSU FINANCIAL                     Original
3.    Delaware              LIMITED PARTNERSHIP       6/26/2018   UCC Filing   20184369183     Equipment

                            KOMATSU FINANCIAL                     Original
4.    Delaware              LIMITED PARTNERSHIP       7/18/2018   UCC Filing   20184934119     Equipment

                                                                  Original
                            MOBILEASE, INC.; et al.
5.    Texas                                           3/30/2017   UCC Filing   17-0010728298   Equipment

                                                                  Original
                            MOBILEASE, INC.; et al.
6.    Texas                                           3/30/2017   UCC Filing   17-0010728793   Equipment

                                                                  Original
                            MOBILEASE, INC.; et al.
7.    Texas                                           3/30/2017   UCC Filing   17-0010729188   Equipment

                                                                  Original
                            MOBILEASE, INC.; et al.
8.    Texas                                           3/30/2017   UCC Filing   17-0010729683   Equipment

                                                                  Original
                            MOBILEASE, INC.; et al.
9.    Texas                                           3/30/2017   UCC Filing   17-0010730231   Equipment

                                                                  Original
                            MOBILEASE, INC.; et al.
10. Texas                                             3/30/2017   UCC Filing   17-0010730473   Equipment

                                                                  Original
                            MOBILEASE, INC.; et al.
11. Texas                                             3/30/2017   UCC Filing   17-0010731626   Equipment

                                                                  Original
                            MOBILEASE, INC.; et al.
12. Texas                                             7/11/2017   UCC Filing   17-0023574322   Equipment

                                                                  Original
                            MOBILEASE, INC.; et al.
13. Texas                                             6/20/2018   UCC Filing   18-0021532163   Equipment

                                                                  Original
                            MOBILEASE, INC.; et al.
14. Texas                                             6/20/2018   UCC Filing   18-0021533053   Equipment

                                                                  Original
                            FROST BANK
15. Texas                                             3/30/2017   UCC Filing   170010731626    Equipment

                                                                  Original
                            FROST BANK
16. Texas                                             3/30/2017   UCC Filing   170010730473    Equipment

                                                                  Original
                            FROST BANK
17. Texas                                             3/30/2017   UCC Filing   170010730231    Equipment

                                                                  Original
                            FROST BANK
18. Texas                                             3/30/2017   UCC Filing   170010729683    Equipment




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                                                   Original
                          FROST BANK
19. Texas                              3/30/2017   UCC Filing   170010729188   Equipment

                                                   Original
                          FROST BANK
20. Texas                              3/30/2017   UCC Filing   170010728793   Equipment

                                                   Original
                          FROST BANK
21. Texas                              3/30/2017   UCC Filing   170010728298   Equipment




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               Schedule 1.1.250 – SURVIVING COLOMBIAN CREDIT AGREEMENTS



             Bank                        Description                               Maximum
                                                                                 Facility Amount

 Banco de Bogotá S.A.    Common Terms Agreement for the execution                US$1,007,858
                         of derivatives dated May 5, 2009, entered into
                         by QMax Solutions Colombia and related
                         promissory note

 BBVA Colombia           Line of credit dated December 3, 2012 entered into by   US$1,708,234
                         Q’Max Solutions Colombia as borrower




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                           SCHEDULE 6.1.2 - CORPORATE INFORMATION

 A.      Current Entity Name:                                       Fluid Holding Corp.
         Former Entity Name(s):                                     None
         Jurisdiction of Incorporation:                             British Columbia
         Present Governing Jurisdiction:                            British Columbia
         Registered Office:                                         Suite 2400, 745 Thurlow Street
                                                                    Vancouver, BC V6E 0C5
                                                                    Canada
         Chief Executive Office:                                    P.O. BOX 10424, Pacific Centre
                                                                    1300 – 777 Dunsmuir Street
                                                                    Vancouver, BC V7Y 1K2
         Location(s) of Business:                                   P.O. BOX 10424, Pacific Centre
                                                                    1300 – 777 Dunsmuir Street
                                                                    Vancouver, BC V7Y 1K2
         Number and classes of authorized shares:                   An unlimited number of common shares
                                                                    An unlimited number of class A-1 voting
                                                                    preferred shares
                                                                    An unlimited number of class A-2 voting
                                                                    preferred shares
                                                                    An unlimited number of class A-3 voting
                                                                    preferred shares
         Number and classes of outstanding shares:                  2,287,231- Common
                                                                    363,378.73- Class A-1 Voting Preferred without
                                                                    par value
                                                                    153,318.5942-Class A-2 Voting Preferred shares
                                                                    without par value
                                                                    57,409-Class A-3 Voting Preferred shares
                                                                    without par value
         Jurisdictions in which material business is carried on:    None

The Shareholders of Fluid Holding Corp. will be as follows on the Amendment and Restatement Date:

 Shareholder                           Class                                  Outstanding Shares
 PEP Fluid LP                          Common shares                          1,092,249.9759
 PEP Fluid Co-Invest LP                Common shares                          966,260.0241

 Calumet Operating, LLC                Common Shares                          228,721

 PEP Fluid LP                          Class A-1 Voting Preferred             214,747.74

 PEP Fluid Co-Invest LP                Class A-1 Voting Preferred             148,360.99

 PEP Fluid LP                          Class A-2 Voting Preferred             93,481.1228

 PEP Fluid Co-Invest LP                Class A-2 Voting Preferred             59,837.4714

 Calumet Operating, LLC                Class A-3 Voting Preferred             57,409




 B.      Current Entity Name:                                       Q’Max Solutions Inc.
         Former Entity Name(s):                                     Fluid Acquisition Corp. (Q’Max Solutions Inc. is
                                                                    successor by amalgamation between Fluid
                                                                    Acquisition Corp. and Q’Max Solutions Inc.)

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         Jurisdiction of Formation:                             British Columbia
         Present Governing Jurisdiction:                        British Columbia (continued to British Columbia
                                                                in connection with the amalgamation)
         Registered Office:                                     2200 Guinness Tower
                                                                1055 West Hasting Street
                                                                Vancouver, BC V6E-2E9
         Chief Executive Office:                                11700 Katy Freeway
                                                                Suite 200
                                                                Houston, TX 77079
         Location(s) of Business:
                                                                11700 Katy Freeway, Suite 200
                                                                Houston, Texas 77079
                                                                370, 815 – 8th Avenue SW,
                                                                Calgary, Alberta T2P 3P2
         Number and classes of authorized shares:               An unlimited number of common shares
         Number and class of outstanding shares                 2,741,466.23
         Jurisdictions in which material business is carried    United States & United Arab Emirates
         on:

The Shareholder of Q’Max Solutions Inc. will be as follows on the Amendment and Restatement Date:

 Shareholder                           Class                              Outstanding Shares
 Fluid Holding Corp.                   Common                             2,741,466.23


 C.      Current Entity Name:                                    Q’Max America Inc.
         Former Entity Name(s):                                  None
         Jurisdiction of Incorporation:                          Delaware
         Present Governing Jurisdiction:                         Delaware
         Registered Office:                                      251 Little Falls Drive
                                                                 Wilmington, D
                                                                 Wilmington, DE 19808

         Chief Executive Office:                                 11700 Katy Freeway
                                                                 Suite 200
                                                                 Houston, TX 77079

         Location(s) of Business:                                11700 Katy Freeway
                                                                 Suite 200
                                                                 Houston, TX 77079

                                                                 1315 West Sam Houston Parkway
                                                                 North, Suite 180, Houston, Texas

                                                                 2106 East Country Road 120
                                                                 Midland, Texas 79706

                                                                 101 Flacon Road, Suite 3
                                                                 Elk City, Oklahoma 7662

                                                                 19626 Hwy. 152
                                                                 Sayre, Oklahoma 73662

                                                                 2302 N. Mulberry Lane
                                                                 Hobbs, New Mexico 88240



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                                               545 West Park Road
                                               Leetsdale, Pennsylvania 15056

                                               BDP International
                                               479 World Houston Parkway
                                               Houston, Texas 77032

                                               107 SE 3rd Street
                                               Wilburton, Oklahoma 73802

                                               1.6 Acres (SE ¼ of Sec 30, TWN 23 N, Range
                                               20 W of Indian Meridian
                                               Woodward, Oklahoma 73802

                                               2414 W. Towne Street
                                               Glendive, Montana 59330

                                               20 Shell Oil Road
                                               Baker, Montana 59317

                                               #20 Encore Road
                                               Belle Creek, Montana 59317

                                               995 North 5th Avenue
                                               Brighton, Colorado 80603

                                               1400 West Red Deer
                                               Canadian, Texas 79014

                                               5370 Poison Spider Road
                                               Casper, Wyoming 82064

                                               2259 County Street 2810
                                               Chickasha, Oklahoma 73018

                                               628 W Kansas Street
                                               Chickasha, Oklahoma 73018

                                               4730 County Road 203
                                               Carpenter, Wyoming 8205

                                               10760 N 2247 Road
                                               Clinton, Oklahoma 73601

                                               410 17th Street, Suite 320
                                               Denver, Colorado 80202

                                               11108 32nd Street SW
                                               Dickenson, North Dakota 58601

                                               38 Jarmon Trail
                                               Douglas, Wyoming 82633

                                               510 Scott Street
                                               Van Buren, Arkansas 72143



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                                               124 Wygant Road, Bldg 2
                                               Horseheads, New York 14845

                                               1.82 Acres (Sec 20, Township 25 S, Range 37E)
                                               Jal, New Mexico 88252

                                               320 Highway 18
                                               Jal, New Mexico 88252

                                               401 NW 3rd Street
                                               Kensett, Arkansas 72082

                                               724 Brickworks Drive
                                               Leetsdale, Pennsylvania 15056

                                               1102 Airport Fernwood Road
                                               McComb, Mississippi 39648

                                               6417 W Industrial
                                               Midland, Texas 79706

                                               200 Enterprise Drive
                                               Newcomerstown, Ohio 73832

                                               3849 95th Avenue NW
                                               Newtown, North Dakota 58763

                                               148 Mcintyre Road
                                               Minden, Louisiana 71055

                                               4402 S. Mockingbird Rd
                                               Chickasha, Oklahoma73132

                                               5909 N.W. Expressway, Suite 250
                                               Oklahoma City, Oklahoma 73132

                                               2002 Tile Factorey Road
                                               Pallestine, Texas 75801

                                               18 Murray Ct, Apartment A
                                               Parachute, Colorado 81635

                                               2111 West 3rd
                                               Pecos, Texas 79722

                                               2623 West 2000 S
                                               Roosevelt, Utah 84066

                                               104 14th Ave. NW
                                               Sidney, Montana 59270

                                               402 10th Ave. NE
                                               Sidney, Montana 59270

                                               3067 S. Hwy 37 Access
                                               Three Rivers, Texas 78071


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                                                                2400-A Clark Ave.
                                                                Wellsville, Ohio 43968

                                                                11279 Perry Highway Suite 505
                                                                Wexford, Pennsylvania 15090

                                                                302 E 3rd Street
                                                                Wilburton, Oklahoma 74578

                                                                504 E Oklahoma
                                                                Woodward, Oklahoma 73802

                                                                25 Hicks Road
                                                                Wright, Wyoming 82732

                                                                164 Dudley Bernard Road, Suite 611
                                                                Port Fourchon, Louisiana 70357

                                                                2106 East Country Road 120Midland, Texas
                                                                79706

                                                                6655 S. Lewis Ave, Suite 300
                                                                Tulsa, OK 74136

                                                                2303 N. Mulberry Ln.
                                                                Hobbs, NM 88240
                                                                United States of America

                                                                5290 DTC Parkway
                                                                Greenwood Village, Colorado 80111
         Number and classes of authorized shares:               3,000 Common Stock Par Value $.01
         Number and classes of outstanding shares:              1000 Common Stock Par Value $.01

 Jurisdictions in which material business is carried on:        Colorado, Texas, Wyoming, Oklahoma,
                                                                Montana, Pennsylvania, Louisiana, Ohio

The Shareholders of Q’Max America Inc. will be as follows on the Amendment and Restatement Date:

 Shareholder                           Class                             Outstanding Shares
 Central     Procurement        Inc.   Common                            1000
 (Delaware)


 D.      Current Entity Name:                                  Central Procurement Inc.
         Former Entity Name(s):                                Q’Max Solutions (Barbados) Inc.
         Jurisdiction of Incorporation:                        Barbados
         Present Governing Jurisdiction:                       Barbados
         Registered Office:                                    Radley Court, Upper Collymore Rock, St.
                                                               Michael, P.O. Box 1132, Bridgetown, Barbados
                                                               BB 11000

         Chief Executive Office:                                Same as Registered Office
         Location(s) of Business:                               Same as Registered Office
         Number and classes of authorized shares:               Unlimited Common.


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         Number and classes of outstanding shares                 200 Common
         Jurisdictions in which material business is carried     N/A-Holding Company for Colombia
         on:                                                   Branch

The Shareholders of Q’Max Solutions Inc.will be as follows on the Amendment and Restatement Date:

 Shareholder                           Class                                  Outstanding Shares
 Q’Max Solutions Inc.                  Common                                 200


 E.      Current Entity Name:                                      QMax Solutions Colombia, branch of Barbados
                                                                   entity, Central Procurement Inc.
         Former Entity Name(s):                                    None
         Jurisdiction of Formation:                                Colombia
         Present Governing Jurisdiction:                           Colombia
         Registered Office:                                        Calle 100 No. 8A-49, Torre B, Of. 1018
                                                                   Bogota, Colombia
         Chief Executive Office:                                   Calle 100 No. 8A-49, Torre B, Ofs. 1017-1018-
                                                                   1019-1020
                                                                   Bogota, Colombia

         Location(s) of Business:                                  Colombia - Santa Marta Warehouse. Cr 31 No.
                                                                   29-36 Loc. 6 Bod. 7 Manz. A2

                                                                   Colombia - Villavicencio Warehouse, Vereda la
                                                                   Unión

                                                                   Colombia - Yopal Warehouse Km 4 via
                                                                   Morichal - Complejo industrial Serpet. Parque
                                                                   ind las Mercedes

                                                                   Colombia Calle 100 #8A- 49 Torre B oficina
                                                                   1018, Colombia

                                                                   Colombia Carrera 5 sur #29-70 Neiva, Colombia

                                                                   Colombia Parque Empresarial San Miguel,
                                                                   Bodega #4 Cota - Laboratory, Colombia

                                                                   Colombia Parque Industrial Las Alpujarras
                                                                   Barrancabermeja, Colombia

         Number and classes of authorized shares:                  N/A
         Number and classes of outstanding shares:                 N/A
         Jurisdictions in which material business is carried on:   Colombia

The ownership interests of QMax Solutions Colombia will be as follows on the Amendment and Restatement Date:

 Shareholder                           Class                                  Outstanding Shares
 Central Procurement Inc.              N/A                                    N/A

 F.      Current Entity Name:                                      QMAXECUADOR S.A.
         Former Entity Name(s):                                    None
         Jurisdiction of Formation:                                Ecuador
         Present Governing Jurisdiction:                           Ecuador
         Registered Office:                                        Gregorio Bobadilla N26-125 y Naciones


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                                                                   Unidas. Edificio Nexia. Piso 1. Oficina 01.,
                                                                   Pichincha, Quito, Ecuador Av. Naciones

         Chief Executive Office:                                   Same as Registered Office
         Location(s) of Business:                                  Campamento Base: Km. 3 Vía Sacha, Coca -
                                                                   Provincia de Orellana (Bodega)

                                                                   El Zurriago y El Vengador. Edificio Modigliani
                                                                   II. Bodega Subsuelo 2

         Number and classes of authorized shares:                  250,000 ordinary shares
         Number and classes of outstanding shares:                 125,000 ordinary shares
         Jurisdictions in which material business is carried on:   Ecuador

The ownership interests of QMAXECUADOR S.A. will be as follows on the Amendment and Restatement Date:

 Shareholder                          Class                             Outstanding Shares
 Q’Max Solutions Inc.                 Ordinary                          124,999
 1356760 Alberta Ltd.                 Ordinary                          1

 G.      Current Entity Name:                                      QMax Peru S.A.C.-In Liquidation
         Former Entity Name(s):                                    None
         Jurisdiction of Formation:                                Peru
         Present Governing Jurisdiction:                           Peru
         Registered Office:
                                                                   Calle La Camelias 877, interior 302.
                                                                   District San Isidro, Lima
         Chief Executive Office:                                   Same as Registered Office
         Location(s) of Business:                                  None
         Number and classes of authorized shares:                  1,750
         Number and classes of outstanding shares:                 1,750
         Jurisdictions in which material business is carried on:   None

The ownership interests of QMax Peru S.A.C.-In Liquidation will be as follows on the Amendment and Restatement
Date:

 Shareholder                           Class                                 Outstanding Shares
 QMAXECUADOR S.A.                      Ordinary                              1,749
 1356760 Alberta Ltd.                  Ordinary                              1


 H.      Current Entity Name:                                      Q’Max Solutions Holdings Inc.
         Former Entity Name(s):                                    None
         Jurisdiction of Formation:                                Alberta
         Present Governing Jurisdiction:                           Alberta
         Registered Office:
                                                                   4500 Bankers Hall East
                                                                   855 2 Street SW
                                                                   Calgary, Alberta T2P 4K7
         Chief Executive Office:                                   11700 Katy Freeway
                                                                   Suite 200
                                                                   Houston, TX 77079
         Location(s) of Business:                                  Same as Registered Office
         Number and classes of authorized shares:                  Unlimited number of Class A Common
                                                                   Unlimited number of Class B Common


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                                                                   Unlimited number of Class C Preferred
                                                                   Unlimited number of Class D Preferred
         Number and classes of outstanding shares:                 100 Class A Common
                                                                   60,000 Class C Preferred
         Jurisdictions in which material business is carried on:   N/A- Holding Company

The ownership interests of Q’Max Solutions Holdings Inc. will be as follows on the Amendment and Restatement
Date:

 Shareholder                           Class                                 Outstanding Shares
 Q’Max Solutions Inc.                  Class A Common                        100
 Q’Max Solutions Inc.                  Class C Preferred                     60,000



 I.      Current Entity Name:                                      QMax Mexico, S.A. de C.V.
         Former Entity Name(s):                                    None
         Jurisdiction of Formation:                                Mexico
         Present Governing Jurisdiction:                           Mexico
         Registered Office:                                        N/A (concept inapplicable in Mexico)
         Chief Executive Office:                                   Carretera Cárdenas-Villahermosa Km 155+500
                                                                   Ranchería Gonzalez 3a Seccion Centro Tabasco
                                                                   C.P. 86280 México


         Location(s) of Business:                                  AV Justo Sierra No. 1, Fracc Justo Sierra, CP
                                                                   24166, Ciudad Del Carmen, Campeche, Planta 1
                                                                   Y2

                                                                   Blvd. Adolfo López Mateos # 216, entre Nuevo
                                                                   Leon y Nayarit, Col. Unidad Nacional. CP
                                                                   89410 Cd. Madero, Tamps.

                                                                   Calle 1 Sur Lote I Manzana L, Pto. Industrial
                                                                   Pesquero Laguna Azul, C.P. 24140, Ciudad del
                                                                   Carmen, Campeche

                                                                   Carretera Cárdenas-Villahermosa Km 155+500,
                                                                   Ranchería Gonzalez 3a Seccion, Centro
                                                                   Tabasco, C.P. 86280

                                                                   Carretera Federal Paraíso – El Bellote, Ría.
                                                                   Ceiba, Paraíso, Tabasco, CP 86600

                                                                   Carretera Matamoros Victoria Km, 200. Nuevo
                                                                   Centro de Poblado la Lomita , San Fernando,
                                                                   Tamps.

                                                                   Carretera Peña Blanca Km. 1. Poblacion
                                                                   Comales, Municipio de Camargo Tamaulipas CP
                                                                   88460

                                                                   Carretera Poza Rica-Acontitlan s/n esquina
                                                                   terraceria sin nombre, ejido Paso Pital,
                                                                   municipio de Tihuatlan, Ver. Codigo Postal
                                                                   92906

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                                                                   Edifício RCB Business CenterCalle: Guanajuato
                                                                   # 230-AColonia: Rodriguez C.P. 88630Ciudad:
                                                                   Reynosa, Tamaulipas

                                                                   Km. 2 Carretera Piedras Negras-Mata Espino
                                                                   Municipio de Tlalixcoyan, Veracruz C.P. 95222

                                                                   Masaryk 29 piso 1, Oficina 130, Polanco
                                                                   CDMX. C.P. 11570

                                                                   Predio Urbano lotes 1-A y 2 de la manzana M
                                                                   del Parque Industrial Laguna Azul, Ciudad del
                                                                   Carmen, Campeche

                                                                   Prolongacion Avenida 27 de Febrero # 3017
                                                                   Fraccionamiento Galaxias Villahermosa,
                                                                   Centro,Tabasco CP 86035 (Rented Office)

         Number and classes of authorized shares:                  50,000 Series B; 348,499,220 variable par 1.00
         Number and classes of outstanding shares:                 49,999 Series B; 348,499,220 variable par 1.00
         Jurisdictions in which material business is carried on:   Mexico

The ownership interests of QMax Mexico, S.A. de C.V. will be as follows on the Amendment and Restatement
Date:

 Shareholder                           Class                                Outstanding Shares
 Q’Max Solutions Holdings Inc.         Series B                             49,999 Fixed Capital
                                       Par MXP $1.00                        348,499,220 Variable Capital
 1356760 Alberta Ltd.                  Series B                             1 Fixed Capital
                                       Par MXP $1.00

 J.      Current Entity Name:                                      QMax Servicios Tecnicos S.A. de C.V.
         Former Entity Name(s):                                    None
         Jurisdiction of Formation:                                Mexico
         Present Governing Jurisdiction:                           Mexico
         Registered Office:                                        N/A (concept inapplicable in Mexico)
         Chief Executive Office:                                   Carretera Cárdenas-Villahermosa Km 155+500
                                                                   Ranchería Gonzalez 3a Seccion Centro Tabasco
                                                                   C.P. 86280 México
         Location(s) of Business:                                  Same as Chief Executive Office
         Number and classes of authorized shares:                  50,000 ordinary shares with par value
         Number and classes of outstanding shares:                 50,000 ordinary shares with par value
         Jurisdictions in which material business is carried on:   Mexico

The ownership interests of QMax Servicios Tecnicos S.A. de C.V. will be as follows on the Amendment and
Restatement Date:

 Shareholder                           Class                                Outstanding Shares
 QMax Mexico, S.A. de C.V.             Series A                             49,999 Fixed Capital
                                       Par MXP $1.00
 1356760 Alberta Ltd.                  Series B                             1 Fixed Capital
                                       Par MXP $1.00




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 K.      Current Entity Name:                                      QMax Servicios de Ingenieria S.A. de C.V.
         Former Entity Name(s):                                    None
         Jurisdiction of Formation:                                Mexico
         Present Governing Jurisdiction:                           Mexico
         Registered Office:                                        N/A (concept inapplicable in Mexico)
         Chief Executive Office:                                   Carretera Cárdenas-Villahermosa Km 155+500
                                                                   Ranchería Gonzalez 3a Seccion Centro Tabasco
                                                                   C.P. 86280 México
         Location(s) of Business:                                  Same as Chief Executive Office
         Number and classes of authorized shares:                  50,000 ordinary shares with par value
         Number and classes of outstanding shares:                 50,000 ordinary shares with par value
         Jurisdictions in which material business is carried on:   Mexico

The ownership interests of QMax Servicios de Ingenieria S.A. de C.V. will be as follows on the Amendment and
Restatement Date:

 Shareholder                           Class                                Outstanding Shares
 QMax Mexico, S.A. de C.V.             Series A                             49,999 Fixed Capital
                                       Par MXP $1.00
 1356760 Alberta Ltd.                  Series B                             1 Fixed Capital
                                       Par MXP $1.00


 L.      Current Entity Name:                                      QMax Servicios Administrativos S.A. de C.V.
         Former Entity Name(s):                                    None
         Jurisdiction of Formation:                                Mexico
         Present Governing Jurisdiction:                           Mexico
         Registered Office:                                        N/A (concept inapplicable in Mexico)
         Chief Executive Office:                                   Carretera Cárdenas-Villahermosa Km 155+500
                                                                   Ranchería Gonzalez 3a Seccion Centro Tabasco
                                                                   C.P. 86280 México
         Location(s) of Business:                                  Same as Chief Executive Office
         Number and classes of authorized shares:                  50,000 ordinary shares with par value
         Number and classes of outstanding shares:                 50,000 ordinary shares with par value
         Jurisdictions in which material business is carried on:   Mexico

The ownership interests of QMax Servicios Administrativos S.A. de C.V. will be as follows on the Amendment and
Restatement Date:

 Shareholder                          Class                             Outstanding Shares
 QMax Mexico, S.A. de C.V.            Series A                          49,999 Fixed Capital
                                      Par MXP $1.00
 1356760 Alberta Ltd.                 Series B                          1 Fixed Capital
                                      Par MXP $1.00


 M.      Current Entity Name:                                      1356760 Alberta Ltd.
         Former Entity Name(s):                                    1356760 Alberta Inc.
         Jurisdiction of Formation:                                Alberta
         Present Governing Jurisdiction:                           Alberta
         Registered Office:                                        4500 Bankers Hall East,
                                                                   855 2 Street SW
                                                                   Calgary, Alberta T2P 4K7
         Chief Executive Office:                                   11700 Katy Freeway
                                                                   Suite 200


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                                                                   Houston, TX 77079
         Location(s) of Business:                                  Same as Registered Office
         Number and classes of authorized shares:                  Unlimited number of Class A Common
                                                                   Unlimited number of Class B Common
                                                                   Unlimited number of Class C Preferred
                                                                   Unlimited number of Class D Preferred
         Number and classes of outstanding shares:                 2,984,800 Class A Common
         Jurisdictions in which material business is carried on:   N/A- Holding Company

The ownership interests of 1356760 Alberta Ltd. will be as follows on the Amendment and Restatement Date:

 Shareholder                           Class                                Outstanding Shares
 Q’Max Solutions Inc.                  Class A Common                       2,984,800

 N.      Current Entity Name:                                      Qmax do Brasil Sulucoes do Petrolea Ltda.
         Former Entity Name(s):                                    None
         Jurisdiction of Formation:                                Brazil
         Present Governing Jurisdiction:                           Brazil
         Registered Office:                                        Rodovia Governador Mario Covax no˚3255
                                                                   Sala 207 Bairro Padre Mathias Cariacica
                                                                   ESCEP 29157-100
         Chief Executive Office:                                   Same as Registered Office
         Location(s) of Business:                                  Av. Almirante Barroso, 63, Sala 2314, Centro,
                                                                   Rio de Janeiro, RJ, Brasil CEP

                                                                   "Rodovia Governador Mario Covas, nº 3255,
                                                                   Sala 207, Bairro Padre Mathias,
                                                                   Cariacica, ES, CEP 29157-100

                                                                   Via BA 420, S/N, faixa 02, Nova Pojuca,
                                                                   Pojuca/BA, CEP 48120-
                                                                   000
         Number and classes of authorized shares:                  756,650 quotas
         Number and classes of outstanding shares:                 756,650 quotas
         Jurisdictions in which material business is carried on:   Brazil

The ownership interests of Qmax do Brasil Sulucoes do Petrolea Ltda. will be as follows on the Amendment and
Restatement Date:

 Shareholder                         Class                              Outstanding Shares
 Q’Max Solutions Inc.                Ordinary                           756,150
 1356760 Alberta Ltd.                Ordinary                           500


 Shareholder                           Class                                Outstanding Shares
 1356760 Alberta Ltd.                  ordinary shares with par value       3,096,254
 Manuel Sanchez Alvarez                ordinary shares with par value       1

 O.      Current Entity Name:                                      Anchor Drilling Fluids USA, LLC
         Former Entity Name(s):                                    Anchor Drilling Fluids USA, Inc.
         Jurisdiction of Formation:                                Delaware
         Present Governing Jurisdiction:                           Delaware
         Registered Office:                                        251 Little Falls Dr.
                                                                   Wilmington Delaware 19808



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         Chief Executive Office:               11700 Katy Freeway, Suite 200
                                               Houston, Texas 77079
         Location(s) of Business:              11700 Katy Freeway
                                               Suite 200
                                               Houston, TX 77079

                                               1315 West Sam Houston Parkway
                                               North, Suite 180, Houston, Texas

                                               2106 East Country Road 120
                                               Midland, Texas 79706

                                               101 Flacon Road, Suite 3
                                               Elk City, Oklahoma 7662

                                               19626 Hwy. 152
                                               Sayre, Oklahoma 73662

                                               2302 N. Mulberry Lane
                                               Hobbs, New Mexico 88240

                                               545 West Park Road
                                               Leetsdale, Pennsylvania 15056

                                               BDP International
                                               479 World Houston Parkway
                                               Houston, Texas 77032

                                               107 SE 3rd Street
                                               Wilburton, Oklahoma 73802

                                               1.6 Acres (SE ¼ of Sec 30, TWN 23 N, Range
                                               20 W of Indian Meridian
                                               Woodward, Oklahoma 73802

                                               2414 W. Towne Street
                                               Glendive, Montana 59330

                                               20 Shell Oil Road
                                               Baker, Montana 59317

                                               #20 Encore Road
                                               Belle Creek, Montana 59317

                                               995 North 5th Avenue
                                               Brighton, Colorado 80603

                                               1400 West Red Deer
                                               Canadian, Texas 79014

                                               5370 Poison Spider Road
                                               Casper, Wyoming 82064

                                               2259 County Street 2810
                                               Chickasha, Oklahoma 73018



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                                               628 W Kansas Street
                                               Chickasha, Oklahoma 73018

                                               4730 County Road 203
                                               Carpenter, Wyoming 8205

                                               10760 N 2247 Road
                                               Clinton, Oklahoma 73601

                                               410 17th Street, Suite 320
                                               Denver, Colorado 80202

                                               11108 32nd Street SW
                                               Dickenson, North Dakota 58601

                                               38 Jarmon Trail
                                               Douglas, Wyoming 82633

                                               510 Scott Street
                                               Van Buren, Arkansas 72143

                                               124 Wygant Road, Bldg 2
                                               Horseheads, New York 14845

                                               1.82 Acres (Sec 20, Township 25 S, Range
                                               37E)
                                               Jal, New Mexico 88252

                                               320 Highway 18
                                               Jal, New Mexico 88252

                                               401 NW 3rd Street
                                               Kensett, Arkansas 72082

                                               724 Brickworks Drive
                                               Leetsdale, Pennsylvania 15056

                                               1102 Airport Fernwood Road
                                               McComb, Mississippi 39648

                                               6417 W Industrial
                                               Midland, Texas 79706

                                               200 Enterprise Drive
                                               Newcomerstown, Ohio 73832

                                               3849 95th Avenue NW
                                               Newtown, North Dakota 58763

                                               148 Mcintyre Road
                                               Minden, Louisiana 71055

                                               4402 S. Mockingbird Rd
                                               Chickasha, Oklahoma73132

                                               5909 N.W. Expressway, Suite 250


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                                                                   Oklahoma City, Oklahoma 73132

                                                                   2002 Tile Factorey Road
                                                                   Pallestine, Texas 75801

                                                                   18 Murray Ct, Apartment A
                                                                   Parachute, Colorado 81635

                                                                   2111 West 3rd
                                                                   Pecos, Texas 79722

                                                                   2623 West 2000 S
                                                                   Roosevelt, Utah 84066

                                                                   104 14th Ave. NW
                                                                   Sidney, Montana 59270

                                                                   402 10th Ave. NE
                                                                   Sidney, Montana 59270

                                                                   3067 S. Hwy 37 Access
                                                                   Three Rivers, Texas 78071

                                                                   2400-A Clark Ave.
                                                                   Wellsville, Ohio 43968

                                                                   11279 Perry Highway Suite 505
                                                                   Wexford, Pennsylvania 15090

                                                                   302 E 3rd Street
                                                                   Wilburton, Oklahoma 74578

                                                                   504 E Oklahoma
                                                                   Woodward, Oklahoma 73802

                                                                   25 Hicks Road
                                                                   Wright, Wyoming 82732

                                                                   164 Dudley Bernard Road, Suite 611
                                                                   Port Fourchon, Louisiana 70357

                                                                   2106 East Country Road 120Midland, Texas
                                                                   79706

                                                                   6655 S. Lewis Ave, Suite 300
                                                                   Tulsa, OK 74136

                                                                   2303 N. Mulberry Ln.
                                                                   Hobbs, NM 88240
                                                                   United States of America

         Number and classes of authorized shares:                  N/A
         Number and classes of outstanding shares:                 N/A
         Jurisdictions in which material business is carried on:   Colorado, Texas, Wyoming, Oklahoma,
                                                                   Montana, New York, Arkansas, Pennsylvania,
                                                                   Louisiana, Ohio, North Dakota, Utah


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The ownership interests of Anchor Drilling Fluids USA, LLC will be as follows on the Amendment and
Restatement Date:

 Shareholder                           Class                                 Outstanding Shares
 Q’Max America Inc.                    Membership Interests                  N/A

 P.      Current Entity Name:                                      QMax Canada Operations Inc.
         Former Entity Name(s):                                    QMax Solutions EE Operations Inc.
         Jurisdiction of Formation:                                Alberta
         Present Governing Jurisdiction:                           British Colombia
         Registered Office:                                        Suite 220-1055 West Hastings Street
                                                                   Vancouver, BC V6E2E9
         Chief Executive Office:                                   1210-585 8th Avenue SW
                                                                   Calgary, AB 2TP1G1
         Location(s) of Business:                                  10304 84th Ave.
                                                                   Clairmont AB T0H 0W0

                                                                   1210 585-8th Avenue SW
                                                                   Calgary, AB T2P 1G1

                                                                   815 8th Avenue #370
                                                                   Calgary, AB T2P 2T4

                                                                   5624 58h Avenue
                                                                   Drayton Valley, AB T7A 0B1

                                                                   Leased Drilling Fluid and Mud Storage
                                                                   Formula Powell Locations
                                                                   Blackfalds, AB and
                                                                   Lloydminster, AB

         Number and classes of authorized shares:                  Unlimited Common Shares
         Number and classes of outstanding shares:                 372
         Jurisdictions in which material business is carried on:   Alberta

The ownership interests of QMax Canada Operations Inc.will be as follows on the Amendment and Restatement
Date:

 Shareholder                           Class                                 Outstanding Shares
 Q’Max Solutions Inc.                  Common                                372

 Q.      Current Entity Name:                                      Environmental Solutions for Petroleum Services
                                                                   – Free Zone – S.A.E.
         Former Entity Name(s):                                    None
         Jurisdiction of Formation:                                Egypt
         Present Governing Jurisdiction:                           Egypt
         Registered Office:                                        Villa 267, Ground Floor, 2nd District, 1st Zone,
                                                                   El Tasaeem St. 5th District, New Cairo, Cairo
                                                                   Governorate, Arab Republic of Egypt

         Chief Executive Office:                                   Villa 267, Ground Floor, 2nd District, 1st Zone,
                                                                   El Tasaeem St. 5th District, New Cairo, Cairo
                                                                   Governorate, Arab Republic of Egypt

         Location(s) of Business:                                  Ameriya Free Zone Base - Alexandra - Egypt



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                                                                   Villa 75 South Academy, 5th Settlement, New
                                                                   Cairo City

                                                                   Warehouse and Base - Ras Garib - Egypt

         Number and classes of authorized shares:                  15,000,000
         Number and classes of outstanding shares:                 15,000,000
         Jurisdictions in which material business is carried on:   Egypt

The ownership interests of Environmental Solutions for Petroleum Services – Free Zone – S.A.E. will be as follows
on the Amendment and Restatement Date:

 Shareholder                           Class                                 Outstanding Shares
 Q’Max Solutions Holdings Inc.         N/A                                   1500
 1356760 Alberta Ltd.                  N/A                                   1500
 Q’Max Solutions Inc.                  N/A                                   14,997,000

 R.      Current Entity Name:                                      SARL Environmental Solutions Algeria
         Former Entity Name(s):                                    None
         Jurisdiction of Formation:                                Algeria
         Present Governing Jurisdiction:                           Algeria
         Registered Office:                                        5 Rue ABRI Arezki, Hydra, Municipality of
                                                                   Hydra
                                                                   Province of Algiers

         Chief Executive Office:                                   5 Rue Abri Arezki, Hydra, Algiers, Algeria

         Location(s) of Business:                                  5 Rue Abri Arezki, Hydra, Algiers, Algeria

                                                                   Environmental Solutions Free Zone Base –
                                                                   Airport Road - BP 930 Hassi Messoud, Ouargla,
                                                                   Algeria

         Number and classes of authorized shares:                  N/A
         Number and classes of outstanding shares:                 100 (obtain class-Jocelyn)
         Jurisdictions in which material business is carried on:   Algeria

The ownership interests of SARL Environmental Solutions Algeria will be as follows on the Amendment and
Restatement Date:

 Shareholder                           Class                                 Outstanding Shares
 Environmental     Solutions  for      N/A                                   49
 Petroleum Services – Free Zone –
 S.A.E.
 Adb Touabi                            N/A                                   7

 Adlane Daoudi                         N/A                                   14
 Naella Madani                         N/A                                   30

 S.      Current Entity Name:                                      International Drilling Fluids & Engineering
                                                                   Services (IDEC) LTD.
         Former Entity Name(s):                                    None
         Jurisdiction of Formation:                                BVI
         Present Governing Jurisdiction:                           BVI
         Registered Office:                                        P.O. Box 173


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                                                                   Kingson Chambers Row Town,
                                                                   Tortolla, BVI
         Chief Executive Office:                                   802, Reef Tower, Cluster O, Jumeirah Lake
                                                                   Towers P.O. Box 31968, Dubai, UAE
         Location(s) of Business:                                  Same as Chief Executive Office
         Number and classes of authorized shares:                  50,000
         Number and classes of outstanding shares:                 50,000
         Jurisdictions in which material business is carried on:   UAE, Kenya, Kurdistan

The ownership interests of International Drilling Fluids & Engineering Services (IDEC) LTD. will be as follows on
the Amendment and Restatement Date:

 Shareholder                           Class                                 Outstanding Shares
 Q’Max Solutions Inc.                  N/A                                   42500
 Wael Elessaway                        N/A                                   5000
 Seedat Ahmed                          N/A                                   2500

 T.      Current Entity Name:                                      South Sudan Branch of International Drilling
                                                                   Fluids & Engineering Services (IDEC) LTD.
         Former Entity Name(s):                                    None
         Jurisdiction of Formation:                                South Sudan
         Present Governing Jurisdiction:                           South Sudan
         Registered Office:                                        Company License expired- NO REGISTERED
                                                                   OFFICE
         Chief Executive Office:                                   N/A
         Location(s) of Business:                                  N/A
         Number and classes of authorized shares:                  N/A
         Number and classes of outstanding shares:                 N/A
         Jurisdictions in which material business is carried on:   South Sudan

The ownership interests of the South Sudan Branch of International Drilling Fluids & Engineering Services (IDEC)
LTD. will be as follows on the Amendment and Restatement Date:

 Shareholder                           Class                                 Outstanding Shares
 International Drilling Fluids &       N/A                                   N/A
 Engineering Services (IDEC) LTD.

 U.      Current Entity Name:                                      Iraqi Branch of International Drilling Fluids &
                                                                   Engineering Services (IDEC) LTD.
         Former Entity Name(s):                                    None.
         Jurisdiction of Formation:                                Erbil, Iraq Kurdistan
         Present Governing Jurisdiction:                           Erbil, Iraq Kurdistan
         Registered Office:                                        Villa No. 153, Pank City, Ankawa, Erbil
         Chief Executive Office:                                   Villa No. 153, Pank City, Ankawa, Erbil
         Location(s) of Business:                                  Erbil
         Number and classes of authorized shares:                  N/A
         Number and classes of outstanding shares:                 N/A
         Jurisdictions in which material business is carried on:   Iraq

The ownership interests of the IraqBranch of International Drilling Fluids & Engineering Services (IDEC) LTD. will
be as follows on the Amendment and Restatement Date:

 Shareholder                           Class                                 Outstanding Shares
 International Drilling Fluids &       N/A                                   N/A
 Engineering Services (IDEC) LTD.


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 V.      Current Entity Name:                                      DMCC Branch of International Drilling Fluids
                                                                   & Engineering Services (IDEC) LTD.
         Former Entity Name(s):                                    None.
         Jurisdiction of Formation:                                UAE
         Present Governing Jurisdiction:                           UAE
         Registered Office:                                        Unit 802 Reef Tower, Plot No. JLT-PH2-O1A
                                                                   Jumeriah Lakes Towers, Dubai, UAE
         Chief Executive Office:                                   Same as Registered Office
         Location(s) of Business:                                  Dubai
         Number and classes of authorized shares:                  N/A
         Number and classes of outstanding shares:                 N/A
         Jurisdictions in which material business is carried on:   DMCC

The ownership interests of the DMCC Branch of International Drilling Fluids & Engineering Services (IDEC) LTD.
will be as follows on the Amendment and Restatement Date:

 Shareholder                           Class                                 Outstanding Shares
 International Drilling Fluids &       N/A                                   N/A
 Engineering Services (IDEC) LTD.

 W.      Current Entity Name:                                      Kenya Branch of International Drilling Fluids &
                                                                   Engineering Services (IDEC) LTD.
         Former Entity Name(s):                                    None
         Jurisdiction of Formation:                                Kenya
         Present Governing Jurisdiction:                           Kenya
         Registered Office:                                        20th Floor, Lonrho House
                                                                   Standard Street
                                                                   P.O. Box 3085-00100 GPO Nairobi, Kenya
         Chief Executive Office:                                   Apartment Number A 604, Block A, 6th Floor,
                                                                   Rivera Towers, Nairobi, Kenya
         Location(s) of Business:                                  Kenya
         Number and classes of authorized shares:                  N/A
         Number and classes of outstanding shares:                 N/A
         Jurisdictions in which material business is carried on:   Kenya

The ownership interests of the Kenya Branch of International Drilling Fluids & Engineering Services (IDEC) LTD
will be as follows on the Amendment and Restatement Date:

 Shareholder                           Class                                 Outstanding Shares
 International Drilling Fluids &       N/A                                   N/A
 Engineering Services (IDEC) LTD.

 X.      Current Entity Name:                                      Tanzania Branch of International Drilling Fluids
                                                                   & Engineering Services (IDEC) LTD.
         Former Entity Name(s):                                    None
         Jurisdiction of Formation:                                Tanzania
         Present Governing Jurisdiction:                           Tanzania
         Registered Office:                                        Plot No. 18, Rukwa Street
                                                                   Masaki, Dar es Salaam
                                                                   P.O. Box 38192
                                                                   Dar es Salaam, Tanzania
         Chief Executive Office:                                   Same as Registered Office
         Location(s) of Business:                                  Tanzania
         Number and classes of authorized shares:                  N/A
         Number and classes of outstanding shares:                 N/A

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         Jurisdictions in which material business is carried on:   Tanzania

The ownership interests of the Tanzania Branchof International Drilling Fluids & Engineering Services (IDEC)
LTD. will be as follows on the Amendment and Restatement Date:

 Shareholder                           Class                                  Outstanding Shares
 International Drilling Fluids &       N/A                                    N/A
 Engineering Services (IDEC) LTD.

 Y.      Current Entity Name:                                      Central Procurement Inc.
         Former Entity Name(s):                                    None
         Jurisdiction of Formation:                                Delaware
         Present Governing Jurisdiction:                           Delaware
         Registered Office:                                        251 Little Falls Dr.
                                                                   Wilmington, DE 19808
         Chief Executive Office:                                   11700 Katy Freeway, Suite 200
                                                                   Houston, Texas 77079
         Location(s) of Business:                                  Same as Chief Executive Office
         Number and classes of authorized shares:                  Unlimited
         Number and classes of outstanding shares:                 1,000 Common Shares
         Jurisdictions in which material business is carried on:   Texas

The ownership interests of Central Procurement Inc. will be as follows on the Amendment and Restatement Date:

 Shareholder                           Class                                  Outstanding Shares
 Q’Max Solutions Inc.                  Common                                 1,000

 Z.      Current Entity Name:                                      Qmax Middle East FZE
         Former Entity Name(s):                                    None
         Jurisdiction of Formation:                                JAFZA
         Present Governing Jurisdiction:                           JAFZA
         Registered Office:                                        Office No. LB16140
                                                                   Jebel Ali, Dubai, UAE
         Chief Executive Office:                                   Office No. LB16140 Jebel Ali
                                                                   Dubai, UAE
         Location(s) of Business:                                  United Arab Emirates
         Number and classes of authorized shares:                  1- Class N/A
         Number and classes of outstanding shares:                 1-Class N/A
         Jurisdictions in which material business is carried on:   JAFZA

The ownership interests of Qmax Middle East FZE will be as follows on the Amendment and Restatement Date:

 Shareholder                           Class                                  Outstanding Shares
 Q’Max Solutions Inc.                  N/A                                    1

 AA.     Current Entity Name:                                      Q’Max Solutions Singapore Pte. Ltd.
         Former Entity Name(s):                                    None
         Jurisdiction of Formation:                                Singapore
         Present Governing Jurisdiction:                           Singapore
         Registered Office:                                        6 Temask Boulevard #29-00
                                                                   Suntec Tower Four
                                                                   Singapore 038986
         Chief Executive Office:                                   Same as Registered Office
         Location(s) of Business:                                  None
         Number and classes of authorized shares:                  N/A


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         Number and classes of outstanding shares:                  1000
         Jurisdictions in which material business is carried on:    Singapore

The ownership interests of Q’Max Solutions Singapore Pte. Ltd. will be as follows on the Amendment and
Restatement Date:

 Shareholder                            Class                                Outstanding Shares
 Q’Max Solutions Inc.                   N/A                                  1000

 BB.      Current Entity Name:                                      India Project Office of Q’Max Solutions Inc. -
                                                                    In Liquidation
          Former Entity Name(s):                                    None
          Jurisdiction of Formation:                                India
          Present Governing Jurisdiction:                           India
          Registered Office:                                        3rd Floor, 465, The Elements, Phase V
                                                                    Udyog Vihar Industrial Area Gurgaon 122015
                                                                    Haryana India
          Chief Executive Office:                                   Same as Registered Office
          Location(s) of Business:                                  N/A
          Number and classes of authorized shares:                  N/A
          Number and classes of outstanding shares:                 N/A
          Jurisdictions in which material business is carried on:   India

The ownership interests of the India Project Office of Q’Max Solutions Inc. will be as follows on the Amendment
and Restatement Date:

 Shareholder                            Class                                Outstanding Shares
 Q’Max Solutions Singapore Pte.         N/A                                  N/A
 Ltd.

 CC.      Current Entity Name:                                      Uganda Branch of Q’Max Solutions Inc.
          Former Entity Name(s):                                    None
          Jurisdiction of Formation:                                Uganda
          Present Governing Jurisdiction:                           Uganda
          Registered Office:                                        3rd Floor Rwenzori Courts Plot 2 & 4A
                                                                    Nakasero Road, P.O. Box 3509
                                                                    Kampala, Uganda
          Chief Executive Office:                                   Same as Registered Office
          Location(s) of Business:                                  Uganda
          Number and classes of authorized shares:                  N/A
          Number and classes of outstanding shares:                 N/A
          Jurisdictions in which material business is carried on:   Uganda

The ownership interests of the Uganda Branch of Q’Max Solutions Inc. will be as follows on the Amendment and
Restatement Date:

 Shareholder                            Class                                Outstanding Shares
 Q’Max Solutions Singapore Pte.         N/A                                  N/A
 Ltd.

 DD.     Current Entity Name:                                       Tri-Max Solutions Limited
         Former Entity Name(s):                                     None
         Jurisdiction of Formation:                                 Trinidad & Tobago
         Present Governing Jurisdiction:                            Trinidad & Tobago
         Registered Office:                                         Pembroke Court 17-19 Pembroke Street


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                                                                   Port of Spain
         Chief Executive Office:                                   Same as Registered Office
         Location(s) of Business:                                  Same as Registered Office
         Number and classes of authorized shares:                  Unlimited Common and Unlimited Preferred
         Number and classes of outstanding shares:                 None
         Jurisdictions in which material business is carried on:   Trinidad & Tobago

The ownership interests of Tri-Max Solutions Limited will be as follows on the Amendment and Restatement Date:

 Shareholder                           Class                                Outstanding Shares
 Q’Max Solutions Inc.                  N/A                                  None

 EE.     Current Entity Name:                                      Mud Movers Express LLC
         Former Entity Name(s):                                    None
         Jurisdiction of Formation:                                Oklahoma
         Present Governing Jurisdiction:                           Oklahoma
         Registered Office:
                                                                   10300 Greenbriar Place
                                                                   Oklahoma City, Oklahoma 73159
         Chief Executive Office:
                                                                   11700 Katy Freeway, Suite 200
                                                                   Houston, Texas 77079
         Location(s) of Business:                                  N/A- Entity conducts business under the Anchor
                                                                   dba Anchor USA
         Number and classes of authorized shares:                  N/A
         Number and classes of outstanding shares:                 N/A
         Jurisdictions in which material business is carried on:   N/A-Entity now conducts business under the
                                                                   Anchor dba- Anchor USA

 Shareholder                           Class                                Outstanding Shares
 Q’Max America Inc.                    Member Interests                     N/A

 FF.     Current Entity Name:                                      ADF SPV, LLC
         Former Entity Name(s):                                    None
         Jurisdiction of Formation:                                Delaware
         Present Governing Jurisdiction:                           Delaware
         Registered Office:                                        251 Little Falls Drive
                                                                   Wilmington, Delaware 19808
         Chief Executive Office:                                   11700 Katy Freeway, Suite 200, Houston, TX
                                                                   77079
         Location(s) of Business:                                  11700 Katy Freeway, Suite 200, Houston, TX
                                                                   77079
         Number and classes of authorized shares:                  N/A
         Number and classes of outstanding shares:                 N/A
         Jurisdictions in which material business is carried on:   N/A- Holding Company

 Shareholder                           Class                                Outstanding Shares
 Anchor Drilling Fluids USA, LLC       Member Interests                     N/A

 GG.      Current Entity Name:                                     Chad Branch of Q’Max Solutions Inc.
          Former Entity Name(s):                                   None
          Jurisdiction of Formation:                               Chad
          Present Governing Jurisdiction:                          Chad
          Registered Office:                                       Quartier Klemat, BP 324, N’djamena- Chad




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          Chief Executive Office:                                   Same as Registered Office
          Location(s) of Business:                                  Same as Registered Office
          Number and classes of authorized shares:                  N/A
          Number and classes of outstanding shares:                 N/A
          Jurisdictions in which material business is carried on:   Chad

 Shareholder                            Class                                Outstanding Shares
 Q’Max Solutions Inc.                   N/A                                                N/A


 HH.      Current Entity Name:                                      Terra Oilfield Solutions, LLC
          Former Entity Name(s):                                    Terra Environmental Solutions, LLC,
                                                                    Commander Pressure Control LLC
          Jurisdiction of Formation:                                Delaware
          Present Governing Jurisdiction:                           Delaware
          Registered Office:                                        Corporation Trust Center, 1209 Orange Street,
                                                                    Wilmington, Delaware 19801

          Chief Executive Office:                                   11700 Katy Freeway, Suite 200
                                                                    Houston, Texas 77079
          Location(s) of Business:                                  2984 N. Wingate Avenue, Odessa TX 79764
          Number and classes of authorized shares:                  N/A
          Number and classes of outstanding shares:                 N/A
          Jurisdictions in which material business is carried on:   Texas, Louisiana, New Mexico, and Oklahoma

 Shareholder                            Class                                Outstanding Shares
 Q’Max America Inc.                     Membership Interests                 N/A




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                                        SCHEDULE 6.1.3 – SUBSIDIARIES

           Name                                Subsidiary of                            Status

    1.     Q’Max Solutions Inc.                Fluid Holding Corp.                      Canadian Borrower

    2.     1356760 Alberta Ltd.                Q’Max Solutions Inc.                     Guarantor/Material
                                                                                        Subsidiary

    3.     QMax do Brasil Solucoes do          Q’Max Solutions Inc. (99.9%)             Unrestricted Subsidiary
           Petroleo Ltda.                      1356760 Alberta Ltd. (0.1%)

    4.     Q’Max America Inc.                  Central Procurement Inc. 2               US Borrower

    5.     Central Procurement Inc. 3          Q’Max Solutions Inc.                     Guarantor/Material
                                                                                        Subsidiary

    6.     QMAXECUADOR S.A.                    Q’Max Solutions Inc. (99.9%)             Unrestricted Subsidiary
                                               1356760 Alberta Ltd. (0.1%)

    7.     Q’Max Solutions Holdings Inc.       Q’Max Solutions Inc.                     Guarantor/Material
                                                                                        Subsidiary

    8.     QMax Solutions Colombia (note,      Central Procurement Inc. (Barbados)      N/A - not separate entity
           this is a branch of the Barbados
           entity, Central Procurement Inc.,
           and not a separate entity)

    9.     QMax Peru S.A.C.                    QMAXECUADOR S.A. (99.9%)                 Unrestricted Subsidiary
                                               1356760 Alberta Ltd. (0.1%)

    10.    QMax Mexico, S.A. de C.V.           Q’Max Solutions Holdings Inc. (99.99%)   Guarantor/Material
                                               1356760 Alberta Ltd. (0.01%)             Subsidiary

    11.    QMax Servicios Tecnicos, S.A. de    QMax Mexico S.A. de C.V. (99.99%)        Unrestricted Subsidiary
           C.V.                                1356760 Alberta Ltd. (0.01%)

    12.    QMax Servicios de Ingenieria,       QMax Mexico S.A. de C.V. (99.99%)        Unrestricted Subsidiary
           S.A. de C.V.                        1356760 Alberta Ltd. (0.01%)

    13.    QMax Servicios Administrativos,     QMax Mexico S.A. de C.V. (99.99%)        Unrestricted Subsidiary
           S.A. de C.V.                        1356760 Alberta Ltd. (0.01%)

    14.    Anchor Drilling Fluids USA, LLC     Q’Max America Inc.                       Guarantor/Material
                                                                                        Subsidiary

    15.    QMax Canada Operations Inc.         Q’Max Solutions Inc.                     Guarantor/Material
                                                                                        Subsidiary




2
    Incorporated in Delaware.
3
    Incorporated in Barbados.


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    16.    Environmental Solutions for        Q’Max Solutions Inc. (99.98%)           Guarantor/Material
           Petroleum Services – Free Zone –   1356760 Alberta Ltd. (0.01%)            Subsidiary
           S.A.E.                             Q’Max Solutions Holdings Inc. (0.01%)

    17.    SARL Environmental Solutions       Environmental Solutions for Petroleum   Guarantor/Material
           Algeria                            Services – Free Zone – S.A.E. (49%)     Subsidiary
                                              Abderrahmane Touabi (7%)
                                              Adlane Daoudi (14%)
                                              Naella Madani (30%)
    18.    International Drilling Fluids &    Q’Max Solutions Inc. (85%)              Unrestricted Subsidiary
           Engineering Services (IDEC)        Wael Elessawy (10%)
           LTD.                               Seedat Ahmed (5%)

    19.    South Sudan Branch of              International Drilling Fluids &         N/A - not separate entity
           International Drilling Fluids &    Engineering Services (IDEC) LTD.
           Engineering Services (IDEC)
           LTD.

    20.    Iraqi Branch of International      International Drilling Fluids &         N/A - not separate entity
           Drilling Fluids & Engineering      Engineering Services (IDEC) LTD.
           Services (IDEC) LTD.

    21.    DMCC Branch of International       International Drilling Fluids &         N/A - not separate entity
           Drilling Fluids & Engineering      Engineering Services (IDEC) LTD.
           Services (IDEC) LTD.

    22.    Kenya Branch of International      International Drilling Fluids &         N/A - not separate entity
           Drilling Fluids & Engineering      Engineering Services (IDEC) LTD.
           Services (IDEC) LTD.

    23.    Tanzania Branch of International   International Drilling Fluids &         N/A - not separate entity
           Drilling Fluids & Engineering      Engineering Services (IDEC) LTD.
           Services (IDEC) LTD.

    24.    Central Procurement Inc. 4         Q’Max Solutions Inc.                    Unrestricted Subsidiary

    25.    Qmax Middle East FZE               Q’Max Solutions Inc.                    Unrestricted Subsidiary

    27.    Q’Max Solutions Singapore Pte.     Q’Max Solutions Inc.                    Unrestricted Subsidiary
           Ltd.

    28.    India Project Office of Q’Max      Q’Max Solutions Inc.                    N/A - not separate entity
           Solutions Inc.

    29.    Uganda Branch of Q’Max             Q’Max Solutions Inc.                    N/A - not separate entity
           Solutions Inc.

    30.    Tri-Max Solutions Limited          Q’Max Solutions Inc.                    Unrestricted Subsidiary




4
    Incorporated in Delaware.


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 31.     ADF SPV, LLC                     Anchor Drilling Fluids USA, LLC   Special Purpose
                                                                            Securitization
                                                                            Subsidiary

 32.     Mud Movers Express LLC           Q’Max America Inc.                Unrestricted Subsidiary

 33.     Chad Branch of Q’Max Solutions   QMax Solutions Inc.               N/A-not separate entity.
         Inc.

 34.     Terra Oilfield Solutions, LLC    Q’Max America Inc.                Guarantor/Material
                                                                            Subsidiary




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                       SCHEDULE 6.1.5 - CONSENTS AND APPROVALS REQUIRED

     A. Contractual Consents under Material Agreement

          None.

     B. Regulatory Consents under Material Permits

          None.

     C. Contractual and Regulatory Approval

          None.

     D. Existing Currency Hedging Agreements/Licenses

          None.




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            SCHEDULE 6.1.8 – COMPLIANCE WITH LAWS AND MATERIAL PERMITS

None.




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                       SCHEDULE 6.1.10 LEASED PROPERTIES

                                   [See attached]




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                                                                                                                                          Lease or
Country                                        Address                                            City            State          Zip      Owned?
 Algeria                   5 Rue Abri Arezki, Hydra, Algiers, Algeria (Office)                  Algiers                                    Leased
                Environmental Solutions Free Zone Base – Airport Road - BP 930 Hassi
 Algeria
                                  Messoud, Ouargla, Algeria (base)                           Hassi Messoud                                 Leased
                Av. Almirante Barroso, 63, Sala 2314, Centro, Rio de Janeiro, RJ, Brasil
 Brazil                                                                                      Rio de Janeiro    Rio de Janeiro 20003-913    Leased
                                                 CEP
                         Rodovia Governador Mario Covas, nº 3255, Sala 207
                                        Bairro Padre Mathias,                                                                   29157-
 Brazil                                                                                        Cariacica       Espiritu Santo              Leased
                                             Cariacica, ES                                                                       100
                                            CEP 29157-100

                   Via BA 420, S/N, faixa 02, Nova Pojuca, Pojuca/BA, CEP 48120-                                                48120-
 Brazil                                                                                         Pojuca             Bahia                   Leased
                                                 000                                                                             000

Canada                     370, 815 8th Avenue Calgary, AB (Sales Office)                       Calgary           Alberta                  Leased
                             Leased Drilling Fluid and Mud Storage
Canada
                  Formula Powell Locations - Blackfalds, AB and Lloydminster, AB                                  Alberta                  Leased
               Colombia - Santa Marta Warehouse. Cr 31 No. 29-36 Loc. 6 Bod. 7 Manz.
Colombia                                                                                      Santa Marta       Magdalena        Na        Leased
                                                  A2
Colombia                 Colombia - Villavicencio Warehouse, Vereda la Unión                  Villavicencio       Meta           Na        Leased
                 Colombia - Yopal Warehouse Km 4 via Morichal - Complejo industrial
Colombia                                                                                         Yopal           Casanare        Na        Leased
                                  Serpet. Parque ind las Mercedes
Colombia                    Colombia Any other location, Colombia (Pozos)                                                         Na       Leased
Colombia             Colombia Calle 100 #8A- 49 Torre B oficina 1018, Colombia                  Bogotá            Bogotá        110221     Leased
Colombia                   Colombia Carrera 5 sur #29-70 Neiva, Colombia                        Neiva              Huila        410006     Leased
               Colombia Parque Empresarial San Miguel, Bodega #4 Cota - Laboratory,
Colombia
                                                                                                  Cota         Cundinamarca      Na        Leased
                                               Colombia
Colombia        Colombia Parque Industrial Las Alpujarras Barrancabermeja, Colombia         Barrancabermeja     Santander        Na        Leased
                                                                                                                  Coca -
                  Campamento Base: Km. 3 Vía Sacha, Coca - Provincia de Orellana
Ecuador                                                                                          Sacha         Provincia de     220350     Leased
                                           (Bodega)
                                                                                                                 Orellana
Ecuador          El Zurriago y El Vengador. Edificio Modigliani II. Bodega Subsuelo 2.           Quito          Pichincha       170150     Leased
 Egypt                         Ameriya Free Zone Base - Alexandra - Egypt                      Alexandra                                   Leased
 Egypt                  Villa 75 South Academy, 5th Settlement, New Cairo City               New Cairo City                                Leased
 Egypt                           Warehouse and Base - Ras garib - Egypt                        Ras Garib                                   Leased
 India                        plot no 454, village kuldiha, Durgapur- 713212                   Durgapur                                    Leased
                 The Elements, 465, Phase V, Udyog Vihar Industrial Area, Gurgaon-
 India                                                                                          Gurgaon                                    Leased
                                                   122015
                 VILLA NO 153, PANK CITY, AINKAWA, ERBIL, KURDISTAN REGION,
  Iraq
                                                    IRAQ                                         Erbil              N/A          N/A       Leased
                Apartment Number A 604, Block A, 6th Floor, Rivera Towers, Nairobi-
 Kenya
                                                    Kenya                                       Nairobi                                    Leased
               AV Justo Sierra No. 1, Fracc Justo Sierra, CP 24166, Ciudad Del Carmen,
Mexico                                                                                     Ciudad del Carmen    Campeche        24166      Leased
                                          Campeche, Planta 1 Y 2
                  Blvd. Adolfo López Mateos # 216, entre Nuevo Leon y Nayarit, Col.
Mexico                                                                                       Ciudad Madero      Tamaulipas      89410      Leased
                             Unidad Nacional. CP 89410 Cd. Madero, Tamps.
               Calle 1 Sur Lote I Manzana L, Pto. Industrial Pesquero Laguna Azul, C.P.
Mexico                                                                                     Ciudad del Carmen    Campeche        24140      Leased
                                   24140, Ciudad del Carmen, Campeche
                Carretera Federal Paraíso – El Bellote, Ría. Ceiba, Paraíso, Tabasco, CP
Mexico                                                                                          Paraiso          Tabasco        86600      Leased
                                                    86600
              Edifício RCB Business CenterCalle: Guanajuato # 230-AColonia: Rodriguez
Mexico                                                                                         Reynosa          Tamaulipas      88630      Leased
                                 C.P. 88630Ciudad: Reynosa, Tamaulipas
                Km. 2 Carretera Piedras Negras-Mata Espino Municipio de Tlalixcoyan,
Mexico                                                                                      Piedras Negras       Veracruz       95222      Leased
                                            Veracruz C.P. 95222
Mexico                Masaryk 29 piso 1, Oficina 130, Polanco| CDMX. C.P. 11570               Mexico City       Mexico City     11570      Leased
                Prolongacion Avenida 27 de Febrero # 3017 Fraccionamiento Galaxias
Mexico                                                                                        Villahermosa       Tabasco        86035      Leased
                        Villahermosa, Centro,Tabasco CP 86035 (Rented Office)
 U.S.A.                                     20 SHELL OIL ROAD                                    Baker              MT          59313      Leased
 U.S.A.                                     #20 ENCORE ROAD                                   Belle Creek           MT          59317      Leased
 U.S.A.                                  995 NORTH 5TH AVENUE                                  Brighton             CO          80603      Leased
 U.S.A.                                    4730 COUNTY RD 203                                  Carpenter            WY          82054      Leased
 U.S.A.                                  5370 POISON SPIDER RD                                   Casper             WY          82064      Leased
 U.S.A.                                   628 W KANSAS STREET                                  chickasha            OK          73018      Leased
 U.S.A.                                     10760 N 2247 ROAD                                    Clinton            OK          73601      Leased
 U.S.A.                                410 17TH STREET SUITE 320                                Denver              CO           8020      Leased
 U.S.A.                                  11108 32ND STREET SW                                 Dickenson             ND          58601      Leased
 U.S.A.                                      38 JARMON TRAIL                                    Dougals             WY          82633      Leased
 U.S.A.                                  2414 W. TOWNE STREET                                   Glendive            MT          59330      Leased
 U.S.A.                          2303 N. MULBERRY LANE (WAREHOUSE)                               Hobbs              NM          88240      Leased
 U.S.A.                                124 WYGANT ROAD, BLDG 2                                Horseheads            NY          14845      Leased
 U.S.A.                              11700 KATY FREEWAY SUITE 200                               Houston             TX          77079      Leased
                1315 WEST SAM HOUSTON PARKWAY NORTH, SUITE 180 (HOUSTON
 U.S.A.                                                                                        Houston              TX          77043      Leased
                                          TECHNOLOGY CENTER)
 U.S.A.                                    401 NW 3RD STREET                                    Kensett             AR          72082      Leased
 U.S.A.                                   545 WEST PARK ROAD                                   Leetsdale            PA          15056      Leased
 U.S.A.                                 724 BRICKWORKS DRIVE                                   Leetsdale            PA          15056      Leased
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U.S.A.                         1102 AIRPORT FERNWOOD ROAD                                McComb       MS   39648   Leased
U.S.A.                          2106 EAST COUNTRY ROAD 120                               Midland      TX   79706   Leased
U.S.A.                                6417 W INDUSTRIAL                                  Midland      TX   79706   Leased
U.S.A.                               148 MCINTYRE ROAD                                   Minden       LA   71055   Leased
U.S.A.                              200 ENTERPRISE DRIVE                             Newcomerstown    OH   43832   Leased
U.S.A.                                 3849 95TH AVE NW                                 Newtown       ND   58763   Leased
U.S.A.                        5909 N.W. EXPRESSWAY, SUITE 250                              OKC        OK   73132   Leased
U.S.A.                            2002 TILE FACTOREY ROAD                               Pallestine    TX   75801   Leased
U.S.A.                               18 MURRAY CT, APT A                                Parachute     CO   81635   Leased
U.S.A.                                     2111 W 3RD                                     Pecos       TX   79772   Leased
U.S.A.                        164 Dudley Bernard Road, Suite 611                      Port Fourchon   LA   70357   Leased
U.S.A.                                  104 14th Ave. NW                                  Sidney      MT   59270   Leased
U.S.A.                                  402 10TH AVE NE                                   Sidney      MT   59270   Leased
U.S.A.                              3067 S. HWY 37 ACCESS                              Three Rivers   TX   78071   Leased
U.S.A.                            6655 S. Lewis Ave, Suite 300                            Tulsa       OK   74136   Leased
U.S.A.                                 2400-A CLARK AVE                                 Wellsville    OH   43968   Leased
U.S.A.                         11279 PERRY HIGHWAY SUITE 505                             Wexford      PA   15090   Leased
U.S.A.                                107 SE 3RD STREET                                 Wilburton     OK   74578   Leased
U.S.A.                                    302 E 3RD ST                                  Wilburton     OK   74578   Leased
U.S.A.                                   25 HICKS ROAD                                    Wright      WY   82732   Leased
            Office # 802, Reef Tower, Jumeirah Lake Towers, P O Box 31968, Dubai -
 UAE                                                                                     Dubai                     Leased
                                              UAE
 UAE                          Office # LB16140, Jebel Ali, Dubai                        Dubai                      Leased
U.S.A.                                 220 Adams Circle                                Pocasset,      OK   73079   Leased
U.S.A.                             27902 East Hardy Road                                Spring        TX   77373   Leased
U.S.A.                               3512 North Voyager                                 Odessa        TX   79764   Leased
U.S.A.                               3518 North Voyager                                 Odessa        TX   79764   Leased
U.S.A.                               588 S.W. 6th Street                                Tuttle        OK   73089   Leased
U.S.A.                               606 S.W. 6th Street                                Tuttle        OK   73089   Leased
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                       SCHEDULE 6.1.11 - INTELLECTUAL PROPERTY




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                                      Patents

                                   [See attached]




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                                                                  QMAX Patent Matters -Pending Applications and Granted/Issued Patents
                                                                                                             July 23, 2018


File #      Title                                                                                                     Matter Type       Country                    Status      Date Filed       Application #       Patent #    Grant Date
22P01US     THERMAL PROCESS FOR TREATING HYDROCARBON-CONTAMINATED DRILL CUTTINGS                                      Utility - ORG     United States of America   Issued      Feb 20, 2002     10/080,993          6695077     Feb 24, 2004
22P01WO     THERMAL PROCESS FOR TREATING HYDROCARBON-CONTAMINATED DRILL CUTTINGS                                      Utility - ORG     PCT                        Completed   Feb 10, 2003     PCT/CA03/00199
22P01WOEP   THERMAL PROCESS FOR TREATING HYDROCARBON-CONTAMINATED DRILL CUTTINGS                                      Utility - NSPCT   European Patent Office     Issued      Feb 10, 2003     3701409.9           1476258     Apr 26, 2006
22P01WOMX   THERMAL PROCESS FOR TREATING HYDROCARBON-CONTAMINATED DRILL CUTTINGS                                      Utility - NSPCT   Mexico                     Issued      Feb 10, 2003     PA/A/04/008112      247576      Jul 27, 2007
22P02US     METHOD FOR REDUCING FORMATION DAMAGE WHEN DRILLING FOR OIL AND GAS                                        Utility - ORG     United States of America   Issued      Jul 14, 1997     08/893,048          5877126     Mar 2, 1999
22P03CA     FLUID TREATMENT PROCESS AND APPARATUS                                                                     Utility - ORG     Canada                     Issued      Jan 25, 2006     2,533,953           2533953     Nov 1, 2011
22P03MX     FLUID TREATMENT PROCESS AND APPARATUS                                                                     Utility - ORG     Mexico                     Issued      Jan 30, 2006     PA/A/06/001191      293759      Dec 14, 2011
22P03MX2    FLUID TREATMENT PROCESS AND APPARATUS                                                                     Utility - DIV     Mexico                     Issued      Jan 30, 2006     MX/A/11/008113      320445      May 22, 2014
22P03US     FLUID TREATMENT APPARATUS                                                                                 Utility - ORG     United States of America   Issued      Jan 25, 2006     11/307,143          7527726     May 5, 2009
22P03US2    FLUID TREATMENT PROCESS                                                                                   Utility - DIV     United States of America   Issued           24-Mar-09   12/410,248          7964101     Jun 21, 2011
22P04US     APPARATUS AND PROCESS FOR REMOVING DRILLING FLUID FROM DRILL CUTTINGS                                     Utility - ORG     United States of America   Issued      Feb 17, 2000     09/506,085          6530438     Mar 11, 2003
22P04WOEP   METHOD AND APPARATUS FOR CLEANING DRILL CUTTINGS                                                          Utility - NSPCT   European Patent Office     Issued      Feb 16, 2000     00904762.2          EP1153197   Apr 14, 2004
22P05CA     DRILLING FLUID                                                                                            Utility - ORG     Canada                     Issued      Sep 14, 2004     2,481,543           2481543     Oct 20, 2009
22P05US     DRILLING FLUID                                                                                            Utility - ORG     United States of America   Issued      Apr 2, 2004      10/815,826          7332458     Feb 19, 2008
22P05US2    DRILLING FLUID                                                                                            Utility - DIV     United States of America   Issued      Oct 18, 2006     11/582,311          7338593     Mar 4, 2008
22P06MX     SISTEMA DE EMULSION SALINA DE BAJA DENSIDAD (LOW DENSITY SALINE EMULSION SYSTEM)                          Utility - ORG     Mexico                     Issued      Aug 24, 2010     MX/A/10/009639      324847      Oct 8, 2014
22P07EC     NEW TECHNOLOGY DEHYDRATOR - DNT                                                                           Utility - ORG     Ecuador                    Pending     Mar 18, 2015     IEPI-2015-10430
22P07US     DEHYDRATOR SYSTEM AND METHODS OF USING THE SAME                                                           Utility - CIP     United States of America   Published   Sep 23, 2016     15/275,064
22P07WO     New Technology Dehydrator - DNT                                                                           Utility - ORG     PCT                        Published   Mar 26, 2015     PCT/EC2015/000001
22P08MX     Q Obturoil (CBJ), Sistema Obturante Para Zonas de Perdida en Pozos Petroleros Y ...                       Utility - ORG     Mexico                     Pending     Jan 16, 2015     Mx/a/2015/000725
22P09PR     3-D Drilling Fluid Systems and Methods of Making and Using the Same                                       Prov - ORG        United States of America   Pending     Feb 13, 2017     62/458,272
22P09US     Improved Rheology Drilling Fluid and Method                                                               Utility - NPNEW   United States of America   Pending     Feb 12, 2018     15/893,920
22P09WO     Improved Rheology Drilling Fluid and Method                                                               Utility - ORG     PCT                        Pending     Feb 12, 2018     PCT/US2018/017827
22P10PR     DEHYDRATOR SYSTEM AND METHODS OF USING THE SAME                                                           Prov - ORG        United States of America   Pending     Mar 8, 2017      62/468,919
22P11PR     METHOD AND SYSTEM FOR TREATMENT OF DRILLING WASTES                                                        Prov - ORG        United States of America   Pending     Mar 1, 2018      62/637,122
22P12PR     DEHYDRATOR SYSTEM AND METHODS OF USING THE SAME                                                           Prov - ORG        United States of America   Pending     Mar 12, 2018     62/641,956

22P13US     APPARATUS, METHODS AND SYSTEMS FOR REMOVING PARTICULATE IMPURITIES FROM ABOVE ABOVE A SHALE SHAKER        Utility - ORG     United States of America   Issued      May 16, 2013     13/896,317          9352264     May 31, 2016
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                                    Trademarks

                                   [See attached]




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                                                                            QMAX Pending and Registered Trademark Matters
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                             A                      B                    C                     D           E                F                G                H                                                   I




    1


            Title                          File #          Country                    Status       Application #    Date Filed     Registration #   Registration Date   GOODS AND DESCRIPTIONS:DESCRIPTION

                                                                                                                                                                        Drilling fluid services, namely consulting services, implementation and
                                                                                                                                                                        management of drilling fluid systems, preparing, monitoring, testing, handling,
                                                                                                                                                                        transporting and disposing of drilling fluids and laboratory analysis.
    2


            QMAX SOLUTIONS INC.            22M01CA         Canada                     Registered   1,125,697        Dec 18, 2001   TMA598329        Dec 22, 2003


                                                                                                                                                                        Materials for the servicing of oil and gas well drilling operations, namely drilling
                                                                                                                                                                        fluid systems, drilling fluids, drilling fluid additives and completion fluids,
                                                                                                                                                                        namely alkalinity controls, bactericides, calcium removers, corrosion inhibitors,
                                                                                                                                                                        foam control agents, emulsifying agents, filtration control agents, flocculants,
                                                                                                                                                                        lost circulation control agents, lubricants, shale control inhibitors, surface active
                                                                                                                                                                        agents, fluid thinners, dispersants, viscosifying agents, and weighting materials.
    3




                                                                                                                                                                        Drilling fluid services, namely consulting services, implementation and
                                                                                                                                                                        management of drilling fluid systems, preparing, monitoring, testing, handling,
                                                                                                                                                                        transporting and disposing of drilling fluids and laboratory analysis.
    4


            QMAX SOLUTIONS INC. & Design   22M02CA         Canada                     Registered   1,125,698        Dec 18, 2001   TMA598331        Dec 22, 2003
                                                                                                                                                                        Materials for the servicing of oil and gas well drilling operations, namely drilling
                                                                                                                                                                        fluid systems, drilling fluids, drilling fluid additives and completion fluids,
                                                                                                                                                                        namely alkalinity controls, bactericides, calcium removers, corrosion inhibitors,
                                                                                                                                                                        foam control agents, emulsifying agents, filtration control agents, flocculants,
                                                                                                                                                                        lost circulation control agents, lubricants, shale control inhibitors, surface active
                                                                                                                                                                        agents, fluid thinners, dispersants, viscosifying agents, and weighting materials.
    5




                                                                                                                                                                        Fluids used in the construction and maintenance of wells, namely drilling fluids.
    6


            MICRONAIRE                     22M03CA         Canada                     Registered   1,095,726        Mar 12, 2001   TMA578678        Apr 1, 2003
                                                                                                                                                                        Fluids used in the construction and maintenance of wells, namely workover
                                                                                                                                                                        fluids, completion fluids, stimulation fluids and spotting fluids.
    7




    8


                                                                                                                                                                        Services related to the construction and maintenance of wells.
    9


            CBMAX                          22M04CA         Canada                     Registered   1,268,966        Aug 17, 2005   TMA668514        Jul 24, 2006        Polymers used as a drilling fluid for coal bed methane drilling
1       0


            CBMAX                          22M04CN         China                      Pending      5163530          Feb 17, 2006                                        Polymers used as a drilling fluid for coal bed methane drilling
1       1


            CBMAX                          22M04US         United States of America   Registered   78/815,906       Feb 15, 2006   3394888          Mar 11, 2008        Polymers used as a drilling fluid for coal bed methane drilling
                                                                                                                                                                        Drilling fluid services, namely consulting services, implementation and
                                                                                                                                                                        management of drilling fluid systems, preparing, monitoring, testing, handling,
                                                                                                                                                                        transporting and disposing of drilling fluids and laboratory analysis.
1       2


            POLYTAR SYSTEM                 22M05CA         Canada                     Registered   1,174,477        Apr 9, 2003    TMA619977        Sep 20, 2004
                                                                                                                                                                        Materials for the servicing of oil and gas well drilling operations, namely drilling
                                                                                                                                                                        fluid systems, drilling fluids, drilling additives and completion fluids.
1       3




                                                                                                                                                                        Derivative starch for use in combination with other products in drilling fluid
1       4


            Q-STAR ENV                     22M06CA         Canada                     Registered   1,308,168        Jul 6, 2006    TMA743313        Jul 10, 2009        systems.
1       5


            QMAXDRILL                      22M07CA         Canada                     Registered   1,330,102        Jan 3, 2007    TMA706618        Feb 6, 2008         Drilling fluid additive.
1       6


            QMAXDRILL                      22M07IN         India                      Registered   1528025          Feb 5, 2007    863079           Mar 30, 2007        Drilling fluid additive.
                                                                                                                                                                        Materials for the servicing of oil and gas well drilling operations, namely drilling
                                                                                                                                                                        fluid systems, namely drilling fluids, drilling fluid additives namely, seepage loss
                                                                                                                                                                        control agents and loss circulation control agents.
1       7


            SMART SEAL                     22M08CA         Canada                     Registered   1,384,442        Feb 21, 2008   TMA763694        Apr 8, 2010
                                                                                                                                                                        Wastewater, effluent, sludge and slurry treatment systems for the purpose of
                                                                                                                                                                        clarifying wastewater for water reclamation, recycling and re-use; drilling fluid
                                                                                                                                                                        treatment systems for the purpose of removing cuttings and recovering and re-
                                                                                                                                                                        using drilling fluid; receiving boxes for wastewater, effluent, sludge, slurry and
                                                                                                                                                                        drilling fluid treatment systems.
1       8


            MUDSTRIPPER & Design (COLOR)   22M09CA         Canada                     Registered   1,624,995        May 1, 2013    TMA882070        Jul 14, 2014
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                                                                   QMAX Pending and Registered Trademark Matters
                                                                                                          July 18, 2018


                    A                      B                    C                     D           E                F                G                H                                                  I




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     Title                        File #          Country                    Status       Application #    Date Filed     Registration #   Registration Date   GOODS AND DESCRIPTIONS:DESCRIPTION
                                                                                                                                                               Custom design of wastewater, effluent, sludge, slurry and drilling fluid
                                                                                                                                                               treatment systems; installation and operation of wastewater, effluent, sludge,
                                                                                                                                                               slurry and drilling fluid treatment systems; consulting services in the field of
                                                                                                                                                               water treatment, including wastewater clarification, process water
                                                                                                                                                               management, and the treatment of wastewater, effluent, sludge, slurry and
                                                                                                                                                               drilling fluid for the purpose of recovering and re-using clarified water and
                                                                                                                                                               drilling fluid.
19
                                                                                                                                                               Wastewater, effluent, sludge and slurry treatment systems for the purpose of
                                                                                                                                                               clarifying wastewater for water reclamation, recycling and re-use; drilling fluid
                                                                                                                                                               treatment systems for the purpose of removing cuttings and recovering and re-
                                                                                                                                                               using drilling fluid; receiving boxes for wastewater, effluent, sludge, slurry and
                                                                                                                                                               drilling fluid treatment systems
20 MUDSTRIPPER & Design (COLOR)   22M09US         United States of America   Registered   85/923,298       May 3, 2013    4806315          Sep 8, 2015
                                                                                                                                                               Custom design of wastewater, effluent, sludge, slurry and drilling fluid
                                                                                                                                                               treatment systems; installation and operation of wastewater, effluent, sludge,
                                                                                                                                                               slurry and drilling fluid treatment systems; consulting services in the field of
                                                                                                                                                               water treatment, including wastewater clarification, process water
                                                                                                                                                               management, and the treatment of wastewater, effluent, sludge, slurry and
                                                                                                                                                               drilling fluid for the purpose of recovering and re-using clarified water and
                                                                                                                                                               drilling fluid.
21
                                                                                                                                                               Wastewater, effluent, sludge and slurry treatment systems for the purpose of
                                                                                                                                                               clarifying wastewater for water reclamation, recycling and re-use; drilling fluid
                                                                                                                                                               treatment systems for the purpose of removing cuttings and recovering and re-
                                                                                                                                                               using drilling fluid; receiving boxes for wastewater, effluent, sludge, slurry and
                                                                                                                                                               drilling fluid treatment systems.
22 MUDSTRIPPER                    22M10CA         Canada                     Registered   1,624,991        May 1, 2013    TMA882353        Jul 17, 2014
                                                                                                                                                               Custom design of wastewater, effluent, sludge, slurry and drilling fluid
                                                                                                                                                               treatment systems; installation and operation of wastewater, effluent, sludge,
                                                                                                                                                               slurry and drilling fluid treatment systems; consulting services in the field of
                                                                                                                                                               water treatment, including wastewater clarification, process water
                                                                                                                                                               management, and the treatment of wastewater, effluent, sludge, slurry and
                                                                                                                                                               drilling fluid for the purpose of recovering and re-using clarified water and
                                                                                                                                                               drilling fluid.
23
                                                                                                                                                               Wastewater, effluent, sludge and slurry treatment systems for the purpose of
                                                                                                                                                               clarifying wastewater for water reclamation, recycling and re-use; drilling fluid
                                                                                                                                                               treatment systems for the purpose of removing cuttings and recovering and re-
                                                                                                                                                               using drilling fluid; receiving boxes for wastewater, effluent, sludge, slurry and
                                                                                                                                                               drilling fluid treatment systems.
24 MUDSTRIPPER                    22M10US         United States of America   Registered   85/923,318       May 3, 2013    4806316          Sep 8, 2015
                                                                                                                                                               Custom design of wastewater, effluent, sludge, slurry and drilling fluid
                                                                                                                                                               treatment systems; installation and operation of wastewater, effluent, sludge,
                                                                                                                                                               slurry and drilling fluid treatment systems; consulting services in the field of
                                                                                                                                                               water treatment, including wastewater clarification, process water
                                                                                                                                                               management, and the treatment of wastewater, effluent, sludge, slurry and
                                                                                                                                                               drilling fluid for the purpose of recovering and re-using clarified water and
                                                                                                                                                               drilling fluid.
25
                                                                                                                                                               Wastewater, effluent, sludge and slurry treatment systems for the purpose of
                                                                                                                                                               clarifying wastewater for water reclamation, recycling and re-use; drilling fluid
                                                                                                                                                               treatment systems for the purpose of removing cuttings and recovering and re-
                                                                                                                                                               using drilling fluid; receiving boxes for wastewater, effluent, sludge, slurry and
                                                                                                                                                               drilling fluid treatment systems
26 MUDSTRIPPER & Design           22M11CA         Canada                     Registered   1,624,993        May 1, 2013    TMA894019        Jan 15, 2015
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     Title                File #          Country                    Status       Application #    Date Filed     Registration #   Registration Date   GOODS AND DESCRIPTIONS:DESCRIPTION
                                                                                                                                                       Custom design of wastewater, effluent, sludge, slurry and drilling fluid
                                                                                                                                                       treatment systems; installation and operation of wastewater, effluent, sludge,
                                                                                                                                                       slurry and drilling fluid treatment systems; consulting services in the field of
                                                                                                                                                       water treatment, including wastewater clarification, process water
                                                                                                                                                       management, and the treatment of wastewater, effluent, sludge, slurry and
                                                                                                                                                       drilling fluid for the purpose of recovering and re-using clarified water and
                                                                                                                                                       drilling fluid.
27
                                                                                                                                                       Wastewater, effluent, sludge and slurry treatment systems for the purpose of
                                                                                                                                                       clarifying wastewater for water reclamation, recycling and re-use; drilling fluid
                                                                                                                                                       treatment systems for the purpose of removing cuttings and recovering and re-
                                                                                                                                                       using drilling fluid; receiving boxes for wastewater, effluent, sludge, slurry and
                                                                                                                                                       drilling fluid treatment systems
28 MUDSTRIPPER & Design   22M11US         United States of America   Registered   85/923,308       May 3, 2013    4810801          Sep 15, 2015
                                                                                                                                                       Custom design of wastewater, effluent, sludge, slurry and drilling fluid
                                                                                                                                                       treatment systems; installation and operation of wastewater, effluent, sludge,
                                                                                                                                                       slurry and drilling fluid treatment systems; consulting services in the field of
                                                                                                                                                       water treatment, including wastewater clarification, process water
                                                                                                                                                       management, and the treatment of wastewater, effluent, sludge, slurry and
                                                                                                                                                       drilling fluid for the purpose of recovering and re-using clarified water and
                                                                                                                                                       drilling fluid.
29
                                                                                                                                                       Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                                       completion fluids, workover fluids and wellbore fluids; chemical additives for
                                                                                                                                                       use with drilling fluids; drilling muds and chemical drilling fluids for use in oil
30 QMAX                   22M12BR1        Brazil                     Registered   908742517        Dec 11, 2014   908742517        Jun 6, 2017         well drilling.
                                                                                                                                                       Petroleum industry power-operated equipment for drilling fluid processing and
                                                                                                                                                       solids control, namely, shakers, desanders, desitters, mud cleaners, centrifuges
31 QMAX                   22M12BR2        Brazil                     Allowed      908742703        Dec 11, 2014                                        and fluids processing units.
                                                                                                                                                       Engineering services in connection with drilling fluids and drilling fluid use, cost
                                                                                                                                                       and risk analysis, environmental and waste management planning, analysis of
                                                                                                                                                       data from wellsites and technical advice on products.
32 QMAX                   22M12BR3        Brazil                     Registered   908742797        Dec 11, 2014   908742797        Jun 6, 2017
                                                                                                                                                       Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                                       completion fluids, workover fluids and wellbore fluids; chemical additives for
                                                                                                                                                       use with drilling fluids; drilling muds and chemical drilling fluids for use in oil
33 QMAX                   22M12CA         Canada                     Registered   1,706,048        Dec 5, 2014    TMA982433        Oct 10, 2017        well drilling.
                                                                                                                                                       Engineering services in connection with drilling fluids and drilling fluid use, cost
                                                                                                                                                       and risk analysis, environmental and waste management planning, analysis of
                                                                                                                                                       data from wellsites and technical advice on products.
34
                                                                                                                                                       Petroleum industry power-operated equipment for drilling fluid processing and
                                                                                                                                                       solids control, namely, shakers, desanders, desilters, mud cleaners, centrifuges
35                                                                                                                                                     and fluids processing units.
                                                                                                                                                       Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                                       completion fluids, workover fluids and wellbore fluids; chemical additives for
                                                                                                                                                       use with drilling fluids; drilling muds and chemical drilling fluids for use in oil
36 QMAX                   22M12CO         Colombia                   Allowed      14267531         Dec 4, 2014                                         well drilling.
                                                                                                                                                       Engineering services in connection with drilling fluids and drilling fluid use, cost
                                                                                                                                                       and risk analysis, environmental and waste management planning, analysis of
                                                                                                                                                       data from wellsites and technical advice on products.
37
                                                                                                                                                       Petroleum industry power-operated equipment for drilling fluid processing and
                                                                                                                                                       solids control, namely, shakers, desanders, desilters, mud cleaners, centrifuges
38                                                                                                                                                     and fluids processing units.
                                                                                                                                                       Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                                       completion fluids, workover fluids and wellbore fluids; chemical additives for
                                                                                                                                                       use with drilling fluids; drilling muds and chemical drilling fluids for use in oil
39 QMAX                   22M12EC1        Ecuador                    Pending      IEPI-2015-142    Jan 6, 2015                                         well drilling.
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     Title             File #          Country                    Status       Application #    Date Filed     Registration #   Registration Date   GOODS AND DESCRIPTIONS:DESCRIPTION
                                                                                                                                                    Petroleum industry power-operated equipment for drilling fluid processing and
                                                                                                                                                    solids control, namely, shakers, desanders, desilters, mud cleaners, centrifuges
40 QMAX                22M12EC2        Ecuador                    Pending      IEPI-2015-139    Jan 6, 2015                                         and fluids processing units.
                                                                                                                                                    Engineering services in connection with drilling fluids and drilling fluid use, cost
                                                                                                                                                    and risk analysis, environmental and waste management planning, analysis of
                                                                                                                                                    data from wellsites and technical advice on products.
41 QMAX                22M12EC3        Ecuador                    Pending      IEPI-2015-140    Jan 6, 2015
                                                                                                                                                    Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                                    completion fluids, workover fluids and wellbore fluids; chemical additives for
                                                                                                                                                    use with drilling fluids; drilling muds and chemical drilling fluids for use in oil
42 QMAX                22M12MX1        Mexico                     Registered   1563820          Jan 7, 2015    1541496          May 26, 2015        well drilling.
                                                                                                                                                    Engineering services in connection with drilling fluids and drilling fluid use, cost
                                                                                                                                                    and risk analysis, environmental and waste management planning, analysis of
                                                                                                                                                    data from wellsites and technical advice on products.
43 QMAX                22M12MX3        Mexico                     Registered   1563824          Jan 7, 2015    1541497          May 26, 2015
                                                                                                                                                    Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                                    completion fluids, workover fluids and wellbore fluids; chemical additives for
                                                                                                                                                    use with drilling fluids; drilling muds and chemical drilling fluids for use in oil
44 QMAX                22M12PE         Peru                       Registered   601529           Dec 30, 2014   11136            Jul 9, 2015         well drilling.
                                                                                                                                                    Engineering services in connection with drilling fluids and drilling fluid use, cost
                                                                                                                                                    and risk analysis, environmental and waste management planning, analysis of
                                                                                                                                                    data from wellsites and technical advice on products.
45
                                                                                                                                                    Petroleum industry power-operated equipment for drilling fluid processing and
                                                                                                                                                    solids control, namely, shakers, desanders, desilters, mud cleaners, centrifuges
46                                                                                                                                                  and fluids processing units.
                                                                                                                                                    Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                                    completion fluids, workover fluids and wellbore fluids; chemical additives for
                                                                                                                                                    use with drilling fluids; drilling muds and chemical drilling fluids for use in oil
47 QMAX                22M12US         United States of America   Registered   86/422,347       Oct 13, 2014   4991090          Jul 5, 2016         well drilling
                                                                                                                                                    Engineering services in connection with drilling fluids and drilling fluid use, cost
                                                                                                                                                    and risk analysis, environmental and waste management planning, analysis of
                                                                                                                                                    data from wellsites and technical advice on products.
48
                                                                                                                                                    Petroleum industry power-operated equipment for drilling fluid processing and
                                                                                                                                                    solids control, namely, shakers, desanders, desilters, mud cleaners, centrifuges
49                                                                                                                                                  and fluids processing units
                                                                                                                                                    Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                                    completion fluids, workover fluids and wellbore fluids; chemical additives for
                                                                                                                                                    use with drilling fluids; drilling muds and chemical drilling fluids for use in oil
50 Q Logo Design       22M13BR1        Brazil                     Registered   908742207        Dec 11, 2014   908742207        Jun 6, 2017         well drilling.
                                                                                                                                                    Petroleum industry power-operated equipment for drilling fluid processing and
                                                                                                                                                    solids control, namely, shakers, desanders, desilters, mud cleaners, centrifuges
51 Q Logo Design       22M13BR2        Brazil                     Registered   908742266        Dec 11, 2014   908742266        Jun 6, 2017         and fluids processing units.
                                                                                                                                                    Engineering services in connection with drilling fluids and drilling fluid use, cost
                                                                                                                                                    and risk analysis, environmental and waste management planning, analysis of
                                                                                                                                                    data from wellsites and technical advice on products.
52 Q Logo Design       22M13BR3        Brazil                     Registered   908742312        Dec 11, 2014   908742797        Jun 6, 2017
                                                                                                                                                    Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                                    completion fluids, workover fluids and wellbore fluids; chemical additives for
                                                                                                                                                    use with drilling fluids; drilling muds and chemical drilling fluids for use in oil
53 Q Logo Design       22M13CA         Canada                     Registered   1,706,049        Dec 5, 2014    TMA954100        Nov 2, 2016         well drilling.
                                                                                                                                                    Engineering services in connection with drilling fluids and drilling fluid use, cost
                                                                                                                                                    and risk analysis, environmental and waste management planning, analysis of
                                                                                                                                                    data from wellsites and technical advice on products.
54
                                                                                                                                                    Petroleum industry power-operated equipment for drilling fluid processing and
                                                                                                                                                    solids control, namely, shakers, desanders, desilters, mud cleaners, centrifuges
55                                                                                                                                                  and fluids processing units.
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                                                                                                                                                    Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                                    completion fluids, workover fluids and wellbore fluids; chemical additives for
                                                                                                                                                    use with drilling fluids; drilling muds and chemical drilling fluids for use in oil
56 Q Logo Design       22M13CO         Colombia                   Registered   14267512         Dec 4, 2014    524797           Sep 23, 2015        well drilling.
                                                                                                                                                    Engineering services in connection with drilling fluids and drilling fluid use, cost
                                                                                                                                                    and risk analysis, environmental and waste management planning, analysis of
                                                                                                                                                    data from wellsites and technical advice on products.
57
                                                                                                                                                    Petroleum industry power-operated equipment for drilling fluid processing and
                                                                                                                                                    solids control, namely, shakers, desanders, desilters, mud cleaners, centrifuges
58                                                                                                                                                  and fluids processing units.
                                                                                                                                                    Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                                    completion fluids, workover fluids and wellbore fluids; chemical additives for
                                                                                                                                                    use with drilling fluids; drilling muds and chemical drilling fluids for use in oil
59 Q Logo Design       22M13EC1        Ecuador                    Pending      IEPI-2015-132    Jan 6, 2015                                         well drilling.
                                                                                                                                                    Petroleum industry power-operated equipment for drilling fluid processing and
                                                                                                                                                    solids control, namely, shakers, desanders, desilters, mud cleaners, centrifuges
60 Q Logo Design       22M13EC2        Ecuador                    Pending      IEPI-2015-134    Jan 6, 2015                                         and fluids processing units.
                                                                                                                                                    Engineering services in connection with drilling fluids and drilling fluid use, cost
                                                                                                                                                    and risk analysis, environmental and waste management planning, analysis of
                                                                                                                                                    data from wellsites and technical advice on products.
61 Q Logo Design       22M13EC3        Ecuador                    Pending      IEPI-2015-135    Jan 6, 2015
                                                                                                                                                    Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                                    completion fluids, workover fluids and wellbore fluids; chemical additives for
                                                                                                                                                    use with drilling fluids; drilling muds and chemical drilling fluids for use in oil
62 Q Logo Design       22M13MX1        Mexico                     Registered   1563822          Jan 7, 2015    1544760          May 26, 2015        well drilling.
                                                                                                                                                    Petroleum industry power-operated equipment for drilling fluid processing and
                                                                                                                                                    solids control, namely, shakers, desanders, desilters, mud cleaners, centrifuges
63 Q Logo Design       22M13MX2        Mexico                     Registered   1563825          Jan 7, 2015    1580188          Jan 7, 2015         and fluids processing units.
                                                                                                                                                    Engineering services in connection with drilling fluids and drilling fluid use, cost
                                                                                                                                                    and risk analysis, environmental and waste management planning, analysis of
                                                                                                                                                    data from wellsites and technical advice on products.
64 Q Logo Design       22M13MX3        Mexico                     Registered   1563826          Jan 7, 2015    1541498          May 26, 2015
                                                                                                                                                    Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                                    completion fluids, workover fluids and wellbore fluids; chemical additives for
                                                                                                                                                    use with drilling fluids; drilling muds and chemical drilling fluids for use in oil
65 Q Logo Design       22M13PE         Peru                       Registered   601396           Dec 29, 2014   11064            Jul 24, 2015        well drilling.
                                                                                                                                                    Engineering services in connection with drilling fluids and drilling fluid use, cost
                                                                                                                                                    and risk analysis, environmental and waste management planning, analysis of
                                                                                                                                                    data from wellsites and technical advice on products.
66
                                                                                                                                                    Petroleum industry power-operated equipment for drilling fluid processing and
                                                                                                                                                    solids control, namely, shakers, desanders, desilters, mud cleaners, centrifuges
67                                                                                                                                                  and fluids processing units.
                                                                                                                                                    Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                                    completion fluids, workover fluids and wellbore fluids; chemical additives for
                                                                                                                                                    use with drilling fluids; drilling muds and chemical drilling fluids for use in oil
68 Q Logo Design       22M13US         United States of America   Registered   86/422,422       Oct 13, 2014   4887728          Jan 19, 2016        well drilling
                                                                                                                                                    Engineering services in connection with drilling fluids and drilling fluid use, cost
                                                                                                                                                    and risk analysis, environmental and waste management planning, analysis of
                                                                                                                                                    data from wellsites and technical advice on products.
69
                                                                                                                                                    Petroleum industry power-operated equipment for drilling fluid processing and
                                                                                                                                                    solids control, namely, shakers, desanders, desilters, mud cleaners, centrifuges
70                                                                                                                                                  and fluids processing units
                                                                                                                                                    Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                                    completion fluids, workover fluids and wellbore fluids; chemical additives for
                                                                                                                                                    use with drilling fluids; drilling muds and chemical drilling fluids for use in oil
71 Q'MAX               22M14US         United States of America   Registered   86/422,393       Oct 13, 2014   5010534          Aug 2, 2016         well drilling
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                                                                                                                                        Engineering services in connection with drilling fluids and drilling fluid use, cost
                                                                                                                                        and risk analysis, environmental and waste management planning, analysis of
                                                                                                                                        data from wellsites and technical advice on products.
72
                                                                                                                                        Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                        completion fluids, workover fluids and wellbore fluids; chemical additives for
                                                                                                                                        use with drilling fluids; drilling muds and chemical drilling fluids for use in oil
73 QMAX DO BRASIL       22M15BR1        Brazil        Registered   908989547        Feb 12, 2015   908989547        Aug 22, 2017        well drilling
                                                                                                                                        Petroleum industry power-operated equipment for drilling fluid processing and
                                                                                                                                        solids control, namely, shakers, desanders, desilters, mud cleaners, centrifuges
74 QMAX DO BRASIL       22M15BR2        Brazil        Registered   908989733        Feb 12, 2015   908989733        Aug 22, 2017        and fluids processing units
                                                                                                                                        Engineering services in connection with drilling fluids and drilling fluid use, cost
                                                                                                                                        and risk analysis, environmental and waste management planning, analysis of
                                                                                                                                        data from wellsites and technical advice on products
75 QMAX DO BRASIL       22M15BR3        Brazil        Registered   908990626        Feb 12, 2015   908990626        Aug 22, 2017
                                                                                                                                        Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                        completion fluids, workover fluids and wellbore fluids; chemical additives for
                                                                                                                                        use with drilling fluids; drilling muds and chemical drilling fluids for use in oil
76 QVERT                22M16MX1        Mexico        Registered   1575303          Feb 6, 2015    1550780          Feb 6, 2015         well drilling
                                                                                                                                        Petroleum industry power-operated equipment for drilling fluid processing and
                                                                                                                                        solids control, namely, shakers, desanders, desilters, mud cleaners, centrifuges
77 QVERT                22M16MX2        Mexico        Registered   1575306          Feb 6, 2015    1543659          Feb 6, 2015         and fluids processing units
                                                                                                                                        Engineering services in connection with drilling fluids and drilling fluid use, cost
                                                                                                                                        and risk analysis, environmental and waste management planning, analysis of
                                                                                                                                        data from wellsites and technical advice on products
78   QVERT              22M16MX3        Mexico        Registered   1575307          Feb 6, 2015    1547416          Feb 6, 2015
79   Q'DNT              22M17EC1        Ecuador       Registered   44995            Aug 12, 2013   527914           Mar 17, 2014
80   Q'DNT              22M17EC2        Ecuador       Registered   44993            Aug 12, 2013   470014           Mar 17, 2014
81   Q'DNT              22M17EC3        Ecuador       Registered   44991            Aug 12, 2013   264714           Mar 18, 2014
82   Q'DNT              22M17EC4        Ecuador       Registered   44990            Aug 12, 2013   209514           Mar 18, 2014
83   Q'DNT              22M17EC5        Ecuador       Registered   44983            Aug 12, 2013   209314           Mar 18, 2014
84   Q'DNT              22M17EC6        Ecuador       Registered   44987            Aug 12, 2013   209414           Mar 18, 2014
                                                                                                                                        Fluid sealing systems that form a network of high temperature and pressure
                                                                                                                                        resistance in a formation in order to prevent the migration of fluids into the
85 Q OBTUROIL           22M18MX         Mexico        Registered   1627959          Jun 30, 2015   1577791          Jun 30, 2015        formation.
86 Q OBTUROIL           22M18MX2        Mexico        Pending      1627960          Jun 30, 2015
                                                                                                                                        Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                        completion fluids, workover fluids and wellbore fluids; chemical additives for oil
                                                                                                                                        drilling fluids; drilling muds and chemical drilling fluids for use in oil well drilling
87 QMAX Words+Design    22M19BR1        Brazil        Allowed      910145067        Oct 19, 2015
                                                                                                                                        Petroleum industry power-operated equipment for drilling fluid processing and
                                                                                                                                        solids control, namely, shakers, desanders, desilters, mud cleaners, centrifuges
88 QMAX Words_Design    22M19BR2        Brazil        Allowed      910145385        Oct 19, 2015                                        and fluids processing units
                                                                                                                                        Engineering services in connection with drilling fluids and drilling fluid use,
                                                                                                                                        environmental planning, analysis of data from well sites, namely, data about
                                                                                                                                        well fluid design, well drill cuttings, well formation stability, well borehole
                                                                                                                                        stability and well fluid circulation, and technical engineering advice on the use
                                                                                                                                        of products for drilling, namely, drilling fluids, mud products, mud systems, and
                                                                                                                                        solids and control equipment.
89 QMAX Words+Design    22M19BR3        Brazil        Allowed      910145814        Oct 19, 2015
                                                                                                                                        Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                        completion fluids, workover fluids and wellbore fluids; chemical additives for oil
                                                                                                                                        drilling fluids; drilling muds and chemical drilling fluids for use in oil well drilling.
90 QMAX Words+Design    22M19CA         Canada        Allowed      1,748,906        Oct 2, 2015
                                                                                                                                        Cost analysis; business risk management analysis; providing advice to consumers
91                                                                                                                                      regarding the selection of products to be purchased.
92                                                                                                                                      Waste management planning.
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                                                                                                                                           Engineering services in connection with drilling fluids and drilling fluid use,
                                                                                                                                           environmental planning, analysis of data from well sites, namely, data about
                                                                                                                                           well fluid design, well drill cuttings, well formation stability, well borehole
                                                                                                                                           stability and well fluid circulation, and technical engineering advice on the use
                                                                                                                                           of products for drilling, namely, drilling fluids, mud products, mud systems, and
                                                                                                                                           solids and control equipment.
93
                                                                                                                                           Petroleum industry power-operated equipment for drilling fluid processing and
                                                                                                                                           solids control, namely, shakers, desanders, desilters, mud cleaners, centrifuges
94                                                                                                                                         and fluids processing units.
                                                                                                                                           Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                           completion fluids, workover fluids and wellbore fluids; chemical additives for oil
                                                                                                                                           drilling fluids; drilling muds and chemical drilling fluids for use in oil well drilling.
95 QMAX Words+Design    22M19CO         Colombia       Registered   15278692         Nov 23, 2015   524797             Sep 23, 2015
                                                                                                                                           Engineering services in connection with drilling fluids and drilling fluid use,
                                                                                                                                           environmental planning, analysis of data from well sites, namely, data about
                                                                                                                                           well fluid design, well drill cuttings, well formation stability, well borehole
                                                                                                                                           stability and well fluid circulation, and technical engineering advice on the use
                                                                                                                                           of products for drilling, namely, drilling fluids, mud products, mud systems, and
                                                                                                                                           solids and control equipment.
96
                                                                                                                                           Petroleum industry power-operated equipment for drilling fluid processing and
                                                                                                                                           solids control, namely, shakers, desanders, desilters, mud cleaners, centrifuges
97                                                                                                                                         and fluids processing units.
                                                                                                                                           Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                           completion fluids, workover fluids and wellbore fluids; chemical additives for
                                                                                                                                           use with drilling fluids; drilling muds and chemical drilling fluids for use in oil
98 QMAX Words+Design    22M19EC1        Ecuador        Pending      2015-42246       Oct 5, 2015                                           well drilling.
                                                                                                                                           Petroleum industry power-operated equipment for drilling fluid processing and
                                                                                                                                           solids control, namely, shakers, desanders, desilters, mud cleaners, centrifuges
99 QMAX Words+Design    22M19EC2        Ecuador        Registered   2015-42247       Oct 5, 2015    IEPI2016TI006326   May 11, 2016        and fluids processing units.
                                                                                                                                           Engineering services in connection with drilling fluids and drilling fluid use, cost
                                                                                                                                           and risk analysis, environmental and waste management planning, analysis of
                                                                                                                                           data from wellsites and technical advice on products.
100 QMAX Words+Design   22M19EC3        Ecuador        Pending      2015-42250       Oct 5, 2015
                                                                                                                                           Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                           completion fluids, workover fluids and wellbore fluids; chemical additives for
                                                                                                                                           use with drilling fluids; drilling muds and chemical drilling fluids for use in oil
101 QMAX Words+Design   22M19MX1        Mexico         Registered   1664247          Oct 2, 2015    1615878            Feb 19, 2016        well drilling.
                                                                                                                                           Engineering services in connection with drilling fluids and drilling fluid use, cost
                                                                                                                                           and risk analysis, environmental and waste management planning, analysis of
                                                                                                                                           data from wellsites and technical advice on products.
102 QMAX Words+Design   22M19MX3        Mexico         Registered   1664249          Oct 2, 2015    1613359            Feb 12, 2016
                                                                                                                                           Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                           completion fluids, workover fluids and wellbore fluids; chemical additives for oil
                                                                                                                                           drilling fluids; drilling muds and chemical drilling fluids for use in oil well drilling
103 QMAX Words+Design   22M19PE         Peru           Registered   636411           Oct 7, 2015    13648              Jun 21, 2016
                                                                                                                                           Engineering services in connection with drilling fluids and drilling fluid use,
                                                                                                                                           environmental planning, analysis of data from well sites, namely, data about
                                                                                                                                           well fluid design, well drill cuttings, well formation stability, well borehole
                                                                                                                                           stability and well fluid circulation, and technical engineering advice on the use
                                                                                                                                           of products for drilling, namely, drilling fluids, mud products, mud systems, and
                                                                                                                                           solids and control equipment.
104
                                                                                                                                           Petroleum industry power-operated equipment for drilling fluid processing and
                                                                                                                                           solids control, namely, shakers, desanders, desilters, mud cleaners, centrifuges
105                                                                                                                                        and fluids processing units.
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                                                         QMAX Pending and Registered Trademark Matters
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      Title             File #          Country                    Status       Application #    Date Filed     Registration #   Registration Date   GOODS AND DESCRIPTIONS:DESCRIPTION
                                                                                                                                                     Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                                     completion fluids, workover fluids and wellbore fluids; chemical additives for oil
                                                                                                                                                     drilling fluids; drilling muds and chemical drilling fluids for use in oil well drilling.
106 QMAX Words+Design   22M19US         United States of America   Registered   86/779,606       Oct 6, 2015    5237677          Jul 4, 2017
                                                                                                                                                     Cost analysis; business risk management analysis; providing advice to consumers
107                                                                                                                                                  regarding the selection of products to be purchased.
108                                                                                                                                                  Waste management planning.
                                                                                                                                                     Engineering services in connection with drilling fluids and drilling fluid use,
                                                                                                                                                     environmental planning, analysis of data from well sites, namely, data about
                                                                                                                                                     well fluid design, well drill cuttings, well formation stability, well borehole
                                                                                                                                                     stability and well fluid circulation, and technical engineering advice on the use
                                                                                                                                                     of products for drilling, namely, drilling fluids, mud products, mud systems, and
                                                                                                                                                     solids and control equipment.
109
                                                                                                                                                     Chemicals used in industry, science and photography, as well as in agriculture,
                                                                                                                                                     horticulture and forestry; unprocessed artificial resins, unprocessed plastics;
                                                                                                                                                     manures; fire extinguishing compositions; tempering and soldering
                                                                                                                                                     preparations; chemical substances for preserving foodstuffs; tanning
                                                                                                                                                     substances; adhesives used in industry, namely, treated sea water used as a
110 QFLOW               22M22MX         Mexico                     Pending      1710374          Feb 5, 2016                                         drilling fluid.
                                                                                                                                                     Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                                     completion fluids, workover fluids and wellbore fluids; chemical additives for oil
                                                                                                                                                     drilling fluids; drilling muds and chemical drilling fluids for use in oil well drilling.
111 QFLOW               22M22US         United States of America   Pending      87/128,061       Aug 4, 2016
                                                                                                                                                     Chemicals used in industry, science and photography, as well as in agriculture,
                                                                                                                                                     horticulture and forestry; unprocessed artificial resins, unprocessed plastics;
                                                                                                                                                     manures; fire extinguishing compositions; tempering and soldering
                                                                                                                                                     preparations; chemical substances for preserving foodstuffs; tanning
                                                                                                                                                     substances; adhesives used in industry, namely, treated sea water used as a
112 QPLUG               22M23MX         Mexico                     Registered   1710375          Feb 5, 2016    1734514          Feb 5, 2016         drilling fluid.
                                                                                                                                                     Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                                     completion fluids, workover fluids and wellbore fluids; chemical additives for oil
                                                                                                                                                     drilling fluids; drilling muds and chemical drilling fluids for use in oil well drilling.
113 QPLUG               22M23US         United States of America   Allowed      87/128,075       Aug 4, 2016
                                                                                                                                                     Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                                     completion fluids, workover fluids and wellbore fluids; chemical additives for oil
                                                                                                                                                     drilling fluids; drilling muds and chemical drilling fluids for use in oil well drilling.
114 TRIMAX              22M24CO         Colombia                   Pending      SD2017/0002457 Jan 17, 2017
                                                                                                                                                     Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                                     completion fluids, workover fluids and wellbore fluids; drilling muds and
                                                                                                                                                     chemical drilling fluids for use in oil well drilling; and chemical additives for oil
115 TRIMAX              22M24MX         Mexico                     Registered   1832864          Dec 15, 2016   1733815          Dec 16, 2016        drilling fluids.
                                                                                                                                                     Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                                     completion fluids, workover fluids and wellbore fluids; drilling muds and
                                                                                                                                                     chemical drilling fluids for use in oil well drilling; and chemical additives for oil
116 TRIMAX              22M24TT         Trinidad and Tobago        Pending      52289            Jan 5, 2017                                         drilling fluids.
                                                                                                                                                     Chemical drilling fluids for use in subterranean wells, namely, drilling muds,
                                                                                                                                                     completion fluids, workover fluids and wellbore fluids; chemical additives for oil
                                                                                                                                                     drilling fluids; drilling muds and chemical drilling fluids for use in oil well drilling.
117 TRIMAX              22M24US         United States of America   Registered   87/270,230       Dec 15, 2016   5414032          Feb 27, 2018
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                                                           QMAX Pending and Registered Trademark Matters
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                                                                                                                                                       Waste treatment in the nature oil removal, solids removal, solids filtration and
                                                                                                                                                       water separation and recycling of drill cuttings, oily slop wastes, water, solids
                                                                                                                                                       and sludge from oil and gas drilling and fracking processes; chemical treatment
                                                                                                                                                       of drilling wastes from oil and gas drilling operations including chemical
                                                                                                                                                       flocculation; dewatering wastes from oil and gas drilling processes, fracking
                                                                                                                                                       operations, and oil and gas production and refinery processes; segregating liquid
                                                                                                                                                       wastes from dry cuttings; collection and recycling of waste water from oil and
                                                                                                                                                       gas drilling processes and fracking operations; solids control and mud separation
                                                                                                                                                       processes; consulting services in the field of waste treatments including
                                                                                                                                                       technical consulting in the field of solid waste management, waste water
                                                                                                                                                       removal and recycling of water from oil and gas drilling process and fracking
118 Q-ENVIRO              22M25US         United States of America   Pending      87/794,363       Feb 12, 2018                                        operations.

                                                                                                                                                       Waste treatment apparatus for chemical treatment, oil removal, water
                                                                                                                                                       separation and recycling, sedimentation, filtration, and flocculation of wastes
                                                                                                                                                       from oil and gas drilling processes, shale gas drilling and fracking operations,
                                                                                                                                                       and oil production and refinery processes; waste water treatment apparatus for
                                                                                                                                                       wastes in the nature of drill cuttings, oily slop wastes, water, solids and sludge
                                                                                                                                                       including oil removal, solids removal, solids filtration and water separation and
                                                                                                                                                       recycling; apparatus for segregating liquid wastes from drilling cuttings;
                                                                                                                                                       apparatus for mud separation processes; apparatus for solidification and
                                                                                                                                                       stabilization of wet drilling cuttings; apparatus for dewatering sludge, waste,
                                                                                                                                                       solids, drill cuttings, and drilling mud, and recycling waste water from oil and
119                                                                                                                                                    gas drilling operations.

                                                                                                                                                       Computer software for hydraulic simulation of downhole drilling operations;
                                                                                                                                                       computer software for optimizing and customizing drilling fluids to achieve a
                                                                                                                                                       temperature and pressure profile in a well, a wellbore, or a borehole; computer
                                                                                                                                                       software for drilling fluid calculations performed daily in drilling and drilling
                                                                                                                                                       fluid management including capacity, mass balance, rheology, equivalent
                                                                                                                                                       circulating density, pressure, temperature, and other parameters of overall well
120 MAXSITE               22M26US         United States of America   Pending      87/794,749       Feb 12, 2018                                        stability.
                                                                                                                                                       Custom design of wastewater, effluent, sludge, slurry and drilling fluid
121 MUDSTRIPPER MAX       22M27US         United States of America   Pending      87/816,021       Mar 1, 2018                                         treatment systems.

                                                                                                                                                       Wastewater, effluent, sludge and slurry treatment systems for the purpose of
                                                                                                                                                       clarifying wastewater for water reclamation, recycling and re-use, comprised of
                                                                                                                                                       chemical treatment units, solids coagulation and flocculation units, solids
                                                                                                                                                       separation and dewatering units, water and solids containment tanks; drilling
                                                                                                                                                       fluid treatment systems for the purpose of removing cuttings and recovering
                                                                                                                                                       and re-using drilling fluid, comprised of chemical treatment units, solids
                                                                                                                                                       coagulation and flocculation units, solids separation and dewatering units, water
                                                                                                                                                       and solids containment tanks; receiving boxes, sold as components for
                                                                                                                                                       wastewater, effluent, sludge, slurry and drilling fluid treatment systems.
122
                                                                                                                                                       Installation of wastewater, effluent, sludge, slurry and drilling fluid treatment
123                                                                                                                                                    systems.

                                                                                                                                                       Consulting services in the field of water treatment, including wastewater
                                                                                                                                                       clarification, process water management, and the treatment of wastewater,
                                                                                                                                                       effluent, sludge, slurry and drilling fluid for the purpose of recovering and re-
                                                                                                                                                       using clarified water and drilling fluid.
124
                                          Case 20-34791 Document 7-2 Filed in TXSB on 09/30/20 Page 301 of 1445
                                                              QMAX Pending and Registered Trademark Matters
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                                                                                                                                                          Chemical additives for drilling muds; chemical additives for oil well drilling fluid;
                                                                                                                                                          chemical preparations for use in industry, namely, the oil well drilling industry;
                                                                                                                                                          chemicals for use in the field of oil exploration and production; chemicals used
                                                                                                                                                          in industry, namely, the oil well drilling industry; chemicals used in oil drilling; all
                                                                                                                                                          the foregoing not for use in processes related to the separation of oil/gas from
125 ANCHOR                   22M28US         United States of America   Registered   85/749,071       Oct 9, 2012    4839121          Oct 27, 2015        water.
126 ANCHOR                   22M29US         United States of America   Registered   85/983,278       Oct 9, 2012    4737380          May 19, 2015        Well-site equipment rental, namely, rental of oil well drilling tools.
127                                                                                                                                                       Customized Drilling Fluid Engineering Services.
                                                                                                                                                          Chemical additives for drilling muds; chemical additives for oil well drilling fluid;
                                                                                                                                                          chemical preparations for use in industry; chemicals for use in the field of oil
                                                                                                                                                          exploration and production; chemicals used in industry; chemicals used in oil
128 ANCHOR DRILLING FLUIDS   22M30US         United States of America   Registered   85/539,883       Feb 10, 2012   4735566          May 12, 2015        drilling.
129                                                                                                                                                       Well-site equipment rental.
130                                                                                                                                                       Customized drilling fluid engineering services.
                                                                                                                                                          Providing oilfield services to the oil and natural gas industry, namely, oil and gas
                                                                                                                                                          well drilling on oil and gas wells, the rental of oil well drilling tools and
                                                                                                                                                          equipment for the oil and gas wells and drilling waste-water treatment and/or
                                                                                                                                                          disposable services, namely, hazardous waste disposal services to the oil and
131 ALL IN. EVERY WELL.      22M31US         United States of America   Registered   86/141,675       Dec 12, 2013   4879290          Jan 5, 2016         natural gas industry.
                                                                                                                                                          Chemicals for use in the drilling industry, namely, anionic polymers, or a blend
132 CLEARPLEX COMPLETE       22M32US         United States of America   Registered   86/141,722       Dec 12, 2013   4822825          Sep 29, 2015        of two or more anionic polymers and water.
                                                                                                                                                          Chemicals for use in the drilling industry, namely, anionic polymers; anionic
                                                                                                                                                          polymers used to coat solid materials in dewatering applications to aid in the
133 CLEARPLEX I              22M33US         United States of America   Registered   86/141,700       Dec 12, 2013   4822823          Sep 29, 2015        mechanical separation of solids.
                                                                                                                                                          Chemicals for use in the drilling industry, namely, anionic polymers; anionic
                                                                                                                                                          polymers used to coat solid materials in dewatering applications to aid in the
134 CLEARPLEX II             22M34US         United States of America   Registered   86/141,705       Dec 12, 2013   4822824          Sep 29, 2015        mechanical separation of solids.
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                        Terra Oilfield Solutions, LLC Trademarks

      Mark          App. No.     App. Date      Reg. No.       Reg. Date           Owner

                   85892903    April 2, 2013   4,639,321   November 18, 2014   TERRA OILFIELD
                                                                               SOLUTIONS, LLC




ENVIRONMENTAL
DRILLING
SOLUTIONS
WASTE
REDUCTION &
RECYCLING
                   85866525 March 4, 2013      4,635,168   November 11, 2014   TERRA OILFIELD
                                                                               SOLUTIONS, LLC




ENVIRONMENTAL
DRILLING
SOLUTIONS


                   85886048    March 25, 2013 4,535,867    May 27, 2014        TERRA OILFIELD
                                                                               SOLUTIONS, LLC




                   85866541    March 4, 2013   4,535,778   May 27, 2014        TERRA OILFIELD
                                                                               SOLUTIONS, LLC
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                                    Copyrights

None.




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                              SCHEDULE 6.1.12 - INSURANCE POLICIES

     1. Global Coverage – See attached.

     2. Foreign Placements – See attached.

     3. Trade Credit Policy – Policy Number N16812535 issued by Ace American Insurance Company for
        QMax America Inc. The Policy is effective as of May 22, 2018 and terminates on May 21, 2019.
        The policy has a $100 million limit of liability.

     4. D&O Policies

          Policy Number 1-582-76-45 issued by AIG via National Union Fire Insurance Company of
          Pittsburgh, Pa. for Q’Max Solutions Inc. The Policy is effective as of July 1, 2018 and terminates
          July 1, 2019. The policy has a $10 million limit of liability.

          Side A Policy Number 01-584-10-84 issued by AIG via National Union Fire Insurance Company
          of Pittsburgh, Pa. for Q’Max Solutions Inc. The Policy is effective as of July 1, 2018 and terminates
          July 1, 2019. The policy has a $5 million limit of liability.




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                                                                                              Q'MAX SOLUTIONS, INC.
                                                                                       2018 - 2019 SCHEDULE OF INSURANCE

                                                                                                last updated: 06/25/2018
 Coverage*/Policy No.                        Insurer                  Term        Limit of Liability
                                   Liberty Mutual Fire Insurance
 General Liability                           Company               06/01/2018 - $       2,000,000   Each Occurrence Limit                                                                 Premium                 $231,489.00
 Policy No. TB2-641-445252-038                                      06/01/2019 $        2,000,000   Fire Damage Limit ( Any One Fire)
                                         A.M. Best Rating                       $          10,000   Medical Expense Limit (Any One Person)
                                               A XV                             $       2,000,000   Person & Advertising Injury Limit (Any One Person or Organization)
                                                                                $       4,000,000   Gen. Aggregate Limit (Other Than Products/Completed Operations)
                                                                                $       4,000,000   Products/Completed Operations Aggregate Limit                                       Retention:            Guaranteed Cost



 Workers' Compensation/            Liberty Insurance Corporation   06/01/2018 -        Statutory    Workers' Compensation                                                                 Premium                 $446,726.00
 Employer's Liability                                               06/01/2019                      Employers' Liability:                                                                   TRIA*                   $8,779.00
 Policy No. WC7-641-445252-
 018                                                                              $     1,000,000 each Bodily Injury by Accident                                                      Fees/Assess.                  $3,143.00
                                         A.M. Best Rating                         $     1,000,000 policy limit for Bodily Injury by Disease                                                                       $449,869.00
                                               A XV                               $     1,000,000 each employee Bodily Injury by Disease                                                                    *included in premium


                                                                                                                                                                                       Retention:             Guaranteed Cost



                                   Liberty Mutual Fire Insurance
 Automobile Liability                        Company               06/01/2018 - $2,000,000 Combined Single Limit          — Symbol 1                                                      Premium                 $446,540.00
 Policy No. AS2-641-445252-028                                      06/01/2019 Statutory Personal Injury Protection       — Symbol 5
                                         A.M. Best Rating                       Statutory Uninsured/Underinsured Motorist — Symbol 6
                                               A XV                             Comprehensive — Symbol 2
                                                                                Collision — Symbol 2                                                                                    Retention:            Guaranteed Cost

                                                                                  Physical Damage Deductible:
                                                                                  GVW < 20,000 lb$1,000
                                                                                  GVW > 20,001 lb$5,000


 Foreign Casualty Package             ACE American Ins. Co.        06/01/2018 - General Liability:                                                                            Master GL Premium                      $7,227.00
 Policy No. PHFD38247918 001                                        06/01/2019 $     2,000,000 Each Occurrence
 General Liability                       A.M. Best Rating                       $    2,000,000 General Aggregate
                                             A++ XV                             $    2,000,000 Products/Completed Operations Aggregate
                                                                                $    2,000,000 Personal and Advertising Injury Limit (any on person or org)
                                                                                $        25,000 Medical Expense (any one person)
                                                                                $    2,000,000 Damage to Premises Rented to You Limit (any one premises)
                                                                                $    4,000,000 Controlled Master Program Capping of Limits Aggregate

                                                                                  Employee Benefits Liability:                                                                        Deductibles:          $1,000 per claim
                                                                                   $    2,000,000 Each Claim                                                              ALAE erodes the retention. Employee Benefits Liability
                                                                                   $    2,000,000 Annual Aggregate



 Foreign Casualty Package               Included in Above                         Auto:                                                                                  Contingent Auto Premium                     $2,675.00
 Auto Liability                                                                    $    1,000,000 Each Accident

                                                                                                                                                                                      Deductibles:                           Nil



*This Schedule of Policies provides a generalized and abbreviated description of the principal features of your insurance program. Please refer to the Policy form itself for a complete description of the
coverage(s) or contact your Account Executive.
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 Coverage*/Policy No.                        Insurer                  Term        Limit of Liability

 Foreign Casualty Package               Included in Above                         Employers Responsibility:                                                  Employers Responsibility Premium            $17,940.00
 Foreign Voluntary                                                                Benefits for Voluntary Compensation
 Workers Compensation/EL                                                             North Americans: State of Hire
                                                                                     Third Country Nationals: Country of Origin                                                       Deductible:                Nil
                                                                                     Local Nationals: Employers Liability Only

                                                                                  Executive Assistance Services:
                                                                                       $1,000,000 Policy Limit for Medical Assistance Services

                                                                                  Employers Liability Coverage
                                                                                   $    1,000,000 Bodily Injury by Accident (each accident)
                                                                                   $    1,000,000 Bodily Injury by Disease including endemic disease (each employee)
                                                                                   $    1,000,000 Bodily Injury by Disease including by endemic disease (policy limit)

                                                                                                                                                                             Master Policy Premium      $27,842.00
                                                                                                                                                                         Local Admitted GL Premium      $62,731.00
                                                                                                                                                                           Total Annual Premium        $90,573.00



 $25MM Umbrella                       National Fire & Marine       06/01/2018 - $       25,000,000 Occurrence                                                                           Premium        $400,000.00
 Policy No. 42-UMO-305275-01           Insurance Company            06/01/2019 $        25,000,000 Other Aggregate                                                          TX Surplus Lines Tax        $19,400.00
                                                                                $       25,000,000 Products/Completed Operations Aggregate                                      TX Stamping Fee            $600.00
                                         A.M. Best Rating                                                                                                                         Total Premium       $420,000.00
                                             A++ XV

 Terrorism                              Lloyd's of London          06/01/2018 - $      5,000,000 Per Occurrence                                                                         Premium          $38,000.00
 Policy No. PRPNA1802049                 Syndicate 1084             06/01/2019 $       5,000,000 General Aggregate
                                                                                Excludes USA, Barbados & Canada locations
                                         A.M. Best Rating                                                                                                                             Deductible     $25,000 per occ
                                               A XV



 Master Property                    Allianz Global Corporate &     06/01/2018 - $       25,000,000 Per Occurrence                                                              Non U.S. Premium         $180,840.00
 Policy No. GBP002297                       Specialty SE            06/01/2019                                                                                           U.S. Allocated Premium         $145,660.00
                                                                                           Sublimits Various
                                         A.M. Best Rating
                                              A+ XV                                      Deductible Various

                                                                                                                                                                            TX Surplus Lines Tax          $7,064.51
                                                                                                                                                                                TX Stamping Fee             $218.49
                                                                                                                                                                                  Total Premium         $333,783.00

 Business Travel Accident          National Union Fire Insurance   08/01/2016 -       $15,000,000 Per Accident (Aggregate Limit of Indemnity)                                           Premium           $2,416.00
 Policy No. GTP 0009149743          Company of Pittsburgh, PA        8/1/2017
                                                                                  Eligibility
                                         A.M. Best Rating                         Class I:             All   Executive Staff; Direct reports of the CEO
                                               A XV                               Class II:            All   Managers not in Class I
                                                                                  Class III:           All   Spouses of Class I & II Insureds
                                                                                  Class IV:            All   Dependent Child(ren) of Class I & II Insureds

                                                                                  Hazards
                                                                                  Class I:             24 Hour Business Travel; War Risk
                                                                                  Class II:            24 Hour Business Travel; War Risk


*This Schedule of Policies provides a generalized and abbreviated description of the principal features of your insurance program. Please refer to the Policy form itself for a complete description of the
coverage(s) or contact your Account Executive.
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 Coverage*/Policy No.                       Insurer                   Term     Limit of Liability
                                                                               Class III:         Family accompanying the insured
                                                                               Class IV:          Family accompanying the insured

                                                                               Hazards Applicable
                                                                               H-12: 24-Hour Accident Protection While On A Trip (Business Only)
                                                                               H-39: War Risk (Business Only)
                                                                               H-44: Fmily Accompanying the Insured (Insured Dependents Only)

                                                                               Principal Sum/AD&D Benefit
                                                                               Class I:       3 x Annual Salary up to $1,000,000
                                                                               Class II:      3 x Annual Salary up to $500,000
                                                                               Class III:     $50,000
                                                                               Class IV:      $25,000

                                                                               Benefits Applicable - Various Sublimits
                                                                               B-1 Accidental Death
                                                                               B-2 Accidental Dismemberment & Paralysis
                                                                               B-4 Bereavement and Trauma Counseling Benefit
                                                                               B-7 Coma Benefit (Revised)
                                                                               B-10 Day Care Benefit
                                                                               B-13 Emergency Evacuation with Family Travel
                                                                               B-16 Home Alteration and Vehicle Modification Benefit
                                                                               B-25 Rehabilitation Benefits
                                                                               B-26 Repatriation of Remains Benefit Rider
                                                                               B-28 Seat Belt and Air Bag (Percentage of Principal Sum) Benefit Rider (Revised)
                                                                               B-30 Tuition Benefit
                                                                               B-42 Security Evacuation
                                                                               B-44 Attendor Benefit
                                                                               B-45 Bedside Visitor Benefit Rider




*This Schedule of Policies provides a generalized and abbreviated description of the principal features of your insurance program. Please refer to the Policy form itself for a complete description of the
coverage(s) or contact your Account Executive.
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Q'Max Foreign Placements


   Country                Coverage                                 Carrier                              Limits                   Eff Date     Exp Date          Premium*
              GL & Products/Completed
                                                                                         $2MM Occurrence
BRAZIL        Operations (EL Extension if           Ace American Insurance Company                                                 6/1/2018      6/1/2019         $5,000.00
                                                                                         $2MM Aggregate
              applicable)

              GL & Products/Completed                                                    $2MM Occurrence
                                                    Ace American Insurance Company                                                 6/1/2018      6/1/2019        $10,221.00
              Operations/EL Extension                                                    $2MM Aggregate
CANADA
              Property                              Allianz                              Various - See Global Master Policy        6/1/2018      6/1/2019
                                                    Royal & Sun Alliance (RS) through
              Auto                                                                       $1,000,000 per incident                   6/1/2018      6/1/2019       $74,897 CAD
                                                    BFL

              GL & Products/Completed                                                    $2MM Occurrence
                                                    Ace American Insurance Company                                                 6/1/2018      6/1/2019        $18,394.00
              Operations/EL Extension                                                    $2MM Aggregate
              Property                              Allianz                              Various - See Global Master Policy        6/1/2018      6/1/2019
                                                                                         Liability: USD 851/425 (per loss/per                                  6.800.000 COP
COLOMBIA                                                                                                                                                       5.651.000 COP
                                                                                         person)
                                                    Liberty (for vehicle MKW 866)
              Auto                                                                                                                 6/1/2018      6/1/2019 *expiring premium
                                                    Sura Global (for vehicle RKH 786)    Own Damage/Vehicle Value:
                                                                                                                                                                shown. Pending
                                                                                         COL49,600,000 (USD 15,030)
                                                                                                                                                                confirmation of
                                                                                         Deductible:                                                           renewal premium
              GL & Products/Completed                                                    $2MM Occurrence
EGYPT                                               Ace American Insurance Company                                                 6/1/2018      6/1/2019         $3,000.00
              Operations/EL Extension                                                    $2MM Aggregate
              GL & Products/Completed                                                    $2MM Occurrence
                                                    Ace American Insurance Company                                                 6/1/2018      6/1/2019         $4,100.00
              Operations/EL Extension                                                    $2MM Aggregate
IRAQ
              Property - Villa No. 153, Pank City   UR International Insurance Company   per schedule                              6/1/2018     5/31/2019        $10,907.00
              Workers's Comp./EL                    Asia Insurance Company               Various per insured member                6/1/2018     5/31/2019         $7,897.00

              GL & Products/Completed                                                    $2MM Occurrence
                                                    Ace American Insurance Company                                                 6/1/2018      6/1/2019         $3,000.00
              Operations/EL Extension                                                    $2MM Aggregate
KENYA         Workers Compensation Common           The Heritage Insurance Company
              Law                                   Kenya Ltd.
                                                                                                         Non-renewed. To be re-instated once project starts.
                                                    The Heritage Insurance Company
              Work Injury Benefits
                                                    Kenya Ltd.

              GL & Products/Completed                                                    $2MM Occurrence
                                                                                                                                   6/1/2018      6/1/2019        $19,005.00
              Operations/EL Extension                                                    $2MM Aggregate
              Property                              Allianz                              Various - See Global Master Policy        6/1/2018      6/1/2019
MEXICO                                                                                   Third party liability - $3,000,000                                     445,142 MXN
                                                                                         Deductible - 20%                                                *expiring premium
              Auto                                  ABA                                                                            6/1/2018      6/1/2019 shown. Pending
                                                                                         Property Damage - ACV - Ded: 3%                                   confirmation of
                                                                                         Burglary-Theft - ACV - Ded: 5%                                   renewal premium
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    Country             Coverage                           Carrier                        Limits         Eff Date    Exp Date     Premium*
            Local Combined Package (Property, American Home Assurance Company
                                                                                Various                   6/2/2018     6/1/2019   4,762 AED
UNITED ARAB GL, WC) - DMCC                    (AIG)
EMIRATES    Local Combined Package (Property, American Home Assurance Company
                                                                                Various                  5/11/2018    5/10/2019   1,161 AED
            GL, WC) - JAFZA                   (AIG)

Grey highlight - locally placed policies

*Premium shown as USD unless stated otherwise
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                         SCHEDULE 6.1.13 - MATERIAL AGREEMENTS

1.        Perfolat Loan Agreement




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                           SCHEDULE 6.1.14 - LABOUR MATTERS


                 Country                  Company                  Contract Details

 Mexico                        Qmax Mexico S.A. de C.V.   Contract with Union Sindical de
                                                          Obreros de la Industria de la
                                                          Construccion; White Union to
                                                          cover Qmax Mexico; still in force




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                          SCHEDULE 6.1.15 - ENVIRONMENTAL MATTERS

          Q’Max Solutions Inc. and certain of its subsidiaries are in the business of procuring, mixing, selling
          or otherwise distributing to its customers a variety of chemicals and substances used in the oil and
          gas drilling, solids control and waste management services industry. Some of these substances are
          considered hazardous. Accordingly, it is hereby noted that Hazardous Materials are routinely
          purchased, transported on company owned or hired transport, stored in company operated or leased
          warehouses, and sold or otherwise distributed to customers. Currently, the company’s waste
          management business is only in Algeria and Iraq. This waste management business treats and
          disposes of hazardous waste and therefore, from time to time during the delivery of its waste
          treatment and disposal services, handles, treats, transports and disposes of Hazardous Materials.

1.        Disclosure of any emissions, spills, releases, or discharges into or upon (i) the air; (ii) soils, or any
          improvements located thereon; (iii) surface water or groundwater; or (iv) any sewer, septic system
          or waste treatment, storage or disposal system servicing the premises, of any Hazardous Materials
          at or from any Land owned by any Credit Party or any of the Leased Properties that would
          reasonably be expected to have a Material Adverse Effect:

          None.

2.        Disclosure of any complaint, order, directive, claim, citation, or notice from any Governmental
          Authority or any other Person has been received by any Credit Party with respect to (i) air
          emissions; (ii) spills, releases, or discharges to soils or improvements located thereon, surface
          water, groundwater or any sewer, septic system or waste treatment, storage or disposal systems
          servicing any Land owned by any Credit Party or any of the Leased Properties; (iii) noise
          emissions; (iv) solid or liquid waste disposal; (v) the use, generation, storage, transportation, or
          disposal of Hazardous Materials; or (vi) other applicable Requirements of Environmental Law
          affecting any Land owned by any Credit Party or the Leased Properties, in each case, which would
          reasonably be expected to result in a Material Adverse Change:

          None.

3.        Disclosure of any legal or administrative proceedings, investigations or claims outstanding or to
          the Credit Parties’ knowledge now threatened or pending, with respect to the presence on or under,
          or the discharge, emission, spill, radiation or disposal into, upon or from any Land owned by any
          Credit Party or any of the Leased Properties of any Hazardous Material, including the discharge,
          emission, spill, radiation or disposal of any Hazardous Material from any such Land or Leased
          Properties onto or into the atmosphere or any adjacent land, watercourse or body of water; nor
          are there any material matters under discussion with any Governmental Authority relating thereto:

          None.




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                          SCHEDULE 6.1.16 - LITIGATION

None.




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                        SCHEDULE 6.1.17 – PENSION PLANS

None.




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                             SCHEDULE 6.1.23 – TAXES

None.




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                       SCHEDULE 6.1.33 – ELIGIBLE APPROVED CONTRACTS

A.        Mexican Eligible Approved Contracts

 1.         Contract No. 423024819 entered by and between Pemex Exploracion y Produccion (“PEP”) and
            QMAX Mexico S.A. de C.V. (“QMAX”) on April 22, 2014.

 2.         Contract 423023813 entered by and between PEP and QMAX on July 27, 2013.

 3.         Contract 423014804 entered by and between PEP and QMAX on May 29, 2014.

 4.         Contract 423024814 entered by and between PEP and QMAX on April 15, 2014.

 5.         Contract 423114804 entered by and between PEP and QMAX on Aril 10, 2014.


B.        Colombian Eligible Approved Contracts

 1.        Services agreement No.5500002383 between Meta Petroleum Corp and Qmax Solutions
           Colombia dated January 14, 2013.

 2.        Services agreement No. C150413, between Hocol S.A. and Qmax Solutions Colombia.
           Amendment No. 5 dated May 15, 2015.

 3.        Services agreement No.411002023 between Parex Resources and Qmax Solutions Colombia
           dated March 25, 2015.

 4.        Services agreement No. 411002049 between Parex Resources and Qmax solutions Colombia,
           dated May 1, 2015.

 5.        Services agreement No. CNE-049-215 between CNE Oil and Gas and Qmax Solutions
           Colombia dated July 2015.

 6.        Services agreement No.8000000861 between Petrominerales and Qmax Solutions Colombia
           dated April 22, 2015.

 7.        Services agreement No.UCN-UP-222/30000906 between Ecopetrol and Qmax Solutions
           Colombia dated May 27, 2016.

 8.        Services agreement No. GEO-006-2016 between Geoproduction Oil and Gas and Qmax
           Solutions Colombia dated July 1, 2016.

 9.        Services agreement number CEC-022-2016/Act of Liquidation between CNE Oil and Gas and
           Qmax Solutions Colombia dated December 1, 2016.

 10.       Services agreement No.8100000346 between Vetra Exploracion y Produccion Colombia
           S.A.S. and Q’Max Solutions Colombia dated January 28, 2017.

 11.       Services Agreement 9800001332 between Metapetroleum Corp. Pacific Exploration &
           Production) and QMax Solutions Colombia dated November 21, 2016



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 12.       Services Agreement No. 8010013642 between Cepsa Colombia S.A. and Qmax Solutions
           Colombia dated March 15, 2017.

C.        Algerian Eligible Approved Contracts

1.        Contract No. 07/SH-AMT-FOR-DEO/15 between Sonatrach Drilling Division and
          Environmental Solutions (“ES”) and The Egyptian Mud Engineering & Chemicals Company
          (“EMEC”) dated March 8, 2015.

2.        Contract No. 04/SH-AMT-FOR-DEO15 between Sonatrach Drilling Division and ES and EMEC
          dated March 8, 2015.

3.        Contract No. 02/SH.E.-P/FOR/HSE/16 between Sonatrach Drilling Division and ES dated March
          1, 2016.

4.        Contract No. 101/HMD/DEP/2015 between Sonatrach and ES dated December 20, 2016.

5.        Contract No GW/ALG/LOG/2018-030 between GWDC and ES dated March 27, 2018.

6.        Contract No. C13/16 23636-992 between Sonatrach-Organization Ourhoud and SARL
          Environmental Solutions Algeria (“ES-Algeria”) dated September 2, 2017.

7.        Contract No. CO-16-029-FOR between Groupement Timimoun and ES-Algeria dated December
          20, 2016.

8.        Contract No. EXP X HSE 02/16 between Arzew and ES-Algeria dated April 12 2018.

D.        Egyptian Eligible Approved Contracts

1.      Contract No. OP/07/2011 between SUCO and Environmental Solutions (“ES”) dated April 3,
2011.2. Contract No. ST-CON-014-05 between Sino Tharwa and Environmental Solutions (“ES”) dated
February 27, 2014.

2.        Contract No. 928-2015/206 between GPC and Environmental Solutions (“ES”) dated April 1,
2018.

3.        Contract No. 2100000493 between Petrobel and Environmental Solutions (“ES”) dated April 1,
2016.

4.        Contract No. QPC-56B between Qarun and Environmental Solutions (“ES”) dated November 24,
2015.

5.        Contract No. 46000002651 between SDX and Environmental Solutions (“ES”) dated January 2 ,
2017.




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                          SCHEDULE 7.2.3 – INVESTMENTS

          None.




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                       SCHEDULE 7.2.6 – TRANSACTIONS WITH AFFILIATES



None.




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                             SCHEDULE 9.1 – POST-CLOSING SCHEDULE

     I.        Non-U.S./Canada Collateral Documentation

Mexico:

         Within 60 calendar days following the later of (x) receipt by QMax de México, S.A. de C.V.
(“QMax Mexico”) of signed pages on behalf of the Agent required to proceed and complete the following
steps, as applicable, and (y) the Amendment and Restatement Date (or such later date as the Agent may
agree in its reasonable discretion), QMax Mexico shall:

     i.        execute and cause to be delivered to the Agent a notarized and ratified amendment to that
               certain Non-Possessory Pledge Agreement, dated as of July 31, 2014 (the “Mexico Non-
               Possessory Pledge Agreement”), by and between QMax Mexico, as pledgor, and the Agent, as
               pledgee, reaffirming the non-possessory pledge created in favor of the Agent under the Mexico
               Non-Possessory Pledge Agreement;

     ii.       execute and cause to be delivered to the Agent a notarized and ratified amendment to that
               certain Stock Pledge Agreement, dated as of July 31, 2014 (the “Mexico Stock Pledge
               Agreement”), by and among Q’Max Solutions Holdings Inc. and 1356760 Alberta Ltd., as
               pledgors, and the Agent, as pledgee, reaffirming the stock pledge created in favor of the Agent
               under the Mexico Stock Pledge Agreement;

     iii.      execute and cause to be delivered to the Agent the notarized Shareholders’ Meeting Minutes
               of QMax Mexico approving, among other matters, the amendments and ratifications of the
               Mexico Non-Possessory Pledge Agreement and the Mexico Stock Pledge Agreement; and

     iv.       cause the registration of the Mexico Non-Possessory Pledge Agreement and the Mexico Stock
               Pledge Agreement in the Registro Único de Garantías Mobiliarias and the registration of the
               Mexico Stock Pledge Agreement in the share registry book (libro de registro de acciones) of
               QMax Mexico, as applicable.

Egypt:

         Within 60 calendar days following the later of (x) receipt by Environmental Solutions for Petroleum
Services – Free Zone – S.A.E. (“Q’Max Egypt”) of signed pages on behalf of the Agent required to proceed
and complete the following steps, as applicable, and (y) the Amendment and Restatement Date (or such
later date as the Agent may agree in its reasonable discretion), Q’Max Egypt shall:

     i.        execute and cause to be delivered to the Agent an assignment agreement (the “Egypt
               Assignment Agreement”), by and between Q’Max Egypt, as assignor, and the Agent, as
               assignee, pursuant to which Q’Max Egypt will assign its current and future insurance policies
               to the Agent;

     ii.       cause to be delivered to the relevant insurance providers of Q’Max Egypt a notice of assignment
               with respect to the Egypt Assignment Agreement;

     iii.      cause an acknowledgment of assignment from the relevant insurance providers of Q’Max
               Egypt to be delivered to the Agent;




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     iv.          execute and cause to be delivered to the Agent a guarantee agreement (the “Egypt Guarantee”),
                  by and between Q’Max Egypt, as guarantor, and the Agent, pursuant to which Q’Max Egypt
                  will guarantee the prompt payment by the Borrowers of the payment obligations under the
                  Restated and Amended Credit Agreement;

     v.           execute and cause to be delivered to the Agent the pledge of shares agreement (the “Egypt
                  Share Pledge Agreement”), by and among the Canadian Borrower, Q’Max Solutions Holdings
                  Inc. and 1356760 Alberta Ltd., as pledgors, the Agent, as pledgee, and Q’Max Egypt, pursuant
                  to which the pledgors will pledge their shares in favor of the Agent; and

     vi.          annotate the share pledge on share certificates signed by two members of the managing board
                  of Q’Max Egypt and the share ownership register of Q’Max Egypt.

Algeria:

        Within 60 calendar days following the later of (x) receipt by SARL Environmental Solutions
Algeria (“Q’Max Algeria”) of signed pages on behalf of the Agent required to proceed and complete the
following steps, as applicable, and (y) the Amendment and Restatement Date (or such later date as the
Agent may agree in its reasonable discretion), Q’Max Algeria shall cause to be delivered to the Agent:

     i.           a copy of the minutes of the extraordinary shareholders meeting of Q’Max Algeria authorizing
                  Q’Max Egypt to pledge for the benefit of the Lenders (represented by the Agent) the issued
                  and outstanding shares of Q’Max Algeria owned by Q’Max Egypt; and

     ii.          a notarized share pledge agreement in favor of the Lenders (represented by the Agent) in respect
                  of the issued and outstanding shares of Q’Max Algeria owned by Q’Max Egypt.

Colombia:

         Within 60 calendar days following receipt by Central Procurement Inc. (“Central Procurement”) of
the following promissory notes (or such later date as the Agent may agree in its reasonable discretion),
Central Procurement shall:

           iii.        upon return by the Agent of that certain Promissory Note 01, dated as of July 25, 2014, by
                       Central Procurement in favor of The Bank of Nova Scotia, execute, cause to be notarized
                       and registered and cause to be delivered to the Agent a new promissory note reflecting the
                       terms and commitments of this Agreement, in favor of Business Development Bank of
                       Canada;

           iv.         upon return by the Agent of that certain Promissory Note 02, dated as of July 25, 2014, by
                       Central Procurement in favor of HSBC Bank, USA, N.A., execute, cause to be notarized
                       and registered and cause to be delivered to the Agent a new promissory note reflecting the
                       terms and commitments of this Agreement, in favor of HSBC Bank, USA, N.A.;

           v.          upon return by the Agent of that certain Promissory Note 03, dated as of July 25, 2014, by
                       Central Procurement Inc. in favor of HSBC Bank Canada, execute, cause to be notarized
                       and registered and cause to be delivered to the Agent a new promissory note reflecting the
                       terms and commitments of this Agreement, in favor of HSBC Bank Canada;

           vi.         upon return by the Agent of that certain Promissory Note 04, dated as July 25, 2014, by
                       Central Procurement in favor of Bank of Montreal, execute, cause to be notarized and


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                        registered and cause to be delivered to the Agent a new promissory note reflecting the terms
                        and commitments of this Agreement, in favor of Bank of Montreal; and

           vii.         upon return by the Agent of that certain Promissory Note 05, dated as July 25, 2014, by
                        Central Procurement in favor of Export Development Canada, execute, cause to be
                        notarized and registered and cause to be delivered to the Agent a new promissory note
                        reflecting the terms and commitments of this Agreement, in favor of Export Development
                        Canada.

Ecuador:

         Within 60 calendar days following receipt by QMAXECUADOR S.A. (“QMax Ecuador”) of
signed pages on behalf of the Agent required to proceed and complete the following steps (or such later
date as the Agent may agree in its reasonable discretion), QMax Ecuador shall:

           i.           execute and cause to be delivered to the Agent a notarized termination agreement (the
                        “Termination Agreement”) in respect of that certain Corporate Guarantee Agreement,
                        dated as of July 31, 2014, by and between QMax Ecuador and the Agent, and cause such
                        Termination Agreement to be registered.



     II.          U.S. Real Estate

         At any time after 60 calendar days following the Amendment and Restatement Date, solely in the
event that the Borrowers wish to include any of the following properties in the Borrowing Base, the
Borrowers shall cause to be delivered to the Agent a mortgage, in form and substance reasonably
satisfactory to the Agent, creating a First Ranking Security Interest in favor of the Agent (subject to
Permitted Liens), on behalf of the Agent and the Lenders, for each of the following owned properties in
order to receive Borrowing Base credit in respect of such property.


                                Address                    City              State           Owned/Leased

      1.        2259 County Street 2810           Chickasha             OK              Owned

      2.        4402 S Mockingbird Rd.            Chickasha             OK              Owned

      3.        504 East Oklahoma Avenue          Woodward              OK              Owned

      4.        1400 South Deer Street            Canadian              TX              Owned

      5.        510 Scott St.                     Van Buren             AR              Owned

      6.        402 10th Ave NE                   Sidney                MT              Owned

      7.        2623 West 2000 South              Roosevelt             UT              Owned

      8.        2984 North Wingate Avenue         Odessa                TX              Owned




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                   THIS IS EXHIBIT”_________
                      refrred to in the Aiavit of
                      C
                   Sworn before me this            4
                   dayof                  A.D,2Oc


                             Jonathan Tomm
                           Bamster and Solicitor
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                                 FIRST AMENDING AGREEMENT

THIS FIRST AMENDING AGREEMENT (this “Agreement”) is made effective as of May 13, 2019
(the “First Amendment Date”),

BETWEEN:

                      Q’MAX SOLUTIONS INC. and Q’MAX AMERICA INC.
                                      as Borrowers

                                                   and

                               QMAX CANADA OPERATIONS INC.
                               as Specified Canadian Swingline Borrower

                                                   and

                    THE PERSONS PARTY HERETO FROM TIME TO TIME
                           IN THEIR CAPACITIES AS LENDERS
                                      as Lenders

                                                   and

                                       HSBC BANK CANADA
                                       as Administrative Agent


PREAMBLE:

A.       Pursuant to the second amended and restated credit agreement dated as of July 31, 2018, by and
         between Q’Max Solutions Inc., Q’Max America Inc., QMax Canada Operations Inc.
         (collectively, the “Borrowers”), the Agent and the Lenders from time to time party thereto (as
         amended from time to time, the “Credit Agreement”), the Agent and the Lenders agreed to
         provide the Facilities to the Borrower.

B.       The parties hereto wish to otherwise amend the Credit Agreement on the terms and conditions
         herein provided.

AGREEMENT:

         In consideration of the premises, the covenants and the agreements herein contained and for other
good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged between
the parties, the parties hereto agree as follows:

1.       Definitions. Capitalized terms used in this First Amending Agreement will, unless otherwise
         defined herein, have the meanings attributed to such terms in the Credit Agreement, as amended
         hereby.

2.       First Amendment Date. The amendments contained herein shall be effective as of the date
         hereof (the “First Amendment Date”).




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3.       Amendments. With effect as of the First Amendment Date, the Credit Agreement is hereby
         amended with the stricken text deleted (indicated textually in the same manner as the following
         example: stricken text) and with the double-underlined text added (indicated textually in the same
         manner as the following example: double-underlined text) as set forth in the pages of the Credit
         Agreement attached as Exhibit A hereto. The parties hereto agree that Schedules 1.1.204, 1.1.209
         and 1.1.252 attached to the Credit Agreement as of the Amendment and Restatement Date shall
         be deemed to refer to Schedules 1.1.205, 1.1.210 and 1.1.253 thereof, respectively, on and after
         the First Amendment Date.

4.       Representations and Warranties. Each Borrower agrees with and confirms to the Agent and the
         Lenders that as of the First Amendment Date, after giving effect to this Agreement, each of the
         representations and warranties contained in Section 6.1 of the Credit Agreement is true and
         accurate in all material respects (without duplication of any materiality qualifier contained in any
         such representations and warranties) except to the extent such representation and warranty
         expressly relates to an earlier date, in which case such representation and warranty shall be true
         and correct as of such earlier date. Further, each Borrower hereby represents and warrants to the
         Agent and the Lenders that:

         (a)     the execution and delivery of this Agreement and the performance by it of its obligations
                 under this Agreement (i) are within its corporate powers, (ii) have been duly authorized
                 by all necessary corporate action, (iii) have received all necessary governmental
                 approvals (if any required), and (iv) do not and will not contravene or conflict with any
                 provision of Applicable Law or of its constating documents or by-laws; and

         (b)     the Credit Agreement, as amended by this Agreement is a legal, valid and binding
                 obligation of it, enforceable in accordance with its terms except as such enforcement may
                 be limited by applicable bankruptcy, insolvency, reorganization, winding-up, moratorium
                 or similar Applicable Law relating to the enforcement of creditors’ rights generally and
                 by general principles of equity.

5.       Continuing Effect. Each of the parties hereto acknowledges and agrees that the Credit
         Agreement, as amended by this Agreement and all other documents entered into in connection
         therewith, will be and continue in full force and effect and are hereby confirmed and the rights
         and obligations of all parties thereunder will not be effected or prejudiced in any manner by this
         Agreement except as specifically provided herein. In addition, each Borrower acknowledges that
         the Security previously granted to the Agent by it under or in connection with the Credit
         Agreement continues in full force and effect without in any way impairing or derogating from
         any of the guarantees, indemnities, mortgages, pledges, charges, assignments, security interests
         and covenants therein contained or thereby constituted, as continuing security for all
         indebtedness, liabilities and other obligations owing by such Borrower under the Credit
         Agreement, as amended by this Agreement.

6.       Further Assurance. Each Borrower will from time to time forthwith at the Agent’s request and
         at the Borrowers’ own cost and expense make, execute and deliver, or cause to be done, made,
         executed and delivered, all such further documents, financing statements, assignments, acts,
         matters and things which may be reasonably required by the Agent and as are consistent with the
         intention of the parties as evidenced herein, with respect to all matters arising under the Credit
         Agreement and this Agreement.

7.       Expenses. Each Borrower will be liable jointly and severally for all expenses of the Agent,
         including, without limitation, reasonable documented and out-of-pocket legal fees (on a solicitor



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         and his own client full indemnity basis) and other out-of-pocket expenses in connection with the
         negotiation, preparation, establishment, operation or enforcement of the Facilities and of this
         Agreement (whether or not consummated) by the Agent and the Lenders.

8.       Governing Law. This Agreement will be governed by and construed in accordance with the laws
         in force in the Province of Alberta from time to time.

9.       Counterparts. This Agreement may be executed in any number of counterparts (including by
         facsimile or pdf transmission), each of which when executed and delivered will be deemed to be
         an original, but all of which when taken together constitutes one and the same instrument. Any
         party hereto may execute this Agreement by signing any counterpart.

                                         [signature pages follow]




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         IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly executed
by their respective authorized officers as of the First Amendment Date.


                                             Q’MAX SOLUTIONS INC., as Canadian Borrower

                                                        ElSIGAfflbfrTnSffia Carter
                                             By:        on 201^S)M^2;UTr28 GMT__________
                                                     Name: Celina Carter
                                                     Title: Secretary



                                             Q’MAX AMERICA INC., as U.S. Borrower

                                                        E-SIGNgflhfrTOelioa Carter
                                             By:       on 20’3l9iD|M5/22WT31 GMT
                                                     Name: Celina Carter
                                                     Title: Secretary


                                             QMAX CANADA OPERATIONS INC., as Specified
                                             Canadian Swingline Borrower
                                                         E-SIG,            a_Carter
                                                        on 201             :33 GMT
                                             By:
                                                     Name: Celina Carter
                                                     Title: Secretary




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                                  HSBC BANK CANADA, as Agent


                                  By:    CMmk
                                          Name:              ^tbcm ^w J
                                          Title. AuXHofiitrZO ^(O^A-TsiLy

                                  By:
                                          Name
                                          Title:




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                                   HSBC BANK CANADA, as Lender


                                   By:
                                                                 ------dteSift-gelftimidt
                                           Name:
                                                                 Assistant Vice President
                                           Title:                   Energy Financing
                                   By:       _                   -BRUCE ROBINSON
                                           Name:                    Vice President
                                           Title:                  Energy Financing




                     [First Amending Agreement - Q’Max]
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                                   BANK OF MO                i,   asiréndei


                                   By:
                                           Name:
                                           Title:
                                                           Connor Irving
                                   By:
                                           Name:
                                                           —Director—
                                           Title:




                      [First Amending Agreement - Q’Max]
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                                            Name:      Christopher Wilson
                                            Title:     Senior Financing Manager
                                    By:   __________

                                            Title:         Matthew Visser
                                                           Senior Associate




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                                    BUSINESS DEVELOPMENT BANK OF
                                    CANADA, as Lender


                                    By:
                                            Name:                  Derek Church
                                            Title:        Director, Business Restructuring

                                    By:
                                            Name:                ,,
                                            Title-    «          Mark Kearl
                                                     AVP, Business Restructuring




                      [First Amending Agreement - Q’Max]
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                                    HSBC BANK USA, NATIONAL ASSOCIATION,
                                   as Lender




                      [First Amending Agreement - Q’Max]
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                                Exhibit A

                   Conformed Copy of Credit Agreement

                              [see attached.]
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                                            Execution VersionExhibit   A to First Amending Agreement

[Conformed Credit Agreement reflecting the First Amending Agreement, dated as of May 13,
2019]

                               SECOND AMENDED AND RESTATED
                                    CREDIT AGREEMENT



                                                Among

                       Q’MAX SOLUTIONS INC. and Q’MAX AMERICA INC.
                                       as Borrowers

                                                  and

                               QMAX CANADA OPERATIONS INC.
                               as Specified Canadian Swingline Borrower

                                                  and

                       THE PERSONS PARTY HERETO FROM TIME TO TIME
                              IN THEIR CAPACITIES AS LENDERS
                                         as Lenders

                                                  and

                                       HSBC BANK CANADA
                                       as Administrative Agent

                                               and with

                                        HSBC BANK CANADA
                          as Sole Lead Arranger, Bookrunner, Syndication Agent
                                        and Documentation Agent



                                       Dated as of July 31, 2018




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                SECOND AMENDED AND RESTATED CREDIT AGREEMENT

         This Agreement is dated as of July 31, 2018,

AMONG:

                       Q’MAX SOLUTIONS INC. and Q’MAX AMERICA INC.
                                       as Borrowers

                                                – and –

                               QMAX CANADA OPERATIONS INC.
                               as Specified Canadian Swingline Borrower

                                                – and –

                       THE PERSONS PARTY HERETO FROM TIME TO TIME
                              IN THEIR CAPACITIES AS LENDERS
                                         as Lenders

                                                – and –

                                       HSBC BANK CANADA,
                                        as Administrative Agent

                                                – with –

                                        HSBC BANK CANADA,
                          as Sole Lead Arranger, Bookrunner, Syndication Agent
                                        and Documentation Agent

PREAMBLE:

A.       The Borrowers have requested and the Lenders have agreed to further amend and restate
         the credit facilities under the Existing Credit Agreement and to continue to provide
         certain credit facilities on the terms and conditions and for the purposes set out in this
         Agreement.

B.       HSBC has agreed to continue to act as administrative agent for the Lenders under the
         Facilities on the terms and conditions and for the purposes set out in this Agreement.

AGREEMENT:

       In consideration of the covenants and agreements between the Parties contained in this
Agreement and other good and valuable consideration, the receipt and sufficiency of which are
hereby acknowledged, the Parties agree as follows:




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                                             ARTICLE 1
                                          INTERPRETATION

1.1      Definitions

        In this Agreement, the following words and phrases shall have the respective meanings
set forth below:

         1.1.1         “Acceleration Date” means the earlier of:

         (a)      the occurrence of an Insolvency Event in respect of any Credit Party; and

         (b)      the delivery by the Agent to the Borrower of a written notice that the Obligations
                  are immediately due and payable, following the occurrence and during the
                  continuation of an Event of Default other than an Insolvency Event.

         1.1.2    “Acceptable Account Debtors” means those account debtors in respect of
         Eligible Receivables who have Investment Grade long term unsecured debt ratings or are
         otherwise acceptable to the Required Lenders, in their Permitted Discretion.

         1.1.3    “Account Receivable Insurance” means one or more credit insurance policies
         issued by (a) Export Development Canada, (b) Export-Import Bank of the United States,
         or (c) such other governmental entity of Canada or the U.S. or a private insurer, in either
         case, with, and only for so long as such other insurer maintains, a credit rating of at least
         A by Standard & Poor’s Ratings Services (or an equivalent rating issued by another rating
         agency acceptable to the Required Lenders, acting reasonably) that is reasonably
         acceptable to the Required Lenders, in each case, together with all endorsements and
         agreements related thereto (including a tripartite agreement among the insured, the insurer
         and the Agent), and on terms and in amounts reasonably acceptable to Agent and which
         provides for the payment of claims thereunder directly to Agent.

         1.1.4    “Acquired Business” means the entity or assets acquired by a Credit Party in an
         Acquisition consummated after the date hereof.

         1.1.5     “Acquisition” means any transaction or series of related transactions for the
         purpose of or resulting, directly or indirectly, in (a) the acquisition of all or substantially
         all of the assets of a Person, or of any business or division of a Person, (b) the acquisition
         of a controlling interest in the capital stock, partnership interests, membership interests or
         equity of any Person (other than a Person that is a Subsidiary or the formation of a
         Subsidiary solely to facilitate a Permitted Acquisition), or (c) a merger, amalgamation,
         consolidation or any other combination with another Person (other than a Person that is a
         Credit Party); provided, that the Borrower or a Person that is or will become a Credit
         Party is the surviving entity.

         1.1.6    “Advance” means an extension of credit by one or more of the Lenders to a
         Borrower pursuant to this Agreement (including by way of issuance of a Letter of Credit
         or by way of any other Loan permitted by Section 2.7.2 under the Swingline), but does
         not include any Conversion or Rollover.

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         1.1.7   “Advisory Services Agreement” means the management and advisory service
         agreement dated as of May 23, 2014 between the Canadian Borrower and Palladium, as
         the same may be amended restated or supplemented from time to time permitted
         hereunder.

         1.1.8    “Affiliate” means with respect to any Person, any Person directly or indirectly
         controlling, controlled by or under direct or indirect common control with such other
         Person.

         1.1.9   “Agent” means HSBC in its capacity as administrative agent hereunder and any
         successors in such capacity appointed as agent pursuant to Section 11.18.

         1.1.10 “Agreement” means this amended and restated credit agreement (including the
         exhibits and schedules) as it may be amended, replaced or restated from time to time.

         1.1.11 “Amendment and Restatement Date” means the date of this Agreement or
         such later Business Day upon which each condition in Section 9.1 shall be satisfied or
         waived in a manner acceptable to the Required Lenders in their discretion.

         1.1.12        “Anchor” means Anchor Drilling Fluids USA, LLC.

         1.1.13 “Anchor Acquisition Agreement” means the Membership Interest Purchase
         Agreement, dated as of November 21, 2017, by and among Anchor Drilling Fluids USA,
         LLC, a Delaware limited liability company, Calumet Operating, LLC, a Delaware limited
         liability company, Q’Max Solutions Inc., a British Columbia corporation, and Q’Max
         America Inc., a Delaware corporation.

         1.1.14 “Anchor Sale and Leaseback Transaction” means any arrangement, whether
         in one transaction or in a series of transactions, with any Person whereby Anchor sells or
         transfers all or some portion of its truck fleet or similar motor vehicles, whether now
         owned or hereafter acquired, and thereafter, as part of such transaction, rents or leases
         such property that it intends to use for substantially the same purpose or purposes as the
         property being sold or transferred.

         1.1.15 “Annual Management Fee Cap” means U.S. $2,500,000 in the aggregate in
         any Fiscal Year.

         1.1.16 “Applicable Law” means, in respect of any Person, property, transaction or
         event, all Laws applicable thereto.

         1.1.17 “Applicable Margin” means, in respect of any Fiscal Quarter and in respect of
         any Availment Option or standby fee, the percentage in the column relating to such
         Availment Option or standby fee in the following table which corresponds to the Net
         Leverage Ratio in respect of such Fiscal Quarter described in the first column; subject to
         adjustment from time to time in accordance with Section 5.1.4:




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                                                                                             Standby Fee (For
                                        Canadian Dollar Prime
                                                                  BA Fee, LIBOR Loans       Canadian Operating
                                       Based Loans, U.S. Dollar
  Level*         Net Leverage Ratio                               and Financial Letter of    Facility and U.S.
                                       Base Rate Loans and U.S.
                                                                      Credit Fee**           Operating Facility
                                       Dollar Prime Rate Loans
                                                                                                   only)
     I                 < 1.50:1                100 bps                   200 bps                45.000 bps
    II            ≥ 1.50:1 < 2.00:1            125 bps                   225 bps                50.625 bps
    III           ≥ 2.00:1 < 2.50:1            175 bps                   275 bps                61.875 bps
    IV            ≥ 2.50:1 < 3.00:1            200 bps                   300 bps                67.500 bps
    V             ≥ 3.00:1 < 3.50:1            275 bps                   375 bps                84.375 bps
    VI            ≥ 3.50:1 < 4.00:1            325 bps                   425 bps                95.625 bps
   VII                 ≥ 4.00:1                375 bps                   475 bps                106.875 bps


           * On the Amendment and Restatement Date, the Applicable Margin shall be deemed to
           be at Level VII and shall remain at Level VII at all times during the Covenant Relief
           Period.

           **Non-Financial Letters of Credit will be issued at 66⅔% of the pricing quoted above for
           Financial Letters of Credit.

           1.1.18 “Approved Fund” means any Fund that is administered or managed by (a) a
           Lender, (b) an Affiliate of a Lender or (c) an entity or an Affiliate of an entity that
           administers or manages a Lender.

           1.1.19 “Assignment” means an agreement whereby a financial institution becomes a
           Lender substantially in the form of Exhibit “G”, with the blanks completed.

           1.1.20 “Availment Option” means a method of borrowing which is available to the
           Borrower as provided herein and in respect of each Facility, means those particular
           methods of borrowing which are specifically identified as being available thereunder (in
           the case of the Canadian Operating Facility under Section 2.5.1, in the case of the Facility
           under Section 3.5.1 and in the case of the U.S. Operating Facility under Section 4.5.1).

           1.1.21 “BA Equivalent Loan” means an Advance in Canadian Dollars made by a
           Non-BA Lender pursuant to Section 5.10.2.

           1.1.22 “BA Lender” means a Lender identified in Exhibit “A” attached hereto as a
           Lender which will accept Bankers’ Acceptances hereunder.

           1.1.23 “Bankers’ Acceptance” means a bill of exchange or a blank non-interest
           bearing depository bill as defined in the Depository Bills and Notes Act (Canada) drawn
           by the Borrower and accepted by a BA Lender in respect of which the Borrower becomes
           obligated to pay the face amount thereof to the holder (which may be a third party or such
           BA Lender) upon maturity.

           1.1.24 “Banking Service Agreements” means agreements made between a Borrower
           or any other Credit Party and the Agent or any Lender or any of their respective Affiliates
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         in respect of payment cards, credit cards, cash management, payroll, pooling, netting, or
         other banking services; and “Banking Service Agreement” means any one of them as
         required by the context.

         1.1.25 “Banking Services Liabilities” mean, collectively, any and all direct and
         indirect, contingent and absolute obligations and liabilities of each Borrower and each
         other Credit Party to the Agent, any Lender or any of their respective Affiliates in respect
         of any Banking Service Agreement as the Credit Parties may from time to time enter into
         with the Agent, any Lender or any of their respective Affiliates; provided, that a liability
         shall constitute a “Banking Service Liability” if the agreement under which it arose was
         entered into with the Person who was an Agent, Lender or the Affiliate of a Person who
         was an Agent or Lender, at the time such agreement was entered into, regardless of
         whether such Agent or Lender ceased to be the Agent or a Lender hereunder.

         1.1.26 “BCBCA” means the Business Corporations Act (British Columbia), as
         amended from time to time.

         1.1.27 “BIA” means the Bankruptcy and Insolvency Act (Canada), as amended from
         time to time.

         1.1.28 “Borrowers” means, collectively, the Canadian Borrower, the Specified
         Canadian Swingline Borrower and the U.S. Borrower and “Borrower”, means any one of
         them; provided, that “Borrower”, in the context of provision hereunder relating to:

         (a)      the Term Facility and the Canadian Operating Facility, and Loans thereunder,
                  shall mean the Canadian Borrower and its successors and assigns;

         (b)      the U.S. Operating Facility, and Loans thereunder, shall mean the U.S. Borrower
                  and its successors and assigns; and

         (c)      the Swingline, and Loans thereunder, shall mean the applicable Swingline
                  Borrower and its successors and assigns.

         1.1.29 “Borrowing Base” means the amount in U.S. Dollars calculated by the
         Borrower and approved by the Agent, in its sole discretion, as set out in the most recent
         Borrowing Base Certificate, being the aggregate amount of (without duplication):

         (a)      Marginable Receivables; plus

         (b)      Marginable Inventory; plus

         (c)      Marginable Cash; plus

         (d)      Marginable Capital Assets; minus

         (e)      Priority Claims; minus



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         (f)      $150,000 (but only until such time as the Agent and HSBC US have received an
                  environmental report or other information from or on behalf of Anchor which is
                  satisfactory to each of them (acting reasonably) related to the Norge, Oklahoma
                  and Roosevelt, Utah properties owned by the Credit Parties, and the Agent and
                  HSBC US agree to no longer require the reserve set out in this clause (f)),
                  provided such reserve shall only apply to the extent such properties form part of
                  the Borrowing Base, minus

         (g)      the amount in U.S. Dollars of unrealized losses resulting from mark to market
                  accounting for hedging activities calculated in accordance with GAAP, minus

         (h)      the amount in U.S. Dollars of any deductible payable in respect of the Account
                  Receivable Insurance (other than in respect of Anchor, Terra and their respective
                  Subsidiaries), minus

         (i)      any amount that is payable to the insurer under the Account Receivable Insurance
                  (other than in respect of Anchor, Terra and their respective Subsidiaries).

         1.1.30 “Borrowing Base Certificate” means a certificate of the Canadian Borrower,
         substantially in the form of Exhibit “H”.

         1.1.31        “Borrowing Base Shortfall” is defined under Section 5.3.5.

         1.1.32        “Business Day” means:

         (a)      for the purpose of giving any communication pursuant to Section 13.11 and in the
                  context of U.S. Dollar Base Rate Loans and U.S. Dollar Prime Rate Loans, a day
                  on which the main branches of the Agent or any of its Affiliates in Toronto,
                  Calgary, Montreal, Quebec and New York are open for normal banking business;

         (b)      for purposes of LIBOR Loans, also must be a LIBOR Business Day; and

         (c)      for all other purposes, a day on which the main branch of the Agent in Calgary,
                  Alberta, Montreal, Quebec and Toronto, Ontario is open for normal banking
                  business,

         but in any event not including a Saturday or Sunday or other day on which banks in
         Calgary or Toronto are authorized or required by law to close.

         1.1.33 “Calumet” means Calumet Operating, LLC and its successors and permitted
         assigns.

         1.1.34 “Canadian Borrower” means Q’Max Solutions Inc., a corporation
         amalgamated pursuant to the BCBCA, and its successors and permitted assigns.

         1.1.35 “Canadian Dollar Prime Rate Loan” means a loan made by a Lender to the
         Canadian Borrower in Canadian Dollars in respect of which interest is determined by


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         reference to the Canadian Prime Rate, but excluding Advances in the form of Overdrafts
         and BA Equivalent Loans.

         1.1.36        “Canadian Dollars” or “Cdn. $” means the lawful money of Canada.

         1.1.37        “Canadian Operating Facility” is defined in Section 2.1.

         1.1.38 “Canadian Operating Facility Commitment” means, as the context requires,
         (a) as of the Amendment and Restatement Date, collectively with respect to all Canadian
         Operating Lenders, in the aggregate, U.S. $109,681,471 or the Equivalent Amount in
         Cdn. $ (or any combination thereof), as otherwise increased or decreased pursuant to this
         Agreement and (b) means, with respect to each individual Canadian Operating Lender,
         the individual commitment amount of such Lender in the maximum principal amount
         indicated opposite such Canadian Operating Lender’s name in Exhibit “A” under the
         heading “Canadian Operating Facility Commitments”, as amended from time to time.

         1.1.39 “Canadian Operating Facility Limit” means the lesser of (a) the Canadian
         Operating Facility Commitment, and (b) the sum of the Borrowing Base less the then
         outstanding Advances under the Term Facility and the U.S. Operating Facility.

         1.1.40 “Canadian Operating Lenders” means the Lenders who have provided a
         Commitment under the Canadian Operating Facility as set forth in Exhibit “A”.

         1.1.41        “Canadian Prime Rate” means the greater of the following:

         (a)      the rate of interest announced from time to time by the Agent as its reference rate
                  then in effect for determining rates of interest on Canadian dollar loans to its
                  customers in Canada and designated as its prime rate; and

         (b)      the 30-day CDOR Rate plus 1% per annum;

         provided that if the Canadian Prime Rate calculated for any purpose would be less than
         zero on any day, then such rate shall be deemed to be zero for such purpose.

         1.1.42 “Capital Adequacy Requirements” means the Guideline dated January 2017,
         entitled “Capital Adequacy Requirements (CAR)” issued by OSFI and all other guidelines
         or requirements relating to capital adequacy issued by OSFI or any other Governmental
         Authority regulating or having jurisdiction with respect to any Lender, as amended,
         modified, supplemented, reissued or replaced from time to time.

         1.1.43 “Capital Expenditures” means, with respect to any Person for any period,
         without duplication, the aggregate amount of all expenditures (whether paid in cash or
         accrued as a liability) by such Person during that period for investments in other Persons
         and the acquisition or leasing (pursuant to a Capital Lease) of fixed or capital assets or
         additions to property, plant, or equipment (including replacements, capitalized repairs,
         and improvements), in each case, which are required to be capitalized on the balance
         sheet of such Person in accordance with GAAP; provided, however, that Capital
         Expenditures shall not include:

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         (a)      expenditures with proceeds of insurance settlements, condemnation awards and
                  other settlements in respect of lost, destroyed, damaged or condemned assets,
                  equipment or other property to the extent such expenditures are made to replace or
                  repair such lost, destroyed, damaged or condemned assets, equipment or other
                  property or otherwise to acquire, maintain, develop, construct, improve, upgrade
                  or repair assets or properties useful in the business of a Borrower and its
                  Subsidiaries within one year of receipt of such proceeds (or, if not made within
                  such one year period, are committed to be made during such period, but if not so
                  made, such amount will not be excluded in the next applicable period);

         (b)      interest capitalized during such period;

         (c)      expenditures that are accounted for as Capital Expenditures of such Person and
                  that actually are paid for by a third party (excluding a Borrower or any Subsidiary
                  thereof) and for which neither any Borrower nor any Subsidiary has provided or is
                  required to provide or incur, directly or indirectly, any consideration or obligation
                  to such third party or any other Person (whether before, during or after such
                  period);

         (d)      the purchase price of equipment (i) that is purchased simultaneously with the
                  trade-in of existing equipment to the extent that the gross amount of such
                  purchase price is reduced by the credit granted by the seller of such equipment for
                  the equipment being traded in at such time, (ii) to the extent the consideration
                  therefor consists of any combination of (A) used or surplus equipment traded in at
                  the time of such purchase and (B) the proceeds of a substantially concurrent sale
                  of used or surplus equipment, in each case in the ordinary course of business;
                  provided that only such credit value of such traded equipment will be excluded for
                  this purpose;

         (e)      for purposes of Section 7.2.10 only, expenditures that constitute Permitted
                  Acquisitions and Permitted Investments;

         (f)      the book value of any asset owned to the extent such book value is included as a
                  capital expenditure as a result of reusing or beginning to reuse such asset during
                  such period without a corresponding expenditure actually having been made in
                  such period;

         (g)      expenditures of leasehold improvements for which such Person is reimbursed in
                  cash or receives a credit; and

         (h)      any non-cash amounts reflected as additions to property, plant or equipment on
                  such Person’s consolidated balance sheet.

         1.1.44 “Capital Lease” means any lease, license or similar transaction determined as a
         capital lease in accordance with GAAP as in effect on the Amendment and Restatement
         Date, or any sale and lease back transaction or any other lease (whether a synthetic lease
         or otherwise).

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         1.1.45 “Cash Equivalents” means, as of the date of any determination thereof, the
         following:

         (a)      marketable direct obligations issued or unconditionally guaranteed by the
                  Government of Canada, the U.S., or any agency or instrumentality thereof, a
                  government of a province of Canada or of a state of the U.S. or, in each case, any
                  agency thereof, maturing no more than one year after the date of acquisition
                  thereof;

         (b)      commercial paper maturing no more than one year after the date of acquisition
                  thereof and having, at the time of acquisition, a rating of at least A1 by Standard
                  & Poor’s Ratings Services or at least Prime 1 by Moody’s Investors Service, Inc.
                  or at least R1 (low) by Dominion Bond Rating Service Inc.;

         (c)      certificates of deposit, deposit notes, term deposit receipts, or time deposits or
                  bankers’ acceptances, maturing no more than one year after the date of acquisition
                  thereof, issued by the Lender or by commercial banks incorporated under the laws
                  of Canada or the U.S. or a state thereof, each having a rating of at least A1 by
                  Standard & Poor’s Ratings Services or at least Prime 1 by Moody’s Investors
                  Service, Inc. or at least R1 (low) by Dominion Bond Rating Service Inc.;

         (d)      such local currencies in those countries in which the Borrowers and their
                  Subsidiaries transact business from time to time in the ordinary course of
                  business;

         (e)      investments of comparable tenor and credit quality to those described in the
                  foregoing clauses (a) through (c) or otherwise customarily utilized in countries in
                  which the Borrowers and their Subsidiaries operate for short term cash
                  management purposes; and

         (f)      investments in any investment company, money market or fund which invests
                  substantially all of their assets in Cash Equivalents of a kind described in (a)
                  through (c) of this definition.

         1.1.46 “Cash Taxes” means, in respect of any Person for any applicable period, the
         amount of all income taxes (including federal and provincial income taxes) paid or
         payable by such Person on its net taxable income for such period (which for greater
         certainty, does not include future income taxes).

         1.1.47 “Catch Up          Management       Fee    Payments”     is   defined   in   Section
         1.1.2011.1.202(a).

         1.1.48 “CDOR Rate” means on any day the annual rate of interest which is the rate
         determined as being the arithmetic average of the quotations of all institutions listed in
         respect of the rate for Canadian Dollar denominated bankers’ acceptances for the relevant
         period displayed and identified as such on the “Reuters Screen CDOR Page” (as defined
         in the International Swaps and Derivatives Association, Inc. definitions, as modified and
         amended from time to time) as of 10:00 a.m. Toronto, Ontario local time on such day
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         and, if such day is not a Business Day, then on the immediately preceding Business Day
         (as adjusted by the Agent after 10:00 a.m. Toronto, Ontario local time to reflect any error
         in a posted rate of interest or in the posted average annual rate of interest with notice of
         such adjustment in reasonable detail evidencing the basis for such determination being
         concurrently provided to the Borrower). If such rates are not available on the Reuters
         Screen CDOR Page on any particular day, then the CDOR Rate on that day shall be
         calculated as the arithmetic mean of the rates applicable to Canadian Dollar denominated
         bankers’ acceptances for the relevant period publicly quoted for customers in Canada by
         those Lenders which are banks listed in Schedule I of the Bank Act (Canada) as of 10:00
         a.m. Toronto, Ontario local time on such day; or if such day is not a Business Day, then
         on the immediately preceding Business Day; provided that if the CDOR Rate calculated
         for any purpose would be less than zero on any day, then such rate shall be deemed to be
         zero for such purpose.

         1.1.49 “Change of Control” means in respect of the Canadian Borrower or Holdco, the
         occurrence of any of the following events:

         (a)      prior to any initial public offering of the Canadian Borrower or Holdco, as
                  applicable, when Permitted Holders do not beneficially own, collectively, directly
                  or indirectly, shares in the Canadian Borrower or Holdco, as applicable,
                  representing more than 50% of the Voting Securities of the Canadian Borrower or
                  Holdco; and

         (b)      after any initial public offering of the Canadian Borrower or Holdco, as
                  applicable, when a Person or Group (other than any employee benefit plan and/or
                  Person acting as the trustee, agent or other fiduciary or administrator) acquires
                  shares in the Canadian Borrower or Holdco, as applicable, representing more than
                  the greater of (i) 35% of the aggregate outstanding Voting Securities of the
                  Canadian Borrower or Holdco, as applicable and (ii) the percentage of then
                  outstanding Voting Securities of the Canadian Borrower or Holdco, as applicable,
                  directly or indirectly, owned by Permitted Holders.

         1.1.50 “Code” means the United States Internal Revenue Code of 1986, and any
         successor statute and any regulations thereunder.

         1.1.51    “Collateral” means, collectively, all property, assets and undertaking of the
         Credit Parties encumbered by the Liens granted pursuant to the Security in support of the
         Obligations, and all property, assets and undertaking encumbered by the Liens granted
         pursuant to the Security in support of the Guarantees, together with all proceeds of the
         foregoing. For the avoidance of doubt, Collateral shall not include (a) capital assets or
         inventory of any Credit Party organized outside of the U.S. or Canada, (b) pending United
         States “intent-to-use” trademark applications for which a verified statement of use or an
         amendment to allege use has not been filed with and accepted by the United States Patent
         and Trademark Office, (c) Securitization Assets but only once transferred to a
         Securitization SPE and (d) any of the “Excluded Property” (as defined in the general
         security agreement from the U.S. Borrower as described in Section 8.1(a)).


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         1.1.52 “Collection Rights” means, in respect of any Eligible Approved Contracts
         between a Pemex Entity, on the one hand, and QMax Mexico, on the other hand, the
         collection or credit rights granted to QMax Mexico by such Pemex Entity pursuant to
         such Eligible Approved Contract.

         1.1.53 “Colombian Free Cash Flow” means, for any fiscal period, all EBITDA
         attributable to all Colombian operations of the Canadian Borrower and its Material
         Subsidiaries determined in accordance with the definition of EBITDA, minus Cash
         Taxes, Interest Expense and Unfunded Capital Expenditures, in each case, attributable to
         such Colombian Subsidiaries and operations.

         1.1.54 “Commitment” means, in respect of any Lender, such Lender’s commitment to
         make Advances to the Borrowers (or any one of them) under all Facilities or under any
         Facility, as the context requires as set forth in Exhibit “A”.

         1.1.55        “Common Shares” means the common shares in the capital of a Borrower.

         1.1.56 “Compliance Certificate” means a certificate delivered by the Canadian
         Borrower to the Agent in the form of Exhibit “F”.

         1.1.57 “Consolidated Net Income” shall mean, for any period, the net income (loss) of
         any Person and its Subsidiaries determined on a consolidated basis on the basis of GAAP;
         provided, however, that any net income (loss) of any Person (excluding any Securitization
         SPE) (i) who is not during such period a Material Subsidiary or (ii) whose net income is
         accounted for by the equity method of accounting, shall in each case be included in the
         calculation of Consolidated Net Income for all purposes of this Agreement only to the
         extent of the amount of any Distributions of such Person paid in cash (or to the extent
         converted into cash) to the Canadian Borrower or a Material Subsidiary, and
         “Consolidated Net Income” for such period shall include any ordinary course dividends
         in cash received by the Canadian Borrower or any of its Material Subsidiaries in excess of
         the amounts included in the foregoing item (i).

         1.1.58 “Consolidated Net Tangible Assets” means, as at any date of determination, all
         consolidated assets of the any Person as shown in the most recent consolidated balance
         sheet of such Person, less the aggregate of the following amounts reflected upon such
         balance sheet:

         (a)      all goodwill, deferred assets, trademarks, copyrights and other similar intangible
                  assets; and

         (b)      to the extent not already deducted in computing such assets and without
                  duplication, depreciation, depletion, amortization, reserves and any other account
                  which reflects a decrease in the value of an asset or a periodic allocation of the
                  cost of an asset; provided, that no deduction will be made under this paragraph (b)
                  to the extent that such account reflects a decrease in value or periodic allocation of
                  the cost of any asset referred in the paragraph (a) of this definition,


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         all as determined in accordance with GAAP.

         1.1.59        “Contributing Lenders” is defined in Section 11.4.2.

         1.1.60 “control” means, in respect of any Person, the power to direct or cause the
         direction of management and policies of such Person, directly or indirectly, through the
         ownership of Voting Securities, contract or otherwise; and “controlled” has a
         corresponding meaning.

         1.1.61 “Conversion” means the substitution of one Availment Option for another, and,
         for certainty, does not constitute a fresh or new Advance (and “Convert” shall have a
         corresponding meaning).

         1.1.62 “Conversion Notice” means a notice substantially in the form of Exhibit “D”
         given by a Borrower to the Agent for the purposes of requesting a Conversion.

         1.1.63 “Covenant Relief Period” means the period from the Amendment and
         Restatement Date, up to and including December 31, 2019, subject to the Borrowers’
         right to elect a shorter period pursuant to Section 1.18.

         1.1.64 “Credit Documents” means this Agreement, the Security and all other
         agreements, documents, instruments and certificates required or contemplated herein to
         be provided by the Credit Parties and other Persons to the Agent and the Lenders.

         1.1.65 “Credit Parties” means, collectively, the Borrowers and any Guarantor; and
         “Credit Party” means any one of them as the context requires. Notwithstanding any
         provision in this Agreement or any other Credit Document, in no event shall any
         Securitization SPE be deemed a Credit Party.

         1.1.66 “Currency Hedging Agreement” means any swap, hedge or other agreement
         that does not contravene Section 7.2.12 entered into between a Credit Party and a
         counterparty, from time to time for the purpose of mitigating or hedging currency risk,
         including foreign exchange forward contracts.

         1.1.67 “Default” means an event which has occurred and is continuing, and which,
         with the giving of notice or the lapse of time or both, would constitute an Event of
         Default.

         1.1.68 “Default Rate” means, while an Event of Default exists, the interest rates and
         fess comprising the Applicable Margin will each increase by 2.0% per annum.

         1.1.69 “Defaulting Lender” means any Lender or, in the case of paragraph (e) below, a
         Lender’s parent (being any Person that directly or indirectly controls a Lender where
         control has the same meaning as in the definition of Affiliate):

         (a)      that has failed to fund any payment or its portion of any Advances required to be
                  made by it hereunder, including as a result of being a Non-Paying Lender, within
                  two Business Days of the date such Advances were required to be funded

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                  hereunder unless such Lender notifies the Agent and the Canadian Borrower in
                  writing that such failure is the result of such Lender’s determination that one or
                  more conditions precedent to funding (each of which conditions precedent,
                  together with any applicable default, shall be specifically identified in such
                  writing) has not been satisfied;

         (b)      that has failed to pay the Agent or any other Lender any other amount required to
                  be paid by it hereunder within two Business Days of the date when due;

         (c)      that has notified a Borrower (in writing) that it does not intend to or is unable to
                  comply with any of its funding obligations under this Agreement or has made a
                  public statement to that effect (unless such written notice or public statement
                  relates to such Lender’s obligation to fund a Loan hereunder and states that such
                  position is based on such Lender’s determination that a condition precedent to
                  funding (which condition precedent, together with any applicable default, shall be
                  specifically identified in such written notice of public statement) cannot be
                  satisfied);

         (d)      that has failed, within three Business Days after request by a Borrower, to confirm
                  that it will comply with the terms of this Agreement relating to its obligations to
                  fund prospective Advances; or

         (e)      that becomes insolvent, has been deemed insolvent by a court of competent
                  jurisdiction, or becomes the subject of bankruptcy or insolvency proceeding.

         1.1.70        “Departing Lenders” is defined in Section 11.5.2.

         1.1.71 “Deposit Account Control Agreement” means the deposit account control
         agreement dated December 29, 2014 between the Agent, Wells Fargo and the U.S.
         Borrower, as the same may be amended from time to time.

         1.1.72        “Designated Financial Covenants” is defined in Section 7.3.2

         1.1.73        “Distribution” means:

         (a)      any declaration or payment of dividends or returns of capital, including advisory
                  fees and management fees, of any kind or nature directly or indirectly to any
                  holder of shares of any Credit Party or to any Affiliate or Related Party of such
                  holder and including any similar payments paid by any Credit Party to Palladium
                  or its Affiliates, whether pursuant to the Advisory Services Agreement or any
                  other similar agreement now or hereafter in effect between any one or more Credit
                  Party and any one or more of Palladium or its Affiliates;

         (b)      any repurchase, retraction or redemption of shares of any Credit Party for cash or
                  other property; and

         (c)      any payment, repayment or prepayment by a Person in cash of any amount of any
                  principal, interest, fees or other amounts in respect of any Subordinated Debt.

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         For certainty, Distributions shall not include the reimbursement of reasonable
         out-of-pocket expenses incurred by Palladium or the directors of the Credit Parties in the
         ordinary cause of business in rendering advisory or management services to the Credit
         Parties or performing a director’s obligations to the applicable Credit Party, as the case
         may be.

         1.1.74 “Drawdown Request” means a notice in the form of Exhibit “B” given by the
         Borrower to the Agent for the purpose of requesting an Advance.

         1.1.75 “Earnout Payments” means, in respect of any Acquisition, the requirement for
         any Credit Party, as purchaser, to pay to the vendor under such Acquisition (or any
         nominee thereof) contingent payments of the purchase price thereof after the closing
         thereof which are payable when specified targets (including related to revenue or
         earnings), are satisfied within specified periods.

         1.1.76 “EBITDA” means, for any fiscal period, Consolidated Net Income of the
         Canadian Borrower and the Subsidiaries determined on a consolidated basis in
         accordance with GAAP and measured on a trailing four Fiscal Quarter basis for such
         period, plus all amounts deducted in the calculation thereof on account of (without
         duplication irrespective if any expense, loss or gain would fall into one or more of the
         foregoing categories):

         (a)      interest expense calculated in accordance with GAAP, including (i) the
                  amortization of debt discounts, (ii) the amortization of all fees (including fees
                  with respect to Hedging Agreements) payable in connection with the incurrence of
                  Funded Debt to the extent included in interest expense, (iii) deferred financing
                  fees and expenses, and (iv) the portion of any payments or accruals with respect to
                  Capital Lease Obligations allocable to interest expense and the capitalized interest
                  of such Person;

         (b)      any provision for or payment of taxes based on income, profits or capital gains,
                  calculated in accordance with GAAP, including, without limitation, state,
                  provincial, franchise, property and similar taxes and foreign withholding taxes
                  (including penalties and interest related to such taxes or arising from tax
                  examinations) and any deferred/future taxes;

         (c)      depreciation and amortization expense, calculated in accordance with GAAP,
                  including amortization of intangible assets, unrecognized prior service costs and
                  actuarial non-cash losses related to pensions and other post-employment benefits,
                  of such;

         (d)      Permitted Management Fees (but for certainty, in an amount not exceeding the
                  Annual Management Fee Cap in any Fiscal Year) and the reasonable
                  out-of-pocket expenses related thereto which have been reimbursed by a Credit
                  Party, and any payments permitted under clause (j) of Section 7.2.6, to the extent
                  paid by a Credit Party to a non-Credit Party;


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         (e)      all non-cash expenses and losses calculated in accordance with GAAP related to:
                  (i) extraordinary and nonrecurring losses to the extent not otherwise dealt with in
                  this definition, (ii) all non-recurring deferred financing costs written off and
                  premiums paid or other expenses incurred directly in connection with any early
                  extinguishment of Funded Debt and any net loss attributable to any write-off or
                  forgiveness of Funded Debt, (iii) any non-cash expense or loss arising from the
                  application of purchase accounting adjustments as a result of any Permitted
                  Acquisition, and (iv) other non-cash expenses and charges to the extent not
                  otherwise dealt with in this definition (in each case, calculated on a pro forma
                  basis as though realized on the first day of such period) reducing Consolidated Net
                  Income for such period including resulting from impairment charges and
                  including losses against book value on the disposal or write-off of any business or
                  assets (including pursuant to any sale/leaseback transaction);

         (f)      [reserved];

         (g)      unrealized losses resulting from mark to market accounting for hedging activities
                  calculated in accordance with GAAP;

         (h)      any unrealized foreign currency translation or transaction losses in respect of (i)
                  Funded Debt denominated in a currency other than the functional currency of the
                  relevant Person and (ii) any unrealized foreign exchange losses relating to
                  translation of assets and liabilities denominated in foreign currencies;

         (i)      charges, expenses or losses reasonably related to (i) fees and expense in
                  connection with Permitted Acquisitions, Permitted Investments, Permitted
                  Dispositions, the incurrence of Permitted Funded Debt (but only to the extent not
                  already included in clause (a) above), amendments and other modifications to the
                  Credit Documents, the offering or issuance of equity interests and other activities
                  permitted hereunder (in each case, whether or not successful) and (ii) business
                  optimization expenses and restructuring charges, reserves or expenses, (including
                  losses from disposed, abandoned, transferred, closed or discontinued operations)
                  in each case as documented by evidence provided by the Canadian Borrower and
                  acceptable to the Agent (acting reasonably and responding to requests for approval
                  within five (5) Business Days); provided, that all of the foregoing may not exceed
                  a maximum aggregate amount of $5,500,000 for each applicable measurement
                  period of four consecutive Fiscal Quarters, or such higher amount as the Required
                  Lenders may consent to from time, acting reasonably;

         (j)      non-cash expenses incurred in connection with any equity based compensation
                  provided pursuant to any management or employee equity based compensation
                  plan (in each case, calculated on a pro forma basis as though realized on the first
                  day of such period), and including (i) costs or expenses realized in connection
                  with or resulting from stock appreciation or similar rights, stock options or other
                  rights of officers, directors and employees, in each case of such Person or any
                  such Subsidiary, and (ii) non-cash losses attributable to deferred compensation
                  plans or trusts;

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         (k)      third party audit, advisory and consulting fees and related out-of-pocket expenses
                  of the Canadian Borrower or any of its Subsidiaries incurred in connection with
                  audits, inspections and reviews conducted in connection with this Agreement at
                  the direction of the Agent or any Lender (but which for certainty does not include
                  audit fees related to the preparation of the financial statements required
                  hereunder);

         (l)      fees, costs and expenses in connection with the Anchor Acquisition not to exceed
                  U.S. $11,000,000;

         (m)      discounts on sales of receivables and related assets in connection with any
                  Permitted Securitization Financing;

         minus, in each case to the extent added in the calculation thereof (without duplication
         irrespective if any expense, loss or gain would fall into one or more of the foregoing
         categories):

         (n)      income tax credits calculated in accordance with GAAP;

         (o)      all cash payments during such period relating to non-cash charges which were
                  added back in determining EBITDA in any prior period;

         (p)      other non-cash and non-recurring items increasing Consolidated Net Income that
                  are not otherwise dealt with in this definition (but excluding any such non-cash
                  items to the extent that it will result in the receipt of cash payments in any future
                  period), including gains against book value on the disposal of any business or
                  assets;

         (q)      unrealized gains resulting from mark to market accounting for hedging activities
                  calculated in accordance with GAAP;

         (r)      any unrealized foreign currency translation or transaction gains in respect of
                  Funded Debt denominated in a currency other than the functional currency of the
                  relevant Person and any unrealized foreign exchange gains relating to translation
                  of assets and liabilities denominated in foreign currencies;

         (s)      any net gain attributable to any write-off or forgiveness of Funded Debt;

         (t)      net gains on the disposal, abandonment, transfer, closing or discontinuance of
                  operations;

         (u)      non-cash gains attributable of deferred compensation plans and trusts;

         (v)      any non-cash gains arising from the application of purchase accounting
                  adjustments as a result of any Permitted Acquisition or other Acquisitions
                  approved by the Lenders; and



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         (w)      Consolidated Net Income attributable to or generated from any minority interest in
                  a Person owned directly or indirectly by the Canadian Borrower, except for cash
                  Distributions received by a Credit Party therefrom;

         provided, that if any of the events described in Section 1.13 occurs during the relevant
         period, the calculation of EBITDA will be adjusted as set forth in Section 1.13.

         Notwithstanding the foregoing, the Borrowers may elect to calculate EBITDA on the
         following annualized basis (as opposed to a trailing four Fiscal Quarter basis) for the
         periods specified below: (i) for the Fiscal Quarter ending March 31, 2018, by calculating
         EBITDA for the six month period ending as of March 31, 2018 and multiplied by two,
         and (ii) for the Fiscal Quarter ending June 30, 2018, by calculating EBITDA for the nine
         month period ending as of June 30, 2018, and multiplied by four-thirds, but only if such
         alternative calculation would result in a greater value for EBITDA for such period.

         In addition, if EBITDA is calculated on the basis described in the immediately preceding
         paragraph, then the amounts described in paragraph (i) above (the “Prescribed
         Amounts”) shall be limited to, the lesser of (x) the Prescribed Amounts actually paid
         during such period and (y) $5,325,000.

         1.1.77     “Economic Sanctions” means the restrictions with respect to funding
         operations, or financing investments, in any country, or making payments to, or receiving
         payments or property from, any country or Person, then prohibited by:

         (a)      any sanctions or requirements imposed by, or based upon the obligations or
                  authorities set forth in the Executive Order, the U.S. Money Laundering Control
                  Act of 1986 (18 U.S.C. §§ 1956 et seq.), the PATRIOT Act, the U.S. International
                  Emergency Economic Powers Act (50 U.S.C. §§ 1701 et seq.), the U.S. Trading
                  with the Enemy Act (50 U.S.C. App. §§ 1 et seq.), the U.S. United Nations
                  Participation Act, the U.S. Syria Accountability and Lebanese Sovereignty Act,
                  the U.S. Comprehensive Iran Sanctions, Accountability, and Divestment Act of
                  2010 or the Iran Sanctions Act, all as amended, or any of the foreign assets control
                  regulations of the U.S. Department of the Treasury (including but not limited to
                  31 CFR, Subtitle B, Chapter V, as amended) or any other law or executive order
                  relating thereto or regulation administered by the US State Department or the
                  United States Treasury Department’s Office of Foreign Assets Control, in each
                  case, to the extent applicable; and

         (b)      any of the economic sanctions of Canada, including those provided for pursuant to
                  the Special Economic Measures Act (Canada) or the United Nations Act (Canada),
                  in each case, to the extent applicable.

         1.1.78 “Eligible Approved Contracts” means a contract or other agreement of a Credit
         Party to provide goods or perform services: (a) that is listed on Schedule 6.1.33; (b) or
         designated by the Agent as an Eligible Approved Contract pursuant to Section 5.17.




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         1.1.79 “Eligible Capital Assets” means, at any time, the capital assets of the Credit
         Parties; provided, that, in any event, no capital asset shall be deemed to be a Eligible
         Capital Asset unless each of the following statements is accurate and complete (and by
         including such capital asset in any computation of the Borrowing Base, the Borrowers
         will be deemed to made each of these statements in respect thereof):

         (a)      such capital asset is located in Canada or the U.S.;

         (b)      such capital asset is in good condition, merchantable, meets all standards imposed
                  by any Governmental Authority having regulatory authority over it or its use
                  and/or sale and is not obsolete and is either currently usable or currently saleable
                  in the normal course of business of the applicable Credit Party;

         (c)      the Agent, on behalf of the Lenders, has a First-Ranking Security Interest covering
                  such capital asset;

         (d)      such capital asset is, and at all times will be, free and clear of all Liens other than
                  Permitted Liens and unregistered Liens in respect of Priority Claims that are not
                  yet due and payable;

         (e)      such capital asset does not constitute Hazardous Materials;

         (f)      such capital asset is covered by all applicable insurance as required by Section
                  7.1.9; and

         (g)      the Agent has not determined in its Permitted Discretion that it may not sell or
                  otherwise dispose of such capital asset in accordance with the terms of the
                  applicable Credit Documents without infringing upon the rights of another Person
                  or violating any contract with any other Person.

         1.1.80 “Eligible Cash” means, as of the date of determination, the aggregate U.S.
         Dollar amount of the unrestricted cash (determined in accordance with GAAP) and Cash
         Equivalents of Credit Parties (other than with respect to Anchor and its Subsidiaries until
         such time as the Encina ABL Loan Agreement is terminated and the obligations
         thereunder have been repaid in full) that:

         (a)      the Agent on behalf of the Lenders, has a first priority perfected Lien covering
                  such unrestricted cash or Cash Equivalent, and such unrestricted cash or Cash
                  Equivalent is, and at all times will be, free and clear of all Liens other than
                  Permitted Liens and unregistered Liens in respect of Priority Claims that are not
                  yet due and payable;

         (b)      are held in collateral accounts located in Canada, the U.S., Mexico or another
                  OECD member country; provided, such collateral accounts may be located in
                  non-OECD member countries to the extent maintained by HSBC or an affiliate
                  thereof (or such other bank deemed reasonable in the sole discretion of the
                  Agent);


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         (c)      subject to the proviso at the end of Section 8.1(i), are held in collateral accounts in
                  the name of the Agent or an agent thereof (or, with the consent of the Agent, the
                  applicable Credit Party), in each case maintained with (i) the Agent or (ii) an
                  Affiliate of the Agent, another Lender, an Affiliate of another Lender or another
                  depositary that has entered into a control agreement (in form and substance
                  reasonably acceptable to the Agent) with the Agent and the applicable Credit
                  Party, and, in each case, with respect to which the Agent retains exclusive control
                  to direct the transfer of funds therefrom during the continuation of an Event of
                  Default (with withdrawals by the applicable Credit Party to be permitted upon
                  notice to the Agent so long as the Agent has not delivered a notice of exclusive
                  control upon the occurrence and during the continuation of an Event of Default);

         (d)      subject to clause (ii) above, is otherwise available for use by a Credit Party,
                  without condition or restriction; and

         (e)      upon a reasonable request therefor by the Agent, for which Agent shall have
                  received evidence, in form and substance reasonably satisfactory to Agent, of the
                  amount thereof as of the applicable date of calculation,

         provided, that such unrestricted cash and Cash Equivalents shall be reduced by an amount
         equal to, as reasonably estimated by the Borrowers, the withholding tax payable on any
         cash and Cash Equivalents that are to be remitted by any Credit Party to a foreign
         jurisdiction; and further provided, that to the extent that any debit balances (or overdrawn
         amounts) of any accounts of such Credit Parties are deducted from the calculation of
         unrestricted cash and Cash Equivalents above, they shall be increased by an amount equal
         to the such debit balances (or overdrawn amounts) solely to the extent that availability
         under the Operating Facilities is reduced by the amount of any Letters of Credits (or any
         portion thereof) issued and outstanding under the Operating Facilities to backstop such
         deficit amounts.

         1.1.81 “Eligible Inventory” means, at any time, all inventory of the Credit Parties
         valued in U.S. Dollars on a lower of cost (excluding any component of cost representing
         intercompany profit in the case of inventory acquired from an Affiliate) or market basis in
         accordance with GAAP, with detailed calculations of lower of cost or market; provided
         that, in any event, no inventory shall be deemed Eligible Inventory unless each of the
         following statements is accurate and complete (unless all of the Lenders in their sole
         discretion elect to otherwise include such inventory) (and by including such inventory in
         any computation of the applicable Borrowing Base the Borrowers will be deemed to have
         made each of these statements in respect thereof):

         (a)      such inventory is in good condition, merchantable, meets all material standards
                  imposed by any Governmental Authority having regulatory authority over it or its
                  use and/or sale and is not obsolete and is either currently usable or currently
                  saleable in the normal course of business of the applicable Credit Party;

         (b)      with respect to any such inventory in excess of $250,000 per location, such
                  inventory is:

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                  (i)     in possession of a Credit Party and (1) located on real property owned or
                          leased by a Credit Party, and (2) within the U.S. or Canada; provided, that
                          if such inventory is located on real property leased by a Credit Party and if
                          so requested by the Agent, the landlord of such real property shall have
                          executed and delivered to the Agent a Landlord Agreement or at the
                          request of a Borrower or in lieu of such an agreement, the Lenders may
                          take a reserve against Eligible Inventory equal to three month’s rent;

                  (ii)    in the possession of a bailee and such bailee shall have executed and
                          delivered to the Agent, a bailee letter in form and substance satisfactory to
                          the Agent or at the request of a Borrower, the Lenders shall be permitted to
                          take a reasonable reserve against Eligible Inventory related to the
                          applicable Credit Party’s economic exposure to such bailee;

                  (iii)   in the case of inventory located in the U.S., is placed on consignment with
                          a consignee and such consignee shall have executed a valid consignment
                          agreement in form and substance satisfactory to Agent and the applicable
                          Borrower has filed (when applicable) appropriate UCC (or comparable)
                          filings to perfect its interest in such inventory; or

                  (iv)    in transit in Canada or the U.S. (provided, that the jurisdictions through
                          which such inventory is in transit are jurisdictions where the Liens in such
                          inventory under the Security are validly perfected first priority Liens as
                          required by Applicable Law) and between owned or leased locations of the
                          Credit Parties, and upon arrival at its destination, will comply with either
                          clause (i) or (ii) above;

         (c)      the Agent on behalf of the Lenders, has a first priority perfected Lien covering
                  such inventory, and such inventory is, and at all times will be, free and clear of all
                  Liens other than Permitted Liens and unregistered Liens in respect of Priority
                  Claims that are not yet due and payable;

         (d)      such inventory does not include goods (i) that are not owned by a Credit Party, (ii)
                  that are held by a Credit Party pursuant to a consignment agreement, or (iii) which
                  have been sold by a Credit Party on a bill and hold basis;

         (e)      such inventory is not subject to repossession on account of the “30 day goods”
                  rule under section 81.1 of the Bankruptcy and Insolvency Act (Canada) or similar
                  Laws except to the extent the applicable vendor has entered into an agreement
                  with the Agent, in form and substance satisfactory to the Agent, waiving its right
                  to repossession;

         (f)      such inventory does not consist of work in process, store room materials, samples,
                  prototypes, or packing and shipping materials not considered for sale by the Credit
                  Parties in the ordinary course of business;

         (g)      such inventory does not consist of goods that are returned (as defective or not fit
                  for purpose) or used goods taken in trade;
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         (h)      any portion of the value of such inventory which results from a profit or gain
                  resulting from an inter-company sale or other disposition of such inventory shall
                  be excluded;

         (i)      any “seconds” or scrap inventory shall be valued at scrap value;

         (j)      such inventory is not evidenced by negotiable documents of title unless delivered
                  to the Agent with endorsements;

         (k)      such inventory does not constitute Hazardous Materials;

         (l)      such inventory is covered by casualty insurance; and

         (m)      the Agent has not determined in its Permitted Discretion that it may not sell or
                  otherwise dispose of such inventory in accordance with the terms of the applicable
                  Credit Documents without infringing upon the rights of another Person or
                  violating any contract with any other Person.

         1.1.82 “Eligible Line of Business” means any business engaged in as of the date of this
         Agreement by any of the Credit Parties, and any business reasonably related thereto.

         1.1.83 “Eligible Receivables” means, at the time of determination, the Receivables of
         the Credit Parties then existing (other than with respect to Anchor, Terra and their
         respective Subsidiaries), minus any Receivable to which any of the criteria set forth
         below applies (unless all of the Lenders in their sole discretion elect to otherwise include
         such Receivables):

         (a)      is not then subject to the applicable duly perfected Liens created by the Security;

         (b)      is subject to any Lien or deemed trust (other than a Permitted Lien which does not
                  rank in priority to the Liens created by the Security);

         (c)      is outstanding more than (i) 120 days, in the case of Acceptable Account Debtors
                  or (ii) 90 days, in the case of all other account debtors, in either case after the date
                  of shipment of inventory or the provision of the service that created such
                  Receivable;

         (d)      is subject to any offset or counterclaim by the applicable account debtor (but only
                  to the extent of such offset);

         (e)      is owed by any Person whose principal place of business is located outside
                  Canada or the U.S. unless the sale is on letter of credit, guarantee or some other
                  terms acceptable to the Agent, acting reasonably;

         (f)      is payable in a currency other than Canadian Dollars or U.S. Dollars;

         (g)      is owed by an Affiliate of the Borrower or any employee, agent or representative
                  of the Borrower or of any such Affiliate;

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         (h)      with respect to which a cheque, note, draft or other payment instrument has not
                  been honoured in accordance with its terms;

         (i)      is owed by any Person that is subject to an Insolvency Event; provided that the
                  Receivables from insolvent account debtors shall be Eligible Receivables if and to
                  the extent that such Receivables are fully covered by credit insurance, letters of
                  credit or other sufficient third-party credit support, or are otherwise deemed by the
                  Agent not to pose an unreasonable risk of non-collectability;

         (j)      is subject to a holdback, but only to the extent of the amount of such holdback;

         (k)      is in dispute, but only to the extent of the amount thereof in dispute, or is subject
                  to a claim regarding rescission, cancellation or avoidance, whether by operation of
                  law or otherwise;

         (l)      to the extent such Receivable is evidenced by a judgment, provided that such
                  Receivables shall be Eligible Receivables if and to the extent that such
                  Receivables are fully covered by credit insurance, letters of credit or other
                  sufficient third-party credit support, or are otherwise deemed by the Agent not to
                  pose an unreasonable risk of non-collectability; and

         (m)      is owed by a Governmental Authority where Applicable Law imposes any
                  requirement (including any requirement of notice, acceptance or acknowledgment
                  by the Governmental Authority) to constitute a valid assignment as against such
                  Governmental Authority, unless the applicable Credit Party has assigned its rights
                  to payment of such Receivable to the Agent pursuant to, in the case of a U.S.
                  federal Governmental Authority, the Assignment of Claims Act of 1940, as
                  amended, or complied with such requirement pursuant to Applicable Law in the
                  case of any other Governmental Authority.

         (n)      is or has been sold, contributed, financed or otherwise conveyed or pledged
                  pursuant to either of a Permitted Factoring Transaction or a Permitted
                  Securitization Financing.

         For certainty, if any Receivable that is otherwise an Eligible Receivable is sold,
         contributed, financed or otherwise conveyed or pledged pursuant to a Permitted
         Securitization Financing it shall immediately cease to be an Eligible Receivable.

         1.1.84 “Encina” means Encina Business Credit, LLC and its successors and permitted
         assigns.

         1.1.85 “Encina ABL Loan Agreement” means the credit agreement dated as the
         November 21, 2017 by and among Anchor, the U.S. Borrower, each Person joined thereto
         as a borrower form time to time, the lenders from time to time party thereto and Encina as
         agent on behalf of such lenders, as may be amended, restated, replaced or otherwise
         modified from time to time to the extent permitted by the Encina Intercreditor
         Agreement.


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         1.1.86 “Encina Intercreditor Agreement” means the intercreditor agreement dated as
         of the November 21, 2017 among Encina, the Agent, Anchor and the U.S. Borrower, as
         may be amended, restated, replaced or otherwise modified from time to time.

         1.1.87        “Equity Cure” is defined in Section 7.3.2.

         1.1.88        “Equity Cure Repayment” is defined in Section 7.3.2.

         1.1.89 “Equivalent Amount” means, in relation to an amount in one currency, the
         amount in another currency that could be purchased by the amount in the first currency
         determined by reference to the applicable Exchange Rate at the time of such
         determination.

         1.1.90 “ERISA” means the Employee Retirement Income Security Act of 1974, as
         amended from time to time, and any applicable regulation promulgated thereunder.

         1.1.91 “ERISA Affiliate” means any Person that for purposes of Title IV of ERISA is a
         member of the controlled group of any Credit Party, or under common control with any
         Credit Party, within the meaning of Section 414 of the Code.

         1.1.92 “ERISA Event” means (i) the occurrence of a reportable event, as defined in
         Section 4043 of ERISA, with respect to any Plan unless the 30 day notice requirement
         with respect to such event has been waived by the PBGC; (ii) the application for a
         minimum funding waiver pursuant to Section 412(c) of the Code or Section 302(c) of
         ERISA with respect to a Plan; (iii) the receipt by any Credit Party from the administrator
         of any Plan of a notice pursuant to Section 4041(a)(2) of ERISA of intent to terminate
         such Plan in a distress termination described in Section 4041(c) of ERISA; (iv) the
         cessation of operations at a facility of any Credit Party or any ERISA Affiliate in the
         circumstances described in Section 4062(e) of ERISA; (v) the withdrawal by any Credit
         Party or any ERISA Affiliate from a Multiple Employer Plan during a plan year for which
         it was a substantial employer, as defined in Section 4001(a)(2) of ERISA; (vi) the
         conditions for imposition of a Lien under Section 303 of ERISA shall have been met with
         respect to any Plan; or (vii) the institution by the PBGC of proceedings to terminate a
         Plan pursuant to Section 4042 of ERISA, or the occurrence of any event or condition
         described in Section 4042(a) of ERISA that constitutes grounds for the termination of, or
         the appointment of a trustee to administer, such Plan.

         1.1.93 “Exchange Rate” means, on the date of determination of any amount of one
         currency to be converted into another currency pursuant to this Agreement for any reason,
         or vice-versa, the spot rate of exchange for converting Canadian Dollars into such other
         currency or vice-versa, as the case may be, established by the Bank of Canada at
         approximately 4:30 p.m. (Toronto time) on the Business Day immediately preceding the
         date of determination, and if no such rate is quoted, the spot rate of exchange for
         wholesale transactions by the Agent in Toronto, Ontario in accordance with its normal
         practice;.



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         1.1.94 “Excluded Account” means (a) any deposit account used solely for: (i) funding
         payroll or segregating payroll taxes or funding other employee wage or benefit payments
         in the ordinary course of business or (ii) segregating 401k contributions or contributions
         to an employee stock purchase plan and other health and benefit plan, in each case for
         payment in accordance with any Applicable Laws, (iii) any zero-balance disbursement
         accounts, or (iv) disbursements to pay independent contractors, (b) any deposit account
         the funds in which consist solely of funds held by Holdco or any Subsidiary on behalf of
         or in trust for the benefit of any third party that is not an Affiliate of Holdco, any
         Subsidiary or any Investor, (c) any deposit account the funds in which consist solely of
         cash earnest money deposits or funds deposited under escrow or similar arrangements in
         connection with any letter of intent or purchase agreement for a Permitted Acquisition or
         any other transaction permitted under this Agreement, and (d) any deposit account the
         funds in which consist solely of funds held by Anchor and its Subsidiaries until such time
         as the Encina ABL Loan Agreement is terminated and the obligations thereunder have
         been repaid in full;

         1.1.95 “Excluded Hedging Obligation” means, with respect to any Credit Party, any
         Hedging Liabilities if, and to the extent that, all or a portion of the Financial Assistance of
         such Credit Party of, or the grant by such Credit Party of a security interest to secure, such
         Hedging Liabilities (or any Financial Assistance in respect thereof) is or becomes illegal
         under the Commodity Exchange Act or any rule, regulation or order of the Commodity
         Futures Trading Commission (or the application or official interpretation of any thereof)
         by virtue of such Credit Party’s failure for any reason to constitute an Qualified ECP
         Guarantor at the time the Financial Assistance of such Credit Party, or a grant by such
         Credit Party of a security interest, becomes effective with respect to such Hedging
         Liabilities. If a Hedging Liability arises under a master agreement governing more than
         one swap, such exclusion shall apply only to the portion of such Hedging Liabilities that
         is attributable to swaps for which such Financial Assistance or security interest is or
         becomes excluded in accordance with the first sentence of this definition.

         1.1.96 “Executive Order” means the Executive Order No. 13224 of 23 September
         2001, entitled “Blocking Property and Prohibiting Transactions With Persons Who
         Commit, Threaten to Commit, or Support Terrorism”.

         1.1.97 “Existing Credit Agreement” means the Amended and Restated Credit
         Agreement, dated January 30, 2015 (as amended, supplemented or otherwise modified
         from time to time prior to the Amendment and Restatement Date), among the Canadian
         Borrower, the U.S. Borrower, HSBC, as administrative agent thereunder and the financial
         institutions from time to time party thereto as lenders.

         1.1.98 “Facilities” means, collectively, the Term Facility, the Canadian Operating
         Facility and the U.S. Operating Facility; and “Facility” means any of them as the context
         requires.

         1.1.99        “Facilities Maturity Date” means, in respect of each Facility, May 22, 2021.



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         1.1.100 “FATCA” means Section 1471 through 1474 of the Code, as of the date of this
         Agreement (or any amended or successor version that is substantively comparable and not
         materially more onerous to comply with), any current and future regulations or official
         interpretations thereof and any agreements entered into pursuant to Section 1471(b)(1) of
         the Code.

         1.1.101 “Federal Funds Rate” means, for any day, the rate of interest per annum set
         forth in the weekly statistical release designated as H.15(519), or any successor
         publication, published by the Federal Reserve Board (including any such successor, the
         “H.15(519)”) for such day opposite the caption “Federal Funds (Effective)”. If on any
         relevant day such rate is not yet published in H.15(519), the rate for such day will be the
         rate of interest per annum set forth in the daily statistical release designated as the
         Composite 3:30 p.m. Quotations for U.S. Government Securities, or any successor
         publication, published by the Federal Reserve Bank of New York (including any
         successor, the “Composite 3:30 p.m. Quotations”) for such day under the caption
         “Federal Funds Effective Rate”. If on any relevant day the appropriate rate per annum for
         such day is not yet published in either H.15(519) or the Composite 3:30 p.m. Quotations,
         the rate for such day will be the arithmetic mean of the rates per annum for the last
         transaction in overnight Federal funds arranged prior to 9:00 a.m. (New York time) on
         that day by each of three major brokers of Federal funds transactions in New York City,
         selected by the Agent in its sole discretion, acting reasonably; provided that if the Federal
         Funds Rate calculated for any purpose would be less than zero on any day, then such rate
         shall be deemed to be zero for such purpose.

         1.1.102 “Fee Agreement” means the agreement between the Borrowers and the Agent
         delivered on or before the Amendment and Restatement Date under Section 9.1(n).

         1.1.103 “Financial Assistance” means with respect of any Person and without
         duplication, any loan, guarantee, indemnity, assurance, acceptance, extension of credit,
         loan purchase, share purchase, equity or capital contribution, investment or other form of
         direct or indirect financial assistance or support of any other Person or any obligation
         (contingent or otherwise) primarily for the purpose of enabling another Person to incur or
         pay any indebtedness or to comply with agreements relating thereto or otherwise to assure
         or protect creditors of the other Person against loss in respect of indebtedness of the other
         Person and includes any guarantee of or indemnity in respect of the indebtedness of the
         other Person and any absolute or contingent obligation to (directly or indirectly):

         (a)      advance or supply funds for the payment or purchase of any indebtedness of any
                  other Person;

         (b)      purchase, sell or lease (as lessee or lessor) any property, assets, goods, services,
                  materials or supplies primarily for the purpose of enabling any Person to make
                  payment of Funded Debt or to assure the holder thereof against loss;

         (c)      guarantee, indemnify, hold harmless or otherwise become liable to any creditor of
                  any other Person from or against any losses, liabilities or damages in respect of
                  Funded Debt;

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         (d)      make a payment to another for goods, property or services regardless of the
                  non-delivery or non-furnishing thereof to a Person; or

         (e)      make an advance, loan or other extension of credit to or to make any subscription
                  for equity, equity or capital contribution, or investment in or to maintain the
                  capital, working capital, solvency or general financial condition of another Person;

         provided, however, that the term “Financial Assistance” shall not include endorsements
         of instruments for deposit or collection in the ordinary course of business or customary
         and reasonable indemnity obligations in effect on the Amendment and Restatement Date
         or entered into in connection with any acquisition or disposition of assets permitted by
         this Agreement.

         The amount of any Financial Assistance is the amount of any loan or direct or indirect
         financial assistance or support, without duplication, given, or all indebtedness of the
         obligor to which the Financial Assistance relates, unless the Financial Assistance is
         limited to a determinable amount, in which case the amount of the Financial Assistance is
         the determinable amount.

         1.1.104 “Financial Letter of Credit” means a standby Letter of Credit if it serves as a
         payment guarantee of a Credit Party’s financial obligations and is treated as a direct credit
         substitute for purposes of the Capital Adequacy Guidelines in the Swingline Lender’s or
         Issuing Bank’s, as applicable, reasonable opinion.

         1.1.105 “First Amendment Date” means May 13, 2019.

         1.1.106 1.1.105 “First-Ranking Security Interest” in respect of any Collateral means a
         Lien in such Collateral which is registered where necessary or desirable to record and
         perfect the charges contained therein and which ranks in priority to all other Liens in such
         Collateral except for any Permitted Liens which have priority thereto in accordance with
         Applicable Law or as otherwise agreed in writing by the Lenders.

         1.1.107 1.1.106 “Fiscal Quarter” means the three (3) month period commencing on the
         first day of each Fiscal Year and each successive three (3) month period thereafter during
         such Fiscal Year.

         1.1.108 1.1.107 “Fiscal Year” means the fiscal year of the Borrowers and their
         Subsidiaries commencing on January 1 of each year and ending on December 31 of each
         year.

         1.1.109 1.1.108 “Fixed Charge Coverage Ratio” means, in respect of the Credit Parties
         on a combined basis for any applicable period, the ratio of:

         (a)      (i) EBITDA for such period, plus, to the extent not included in EBITDA, the
                  aggregate amount of all unencumbered cash (except pursuant to the Security)
                  received by any Credit Party as payment of unbilled Receivables outstanding as of
                  December 31, 2015 that were outstanding for more than 720 days from any of the
                  Pemex Entities, in respect of contract number 423023821 dated August 6, 2013,

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                  between Pemex Exploracion y Produccion and Qmax Mexico, S.A. de C.V., and
                  contract number 423023813 dated July 25, 2013, between Pemex Exploracion y
                  Produccion and Qmax Mexico, S.A. de C.V. (in each case, as may be amended or
                  otherwise modified from time to time), in an amount not to exceed $13,500,000,
                  minus (ii) Earnout Payments made during such period (but only to the extent not
                  directly funded by the cash proceeds from the sale of equity interests of the
                  Canadian Borrower and, to the extent contributed to the capital of the Canadian
                  Borrower, equity interests of any of the Canadian Borrower’s direct or indirect
                  parent companies), minus (iii) Unfunded Capital Expenditures made during such
                  period, minus (iv) all Cash Taxes during such period, minus (v) Permitted
                  Management Fees and Catch Up Management Fee Payments, if any, paid during
                  such period, minus (vi) any payments made during such period pursuant to clauses
                  7.2.6(l), minus (vii) all other Distributions to Persons that are not Credit Parties
                  paid during such period, minus (viii) the fees and expenses described in clause (k)
                  of the definition of EBITDA; provided that, any deferred purchase price payments
                  made in accordance with the terms of the Anchor Acquisition Agreement shall not
                  be deducted from EBITDA for the purposes of calculating the Fixed Charge
                  Coverage Ratio;

                  divided by

         (b)      the sum total of:

                  (i)     all Interest Expense paid or payable in cash for such period;

                  (ii)    the scheduled principal component of all Capital Lease payments for such
                          period; and

                  (iii)   all scheduled principal repayments under the Term Facility pursuant to
                          Section 3.4.2 or under any other Funded Debt paid during such period;

         all determined on a consolidated basis in accordance with GAAP and tested on a trailing
         12 month basis at the end of each Fiscal Quarter.

         1.1.110 1.1.109 “Fund” means any Person (other than a natural person) that is (or will
         be) engaged in making, purchasing, holding or otherwise investing in commercial loans
         and similar extensions of credit in the ordinary course of its business.

         1.1.111 1.1.110 “Funded Debt” means, with respect to any Person, all indebtedness,
         liabilities and obligations which would in accordance with GAAP be classified in the
         consolidated balance sheet of such Person as indebtedness for borrowed money and
         including without duplication:

         (a)      money borrowed by way of overdraft;

         (b)      indebtedness represented by bonds, debentures or notes payable and drafts
                  accepted representing extensions of credit;


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         (c)      bankers’ acceptances and similar instruments;

         (d)      letters of credit, letters of guarantee and surety bonds issued at the request of such
                  Person (to the extent not cash collateralized), but excluding Non-Financial Letters
                  of Credit;

         (e)      actual amounts owed under Hedging Agreements upon termination of such
                  Hedging Agreements, including net settlement amounts payable upon maturity
                  and termination payments payable upon termination or early termination, which
                  are not paid when due;

         (f)      indebtedness secured by any Lien existing on property of such Person, whether or
                  not the indebtedness secured thereby shall have been assumed;

         (g)      all obligations (whether or not with respect to the borrowing of money) that are
                  evidenced by bonds, debentures, notes or other similar instruments, or that are not
                  so evidenced but that would be considered by GAAP to be indebtedness for
                  borrowed money;

         (h)      all redemption obligations and mandatory dividend obligations of such Person
                  with respect to any shares issued by such Person and which are by their terms or
                  pursuant to any contract, agreement or arrangement:

                  (i)    redeemable, retractable, payable or required to be purchased or otherwise
                         retired or extinguished, or convertible into debt of such Person (A) at a
                         fixed or determinable date, (B) at the option of any holder thereof, or (C)
                         upon the occurrence of a condition not solely within the control and
                         discretion of such Person; or

                  (ii)   convertible into any other shares described in clause (i) above;

                  in any case under this clause (h), except as a result of an initial public offering,
                  change of control or asset sale (so long as the Obligations have otherwise been
                  paid in full prior to any such payment being required to be made under clause (i)
                  above).

         (i)      all obligations as lessee under Capital Leases;

         (j)      all obligations under or in connection with any (i) Permitted Factoring Transaction
                  and (ii) Permitted Securitization Financing (to the extent included in the
                  consolidated balance sheet of such Person), which shall in each case be deemed to
                  be equal to the net proceeds received thereunder;

         (k)      all obligations of such Person secured by Purchase-Money Security Interests; and

         (l)      any guarantee or indemnity (other than by endorsement of negotiable instruments
                  for collection or deposit in the ordinary course of business) in any manner of any


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                  part or all of an obligation of another Person of the type included in items (a)
                  through (k) above;

         but excluding for greater certainty, deferred income taxes and normal course trade
         payables.

         1.1.112 1.1.111 “GAAP” means generally accepted accounting principles in Canada or
         the United States as approved by the Canadian Institute of Chartered Accountants or
         American Institute of Certified Public Accountants, respectively, in effect from time to
         time, and as of the Amendment and Restatement Date, includes Canadian or United
         States generally accepted accounting principles for private enterprises.

         1.1.113 1.1.112 “Governmental Authority” means any:

         (a)      national, federal, provincial, state, municipal, local or other governmental or
                  public department, central bank, court, commission, board, bureau, agency or
                  instrumentality, domestic or foreign;

         (b)      any subdivision or authority of any of the foregoing; or

         (c)      any quasi-governmental, judicial or administrative body exercising any regulatory,
                  expropriation or taxing authority under or for the account of any of the foregoing.

         1.1.114 1.1.113 “Group” means any “group” such term as used in Sections 13(d) and
         14(d) of the United States Securities Exchange Act of 1934, as amended, other than the
         Permitted Holders.

         1.1.115 1.1.114 “Guarantee” means any agreement by which any Person assumes,
         guarantees, indemnifies, endorses, contingently agrees to purchase or provide funds for
         the payment of, or otherwise becomes liable upon, the obligation of any other Person, or
         agrees to maintain the net worth or working capital or other financial condition of any
         other Person or otherwise assures any creditor of such Person against loss, and shall
         include any contingent liability under any letter of credit or similar document or
         instrument.

         1.1.116 1.1.115 “Guarantors” means Holdco and all current and future direct and
         indirect Material Subsidiaries of the Canadian Borrower.

         1.1.117 1.1.116 “Hazardous Materials” means any contaminant, pollutant, waste or
         substance that is likely to cause immediately or at some future time harm or degradation
         to the surrounding environment or risk to human health; and without restricting the
         generality of the foregoing, including any pollutant, contaminant, waste, hazardous waste
         or dangerous goods that is regulated by any Requirements of Environmental Law or that
         is designated, classified, listed or defined as hazardous, toxic, radioactive or dangerous or
         as a contaminant, pollutant or waste by any Requirements of Environmental Law.

         1.1.118 1.1.117 “Hedge Provider” means any Lender or any Affiliate thereof that enters
         into a Hedging Agreement with a Credit Party prior to such Lender ceasing to be a Lender

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         under this Agreement. For certainty, any Person who enters into a Hedging Agreement
         after such Person ceases to be a Lender hereunder is not a Hedge Provider for purposes
         such Hedging Agreement.

         1.1.119 1.1.118 “Hedging Agreements” means Interest Rate Hedging Agreements and
         Currency Hedging Agreements.

         1.1.120 1.1.119 “Hedging Liability” means the actual indebtedness or obligations of
         any Credit Party to a counterparty who enters into a Hedging Agreement with such Credit
         Party under or pursuant to such Hedging Agreement.

         1.1.121 1.1.120 “Holdco” means Fluid Holding Corp., a corporation incorporated under
         the BCBCA, and its successors and permitted assigns.

         1.1.122 1.1.121 “Hostile Acquisition” means an acquisition, which is required to be
         reported to applicable securities regulatory authorities, of shares of a corporation where
         the board of directors of that corporation has not approved such acquisition nor
         recommended to the shareholders of the corporation that they sell their shares pursuant to
         the proposed acquisition or of units of a trust where the trustee or manager or
         administrator of that trust has not approved such acquisition nor recommended to the
         unitholders of the trust that they sell their units pursuant to the proposed acquisition or of
         units of a partnership where the board of directors of the general partner(s) thereof has not
         approved such acquisition nor recommended to the partners of the partnership that they
         sell their units pursuant to the proposed acquisition.

         1.1.123 1.1.122 “HSBC” means HSBC Bank Canada and its successors and permitted
         assigns.

         1.1.124 1.1.123 “HSBC Mexico” means HSBC México, S.A., Institución de Banca
         Múltiple, Grupo Financiero HSBC.

         1.1.125 1.1.124 “HSBC US” means HSBC Bank USA, National Association and its
         successors and permitted assigns.

         1.1.126 1.1.125 “Impositions” is defined in Section 12.4.1.

         1.1.127 1.1.126 “Indemnitees” means the Lenders, the Agent and their respective
         successors and permitted assignees, any agent of any of them (specifically including a
         receiver or receiver-manager) and the respective officers, directors and employees of the
         foregoing.

         1.1.128 1.1.127 “Insolvency Event” means, in respect of any Person:

         (a)      such Person commits an act of bankruptcy or becomes insolvent (as such terms
                  are used in the BIA); or makes an assignment for the benefit of creditors, files a
                  petition in bankruptcy, makes a proposal or commences a proceeding under
                  Insolvency Legislation; or petitions or applies to any tribunal for, or consents to,
                  the appointment of any receiver, trustee or similar liquidator in respect of all or a

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                  substantial part of its property; or admits the material allegations of a petition or
                  application filed with respect to it in any proceeding commenced in respect of it
                  under Insolvency Legislation; or takes any board action for specifically
                  authorizing any of the foregoing actions; or

         (b)      any proceeding or filing is commenced against such Person seeking to have an
                  order for relief entered against it as debtor or to adjudicate it a bankrupt or
                  insolvent, or seeking liquidation, winding-up, reorganization, arrangement,
                  adjustment or composition of it or its debts under any Insolvency Legislation, or
                  seeking appointment of a receiver, trustee, custodian or other similar official for it
                  or any of its property or assets; unless:

                  (i)    such Person is diligently defending such proceeding in good faith and on
                         reasonable grounds as determined by the Required Lenders acting
                         reasonably and the same shall continue undismissed, or unstayed and in
                         effect, for any period of 60 consecutive days; and

                  (ii)   such proceeding does not in the reasonable opinion of the Required
                         Lenders materially adversely affect the ability of such Person to carry on
                         its business and to perform and satisfy all of its obligations.

         1.1.129 1.1.128 “Insolvency Legislation” means legislation in any applicable
         jurisdiction relating to reorganization, arrangement, compromise or re-adjustment of debt,
         dissolution or winding-up, or any similar legislation, and specifically includes the BIA,
         the Companies’ Creditors Arrangement Act (Canada), the Winding-Up and Restructuring
         Act (Canada) and the Bankruptcy Code (United States) and any similar legislation under
         Applicable Law.

         1.1.130 1.1.129 “Insurance Proceeds” is defined in Section 5.3.1(c).

         1.1.131 1.1.130 “Insured Receivables” means Receivables of the Credit Parties owing
         from account debtors that:

         (a)      solely in respect of Insured Receivables that do not derive from and are not
                  governed by the laws of Canada or the United States of America or any political
                  subdivision thereof, no less than 80% of such Receivables arise from Eligible
                  Approved Contracts; provided that if the revenue derived from any such single
                  contract exceeds 10% of the Canadian Borrower’s annual revenue as set out in the
                  then most recent income statement of the Canadian Borrower that was delivered
                  to the Lenders hereunder, such contract must be an Eligible Approved Contract;

         (b)      does not arise under an “excluded contract” or any similar term as provided in the
                  Account Receivable Insurance, are within the approved credit, sovereign, country,
                  single obligor and other limits under the Account Receivable Insurance and are
                  otherwise covered under the Account Receivable Insurance which is in full force
                  and effect;



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         (c)      the Credit Parties have complied with the credit policy provided for in the
                  Account Receivable Insurance with respect to such Receivables, including the
                  issuance of invoices, pro forma invoices and final invoices within the required
                  time periods thereunder;

         (d)      there are no events, facts or circumstances which would reasonably be expected to
                  result in the insurer under the Account Receivable Insurance denying (or
                  withholding or delaying) payment of a claim in respect of such Receivables or
                  asserting any defense, dispute or counterclaim with respect to such Receivables;

         (e)      the insurer under the Account Receivable Insurance has not denied all or any
                  portion of a claim in respect of such Receivable, and has not asserted any defense,
                  dispute or counterclaim with respect to such Receivable;

         (f)      the Credit Parties have not suffered any loss with respect to such Receivables,
                  unless such loss is covered by the Account Receivable Insurance;

         (g)      are not in dispute and are valid and enforceable obligations of the account debtor
                  under Applicable Law;

         (h)      if Credit Parties have suffered a loss in respect of such Receivable covered by the
                  Account Receivable Insurance, they have submitted a claim for such loss in
                  accordance with the terms of the Account Receivable Insurance and have
                  otherwise complied with all provisions of the Account Receivable Insurance on a
                  timely basis in order to be entitled to have such claim paid by the insurer under
                  the Account Receivable Insurance;

         (i)      the Credit Parties have paid any required deductibles under the Account
                  Receivable Insurance in respect of such Receivables; and

         (j)      in any case, are due within the time period, including any “waiting period”, from
                  the date of billing required under the Account Receivable Insurance in respect of
                  such Receivable.

         1.1.132 1.1.131 “Intercreditor Agreement” means that certain intercreditor and priority
         agreement between the Agent, HSBC Mexico, and the Borrower or QMax Mexico, as
         amended, modified, supplemented or restated from time to time, with respect to any
         Permitted Factoring Transaction with HSBC Mexico.

         1.1.133 1.1.132 “Interest” means interest on loans, stamping fees in respect of bankers’
         acceptances, the difference between the proceeds received by the issuers of bankers’
         acceptances and the amounts payable upon the maturity thereof, issuance fees in respect
         of letters of credit, and any other charges or fees in connection with the extension of
         credit which are determined by reference to the amount of credit extended, plus standby
         fees in respect of the unutilized portion of any credit facility; but for greater certainty
         “Interest” shall not include agency fees, arrangement fees, structuring fees, fees relating to
         the granting of consents, waivers, amendments, extensions or restructurings, the
         reimbursement of costs and expenses, and any similar amounts which may be charged
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         from time to time in connection with the establishment, administration or enforcement of
         the credit facilities.

         1.1.134 1.1.133 “Interest Expense” means, with respect to any Person for any period,
         the sum of (without duplication) (a) interest expense of such Person for such period on a
         consolidated basis, including (i) the amortization of debt discounts, (ii) all commissions,
         discounts and other fees and charges owed with respect to letters of credit and bankers’
         acceptances, (iii) standby fees in respect of undrawn debt, (iv) discounts applied to the
         proceeds of any Permitted Factoring Transaction or Permitted Securitization Financing,
         and (v) the portion of any payments or accruals with respect to Capital Lease obligations
         allocable to interest expense (but excluding (A) non-cash interest expense attributable to
         the movement of mark-to-market hedging obligations or other derivative instruments
         pursuant to GAAP (B) penalties and interest related to taxes, amortization of debt
         financing fees, debt issuance costs, commissions, fees and expenses and the expensing of
         any commitment and other financing fee in each case, to the extent constituting interest
         expense under GAAP), and (b) capitalized interest of such Person. For purposes of the
         foregoing, cash interest expense shall be determined after giving effect to any net
         payments made or received and costs incurred by the Borrower and the Subsidiaries with
         respect to Interest Rate Hedging Agreements, and interest on a Capital Lease obligation
         shall be deemed to accrue at an interest rate reasonably determined by the Borrower to be
         the rate of interest implicit in such Capital Lease obligation in accordance with GAAP.

         1.1.135 1.1.134 “Interest Rate Hedging Agreement” means any agreement that does
         not contravene Section 7.2.13 entered into between the Borrower and a counterparty from
         time to time for the purpose of hedging interest rate risk, including interest rate exchange
         agreements (commonly known as “interest rate swaps”) and forward rate agreements;
         and for greater certainty, including interest rate exchange agreements in U.S. Dollars
         (commonly known as “cross-currency swaps”).

         1.1.136 1.1.135 “Interim Financial Statements” in respect of any Fiscal Quarter means,
         in respect of any Person, the unaudited financial statements of such Person on a
         consolidated basis in respect of such Fiscal Quarter (and also on a year-to-date basis in
         respect of such Fiscal Quarter and all previous Fiscal Quarters in the same Fiscal Year).

         1.1.137 1.1.136 “Investment Grade” means, with respect to the long term unsecured
         debt ratings of a Person, of the rating agencies on the date hereof, Baa3 or higher for
         Moody’s Investors Services, Inc. or BBB- or higher for Standard & Poor’s Rating
         Services, a division of The McGraw Hill Companies, Inc. (or in either case, their
         respective successors).

         1.1.138 1.1.137 “Investments” has the meaning given to it in Section 7.2.3.

         1.1.139 1.1.138 “Investors” means Pep Fluid Co-Invest L.P., PEP Fluid L.P. and any
         other investors from time to time who are approved in writing by the Agent on behalf of
         the Required Lenders.



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         1.1.140 1.1.139 “ISDA” means the International Swaps and Derivatives Association and
         its successors and assigns.

         1.1.141 1.1.140 “ISP98” means the International Standby Practices ISP98, as published
         by the International Chamber of Commerce and in effect from time to time.

         1.1.142 1.1.141 “Issuing Bank” means the Swingline Lender under the Canadian
         Operating Facility and HSBC US under the U.S. Operating Facility, as applicable.

         1.1.143 1.1.142 “Land” means real property (including a leasehold interest in land) and
         all buildings, improvements, fixtures and plant situated thereon.

         1.1.144 1.1.143 “Landlord Agreement” means an agreement between the Agent, the
         applicable Credit Party and the landlord of a Leased Property in form and substance
         reasonably satisfactory to the Agent, which shall include the following provisions (except
         to the extent otherwise agreed by the Agent in its discretion): such landlord consents to
         the granting of a security interest in the lease applicable to such Leased Property by a
         Credit Party which is a tenant thereunder in favour of the Agent, agrees to give written
         notice to the Agent in respect of and a reasonable opportunity to cure any default before
         terminating the lease, and agrees to waive (or subordinate and defer the enforcement of)
         its rights and remedies and any security it may hold in respect of any assets owned by the
         applicable Credit Party located on or affixed to such Leased Property.

         1.1.145 1.1.144 “Laws” means all laws, statutes, codes, ordinances, decrees, rules,
         regulations, municipal by-laws, judicial or arbitral or administrative or ministerial or
         departmental or regulatory judgments, orders, decisions, rulings or awards, or any
         provisions of such laws, including general principles of common and civil law and equity
         or policies or guidelines, to the extent such policies or guidelines have the force of law,
         binding on the Person referred to in the context in which such word is used; and “Law”
         means any of the foregoing.

         1.1.146 1.1.145 “LC Payment” is defined in Section 2.7.9.

         1.1.147 1.1.146 “Leased Properties” means all Land leased by any Credit Party as
         tenant from time to time, specifically including as at the date of this Agreement the Land
         described in Schedule 6.1.10; and “Leased Property” means any of the Leased
         Properties as the context requires.

         1.1.148 1.1.147 “Lenders” means the lenders identified in Exhibit “A” attached hereto
         and any other Persons which may from time to time become lenders pursuant to this
         Agreement; and their respective successors and permitted assigns; and “Lender” means
         any of them as the context requires.

         1.1.149 1.1.148 “Lending Office” in respect of any Lender means the office of such
         Lender designated by it from time to time as the office from which it will make Advances
         hereunder.



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         1.1.150 1.1.149 “Letter of Credit” means a stand-by letter of credit or a letter of
         guarantee or documentary letter of credit issued, at the request of and on behalf of the
         Borrower, by the applicable Issuing Bank.

         1.1.151 1.1.150 “Level” means the applicable level as set forth in the table set forth in
         the definition of Applicable Margin.

         1.1.152 1.1.151 “LIBOR Business Day” means a day on which the main branches of
         the Agent and commercial banks generally are open for international business (including
         dealings in U.S. Dollar deposits in the London interbank market) in London, England and
         New York, New York.

         1.1.153 1.1.152 “LIBOR Interest Period” means, with respect to each LIBOR Loan,
         the initial period (subject to availability) of approximately one, two, three, six or twelve
         months or such other periods as selected by the Borrower and notified in writing to the
         Agent commencing on and including the date of any Advance, Conversion or Rollover, as
         the case may be, applicable to such LIBOR Loan and ending on and including the last day
         of such initial period, and thereafter, each successive period (subject to availability) of
         approximately one, two, three, six or twelve months or such other periods as selected by
         the Borrower and notified to the Agent in writing commencing on and including the last
         day of the prior LIBOR Interest Period; provided, however, that:

         (a)      in the case of a Rollover, the last day of each LIBOR Interest Period shall also be
                  the first day of the next LIBOR Interest Period;

         (b)      the last day of each LIBOR Interest Period shall be a LIBOR Business Day and if
                  not, the Borrower shall be deemed to have selected a LIBOR Interest Period the
                  last day of which is the first LIBOR Business Day following the last day of the
                  LIBOR Interest Period selected by the Borrower;

         (c)      if the Borrower selects a LIBOR Interest Period for a period longer than three
                  months, the last day of such LIBOR Interest Period shall be the date falling three
                  months after the beginning of such LIBOR Interest Period and the next LIBOR
                  Interest Period shall begin on such date; and

         (d)      notwithstanding any of the foregoing, the last day of each LIBOR Interest Period
                  shall be on or before the maturity date of the applicable Facility.

         1.1.154 1.1.153 “LIBOR Loan” means an Advance made by a Lender to a Borrower in
         U.S. Dollars in accordance with the provisions hereof, bearing interest by reference to the
         U.S. Dollar LIBOR Rate.

         1.1.155 1.1.154 “LIBOR Market” means the London Interbank Eurodollar offering
         market.

         1.1.156 1.1.155 “LIBOR Period” means, in respect of a LIBOR Loan, the period
         commencing on the date of the Advance of such LIBOR Loan and ending on the
         scheduled maturity date of such LIBOR Loan.

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         1.1.157 1.1.156 “LIBOR Rate” means, with respect to each LIBOR Interest Period
         pertaining to any LIBOR Loan, the London interbank offered rate administered by ICE
         Benchmark Administration Limited (or any other successor thereto which takes over
         administration of such rate) appearing on Bloomberg Page BBAM1 screen (or on any
         successor or substitute page of such Bloomberg screen providing rate quotations
         comparable to those currently provided on such page of such Bloomberg screen, as
         determined by the Agent from time to time for purposes of providing quotations of
         interest rates applicable to U.S. Dollar deposits in the London interbank market) at
         approximately 11:00 a.m., London time, two LIBOR Business Days prior to the making a
         LIBOR Loan, as the rate for the offering of U.S. Dollar deposits with a maturity
         comparable to the LIBOR Interest Period of such LIBOR Loan; provided, however, that if
         the said page is not available for any reason, the term “LIBOR Rate” shall mean the rate
         per annum at which deposits in U.S. Dollars for the applicable interest period and amount
         are offered to the Agent in the LIBOR Market; provided that if the LIBOR Rate
         calculated for any purpose would be less than zero on any day, then such rate shall be
         deemed to be zero for such purpose.

         1.1.158 1.1.157 “Lien” means:

         (a)      a lien, charge, mortgage, deed of trust, pledge, security interest or conditional sale
                  or title retention agreement in the nature of security which secures payment or
                  performance of an obligation;

         (b)      an assignment, lease, consignment, deposits, trust or deemed trust that secures
                  payment or performance of an obligation;

         (c)      a garnishment; and

         (d)      any other encumbrance of any kind in the nature of security which secures
                  payment or performance of an obligation (including any garantía prioritaria por
                  adquisición under law 1676 of 2013 Colombia).

         1.1.159 1.1.158 “Loan” means a Canadian Dollar Prime Rate Loan, U.S. Dollar Base
         Rate Loan, U.S. Dollar Prime Rate Loan, LIBOR Loan, Bankers’ Acceptance, BA
         Equivalent Loan or Letter of Credit outstanding hereunder, or in the case of the
         Swingline, Overdraft borrowings and such other Advances permitted under Section 2.7.2.

         1.1.160 1.1.159 “Management Shareholders” means each of the employees of the
         Canadian Borrower who hold Common Shares of the Canadian Borrower or options in
         respect of the same on the Amendment and Restatement Date and such other holders
         thereof from time to time who are approved in writing by the Agent on behalf of the
         Required Lenders, and “Management Shareholder” means any one of them.

         1.1.161 1.1.160 “Marginable Capital Assets” means 60% of the net book value of
         Eligible Capital Assets at the time of determination, up to a maximum amount of U.S.
         $50,000,000 less the amount of each completed Anchor Sale and Leaseback Transaction;



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         provided that, reductions resulting from Anchor Sale and Leaseback Transactions shall
         not reduce the amount available below U.S. $30,000,000.

         1.1.162 1.1.161 “Marginable Cash” means 100% of Eligible Cash up to a maximum
         amount of U.S. $15,000,000 at any time.

         1.1.163 1.1.162 “Marginable Inventory” means 50% of Eligible Inventory at the time
         of determination, up to U.S. $35,000,000.

         1.1.164 1.1.163 “Marginable Receivables” means the sum of the following (without
         duplication):

         (a)      90% of Insured Receivables (or such lower percentage as is covered by the
                  applicable Account Receivable Insurance) up to a maximum amount of U.S.
                  $175,000,000;

         (b)      85% of Eligible Receivables owed to a Credit Party by Acceptable Account
                  Debtors;

         (c)      75% of all other Eligible Receivables; and

         (d)      90% of Insured Receivables from Pemex outstanding more than 300 days, but not
                  more than 540 days, in respect of contract numbers 423023819 and 423023813
                  between Pemex Exploracion y Produccion and Qmax Mexico, S.A. de C.V., dated
                  April 22, 2014 and July 17, 2013, respectively, and contract number 423023813,
                  dated July 25, 2013, between Pemex Exploracion y Produccion and Qmax
                  Mexico, S.A. de C.V. (in each case, as may be amended or otherwise modified
                  from time to time).

         1.1.165 1.1.164 “Material Adverse Change” or “Material Adverse Effect” means any
         matter, event or circumstance that individually or in the aggregate could, in the opinion of
         the Required Lenders, acting reasonably, be expected to result in a material adverse
         change to or have a material adverse effect on:

         (a)      the business, financial condition, prospects, operations, or property, of the
                  Canadian Borrower and its Subsidiaries (excluding any Securitization SPE), taken
                  as a whole;

         (b)      the ability of any Credit Party to pay and perform its obligations in accordance
                  with this Agreement or any of the other Credit Documents; or

         (c)      the validity or enforceability of this Agreement or any other Credit Document.

         1.1.166 1.1.165 “Material Agreement” means, in respect of the Credit Parties, an
         agreement made between the applicable Credit Party or its predecessors and another
         Person (a) pursuant to which such Credit Party is reasonably expected to incur obligations
         or liabilities in excess of $10,000,000 in any Fiscal Year (other than any agreement
         related to the purchase of equipment, software or utility services) and (b) which if

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         terminated (other than at its scheduled maturity) would, unless replaced with a
         substantially similar agreement, result, or would have a reasonable likelihood of resulting,
         in a Default, an Event of Default or a Material Adverse Change, specifically including, as
         at the Amendment and Restatement Date, each agreement listed in Schedule 6.1.13;
         provided, in each case, in no event shall the Wells Fargo Credit Agreement or any
         agreement in connection with a Permitted Securitization Financing be considered a
         Material Agreement.

         1.1.167 1.1.166 “Material Permit” means, in respect of the Credit Parties, a licence,
         permit, approval, registration or qualification granted to or held by the applicable Credit
         Party which if terminated and not replaced would result, or would have a reasonable
         likelihood of resulting, in a Default, an Event of Default or a Material Adverse Change;
         specifically including, as at the date of this Agreement, each licence, permit, approval,
         registration or qualification listed in Schedule 6.1.8.

         1.1.168 1.1.167 “Material Subsidiary” means (a) any wholly-owned Subsidiary of the
         Canadian Borrower which:

                  (i)     has Consolidated Net Tangible Assets owned directly by it on an
                          unconsolidated basis equal or greater than 5% of the Canadian Borrower’s
                          Consolidated Net Tangible Assets as at the end of the Fiscal Quarter
                          immediately prior to the date of such determination;

                  (ii)    has EBITDA generated by it on an unconsolidated basis equal or greater
                          than 5% of the Canadian Borrower’s consolidated EBITDA as at the end
                          of the Fiscal Quarter immediately prior to the date of such determination;
                          or

                  (iii)   any Subsidiary of the Canadian Borrower that has been designated as a
                          “Material Subsidiary” by the Borrower,

         and (b) any Subsidiary which owns, directly or indirectly, any equity or other ownership
         interest in a Material Subsidiary.

         1.1.169 1.1.168 “Minimum Liquidity” means the sum of (A) the amount of
         unrestricted cash (determined in accordance with GAAP) and Cash Equivalents of the
         Credit Parties held in accounts with any of the Lenders, Encina (or any other lenders party
         to the Encina ABL Loan Agreement) and Wells Fargo (or any other lenders party to the
         Wells Fargo Credit Agreement), plus (B) the Minimum Margin Availability and undrawn
         available amount under the Encina ABL Loan Agreement or the Wells Fargo Credit
         Agreement, as applicable, plus (C) undrawn and available amounts under other facilities
         constituting Permitted Funded Debt plus (D) non-Marginable Cash.

         1.1.170 1.1.169 “Minimum Margin Availability” means the undrawn available amount
         under the Operating Facilities up to the Borrowing Base (as at the time of determination).

         1.1.171 1.1.170 “Minor Title Defects” in respect of any parcel of Land means
         encroachments, restrictions, easements, rights-of-way, servitudes and defects or
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         irregularities in the title to such Land which are of a minor nature and which, in the
         aggregate, will not materially impair the use of such Land for the purposes for which such
         Land is held by the owner thereof.

         1.1.172 1.1.171 “Multiemployer Plan” means a multiemployer plan, as defined in
         Section 4001(a)(3) of ERISA, to which any Credit Party or any ERISA Affiliate is
         making or accruing an obligation to make contributions, or has within any of the
         preceding five plan years made or accrued an obligation to make contributions.

         1.1.173 1.1.172 “Multiple Employer Plan” means a plan that is described in Section
         210 of ERISA and subject to Title IV of ERISA, and (i) is maintained for employees of
         any Credit Party or any ERISA Affiliate and (ii) in respect of which any Credit Party or
         any ERISA Affiliate could have liability under Section 4069 of ERISA in the event such
         plan has been or were to be terminated.

         1.1.174 1.1.173 “Net Leverage Ratio” means, in respect of any Fiscal Quarter, the ratio
         of Total Net Debt at the end of such Fiscal Quarter to EBITDA in the fiscal period
         comprised of such Fiscal Quarter and the immediately preceding three Fiscal Quarters.

         1.1.175 1.1.174 “New Rules” is defined in Section 12.1.3.

         1.1.176 1.1.175 “Non-BA Lender” means a Lender identified in Exhibit “A” attached
         hereto as a Lender which will make BA Equivalent Loans instead of accepting Bankers’
         Acceptances hereunder.

         1.1.177 1.1.176 “Non-Consenting Lender” is defined in Section 11.5.2.

         1.1.178 1.1.177 “Non-Financial Letter of Credit” means a Letter of Credit that is not a
         Financial Letter of Credit and, for the purposes of the definition of “Funded Debt”,
         any similar performance letter of credit issued by a party that is not an Issuing
         Bank.

         1.1.179 1.1.178 “Non-OECD Guarantor” means any Guarantor whose governing
         jurisdiction is located in a country which not a member of OECD, excluding Colombia.

         1.1.180 1.1.179 “Non-Paying Lender” is defined in Section 11.4.2.

         1.1.181 1.1.180 “Obligations” means, at any time all direct and indirect, contingent and
         absolute obligations and liabilities of the Borrower and the other Credit Parties to the
         Agent and the Lenders under or in connection with this Agreement and the Security
         (specifically including for greater certainty all Guarantees provided hereunder) at such
         time, specifically including the Outstanding Advances, all accrued and unpaid interest
         thereon, all Secured Hedging Liabilities and all Banking Service Liabilities, all indemnity
         obligations arising under, any other Credit Document, any Banking Service Agreement or
         any Hedging Agreement with a Hedge Provider, all fees payable in connection with
         prepayments, all breakage fees payable pursuant to Section 5.15 and all other fees,
         expenses and other amounts payable pursuant to this Agreement and the Security
         (specifically including fees relating to the Facilities as may be agreed in writing from time
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         to time between a Borrower and any Lender); except that if otherwise specified or
         required by the context, “Obligations” shall mean any portion of the foregoing.
         Notwithstanding anything herein to the contrary, the “Obligations” shall exclude any
         Excluded Hedging Obligations.

         1.1.182 1.1.181 “OECD” means The Organisation for Economic Co-operation and
         Development.

         1.1.183 1.1.182 “OECD Credit Party” means any Credit Party whose governing
         jurisdiction is in a country which is an OECD member or which has a sovereign currency
         credit rating at an Investment Grade level.

         1.1.184 1.1.183 “OFAC” means the U.S. Treasury Department Office of Foreign Assets
         Control.

         1.1.185 1.1.184 “Operating Facilities” means, collectively, the Canadian Operating
         Facility and the U.S. Operating Facility, and “Operating Facility” means any of them as
         the context requires.

         1.1.186 1.1.185 “Other Taxes” is defined in Section 12.4.2.

         1.1.187 1.1.186 “Outstanding Advances” means, at any time, the aggregate of all
         obligations of the Borrowers to the Lenders (or if the context requires, to any Lender) in
         respect of all Advances made under the Facilities (or if the context requires, under any
         Facility) which have not been repaid or satisfied at such time, determined as follows:

         (a)      in the case of Canadian Dollar Prime Rate Loans and Overdrafts in Canadian
                  Dollars, the principal amount thereof;

         (b)      in the case of Bankers’ Acceptances and BA Equivalent Loans and Letters of
                  Credit, the face amount thereof;

         (c)      in the case of Letter of Credit, the undrawn amount thereof (to the extent not cash
                  collateralized, backstopped or otherwise provided for in a manner acceptable to
                  the Issuing Bank, in its discretion, in respect thereof); and

         (d)      in the case of U.S. Dollar Base Rate Loans, Overdrafts in U.S. Dollars and LIBOR
                  Loans the Equivalent Amount of the principal amount thereof expressed in
                  Canadian Dollars.

         1.1.188 1.1.187 “Overdraft” means indebtedness of the Canadian Borrower to the
         Swingline Lender arising under the Swingline in connection with all amounts debited to
         all overdraft accounts established by the Canadian Borrower with the Swingline Lender
         (in Canadian Dollars or U.S. Dollars, as the case may be), including without limitation all
         cheques, transfers, withdrawals, interest, costs, charges and fees debited to such accounts.

         1.1.189 1.1.188 “Palladium” means Palladium Capital Management IV LLC.


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         1.1.190 1.1.189 “Palladium Equity Line” means the Loan Agreement, dated as of
         October 18, 2017, by and between Holdco, as borrower, and PEP Fluid L.P., as lender
         (together with the revolving demand note related thereto), and any related loan agreement
         and revolving demand note with PEP Fluid Co-Invest LP and/or Calumet, in an aggregate
         principal amount of up to $5,000,000, as may be amended, restated, replaced or otherwise
         modified from time to time.

         1.1.191 1.1.190 “Participant” is defined in Section 13.6.4.

         1.1.192 1.1.191 “Participant Register” is defined in Section 13.6.4

         1.1.193 1.1.192 “Parties” means the Borrowers, the Agent and the Lenders and their
         respective successors and permitted assigns.

         1.1.194 1.1.193 “PATRIOT Act” means The Uniting and Strengthening America by
         Providing Adequate Tools Required to Intercept and Obstruct Terrorism Act of 2001
         (Title III of Pub. L. No. 107-56 (signed into law October 26, 2001)).

         1.1.195 1.1.194 “PBGC” means the Pension Benefit Guaranty Corporation (or any
         successor).

         1.1.196 1.1.195 “Pemex Entities” means, collectively, Petroleos Mexicanos, Pemex
         Exploracion y Produccion and Pemex Perforacion y Servicios.

         1.1.197 1.1.196 “Pension Plan” means:

         (a)      a “pension plan” or “plan” which is subject to the funding requirements of
                  applicable pension benefits legislation in any jurisdiction of Canada and is
                  applicable to employees of a Credit Party resident in Canada; or

         (b)      any pension benefit plan or similar arrangement (other than Plans or
                  Multiemployer Plans) applicable to employees of a Credit Party.

         1.1.198 1.1.197 “Permitted Acquisition” means any Acquisition with respect to which
         all of the following conditions shall have been satisfied:

         (a)      the Acquired Business has positive EBITDA calculated on a trailing twelve month
                  basis (determined using the definition thereof set for herein as if the Acquired
                  Business was the Canadian Borrower for such purpose);

         (b)      the Acquired Business is in an Eligible Line of Business in Canada or the U.S.;

         (c)      the Acquisition shall not be a Hostile Acquisition and, if the Acquisition involves
                  a merger involving a Credit Party, the surviving entity is or becomes a Credit
                  Party concurrently with the completion of such merger;

         (d)      the aggregate purchase price of all such Acquisitions shall not exceed the sum of
                  $50,000,000 in any Fiscal Year;

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         (e)      if the consideration payable at the closing of the acquisition of the Acquired
                  Business in cash, shares or other tangible assets (but for certainty excluding
                  Earnout Payments), plus the Permitted Funded Debt of the Acquired Business
                  assumed as part of such acquisition, is greater than $15,000,000, then (i) the Net
                  Leverage Ratio on a pro forma basis (including the EBITDA and, if applicable,
                  Permitted Funded Debt of the Acquired Business) as of the end of and for the
                  most recently completed four Fiscal Quarter period occurring prior to the closing
                  of the Acquisition in question for which financial statements are available does
                  not exceed the maximum Net Leverage Ratio permitted for such four Fiscal
                  Quarter period under Section 7.3.1(a) minus 0.25 to 1, (ii) after giving effect to the
                  funding of the Acquisition in question the sum of: (A) unrestricted cash on hand
                  of the Credit Parties, plus (B) undrawn and available amounts under the Operating
                  Facilities, plus (C) undrawn and available amounts permitted under operating
                  facilities provided under clauses (c) and (d) of the definition of Permitted Funded
                  Debt (provided, that the stated maturity date of any such facility, if any, is not
                  within 90 days after the date of such Acquisition), is no less than $25,000,000;
                  and (iii) at least 10 Business Days prior to the date that the Acquisition is to close,
                  the Lenders shall have received financial statements and quarterly earnings reports
                  in respect of the Acquired Business which shall be satisfactory to the Required
                  Lenders, acting reasonably, together with any other information in respect of the
                  Acquired Business which the Agent may reasonably request (and in the case of (i)
                  and (ii) above, the resident and/or chief financial officer of the Canadian Borrower
                  will deliver to the Agent an officer’s certificate confirming such items, together
                  with detailed calculations thereof);

         (f)      if the Acquisition relates to the purchase of shares or other equity of a Person, it
                  must be for 100% of the issued and outstanding shares of such Person;

         (g)      if a new Material Subsidiary is formed or acquired as a result of or in connection
                  with the Acquisition, the Borrower shall have complied with the requirements of
                  Article 8 in connection therewith, subject to the last sentence of Section 8.2;

         (h)      any existing indebtedness of the Acquired Business will be repaid and, if
                  applicable, cancelled, unless otherwise constituting Permitted Funded Debt; and

         (i)      after giving effect to the Acquisition and any Advance in connection therewith,
                  and subject to clause (j) below with respect to the representations and warranties
                  in this Agreement, no Default or Event of Default shall exist, including with
                  respect to the financial covenants contained in Section 7.3 on a pro forma basis as
                  of the end of and for the most recently completed four Fiscal Quarter period
                  occurring prior to the closing of the Acquisition for which financial statements are
                  available; and

         (j)      all representations and warranties set forth herein (other than those which are
                  specified to be given as of specific date) shall be repeated as of the date of the
                  Acquisition (after giving effect to the Acquisition and any Advance in connection
                  therewith) and must be true in all material respects;

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         provided that, notwithstanding anything herein to the contrary, the Terra Acquisition shall
         constitute a Permitted Acquisition if the following conditions shall have been satisfied:

                  (i)     the Terra Acquisition shall not be funded in whole or in part with the
                          proceeds of any Advance hereunder;

                  (ii)    on the date hereof, all amounts outstanding under the Palladium Equity
                          Line shall be repaid in full and, immediately following such repayment,
                          Palladium shall make an equity contribution to the Canadian Borrower in
                          an amount not less than $7,000,000; and

                  (iii)   prior to or substantially concurrently with the closing of the Terra
                          Acquisition, the Permitted Securitization Financing among ADF SPV,
                          LLC, as borrower, Anchor, as servicer, and Wells Fargo Bank, National
                          Association, as lender and agent shall also be consummated or the Credit
                          Parties shall have otherwise arranged sufficient funding to fund such
                          acquisition in a manner that is acceptable to the Required Lenders, acting
                          reasonably.

         1.1.199 1.1.198 “Permitted Contest” means action taken by or on behalf of a Credit
         Party in good faith by appropriate proceedings diligently pursued to contest a tax, claim
         or Lien; provided, that:

         (a)      the Person to which the tax, claim or Lien being contested is relevant (and, in the
                  case of a Subsidiary of the Canadian Borrower, the Canadian Borrower on a
                  consolidated basis) has established reasonable reserves therefor if and to the
                  extent required by GAAP;

         (b)      proceeding with such contest does not have, and would not reasonably be
                  expected to result in, a Material Adverse Change; and

         (c)      proceeding with such contest will not create a material risk of sale, forfeiture or
                  loss of, or interference with the use or operation of, a material part of the assets of
                  the Credit Parties, taken as a whole.

         1.1.200 1.1.199 “Permitted Discretion” shall mean the Agent’s or any Required
         Lender’s discretion, as the context requires, exercising its reasonable credit judgment in
         accordance with customary business practices for comparable asset-based lending
         transactions and, as it relates to the adjustment or imposition of exclusionary criteria,
         shall require that, (a) such establishment, increase, adjustment or imposition after the
         Amendment and Restatement Date be based on the analysis of facts or events first
         occurring, first discovered or quantified by the Agent, or the applicable Required Lender,
         after the Amendment and Restatement Date or that are materially different from facts or
         events occurring or known to the Agent, or the Required Lender, on the Amendment and
         Restatement Date, (b) the contributing factors to such change shall not duplicate the
         exclusionary criteria set forth in the definitions of “Eligible Capital Assets”, “Eligible
         Inventory” and “Eligible Receivables” as applicable (and vice versa), and (c) the effect of

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         any adjustment or imposition of exclusionary criteria shall be a quantification of the
         incremental reduction of the Borrowing Base attributable to such contributing factors
         which is reasonable in light of reasonable credit judgment exercised in senior secured
         asset-based revolving credit facilities with comparable companies of similar size,
         industries, businesses and business practices, including, without limitation, leverage
         profile and projected free cash flow, in the applicable market.

         1.1.201 1.1.200 “Permitted Dispositions” is defined in Section 7.2.4.

         1.1.202 1.1.201 “Permitted Distribution” means:

         (a)      the Permitted Management Fees; provided, that no such Distribution is permitted
                  if a Default or an Event of Default exists at such time or would result therefrom;
                  and further provided, that any such payments that were not able to be made during
                  the occurrence of a Default or an Event of Default may be “caught up” when such
                  Default or Event of Default no longer exists (regardless of the Annual
                  Management Fee Cap) (with any such catch up payments in excess of the Annual
                  Management Fee Cap in any Fiscal Year being referred to herein as the “Catch
                  Up Management Fee Payments”);

         (b)      any Distribution from one Credit Party to another Credit Party;

         (c)      any other Distribution payable to the shareholders of the Canadian Borrower by
                  any Credit Party if at the time such Distribution is made (i) no Default or Event of
                  Default exists at such time or would result therefrom, (ii) on a pro forma basis
                  after giving effect to such Distribution, the Net Leverage Ratio would not exceed
                  2.50 to 1, as evidenced by the Canadian Borrower providing an officer’s
                  certificate to the Agent confirming same, and (iii) no Borrowing Base Shortfall
                  has occurred and is continuing or would result from any such Distribution on a
                  pro forma basis as if such Distribution had been made as of the end of the last
                  Fiscal Quarter;

         (d)      any dividend payments or other Distributions payable by Holdco or any of its
                  Subsidiaries solely in the equity interests of such Person;

         (e)      any Distribution permitted under Section 7.2.6(l);

         (f)      non-cash repurchases by Holdco or its Subsidiaries of equity interests deemed to
                  occur upon exercise of stock options or similar equity incentive awards if such
                  equity interests represents a portion of the exercise price of such options or similar
                  equity incentive awards;

         (g)      cash dividends to Holdco (and by Holdco to its parent companies) by any Credit
                  Party not to exceed an amount necessary to permit Holdco and its parent
                  companies to pay for normal, reasonable and documented over-head and
                  administrative costs and expenses of Holdco and its parent companies and
                  franchise fees or similar taxes and fees required to maintain its corporate existence
                  and to reimburse out-of-pocket expenses actually incurred by Holdco and its
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                  parent companies for the benefit of the Canadian Borrower, and other
                  Distributions for customary directors’ fees to any board members and the
                  reimbursement of out-of-pocket expenses incurred by any board members in such
                  capacity, provided that no Default or Event of Default exists at such time or
                  would result therefrom; and

         (h)      Distributions made (i) to Holdco to permit Holdco to, and Holdco may, redeem or
                  repurchase equity interests of Holdco from officers, employees, consultants,
                  managers and directors of the Canadian Borrower or any of its Subsidiaries in
                  connection with the termination of employment or engagement of any such Person
                  or (ii) pursuant to any management equity plan or stock option plan or any other
                  management or employee benefit plan or other agreement or arrangement
                  (including, but not limited to, employment, compensation, severance agreements
                  or arrangements or stockholders agreements), provided that no Default or Event of
                  Default exists at such time or would result therefrom; and

         (i)      prior to the closing of the Terra Acquisition, Distributions to Palladium or its
                  Affiliates in repayment of the Palladium Equity Line; provided in the event the
                  Palladium Equity Line is not repaid as contemplated in clause (ii) of the proviso
                  set forth in the definition of “Permitted Acquisition”, (x) the Canadian Borrower
                  and its Subsidiaries shall, on a pro forma basis, have a Minimum Liquidity of not
                  less than U.S. $15,000,000 immediately after such repayment, and (y) the
                  principal in respect of the Palladium Equity Line will not be repaid prior to
                  October 31, 2018, unless (A) such prepayment is made in the manner prescribed
                  by clause (ii) of the proviso set forth in the definition of “Permitted Acquisition”
                  and the subsequent equity contribution described in such clause is also effected, or
                  (B) the Required Lenders consent to such earlier prepayment in their Permitted
                  Discretion;

         provided that the aggregate of all Distributions made under clauses (g) and (h) above do
         not in any Fiscal Year exceed $2,000,000 (with unusual amounts in any Fiscal Year being
         carried over to succeeding Fiscal Years), other than to the extent such Distributions are
         funded by the cash proceeds from the sale of equity interests of the Canadian Borrower
         and, to the extent contributed to the capital of the Canadian Borrower, equity interests of
         any of the Canadian Borrower’s direct or indirect parent companies.

         1.1.203 1.1.202 “Permitted Factoring Debtors” means, collectively, the Pemex
         Entities, Petroamazones EP, Operaciones Río Napo CEM and any other Person agreed to
         in advance by the Agent, acting reasonably.

         1.1.204 1.1.203 “Permitted Factoring Transaction” means: at the Borrower’s option,

         (a)      the financing of certain Collection Rights by HSBC Mexico; provided that (i)
                  such transaction is non-recourse to the Borrowers and their Material Subsidiaries,
                  except for any Liens granted solely over the Collection Rights and the proceeds
                  thereof, (ii) such transaction shall be and remain subject to the terms and
                  conditions of the Intercreditor Agreement, (iii) QMax Mexico may remain

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                  responsible for the legitimacy and existence of the Collection Rights financed by
                  such transaction at the time of execution of the relevant factoring transaction and
                  (iv) QMax Mexico will no longer be liable for the payment of the Collection
                  Rights to HSBC Mexico or any permitted assignee but may remain liable for the
                  decrease in value of the Collection Rights; and/or

         (b)      the financing by the Borrowers or one or more of their Material Subsidiaries of
                  any Receivables (other than as described in paragraph (a) above); provided that (i)
                  such transaction results in a legal “true sale” of Receivables, (ii) such transaction
                  is non-recourse to the Borrowers and their Material Subsidiaries, except for any
                  Liens granted solely over such Receivables and the proceeds thereof, and (iii) such
                  transaction shall only involve the sale of Receivables either (x) owing by any of
                  the Permitted Factoring Debtors to a Credit Party or (y) not constituting Eligible
                  Receivables; provided that, the aggregate principal, stated or investment amount
                  of all outstanding loans made to the Credit Parties in respect of all Permitted
                  Factoring Transactions shall not exceed $25,000,000 at any time outstanding;
                  provided, such amount shall be increased to an amount specified by the Borrowers
                  at any time if the Borrowers or one or more Material Subsidiaries provides notice
                  to the Agent of such an increase, and the Agent (on the instruction of Required
                  Lenders) has not objected within three Business Days following receipt of notice
                  thereof. For certainty, if any Eligible Receivable is sold, contributed, financed or
                  otherwise conveyed or pledged pursuant to a Permitted Factoring Transaction it
                  shall immediately cease to be an Eligible Receivable.

         1.1.205 1.1.204 “Permitted Funded Debt” means, without duplication:

         (a)      the Obligations under the Facilities and, to the extent constituting Funded Debt,
                  obligations in respect of Banking Services Agreements of the Canadian Borrower
                  and its Subsidiaries owing to the Agent and the Lenders (and their Affiliates);

         (b)      Funded Debt up to CdnU.S. $10,000,00020,000,000 under a bilateral letter of
                  credit facility with HSBC and insured by Export Development Canadacertain
                  third parties reasonably satisfactory to the Agent;

         (c)      Funded Debt of any Credit Party whose governing jurisdiction is Mexico or
                  Colombia which is unsecured or, if secured, which is secured solely by capital
                  assets and/or inventory located in Mexico or Colombia and which are not subject
                  to the Security (subject to the proviso at the end of this definition);

         (d)      Funded Debt under the Surviving Colombian Credit Agreements and any
                  Permitted Refinancing Indebtedness in respect thereof from time to time (subject
                  to the proviso at the end of this definition);

         (e)      Funded Debt secured by Permitted Purchase Money Security Interests and Funded
                  Debt incurred in conjunction with any Anchor Sale and Leaseback Transaction (in
                  each case subject to the proviso at the end of this definition);


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         (f)      Permitted Hedging Liabilities;

         (g)      Permitted Intercompany Loans;

         (h)      Subordinated Debt;

         (i)      Funded Debt as set out in Schedule 1.1.2041.1.205 hereto and any Permitted
                  Refinancing Indebtedness thereof;

         (j)      Funded Debt under a corporate credit card facility with a Lender and other cash
                  management liabilities, up to a maximum aggregate amount of $2,000,000;

         (k)      Funded Debt (other than a revolving credit facility) of a Subsidiary acquired or
                  assumed pursuant to a Permitted Acquisition after the Amendment and
                  Restatement Date and any Permitted Refinancing Indebtedness in respect thereof
                  (subject to the proviso at the end of this definition); provided, that such Funded
                  Debt shall not be incurred in anticipation of such Permitted Acquisition;

         (l)      obligations in respect of Guarantees or Financial Assistance not prohibited under
                  Section 7.2.3;

         (m)      other Funded Debt of the Credit Parties and Permitted Refinancing Indebtedness
                  in respect thereof (subject to the proviso at the end of this definition);

         (n)      Funded Debt under a Permitted Factoring Transaction;

         (o)      Funded Debt consented to by the Required Lenders, in their discretion, prior to the
                  incurrence or assumption thereof;

         (p)      Funded Debt up to an aggregate principal amount of U.S. $75,000,000 under the
                  Encina ABL Loan Agreement and any Permitted Refinancing Indebtedness in
                  respect thereof, provided that all such Funded Debt is and remains subject to the
                  terms of the Encina Intercreditor Agreement;

         (q)      after, or concurrently with, the repayment of all Funded Debt incurred under, and
                  the cancellation of, the Encina ABL Loan Agreement, Funded Debt up to an
                  aggregate principal amount of U.S. $90,000,000 in connection with all Permitted
                  Securitization Financing and any Permitted Refinancing Indebtedness in respect
                  thereof; and

         (r)      Funded Debt in respect of one or more promissory notes issued by the U.S.
                  Borrower to Calumet, by the U.S. Borrower to the Canadian Borrower and by the
                  Canadian Borrower to Holdco, in each case, substantially contemporaneously with
                  the Anchor Acquisition (the “Anchor Acquisition Promissory Notes”),

         provided that the outstanding principal amount of Funded Debt under clauses (c), (d),
         (de), (e), (k) and (m) above does not exceed in the aggregate $45,700,000 during the
         Covenant Relief Period and $75,000,000 at any time after the Covenant Relief Period.

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         1.1.206 1.1.205 “Permitted Hedging Liability” means a Hedging Liability permitted by
         the provisions of Sections 7.2.11 and 7.2.13.

         1.1.207 1.1.206 “Permitted Holders” means (a) Palladium, the Investors, Management
         Shareholders and (b) any Person with which Palladium and the Management
         Shareholders form a Group as long as, in the case of clause (b), Palladium and its
         Affiliates beneficially own more than 50% of the relevant stock beneficially owned by
         that Group.

         1.1.208 1.1.207 “Permitted Intercompany Loan” means a loan made by any Credit
         Party to another Credit Party, provided that the Agent holds a First Ranking Security
         Interest in all property and assets of both such Credit Parties to the extent required under
         the terms of the Credit Documents.

         1.1.209 1.1.208 “Permitted Investments” is defined in Section 7.2.3.

         1.1.210 1.1.209 “Permitted Liens” means:

         (a)      Statutory Liens in respect of any amount which is not at the time overdue;

         (b)      Statutory Liens in respect of any amount which may be overdue but the validity of
                  which is subject to a Permitted Contest;

         (c)      the reservations, limitations, provisos and conditions, if any, expressed in any
                  original grant from the Crown of any Land or any interest therein;

         (d)      servicing agreements, development agreements, site plan agreements and other
                  agreements with Governmental Authorities pertaining to the use or development
                  of any Land, provided same are complied with in all material respects;

         (e)      applicable municipal and other governmental restrictions, including municipal
                  by-laws and regulations, affecting the use of Land or the nature of any structures
                  which may be erected thereon, provided such restrictions have been complied
                  with in all material respects;

         (f)      Liens or rights of distress reserved in or exercisable under any lease for rent not at
                  the time overdue or for compliance with the terms of such lease not at the time in
                  default;

         (g)      Liens or rights reserved to or exercisable by or any obligations or duties affecting
                  any Land due to any public utility or to any Governmental Authority, under or
                  with respect to any franchise, temporary grant, licence or permit in good standing
                  and any defects in title to structures or other facilities arising solely from the fact
                  that such structures or facilities are constructed or installed on Land under
                  government permits, leases or other grants in good standing; provided such
                  facilities, temporary grants, licences and permits have been complied with in all
                  material respects and are in good standing and such Liens, rights, obligations,


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                  duties and defects in the aggregate do not materially impair the use of such
                  property, structures or facilities for the purpose for which they are held;

         (h)      Liens incurred or deposits made in connection with contracts, bids, tenders or
                  expropriation proceedings, surety or appeal bonds, costs of litigation when
                  required by law, public and statutory obligations, and warehousemen’s, storers’,
                  repairers’, carriers’ and other similar Liens and deposits;

         (i)      security given to a public utility or any Governmental Authority to secure
                  obligations incurred to such utility, municipality, government or other authority in
                  the ordinary course of business and not at the time overdue;

         (j)      Liens and privileges arising out of judgments or awards in respect of which: an
                  appeal or proceeding for review has been commenced; a stay of execution pending
                  such appeal or proceedings for review has been obtained; and reserves have been
                  established as reasonably required by the Required Lenders;

         (k)      any Lien arising in connection with the construction or improvement of any Land
                  or arising out of the furnishing of materials or supplies therefor, provided that
                  such Lien secures moneys not at the time overdue (or if overdue, the validity of
                  which is subject to a Permitted Contest), notice of such Lien has not been given to
                  the Agent or any Lender and such Lien has not been registered against title to such
                  Land;

         (l)      licenses (including licences of intellectual property), leases or subleases granted to
                  third parties or Credit Parties in the ordinary course of business which,
                  individually or in the aggregate, do not materially interfere with the ordinary
                  course of business of the Borrower or any of its Subsidiaries;

         (m)      the filing of UCC or PPSA financing statements (or equivalents thereto in other
                  jurisdictions) solely as a precautionary measure in connection with operating
                  leases and consignment arrangements;

         (n)      Liens in favor of customs and revenue authorities arising as a matter of law and in
                  the ordinary course of business to secure payment of customs duties in connection
                  with the importation of goods;

         (o)      Liens arising out of conditional sale, title retention, consignment or similar
                  arrangements for the sale of goods entered into by any Credit Party in the ordinary
                  course of business;

         (p)      Liens (i) on deposits of cash or Cash Equivalents in favor of the seller of any
                  property to be acquired in any Permitted Investment to be applied against the
                  purchase price for such Permitted Investment, (ii) consisting of an agreement to
                  dispose of any property in a Permitted Disposition and (iii) earnest money
                  deposits of cash or Cash Equivalents made by any Credit Party in connection with
                  any letter of intent or purchase agreement permitted hereunder;


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         (q)      rights of setoff or bankers’ liens upon deposits of funds in favor of banks or other
                  depository institutions or upon securities in favor of securities intermediaries,
                  solely to the extent incurred in connection with the maintenance of deposit
                  accounts or securities accounts in the ordinary course of business;

         (r)      Minor Title Defects;

         (s)      the Permitted Purchase-Money Security Interests;

         (t)      Liens which are secured solely by assets which are located outside of Canada and
                  the U.S. and which are not subject to the Security; provided that the aggregate
                  principal amount of Funded Debt or other obligations secured thereby constitutes
                  Permitted Funded Debt;

         (u)      Liens as set out in Schedule 1.1.2091.1.210 and any extension, renewal or
                  replacement (or successive extensions, renewals or replacements), as a whole or in
                  part, of thereof, so long as any such extension, renewal or replacement of such
                  Lien is limited to all or any part of the same property that secured the Lien
                  extended, renewed or replaced (plus improvements on such property) and the
                  Funded Debt secured thereby is not increased and constitutes Permitted Funded
                  Debt;

         (v)      any Lien from time to time which is consented in writing to by the Required
                  Lenders;

         (w)      the Security or any other Liens securing the Obligations;

         (x)      Liens which secure obligations owing under Permitted Funded Debt described in
                  clause (c), (d) or (m) of the definition thereof; provided that in the case of such
                  clause (m), such Lien does not apply to any of the Collateral; subject to the
                  limitation set forth in the proviso at the end of the definition of Permitted Funded
                  Debt;

         (y)      Liens securing Funded Debt permitted by clause (k) of the definition of Permitted
                  Funded Debt, subject to the limitation set forth in the proviso at the end of the
                  definition of Permitted Funded Debt, and existing on any property or asset prior to
                  the acquisition thereof by any Credit Party or any Subsidiary or existing on any
                  property or asset of any Person that becomes a Subsidiary after the date hereof
                  prior to the time such Person becomes a Subsidiary; provided, that (i) such Liens
                  do not apply to all of the assets of the acquired Subsidiary generally or to any
                  other property or assets of any Credit Party not securing such Funded Debt prior
                  to the acquisition of such property or asset and (ii) such Lien shall secure only
                  those obligations which it secured on the date of acquisition and extensions,
                  renewals and replacements thereof permitted hereunder that do not increase the
                  outstanding principal amount thereof; provided further, with respect to Liens in
                  connection with Funded Debt that is assumed in connection with an acquisition of
                  assets or equity interests, no such Lien extends to or covers any other assets (other

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                  than the proceeds or products thereof, accessions or additions thereto and
                  improvements thereon) or was created in contemplation of, or in connection with,
                  the applicable acquisition of assets or equity interests (except to the extent the
                  same is otherwise Permitted Funded Debt);

         (z)      Liens which secure Subordinated Debt permitted hereunder;

         (aa)     Liens arising under a Permitted Factoring Transaction but only to the extent that
                  any such Lien relates to the applicable Receivables sold, contributed, financed or
                  otherwise conveyed or pledged pursuant to such transaction;

         (bb)     Liens arising under the Encina ABL Loan Agreement but only to the extent that
                  any such Lien is and remains subject to the terms of the Encina Intercreditor
                  Agreement;

         (cc)     Liens arising under any Anchor Sale and Leaseback Transaction;

         (dd)     Liens on the Receivables of a Securitization SPE sold pursuant to a Permitted
                  Securitization Financing (together with any and all related security and ancillary
                  rights related thereto which are customary for transactions of such nature) to the
                  extent incurred pursuant to a Permitted Securitization Financing; and

         (ee)     any other Liens; provided, that the aggregate principal amount of Funded Debt or
                  other obligations secured thereby does not exceed U.S. $3,000,000;

         provided, that the use of the term “Permitted Liens” to describe the foregoing Liens shall
         mean that such Liens are permitted to exist (whether in priority to or subsequent in
         priority to the Security, as determined by Applicable Law); and for greater certainty such
         Liens shall not be entitled to priority over the Security by virtue of being described in this
         Agreement as “Permitted Liens”.

         1.1.211 1.1.210 “Permitted Management Fees” means advisory or management fees
         payable by the Credit Parties to Palladium and Calumet in an aggregate amount not to
         exceed the Annual Management Fee Cap in any Fiscal Year.

         1.1.212 1.1.211 “Permitted Purchase-Money Security Interests” means
         Purchase-Money Security Interests incurred or assumed in connection with the purchase,
         leasing or acquisition of capital equipment in the ordinary course of business; provided,
         that the obligations secured thereby are permitted under clause (e) of the definition of
         Permitted Funded Debt.

         1.1.213 1.1.212 “Permitted Refinancing Indebtedness” shall mean any Funded Debt
         issued in exchange for, or the net proceeds of which are used to extend, refinance, renew,
         replace, defease or refund (collectively, to “Refinance”), the Permitted Funded Debt
         being Refinanced (or previous refinancings thereof constituting Permitted Refinancing
         Indebtedness); provided, that (a) the principal amount (or accreted value, if applicable) of
         such Permitted Refinancing Indebtedness does not exceed the principal amount (or
         accreted value, if applicable) of the Permitted Funded Debt so Refinanced (plus unpaid

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         accrued interest and premium (including tender premiums) thereon and underwriting
         discounts, defeasance costs, fees, commissions and expenses), (b) if the Permitted Funded
         Debt being Refinanced is subordinated in right of payment to the Obligations under this
         Agreement, such Permitted Refinancing Indebtedness shall be subordinated in right of
         payment to such Obligations on terms at least as favorable to the Lenders as those
         contained in the documentation governing the Permitted Funded Debt being Refinanced,
         (c) no Permitted Refinancing Indebtedness shall have different obligors, or greater
         guarantees or security, than the Permitted Funded Debt being Refinanced, unless such
         new obligors are Credit Parties and (d) if the Permitted Funded Debt being Refinanced is
         secured by any collateral (whether equally and ratably with, or junior to, the Lenders or
         otherwise), such Permitted Refinancing Indebtedness may be secured by such collateral
         (including pursuant to after acquired property clauses to the extent such type collateral
         secured the Funded Debt being Refinanced) on terms not materially less favorable to the
         Lenders than those contained in the documentation governing the Permitted Funded Debt
         being so Refinanced.

         1.1.214 1.1.213 “Permitted Securitization Financing” shall mean one or more
         transactions pursuant to which (i) Securitization Assets or interests therein are sold or
         transferred to or financed by one or more Securitization SPE, and (ii) such Securitization
         SPE finance (or refinance) their acquisition of such Securitization Assets or interests
         therein, or the financing thereof, by selling or borrowing against Securitization Assets
         (including conduit and warehouse financings) and any Hedging Agreements entered into
         in connection with such Securitization Assets; provided, that recourse to the Borrowers or
         any Subsidiary (other than the Securitization SPE) in connection with such transactions
         shall be limited to the extent customary (as determined by the Agent and the Canadian
         Borrower each acting reasonably and in good faith and acceptable to the Agent acting
         reasonably) for similar transactions in the applicable jurisdictions (including, to the extent
         applicable, in a manner consistent with the delivery of a “true sale”/“absolute transfer”
         opinion with respect to any transfer by the Borrowers or any Subsidiary (other than a
         Securitization SPE)).

         1.1.215 1.1.214 “Person” includes an individual, corporation, partnership, trust, union,
         unincorporated association, Governmental Authority or any combination of the above.

         1.1.216 1.1.215 “Plan” means a Single Employer Plan or a Multiple Employer Plan.

         1.1.217 1.1.216 “Priority Claims” means, with respect to any Person, any amount
         payable or accrued by such Person which ranks or is capable of ranking prior to or pari
         passu with the Liens created by the Security in respect of any Collateral, including
         amounts owing for wages, vacation pay, severance pay, employee deductions, sales tax,
         excise tax, tax payable pursuant to Part IX of the Excise Tax Act (Canada) (net of GST
         input credits), income tax, employment insurance, unemployment insurance, workers
         compensation, government royalties, pension fund obligations or deficiencies, overdue
         rents or taxes, and other statutory or other claims, deemed trusts or Liens that have or may
         have priority over, or rank pari passu with, the Liens created by the Security. For the
         avoidance of doubt, no Banking Services Liabilities shall be deemed Priority Claims due
         to their pari passu ranking with the Obligations.

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         1.1.218 1.1.217 “Proceeds of Realization”, in respect of the Security or any portion
         thereof, means all amounts received by the Agent and any Lender in connection with:

         (a)      any realization thereof, whether occurring as a result of enforcement or otherwise;

         (b)      any sale, expropriation, loss or damage or other disposition of the Collateral or
                  any portion thereof; and

         (c)      the dissolution, liquidation, bankruptcy or winding-up of a Credit Party or any
                  other distribution of its assets to creditors,

         and all other amounts which are expressly deemed to constitute “Proceeds of Realization”
         in this Agreement.

         1.1.219 1.1.218 “Project Desert” means the acquisition by the Borrowers or any
         Material Subsidiary of Environmental Solutions for Petroleum Services, an oilfield
         services company with operations in Algeria and Egypt on substantially the same terms
         and conditions set forth in the letter of intent dated as of December 11, 2016, as amended,
         between the Canadian Borrower and Project Desert Egypt.

         1.1.220 1.1.219 “Project Desert Algeria” means Environmental Solutions Algeria
         S.A.R.L., an Algerian company.

         1.1.221 1.1.220 “Project Desert Egypt” means Environmental Solutions for Petroleum
         Services (S.A.E.), an Egyptian company.

         1.1.222 1.1.221 “Project Desert Subsidiaries” means each of Project Desert Egypt and
         Project Desert Algeria.

         1.1.223 1.1.222 “Proportionate Share” means:

         (a)      in the context of any Lender’s obligation to make Advances under all Facilities,
                  such Lender’s Commitment to make Advances under all Facilities divided by the
                  aggregate amount of all Lenders’ Commitments to make Advances under all
                  Facilities;

         (b)      in the context of any Lender’s obligation to make Advances under a Facility, such
                  Lender’s Commitment (excluding, as the case may be, the applicable Swingline
                  Limit in the case of the Canadian Operating Facility) to make Advances under
                  such Facility divided by the aggregate amount of all Lenders’ Commitments
                  (excluding, as the case may be, the applicable Swingline Limit in the case of
                  Canadian Operating Facility) to make Advances under such Facility;

         (c)      in the context of any Lender’s entitlement to receive a portion of the standby fee
                  in respect of Canadian Operating Facility or the U.S. Operating Facility payable
                  pursuant to Section 2.6.1(h) or Section 4.6.1(d), as applicable, such Lender’s
                  Commitment (excluding, as the case may be, the applicable Swingline Limit)
                  under the applicable Facility to make Advances under Canadian Operating

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                  Facility or the U.S. Operating Facility divided by the aggregate amount of all such
                  Lenders’ Commitments (excluding, as the case may be, the applicable Swingline
                  Limit) to make Advances under Canadian Operating Facility or the U.S.
                  Operating Facility, as applicable;

         (d)      in the context of any Lender’s entitlement to receive payments of principal,
                  interest or fees under all Facilities (other than a portion of the standby fee under
                  Canadian Operating Facility or the U.S. Operating Facility), the Outstanding
                  Advances due to such Lender under all Facilities divided by the aggregate amount
                  of the Outstanding Advances due to all Lenders under all Facilities; and

         (e)      in the context of any Lender’s entitlement to receive payments of principal,
                  interest or fees under a Facility (other than a portion of the standby fee under
                  Canadian Operating Facility or the U.S. Operating Facility), the Outstanding
                  Advances due to such Lender under such Facility divided by the aggregate amount
                  of the Outstanding Advances due to all Lenders under such Facility.

         1.1.224 1.1.223 “Purchase-Money Security Interest” means:

         (a)      a Capital Lease; or

         (b)      a Lien on any property or asset which is created, issued or assumed to secure the
                  unpaid purchase price thereof, provided that such Lien is restricted to such
                  property or asset and secures an amount not in excess of the purchase price thereof
                  and any interest and fees payable in respect thereof.

         1.1.225 1.1.224 “QMax Mexico” means QMax Mexico, S.A. de C.V.

         1.1.226 1.1.225 “Qualified ECP Guarantor” means, in respect of any Hedging
         Agreement, each Credit Party that has total assets exceeding $10,000,000 at the time of
         the grant of the relevant Security of such Credit Party to such Hedging Agreement or such
         other Person as constitutes an “eligible contract participant” under the Commodity
         Exchange Act or any regulations promulgated thereunder and can cause another Person to
         qualify as an “eligible contract participant” at such time by entering into a keep well
         under Section 1a(18)(A)(v)(II) of the Commodity Exchange Act.

         1.1.227 1.1.226 “Receivables” means and includes, as to the Credit Parties, all of Credit
         Parties’ accounts, contract rights, payment intangibles, instruments (other than those
         evidencing indebtedness owed to a Credit Party), documents, chattel paper (including
         electronic chattel paper), general intangibles relating to accounts, drafts and acceptances,
         and all other forms of obligations owing to a Credit Party arising out of or in connection
         with the sale or lease of inventory or for services rendered (including, in the case of
         Insured Receivables, amounts owed with respect to work in progress that are covered by
         Account Receivable Insurance), all supporting obligations, guarantees and other security
         therefor, whether secured or unsecured, now existing or hereafter created, and whether or
         not specifically sold or assigned to the Agent hereunder.

         1.1.228 1.1.227 “Register” is defined in Section 13.6.5.
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         1.1.229 1.1.228 “Regulation T” means Regulation T of the Board of Governors of the
         Federal Reserve System as from time to time in effect and all official rulings and
         interpretations thereunder or thereof.

         1.1.230 1.1.229 “Regulation U” means Regulation U of the Board of Governors of the
         Federal Reserve System as from time to time in effect and all official rulings and
         interpretations thereunder or thereof.

         1.1.231 1.1.230 “Regulation X” means Regulation X of the Board of Governors of the
         Federal Reserve System as from time to time in effect and all official rulings and
         interpretations thereunder or thereof.

         1.1.232 1.1.231 “Related Party” means, with respect to any Person, an Affiliate of such
         Person, a shareholder of such Person (if applicable), or a Person related to or not at arm’s
         length to such Person or holder of shares of such Person, and with respect to the Borrower
         and its Subsidiaries, includes Palladium, the Management Shareholders, the Investors and
         any company or entity controlled directly or indirectly by any one or more of such
         Persons.

         1.1.233 1.1.232 “Repayment” means a repayment by the Borrower on account of the
         Outstanding Advances under all Facilities or a Facility, as the context requires, other than
         the reduction of an Overdraft (and “Repay” shall have a corresponding meaning).

         1.1.234 1.1.233 “Repayment Notice” means a notice delivered by the Borrower to the
         Agent committing it to make a Repayment, in the form of Exhibit “E”.

         1.1.235 1.1.234 “Required Lenders” means, with the exception of those matters set out
         in Section 11.2 which require the agreement of all Lenders, (a) if there are two or less
         Lenders, all Lenders, (b) if there are three or more Lenders, Lenders holding, in
         aggregate, at least 66⅔% of the Commitments, or (c) during the continuance of an Event
         of Default, Lenders holding at least 66⅔% of the Outstanding Advances under the
         Facilities. The Advances and Commitments of any Defaulting Lender shall be
         disregarded in determining Required Lenders at any time in accordance with Section
         11.5.1(b).

         1.1.236 1.1.235 “Requirements of Environmental Law” means:

         (a)      obligations under common law;

         (b)      requirements imposed by or pursuant to statutes, regulations and by-laws whether
                  presently or hereafter in force;

         (c)      directives, policies and guidelines issued or relied upon by any Governmental
                  Authority to the extent such directives policies or guidelines have the force of law;

         (d)      permits, licenses, certificates and approvals issued by Governmental Authorities
                  which are required in connection with air emissions, discharges to surface or


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                  groundwater, noise emissions, solid or liquid waste disposal, the use, generation,
                  storage, transportation or disposal of Hazardous Materials; and

         (e)      requirements imposed under any clean-up, compliance or other order made by a
                  Governmental Authority pursuant to any of the foregoing,

         in each and every case relating to environmental, health or safety matters including all
         such obligations and requirements which relate to:

                  (i)    solid, gaseous or liquid waste generation, handling, treatment, storage,
                         disposal or transportation; and

                  (ii)   exposure to Hazardous Materials.

         1.1.237 1.1.236 “Resignation Notice” is defined in Section 11.18.

         1.1.238 1.1.237 “Rollover” means the renewal of an Availment Option upon its maturity
         in the same form.

         1.1.239 1.1.238 “Rollover Notice” means a notice substantially in the form of Exhibit
         “C” given by the Borrower to the Agent for the purpose of requesting a Rollover.

         1.1.240 1.1.239 “Sales Proceeds” is defined in Section 5.3.1(b).

         1.1.241 1.1.240 “Secured Hedging Liability” means any Hedging Liability under a
         Hedging Agreement entered into between the Canadian Borrower and a Hedge Provider
         permitted by the provisions of Sections 7.2.12 and 7.2.13 and, provided that if a Hedge
         Provider does not have actual knowledge that such Hedging Liability was not permitted
         under such Sections at the time the applicable Hedging Agreement was entered into by
         such Hedge Provider, then such Hedging Liability will be deemed to be a Secured
         Hedging Liability for purposes of Section 8.5.

         1.1.242 1.1.241 “Securitization Assets” shall mean any of the following assets (or
         interests therein) from time to time originated, acquired or otherwise owned by the
         Borrowers or any Subsidiary or in which the Borrowers or any Subsidiary has any rights
         or interests, in each case, without regard to where such assets or interests are located: (a)
         Receivables, (b) franchise fees, royalties and other similar payments made related to the
         use of trade names and other intellectual property, business support, training and other
         services, (c) revenues related to distribution and merchandising of the products of the
         Borrower and its Subsidiaries, (d) any equipment, contractual rights with unaffiliated
         third parties, website domains and associated property and rights necessary for a
         Securitization SPE to operate in accordance with its stated purposes, and (e) other assets
         and property (or proceeds of such assets or property) to the extent customarily included in
         securitization transactions of the relevant type in the applicable jurisdictions (as
         determined by the Agent and the Canadian Borrower each acting reasonably and in good
         faith).



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         1.1.243 1.1.242 “Securitization SPE” means (i) a direct or indirect Subsidiary of any
         Borrower established in connection with a Permitted Securitization Financing for the
         acquisition of Securitization Assets or interests therein, and which is organized in a
         manner (as determined by the Canadian Borrower in good faith) intended to reduce the
         likelihood that it would be substantively consolidated with Holdings, the Borrowers or
         any of the Subsidiaries (other than Securitization SPE) in the event Holdings, the
         Borrowers or any such Subsidiary becomes subject to a proceeding under the U.S.
         Bankruptcy Code (or other insolvency law) and (ii) any subsidiary of a Securitization
         SPE.

         1.1.244 1.1.243 “Security” means all Guarantees, security agreements, mortgages,
         control agreements, pledge agreements, debentures and other documents required to be
         provided to the Agent or the Lenders pursuant to Article 8 and all other documents and
         agreements delivered by the Borrower and other Persons to the Agent for the benefit of
         the Lenders from time to time as security for the payment and performance of the
         Obligations, and the security interests, assignments and Liens constituted by the
         foregoing.

         1.1.245 1.1.244 “Shareholders’ Equity” means, at any time, the shareholders’ equity as
         shown on the consolidated balance sheet of the Canadian Borrower.

         1.1.246 1.1.245 “Single Employer Plan” means a single employer plan, as defined in
         Section 4001(a)(15) of ERISA, that is subject to Title IV of ERISA, and (i) is maintained
         for employees of any Credit Party or any ERISA Affiliate and no Person other than the
         Credit Parties and the ERISA Affiliates or (ii) was so maintained and in respect of which
         any Credit Party or any ERISA Affiliate could have liability under Section 4069 of
         ERISA in the event such plan has been or were to be terminated.

         1.1.247 1.1.246 “Specified Canadian Swingline Borrower” means (i) QMax Canada
         Operations Inc. or (ii) any other Material Subsidiary of the Canadian Borrower that has
         been formed under the laws of Canada or any province thereof as agreed to in writing by
         the Canadian Borrower, the Swingline Lender and the Agent, in their sole and absolute
         discretion.

         1.1.248 1.1.247 “Specified Equity Contribution” is defined in Section 7.3.2.

         1.1.249 1.1.248 “Statutory Lien” means a Lien in respect of any property or assets of a
         Credit Party created by or arising pursuant to any applicable legislation in favour of any
         Person (such as but not limited to a Governmental Authority), including a Lien for the
         purpose of securing such Credit Party’s obligation to deduct and remit employee source
         deductions and goods and services tax pursuant to the Income Tax Act (Canada), the
         Excise Tax Act (Canada), the Canada Pension Plan (Canada), the Employment Insurance
         Act (Canada) and any legislation in any jurisdiction similar to or enacted in replacement
         of the foregoing from time to time.

         1.1.250 1.1.249 “Subordinated Debt” means any indebtedness of any Credit Party to
         any Person, in respect of which the holder thereof has entered into a subordination and

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         postponement agreement in favour of the Agent on behalf of itself and the Lenders,
         substantially in the form of Exhibit “J” for any indebtedness which is governed by
         Applicable Laws of Canada or the U.S., or for any indebtedness governed by other
         Applicable Laws, such other agreement as is reasonably satisfactory to the Required
         Lenders (each, a “Subordination Agreement”) and, to the extent necessary or desirable
         under Applicable Law, registered in all places where necessary or desirable to protect the
         priority of the Security, which shall provide (among other things) that:

         (a)      upon notice of the occurrence and continuance of an Event of Default hereunder,
                  the holder of such indebtedness may not receive payments on account of principal
                  or interest thereon;

         (b)      any security held in respect of such indebtedness is subordinated to the Security;
                  and

         (c)      the holder of such indebtedness may not take any enforcement action in respect of
                  any such security without the prior written consent of the Agent (except to the
                  extent, if any, expressly permitted therein).

         1.1.251 1.1.250 “Subordination Agreement” is defined in the definition of
         Subordinated Debt.

         1.1.252 1.1.251 “Subsidiary” means any Person of which more than 50% of the
         outstanding Voting Securities are owned, directly or indirectly by or for a Credit Party,
         provided that the ownership of such securities confers the right to elect at least a majority
         of the board of directors of such Person, or a majority of Persons serving similar roles,
         and includes any legal entity in like relationship to a Subsidiary.

         1.1.253 1.1.252 “Surviving Colombian Credit Agreements” means the following
         agreements by and between QMAX Solutions Colombia, as borrower: (i) revolving credit
         agreement with Helm Bank, as lender, dated as of October 6, 2009; (ii) common terms
         agreement for the execution of derivatives with Banco Corpobanca Colombia S.A., as
         lender, dated as of April 19, 2013; and (iii) common terms agreement for the execution of
         derivatives with Banco de Bogotá S.A., as lender, dated as of May 5, 2009; (iv) line of
         credit agreement with BBVA Colombia, as lender, dated as of December 3, 2012; and (v)
         line of credit agreement with Bancolombia dated January 20, 2010; in each case up to the
         respective maximum facility amounts set forth in Schedule 1.1.2521.1.253 (each as
         amended, restated, supplemented, waived, replaced, (whether or not upon termination,
         and whether with the original agents, lenders, or otherwise), restructured, repaid,
         refunded, refinanced or otherwise modified from time to time, including any agreement
         refinancing, replacing or otherwise restructuring all or any portion of the indebtedness
         thereunder or increasing the amount loaned thereunder or altering the maturity thereof),
         subject to clause (d) of the definition of Permitted Funded Debt.

         1.1.254 1.1.253 “Swingline” is defined in Section 2.7.1.

         1.1.255 1.1.254 “Swingline Borrower” is defined in Section 2.7.1.

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         1.1.256 1.1.255 “Swingline Lender” means HSBC.

         1.1.257 1.1.256 “Swingline Limit” means $10,000,000 or the Equivalent Amount in
         Cdn. $, or any combination thereof.

         1.1.258 1.1.257 “Swingline Loan” means any Advance made available to the Borrower
         by the Swingline Lender outstanding from time to time under the Swingline.

         1.1.259 1.1.258 “Syndicated Advance” means any Advance under the Canadian
         Operating Facility that is not a Swingline Loan.

         1.1.260 1.1.259 “Taxes” is defined in Section 12.4.1.

         1.1.261 1.1.260 “Term Facility” is defined in Section 3.1.

         1.1.262 1.1.261 “Term Facility Commitment” means, as the context requires, (a)
         collectively with respect to all Term Lenders, in the aggregate as of the Amendment and
         Restatement Date, U.S. $13,656,250, as otherwise increased or decreased pursuant to this
         Agreement and (b) means, with respect to each individual Term Lender, the individual
         commitment amount of such Lender in the maximum principal amount indicated opposite
         such Term Lender’s name in Exhibit “A” under the heading “Term Facility
         Commitments”, as amended from time to time.

         1.1.263 1.1.262 “Term Lenders” means the Lenders who have provided a Commitment
         under the Term Facility as set forth in Exhibit “A”.

         1.1.264 1.1.263 “Terra” means Terra Oilfield Solutions, LLC, a Delaware limited
         liability company.

         1.1.265 1.1.264 “Terra Acquisition” means the purchase of all of the membership
         interests of Terra pursuant to the Terra Purchase Agreement.

         1.1.266 1.1.265 “Terra Purchase Agreement” means the Membership Interest Purchase
         Agreement dated July 15, 2018 by and between Q’Max America Inc., as purchaser, and
         OFS Commander LLC, a Delaware limited liability company, as seller, as the same may
         be amended, restated or otherwise modified from time to time.

         1.1.267 1.1.266 “Total Net Debt” means, in respect of the Credit Parties and
         determined on a combined basis and without duplication, all interest bearing indebtedness
         for borrowed money, Capital Leases, the drawn and unreimbursed amount outstanding
         under all letters of credit, letters of guarantee and surety bonds to the extent not cash
         collateralized (excluding performance bonds provided by insurers), mark to market
         liabilities on Hedging Agreements, bankers’ acceptances and similar instruments,
         indebtedness secured by a Lien, redemption and mandatory dividend obligations with
         respect to a Credit Party’s shares that are redeemable or convertible into debt at a fixed
         time at the option of the holder thereof or upon the occurrence of a condition within the
         control of such Person, obligations evidenced by bonds, debentures, notes or similar
         instruments and any guarantees or indemnity in any manner in respect of any part or all of

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         an obligations of any other Person of the type included above, less the aggregate amount
         of cash and Cash Equivalents of the Credit Parties which are held with the Agent or an
         Affiliate thereof in Canada, the United States or Mexico which is unencumbered (except
         pursuant to the Security) and the use of which is otherwise unrestricted up to an aggregate
         principal amount of U.S. $20,000,000.

         1.1.268 1.1.267 “Unadjusted EBITDA” means, as at the date of determination,
         EBITDA, less any items that were added back in calculation thereof pursuant to
         paragraphs (d) (other than to the extent such amounts are made by payment-in-kind), (hi),
         (k) and (jl) of the definition thereof.

         1.1.269 1.1.268 “Unfunded Capital Expenditures” means for any applicable period,
         Capital Expenditures of the Credit Parties that are not financed with Funded Debt, or
         from the proceeds of the issuance of any new equity by the Credit Parties, any Sales
         Proceeds or any Insurance Proceeds in that period, but excluding therefrom any Capital
         Expenditures for which any Credit Party has received any reimbursement in the form of
         cash or Cash Equivalents from any Person other than another Credit Party in connection
         with such Capital Expenditure, but only to the extent of such reimbursement.

         1.1.270 1.1.269 “Uniform Customs” means the Uniform Customs and Practice for
         Documentary Credits, published as International Chamber of Commerce publication no.
         600 and all subsequent amendments to same, in each case, as are current at the time of
         issuance of the applicable Letter of Credit.

         1.1.271 “United Joint Venture” means the joint venture in respect of Kuwait
         Drilling Fluid Company, 49% of the equity interests of which, as of the First
         Amendment Date, is owned by Q’Max Solutions Inc.

         1.1.272 1.1.270 “Unrestricted Subsidiary” means any Subsidiary of the Borrower that
         is not a Material Subsidiary.

         1.1.273 1.1.271 “U.S.” means the United States of America.

         1.1.274 1.1.272 “U.S. Base Rate” means the greater of the following:

         (a)      the rate of interest announced from time to time by the Agent as its reference rate
                  then in effect for determining rates of interest on U.S. dollar loans to its customers
                  in Canada and designated as its U.S. base rate;

         (b)      the Federal Funds Rate plus three-quarters of one percent (0.75%) per annum; and

         (c)      sum of (i) the LIBOR Rate and (ii) one percent (1.00%) per annum.

         1.1.275 1.1.273 “U.S. Borrower” means Q’Max America Inc., a corporation
         incorporated pursuant to the Laws of the state of Delaware, and its successors and
         permitted assigns.



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         1.1.276 1.1.274 “U.S. Dollar Base Rate Loan” means an Advance made by a Lender in
         Canada to the Borrower by way of a direct loan in U.S. Dollars, but excluding Advances
         in the form of a LIBOR Loan.

         1.1.277 1.1.275 “U.S. Dollar LIBOR Rate” means, at any time, the LIBOR Rate
         applicable to LIBOR Loans denominated in U.S. Dollars determined at such time.

         1.1.278 1.1.276 “U.S. Dollar Prime Rate Loan” means an Advance in U.S. Dollars
         bearing interest at a fluctuating rate determined by reference to the U.S. Prime Rate.

         1.1.279 1.1.277 “U.S. Dollars” or “U.S. $” means the lawful money of the U.S.

         1.1.280 1.1.278 “U.S. Operating Facility” is defined in Section 4.1.

         1.1.281 1.1.279 “U.S. Operating Facility Commitment” means, as the context requires,
         (a) collectively with respect to all U.S. Operating Lenders, in the aggregate as of the
         Amendment and Restatement Date, U.S. $15,000,000, as otherwise increased or
         decreased pursuant to this Agreement and (b) means, with respect to each individual U.S.
         Operating Lender, the individual commitment amount of such Lender in the maximum
         principal amount indicated opposite such U.S. Operating Lender’s name in Exhibit “A”
         under the heading “U.S. Operating Facility Commitments”, as amended from time to
         time.

         1.1.282 1.1.280 “U.S. Operating Facility Limit” means the lesser of (a) the U.S.
         Operating Facility Commitment, and (b) the sum of the Borrowing Base less the then
         outstanding Advances under the Term Facility and the Canadian Operating Facility.

         1.1.283 1.1.281 “U.S. Operating Lenders” means the Lenders who have provided a
         Commitment under the U.S. Operating Facility as set forth in Exhibit “A”.

         1.1.284 1.1.282 “U.S. Prime Rate” means, for any day, the rate per annum from time to
         time announced by HSBC US as its prime rate in effect at its principal office in New
         York City. The U.S. Prime Rate is a reference rate and does not necessarily represent the
         lowest or best rate actually charged to any customer. HSBC US may make commercial
         loans or other loans at rates of interest at, above or below the U.S. Prime Rate. Any
         change in the U.S. Prime Rate shall take effect at the opening of business on the day
         specified in the public announcement of such change.

         1.1.285 1.1.283 “Voting Securities” means securities of capital stock of any class of any
         corporation, partnership units in the case of a partnership, trust units in the case of a trust,
         or other evidence of ownership serving similar purposes, carrying voting rights under all
         circumstances, provided that, for the purposes of this definition, shares which only carry
         the right to vote conditionally on the happening of an event will not be considered Voting
         Securities, whether or not such event will have occurred, nor will any securities be
         deemed to cease to be Voting Securities solely by reason of a right to vote accruing to
         securities of another class or classes by reason of the happening of such event.

         1.1.286 1.1.284 “Wells Fargo” means Wells Fargo Bank, National Association.
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         1.1.287 1.1.285 “Wells Fargo Credit Agreement” means the Credit and Security
         Agreement to be dated on or after the Amendment and Restatement Date, by and among
         ADF SPV, LLC, as the borrower, Anchor, as the servicer, and Wells Fargo, as lender and
         collateral agent, as may be amended, restated, supplemented, replaced or otherwise
         modified from time to time.

         1.1.288 1.1.286 “Wells Fargo Letter” means that certain letter to be dated as of the date
         of the Wells Fargo Credit Agreement between HSBC, as administrative agent, and Wells
         Fargo, as lender and collateral agent (to be in form and substance satisfactory to the
         Agent, acting reasonably), as the same may be amended, restated or otherwise modified
         from time to time.

         1.1.289 1.1.287 “Withdrawal Liability” has the meaning specified in Part I of Subtitle
         E of Title IV of ERISA.

         1.1.290 1.1.288 “Year-end Financial Statements” in respect of any Person means the
         audited consolidated financial statements of such Person prepared in accordance with
         GAAP, including the notes thereto, in respect of its most recently completed Fiscal Year.

1.2      Accounting Principles

        Except as otherwise expressly provided herein, all accounting terms, principles and
calculations applicable to the Facilities and this Agreement will be interpreted, applied and
calculated, as the case may be, in accordance with GAAP. If, after the date of this Agreement,
there shall occur any change in GAAP or change in the accounting method under GAAP that are
different from those used in the historical preparation of the financial statements, including any
change by reason of any change in the rules, regulations, pronouncements, opinions or other
requirements of the Canadian Institute of Chartered Accountants (or any successor thereto or
agency with similar function), including the adoption of International Financial Reporting
Standards, that are different from those used in the preparation of the financial statements
delivered pursuant to Section 7.4 and such change shall result in a change in the method of
calculation of any financial covenant, ratio, standard or term found in this Agreement, including
the treatment of operating and capital leases, either the Canadian Borrower or the Required
Lenders may by notice to the Agent and the Canadian Borrower, respectively, require that the
Lenders and the Canadian Borrower negotiate in good faith to amend such covenants, ratios,
standards, and terms so as equitably to reflect such change in accounting principles, with the
desired result being that the criteria for evaluating the financial condition of the Canadian
Borrower and its Subsidiaries shall be the same as if such change had not been made. No delay
by the Canadian Borrower or the Required Lenders in requiring such negotiation shall limit their
right to so require such a negotiation at any time after such a change in accounting principles.
Until any such covenant, ratio, standard or term is amended in accordance with this Section 1.2,
financial covenants shall be computed and determined in accordance with GAAP in effect prior
to such change in accounting principles.

1.3      Currency References

         All amounts referred to in this Agreement are in U.S. Dollars unless otherwise noted.

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1.4      References to Statutes

        Whenever in this Agreement reference is made to a statute or regulations made pursuant
to a statute, such reference shall, unless otherwise specified, be deemed to include all
amendments to such statute or regulations from time to time and all statutes or regulations which
may come into effect from time to time substantially in replacement for the said statutes or
regulations.

1.5      Extended Meanings

        Terms defined in the singular have the same meaning when used in the plural, and
vice-versa. When used in the context of a general statement followed by a reference to one or
more specific items or matters, the term “including” shall mean “including, without limitation”,
and the term “includes” shall mean “includes, without limitation”. Any reference herein to the
exercise of discretion by the Agent or the Lenders (including phrases such as “in the discretion
of”, “in the opinion of”, “to the satisfaction of” and similar phrases) shall mean that such
discretion is absolute and unfettered and shall not imply any obligation to act reasonably, unless
otherwise expressly stated herein.

1.6      Headings

        Headings, subheadings and the table of contents contained in the Credit Documents are
inserted for convenience of reference only, and will not affect the construction or interpretation
of the Credit Documents.

1.7      Subdivisions

       Unless otherwise stated, reference herein to a Schedule or to an Article, Section,
paragraph or other subdivision is a reference to such Schedule to this Agreement or such Article,
Section, paragraph or other subdivision of this Agreement. Unless specified otherwise, reference
in Schedule “A” to a Schedule or to an Article, Section, paragraph or other subdivision is a
reference to such Schedule or Article, Section, paragraph or other subdivision of this Agreement.

1.8      Number

        Wherever the context in the Credit Documents so requires, a term used herein importing
the singular will also include the plural and vice versa.

1.9      Time

         Time will be of the essence of the Credit Documents.

1.10     Amendments

      No Credit Document may be amended orally and, subject to Sections 1.11(a) and 11.2,
any amendment may only be made by way of an instrument in writing signed by the Parties.



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1.11     No Waiver

         (a)      No waiver by a Party of any provision or of the breach of any provision of the
                  Credit Documents will be effective unless it is contained in a written instrument
                  duly executed by an authorized officer or representative of such Party. Such
                  written waiver will affect only the matter specifically identified in the instrument
                  granting the waiver and will not extend to any other matter, provision or breach.

         (b)      The failure of a Party to take any steps in exercising any right in respect of the
                  breach or non fulfilment of any provision of the Credit Documents will not
                  operate as a waiver of that right, breach or provision, nor will any single or partial
                  exercise of any right preclude any other or future exercise of that right or the
                  exercise of any other right, whether in Law or otherwise.

         (c)      Acceptance of payment by a Party after a breach or non fulfilment of any
                  provision of the Credit Documents requiring a payment to such Party will
                  constitute a waiver of such provision if cured by such payment, but will not
                  constitute a waiver or cure of any other provision of the Credit Documents.

1.12     Inconsistency

       To the extent that there is any inconsistency or ambiguity between the provisions of this
Agreement and any other Credit Document, the provisions of this Agreement will govern to the
extent necessary to eliminate such inconsistency or ambiguity. For greater certainty, a provision
of this Agreement and a provision of another Credit Document shall be considered to be
inconsistent if both relate to the same subject-matter and the provision in one such document
imposes more onerous obligations or restrictions than the corresponding provision in the other.

1.13     Pro Forma Adjustments

        For purposes of making computations of the Net Leverage Ratio and the Fixed Charge
Coverage Ratio herein, if any applicable Person or makes any Permitted Acquisitions, mergers,
amalgamations, consolidations, dispositions of assets or divisions or the Canadian Borrower
makes any adjustments to the Capital Expenditure budget (each a “relevant transaction”) during
the reference period applicable to such computation shall be calculated on a pro forma basis
assuming that all such relevant transactions (and the change in EBITDA resulting therefrom) had
occurred on the first day of such reference period. If since the beginning of such reference period
any Person that subsequently became a Subsidiary or was merged with or into the Borrower or
any of its Subsidiaries since the beginning of such period shall have consummated any relevant
transactions that would have required adjustment pursuant to this definition, then the Net
Leverage Ratio shall be calculated giving pro forma effect thereto for such reference period as if
such relevant transaction had occurred at the beginning of the applicable reference period.

        For purposes of this Section 1.13, whenever pro forma effect is to be given to a
transaction, the pro forma calculations shall be made in good faith by a responsible financial or
accounting officer of the Canadian Borrower and may include, without duplication, cost savings,
operating expense reductions, restructuring charges and expenses and cost-saving synergies

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resulting from such acquisition or other relevant transaction, in each case in a manner acceptable
to the Required Lenders, acting reasonably.

1.14     Joint and Several Liability of Borrowers

       Notwithstanding anything else set forth in the Credit Documents to the contrary, each of
the Borrowers agrees and confirms to the Agent and Lenders that the liabilities and obligations of
the Borrowers under this Agreement and the other Credit Documents are joint and several as
between each Borrower.

1.15     Deemed Action by all Borrowers

       All consents, waivers, notices and other action required, made, given to or received by the
Borrowers under this Agreement or any of the other Credit Documents will be deemed to be
required, made, given or received by all of the Borrowers if required, made, given or received by
one or more of the Borrowers. If a representation, certification or other statement under this
Agreement or any of the other Credit Documents is made by one Borrower, or to the knowledge
of one Borrower, it will be deemed to be made by all Borrowers, or the knowledge of all
Borrowers, as applicable.

1.16     Amendment and Restatement

        The Borrowers, the Agent and the Lenders agree that effective on the Amendment and
Restatement Date, this Agreement is an amendment and restatement of the Existing Credit
Agreement and is not a novation of the Existing Credit Agreement. As a consequence, the
obligations, indebtedness and liabilities outstanding under the Existing Credit Agreement
(including any existing letters of credit thereunder which will be deemed to be Letters of Credit
issued by the applicable Issuing Bank under the corresponding Facility hereunder) shall
constitute obligations, indebtedness and liabilities hereunder governed by the terms hereof and
shall continue to be secured by the Security. Such obligations, indebtedness and liabilities shall
be continuing in all respects, and this Agreement shall not be deemed to evidence or result in a
novation of such obligations, indebtedness and liabilities or a repayment and reborrowing of such
obligations, indebtedness and liabilities. The Existing Credit Agreement has been amended and
restated solely for the purposes of reflecting amendments to the Existing Credit Agreement
which the Lenders, the Agent and the Borrowers have agreed upon. All references to the “Credit
Agreement” contained in the Credit Documents delivered prior to the effectiveness of this
Agreement shall be references to this Agreement without further amendment to those Credit
Documents. The Borrowers confirm that each of the Credit Documents otherwise remains in full
force and effect. All deliverables made under the Existing Credit Agreement shall be deemed to
have been delivered under this Agreement. Each Lender authorizes the Agent to take all actions
and make such adjustments as are reasonably necessary to give effect to the foregoing.
Notwithstanding the foregoing or any other term hereof, all of the applicable continuing
covenants, representations and warranties on the part of the Borrowers under the Existing Credit
Agreement and all of the claims and causes of action arising against the Borrowers in connection
therewith, in respect of all matters, events, circumstances and obligations arising or existing prior
to the Amendment and Restatement Date shall continue, survive and shall not be merged in the


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execution of this Agreement or any other Credit Documents or any advance or provision of any
Loan hereunder.

1.17     Exhibits and Schedules

        The following exhibits and schedules are attached to this Agreement and incorporated
herein by reference:

          Exhibit “A”       –     Lenders and Lenders’ Commitments
          Exhibit “B”       –     Form of Drawdown Request
          Exhibit “C”       –     Form of Rollover Notice
          Exhibit “D”       –     Form of Conversion Notice
          Exhibit “E”       –     Form of Repayment Notice
          Exhibit “F”       –     Form of Compliance Certificate
          Exhibit “G”       –     Form of Assignment Agreement
          Exhibit “H”       –     Form of Borrowing Base Certificate
          Exhibit “I”       –     Form of Designation Notice
          Exhibit “J”       –     Form of Subordination Agreement
          Schedule          –     Existing Permitted Funded Debt
          1.1.2041.1.205
          Schedule          – Existing Permitted Liens
          1.1.2091.1.210
          Schedule          – Surviving Colombian Credit Agreements
          1.1.2521.1.253
          Schedule 6.1.2    –     Corporate Information
          Schedule 6.1.3    –     Subsidiaries
          Schedule 6.1.5    –     Consents and Approvals Required
          Schedule 6.1.8    –     Material Permits
          Schedule 6.1.10   –     Leased Properties
          Schedule 6.1.11   –     Intellectual Property
          Schedule 6.1.12   –     Insurance Policies
          Schedule 6.1.13   –     Material Agreements
          Schedule 6.1.14   –     Labour Matters
          Schedule 6.1.15   –     Environmental Matters
          Schedule 6.1.16   –     Litigation
          Schedule 6.1.17   –     Pension Plans
          Schedule 6.1.23   –     Taxes
          Schedule 6.1.33   –     Eligible Approved Contracts
          Schedule 7.2.3    –     Investments

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          Schedule 7.2.6     – Transactions with Affiliates
          Schedule 9.1       – Post-Closing Schedule

1.18     Covenant Relief Period

       The Borrowers may, by providing an irrevocable written notice to the Agent, terminate
the Covenant Relief Period, which notice shall specify the date on which the Covenant Relief
Period is to end; provided that, such termination date shall not be retroactive to a date that
precedes such notice.

                                     ARTICLE 2
                            CANADIAN OPERATING FACILITY

2.1      Establishment of Canadian Operating Facility

        Subject to the terms and conditions in this Agreement, each Canadian Operating Lender
hereby establishes a committed, revolving credit facility in favour of the Canadian Borrower in
the maximum principal amount indicated opposite such Canadian Operating Lender’s name in
Exhibit “A” under the heading “Canadian Operating Facility Commitments”. Such credit facility
in the maximum aggregate principal amount of the Canadian Operating Facility Limit are
established by the Canadian Operating Lenders severally and not jointly, and are hereinafter
collectively referred to as “Canadian Operating Facility”. Each Advance by a Canadian
Operating Lender under the Canadian Operating Facility shall be made by such Canadian
Operating Lender in its Proportionate Share of the Canadian Operating Facility. If the Canadian
Operating Facility Limit is at any time less than the Canadian Operating Facility Commitment,
then each Canadian Operating Lender’s obligation to provide Advances under the Canadian
Operating Facility will be reduced accordingly on a pro rata basis.

2.2      Purpose

       Advances under the Canadian Operating Facility shall be used by the Canadian Borrower
to fund working capital needs and for general corporate purposes, including Permitted
Acquisitions (other than a Hostile Acquisition and the Terra Acquisition).

2.3      Revolving Nature

        The Canadian Operating Facility shall be a revolving facility. For greater certainty, the
Borrower shall, subject to the terms of this Agreement, be entitled to obtain Advances under the
Canadian Operating Facility from time to time and repay all or any portion of the Outstanding
Advances under the Canadian Operating Facility from time to time; provided, that the
Outstanding Advances under the Canadian Operating Facility at any time shall not exceed the
Canadian Operating Facility Limit in effect at such time. If at any time and for whatever reason
the Outstanding Advances under the Canadian Operating Facility exceed the Canadian Operating
Facility Limit then in effect, the Canadian Borrower shall, within two Business Days of receipt of
a written notice from the Agent, pay to the Agent the principal amount required to reduce the
Outstanding Advances under the Canadian Operating Facility to an amount not greater than the
Canadian Operating Facility Limit then in effect.

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2.4      Repayment

        The Obligations under the Canadian Operating Facility shall become due and payable on
the earlier of: (i) the Acceleration Date; and (ii) the Facilities Maturity Date.

2.5      Availment Options

         2.5.1   Subject to the restrictions contained in this Section 2.5 and elsewhere in this
         Agreement (and in particular, Sections 5.4 and 5.5), the Canadian Borrower may receive
         Advances under the Canadian Operating Facility by any one or more of the following
         Availment Options (or any combination thereof) in minimum amounts and multiples as
         provided in Section 5.5:

         (a)      Overdrafts in Canadian Dollars or U.S. Dollars (but only under the Swingline);

         (b)      Letters of Credit in Canadian Dollars or U.S. Dollars (but only under the
                  Swingline);

         (c)      Canadian Dollar Prime Rate Loans;

         (d)      U.S. Dollar Base Rate Loans;

         (e)      Bankers’ Acceptances from the BA Lenders in Canadian Dollars only with a
                  maturity of 30, 60, 90 or 180 days, subject to availability;

         (f)      BA Equivalent Loans from the Non-BA Lenders in Canadian Dollars only with a
                  maturity of 30, 60, 90 or 180 days, subject to availability; or

         (g)      LIBOR Loans in U.S. Dollars, with a LIBOR Period of 30, 60, 90 or 180 days,
                  subject to availability.

         2.5.2     Bankers’ Acceptances, BA Equivalent Loans and LIBOR Loans under the
         Canadian Operating Facility will not be issued with a maturity date later than the
         Facilities Maturity Date.

         2.5.3    The Canadian Borrower may Convert Outstanding Advances under the Canadian
         Operating Facility in the form of any above Availment Option applicable to it into
         another form of Availment Option in the same currency, subject to and in accordance
         with the terms and conditions of this Agreement (but for greater certainty, Bankers’
         Acceptances, BA Equivalent Loans, LIBOR Loans and Letters of Credit may not be
         converted into another Availment Option prior to the maturity thereof, except in the case
         of unexpired Letter of Credits by the return of the original thereof to the Swingline
         Lender for cancellation).

2.6      Interest and Fees

         2.6.1  In respect of Advances under the Canadian Operating Facility, the Canadian
         Borrower agrees to pay the following:

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         (a)      interest on Overdrafts in Canadian Dollars and interest on Canadian Dollar Prime
                  Rate Loans at the Canadian Prime Rate plus the Applicable Margin per annum,
                  payable monthly in arrears on the last Business Day of such month;

         (b)      in respect of each Letter of Credit issued under the Canadian Operating Facility:

                  (i)    to the Swingline Lender in respect of the period from the date of issuance
                         of such Letter of Credit to the date of expiry of such Letter of Credit
                         (including the first day but excluding the last day) and divided by 365 or
                         366 days, as the case may be, a fee equal to the Applicable Margin in
                         effect at the time of issuance multiplied by the face amount of such Letter
                         of Credit multiplied by the number of days in such period and divided by
                         365 or 366 days, as the case may be, payable on the date of issuance of
                         such Letter of Credit; and

                  (ii)   in respect of each Letter of Credit, in addition to the fees referred to in
                         clause (i) immediately above, fees generally applicable to Letters of Credit
                         from time to time (such as issuance, drawing, registration, amendment,
                         communication and other processing and out of pocket fees) at the
                         Swingline Lender’s usual rates, payable to the Swingline Lender for its
                         own account,

                  and each fee referred to in this Section in respect of a Letter of Credit shall be paid
                  in the same currency as the currency of such Letter of Credit;

         (c)      in respect of each Bankers’ Acceptance, a stamping fee equal to the Applicable
                  Margin multiplied by the face amount of the Bankers’ Acceptance with the
                  product thereof further multiplied by the number of days to maturity of the
                  Bankers’ Acceptance and divided by 365 or 366 days, as the case may be, payable
                  at the time of acceptance (and for greater certainty, in addition to paying the said
                  stamping fee, the Canadian Borrower acknowledges that the proceeds received
                  upon the issuance of such Bankers’ Acceptance will be less than the face amount
                  payable to the holder of such Bankers’ Acceptance on the maturity thereof, as
                  more particularly provided in Section 5.10);

         (d)      in respect of each BA Equivalent Loan, a stamping fee equal to the Applicable
                  Margin multiplied by the face amount of the BA Equivalent Loan with the product
                  thereof further multiplied by the number of days to maturity of the BA Equivalent
                  Loan and divided by 365 or 366 days, as the case may be, payable at the time of
                  acceptance (and for greater certainty, in addition to paying the said stamping fee,
                  the Canadian Borrower acknowledges that the proceeds received upon the
                  issuance of such BA Equivalent Loan will be less than the principal amount of
                  such BA Equivalent Loan on the maturity thereof, as more particularly provided in
                  Section 5.12);

         (e)      interest on Overdrafts in U.S. Dollars and interest on U.S. Dollar Base Rate Loans
                  at the U.S. Base Rate plus the Applicable Margin per annum, payable monthly in

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                  arrears on the last day of each and every month (provided, that if the last day of
                  any month is not a Business Day, interest shall be payable on the next Business
                  Day thereafter);

         (f)      interest on LIBOR Loans in U.S. Dollars at the U.S. Dollar LIBOR Rate plus the
                  Applicable Margin per annum calculated on the basis of a year of 360 days,
                  payable in the manner set out in Section 5.13.2;

         (g)      a standby fee with respect to the unused portion of the Canadian Operating
                  Facility (other than the Swingline), calculated in U.S. Dollars on a daily basis as
                  being the difference between (i) the Canadian Operating Facility Commitment less
                  the Swingline Limit and (ii) the Outstanding Advances under that portion of the
                  Canadian Operating Facility other than the Swingline, multiplied by the
                  Applicable Margin and divided by 365 or 366 days, as the case may be, which
                  standby fee shall be payable quarterly in arrears on the last day of each Fiscal
                  Quarter;

         (h)      a standby fee with respect to the Swingline payable to the Agent for the account of
                  the Swingline Lender, calculated in U.S. Dollars on a daily basis as being the
                  difference between (i) the Swingline Limit and (ii) the Outstanding Advances
                  under the Swingline, multiplied by the Applicable Margin and divided by 365 or
                  366 days, as the case may be, which standby fee shall be payable quarterly in
                  arrears on the last day of each Fiscal Quarter; and

         (i)      such fees payable to the Agent as may be agreed in writing from time to time
                  between the Canadian Borrower and the Agent relating to any Banking Services
                  Agreements and related services which may be provided by the Agent for the
                  Canadian Borrower from time to time.

         2.6.2    With respect to any Availment Option under the Canadian Operating Facility,
         “Applicable Margin” means, in respect of any Fiscal Quarter, the percentage in the
         column relating to such Availment Option which corresponds to the Net Leverage Ratio
         as determined pursuant to Section 5.1.4.

2.7      Swingline

         2.7.1    A portion of the Canadian Operating Facility in the maximum amount of the
         Swingline Limit is hereby designated as the “Swingline” and shall be subject to the terms
         and conditions in this Section 2.7 (in addition to any other applicable terms and
         conditions contained in this Agreement). The Swingline shall be available to each of the
         Canadian Borrower and the Specified Canadian Swingline Borrower (collectively the
         “Swingline Borrowers”).

         2.7.2    The Swingline shall be established and maintained by the Swingline Lender
         only. Either Swingline Borrower may only receive Advances under the Swingline by way
         of Overdrafts, LIBOR Loans, Bankers’ Acceptances or the issuance of Letters of Credit,
         in each case (other than with respect to Bankers’ Acceptances), in Canadian Dollars or

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         U.S. Dollars. The aggregate amount owing under the Swingline may at no time exceed
         the Swingline Limit and the aggregate principal amount outstanding under the Swingline
         plus the other Outstanding Advances under the Canadian Operating Facility shall at no
         time exceed the Canadian Operating Facility Limit. The total number of Bankers’
         Acceptances and LIBOR Loans outstanding under the Swingline shall not exceed fifteen
         at any time.

         2.7.3    The Swingline shall form a part of the Canadian Operating Facility and, except
         for the purpose of calculating the Canadian Operating Facility standby fee, any Swingline
         Loan shall reduce availability under the Canadian Operating Facility on a dollar for dollar
         basis.

         2.7.4    The Swingline Lender will make Advances to the Swingline Borrowers under
         the Swingline by way of (a) Canadian Dollar Overdraft into Canadian Dollar accounts, or
         U.S. Dollar Overdraft into U.S. Dollar accounts, in each case held at a branch of the
         Agent and as designated by either Swingline Borrower from time to time as required in
         order to honour cheques drawn by either Swingline Borrower on such accounts which are
         presented to the Swingline Lender for payment, (b) the issuance of Letters of Credit in
         Canadian Dollars or U.S. Dollars or (c) LIBOR Loans or Bankers’ Acceptances. Other
         than in respect of Letters of Credit, LIBOR Loans or Bankers’ Acceptances, no
         Drawdown Request or minimum amount shall be required in connection therewith and
         each Swingline Loan shall be on a dollar for dollar basis (i.e. not subject to multiples). As
         deposits are made into such accounts by the applicable Swingline Borrower, the
         Swingline Lender shall withdraw funds from such accounts from time to time and apply
         such funds as Repayments under the Swingline; provided, that the foregoing shall not
         apply to any Swingline Loans made by way of issuance of a Letter of Credit, LIBOR
         Loan or Bankers’ Acceptance. No notice of repayment shall be required to be given by
         the Canadian Borrower in respect of any such repayment of any Swingline Loan (other
         than in respect of LIBOR Loans or Bankers’ Acceptances). The Swingline Borrowers
         authorize and direct the Swingline Lender, in its discretion, to automatically debit, by
         mechanical, electronic or manual means, the bank accounts of the Swingline Borrowers
         maintained by it for any amounts (including principal, interest or fees) that are due and
         payable under this Section 2.7.

         2.7.5     Letters of Credit may be issued under the Swingline in Canadian Dollars or U.S.
         Dollars (or such other currencies as may be agreed to by the Swingline Lender); provided,
         that the Equivalent Amount expressed in U.S. Dollars (or such other currency, if
         applicable) of the aggregate face amount of all Letters of Credit outstanding under the
         Swingline at any time may not exceed U.S. $10,000,000. Each Letter of Credit shall have
         an expiry date not exceeding the earlier of (a) one year from the date of issuance thereof
         (subject to any customary auto-renewal terms contained in such Letter of Credit;
         provided, that such auto-renewal provisions do not provide for a renewal in the singular
         instance in excess of one year from the date of such renewal), and (b) five Business Days
         prior to the Facilities Maturity Date. Letters of Credit will not be issued for the purpose of
         guaranteeing obligations of any Person other than a Credit Party. On the date of issue, the
         Swingline Lender will complete and issue one or more Letters of Credit in favour of the
         beneficiary as specified by the applicable Swingline Borrower in its Drawdown Request.

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         No Letter of Credit shall require payment against a conforming draft to be made
         thereunder on the same Business Day upon which such draft is presented, if such
         presentation is made after 11:00 a.m. (Toronto time) on such Business Day. Prior to the
         issue date, the applicable Swingline Borrower shall specify a precise description of the
         documents and the verbatim text of any certificate to be presented by the beneficiary prior
         to payment under the Letter of Credit. The Swingline Lender may require changes in any
         such documents or certificate, acting reasonably. In determining whether to pay under a
         Letter of Credit, the Swingline Lender shall be responsible only to determine that the
         documents and certificates required to be delivered under such Letter of Credit have been
         delivered and that they comply on their face with the requirements of such Letter of
         Credit. Sections 4.7.2, 4.7.3, 4.7.4 and 4.7.6 shall apply to Letters of Credit issued under
         the Swingline mutatis mutandis as if the Swingline Lender was the Issuing Bank.

         2.7.6    If the Canadian Borrower requests a Syndicated Advance and the Swingline
         Lender’s Proportionate Share of such Syndicated Advance would cause its Proportionate
         Share of all Syndicated Advances under the Canadian Operating Facility then outstanding
         together with the aggregate outstanding principal amount of all Swingline Loans to
         exceed the Swingline Lender’s Commitment under the Canadian Operating Facility, then
         the Canadian Borrower shall be required to repay such Swingline Loans (or to convert the
         same into a Syndicated Advance in accordance with Section 2.7.7) to the extent of such
         excess on or before the requested date of such Syndicated Advance; provided, that the
         foregoing shall not apply to any Swingline Loans made by way of issuance of a Letter of
         Credit.

         2.7.7     Notwithstanding anything to the contrary herein contained, the Canadian
         Borrower may at any time give notice to the Swingline Lender and the Agent, which
         notice shall direct a Conversion of any outstanding Swingline Loan into a Syndicated
         Advance (other than by way of issuance of a Letter of Credit) and shall specify the
         particulars of such Swingline Loans, and the Agent shall forthwith provide a copy of such
         notice to the Canadian Operating Lenders and, effective on the effective date of such
         notice, the Canadian Borrower shall be deemed to have requested a Conversion of such
         Swingline Loan into a Syndicated Advance (whether or not it was the actual borrower
         under such Swingline Loan) and in an amount sufficient to repay the relevant Swingline
         Loan and accrued and unpaid interest in respect thereof. Subject to the same notice period
         set out in Section 5.4, each Canadian Operating Lender shall disburse to the Agent for
         payment to the Swingline Lender its respective Proportionate Share of such amounts and
         such amounts shall thereupon be deemed to have been advanced by such other Canadian
         Operating Lenders to the Canadian Borrower and to constitute Syndicated Advances by
         way of Canadian Dollar Prime Rate Loans or U.S. Dollar Base Rate Loans, as applicable.
         Such Syndicated Advances shall be deemed to be comprised of principal and accrued and
         unpaid interest in the same proportions as the corresponding Swingline Loans.

         2.7.8    Upon the occurrence and any time during the continuance of an Event of
         Default, the Canadian Operating Lenders shall make such adjusting payments amongst
         themselves in any manner as may be required to ensure their respective participations in
         outstanding Advances under the Canadian Operating Facility reflect their respective
         Proportionate Share under the Canadian Operating Facility. If any Swingline Loans (other

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         than by way of Letters of Credit) are outstanding, the Swingline Lender may at any time
         in its sole and absolute discretion, on behalf of either Swingline Borrower (which hereby
         irrevocably directs and authorizes the Swingline Lender to make such request on its
         behalf), request that each Canadian Operating Lender, through the Agent, make a
         Canadian Dollar Prime Rate Loan or U.S. Dollar Base Rate Loan, as applicable, to the
         Canadian Borrower (whether or not it was the actual borrower under such Swingline
         Loan) in an amount equal to the Lender’s Proportionate Share of the principal amount of
         such Swingline Loan outstanding on the date such notice is given (in this Section, the
         “Refunded Swingline Loans”), provided that the provisions of this clause shall not
         affect the applicable Swingline Borrower’s obligation to repay the Swingline Loans to the
         extent they remain outstanding. Each Canadian Operating Lender will make the proceeds
         of any such Canadian Dollar Prime Rate Loan or U.S. Dollar Base Rate Loan, as
         applicable, available to the Swingline Lender on the Business Day next following the date
         such notice is given in immediately available funds. The proceeds of such a Canadian
         Dollar Prime Rate Loan or U.S. Dollar Base Rate Loan shall be applied by the Swingline
         Lender to the payment in full of the Refunded Swingline Loans.

         2.7.9     In the event of any request for a drawing under any Letter of Credit, the
         Swingline Lender may notify the applicable Swingline Borrower (with a copy of the
         notice to the Agent) on or before the date on which it intends to honour such drawing.
         The applicable Swingline Borrower (whether or not such notice is given) shall reimburse
         the Swingline Lender within two Business Days of demand by the Swingline Lender, in
         the relevant currency, an amount, in same day funds, equal to the amount of such drawing
         (in this Section, an “LC Payment”). The applicable Swingline Borrower shall pay to the
         Swingline Lender interest on the amount of any such drawn Letter of Credit as if such
         drawn amount was a Canadian Dollar Prime Rate Loan or U.S. Dollar Base Rate Loan, as
         applicable, from the date such Letter of Credit is drawn upon until such time as the
         applicable Swingline Borrower reimburses the Swingline Lender for the drawn amount of
         such Letter of Credit. If the applicable Swingline Borrower does not reimburse the
         Swingline Lender within such two Business Days, the Canadian Operating Lenders shall,
         on the third Business Day following the date of such initial demand on the applicable
         Swingline Borrower by the Swingline Lender, at the request of the Swingline Lender,
         provide its Proportionate Share of the amount drawn under any such Letter of Credit and
         the Agent shall apply the proceeds thereof to the reimbursement of the Swingline Lender
         for the amount of such drawing. The applicable Swingline Borrower shall pay to
         Canadian Operating Lenders interest on the amount of any such drawn Letter of Credit
         from the date the Swingline Lender requests payment from each of Canadian Operating
         Lenders in respect of such drawn Letter of Credit until such time as the Canadian
         Borrower reimburses the Swingline Lender and each of Canadian Operating Lenders for
         the drawn amount of such Letter of Credit which has been drawn upon as if such drawn
         amount was a Canadian Dollar Prime Rate Loan or U.S. Dollar Base Rate Loan, as
         applicable. Each Canadian Operating Lender acknowledges and agrees that its obligation
         to acquire participations in each Letter of Credit issued by the Swingline Lender and its
         obligation to make the payments specified herein, and the right of the Swingline Lender
         to receive the same, in the manner specified herein, are absolute and unconditional and
         shall not be affected by any circumstance whatsoever, including the occurrence and


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         continuance of a Default or Event of Default hereunder, and that each such payment shall
         be made without any offset, abatement, withholding or reduction whatsoever.

         2.7.10 The obligations of each Canadian Operating Lender under Sections 2.7.8 and
         2.7.9 are unconditional, shall not be subject to any qualification or exception whatsoever
         and shall be performed in accordance with the terms and conditions of this Agreement
         under all circumstances including:

         (a)      any lack of validity or enforceability of the applicable Swingline Borrower’s
                  obligations under this Section 2.7;

         (b)      the occurrence of any Default or Event of Default or the exercise of any rights by
                  the Agent under the Credit Documents;

         (c)      whether the Borrower under a Swingline loan was the Canadian Borrower or the
                  Specified Canadian Swingline Borrower; and

         (d)      the absence of any demand for payment being made, any proof of claim being
                  filed, any proceeding being commenced or any judgment being obtained by any
                  Lender against any Credit Party.

         2.7.11 For certainty, it is hereby acknowledged and agreed that the Canadian Operating
         Lenders shall be obligated to disburse to the Agent for payment to the Swingline Lender
         their respective Proportionate Shares of any Syndicated Advances contemplated in this
         Section 2.7 regardless of:

         (a)      whether a Default or Event of Default has occurred or is then continuing or
                  whether any other condition in Section 9.2 is met;

         (b)      whether or not the Canadian Borrower has, in fact, actually requested such
                  Conversion; and

         (c)      whether or not a Person was a Canadian Operating Lender at the time the
                  applicable Swingline Loan was made.

         2.7.12 Notwithstanding any other terms of this Section 2.7, this Agreement or any other
         Loan Document, the Canadian Borrower shall be jointly and severally liable with the
         Specified Canadian Swingline Borrower for all obligations and indebtedness arising out
         of any Swingline Loan advanced by the Swingline Lender to the Specified Canadian
         Swingline Borrower.

                                           ARTICLE 3
                                         TERM FACILITY

3.1      Establishment of the Term Facility

        Subject to the terms and conditions in this Agreement, each Term Lender hereby
establishes a committed non-revolving reducing term credit facility in favour of the Canadian

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Borrower in the maximum principal amount indicated opposite such Term Lender’s name in
Exhibit “A” under the heading “Term Facility Commitments”. Such credit facility in the
maximum aggregate principal amount of the Term Facility Commitment is established by the
Term Lenders severally and not jointly, and is hereinafter referred to as the “Term Facility”.
Each Advance by a Term Lender under the Term Facility shall be made by such Term Lender in
its Proportionate Share of the Term Facility.

3.2      Purpose

         Advances to partially finance the purchase price of certain Acquisitions.

3.3      Nature

        The Term Facility shall be a non-revolving facility, and any Repayment under the Term
Facility may not be re-borrowed. As of the Amendment and Restatement Date, no new Advances
are available under the Term Facility.

3.4      Repayment

         3.4.1     The Obligations under the Term Facility shall become due and payable on the
         earlier of: (a) the Acceleration Date; and (b) the Facilities Maturity Date.

         3.4.2    The Canadian Borrower shall make Repayments under the Term Facility in
         quarterly installments on the last day of each Fiscal Quarter (and if the last day of a Fiscal
         Quarter is not a Business Day, such payment shall be due on the next Business Day) of
         U.S. $1,195,000 in each case, payable on the last Business Day of each such Fiscal
         Quarter.

         3.4.3    Each Repayment under the Term Facility shall be applied to the Term Lenders
         holding such Loans pro rata based upon their Proportionate Share thereof and the Term
         Facility Commitment shall be reduced by the amount of each such Repayment.

3.5      Availment Options

         3.5.1    Subject to the restrictions contained in this Section 3.5, the Canadian Borrower
         may receive Advances under the Term Facility by way of (and may convert Outstanding
         Advances under the Term Facility into) any one or more of the following Availment
         Options (or any combination thereof) in minimum amounts and multiples as provided in
         Section 5.5:

         (a)      Canadian Dollar Prime Rate Loans;

         (b)      Bankers’ Acceptances from the BA Lenders in Canadian Dollars only with a
                  maturity date of 30, 60, 90 or 180 days, subject to availability;

         (c)      BA Equivalent Loans from the Non-BA Lenders in Canadian Dollars only with a
                  maturity date of 30, 60, 90 or 180 days, subject to availability;


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         (d)      U.S. Dollar Base Rate Loans; or

         (e)      LIBOR Loans in U.S. Dollars only with a LIBOR Period of 30, 60, 90 or 180
                  days, subject to availability.

         3.5.2     Bankers’ Acceptances, BA Equivalent Loans and LIBOR Loans under the Term
         Facility may not be converted into another Availment Option prior to the maturity
         thereof, and may not be issued with a maturity date later than the Facilities Maturity Date.

3.6      Interest and Fees

         3.6.1    In respect of Advances under the Term Facility, the Canadian Borrower agrees
         to pay the following:

         (a)      interest on Canadian Dollar Prime Rate Loans at the Canadian Prime Rate plus the
                  Applicable Margin per annum, payable monthly in arrears on the first Business
                  Day of the next month;

         (b)      in respect of each Bankers’ Acceptance, a stamping fee equal to the Applicable
                  Margin multiplied by the face amount of the Bankers’ Acceptance with the
                  product thereof further multiplied by the number of days to maturity of the
                  Bankers’ Acceptance and divided by 365 or 366 days, as the case may be, payable
                  at the time of acceptance (and for greater certainty, in addition to paying the said
                  stamping fee, the Canadian Borrower acknowledges that the proceeds received
                  upon the issuance of such Bankers’ Acceptance will be less than the face amount
                  payable to the holder of such Bankers’ Acceptance on the maturity thereof, as
                  more particularly provided in Section 5.10);

         (c)      in respect of each BA Equivalent Loan, a stamping fee equal to the Applicable
                  Margin multiplied by the face amount of the BA Equivalent Loan with the product
                  thereof further multiplied by the number of days to maturity of the BA Equivalent
                  Loan and divided by 365 or 366 days, as the case may be, payable at the time of
                  acceptance (and for greater certainty, in addition to paying the said stamping fee,
                  the Canadian Borrower acknowledges that the proceeds received upon the
                  issuance of such BA Equivalent Loan will be less than the principal amount of
                  such BA Equivalent Loan on the maturity thereof, as more particularly provided in
                  Section 5.12);

         (d)      interest on U.S. Dollar Base Rate Loans at the U.S. Base Rate plus the Applicable
                  Margin per annum, payable monthly in arrears on the first Business Day of the
                  next month; and

         (e)      interest on LIBOR Loans in U.S. Dollars at the U.S. Dollar LIBOR Rate plus the
                  Applicable Margin per annum calculated on the basis of a year of 360 days,
                  payable in the manner set out in Section 5.13.2.

         3.6.2   With respect to any Availment Option under the Term Facility, “Applicable
         Margin” means, in respect of any Fiscal Quarter, the percentage in the column relating to

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         such Availment Option which corresponds to the Net Leverage Ratio as determined
         pursuant to Section 5.1.4.

                                        ARTICLE 4
                                U.S. OPERATING FACILITY

4.1      Establishment of U.S. Operating Facility

       Subject to the terms and conditions in this Agreement, each U.S. Operating Lender
hereby establishes a committed, revolving credit facility in favour of the U.S. Borrower in the
maximum principal amount indicated opposite such U.S. Operating Lender’s name in Exhibit
“A” under the heading “U.S. Operating Facility Commitments”. Such credit facility in the
maximum aggregate principal amount of the U.S. Operating Facility Limit are established by the
U.S. Operating Lenders severally and not jointly, and are hereinafter collectively referred to as
the “U.S. Operating Facility”. Each Advance by a U.S. Operating Lender under the U.S.
Operating Facility shall be made by such U.S. Operating Lender in its Proportionate Share of the
U.S. Operating Facility.

4.2      Purpose

        Advances under the U.S. Operating Facility shall be used by the U.S. Borrower to fund
working capital needs and for general corporate purposes including the Permitted Acquisitions
(other than a Hostile Acquisition and the Terra Acquisition).

4.3      Revolving Nature

        The U.S. Operating Facility shall be a revolving facility. For greater certainty, the U.S.
Borrower shall, subject to the terms of this Agreement, be entitled to obtain Advances by way of
U.S. Dollar Prime Rate Loans, LIBOR Loans or Letters of Credit in U.S. Dollars under the U.S.
Operating Facility from time to time and repay all or any portion of the Outstanding Advances
under the U.S. Operating Facility from time to time; provided, that the Outstanding Advances
under the U.S. Operating Facility at any time shall not exceed the U.S. Operating Facility
Commitment in effect at such time. If at any time and for whatever reason the Outstanding
Advances under the U.S. Operating Facility exceed the U.S. Operating Facility Commitment then
in effect, the U.S. Borrower shall, within two Business Days of receipt of a written notice from
the Agent, pay to the Agent the principal amount required to reduce the Outstanding Advances
under the U.S. Operating Facility to an amount not greater than the U.S. Operating Facility
Commitment then in effect.

4.4      Repayment

        The Obligations under the U.S. Operating Facility shall become due and payable on the
earlier of: (i) the Acceleration Date; and (ii) the Facilities Maturity Date.

4.5      Availment Options

         4.5.1  Subject to the restrictions contained in this Section 4.5 and elsewhere in this
         Agreement (and in particular, Sections 5.4 and 5.5), the U.S. Borrower may receive

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         Advances under the U.S. Operating Facility by any one or more of the following
         Availment Options (or any combination thereof) in minimum amounts and multiples as
         provided in Section 5.5:

         (a)      Letters of Credit in U.S. Dollars;

         (b)      U.S. Dollar Prime Rate Loans; or

         (c)      LIBOR Loans in U.S. Dollars, with a LIBOR Period of 30, 60, 90 or 180 days,
                  subject to availability.

         4.5.2    LIBOR Loans under the U.S. Operating Facility will not be issued with a
         maturity date later than the Facilities Maturity Date.

         4.5.3     The U.S. Borrower may convert Outstanding Advances under the U.S. Operating
         Facility in the form of any above Availment Option applicable to it into another form of
         Availment Option in the same currency, subject to and in accordance with the terms and
         conditions of this Agreement (but for greater certainty, LIBOR Loans and Letters of
         Credit may not be converted into another Availment Option prior to the maturity thereof,
         except in the case of unexpired Letter of Credits by the return of the original thereof to
         the Issuing Bank for cancellation).

4.6      Interest and Fees

         4.6.1    In respect of Advances under the U.S. Operating Facility, the U.S. Borrower
         agrees to pay the following:

         (a)      interest on U.S. Dollar Prime Rate Loans in U.S. Dollars at the U.S. Prime Rate
                  plus the Applicable Margin per annum, payable monthly in arrears on the last day
                  of each and every month (provided, that if such day is not a Business Day, interest
                  shall be payable on the next Business Day thereafter);

         (b)      interest on LIBOR Loans in U.S. Dollars at the U.S. Dollar LIBOR Rate plus the
                  Applicable Margin per annum calculated on the basis of a year of 360 days,
                  payable in the manner set out in Section 5.13.2;

         (c)      in respect of each Letter of Credit issued under the U.S. Operating Facility:

                  (i)    to the Agent for the account of the U.S. Operating Lenders in respect of
                         the period from the date of issuance of such Letter of Credit to the date of
                         expiry of such Letter of Credit (including the first day but excluding the
                         last day) and divided by 360 days, a fee equal to the Applicable Margin in
                         effect at the time of issuance multiplied by the face amount of such Letter
                         of Credit multiplied by the number of days in such period and divided by
                         360 days, payable on the date of issuance of such Letter of Credit; and

                  (ii)   in respect of each Letter of Credit, in addition to the fees referred to in
                         Section 4.6.1(c), fees generally applicable to Letters of Credit from time to

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                         time (such as issuance, drawing, registration, amendment, communication
                         and other processing and out of pocket fees) at the Issuing Bank’s usual
                         rates, payable to the Issuing Bank for its own account.

                  Each fee referred to in this Section in respect of a Letter of Credit shall be paid in
                  U.S. Dollars; and

         (d)      an unused commitment fee with respect to the unused portion of the U.S.
                  Operating Facility calculated in U.S. Dollars on a daily basis as being the
                  difference between (i) the U.S. Operating Facility Commitment and (ii) the
                  Outstanding Advances under the U.S. Operating Facility, multiplied by the
                  Applicable Margin and divided by 360 days which standby fee shall be payable
                  quarterly in arrears on the last day of each Fiscal Quarter.

         4.6.2    With respect to any Availment Option under the U.S. Operating Facility,
         “Applicable Margin” means, in respect of any Fiscal Quarter, the percentage in the
         column relating to such Availment Option which corresponds to the Net Leverage Ratio
         as determined pursuant to Section 5.1.4.

4.7      Letters of Credit

         4.7.1    Letters of Credit may be issued under the U.S. Operating Facility in U.S. Dollars
         (or such other currencies as may be agreed to by the Agent and by the applicable Issuing
         Bank); provided, that the Equivalent Amount expressed in U.S. Dollars of the aggregate
         face amount of all Letters of Credit outstanding under the U.S. Operating Facility at any
         time may not exceed U.S. $5,000,000. Each Letter of Credit shall have an expiry date not
         exceeding the earlier of (a) one year from the date of issuance thereof (subject to any
         customary auto-renewal terms contained in such Letter of Credit; provided, that such
         auto-renewal provisions do not provide for a renewal in the singular instance in excess of
         one year from the date of such renewal), and (b) five Business Days prior to the Facilities
         Maturity Date.

         4.7.2    Each request for the issuance of a Letter of Credit shall be delivered by the U.S.
         Borrower to the Issuing Bank (with a copy to the Agent) in accordance with the notice
         requirements set out in Section 5.4 herein, together with Issuing Bank’s customary form
         of application and indemnity agreement completed to its satisfaction and the proposed
         form of the Letter of Credit (which shall be satisfactory to the Issuing Bank) and such
         other certificates, documents and other papers and information as the Issuing Bank may
         reasonably request.

         4.7.3     On the date of issue, the Issuing Bank will complete and issue one or more
         Letters of Credit in favour of the beneficiary as specified by the U.S. Borrower in its
         Drawdown Request. No Letter of Credit shall require payment against a conforming draft
         to be made thereunder on the same Business Day upon which such draft is presented, if
         such presentation is made after 11:00 a.m. (New York time) on such Business Day. Prior
         to the issue date, the U.S. Borrower shall specify a precise description of the documents
         and the verbatim text of any certificate to be presented by the beneficiary prior to payment

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         under the Letter of Credit. The Issuing Bank may require changes in any such documents
         or certificate, acting reasonably. In determining whether to pay under a Letter of Credit,
         the Issuing Bank shall be responsible only to determine that the documents and
         certificates required to be delivered under such Letter of Credit have been delivered and
         that they comply on their face with the requirements of such Letter of Credit.

         4.7.4     In the event of any request for a drawing under any Letter of Credit, the Issuing
         Bank may notify the U.S. Borrower (with a copy of the notice to the Agent) on or before
         the date on which it intends to honour such drawing. The U.S. Borrower (whether or not
         such notice is given) shall reimburse the Issuing Bank within one Business Day of
         demand by the Issuing Bank, an amount, in same day funds, equal to the amount of such
         drawing. The U.S. Borrower shall pay to the Issuing Bank interest on the amount of any
         such drawn Letter of Credit as if such drawn amount was a U.S. Dollar Prime Rate Loan
         from the date such Letter of Credit is drawn upon until such time as the U.S. Borrower
         reimburses the Issuing Bank for the drawn amount of such Letter of Credit. If the U.S.
         Borrower does not reimburse the Issuing Bank within such two Business Days, U.S.
         Operating Lenders shall, on the third Business Day following the date of such initial
         demand on the U.S. Borrower by the Issuing Bank, at the request of the Issuing Bank,
         provide its Proportionate Share of the amount drawn under any such Letter of Credit and
         the Agent shall apply the proceeds thereof to the reimbursement of the Issuing Bank for
         the amount of such drawing. The U.S. Borrower shall pay to U.S. Operating Lenders
         interest on the amount of any such drawn Letter of Credit from the date the Issuing Bank
         requests payment from each of U.S. Operating Lenders in respect of such drawn Letter of
         Credit until such time as the U.S. Borrower reimburses the Issuing Bank and each of U.S.
         Operating Lenders for the drawn amount of such Letter of Credit which has been drawn
         upon as if such drawn amount was a U.S. Dollar Base Rate Loan. Each U.S. Operating
         Lender acknowledges and agrees that its obligation to acquire participations in each
         Letter of Credit issued by the Issuing Bank and its obligation to make the payments
         specified herein, and the right of the Issuing Bank to receive the same, in the manner
         specified herein, are absolute and unconditional and shall not be affected by any
         circumstance whatsoever, including the occurrence and continuance of a Default or Event
         of Default hereunder, and that each such payment shall be made without any offset,
         abatement, withholding or reduction whatsoever.

         4.7.5    The Issuing Bank shall notify each the Agent of the principal amount, the
         number, and the expiration date of each Letter of Credit and upon receipt of such
         information, the Agent shall notify each U.S. Operating Lender of the amount of such
         U.S. Operating Lender’s participation therein. The Issuing Bank shall review each draft
         and any accompanying documents presented under a Letter of Credit and shall notify the
         Agent of any such presentment and upon receipt of such information, the Agent shall
         notify each U.S. Operating Lender of such presentment.

         4.7.6    The Issuing Bank shall not be obligated to issue any Letter of Credit (i) in
         violation of any Applicable Law or policy of such Issuing Bank or any Lender or (ii) if
         any order, judgment or decree of any Governmental Authority or arbitrator shall by its
         terms purport to enjoin or restrain the Issuing Bank from issuing such Letter of Credit.
         The Issuing Bank shall not at any time be obligated to issue any Letter of Credit if such

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         issuance would conflict with, or cause the Issuing Bank to exceed any limits imposed by,
         this Agreement or any applicable requirements of Applicable Law or any regulatory or
         internal limit.

                                            ARTICLE 5
                                        GENERAL CONDITIONS

5.1      Matters relating to Interest and Fees

         5.1.1    Unless otherwise indicated, Interest on any outstanding principal amount
         hereunder shall be calculated daily and shall be payable monthly in arrears on the last day
         of each and every month. If the last day of a month is not a Business Day, the Interest
         payment due on such day shall be made on the next Business Day, and Interest shall
         continue to accrue on the said principal amount and shall also be paid on such next
         Business Day. Interest shall accrue from and including the day upon which an Advance is
         made or is deemed to have been made, and ending on but excluding the day on which
         such Advance is repaid or satisfied. Any change in the Canadian Prime Rate shall cause
         an immediate adjustment of the interest rate applicable to Canadian Dollar Prime Rate
         Loans and Overdrafts in Canadian Dollars and any change in the U.S. Base Rate shall
         cause an immediate adjustment of the interest rate applicable to U.S. Dollar Base Rate
         Loans and Overdrafts in U.S. Dollars, in each case without the necessity of any notice to
         any Borrower.

         5.1.2     Unless otherwise stated, in this Agreement if reference is made to a rate of
         Interest, fee or other amount “per annum” or a similar expression is used, such interest,
         fee or other amount shall be calculated on the basis of a year of 365 or 366 days (or 360
         days in the case of Loans or Letters of Credit denominated in U.S. Dollars), as the case
         may be. If the amount of any Interest, fee or other amount is determined or expressed on
         the basis of a period of less than one year of 365 days or 366 days (or 360 days in the case
         of Loans denominated in U.S. Dollars), as the case may be, the equivalent yearly rate is
         equal to the rate so determined or expressed, divided by the number of days in the said
         period, and multiplied by the actual number of days in that calendar year.

         5.1.3         Notwithstanding any other provisions of this Agreement:

         (a)      the Borrowers and the Lenders intend to strictly comply with all Applicable Laws,
                  including applicable usury laws (or the usury laws of any jurisdiction whose usury
                  laws are deemed to apply to this Agreement and the other Credit Documents
                  despite the intention and desire of the parties to apply the usury laws of the
                  Province of Alberta and the federal laws applicable therein);

         (b)      in no event shall any Borrower or any other Person be obligated to pay, or any
                  Lender have any right or privilege to reserve, receive or retain, (a) any interest in
                  excess of the maximum amount of nonusurious interest permitted under the laws
                  of the Province of Alberta the federal laws of Canada applicable therein, or the
                  Applicable Laws of any other jurisdiction, or (b) total interest in excess of the
                  amount which such Lender could lawfully have contracted for, reserved, received,

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                  retained or charged had the interest been calculated for the full term of the
                  applicable Loan; and

         (c)      if the amount of any interest, premium, fees or other monies or any rate of interest
                  stipulated for, taken, reserved or extracted under the Credit Documents would
                  otherwise contravene the provisions of Section 347 of the Criminal Code
                  (Canada), Section 8 of the Interest Act (Canada) or any successor or similar
                  legislation (including any usury law in the U.S.), or would exceed the amounts
                  which any Lender is legally entitled to charge and receive under any law to which
                  such compensation is subject, then such amount or rate of interest shall be reduced
                  to such maximum amount as would not contravene such provision; and to the
                  extent that any excess has been charged or received such Lender shall apply such
                  excess against the Outstanding Advances and refund any further excess amount to
                  the applicable Borrower.

         As used in this Section 5.1.3, the term “interest” includes the aggregate of all charges,
         fees, benefits or other compensation which constitute interest under Applicable Law;
         provided, that, to the maximum extent permitted by Applicable Law, (a) any
         non-principal payment shall be characterized as an expense or as compensation for
         something other than the use, forbearance or detention of money and not as interest, and
         (b) all interest at any time contracted for, reserved, charged or received shall be
         amortized, prorated, allocated and spread, using the actuarial method, during the full term
         of the Facilities. The daily interest rates to be used in calculating interest for the purposes
         of this Section 5.1.3 shall be determined by dividing the applicable interest rate per
         annum by the number of days in the calendar year for which such calculation is being
         made. None of the terms and provisions contained in this Agreement or in any other
         Credit Document which directly or indirectly relate to interest shall ever be construed
         without reference to this Section 5.1.3, or be construed to create a contract to pay for the
         use, forbearance or detention of money at any interest rate in excess of the amounts
         permitted under any Applicable Law.

         The provisions of this Section shall govern and control over every other provision of this
         Agreement or any other Credit Document which conflicts or is inconsistent with this
         Section 5.1.3.

         5.1.4    Any change in the Applicable Margin in respect of any Availment Option under
         a Facility shall be determined in accordance with this Section. For purposes of this
         Section, the term “Pricing Date” means, for any Fiscal Quarter of the Canadian Borrower
         ending on or after the Amendment and Restatement Date, the date on which the Agent is
         in receipt of the financial statements and Compliance Certificate pursuant to Section
         7.4.1(b) or Section 7.4.1(d), as applicable, for such Fiscal Quarter. The Applicable
         Margin shall be established on a Pricing Date based on the Net Leverage Ratio as of the
         end of the most recently completed Fiscal Quarter and the Applicable Margin established
         on a Pricing Date shall remain in effect until the next Pricing Date. If the financial
         statements and Compliance Certificate are delivered before 10:00 a.m. Toronto time on a
         specific Business Day (the “Specific Business Day”) then pricing will be adjusted
         starting on the Specific Business Day. If the financial statements and Compliance

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         Certificate are received after 10:00 a.m. Toronto time on the Specific Business Day then
         any pricing adjustment will be effective on the next Business Day. If the Canadian
         Borrower has not delivered its financial statements and Compliance Certificate by the
         date such financial statements and Compliance Certificate are required to be delivered
         pursuant to Section 7.4.1(b) or Section 7.4.1(d), as applicable, then until such financial
         statements and Compliance Certificate are delivered, the Applicable Margin shall be
         based on Level VI. The Applicable Margin established by such financial statements shall
         be in effect from the Pricing Date that occurs immediately after the end of the Fiscal
         Quarter covered by such financial statements until the next Pricing Date; provided, that
         no changes will be made in respect of any Bankers’ Acceptances or BA Equivalent Loans
         which are outstanding on the effective date, until the Rollover thereof and fees paid on
         the issuance or renewal of a Letter of Credit will not change during the term of a Letter of
         Credit as a result of a change in the Net Leverage Ratio.

         5.1.5   The determination of the Applicable Margin by the Agent shall be conclusive
         and binding on the Borrowers and the Lenders if reasonably determined, absent manifest
         error.

         5.1.6     Effective upon the occurrence of an Event of Default (the “effective date”), the
         interest rates then applicable to all Availment Options will each increase by 200 basis
         points and such increase will remain in effect for as long as such Event of Default
         subsists. An increase in interest rates and fees as aforesaid arising from an Event of
         Default shall apply to all outstanding Advances under the Facilities and will on the
         effective date apply proportionately to each outstanding Advance during the continuance
         of such Event of Default. The Borrowers will pay to the Agent on behalf of the Lenders
         any resulting increase in stamping fees and Letter of Credit fees on or prior to the third
         Business Day following the effective date. In addition to the conditions set forth above,
         the Lenders’ obligation to provide any Advances under any Facility, other than Rollovers
         or Conversions of then maturing Advances (in each case not to exceed a 30 day term),
         will be suspended for as long as there exists an Event of Default.

         5.1.7      If the Canadian Borrower has delivered a Compliance Certificate that is
         subsequently found to be inaccurate in any way as a result of the Canadian Borrower’s
         financial results having to be restated or if the Canadian Borrower’s financial results were
         inaccurately reflected in the original financial results on which such Compliance
         Certificate was based or for any other reason and the result thereof is that the Net
         Leverage Ratio was originally reported as lower (and the corresponding Level in the
         Applicable Margin table was lower) than it otherwise would have been in the absence of
         such inaccuracy or prior to such restatement, then the Borrowers will, immediately upon
         the correction of such inaccuracy or upon such restatement, pay to the Agent for the
         benefit of the applicable Lenders an amount equal to the interest, Letter of Credit fees,
         stamping fees in respect of Bankers’ Acceptances and standby fees that the Lenders
         should have received, but did not receive, over the applicable period had the Net
         Leverage Ratio, and the underlying components thereof, been reported correctly in the
         first instance.



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5.2      Voluntary Prepayments

       Subject to Section 5.15, the Borrowers may from time to time, without payment of any
penalty or fee, upon at least two Business Days’ prior written notice to the Agent make a
prepayment in respect of any Outstanding Advances under any of the Facilities. In the case of
Term Facility, the Term Facility Commitment shall be automatically and permanently reduced by
the amount of any such prepayment. Notwithstanding the foregoing, Bankers’ Acceptances, BA
Equivalent Loans and LIBOR Loans may not be repaid prior to the maturity thereof (except in
accordance with Sections 5.11 and 5.14, as applicable) and unexpired Letter of Credits may not
be prepaid prior to the maturity thereof (except by the return of the original thereof to the Issuing
Bank or Swingline Lender, as applicable, for cancellation or by the collateralization thereof in the
manner set forth in Section 5.16(f)). Prepayments under the Facilities other than under the
Swingline shall be in a minimum principal amount of U.S. $500,000 and integral multiples of
U.S. $100,000 in excess thereof and shall be applied as directed by the Borrowers to the
remaining payments thereof. Any prepayments under the Term Facility shall be made in inverse
order of maturity.

5.3      Mandatory Prepayments

         5.3.1    If any Credit Party receives cash proceeds, or net cash proceeds in the case of
         clauses (a), (b) and (c) below, from:

         (a)      a transaction after the Amendment and Restatement Date involving the creation or
                  incurrence of any Funded Debt (other than Permitted Funded Debt), and
                  notwithstanding any Default or Event of Default that results therefrom;

         (b)      transactions involving the sale, lease or other disposition of any assets (other than
                  transactions described in clauses (a) through (d) inclusive and (f) through (j)
                  inclusive of Section 7.2.4), except where such proceeds are reinvested in the
                  business of any Credit Party within the applicable time period permitted in
                  accordance with Section 5.3.2 (the “Sales Proceeds”); or

         (c)      property, casualty or other insurance proceeds received by any Credit Party,
                  except where such proceeds are reinvested in the business of any Credit Party
                  within the applicable time period permitted in accordance with Section 5.3.2 (the
                  “Insurance Proceeds”); and/or

         (d)      Specified Equity Contribution;

         then, subject to Sections 5.3.2 and 8.6, the Borrowers shall make a Repayment on account
         of the Outstanding Advances in an amount equal to 100% of such proceeds, or net cash
         proceeds in the case of clauses (a), (b) and (c) above, within three Business Days (i) after
         such proceeds are received by the applicable Credit Party in the case of clauses (a) and (d)
         above, (ii) within three Business Days of the expiry of the applicable reinvestment period
         set out in Section 5.3.2 after such proceeds are received by the applicable Credit Party in
         the case of clause (b) above and within three Business Days of the expiry of the insurance
         proceeds reinvestment period described in Section 5.3.2(a) after such proceeds are

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         received by the applicable Credit Party in the case of clause (c) above. As used herein,
         “net cash proceeds” in respect of any such transaction means the gross amount payable to
         the applicable Credit Party in cash in respect of such transaction less (i) any sales
         commissions, selling expenses, brokers’ fees, consulting fees, legal fees, other costs and
         expenses of the transaction actually incurred, investment banking fees, accountants’ fees,
         consulting fees, underwriting discounts and commissions and other customary fees and
         expenses actually incurred, (ii) amounts required to be applied to the repayments of
         Funded Debt, (including the principal amount, premium or penalty, if any, interest and
         other amounts required to be applied to the repayment of any Funded Debt secured by a
         Lien (including because the asset sold is removed from a borrowing base supporting such
         Funded Debt)), (iii) taxes payable in connection with the transaction, (iv) usual and
         reasonable adjustments in connection with the transaction and, including the amount of
         any liability paid or to be paid or reasonable reserve established in accordance with
         GAAP against any liabilities associated with the assets that are the subject of such event
         and retained by the Canadian Borrower or any of its Subsidiaries, and (v) any other
         amount specifically approved by the Agent in writing.

         5.3.2    The Sales Proceeds or Insurance Proceeds, as applicable, need not be used by the
         Credit Parties to make a repayment under Section 5.3.1 and may be used by a Credit Party
         to purchase assets of the general type then used in the operation of an Eligible Line of
         Business, or, provided no Default (unless such repayment would cure any such Default)
         or Event of Default exists at such time, in the case of:

         (a)      Insurance Proceeds (i) of insured claims that do not exceed in the aggregate in any
                  one Fiscal Year $7,500,000 or (ii) are used to repair or replace the property in
                  respect of which such Insurance Proceeds were received, if such purchase, repair
                  or replacement occurs within twelve (12) months of the receipt of such proceeds,
                  subject to an extension of up to a further six (6) months to complete such
                  reinvestment; provided, that the Credit Party is contractually bound to such
                  reinvestment prior to the expiry of the initial twelve (12) months period; or

         (b)      Sales Proceeds (i) arising from any single transaction or series of related
                  transactions that do not exceed in the aggregate in any one Fiscal Year $3,000,000
                  or (ii) are used or useful by a Credit Party to purchase assets of the general type
                  then used in the operation of an Eligible Line of Business, within nine (9) months
                  of the receipt of such proceeds, subject to an extension of up to a further three (3)
                  months to complete such reinvestment; provided, that the Credit Party is
                  contractually bound to such reinvestment prior to the expiry of the initial nine (9)
                  period.

         In connection with the foregoing, the Agent and the Lenders may rely upon and assume
         the correctness of all asset values and other statements contained in any certificate
         provided by an officer of the Canadian Borrower confirming the value of the relevant
         assets.

         5.3.3  Repayments under this Section 5.3 are to be applied first to Outstanding
         Advances under the Term Facility until they have been fully repaid, and then to

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         Outstanding Advances under the Operating Facilities, as directed by the Canadian
         Borrower, or failing such direction, pro rata between the Operating Facilities.
         Repayments under the Facilities under this Section 5.3 shall be applied in inverse order of
         maturity and will be made pro rata to each Lender under the applicable Facility.

         5.3.4     If as a result of currency rate fluctuation, the Outstanding Advances under the
         Canadian Operating Facility exceeds the Canadian Operating Facility Limit by at least 3%
         thereof (in each case, a “Currency Excess”), the Borrowers will, by the earlier of (a) five
         (5) Business Days after a written request from the Agent, and (b) the next date of a
         Rollover or Conversion, pay the applicable Currency Excess to the Agent as a Repayment
         for the benefit of the Canadian Operating Lenders to be shared on the basis of each
         applicable Lender’s Proportionate Share under the Canadian Operating Facility. If to pay
         a Currency Excess it is necessary to repay an Advance made by way of Bankers’
         Acceptance or a LIBOR Loan prior to the maturity date thereof, the Borrowers will not be
         required to repay such Advances until the maturity date applicable thereto; provided,
         however, that at the request of the Agent, the Borrowers will forthwith pay the Currency
         Excess to the Agent for deposit into a cash collateral account maintained by and in the
         name of the Agent for the benefit of the Canadian Operating Lenders. The Currency
         Excess will be held by the Agent for set off against future obligations owing by the
         Borrowers to the Canadian Operating Lenders in respect of such Currency Excess, if any,
         and, pending such application, such amounts will bear interest for the Borrowers’ account
         at the rate payable by the Agent in respect of deposits of similar amounts and for similar
         periods of time. The Agent shall have exclusive control over all amounts at any time on
         deposit in such cash collateral account. The deposit of the Currency Excess by the
         Borrowers with the Agent as herein provided will not operate as a Repayment under the
         Canadian Operating Facility until such time as the Currency Excess is actually paid to the
         Canadian Operating Lenders as a Repayment. If the Borrowers are required to provide a
         deposit under this Section 5.3.4 as a result of the Currency Excess with respect to an
         unmatured Bankers’ Acceptance or a LIBOR Loan, and such Currency Excess (or any
         portion thereof) is no longer in effect on the maturity date of such Bankers’ Acceptance or
         LIBOR Loan, such deposit (or the applicable portion thereof) shall be returned to the
         Borrowers within three Business Days after the maturity date of such Bankers’
         Acceptance or LIBOR Loan.

         5.3.5    If the aggregate Outstanding Advances under the Facilities, is at any time greater
         than the then applicable Borrowing Base (the amount of such excess being a “Borrowing
         Base Shortfall”), one or all of the Borrowers shall within three (3) Business Days repay
         such portion of the Outstanding Advances under the Operating Facilities to the Agent for
         the Canadian Operating Lenders as is required to eliminate such Borrowing Base
         Shortfall. The Agent will apply such payments (a) against the Term Facility and (b)
         thereafter, pro rata amongst the Canadian Operating Facility and the U.S. Operating
         Facility and in the following order: (i) first against Canadian Dollar Prime Rate Loans,
         U.S. Dollar Base Rate Loans, U.S. Dollar Prime Rate Loans, (ii) second to collateralize
         Bankers’ Acceptances as provided in Section 5.11, (iii) third to repay LIBOR Loans,
         subject to Section 5.14, and (iv) fourth to collateralize Letters of Credit as provided in
         Section 5.16(f), until any such Borrowing Base Shortfall has been eliminated. If the
         Borrowers are required to provide cash collateral under this Section 5.3.5 as a result of a

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         Borrowing Base Shortfall, such amount shall be returned to the Borrowers within three
         (3) Business Days after such Borrowing Base Shortfall is no longer continuing.

         5.3.6     If any Credit Party receives net cash proceeds from any Anchor Sale and
         Leaseback Transaction, then the Borrowers shall make a Repayment on account of the
         Outstanding Advances under the Operating Facilities in an amount equal to 100% of such
         net cash proceeds within five Business Days after such proceeds are received by the
         applicable Credit Party. As used herein, “net cash proceeds” has the same meaning
         ascribed thereto in Section 5.3.1. Repayments under this Section 5.3.6 are to be applied to
         Outstanding Advances under the Operating Facilities on a pro rata basis. Repayments
         under this Section 5.3.6 shall not result in a permanent reduction of any Operating
         Facility.

5.4      Notice Periods

         5.4.1   The Borrowers shall provide written notice to the Agent in respect of Advances,
         Rollovers, Conversions and Repayments to the extent set out below:

         (a)      no notice is required for Advances and Repayments in respect of Overdrafts under
                  the Swingline;

         (b)      notice is required for each voluntary Repayment under any Facility in accordance
                  with Section 5.2;

         (c)      except as provided in clauses (a) and (b) above, but subject to (d), (e) and (f)
                  below, one Business Days’ notice is required before 10:00 a.m. Toronto time in
                  respect of any Advance, Rollover, Conversion or voluntary Repayment in
                  Canadian Dollars or in U.S. Dollars;

         (d)      notwithstanding the foregoing, if an Advance, Rollover, Conversion or voluntary
                  Repayment relates to a Bankers’ Acceptance or BA Equivalent Loan, two
                  Business Days’ notice is required before 10:00 a.m. Toronto time;

         (e)      notwithstanding the foregoing, if an Advance, Rollover, Conversion or voluntary
                  Repayment relates to a LIBOR Loan, three Business Days’ notice is required
                  before 10:00 a.m. Toronto time; and

         (f)      notwithstanding the foregoing, if an Advance relates to the issuance of a Letter of
                  Credit, (i) if issued to a beneficiary located in Canada or the U.S., three Business
                  Days’ notice is required before 10:00 a.m. Toronto time and (ii) if issued to a
                  beneficiary located outside of Canada or the U.S., five (5) Business Days’ notice
                  is required before 10:00 a.m. Toronto time.

         5.4.2    Notice of any Advance, Rollover, Conversion or voluntary Repayment referred
         to in Section 5.4.1 above shall be given in the form of a Drawdown Request, Rollover
         Notice, Conversion Notice or Repayment Notice, as the case may be, attached hereto as
         Exhibits, and shall be given to the Agent at its address set out in Section 13.11.


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         5.4.3   If notice is not provided as contemplated herein with respect to the maturity of
         any Bankers’ Acceptance, BA Equivalent Loan and LIBOR Loan the Agent may convert
         such Bankers’ Acceptance, BA Equivalent Loan or LIBOR Loan upon its maturity into a
         Canadian Dollar Prime Rate Loan or a U.S. Dollar Base Rate Loan, as applicable.

         5.4.4     Any Conversion from one form of Availment Option to another shall be subject
         to satisfaction of all terms and conditions applicable to the form of the new Availment
         Option.

5.5      Minimum Amounts, Multiples and Procedures re Advances, Conversions and
         Repayments

         5.5.1    Each request by a Borrower for an Advance or Conversion in the form of a
         Canadian Dollar Prime Rate Loan shall be in a minimum amount of Cdn. $500,000 and
         multiples of Cdn. $100,000 thereafter.

         5.5.2   Each request of a Borrower for an Advance or Conversion in the form of a U.S.
         Dollar Base Rate Loan shall be in a minimum amount of U.S. $500,000 and multiples of
         U.S. $100,000 thereafter.

         5.5.3   Each request by a Borrower for an Advance or Conversion in the form of a
         Bankers’ Acceptance or BA Equivalent Loan shall be in a minimum amount of Cdn.
         $500,000 and multiples of Cdn. $100,000 thereafter.

         5.5.4    Each request by a Borrower for an Advance or Conversion in the form of a
         LIBOR Loan in U.S. Dollars shall be in a minimum amount of U.S. $500,000 and in a
         multiple of U.S. $100,000 thereafter.

         5.5.5    Conversions or Rollovers under the Term Facility can be in such lesser amounts
         as are necessary to give effect to the principal repayments under the Term Facility
         required pursuant to Sections 3.4, 5.3.1 and 5.3.2.

         5.5.6    Upon receipt of a Drawdown Request under any Facility, the Agent shall
         promptly notify each Lender under such Facility of the contents thereof and such Lender’s
         Proportionate Share of the Advance. Such Drawdown Request shall not thereafter be
         revocable.

         5.5.7    Each Advance shall be made by the applicable Lenders to the Agent at its
         address referred to in Section 13.11 or such other address as the Agent may designate by
         notice in writing to the Lenders from time to time. Each Lender shall make available its
         Proportionate Share of each said Advance to the Agent. Unless the Agent determines that
         any condition of the Advance has not been satisfied or waived, the Agent shall make the
         funds so received from the Lenders available to the applicable Borrower by 2:00 p.m.
         (Toronto time) on the requested date of the Advance. No Lender shall be responsible for
         any other Lender’s obligation to make available its Proportionate Share of the said
         Advance.



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         5.5.8    Each Borrower agrees to deliver to the Agent in favour of any requesting Lender
         such other agreements and documentation as such Lender may reasonably require (not
         inconsistent with this Agreement and upon at least two (2) Business Days’ prior written
         notice) in respect of such Lender’s requirements for the acceptance of Bankers’
         Acceptances or the issuance of BA Equivalent Loans.

         5.5.9     All payments of principal, interest and other amounts made by the Credit Parties
         to the Agent in respect of the Outstanding Advances under a Facility shall be paid by the
         Agent to the Lenders in accordance with their respective Proportionate Shares of the
         Outstanding Advances under such Facility. For greater certainty, however, (a) stamping
         fees in respect of Bankers’ Acceptances and BA Equivalent Loans shall be received and
         retained by the respective Lenders which issued or accepted such Bankers’ Acceptances
         and BA Equivalent Loans and (b) in the event that any payments of principal, interest and
         other amounts made by the Credit Parties to the Agent instead of to the Swingline Lender
         in respect of the Outstanding Advances under the Swingline, any such payments shall be
         paid by the Agent to the Swingline Lender.

5.6      Place of Advances and Repayments

         5.6.1    Advances by any Lender to a Borrower shall be made by such Lender to the
         Agent from such Lender’s applicable Lending Office. All payments of principal, interest
         and other amounts to be made by the Borrowers and the other Credit Parties pursuant to
         this Agreement shall be made to the Agent at its address noted in Section 13.11 or to such
         other address at a major city in Canada as the Agent may direct in writing from time to
         time. All such payments received by the Agent on a Business Day before 2:00 p.m.
         (Toronto time) shall be treated as having been received by the Agent on that day;
         payments made after such time on a Business Day shall be treated as having been
         received by the Agent on the next Business Day.

         5.6.2    Whenever any payment or the performance of any covenant, duty or other
         obligation shall be due on (or required within a time period ending on) a day which is not
         a Business Day, the date for payment or performance thereof shall be extended to the next
         succeeding Business Day. Interest shall continue to accrue and be payable thereon as
         provided herein, until the date on which such payment is received by the Agent.

5.7      Evidence of Obligations (Noteless Advances)

        The Agent shall open and maintain, in accordance with its usual practice, accounts
evidencing the Obligations; and the information entered in such accounts shall constitute
conclusive evidence of the Obligations absent manifest error. The Agent may, but shall not be
obliged to, request the Borrowers to execute and deliver from time to time such promissory notes
as may be required as additional evidence of the Obligations; provided, that no promissory notes
shall be required in respect of any Hedging Agreements or Banking Services Agreements.

5.8      Determination of Equivalent Amounts

      Whenever it is necessary or desirable at any time to determine the Equivalent Amount in
Canadian Dollars of an amount expressed in U.S. Dollars, or vice-versa (specifically including
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the determination of the Equivalent Amount in Canadian Dollars of an Advance made in U.S.
Dollars (as applicable), the determination of each Lender’s Proportionate Share of any
Repayment on any date, and the determination of whether the Outstanding Advances under any
Facility exceed the limit applicable to such Facility at any time), the Equivalent Amount shall be
determined by reference to the Exchange Rate on the date of such determination.
Notwithstanding the foregoing, however, for the purposes of determining any Letter of Credit
fees under the Canadian Operating Facility or the standby fees applicable to the Canadian
Operating Facility, the Agent shall make such determination based upon the Bank of Canada
noon spot rate on the first Business Day of each quarter for such quarter as the case may be.

        If any basket used hereunder is exceeded solely as a result of fluctuations in applicable
currency exchange rates after the last time such basket was utilized, such basket will not be
deemed to have been exceeded solely as a result of such fluctuations in currency exchange rates.
For purposes of determining the Net Leverage Ratio, amounts denominated in a currency other
than U.S. Dollars will be converted to U.S. Dollars for the purposes of (A) testing the financial
covenant under Section 7.3.1(a), at the Exchange Rate as of the last day of the Fiscal Quarter for
which such measurement is being made, and (B) calculating any Net Leverage Ratio (other than
for the purposes of determining compliance with Section 7.3.1(a)), at the Exchange Rate as of the
date of calculation, and will, in the case of Funded Debt, reflect the currency translation effects,
determined in accordance with GAAP, of Hedging Agreements permitted hereunder for currency
exchange risks with respect to the applicable currency in effect on the date of determination of
the Equivalent Amount in U.S. Dollars of such Funded Debt.

5.9      Commitment to Purchase Bankers’ Acceptances and BA Equivalent Loans

         5.9.1    Each BA Lender which is a bank listed in Schedule I of the Bank Act (Canada)
         agrees to purchase those Bankers’ Acceptances which it has accepted, at a discount from
         the face amount thereof calculated at the CDOR Rate for the relevant period in effect on
         the issuance date thereof.

         5.9.2    Each BA Lender which is a bank listed in Schedule II or Schedule III of the
         Bank Act (Canada) agrees to purchase those Bankers’ Acceptances which it has accepted,
         at a discount from the face amount thereof calculated using a rate not in excess of the
         CDOR Rate for the relevant period in effect on the issuance date thereof plus up to
         one-tenth of one percent (0.10%).

         5.9.3    Each Non-BA Lender agrees to purchase BA Equivalent Loans issued by it
         hereunder at a discount from the face amount thereof calculated using a rate not in excess
         of the CDOR Rate plus up to one tenth of one percent (0.10%) for the relevant period in
         effect on the issuance date thereof.

         5.9.4     The discount applicable to each Bankers’ Acceptances and BA Equivalent Loan
         shall be determined on the basis of a year of 365 days.

5.10     Special Provisions Regarding Bankers’ Acceptances

      The following provisions are applicable to Bankers’ Acceptances issued by the Canadian
Borrower and accepted by any BA Lender hereunder.
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         5.10.1 Payment of Bankers’ Acceptances. The Canadian Borrower agrees to provide for
         each Bankers’ Acceptance by payment of the face amount thereof to the Agent on behalf
         of the BA Lender on the maturity of the Bankers’ Acceptance or, prior to such maturity,
         on the Acceleration Date; and the Agent shall remit the said amount to such BA Lender
         and such BA Lender shall in turn remit such amount to the holder of the Bankers’
         Acceptance. If the Canadian Borrower fails to provide for the payment of the Bankers’
         Acceptance accordingly, any amount not so paid shall be immediately payable by the
         Canadian Borrower to the Agent on behalf of the BA Lender together with interest on
         such amount calculated daily and payable monthly at the rate and in the manner
         applicable to Canadian Dollar Prime Rate Loans under the Facility under which such
         Bankers’ Acceptance was issued. The Canadian Borrower agrees not to claim any days of
         grace for the payment at maturity of any Bankers’ Acceptance and agrees to indemnify
         and save harmless the BA Lender in connection with all payments made by the BA
         Lender (or by the Agent on its behalf) pursuant to Bankers’ Acceptances accepted by the
         BA Lender, together with all reasonable costs and expenses incurred by the BA Lender in
         this regard. The Canadian Borrower hereby waives any defences to payment which might
         otherwise exist if for any reason a Bankers’ Acceptance is held by the BA Lender for its
         own account at maturity.

         5.10.2 Availability of Bankers’ Acceptances. If at any time and from time to time the
         Agent determines, acting reasonably, that there no longer exists a market for Bankers’
         Acceptances for the term requested by the Canadian Borrower, or at all, or if any BA
         Lenders representing no less than 35% of the Commitments advise the Agent in writing
         that the CDOR Rate will not or does not accurately reflect the cost of funds of such BA
         Lender, the Agent shall so advise the Canadian Borrower, and in such event the BA
         Lenders shall not be obliged to accept and the Canadian Borrower shall not be entitled to
         issue Bankers’ Acceptances. If such notice is given and there is any outstanding
         Drawdown Request, Rollover Notice or Conversion Notice requesting an Advance by
         way of, or a Rollover or Conversion into, a Bankers’ Acceptance at such a time, then such
         request will be deemed to be a request for, or a Rollover or Conversion into, a Canadian
         Dollar Prime Rate Loan.

         5.10.3 Power of Attorney. The Canadian Borrower hereby appoints each BA Lender as
         its true and lawful attorney to complete and issue Bankers’ Acceptances on behalf of the
         Canadian Borrower in accordance with written (including facsimile) transmitted
         instructions provided by the Canadian Borrower to the Agent on behalf of such BA
         Lender, and the Canadian Borrower hereby ratifies all lawful acts that its said attorney
         may do by virtue thereof. The Canadian Borrower agrees to indemnify and hold harmless
         the Agent and the BA Lenders and their respective directors, officers and employees from
         and against any charges, complaints, costs, damages, expenses, losses or liabilities of any
         kind or nature which they may incur, sustain or suffer, arising from or by reason of acting,
         or failing to act, as the case may be, in reliance upon this power of attorney, except to the
         extent caused by the gross negligence or willful misconduct of the Agent or the BA
         Lender or their respective directors, officers and employees. The Canadian Borrower
         hereby agrees that each Bankers’ Acceptance completed and issued and accepted in
         accordance with this Section by a BA Lender on behalf of the Canadian Borrower is a
         valid, binding and negotiable instrument of the Canadian Borrower as drawer and

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         endorser. The Canadian Borrower agrees that each BA Lender’s accounts and records will
         constitute prima facie evidence of the execution and delivery by the Canadian Borrower
         of Bankers’ Acceptances. This power of attorney is coupled with an interest and shall
         continue in force until written notice of revocation with respect to any BA Lender has
         been served upon the Agent by the Canadian Borrower at the Agent’s address set out in
         Section 13.11.

         5.10.4 Repayment Prior to Maturity. The Canadian Borrower acknowledges that
         Advances made by a Lender by way of Bankers’ Acceptances and BA Equivalent Loans
         may not be repaid prior to the maturity thereof. If any Bankers’ Acceptance or BA
         Equivalent Loan is repaid prior to the scheduled maturity date hereof (whether as a result
         of Section 2.3 or Section 10.2 or otherwise), the Canadian Borrower will forthwith pay to
         the Agent for deposit into an escrow account maintained by and in the name of the Agent
         for the benefit of the applicable Lenders the principal amount of such Bankers’
         Acceptance or BA Equivalent Loan and the Agent will in its discretion invest any funds
         in respect of such purported repayment in a term deposit maturing on the scheduled
         maturity date of the Bankers’ Acceptance or BA Equivalent Loan. Any interest accruing
         on the term deposit will be paid to the Canadian Borrower on the maturity date thereof;
         provided, that no Event of Default has occurred and is continuing.

         5.10.5 Depository Bills. It is the intention of the Parties that pursuant to the Depository
         Bills and Notes Act (Canada) (“DBNA”), all Bankers’ Acceptances accepted by the
         Lenders under this Agreement will be issued in the form of a “depository bill” (as defined
         in the DBNA), deposited with a “clearing house” (as defined in the DBNA), including
         The Canadian Depository for Securities Limited or its nominee CDS Clearing and
         Depository Services Inc. (“CDS”). In order to give effect to the foregoing, the Agent will,
         subject to the approval of the Canadian Borrower and the Lenders, establish and notify
         the Canadian Borrower and the Lenders of any additional procedures, consistent with the
         terms of this Agreement, as are reasonably necessary to accomplish such intention,
         including:

         (a)      any instrument held by the Agent for purposes of Bankers’ Acceptances will have
                  marked prominently and legibly on its face and within its text, at or before the
                  time of issue, the words “This is a depository bill subject to the Depository Bills
                  and Notes Act (Canada)”;

         (b)      any reference to the authentication of the Bankers’ Acceptance will be removed;
                  and

         (c)      any reference to the “bearer” will be removed and such Bankers’ Acceptances will
                  not be marked with any words prohibiting negotiation, transfer or assignment of it
                  or of an interest in it.

         5.10.6 Rounding. In the case of an issue of Bankers’ Acceptances, the Agent will round
         allocations amongst the Lenders to ensure that each Bankers’ Acceptance issued has a
         face amount which is a whole number multiple of $100,000 (and such rounded


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         allocations shall constitute the Lenders’ respective Proportionate Share for the purposes
         of this Agreement).

5.11     Escrowed Funds

        Upon the request of the Agent after the occurrence and during the continuance of an
Event of Default on the cancellation of this Agreement, or if any Outstanding Advances by way
of Bankers’ Acceptances are required to be prepaid hereunder prior to their maturity, the
Canadian Borrower will forthwith pay to the Agent for deposit into an escrow account
maintained by and in the name of the Agent for the benefit of the applicable Lenders, an amount
equal to the Lenders’ maximum potential liability under then outstanding Bankers’ Acceptances.
Such escrowed funds will be held by the Agent for set-off against future Obligations owing by
the Canadian Borrower to the applicable Lenders in respect of such Bankers’ Acceptances and
pending such application may be invested in accordance with Section 5.10.4. In the case such
Event of Default is either waived or cured in compliance with the terms of this Agreement, then
the remaining escrow funds if any, together with any accrued interest to the date of release, will
be released to the Canadian Borrower. The deposit of such escrow funds by the Canadian
Borrower with the Agent as herein provided, will not operate as a repayment of the Outstanding
Advance under the applicable Facility until such time as the escrow funds are actually paid to the
applicable Lenders as a Repayment on the applicable maturity date thereof.

5.12     Special Provisions regarding BA Equivalent Loans

        Each Non-BA Lender will not accept Bankers’ Acceptances hereunder, and shall instead
from time to time make BA Equivalent Loans to the Canadian Borrower. The amount of each BA
Equivalent Loan will be equal to the discount proceeds (based on the discount rate set forth in
Section 5.9.3 and subject to Section 5.10.6) which would be realized from a hypothetical sale of
the corresponding Bankers’ Acceptance on the basis the Lenders purchased such Bankers’
Acceptance and the maturity date of each such BA Equivalent Loan will be the same as the
maturity date of the corresponding Bankers’ Acceptance. Upon the reasonable request of a
Non-BA Lender, each BA Equivalent Loan may be evidenced by a non-interest bearing
promissory note payable by the Canadian Borrower to the Non-BA Lender in a form acceptable
to each such party, acting reasonably. Any such BA Equivalent Loan shall be negotiable by the
Non-BA Lender without notice to or the consent of the Canadian Borrower, and the holder
thereof shall be entitled to enforce such BA Equivalent Loan against the Canadian Borrower free
of any equities, defences or rights of set-off that may exist between the Credit Parties and the
Non-BA Lender. In this Agreement, all references to a BA Equivalent Loan shall mean the loan
evidenced thereby if required by the context; and all references to the “issuance” of a BA
Equivalent Loan by a Non-BA Lender and similar expressions shall mean the making of a BA
Equivalent Loan by the Non-BA Lender which is evidenced by a BA Equivalent Loan as if
applicable. The following provisions are applicable to each BA Equivalent Loan made by a
Non-BA Lender to the Canadian Borrower hereunder:

         5.12.1 Payment of BA Equivalent Loans. The Canadian Borrower agrees to provide for
         each BA Equivalent Loan by payment of the face amount thereof to the Agent on behalf
         of the Non-BA Lender on the maturity of the BA Equivalent Loan or, prior to such
         maturity, on the Acceleration Date; and the Agent shall remit the said amount to such

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         Non-BA Lender and such Non-BA Lender shall in turn remit such amount to the holder
         of the BA Equivalent Loan. If the Canadian Borrower fails to provide for the payment of
         the BA Equivalent Loan accordingly, any amount not so paid shall be immediately
         payable by the Canadian Borrower to the Agent on behalf of the Non-BA Lender together
         with interest on such amount calculated daily and payable monthly at the rate and in the
         manner applicable to Canadian Dollar Prime Rate Loans under the Facility under which
         such BA Equivalent Loan was made. The Canadian Borrower agrees not to claim any
         days of grace for the payment at maturity of any BA Equivalent Loan and agrees to
         indemnify and save harmless the Non-BA Lender in connection with all payments made
         by the Non-BA Lender (or by the Agent on its behalf) pursuant to BA Equivalent Loans
         accepted by the Non-BA Lender, together with all reasonable costs and expenses incurred
         by the Non-BA Lender in this regard. The Canadian Borrower hereby waives any
         defences to payment which might otherwise exist if for any reason a BA Equivalent Loan
         is held by the Non-BA Lender for its own account at maturity.

         5.12.2 Availability of BA Equivalent Loans. No Non-BA Lender shall have any
         obligation to issue BA Equivalent Loans during any period in which the BA Lenders’
         obligation to issue Bankers’ Acceptances is suspended pursuant to Section 5.10.2.

5.13     Special Provisions Regarding LIBOR Loans

      The following provisions are applicable to LIBOR Loans made by any Lender to the
Borrowers.

         5.13.1 Drawdown Procedures. Upon receipt by the Agent from a Borrower of a
         Drawdown Request, Conversion Notice or Rollover Notice in respect of a LIBOR Loan,
         the Agent will promptly advise such Borrower of the U.S. Dollar LIBOR Rate, such rate
         to be determined as at approximately 11:00 a.m. London time, two LIBOR Business Days
         before the commencement of the LIBOR Period for such LIBOR Loan.

         5.13.2 Interest Payment Dates for LIBOR Loans. Interest in respect of any LIBOR Loan
         in U.S. Dollars shall be calculated on the basis of a year of 360 days. Interest in respect of
         any LIBOR Loan with a LIBOR Period of between one month and three months
         (inclusive) shall be payable at the time the principal amount of such LIBOR Loan is
         payable. Interest in respect of any LIBOR Loan with a LIBOR Period longer than three
         months shall be payable in arrears every three months commencing on the last day of the
         third month following the commencement of such LIBOR Period, and also at the time the
         principal amount of such LIBOR Loan is payable.

         5.13.3 Laws Applicable to LIBOR Loans. Each Borrower acknowledges that the ability
         of the Lenders to maintain or provide any LIBOR Loan and to charge interest on any
         LIBOR Loan at the U.S. Dollar LIBOR Rate is and will be subject to any statute, law,
         regulation, rule or direction by any Governmental Authority having jurisdiction which
         may prohibit or restrict or limit such loans or such interest. Each Borrower agrees that the
         Lenders shall have the right to comply with any such requirements and, if the Agent
         determines it to be necessary as a result of such requirement, the Agent may convert any
         LIBOR Loan to a U.S. Dollar Base Rate Loan or require immediate repayment of all

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         LIBOR Loans, including accrued interest thereon and all applicable breakage costs
         pursuant to Section 5.15.

5.14     Breakage Costs

        The Borrowers may only Repay or Convert any LIBOR Loan prior to the scheduled
maturity date thereof, whether as a result of acceleration or for any other reason, if the Borrowers
agree to pay to the Agent upon demand all losses, damages, costs and expenses which such
Lender has incurred or may incur as a result of such Repayment or Conversion prior to the said
scheduled maturity date. The Agent shall provide the Borrowers with a written certificate
showing in reasonable detail the basis for such claim, which shall be deemed to be prima facie
correct, in the absence of manifest error.

5.15     Inability to Make LIBOR Loans

         If at any time and from time to time:

         (a)      the Agent (acting reasonably) determines that by reason of circumstances affecting
                  the London Interbank Eurodollar Market, adequate and fair means do not exist for
                  ascertaining the rate of interest with respect to, or deposits are not available in
                  sufficient amounts in the ordinary course of business at the rate determined
                  hereunder to fund, a requested LIBOR Loan during the ensuing LIBOR Period
                  selected;

         (b)      the Agent (acting reasonably) determines that the making or continuing of the
                  requested LIBOR Loan by the Lenders has been made impracticable by the
                  occurrence of an event which materially adversely affects the London Interbank
                  Eurodollar Market generally; or

         (c)      the Agent is advised by Lenders representing no less than 35% of the
                  Commitments that the U.S. Dollar LIBOR Rate will not or does not represent the
                  effective cost to such Lender of U.S. Dollar deposits in such market for the
                  relevant LIBOR Period,

         then the Agent shall give notice thereof to the Lenders and the Borrowers as soon as
         possible after such determination or receipt of such notice, as the case may be, and if such
         notice is given subsequent to the giving of a Drawdown Request or any Rollover Notice
         or Conversion Notice to the Agent by a Borrower with regard to any requested LIBOR
         Loan, such Borrower shall, within one Business Day after receipt of such notice and in
         replacement of the Drawdown Request, Rollover Notice or Conversion Notice, as the
         case may be, previously given by such Borrower, give the Agent a Drawdown Request or
         a Conversion Notice, as the case may be, which specifies the Advance of a U.S. Dollar
         Base Rate Loan or the Conversion of the relevant LIBOR Loan on the last day of the
         applicable LIBOR Period into a U.S. Dollar Base Rate Loan. In the event a Borrower fails
         to give, if applicable, a valid replacement Conversion Notice with respect to the maturing
         LIBOR Loans which were the subject of a Rollover Notice, such maturing LIBOR Loans
         shall be converted on the last day of the applicable LIBOR Period into U.S. Dollar Base
         Rate Loans under the applicable Facility as if a Conversion Notice had been given to the
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         Agent by such Borrower pursuant to the provisions hereof. In the event a Borrower fails
         to give, if applicable, a valid replacement Drawdown Request with respect to an Advance
         originally requested by way of a LIBOR Loan, then such Borrower shall be deemed to
         have requested an Advance by way of a U.S. Dollar Base Rate Loan in the amount
         specified in the original Drawdown Request and, on the originally requested date of
         Advance, the applicable Lenders (subject to the other provisions hereof) shall make
         available the requested amount by way of a U.S. Dollar Base Rate Loan under the
         applicable Facility.

         If at any time the Agent determines (which determination shall be conclusive absent
         manifest error) that (i) the circumstances set forth in Section 5.15(b) have arisen and such
         circumstances are unlikely to be temporary or (ii) the circumstances set forth in Section
         5.15(b) have not arisen but the supervisor for the administrator of LIBOR Rate or a
         Governmental Authority having jurisdiction over the Agent has made a public statement
         identifying a specific date after which the LIBOR Rate shall no longer be used for
         determining interest rates for loans, then the Agent and the Borrowers shall negotiate in
         good faith to establish an alternate rate of interest to LIBOR Rate that gives due
         consideration to the then prevailing market convention for determining a rate of interest
         for LIBOR Loans made in Canada or in the United States at such time, and upon an
         agreement being reached, shall enter into an amendment to this Agreement to reflect such
         alternate rate of interest and such other related changes to this Agreement as may be
         applicable. Notwithstanding anything to the contrary herein, such amendment shall
         become effective without any further action or consent of any other party to this
         Agreement so long as the Agent shall not have received, within five (5) Business Days of
         the date notice of such alternate rate of interest is provided to the Lenders, a written
         notice from the Required Lenders stating that such Required Lenders object to such
         amendment. Provided that, if such alternate rate of interest shall be less than zero, such
         rate shall be deemed to be zero for the purposes of this Agreement.

5.16     Special Provisions Regarding Letters of Credit

       The following additional provisions are applicable to Letters of Credit issued by
hereunder:

         (a)      The obligation of a Borrower to reimburse any Issuing Bank for all drawings
                  under Letters of Credit shall be absolute, unconditional and irrevocable and shall
                  be satisfied strictly in accordance with their terms, irrespective of:

                  (i)    any lack of validity or enforceability of any Letter of Credit;

                  (ii)   the existence of any claim, setoff, defence or other right which such
                         Borrower or any other Person may at any time have against the beneficiary
                         under any Letter of Credit, such Issuing Bank, the Agent or any Lender
                         (other than the defence of payment in accordance with the terms of this
                         Agreement or a defence based on the gross negligence or willful
                         misconduct of such Issuing Bank as determined by a court of competent


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                          jurisdiction by final and non-appealable judgment) or any other Person in
                          accordance with this Agreement or other transaction;

                  (iii)   any draft or other document presented under any Letter of Credit proving
                          to be forged, fraudulent, invalid or insufficient in any respect or any
                          statement therein being untrue or inaccurate in any respect; and

                  (iv)    any other circumstance or event whatsoever, whether or not similar to any
                          of the foregoing.

         (b)      In making any payment under any Letter of Credit (a) an Issuing Bank’s exclusive
                  reliance on the documents presented to it under such Letter of Credit as to any and
                  all matters set forth therein, including reliance on the amount of any draft
                  presented under such Letter of Credit, whether or not the amount due to the
                  beneficiary equals the amount of such draft and whether or not any document
                  presented pursuant to such Letter of Credit proves to be insufficient in any respect,
                  if such document on its face appears to be in order, and whether or not any other
                  statement or any other document presented pursuant to such Letter of Credit
                  proves to be forged or invalid or any statement therein proves to be inaccurate or
                  untrue in any respect whatsoever and (b) any non-compliance in any immaterial
                  respect of the documents presented under such Letter of Credit with the terms
                  thereof shall, in each case, not be deemed willful misconduct or negligence of
                  such Issuing Bank.

         (c)      Each Issuing Bank and its correspondents may accept and act upon the name,
                  signature, or act of any party purporting to be the executor, administrator,
                  receiver, trustee in bankruptcy or other legal representative of any party
                  designated in any Letter of Credit in the place of the name, signature, or act of
                  such party.

         (d)      In addition to amounts payable as elsewhere provided in this Section 5.16, each
                  Borrower hereby agrees to protect, indemnify, pay and save each Issuing Bank and
                  its respective directors, officers, employees, agents and representatives harmless
                  from and against any and all claims, demands, liabilities, damages, losses, costs,
                  charges and expenses (including legal fees and expenses) which each such
                  indemnitee may incur or be subject to as a consequence, direct or indirect, of:

                  (i)     the issuance of any Letter of Credit, other than as a result of the breach of
                          the standards of reasonable care where such Issuing Bank would not be
                          entitled to the foregoing indemnification under the Uniform Customs or
                          under ISP98, in each case as stated on its face to be applicable to such
                          Letter of Credit;

                  (ii)    the inability of an indemnitee to honour a drawing under any Letter of
                          Credit as a result of any act or omission, whether rightful or wrongful, of
                          any present or future de jure or de facto Governmental Authority; or

                  (iii)   any of the matters listed in Section 5.16(e).
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         (e)      As between a Borrower, on the one hand, and an Issuing Bank, on the other hand,
                  such Borrower assumes all risks of the acts and omissions of, or misuse of the
                  Letters of Credit issued at its request hereunder by, the respective beneficiaries of
                  such Letters of Credit and, without limitation of the foregoing (but other than to
                  the extent such Issuing Bank breaches the standards of reasonable care specified
                  in the Uniform Customs and otherwise as may be required under ISP98, as
                  applicable, where such Issuing Bank would not be entitled to indemnification
                  under the Uniform Customs or under ISP98, in each case as stated on its face to
                  be applicable to such Letter of Credit), such Issuing Bank shall not be responsible
                  for:

                  (i)     the form, validity, accuracy, genuineness or legal effect of any document
                          submitted by any party in connection with the application for and issuance
                          of such Letter of Credit, even if it should in fact prove to be in any or all
                          respects invalid, inaccurate, fraudulent or forged;

                  (ii)    the invalidity or insufficiency of any instrument transferring or assigning
                          or purporting to transfer or assign any such Letter of Credit or the rights or
                          benefits thereunder or proceeds thereof, in whole or in part, which may
                          prove to be invalid or ineffective for any reason;

                  (iii)   errors, omissions, interruptions or delays in transmission or delivery of any
                          messages, by fax, electronic transmission, mail, cable telegraph, telex or
                          otherwise, whether or not they are in cipher;

                  (iv)    errors in interpretation of technical terms;

                  (v)     any loss or delay in the transmission or otherwise of any document
                          required in order to make a drawing under any such Letter of Credit or of
                          the proceeds thereof;

                  (vi)    the misapplication by the beneficiary of any such Letter of Credit of the
                          proceeds of any drawing under such Letter of Credit; and

                  (vii)   any consequences arising from causes beyond the reasonable control of
                          any Lender, including any act or omission, whether rightful or wrongful,
                          of any present or future de jure or de facto Governmental Authority.

                  None of the above shall affect, impair or prevent the vesting of any Issuing Bank’s
                  rights or powers hereunder. No action taken or omitted by an Issuing Bank under
                  or in connection with any Letter of Credit issued by it or the related certificates, if
                  taken or omitted in good faith, shall put such Issuing Bank under any resulting
                  liability to the applicable Borrower (provided, that such Issuing Bank acts in
                  accordance with the standards of reasonable care specified in the Uniform
                  Customs and otherwise as may be required under ISP98, in each case as stated on
                  its face to be applicable to the respective Letter of Credit).



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         (f)      If any Letter of Credit is outstanding on the Facilities Maturity Date, on the date
                  this Agreement and all Commitments hereunder are cancelled, at any time that an
                  Event of Default occurs, a demand for repayment is made hereunder, or a
                  domestic or foreign court issues any judgment or order restricting or prohibiting
                  payment by the applicable Issuing Bank under such Letter of Credit or extending
                  the liability of the applicable Issuing Bank to make payment under such Letter of
                  Credit beyond the expiry date specified therein, the applicable Borrower will
                  forthwith upon demand by the Agent or the applicable Issuing Bank deposit into a
                  cash collateral account maintained by and in the name of the Agent or the
                  applicable Issuing Bank funds in the applicable currency in the amount of the
                  Advance constituted by such Letter of Credit and such funds (together with
                  interest thereon) will be held by the Agent or the applicable Issuing Bank for
                  payment of the liability of the applicable Borrower pursuant to this Section 5.16
                  or otherwise in respect of such Letter of Credit so long as such Issuing Bank has
                  or may in any circumstance have any liability under such Letter of Credit, and,
                  pending such payment, shall bear interest at the Agent’s or the applicable Issuing
                  Bank, as applicable then prevailing rate in respect of deposits of similar amounts
                  and of similar periods of time. Any balance of such funds and interest remaining
                  at such time as the applicable Issuing Bank does not have and may never have any
                  liability under such Letter of Credit will nevertheless continue to be held by the
                  Agent or the applicable Issuing Bank, if and so long as any Default or Event of
                  Default is continuing or after a demand for repayment is made or both, as security
                  for the remaining liabilities of the applicable Borrower hereunder. The Agent or
                  the applicable Issuing Bank, as applicable, shall have exclusive control over all
                  amounts at any time on deposit in such cash collateral account. The deposit of
                  such funds by a Borrower with the Agent or the applicable Issuing Bank as herein
                  provided will not operate as a repayment of the U.S. Operating Facility or the
                  Swingline Commitment, as applicable, until such time as such funds are actually
                  paid to the U.S. Operating Lenders or the Swingline Lender, as applicable, as a
                  principal repayment.

         (g)      The Issuing Bank and the Agent, in the case of Letters of Credit issued under the
                  U.S. Operating Facility, and the Swingline Lender, in the case of Letters of Credit
                  issued under the Swingline, shall each maintain records showing the undrawn and
                  unexpired amount of each Letter of Credit outstanding under such Facility, and
                  showing for each such Letter of Credit:

                  (i)     the dates of issuance and expiration thereof;

                  (ii)    the amount thereof; and

                  (iii)   the date and amount of all payments made thereunder.

                  The Issuing Bank and the Agent shall make copies of such records in the respect
                  of Letters of Credit issued under the U.S. Operating Facility available to the U.S.
                  Borrower and the U.S. Operating Lenders upon request. The Swingline Lender,
                  shall make copies of such records in respect to Letters of Credit issued under the

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                  Swingline available to the Canadian Borrower, the Agent and the Canadian
                  Operating Lenders upon request.

5.17     Eligible Approved Contracts

        The Canadian Borrower may request, from time to time and by written notice to the
Agent, that the Agent designate additional contracts of the Credit Parties (the “Additional
Contracts”) as Eligible Approved Contracts, provided that, any such notice shall only be given
concurrently with the delivery of a Borrowing Base Certificate pursuant to 7.4.1(a) and such
notice shall include a true and correct copy of each Additional Contract.

        If an Additional Contract is in a form (a) previously approved by the Lenders or (b) in
respect of which the Agent has previously received a legal opinion opining that such contract or
agreement is valid and enforceable under the governing law thereof, then such Additional
Contract shall be designated by the Agent as an Eligible Approved Contract as of the date of the
notice referred to above, otherwise, such Additional Contract shall not be designated as an
Eligible Approved Contract until such time as the Agent has received an opinion of legal counsel
opining that such contract or agreement is valid and enforceable under the governing law thereof,
which opinion is in form and substance satisfactory to the Agent and is delivered by legal counsel
acceptable to the Agent (in each case acting reasonably).

                                    ARTICLE 6
                          REPRESENTATIONS AND WARRANTIES

6.1      Representations and Warranties

        Each Borrower jointly and severally hereby represents and warrants to the Agent and the
Lenders as follows, with respect to itself and, in the case of the Canadian Borrower, also with
respect to each Credit Party:

         6.1.1     Status. It has been duly incorporated, amalgamated, constituted, formed or
         established as the case may be, and is validly subsisting under the Laws of its governing
         jurisdiction and is up to date in respect of all corporate or similar filings and has all
         necessary corporate power, capacity and authority to carry on its business in each
         jurisdiction where it carries on business except, in the case of other jurisdiction, to the
         extent the failure to do so would reasonably be expected to have a Material Adverse
         Effect.

         6.1.2    Information. As of the date hereof, Schedule 6.1.2 contains the following
         information in respect of each Credit Party and each Subsidiary thereof as of the
         Amendment and Restatement Date: predecessors and prior names (within the
         immediately preceding five years), jurisdiction of incorporation or establishment, present
         governing jurisdiction, registered office, chief executive office, all locations at which it
         has owned or leased places of business or maintained a material amount of assets (other
         than assets temporarily out of a Credit Party’s custody or possession, including assets on
         the premises of others and items in transit) the number and classes of its issued and
         outstanding shares and a list of its shareholders including the number and class of shares

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         held by each. All material records related to the Credit Party’s Receivables are located at
         those certain chief executive offices as identified in Schedule 6.1.2, as may be updated
         from time to time.

         6.1.3     Subsidiaries. As of the Amendment and Restatement Date, neither Holdco nor
         the Canadian Borrower has any Material Subsidiaries or other Subsidiaries other than as
         set out in Schedule 6.1.3 and 100% of the issued and outstanding shares of each Material
         Subsidiary are directly or indirectly owned by the Canadian Borrower.

         6.1.4    No Pending Corporate Changes. As of the Amendment and Restatement Date,
         no Person has any agreement or option or any right or privilege (whether by law,
         pre-emptive or contractual) capable of becoming an agreement for the purchase of any
         properties or assets of any Credit Party out of the ordinary course of business or for the
         purchase, subscription, allotment or issuance of any debt or equity securities, including
         convertible securities, warrants or convertible obligations of any nature, of the Canadian
         Borrower.

         6.1.5    No Conflicts under Material Agreements or Material Permits. Except as
         disclosed in Schedule 6.1.5, the execution and delivery by each Credit Party of those
         Credit Documents to which it is a party, will not conflict with, result in a breach of or
         require any approval or consent under any Material Agreement or Material Permit, other
         than consents or approvals which have been obtained unconditionally and without
         imposition of any material conditions.

         6.1.6    No Conflict with Charter Documents. There are no provisions contained in the
         charter documents, or by-laws of any Credit Party, or any partnership agreement,
         shareholders’ agreement, voting trust agreement or similar agreement relating thereto or
         in any Material Agreement or Material Permit, which restrict or limit its powers to
         borrow money, issue debt obligations, guarantee the payment or performance of the
         obligations of others or encumber all or any of its present and after-acquired property; or
         which would be contravened by the execution and delivery of those Credit Documents to
         which any Credit Party is a party or the performance by any Credit Party of its obligations
         thereunder and which contravention would reasonably be expected to result in Material
         Adverse Change.

         6.1.7    Credit Documents. Each Credit Party has the necessary capacity, power, legal
         right and authority to borrow from the Lenders, guarantee payment to the Agent and the
         Lenders of those Obligations which are payable by the Borrowers, perform its obligations
         under the Credit Documents and provide the Security required to be provided by it
         hereunder. The execution and delivery of the Credit Documents by the Credit Parties and
         the performance of their respective obligations therein have been duly authorized by all
         necessary corporate or other action. This Agreement and the other Credit Documents
         constitute legal, valid and binding obligations of the Credit Parties, enforceable against
         them in accordance with the terms and provisions thereof, subject to Laws of general
         application affecting creditors’ rights and the discretion of the court in awarding equitable
         remedies.


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         6.1.8     Conduct of Business; Compliance with Laws and Material Permits. Except as
         disclosed in Schedule 6.1.8, each Credit Party is in compliance in all material respects
         with all Applicable Laws of each jurisdiction in which it carries on business and is duly
         licensed, registered and qualified to do business and is in good standing in each
         jurisdiction in which the nature of the business conducted by it or the property owned or
         leased by it make such qualification necessary, except to the extent that the failure to hold
         any such licences, registrations and permits would not constitute a Material Adverse
         Change. Schedule 6.1.8 contains a true and complete list of all Material Permits, and all
         such Material Permits are valid and subsisting and in good standing.

         6.1.9    Ownership of Assets; Permitted Liens. Each Credit Party has good and
         marketable title to (or a valid leasehold interest in) and owns and possesses its
         undertaking, property and assets (other than intellectual property) (or has a valid
         leasehold interest in) free and clear of any and all Liens except for Permitted Liens. No
         Credit Party has any commitment or obligation (contingent or otherwise) to grant any
         Liens except for Permitted Liens. No event has occurred which constitutes, or which with
         the giving of notice, lapse of time or both would constitute, a default under any specific
         Permitted Lien, which default would reasonably be expected to result in a Material
         Adverse Change.

         6.1.10 Leased Properties. As of the date hereof, Schedule 6.1.10 contains a true and
         complete list of the Leased Properties.

         6.1.11 Intellectual Property. Each Credit Party possesses or has the exclusive right to
         use all patents, patent rights, trademarks, trademark rights, trade names, trade name
         rights, service marks, service mark rights, copyrights and other forms of intellectual
         property material to the conduct of its business, each of which is in good standing in all
         material respects, and, to its knowledge, has the right to use such intellectual property
         without violation of any material rights of others with respect thereto, except, in each
         case, as would not reasonably be expected to have a Material Adverse Effect. Schedule
         6.1.11 contains a list of all such Credit Party’s owned material, registered and pending
         trademarks, service marks, patents and copyrights (excluding commercially available
         software) as of the Amendment and Restatement Date.

         6.1.12 Insurance. The Credit Parties have (a) placed insurance, including property,
         boiler and machinery, business interruption and liability insurance, in appropriate
         amounts and for appropriate risks as would be considered prudent for similar businesses,
         and (b) placed Account Receivable Insurance. Attached hereto as Schedule 6.1.12 is a
         true and complete list of all insurance policies (including the Account Receivable
         Insurance) held by the Credit Parties as of the Amendment and Restatement Date.

         6.1.13 Material Agreements. As of the date hereof, Schedule 6.1.13 contains a true and
         complete list of all Material Agreements, including a description of the nature of each
         Material Agreement. Each Material Agreement is in full force and effect; and none of the
         Credit Parties is in breach of any of the terms or conditions contained therein, in each
         case, which would reasonably be expected to have a Material Adverse Effect. Except as
         disclosed in writing to the Agent and as permitted hereby, no Material Agreement has

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         been materially amended, supplemented or revised in any manner adverse to the Lenders
         since the date of execution thereof.

         6.1.14 Labour Agreements. Except as disclosed in Schedule 6.1.14, there are no labour
         agreements in effect between any of the Credit Parties and any labour union or employee
         association and the Credit Parties are not under any obligation to assume any labour
         agreements to or conduct negotiations with any labour union or employee association
         with respect to any future agreements; and the Credit Parties are not aware of any current
         attempts to organize or establish any such labour union or employee association which, in
         each case, would reasonably be expected to result in a Material Adverse Effect.

         6.1.15 Environmental Laws. Each Credit Party and its business, operations, assets,
         equipment, property, leaseholds and other facilities is in compliance with all applicable
         Requirements of Environmental Law, specifically including all applicable Requirements
         of Environmental Law concerning the storage and handling of Hazardous Materials
         except where the failure to do so would not reasonably be expected to result in a Material
         Adverse Change. Each Credit Party holds all permits, licenses, certificates and approvals
         from Governmental Authorities which are required by the applicable Requirements of
         Environmental Law in connection with (i) air emissions; (ii) discharges to surface or
         groundwater; (iii) noise emissions; (iv) solid or liquid waste disposal; (v) the use,
         generation, storage, transportation or disposal of Hazardous Materials; and (vi) all other
         applicable Requirements of Environmental Law, except in each case where the failure to
         do so would reasonably be expected to result in a Material Adverse Change. Except as
         disclosed in Schedule 6.1.15 to the knowledge of the Credit Parties there has been no
         emissions, spills, releases, or discharges into or upon (i) the air; (ii) soils, or any
         improvements located thereon; (iii) surface water or groundwater; or (iv) any sewer,
         septic system or waste treatment, storage or disposal system servicing the premises, of
         any Hazardous Materials at or from any Land owned by any Credit Party or any of the
         Leased Properties that would reasonably be expected to have a Material Adverse Effect.
         Except as disclosed in Schedule 6.1.15 no complaint, order, directive, claim, citation, or
         notice from any Governmental Authority or any other Person has been received by any
         Credit Party with respect to (i) air emissions; (ii) spills, releases, or discharges to soils or
         improvements located thereon, surface water, groundwater or any sewer, septic system or
         waste treatment, storage or disposal systems servicing any Land owned by any Credit
         Party or any of the Leased Properties; (iii) noise emissions; (iv) solid or liquid waste
         disposal; (v) the use, generation, storage, transportation, or disposal of Hazardous
         Materials; or (vi) other applicable Requirements of Environmental Law affecting any
         Land owned by any Credit Party or the Leased Properties, in each case, which would
         reasonably be expected to result in a Material Adverse Change. Except as disclosed in
         Schedule 6.1.15, there are no legal or administrative proceedings, investigations or claims
         outstanding or to the Credit Parties’ knowledge now threatened or pending, with respect
         to the presence on or under, or the discharge, emission, spill, radiation or disposal into,
         upon or from any Land owned by any Credit Party or any of the Leased Properties of any
         Hazardous Material, including the discharge, emission, spill, radiation or disposal of any
         Hazardous Material from any such Land or Leased Properties onto or into the atmosphere
         or any adjacent land, watercourse or body of water; nor are there any material matters
         under discussion with any Governmental Authority relating thereto; and there is no

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         factual basis for any such proceedings, investigations or claims, in each case, which
         would reasonably be expected to result in a Material Adverse Change. The Credit Parties
         have no indebtedness, obligation or liability with respect to the storage, treatment,
         cleanup or disposal of any Hazardous Materials (including without limitation any such
         indebtedness, obligation, or liability under any applicable Requirements of Environmental
         Law regarding such storage, treatment, cleanup or disposal) which would reasonably be
         expected to result in a Material Adverse Change.

         6.1.16 No Litigation. Except as disclosed in Schedule 6.1.16, there are no actions, suits
         or proceedings pending, or to the knowledge of the Credit Parties threatened in writing,
         against any Credit Party in any court or before or by any federal, provincial, state,
         municipal or other Governmental Authority, which would reasonably be expected to
         result in a Material Adverse Change.

         6.1.17 Pension Plans. As of the Amendment and Restatement Date, the Credit Parties
         have not established any Pension Plans except as disclosed in Schedule 6.1.17. All of the
         Credit Parties’ Pension Plans have been duly registered under Applicable Law. No steps
         have been taken to terminate any such Pension Plan (in whole or in part), no contribution
         failure has occurred with respect to any such Pension Plan sufficient to give rise to a Lien
         under any Applicable Laws of any jurisdiction, and no condition exists and no event or
         transaction has occurred with respect to any such Pension Plan, in each case, which
         would reasonably be expected to result in the incurrence by any Credit Party of any
         material liability, fine or penalty. Each such Pension Plan is in compliance in all material
         respects with all applicable pension benefits and tax laws, (i) all contributions (including
         employee contributions made by authorized payroll deductions or other withholdings)
         required to be made to the appropriate funding agency in accordance with all Applicable
         Laws and the terms of such Pension Plan have been made in accordance with all
         Applicable Laws and the terms of such Pension Plan, (ii) all liabilities under such Pension
         Plan are funded, on a going concern and solvency basis, in accordance with the terms of
         the respective Pension Plans, the requirements of applicable pension benefits laws and of
         applicable regulatory authorities and the most recent actuarial report filed with respect to
         the Pension Plan, and (iii) no event has occurred and no conditions exist with respect to
         any such Pension Plan that has resulted or would reasonably be expected to result in such
         Pension Plan having its registration revoked or refused for the purposes of any applicable
         pension benefits or tax laws or being placed under the administration of any relevant
         pension benefits regulatory authority or being required to pay any taxes or penalties under
         any applicable pension benefits or tax laws.

         6.1.18 ERISA Liabilities. No ERISA Event has occurred or is reasonably expected to
         occur with respect to any Plan which would reasonably be expected to have a Material
         Adverse Effect. Since the most recent financial statement with respect to a Plan, there has
         been no change in the funding status of such Plan which would reasonably be expected to
         result in a Material Adverse Change. Neither any Credit Party nor any ERISA Affiliate
         has incurred or is reasonably expected to incur any Withdrawal Liability to any
         Multiemployer Plan which would reasonably be expected to result in a Material Adverse
         Change. Neither any Credit Party nor any ERISA Affiliate has been notified by the
         sponsor of a Multiemployer Plan that (i) such Multiemployer Plan has been terminated,

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         within the meaning of Title IV of ERISA, or (ii) such Multiemployer Plan is reasonably
         expected to be terminated, within the meaning of Title IV of ERISA, which termination
         would reasonably be expected to result in a Material Adverse Change.

         6.1.19 Financial Statements. The most recent Year-end Financial Statements and
         Interim Financial Statements of the Canadian Borrower delivered to the Agent and the
         Lenders have been prepared in accordance with GAAP (except that in the case of the
         Interim Financial Statements, subject to normal adjustments and the absence of footnotes)
         on a basis which is consistent with the previous fiscal period (unless otherwise noted),
         and present fairly in all material respects in accordance with GAAP:

         (a)      its assets and liabilities (whether accrued, absolute, contingent or otherwise) and
                  financial condition as at the dates therein specified;

         (b)      its sales, earnings and results of its operations during the periods covered thereby;
                  and

         (c)      in the case of the Year-end Financial Statements, its changes in financial position,

         and no Material Adverse Change has occurred since the date thereof.

         6.1.20 Financial and Other Information. All financial and other information provided
         in writing by or in respect of the Credit Parties to the Agent or the Lenders (other than
         projections, other forward looking information and information of a general economic or
         industry-specific nature to) taken as a whole, to the best of the Credit Party’s knowledge
         and belief (including good faith estimates and stated assumptions believed to be
         reasonable and fair as of the date made in light of conditions and facts then known), do
         not contain any untrue statement of a material fact or omit to state a material fact
         necessary to make the statements contained therein not materially misleading in light of
         the circumstances under which such statements were made (after giving effect to all
         supplements from time to time).

         6.1.21 No Funded Debt/Liens. No Funded Debt has been incurred or assumed by any
         Credit Party, except for Permitted Funded Debt. No Liens exist on the assets of any
         Credit Party, except for Permitted Liens.

         6.1.22 Validity and Ranking of Security. Each Security agreement is effective to create
         in favor of the Agent for the benefit of the Lenders, legal, valid and enforceable Liens on,
         and security interests in, the collateral referred to therein. The Obligations are secured by
         a First-Ranking Security Interest, other than in respect of any Priority Claims.

         6.1.23 Taxes. Except as disclosed in Schedule 6.1.23, each Credit Party has duly and
         timely filed all tax returns required to be filed by it, and has paid all taxes which are due
         and payable by it, except for any taxes which are subject to a Permitted Contest or which
         the failure to pay, individually or in the aggregate has not and would not reasonably be
         expected to have a Material Adverse Effect. Each Credit Party has also paid all other
         taxes, charges, penalties and interest due and payable under or in respect of all
         assessments and re-assessments of which it has received written notice, except to the

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         extent that such assessments or re-assessments are subject to a Permitted Contest or
         which the failure to pay, individually or in the aggregate has not and would not
         reasonably be expected to have a Material Adverse Effect. There are no actions, suits,
         proceedings, investigations or claims threatened or pending against any Credit Party in
         respect of taxes, governmental charges or assessments or any matters under discussion
         with any Governmental Authority relating to taxes, governmental charges or assessments
         asserted by any such Governmental Authority which would reasonably be expected to
         result in a Material Adverse Change.

         6.1.24 Statutory Liens. Each Credit Party has remitted on a timely basis all amounts
         required to have been withheld and remitted (including withholdings from employee
         wages and salaries relating to income tax, employment insurance, unemployment
         insurance and Canada Pension Plan contributions), goods and services tax and all other
         amounts which if not paid when due could result in the creation of a Statutory Lien
         against any of its property, except for Permitted Liens.

         6.1.25        No Default, etc. No Default or Event of Default has occurred and is continuing.

         6.1.26 Solvency. On the Amendment and Restatement Date (i) the fair market value of
         the assets of the Credit Parties, on a consolidated basis, at a fair valuation, will exceed
         their debt and liabilities, subordinated, contingent or otherwise; (ii) the present fair
         saleable value of the property of the Credit Parties, on a consolidated basis, will be
         greater than the amount that will be required to pay the probable liability of their
         indebtedness and other liabilities, subordinated, contingent or otherwise, as such
         indebtedness and other liabilities become absolute and matured; (iii) the Credit Parties, on
         a consolidated basis, will be able to pay their debts and liabilities, subordinated,
         contingent or otherwise, as such debts and liabilities become absolute and matured; (iv)
         the Credit Parties, on a consolidated basis, will not have unreasonably small capital with
         which to conduct the business in which they are engaged as such business is now
         conducted and is proposed to be conducted following the date of determination, and (v)
         the Credit Parties, on a consolidated basis, are not “insolvent” under any applicable
         Insolvency Legislation or otherwise unable to pay their debts as they fall due.

         6.1.27 Residency. The Canadian Borrower is not a non-resident of Canada as defined
         by the Income Tax Act (Canada).

         6.1.28 Investment Company Act. Neither the Canadian Borrower nor any Subsidiary is
         an “investment company” or a company “controlled” by an “investment company,” in
         each case, within the meaning of the Investment Company Act of 1940, as amended.

         6.1.29        Fiscal Year. The Fiscal Year end of each Credit Party is December 31.

         6.1.30 Place and Type of Business. As of the Amendment and Restatement Date,
         Schedule 6.1.2 contains a list of the only jurisdictions in which the Credit Parties carry on
         any material business. The Credit Parties’ sole business is providing drilling fluid and
         technical expertise to assist in drilling oil and gas wells, including skid controls, drilling



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         waste management and drilling water treatment services and the rental of well bore
         cleanup tools.

         6.1.31 Economic Sanctions; Corrupt Practices. No Credit Party is in violation of any
         Economic Sanctions or the Foreign Corrupt Practices Act, the Corruption of Foreign
         Public Officials Act (Canada) or any similar legislation or, to its knowledge, is the target
         or subject of any Economic Sanctions. No Credit Party or any of their respective
         Subsidiaries and, to the knowledge of any Credit Party, no director, officer, employee,
         broker or other agent of any Credit Party acting or benefiting in any capacity in
         connection with the Loans is any of the following:

         (a)      a Person that is listed in the annex to the Executive Order, or is otherwise the
                  subject of Economic Sanctions;

         (b)      a Person owned or controlled by, or acting for or on behalf of, any Person that is
                  listed in the annex to the Executive Order, or is otherwise the subject of Economic
                  Sanctions;

         (c)      a Person with which any Lender is prohibited from dealing or otherwise engaging
                  in any transaction by any Economic Sanctions;

         (d)      a Person that commits, threatens or conspires to commit or supports “terrorism” as
                  defined in the Executive Order;

         (e)      a Person located, organized or resident in a country or territory that is, or whose
                  government is, the subject of Economic Sanctions; or

         (f)      a Person that is named as a “specially designated national and blocked person” on
                  the most current list published by OFAC at its official website or any replacement
                  website or other replacement official publication of such list.

         No Credit Party or any of their respective Subsidiaries and, to the knowledge of any
         Credit Party, no director, officer, employee, broker or other agent of any Credit Party
         acting in any capacity in connection with the Loans (i) conducts any business or engages
         in making or receiving any contribution of funds, goods or services to or for the benefit of
         any Person described in clauses (a) through (f) above, (ii) deals in, or otherwise engages
         in any transaction relating to, any property or interests in property blocked pursuant to any
         Economic Sanctions, (iii) engages in or conspires to engage in any transaction that evades
         or avoids, or has the purpose of evading or avoiding, or attempts to violate, any of the
         prohibitions set forth in any Economic Sanctions, or (iv) is in violation of any applicable
         Economic Sanctions.

         6.1.32 Use of Facilities. Each Borrower acknowledges that the Facilities are for the use
         by the Credit Parties and will be used for the Credit Parties’ and their Subsidiaries’ lawful
         business purposes only.

         6.1.33 Use of Eligible Approved Contracts. As of June 30, 2018, all of the Insured
         Receivables used in determining the Borrowing Base were Receivables derived from and

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         governed by Eligible Approved Contracts in existence as the Amendment and
         Restatement Date as set out in Schedule 6.1.33.

         6.1.34 Margin Regulations. No Credit Party is engaged principally, or as one of its
         important activities, in the business of extending credit for the purpose of buying or
         carrying Margin Stock (as defined in Regulation U). No part of the proceeds of any Loan
         or any Letter of Credit will be used, whether directly or indirectly, and whether
         immediately, incidentally or ultimately, for any purpose that entails a violation of, or that
         is inconsistent with, the provisions of the regulations of the Board of Governors of the
         Federal Reserve, including Regulation T, Regulation U or Regulation X. The pledge of
         the Collateral pursuant to the Security does not violate such regulations.

6.2      Acknowledgement and Deemed Repetition

       Each Borrower acknowledges that the Agent and the Lenders are relying upon the
representations and warranties in this Article 6 in making the Facilities available to the
Borrowers and that the representations and warranties contained in Article 6, except for any
representation and warranty made solely as of an earlier date will be deemed to be restated and
shall be true and correct effective on the date each and every Advance is made (and any
representations and warranties made solely as of an earlier date shall be true and correct as of
such earlier date).

6.3      Survival of Representations and Warranties

        The Credit Parties acknowledge that the Agent and the Lenders shall rely upon the
representations and warranties contained in this Article 6 in connection with the establishment
and continuation of the Facilities and also in connection with the entering into by a Hedge
Provider of any Hedging Agreement with the Credit Parties. Notwithstanding any investigations
which may be made by the Agent or the Lenders, the said representations and warranties shall
survive the execution and delivery of this Agreement until full and final payment and satisfaction
of the Obligations and this Agreement has been terminated.

                                            ARTICLE 7
                                           COVENANTS

7.1      Positive Covenants

        While there are any Outstanding Advances under the Facilities or while any of the
Facilities remains available to any Borrower, each Borrower hereby covenants and agrees with
the Agent and the Lenders that it will, and will cause each of the other Credit Parties to:

         7.1.1    Prompt Payment. In the case of the Borrowers, punctually and unconditionally
         pay all principal, interest and other amounts due hereunder at the times and in the manner
         specified herein.

         7.1.2    Preservation of Existence. Except as permitted by Section 7.2.8, maintain its
         existence in good standing (or similar status), preserve its rights, powers, licences,
         privileges, franchises and goodwill, exercise any rights of renewal or extensions of any

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         leases, licences, concessions, franchises or any other rights whatsoever which are material
         to the conduct of its business, maintain all qualifications to carry on business in each
         jurisdiction in which such qualifications are required where the failure to do so would not
         reasonably be expected to result in a Material Adverse Change, and carry on and conduct
         its business in a proper and efficient manner so as to protect its property and income; and
         not materially change the nature of its business.

         7.1.3    Compliance with Applicable Laws; Use of Proceeds; Maintenance of Leases
         and Material Permits. Comply with all Applicable Laws (specifically including all
         applicable Requirements of Environmental Law and Economic Sanctions and the Foreign
         Corrupt Practices Act) except where the failure to do so would not reasonably be
         expected to result in a Material Adverse Change, use the proceeds of all Advances
         hereunder for legal and proper purposes, and obtain and maintain in good standing all
         material leases and Material Permits from any and all Governmental Authorities required
         in respect of its business and operations except where the failure to do so would not
         reasonably be expected to result in a Material Adverse Change.

         7.1.4     Payment of Priority Claims, Taxes, etc. Pay when due all Priority Claims, rents,
         ERISA liabilities, taxes, rates, pension obligations, levies, assessments and governmental
         charges, fees and dues lawfully levied, assessed or imposed in respect of its property
         which are material to the conduct of its business, and deliver to the Agent upon request
         receipts evidencing such payments; except for rents, taxes, rates, pension obligations,
         levies, assessments and governmental charges, fees or dues in respect of which an appeal
         or review proceeding has been commenced, a stay of execution pending such appeal or
         review proceeding has been obtained, reserves reasonably required by the Required
         Lenders have been established; and except where the failure to pay individually or in the
         aggregate, would not reasonably be expected to result in a Material Adverse Change.

         7.1.5    Maintain Records. Maintain adequate books, accounts and records in accordance
         with GAAP and all material records related to the Credit Parties’ Receivables shall be
         located at the chief executive offices as identified in Schedule 6.1.2, as the same may be
         updated from time to time.

         7.1.6    Maintenance and Operation of Properties. Keep its property and assets in good
         repair and working condition, reasonable wear and tear and casualty or condemnation
         excepted, and operate its property in accordance with prudent industry standards and the
         requirements of its insurance policies.

         7.1.7     Inspection. Permit the Agent and its employees and agents (who may be
         accompanied by any Lender and its employees and agents), upon reasonable notice and at
         their own cost, to enter upon and inspect their properties, assets, books and records from
         time to time during normal business hours and in a manner which does not materially
         interfere with the operations of the Credit Parties, and make copies of and abstracts from
         such books and records, and discuss their affairs, finances and accounts with any of their
         officers, directors, accountants and auditors; provided, that the Agent will deal with any
         personal information obtained in accordance with applicable privacy legislation;
         provided, that the Agent may not conduct more than one such examination during any

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         calendar year unless a Default or an Event of Default has occurred and is continuing, in
         which case the foregoing limit shall not apply. All reasonable and documented
         out-of-pocket costs and expenses incurred by the Agent and its duly authorized
         representatives and agents in connection with the exercise of the Agent’s rights pursuant
         to this Section 7.1.7 shall be paid by the Canadian Borrower in accordance with Section
         13.5; provided, that so long as no Default or Event of Default exists the Canadian
         Borrower shall not be responsible for the expenses of the Agent in connection with more
         than one such visit and inspection per calendar year.

         7.1.8    Liens. Maintain all of its property, assets and undertaking free of all Liens except
         Permitted Liens and maintain a First-Ranking Security Interest in favour of the Agent
         over all of the Collateral subject only to the Security and Permitted Liens which under
         Applicable Law rank in priority thereto.

         7.1.9    General Insurance Coverage. Obtain and maintain from financially responsible
         insurance companies and maintain liability insurance, all-risks property insurance on a
         replacement cost basis (less a reasonable deductible not to exceed amounts customary in
         the industry for similarly situated businesses and properties), and insurance in respect of
         such other risks and in such amounts (giving effect to self-insurance) as would be
         considered prudent for similar businesses, to the extent available on commercially
         reasonable terms, all of which policies of insurance shall include a standard mortgage
         clause approved by the Insurance Bureau of Canada; and the interest of the Agent shall be
         noted as an additional insured on all liability insurance policies and as first mortgagee
         and/or lender loss payee, as applicable, on all other insurance policies (other than
         directors and officers insurance); and the Agent shall be provided with certificates of
         insurance and certified copies of such policies from time to time upon request; provided,
         that no more than one request shall be made in any calendar year unless a Default or an
         Event of Default is continuing or if there has been a material change in any such policy.

         7.1.10 Account Receivable Insurance Coverage. Obtain and maintain Account
         Receivable Insurance, pay all required premiums in respect thereof once due and payable
         and renew such Account Receivable Insurance not less than sixty (60) days prior to the
         expiry thereof; and the Agent shall be provided with certificates of insurance and certified
         copies of such policies from time to time upon request; provided that no more than one
         request shall be made in any twelve month period unless a Default or an Event of Default
         is continuing. At least 10 days prior to the renewal of any Account Receivable Insurance,
         the Borrowers shall provide the Agent with all information reasonably requested by the
         Agent, including for certainty, any proposed modifications to the existing policies then in
         place, in order for the Agent and third party legal counsel to conduct a review of such
         Account Receivable Insurance.

         7.1.11 Colombia Payments. Ensure that payments in favour of a Credit Party which are
         made under any material agreement executed by any Credit Party which are to be made in
         Colombian Pesos in Colombia are either directed to a trust established in Colombia
         which is subject to the Security or to an account over which the Agent has a
         First-Ranking Security Interest pursuant to an account control agreement or if such


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         payments are otherwise subject to the Security in a manner satisfactory to the Agent,
         acting reasonably.

         7.1.12 Perform Obligations. Fulfill all covenants and obligations required to be
         performed by it under the Credit Documents, the Material Agreements, the Material
         Permits and the policy governing the Account Receivable Insurance (and as reasonably
         requested by the Agent, provide evidence of compliance with the risk management and
         credit policies required thereunder).

         7.1.13        Bank Accounts and Banking Service Agreements. Maintain:

         (a)      all of its bank primary accounts and Banking Service Agreements of the
                  Borrowers in Canada, the U.S. and Mexico with the Agent or an Affiliate thereof
                  unless otherwise consented to by the Required Lenders, in their sole discretion;
                  provided, that the U.S. Borrower shall be permitted to maintain its current bank
                  accounts in the U.S. with Wells Fargo provided that the Deposit Account Control
                  Agreement between the U.S. Borrower, such financial institution and the Agent
                  remains in force and effect, which agreement shall, among other things, provide
                  that such financial institution acknowledges that the Agent has a First-Ranking
                  Security Interest over the applicable bank accounts and that upon written notice
                  from the Agent, the Agent can exert control over such accounts; and

         (b)      except as set forth in Section 8.1(i), maintain all of the Credit Parties’ other bank
                  accounts used as a primary concentration accounts for collection of proceeds of
                  Eligible Receivables with financial institutions reasonably satisfactory to the
                  Required Lenders; provided, that within 90 days after the formation of any new
                  Material Subsidiary that is a Credit Party from time to time hereafter, such
                  financial institution has entered into a deposit account control or similar account
                  agreement with the Agent and the applicable Credit Party, in a form and substance
                  reasonably satisfactory to the Agent, which agreement, among other things,
                  provides that such financial institution acknowledges that the Agent has a
                  First-Ranking Security Interest over the applicable bank accounts and that upon
                  written notice from the Agent, the Agent can exert control over such accounts.

         Notwithstanding anything herein to the contrary, it is understood and agreed that no
         deposit account agreements or account agreement shall be required with respect to (i) any
         account which is not used as a primary concentration account for collection of proceeds
         of Eligible Receivables or for the direct collection of such proceeds or (ii) any other
         Excluded Account.

         7.1.14 Formation of Material Subsidiaries. In the event that any Borrower or any other
         Credit Party forms or acquires a Material Subsidiary, or a Person otherwise becomes a
         Material Subsidiary (in each case, for the avoidance of doubt, other than a Securitization
         SPE), after the Amendment and Restatement Date then, subject to Section 8.9, the
         Canadian Borrower shall deliver, and shall cause the applicable Subsidiary to deliver, to
         the Agent not later than (a) thirty (30) Business Days in the case of Material Subsidiaries
         formed outside of Canada and the U.S., or (b) ten (10) Business Days for Material

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         Subsidiaries formed in Canada or the U.S., in either case, after the formation or
         acquisition of such Material Subsidiary (or such longer period as the Agent may approve,
         acting reasonably), a full recourse guarantee and the, within the applicable period
         therefor, any other Security relative to such Material Subsidiary referred to in Section 8.1
         or such other Security as may be requested by the Agent, acting reasonably, together with
         related corporate documentation and legal opinions as may be requested by the Agent,
         acting reasonably.

         7.1.15 Ownership of Credit Parties. The Canadian Borrower will at all times be the
         (direct or indirect) sole beneficial owner of all of the issued and outstanding shares of
         each other Credit Party, other than Holdco.

         7.1.16 EBITDA; Ownership of Assets. Except as otherwise specifically permitted
         hereunder, the Canadian Borrower will ensure at all times that:

         (a)      the EBITDA directly attributed to the Credit Parties determined on an
                  unconsolidated but combined basis is equal to at least 90% of the Canadian
                  Borrower’s EBITDA determined on a consolidated basis;

         (b)      the Credit Parties legally, beneficially and directly own at least 90% of the
                  Consolidated Net Tangible Assets of the Canadian Borrower (based on the
                  amount thereof set forth in the financial statements most recently delivered as
                  required hereunder); and

         (c)      the EBITDA directly attributed to the OECD Credit Parties determined on a
                  consolidated basis is equal to at least 85% of the Canadian Borrower’s EBITDA
                  determined on a consolidated basis; provided, that for the purposes of such
                  calculation any Distribution remitted to an OECD Credit Party by any other
                  Subsidiary of the Borrower shall be included in EBITDA;

         7.1.17 Colombian Free Cash Flow Distribution. The Canadian Borrower will cause the
         Distribution to it or any other Credit Party whose governing jurisdiction is in Canada, the
         U.S., Barbados or another jurisdiction reasonably acceptable to the Required Lenders by
         way of dividend (or a series of dividends) of no less than 75% of the Colombian Free
         Cash Flow for each Fiscal Year within 60 days of the end of such Fiscal Year; provided
         that such 60 day period may be extended by the Required Lenders, acting reasonably,
         upon the written request of the Canadian Borrower in light of cash flow needs in
         Colombia at the time of such scheduled distribution.

         7.1.18 Further Assurances. Provide the Agent and the Lenders with such further
         information, financial data, documentation and other assurances as they may reasonably
         require from time to time in order to ensure ongoing compliance with the terms of this
         Agreement and to achieve the spirit and intent of this Agreement.

         7.1.19 Reviews. Within 60 days of written demand by the Agent, the Borrowers will
         have initiated an independent business review by a third party satisfactory to the Agent,
         acting reasonably, of the business and operations of the Borrowers and their operations in


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         scope, form and substance satisfactory to the Agent, acting reasonably; provided, only
         one such demand by the Agent may be made under this Section 7.1.19.

         7.1.20 Minimum Margin Availability. The Canadian Borrower will not permit the
         Minimum Margin Availability measured at the end of each Fiscal Quarter to be less than
         U.S. $5,000,000.

         7.1.21 Minimum Liquidity. The Borrowers will not permit the Minimum Liquidity
         measured at the end of each Fiscal Quarter to be less than U.S. $10,000,000.

7.2      Negative Covenants

        While there are any Outstanding Advances under the Facilities or while any of the
Facilities remains available to the Borrowers, each Borrower hereby covenants and agrees with
the Agent and the Lenders that it will not, and will ensure that each of its Material Subsidiaries
does not, without the prior written consent of the Agent on behalf of the Lenders:

         7.2.1   Liens. Grant or suffer to exist any Lien in respect of any of its property or assets,
         except Permitted Liens.

         7.2.2  Funded Debt. Create, incur or assume any Funded Debt, except Permitted
         Funded Debt.

         7.2.3   Investments/Financial Assistance. Provide Financial Assistance to, or invest
         money in, any Person, firm, joint venture, partnership, company or corporation whether
         by way of loan, acquisition of shares, acquisition of debt obligations or in any other way
         whatsoever (collectively “Investments”), except for the following (each, a “Permitted
         Investment”):

         (a)      Investments in cash and Cash Equivalents;

         (b)      Permitted Intercompany Loans;

         (c)      Guarantees which comprise part of the Security, are in respect of other Permitted
                  Funded Debt or obligations of other Credit Parties or related to indemnities
                  incurred in the ordinary cause of business;

         (d)      Permitted Acquisitions;

         (e)      Investments in other Credit Parties; provided, that such Investments together with
                  any Financial Assistance provided to any Non-OECD Guarantors does not exceed
                  in the aggregate at any one time an amount equal to 10% of the net book value of
                  the Canadian Borrower’s Consolidated Net Tangible Assets;

         (f)      loans and advances by the Credit Parties to employees or directors of any Credit
                  Party in the ordinary course of business (including for travel, entertainment and
                  relocation expenses) not in excess of $250,000 at any one time outstanding in the


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                  aggregate so long as no Default or Event of Default has occurred and is continuing
                  or would reasonably be expected to result therefrom;

         (g)      Investments made by the Credit Parties in the ordinary course of business
                  consisting of (i) accounts receivables, (ii) negotiable instruments held for
                  collection in the ordinary course of business, (iii) lease, utility and other similar
                  deposits in the ordinary course of business, (iv) securities or debt obligations of
                  trade creditors or customers that are received in settlement of bona fide disputes
                  or pursuant to any plan of reorganization or liquidation or similar arrangement
                  upon the bankruptcy or insolvency of such trade creditors or customers;

         (h)      Investments in existence on the Amendment and Restatement Date and set forth
                  on Schedule 7.2.3 hereto and, in each case, any extensions or renewals thereof, so
                  long as the amount of any Investment made pursuant to this clause (h) is not
                  increased at any time above the amount of such Investment set forth on Schedule
                  7.2.3 hereto;

         (i)      Acquisitions outside of Canada and the U.S., Investments in joint ventures or
                  other minority interest holdings and other Investments in, or Financial Assistance
                  to, Persons which are not Credit Parties (provided, that no such Acquisitions or
                  Investments would result in a breach of Section 7.2.17 or otherwise involve
                  Persons or countries that are the subject of Economic Sanctions or that any
                  Lender’s internal compliance policy would prohibit it from engaging in business
                  with) which, after giving pro forma effect to all other Acquisitions, Investments or
                  Financial Assistance permitted in reliance on this clause (i) since the date of the
                  last consolidated balance sheet of the Canadian Borrower delivered to the Agent
                  hereunder and outstanding on the date of such Acquisition, Investment or
                  Financial Assistance, do not exceed at any one time, in the aggregate, 15% of
                  Shareholders’ Equity (taking into account any increase in Shareholders’ Equity as
                  of such date since the date of the last consolidated balance sheet of the Canadian
                  Borrower delivered to the Agent hereunder, and with the fair market value of each
                  Investment being measured at the time made and without giving effect to
                  subsequent changes in value); so long as no Default or Event of Default has
                  occurred and is continuing or would reasonably be expected to result therefrom;
                  and further provided that in the case of any Acquisitions under this clause (i), if
                  more than 50% of the revenues generated by the Acquired Business are derived
                  from outside of Canada or the U.S., then the applicable Credit Party must receive
                  the prior consent of the Required Lenders thereto;

         (j)      extensions of trade credit by the Canadian Borrower and its Material Subsidiaries
                  in the ordinary course of business;

         (k)      Investments arising as a result of Permitted Securitization Financings;

         (l)      any Acquisition, Financial Assistance or Investment made in respect of Project
                  Desert, the Anchor Acquisition or the Terra Acquisition;


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         (m)      Investments in the United Joint Venture in an aggregate amount not to
                  exceed (i) during the Fiscal Year ending December 31, 2019, U.S. $12,000,000
                  and (ii) during the Fiscal Year ending December 31, 2020, U.S. $8,000,000;
                  plus, in each case, an amount equal to any returns actually received in
                  respect of any such Investments (provided that any such returns reinvested
                  in the United Joint Venture shall not be included in the calculation of
                  EBITDA);

         provided, that notwithstanding the foregoing, during the Covenant Relief Period, the
         Borrowers and the Material Subsidiaries shall not (i) complete any Acquisitions pursuant
         to Sections 7.2.3(d) or 7.2.3(i) without the prior written consent of the Required Lenders,
         or (ii) make any Investment or provide any Financial Assistance other than Investments
         and Financial Assistance: (x) existing as of the Amendment and Restatement Date and set
         forth on Schedule 7.2.3, and any extension or renewal thereof; (y) permitted under
         paragraphs (a), (b), (c), (e), (g), (j), (k), (l) or (lm) of this Section 7.2.3; and/or (z) made
         in or provided to one or more joint ventures or Persons that are not Credit Parties in an
         aggregate amount, in the case of this clause (z), not to exceed $3,000,000.

         7.2.4     Disposition of Assets. Directly or indirectly sell, lease, assign, transfer, convey or
         otherwise dispose of all or any part of its assets, except the Credit Parties may sell, lease,
         assign, transfer, convey or otherwise dispose of the following:

         (a)      inventory and Cash Equivalents in the ordinary course of business;

         (b)      worn out, obsolete, no longer useful or immaterial, including assets sales, licenses,
                  sublicenses or other dispositions or abandonment of intellectual property of a
                  Credit Party or its subsidiaries determined by the management of such Credit
                  Party to be no longer useful or necessary in the operation of the business of such
                  Credit Party or any of its subsidiaries;

         (c)      assets to a Borrower or any other Credit Party or if a Subsidiary is not a Credit
                  Party, to the Credit Parties or any of their Subsidiaries;

         (d)      transactions permitted by Section 7.2.8, Permitted Investments and Permitted
                  Distributions permitted by Section 7.2.5 hereof;

         (e)      transfers of properties that have been subject to a casualty to the respective insurer
                  of such property as part of an insurance settlement any casualty or other event of
                  loss; provided, that the requirements of Section 5.3.1 are complied with in
                  connection therewith;

         (f)      consignments in the ordinary course of business;

         (g)      dispositions of accounts receivables and other assets of Subsidiaries (other than
                  Credit Parties) in the ordinary course of business;

         (h)      any assets the value of which (at the time the disposition is made) is not more than
                  the greater of (i) $5,000,000 and (ii) 5% of the net book value of the Canadian

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                  Borrower’s Consolidated Net Tangible Assets as of the end of the Fiscal Quarter
                  immediately prior to the date of such disposition, in any Fiscal Year; provided,
                  that for such purpose, if such sale, transfer or other disposition is as part of an
                  exchange of equipment to the extent that (A) such equipment is exchanged for
                  credit against the purchase price of similar replacement property or (B) the
                  proceeds thereof are reasonably promptly applied to the purchase price of such
                  replacement property, then the amount of such purchase price of such replacement
                  property in excess of such credited value will still count towards the determination
                  of such 5% of net book value;

         (i)      the disposition of Receivables pursuant to a Permitted Factoring Transaction;

         (j)      the disposition of Receivables pursuant to a Permitted Securitization Financing,
                  provided that the Receivables subject to such disposition originated in the United
                  States;

         (k)      any Anchor Sale and Leaseback Transaction, provided the proceeds of each such
                  Anchor Sale and Leaseback Transaction shall be used to repay the Operating
                  Facilities in accordance with Section 5.3.6;

         (clauses (a)-(k), collectively, the “Permitted Dispositions”); provided, that the Borrower
         and its Subsidiaries may, with the prior consent of the Required Lenders, sell, lease,
         assign, transfer, convey or otherwise dispose of all or any part of its assets in a transaction
         that does not constitute a Permitted Disposition to the extent that the proceeds thereof are
         to be used in accordance with Section 5.3.1.

         7.2.5    Distributions. Make any Distributions other than Permitted Distributions;
         provided that, during the Covenant Relief Period, only Distributions described in
         paragraphs (b), (f), (g) and (i) of the definition of “Permitted Distribution” shall be
         permitted under this Section 7.2.5.

         7.2.6   Dealing with Related Parties. Consummate any transaction with any Affiliate of
         Holdco or the Canadian Borrower or any of its Subsidiaries other than the following:

         (a)      any transaction that is on fair and reasonable terms that are substantially as
                  favorable to the Canadian Borrower and/or its applicable Subsidiary as would be
                  obtainable by the Canadian Borrower or such Subsidiary at the relevant time in a
                  comparable arm’s length transaction with a Person that is not an Affiliate;

         (b)      payments and transactions provided for in the Material Agreements;

         (c)      any issuances of securities or other payments, awards or grants in cash, securities
                  or otherwise pursuant to, or the funding of, employment agreements, stock option
                  and stock ownership plans approved by the board of directors (or similar
                  governing body) of Holdco, the Canadian Borrower or any of its Subsidiaries or
                  the senior management thereof;



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         (d)      employment arrangements and transactions pursuant thereto entered into in the
                  ordinary course of business between Credit Parties and any employee thereof
                  including any employee compensation, benefit plan or arrangement, any health,
                  disability or similar insurance plan which covers employees;

         (e)      the payments of reasonable and customary fees, compensation, benefits and
                  incentive arrangements paid or provided to, and indemnities provided on behalf
                  of, officers, directors, employees or consultants of Holdco (or any direct or
                  indirect parent thereof), the Canadian Borrower or any of its Subsidiaries;

         (f)      any transaction with an Affiliate where the only consideration paid by a Credit
                  Party is capital stock of such Credit Party or any of its Subsidiaries;

         (g)      the payment of any Permitted Distribution;

         (h)      transactions with customers, clients, suppliers or purchasers or sellers of goods or
                  services, in each case, in the ordinary course of business and otherwise in
                  compliance with the terms and conditions of this Agreement that are fair to the
                  Credit Parties (as determined in good faith by the board of directors of the
                  Canadian Borrower);

         (i)      transactions (i) among the Credit Parties or (ii) between Subsidiaries that are not
                  Credit Parties, in each case that are permitted by this Agreement;

         (j)      so long as no Default or Event of Default shall have occurred and be continuing at
                  the time of any action described below or would result therefrom the payment of
                  transaction, advisory or similar fees payable to the Palladium or any Affiliate
                  thereof in an aggregate amount in any Fiscal Year not to exceed $1,000,000,
                  provided, that such fee is paid in connection with a bona fide transaction;

         (k)      those transactions set forth on Schedule 7.2.6 which are in place as of the
                  Amendment and Restatement Date;

         (l)      transactions pursuant to any Permitted Securitization Financing; and

         (m)      the Anchor Acquisition Promissory Notes.

         7.2.7    Change or Cease Business. Cease to carry on the business or change in any
         material respect the nature of the business as is currently being carried on by it as of the
         Amendment and Restatement Date, including, for the avoidance of doubt, transactions in
         connection with a Permitted Securitization Financing, other than as part of a business
         reasonably related or ancillary thereto, or as otherwise approved in writing by the
         Required Lenders, acting reasonably.

         7.2.8    Corporate Changes. Consummate any transaction whereby all or a substantial
         portion of its undertaking, property and assets would become the property of any other
         Person, whether by way of reconstruction, reorganization, recapitalization, consolidation,
         amalgamation, merger, transfer, sale or otherwise; nor merge, amalgamate or acquire any

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         other Person or all or substantially all of its assets; except that any of the foregoing
         transactions may take place: (a) among the Credit Parties if prompt written notice is given
         to the Agent, a Material Adverse Change will not occur as a result thereof and the
         applicable Credit Parties provide such additional or replacement Security as the Agent
         may reasonably require, (b) to consummate any Permitted Acquisition and (c) in
         connection with any Permitted Dispositions of all or substantially all of the assets of a
         Subsidiary of the Canadian Borrower; provided that in any such event which involves the
         Canadian Borrower, the successor entity is a Person formed under the Laws of Canada or
         any province thereof remains a Borrower under the same Facilities that it was a borrower
         under immediately prior to such event.

         7.2.9     Constating Documents. Amend or restate or otherwise alter the articles of
         incorporation, amalgamation or continuance, as applicable, or by-laws of (i) any Credit
         Party in any manner that would reasonably be expected to materially and adversely affect
         the rights of the Agent and the Lenders under the Credit Documents or (ii) any Subsidiary
         (other than a Securitization SPE) which is not a Credit Party which would impose any
         restrictions upon the ability of such Subsidiary to make any Distributions to any Credit
         Party.

         7.2.10 Capital Expenditures. Make, or permit any Subsidiary to make, any Capital
         Expenditure in any Fiscal Year that exceeds in aggregate, for each Fiscal Year, 110% of
         the estimated maximum amount of such Capital Expenditures as set forth in the annual
         budget in respect of such Fiscal Year provided by the Canadian Borrower pursuant to
         Section 7.4.1(c) (unless such Capital Expenditures are funded entirely by the proceeds of
         equity contributions or Sales Proceeds to the extent permitted under Section 5.3.2);
         provided that, notwithstanding the foregoing, the maximum aggregate amount of Capital
         Expenditures permitted by this Section 7.2.10 shall be, for the Fiscal Year ending
         December 31, 2018, U.S. $30,000,000.

         7.2.11        Fiscal Year. Change its Fiscal Year end.

         7.2.12 Currency Hedging Agreements. Enter into or be a party to any Currency
         Hedging Agreement, unless:

         (a)      such Currency Hedging Agreement is entered into with one or more Hedge
                  Providers or other counterparties, provided that if it is with any such other
                  counterparties the obligations and liabilities thereunder shall be unsecured;

         (b)      in the case of a Currency Hedging Agreement with a Hedge Provider, the
                  Canadian Borrower shall execute an ISDA agreement and all other documentation
                  as may be required by the applicable counterparty to such Interest Rate Hedging
                  Agreement;

         (c)      such Currency Hedging Agreement is entered into for the purpose of hedging
                  against the risk of fluctuations in currencies and not for speculative purposes; and

         (d)      the maturity date of such Currency Hedging Agreement is not more than one year
                  from the date thereof and, in any event, not later than the Facilities Maturity Date.
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         7.2.13 Interest Rate Hedging Agreements. Enter into or be a party to any Interest Rate
         Hedging Agreement, unless:

         (a)      the aggregate notional amount under all such Interest Rate Hedging Agreements at
                  such time does not exceed $75,000,000;

         (b)      such Interest Rate Hedging Agreement is entered into with one or more Hedge
                  Providers or other counterparties, provided that if it is with any such other
                  counterparties the obligations and liabilities thereunder shall be unsecured;

         (c)      in the case of an Interest Rate Hedging Agreement with a Hedge Provider, the
                  Canadian Borrower shall execute an ISDA agreement and all other documentation
                  as may be required by the applicable counterparty to such Interest Rate Hedging
                  Agreement;

         (d)      such Interest Rate Hedging Agreement is entered into for the purpose of hedging
                  against the risk of fluctuations in interest rates, and not for speculative purposes;
                  and

         (e)      the maturity date of such Interest Rate Hedging Agreement is not later than the
                  Facilities Maturity Date.

         7.2.14 Use of Advances Sanctions. Directly or indirectly use the proceeds of Advances
         to fund operations, or finance investments in, any country that at the time is prohibited by
         Economic Sanctions, the Foreign Corrupt Practices Act, the Corruption of Foreign
         Public Officials Act (Canada) or other Applicable Law, or make payments to any country
         or Person that at the time is prohibited by Economic Sanctions, the Foreign Corrupt
         Practices Act, the Corruption of Foreign Public Officials Act (Canada) or other
         Applicable Law, or directly or indirectly fund any principal repayment with proceeds
         derived from any such country or Person that will result in a violation by a Credit Party
         (or any Lender hereunder) of such Economic Sanctions, the Foreign Corrupt Practices
         Act, the Corruption of Foreign Public Officials Act (Canada) or other Applicable Law.

         7.2.15 Use of Advances General. Use a material amount of the proceeds of any
         Advance for any purposes other than those expressly contemplated in this Agreement.

         7.2.16 Subordinated Debt. Make any payment to any holders of the Subordinated Debt
         in connection with principal, interest, fees or any other amounts in respect thereof or
         amend the terms thereof, except payments permitted in accordance with the terms of the
         applicable Subordination Agreement, and so long as no Default or Event of Default has
         occurred and is continuing or would reasonably be expected to result therefrom.

         7.2.17 Sanctions. Directly or indirectly, (i) knowingly conduct any business or engage
         in making or receiving any contribution of funds, goods or services to or for the benefit of
         any Person described in 6.1.31, (ii) knowingly deal in, or otherwise engage in any
         transaction relating to, any property or interests in property blocked pursuant to the
         Executive Order or any other Economic Sanction, or (iii) knowingly engage in or
         conspire to engage in any transaction that evades or avoids, or has the purpose of evading

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         or avoiding, or attempts to violate, any of the prohibitions set forth in any Economic
         Sanction and the Credit Parties shall deliver to the Agent any certification or other
         evidence requested from time to time confirming the Credit Parties’ compliance with this
         Section 7.2.17.

         7.2.18 Account Receivable Insurance Coverage. Provide the Agent with prior written
         notice of all proposed amendments or modifications to any Account Receivable Insurance
         and, to the extent that any such amendments or modifications (i) de-insures all or a
         portion of any Marginable Receivable that constitutes part of the Borrowing Base, (ii)
         modifies the individual country limits under the Account Receivable Insurance, (iii)
         extends any coverage period under the Account Receivable Insurance, or (iv) affects any
         of the coverage amounts or any coverage period(s) related to receivables of Petróleos
         Mexicanos or its Affiliates, shall not give effect to any such amendment or modification
         without the prior written consent of the Agent, acting reasonably, and in no case taking
         longer than 3 Business Days to provide such consent, it being understood that should the
         Agent fail to act within 3 Business Days to provide a an affirmative or negative written
         response, that failure should be deemed to be an act of consent with regards to the
         proposed amendment. For certainty, nothing in this Section 7.2.18 shall derogate from the
         obligations of the Borrowers, or the rights of the Agent, under Section 7.1.10.

         7.2.19 Cash Hoarding. Use the proceeds of any Advance to accumulate or maintain
         cash or Cash Equivalents in one or more depository or investment accounts maintained by
         any Credit Party in an amount, in the aggregate, greater than $20,000,000, but excluding
         therefrom cash or Cash Equivalents accumulated or maintained for a specified business
         purpose (to the extent permitted hereunder and other than simply accumulating cash
         reserve in a manner that is not consistent with past practice of the Credit Parties), and, for
         certainty, the Lenders may refuse to make any requested Advance which the Lenders,
         acting reasonably, determine would result in a contravention of this Section 7.2.19.

7.3      Financial Covenants

         7.3.1   Subject to the Equity Cure provided below in Section 7.3.2, while there are any
         Outstanding Advances under the Facilities or while any of the Facilities remains available
         to the Borrowers, the Borrowers will not, without the prior written consent of the
         Required Lenders:

         (a)      permit the Net Leverage Ratio measured at the end of each Fiscal Quarter to
                  exceed (i) 4.75 to 1 for the Fiscal Quarters ending March 31, 2019 and June 30,
                  2019; (ii) 4.50 to 1 for the Fiscal Quarter ending September 30, 2019; (iii) 4.00 to
                  1 for the Fiscal Quarter ending December 31, 2019; and (iv) 3.00 to 1 for the
                  Fiscal Quarters ending March 31, 2020 and thereafter;

         (b)      permit the Fixed Charge Coverage Ratio measured at the end of each Fiscal
                  Quarter to be less than (i) 1.10 to 1 for the Fiscal Quarters ending June 30, 2018,
                  September 30, 2018 and December 31, 2018; and (ii) 1.25 to 1 for the Fiscal
                  Quarters ending March 31, 2019 and thereafter; and


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         (c)      permit the Unadjusted EBITDA measured at the end of each Fiscal Quarter to be
                  less than (i) U.S. $4,160,000 for the Fiscal Quarter ending June 30, 2018; (ii) U.S.
                  $5,980,000 for the Fiscal Quarter ending September 30, 2018; (iii) U.S.
                  $6,240,000 for the Fiscal Quarter ending December 31, 2018; and (iv) U.S.
                  $8,580,000 for the Fiscal Quarter ending March 31, 2019.

         7.3.2     In the event of any Event of Default of the financial covenants set forth in
         Section 7.3.1(a) and 7.3.1(b) (the “Designated Financial Covenants”), any equity
         contribution made by Holdco or the shareholders of Holdco to the Canadian Borrower
         will, at the request of the Canadian Borrower, be included in the calculation of EBITDA
         and/or Unadjusted EBITDA solely for the purposes of determining compliance with
         such financial covenants at the end of the applicable Fiscal Quarter and any subsequent
         period that includes such Fiscal Quarter (any such equity contribution, a “Specified
         Equity Contribution”); provided, that:

         (a)      prior written notice of the Canadian Borrower’s intention to utilize such Specified
                  Equity Contribution is received by the Agent no later than the date on which the
                  financial statements for such Fiscal Quarter or Fiscal Year (as applicable) are
                  required to be delivered as provided for in Section 7.4;

         (b)      such Specified Equity Contribution is received by the Canadian Borrower within
                  ten (10) Business Days after the Canadian Borrower being required to deliver the
                  financial statements for such Fiscal Quarter or Fiscal Year (as applicable) as
                  provided for in Section 7.4;

         (c)      the amount of any Specified Equity Contribution included in the calculation of
                  EBITDA will be no greater than: (i) the amount required to cause the Canadian
                  Borrower to be in compliance with the applicable Designated Financial Covenants
                  and (ii) 40% of EBITDA as calculated on a trailing twelve month basis;

         (d)      all Specified Equity Contributions will be disregarded for all other purposes under
                  the Credit Documents (including, to the extent applicable, calculating EBITDA
                  for purposes of determining compliance with Section 7.1.16, the Applicable
                  Margin for pricing and other items governed by reference to EBITDA or that
                  include EBITDA in the determination thereof in any respect);

         (e)      there shall be no more than four Specified Equity Contributions made during the
                  term of this Agreement and the aggregate amount of all such Specified Equity
                  Contributions shall not exceed $20,000,000;

         (f)      no Specified Equity Contribution may be made in consecutive Fiscal Quarters;
                  and

         (g)      the proceeds of all Specified Equity Contributions are actually received by the
                  Canadian Borrower and the Canadian Borrower delivered to the Agent 100% of
                  the aggregate proceeds of such Specified Equity Contribution as a Repayment
                  pursuant to Section 5.3.1(d) (each such Repayment, an “Equity Cure

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                  Repayment”), and the Equity Cure Repayment shall be ignored for purposes of
                  determining the amount of Total Net Debt of the Borrower and calculating the
                  Designated Financial Covenants and until such time that the Specified Equity
                  Contribution ceases to be calculated as EBITDA pursuant to the provisions of this
                  Section 7.3.2; provided that, (i) notwithstanding the provisions of Section 5.3.3,
                  the proceeds of each Equity Cure Repayment are to be applied first to Outstanding
                  Advances under the Term Facility in inverse order of maturity until they have
                  been fully repaid and, thereafter, to Outstanding Advances under the Operating
                  Facilities in accordance with Section 5.3.3.

         If, after giving effect to the recalculations set forth in this Section 7.3.2, the Borrower
         shall then be in compliance with the Designated Financial Covenants, the Borrower shall
         be deemed to have satisfied the requirements of the Designated Financial Covenants and
         the applicable breach or default of the Designated Financial Covenants that had occurred
         shall be deemed cured for the purposes of this Agreement (in each instance, an “Equity
         Cure”).

7.4      Reporting Requirements

         7.4.1    While there are any Outstanding Advances under the Facilities or while any of
         the Facilities remains available to the Borrower, the Borrowers shall deliver, or cause to
         be delivered, the following financial and other information to the Agent at the times
         indicated below:

         (a)      within 35 days after the end of each month after the Amendment and Restatement
                  Date: (i) monthly aged accounts receivable listings, monthly aged accounts
                  payable listings, listings of total inventory and total capital assets by stocking
                  location, cash and Cash Equivalent listing and a Borrowing Base Certificate
                  executed by the Borrower; and (ii) monthly unaudited financial statements of the
                  Borrower, which shall include a balance sheet, statement of cash flows and
                  income statement;

         (b)      promptly upon becoming available and in any event within 45 days after the end
                  of each of the first three Fiscal Quarters in each Fiscal Year, a Compliance
                  Certificate along with the Interim Financial Statements of the Borrower, which
                  shall include a balance sheet, statement of cash flows and income statement, on
                  which it is based, and the Borrower shall also make available members of its
                  senior management team for a telephone call with Lenders within five Business
                  Days of the end of each Fiscal Quarter to discuss, inter alia, the financial position
                  of the Borrower;

         (c)      promptly upon becoming available and in any event within 120 days after the end
                  of each Fiscal Year, an annual business and financial plan for the Borrower which
                  shall disclose all material assumptions utilized and shall include the following
                  items: projected financial covenant ratios, balance sheet, income statement, cash
                  flow statement and Capital Expenditure program;


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         (d)      promptly upon becoming available and in any event within 120 days after the end
                  of each Fiscal Year, the Year-end Financial Statements for the Borrower, which
                  shall include a balance sheet, statement of cash flows and income statement,
                  together with a copy of the management discussion and analysis and a
                  Compliance Certificate which shall include all new material business locations
                  and any other changes to Schedule 6.1.2;

         (e)      within 15 days of a request therefor by the Agent and only after a Material
                  Adverse Effect or during the continuance of a Default or Event of Default, a
                  listing of (i) each of the “serial number goods” (as defined in the Personal
                  Property Security Act (Alberta)) or “collateral” for which a security interest must
                  be indicated on a “certificate of title” (as such terms are defined under the UCC)
                  for such collateral owned by the Credit Parties and the location of such serial
                  number goods or certificate of title collateral, and (ii), a legal description of any
                  Lands; but in each case, only to the extent that such assets are included in the
                  Borrowing Base;

         (f)      (i) within five Business Days of the end of each calendar week, solely during the
                  Covenant Relief Period, a weekly liquidity report in form and substance
                  satisfactory to the Agent, including, but not limited to, global cash balances and
                  global facility utilization of the Borrower, including individual account
                  summaries; and (ii) solely during the Covenant Relief Period, a rolling thirteen
                  week cash flow and Borrowing Base projection, in form and substance
                  satisfactory to the Agent, to be delivered within 10 Business Days from receipt by
                  the Borrower of the written request of the Agent for such information;

         (g)      (i) together with the delivery of the Interim Financial Statements for the Fiscal
                  Quarter ending June 30, 2018, a collateral exam based on such Interim Financial
                  Statements; and (ii) prior to December 31, 2018, updated appraisals of the
                  equipment, inventory and real estate of the Credit Parties; in each case, in form
                  and substance satisfactory to the Lenders, acting reasonably;

         (h)      provide prompt notice to the Agent of: (i) the occurrence of any Default or Event
                  of Default (for greater certainty, whether or not such Default or Event of Default
                  is continuing); (ii) any Material Adverse Change or Material Adverse Effect; (iii)
                  any material litigation affecting any Credit Party or any breach of any
                  Requirement of Environmental Law, where in either such case there is a
                  reasonable prospect that the liability of any Credit Party with respect thereto could
                  exceed Cdn. $5,000,000 in any Fiscal Year or which would reasonably be
                  expected to result in a Material Adverse Change; (iv) any material amendments to
                  or replacements of, or waivers of material breaches in respect of, the Material
                  Agreements or the Material Permits; (v) any notice of default, termination or
                  suspension received by any Credit Party in respect of material Funded Debt or in
                  respect of any Material Agreement or Material Permit; and (vi) the occurrence of
                  any ERISA Event that would reasonably be expected to have a Material Adverse
                  Effect;


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         (i)      provide prompt notice to the Agent of: (i) any labour dispute to which any Credit
                  Party is or is expected to become a party, including any strikes, lockouts or other
                  labor disputes relating to any of such Person’s plants and other facilities, which
                  could reasonably be expected to result in a Material Adverse Effect, (ii) any
                  Worker Adjustment and Retraining Notification Act or related liability incurred
                  with respect to the closing of any plant or other facility of any such Person and
                  (iii) any material liability under Applicable Law similar to the Worker Adjustment
                  and Retraining Notification Act or otherwise arising out of plant closings;

         (j)      (x) provide prompt notice to the Agent of any material notices it receives under or
                  in connection with the Accounts Receivable Insurance, including related to: (i)
                  any termination thereof, (ii) any disputed claims related thereto, (iii) any denied
                  coverage thereunder or (iv) any alleged misrepresentations given by any Credit
                  Party in connection therewith and (y) provide prior written notice of any
                  amendment of material terms of the Account Receivable Insurance;

         (k)      provide written notice to the Agent of any event or circumstance, with the giving
                  of notice or lapse of time or both, would constitute a default or event of default
                  under a Permitted Securitization Financing promptly (and in any event not less
                  than three Business Days) upon becoming aware of same constituted by a
                  Permitted Securitization Financing; provided such notice shall include reasonable
                  details of the nature of such event or circumstance and the corresponding default
                  or event of default, any applicable cure period with respect thereto and any
                  remedial actions to be taken with respect to same; and

         (l)      such additional information and documents as the Agent or the Lenders may
                  reasonably require from time to time, not otherwise inconsistent with the terms of
                  this Agreement, to ensure the ongoing compliance by the Borrower with the terms
                  and conditions of this Agreement, in form reasonably acceptable to the Agent and
                  the Lenders.

7.5      Designation of Unrestricted Subsidiaries

         (a)      The Canadian Borrower from time to time, by notice to the Agent in the form of
                  Exhibit I, shall be entitled to designate that either:

                  (i)    a Material Subsidiary will be an Unrestricted Subsidiary; or

                  (ii)   an Unrestricted Subsidiary will be a Material Subsidiary;

                  provided, that the Borrower will not be entitled to designate a Material Subsidiary
                  to be an Unrestricted Subsidiary if:

                         (A)     a Default or an Event of Default has occurred and is continuing
                                 unless the exercise of the Borrower’s discretion under paragraph (i)
                                 or (ii) above would cause such Default or Event of Default to be
                                 cured; or


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                         (B)     a Default or an Event of Default would result from or exist
                                 immediately after such a designation.

         (b)      For the avoidance of doubt, notwithstanding anything in this Agreement or the
                  Credit Documents to the contrary, for purposes of calculating the Borrowing Base,
                  the definition of “Marginable Cash” shall include the unrestricted cash
                  (determined in accordance with GAAP) and Cash Equivalents of each of QMax
                  do Brasil Solucoes do Petroleo Ltda., International Drilling Fluids and
                  Engineering Services (IDEC) Ltd. and QMax Solutions India (Project Office) of
                  QMax Solutions Inc. (or any other Subsidiary of the Borrowers in the Agent’s sole
                  discretion, acting reasonably) to the extent (a) such cash and Cash Equivalents are
                  held in collateral account/s maintained by the Agent or an affiliate thereof (or such
                  other bank deemed reasonable in the sole discretion of the Agent), and (b) the
                  Agent has received a guarantee (to the extent of the value of the pledged cash and
                  Cash Equivalents in such account; it being understood that Agent may waive this
                  requirement in its sole discretion if the circumstances warrant) and a deposit
                  account agreement or substantially equivalent agreements under the laws of such
                  local jurisdiction, in form and substance reasonably satisfactory to Agent,
                  whereby, inter alia, the Agent retains exclusive control to direct the transfer of
                  funds therefrom during the continuation of an Event of Default under Section 10.1
                  hereof (with withdrawals by the applicable Credit Party to be permitted upon
                  notice to the Agent so long as the Agent has not delivered a notice of exclusive
                  control upon the occurrence and during the continuation of an Event of Default),
                  together with evidence of all requisite registrations or filings of each such
                  agreement under Applicable Law and such other documentation reasonably
                  satisfactory to Agent, including legal opinions.

         (c)      Any Subsidiary of the Borrowers that pledges cash and/or Cash Equivalents in the
                  manner provided for in paragraph (b) above shall, notwithstanding that such
                  Subsidiary is not a Material Subsidiary, be subject to the provisions of Section
                  7.2.1 hereof; provided, such Subsidiary shall otherwise not be subject to Section
                  7.2.

         (d)      The Agent acknowledges that, as of the date hereof, Mud Movers LLC has been
                  designated as an Unrestricted Subsidiary.

7.6      Securitization SPE

         7.6.1     As of the Amendment and Restatement Date, ADF SPE, LLC, a Delaware
         limited liability company, shall be designated a Securitization SPE.

         7.6.2    After the Amendment and Restatement Date, the Canadian Borrower from time
         to time, by notice to the Agent, may designate any Unrestricted Subsidiary as a
         Securitization SPE; provided, that the Borrower will not be entitled to such a designation
         if (a) a Default or an Event of Default has occurred and is continuing (unless such
         designation would cause such Default or Event of Default to be cured) or (b) a Default or
         an Event of Default would result from or exist immediately after such a designation.

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         7.6.3         No Securitization SPE

         (a)      shall incur any Funded Debt other than Funded Debt pursuant to the Permitted
                  Securitization Financing to which it is a party;

         (b)      shall conduct any business other than (i) the acquisition of accounts receivable
                  from one or more Credit Parties, and (ii) the consummation and performance of
                  Permitted Securitization Financing.

         7.6.4    As at the Amendment and Restatement Date, the Material Subsidiaries and
         Unrestricted Subsidiaries are as set out in Schedule 6.1.2.

                                               ARTICLE 8
                                               SECURITY

8.1      Security

        Each Borrower agrees to provide (or cause to be provided) the security listed below to the
Agent on behalf of the Lenders and the Hedge Providers as continuing security for the payment
and performance of all present and future, direct and indirect, indebtedness and obligations of the
Credit Parties to the Agent, the Lenders and the Hedge Providers (on a pari passu basis) related
to the Credit Documents, the Banking Service Agreements and the Hedging Agreements:

         (a)      a general security agreement from each Borrower creating a First-Ranking
                  Security Interest in respect of all of its present and after-acquired property, assets
                  and undertaking and a floating charge over all present and future owned real
                  property;

         (b)      an unlimited Guarantee from the U.S. Borrower in respect of present and future,
                  direct and indirect, indebtedness and Obligations of the Canadian Borrower and
                  other Credit Parties to the Agent and the Lenders;

         (c)      an unlimited Guarantee from each Material Subsidiary of the Canadian Borrower
                  (excluding, for the avoidance of doubt, any Securitization SPE) which is not a
                  Borrower in respect of present and future, direct and indirect, indebtedness and
                  Obligations of the Borrowers to the Agent and the Lenders;

         (d)      a general security agreement or debenture (or other equivalent security applicable
                  in the relevant jurisdiction) from each Guarantor creating a First-Ranking Security
                  Interest in respect of all its present and after acquired property, assets and
                  undertaking and a floating charge over all present and future owned real property,
                  provided, that (a) for so long as the Encina Loan Agreement is in effect, with
                  respect to Anchor and its Subsidiaries the ranking of the First-Ranking Security
                  Interest is to be in accordance with the Encina Intercreditor Agreement and (b)
                  thereafter, so long as the Wells Fargo Credit Agreement is in effect, any
                  Receivables and other assets encumbered by a lien pursuant to the Wells Fargo
                  Credit Agreement and the other loan documents in connection therewith shall be
                  excluded from the Security of the Agent and the Lenders;

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         (e)      a limited recourse guarantee from Holdco and a share pledge agreement from
                  Holdco in respect of all of the issued and outstanding shares of the Canadian
                  Borrower owned by it;

         (f)      a securities pledge agreement or charge over shares (or other equivalent security
                  applicable in the relevant jurisdiction) in respect of the shares or units of the U.S.
                  Borrower and any Material Subsidiary owned by a Credit Party;

         (g)      prior to the incurrence of any Subordinated Debt by any Credit Party, a
                  Subordination Agreement in respect to such Subordinated Debt;

         (h)      for each Leased Property deemed material by the Required Lenders, acting
                  reasonably, a Landlord Agreement in respect of each such Leased Property;
                  provided that the Agent may impose a three month rent reserve against the
                  Borrowing Base with respect to Eligible Inventory valued in excess of $250,000
                  (per location) which is located at or on Leased Property in respect of which such
                  Landlord Agreement is not obtained;

         (i)      for each Credit Party (other than Anchor, Terra and their Subsidiaries) who does
                  not maintain all of its bank accounts exclusively with the Agent or its Affiliates,
                  deposit account control or blocked account agreements among the Agent and the
                  applicable financial institution which such bank account is maintained with, as
                  may be reasonably required by the Agent subject to the last sentence of Section
                  7.1.13;

         (j)      estoppel letters, consignments agreements, bailee letters, certificates or consents
                  from such third parties as may be reasonably required by the Agent, but subject to
                  any limitations set forth herein or in any other Credit Document; and

         (k)      such other security as may be reasonably required by the Agent and the Lenders
                  from time to time;

                  in each case, in accordance with the time periods set out in Sections 7.1.14.

8.2      General Provisions re Security; Registration

        The Security shall be in form and substance satisfactory to the Agent and the Lenders,
acting reasonably. The Agent may require that any item of Security be governed by the laws of
the jurisdiction where the property subject to such item of Security is located. The Security shall
be registered by the Borrowers where necessary or desirable to record and perfect the charges
contained therein, as determined by the Agent giving consideration to, among other things, the
cost thereof relative to the benefit to the Lenders thereof, and if the Borrowers do not so register
the Security as requested or if the registration may be effected by the secured party thereunder,
the Agent may do the same. Notwithstanding the foregoing, the parties expressly agree that no
actions shall be required under this Section 8.2 or in respect of Security generally to the extent
that the costs of obtaining such Financial Assistance or Lien or perfecting or registering such
Security outweigh the benefits afforded thereby, in the opinion of the Required Lenders, acting
reasonably, such determination to be made at the written request of the Canadian Borrower;

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provided, that the Agent and Lenders shall be entitled to re-evaluate whether the costs of
obtaining such Financial Assistance or Lien or perfecting or registering such Security outweigh
the benefits afforded thereby from time to time in their discretion.

        If any Lender determines, acting reasonably, that any Applicable Law has made it
unlawful, or that any Governmental Authority has asserted that it is unlawful for such Lender to
hold or benefit from any Guarantee and/or Security, such Lender shall notify the Agent and
disclaim any benefit of such Guarantee and/or Security to the extent of such unlawfulness,
provided that such disclaimer shall not invalidate or render unenforceable such Guarantee and/or
Security for the benefit of any of the other Lenders

8.3      Opinions re Security

        The Credit Parties shall cause to be delivered to the Agent and the Lenders the results of
all applicable searches in respect of the Credit Parties in the applicable jurisdiction as well as the
opinions of solicitors for the Credit Parties regarding their corporate status, the due authorization,
execution and delivery of the Security provided by them, all registrations in respect of the
Security, and the enforceability of such Security; all such opinions to be in form and substance
satisfactory to the Agent and its counsel, acting reasonably.

8.4      After-Acquired Property, Further Assurances

        Each Credit Party agrees to execute and deliver from time to time, and cause each of its
Material Subsidiaries to execute and deliver from time to time, all such further documents and
assurances as may be reasonably required by the Agent from time to time in order to provide the
Security contemplated hereunder, specifically including: supplemental or additional security
agreements, assignments and pledge agreements which shall include lists of specific assets to be
subject to the security interests required hereunder.

8.5      Security for Swap Documents with Former Lenders

         (a)      If a Lender ceases to be a Lender under this Agreement (for purposes of this
                  Section 8.5, a “Former Lender”), all Secured Hedging Liabilities owing to such
                  Former Lender and its Affiliates under Hedging Agreements entered into while
                  such Former Lender was a Lender shall remain secured by the Security (equally
                  and rateably) to the extent that such Secured Hedging Liabilities were secured by
                  the Security prior to such Lender becoming a Former Lender and, subject to the
                  following provisions of this Section 8.5. For certainty, any Hedging Liabilities
                  under Hedging Agreements entered into with a Former Lender or an Affiliate
                  thereof after the Former Lender has ceased to be a Lender shall not be Secured
                  Hedging Liabilities nor shall they be secured by the Security. Notwithstanding the
                  foregoing, while any Obligations remain outstanding under the Facilities, no
                  Former Lender or any Affiliate thereof shall have any right to cause or require the
                  enforcement of the Security or any right to participate in any decisions relating to
                  the Security, including any decisions relating to the enforcement or manner of
                  enforcement of the Security or decisions relating to any amendment to, waiver
                  under, release of or other dealing with all or any part of the Security; for certainty,

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                  the sole right of a Former Lender and its Affiliates with respect to the Security
                  while any Obligations remain outstanding under the Facilities is to share, on a
                  pari passu basis, in any proceeds of realization and enforcement of the Security.

         (b)      If this Agreement is terminated, all Secured Hedging Liabilities owing to any
                  Hedge Provider under Hedging Agreements entered into while such Hedge
                  Provider, or its Affiliate, was a Lender hereunder and all Obligations under
                  Banking Service Agreements between one or more Credit Parties and such Lender
                  entered into while the Lender was a Lender hereunder shall no longer be secured
                  by the Security.

8.6      Insurance Proceeds

      If insurance proceeds become payable in respect of loss of or damage to any property
owned by a Credit Party:

         (a)      if an Event of Default has occurred and is continuing at such time, the Agent shall
                  apply such proceeds against the Obligations; and

         (b)      otherwise, the Agent shall apply such excess proceeds against the Obligations in
                  accordance with Sections 5.3.1 and 5.3.2.

8.7      Qualified ECP Guarantor Keepwell

        Each Qualified ECP Guarantor hereby jointly and severally absolutely, unconditionally
and irrevocably undertakes to provide such funds or other support as may be needed from time to
time by each other Credit Party to honor all of such Credit Party’s obligations under this
Agreement and the applicable Security (provided, however, that each Qualified ECP Guarantor
shall only be liable under this Section 8.7 for the maximum amount of such liability that can be
hereby incurred without rendering its obligations under this Section 8.7, or otherwise under this
Agreement and the applicable Security, voidable under applicable law relating to fraudulent
conveyance or fraudulent transfer, and not for any greater amount). The obligations of each
Qualified ECP Guarantor under this Section 8.7 shall remain in full force and effect until its
Obligations have been discharged in full. Each Qualified ECP Guarantor intends that this Section
8.7 constitute, and this Section 8.7 shall be deemed to constitute, a “keepwell, support, or other
agreement” for the benefit of each other Credit Party for all purposes of Section 1a(18)(A)(v)(II)
of the Commodity Exchange Act.

8.8      Additional Release by Lender

        If any Lender determines, acting reasonably, that any Applicable Law has made it
unlawful, or that any Governmental Authority has asserted that it is unlawful, for such Lender to
hold or benefit from a Lien over real property pursuant to any law of the United States or any
State thereof, such Lender may notify the Agent and disclaim any benefit of such Lien to the
extent of such illegality; provided, that such determination or disclaimer shall not invalidate or
render unenforceable such Lien for the benefit of any other beneficiary of such Lien.



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8.9      Security Principles Affecting Certain Subsidiaries

       In obtaining Security from Material Subsidiaries in their respective jurisdiction of
incorporation, the Agent, the Lenders and the Canadian Borrower agree that:

         (a)      all Guarantees and Security granted will be limited to the extent necessary to
                  comply with local legal requirements, as determined by the Agent acting
                  reasonably;

         (b)      general statutory limitations, financial assistance, corporate benefit, fraudulent
                  preference, “thin capitalization” rules, tax restrictions (including tax thin
                  capitalization issues), retention of title claims and similar principles may limit the
                  ability of a Material Subsidiary to provide a Guarantee or other Security or may
                  require that the Guarantee be limited by an amount or otherwise provided that the
                  Canadian Borrower and the applicable Material Subsidiary will use reasonable
                  endeavours to overcome such obstacles and to assist in demonstrating that
                  adequate corporate benefit accrues to the relevant Guarantor;

         (c)      the Security and extent of its perfection will be agreed on the basis that the cost to
                  the Credit Parties of providing such Security shall be proportionate to the benefit
                  accruing to the Lenders;

         (d)      Material Subsidiaries will not be required to give Guarantees or enter into
                  Security if that would conflict with the fiduciary duties of their directors or
                  contravene any legal prohibition or result in a risk of personal or criminal liability
                  on the part of an officer provided that the relevant Guarantor shall use reasonable
                  endeavours to overcome any such obstacle;

         (e)      perfection of security, when required, and other legal formalities will be
                  completed as soon as practicable and, in any event, within the relevant time
                  periods specified herein or, if earlier or to the extent no such time periods are
                  specified herein, within the time periods specified by applicable law in order to
                  ensure due perfection, provided that the perfection of security granted will not be
                  required if it would have a material adverse effect on the ability of the relevant
                  Guarantor to conduct its operations and business in the ordinary course as
                  otherwise permitted by this Agreement;

         (f)      where a class of assets to be secured includes material and immaterial assets, if
                  the cost of granting Security over the immaterial assets is disproportionate to the
                  benefit of such Security, security will be granted over the material assets only.

                                          ARTICLE 9
                                    CONDITIONS PRECEDENT

9.1      Conditions Precedent to Agreement

       This Agreement shall not become effective unless and until the following conditions have
been satisfied, in each case to the satisfaction of the Agent and the Lenders:

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         (a)      the conditions precedent in Section 9.2 shall have been satisfied;

         (b)      the Agent and the Lenders shall be satisfied, in their reasonable discretion, with all
                  Material Agreements, including confirmation that Palladium beneficially owns
                  (within the meaning of Rule 13d-3 promulgated under the United States Securities
                  Exchange Act of 1934) at least 52% of the issued and outstanding shares
                  (excluding stock options) of the Canadian Borrower;

         (c)      the Credit Parties shall have obtained insurance in respect of its consolidated
                  property, business and assets, evidenced by an insurance certificate naming the
                  Agent as additional insured and first loss payee;

         (d)      the Canadian Borrower shall have in place acceptable Account Receivable
                  Insurance, evidenced by an endorsement or insurance certificate naming the Agent
                  as first loss payee;

         (e)      subject to Schedule 9.1, (A) this Agreement and all Security (or in the case of
                  Security that was previously delivered in connection with the Existing Credit
                  Agreement, an acknowledgment and confirmation from the applicable Credit
                  Party thereto if so requested by the Agent) required shall have been executed and
                  delivered and (i) in Alberta, British Columbia and each other applicable Canadian
                  jurisdiction, all registrations and deliveries necessary or desirable in connection
                  therewith shall have been made, and (ii) in any other jurisdiction, the same, as
                  applicable, shall have been delivered to the Agent in proper form for filing, and
                  (B) all legal opinions and other documentation reasonably required by the Lenders
                  in connection therewith shall have been executed and delivered, in each case, in
                  form and substance reasonably satisfactory to the Agent and the Lenders;

         (f)      the Agent and the Lenders shall have received satisfactory evidence that there are
                  no Liens affecting any of the assets of the Credit Parties, except for Permitted
                  Liens;

         (g)      the Agent and Lenders shall have received satisfactory confirmation that at least
                  80% of the Insured Receivables forming part of the Borrowing Base are derived
                  from, subject to and governed by Eligible Approved Contracts;

         (h)      the Agent shall have received an officer’s certificate, certificate of incumbency
                  and certified copies of the articles, by-laws and resolutions of the board of
                  directors of each Borrower and each other Credit Party formed under the laws of
                  Canada, the U.S. or any province or state thereof concerning the due
                  authorization, execution and delivery of the Credit Documents to which it is a
                  party, and such related matters as the Agent and the Lenders may reasonably
                  require;

         (i)      the Agent shall have received a certificate of status, certificate of compliance or
                  similar certificate for each Borrower and each other Credit Party formed under the
                  laws of Canada, the U.S. or any province or state thereof issued by its governing
                  jurisdiction;
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         (j)      the Agent and the Lenders shall have received opinions from the solicitors for the
                  Credit Parties in Alberta, British Columbia and Delaware, regarding, amongst
                  other things, its corporate status, the due authorization, execution, delivery and
                  enforceability of the Credit Documents provided by it, perfection and registration
                  of the Security, and such other matters as the Agent and the Lenders may require;

         (k)      the Agent shall have received an opinion of its solicitors, Torys LLP, with respect
                  to matters as the Agent and the Lenders may require.

         (l)      the Canadian Borrower shall have delivered a duly executed and completed
                  Borrowing Base Certificate and a pro forma Compliance Certificate;

         (m)      consolidated cash flow projections, pro forma balance sheet, income statement
                  and capital expenditure budget of the Canadian Borrower for each of the 2018,
                  2019 and 2020 Fiscal Years, including an analysis of the Mexican days of sales
                  outstanding;

         (n)      the Borrowers and the Agent shall have entered into a Fee Agreement;

         (o)      the Borrowers shall have paid to the Agent all fees and expenses (including the
                  Agent’s reasonable and documented out-of-pocket legal expenses) relating to the
                  establishment, amendment and restatement of the Facilities;

         (p)      no Material Adverse Change shall have occurred since March 31, 2018;

         (q)      the Agent shall have received satisfactory evidence that the Credit Parties have
                  obtained all necessary consents of all Governmental Authorities required in
                  connection with the execution of the Credit Documents and the consummation of
                  the transactions contemplated thereby and the Canadian Borrower shall have
                  delivered an officer’s certificate certifying same;

         (r)      each of the representations and warranties in Article 6 shall be true and correct in
                  all material respects and the Canadian Borrower shall have delivered an officer’s
                  certificate certifying same; and

         (s)      Holdco shall have received no less than $3,000,000 by way of an equity
                  contribution by Palladium, an Investor or an Affiliate thereof and shall,
                  substantially concurrently therewith, provide reasonably satisfactory evidence of
                  such receipt to the Agent.

9.2      Conditions Precedent to all Advances

        The Lenders shall have no obligation to make any Advance (including for greater
certainty the initial Advance hereunder), unless at the time of making each such Advance the
following terms and conditions shall have been satisfied:

         (a)      the representations and warranties in Article 6 shall be true and correct in all
                  material respects as if made on the date of such Advance except to the extent such

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                  representations and warranties relate to an earlier date in which case the
                  information contained in representations and warranties shall be true and correct
                  in all material respects as of such earlier date;

         (b)      no Material Adverse Effect shall have occurred since the date of the then most
                  recent Year-end Financial Statements;

         (c)      no Default or Event of Default shall have occurred and be continuing, nor shall
                  the making of the Advance result in the occurrence of any Default or Event of
                  Default;

         (d)      no Borrowing Base Shortfall shall and be continuing, nor shall the making of the
                  Advance result in the occurrence of any Borrowing Base Shortfall;

         (e)      after giving effect to the proposed drawdown, the outstanding principal of all
                  Outstanding Advances under the applicable Facility shall not exceed the
                  maximum amount of such Facility; and

         (f)      the Borrower shall have given a Drawdown Request to the Agent in accordance
                  with the notice requirements provided herein (except in respect of Advances in the
                  form of Overdrafts).

                                         ARTICLE 10
                                    DEFAULT AND REMEDIES

10.1     Events of Default

       The occurrence of any one or more of the following events, after the expiry of any
applicable cure period set out below, shall constitute an event of default under this Agreement
(an “Event of Default”):

         (a)      if,

                  (i)     any Credit Party makes default in the due and punctual payment of any
                          principal amount owing under the Credit Documents, as and when the
                          same becomes due and payable, whether at maturity or otherwise;

                  (ii)    any Credit Party makes default in the due and punctual payment of Interest
                          or fees owing under the Credit Documents (other than the Hedging
                          Agreements), as and when the same become due and payable, whether at
                          maturity or otherwise and such default continues for a period of three
                          Business Days after written notice thereof is given to the applicable Credit
                          Party by the Agent; or

                  (iii)   any Credit Party makes default in the due and punctual payment of any
                          amounts in excess, in the aggregate, of $1,000,000 owing under the
                          Hedging Agreements with a Hedge Provider, as and when the same
                          become due and payable, whether at maturity or otherwise and such

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                         default continues for a period of ten (10) Business Days after written
                         notice thereof is given to the applicable Credit Party by the applicable
                         Hedge Provider;

         (b)      the Borrower fails to be in compliance with any of the covenants set out in Section
                  7.2 or Section 7.3 (subject to the Equity Cure in compliance with Section 7.3.2);

         (c)      any representation or warranty provided by a Credit Party to the Agent or the
                  Lenders herein or in any other Credit Document was incorrect in any material
                  respect on the date on which such representation or warranty was made;

         (d)      any Credit Party fails in a material way to perform or comply with any of its
                  covenants or obligations contained in this Agreement or any other Credit
                  Document (other than those set out in Subsections (a), (b) and (c) above);
                  provided, that if such non-compliance is capable of remedy within 30 days after
                  notice thereof from the Agent and such Credit Party diligently attempts to remedy
                  such non-compliance and periodically informs the Agent of its efforts in this
                  regard, and such non-compliance is remedied within such period, then such
                  non-compliance shall be deemed not to constitute an Event of Default;

         (e)      the occurrence of a Change of Control;

         (f)      any one or more of the Credit Parties is in default in the payment or performance
                  of any of its or their indebtedness or obligations under any agreement relating to
                  any Funded Debt (other than the Obligations) where the principal amount owing
                  under such agreements in the aggregate is in excess of $10,000,000 (after the
                  expiry of any grace or cure periods relating thereto), and in either case, such
                  indebtedness or obligations have been, or may be, accelerated, unless such default
                  is waived by the applicable counterparties or holders of such debt in accordance
                  with its terms;

         (g)      one or more final judgments or decrees for the payment of money shall have been
                  obtained or entered against any one or more of the Credit Parties in excess of
                  $10,000,000 in the aggregate and is not released, bonded, satisfied, discharged,
                  vacated, or stayed within 30 days;

         (h)      an Insolvency Event occurs in respect of any Credit Party or any Subsidiary of the
                  Borrowers that pledges cash and/or Cash Equivalents in accordance with Section
                  7.5(b) hereof; provided, this clause (h) shall exclude an Insolvency Event in
                  respect of any Securitization SPE.

         (i)      the Credit Parties (taken as a whole) cease (or take an affirmative action towards
                  ceasing) to carry on business, or a substantial part thereof, or make or threaten to
                  make (or take an affirmative action towards making) a bulk sale of their property,
                  except to the extent specifically permitted hereunder;

         (j)      the property of any one or more of the Credit Parties having a fair market value in
                  excess of $10,000,000, in aggregate, shall be seized (including by way of

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                  execution, attachment, garnishment or distraint) or any Lien thereon shall be
                  enforced, or such property shall become subject to any charging order or equitable
                  execution of a court, or any writ of enforcement, writ of execution or distress
                  warrant with respect to obligations in excess of $10,000,000, in aggregate, shall
                  exist in respect of any one or more of any of them, or such property, or any sheriff,
                  civil enforcement agent or other Person shall become lawfully entitled to seize or
                  distrain upon such property under the Civil Enforcement Act (Alberta), the
                  Workers’ Compensation Act (Alberta), the Personal Property Security Act
                  (Alberta) or any other applicable Laws whereunder similar remedies are provided,
                  and in any case such seizure, execution, attachment, garnishment, distraint,
                  charging order or equitable execution, or other seizure or right, shall continue in
                  effect and not be released or discharged for more than 30 days;

         (k)      a Material Adverse Change has occurred since the date of the then most recent
                  Year-end Financial Statements and remains continuing for more than 30 days after
                  notice thereof is given to the Canadian Borrower by the Agent;

         (l)      if an ERISA Event shall have occurred that would reasonably be expected to have
                  a Material Adverse Effect;

         (m)      any Credit Document or any material provision thereof is or is declared by any
                  court of competent jurisdiction to be unenforceable, or any Credit Party terminates
                  or purports to terminate its liability under any Credit Document or disputes the
                  validity or enforceability of such Credit Document;

         (n)      any of the Security ceases to constitute a valid and perfected First-Ranking
                  Security Interest over Collateral of a value in excess of $5,000,000 in the
                  aggregate and the Borrower shall have failed to remedy such default within 5 days
                  of becoming aware of such fact and being provided by the Agent with any
                  documentation required to be executed to remedy such default; and

         (o)      if any Borrower fails to eliminate a Borrowing Base Shortfall as provided in
                  Section 5.3.5.

        Notwithstanding the foregoing, a declaration of an Event of Default under clause (i)
above shall not: (1) prevent the commencement of a proceeding under Law 1116 of 2006 (“Law
1116”) or the filing of a petition in Colombia to commence a proceeding under Law 1116 with
respect to any Colombian Branch of any Credit Party, whether in a voluntary or involuntary
manner; (2) be construed to mean that the purpose of this Section is to prevent or create obstacles
to prevent, directly or indirectly, that proceedings be commenced in Colombia under Law 1116
with respect to any Colombian Branch of any Credit Party; (3) prohibit any Colombian Branch of
any Credit Party from negotiating or entering into a restructuring agreement under Law 1116; or
(4) impose any restrictions or prohibitions, or unfavorable effects “efectos desfavorables” upon
any Colombian Branch of any Credit Party for the negotiation or execution of a restructuring
agreement under Law 1116. The rights of the Lenders under this Section may not be exercised in
connection with clause (i) above if and for so long as a proceeding is commenced or a petition is
filed in Colombia to commence a proceeding under Law 1116 with respect to any Colombian

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Branch clause (i) above, whether in a voluntary or involuntary manner or any Colombian Branch
clause (i) above engage in negotiations to enter into, or enters into a restructuring agreement in
Colombia under Law 1116.

10.2     Acceleration; Additional Interest

        Upon the occurrence of an Insolvency Event in respect of any Credit Party, the
Obligations shall become immediately due and payable, without the necessity of any demand
upon or notice to the Borrower by the Agent and the Swingline shall be cancelled. Upon the
occurrence and during the continuation of any Event of Default other than such an Insolvency
Event, the Agent, at the request of and on behalf, of the Required Lenders, shall by written notice
to the Borrowers declare the Obligations to be immediately due and payable. From and after the
date of the occurrence of an Event of Default and for so long as such Event of Default continues,
both before and after the Acceleration Date, all Outstanding Advances may bear interest or fees
at the Default Rate in order to compensate the Lenders for the additional risk associated
therewith.

10.3     Acceleration of Certain Contingent Obligations

        Upon the occurrence of an Event of Default which is continuing, any Lender which has
issued a Bankers’ Acceptance, BA Equivalent Loan, LIBOR Loan or Letter of Credit or entered
into a Hedging Agreement with Credit Party may make a Canadian Dollar Prime Rate Loan, a
U.S. Dollar Base Rate Loan or a U.S. Dollar Prime Rate Loan, as applicable, to a Borrower in an
amount equal to the face amount of such Bankers’ Acceptance, BA Equivalent Loan, LIBOR
Loan or Letter of Credit, or the amount required to unwind such Hedging Agreement (such
amount to be determined in accordance with the terms thereof), as the case may be; and the
proceeds of any such Loan shall be held by such Lender and used to satisfy the Lender’s
obligations under the said Bankers’ Acceptance, BA Equivalent Loan, LIBOR Loan or Letter of
Credit as such becomes due, or to effect the unwinding of such Hedging Agreement. Any such
Loan shall bear interest at the rate and in the manner applicable to Canadian Dollar Prime Rate
Loans, U.S. Dollar Base Rate Loans or U.S. Dollar Prime Rate Loan, as applicable, under the
Facility under which such Bankers’ Acceptance, BA Equivalent Loan, LIBOR Loan or Letter of
Credit was issued. Any such Loan made in respect of a Hedging Agreement shall bear interest at
the rate and in the manner applicable to Canadian Dollar Prime Rate Loans under the Canadian
Operating Facility which provides for the highest interest rate at such time.

10.4     Combining Accounts, Set-Off

       Upon the occurrence and during the continuation of an Event of Default, in addition to
and not in limitation of any rights now or hereafter granted under Applicable Law, each Lender
may without notice to any Credit Party at any time and from time to time:

         (a)      combine, consolidate or merge any or all of the deposits or other accounts
                  maintained with such Lender by such Credit Party in respect of this Agreement
                  (whether term, notice, demand or otherwise and whether matured or unmatured)
                  and such Credit Party’s obligations to such Lender hereunder; and



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         (b)      set off, apply or transfer any or all sums standing to the credit of any such deposits
                  or accounts in or towards the satisfaction of the said obligations,

including all claims of any nature or description arising out of or connected with this Agreement,
including contingent obligations of the Lenders in respect of unmatured Bankers’ Acceptances,
in which case the Agent or such Lender will promptly notify the Borrower thereof after the
occurrence thereof; provided, that the Agent’s or such Lender’s failure to give any such notice
will not affect the validity thereof. Nothing contained in the Credit Documents will require the
Agent or a Lender to exercise any right, or will affect the right of the Agent or a Lender to
exercise and retain the benefits of exercising any right, with respect to any Obligations existing
otherwise than pursuant to the Credit Documents.

10.5     Attorney in Fact

        Each Borrower hereby irrevocably constitutes and appoints the Agent and any officer or
agent thereof, with full power of substitution, as its true and lawful attorney in fact with full
irrevocable power and authority in the place and stead of such Borrower and in the name of such
Borrower or in its own name, from time to time in the Agent’s discretion, for the purpose of
carrying out the terms of the Credit Documents, to take any and all appropriate action and to
execute any and all documents and instruments which may be necessary or desirable to
accomplish the purposes of the Credit Documents and which such Borrower being required by
the terms thereof to take or execute has failed to take or execute; provided, that this power of
attorney will not be effective until the occurrence and during the continuance of any Event of
Default. Each Borrower hereby ratifies all that said attorneys will lawfully do or cause to be done
by virtue hereof. This power of attorney is a power coupled with an interest and will be
irrevocable until all of the Obligations under the Credit Documents have been unconditionally
and irrevocably paid and performed in full. Each Borrower also authorizes the Agent, at any time
and from time to time following the occurrence and during the continuance of any Event of
Default, to execute any endorsements, assignments or other instruments of conveyance or
transfer pursuant to the Security. If requested by the Agent, each Borrower will cause each other
Credit Party to constitute and appoint the Agent and any officer or agent thereof, with full power
of substitution, as its true and lawful attorney in fact in accordance with the foregoing provisions
of this Section 10.5.

10.6     Appropriation of Monies

       After the occurrence and during the continuation of an Event of Default, the Agent may
from time to time apply any Proceeds of Realization against any portion or portions of the
Obligations, and the Borrowers may not require any different application. The taking of a
judgment or any other action or dealing whatsoever by the Agent or the Lenders in respect of the
Security shall not operate as a merger of any of the Obligations hereunder or in any way affect or
prejudice the rights, remedies and powers which the Agent or the Lenders may have, and the
foreclosure, surrender, cancellation or any other dealing with any Security or the said obligations
shall not release or affect the liability of the Borrowers or any other Person in respect of the
remaining portion of the Obligations.



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10.7     No Further Advances

        The Lenders shall not be obliged to make any further Advances (including honouring any
cheques drawn by a Borrower which are presented for payment) from and after the earliest to
occur of the following: (a) delivery by the Agent to the Borrowers of a written notice that a
Default or an Event of Default has occurred and is continuing and that as a result thereof no
further Advances will be made (whether or not such notice also requires immediate repayment of
the Obligations) and (b) the occurrence and continuance of an Event of Default under Section
10.1(h).

10.8     Remedies Cumulative

        All of the rights and remedies granted to the Agent and the Lenders in this Agreement,
and any other Credit Documents or instruments in existence between the Parties or contemplated
hereby, and any other rights and remedies available to the Agent and the Lenders at law or in
equity, shall be cumulative. The exercise or failure to exercise any of the said remedies shall not
constitute a waiver or release thereof or of any other right or remedy, and shall be non-exclusive.

10.9     Performance of Covenants by Agent

        If a Credit Party fails to perform any covenant or obligation to be performed by it
pursuant to this Agreement, the Agent, at the request of the Required Lenders (in their sole
discretion), after written notice to the Borrowers, perform any of the said obligations but shall be
under no obligation to do so; and any amounts expended or advanced by the Agent for such
purpose shall be payable by the Borrowers upon demand, together with interest thereon at the
highest rate then applicable to the Facilities.

10.10 Purchase of Participation Following Acceleration

        After all Obligations are declared by the Agent to be due and payable pursuant to Section
10.2, (i) each Lender agrees that it will at any time or from time to time thereafter at the request
of the Agent as required by any Lender, purchase at par on a non-recourse basis a participation in
the Outstanding Advances owing to each of the other Lenders under the Operating Facilities and
make any other adjustments as are necessary or appropriate, in order that the Outstanding
Advances owing to each of the Lenders under the Operating Facilities, as adjusted pursuant to
this Section 10.10, will be in the same proportion as each Lender’s Commitment under all the
Operating Facilities was to the aggregate Commitment of all Lenders under all the Operating
Facilities immediately prior to the Event of Default resulting in such declaration; (ii) the amount
of any repayment made by or on behalf of the Credit Parties under the Credit Documents or any
proceeds received by the Agent or the Lenders pursuant to Section 11.7 will be applied by the
Agent in a manner such that to the extent possible the amount of the Outstanding Advances
owing to each Lender under the Operating Facilities after giving effect to such application will be
in the same proportion as each Lender’s Commitment under all the Operating Facilities was to
the aggregate Commitment of all Lenders under all the Operating Facilities immediately prior to
the Event of Default resulting in such declaration; provided that: (i) HSBC US shall not purchase
any participation under this Section 10.10 from HSBC Bank Canada (and provided that for
certainty, the foregoing proviso shall not affect the obligations of HSBC US to any of the other

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Lenders under this Section 10.10); and (ii) if Applicable Laws or a Lender's internal regulations
and policies prohibits such Lender from purchasing a participation in Outstanding Advances
owing by a Borrower other than the Canadian Borrower, such Lender shall not be required to
purchase a participation in the Outstanding Advances owing by such Borrower, provided that
such Lender hereby indemnifies the other Lenders for its Proportionate Share of such
Outstanding Advances as if such purchase had occurred.

                                      ARTICLE 11
                            ADMINISTRATION OF THE FACILITIES

11.1     Authorization and Action

        Each Lender hereby irrevocably appoints and authorizes the Agent to be its agent in its
name and on its behalf and to exercise such rights or powers granted to the Agent or the Lenders
under the Credit Documents to the extent specifically provided therein and on the terms thereof,
together with such powers and authority as are reasonably incidental thereto. As to any matters
not expressly provided for by the Credit Documents, the Agent will not be required to exercise
any discretion or take any action, but will be required to act or to refrain from acting (and will be
fully indemnified and protected by the Lenders to the greatest extent permitted by Law in so
acting or refraining from acting) upon the instructions of the Required Lenders, and such
instructions will be binding upon all Lenders; provided, however, that the Agent will not be
required to take any action which, in the opinion of the Agent, might expose the Agent to liability
in such capacity, which could result in the Agent incurring any costs and expenses, or which is
contrary to the spirit and intent of this Agreement.

11.2     Decision-Making

         11.2.1 Any amendment to this Agreement relating to the following matters shall require
         the unanimous agreement of the Lenders:

         (a)      decreases in interest rates or fees payable in respect of any Facility;

         (b)      increases in the maximum amount of credit available under any Facility;

         (c)      extensions, or changes to the definition, of the Facilities Maturity Date;

         (d)      extensions or postponements of the scheduled dates or the scheduled amounts for
                  Repayments hereunder;

         (e)      reductions in the Outstanding Advances under any Facility;

         (f)      releases of all or substantially all of the Security, unless in connection with a
                  Permitted Disposition;

         (g)      any change to the definition of Required Lenders;




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         (h)      any provision of this Agreement which expressly states that the unanimous
                  consent of the Lenders is required in connection with an action to be taken or
                  consent provided by the Lenders;

         (i)      any amendment, modification or elimination the definition of Borrowing Base or
                  any of the defined terms that are used in such definition to the extent that any such
                  change results in more credit being made available to the Borrowers based upon
                  the Borrowing Base, but not otherwise;

         (j)      any change to Sections 11.8.1, 11.9(b) or any other provision regarding the
                  allocation of payments to the Lenders under this Agreement; and

         (k)      this Section 11.2;

         provided, that (A) any change to Section 2.6.1(i) or Article 11 will also require the
         consent of the Agent, (B) any change to Sections 4.6.1(c) and 4.7 (and the related
         definitions referenced therein) will require the consent of the Issuing Bank under the U.S.
         Operating Facility and the Agent, (C) any change to Sections 2.6.1(b) and 2.7 (and the
         related definitions referenced therein) will require the consent of the Swingline Lender
         and the Agent, (D) any change to Section 5.16 (and the related definitions referenced
         therein) will require the consent of each Issuing Bank and the Agent (E) any increase to
         the individual commitment amount of a Lender under a Facility can only be made with
         the consent of such Lender; and (F) any other change which only effects the Canadian
         Operating Lenders, the U.S. Operating Lenders, the Canadian Operating Lenders, Term
         Lenders, the Issuing Bank, the Swingline Lender or the Agent, respectively, shall only
         require the consent of the affected Persons.

         11.2.2 Except for the matters described in Section 11.2.1 above, any amendment to this
         Agreement or the other Credit Documents shall be effective if made among the Borrower
         and the Required Lenders, and for greater certainty any such amendment which is agreed
         to by the Required Lenders shall be final and binding upon all Lenders.

         11.2.3 Except for the matters which require the unanimous consent of the Lenders as
         set out above, any action to be taken or decision to be made by the Lenders pursuant to
         this Agreement (specifically including for greater certainty the issuance of written notice
         to the Borrower of the occurrence of a Default or Event of Default, the issuance of a
         demand for payment of the Obligations, a decision to make an Advance despite any
         condition precedent relating thereto not being satisfied, the provision of any waiver in
         respect of a breach of any covenant or the issuance of any consent which may be required
         under Section 7.2) shall be effective if approved by the Required Lenders; and any such
         decision or action shall be final and binding upon all the Lenders.

         11.2.4 Any action to be taken or decision to be made by the Lenders pursuant to this
         Agreement which is required to be unanimous shall be made at a meeting of the Lenders
         called by the Agent pursuant to Section 11.11(k) or by a written instrument executed by
         all of the Lenders. Any action to be taken or decision to be made by the Lenders pursuant
         to this Agreement which is required to be made by the Required Lenders shall be made at

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         a meeting of the Lenders called by the Agent pursuant to Section 11.11(k) or by a written
         instrument executed by the Required Lenders. Any instrument contemplated in this
         Section 11.2.4 may be executed by fax or pdf and in counterparts.

         11.2.5 Subject to Section 8.5(b), the Agent may from time to time without notice to or
         the consent of the Lenders execute and deliver partial releases of the Security in respect of
         any item of Collateral (whether or not the proceeds of sale thereof are received by the
         Agent) which the Credit Parties are permitted to dispose of in connection with a
         Permitted Disposition; and in releasing any such Security the Agent may rely upon and
         assume the correctness of all information contained in any certificate or document
         provided by any one or more of the Borrowers, without further enquiry. Otherwise, any
         release or discharge in respect of the Security or any portion thereof shall require the
         written consent of the Lenders acting unanimously.

11.3     Procedure for Making Advances

         11.3.1 Subject to Section 11.8.3, all Advances under each Facility will be made in
         accordance with each Lender’s Proportionate Share of such Advance under such Facility.

         11.3.2 The Lenders, through the Agent, will make Advances under a Facility available
         to the Borrower as required hereunder by debiting the account of the Agent to which each
         Lender’s Proportionate Share in respect of each Facility of such Advances has been
         credited (or causing such account to be debited) and, in the absence of other arrangements
         agreed to by the Agent and the Borrowers in writing, by transferring (or causing to be
         transferred) like funds in accordance with the instructions of the Borrowers as set forth in
         the a Drawdown Request, Conversion Notice or Rollover Notice, as the case may be, in
         respect of each Advance under each Facility; provided, that the obligation of the Agent
         hereunder will be limited to taking such steps as are in keeping with its normal banking
         practice and which are commercially reasonable in the circumstances to implement such
         instructions, and the Agent will not be liable for any damages, claims or costs which may
         be suffered by the Borrowers or any of the Lenders and occasioned by the failure of such
         funds to reach their designated destination, unless such failure is due to the gross
         negligence or wilful misconduct of the Agent.

11.4     Failure to Fund

         11.4.1 Unless the Agent has actual knowledge that a Lender has not made or will not
         make available to the Agent for value on the date of any Advance the applicable amount
         required from such Lender hereunder, the Agent shall be entitled to assume that such
         amount has been or will be received from such Lender when so due and the Agent may
         (but shall not under any circumstances be obliged to), in reliance upon such assumption,
         make available to the applicable Borrower a corresponding amount (except that no such
         amount shall be made available to the applicable Borrower in the case of a deemed
         Advance). If such amount is not in fact received by the Agent from such Lender on such
         date and the Agent has made available a corresponding amount to the applicable
         Borrower on such date as aforesaid (or is deemed to have made an Advance to the
         applicable Borrower in such amount), such Lender shall pay to the Agent on demand an

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         amount equal to the aggregate of the applicable amount required from such Lender
         hereunder plus an amount equal to the product of (a) the rate per annum applicable to
         overnight deposits made with the Agent for amounts approximately equal to the amount
         required from such Lender multiplied by (b) the amount that should have been paid to the
         Agent by such Lender on such date and was not, multiplied by (c) a fraction, the
         numerator of which is the number of days that have elapsed from and including such date
         to but excluding the date on which the amount is received by the Agent from such Lender
         and the denominator of which is 365 or 366 days, as the case may be, in the case of all
         Advances. A certificate of the Agent containing details of the amount owing by a Lender
         under this Section shall be binding and conclusive in the absence of manifest error. If any
         such amount is not in fact received by the Agent from such Lender on such date, the
         Agent shall be entitled to recover from the applicable Borrower, on demand, the related
         amount made available by the Agent to such Borrower as aforesaid together with interest
         thereon at the applicable rate per annum payable by such Borrower hereunder.

         11.4.2 Notwithstanding the provisions of Section 11.4.1, if any Lender fails to make
         available to the Agent its Proportionate Share of any Advance, which for greater certainty
         includes a deemed Advance hereunder (such Lender being herein called the “Non-Paying
         Lender”), the Agent shall forthwith give notice of such failure by the Non-Paying Lender
         to the applicable Borrower (except where such failure relates to a deemed Advance) and
         to the other Lenders. The Agent shall then forthwith give notice to the other Lenders that
         any Lender may make available to the Agent all or any portion of the Non-Paying
         Lender’s Proportionate Share of such Advance (but in no way shall any other Lender or
         the Agent be obliged to do so) in the place of the Non-Paying Lender. If more than one
         Lender gives notice that it is prepared to make funds available in the place of a
         Non-Paying Lender in such circumstances and the aggregate of the funds which such
         Lenders (herein collectively called the “Contributing Lenders” and individually called
         the “Contributing Lender”) are prepared to make available exceeds the amount of the
         Advance which the Non-Paying Lender failed to make, then each Contributing Lender
         shall be deemed to have given notice that it is prepared to make available its
         Proportionate Share of such Advance based on the Contributing Lenders’ relative
         commitments to advance in such circumstances. If any Contributing Lender makes funds
         available in the place of a Non-Paying Lender in such circumstances, then the
         Non-Paying Lender shall pay to any Contributing Lender making the funds available in its
         place, forthwith on demand, any amount advanced on its behalf together with interest
         thereon at the rate applicable to such Advance from the date of advance to the date of
         payment, against payment by the Contributing Lender making the funds available of all
         interest received in respect of the Advance from the applicable Borrower. The failure of
         any Lender to make available to the Agent its Proportionate Share of any Advance as
         required herein shall not relieve any other Lender of its obligations to make available to
         the Agent its Proportionate Share of any Advance as required herein.

11.5     Defaulting Lenders and Replacement of Lenders

         11.5.1 Notwithstanding any provision of this Agreement to the contrary, if any Lender
         becomes a Defaulting Lender, then the following provisions shall apply for so long as
         such Lender is a Defaulting Lender:

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         (a)      the standby fees payable to a Defaulting Lender hereunder shall cease to accrue on
                  the unused portion of its Commitment under any Operating Facility, as applicable;

         (b)      a Defaulting Lender shall not be included in determining whether, and the
                  Commitment and the Proportionate Share of the Outstanding Advances of such
                  Defaulting Lender under the Facilities, or any of them, shall not be included in
                  determining whether, all Lenders or the Required Lenders, have taken or may take
                  any action hereunder; provided, that any waiver, amendment or modification
                  requiring the consent of all Lenders or each affected Lender that affects such
                  Defaulting Lender differently than other affected Lenders shall require the consent
                  of such Defaulting Lender;

         (c)      subject to Section 11.4.1, for the purposes of any Advance requested hereunder
                  while there is a Defaulting Lender, each Lender’s Proportionate Share thereof
                  shall be calculated based on such Lender’s (A) Commitment relative to the total
                  Commitment under the applicable Facility reduced by the Commitment of the
                  Defaulting Lender;

         (d)      the Agent, the Swingline Lender or the Issuing Bank may require such Defaulting
                  Lender to pay to the Agent for deposit into an escrow account maintained by and
                  in the name of the Agent an amount equal to such Defaulting Lender’s maximum
                  contingent obligations hereunder to the Agent, the Swingline Lender or the
                  Issuing Bank, as the case may be (provided that the foregoing shall not apply to
                  Export Development Canada to the extent such a deposit is unlawful under the
                  Financial Administration Act (Canada));

         (e)      the Agent may withhold any payments owing to such Defaulting Lender for set off
                  against such Defaulting Lender’s existing or reasonably foreseeable future
                  obligations hereunder; and

         (f)      for the avoidance of doubt, the Borrowers shall retain and reserve their other
                  rights and remedies respecting each Defaulting Lender.

         11.5.2 If a Lender is a Defaulting Lender or refuses to give timely consent to an
         amendment, modification or waiver of this Agreement that, pursuant to Section 11.2,
         requires consent of all the Lenders (and the consent of the Required Lenders has been
         given with respect thereto) (a “Non-Consenting Lender”) (collectively, the “Departing
         Lenders”), then the Borrowers may:

         (a)      replace the Departing Lender with another financial institution acceptable to the
                  Agent, the Swingline Lender and the Issuing Bank, each acting reasonably, who
                  purchases at par, or such lower price as the Departing Lender may agree in its sole
                  discretion, the Outstanding Advances and other amounts under all Facilities
                  owing to the Departing Lender and such Lender’s entire Commitment and
                  assumes the Departing Lender’s Commitment and all other obligations of the
                  Departing Lender hereunder; provided, that prior to or concurrently with such
                  replacement:

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                  (i)     the Departing Lender shall have received payment in full of all principal,
                          interest, fees and other amounts through such date of replacement and a
                          release from any further obligations to make Advances under the Credit
                          Documents after the date of such replacement;

                  (ii)    the assignment fee required to be paid by Section 13.6.2 shall have been
                          paid to the Agent;

                  (iii)   all of the other requirements for such assignment contained herein shall
                          have been satisfied, including the consent of the Agent, the Swingline
                          Lender and the Issuing Bank and the receipt by the Agent of such
                          agreements, documents and instruments as the Agent may reasonably
                          require; and

                  (iv)    in the case of a Departing Lender who is a Non-Consenting Lender, each
                          assignee consents, at the time of such assignment, to each matter in respect
                          of which such Non-Consenting Lender was a Non-Consenting Lender and
                          the Borrowers also requires each other Lender that is a Non-Consenting
                          Lender to assign the Outstanding Advances owing to it under each Facility
                          and its Commitment; or

         (b)      provided, no Default or Event of Default exists at such time, elect to terminate the
                  Departing Lender’s Commitment, in which case the Commitment in respect of
                  each Facility shall be reduced by an amount equal to the amount of any
                  Commitment of such Facility so cancelled (provided, that prior to or concurrently
                  with such cancellation the Departing Lender shall have received payment in full of
                  all principal, interest, fees and other amounts through such date of cancellation
                  (including breakage and other costs in accordance with Sections 5.10.4 and 5.14)
                  and a release from any further obligations to make Advances under the Credit
                  Documents after such termination); or

         (c)      exercise any combination of the rights under (a) and (b) above; provided, that in
                  each case, each Departing Lender is treated ratably with the other Departing
                  Lenders, if any.

11.6     Security and Exercise of Remedies

         11.6.1 Except to the extent provided in Section 11.6.2, the Security shall be granted in
         favour of and held by the Agent for and on behalf of the Lenders in accordance with the
         provisions of this Agreement. The Agent shall, in accordance with its usual practices in
         effect from time to time, take all steps required to perfect and maintain the Security to the
         extent required hereunder, including: taking possession of the certificates representing the
         securities required to be pledged hereunder to the extent required hereunder; filing
         renewals and change notices in respect of such Security; and ensuring that the name of
         the Agent is noted as loss payee or mortgagee on all property insurance policies covering
         the Collateral. If the Agent becomes aware of any matter concerning the Security which it
         considers to be material, it shall promptly inform the Lenders. The Agent shall comply

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         with all instructions provided by the Lenders or the Required Lenders, as the case may be,
         in connection with the enforcement or release of the Security which it holds. The Agent
         agrees to permit each Lender to review and make photocopies of the original documents
         comprising the Security from time to time upon reasonable notice. The Agent is hereby
         authorized to enter into the Subordination Agreement on behalf of the Lenders and to any
         subordination and postponement agreements in respect of Subordinated Debt from time
         to time to the extent the same is permitted hereunder. Each Lender further authorizes the
         Agent to execute on its behalf, directly or through attorneys-in-fact duly appointed for
         such purposes, and to accept the benefits of, each of the Security governed under the laws
         of the Republic of Colombia and any other agreements or documents as may be necessary
         or advisable in connection with the grant of, or attachment or perfection of, modification,
         supplement or waiver under any of, the security interest granted to the Agent, for the
         benefit of the Lenders, pursuant to the Security governed under the laws of the Republic
         of Colombia. The Lenders and the other Secured Parties authorize the Agent to release
         any Collateral or Guarantors in accordance with Section 13.21 or if approved, authorized
         or ratified in accordance with Section 11.2.1. The Lenders and the other Secured Parties
         hereby irrevocably authorize and instruct the Agent to, without any further consent of any
         Lender, enter into (or acknowledge and consent to) or amend, renew, extend, supplement,
         restate, replace, waive or otherwise modify the Encina Intercreditor Agreement and the
         Wells Fargo Letter to the extent this Agreement does not otherwise require the consent of
         the Required Lenders or all Lenders therefor.

         11.6.2 If any Credit Party has provided security in favour of any Lender directly, except
         for Permitted Purchase-Money Security Interests and Permitted Liens, such Lender agrees
         to pay to the Agent all amounts received by it in connection with the enforcement of such
         security, and all such amounts shall be deemed to constitute Proceeds of Realization and
         shall be dealt with as provided in Section 11.7.

         11.6.3 Except as otherwise provided herein, each Lender hereby acknowledges that, to
         the extent permitted by Applicable Law, rights and remedies provided under the Credit
         Documents to the Lenders are for the benefit of the Lenders collectively and not severally
         and further acknowledges that its rights and remedies thereunder are to be exercised not
         severally but collectively through the Agent upon the decision of the Lenders (with the
         required majority or unanimity as herein provided), regardless of whether acceleration of
         Obligations hereunder was made, and accordingly, notwithstanding any of the provisions
         contained herein, each of the Lenders hereby covenants and agrees that it will not be
         entitled to take any action with respect to the Facilities, including any acceleration of
         Obligations thereunder, but that any such action will be taken only by the Agent with the
         prior written direction of the Lenders (with the required majority or unanimity as herein
         provided). Notwithstanding the foregoing or anything else set forth herein to the contrary,
         in the absence of written instructions from the Lenders, and where in the sole opinion of
         the Agent the exigencies of the situation warrant such action, the Agent may without
         notice to or consent of the Lenders take such action on behalf of the Lenders as it deems
         appropriate or desirable in the circumstances. Each of the Lenders hereby covenants and
         agrees that it has not heretofore and will not seek, take, accept or receive any Liens in
         respect of any of the Obligations of the Credit Parties under the Credit Documents and
         will not enter into any agreement with any of the Parties relating in any manner

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         whatsoever to the Facilities, unless all of the Lenders under the Facilities will at the same
         time obtain the benefit of any such security or agreement, as the case may be.

11.7     Application of Proceeds of Realization

       Notwithstanding any other provision of this Agreement, the Proceeds of Realization of
the Security or any portion thereof shall be distributed in the following order:

         (a)      firstly, in payment of all costs and expenses incurred by the Agent and the Lenders
                  in connection with such realization, including legal, accounting and receivers’
                  fees and disbursements;

         (b)      secondly, against the Obligations (including Secured Hedging Liabilities but
                  excluding any other Hedging Liabilities in excess thereof, and, for certainty,
                  excluding any Hedging Liabilities which are owed to a counterparty other than a
                  Lender or Affiliate thereof), each Lender being entitled to receive its
                  Proportionate Share thereof;

         (c)      thirdly, against all Hedging Liabilities which are owing to any Lender or Affiliate
                  thereof in excess of Secured Hedging Liabilities; and

         (d)      fourthly, if all Obligations of the Borrowers listed above and all other Hedging
                  Liabilities owing to any Lender or Affiliate thereof have been paid and satisfied in
                  full, any surplus Proceeds of Realization shall be paid in accordance with
                  Applicable Law.

11.8     Payments by Agent

         11.8.1 The following provisions shall apply to all payments made by the Agent to the
         Lenders hereunder:

         (a)      the Agent shall be under no obligation to make any payment (whether in respect
                  of principal, Interest, fees or otherwise) to any Lender until an amount in respect
                  of such payment has been received by the Agent from a Credit Party;

         (b)      if the Agent receives a payment of principal, Interest, fees or other amount owing
                  by any Borrower under a Facility which is less than the full amount of any such
                  payment due, the Agent shall distribute such amount received among the Lenders
                  under such Facility in each Lender’s Proportionate Share of such Facility;

         (c)      if the Agent receives payments in respect of principal, Interest, fees or other
                  amounts owing by a Borrower under more than one Facility which are due on the
                  same day, and if the amounts received are insufficient to satisfy all payments
                  required under such Facilities on such day, the Agent shall, except as otherwise
                  specifically set forth herein, distribute such amounts received among the Lenders
                  under such Facilities in each Lender’s Proportionate Share of such Facilities;



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         (d)      if any Lender has advanced more or less than its Proportionate Share of its
                  Commitment under a Facility, such Lender’s entitlement to such payment shall be
                  increased or reduced, as the case may be, in proportion to the amount actually
                  advanced by such Lender;

         (e)      if a Lender’s Proportionate Share of an Advance under a Facility has been
                  advanced for less than the full period to which any payment by any Credit Party
                  relates, such Lender’s entitlement to receive a portion of any payment of interest
                  or fees shall be reduced in proportion to the length of time such Lender’s
                  Proportionate Share has actually been outstanding;

         (f)      the Agent acting reasonably and in good faith shall, after consultation with the
                  Lenders in the case of any dispute, determine in all cases the amount of all
                  payments to which each Lender is entitled and such determination shall be
                  deemed to be prima facie correct;

         (g)      upon request by a Lender, the Agent shall deliver a statement detailing any of the
                  payments to the Lenders referred to herein;

         (h)      all payments by the Agent to a Lender hereunder shall be made to such Lender at
                  its address set out herein unless notice to the contrary is received by the Agent
                  from such Lender; and

         (i)      if the Agent has received a payment from a Credit Party on a Business Day (not
                  later than the time required for the receipt of such payment as set out in this
                  Agreement) and fails to remit such payment to any Lender entitled to receive its
                  Proportionate Share of such payment on such Business Day, the Agent agrees to
                  pay interest on such late payment at a rate determined by the Agent in accordance
                  with prevailing banking industry practice on interbank compensation.

         11.8.2 Each Borrower hereby irrevocably authorizes the Agent to debit any account
         maintained by it with the Agent after written notice to such Borrower in order to make
         payments to the Lenders or the Agent of any amount that is overdue and payable
         hereunder for the purposes of satisfying payment thereof.

         11.8.3 The Agent may in its discretion from time to time make adjustments in respect
         of any Lender’s share of an Advance, Conversion, Rollover or Repayment under a
         Facility in order that the Outstanding Advances due to such Lender under such Facility
         shall be approximately in accordance with such Lender’s Proportionate Share of the
         Facility.

11.9     Redistribution of Payment

         Each Lender agrees that, subject to Section 10.4:

         (a)      If it exercises any right of counterclaim, set off, bankers’ lien or similar right with
                  respect to any property of any Credit Party or if under Applicable Law it receives
                  a secured claim, it will apportion the amount thereof proportionately between:

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                  (i)    amounts outstanding at the time owed by the Credit Party to such Lender
                         under this Agreement, which amounts will be applied in accordance with
                         this Section 11.9; and

                  (ii)   amounts otherwise owed to it by a Credit Party;

                  provided, that any cash collateral account held by such Lender as collateral for a
                  letter of credit or bankers’ acceptance (including a Bankers’ Acceptance) issued or
                  accepted by such Lender on behalf of a Credit Party may be applied by such
                  Lender to such amounts owed by such Credit Party to such Lender pursuant to
                  such letter of credit or in respect of any such bankers’ acceptance without
                  apportionment.

         (b)      If it receives, through the exercise of a right or the receipt of a secured claim
                  described in Section 11.9(a) or otherwise, payment of a proportion of the
                  aggregate amount of principal, interest and fees due to it hereunder which is
                  greater than the proportion received by any other Lender in respect of the
                  aggregate amount of principal, interest and fees due in respect of the applicable
                  Facility (having regard to the respective proportionate amounts advanced as
                  Advances by each of the Lenders under the applicable Facility), the Lender
                  receiving such proportionately greater payment will purchase a participation
                  (which will be deemed to have been done simultaneously with receipt of such
                  payment) in that portion of the applicable Facility of the other Lenders so that
                  their respective receipts will be pro rata to their respective Proportionate Shares;
                  provided, however, that, if all or part of such proportionately greater payment
                  received by such purchasing Lender is otherwise recovered by it, such purchase
                  will be rescinded and the purchase price for such participation will be returned to
                  the extent of such recovery, but without interest. Such Lender will exercise its
                  rights in respect of such secured claim in a manner consistent with the rights of
                  the Lenders entitled under this Section 11.9 to share in the benefits of any
                  recovery on such secured claims.

         (c)      If it does any act or thing permitted by Section 11.9(a) or 11.9(b), it will promptly
                  provide full particulars thereof to the Agent.

         (d)      Except as permitted under Section 11.9(a) or 11.9(b), no Lender will be entitled to
                  exercise any right of counter claim, set off, bankers’ lien or similar right without
                  the prior written consent of the other Lenders.

         (e)      Notwithstanding anything else in this Section 11.9, any amounts which are
                  lawfully received by any Hedge Provider in respect of Hedging Liabilities prior to
                  the delivery by the Agent of a declaration of all Obligations becoming due
                  pursuant to Section 11.9 are not required to be shared pursuant to the provisions
                  of this Section 11.9.

         (f)      The provisions of this Section 11.9 shall survive repayment of the Obligations.



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11.10 Protection of Agent

         11.10.1 Unless the Agent has actual knowledge or actual notice to the contrary, it may
         assume that each Lender’s address set out in Exhibit “A” attached hereto is correct, unless
         and until it has received from such Lender a notice designating a different address.

         11.10.2 The Agent may engage and pay for the advice or services of any lawyers,
         accountants or other experts whose advice or services may to it seem necessary, expedient
         or desirable and rely upon any advice so obtained (and to the extent that such costs are
         not recovered from the Credit Parties pursuant to this Agreement, each Lender agrees to
         reimburse the Agent in such Lender’s Proportionate Share of such costs).

         11.10.3 Unless the Agent has actual knowledge or actual notice to the contrary, it may
         rely as to matters of fact which might reasonably be expected to be within the knowledge
         of any Credit Party upon a statement contained in any Credit Document.

         11.10.4 Unless the Agent has actual knowledge or actual notice to the contrary, it may
         rely upon any communication or document believed by it to be genuine.

         11.10.5 The Agent may refrain from exercising any right, power or discretion vested in it
         under this Agreement unless and until instructed by the Required Lenders as to whether
         or not such right, power or discretion is to be exercised and, if it is to be exercised, as to
         the manner in which it should be exercised (provided, that such instructions shall be
         required to be provided by all of the Lenders in respect of any matter for which the
         unanimous consent of the Lenders is required as set out herein).

         11.10.6 The Agent may refrain from exercising any right, power or discretion vested in it
         which would or might in its sole and unfettered opinion be contrary to any law of any
         jurisdiction or any directive or otherwise render it liable to any Person, and may do
         anything which is in its opinion in its sole discretion necessary to comply with any such
         law or directive.

         11.10.7 The Agent may delegate to such other Person, such duties and responsibilities of
         the Agent hereunder as it shall determine to be appropriate in respect of dealings with or
         relating to any Credit Party or any other Person and in particular, the Agent may execute
         any of its duties under this Agreement or any other Credit Document (including, for
         purposes of holding or enforcing any Lien on the Collateral (or any portion thereof)
         granted under the Security or of exercising any rights and remedies thereunder) by
         sub-agent or attorney-in-fact. The Agent shall not be responsible for the negligence or
         misconduct of any sub-agent or attorney-in-fact that it selects in the absence of gross
         negligence or willful misconduct on the part of the Agent, as determined by a final and
         non-appealable judgment of a court of competent jurisdiction. The exculpatory provisions
         of this Agreement applicable to the Agent shall apply to any such other Person, sub-agent
         or attorney-in-fact and to the Affiliates of the Agent and any such sub-agent or
         attorney-in-fact, and shall apply to their respective activities in connection with the
         syndication of the Facilities as well as activities as Agent.



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         11.10.8 The Agent may refrain from acting in accordance with any instructions of the
         Required Lenders to begin any legal action or proceeding arising out of or in connection
         with this Agreement or take any steps to enforce or realize upon any Security, until it
         shall have received such security as it may reasonably require (whether by way of
         payment in advance or otherwise) against all costs, claims, expenses (including legal fees)
         and liabilities which it will or may expend or incur in complying with such instructions.

         11.10.9 The Agent shall not be bound to disclose to any Person any information relating
         to the Credit Parties or any Related Parties if such disclosure would or might in its
         opinion in its sole discretion constitute a breach of any law or regulation or be otherwise
         actionable at the suit of any Person.

         11.10.10 The Agent shall not accept any responsibility for the accuracy or completeness
         of any information supplied in connection herewith or for the legality, validity,
         effectiveness, adequacy or enforceability of any Credit Document and shall not be under
         any liability to any Lender as a result of taking or omitting to take any action in relation to
         any Credit Document except in the case of the Agent’s gross negligence or wilful
         misconduct.

11.11 Duties of Agent

         The Agent shall:

         (a)      hold and maintain the Security to the extent provided in Section 11.6;

         (b)      provide to each Lender copies of all financial information received from the
                  Credit Parties promptly after receipt thereof, and copies of any Drawdown
                  Requests, Conversion Notices, Rollover Notices, Repayment Notices and other
                  notices received by the Agent from the Credit Parties upon request by any Lender;

         (c)      promptly advise each Lender of Advances required to be made by it hereunder and
                  disburse all Repayments to the Lenders hereunder in accordance with the terms of
                  this Agreement;

         (d)      promptly notify each Lender of the occurrence of any Default or Event of Default
                  of which the Agent has actual knowledge or actual notice;

         (e)      at the time of engaging any agent, receiver, receiver-manager, consultant, monitor
                  or other party in connection with the Security or the enforcement thereof, obtain
                  the agreement of such party to comply with the applicable terms of this
                  Agreement in carrying out any such enforcement activities and dealing with any
                  Proceeds of Realization;

         (f)      account for any monies received by it in connection with this Agreement, the
                  Security and any other agreement delivered in connection herewith or therewith;

         (g)      each time a Borrower requests the written consent of the Lenders in connection
                  with any matter, use its best efforts to obtain and communicate to the Borrowers

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                  the response of the Lenders in a reasonably prompt and timely manner having due
                  regard to the nature and circumstances of the request;

         (h)      give written notice to the Borrowers in respect of any other matter in respect of
                  which notice is required in accordance with or pursuant to this Agreement,
                  promptly or promptly after receiving the consent of the Required Lenders, if
                  required under the terms of this Agreement;

         (i)      except as otherwise provided in this Agreement, act in accordance with any
                  instructions given to it by the Required Lenders;

         (j)      if so instructed by the Required Lenders, refrain from exercising any right, power
                  or discretion vested in it under this Agreement or any document incidental thereto;
                  and

         (k)      call a meeting of the Lenders at any time not earlier than five days and not later
                  than 30 days after receipt of a written request for a meeting provided by any
                  Lender.

11.12 Lenders’ Obligations Several; No Partnership

        The obligations of each Lender under this Agreement are several. The failure of any
Lender to carry out its obligations hereunder shall not relieve the other Lenders of any of their
respective obligations hereunder. No Lender shall be responsible for the obligations of any other
Lender hereunder. Neither the entering into of this Agreement nor the completion of any
transactions contemplated herein shall constitute the Lenders and the Agent, or any combination
of them, a partnership or give rise to any fiduciary relationship between them.

11.13 Reliance Upon Agent

        The Borrowers will be entitled to rely upon any certificate, notice or other document or
other advice, statement or instruction provided to them (or any one of them) by the Agent
pursuant to the Credit Documents, and the Borrowers will be entitled to deal with the Agent with
respect to matters under the Credit Documents which the Agent is authorized hereunder to deal
with, without any obligation whatsoever to satisfy themselves as to the authority of the Agent to
act on behalf of the Lenders and without any liability whatsoever to the Lenders for relying upon
any certificate, notice or other document or other advice, statement or instruction provided to
them by the Agent, notwithstanding any lack of authority of the Agent to provide the same.

11.14 No Liability of Agent

       The Agent, in its capacity as agent of the Lenders under the Credit Documents, will have
no responsibility or liability to the Borrowers or the Lenders on account of the failure of any
Lender to perform its obligations hereunder, or to any Lender on account of the failure of any
Borrower to perform its obligations under the Credit Documents.




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11.15 Agent and Agent Authority

        With respect to its Proportionate Share of each Facility and the Advances made by it as a
Lender thereunder, as applicable, the Agent will have the same rights and powers under the
Credit Documents as any other Lender and may exercise the same as though it were not the
Agent. The Agent may accept deposits from, lend money to, and generally engage in any kind of
business with any Credit Party, any of their Subsidiaries, their respective shareholders or
unitholders or any Person owned or controlled by any of them and any Person which may do
business with any of them, all as if the Agent was not serving as Agent, and without any duty or
obligation to account therefor to the Lenders.

11.16 Lenders’ Credit Decisions

        It is understood and agreed by each Lender that it has itself been, and will continue to be,
solely responsible for making its own independent appraisal of and investigations into the
financial condition, creditworthiness, condition, affairs, status and nature of the Credit Parties.
Accordingly, each Lender confirms with the Agent that it has not relied, and will not hereafter
rely, on the Agent (a) to check or inquire on its behalf into the adequacy, accuracy or
completeness of any information provided by the Credit Parties or any other Person under or in
connection with the Facilities (whether or not such information has been or is hereafter
distributed to such Lender by the Agent) or (b) to assess or keep under review on its behalf the
financial condition, creditworthiness, condition, affairs, status or nature of any Credit Party. Each
Lender acknowledges that copies of the Credit Documents have been made available to it for
review and each Lender acknowledges that it is satisfied with the form and substance of the
Credit Documents. A Lender will not make any independent arrangement with any Credit Party
for the satisfaction of any Obligations owing to it under the Credit Documents without the
written consent of the other Lenders.

11.17 Indemnification

        The Lenders hereby severally agree to indemnify the Agent and its directors, officers,
agents and employees (to the extent not reimbursed by the Credit Parties) in accordance with
their respective Proportionate Share, from and against any and all liabilities, obligations, losses,
damages, penalties, actions, judgments, suits, costs, expenses or disbursements of any kind or
nature whatsoever which may be imposed on, incurred by, or asserted against the Agent or its
directors, officers, agents and employees in any way relating to or arising out of the Credit
Documents or any action taken or omitted by the Agent under or in respect of the Credit
Documents in its capacity as Agent; provided, that no Lender will be liable for any portion of
such liabilities, obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses
or disbursements resulting from the Agent’s gross negligence or wilful misconduct, as
determined by a final and non-appealable judgment of a court of component jurisdiction. Without
limiting the generality of the foregoing, each Lender agrees to reimburse the Agent promptly
upon demand for its Proportionate Share of any reasonable out of pocket expenses (including
legal fees, on a solicitor and his own client full indemnity basis) incurred by the Agent in
connection with the preservation of any right of the Agent or the Lenders under, or the
enforcement of, or legal advice in respect of rights or responsibilities under, the Credit
Documents, to the extent that the Agent is not reimbursed for such expenses by the Borrowers.

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This indemnity will survive the termination of the other provisions of this Agreement as a
separate and continuing covenant of the Lenders.

11.18 Successor Agent

        The Agent may, as hereinafter provided, resign at any time by giving 30 days’ notice (the
“Resignation Notice”) thereof to the Lenders and the Borrowers. The remaining Lenders, with
the consent of the Borrowers, such consent not to be unreasonably withheld, will forthwith upon
receipt of the Resignation Notice unanimously appoint a successor agent (the “Successor
Agent”) to assume the duties hereunder of the resigning Agent. Upon the acceptance of any
appointment as agent hereunder by a Successor Agent, such Successor Agent will thereupon
succeed to and become vested with all the rights, powers, privileges and duties as agent under the
Credit Documents of the resigning Agent. Upon such acceptance, the resigning Agent will be
discharged from its further duties and obligations as agent under the Credit Documents, but any
such resignation will not affect such resigning Agent’s obligations hereunder as a Lender,
including for its Proportionate Share of the applicable Commitment. After the resignation of the
Agent as agent hereunder, the provisions of this Article 11 will continue to enure to its benefit as
to any actions taken or omitted to be taken by it while it was the agent of the Lenders hereunder.
Notwithstanding the foregoing, if the remaining Lenders fail to appoint a Successor Agent within
30 days of receipt of the Resignation Notice, the resigning Agent may, with the approval of the
Borrowers except during the continuance of an Event of Default, such approval not to be
unreasonably withheld, appoint a Successor Agent from among the Lenders (other than Business
Development Bank of Canada).

11.19 Sharing of Information

       The Agent and the Lenders may share among themselves any information they may have
from time to time concerning the Credit Parties whether or not such information is confidential;
but shall have no obligation to do so (except for any obligations of the Agent to provide
information to the extent required in this Agreement). The Agent shall not have any duty to
disclose any information obtained or received by it or any of its Affiliates relating to any Credit
Party or any of its Subsidiaries to the extent such information was obtained or received in any
capacity other than as the Agent.

11.20 Acknowledgement by Borrowers

       Each Borrower hereby acknowledges notice of the terms of the provisions of this Article
11 and agrees to be bound hereby to the extent of its obligations hereunder, and further agrees not
to make any payments, take any action or omit to take any action which would result in the
non-compliance by the Agent or any Lender with its obligations hereunder.

11.21 Amendments to Article 11

       The Agent and the Lenders may amend any provision in this Article 11 (other than
Section 11.5) without prior notice to or the consent of the Borrowers, and the Agent shall provide
a copy of any such amendment to the Borrowers reasonably promptly thereafter; provided,
however, if, in the Agent’s opinion, any such amendment would materially and adversely affect

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any rights, entitlements, obligations or liabilities of any Borrower, such amendment shall not be
effective until such Borrower provides its written consent thereto, such consent not to be
unreasonably withheld or arbitrarily delayed.

11.22 Deliveries, etc.

       As between the Credit Parties on the one hand, and the Agent and the Lenders on the
other hand:

         (a)      all statements, certificates, consents and other documents which the Agent
                  purports to deliver to a Credit Party on behalf of the Lenders shall be binding on
                  each of the Lenders, and none of the Credit Parties shall be required to ascertain
                  or confirm the authority of the Agent in delivering such documents;

         (b)      all certificates, statements, notices and other documents which are delivered by a
                  Credit Party to the Agent in accordance with this Agreement shall be deemed to
                  have been duly delivered to each of the Lenders; and

         (c)      all payments which are delivered by a Credit Party to the Agent in accordance
                  with this Agreement shall be deemed to have been duly delivered to each of the
                  Lenders.

11.23 Agency Fee

         The Borrowers jointly and severally agree to pay to the Agent an annual agency fee as set
         out in the Fee Agreement, payable in advance on the Amendment and Restatement Date
         and annually on each anniversary date thereafter during the term of this Agreement.

                                              ARTICLE 12
                                           INCREASED COSTS

12.1     Changes in Law

         12.1.1        If, after the Amendment and Restatement Date, due to either:

         (a)      the introduction of, or any change in, any Law or any change in the interpretation
                  of any Law, whether having the force of law or not, resulting in the imposition or
                  increase of reserves, deposits or similar requirements by any central bank or
                  Governmental Authority charged with the administration thereof; or

         (b)      imposition of any Lender or requirements on any Lender to maintain any capital
                  adequacy or additional capital liquidity requirements in respect of any Advances
                  or Commitments hereunder, or any other condition with respect to this
                  Agreement; or

         (c)      the compliance with any guideline or request from any central bank or other
                  Governmental Authority which a Lender, acting reasonably, determines that it is
                  required to comply with,

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         there will be any increase in the cost to such Lender of agreeing to make or making,
         funding or maintaining an Advance or there will be any reduction in the effective return
         to such Lender thereunder, then, subject to Section 12.1.2, the Borrowers jointly and
         severally agree that they will, within ten Business Days after being notified by such
         Lender of such event, pay to such Lender, quarterly in arrears, that amount (the
         “Additional Compensation”) which such Lender, acting reasonably, determines will
         compensate it, after taking into account all applicable Taxes and all interest and other
         amounts received, for any such increased costs or reduced returns incurred or suffered by
         such Lender provided such Lender is also charging its other borrowers in similar
         circumstances similar additional compensation.

         12.1.2 If Additional Compensation is payable pursuant to Section 12.1.1(a), the
         Borrowers will have the option to convert the Advance to another type of Advance, in
         accordance with this Agreement, in respect of which no further such Additional
         Compensation will be payable, or prepay any amount of the Facility owed to the Lender
         entitled to receive the Additional Compensation, subject always to Section 5.13 without
         obligation to make a corresponding prepayment to any other Lender. If the Additional
         Compensation relates to outstanding Bankers’ Acceptances, such Lender may require the
         Borrowers to deposit in an interest bearing cash collateral account with such Lender such
         amount as may be necessary to fully satisfy the contingent obligations of such Lender for
         all outstanding Bankers’ Acceptances in accordance with the arrangements similar to
         those set out in Section 5.11.

         12.1.3 Notwithstanding anything contained in this Section 12.1, the Dodd-Frank Wall
         Street Reform and Consumer Protection Act and all requests, rules, regulations,
         guidelines and directives thereunder or issued in connection therewith and all requests,
         rules, regulations, guidelines and directives concerning capital adequacy promulgated by
         the Bank for International Settlements, the Basel Committee on Banking Supervision (or
         any successor or similar authority or any United States, Canadian or foreign regulatory
         authority) (collectively, the “New Rules”) shall, in each case, be deemed a “change in
         Law” under Section 12.1.1(a) regardless of the date enacted, adopted or issued.

12.2     Changes in Circumstances

       Notwithstanding anything to the contrary herein or in any of the other Credit Documents
contained, if on any date a Lender determines, acting reasonably and in good faith, which
determination will be conclusive and binding on the Parties, and provided notice is given to the
Agent and the other Lenders and to the Borrowers that its ability to maintain, or continue to offer
any Advance has become unlawful or impossible due to:

         (a)      any change in Applicable Law, or in the interpretation or administration thereof by
                  Governmental Authorities having jurisdiction in the matter; or

         (b)      any Material Adverse Change in or the termination of the London Interbank
                  Eurodollar Market for Eurodollars; or



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         (c)      the imposition of any condition, restriction or limitation upon such Lender which
                  is outside of its control,

then in any such case, the Borrowers jointly and severally agree that they will forthwith repay to
such Lender all principal amounts affected thereby, together with all unpaid interest accrued
thereon to the date of Repayment and all other expenses incurred in connection with the
termination of any such Advance, including any expenses resulting from the early termination of
any LIBOR Period relating thereto in accordance with Section 5.13, without any obligation to
make a corresponding prepayment to any other Lender. The Borrowers may utilize other forms of
Advance not so affected in order to make any required Repayment and after any such Repayment,
the Borrowers may elect to re-borrow the amount repaid by way of some other Advance upon
complying with applicable requirements thereof.

12.3     Application of Sections 12.1 and 12.2

        If a Lender exercises its discretion under either Section 12.1 or 12.2, then concurrently
with a notice from such Lender to the Agent and the applicable Borrower requiring compliance
with the applicable Section, such Lender will provide such Borrower (with a copy to the Agent
who will notify the other Lenders) with a certificate in reasonable detail outlining the particulars
giving rise to such notice and certifying (with reasonable supporting detail) the increased costs, if
any, payable by such Borrower thereunder, which will be prima facie evidence thereof and
binding on the Parties.

12.4     Taxes

         12.4.1 Except as provided in this Section 12.4, any and all payments by the Borrowers
         and any other Credit Party to or for the account of the Agent or any Lender under any
         Credit Document shall be made free and clear of and without deduction for any and all
         present or future taxes, duties, levies, imposts, deductions, assessments, fees,
         withholdings or similar charges imposed by any Governmental Authority, and all
         liabilities (including additions to tax, penalties and interest) related thereto (collectively,
         “Impositions”), excluding, in the case of the Agent and each Lender or other recipient or
         beneficial owner of payment to be made by or on account of a Credit Party under any
         Credit Document, (x) any Impositions imposed on or measured by its net income
         (including any taxes similar to branch profits tax or capital, and franchise (and similar)
         taxes imposed on it in lieu of net income taxes), by the jurisdiction (or any political
         subdivision thereof) under the Laws of which the Agent or such Lender, as the case may
         be, is organized, resident, in which its principal office is located, in which it maintains its
         Lending Office or in which it is subject to such Imposition by reason of a present or
         former connection between it and such jurisdiction (other than a connection arising solely
         from the Agent or such Lender (or its applicable Lending Office) as the case may be,
         becoming a party hereto, having executed, delivered or performed its obligations under
         any Credit Document, received a payment under, enforced its rights under, received or
         perfected a security interest under, or engaged in any other transaction pursuant to, a
         Credit Document), and all interest and penalties with respect thereto; (y) U.S. and
         Canadian federal withholding taxes imposed on amounts payable to or for the account of
         such Lender with respect to an applicable interest in a Loan or Commitment pursuant to a

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         law in effect on the date on which (i) such Lender acquires such interest in the Loan or
         Commitment (other than pursuant to an assignment request by the Borrower under
         Section 12.4.6) or (ii) such Lender changes its Lending Office, except in each case to the
         extent that, pursuant to this Section, amounts with respect to such withholding taxes were
         payable either to such Lender’s assignor immediately before such Lender became a party
         hereto or to such Lender immediately before it changed its Lending Office; and (z)(i) U.S.
         federal withholding taxes imposed under FATCA, (ii) taxes attributable to such
         recipient’s or beneficial owner’s failure to comply with the applicable reporting
         requirements of FATCA, and (iii) taxes attributable to such recipient’s or beneficial
         owner’s failure to provide such documentation as is reasonably requested by the
         Borrower for the Borrower to comply with its obligations under FATCA and to determine
         that such recipient or beneficial owner has complied with such recipient’s or beneficial
         owner’s obligations under FATCA or to determine the amount to deduct and withhold
         from any payment to such recipient or beneficial owner (all such non-excluded
         Impositions being hereinafter referred to as “Taxes” and all such excluded Impositions
         being hereinafter referred to as “Excluded Taxes”). If any Credit Party or any other
         applicable withholding agent shall be required by the Applicable Laws of a relevant
         taxing jurisdiction to deduct any Taxes or Other Taxes from or in respect of any sum
         payable under any Credit Document to the Agent or any Lender, (i) the sum payable shall
         be increased by the applicable Credit Party as necessary so that after all required
         deductions (including deductions applicable to additional sums payable under this Section
         12.4) have been made, each of the Agent and such Lender receives an amount equal to the
         sum it would have received had only deductions attributable to Excluded Taxes been
         made, (ii) the applicable withholding agent shall make such deductions, (iii) the
         applicable withholding agent shall pay the full amount deducted to the relevant taxation
         authority or other Governmental Authority in accordance with Applicable Laws, and (iv)
         within thirty (30) days after the date of such payment, the Credit Party making such
         payments shall furnish to the Agent or Lender (as the case may be) the original or a
         certified copy of a receipt evidencing payment thereof to the extent such a receipt is
         issued therefor, or other written proof of payment thereof that is reasonably satisfactory to
         the Agent.

         12.4.2 In addition but without duplication, the Borrowers agree to pay any and all
         present or future stamp, court or documentary taxes and any other excise, property,
         intangible or mortgage recording taxes, charges or similar levies imposed by a relevant
         taxing jurisdiction which arise from any payment made under any Credit Document or
         from the execution, delivery, performance, enforcement or registration of, or otherwise
         with respect to, any Credit Document (hereinafter referred to as “Other Taxes”).

         12.4.3 Each Borrower agrees to indemnify the Agent and each Lender for (i) the full
         amount of Taxes and Other Taxes (including any Taxes or Other Taxes imposed or
         asserted by any Governmental Authority of any relevant taxing jurisdiction on amounts
         payable under this Section 12.4) paid by the Agent and such Lender, and (ii) any
         reasonable expenses arising therefrom or with respect thereto, in each case whether or not
         such Taxes or Other Taxes were correctly or legally imposed or asserted by the relevant
         Governmental Authority; provided the Agent or Lender, as the case may be, provides the
         Borrowers with a written statement thereof setting forth in reasonable detail the basis and

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         calculation of such amounts. Payment under this Section 12.4.3 shall be made within
         thirty (30) days after the date such Lender or the Agent makes a written demand therefor.

         12.4.4 Notwithstanding anything herein to the contrary, each Borrower shall not be
         required pursuant to this Section 12.4 to pay any additional amount to, or to indemnify,
         any Lender or the Agent, as the case may be, (i) to the extent that such Lender or the
         Agent becomes subject to Taxes subsequent to the Amendment and Restatement Date (or,
         if later, the date such Lender or the Agent becomes a party to this Agreement) as a result
         of a change in the place of organization or residence of such Lender or the Agent, a
         change in the Lending Office of such Lender, or a change in the principal office of such
         Lender or the Agent, except to the extent that any such change is requested or required by
         the Borrowers or to the extent that such Lender or the Agent was entitled, at the time of
         the change in place of organization, residence or the change in Lending Office, to receive
         additional amounts from the Borrowers pursuant to Sections 12.4.1 and 12.4.3 (and
         provided, that nothing in this Section 12.4 shall be construed as relieving the Borrowers
         from any obligation to make such payments or indemnification in the event of a change in
         Applicable Law) or (ii) where for Canadian income tax purposes, such Lender or the
         Agent, as the case may be, becomes subject to Taxes as a consequence of such Lender or
         the Agent either not dealing at arm’s length with the Borrowers (for purposes of the
         Income Tax Act (Canada)) or being, or not dealing at arm’s length with (for purposes of
         the Income Tax Act (Canada)) a “specified shareholder” (for purposes of the Income Tax
         Act (Canada)) of the Borrower; provided, that this subclause (ii) shall not apply to the
         extent that such Lender or the Agent, as the case may be, is considered to have not dealt
         at arm’s length with the Borrowers for Canadian income tax purposes as a result of a
         change in Applicable Law after the Amendment and Restatement Date.

         12.4.5 If any Lender or the Agent determines in its sole discretion (exercised in good
         faith) that it has received a refund in respect of any Taxes or Other Taxes as to which
         indemnification or additional amounts have been paid to it by the Borrowers pursuant to
         this Section 12.4, it shall promptly remit such refund (including any interest included in
         such refund paid by the relevant Governmental Authority) to the Borrowers, net of all
         out-of-pocket expenses (including any taxes imposed with respect to such refund) of the
         Lender or the Agent, as the case may be; provided, however, that the Borrowers, upon the
         request of the Lender or the Agent, as the case may be, agree promptly to return such
         refund (plus any penalties, interest or other charges imposed by the relevant
         Governmental Authority) to such party in the event such party is required to repay such
         refund to the relevant taxing authority. Such Lender or the Agent, as the case may be,
         shall, at the Borrowers’ request, provide the Borrowers with a copy of any notice of
         assessment or other evidence of the requirement to repay such refund received from the
         relevant Governmental Authority (provided, that such Lender or the Agent may delete any
         information therein that such Lender or the Agent deems confidential). Notwithstanding
         anything to the contrary in this Section 12.4.5, in no event will a Lender be required to
         pay any amount to the Borrowers pursuant to this Section 12.4.5 the payment of which
         would place such Lender in a less favorable net after-tax position than such Lender would
         have been in if the Taxes or Other Taxes subject to indemnification and giving rise to
         such refund had not been deducted, withheld or otherwise imposed and the
         indemnification payments or additional amounts with respect to such Taxes or Other

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         Taxes had never been paid. Nothing herein contained shall interfere with the right of a
         Lender or the Agent to arrange its tax affairs in whatever manner it thinks fit nor oblige
         any Lender or the Agent to disclose any information relating to its tax affairs or any
         computations in respect thereof or require any Lender or the Agent to do anything that
         would prejudice its ability to benefit from any other refunds, credits, reliefs, remissions or
         repayments to which it may be entitled.

         12.4.6 Each Lender agrees that, upon the occurrence of any event giving rise to the
         operation of Section 12.4.1 and 12.4.3 with respect to such Lender it will, if requested by
         the Borrowers, use commercially reasonable efforts (subject to such Lender’s overall
         internal policies of general application and legal and regulatory restrictions) to avoid or
         reduce to the greatest extent possible any indemnification or additional amounts being
         due under this Section 12.4, including to designate another Lending Office for any Loan
         (including, for certainty, any Letter of Credit) affected by such event; provided, that such
         efforts are made on terms that, in the reasonable judgment of such Lender, cause such
         Lender and its Lending Office(s) to suffer no material economic, legal or regulatory
         disadvantage, and provided, further, that nothing in this Section 12.4.6 shall affect or
         postpone any of the Obligations of the Borrowers or the rights of such Lender pursuant to
         Sections 12.4.1 and 12.4.3. The Borrowers hereby jointly and severally agree to pay all
         reasonable costs and expenses incurred by any Lender as a result of a request by the
         Borrowers under this Section 12.4.6.

                                               ARTICLE 13
                                                GENERAL

13.1     Non-Disclosure

         13.1.1 All information received by the Agent and the Lenders from or in respect of the
         Credit Parties the confidential nature of which is made known or ought to have been
         known to the Party receiving such information, including any information relating to a
         Hostile Acquisition, other than information that is required to be disclosed by Applicable
         Law (including, for certainty, information required to be disclosed in connection with any
         legal proceedings, including proceedings relating to the Credit Documents) or to any
         Governmental Authority of competent jurisdiction, including any central bank or other
         banking regulatory authority and any official bank examiners or regulators, will be held
         by the Parties in the strictest confidence and will not be disclosed to any Person, except as
         provided in this Section 13.1.

         13.1.2        Section 13.1.1 does not apply to information:

         (a)      of a Party where that Party consents in writing to its disclosure;

         (b)      which becomes part of the public domain through no fault of the Agent or the
                  Lenders;

         (c)      received from a third party without restriction on further disclosure and which
                  third party was not to the knowledge of the Agent or such Lender, under a duty of


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                  confidentiality to the applicable Credit Party at the time the information was so
                  received;

         (d)      developed independently without breach of Section 13.1;

         (e)      which the Agent or the relevant Lender can show was, prior to receipt thereof
                  from a Credit Party, lawfully in the Agent’s or Lender’s possession and not then
                  subject to any obligation on its part to the Credit Parties to maintain
                  confidentiality; or

         (f)      to the extent required to be disclosed by order or direction of a court or
                  Governmental Authority of competent jurisdiction (including any self-regulatory
                  authority, such as the National Association of Insurance Commissioners) or as
                  other required to be disclosed by Applicable Law or by any subpoena or similar
                  legal process.

         13.1.3 Information received by the Agent or a Lender may be disclosed to their
         respective Affiliates, Hedge Providers, the Agent or any other Lender or Participant,
         including any financial institution which desires to become a Lender or Participant
         hereunder, any actual or prospective counterparty (or its advisors) to any securitization,
         swap or derivative transaction relating to a Borrower or any other Credit Party, and the
         Obligations and to their respective employees, auditors, accountants, legal counsel,
         geologists, engineers and other consultants and financial advisors retained by such
         Persons on a need to know basis and subject to the obligation to maintain confidentiality;
         provided, that the Agent or Lender providing the information shall be responsible for any
         breach by its Affiliate of the aforementioned duty of confidentiality.

13.2     Waiver

        The failure or delay by the Agent or any Lender in exercising any right or privilege with
respect to the non-compliance with any provisions of this Agreement by the Borrower and any
course of action on the part of the Agent or any Lender, shall not operate as a waiver of any rights
of the Agent or such Lender unless made in writing by the Agent or such Lender. Any such
waiver in writing and shall be effective only in the specific instance and for the purpose for
which it is given and shall not constitute a waiver of any other rights and remedies of the Agent
or such Lender with respect to any other or future non-compliance.

13.3     Governing Law

        This Agreement shall be interpreted in accordance with the Laws of the Province of
Alberta and the federal Laws of Canada applicable therein. Without prejudice to the right of the
Agent and the Lenders to commence any proceedings with respect to this Agreement in any other
proper jurisdiction, the Parties hereby attorn and submit to the non-exclusive jurisdiction of the
courts of the Province of Alberta.




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13.4     Judgment Currency

        To the extent permitted by Applicable Law, if for the purposes of obtaining judgment
against any Credit Party in any court in any jurisdiction with respect to this Agreement it
becomes necessary for a Lender to convert into the currency of such jurisdiction (in this Section
called the “Judgment Currency”) any amount due to the Lender by such Credit Party under the
Credit Documents in any currency other than the Judgment Currency, the conversion shall be
made at the Exchange Rate prevailing on the Business Day before the day on which judgment is
given. To the extent permitted by Applicable Law, in the event that there is a change in the
Exchange Rate prevailing between the Business Day before the day on which the judgment is
given and the date of payment of the amount due, the applicable Credit Party will, on the date of
payment, pay such additional amounts (if any) or be entitled to receive reimbursement of such
amount, if any, as may be necessary to ensure that the amount paid on such date is the amount in
the Judgment Currency which when converted at the Exchange Rate prevailing on the date of
payment is the amount then due under this Agreement in such other currency. To the extent
permitted by Applicable Law, any additional amount due by a Credit Party under this Section
will be due as a separate debt and shall not be affected by judgment being obtained for any other
sums due under or in respect of this Agreement.

13.5     Expenses of Agent and Lenders

        Whether or not the transactions contemplated by this Agreement are completed or any
Advance has been made, each Borrower hereby agrees, jointly and severally, to promptly pay,
following receipt of invoice therefor from the Agent (and in any event within 30 days after
receipt thereof), from time to time all reasonable and documented expenses incurred by the
Agent or any Lender in connection with this Agreement, the Security and all documents
contemplated hereby, specifically including: expenses incurred by the Lenders in respect of due
diligence, appraisals, insurance consultations, credit reporting and responding to demands of any
Governmental Authority (provided, that reimbursement obligations in respect of costs and
expenses arising under inspection rights set forth in Section 7.1.7 shall be limited in the manner
set forth in such Section); reasonable out-of-pocket legal expenses in connection with the
preparation and interpretation of this Agreement and the other Credit Documents, the registration
and perfection of the Security and the administration of the Facilities generally, including the
preparation of waivers and partial discharges of Security (if there are any additional fees or
expenses to be incurred in connection with any of the foregoing over and above those that have
already been disclosed to the Borrowers then the Agent agrees to notify the Borrowers of those
additional fees or expenses and obtain their concurrence to their payment); and all legal fees and
expenses (on a solicitor and his own client basis) in connection with the protection and
enforcement of the Security and the exercise of any rights and remedies of the Agent and the
Lenders under the Credit Documents. Each Borrower hereby authorizes the Agent to debit its
account in order to pay any such expenses if such amount is not paid in full within 30 days after
receipt of a written request from the Agent for payment of such amount.




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13.6     Assignment

         13.6.1 This Agreement and the rights and obligations hereunder will not be assignable,
         in whole or in part, by any Borrower without the prior written consent of all of the
         Lenders.

         13.6.2 Each Lender will have the right to sell or assign its Commitment in minimum
         amounts of U.S. $5,000,000 (with such Lender, where such sale or assignment is not of
         all of such Lender’s Commitment under the applicable Facility, retaining a Commitment
         under the applicable Facility of at least U.S. $5,000,000), together with a proportionate
         share of Outstanding Advances owing to it, to one or more financial institutions with the
         consent of the Canadian Borrower, the Agent, the Issuing Bank and the Swingline Lender
         each such consent not to be unreasonably withheld (provided, that the Canadian Borrower
         may withhold such consent if a Borrower would be required to pay withholding taxes
         solely as a result of such assignment). An assignment fee of U.S. $3,500 for each such
         assignment will be payable to the Agent by the assigning Lender. In the event of such sale
         or assignment, the Borrowers, the Agent and the other Lenders will execute and deliver
         all such agreements, documents and instruments as the Agent or Lender may reasonably
         request to effect and recognize such sale or assignment, including an Assignment.
         Notwithstanding the foregoing, no consent of the Canadian Borrower will be required if
         an assignment (a) occurs during an Event of Default which is continuing, (b) is made
         between financial institutions who, at the relevant time, are already Lenders or Affiliates
         thereof, or (c) is made by a Lender to an Approved Fund. In the event that the Canadian
         Borrower fails to provide a response to the request for any such consent within five
         Business Days of the receipt of such request by the Canadian Borrower, the Canadian
         Borrower shall be deemed to have consented to such request. No consent to an
         assignment by a Lender shall be required from the U.S. Borrower. Notwithstanding the
         foregoing, no Lender may assign all or any part of its Commitment or Outstanding
         Advances to Palladium, an Investor or an Affiliate thereof without the prior written
         consent of all of the Lenders.

         13.6.3 To the extent that any Lender sells or assigns any portion of its Commitment and
         Outstanding Advances pursuant to this Section 13.6 and such new Lender or new
         Lenders, as the case may be, has executed and delivered to the Borrower and the Agent an
         Assignment, such Lender will be relieved and forever discharged of any and all of its
         covenants and obligations under the Credit Documents in respect of that portion of its
         Commitment and Outstanding Advances so sold or assigned from and after the date of
         such Assignment and the Borrower’s recourse under the Credit Documents in respect of
         such portion so sold or assigned from and after the date of the Assignment for matters
         arising thereunder from and after the date of the Assignment will be to such new Lender
         or new Lenders only, as the case may be, and their successors and permitted assigns.

         13.6.4 Any Lender may at any time sell to one or more financial institutions or other
         Persons (each of such financial institutions and other Persons being herein called a
         “Participant”) participating interests in any of the Advances, commitments, or other
         interests of such Lender hereunder, without notice to, or consent from, the Agent or the
         Borrowers; provided, however, that:

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         (a)      no participation contemplated in this Section 13.6.4 will relieve such Lender from
                  its commitments or its other obligations hereunder or under any other Credit
                  Document;

         (b)      such Lender will remain solely responsible for the performance of its
                  commitments and such other obligations as if such participation had not taken
                  place;

         (c)      the Agent will continue to deal solely and directly with such Lender in connection
                  with such Lender’s rights and obligations under this Agreement and each of the
                  other Credit Documents;

         (d)      no Participant will have any rights (through a right of consent or approval or
                  otherwise) to require such Lender to take or refrain from taking any action
                  hereunder or under any other Credit Document;

         (e)      no Borrower will be required to pay any amount hereunder that is greater than the
                  amount which it would have been required to pay had no participating interest
                  been sold; and

         (f)      in the case of any outstanding Bankers’ Acceptances, the Participants execute an
                  indemnity agreement in respect of such Bankers’ Acceptances.

         Each U.S. Operating Lender that sells a participation shall, acting solely for this purpose
         as an agent of the U.S. Borrower, maintain a register on which it enters the name and
         address of each Participant in the U.S. Operating Facility and the principal amounts (and
         stated interest) of each Participant’s interest in the Commitments, Outstanding Advances
         or other obligations under the Credit Documents (the “Participant Register”); provided
         that no U.S. Operating Lender shall have any obligation to disclose all or any portion of
         the Participant Register (including the identity of any Participant or any information
         relating to a Participant’s interest in any commitments, loans, letters of credit or its other
         obligations under the Credit Documents) to any Person except to the extent that such
         disclosure is necessary to establish that such commitment, loan, letter of credit or other
         obligation is in registered form under Section 5f.103-1(c) of the United States Treasury
         Regulations. The entries in the Participant Register shall be conclusive absent manifest
         error, and such U.S. Operating Lender shall treat each Person whose name is recorded in
         the Participant Register as the owner of such participation for all purposes of this
         Agreement notwithstanding any notice to the contrary. For the avoidance of doubt, the
         Agent (in its capacity as Agent) shall have no responsibility for maintaining a Participant
         Register.

         13.6.5 The Agent, acting solely for this purpose as an agent of the U.S. Borrower, shall
         maintain at its office located at 452 Fifth Avenue, 5th Floor, New York, NY 10018, a
         copy of each Assignment delivered to it and a register for the recordation of the names
         and addresses of the U.S. Operating Lenders, and the Commitments of, and principal
         amounts (and stated interest) of the Outstanding Advances owing to, each U.S. Operating
         Lender pursuant to the terms hereof from time to time (the “Register”). The entries in the

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         Register shall be conclusive absent manifest error, and the Borrower, the Agent and the
         U.S. Operating Lenders shall treat each Person whose name is recorded in the Register
         pursuant to the terms hereof as a U.S. Operating Lender hereunder for all purposes of this
         Agreement. The Register shall be available for inspection by the Borrowers and any U.S.
         Operating Lender, at any reasonable time and from time to time upon reasonable prior
         notice.

13.7     General Indemnity

         In addition to any liability of the Borrowers to the Lenders under any other provision
hereof, each Borrower will and does hereby, jointly and severally, indemnify each Indemnitee
and hold each Indemnitee harmless against any losses, claims, costs, damages or liabilities
(including reasonable and documented out of pocket expenses and reasonable and documented
legal fees on a solicitor and his own client full indemnity basis of one counsel (but, for the
avoidance of doubt, excluding the allocated costs of in-house counsel) plus one local counsel in
each applicable jurisdiction) incurred by the same as a result of or in connection with: (a) any
cost or expense incurred by reason of the liquidation or re-deployment in whole or in part of
deposits or other funds required by any Lender to fund any Bankers’ Acceptance or to fund or
maintain any Advance as a result of any Borrower’s failure to complete an Advance or to make
any payment, repayment or prepayment on the date required hereunder or specified by it in any
notice given hereunder; (b) subject to permitted or deemed Rollovers and Conversions, any
Borrower’s failure to provide for the payment to the Agent for the account of the Lenders of the
full principal amount of each Bankers’ Acceptance on its Maturity Date; (c) any Borrower’s
failure to pay any other amount, including any interest or fees, due hereunder on its due date after
the expiration of any applicable grace or notice periods; (d) the prepayment of any outstanding
Bankers’ Acceptance before the Maturity Date of such Bankers’ Acceptance; (e) any Borrower’s
repayment or prepayment of a LIBOR Loan otherwise than on the last day of its LIBOR Period;
(f) the failure of any Borrower or any other Credit Party to make any other payment due
hereunder or under any of the other Credit Documents; (g) the occurrence of any other Default or
Event of Default and the enforcement of rights and remedies in connection therewith; (h) any
instructions given to any Lender to stop payment on any cheque issued by any Borrower or to
reverse any wire transfer or other transaction initiated by such Lender at the request of any
Borrower; (i) any use of the proceeds of the Facilities, including to pay the purchase price of the
transaction or any other acquisition; and (j) any claim, litigation or other proceeding related to the
foregoing, regardless of whether such matter is initiated by a third party or by Holdco, a
Borrower or any of their Subsidiaries or Affiliates; provided that this Section 13.7 will not apply
to any losses, claims, costs, damages or liabilities that arise by reason of (i) the gross negligence
or wilful misconduct of the applicable Indemnitee claiming indemnity hereunder, as determined
by a final and non-appealable judgment of a court of component jurisdiction; or (ii) a material
breach of the applicable Indemnitee of its obligations under the Credit Documents as determined
by a final and non-appealable judgment of a court of competent jurisdiction.

13.8     Environmental Indemnity

         In addition to any other liability of the Borrowers hereunder, each Borrower hereby agrees
to, jointly and severally, indemnify and save harmless the Indemnitees from and against:


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         (a)      any losses suffered by them for, in connection with, or as a direct or indirect result
                  of, the failure of any Borrower or any of their respective Subsidiaries to comply
                  with all Requirements of Environmental Law;

         (b)      any losses suffered by the Indemnitees for, in connection with, or as a direct or
                  indirect result of, the presence of any Hazardous Material situated in, on or under
                  any property owned by any Borrower or any of their respective Subsidiaries or
                  upon which any of them carries on business, specifically including any diminution
                  in value of the business, property and assets of such Person; and

         (c)      any and all liabilities, losses, damages, penalties, expenses (including reasonable
                  legal fees) and claims which may be paid, incurred or asserted against the
                  Indemnitees for, in connection with, or as a direct or indirect result of, any legal or
                  administrative proceedings with respect to the presence of any Hazardous Material
                  on or under any property owned by any Borrower or any of its respective
                  Subsidiaries or upon which any of them carries on business, or the discharge,
                  emission, spill, radiation or disposal by any Borrower or any of their respective
                  Subsidiaries of any Hazardous Material into or upon any Land, the atmosphere, or
                  any watercourse or body of water; including the costs of defending,
                  counterclaiming or claiming against third parties in respect of any action or matter
                  and any cost, liability or damage arising out of a settlement entered into by the
                  Indemnitees of any such action or matter,

except to the extent arising from the gross negligence or wilful misconduct of the applicable
Indemnitee, as determined by a final and non-appealable judgment of a court of component
jurisdiction. For the purpose of this Section 13.8, liabilities means those amounts that are
quantifiable and found to be the responsibility of the Indemnitees either alone or jointly or
severally with others.

13.9     Survival of Certain Obligations despite Termination of Agreement

        The termination of this Agreement shall not relieve the Borrowers from their obligations
to the Agent and the Lenders arising prior to such termination, such as obligations arising as a
result of or in connection with any breach of this Agreement, any failure to comply with this
Agreement or the inaccuracy of any representations and warranties made or deemed to have been
made prior to such termination, and obligations arising pursuant to all indemnity obligations
contained herein. Without limiting the generality of the foregoing, the obligations of the
Borrowers to the Agent and the Lenders arising under or in connection with Sections 8.5(b), 13.7
and 13.8 shall continue in full force and effect despite any termination of this Agreement.

13.10 Interest on Unpaid Costs and Expenses

       If a Borrower fails to pay when due any amount in respect of costs or expenses or any
other amount required to be paid by it hereunder (other than principal or interest on any
Advance), the Borrowers shall, jointly and severally, pay interest on such unpaid amount from
the time such amount is due until paid at the rate equal to the highest rate of interest then
applicable under the Facilities.

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13.11 Notice

       Without prejudice to any other method of giving notice, all communications provided for
or permitted hereunder shall be in writing and delivered to the addressee by prepaid private
courier or sent by facsimile to the applicable address and to the attention of the officer of the
addressee as follows:

         (a)      to the Borrowers:

                  Q’Max Solutions Inc.
                  11700 Katy Freeway, Suite 200
                  Houston Texas 77079
                  United States

                  Attention:      Chief Financial Officer
                  Fax No.         (832) 201-8146

         (b)      to the Agent:

                  HSBC Bank Canada, as Agent
                  7th Floor, 70 York Street
                  Toronto, Ontario
                  M5J 1S9

                  Attention:      Manager Agency
                  Fax No.         (647) 788-2185

                  with a copy to (for all notices other than Drawdown Requests, Conversion Notices
                  and Rollover Notices):

                  HSBC Bank Canada
                  5th Floor, 70 York Street
                  Toronto, Ontario
                  M5J 1S9

                  Attention:      Director
                  Fax No.         (647) 788-2185

         (c)      to any Lender, at its addressed noted on Exhibit “A” attached hereto.

Any communication transmitted by prepaid private courier shall be deemed to have been validly
and effectively given or delivered on the Business Day after which it is submitted for delivery.
Any communication transmitted by facsimile shall be deemed to have been validly and
effectively given or delivered on the day on which it is transmitted, if transmitted on a Business
Day on or before 5:00 p.m. (local time of the intended recipient), and otherwise on the next
following Business Day. Any party may change its address for service or other notices, including
electronic communications, by notice given in the foregoing manner. The Parties each covenant


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to accept service of judicial proceedings arising under the Credit Documents at its respective
address set forth herein.

13.12 Telephone Instructions

        Any verbal instructions given by a Borrower in relation to this Agreement will be at the
risk of the Borrowers and neither the Agent nor the Lenders will have any liability for any error
or omission in such verbal instructions or in the interpretation or execution thereof by the Agent
or a Lender, as the case may be; provided, that the Agent or Lender, as the case may be, acted
without gross negligence in the circumstances. The Agent will notify the applicable Borrower of
any conflict or inconsistency between any written confirmation of such verbal instructions
received from such Borrower and the said verbal advice as soon as practicable after the conflict
or inconsistency becomes apparent to the Agent.

13.13 Severability

        Any provision of this Agreement which is illegal, prohibited or unenforceable in any
jurisdiction, in whole or in part, shall not invalidate the remaining provisions hereof; and any
such illegality, prohibition or unenforceability in any such jurisdiction shall not invalidate or
render unenforceable such provision in any other jurisdiction.

13.14 Further Assurances

        Each Borrower shall, at its expense, promptly execute and deliver or cause to be executed
and delivered to the Agent upon request, acting reasonably, from time to time all such other and
further documents, agreements, opinions, certificates and instruments in compliance with this
Agreement, or if necessary or desirable to more fully record or evidence the obligations intended
to be entered into herein, or to make any recording, file any notice or obtain any consent.

13.15 Tombstone Marketing

        For the purpose of “tombstone marketing”, each Borrower hereby authorizes and consents
to the reproduction, disclosure and use by the Lenders and the Agent of its name, identifying logo
and the Facilities to enable the Lenders to publish promotional “tombstones”. Each Borrower
acknowledges and agrees: that the Lenders shall be entitled to determine, in their discretion,
whether to use such information; that no compensation will be payable by the Lenders or the
Agent in connection therewith; and that the Lenders and the Agent shall have no liability
whatsoever to any Borrower or any of its respective employees, officers, directors, Affiliates or
shareholders in obtaining and using such information as contemplated herein.

13.16 Entire Agreement

        This Agreement supersedes all discussion papers, term sheets and other writings issued
by the Agent or the Lenders prior to the date hereof relating to the Facilities; and this Agreement
and any other documents or instruments contemplated herein or therein shall constitute the entire
agreement and understanding among the Borrowers, the Lenders and the Agent relating to the
subject-matter hereof.


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13.17 Anti-Money Laundering Legislation

         (a)      Each Borrower acknowledges that, pursuant to the Proceeds of Crime (Money
                  Laundering) and Terrorist Financing Act (Canada) and other applicable
                  anti-money laundering, anti-terrorist financing, government sanction and “know
                  your client” Laws, whether within Canada or elsewhere (collectively, including
                  any guidelines or orders thereunder, “AML Legislation”), the Lenders and the
                  Agent may be required to obtain, verify and record information regarding the
                  Borrowers, Palladium, the other Credit Parties, their respective directors,
                  authorized signing officers, direct or indirect shareholders or other Persons in
                  control of the Credit Parties or Palladium, and the transactions contemplated
                  hereby. The Borrowers shall promptly provide all such information, including
                  supporting documentation and other evidence, as may be reasonably requested by
                  any Lender or the Agent, or any prospective assignee of a Lender or the Agent, in
                  order to comply with any applicable AML Legislation, whether now or hereafter
                  in existence.

         (b)      If, upon the written request of any Lender, the Agent has ascertained the identity
                  of a Borrower, Palladium or any Credit Party or any authorized signatories of any
                  Borrower or any other Credit Party for the purposes of applicable AML
                  Legislation on such Lender’s behalf, then the Agent:

                  (i)    shall be deemed to have done so as an agent for such Lender, and this
                         Agreement shall constitute a “written agreement” in such regard between
                         such Lender and the Agent within the meaning of applicable AML
                         Legislation; and

                  (ii)   shall provide to such Lender copies of all information obtained in such
                         regard without any representation or warranty as to its accuracy or
                         completeness.

         (c)      Notwithstanding the preceding sentence, each of the Lenders agrees that the Agent
                  has no obligation to ascertain the identity of the Borrowers, Palladium or any
                  other Credit Party or any authorized signatories of the Borrowers, Palladium or
                  any other Credit Party, on behalf of any Lender, or to confirm the completeness or
                  accuracy of any information it obtains from the Borrowers, Palladium or any other
                  Credit Party or any such authorized signatory in doing so.

         (d)      Each Lender that is subject to the PATRIOT Act and the Agent (for itself and not
                  on behalf of any Lender) hereby notifies the Credit Parties that pursuant to the
                  requirements of the PATRIOT Act, it is required to obtain, verify and record
                  information that identifies the Credit Parties, which information includes the
                  name, address and tax identification number of the Credit Parties and other
                  information regarding the Credit Parties that will allow such Lender or the Agent,
                  as applicable, to identify the Credit Parties in accordance with the PATRIOT Act.
                  This notice is given in accordance with the requirements of the PATRIOT Act and
                  is effective as to the Lenders and the Agent.

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13.18 Binding Effect

        This Agreement shall be binding upon and shall enure to the benefit of the Parties and
their respective successors and permitted assigns; “successors” includes any corporation resulting
from the amalgamation of any party with any other corporation.

13.19 Execution by Electronic Means and Counterparts

       This Agreement may be executed in several counterparts, each of which, when so
executed, shall be deemed to be an original and which counterparts together shall constitute one
and the same Agreement. This Agreement may be executed by facsimile, pdf or other electronic
means, and any signature contained hereon by facsimile, pdf or other electronic means shall be
deemed to be equivalent to an original signature for all purposes.

13.20 Intercreditor Agreement

       In the event of a conflict between the provisions of this Agreement and the provisions of
the Encina Intercreditor Agreement, the provisions of the Encina Intercreditor Agreement shall
govern.

13.21 Release of Liens and Guarantees.

         (a)      The Agent shall not, during the term of this Agreement, discharge, surrender,
                  amend or otherwise modify any Security without the prior written consent of all of
                  the Lenders, provided that the Agent may accept additional or supplemental
                  Security as provided in the Credit Documents, and shall discharge Security
                  provided hereunder in the Permitted Discretion of the Agent with respect to any
                  Permitted Disposition or, if applicable, any other transaction permitted by this
                  Agreement in respect of which the Agent has received, upon its reasonable
                  request, an officer’s certificate of the Canadian Borrower certifying that such
                  disposition or other transaction is permitted by this Agreement, together with any
                  other information from the Canadian Borrower reasonably required by the Agent,
                  if any (and the Agent may rely conclusively on a certificate to that effect provided
                  to it by the Canadian Borrower without further inquiry).

         (b)      The Lenders hereby authorize the Agent, and the Agent hereby agrees, to:

                  (i)    discharge the Security at the Borrower’s sole cost and expense, forthwith
                         after all of the Obligations under the Credit Documents (other than
                         contingent obligations intended to survive payout of the Facilities) have
                         been unconditionally and irrevocably paid or performed in full and the
                         Facilities, Credit Documents and all Hedging Agreements have been
                         terminated or, with respect to the Hedging Agreements, collateralized to
                         the satisfaction of the Agent and the applicable Hedge Providers, acting
                         reasonably; and

                  (ii)   at the request of the Borrower and upon receipt of the Agent of an officer’s
                         certificate from a senior officer of the Borrower certifying that such

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                         disposition is a Permitted Disposition, to discharge that portion of the
                         Security that applies to the property subject to such Permitted Disposition
                         or execute a no interest letter or similar document in connection therewith.

         (c)      As of the Amendment and Restatement Date, the Agent and other Secured Parties
                  hereby release each of (x) QMax Ecuador S.A. and (y) Mud Movers Express LLC
                  as Guarantors, hereby confirm that all such Subsidiaries’ Obligations are
                  discharged, in each case, whether now existing or hereafter arising and whether or
                  not matured or contingent, and that the Security granted by such Subsidiaries to
                  the Agent is deemed to be released.



                                 (SIGNATURE PAGES FOLLOW)




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                   THIS IS EXHIBIT”       S
                      reSrredto in theAffdavit of


                   Sworn before me this             /
                   dayof                  A.D,2OcO



                              Jonathan Tomm
                            Bamster and Solicitor
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                               SECOND AMENDING AGREEMENT

THIS SECOND AMENDING AGREEMENT (this “Agreement”) is made effective as of July 22,
2019 (the “Second Amendment Date”),

BETWEEN:

                     Q’MAX SOLUTIONS INC. and Q’MAX AMERICA INC.
                                     as Borrowers

                                                   and

                               QMAX CANADA OPERATIONS INC.
                               as Specified Canadian Swingline Borrower

                                                   and

                    THE PERSONS PARTY HERETO FROM TIME TO TIME
                           IN THEIR CAPACITIES AS LENDERS
                                      as Lenders

                                                   and

                                       HSBC BANK CANADA
                                       as Administrative Agent


PREAMBLE:

A.      Pursuant to the second amended and restated credit agreement dated as of July 31, 2018, by and
        between Q’Max Solutions Inc., Q’Max America Inc., QMax Canada Operations Inc.
        (collectively, the “Borrowers”), the Agent and the Lenders from time to time party thereto (as
        amended by that certain First Amending Agreement, dated as of May 13, 2019 and as further
        amended from time to time, the “Credit Agreement”), the Agent and the Lenders agreed to
        provide the Facilities to the Borrowers.

B.      The parties hereto wish to otherwise amend the Credit Agreement on the terms and conditions
        herein provided.

AGREEMENT:

         In consideration of the premises, the covenants and the agreements herein contained and for other
good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged between
the parties, the parties hereto agree on the Second Amendment Date as follows:

1.      Definitions. Capitalized terms used in this Second Amending Agreement will, unless otherwise
        defined herein, have the meanings attributed to such terms in the Credit Agreement, as amended
        hereby.
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2.     Amendments.

       With effect upon the satisfaction of the conditions precedent set forth in Section 5 hereof:

       (a)     The Credit Agreement is hereby amended with the stricken text deleted (indicated
               textually in the same manner as the following example: stricken text) and with the
               double-underlined text added (indicated textually in the same manner as the following
               example: double-underlined text) as set forth in the pages of the Credit Agreement
               attached as Exhibit A hereto. The parties hereto agree that Schedule 1.1.253 attached to
               the Credit Agreement as of the Amendment and Restatement Date shall be deemed to
               refer to Schedule 1.1.254 thereof on and after the Second Amendment Date.

       (b)     Exhibit “A” to the Credit Agreement is hereby amended and replaced in its entirety with
               Annex I hereto.

3.     Commitment Increase. With effect upon satisfaction of the conditions precedent set forth in
       Section 5 hereof Bank of Montreal, as Lender, hereby agrees to increase its Canadian Operating
       Facility Commitments by U.S. $10,000,000 to an aggregate principal amount of U.S.
       $39,307,284.00.

4.     Representations and Warranties. Each Borrower agrees with and confirms to the Agent and the
       Lenders that as of the Second Amendment Date, after giving effect to this Agreement, each of the
       representations and warranties contained in Section 6.1 of the Credit Agreement is true and
       accurate in all material respects (without duplication of any materiality qualifier contained in any
       such representations and warranties) except to the extent such representation and warranty
       expressly relates to an earlier date, in which case such representation and warranty shall be true
       and correct as of such earlier date. Further, each Borrower hereby represents and warrants to the
       Agent and the Lenders that:

       (a)     the execution and delivery of this Agreement and the performance by it of its obligations
               under this Agreement (i) are within its corporate powers, (ii) have been duly authorized
               by all necessary corporate action, (iii) have received all necessary governmental
               approvals (if any required), and (iv) do not and will not contravene or conflict with any
               provision of Applicable Law or of its constating documents or by-laws; and

       (b)     the Credit Agreement, as amended by this Agreement is a legal, valid and binding
               obligation of it, enforceable in accordance with its terms except as such enforcement may
               be limited by applicable bankruptcy, insolvency, reorganization, winding-up, moratorium
               or similar Applicable Law relating to the enforcement of creditors’ rights generally and
               by general principles of equity.

5.     Conditions Precedent. This Agreement is only effective upon the satisfaction of the following
       conditions precedent:

       (a)     The Administrative Agent shall have received a counterpart of this Agreement signed on
               behalf of each Credit Party party hereto, the Administrative Agent, and each Lender party
               to the Credit Agreement as of the Second Amendment Date;

       (b)     The Agent shall have received evidence satisfactory to it, acting reasonably, that (i) the
               Canadian Borrower has received not less than U.S. $30,000,000 in the aggregate by way
               of one or more cash contributions by Holdco or the shareholders of Holdco during the
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               Fiscal Quarters ended March 31, 2019 and June 30, 2019 (the “Holdco Shareholder
               Loans”) and (ii) no less than $30,000,000 of the Holdco Shareholder Loans shall have
               been repaid and an amount equal to at least $30,000,000 of the Holdco Shareholder
               Loans shall have been contributed in equity in the Canadian Borrower (the “Equity
               Contribution”). The Equity Contribution shall be deemed to constitute a Specified
               Equity Contribution in an amount equal to $30,000,000, as set forth in Section 7.3.2 of
               the Credit Agreement, as amended hereby (the “2019 Equity Contribution”);

       (c)     Receipt by the Agent of:

               (i)     duly executed acknowledgement and confirmation agreements from each Credit
                       Party formed under the laws of Canada, the U.S. or any province or state thereof
                       in respect of the Security Agreement to which such Credit Party is a party, in
                       form and substance satisfactory to the Agent, acting reasonably;

               (ii)    duly executed officer’s certificates from each Credit Party formed under the laws
                       of Canada, the U.S. or any province or state thereof in form and substance
                       satisfactory to the Agent, acting reasonably;

               (iii)   a certificate of status, certificate of compliance or similar certificate for each
                       Borrower and each other Credit Party formed under the laws of Canada, the U.S.
                       or any province or state thereof issued by its governing jurisdiction;

               (iv)    opinion from the counsel to the Credit Parties formed under the laws of Canada,
                       the U.S. or any province or state thereof, in each case in form and substance
                       satisfactory to the Agent, acting reasonably;

               (v)     evidence satisfactory to the Agent that Wells Fargo has consented or will
                       otherwise amend, substantially concurrently with the effectiveness of this
                       Agreement, the financial covenants under the Wells Fargo Credit Agreement in a
                       manner that is substantially similar to the amendments effected hereunder in
                       respect of Section 7.3 of the Credit Agreement, as amended hereby, in such a
                       manner satisfactory to the Agent, acting reasonably;

               (vi)    duly executed pro forma Compliance Certificate giving effect to the 2019 Equity
                       Contribution, in form and substance satisfactory to the Agent, acting reasonably;

       (d)     Notwithstanding Section 11.9 of the Credit Agreement or any other provision of the
               Credit Agreement or the Amended Credit Agreement to the contrary, the Canadian
               Borrower shall have paid to the Agent all fees due and payable in connection with this
               Agreement and the amendments constituted hereby, including, for certainty, all fees
               required pursuant to the Fee Letter, dated as of the date hereof, between the Agent and
               the Canadian Borrower, and all fees payable to Bank of Montreal, for its own account in
               its capacity as Lender, in connection with such Lender increasing its Commitment
               pursuant to Section 3 hereof as described in the Side Fee Letter, dated as of the date
               hereof, between Bank of Montreal, as Lender and the Canadian Borrower.

6.     Continuing Effect. Each of the parties hereto acknowledges and agrees that the Credit
       Agreement, as amended by this Agreement and all other documents entered into in connection
       therewith, will be and continue in full force and effect and are hereby confirmed and the rights
       and obligations of all parties thereunder will not be effected or prejudiced in any manner by this
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        Agreement except as specifically provided herein. In addition, each Borrower acknowledges that
        the Security previously granted to the Agent by it under or in connection with the Credit
        Agreement continues in full force and effect without in any way impairing or derogating from
        any of the guarantees, indemnities, mortgages, pledges, charges, assignments, security interests
        and covenants therein contained or thereby constituted, as continuing security for all
        indebtedness, liabilities and other obligations owing by such Borrower under the Credit
        Agreement, as amended by this Agreement.

7.      Outstanding Advances. The Lenders hereby acknowledge and agree that, notwithstanding the
        terms of the Amended Credit Agreement, each Lender’s Proportionate Share under any Advance
        made by way of Bankers’ Acceptances or LIBOR Loans under the Operating Facilities which are
        outstanding immediately before the Second Amendment Date will remain unchanged until the
        maturity date thereof. Any new Advances made by way of Bankers’ Acceptances or LIBOR
        Loans after the Second Amendment Date or any Rollovers of such outstanding Bankers’
        Acceptances or LIBOR Loans after the Second Amendment Date shall be issued in accordance
        with each Lender’s Proportionate Share after giving effect to the changes to the Commitment of
        each Lender scheduled to occur on the Second Amendment Date as provided for in this Second
        Amending Agreement.

8.      Further Assurance. Each Borrower will from time to time forthwith at the Agent’s request and
        at the Borrowers’ own cost and expense make, execute and deliver, or cause to be done, made,
        executed and delivered, all such further documents, financing statements, assignments, acts,
        matters and things which may be reasonably required by the Agent and as are consistent with the
        intention of the parties as evidenced herein, with respect to all matters arising under the Credit
        Agreement and this Agreement.

9.      Expenses. Each Borrower will be liable jointly and severally for all expenses of the Agent,
        including, without limitation, reasonable documented and out-of-pocket legal fees (on a solicitor
        and his own client full indemnity basis) and other out-of-pocket expenses in connection with the
        negotiation, preparation, establishment, operation or enforcement of the Facilities and of this
        Agreement (whether or not consummated) by the Agent and the Lenders.

10.     Governing Law. This Agreement will be governed by and construed in accordance with the laws
        in force in the Province of Alberta from time to time.

11.     Counterparts. This Agreement may be executed in any number of counterparts (including by
        facsimile or pdf transmission), each of which when executed and delivered will be deemed to be
        an original, but all of which when taken together constitutes one and the same instrument. Any
        party hereto may execute this Agreement by signing any counterpart.

                                        [signature pages follow]
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         IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly executed
by their respective authorized officers as of the Second Amendment Date.


                                             Q’MAX SOLUTIONS INC., as Canadian Borrower


                                             By:   _________ ^________________________
                                                    Name:
                                                    Title:



                                             Q’MAX AMERICA INC., as U.S. Borrower


                                             By:       ______   C&JL
                                                    Name^VrihAqpV/e^
                                                                                   ____
                                                    Title: j)fcs.'i<AL    cAt     &■*<*>**& CJ^'C'er

                                             QMAX CANADA OPERATIONS INC., as Specified
                                             Canadian Swingline Borrower


                                             By:   __________ _____________________________
                                                    Name:
                                                    Title:




                              [Second Amending Agreement - Q’Max]
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                                   HSBC BANK CANADA, as Agent


                                   By;                ----------- ----------
                                           Name: G-trcvsnwc
                                           Title:              y<4-/o«-roeM


                                   By:           AJ^J Wk_
                                           Name:   py)UŸ fiiZ
                                           Title: AkJ Çhj




                    [Second Amending Agreement - Q’Max]
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                                    HSBC BANK CANADA, as Lender


                                   By:
                                           Name:
                                                                    Sean Cochrane
                                           Title:                 Assistant Vice President
                                                                    Corporate Banking
                                   By:
                                           Name:
                                           Title:                 BRUCE ROBINSON
                                                                    Vice President
                                                                   Energy Financing




                  [Second Amending Agreement - Q’Max]
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                                               Title:




                         [Second Amending Agreement - Q’Max]

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                                   EXPORT DEVELOPMENT CANADA, as Lender


                                   By:                     yjfSaifcëc.
                                           Name:
                                           Title:

                                   By:
                                           Name:
                                           Title:   Christopher Wilson
                                                    Senior Financing Manager




                     [Second Amending Agreement - Q’Max]
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                                      BUSINESS DEVELOPMENT BANK OF
                                      CANADA, as Lender


                                      By:
                                              Name:
                                              Title:          Director, Business Restructuring

                                      By:          1 a JUj < l
                                              Name:
                                              Title:
                                                                   Valerie Lock
                                                        Director, Business Restructuring




                        [Second Amending Agreement - Q’Max]

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                                    HSBC BANK. USA, NATIONAL ASSOCIATION,
                                    as Lender




                                            Name:
                                            Title:




                     [Second Amending Agreement - Q’Max]
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                                      Exhibit A

                         Conformed Copy of Credit Agreement

                                    [see attached.]




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                                          Exhibit A to FirstSecond Amending Agreement

[Conformed Credit Agreement reflecting the FirstSecond Amending Agreement, dated as of
May 13,July 22, 2019]

                       SECOND AMENDED AND RESTATED
                            CREDIT AGREEMENT



                                        Among

               Q’MAX SOLUTIONS INC. and Q’MAX AMERICA INC.
                               as Borrowers

                                          and

                       QMAX CANADA OPERATIONS INC.
                       as Specified Canadian Swingline Borrower

                                          and

              THE PERSONS PARTY HERETO FROM TIME TO TIME
                     IN THEIR CAPACITIES AS LENDERS
                                as Lenders

                                          and

                               HSBC BANK CANADA
                               as Administrative Agent

                                       and with

                                HSBC BANK CANADA
                  as Sole Lead Arranger, Bookrunner, Syndication Agent
                                and Documentation Agent



                               Dated as of July 31, 2018
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            SECOND AMENDED AND RESTATED CREDIT AGREEMENT

       This Agreement is dated as of July 31, 2018,

AMONG:

                Q’MAX SOLUTIONS INC. and Q’MAX AMERICA INC.
                                as Borrowers

                                            – and –

                          QMAX CANADA OPERATIONS INC.
                          as Specified Canadian Swingline Borrower

                                            – and –

               THE PERSONS PARTY HERETO FROM TIME TO TIME
                      IN THEIR CAPACITIES AS LENDERS
                                 as Lenders

                                            – and –

                                  HSBC BANK CANADA,
                                   as Administrative Agent

                                            – with –

                                  HSBC BANK CANADA,
                    as Sole Lead Arranger, Bookrunner, Syndication Agent
                                  and Documentation Agent

PREAMBLE:

A.     The Borrowers have requested and the Lenders have agreed to further amend and restate
       the credit facilities under the Existing Credit Agreement and to continue to provide
       certain credit facilities on the terms and conditions and for the purposes set out in this
       Agreement.

B.     HSBC has agreed to continue to act as administrative agent for the Lenders under the
       Facilities on the terms and conditions and for the purposes set out in this Agreement.

AGREEMENT:

       In consideration of the covenants and agreements between the Parties contained in this
Agreement and other good and valuable consideration, the receipt and sufficiency of which are
hereby acknowledged, the Parties agree as follows:
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                                          ARTICLE 1
                                       INTERPRETATION

1.1     Definitions

        In this Agreement, the following words and phrases shall have the respective meanings
set forth below:

        1.1.1     “Acceleration Date” means the earlier of:

        (a)     the occurrence of an Insolvency Event in respect of any Credit Party; and

        (b)     the delivery by the Agent to the Borrower of a written notice that the Obligations
                are immediately due and payable, following the occurrence and during the
                continuation of an Event of Default other than an Insolvency Event.

        1.1.2    “Acceptable Account Debtors” means those account debtors in respect of
        Eligible Receivables who have Investment Grade long term unsecured debt ratings or are
        otherwise acceptable to the Required Lenders, in their Permitted Discretion.

        1.1.3    “Account Receivable Insurance” means one or more credit insurance policies
        issued by (a) Export Development Canada, (b) Export-Import Bank of the United States,
        or (c) such other governmental entity of Canada or the U.S. or a private insurer, in either
        case, with, and only for so long as such other insurer maintains, a credit rating of at least
        A by Standard & Poor’s Ratings Services (or an equivalent rating issued by another rating
        agency acceptable to the Required Lenders, acting reasonably) that is reasonably
        acceptable to the Required Lenders, in each case, together with all endorsements and
        agreements related thereto (including a tripartite agreement among the insured, the insurer
        and the Agent), and on terms and in amounts reasonably acceptable to Agent and which
        provides for the payment of claims thereunder directly to Agent.

        1.1.4    “Acquired Business” means the entity or assets acquired by a Credit Party in an
        Acquisition consummated after the date hereof.

        1.1.5     “Acquisition” means any transaction or series of related transactions for the
        purpose of or resulting, directly or indirectly, in (a) the acquisition of all or substantially
        all of the assets of a Person, or of any business or division of a Person, (b) the acquisition
        of a controlling interest in the capital stock, partnership interests, membership interests or
        equity of any Person (other than a Person that is a Subsidiary or the formation of a
        Subsidiary solely to facilitate a Permitted Acquisition), or (c) a merger, amalgamation,
        consolidation or any other combination with another Person (other than a Person that is a
        Credit Party); provided, that the Borrower or a Person that is or will become a Credit
        Party is the surviving entity.

        1.1.6    “Advance” means an extension of credit by one or more of the Lenders to a
        Borrower pursuant to this Agreement (including by way of issuance of a Letter of Credit
        or by way of any other Loan permitted by Section 2.7.2 under the Swingline), but does
        not include any Conversion or Rollover.
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  1.1.7   “Advisory Services Agreement” means the management and advisory service
  agreement dated as of May 23, 2014 between the Canadian Borrower and Palladium, as
  the same may be amended restated or supplemented from time to time permitted
  hereunder.

  1.1.8    “Affiliate” means with respect to any Person, any Person directly or indirectly
  controlling, controlled by or under direct or indirect common control with such other
  Person.

  1.1.9   “Agent” means HSBC in its capacity as administrative agent hereunder and any
  successors in such capacity appointed as agent pursuant to Section 11.18.

  1.1.10 “Agreement” means this amended and restated credit agreement (including the
  exhibits and schedules) as it may be amended, replaced or restated from time to time.

  1.1.11 “Amendment and Restatement Date” means the date of this Agreement or
  such later Business Day upon which each condition in Section 9.1 shall be satisfied or
  waived in a manner acceptable to the Required Lenders in their discretion.

  1.1.12   “Anchor” means Anchor Drilling Fluids USA, LLC.

  1.1.13 “Anchor Acquisition Agreement” means the Membership Interest Purchase
  Agreement, dated as of November 21, 2017, by and among Anchor Drilling Fluids USA,
  LLC, a Delaware limited liability company, Calumet Operating, LLC, a Delaware limited
  liability company, Q’Max Solutions Inc., a British Columbia corporation, and Q’Max
  America Inc., a Delaware corporation.

  1.1.14 “Anchor Sale and Leaseback Transaction” means any arrangement, whether
  in one transaction or in a series of transactions, with any Person whereby Anchor sells or
  transfers all or some portion of its truck fleet or similar motor vehicles, whether now
  owned or hereafter acquired, and thereafter, as part of such transaction, rents or leases
  such property that it intends to use for substantially the same purpose or purposes as the
  property being sold or transferred.

  1.1.15 “Annual Management Fee Cap” means U.S. $2,500,000 in the aggregate in
  any Fiscal Year.

  1.1.16 “Applicable Law” means, in respect of any Person, property, transaction or
  event, all Laws applicable thereto.

  1.1.17 “Applicable Margin” means, in respect of any Fiscal Quarter and in respect of
  any Availment Option or standby fee, the percentage in the column relating to such
  Availment Option or standby fee in the following table which corresponds to the Net
  Leverage Ratio in respect of such Fiscal Quarter described in the first column; subject to
  adjustment from time to time in accordance with Section 5.1.4:
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                                                                                           Standby Fee (For
                                      Canadian Dollar Prime
                                                                BA Fee, LIBOR Loans       Canadian Operating
                                     Based Loans, U.S. Dollar
Level*         Net Leverage Ratio                               and Financial Letter of    Facility and U.S.
                                     Base Rate Loans and U.S.
                                                                    Credit Fee**           Operating Facility
                                     Dollar Prime Rate Loans
                                                                                                 only)
  I                 < 1.50:1                 100 bps                   200 bps                45.000 bps
  II            ≥ 1.50:1 < 2.00:1            125 bps                   225 bps                50.625 bps
 III            ≥ 2.00:1 < 2.50:1            175 bps                   275 bps                61.875 bps
 IV             ≥ 2.50:1 < 3.00:1            200 bps                   300 bps                67.500 bps
  V             ≥ 3.00:1 < 3.50:1            275 bps                   375 bps                84.375 bps
 VI             ≥ 3.50:1 < 4.00:1            325 bps                   425 bps                95.625 bps
 VII                ≥ 4.00:1                 375 bps                   475 bps                106.875 bps


         * On the Amendment and Restatement Date, the Applicable Margin shall be deemed to
         be at Level VII and shall remain at Level VII at all times during the Covenant Relief
         Period.

         **Non-Financial Letters of Credit will be issued at 66⅔% of the pricing quoted above for
         Financial Letters of Credit.

         1.1.18 “Approved Fund” means any Fund that is administered or managed by (a) a
         Lender, (b) an Affiliate of a Lender or (c) an entity or an Affiliate of an entity that
         administers or manages a Lender.

         1.1.19 “Assignment” means an agreement whereby a financial institution becomes a
         Lender substantially in the form of Exhibit “G”, with the blanks completed.

         1.1.20 “Availment Option” means a method of borrowing which is available to the
         Borrower as provided herein and in respect of each Facility, means those particular
         methods of borrowing which are specifically identified as being available thereunder (in
         the case of the Canadian Operating Facility under Section 2.5.1, in the case of the Facility
         under Section 3.5.1 and in the case of the U.S. Operating Facility under Section 4.5.1).

         1.1.21 “BA Equivalent Loan” means an Advance in Canadian Dollars made by a
         Non-BA Lender pursuant to Section 5.10.2.

         1.1.22 “BA Lender” means a Lender identified in Exhibit “A” attached hereto as a
         Lender which will accept Bankers’ Acceptances hereunder.

         1.1.23 “Bankers’ Acceptance” means a bill of exchange or a blank non-interest
         bearing depository bill as defined in the Depository Bills and Notes Act (Canada) drawn
         by the Borrower and accepted by a BA Lender in respect of which the Borrower becomes
         obligated to pay the face amount thereof to the holder (which may be a third party or such
         BA Lender) upon maturity.

         1.1.24 “Banking Service Agreements” means agreements made between a Borrower
         or any other Credit Party and the Agent or any Lender or any of their respective Affiliates
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  in respect of payment cards, credit cards, cash management, payroll, pooling, netting, or
  other banking services; and “Banking Service Agreement” means any one of them as
  required by the context.

  1.1.25 “Banking Services Liabilities” mean, collectively, any and all direct and
  indirect, contingent and absolute obligations and liabilities of each Borrower and each
  other Credit Party to the Agent, any Lender or any of their respective Affiliates in respect
  of any Banking Service Agreement as the Credit Parties may from time to time enter into
  with the Agent, any Lender or any of their respective Affiliates; provided, that a liability
  shall constitute a “Banking Service Liability” if the agreement under which it arose was
  entered into with the Person who was an Agent, Lender or the Affiliate of a Person who
  was an Agent or Lender, at the time such agreement was entered into, regardless of
  whether such Agent or Lender ceased to be the Agent or a Lender hereunder.

  1.1.26 “BCBCA” means the Business Corporations Act (British Columbia), as
  amended from time to time.

  1.1.27 “BIA” means the Bankruptcy and Insolvency Act (Canada), as amended from
  time to time.

  1.1.28 “Borrowers” means, collectively, the Canadian Borrower, the Specified
  Canadian Swingline Borrower and the U.S. Borrower and “Borrower”, means any one of
  them; provided, that “Borrower”, in the context of provision hereunder relating to:

  (a)    the Term Facility and the Canadian Operating Facility, and Loans thereunder,
         shall mean the Canadian Borrower and its successors and assigns;

  (b)    the U.S. Operating Facility, and Loans thereunder, shall mean the U.S. Borrower
         and its successors and assigns; and

  (c)    the Swingline, and Loans thereunder, shall mean the applicable Swingline
         Borrower and its successors and assigns.

  1.1.29 “Borrowing Base” means the amount in U.S. Dollars calculated by the
  Borrower and approved by the Agent, in its sole discretion, as set out in the most recent
  Borrowing Base Certificate, being the aggregate amount of (without duplication):

  (a)    Marginable Receivables; plus

  (b)    Marginable Inventory; plus

  (c)    Marginable Cash; plus

  (d)    Marginable Capital Assets; minus

  (e)    Priority Claims; minus
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  (f)      $150,000 (but only until such time as the Agent and HSBC US have received an
           environmental report or other information from or on behalf of Anchor which is
           satisfactory to each of them (acting reasonably) related to the Norge, Oklahoma
           and Roosevelt, Utah properties owned by the Credit Parties, and the Agent and
           HSBC US agree to no longer require the reserve set out in this clause (f)),
           provided such reserve shall only apply to the extent such properties form part of
           the Borrowing Base, minus

  (g)      the amount in U.S. Dollars of unrealized losses resulting from mark to market
           accounting for hedging activities calculated in accordance with GAAP, minus

  (h)      the amount in U.S. Dollars of any deductible payable in respect of the Account
           Receivable Insurance (other than in respect of Anchor, Terra and their respective
           Subsidiaries), minus

  (i)      any amount that is payable to the insurer under the Account Receivable Insurance
           (other than in respect of Anchor, Terra and their respective Subsidiaries).

  1.1.30 “Borrowing Base Certificate” means a certificate of the Canadian Borrower,
  substantially in the form of Exhibit “H”.

  1.1.31    “Borrowing Base Shortfall” is defined under Section 5.3.5.

  1.1.32    “Business Day” means:

  (a)      for the purpose of giving any communication pursuant to Section 13.11 and in the
           context of U.S. Dollar Base Rate Loans and U.S. Dollar Prime Rate Loans, a day
           on which the main branches of the Agent or any of its Affiliates in Toronto,
           Calgary, Montreal, Quebec and New York are open for normal banking business;

  (b)      for purposes of LIBOR Loans, also must be a LIBOR Business Day; and

  (c)      for all other purposes, a day on which the main branch of the Agent in Calgary,
           Alberta, Montreal, Quebec and Toronto, Ontario is open for normal banking
           business,

  but in any event not including a Saturday or Sunday or other day on which banks in
  Calgary or Toronto are authorized or required by law to close.

  1.1.33 “Calumet” means Calumet Operating, LLC and its successors and permitted
  assigns.

  1.1.34 “Canadian Borrower” means Q’Max Solutions Inc., a corporation
  amalgamated pursuant to the BCBCA, and its successors and permitted assigns.

  1.1.35 “Canadian Dollar Prime Rate Loan” means a loan made by a Lender to the
  Canadian Borrower in Canadian Dollars in respect of which interest is determined by
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  reference to the Canadian Prime Rate, but excluding Advances in the form of Overdrafts
  and BA Equivalent Loans.

  1.1.36    “Canadian Dollars” or “Cdn. $” means the lawful money of Canada.

  1.1.37    “Canadian Operating Facility” is defined in Section 2.1.

  1.1.38 “Canadian Operating Facility Commitment” means, as the context requires,
  (a) as of the Second Amendment and Restatement Date, collectively with respect to all
  Canadian Operating Lenders, in the aggregate, U.S. $109,681,471119,681,471 or the
  Equivalent Amount in Cdn. $ (or any combination thereof), as otherwise increased or
  decreased pursuant to this Agreement and (b) means, with respect to each individual
  Canadian Operating Lender, the individual commitment amount of such Lender in the
  maximum principal amount indicated opposite such Canadian Operating Lender’s name
  in Exhibit “A” under the heading “Canadian Operating Facility Commitments”, as
  amended from time to time.

  1.1.39 “Canadian Operating Facility Limit” means the lesser of (a) the Canadian
  Operating Facility Commitment, and (b) the sum of the Borrowing Base less the then
  outstanding Advances under the Term Facility and the U.S. Operating Facility.

  1.1.40 “Canadian Operating Lenders” means the Lenders who have provided a
  Commitment under the Canadian Operating Facility as set forth in Exhibit “A”.

  1.1.41    “Canadian Prime Rate” means the greater of the following:

  (a)      the rate of interest announced from time to time by the Agent as its reference rate
           then in effect for determining rates of interest on Canadian dollar loans to its
           customers in Canada and designated as its prime rate; and

  (b)      the 30-day CDOR Rate plus 1% per annum;

  provided that if the Canadian Prime Rate calculated for any purpose would be less than
  zero on any day, then such rate shall be deemed to be zero for such purpose.

  1.1.42 “Capital Adequacy Requirements” means the Guideline dated January 2017,
  entitled “Capital Adequacy Requirements (CAR)” issued by OSFI and all other guidelines
  or requirements relating to capital adequacy issued by OSFI or any other Governmental
  Authority regulating or having jurisdiction with respect to any Lender, as amended,
  modified, supplemented, reissued or replaced from time to time.

  1.1.43 “Capital Expenditures” means, with respect to any Person for any period,
  without duplication, the aggregate amount of all expenditures (whether paid in cash or
  accrued as a liability) by such Person during that period for investments in other Persons
  and the acquisition or leasing (pursuant to a Capital Lease) of fixed or capital assets or
  additions to property, plant, or equipment (including replacements, capitalized repairs,
  and improvements), in each case, which are required to be capitalized on the balance
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  sheet of such Person in accordance with GAAP; provided, however, that Capital
  Expenditures shall not include:

  (a)    expenditures with proceeds of insurance settlements, condemnation awards and
         other settlements in respect of lost, destroyed, damaged or condemned assets,
         equipment or other property to the extent such expenditures are made to replace or
         repair such lost, destroyed, damaged or condemned assets, equipment or other
         property or otherwise to acquire, maintain, develop, construct, improve, upgrade
         or repair assets or properties useful in the business of a Borrower and its
         Subsidiaries within one year of receipt of such proceeds (or, if not made within
         such one year period, are committed to be made during such period, but if not so
         made, such amount will not be excluded in the next applicable period);

  (b)    interest capitalized during such period;

  (c)    expenditures that are accounted for as Capital Expenditures of such Person and
         that actually are paid for by a third party (excluding a Borrower or any Subsidiary
         thereof) and for which neither any Borrower nor any Subsidiary has provided or is
         required to provide or incur, directly or indirectly, any consideration or obligation
         to such third party or any other Person (whether before, during or after such
         period);

  (d)    the purchase price of equipment (i) that is purchased simultaneously with the
         trade-in of existing equipment to the extent that the gross amount of such
         purchase price is reduced by the credit granted by the seller of such equipment for
         the equipment being traded in at such time, (ii) to the extent the consideration
         therefor consists of any combination of (A) used or surplus equipment traded in at
         the time of such purchase and (B) the proceeds of a substantially concurrent sale
         of used or surplus equipment, in each case in the ordinary course of business;
         provided that only such credit value of such traded equipment will be excluded for
         this purpose;

  (e)    for purposes of Section 7.2.10 only, expenditures that constitute Permitted
         Acquisitions and Permitted Investments;

  (f)    the book value of any asset owned to the extent such book value is included as a
         capital expenditure as a result of reusing or beginning to reuse such asset during
         such period without a corresponding expenditure actually having been made in
         such period;

  (g)    expenditures of leasehold improvements for which such Person is reimbursed in
         cash or receives a credit; and

  (h)    any non-cash amounts reflected as additions to property, plant or equipment on
         such Person’s consolidated balance sheet.

  1.1.44 “Capital Lease” means any lease, license or similar transaction determined as a
  capital lease in accordance with GAAP as in effect on the Amendment and Restatement
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  Date, or any sale and lease back transaction or any other lease (whether a synthetic lease
  or otherwise).

  1.1.45 “Cash Equivalents” means, as of the date of any determination thereof, the
  following:

  (a)      marketable direct obligations issued or unconditionally guaranteed by the
           Government of Canada, the U.S., or any agency or instrumentality thereof, a
           government of a province of Canada or of a state of the U.S. or, in each case, any
           agency thereof, maturing no more than one year after the date of acquisition
           thereof;

  (b)      commercial paper maturing no more than one year after the date of acquisition
           thereof and having, at the time of acquisition, a rating of at least A1 by Standard
           & Poor’s Ratings Services or at least Prime 1 by Moody’s Investors Service, Inc.
           or at least R1 (low) by Dominion Bond Rating Service Inc.;

  (c)      certificates of deposit, deposit notes, term deposit receipts, or time deposits or
           bankers’ acceptances, maturing no more than one year after the date of acquisition
           thereof, issued by the Lender or by commercial banks incorporated under the laws
           of Canada or the U.S. or a state thereof, each having a rating of at least A1 by
           Standard & Poor’s Ratings Services or at least Prime 1 by Moody’s Investors
           Service, Inc. or at least R1 (low) by Dominion Bond Rating Service Inc.;

  (d)      such local currencies in those countries in which the Borrowers and their
           Subsidiaries transact business from time to time in the ordinary course of
           business;

  (e)      investments of comparable tenor and credit quality to those described in the
           foregoing clauses (a) through (c) or otherwise customarily utilized in countries in
           which the Borrowers and their Subsidiaries operate for short term cash
           management purposes; and

  (f)      investments in any investment company, money market or fund which invests
           substantially all of their assets in Cash Equivalents of a kind described in (a)
           through (c) of this definition.

  1.1.46 “Cash Taxes” means, in respect of any Person for any applicable period, the
  amount of all income taxes (including federal and provincial income taxes) paid or
  payable by such Person on its net taxable income for such period (which for greater
  certainty, does not include future income taxes).

  1.1.47    “Catch Up Management Fee Payments” is defined in Section 1.1.202(a).

  1.1.48 “CDOR Rate” means on any day the annual rate of interest which is the rate
  determined as being the arithmetic average of the quotations of all institutions listed in
  respect of the rate for Canadian Dollar denominated bankers’ acceptances for the relevant
  period displayed and identified as such on the “Reuters Screen CDOR Page” (as defined
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  in the International Swaps and Derivatives Association, Inc. definitions, as modified and
  amended from time to time) as of 10:00 a.m. Toronto, Ontario local time on such day
  and, if such day is not a Business Day, then on the immediately preceding Business Day
  (as adjusted by the Agent after 10:00 a.m. Toronto, Ontario local time to reflect any error
  in a posted rate of interest or in the posted average annual rate of interest with notice of
  such adjustment in reasonable detail evidencing the basis for such determination being
  concurrently provided to the Borrower). If such rates are not available on the Reuters
  Screen CDOR Page on any particular day, then the CDOR Rate on that day shall be
  calculated as the arithmetic mean of the rates applicable to Canadian Dollar denominated
  bankers’ acceptances for the relevant period publicly quoted for customers in Canada by
  those Lenders which are banks listed in Schedule I of the Bank Act (Canada) as of 10:00
  a.m. Toronto, Ontario local time on such day; or if such day is not a Business Day, then
  on the immediately preceding Business Day; provided that if the CDOR Rate calculated
  for any purpose would be less than zero on any day, then such rate shall be deemed to be
  zero for such purpose.

  1.1.49 “Change of Control” means in respect of the Canadian Borrower or Holdco, the
  occurrence of any of the following events:

  (a)    prior to any initial public offering of the Canadian Borrower or Holdco, as
         applicable, when Permitted Holders do not beneficially own, collectively, directly
         or indirectly, shares in the Canadian Borrower or Holdco, as applicable,
         representing more than 50% of the Voting Securities of the Canadian Borrower or
         Holdco; and

  (b)    after any initial public offering of the Canadian Borrower or Holdco, as
         applicable, when a Person or Group (other than any employee benefit plan and/or
         Person acting as the trustee, agent or other fiduciary or administrator) acquires
         shares in the Canadian Borrower or Holdco, as applicable, representing more than
         the greater of (i) 35% of the aggregate outstanding Voting Securities of the
         Canadian Borrower or Holdco, as applicable and (ii) the percentage of then
         outstanding Voting Securities of the Canadian Borrower or Holdco, as applicable,
         directly or indirectly, owned by Permitted Holders.

  1.1.50 “Code” means the United States Internal Revenue Code of 1986, and any
  successor statute and any regulations thereunder.

  1.1.51    “Collateral” means, collectively, all property, assets and undertaking of the
  Credit Parties encumbered by the Liens granted pursuant to the Security in support of the
  Obligations, and all property, assets and undertaking encumbered by the Liens granted
  pursuant to the Security in support of the Guarantees, together with all proceeds of the
  foregoing. For the avoidance of doubt, Collateral shall not include (a) capital assets or
  inventory of any Credit Party organized outside of the U.S. or Canada, (b) pending United
  States “intent-to-use” trademark applications for which a verified statement of use or an
  amendment to allege use has not been filed with and accepted by the United States Patent
  and Trademark Office, (c) Securitization Assets but only once transferred to a
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  Securitization SPE and (d) any of the “Excluded Property” (as defined in the general
  security agreement from the U.S. Borrower as described in Section 8.1(a)).

  1.1.52 “Collection Rights” means, in respect of any Eligible Approved Contracts
  between a Pemex Entity, on the one hand, and QMax Mexico, on the other hand, the
  collection or credit rights granted to QMax Mexico by such Pemex Entity pursuant to
  such Eligible Approved Contract.

  1.1.53 “Colombian Free Cash Flow” means, for any fiscal period, all EBITDA
  attributable to all Colombian operations of the Canadian Borrower and its Material
  Subsidiaries determined in accordance with the definition of EBITDA, minus Cash
  Taxes, Interest Expense and Unfunded Capital Expenditures, in each case, attributable to
  such Colombian Subsidiaries and operations.

  1.1.54 “Commitment” means, in respect of any Lender, such Lender’s commitment to
  make Advances to the Borrowers (or any one of them) under all Facilities or under any
  Facility, as the context requires as set forth in Exhibit “A”.

  1.1.55    “Common Shares” means the common shares in the capital of a Borrower.

  1.1.56 “Compliance Certificate” means a certificate delivered by the Canadian
  Borrower to the Agent in the form of Exhibit “F”.

  1.1.57 “Consolidated Net Income” shall mean, for any period, the net income (loss) of
  any Person and its Subsidiaries determined on a consolidated basis on the basis of GAAP;
  provided, however, that any net income (loss) of any Person (excluding any Securitization
  SPE) (i) who is not during such period a Material Subsidiary or (ii) whose net income is
  accounted for by the equity method of accounting, shall in each case be included in the
  calculation of Consolidated Net Income for all purposes of this Agreement only to the
  extent of the amount of any Distributions of such Person paid in cash (or to the extent
  converted into cash) to the Canadian Borrower or a Material Subsidiary, and
  “Consolidated Net Income” for such period shall include any ordinary course dividends
  in cash received by the Canadian Borrower or any of its Material Subsidiaries in excess of
  the amounts included in the foregoing item (i).

  1.1.58 “Consolidated Net Tangible Assets” means, as at any date of determination, all
  consolidated assets of the any Person as shown in the most recent consolidated balance
  sheet of such Person, less the aggregate of the following amounts reflected upon such
  balance sheet:

  (a)      all goodwill, deferred assets, trademarks, copyrights and other similar intangible
           assets; and

  (b)      to the extent not already deducted in computing such assets and without
           duplication, depreciation, depletion, amortization, reserves and any other account
           which reflects a decrease in the value of an asset or a periodic allocation of the
           cost of an asset; provided, that no deduction will be made under this paragraph (b)
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           to the extent that such account reflects a decrease in value or periodic allocation of
           the cost of any asset referred in the paragraph (a) of this definition,

  all as determined in accordance with GAAP.

  1.1.59    “Contributing Lenders” is defined in Section 11.4.2.

  1.1.60 “control” means, in respect of any Person, the power to direct or cause the
  direction of management and policies of such Person, directly or indirectly, through the
  ownership of Voting Securities, contract or otherwise; and “controlled” has a
  corresponding meaning.

  1.1.61 “Conversion” means the substitution of one Availment Option for another, and,
  for certainty, does not constitute a fresh or new Advance (and “Convert” shall have a
  corresponding meaning).

  1.1.62 “Conversion Notice” means a notice substantially in the form of Exhibit “D”
  given by a Borrower to the Agent for the purposes of requesting a Conversion.

  1.1.63 “Covenant Relief Period” means the period from the Amendment and
  Restatement Date, up to and including December 31, 2019,2020, subject to the
  Borrowers’ right to elect a shorter period pursuant to Section 1.18.

  1.1.64 “Credit Documents” means this Agreement, the Security and all other
  agreements, documents, instruments and certificates required or contemplated herein to
  be provided by the Credit Parties and other Persons to the Agent and the Lenders.

  1.1.65 “Credit Parties” means, collectively, the Borrowers and any Guarantor; and
  “Credit Party” means any one of them as the context requires. Notwithstanding any
  provision in this Agreement or any other Credit Document, in no event shall any
  Securitization SPE be deemed a Credit Party.

  1.1.66 “Currency Hedging Agreement” means any swap, hedge or other agreement
  that does not contravene Section 7.2.12 entered into between a Credit Party and a
  counterparty, from time to time for the purpose of mitigating or hedging currency risk,
  including foreign exchange forward contracts.

  1.1.67 “Default” means an event which has occurred and is continuing, and which,
  with the giving of notice or the lapse of time or both, would constitute an Event of
  Default.

  1.1.68 “Default Rate” means, while an Event of Default exists, the interest rates and
  fess comprising the Applicable Margin will each increase by 2.0% per annum.

  1.1.69 “Defaulting Lender” means any Lender or, in the case of paragraph (e) below, a
  Lender’s parent (being any Person that directly or indirectly controls a Lender where
  control has the same meaning as in the definition of Affiliate):
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  (a)      that has failed to fund any payment or its portion of any Advances required to be
           made by it hereunder, including as a result of being a Non-Paying Lender, within
           two Business Days of the date such Advances were required to be funded
           hereunder unless such Lender notifies the Agent and the Canadian Borrower in
           writing that such failure is the result of such Lender’s determination that one or
           more conditions precedent to funding (each of which conditions precedent,
           together with any applicable default, shall be specifically identified in such
           writing) has not been satisfied;

  (b)      that has failed to pay the Agent or any other Lender any other amount required to
           be paid by it hereunder within two Business Days of the date when due;

  (c)      that has notified a Borrower (in writing) that it does not intend to or is unable to
           comply with any of its funding obligations under this Agreement or has made a
           public statement to that effect (unless such written notice or public statement
           relates to such Lender’s obligation to fund a Loan hereunder and states that such
           position is based on such Lender’s determination that a condition precedent to
           funding (which condition precedent, together with any applicable default, shall be
           specifically identified in such written notice of public statement) cannot be
           satisfied);

  (d)      that has failed, within three Business Days after request by a Borrower, to confirm
           that it will comply with the terms of this Agreement relating to its obligations to
           fund prospective Advances; or

  (e)      that becomes insolvent, has been deemed insolvent by a court of competent
           jurisdiction, or becomes the subject of bankruptcy or insolvency proceeding.

  1.1.70    “Departing Lenders” is defined in Section 11.5.2.

  1.1.71 “Deposit Account Control Agreement” means the deposit account control
  agreement dated December 29, 2014 between the Agent, Wells Fargo and the U.S.
  Borrower, as the same may be amended from time to time.

  1.1.72    “Designated Financial Covenants” is defined in Section 7.3.2

  1.1.73    “Distribution” means:

  (a)      any declaration or payment of dividends or returns of capital, including advisory
           fees and management fees, of any kind or nature directly or indirectly to any
           holder of shares of any Credit Party or to any Affiliate or Related Party of such
           holder and including any similar payments paid by any Credit Party to Palladium
           or its Affiliates, whether pursuant to the Advisory Services Agreement or any
           other similar agreement now or hereafter in effect between any one or more Credit
           Party and any one or more of Palladium or its Affiliates;

  (b)      any repurchase, retraction or redemption of shares of any Credit Party for cash or
           other property; and
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  (c)    any payment, repayment or prepayment by a Person in cash of any amount of any
         principal, interest, fees or other amounts in respect of any Subordinated Debt.

  For certainty, Distributions shall not include the reimbursement of reasonable
  out-of-pocket expenses incurred by Palladium or the directors of the Credit Parties in the
  ordinary cause of business in rendering advisory or management services to the Credit
  Parties or performing a director’s obligations to the applicable Credit Party, as the case
  may be.

  1.1.74 “Drawdown Request” means a notice in the form of Exhibit “B” given by the
  Borrower to the Agent for the purpose of requesting an Advance.

  1.1.75 “Earnout Payments” means, in respect of any Acquisition, the requirement for
  any Credit Party, as purchaser, to pay to the vendor under such Acquisition (or any
  nominee thereof) contingent payments of the purchase price thereof after the closing
  thereof which are payable when specified targets (including related to revenue or
  earnings), are satisfied within specified periods.

  1.1.76 “EBITDA” means, for any fiscal period, Consolidated Net Income of the
  Canadian Borrower and the Subsidiaries determined on a consolidated basis in
  accordance with GAAP and measured on a trailing four Fiscal Quarter basis for such
  period, plus all amounts deducted in the calculation thereof on account of (without
  duplication irrespective if any expense, loss or gain would fall into one or more of the
  foregoing categories):

  (a)    interest expense calculated in accordance with GAAP, including (i) the
         amortization of debt discounts, (ii) the amortization of all fees (including fees
         with respect to Hedging Agreements) payable in connection with the incurrence of
         Funded Debt to the extent included in interest expense, (iii) deferred financing
         fees and expenses, and (iv) the portion of any payments or accruals with respect to
         Capital Lease Obligations allocable to interest expense and the capitalized interest
         of such Person;

  (b)    any provision for or payment of taxes based on income, profits or capital gains,
         calculated in accordance with GAAP, including, without limitation, state,
         provincial, franchise, property and similar taxes and foreign withholding taxes
         (including penalties and interest related to such taxes or arising from tax
         examinations) and any deferred/future taxes;

  (c)    depreciation and amortization expense, calculated in accordance with GAAP,
         including amortization of intangible assets, unrecognized prior service costs and
         actuarial non-cash losses related to pensions and other post-employment benefits,
         of such;

  (d)    Permitted Management Fees (but for certainty, in an amount not exceeding the
         Annual Management Fee Cap in any Fiscal Year) and the reasonable
         out-of-pocket expenses related thereto which have been reimbursed by a Credit
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        Party, and any payments permitted under clause (j) of Section 7.2.6, to the extent
        paid by a Credit Party to a non-Credit Party;

  (e)   all non-cash expenses and losses calculated in accordance with GAAP related to:
        (i) extraordinary and nonrecurring losses to the extent not otherwise dealt with in
        this definition, (ii) all non-recurring deferred financing costs written off and
        premiums paid or other expenses incurred directly in connection with any early
        extinguishment of Funded Debt and any net loss attributable to any write-off or
        forgiveness of Funded Debt, (iii) any non-cash expense or loss arising from the
        application of purchase accounting adjustments as a result of any Permitted
        Acquisition, and (iv) other non-cash expenses and charges to the extent not
        otherwise dealt with in this definition (in each case, calculated on a pro forma
        basis as though realized on the first day of such period) reducing Consolidated Net
        Income for such period including resulting from impairment charges and
        including losses against book value on the disposal or write-off of any business or
        assets (including pursuant to any sale/leaseback transaction);

  (f)   [reserved];

  (g)   unrealized losses resulting from mark to market accounting for hedging activities
        calculated in accordance with GAAP;

  (h)   any unrealized foreign currency translation or transaction losses in respect of (i)
        Funded Debt denominated in a currency other than the functional currency of the
        relevant Person and (ii) any unrealized foreign exchange losses relating to
        translation of assets and liabilities denominated in foreign currencies;

  (i)   charges, expenses or losses reasonably related to (i) fees and expense in
        connection with Permitted Acquisitions, Permitted Investments, Permitted
        Dispositions, the incurrence of Permitted Funded Debt (but only to the extent not
        already included in clause (a) above), amendments and other modifications to the
        Credit Documents, the offering or issuance of debt securities and equity interests
        and other capital raising activities permitted hereunder, including, without
        limitation, refinancing of the Facilities (in each case, whether or not successful)
        and (ii) business optimization expenses and restructuring charges, reserves or
        expenses, (including losses from disposed, abandoned, transferred, closed or
        discontinued operations) in each case as documented by evidence provided by the
        Canadian Borrower and acceptable to the Agent (acting reasonably and
        responding to requests for approval within five (5) Business Days); provided, that
        all of the foregoing may not exceed a maximum aggregate amount of $5,500,000
        for each applicable measurement period of four consecutive Fiscal Quarters, or
        such higher amount as the Required Lenders may consent to from time, acting
        reasonably;

  (j)   non-cash expenses incurred in connection with any equity based compensation
        provided pursuant to any management or employee equity based compensation
        plan (in each case, calculated on a pro forma basis as though realized on the first
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         day of such period), and including (i) costs or expenses realized in connection
         with or resulting from stock appreciation or similar rights, stock options or other
         rights of officers, directors and employees, in each case of such Person or any
         such Subsidiary, and (ii) non-cash losses attributable to deferred compensation
         plans or trusts;

  (k)    third party audit, advisory and consulting fees and related out-of-pocket expenses
         of the Canadian Borrower or any of its Subsidiaries incurred in connection with
         audits, inspections and reviews conducted in connection with this Agreement at
         the direction of the Agent or any Lender (but which for certainty does not include
         audit fees related to the preparation of the financial statements required
         hereunder);

  (l)    fees, costs and expenses in connection with the Anchor Acquisition not to exceed
         U.S. $11,000,000;

  (m)    discounts on sales of receivables and related assets in connection with any
         Permitted Securitization Financing;

  minus, in each case to the extent added in the calculation thereof (without duplication
  irrespective if any expense, loss or gain would fall into one or more of the foregoing
  categories):

  (n)    income tax credits calculated in accordance with GAAP;

  (o)    all cash payments during such period relating to non-cash charges which were
         added back in determining EBITDA in any prior period;

  (p)    other non-cash and non-recurring items increasing Consolidated Net Income that
         are not otherwise dealt with in this definition (but excluding any such non-cash
         items to the extent that it will result in the receipt of cash payments in any future
         period), including gains against book value on the disposal of any business or
         assets;

  (q)    unrealized gains resulting from mark to market accounting for hedging activities
         calculated in accordance with GAAP;

  (r)    any unrealized foreign currency translation or transaction gains in respect of
         Funded Debt denominated in a currency other than the functional currency of the
         relevant Person and any unrealized foreign exchange gains relating to translation
         of assets and liabilities denominated in foreign currencies;

  (s)    any net gain attributable to any write-off or forgiveness of Funded Debt;

  (t)    net gains on the disposal, abandonment, transfer, closing or discontinuance of
         operations;

  (u)    non-cash gains attributable of deferred compensation plans and trusts;
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  (v)    any non-cash gains arising from the application of purchase accounting
         adjustments as a result of any Permitted Acquisition or other Acquisitions
         approved by the Lenders; and

  (w)    Consolidated Net Income attributable to or generated from any minority interest in
         a Person owned directly or indirectly by the Canadian Borrower, except for cash
         Distributions received by a Credit Party therefrom;

  provided, that if any of the events described in Section 1.13 occurs during the relevant
  period, the calculation of EBITDA will be adjusted as set forth in Section 1.13.

  Notwithstanding the foregoing, the Borrowers may elect to calculate EBITDA on the
  following annualized basis (as opposed to a trailing four Fiscal Quarter basis) for the
  periods specified below: (i) for the Fiscal Quarter ending March 31, 2018, by calculating
  EBITDA for the six month period ending as of March 31, 2018 and multiplied by two,
  and (ii) for the Fiscal Quarter ending June 30, 2018, by calculating EBITDA for the nine
  month period ending as of June 30, 2018, and multiplied by four-thirds, but only if such
  alternative calculation would result in a greater value for EBITDA for such period.

  In addition, if EBITDA is calculated on the basis described in the immediately preceding
  paragraph, then the amounts described in paragraph (i) above (the “Prescribed
  Amounts”) shall be limited to, the lesser of (x) the Prescribed Amounts actually paid
  during such period and (y) $5,325,000.

  1.1.77     “Economic Sanctions” means the restrictions with respect to funding
  operations, or financing investments, in any country, or making payments to, or receiving
  payments or property from, any country or Person, then prohibited by:

  (a)    any sanctions or requirements imposed by, or based upon the obligations or
         authorities set forth in the Executive Order, the U.S. Money Laundering Control
         Act of 1986 (18 U.S.C. §§ 1956 et seq.), the PATRIOT Act, the U.S. International
         Emergency Economic Powers Act (50 U.S.C. §§ 1701 et seq.), the U.S. Trading
         with the Enemy Act (50 U.S.C. App. §§ 1 et seq.), the U.S. United Nations
         Participation Act, the U.S. Syria Accountability and Lebanese Sovereignty Act,
         the U.S. Comprehensive Iran Sanctions, Accountability, and Divestment Act of
         2010 or the Iran Sanctions Act, all as amended, or any of the foreign assets control
         regulations of the U.S. Department of the Treasury (including but not limited to
         31 CFR, Subtitle B, Chapter V, as amended) or any other law or executive order
         relating thereto or regulation administered by the US State Department or the
         United States Treasury Department’s Office of Foreign Assets Control, in each
         case, to the extent applicable; and

  (b)    any of the economic sanctions of Canada, including those provided for pursuant to
         the Special Economic Measures Act (Canada) or the United Nations Act (Canada),
         in each case, to the extent applicable.
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  1.1.78 “Eligible Approved Contracts” means a contract or other agreement of a Credit
  Party to provide goods or perform services: (a) that is listed on Schedule 6.1.33; (b) or
  designated by the Agent as an Eligible Approved Contract pursuant to Section 5.17.

  1.1.79 “Eligible Capital Assets” means, at any time, the capital assets of the Credit
  Parties; provided, that, in any event, no capital asset shall be deemed to be a Eligible
  Capital Asset unless each of the following statements is accurate and complete (and by
  including such capital asset in any computation of the Borrowing Base, the Borrowers
  will be deemed to made each of these statements in respect thereof):

  (a)    such capital asset is located in Canada or the U.S.;

  (b)    such capital asset is in good condition, merchantable, meets all standards imposed
         by any Governmental Authority having regulatory authority over it or its use
         and/or sale and is not obsolete and is either currently usable or currently saleable
         in the normal course of business of the applicable Credit Party;

  (c)    the Agent, on behalf of the Lenders, has a First-Ranking Security Interest covering
         such capital asset;

  (d)    such capital asset is, and at all times will be, free and clear of all Liens other than
         Permitted Liens and unregistered Liens in respect of Priority Claims that are not
         yet due and payable;

  (e)    such capital asset does not constitute Hazardous Materials;

  (f)    such capital asset is covered by all applicable insurance as required by Section
         7.1.9; and

  (g)    the Agent has not determined in its Permitted Discretion that it may not sell or
         otherwise dispose of such capital asset in accordance with the terms of the
         applicable Credit Documents without infringing upon the rights of another Person
         or violating any contract with any other Person.

  1.1.80 “Eligible Cash” means, as of the date of determination, the aggregate U.S.
  Dollar amount of the unrestricted cash (determined in accordance with GAAP) and Cash
  Equivalents of Credit Parties (other than with respect to Anchor and its Subsidiaries until
  such time as the Encina ABL Loan Agreement is terminated and the obligations
  thereunder have been repaid in full) that:

  (a)    the Agent on behalf of the Lenders, has a first priority perfected Lien covering
         such unrestricted cash or Cash Equivalent, and such unrestricted cash or Cash
         Equivalent is, and at all times will be, free and clear of all Liens other than
         Permitted Liens and unregistered Liens in respect of Priority Claims that are not
         yet due and payable;

  (b)    are held in collateral accounts located in Canada, the U.S., Mexico or another
         OECD member country; provided, such collateral accounts may be located in
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         non-OECD member countries to the extent maintained by HSBC or an affiliate
         thereof (or such other bank deemed reasonable in the sole discretion of the
         Agent);

  (c)    subject to the proviso at the end of Section 8.1(i), are held in collateral accounts in
         the name of the Agent or an agent thereof (or, with the consent of the Agent, the
         applicable Credit Party), in each case maintained with (i) the Agent or (ii) an
         Affiliate of the Agent, another Lender, an Affiliate of another Lender or another
         depositary that has entered into a control agreement (in form and substance
         reasonably acceptable to the Agent) with the Agent and the applicable Credit
         Party, and, in each case, with respect to which the Agent retains exclusive control
         to direct the transfer of funds therefrom during the continuation of an Event of
         Default (with withdrawals by the applicable Credit Party to be permitted upon
         notice to the Agent so long as the Agent has not delivered a notice of exclusive
         control upon the occurrence and during the continuation of an Event of Default);

  (d)    subject to clause (ii) above, is otherwise available for use by a Credit Party,
         without condition or restriction; and

  (e)    upon a reasonable request therefor by the Agent, for which Agent shall have
         received evidence, in form and substance reasonably satisfactory to Agent, of the
         amount thereof as of the applicable date of calculation,

  provided, that such unrestricted cash and Cash Equivalents shall be reduced by an amount
  equal to, as reasonably estimated by the Borrowers, the withholding tax payable on any
  cash and Cash Equivalents that are to be remitted by any Credit Party to a foreign
  jurisdiction; and further provided, that to the extent that any debit balances (or overdrawn
  amounts) of any accounts of such Credit Parties are deducted from the calculation of
  unrestricted cash and Cash Equivalents above, they shall be increased by an amount equal
  to the such debit balances (or overdrawn amounts) solely to the extent that availability
  under the Operating Facilities is reduced by the amount of any Letters of Credits (or any
  portion thereof) issued and outstanding under the Operating Facilities to backstop such
  deficit amounts.

  1.1.81 “Eligible Inventory” means, at any time, all inventory of the Credit Parties
  valued in U.S. Dollars on a lower of cost (excluding any component of cost representing
  intercompany profit in the case of inventory acquired from an Affiliate) or market basis in
  accordance with GAAP, with detailed calculations of lower of cost or market; provided
  that, in any event, no inventory shall be deemed Eligible Inventory unless each of the
  following statements is accurate and complete (unless all of the Lenders in their sole
  discretion elect to otherwise include such inventory) (and by including such inventory in
  any computation of the applicable Borrowing Base the Borrowers will be deemed to have
  made each of these statements in respect thereof):

  (a)    such inventory is in good condition, merchantable, meets all material standards
         imposed by any Governmental Authority having regulatory authority over it or its
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        use and/or sale and is not obsolete and is either currently usable or currently
        saleable in the normal course of business of the applicable Credit Party;

  (b)   with respect to any such inventory in excess of $250,000 per location, such
        inventory is:

        (i)     in possession of a Credit Party and (1) located on real property owned or
                leased by a Credit Party, and (2) within the U.S. or Canada; provided, that
                if such inventory is located on real property leased by a Credit Party and if
                so requested by the Agent, the landlord of such real property shall have
                executed and delivered to the Agent a Landlord Agreement or at the
                request of a Borrower or in lieu of such an agreement, the Lenders may
                take a reserve against Eligible Inventory equal to three month’s rent;

        (ii)    in the possession of a bailee and such bailee shall have executed and
                delivered to the Agent, a bailee letter in form and substance satisfactory to
                the Agent or at the request of a Borrower, the Lenders shall be permitted to
                take a reasonable reserve against Eligible Inventory related to the
                applicable Credit Party’s economic exposure to such bailee;

        (iii)   in the case of inventory located in the U.S., is placed on consignment with
                a consignee and such consignee shall have executed a valid consignment
                agreement in form and substance satisfactory to Agent and the applicable
                Borrower has filed (when applicable) appropriate UCC (or comparable)
                filings to perfect its interest in such inventory; or

        (iv)    in transit in Canada or the U.S. (provided, that the jurisdictions through
                which such inventory is in transit are jurisdictions where the Liens in such
                inventory under the Security are validly perfected first priority Liens as
                required by Applicable Law) and between owned or leased locations of the
                Credit Parties, and upon arrival at its destination, will comply with either
                clause (i) or (ii) above;

  (c)   the Agent on behalf of the Lenders, has a first priority perfected Lien covering
        such inventory, and such inventory is, and at all times will be, free and clear of all
        Liens other than Permitted Liens and unregistered Liens in respect of Priority
        Claims that are not yet due and payable;

  (d)   such inventory does not include goods (i) that are not owned by a Credit Party, (ii)
        that are held by a Credit Party pursuant to a consignment agreement, or (iii) which
        have been sold by a Credit Party on a bill and hold basis;

  (e)   such inventory is not subject to repossession on account of the “30 day goods”
        rule under section 81.1 of the Bankruptcy and Insolvency Act (Canada) or similar
        Laws except to the extent the applicable vendor has entered into an agreement
        with the Agent, in form and substance satisfactory to the Agent, waiving its right
        to repossession;
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  (f)    such inventory does not consist of work in process, store room materials, samples,
         prototypes, or packing and shipping materials not considered for sale by the Credit
         Parties in the ordinary course of business;

  (g)    such inventory does not consist of goods that are returned (as defective or not fit
         for purpose) or used goods taken in trade;

  (h)    any portion of the value of such inventory which results from a profit or gain
         resulting from an inter-company sale or other disposition of such inventory shall
         be excluded;

  (i)    any “seconds” or scrap inventory shall be valued at scrap value;

  (j)    such inventory is not evidenced by negotiable documents of title unless delivered
         to the Agent with endorsements;

  (k)    such inventory does not constitute Hazardous Materials;

  (l)    such inventory is covered by casualty insurance; and

  (m)    the Agent has not determined in its Permitted Discretion that it may not sell or
         otherwise dispose of such inventory in accordance with the terms of the applicable
         Credit Documents without infringing upon the rights of another Person or
         violating any contract with any other Person.

  1.1.82 “Eligible Line of Business” means any business engaged in as of the date of this
  Agreement by any of the Credit Parties, and any business reasonably related thereto.

  1.1.83 “Eligible Receivables” means, at the time of determination, the Receivables of
  the Credit Parties then existing (other than with respect to Anchor, Terra and their
  respective Subsidiaries), minus any Receivable to which any of the criteria set forth
  below applies (unless all of the Lenders in their sole discretion elect to otherwise include
  such Receivables):

  (a)    is not then subject to the applicable duly perfected Liens created by the Security;

  (b)    is subject to any Lien or deemed trust (other than a Permitted Lien which does not
         rank in priority to the Liens created by the Security);

  (c)    is outstanding more than (i) 120 days, in the case of Acceptable Account Debtors
         or (ii) 90 days, in the case of all other account debtors, in either case after the date
         of shipment of inventory or the provision of the service that created such
         Receivable;

  (d)    is subject to any offset or counterclaim by the applicable account debtor (but only
         to the extent of such offset);
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  (e)   is owed by any Person whose principal place of business is located outside
        Canada or the U.S. unless the sale is on letter of credit, guarantee or some other
        terms acceptable to the Agent, acting reasonably;

  (f)   is payable in a currency other than Canadian Dollars or U.S. Dollars;

  (g)   is owed by an Affiliate of the Borrower or any employee, agent or representative
        of the Borrower or of any such Affiliate;

  (h)   with respect to which a cheque, note, draft or other payment instrument has not
        been honoured in accordance with its terms;

  (i)   is owed by any Person that is subject to an Insolvency Event; provided that the
        Receivables from insolvent account debtors shall be Eligible Receivables if and to
        the extent that such Receivables are fully covered by credit insurance, letters of
        credit or other sufficient third-party credit support, or are otherwise deemed by the
        Agent not to pose an unreasonable risk of non-collectability;

  (j)   is subject to a holdback, but only to the extent of the amount of such holdback;

  (k)   is in dispute, but only to the extent of the amount thereof in dispute, or is subject
        to a claim regarding rescission, cancellation or avoidance, whether by operation of
        law or otherwise;

  (l)   to the extent such Receivable is evidenced by a judgment, provided that such
        Receivables shall be Eligible Receivables if and to the extent that such
        Receivables are fully covered by credit insurance, letters of credit or other
        sufficient third-party credit support, or are otherwise deemed by the Agent not to
        pose an unreasonable risk of non-collectability; and

  (m)   is owed by a Governmental Authority where Applicable Law imposes any
        requirement (including any requirement of notice, acceptance or acknowledgment
        by the Governmental Authority) to constitute a valid assignment as against such
        Governmental Authority, unless the applicable Credit Party has assigned its rights
        to payment of such Receivable to the Agent pursuant to, in the case of a U.S.
        federal Governmental Authority, the Assignment of Claims Act of 1940, as
        amended, or complied with such requirement pursuant to Applicable Law in the
        case of any other Governmental Authority.

  (n)   is or has been sold, contributed, financed or otherwise conveyed or pledged
        pursuant to either of a Permitted Factoring Transaction or a Permitted
        Securitization Financing.

  For certainty, if any Receivable that is otherwise an Eligible Receivable is sold,
  contributed, financed or otherwise conveyed or pledged pursuant to a Permitted
  Securitization Financing it shall immediately cease to be an Eligible Receivable.
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  1.1.84 “Encina” means Encina Business Credit, LLC and its successors and permitted
  assigns.

  1.1.85 “Encina ABL Loan Agreement” means the credit agreement dated as the
  November 21, 2017 by and among Anchor, the U.S. Borrower, each Person joined thereto
  as a borrower form time to time, the lenders from time to time party thereto and Encina as
  agent on behalf of such lenders, as may be amended, restated, replaced or otherwise
  modified from time to time to the extent permitted by the Encina Intercreditor
  Agreement.

  1.1.86 “Encina Intercreditor Agreement” means the intercreditor agreement dated as
  of the November 21, 2017 among Encina, the Agent, Anchor and the U.S. Borrower, as
  may be amended, restated, replaced or otherwise modified from time to time.

  1.1.87   “Equity Cure” is defined in Section 7.3.2.

  1.1.88   “Equity Cure Repayment” is defined in Section 7.3.2.

  1.1.89 “Equivalent Amount” means, in relation to an amount in one currency, the
  amount in another currency that could be purchased by the amount in the first currency
  determined by reference to the applicable Exchange Rate at the time of such
  determination.

  1.1.90 “ERISA” means the Employee Retirement Income Security Act of 1974, as
  amended from time to time, and any applicable regulation promulgated thereunder.

  1.1.91 “ERISA Affiliate” means any Person that for purposes of Title IV of ERISA is a
  member of the controlled group of any Credit Party, or under common control with any
  Credit Party, within the meaning of Section 414 of the Code.

  1.1.92 “ERISA Event” means (i) the occurrence of a reportable event, as defined in
  Section 4043 of ERISA, with respect to any Plan unless the 30 day notice requirement
  with respect to such event has been waived by the PBGC; (ii) the application for a
  minimum funding waiver pursuant to Section 412(c) of the Code or Section 302(c) of
  ERISA with respect to a Plan; (iii) the receipt by any Credit Party from the administrator
  of any Plan of a notice pursuant to Section 4041(a)(2) of ERISA of intent to terminate
  such Plan in a distress termination described in Section 4041(c) of ERISA; (iv) the
  cessation of operations at a facility of any Credit Party or any ERISA Affiliate in the
  circumstances described in Section 4062(e) of ERISA; (v) the withdrawal by any Credit
  Party or any ERISA Affiliate from a Multiple Employer Plan during a plan year for which
  it was a substantial employer, as defined in Section 4001(a)(2) of ERISA; (vi) the
  conditions for imposition of a Lien under Section 303 of ERISA shall have been met with
  respect to any Plan; or (vii) the institution by the PBGC of proceedings to terminate a
  Plan pursuant to Section 4042 of ERISA, or the occurrence of any event or condition
  described in Section 4042(a) of ERISA that constitutes grounds for the termination of, or
  the appointment of a trustee to administer, such Plan.
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  1.1.93 “Exchange Rate” means, on the date of determination of any amount of one
  currency to be converted into another currency pursuant to this Agreement for any reason,
  or vice-versa, the spot rate of exchange for converting Canadian Dollars into such other
  currency or vice-versa, as the case may be, established by the Bank of Canada at
  approximately 4:30 p.m. (Toronto time) on the Business Day immediately preceding the
  date of determination, and if no such rate is quoted, the spot rate of exchange for
  wholesale transactions by the Agent in Toronto, Ontario in accordance with its normal
  practice;.

  1.1.94 “Excluded Account” means (a) any deposit account used solely for: (i) funding
  payroll or segregating payroll taxes or funding other employee wage or benefit payments
  in the ordinary course of business or (ii) segregating 401k contributions or contributions
  to an employee stock purchase plan and other health and benefit plan, in each case for
  payment in accordance with any Applicable Laws, (iii) any zero-balance disbursement
  accounts, or (iv) disbursements to pay independent contractors, (b) any deposit account
  the funds in which consist solely of funds held by Holdco or any Subsidiary on behalf of
  or in trust for the benefit of any third party that is not an Affiliate of Holdco, any
  Subsidiary or any Investor, (c) any deposit account the funds in which consist solely of
  cash earnest money deposits or funds deposited under escrow or similar arrangements in
  connection with any letter of intent or purchase agreement for a Permitted Acquisition or
  any other transaction permitted under this Agreement, and (d) any deposit account the
  funds in which consist solely of funds held by Anchor and its Subsidiaries until such time
  as the Encina ABL Loan Agreement is terminated and the obligations thereunder have
  been repaid in full;

  1.1.95 “Excluded Hedging Obligation” means, with respect to any Credit Party, any
  Hedging Liabilities if, and to the extent that, all or a portion of the Financial Assistance of
  such Credit Party of, or the grant by such Credit Party of a security interest to secure, such
  Hedging Liabilities (or any Financial Assistance in respect thereof) is or becomes illegal
  under the Commodity Exchange Act or any rule, regulation or order of the Commodity
  Futures Trading Commission (or the application or official interpretation of any thereof)
  by virtue of such Credit Party’s failure for any reason to constitute an Qualified ECP
  Guarantor at the time the Financial Assistance of such Credit Party, or a grant by such
  Credit Party of a security interest, becomes effective with respect to such Hedging
  Liabilities. If a Hedging Liability arises under a master agreement governing more than
  one swap, such exclusion shall apply only to the portion of such Hedging Liabilities that
  is attributable to swaps for which such Financial Assistance or security interest is or
  becomes excluded in accordance with the first sentence of this definition.

  1.1.96 “Executive Order” means the Executive Order No. 13224 of 23 September
  2001, entitled “Blocking Property and Prohibiting Transactions With Persons Who
  Commit, Threaten to Commit, or Support Terrorism”.

  1.1.97 “Existing Credit Agreement” means the Amended and Restated Credit
  Agreement, dated January 30, 2015 (as amended, supplemented or otherwise modified
  from time to time prior to the Amendment and Restatement Date), among the Canadian
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    Borrower, the U.S. Borrower, HSBC, as administrative agent thereunder and the financial
    institutions from time to time party thereto as lenders.

    1.1.98 “Facilities” means, collectively, the Term Facility, the Canadian Operating
    Facility and the U.S. Operating Facility; and “Facility” means any of them as the context
    requires.

    1.1.99   “Facilities Maturity Date” means, in respect of each Facility, May 22, 2021.

    1.1.100 “FATCA” means Section 1471 through 1474 of the Code, as of the date of this
    Agreement (or any amended or successor version that is substantively comparable and not
    materially more onerous to comply with), any current and future regulations or official
    interpretations thereof and any agreements entered into pursuant to Section 1471(b)(1) of
    the Code.

    1.1.101 “Federal Funds Rate” means, for any day, the rate of interest per annum set
    forth in the weekly statistical release designated as H.15(519), or any successor
    publication, published by the Federal Reserve Board (including any such successor, the
    “H.15(519)”) for such day opposite the caption “Federal Funds (Effective)”. If on any
    relevant day such rate is not yet published in H.15(519), the rate for such day will be the
    rate of interest per annum set forth in the daily statistical release designated as the
    Composite 3:30 p.m. Quotations for U.S. Government Securities, or any successor
    publication, published by the Federal Reserve Bank of New York (including any
    successor, the “Composite 3:30 p.m. Quotations”) for such day under the caption
    “Federal Funds Effective Rate”. If on any relevant day the appropriate rate per annum for
    such day is not yet published in either H.15(519) or the Composite 3:30 p.m. Quotations,
    the rate for such day will be the arithmetic mean of the rates per annum for the last
    transaction in overnight Federal funds arranged prior to 9:00 a.m. (New York time) on
    that day by each of three major brokers of Federal funds transactions in New York City,
    selected by the Agent in its sole discretion, acting reasonably; provided that if the Federal
    Funds Rate calculated for any purpose would be less than zero on any day, then such rate
    shall be deemed to be zero for such purpose.

    1.1.102 “Fee Agreement” means the agreement between the Borrowers and the Agent
    delivered on or before the Amendment and Restatement Date under Section 9.1(n).

    1.1.103 “Financial Assistance” means with respect of any Person and without
    duplication, any loan, guarantee, indemnity, assurance, acceptance, extension of credit,
    loan purchase, share purchase, equity or capital contribution, investment or other form of
    direct or indirect financial assistance or support of any other Person or any obligation
    (contingent or otherwise) primarily for the purpose of enabling another Person to incur or
    pay any indebtedness or to comply with agreements relating thereto or otherwise to assure
    or protect creditors of the other Person against loss in respect of indebtedness of the other
    Person and includes any guarantee of or indemnity in respect of the indebtedness of the
    other Person and any absolute or contingent obligation to (directly or indirectly):



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  (a)    advance or supply funds for the payment or purchase of any indebtedness of any
         other Person;

  (b)    purchase, sell or lease (as lessee or lessor) any property, assets, goods, services,
         materials or supplies primarily for the purpose of enabling any Person to make
         payment of Funded Debt or to assure the holder thereof against loss;

  (c)    guarantee, indemnify, hold harmless or otherwise become liable to any creditor of
         any other Person from or against any losses, liabilities or damages in respect of
         Funded Debt;

  (d)    make a payment to another for goods, property or services regardless of the
         non-delivery or non-furnishing thereof to a Person; or

  (e)    make an advance, loan or other extension of credit to or to make any subscription
         for equity, equity or capital contribution, or investment in or to maintain the
         capital, working capital, solvency or general financial condition of another Person;

  provided, however, that the term “Financial Assistance” shall not include endorsements
  of instruments for deposit or collection in the ordinary course of business or customary
  and reasonable indemnity obligations in effect on the Amendment and Restatement Date
  or entered into in connection with any acquisition or disposition of assets permitted by
  this Agreement.

  The amount of any Financial Assistance is the amount of any loan or direct or indirect
  financial assistance or support, without duplication, given, or all indebtedness of the
  obligor to which the Financial Assistance relates, unless the Financial Assistance is
  limited to a determinable amount, in which case the amount of the Financial Assistance is
  the determinable amount.

  1.1.104 “Financial Letter of Credit” means a standby Letter of Credit if it serves as a
  payment guarantee of a Credit Party’s financial obligations and is treated as a direct credit
  substitute for purposes of the Capital Adequacy Guidelines in the Swingline Lender’s or
  Issuing Bank’s, as applicable, reasonable opinion.

  1.1.105 “First Amendment Date” means May 13, 2019.

  1.1.106 “First-Ranking Security Interest” in respect of any Collateral means a Lien in
  such Collateral which is registered where necessary or desirable to record and perfect the
  charges contained therein and which ranks in priority to all other Liens in such Collateral
  except for any Permitted Liens which have priority thereto in accordance with Applicable
  Law or as otherwise agreed in writing by the Lenders.

  1.1.107 “Fiscal Quarter” means the three (3) month period commencing on the first day
  of each Fiscal Year and each successive three (3) month period thereafter during such
  Fiscal Year.
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  1.1.108 “Fiscal Year” means the fiscal year of the Borrowers and their Subsidiaries
  commencing on January 1 of each year and ending on December 31 of each year.

  1.1.109 “Fixed Charge Coverage Ratio” means, in respect of the Credit Parties on a
  combined basis for any applicable period, the ratio of:

  (a)    (i) EBITDA for such period, plus, to the extent not included in EBITDA, the
         aggregate amount of all unencumbered cash (except pursuant to the Security)
         received by any Credit Party as payment of unbilled Receivables outstanding as of
         December 31, 2015 that were outstanding for more than 720 days from any of the
         Pemex Entities, in respect of contract number 423023821 dated August 6, 2013,
         between Pemex Exploracion y Produccion and Qmax Mexico, S.A. de C.V., and
         contract number 423023813 dated July 25, 2013, between Pemex Exploracion y
         Produccion and Qmax Mexico, S.A. de C.V. (in each case, as may be amended or
         otherwise modified from time to time), in an amount not to exceed $13,500,000,
         minus (ii) Earnout Payments made during such period (but only to the extent not
         directly funded by the cash proceeds from the sale of equity interests of the
         Canadian Borrower and, to the extent contributed to the capital of the Canadian
         Borrower, equity interests of any of the Canadian Borrower’s direct or indirect
         parent companies), minus (iii) Unfunded Capital Expenditures made during such
         period, minus (iv) all Cash Taxes during such period, minus (v) Permitted
         Management Fees and Catch Up Management Fee Payments, if any, paid during
         such period, minus (vi) any payments made during such period pursuant to clauses
         7.2.6(l), minus (vii) all other Distributions to Persons that are not Credit Parties
         paid during such period, minus (viii) the fees and expenses described in clause (k)
         of the definition of EBITDA; provided that, any deferred purchase price payments
         made in accordance with the terms of the Anchor Acquisition Agreement shall not
         be deducted from EBITDA for the purposes of calculating the Fixed Charge
         Coverage Ratio;

         divided by

  (b)    the sum total of:

         (i)     all Interest Expense paid or payable in cash for such period;

         (ii)    the scheduled principal component of all Capital Lease payments for such
                 period; and

         (iii)   all scheduled principal repayments under the Term Facility pursuant to
                 Section 3.4.2 or under any other Funded Debt paid during such period;

  all determined on a consolidated basis in accordance with GAAP and tested on a trailing
  12 month basis at the end of each Fiscal Quarter.

  1.1.110 “Fund” means any Person (other than a natural person) that is (or will be)
  engaged in making, purchasing, holding or otherwise investing in commercial loans and
  similar extensions of credit in the ordinary course of its business.
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  1.1.111 “Funded Debt” means, with respect to any Person, all indebtedness, liabilities
  and obligations which would in accordance with GAAP be classified in the consolidated
  balance sheet of such Person as indebtedness for borrowed money and including without
  duplication:

  (a)    money borrowed by way of overdraft;

  (b)    indebtedness represented by bonds, debentures or notes payable and drafts
         accepted representing extensions of credit;

  (c)    bankers’ acceptances and similar instruments;

  (d)    letters of credit, letters of guarantee and surety bonds issued at the request of such
         Person (to the extent not cash collateralized), but excluding Non-Financial Letters
         of Credit;

  (e)    actual amounts owed under Hedging Agreements upon termination of such
         Hedging Agreements, including net settlement amounts payable upon maturity
         and termination payments payable upon termination or early termination, which
         are not paid when due;

  (f)    indebtedness secured by any Lien existing on property of such Person, whether or
         not the indebtedness secured thereby shall have been assumed;

  (g)    all obligations (whether or not with respect to the borrowing of money) that are
         evidenced by bonds, debentures, notes or other similar instruments, or that are not
         so evidenced but that would be considered by GAAP to be indebtedness for
         borrowed money;

  (h)    all redemption obligations and mandatory dividend obligations of such Person
         with respect to any shares issued by such Person and which are by their terms or
         pursuant to any contract, agreement or arrangement:

         (i)    redeemable, retractable, payable or required to be purchased or otherwise
                retired or extinguished, or convertible into debt of such Person (A) at a
                fixed or determinable date, (B) at the option of any holder thereof, or (C)
                upon the occurrence of a condition not solely within the control and
                discretion of such Person; or

         (ii)   convertible into any other shares described in clause (i) above;

         in any case under this clause (h), except as a result of an initial public offering,
         change of control or asset sale (so long as the Obligations have otherwise been
         paid in full prior to any such payment being required to be made under clause (i)
         above).

  (i)    all obligations as lessee under Capital Leases;
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  (j)    all obligations under or in connection with any (i) Permitted Factoring Transaction
         and (ii) Permitted Securitization Financing (to the extent included in the
         consolidated balance sheet of such Person), which shall in each case be deemed to
         be equal to the net proceeds received thereunder;

  (k)    all obligations of such Person secured by Purchase-Money Security Interests; and

  (l)    any guarantee or indemnity (other than by endorsement of negotiable instruments
         for collection or deposit in the ordinary course of business) in any manner of any
         part or all of an obligation of another Person of the type included in items (a)
         through (k) above;

  but excluding for greater certainty, deferred income taxes and normal course trade
  payables.

  1.1.112 “GAAP” means generally accepted accounting principles in Canada or the
  United States as approved by the Canadian Institute of Chartered Accountants or
  American Institute of Certified Public Accountants, respectively, in effect from time to
  time, and as of the Amendment and Restatement Date, includes Canadian or United
  States generally accepted accounting principles for private enterprises.

  1.1.113 “Governmental Authority” means any:

  (a)    national, federal, provincial, state, municipal, local or other governmental or
         public department, central bank, court, commission, board, bureau, agency or
         instrumentality, domestic or foreign;

  (b)    any subdivision or authority of any of the foregoing; or

  (c)    any quasi-governmental, judicial or administrative body exercising any regulatory,
         expropriation or taxing authority under or for the account of any of the foregoing.

  1.1.114 “Group” means any “group” such term as used in Sections 13(d) and 14(d) of
  the United States Securities Exchange Act of 1934, as amended, other than the Permitted
  Holders.

  1.1.115 “Guarantee” means any agreement by which any Person assumes, guarantees,
  indemnifies, endorses, contingently agrees to purchase or provide funds for the payment
  of, or otherwise becomes liable upon, the obligation of any other Person, or agrees to
  maintain the net worth or working capital or other financial condition of any other Person
  or otherwise assures any creditor of such Person against loss, and shall include any
  contingent liability under any letter of credit or similar document or instrument.

  1.1.116 “Guarantors” means Holdco and all current and future direct and indirect
  Material Subsidiaries of the Canadian Borrower.

  1.1.117 “Hazardous Materials” means any contaminant, pollutant, waste or substance
  that is likely to cause immediately or at some future time harm or degradation to the
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  surrounding environment or risk to human health; and without restricting the generality of
  the foregoing, including any pollutant, contaminant, waste, hazardous waste or dangerous
  goods that is regulated by any Requirements of Environmental Law or that is designated,
  classified, listed or defined as hazardous, toxic, radioactive or dangerous or as a
  contaminant, pollutant or waste by any Requirements of Environmental Law.

  1.1.118 “Hedge Provider” means any Lender or any Affiliate thereof that enters into a
  Hedging Agreement with a Credit Party prior to such Lender ceasing to be a Lender under
  this Agreement. For certainty, any Person who enters into a Hedging Agreement after
  such Person ceases to be a Lender hereunder is not a Hedge Provider for purposes such
  Hedging Agreement.

  1.1.119 “Hedging Agreements” means Interest Rate Hedging Agreements and Currency
  Hedging Agreements.

  1.1.120 “Hedging Liability” means the actual indebtedness or obligations of any Credit
  Party to a counterparty who enters into a Hedging Agreement with such Credit Party
  under or pursuant to such Hedging Agreement.

  1.1.121 “Holdco” means Fluid Holding Corp., a corporation incorporated under the
  BCBCA, and its successors and permitted assigns.

  1.1.122 “Hostile Acquisition” means an acquisition, which is required to be reported to
  applicable securities regulatory authorities, of shares of a corporation where the board of
  directors of that corporation has not approved such acquisition nor recommended to the
  shareholders of the corporation that they sell their shares pursuant to the proposed
  acquisition or of units of a trust where the trustee or manager or administrator of that trust
  has not approved such acquisition nor recommended to the unitholders of the trust that
  they sell their units pursuant to the proposed acquisition or of units of a partnership where
  the board of directors of the general partner(s) thereof has not approved such acquisition
  nor recommended to the partners of the partnership that they sell their units pursuant to
  the proposed acquisition.

  1.1.123 “HSBC” means HSBC Bank Canada and its successors and permitted assigns.

  1.1.124 “HSBC Mexico” means HSBC México, S.A., Institución de Banca Múltiple,
  Grupo Financiero HSBC.

  1.1.125 “HSBC US” means HSBC Bank USA, National Association and its successors
  and permitted assigns.

  1.1.126 “Impositions” is defined in Section 12.4.1.

  1.1.127 “Indemnitees” means the Lenders, the Agent and their respective successors
  and permitted assignees, any agent of any of them (specifically including a receiver or
  receiver-manager) and the respective officers, directors and employees of the foregoing.

  1.1.128 “Insolvency Event” means, in respect of any Person:
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  (a)    such Person commits an act of bankruptcy or becomes insolvent (as such terms
         are used in the BIA); or makes an assignment for the benefit of creditors, files a
         petition in bankruptcy, makes a proposal or commences a proceeding under
         Insolvency Legislation; or petitions or applies to any tribunal for, or consents to,
         the appointment of any receiver, trustee or similar liquidator in respect of all or a
         substantial part of its property; or admits the material allegations of a petition or
         application filed with respect to it in any proceeding commenced in respect of it
         under Insolvency Legislation; or takes any board action for specifically
         authorizing any of the foregoing actions; or

  (b)    any proceeding or filing is commenced against such Person seeking to have an
         order for relief entered against it as debtor or to adjudicate it a bankrupt or
         insolvent, or seeking liquidation, winding-up, reorganization, arrangement,
         adjustment or composition of it or its debts under any Insolvency Legislation, or
         seeking appointment of a receiver, trustee, custodian or other similar official for it
         or any of its property or assets; unless:

         (i)    such Person is diligently defending such proceeding in good faith and on
                reasonable grounds as determined by the Required Lenders acting
                reasonably and the same shall continue undismissed, or unstayed and in
                effect, for any period of 60 consecutive days; and

         (ii)   such proceeding does not in the reasonable opinion of the Required
                Lenders materially adversely affect the ability of such Person to carry on
                its business and to perform and satisfy all of its obligations.

  1.1.129 “Insolvency Legislation” means legislation in any applicable jurisdiction
  relating to reorganization, arrangement, compromise or re-adjustment of debt, dissolution
  or winding-up, or any similar legislation, and specifically includes the BIA, the
  Companies’ Creditors Arrangement Act (Canada), the Winding-Up and Restructuring Act
  (Canada) and the Bankruptcy Code (United States) and any similar legislation under
  Applicable Law.

  1.1.130 “Insurance Proceeds” is defined in Section 5.3.1(c).

  1.1.131 “Insured Receivables” means Receivables of the Credit Parties owing from
  account debtors that:

  (a)    solely in respect of Insured Receivables that do not derive from and are not
         governed by the laws of Canada or the United States of America or any political
         subdivision thereof, no less than 80% of such Receivables arise from Eligible
         Approved Contracts; provided that if the revenue derived from any such single
         contract exceeds 10% of the Canadian Borrower’s annual revenue as set out in the
         then most recent income statement of the Canadian Borrower that was delivered
         to the Lenders hereunder, such contract must be an Eligible Approved Contract;
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  (b)    does not arise under an “excluded contract” or any similar term as provided in the
         Account Receivable Insurance, are within the approved credit, sovereign, country,
         single obligor and other limits under the Account Receivable Insurance and are
         otherwise covered under the Account Receivable Insurance which is in full force
         and effect;

  (c)    the Credit Parties have complied with the credit policy provided for in the
         Account Receivable Insurance with respect to such Receivables, including the
         issuance of invoices, pro forma invoices and final invoices within the required
         time periods thereunder;

  (d)    there are no events, facts or circumstances which would reasonably be expected to
         result in the insurer under the Account Receivable Insurance denying (or
         withholding or delaying) payment of a claim in respect of such Receivables or
         asserting any defense, dispute or counterclaim with respect to such Receivables;

  (e)    the insurer under the Account Receivable Insurance has not denied all or any
         portion of a claim in respect of such Receivable, and has not asserted any defense,
         dispute or counterclaim with respect to such Receivable;

  (f)    the Credit Parties have not suffered any loss with respect to such Receivables,
         unless such loss is covered by the Account Receivable Insurance;

  (g)    are not in dispute and are valid and enforceable obligations of the account debtor
         under Applicable Law;

  (h)    if Credit Parties have suffered a loss in respect of such Receivable covered by the
         Account Receivable Insurance, they have submitted a claim for such loss in
         accordance with the terms of the Account Receivable Insurance and have
         otherwise complied with all provisions of the Account Receivable Insurance on a
         timely basis in order to be entitled to have such claim paid by the insurer under
         the Account Receivable Insurance;

  (i)    the Credit Parties have paid any required deductibles under the Account
         Receivable Insurance in respect of such Receivables; and

  (j)    in any case, are due within the time period, including any “waiting period”, from
         the date of billing required under the Account Receivable Insurance in respect of
         such Receivable.

  1.1.132 “Intercreditor Agreement” means that certain intercreditor and priority
  agreement between the Agent, HSBC Mexico, and the Borrower or QMax Mexico, as
  amended, modified, supplemented or restated from time to time, with respect to any
  Permitted Factoring Transaction with HSBC Mexico.

  1.1.133 “Interest” means interest on loans, stamping fees in respect of bankers’
  acceptances, the difference between the proceeds received by the issuers of bankers’
  acceptances and the amounts payable upon the maturity thereof, issuance fees in respect
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  of letters of credit, and any other charges or fees in connection with the extension of
  credit which are determined by reference to the amount of credit extended, plus standby
  fees in respect of the unutilized portion of any credit facility; but for greater certainty
  “Interest” shall not include agency fees, arrangement fees, structuring fees, fees relating to
  the granting of consents, waivers, amendments, extensions or restructurings, the
  reimbursement of costs and expenses, and any similar amounts which may be charged
  from time to time in connection with the establishment, administration or enforcement of
  the credit facilities.

  1.1.134 “Interest Expense” means, with respect to any Person for any period, the sum
  of (without duplication) (a) interest expense of such Person for such period on a
  consolidated basis, including (i) the amortization of debt discounts, (ii) all commissions,
  discounts and other fees and charges owed with respect to letters of credit and bankers’
  acceptances, (iii) standby fees in respect of undrawn debt, (iv) discounts applied to the
  proceeds of any Permitted Factoring Transaction or Permitted Securitization Financing,
  and (v) the portion of any payments or accruals with respect to Capital Lease obligations
  allocable to interest expense (but excluding (A) non-cash interest expense attributable to
  the movement of mark-to-market hedging obligations or other derivative instruments
  pursuant to GAAP (B) penalties and interest related to taxes, amortization of debt
  financing fees, debt issuance costs, commissions, fees and expenses and the expensing of
  any commitment and other financing fee in each case, to the extent constituting interest
  expense under GAAP), and (b) capitalized interest of such Person. For purposes of the
  foregoing, cash interest expense shall be determined after giving effect to any net
  payments made or received and costs incurred by the Borrower and the Subsidiaries with
  respect to Interest Rate Hedging Agreements, and interest on a Capital Lease obligation
  shall be deemed to accrue at an interest rate reasonably determined by the Borrower to be
  the rate of interest implicit in such Capital Lease obligation in accordance with GAAP.

  1.1.135 “Interest Rate Hedging Agreement” means any agreement that does not
  contravene Section 7.2.13 entered into between the Borrower and a counterparty from
  time to time for the purpose of hedging interest rate risk, including interest rate exchange
  agreements (commonly known as “interest rate swaps”) and forward rate agreements;
  and for greater certainty, including interest rate exchange agreements in U.S. Dollars
  (commonly known as “cross-currency swaps”).

  1.1.136 “Interim Financial Statements” in respect of any Fiscal Quarter means, in
  respect of any Person, the unaudited financial statements of such Person on a
  consolidated basis in respect of such Fiscal Quarter (and also on a year-to-date basis in
  respect of such Fiscal Quarter and all previous Fiscal Quarters in the same Fiscal Year).

  1.1.137 “Investment Grade” means, with respect to the long term unsecured debt
  ratings of a Person, of the rating agencies on the date hereof, Baa3 or higher for Moody’s
  Investors Services, Inc. or BBB- or higher for Standard & Poor’s Rating Services, a
  division of The McGraw Hill Companies, Inc. (or in either case, their respective
  successors).

  1.1.138 “Investments” has the meaning given to it in Section 7.2.3.
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  1.1.139 “Investors” means Pep Fluid Co-Invest L.P., PEP Fluid L.P. and any other
  investors from time to time who are approved in writing by the Agent on behalf of the
  Required Lenders.

  1.1.140 “ISDA” means the International Swaps and Derivatives Association and its
  successors and assigns.

  1.1.141 “ISP98” means the International Standby Practices ISP98, as published by the
  International Chamber of Commerce and in effect from time to time.

  1.1.142 “Issuing Bank” means the Swingline Lender under the Canadian Operating
  Facility and HSBC US under the U.S. Operating Facility, as applicable.

  1.1.143 “Land” means real property (including a leasehold interest in land) and all
  buildings, improvements, fixtures and plant situated thereon.

  1.1.144 “Landlord Agreement” means an agreement between the Agent, the applicable
  Credit Party and the landlord of a Leased Property in form and substance reasonably
  satisfactory to the Agent, which shall include the following provisions (except to the
  extent otherwise agreed by the Agent in its discretion): such landlord consents to the
  granting of a security interest in the lease applicable to such Leased Property by a Credit
  Party which is a tenant thereunder in favour of the Agent, agrees to give written notice to
  the Agent in respect of and a reasonable opportunity to cure any default before
  terminating the lease, and agrees to waive (or subordinate and defer the enforcement of)
  its rights and remedies and any security it may hold in respect of any assets owned by the
  applicable Credit Party located on or affixed to such Leased Property.

  1.1.145 “Laws” means all laws, statutes, codes, ordinances, decrees, rules, regulations,
  municipal by-laws, judicial or arbitral or administrative or ministerial or departmental or
  regulatory judgments, orders, decisions, rulings or awards, or any provisions of such laws,
  including general principles of common and civil law and equity or policies or guidelines,
  to the extent such policies or guidelines have the force of law, binding on the Person
  referred to in the context in which such word is used; and “Law” means any of the
  foregoing.

  1.1.146 “LC Payment” is defined in Section 2.7.9.

  1.1.147 “Leased Properties” means all Land leased by any Credit Party as tenant from
  time to time, specifically including as at the date of this Agreement the Land described in
  Schedule 6.1.10; and “Leased Property” means any of the Leased Properties as the
  context requires.

  1.1.148 “Lenders” means the lenders identified in Exhibit “A” attached hereto and any
  other Persons which may from time to time become lenders pursuant to this Agreement;
  and their respective successors and permitted assigns; and “Lender” means any of them
  as the context requires.
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  1.1.149 “Lending Office” in respect of any Lender means the office of such Lender
  designated by it from time to time as the office from which it will make Advances
  hereunder.

  1.1.150 “Letter of Credit” means a stand-by letter of credit or a letter of guarantee or
  documentary letter of credit issued, at the request of and on behalf of the Borrower, by the
  applicable Issuing Bank.

  1.1.151 “Level” means the applicable level as set forth in the table set forth in the
  definition of Applicable Margin.

  1.1.152 “LIBOR Business Day” means a day on which the main branches of the Agent
  and commercial banks generally are open for international business (including dealings in
  U.S. Dollar deposits in the London interbank market) in London, England and New York,
  New York.

  1.1.153 “LIBOR Interest Period” means, with respect to each LIBOR Loan, the initial
  period (subject to availability) of approximately one, two, three, six or twelve months or
  such other periods as selected by the Borrower and notified in writing to the Agent
  commencing on and including the date of any Advance, Conversion or Rollover, as the
  case may be, applicable to such LIBOR Loan and ending on and including the last day of
  such initial period, and thereafter, each successive period (subject to availability) of
  approximately one, two, three, six or twelve months or such other periods as selected by
  the Borrower and notified to the Agent in writing commencing on and including the last
  day of the prior LIBOR Interest Period; provided, however, that:

  (a)    in the case of a Rollover, the last day of each LIBOR Interest Period shall also be
         the first day of the next LIBOR Interest Period;

  (b)    the last day of each LIBOR Interest Period shall be a LIBOR Business Day and if
         not, the Borrower shall be deemed to have selected a LIBOR Interest Period the
         last day of which is the first LIBOR Business Day following the last day of the
         LIBOR Interest Period selected by the Borrower;

  (c)    if the Borrower selects a LIBOR Interest Period for a period longer than three
         months, the last day of such LIBOR Interest Period shall be the date falling three
         months after the beginning of such LIBOR Interest Period and the next LIBOR
         Interest Period shall begin on such date; and

  (d)    notwithstanding any of the foregoing, the last day of each LIBOR Interest Period
         shall be on or before the maturity date of the applicable Facility.

  1.1.154 “LIBOR Loan” means an Advance made by a Lender to a Borrower in U.S.
  Dollars in accordance with the provisions hereof, bearing interest by reference to the U.S.
  Dollar LIBOR Rate.

  1.1.155 “LIBOR Market” means the London Interbank Eurodollar offering market.
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  1.1.156 “LIBOR Period” means, in respect of a LIBOR Loan, the period commencing
  on the date of the Advance of such LIBOR Loan and ending on the scheduled maturity
  date of such LIBOR Loan.

  1.1.157 “LIBOR Rate” means, with respect to each LIBOR Interest Period pertaining to
  any LIBOR Loan, the London interbank offered rate administered by ICE Benchmark
  Administration Limited (or any other successor thereto which takes over administration
  of such rate) appearing on Bloomberg Page BBAM1 screen (or on any successor or
  substitute page of such Bloomberg screen providing rate quotations comparable to those
  currently provided on such page of such Bloomberg screen, as determined by the Agent
  from time to time for purposes of providing quotations of interest rates applicable to U.S.
  Dollar deposits in the London interbank market) at approximately 11:00 a.m., London
  time, two LIBOR Business Days prior to the making a LIBOR Loan, as the rate for the
  offering of U.S. Dollar deposits with a maturity comparable to the LIBOR Interest Period
  of such LIBOR Loan; provided, however, that if the said page is not available for any
  reason, the term “LIBOR Rate” shall mean the rate per annum at which deposits in U.S.
  Dollars for the applicable interest period and amount are offered to the Agent in the
  LIBOR Market; provided that if the LIBOR Rate calculated for any purpose would be less
  than zero on any day, then such rate shall be deemed to be zero for such purpose.

  1.1.158 “Lien” means:

  (a)    a lien, charge, mortgage, deed of trust, pledge, security interest or conditional sale
         or title retention agreement in the nature of security which secures payment or
         performance of an obligation;

  (b)    an assignment, lease, consignment, deposits, trust or deemed trust that secures
         payment or performance of an obligation;

  (c)    a garnishment; and

  (d)    any other encumbrance of any kind in the nature of security which secures
         payment or performance of an obligation (including any garantía prioritaria por
         adquisición under law 1676 of 2013 Colombia).

  1.1.159 “Loan” means a Canadian Dollar Prime Rate Loan, U.S. Dollar Base Rate Loan,
  U.S. Dollar Prime Rate Loan, LIBOR Loan, Bankers’ Acceptance, BA Equivalent Loan
  or Letter of Credit outstanding hereunder, or in the case of the Swingline, Overdraft
  borrowings and such other Advances permitted under Section 2.7.2.

  1.1.160 “Management Shareholders” means each of the employees of the Canadian
  Borrower who hold Common Shares of the Canadian Borrower or options in respect of
  the same on the Amendment and Restatement Date and such other holders thereof from
  time to time who are approved in writing by the Agent on behalf of the Required Lenders,
  and “Management Shareholder” means any one of them.
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  1.1.161 “Marginable Capital Assets” means 60% of the net book value of Eligible
  Capital Assets at the time of determination, up to a maximum amount of U.S.
  $50,000,000 less the amount of each completed Anchor Sale and Leaseback Transaction;
  provided that, reductions resulting from Anchor Sale and Leaseback Transactions shall
  not reduce the amount available below U.S. $30,000,000.

  1.1.162 “Marginable Cash” means 100% of Eligible Cash up to a maximum amount of
  U.S. $15,000,000 at any time.

  1.1.163 “Marginable Inventory” means 50% of Eligible Inventory at the time of
  determination, up to U.S. $35,000,000.

  1.1.164 “Marginable Receivables” means the sum of the following (without
  duplication):

  (a)    90% of Insured Receivables (or such lower percentage as is covered by the
         applicable Account Receivable Insurance) up to a maximum amount of U.S.
         $175,000,000;

  (b)    85% of Eligible Receivables owed to a Credit Party by Acceptable Account
         Debtors;

  (c)    75% of all other Eligible Receivables; and

  (d)    90% of Insured Receivables from Pemex outstanding more than 300 days, but not
         more than 540 days, in respect of contract numbers 423023819 and 423023813
         between Pemex Exploracion y Produccion and Qmax Mexico, S.A. de C.V., dated
         April 22, 2014 and July 17, 2013, respectively, and contract number 423023813,
         dated July 25, 2013, between Pemex Exploracion y Produccion and Qmax
         Mexico, S.A. de C.V. (in each case, as may be amended or otherwise modified
         from time to time).

  1.1.165 “Material Adverse Change” or “Material Adverse Effect” means any matter,
  event or circumstance that individually or in the aggregate could, in the opinion of the
  Required Lenders, acting reasonably, be expected to result in a material adverse change to
  or have a material adverse effect on:

  (a)    the business, financial condition, prospects, operations, or property, of the
         Canadian Borrower and its Subsidiaries (excluding any Securitization SPE), taken
         as a whole;

  (b)    the ability of any Credit Party to pay and perform its obligations in accordance
         with this Agreement or any of the other Credit Documents; or

  (c)    the validity or enforceability of this Agreement or any other Credit Document.

  1.1.166 “Material Agreement” means, in respect of the Credit Parties, an agreement
  made between the applicable Credit Party or its predecessors and another Person (a)
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  pursuant to which such Credit Party is reasonably expected to incur obligations or
  liabilities in excess of $10,000,000 in any Fiscal Year (other than any agreement related
  to the purchase of equipment, software or utility services) and (b) which if terminated
  (other than at its scheduled maturity) would, unless replaced with a substantially similar
  agreement, result, or would have a reasonable likelihood of resulting, in a Default, an
  Event of Default or a Material Adverse Change, specifically including, as at the
  Amendment and Restatement Date, each agreement listed in Schedule 6.1.13; provided,
  in each case, in no event shall the Wells Fargo Credit Agreement or any agreement in
  connection with a Permitted Securitization Financing be considered a Material
  Agreement.

  1.1.167 “Material Permit” means, in respect of the Credit Parties, a licence, permit,
  approval, registration or qualification granted to or held by the applicable Credit Party
  which if terminated and not replaced would result, or would have a reasonable likelihood
  of resulting, in a Default, an Event of Default or a Material Adverse Change; specifically
  including, as at the date of this Agreement, each licence, permit, approval, registration or
  qualification listed in Schedule 6.1.8.

  1.1.168 “Material Subsidiary” means (a) any wholly-owned Subsidiary of the Canadian
  Borrower which:

         (i)     has Consolidated Net Tangible Assets owned directly by it on an
                 unconsolidated basis equal or greater than 5% of the Canadian Borrower’s
                 Consolidated Net Tangible Assets as at the end of the Fiscal Quarter
                 immediately prior to the date of such determination;

         (ii)    has EBITDA generated by it on an unconsolidated basis equal or greater
                 than 5% of the Canadian Borrower’s consolidated EBITDA as at the end
                 of the Fiscal Quarter immediately prior to the date of such determination;
                 or

         (iii)   any Subsidiary of the Canadian Borrower that has been designated as a
                 “Material Subsidiary” by the Borrower,

  and (b) any Subsidiary which owns, directly or indirectly, any equity or other ownership
  interest in a Material Subsidiary.

  1.1.169 “Minimum Liquidity” means the sum of (A) the amount of unrestricted cash
  (determined in accordance with GAAP) and Cash Equivalents of the Credit Parties held
  in accounts with any of the Lenders, Encina (or any other lenders party to the Encina ABL
  Loan Agreement) and Wells Fargo (or any other lenders party to the Wells Fargo Credit
  Agreement), plus (B) the Minimum Margin Availability and undrawn available amount
  under the Encina ABL Loan Agreement or the Wells Fargo Credit Agreement, as
  applicable, plus (C) undrawn and available amounts under other facilities constituting
  Permitted Funded Debt plus (D) non-Marginable Cash.
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  1.1.170 “Minimum Margin Availability” means the undrawn available amount under
  the Operating Facilities up to the Borrowing Base (as at the time of determination).

  1.1.171 “Minor Title Defects” in respect of any parcel of Land means encroachments,
  restrictions, easements, rights-of-way, servitudes and defects or irregularities in the title to
  such Land which are of a minor nature and which, in the aggregate, will not materially
  impair the use of such Land for the purposes for which such Land is held by the owner
  thereof.

  1.1.172 “Multiemployer Plan” means a multiemployer plan, as defined in Section
  4001(a)(3) of ERISA, to which any Credit Party or any ERISA Affiliate is making or
  accruing an obligation to make contributions, or has within any of the preceding five plan
  years made or accrued an obligation to make contributions.

  1.1.173 “Multiple Employer Plan” means a plan that is described in Section 210 of
  ERISA and subject to Title IV of ERISA, and (i) is maintained for employees of any
  Credit Party or any ERISA Affiliate and (ii) in respect of which any Credit Party or any
  ERISA Affiliate could have liability under Section 4069 of ERISA in the event such plan
  has been or were to be terminated.

  1.1.174 “Net Leverage Ratio” means, in respect of any Fiscal Quarter, the ratio of Total
  Net Debt at the end of such Fiscal Quarter to EBITDA in the fiscal period comprised of
  such Fiscal Quarter and the immediately preceding three Fiscal Quarters.

  1.1.175 “New Rules” is defined in Section 12.1.3.

  1.1.176 “Non-BA Lender” means a Lender identified in Exhibit “A” attached hereto as
  a Lender which will make BA Equivalent Loans instead of accepting Bankers’
  Acceptances hereunder.

  1.1.177 “Non-Consenting Lender” is defined in Section 11.5.2.

  1.1.178 “Non-Financial Letter of Credit” means a Letter of Credit that is not a
  Financial Letter of Credit and, for the purposes of the definition of “Funded Debt”, any
  similar performance letter of credit issued by a party that is not an Issuing Bank.

  1.1.179 “Non-OECD Guarantor” means any Guarantor whose governing jurisdiction is
  located in a country which not a member of OECD, excluding Colombia.

  1.1.180 “Non-Paying Lender” is defined in Section 11.4.2.

  1.1.181 “Obligations” means, at any time all direct and indirect, contingent and absolute
  obligations and liabilities of the Borrower and the other Credit Parties to the Agent and
  the Lenders under or in connection with this Agreement and the Security (specifically
  including for greater certainty all Guarantees provided hereunder) at such time,
  specifically including the Outstanding Advances, all accrued and unpaid interest thereon,
  all Secured Hedging Liabilities and all Banking Service Liabilities, all indemnity
  obligations arising under, any other Credit Document, any Banking Service Agreement or
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  any Hedging Agreement with a Hedge Provider, all fees payable in connection with
  prepayments, all breakage fees payable pursuant to Section 5.15 and all other fees,
  expenses and other amounts payable pursuant to this Agreement and the Security
  (specifically including fees relating to the Facilities as may be agreed in writing from time
  to time between a Borrower and any Lender); except that if otherwise specified or
  required by the context, “Obligations” shall mean any portion of the foregoing.
  Notwithstanding anything herein to the contrary, the “Obligations” shall exclude any
  Excluded Hedging Obligations.

  1.1.182 “OECD”       means     The   Organisation    for   Economic     Co-operation     and
  Development.

  1.1.183 “OECD Credit Party” means any Credit Party whose governing jurisdiction is
  in a country which is an OECD member or which has a sovereign currency credit rating at
  an Investment Grade level.

  1.1.184 “OFAC” means the U.S. Treasury Department Office of Foreign Assets Control.

  1.1.185 “Operating Facilities” means, collectively, the Canadian Operating Facility and
  the U.S. Operating Facility, and “Operating Facility” means any of them as the context
  requires.

  1.1.186 “Other Taxes” is defined in Section 12.4.2.

  1.1.187 “Outstanding Advances” means, at any time, the aggregate of all obligations of
  the Borrowers to the Lenders (or if the context requires, to any Lender) in respect of all
  Advances made under the Facilities (or if the context requires, under any Facility) which
  have not been repaid or satisfied at such time, determined as follows:

  (a)    in the case of Canadian Dollar Prime Rate Loans and Overdrafts in Canadian
         Dollars, the principal amount thereof;

  (b)    in the case of Bankers’ Acceptances and BA Equivalent Loans and Letters of
         Credit, the face amount thereof;

  (c)    in the case of Letter of Credit, the undrawn amount thereof (to the extent not cash
         collateralized, backstopped or otherwise provided for in a manner acceptable to
         the Issuing Bank, in its discretion, in respect thereof); and

  (d)    in the case of U.S. Dollar Base Rate Loans, Overdrafts in U.S. Dollars and LIBOR
         Loans the Equivalent Amount of the principal amount thereof expressed in
         Canadian Dollars.

  1.1.188 “Overdraft” means indebtedness of the Canadian Borrower to the Swingline
  Lender arising under the Swingline in connection with all amounts debited to all overdraft
  accounts established by the Canadian Borrower with the Swingline Lender (in Canadian
  Dollars or U.S. Dollars, as the case may be), including without limitation all cheques,
  transfers, withdrawals, interest, costs, charges and fees debited to such accounts.
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  1.1.189 “Palladium” means Palladium Capital Management IV LLC.

  1.1.190 “Palladium Equity Line” means the Loan Agreement, dated as of October 18,
  2017, by and between Holdco, as borrower, and PEP Fluid L.P., as lender (together with
  the revolving demand note related thereto), and any related loan agreement and revolving
  demand note with PEP Fluid Co-Invest LP and/or Calumet, in an aggregate principal
  amount of up to $5,000,000, as may be amended, restated, replaced or otherwise modified
  from time to time.

  1.1.191 “Participant” is defined in Section 13.6.4.

  1.1.192 “Participant Register” is defined in Section 13.6.4

  1.1.193 “Parties” means the Borrowers, the Agent and the Lenders and their respective
  successors and permitted assigns.

  1.1.194 “PATRIOT Act” means The Uniting and Strengthening America by Providing
  Adequate Tools Required to Intercept and Obstruct Terrorism Act of 2001 (Title III of
  Pub. L. No. 107-56 (signed into law October 26, 2001)).

  1.1.195 “PBGC” means the Pension Benefit Guaranty Corporation (or any successor).

  1.1.196 “Pemex Entities” means, collectively, Petroleos Mexicanos, Pemex Exploracion
  y Produccion and Pemex Perforacion y Servicios.

  1.1.197 “Pension Plan” means:

  (a)    a “pension plan” or “plan” which is subject to the funding requirements of
         applicable pension benefits legislation in any jurisdiction of Canada and is
         applicable to employees of a Credit Party resident in Canada; or

  (b)    any pension benefit plan or similar arrangement (other than Plans or
         Multiemployer Plans) applicable to employees of a Credit Party.

  1.1.198 “Permitted Acquisition” means any Acquisition with respect to which all of the
  following conditions shall have been satisfied:

  (a)    the Acquired Business has positive EBITDA calculated on a trailing twelve month
         basis (determined using the definition thereof set for herein as if the Acquired
         Business was the Canadian Borrower for such purpose);

  (b)    the Acquired Business is in an Eligible Line of Business in Canada or the U.S.;

  (c)    the Acquisition shall not be a Hostile Acquisition and, if the Acquisition involves
         a merger involving a Credit Party, the surviving entity is or becomes a Credit
         Party concurrently with the completion of such merger;
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  (d)   the aggregate purchase price of all such Acquisitions shall not exceed the sum of
        $50,000,000 in any Fiscal Year;

  (e)   if the consideration payable at the closing of the acquisition of the Acquired
        Business in cash, shares or other tangible assets (but for certainty excluding
        Earnout Payments), plus the Permitted Funded Debt of the Acquired Business
        assumed as part of such acquisition, is greater than $15,000,000, then (i) the Net
        Leverage Ratio on a pro forma basis (including the EBITDA and, if applicable,
        Permitted Funded Debt of the Acquired Business) as of the end of and for the
        most recently completed four Fiscal Quarter period occurring prior to the closing
        of the Acquisition in question for which financial statements are available does
        not exceed the maximum Net Leverage Ratio permitted for such four Fiscal
        Quarter period under Section 7.3.1(a) minus 0.25 to 1, (ii) after giving effect to the
        funding of the Acquisition in question the sum of: (A) unrestricted cash on hand
        of the Credit Parties, plus (B) undrawn and available amounts under the Operating
        Facilities, plus (C) undrawn and available amounts permitted under operating
        facilities provided under clauses (c) and (d) of the definition of Permitted Funded
        Debt (provided, that the stated maturity date of any such facility, if any, is not
        within 90 days after the date of such Acquisition), is no less than $25,000,000;
        and (iii) at least 10 Business Days prior to the date that the Acquisition is to close,
        the Lenders shall have received financial statements and quarterly earnings reports
        in respect of the Acquired Business which shall be satisfactory to the Required
        Lenders, acting reasonably, together with any other information in respect of the
        Acquired Business which the Agent may reasonably request (and in the case of (i)
        and (ii) above, the resident and/or chief financial officer of the Canadian Borrower
        will deliver to the Agent an officer’s certificate confirming such items, together
        with detailed calculations thereof);

  (f)   if the Acquisition relates to the purchase of shares or other equity of a Person, it
        must be for 100% of the issued and outstanding shares of such Person;

  (g)   if a new Material Subsidiary is formed or acquired as a result of or in connection
        with the Acquisition, the Borrower shall have complied with the requirements of
        Article 8 in connection therewith, subject to the last sentence of Section 8.2;

  (h)   any existing indebtedness of the Acquired Business will be repaid and, if
        applicable, cancelled, unless otherwise constituting Permitted Funded Debt; and

  (i)   after giving effect to the Acquisition and any Advance in connection therewith,
        and subject to clause (j) below with respect to the representations and warranties
        in this Agreement, no Default or Event of Default shall exist, including with
        respect to the financial covenants contained in Section 7.3 on a pro forma basis as
        of the end of and for the most recently completed four Fiscal Quarter period
        occurring prior to the closing of the Acquisition for which financial statements are
        available; and
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    (j)    all representations and warranties set forth herein (other than those which are
           specified to be given as of specific date) shall be repeated as of the date of the
           Acquisition (after giving effect to the Acquisition and any Advance in connection
           therewith) and must be true in all material respects;

    provided that, notwithstanding anything herein to the contrary, the Terra Acquisition shall
    constitute a Permitted Acquisition if the following conditions shall have been satisfied:

           (i)     the Terra Acquisition shall not be funded in whole or in part with the
                   proceeds of any Advance hereunder;

           (ii)    on the date hereof, all amounts outstanding under the Palladium Equity
                   Line shall be repaid in full and, immediately following such repayment,
                   Palladium shall make an equity contribution to the Canadian Borrower in
                   an amount not less than $7,000,000; and

           (iii)   prior to or substantially concurrently with the closing of the Terra
                   Acquisition, the Permitted Securitization Financing among ADF SPV,
                   LLC, as borrower, Anchor, as servicer, and Wells Fargo Bank, National
                   Association, as lender and agent shall also be consummated or the Credit
                   Parties shall have otherwise arranged sufficient funding to fund such
                   acquisition in a manner that is acceptable to the Required Lenders, acting
                   reasonably.

    1.1.199 “Permitted Contest” means action taken by or on behalf of a Credit Party in
    good faith by appropriate proceedings diligently pursued to contest a tax, claim or Lien;
    provided, that:

    (a)    the Person to which the tax, claim or Lien being contested is relevant (and, in the
           case of a Subsidiary of the Canadian Borrower, the Canadian Borrower on a
           consolidated basis) has established reasonable reserves therefor if and to the
           extent required by GAAP;

    (b)    proceeding with such contest does not have, and would not reasonably be
           expected to result in, a Material Adverse Change; and

    (c)    proceeding with such contest will not create a material risk of sale, forfeiture or
           loss of, or interference with the use or operation of, a material part of the assets of
           the Credit Parties, taken as a whole.

    1.1.200 “Permitted Discretion” shall mean the Agent’s or any Required Lender’s
    discretion, as the context requires, exercising its reasonable credit judgment in accordance
    with customary business practices for comparable asset-based lending transactions and, as
    it relates to the adjustment or imposition of exclusionary criteria, shall require that, (a)
    such establishment, increase, adjustment or imposition after the Amendment and
    Restatement Date be based on the analysis of facts or events first occurring, first
    discovered or quantified by the Agent, or the applicable Required Lender, after the
    Amendment and Restatement Date or that are materially different from facts or events
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  occurring or known to the Agent, or the Required Lender, on the Amendment and
  Restatement Date, (b) the contributing factors to such change shall not duplicate the
  exclusionary criteria set forth in the definitions of “Eligible Capital Assets”, “Eligible
  Inventory” and “Eligible Receivables” as applicable (and vice versa), and (c) the effect of
  any adjustment or imposition of exclusionary criteria shall be a quantification of the
  incremental reduction of the Borrowing Base attributable to such contributing factors
  which is reasonable in light of reasonable credit judgment exercised in senior secured
  asset-based revolving credit facilities with comparable companies of similar size,
  industries, businesses and business practices, including, without limitation, leverage
  profile and projected free cash flow, in the applicable market.

  1.1.201 “Permitted Dispositions” is defined in Section 7.2.4.

  1.1.202 “Permitted Distribution” means:

  (a)    the Permitted Management Fees; provided, that no such Distribution is permitted
         if a Default or an Event of Default exists at such time or would result therefrom;
         and further provided, that any such payments that were not able to be made during
         the occurrence of a Default or an Event of Default may be “caught up” when such
         Default or Event of Default no longer exists (regardless of the Annual
         Management Fee Cap) (with any such catch up payments in excess of the Annual
         Management Fee Cap in any Fiscal Year being referred to herein as the “Catch
         Up Management Fee Payments”);

  (b)    any Distribution from one Credit Party to another Credit Party;

  (c)    any other Distribution payable to the shareholders of the Canadian Borrower by
         any Credit Party if at the time such Distribution is made (i) no Default or Event of
         Default exists at such time or would result therefrom, (ii) on a pro forma basis
         after giving effect to such Distribution, the Net Leverage Ratio would not exceed
         2.50 to 1, as evidenced by the Canadian Borrower providing an officer’s
         certificate to the Agent confirming same, and (iii) no Borrowing Base Shortfall
         has occurred and is continuing or would result from any such Distribution on a
         pro forma basis as if such Distribution had been made as of the end of the last
         Fiscal Quarter;

  (d)    any dividend payments or other Distributions payable by Holdco or any of its
         Subsidiaries solely in the equity interests of such Person;

  (e)    any Distribution permitted under Section 7.2.6(l);

  (f)    non-cash repurchases by Holdco or its Subsidiaries of equity interests deemed to
         occur upon exercise of stock options or similar equity incentive awards if such
         equity interests represents a portion of the exercise price of such options or similar
         equity incentive awards;

  (g)    cash dividends to Holdco (and by Holdco to its parent companies) by any Credit
         Party not to exceed an amount necessary to permit Holdco and its parent
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         companies to pay for normal, reasonable and documented over-head and
         administrative costs and expenses of Holdco and its parent companies and
         franchise fees or similar taxes and fees required to maintain its corporate existence
         and to reimburse out-of-pocket expenses actually incurred by Holdco and its
         parent companies for the benefit of the Canadian Borrower, and other
         Distributions for customary directors’ fees to any board members and the
         reimbursement of out-of-pocket expenses incurred by any board members in such
         capacity, provided that no Default or Event of Default exists at such time or
         would result therefrom; and

  (h)    Distributions made (i) to Holdco to permit Holdco to, and Holdco may, redeem or
         repurchase equity interests of Holdco from officers, employees, consultants,
         managers and directors of the Canadian Borrower or any of its Subsidiaries in
         connection with the termination of employment or engagement of any such Person
         or (ii) pursuant to any management equity plan or stock option plan or any other
         management or employee benefit plan or other agreement or arrangement
         (including, but not limited to, employment, compensation, severance agreements
         or arrangements or stockholders agreements), provided that no Default or Event of
         Default exists at such time or would result therefrom; and

  (i)    prior to the closing of the Terra Acquisition, Distributions to Palladium or its
         Affiliates in repayment of the Palladium Equity Line; provided in the event the
         Palladium Equity Line is not repaid as contemplated in clause (ii) of the proviso
         set forth in the definition of “Permitted Acquisition”, (x) the Canadian Borrower
         and its Subsidiaries shall, on a pro forma basis, have a Minimum Liquidity of not
         less than U.S. $15,000,000 immediately after such repayment, and (y) the
         principal in respect of the Palladium Equity Line will not be repaid prior to
         October 31, 2018, unless (A) such prepayment is made in the manner prescribed
         by clause (ii) of the proviso set forth in the definition of “Permitted Acquisition”
         and the subsequent equity contribution described in such clause is also effected, or
         (B) the Required Lenders consent to such earlier prepayment in their Permitted
         Discretion;

  provided that the aggregate of all Distributions made under clauses (g) and (h) above do
  not in any Fiscal Year exceed $2,000,000 (with unusual amounts in any Fiscal Year being
  carried over to succeeding Fiscal Years), other than to the extent such Distributions are
  funded by the cash proceeds from the sale of equity interests of the Canadian Borrower
  and, to the extent contributed to the capital of the Canadian Borrower, equity interests of
  any of the Canadian Borrower’s direct or indirect parent companies.

  1.1.203 “Permitted Factoring Debtors” means, collectively, the Pemex Entities,
  Petroamazones EP, Operaciones Río Napo CEM and any other Person agreed to in
  advance by the Agent, acting reasonably.

  1.1.204 “Permitted Factoring Transaction” means: at the Borrower’s option,
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  (a)   the financing of certain Collection Rights by HSBC Mexico; provided that (i)
        such transaction is non-recourse to the Borrowers and their Material Subsidiaries,
        except for any Liens granted solely over the Collection Rights and the proceeds
        thereof, (ii) such transaction shall be and remain subject to the terms and
        conditions of the Intercreditor Agreement, (iii) QMax Mexico may remain
        responsible for the legitimacy and existence of the Collection Rights financed by
        such transaction at the time of execution of the relevant factoring transaction and
        (iv) QMax Mexico will no longer be liable for the payment of the Collection
        Rights to HSBC Mexico or any permitted assignee but may remain liable for the
        decrease in value of the Collection Rights; and/or

  (b)   the financing by the Borrowers or one or more of their Material Subsidiaries of
        any Receivables (other than as described in paragraph (a) above); provided that (i)
        such transaction results in a legal “true sale” of Receivables, (ii) such transaction
        is non-recourse to the Borrowers and their Material Subsidiaries, except for any
        Liens granted solely over such Receivables and the proceeds thereof, and (iii) such
        transaction shall only involve the sale of Receivables either (x) owing by any of
        the Permitted Factoring Debtors to a Credit Party or (y) not constituting Eligible
        Receivables; provided that, the aggregate principal, stated or investment amount
        of all outstanding loans made to the Credit Parties in respect of all Permitted
        Factoring Transactions shall not exceed $25,000,000 at any time outstanding;
        provided, such amount shall be increased to an amount specified by the Borrowers
        at any time if the Borrowers or one or more Material Subsidiaries provides notice
        to the Agent of such an increase, and the Agent (on the instruction of Required
        Lenders) has not objected within three Business Days following receipt of notice
        thereof. For certainty, if any Eligible Receivable is sold, contributed, financed or
        otherwise conveyed or pledged pursuant to a Permitted Factoring Transaction it
        shall immediately cease to be an Eligible Receivable.

  1.1.205 “Permitted Funded Debt” means, without duplication:

  (a)   the Obligations under the Facilities and, to the extent constituting Funded Debt,
        obligations in respect of Banking Services Agreements of the Canadian Borrower
        and its Subsidiaries owing to the Agent and the Lenders (and their Affiliates);

  (b)   Funded Debt up to U.S. $20,000,000 under a bilateral letter of credit facility with
        HSBC and insured by certain third parties reasonably satisfactory to the Agent;

  (c)   Funded Debt of any Credit Party whose governing jurisdiction is Mexico or
        Colombia which is unsecured or, if secured, which is secured solely by capital
        assets and/or inventory located in Mexico or Colombia and which are not subject
        to the Security (subject to the proviso at the end of this definition);

  (d)   Funded Debt under the Surviving Colombian Credit Agreements and any
        Permitted Refinancing Indebtedness in respect thereof from time to time (subject
        to the proviso at the end of this definition);
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  (e)   Funded Debt secured by Permitted Purchase Money Security Interests and Funded
        Debt incurred in conjunction with any Anchor Sale and Leaseback Transaction (in
        each case subject to the proviso at the end of this definition);

  (f)   Permitted Hedging Liabilities;

  (g)   Permitted Intercompany Loans;

  (h)   Subordinated Debt;

  (i)   Funded Debt as set out in Schedule 1.1.205 hereto and any Permitted Refinancing
        Indebtedness thereof;

  (j)   Funded Debt under a corporate credit card facility with a Lender and other cash
        management liabilities, up to a maximum aggregate amount of $2,000,000;

  (k)   Funded Debt (other than a revolving credit facility) of a Subsidiary acquired or
        assumed pursuant to a Permitted Acquisition after the Amendment and
        Restatement Date and any Permitted Refinancing Indebtedness in respect thereof
        (subject to the proviso at the end of this definition); provided, that such Funded
        Debt shall not be incurred in anticipation of such Permitted Acquisition;

  (l)   obligations in respect of Guarantees or Financial Assistance not prohibited under
        Section 7.2.3;

  (m)   other Funded Debt of the Credit Parties and Permitted Refinancing Indebtedness
        in respect thereof (subject to the proviso at the end of this definition);

  (n)   Funded Debt under a Permitted Factoring Transaction;

  (o)   Funded Debt consented to by the Required Lenders, in their discretion, prior to the
        incurrence or assumption thereof;

  (p)   Funded Debt up to an aggregate principal amount of U.S. $75,000,000 under the
        Encina ABL Loan Agreement and any Permitted Refinancing Indebtedness in
        respect thereof, provided that all such Funded Debt is and remains subject to the
        terms of the Encina Intercreditor Agreement;

  (q)   after, or concurrently with, the repayment of all Funded Debt incurred under, and
        the cancellation of, the Encina ABL Loan Agreement, Funded Debt up to an
        aggregate principal amount of U.S. $90,000,000 in connection with all Permitted
        Securitization Financing and any Permitted Refinancing Indebtedness in respect
        thereof; and

  (r)   Funded Debt in respect of one or more promissory notes issued by the U.S.
        Borrower to Calumet, by the U.S. Borrower to the Canadian Borrower and by the
        Canadian Borrower to Holdco, in each case, substantially contemporaneously with
        the Anchor Acquisition (the “Anchor Acquisition Promissory Notes”),
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  provided that the outstanding principal amount of Funded Debt under clauses (c), (d), (e),
  (k) and (m) above does not exceed in the aggregate $45,700,000 during the Covenant
  Relief Period and $75,000,000 at any time after the Covenant Relief Period.

  1.1.206 “Permitted Hedging Liability” means a Hedging Liability permitted by the
  provisions of Sections 7.2.11 and 7.2.13.

  1.1.207 “Permitted Holders” means (a) Palladium, the Investors, Management
  Shareholders and (b) any Person with which Palladium and the Management
  Shareholders form a Group as long as, in the case of clause (b), Palladium and its
  Affiliates beneficially own more than 50% of the relevant stock beneficially owned by
  that Group.

  1.1.208 “Permitted Intercompany Loan” means a loan made by any Credit Party to
  another Credit Party, provided that the Agent holds a First Ranking Security Interest in all
  property and assets of both such Credit Parties to the extent required under the terms of
  the Credit Documents.

  1.1.209 “Permitted Investments” is defined in Section 7.2.3.

  1.1.210 “Permitted Liens” means:

  (a)    Statutory Liens in respect of any amount which is not at the time overdue;

  (b)    Statutory Liens in respect of any amount which may be overdue but the validity of
         which is subject to a Permitted Contest;

  (c)    the reservations, limitations, provisos and conditions, if any, expressed in any
         original grant from the Crown of any Land or any interest therein;

  (d)    servicing agreements, development agreements, site plan agreements and other
         agreements with Governmental Authorities pertaining to the use or development
         of any Land, provided same are complied with in all material respects;

  (e)    applicable municipal and other governmental restrictions, including municipal
         by-laws and regulations, affecting the use of Land or the nature of any structures
         which may be erected thereon, provided such restrictions have been complied
         with in all material respects;

  (f)    Liens or rights of distress reserved in or exercisable under any lease for rent not at
         the time overdue or for compliance with the terms of such lease not at the time in
         default;

  (g)    Liens or rights reserved to or exercisable by or any obligations or duties affecting
         any Land due to any public utility or to any Governmental Authority, under or
         with respect to any franchise, temporary grant, licence or permit in good standing
         and any defects in title to structures or other facilities arising solely from the fact
         that such structures or facilities are constructed or installed on Land under
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        government permits, leases or other grants in good standing; provided such
        facilities, temporary grants, licences and permits have been complied with in all
        material respects and are in good standing and such Liens, rights, obligations,
        duties and defects in the aggregate do not materially impair the use of such
        property, structures or facilities for the purpose for which they are held;

  (h)   Liens incurred or deposits made in connection with contracts, bids, tenders or
        expropriation proceedings, surety or appeal bonds, costs of litigation when
        required by law, public and statutory obligations, and warehousemen’s, storers’,
        repairers’, carriers’ and other similar Liens and deposits;

  (i)   security given to a public utility or any Governmental Authority to secure
        obligations incurred to such utility, municipality, government or other authority in
        the ordinary course of business and not at the time overdue;

  (j)   Liens and privileges arising out of judgments or awards in respect of which: an
        appeal or proceeding for review has been commenced; a stay of execution pending
        such appeal or proceedings for review has been obtained; and reserves have been
        established as reasonably required by the Required Lenders;

  (k)   any Lien arising in connection with the construction or improvement of any Land
        or arising out of the furnishing of materials or supplies therefor, provided that
        such Lien secures moneys not at the time overdue (or if overdue, the validity of
        which is subject to a Permitted Contest), notice of such Lien has not been given to
        the Agent or any Lender and such Lien has not been registered against title to such
        Land;

  (l)   licenses (including licences of intellectual property), leases or subleases granted to
        third parties or Credit Parties in the ordinary course of business which,
        individually or in the aggregate, do not materially interfere with the ordinary
        course of business of the Borrower or any of its Subsidiaries;

  (m)   the filing of UCC or PPSA financing statements (or equivalents thereto in other
        jurisdictions) solely as a precautionary measure in connection with operating
        leases and consignment arrangements;

  (n)   Liens in favor of customs and revenue authorities arising as a matter of law and in
        the ordinary course of business to secure payment of customs duties in connection
        with the importation of goods;

  (o)   Liens arising out of conditional sale, title retention, consignment or similar
        arrangements for the sale of goods entered into by any Credit Party in the ordinary
        course of business;

  (p)   Liens (i) on deposits of cash or Cash Equivalents in favor of the seller of any
        property to be acquired in any Permitted Investment to be applied against the
        purchase price for such Permitted Investment, (ii) consisting of an agreement to
        dispose of any property in a Permitted Disposition and (iii) earnest money
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        deposits of cash or Cash Equivalents made by any Credit Party in connection with
        any letter of intent or purchase agreement permitted hereunder;

  (q)   rights of setoff or bankers’ liens upon deposits of funds in favor of banks or other
        depository institutions or upon securities in favor of securities intermediaries,
        solely to the extent incurred in connection with the maintenance of deposit
        accounts or securities accounts in the ordinary course of business;

  (r)   Minor Title Defects;

  (s)   the Permitted Purchase-Money Security Interests;

  (t)   Liens which are secured solely by assets which are located outside of Canada and
        the U.S. and which are not subject to the Security; provided that the aggregate
        principal amount of Funded Debt or other obligations secured thereby constitutes
        Permitted Funded Debt;

  (u)   Liens as set out in Schedule 1.1.210 and any extension, renewal or replacement
        (or successive extensions, renewals or replacements), as a whole or in part, of
        thereof, so long as any such extension, renewal or replacement of such Lien is
        limited to all or any part of the same property that secured the Lien extended,
        renewed or replaced (plus improvements on such property) and the Funded Debt
        secured thereby is not increased and constitutes Permitted Funded Debt;

  (v)   any Lien from time to time which is consented in writing to by the Required
        Lenders;

  (w)   the Security or any other Liens securing the Obligations;

  (x)   Liens which secure obligations owing under Permitted Funded Debt described in
        clause (c), (d) or (m) of the definition thereof; provided that in the case of such
        clause (m), such Lien does not apply to any of the Collateral; subject to the
        limitation set forth in the proviso at the end of the definition of Permitted Funded
        Debt;

  (y)   Liens securing Funded Debt permitted by clause (k) of the definition of Permitted
        Funded Debt, subject to the limitation set forth in the proviso at the end of the
        definition of Permitted Funded Debt, and existing on any property or asset prior to
        the acquisition thereof by any Credit Party or any Subsidiary or existing on any
        property or asset of any Person that becomes a Subsidiary after the date hereof
        prior to the time such Person becomes a Subsidiary; provided, that (i) such Liens
        do not apply to all of the assets of the acquired Subsidiary generally or to any
        other property or assets of any Credit Party not securing such Funded Debt prior
        to the acquisition of such property or asset and (ii) such Lien shall secure only
        those obligations which it secured on the date of acquisition and extensions,
        renewals and replacements thereof permitted hereunder that do not increase the
        outstanding principal amount thereof; provided further, with respect to Liens in
        connection with Funded Debt that is assumed in connection with an acquisition of
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         assets or equity interests, no such Lien extends to or covers any other assets (other
         than the proceeds or products thereof, accessions or additions thereto and
         improvements thereon) or was created in contemplation of, or in connection with,
         the applicable acquisition of assets or equity interests (except to the extent the
         same is otherwise Permitted Funded Debt);

  (z)    Liens which secure Subordinated Debt permitted hereunder;

  (aa)   Liens arising under a Permitted Factoring Transaction but only to the extent that
         any such Lien relates to the applicable Receivables sold, contributed, financed or
         otherwise conveyed or pledged pursuant to such transaction;

  (bb)   Liens arising under the Encina ABL Loan Agreement but only to the extent that
         any such Lien is and remains subject to the terms of the Encina Intercreditor
         Agreement;

  (cc)   Liens arising under any Anchor Sale and Leaseback Transaction;

  (dd)   Liens on the Receivables of a Securitization SPE sold pursuant to a Permitted
         Securitization Financing (together with any and all related security and ancillary
         rights related thereto which are customary for transactions of such nature) to the
         extent incurred pursuant to a Permitted Securitization Financing; and

  (ee)   any other Liens; provided, that the aggregate principal amount of Funded Debt or
         other obligations secured thereby does not exceed U.S. $3,000,000;5,000,000.

  provided, that the use of the term “Permitted Liens” to describe the foregoing Liens shall
  mean that such Liens are permitted to exist (whether in priority to or subsequent in
  priority to the Security, as determined by Applicable Law); and for greater certainty such
  Liens shall not be entitled to priority over the Security by virtue of being described in this
  Agreement as “Permitted Liens”.

  1.1.211 “Permitted Management Fees” means advisory or management fees payable by
  the Credit Parties to Palladium and Calumet in an aggregate amount not to exceed the
  Annual Management Fee Cap in any Fiscal Year.

  1.1.212 “Permitted Purchase-Money Security Interests” means Purchase-Money
  Security Interests incurred or assumed in connection with the purchase, leasing or
  acquisition of capital equipment in the ordinary course of business; provided, that the
  obligations secured thereby are permitted under clause (e) of the definition of Permitted
  Funded Debt.

  1.1.213 “Permitted Refinancing Indebtedness” shall mean any Funded Debt issued in
  exchange for, or the net proceeds of which are used to extend, refinance, renew, replace,
  defease or refund (collectively, to “Refinance”), the Permitted Funded Debt being
  Refinanced (or previous refinancings thereof constituting Permitted Refinancing
  Indebtedness); provided, that (a) the principal amount (or accreted value, if applicable) of
  such Permitted Refinancing Indebtedness does not exceed the principal amount (or
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  accreted value, if applicable) of the Permitted Funded Debt so Refinanced (plus unpaid
  accrued interest and premium (including tender premiums) thereon and underwriting
  discounts, defeasance costs, fees, commissions and expenses), (b) if the Permitted Funded
  Debt being Refinanced is subordinated in right of payment to the Obligations under this
  Agreement, such Permitted Refinancing Indebtedness shall be subordinated in right of
  payment to such Obligations on terms at least as favorable to the Lenders as those
  contained in the documentation governing the Permitted Funded Debt being Refinanced,
  (c) no Permitted Refinancing Indebtedness shall have different obligors, or greater
  guarantees or security, than the Permitted Funded Debt being Refinanced, unless such
  new obligors are Credit Parties and (d) if the Permitted Funded Debt being Refinanced is
  secured by any collateral (whether equally and ratably with, or junior to, the Lenders or
  otherwise), such Permitted Refinancing Indebtedness may be secured by such collateral
  (including pursuant to after acquired property clauses to the extent such type collateral
  secured the Funded Debt being Refinanced) on terms not materially less favorable to the
  Lenders than those contained in the documentation governing the Permitted Funded Debt
  being so Refinanced.

  1.1.214 “Permitted Securitization Financing” shall mean one or more transactions
  pursuant to which (i) Securitization Assets or interests therein are sold or transferred to or
  financed by one or more Securitization SPE, and (ii) such Securitization SPE finance (or
  refinance) their acquisition of such Securitization Assets or interests therein, or the
  financing thereof, by selling or borrowing against Securitization Assets (including
  conduit and warehouse financings) and any Hedging Agreements entered into in
  connection with such Securitization Assets; provided, that recourse to the Borrowers or
  any Subsidiary (other than the Securitization SPE) in connection with such transactions
  shall be limited to the extent customary (as determined by the Agent and the Canadian
  Borrower each acting reasonably and in good faith and acceptable to the Agent acting
  reasonably) for similar transactions in the applicable jurisdictions (including, to the extent
  applicable, in a manner consistent with the delivery of a “true sale”/“absolute transfer”
  opinion with respect to any transfer by the Borrowers or any Subsidiary (other than a
  Securitization SPE)).

  1.1.215 “Person” includes an individual, corporation, partnership, trust, union,
  unincorporated association, Governmental Authority or any combination of the above.

  1.1.216 “Plan” means a Single Employer Plan or a Multiple Employer Plan.

  1.1.217 “Priority Claims” means, with respect to any Person, any amount payable or
  accrued by such Person which ranks or is capable of ranking prior to or pari passu with
  the Liens created by the Security in respect of any Collateral, including amounts owing
  for wages, vacation pay, severance pay, employee deductions, sales tax, excise tax, tax
  payable pursuant to Part IX of the Excise Tax Act (Canada) (net of GST input credits),
  income tax, employment insurance, unemployment insurance, workers compensation,
  government royalties, pension fund obligations or deficiencies, overdue rents or taxes,
  and other statutory or other claims, deemed trusts or Liens that have or may have priority
  over, or rank pari passu with, the Liens created by the Security. For the avoidance of
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  doubt, no Banking Services Liabilities shall be deemed Priority Claims due to their pari
  passu ranking with the Obligations.

  1.1.218 “Proceeds of Realization”, in respect of the Security or any portion thereof,
  means all amounts received by the Agent and any Lender in connection with:

  (a)    any realization thereof, whether occurring as a result of enforcement or otherwise;

  (b)    any sale, expropriation, loss or damage or other disposition of the Collateral or
         any portion thereof; and

  (c)    the dissolution, liquidation, bankruptcy or winding-up of a Credit Party or any
         other distribution of its assets to creditors,

  and all other amounts which are expressly deemed to constitute “Proceeds of Realization”
  in this Agreement.

  1.1.219 “Project Desert” means the acquisition by the Borrowers or any Material
  Subsidiary of Environmental Solutions for Petroleum Services, an oilfield services
  company with operations in Algeria and Egypt on substantially the same terms and
  conditions set forth in the letter of intent dated as of December 11, 2016, as amended,
  between the Canadian Borrower and Project Desert Egypt.

  1.1.220 “Project Desert Algeria” means Environmental Solutions Algeria S.A.R.L., an
  Algerian company.

  1.1.221 “Project Desert Egypt” means Environmental Solutions for Petroleum Services
  (S.A.E.), an Egyptian company.

  1.1.222 “Project Desert Subsidiaries” means each of Project Desert Egypt and Project
  Desert Algeria.

  1.1.223 “Proportionate Share” means:

  (a)    in the context of any Lender’s obligation to make Advances under all Facilities,
         such Lender’s Commitment to make Advances under all Facilities divided by the
         aggregate amount of all Lenders’ Commitments to make Advances under all
         Facilities;

  (b)    in the context of any Lender’s obligation to make Advances under a Facility, such
         Lender’s Commitment (excluding, as the case may be, the applicable Swingline
         Limit in the case of the Canadian Operating Facility) to make Advances under
         such Facility divided by the aggregate amount of all Lenders’ Commitments
         (excluding, as the case may be, the applicable Swingline Limit in the case of
         Canadian Operating Facility) to make Advances under such Facility;

  (c)    in the context of any Lender’s entitlement to receive a portion of the standby fee
         in respect of Canadian Operating Facility or the U.S. Operating Facility payable
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         pursuant to Section 2.6.1(h) or Section 4.6.1(d), as applicable, such Lender’s
         Commitment (excluding, as the case may be, the applicable Swingline Limit)
         under the applicable Facility to make Advances under Canadian Operating
         Facility or the U.S. Operating Facility divided by the aggregate amount of all such
         Lenders’ Commitments (excluding, as the case may be, the applicable Swingline
         Limit) to make Advances under Canadian Operating Facility or the U.S.
         Operating Facility, as applicable;

  (d)    in the context of any Lender’s entitlement to receive payments of principal,
         interest or fees under all Facilities (other than a portion of the standby fee under
         Canadian Operating Facility or the U.S. Operating Facility), the Outstanding
         Advances due to such Lender under all Facilities divided by the aggregate amount
         of the Outstanding Advances due to all Lenders under all Facilities; and

  (e)    in the context of any Lender’s entitlement to receive payments of principal,
         interest or fees under a Facility (other than a portion of the standby fee under
         Canadian Operating Facility or the U.S. Operating Facility), the Outstanding
         Advances due to such Lender under such Facility divided by the aggregate amount
         of the Outstanding Advances due to all Lenders under such Facility.

  1.1.224 “Purchase-Money Security Interest” means:

  (a)    a Capital Lease; or

  (b)    a Lien on any property or asset which is created, issued or assumed to secure the
         unpaid purchase price thereof, provided that such Lien is restricted to such
         property or asset and secures an amount not in excess of the purchase price thereof
         and any interest and fees payable in respect thereof.

  1.1.225 “QMax Mexico” means QMax Mexico, S.A. de C.V.

  1.1.226 “Qualified ECP Guarantor” means, in respect of any Hedging Agreement,
  each Credit Party that has total assets exceeding $10,000,000 at the time of the grant of
  the relevant Security of such Credit Party to such Hedging Agreement or such other
  Person as constitutes an “eligible contract participant” under the Commodity Exchange
  Act or any regulations promulgated thereunder and can cause another Person to qualify as
  an “eligible contract participant” at such time by entering into a keep well under Section
  1a(18)(A)(v)(II) of the Commodity Exchange Act.

  1.1.227 “Receivables” means and includes, as to the Credit Parties, all of Credit Parties’
  accounts, contract rights, payment intangibles, instruments (other than those evidencing
  indebtedness owed to a Credit Party), documents, chattel paper (including electronic
  chattel paper), general intangibles relating to accounts, drafts and acceptances, and all
  other forms of obligations owing to a Credit Party arising out of or in connection with the
  sale or lease of inventory or for services rendered (including, in the case of Insured
  Receivables, amounts owed with respect to work in progress that are covered by Account
  Receivable Insurance), all supporting obligations, guarantees and other security therefor,
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  whether secured or unsecured, now existing or hereafter created, and whether or not
  specifically sold or assigned to the Agent hereunder.

  1.1.228 “Register” is defined in Section 13.6.5.

  1.1.229 “Regulation T” means Regulation T of the Board of Governors of the Federal
  Reserve System as from time to time in effect and all official rulings and interpretations
  thereunder or thereof.

  1.1.230 “Regulation U” means Regulation U of the Board of Governors of the Federal
  Reserve System as from time to time in effect and all official rulings and interpretations
  thereunder or thereof.

  1.1.231 “Regulation X” means Regulation X of the Board of Governors of the Federal
  Reserve System as from time to time in effect and all official rulings and interpretations
  thereunder or thereof.

  1.1.232 “Related Party” means, with respect to any Person, an Affiliate of such Person,
  a shareholder of such Person (if applicable), or a Person related to or not at arm’s length
  to such Person or holder of shares of such Person, and with respect to the Borrower and
  its Subsidiaries, includes Palladium, the Management Shareholders, the Investors and any
  company or entity controlled directly or indirectly by any one or more of such Persons.

  1.1.233 “Repayment” means a repayment by the Borrower on account of the
  Outstanding Advances under all Facilities or a Facility, as the context requires, other than
  the reduction of an Overdraft (and “Repay” shall have a corresponding meaning).

  1.1.234 “Repayment Notice” means a notice delivered by the Borrower to the Agent
  committing it to make a Repayment, in the form of Exhibit “E”.

  1.1.235 “Required Lenders” means, with the exception of those matters set out in
  Section 11.2 which require the agreement of all Lenders, (a) if there are two or less
  Lenders, all Lenders, (b) if there are three or more Lenders, Lenders holding, in
  aggregate, at least 66⅔% of the Commitments, or (c) during the continuance of an Event
  of Default, Lenders holding at least 66⅔% of the Outstanding Advances under the
  Facilities. The Advances and Commitments of any Defaulting Lender shall be
  disregarded in determining Required Lenders at any time in accordance with Section
  11.5.1(b).

  1.1.236 “Requirements of Environmental Law” means:

  (a)    obligations under common law;

  (b)    requirements imposed by or pursuant to statutes, regulations and by-laws whether
         presently or hereafter in force;

  (c)    directives, policies and guidelines issued or relied upon by any Governmental
         Authority to the extent such directives policies or guidelines have the force of law;
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  (d)    permits, licenses, certificates and approvals issued by Governmental Authorities
         which are required in connection with air emissions, discharges to surface or
         groundwater, noise emissions, solid or liquid waste disposal, the use, generation,
         storage, transportation or disposal of Hazardous Materials; and

  (e)    requirements imposed under any clean-up, compliance or other order made by a
         Governmental Authority pursuant to any of the foregoing,

  in each and every case relating to environmental, health or safety matters including all
  such obligations and requirements which relate to:

         (i)     solid, gaseous or liquid waste generation, handling, treatment, storage,
                 disposal or transportation; and

         (ii)    exposure to Hazardous Materials.

  1.1.237 “Resignation Notice” is defined in Section 11.18.

  1.1.238 “Rollover” means the renewal of an Availment Option upon its maturity in the
  same form.

  1.1.239 “Rollover Notice” means a notice substantially in the form of Exhibit “C” given
  by the Borrower to the Agent for the purpose of requesting a Rollover.

  1.1.240 “Sales Proceeds” is defined in Section 5.3.1(b).

  1.1.241 “Second Amendment Date” means July , 2019.

  1.1.242 1.1.241 “Secured Hedging Liability” means any Hedging Liability under a
  Hedging Agreement entered into between the Canadian Borrower and a Hedge Provider
  permitted by the provisions of Sections 7.2.12 and 7.2.13 and, provided that if a Hedge
  Provider does not have actual knowledge that such Hedging Liability was not permitted
  under such Sections at the time the applicable Hedging Agreement was entered into by
  such Hedge Provider, then such Hedging Liability will be deemed to be a Secured
  Hedging Liability for purposes of Section 8.5.

  1.1.243 1.1.242 “Securitization Assets” shall mean any of the following assets (or
  interests therein) from time to time originated, acquired or otherwise owned by the
  Borrowers or any Subsidiary or in which the Borrowers or any Subsidiary has any rights
  or interests, in each case, without regard to where such assets or interests are located: (a)
  Receivables, (b) franchise fees, royalties and other similar payments made related to the
  use of trade names and other intellectual property, business support, training and other
  services, (c) revenues related to distribution and merchandising of the products of the
  Borrower and its Subsidiaries, (d) any equipment, contractual rights with unaffiliated
  third parties, website domains and associated property and rights necessary for a
  Securitization SPE to operate in accordance with its stated purposes, and (e) other assets
  and property (or proceeds of such assets or property) to the extent customarily included in
  securitization transactions of the relevant type in the applicable jurisdictions (as
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  determined by the Agent and the Canadian Borrower each acting reasonably and in good
  faith).

  1.1.244 1.1.243 “Securitization SPE” means (i) a direct or indirect Subsidiary of any
  Borrower established in connection with a Permitted Securitization Financing for the
  acquisition of Securitization Assets or interests therein, and which is organized in a
  manner (as determined by the Canadian Borrower in good faith) intended to reduce the
  likelihood that it would be substantively consolidated with Holdings, the Borrowers or
  any of the Subsidiaries (other than Securitization SPE) in the event Holdings, the
  Borrowers or any such Subsidiary becomes subject to a proceeding under the U.S.
  Bankruptcy Code (or other insolvency law) and (ii) any subsidiary of a Securitization
  SPE.

  1.1.245 1.1.244 “Security” means all Guarantees, security agreements, mortgages,
  control agreements, pledge agreements, debentures and other documents required to be
  provided to the Agent or the Lenders pursuant to Article 8 and all other documents and
  agreements delivered by the Borrower and other Persons to the Agent for the benefit of
  the Lenders from time to time as security for the payment and performance of the
  Obligations, and the security interests, assignments and Liens constituted by the
  foregoing.

  1.1.246 1.1.245 “Shareholders’ Equity” means, at any time, the shareholders’ equity as
  shown on the consolidated balance sheet of the Canadian Borrower.

  1.1.247 1.1.246 “Single Employer Plan” means a single employer plan, as defined in
  Section 4001(a)(15) of ERISA, that is subject to Title IV of ERISA, and (i) is maintained
  for employees of any Credit Party or any ERISA Affiliate and no Person other than the
  Credit Parties and the ERISA Affiliates or (ii) was so maintained and in respect of which
  any Credit Party or any ERISA Affiliate could have liability under Section 4069 of
  ERISA in the event such plan has been or were to be terminated.

  1.1.248 1.1.247 “Specified Canadian Swingline Borrower” means (i) QMax Canada
  Operations Inc. or (ii) any other Material Subsidiary of the Canadian Borrower that has
  been formed under the laws of Canada or any province thereof as agreed to in writing by
  the Canadian Borrower, the Swingline Lender and the Agent, in their sole and absolute
  discretion.

  1.1.249 1.1.248 “Specified Equity Contribution” is defined in Section 7.3.2.

  1.1.250 1.1.249 “Statutory Lien” means a Lien in respect of any property or assets of a
  Credit Party created by or arising pursuant to any applicable legislation in favour of any
  Person (such as but not limited to a Governmental Authority), including a Lien for the
  purpose of securing such Credit Party’s obligation to deduct and remit employee source
  deductions and goods and services tax pursuant to the Income Tax Act (Canada), the
  Excise Tax Act (Canada), the Canada Pension Plan (Canada), the Employment Insurance
  Act (Canada) and any legislation in any jurisdiction similar to or enacted in replacement
  of the foregoing from time to time.
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  1.1.251 1.1.250 “Subordinated Debt” means any indebtedness of any Credit Party to
  any Person, in respect of which the holder thereof has entered into a subordination and
  postponement agreement in favour of the Agent on behalf of itself and the Lenders,
  substantially in the form of Exhibit “J” for any indebtedness which is governed by
  Applicable Laws of Canada or the U.S., or for any indebtedness governed by other
  Applicable Laws, such other agreement as is reasonably satisfactory to the Required
  Lenders (each, a “Subordination Agreement”) and, to the extent necessary or desirable
  under Applicable Law, registered in all places where necessary or desirable to protect the
  priority of the Security, which shall provide (among other things) that:

  (a)    upon notice of the occurrence and continuance of an Event of Default hereunder,
         the holder of such indebtedness may not receive payments on account of principal
         or interest thereon;

  (b)    any security held in respect of such indebtedness is subordinated to the Security;
         and

  (c)    the holder of such indebtedness may not take any enforcement action in respect of
         any such security without the prior written consent of the Agent (except to the
         extent, if any, expressly permitted therein).

  1.1.252 1.1.251 “Subordination Agreement” is defined in the definition of
  Subordinated Debt.

  1.1.253 1.1.252 “Subsidiary” means any Person of which more than 50% of the
  outstanding Voting Securities are owned, directly or indirectly by or for a Credit Party,
  provided that the ownership of such securities confers the right to elect at least a majority
  of the board of directors of such Person, or a majority of Persons serving similar roles,
  and includes any legal entity in like relationship to a Subsidiary.

  1.1.254 1.1.253 “Surviving Colombian Credit Agreements” means the following
  agreements by and between QMAX Solutions Colombia, as borrower: (i) revolving credit
  agreement with Helm Bank, as lender, dated as of October 6, 2009; (ii) common terms
  agreement for the execution of derivatives with Banco Corpobanca Colombia S.A., as
  lender, dated as of April 19, 2013; and (iii) common terms agreement for the execution of
  derivatives with Banco de Bogotá S.A., as lender, dated as of May 5, 2009; (iv) line of
  credit agreement with BBVA Colombia, as lender, dated as of December 3, 2012; and (v)
  line of credit agreement with Bancolombia dated January 20, 2010; in each case up to the
  respective maximum facility amounts set forth in Schedule 1.1.2531.1.254 (each as
  amended, restated, supplemented, waived, replaced, (whether or not upon termination,
  and whether with the original agents, lenders, or otherwise), restructured, repaid,
  refunded, refinanced or otherwise modified from time to time, including any agreement
  refinancing, replacing or otherwise restructuring all or any portion of the indebtedness
  thereunder or increasing the amount loaned thereunder or altering the maturity thereof),
  subject to clause (d) of the definition of Permitted Funded Debt.

  1.1.255 1.1.254 “Swingline” is defined in Section 2.7.1.
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  1.1.256 1.1.255 “Swingline Borrower” is defined in Section 2.7.1.

  1.1.257 1.1.256 “Swingline Lender” means HSBC.

  1.1.258 1.1.257 “Swingline Limit” means $10,000,000 or the Equivalent Amount in
  Cdn. $, or any combination thereof.

  1.1.259 1.1.258 “Swingline Loan” means any Advance made available to the Borrower
  by the Swingline Lender outstanding from time to time under the Swingline.

  1.1.260 1.1.259 “Syndicated Advance” means any Advance under the Canadian
  Operating Facility that is not a Swingline Loan.

  1.1.261 1.1.260 “Taxes” is defined in Section 12.4.1.

  1.1.262 1.1.261 “Term Facility” is defined in Section 3.1.

  1.1.263 1.1.262 “Term Facility Commitment” means, as the context requires, (a)
  collectively with respect to all Term Lenders, in the aggregate as of the Second
  Amendment and Restatement Date, U.S. $13,656,250,10,071,250, as otherwise increased
  or decreased pursuant to this Agreement and (b) means, with respect to each individual
  Term Lender, the individual commitment amount of such Lender in the maximum
  principal amount indicated opposite such Term Lender’s name in Exhibit “A” under the
  heading “Term Facility Commitments”, as amended from time to time.

  1.1.264 1.1.263 “Term Lenders” means the Lenders who have provided a Commitment
  under the Term Facility as set forth in Exhibit “A”.

  1.1.265 1.1.264 “Terra” means Terra Oilfield Solutions, LLC, a Delaware limited
  liability company.

  1.1.266 1.1.265 “Terra Acquisition” means the purchase of all of the membership
  interests of Terra pursuant to the Terra Purchase Agreement.

  1.1.267 1.1.266 “Terra Purchase Agreement” means the Membership Interest Purchase
  Agreement dated July 15, 2018 by and between Q’Max America Inc., as purchaser, and
  OFS Commander LLC, a Delaware limited liability company, as seller, as the same may
  be amended, restated or otherwise modified from time to time.

  1.1.268 1.1.267 “Total Net Debt” means, in respect of the Credit Parties and
  determined on a combined basis and without duplication, all interest bearing indebtedness
  for borrowed money, Capital Leases, the drawn and unreimbursed amount outstanding
  under all letters of credit, letters of guarantee and surety bonds to the extent not cash
  collateralized (excluding performance bonds provided by insurers), mark to market
  liabilities on Hedging Agreements, bankers’ acceptances and similar instruments,
  indebtedness secured by a Lien, redemption and mandatory dividend obligations with
  respect to a Credit Party’s shares that are redeemable or convertible into debt at a fixed
  time at the option of the holder thereof or upon the occurrence of a condition within the
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  1.1.276 “U.S. Dollar Base Rate Loan” means an Advance made by a Lender in Canada
  to the Borrower by way of a direct loan in U.S. Dollars, but excluding Advances in the
  form of a LIBOR Loan.

  1.1.277 “U.S. Dollar LIBOR Rate” means, at any time, the LIBOR Rate applicable to
  LIBOR Loans denominated in U.S. Dollars determined at such time.

  1.1.278 “U.S. Dollar Prime Rate Loan” means an Advance in U.S. Dollars bearing
  interest at a fluctuating rate determined by reference to the U.S. Prime Rate.

  1.1.279 “U.S. Dollars” or “U.S. $” means the lawful money of the U.S.

  1.1.280 “U.S. Operating Facility” is defined in Section 4.1.

  1.1.281 “U.S. Operating Facility Commitment” means, as the context requires, (a)
  collectively with respect to all U.S. Operating Lenders, in the aggregate as of the
  Amendment and Restatement Date, U.S. $15,000,000, as otherwise increased or
  decreased pursuant to this Agreement and (b) means, with respect to each individual U.S.
  Operating Lender, the individual commitment amount of such Lender in the maximum
  principal amount indicated opposite such U.S. Operating Lender’s name in Exhibit “A”
  under the heading “U.S. Operating Facility Commitments”, as amended from time to
  time.

  1.1.282 “U.S. Operating Facility Limit” means the lesser of (a) the U.S. Operating
  Facility Commitment, and (b) the sum of the Borrowing Base less the then outstanding
  Advances under the Term Facility and the Canadian Operating Facility.

  1.1.283 “U.S. Operating Lenders” means the Lenders who have provided a
  Commitment under the U.S. Operating Facility as set forth in Exhibit “A”.

  1.1.284 “U.S. Prime Rate” means, for any day, the rate per annum from time to time
  announced by HSBC US as its prime rate in effect at its principal office in New York
  City. The U.S. Prime Rate is a reference rate and does not necessarily represent the lowest
  or best rate actually charged to any customer. HSBC US may make commercial loans or
  other loans at rates of interest at, above or below the U.S. Prime Rate. Any change in the
  U.S. Prime Rate shall take effect at the opening of business on the day specified in the
  public announcement of such change.

  1.1.285 “Voting Securities” means securities of capital stock of any class of any
  corporation, partnership units in the case of a partnership, trust units in the case of a trust,
  or other evidence of ownership serving similar purposes, carrying voting rights under all
  circumstances, provided that, for the purposes of this definition, shares which only carry
  the right to vote conditionally on the happening of an event will not be considered Voting
  Securities, whether or not such event will have occurred, nor will any securities be
  deemed to cease to be Voting Securities solely by reason of a right to vote accruing to
  securities of another class or classes by reason of the happening of such event.

  1.1.286 “Wells Fargo” means Wells Fargo Bank, National Association.
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        1.1.287 “Wells Fargo Credit Agreement” means the Credit and Security Agreement to
        be dated on or after the Amendment and Restatement Date, by and among ADF SPV,
        LLC, as the borrower, Anchor, as the servicer, and Wells Fargo, as lender and collateral
        agent, as may be amended, restated, supplemented, replaced or otherwise modified from
        time to time.

        1.1.288 “Wells Fargo Letter” means that certain letter to be dated as of the date of the
        Wells Fargo Credit Agreement between HSBC, as administrative agent, and Wells Fargo,
        as lender and collateral agent (to be in form and substance satisfactory to the Agent,
        acting reasonably), as the same may be amended, restated or otherwise modified from
        time to time.

        1.1.289 “Withdrawal Liability” has the meaning specified in Part I of Subtitle E of
        Title IV of ERISA.

        1.1.290 “Year-end Financial Statements” in respect of any Person means the audited
        consolidated financial statements of such Person prepared in accordance with GAAP,
        including the notes thereto, in respect of its most recently completed Fiscal Year.

1.2     Accounting Principles

        Except as otherwise expressly provided herein, all accounting terms, principles and
calculations applicable to the Facilities and this Agreement will be interpreted, applied and
calculated, as the case may be, in accordance with GAAP. If, after the date of this Agreement,
there shall occur any change in GAAP or change in the accounting method under GAAP that are
different from those used in the historical preparation of the financial statements, including any
change by reason of any change in the rules, regulations, pronouncements, opinions or other
requirements of the Canadian Institute of Chartered Accountants (or any successor thereto or
agency with similar function), including the adoption of International Financial Reporting
Standards, that are different from those used in the preparation of the financial statements
delivered pursuant to Section 7.4 and such change shall result in a change in the method of
calculation of any financial covenant, ratio, standard or term found in this Agreement, including
the treatment of operating and capital leases, either the Canadian Borrower or the Required
Lenders may by notice to the Agent and the Canadian Borrower, respectively, require that the
Lenders and the Canadian Borrower negotiate in good faith to amend such covenants, ratios,
standards, and terms so as equitably to reflect such change in accounting principles, with the
desired result being that the criteria for evaluating the financial condition of the Canadian
Borrower and its Subsidiaries shall be the same as if such change had not been made. No delay
by the Canadian Borrower or the Required Lenders in requiring such negotiation shall limit their
right to so require such a negotiation at any time after such a change in accounting principles.
Until any such covenant, ratio, standard or term is amended in accordance with this Section 1.2,
financial covenants shall be computed and determined in accordance with GAAP in effect prior
to such change in accounting principles.

1.3     Currency References

        All amounts referred to in this Agreement are in U.S. Dollars unless otherwise noted.
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1.4      References to Statutes

        Whenever in this Agreement reference is made to a statute or regulations made pursuant
to a statute, such reference shall, unless otherwise specified, be deemed to include all
amendments to such statute or regulations from time to time and all statutes or regulations which
may come into effect from time to time substantially in replacement for the said statutes or
regulations.

1.5      Extended Meanings

        Terms defined in the singular have the same meaning when used in the plural, and
vice-versa. When used in the context of a general statement followed by a reference to one or
more specific items or matters, the term “including” shall mean “including, without limitation”,
and the term “includes” shall mean “includes, without limitation”. Any reference herein to the
exercise of discretion by the Agent or the Lenders (including phrases such as “in the discretion
of”, “in the opinion of”, “to the satisfaction of” and similar phrases) shall mean that such
discretion is absolute and unfettered and shall not imply any obligation to act reasonably, unless
otherwise expressly stated herein.

1.6      Headings

        Headings, subheadings and the table of contents contained in the Credit Documents are
inserted for convenience of reference only, and will not affect the construction or interpretation
of the Credit Documents.

1.7      Subdivisions

       Unless otherwise stated, reference herein to a Schedule or to an Article, Section,
paragraph or other subdivision is a reference to such Schedule to this Agreement or such Article,
Section, paragraph or other subdivision of this Agreement. Unless specified otherwise, reference
in Schedule “A” to a Schedule or to an Article, Section, paragraph or other subdivision is a
reference to such Schedule or Article, Section, paragraph or other subdivision of this Agreement.

1.8      Number

        Wherever the context in the Credit Documents so requires, a term used herein importing
the singular will also include the plural and vice versa.

1.9      Time

         Time will be of the essence of the Credit Documents.

1.10     Amendments

      No Credit Document may be amended orally and, subject to Sections 1.11(a) and 11.2,
any amendment may only be made by way of an instrument in writing signed by the Parties.
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1.11     No Waiver

         (a)   No waiver by a Party of any provision or of the breach of any provision of the
               Credit Documents will be effective unless it is contained in a written instrument
               duly executed by an authorized officer or representative of such Party. Such
               written waiver will affect only the matter specifically identified in the instrument
               granting the waiver and will not extend to any other matter, provision or breach.

         (b)   The failure of a Party to take any steps in exercising any right in respect of the
               breach or non fulfilment of any provision of the Credit Documents will not
               operate as a waiver of that right, breach or provision, nor will any single or partial
               exercise of any right preclude any other or future exercise of that right or the
               exercise of any other right, whether in Law or otherwise.

         (c)   Acceptance of payment by a Party after a breach or non fulfilment of any
               provision of the Credit Documents requiring a payment to such Party will
               constitute a waiver of such provision if cured by such payment, but will not
               constitute a waiver or cure of any other provision of the Credit Documents.

1.12     Inconsistency

       To the extent that there is any inconsistency or ambiguity between the provisions of this
Agreement and any other Credit Document, the provisions of this Agreement will govern to the
extent necessary to eliminate such inconsistency or ambiguity. For greater certainty, a provision
of this Agreement and a provision of another Credit Document shall be considered to be
inconsistent if both relate to the same subject-matter and the provision in one such document
imposes more onerous obligations or restrictions than the corresponding provision in the other.

1.13     Pro Forma Adjustments

        For purposes of making computations of the Net Leverage Ratio and the Fixed Charge
Coverage Ratio herein, if any applicable Person or makes any Permitted Acquisitions, mergers,
amalgamations, consolidations, dispositions of assets or divisions or the Canadian Borrower
makes any adjustments to the Capital Expenditure budget (each a “relevant transaction”) during
the reference period applicable to such computation shall be calculated on a pro forma basis
assuming that all such relevant transactions (and the change in EBITDA resulting therefrom) had
occurred on the first day of such reference period. If since the beginning of such reference period
any Person that subsequently became a Subsidiary or was merged with or into the Borrower or
any of its Subsidiaries since the beginning of such period shall have consummated any relevant
transactions that would have required adjustment pursuant to this definition, then the Net
Leverage Ratio shall be calculated giving pro forma effect thereto for such reference period as if
such relevant transaction had occurred at the beginning of the applicable reference period.

        For purposes of this Section 1.13, whenever pro forma effect is to be given to a
transaction, the pro forma calculations shall be made in good faith by a responsible financial or
accounting officer of the Canadian Borrower and may include, without duplication, cost savings,
operating expense reductions, restructuring charges and expenses and cost-saving synergies
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resulting from such acquisition or other relevant transaction, in each case in a manner acceptable
to the Required Lenders, acting reasonably.

1.14     Joint and Several Liability of Borrowers

       Notwithstanding anything else set forth in the Credit Documents to the contrary, each of
the Borrowers agrees and confirms to the Agent and Lenders that the liabilities and obligations of
the Borrowers under this Agreement and the other Credit Documents are joint and several as
between each Borrower.

1.15     Deemed Action by all Borrowers

       All consents, waivers, notices and other action required, made, given to or received by the
Borrowers under this Agreement or any of the other Credit Documents will be deemed to be
required, made, given or received by all of the Borrowers if required, made, given or received by
one or more of the Borrowers. If a representation, certification or other statement under this
Agreement or any of the other Credit Documents is made by one Borrower, or to the knowledge
of one Borrower, it will be deemed to be made by all Borrowers, or the knowledge of all
Borrowers, as applicable.

1.16     Amendment and Restatement

        The Borrowers, the Agent and the Lenders agree that effective on the Amendment and
Restatement Date, this Agreement is an amendment and restatement of the Existing Credit
Agreement and is not a novation of the Existing Credit Agreement. As a consequence, the
obligations, indebtedness and liabilities outstanding under the Existing Credit Agreement
(including any existing letters of credit thereunder which will be deemed to be Letters of Credit
issued by the applicable Issuing Bank under the corresponding Facility hereunder) shall
constitute obligations, indebtedness and liabilities hereunder governed by the terms hereof and
shall continue to be secured by the Security. Such obligations, indebtedness and liabilities shall
be continuing in all respects, and this Agreement shall not be deemed to evidence or result in a
novation of such obligations, indebtedness and liabilities or a repayment and reborrowing of such
obligations, indebtedness and liabilities. The Existing Credit Agreement has been amended and
restated solely for the purposes of reflecting amendments to the Existing Credit Agreement
which the Lenders, the Agent and the Borrowers have agreed upon. All references to the “Credit
Agreement” contained in the Credit Documents delivered prior to the effectiveness of this
Agreement shall be references to this Agreement without further amendment to those Credit
Documents. The Borrowers confirm that each of the Credit Documents otherwise remains in full
force and effect. All deliverables made under the Existing Credit Agreement shall be deemed to
have been delivered under this Agreement. Each Lender authorizes the Agent to take all actions
and make such adjustments as are reasonably necessary to give effect to the foregoing.
Notwithstanding the foregoing or any other term hereof, all of the applicable continuing
covenants, representations and warranties on the part of the Borrowers under the Existing Credit
Agreement and all of the claims and causes of action arising against the Borrowers in connection
therewith, in respect of all matters, events, circumstances and obligations arising or existing prior
to the Amendment and Restatement Date shall continue, survive and shall not be merged in the
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execution of this Agreement or any other Credit Documents or any advance or provision of any
Loan hereunder.

1.17     Exhibits and Schedules

        The following exhibits and schedules are attached to this Agreement and incorporated
herein by reference:

         Exhibit “A”        –     Lenders and Lenders’ Commitments
         Exhibit “B”        –     Form of Drawdown Request
         Exhibit “C”        –     Form of Rollover Notice
         Exhibit “D”        –     Form of Conversion Notice
         Exhibit “E”        –     Form of Repayment Notice
         Exhibit “F”        –     Form of Compliance Certificate
         Exhibit “G”        –     Form of Assignment Agreement
         Exhibit “H”        –     Form of Borrowing Base Certificate
         Exhibit “I”        –     Form of Designation Notice
         Exhibit “J”        –     Form of Subordination Agreement
         Schedule 1.1.205   –     Existing Permitted Funded Debt
         Schedule 1.1.210   –     Existing Permitted Liens
         Schedule           –     Surviving Colombian Credit Agreements
         1.1.2531.1.254
         Schedule 6.1.2     –     Corporate Information
         Schedule 6.1.3     –     Subsidiaries
         Schedule 6.1.5     –     Consents and Approvals Required
         Schedule 6.1.8     –     Material Permits
         Schedule 6.1.10    –     Leased Properties
         Schedule 6.1.11    –     Intellectual Property
         Schedule 6.1.12    –     Insurance Policies
         Schedule 6.1.13    –     Material Agreements
         Schedule 6.1.14    –     Labour Matters
         Schedule 6.1.15    –     Environmental Matters
         Schedule 6.1.16    –     Litigation
         Schedule 6.1.17    –     Pension Plans
         Schedule 6.1.23    –     Taxes
         Schedule 6.1.33    –     Eligible Approved Contracts
         Schedule 7.2.3     –     Investments
         Schedule 7.2.6     –     Transactions with Affiliates
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         Schedule 9.1        – Post-Closing Schedule

1.18     Covenant Relief Period

       The Borrowers may, by providing an irrevocable written notice to the Agent, terminate
the Covenant Relief Period, which notice shall specify the date on which the Covenant Relief
Period is to end; provided that, such termination date shall not be retroactive to a date that
precedes such notice.

                                     ARTICLE 2
                            CANADIAN OPERATING FACILITY

2.1      Establishment of Canadian Operating Facility

        Subject to the terms and conditions in this Agreement, each Canadian Operating Lender
hereby establishes a committed, revolving credit facility in favour of the Canadian Borrower in
the maximum principal amount indicated opposite such Canadian Operating Lender’s name in
Exhibit “A” under the heading “Canadian Operating Facility Commitments”. Such credit facility
in the maximum aggregate principal amount of the Canadian Operating Facility Limit are
established by the Canadian Operating Lenders severally and not jointly, and are hereinafter
collectively referred to as “Canadian Operating Facility”. Each Advance by a Canadian
Operating Lender under the Canadian Operating Facility shall be made by such Canadian
Operating Lender in its Proportionate Share of the Canadian Operating Facility. If the Canadian
Operating Facility Limit is at any time less than the Canadian Operating Facility Commitment,
then each Canadian Operating Lender’s obligation to provide Advances under the Canadian
Operating Facility will be reduced accordingly on a pro rata basis.

2.2      Purpose

       Advances under the Canadian Operating Facility shall be used by the Canadian Borrower
to fund working capital needs and for general corporate purposes, including Permitted
Acquisitions (other than a Hostile Acquisition and the Terra Acquisition).

2.3      Revolving Nature

        The Canadian Operating Facility shall be a revolving facility. For greater certainty, the
Borrower shall, subject to the terms of this Agreement, be entitled to obtain Advances under the
Canadian Operating Facility from time to time and repay all or any portion of the Outstanding
Advances under the Canadian Operating Facility from time to time; provided, that the
Outstanding Advances under the Canadian Operating Facility at any time shall not exceed the
Canadian Operating Facility Limit in effect at such time. If at any time and for whatever reason
the Outstanding Advances under the Canadian Operating Facility exceed the Canadian Operating
Facility Limit then in effect, the Canadian Borrower shall, within two Business Days of receipt of
a written notice from the Agent, pay to the Agent the principal amount required to reduce the
Outstanding Advances under the Canadian Operating Facility to an amount not greater than the
Canadian Operating Facility Limit then in effect.
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2.4     Repayment

        The Obligations under the Canadian Operating Facility shall become due and payable on
the earlier of: (i) the Acceleration Date; and (ii) the Facilities Maturity Date.

2.5     Availment Options

        2.5.1   Subject to the restrictions contained in this Section 2.5 and elsewhere in this
        Agreement (and in particular, Sections 5.4 and 5.5), the Canadian Borrower may receive
        Advances under the Canadian Operating Facility by any one or more of the following
        Availment Options (or any combination thereof) in minimum amounts and multiples as
        provided in Section 5.5:

        (a)    Overdrafts in Canadian Dollars or U.S. Dollars (but only under the Swingline);

        (b)    Letters of Credit in Canadian Dollars or U.S. Dollars (but only under the
               Swingline);

        (c)    Canadian Dollar Prime Rate Loans;

        (d)    U.S. Dollar Base Rate Loans;

        (e)    Bankers’ Acceptances from the BA Lenders in Canadian Dollars only with a
               maturity of 30, 60, 90 or 180 days, subject to availability;

        (f)    BA Equivalent Loans from the Non-BA Lenders in Canadian Dollars only with a
               maturity of 30, 60, 90 or 180 days, subject to availability; or

        (g)    LIBOR Loans in U.S. Dollars, with a LIBOR Period of 30, 60, 90 or 180 days,
               subject to availability.

        2.5.2     Bankers’ Acceptances, BA Equivalent Loans and LIBOR Loans under the
        Canadian Operating Facility will not be issued with a maturity date later than the
        Facilities Maturity Date.

        2.5.3    The Canadian Borrower may Convert Outstanding Advances under the Canadian
        Operating Facility in the form of any above Availment Option applicable to it into
        another form of Availment Option in the same currency, subject to and in accordance
        with the terms and conditions of this Agreement (but for greater certainty, Bankers’
        Acceptances, BA Equivalent Loans, LIBOR Loans and Letters of Credit may not be
        converted into another Availment Option prior to the maturity thereof, except in the case
        of unexpired Letter of Credits by the return of the original thereof to the Swingline
        Lender for cancellation).

2.6     Interest and Fees

        2.6.1  In respect of Advances under the Canadian Operating Facility, the Canadian
        Borrower agrees to pay the following:
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  (a)   interest on Overdrafts in Canadian Dollars and interest on Canadian Dollar Prime
        Rate Loans at the Canadian Prime Rate plus the Applicable Margin per annum,
        payable monthly in arrears on the last Business Day of such month;

  (b)   in respect of each Letter of Credit issued under the Canadian Operating Facility:

        (i)    to the Swingline Lender in respect of the period from the date of issuance
               of such Letter of Credit to the date of expiry of such Letter of Credit
               (including the first day but excluding the last day) and divided by 365 or
               366 days, as the case may be, a fee equal to the Applicable Margin in
               effect at the time of issuance multiplied by the face amount of such Letter
               of Credit multiplied by the number of days in such period and divided by
               365 or 366 days, as the case may be, payable on the date of issuance of
               such Letter of Credit; and

        (ii)   in respect of each Letter of Credit, in addition to the fees referred to in
               clause (i) immediately above, fees generally applicable to Letters of Credit
               from time to time (such as issuance, drawing, registration, amendment,
               communication and other processing and out of pocket fees) at the
               Swingline Lender’s usual rates, payable to the Swingline Lender for its
               own account,

        and each fee referred to in this Section in respect of a Letter of Credit shall be paid
        in the same currency as the currency of such Letter of Credit;

  (c)   in respect of each Bankers’ Acceptance, a stamping fee equal to the Applicable
        Margin multiplied by the face amount of the Bankers’ Acceptance with the
        product thereof further multiplied by the number of days to maturity of the
        Bankers’ Acceptance and divided by 365 or 366 days, as the case may be, payable
        at the time of acceptance (and for greater certainty, in addition to paying the said
        stamping fee, the Canadian Borrower acknowledges that the proceeds received
        upon the issuance of such Bankers’ Acceptance will be less than the face amount
        payable to the holder of such Bankers’ Acceptance on the maturity thereof, as
        more particularly provided in Section 5.10);

  (d)   in respect of each BA Equivalent Loan, a stamping fee equal to the Applicable
        Margin multiplied by the face amount of the BA Equivalent Loan with the product
        thereof further multiplied by the number of days to maturity of the BA Equivalent
        Loan and divided by 365 or 366 days, as the case may be, payable at the time of
        acceptance (and for greater certainty, in addition to paying the said stamping fee,
        the Canadian Borrower acknowledges that the proceeds received upon the
        issuance of such BA Equivalent Loan will be less than the principal amount of
        such BA Equivalent Loan on the maturity thereof, as more particularly provided in
        Section 5.12);

  (e)   interest on Overdrafts in U.S. Dollars and interest on U.S. Dollar Base Rate Loans
        at the U.S. Base Rate plus the Applicable Margin per annum, payable monthly in
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               arrears on the last day of each and every month (provided, that if the last day of
               any month is not a Business Day, interest shall be payable on the next Business
               Day thereafter);

        (f)    interest on LIBOR Loans in U.S. Dollars at the U.S. Dollar LIBOR Rate plus the
               Applicable Margin per annum calculated on the basis of a year of 360 days,
               payable in the manner set out in Section 5.13.2;

        (g)    a standby fee with respect to the unused portion of the Canadian Operating
               Facility (other than the Swingline), calculated in U.S. Dollars on a daily basis as
               being the difference between (i) the Canadian Operating Facility Commitment less
               the Swingline Limit and (ii) the Outstanding Advances under that portion of the
               Canadian Operating Facility other than the Swingline, multiplied by the
               Applicable Margin and divided by 365 or 366 days, as the case may be, which
               standby fee shall be payable quarterly in arrears on the last day of each Fiscal
               Quarter;

        (h)    a standby fee with respect to the Swingline payable to the Agent for the account of
               the Swingline Lender, calculated in U.S. Dollars on a daily basis as being the
               difference between (i) the Swingline Limit and (ii) the Outstanding Advances
               under the Swingline, multiplied by the Applicable Margin and divided by 365 or
               366 days, as the case may be, which standby fee shall be payable quarterly in
               arrears on the last day of each Fiscal Quarter; and

        (i)    such fees payable to the Agent as may be agreed in writing from time to time
               between the Canadian Borrower and the Agent relating to any Banking Services
               Agreements and related services which may be provided by the Agent for the
               Canadian Borrower from time to time.

        2.6.2    With respect to any Availment Option under the Canadian Operating Facility,
        “Applicable Margin” means, in respect of any Fiscal Quarter, the percentage in the
        column relating to such Availment Option which corresponds to the Net Leverage Ratio
        as determined pursuant to Section 5.1.4.

2.7     Swingline

        2.7.1    A portion of the Canadian Operating Facility in the maximum amount of the
        Swingline Limit is hereby designated as the “Swingline” and shall be subject to the terms
        and conditions in this Section 2.7 (in addition to any other applicable terms and
        conditions contained in this Agreement). The Swingline shall be available to each of the
        Canadian Borrower and the Specified Canadian Swingline Borrower (collectively the
        “Swingline Borrowers”).

        2.7.2    The Swingline shall be established and maintained by the Swingline Lender
        only. Either Swingline Borrower may only receive Advances under the Swingline by way
        of Overdrafts, LIBOR Loans, Bankers’ Acceptances or the issuance of Letters of Credit,
        in each case (other than with respect to Bankers’ Acceptances), in Canadian Dollars or
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  U.S. Dollars. The aggregate amount owing under the Swingline may at no time exceed
  the Swingline Limit and the aggregate principal amount outstanding under the Swingline
  plus the other Outstanding Advances under the Canadian Operating Facility shall at no
  time exceed the Canadian Operating Facility Limit. The total number of Bankers’
  Acceptances and LIBOR Loans outstanding under the Swingline shall not exceed fifteen
  at any time.

  2.7.3    The Swingline shall form a part of the Canadian Operating Facility and, except
  for the purpose of calculating the Canadian Operating Facility standby fee, any Swingline
  Loan shall reduce availability under the Canadian Operating Facility on a dollar for dollar
  basis.

  2.7.4    The Swingline Lender will make Advances to the Swingline Borrowers under
  the Swingline by way of (a) Canadian Dollar Overdraft into Canadian Dollar accounts, or
  U.S. Dollar Overdraft into U.S. Dollar accounts, in each case held at a branch of the
  Agent and as designated by either Swingline Borrower from time to time as required in
  order to honour cheques drawn by either Swingline Borrower on such accounts which are
  presented to the Swingline Lender for payment, (b) the issuance of Letters of Credit in
  Canadian Dollars or U.S. Dollars or (c) LIBOR Loans or Bankers’ Acceptances. Other
  than in respect of Letters of Credit, LIBOR Loans or Bankers’ Acceptances, no
  Drawdown Request or minimum amount shall be required in connection therewith and
  each Swingline Loan shall be on a dollar for dollar basis (i.e. not subject to multiples). As
  deposits are made into such accounts by the applicable Swingline Borrower, the
  Swingline Lender shall withdraw funds from such accounts from time to time and apply
  such funds as Repayments under the Swingline; provided, that the foregoing shall not
  apply to any Swingline Loans made by way of issuance of a Letter of Credit, LIBOR
  Loan or Bankers’ Acceptance. No notice of repayment shall be required to be given by
  the Canadian Borrower in respect of any such repayment of any Swingline Loan (other
  than in respect of LIBOR Loans or Bankers’ Acceptances). The Swingline Borrowers
  authorize and direct the Swingline Lender, in its discretion, to automatically debit, by
  mechanical, electronic or manual means, the bank accounts of the Swingline Borrowers
  maintained by it for any amounts (including principal, interest or fees) that are due and
  payable under this Section 2.7.

  2.7.5     Letters of Credit may be issued under the Swingline in Canadian Dollars or U.S.
  Dollars (or such other currencies as may be agreed to by the Swingline Lender); provided,
  that the Equivalent Amount expressed in U.S. Dollars (or such other currency, if
  applicable) of the aggregate face amount of all Letters of Credit outstanding under the
  Swingline at any time may not exceed U.S. $10,000,000. Each Letter of Credit shall have
  an expiry date not exceeding the earlier of (a) one year from the date of issuance thereof
  (subject to any customary auto-renewal terms contained in such Letter of Credit;
  provided, that such auto-renewal provisions do not provide for a renewal in the singular
  instance in excess of one year from the date of such renewal), and (b) five Business Days
  prior to the Facilities Maturity Date. Letters of Credit will not be issued for the purpose of
  guaranteeing obligations of any Person other than a Credit Party. On the date of issue, the
  Swingline Lender will complete and issue one or more Letters of Credit in favour of the
  beneficiary as specified by the applicable Swingline Borrower in its Drawdown Request.
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  No Letter of Credit shall require payment against a conforming draft to be made
  thereunder on the same Business Day upon which such draft is presented, if such
  presentation is made after 11:00 a.m. (Toronto time) on such Business Day. Prior to the
  issue date, the applicable Swingline Borrower shall specify a precise description of the
  documents and the verbatim text of any certificate to be presented by the beneficiary prior
  to payment under the Letter of Credit. The Swingline Lender may require changes in any
  such documents or certificate, acting reasonably. In determining whether to pay under a
  Letter of Credit, the Swingline Lender shall be responsible only to determine that the
  documents and certificates required to be delivered under such Letter of Credit have been
  delivered and that they comply on their face with the requirements of such Letter of
  Credit. Sections 4.7.2, 4.7.3, 4.7.4 and 4.7.6 shall apply to Letters of Credit issued under
  the Swingline mutatis mutandis as if the Swingline Lender was the Issuing Bank.

  2.7.6    If the Canadian Borrower requests a Syndicated Advance and the Swingline
  Lender’s Proportionate Share of such Syndicated Advance would cause its Proportionate
  Share of all Syndicated Advances under the Canadian Operating Facility then outstanding
  together with the aggregate outstanding principal amount of all Swingline Loans to
  exceed the Swingline Lender’s Commitment under the Canadian Operating Facility, then
  the Canadian Borrower shall be required to repay such Swingline Loans (or to convert the
  same into a Syndicated Advance in accordance with Section 2.7.7) to the extent of such
  excess on or before the requested date of such Syndicated Advance; provided, that the
  foregoing shall not apply to any Swingline Loans made by way of issuance of a Letter of
  Credit.

  2.7.7     Notwithstanding anything to the contrary herein contained, the Canadian
  Borrower may at any time give notice to the Swingline Lender and the Agent, which
  notice shall direct a Conversion of any outstanding Swingline Loan into a Syndicated
  Advance (other than by way of issuance of a Letter of Credit) and shall specify the
  particulars of such Swingline Loans, and the Agent shall forthwith provide a copy of such
  notice to the Canadian Operating Lenders and, effective on the effective date of such
  notice, the Canadian Borrower shall be deemed to have requested a Conversion of such
  Swingline Loan into a Syndicated Advance (whether or not it was the actual borrower
  under such Swingline Loan) and in an amount sufficient to repay the relevant Swingline
  Loan and accrued and unpaid interest in respect thereof. Subject to the same notice period
  set out in Section 5.4, each Canadian Operating Lender shall disburse to the Agent for
  payment to the Swingline Lender its respective Proportionate Share of such amounts and
  such amounts shall thereupon be deemed to have been advanced by such other Canadian
  Operating Lenders to the Canadian Borrower and to constitute Syndicated Advances by
  way of Canadian Dollar Prime Rate Loans or U.S. Dollar Base Rate Loans, as applicable.
  Such Syndicated Advances shall be deemed to be comprised of principal and accrued and
  unpaid interest in the same proportions as the corresponding Swingline Loans.

  2.7.8    Upon the occurrence and any time during the continuance of an Event of
  Default, the Canadian Operating Lenders shall make such adjusting payments amongst
  themselves in any manner as may be required to ensure their respective participations in
  outstanding Advances under the Canadian Operating Facility reflect their respective
  Proportionate Share under the Canadian Operating Facility. If any Swingline Loans (other
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  than by way of Letters of Credit) are outstanding, the Swingline Lender may at any time
  in its sole and absolute discretion, on behalf of either Swingline Borrower (which hereby
  irrevocably directs and authorizes the Swingline Lender to make such request on its
  behalf), request that each Canadian Operating Lender, through the Agent, make a
  Canadian Dollar Prime Rate Loan or U.S. Dollar Base Rate Loan, as applicable, to the
  Canadian Borrower (whether or not it was the actual borrower under such Swingline
  Loan) in an amount equal to the Lender’s Proportionate Share of the principal amount of
  such Swingline Loan outstanding on the date such notice is given (in this Section, the
  “Refunded Swingline Loans”), provided that the provisions of this clause shall not
  affect the applicable Swingline Borrower’s obligation to repay the Swingline Loans to the
  extent they remain outstanding. Each Canadian Operating Lender will make the proceeds
  of any such Canadian Dollar Prime Rate Loan or U.S. Dollar Base Rate Loan, as
  applicable, available to the Swingline Lender on the Business Day next following the date
  such notice is given in immediately available funds. The proceeds of such a Canadian
  Dollar Prime Rate Loan or U.S. Dollar Base Rate Loan shall be applied by the Swingline
  Lender to the payment in full of the Refunded Swingline Loans.

  2.7.9     In the event of any request for a drawing under any Letter of Credit, the
  Swingline Lender may notify the applicable Swingline Borrower (with a copy of the
  notice to the Agent) on or before the date on which it intends to honour such drawing.
  The applicable Swingline Borrower (whether or not such notice is given) shall reimburse
  the Swingline Lender within two Business Days of demand by the Swingline Lender, in
  the relevant currency, an amount, in same day funds, equal to the amount of such drawing
  (in this Section, an “LC Payment”). The applicable Swingline Borrower shall pay to the
  Swingline Lender interest on the amount of any such drawn Letter of Credit as if such
  drawn amount was a Canadian Dollar Prime Rate Loan or U.S. Dollar Base Rate Loan, as
  applicable, from the date such Letter of Credit is drawn upon until such time as the
  applicable Swingline Borrower reimburses the Swingline Lender for the drawn amount of
  such Letter of Credit. If the applicable Swingline Borrower does not reimburse the
  Swingline Lender within such two Business Days, the Canadian Operating Lenders shall,
  on the third Business Day following the date of such initial demand on the applicable
  Swingline Borrower by the Swingline Lender, at the request of the Swingline Lender,
  provide its Proportionate Share of the amount drawn under any such Letter of Credit and
  the Agent shall apply the proceeds thereof to the reimbursement of the Swingline Lender
  for the amount of such drawing. The applicable Swingline Borrower shall pay to
  Canadian Operating Lenders interest on the amount of any such drawn Letter of Credit
  from the date the Swingline Lender requests payment from each of Canadian Operating
  Lenders in respect of such drawn Letter of Credit until such time as the Canadian
  Borrower reimburses the Swingline Lender and each of Canadian Operating Lenders for
  the drawn amount of such Letter of Credit which has been drawn upon as if such drawn
  amount was a Canadian Dollar Prime Rate Loan or U.S. Dollar Base Rate Loan, as
  applicable. Each Canadian Operating Lender acknowledges and agrees that its obligation
  to acquire participations in each Letter of Credit issued by the Swingline Lender and its
  obligation to make the payments specified herein, and the right of the Swingline Lender
  to receive the same, in the manner specified herein, are absolute and unconditional and
  shall not be affected by any circumstance whatsoever, including the occurrence and
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        continuance of a Default or Event of Default hereunder, and that each such payment shall
        be made without any offset, abatement, withholding or reduction whatsoever.

        2.7.10 The obligations of each Canadian Operating Lender under Sections 2.7.8 and
        2.7.9 are unconditional, shall not be subject to any qualification or exception whatsoever
        and shall be performed in accordance with the terms and conditions of this Agreement
        under all circumstances including:

        (a)    any lack of validity or enforceability of the applicable Swingline Borrower’s
               obligations under this Section 2.7;

        (b)    the occurrence of any Default or Event of Default or the exercise of any rights by
               the Agent under the Credit Documents;

         (c)    whether the Borrower under a Swingline loan was the Canadian Borrower or the
                                 Specified Canadian Swingline Borrower; and

        (d)    the absence of any demand for payment being made, any proof of claim being
               filed, any proceeding being commenced or any judgment being obtained by any
               Lender against any Credit Party.

        2.7.11 For certainty, it is hereby acknowledged and agreed that the Canadian Operating
        Lenders shall be obligated to disburse to the Agent for payment to the Swingline Lender
        their respective Proportionate Shares of any Syndicated Advances contemplated in this
        Section 2.7 regardless of:

        (a)    whether a Default or Event of Default has occurred or is then continuing or
               whether any other condition in Section 9.2 is met;

        (b)    whether or not the Canadian Borrower has, in fact, actually requested such
               Conversion; and

        (c)    whether or not a Person was a Canadian Operating Lender at the time the
               applicable Swingline Loan was made.

        2.7.12 Notwithstanding any other terms of this Section 2.7, this Agreement or any other
        Loan Document, the Canadian Borrower shall be jointly and severally liable with the
        Specified Canadian Swingline Borrower for all obligations and indebtedness arising out
        of any Swingline Loan advanced by the Swingline Lender to the Specified Canadian
        Swingline Borrower.

2.8     Accordion - Increase in the Canadian Operating Facility Commitment Amount

        2.8.1   The Canadian Borrower may at any time and from time to time (a) with the
        consent of the Agent and the Swingline Lender add additional financial institutions
        hereunder, as Canadian Operating Lenders or, (b) with the consent of the
        applicable Canadian Operating Lender, the Agent and the Swingline Lender,
        increase the individual Canadian Operating Facility Commitment of such Canadian
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  Operating Lender, and, in each case, thereby increase the Canadian Operating
  Facility Commitment; provided, that at the time of any such addition or increase:

               (A)    no Default or Event of Default has occurred and is continuing
                      or would result therefrom and the Agent has received a
                      certificate from the Borrower confirming the same;

               (B)    the aggregate amount of all increases to the Canadian
                      Operating Facility Commitment pursuant to this Section 2.8.1
                      shall not exceed $10,000,000;

               (C)    the aggregate of the U.S. Operating Facility Commitment and
                      the Canadian Operating Facility Commitment (as increased)
                      does not at any time exceed $144,681,471;

               (D)    the Agent and the Swingline Lender have each consented to
                      such Canadian Operating Lender increasing its Canadian
                      Operating Facility Commitment, each such consent not to be
                      unreasonably withheld or delayed;

               (E)    (i) the Canadian Operating Facility Commitment increased
                      pursuant to this Section 2.8.1 and (ii) the individual Canadian
                      Operating Facility Commitment of any new financial
                      institution being added as a Lender pursuant to this Section
                      2.8.1, shall in each case be no less than $2,500,000;

               (F)    concurrently with the addition of a financial institution as an
                      additional Canadian Operating Lender or the increase of a
                      Canadian Operating Lender’s Canadian Operating Facility
                      Commitment, such financial institution or Canadian Operating
                      Lender, as the case may be, shall purchase from each
                      Canadian Operating Lender, such portion of the Outstanding
                      Advances owed to each Canadian Operating Lender under the
                      Canadian Operating Facility as is necessary to ensure that the
                      Outstanding Advances owed to all Canadian Operating
                      Lenders and including therein such additional financial
                      institution and the increased Canadian Operating Facility
                      Commitment of any Canadian Operating Lender, as
                      applicable, are in accordance with the Lender’s Proportionate
                      Shares of all such Canadian Operating Lenders (including the
                      new financial institution and the increased Canadian
                      Operating Facility Commitment of any Lender) and such
                      financial institution shall execute such documentation as is
                      required by the Agent, acting reasonably, to novate such
                      financial institution as a Canadian Operating Lender
                      hereunder; provided that with respect to any portion of such
                      Outstanding Advances which is outstanding by way of
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                            Bankers’ Acceptance, the new financial institution or such
                            Canadian Operating Lender shall provide an indemnity to the
                            other Lenders (provided that no such indemnity may exceed
                            one month in duration unless agreed to by all of the affected
                            Lenders) in order to ensure such Bankers’ Acceptances are
                            outstanding in accordance with the new Proportionate Shares;
                            and

                     (G)    the Canadian Borrower has provided to the Agent a certified
                            copy of a directors’ resolution of the Canadian Borrower
                            authorizing any such increase in the Canadian Operating
                            Facility Commitment (which may be the original directors’
                            resolution authorizing the credit facility hereunder) together
                            with (i) an acknowledgement and confirmation agreement in
                            respect of Security from each Credit Party formed under the
                            laws of Canada, the U.S. or any province or state thereof and
                            (ii) a legal opinion with respect each Credit Party formed
                            under the laws of Canada, the U.S. or any province or state
                            thereof, in each case in form and substance satisfactory to the
                            Agent, acting reasonably;

        provided, in the case of any Canadian Operating Lender which is requested to
        provide an increase to its Canadian Operating Facility Commitment, (i) each
        Canadian Operating Lender shall notify the Agent within the time period specified
        in the Agent’s notice of such increase to such Canadian Operating Lender (which
        shall in no event be less than ten Business Days from the date of delivery of such
        notice to the Canadian Operating Lenders) whether or not it agrees to increase its
        Canadian Operating Facility Commitment and by what amount; (ii) any Canadian
        Operating Lender not responding within such time period shall be deemed to have
        declined to increase its Canadian Operating Facility Commitment; and (iii) in no
        event shall any existing Canadian Operating Lender be required to increase its
        Canadian Operating Facility Commitment.

                                       ARTICLE 3
                                     TERM FACILITY

3.1     Establishment of the Term Facility

        Subject to the terms and conditions in this Agreement, each Term Lender hereby
establishes a committed non-revolving reducing term credit facility in favour of the Canadian
Borrower in the maximum principal amount indicated opposite such Term Lender’s name in
Exhibit “A” under the heading “Term Facility Commitments”. Such credit facility in the
maximum aggregate principal amount of the Term Facility Commitment is established by the
Term Lenders severally and not jointly, and is hereinafter referred to as the “Term Facility”.
Each Advance by a Term Lender under the Term Facility shall be made by such Term Lender in
its Proportionate Share of the Term Facility.
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3.2     Purpose

        Advances to partially finance the purchase price of certain Acquisitions.

3.3     Nature

        The Term Facility shall be a non-revolving facility, and any Repayment under the Term
Facility may not be re-borrowed. As of the Amendment and Restatement Date, no new Advances
are available under the Term Facility.

3.4     Repayment

        3.4.1     The Obligations under the Term Facility shall become due and payable on the
        earlier of: (a) the Acceleration Date; and (b) the Facilities Maturity Date.

        3.4.2    The Canadian Borrower shall make Repayments under the Term Facility in
        quarterly installments on the last day of each Fiscal Quarter (and if the last day of a Fiscal
        Quarter is not a Business Day, such payment shall be due on the next Business Day) of
        U.S. $1,195,000 in each case, payable on the last Business Day of each such Fiscal
        Quarter.; provided, however, that no such Repayment shall be required under this
        Section 3.4.2 with respect to the Fiscal Quarters ending June 30, 2019, September
        30, 2019 and December 31, 2019.

        3.4.3    Each Repayment under the Term Facility shall be applied to the Term Lenders
        holding such Loans pro rata based upon their Proportionate Share thereof and the Term
        Facility Commitment shall be reduced by the amount of each such Repayment.

3.5     Availment Options

        3.5.1    Subject to the restrictions contained in this Section 3.5, the Canadian Borrower
        may receive Advances under the Term Facility by way of (and may convert Outstanding
        Advances under the Term Facility into) any one or more of the following Availment
        Options (or any combination thereof) in minimum amounts and multiples as provided in
        Section 5.5:

        (a)      Canadian Dollar Prime Rate Loans;

        (b)      Bankers’ Acceptances from the BA Lenders in Canadian Dollars only with a
                 maturity date of 30, 60, 90 or 180 days, subject to availability;

        (c)      BA Equivalent Loans from the Non-BA Lenders in Canadian Dollars only with a
                 maturity date of 30, 60, 90 or 180 days, subject to availability;

        (d)      U.S. Dollar Base Rate Loans; or

        (e)      LIBOR Loans in U.S. Dollars only with a LIBOR Period of 30, 60, 90 or 180
                 days, subject to availability.
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        3.5.2     Bankers’ Acceptances, BA Equivalent Loans and LIBOR Loans under the Term
        Facility may not be converted into another Availment Option prior to the maturity
        thereof, and may not be issued with a maturity date later than the Facilities Maturity Date.

3.6     Interest and Fees

        3.6.1    In respect of Advances under the Term Facility, the Canadian Borrower agrees
        to pay the following:

        (a)    interest on Canadian Dollar Prime Rate Loans at the Canadian Prime Rate plus the
               Applicable Margin per annum, payable monthly in arrears on the first Business
               Day of the next month;

        (b)    in respect of each Bankers’ Acceptance, a stamping fee equal to the Applicable
               Margin multiplied by the face amount of the Bankers’ Acceptance with the
               product thereof further multiplied by the number of days to maturity of the
               Bankers’ Acceptance and divided by 365 or 366 days, as the case may be, payable
               at the time of acceptance (and for greater certainty, in addition to paying the said
               stamping fee, the Canadian Borrower acknowledges that the proceeds received
               upon the issuance of such Bankers’ Acceptance will be less than the face amount
               payable to the holder of such Bankers’ Acceptance on the maturity thereof, as
               more particularly provided in Section 5.10);

        (c)    in respect of each BA Equivalent Loan, a stamping fee equal to the Applicable
               Margin multiplied by the face amount of the BA Equivalent Loan with the product
               thereof further multiplied by the number of days to maturity of the BA Equivalent
               Loan and divided by 365 or 366 days, as the case may be, payable at the time of
               acceptance (and for greater certainty, in addition to paying the said stamping fee,
               the Canadian Borrower acknowledges that the proceeds received upon the
               issuance of such BA Equivalent Loan will be less than the principal amount of
               such BA Equivalent Loan on the maturity thereof, as more particularly provided in
               Section 5.12);

        (d)    interest on U.S. Dollar Base Rate Loans at the U.S. Base Rate plus the Applicable
               Margin per annum, payable monthly in arrears on the first Business Day of the
               next month; and

        (e)    interest on LIBOR Loans in U.S. Dollars at the U.S. Dollar LIBOR Rate plus the
               Applicable Margin per annum calculated on the basis of a year of 360 days,
               payable in the manner set out in Section 5.13.2.

        3.6.2    With respect to any Availment Option under the Term Facility, “Applicable
        Margin” means, in respect of any Fiscal Quarter, the percentage in the column relating to
        such Availment Option which corresponds to the Net Leverage Ratio as determined
        pursuant to Section 5.1.4.
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                                        ARTICLE 4
                                U.S. OPERATING FACILITY

4.1     Establishment of U.S. Operating Facility

       Subject to the terms and conditions in this Agreement, each U.S. Operating Lender
hereby establishes a committed, revolving credit facility in favour of the U.S. Borrower in the
maximum principal amount indicated opposite such U.S. Operating Lender’s name in Exhibit
“A” under the heading “U.S. Operating Facility Commitments”. Such credit facility in the
maximum aggregate principal amount of the U.S. Operating Facility Limit are established by the
U.S. Operating Lenders severally and not jointly, and are hereinafter collectively referred to as
the “U.S. Operating Facility”. Each Advance by a U.S. Operating Lender under the U.S.
Operating Facility shall be made by such U.S. Operating Lender in its Proportionate Share of the
U.S. Operating Facility.

4.2     Purpose

        Advances under the U.S. Operating Facility shall be used by the U.S. Borrower to fund
working capital needs and for general corporate purposes including the Permitted Acquisitions
(other than a Hostile Acquisition and the Terra Acquisition).

4.3     Revolving Nature

        The U.S. Operating Facility shall be a revolving facility. For greater certainty, the U.S.
Borrower shall, subject to the terms of this Agreement, be entitled to obtain Advances by way of
U.S. Dollar Prime Rate Loans, LIBOR Loans or Letters of Credit in U.S. Dollars under the U.S.
Operating Facility from time to time and repay all or any portion of the Outstanding Advances
under the U.S. Operating Facility from time to time; provided, that the Outstanding Advances
under the U.S. Operating Facility at any time shall not exceed the U.S. Operating Facility
Commitment in effect at such time. If at any time and for whatever reason the Outstanding
Advances under the U.S. Operating Facility exceed the U.S. Operating Facility Commitment then
in effect, the U.S. Borrower shall, within two Business Days of receipt of a written notice from
the Agent, pay to the Agent the principal amount required to reduce the Outstanding Advances
under the U.S. Operating Facility to an amount not greater than the U.S. Operating Facility
Commitment then in effect.

4.4     Repayment

        The Obligations under the U.S. Operating Facility shall become due and payable on the
earlier of: (i) the Acceleration Date; and (ii) the Facilities Maturity Date.

4.5     Availment Options

        4.5.1   Subject to the restrictions contained in this Section 4.5 and elsewhere in this
        Agreement (and in particular, Sections 5.4 and 5.5), the U.S. Borrower may receive
        Advances under the U.S. Operating Facility by any one or more of the following
        Availment Options (or any combination thereof) in minimum amounts and multiples as
        provided in Section 5.5:
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        (a)    Letters of Credit in U.S. Dollars;

        (b)    U.S. Dollar Prime Rate Loans; or

        (c)    LIBOR Loans in U.S. Dollars, with a LIBOR Period of 30, 60, 90 or 180 days,
               subject to availability.

        4.5.2    LIBOR Loans under the U.S. Operating Facility will not be issued with a
        maturity date later than the Facilities Maturity Date.

        4.5.3     The U.S. Borrower may convert Outstanding Advances under the U.S. Operating
        Facility in the form of any above Availment Option applicable to it into another form of
        Availment Option in the same currency, subject to and in accordance with the terms and
        conditions of this Agreement (but for greater certainty, LIBOR Loans and Letters of
        Credit may not be converted into another Availment Option prior to the maturity thereof,
        except in the case of unexpired Letter of Credits by the return of the original thereof to
        the Issuing Bank for cancellation).

4.6     Interest and Fees

        4.6.1    In respect of Advances under the U.S. Operating Facility, the U.S. Borrower
        agrees to pay the following:

        (a)    interest on U.S. Dollar Prime Rate Loans in U.S. Dollars at the U.S. Prime Rate
               plus the Applicable Margin per annum, payable monthly in arrears on the last day
               of each and every month (provided, that if such day is not a Business Day, interest
               shall be payable on the next Business Day thereafter);

        (b)    interest on LIBOR Loans in U.S. Dollars at the U.S. Dollar LIBOR Rate plus the
               Applicable Margin per annum calculated on the basis of a year of 360 days,
               payable in the manner set out in Section 5.13.2;

        (c)    in respect of each Letter of Credit issued under the U.S. Operating Facility:

               (i)    to the Agent for the account of the U.S. Operating Lenders in respect of
                      the period from the date of issuance of such Letter of Credit to the date of
                      expiry of such Letter of Credit (including the first day but excluding the
                      last day) and divided by 360 days, a fee equal to the Applicable Margin in
                      effect at the time of issuance multiplied by the face amount of such Letter
                      of Credit multiplied by the number of days in such period and divided by
                      360 days, payable on the date of issuance of such Letter of Credit; and

               (ii)   in respect of each Letter of Credit, in addition to the fees referred to in
                      Section 4.6.1(c), fees generally applicable to Letters of Credit from time to
                      time (such as issuance, drawing, registration, amendment, communication
                      and other processing and out of pocket fees) at the Issuing Bank’s usual
                      rates, payable to the Issuing Bank for its own account.
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               Each fee referred to in this Section in respect of a Letter of Credit shall be paid in
               U.S. Dollars; and

        (d)    an unused commitment fee with respect to the unused portion of the U.S.
               Operating Facility calculated in U.S. Dollars on a daily basis as being the
               difference between (i) the U.S. Operating Facility Commitment and (ii) the
               Outstanding Advances under the U.S. Operating Facility, multiplied by the
               Applicable Margin and divided by 360 days which standby fee shall be payable
               quarterly in arrears on the last day of each Fiscal Quarter.

        4.6.2    With respect to any Availment Option under the U.S. Operating Facility,
        “Applicable Margin” means, in respect of any Fiscal Quarter, the percentage in the
        column relating to such Availment Option which corresponds to the Net Leverage Ratio
        as determined pursuant to Section 5.1.4.

4.7     Letters of Credit

        4.7.1    Letters of Credit may be issued under the U.S. Operating Facility in U.S. Dollars
        (or such other currencies as may be agreed to by the Agent and by the applicable Issuing
        Bank); provided, that the Equivalent Amount expressed in U.S. Dollars of the aggregate
        face amount of all Letters of Credit outstanding under the U.S. Operating Facility at any
        time may not exceed U.S. $5,000,000. Each Letter of Credit shall have an expiry date not
        exceeding the earlier of (a) one year from the date of issuance thereof (subject to any
        customary auto-renewal terms contained in such Letter of Credit; provided, that such
        auto-renewal provisions do not provide for a renewal in the singular instance in excess of
        one year from the date of such renewal), and (b) five Business Days prior to the Facilities
        Maturity Date.

        4.7.2    Each request for the issuance of a Letter of Credit shall be delivered by the U.S.
        Borrower to the Issuing Bank (with a copy to the Agent) in accordance with the notice
        requirements set out in Section 5.4 herein, together with Issuing Bank’s customary form
        of application and indemnity agreement completed to its satisfaction and the proposed
        form of the Letter of Credit (which shall be satisfactory to the Issuing Bank) and such
        other certificates, documents and other papers and information as the Issuing Bank may
        reasonably request.

        4.7.3     On the date of issue, the Issuing Bank will complete and issue one or more
        Letters of Credit in favour of the beneficiary as specified by the U.S. Borrower in its
        Drawdown Request. No Letter of Credit shall require payment against a conforming draft
        to be made thereunder on the same Business Day upon which such draft is presented, if
        such presentation is made after 11:00 a.m. (New York time) on such Business Day. Prior
        to the issue date, the U.S. Borrower shall specify a precise description of the documents
        and the verbatim text of any certificate to be presented by the beneficiary prior to payment
        under the Letter of Credit. The Issuing Bank may require changes in any such documents
        or certificate, acting reasonably. In determining whether to pay under a Letter of Credit,
        the Issuing Bank shall be responsible only to determine that the documents and
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  certificates required to be delivered under such Letter of Credit have been delivered and
  that they comply on their face with the requirements of such Letter of Credit.

  4.7.4     In the event of any request for a drawing under any Letter of Credit, the Issuing
  Bank may notify the U.S. Borrower (with a copy of the notice to the Agent) on or before
  the date on which it intends to honour such drawing. The U.S. Borrower (whether or not
  such notice is given) shall reimburse the Issuing Bank within one Business Day of
  demand by the Issuing Bank, an amount, in same day funds, equal to the amount of such
  drawing. The U.S. Borrower shall pay to the Issuing Bank interest on the amount of any
  such drawn Letter of Credit as if such drawn amount was a U.S. Dollar Prime Rate Loan
  from the date such Letter of Credit is drawn upon until such time as the U.S. Borrower
  reimburses the Issuing Bank for the drawn amount of such Letter of Credit. If the U.S.
  Borrower does not reimburse the Issuing Bank within such two Business Days, U.S.
  Operating Lenders shall, on the third Business Day following the date of such initial
  demand on the U.S. Borrower by the Issuing Bank, at the request of the Issuing Bank,
  provide its Proportionate Share of the amount drawn under any such Letter of Credit and
  the Agent shall apply the proceeds thereof to the reimbursement of the Issuing Bank for
  the amount of such drawing. The U.S. Borrower shall pay to U.S. Operating Lenders
  interest on the amount of any such drawn Letter of Credit from the date the Issuing Bank
  requests payment from each of U.S. Operating Lenders in respect of such drawn Letter of
  Credit until such time as the U.S. Borrower reimburses the Issuing Bank and each of U.S.
  Operating Lenders for the drawn amount of such Letter of Credit which has been drawn
  upon as if such drawn amount was a U.S. Dollar Base Rate Loan. Each U.S. Operating
  Lender acknowledges and agrees that its obligation to acquire participations in each
  Letter of Credit issued by the Issuing Bank and its obligation to make the payments
  specified herein, and the right of the Issuing Bank to receive the same, in the manner
  specified herein, are absolute and unconditional and shall not be affected by any
  circumstance whatsoever, including the occurrence and continuance of a Default or Event
  of Default hereunder, and that each such payment shall be made without any offset,
  abatement, withholding or reduction whatsoever.

  4.7.5    The Issuing Bank shall notify each the Agent of the principal amount, the
  number, and the expiration date of each Letter of Credit and upon receipt of such
  information, the Agent shall notify each U.S. Operating Lender of the amount of such
  U.S. Operating Lender’s participation therein. The Issuing Bank shall review each draft
  and any accompanying documents presented under a Letter of Credit and shall notify the
  Agent of any such presentment and upon receipt of such information, the Agent shall
  notify each U.S. Operating Lender of such presentment.

  4.7.6     The Issuing Bank shall not be obligated to issue any Letter of Credit (i) in
  violation of any Applicable Law or policy of such Issuing Bank or any Lender or (ii) if
  any order, judgment or decree of any Governmental Authority or arbitrator shall by its
  terms purport to enjoin or restrain the Issuing Bank from issuing such Letter of Credit.
  The Issuing Bank shall not at any time be obligated to issue any Letter of Credit if such
  issuance would conflict with, or cause the Issuing Bank to exceed any limits imposed by,
  this Agreement or any applicable requirements of Applicable Law or any regulatory or
  internal limit.
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                                       ARTICLE 5
                                   GENERAL CONDITIONS

5.1     Matters relating to Interest and Fees

        5.1.1    Unless otherwise indicated, Interest on any outstanding principal amount
        hereunder shall be calculated daily and shall be payable monthly in arrears on the last day
        of each and every month. If the last day of a month is not a Business Day, the Interest
        payment due on such day shall be made on the next Business Day, and Interest shall
        continue to accrue on the said principal amount and shall also be paid on such next
        Business Day. Interest shall accrue from and including the day upon which an Advance is
        made or is deemed to have been made, and ending on but excluding the day on which
        such Advance is repaid or satisfied. Any change in the Canadian Prime Rate shall cause
        an immediate adjustment of the interest rate applicable to Canadian Dollar Prime Rate
        Loans and Overdrafts in Canadian Dollars and any change in the U.S. Base Rate shall
        cause an immediate adjustment of the interest rate applicable to U.S. Dollar Base Rate
        Loans and Overdrafts in U.S. Dollars, in each case without the necessity of any notice to
        any Borrower.

        5.1.2     Unless otherwise stated, in this Agreement if reference is made to a rate of
        Interest, fee or other amount “per annum” or a similar expression is used, such interest,
        fee or other amount shall be calculated on the basis of a year of 365 or 366 days (or 360
        days in the case of Loans or Letters of Credit denominated in U.S. Dollars), as the case
        may be. If the amount of any Interest, fee or other amount is determined or expressed on
        the basis of a period of less than one year of 365 days or 366 days (or 360 days in the case
        of Loans denominated in U.S. Dollars), as the case may be, the equivalent yearly rate is
        equal to the rate so determined or expressed, divided by the number of days in the said
        period, and multiplied by the actual number of days in that calendar year.

        5.1.3    Notwithstanding any other provisions of this Agreement:

        (a)     the Borrowers and the Lenders intend to strictly comply with all Applicable Laws,
                including applicable usury laws (or the usury laws of any jurisdiction whose usury
                laws are deemed to apply to this Agreement and the other Credit Documents
                despite the intention and desire of the parties to apply the usury laws of the
                Province of Alberta and the federal laws applicable therein);

        (b)     in no event shall any Borrower or any other Person be obligated to pay, or any
                Lender have any right or privilege to reserve, receive or retain, (a) any interest in
                excess of the maximum amount of nonusurious interest permitted under the laws
                of the Province of Alberta the federal laws of Canada applicable therein, or the
                Applicable Laws of any other jurisdiction, or (b) total interest in excess of the
                amount which such Lender could lawfully have contracted for, reserved, received,
                retained or charged had the interest been calculated for the full term of the
                applicable Loan; and
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  (c)    if the amount of any interest, premium, fees or other monies or any rate of interest
         stipulated for, taken, reserved or extracted under the Credit Documents would
         otherwise contravene the provisions of Section 347 of the Criminal Code
         (Canada), Section 8 of the Interest Act (Canada) or any successor or similar
         legislation (including any usury law in the U.S.), or would exceed the amounts
         which any Lender is legally entitled to charge and receive under any law to which
         such compensation is subject, then such amount or rate of interest shall be reduced
         to such maximum amount as would not contravene such provision; and to the
         extent that any excess has been charged or received such Lender shall apply such
         excess against the Outstanding Advances and refund any further excess amount to
         the applicable Borrower.

  As used in this Section 5.1.3, the term “interest” includes the aggregate of all charges,
  fees, benefits or other compensation which constitute interest under Applicable Law;
  provided, that, to the maximum extent permitted by Applicable Law, (a) any
  non-principal payment shall be characterized as an expense or as compensation for
  something other than the use, forbearance or detention of money and not as interest, and
  (b) all interest at any time contracted for, reserved, charged or received shall be
  amortized, prorated, allocated and spread, using the actuarial method, during the full term
  of the Facilities. The daily interest rates to be used in calculating interest for the purposes
  of this Section 5.1.3 shall be determined by dividing the applicable interest rate per
  annum by the number of days in the calendar year for which such calculation is being
  made. None of the terms and provisions contained in this Agreement or in any other
  Credit Document which directly or indirectly relate to interest shall ever be construed
  without reference to this Section 5.1.3, or be construed to create a contract to pay for the
  use, forbearance or detention of money at any interest rate in excess of the amounts
  permitted under any Applicable Law.

  The provisions of this Section shall govern and control over every other provision of this
  Agreement or any other Credit Document which conflicts or is inconsistent with this
  Section 5.1.3.

  5.1.4    Any change in the Applicable Margin in respect of any Availment Option under
  a Facility shall be determined in accordance with this Section. For purposes of this
  Section, the term “Pricing Date” means, for any Fiscal Quarter of the Canadian Borrower
  ending on or after the Amendment and Restatement Date, the date on which the Agent is
  in receipt of the financial statements and Compliance Certificate pursuant to Section
  7.4.1(b) or Section 7.4.1(d), as applicable, for such Fiscal Quarter. The Applicable
  Margin shall be established on a Pricing Date based on the Net Leverage Ratio as of the
  end of the most recently completed Fiscal Quarter and the Applicable Margin established
  on a Pricing Date shall remain in effect until the next Pricing Date. If the financial
  statements and Compliance Certificate are delivered before 10:00 a.m. Toronto time on a
  specific Business Day (the “Specific Business Day”) then pricing will be adjusted
  starting on the Specific Business Day. If the financial statements and Compliance
  Certificate are received after 10:00 a.m. Toronto time on the Specific Business Day then
  any pricing adjustment will be effective on the next Business Day. If the Canadian
  Borrower has not delivered its financial statements and Compliance Certificate by the
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        date such financial statements and Compliance Certificate are required to be delivered
        pursuant to Section 7.4.1(b) or Section 7.4.1(d), as applicable, then until such financial
        statements and Compliance Certificate are delivered, the Applicable Margin shall be
        based on Level VI. The Applicable Margin established by such financial statements shall
        be in effect from the Pricing Date that occurs immediately after the end of the Fiscal
        Quarter covered by such financial statements until the next Pricing Date; provided, that
        no changes will be made in respect of any Bankers’ Acceptances or BA Equivalent Loans
        which are outstanding on the effective date, until the Rollover thereof and fees paid on
        the issuance or renewal of a Letter of Credit will not change during the term of a Letter of
        Credit as a result of a change in the Net Leverage Ratio.

        5.1.5   The determination of the Applicable Margin by the Agent shall be conclusive
        and binding on the Borrowers and the Lenders if reasonably determined, absent manifest
        error.

        5.1.6     Effective upon the occurrence of an Event of Default (the “effective date”), the
        interest rates then applicable to all Availment Options will each increase by 200 basis
        points and such increase will remain in effect for as long as such Event of Default
        subsists. An increase in interest rates and fees as aforesaid arising from an Event of
        Default shall apply to all outstanding Advances under the Facilities and will on the
        effective date apply proportionately to each outstanding Advance during the continuance
        of such Event of Default. The Borrowers will pay to the Agent on behalf of the Lenders
        any resulting increase in stamping fees and Letter of Credit fees on or prior to the third
        Business Day following the effective date. In addition to the conditions set forth above,
        the Lenders’ obligation to provide any Advances under any Facility, other than Rollovers
        or Conversions of then maturing Advances (in each case not to exceed a 30 day term),
        will be suspended for as long as there exists an Event of Default.

        5.1.7      If the Canadian Borrower has delivered a Compliance Certificate that is
        subsequently found to be inaccurate in any way as a result of the Canadian Borrower’s
        financial results having to be restated or if the Canadian Borrower’s financial results were
        inaccurately reflected in the original financial results on which such Compliance
        Certificate was based or for any other reason and the result thereof is that the Net
        Leverage Ratio was originally reported as lower (and the corresponding Level in the
        Applicable Margin table was lower) than it otherwise would have been in the absence of
        such inaccuracy or prior to such restatement, then the Borrowers will, immediately upon
        the correction of such inaccuracy or upon such restatement, pay to the Agent for the
        benefit of the applicable Lenders an amount equal to the interest, Letter of Credit fees,
        stamping fees in respect of Bankers’ Acceptances and standby fees that the Lenders
        should have received, but did not receive, over the applicable period had the Net
        Leverage Ratio, and the underlying components thereof, been reported correctly in the
        first instance.

5.2     Voluntary Prepayments

       Subject to Section 5.15, the Borrowers may from time to time, without payment of any
penalty or fee, upon at least two Business Days’ prior written notice to the Agent make a
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prepayment in respect of any Outstanding Advances under any of the Facilities. In the case of
Term Facility, the Term Facility Commitment shall be automatically and permanently reduced by
the amount of any such prepayment. Notwithstanding the foregoing, Bankers’ Acceptances, BA
Equivalent Loans and LIBOR Loans may not be repaid prior to the maturity thereof (except in
accordance with Sections 5.11 and 5.14, as applicable) and unexpired Letter of Credits may not
be prepaid prior to the maturity thereof (except by the return of the original thereof to the Issuing
Bank or Swingline Lender, as applicable, for cancellation or by the collateralization thereof in the
manner set forth in Section 5.16(f)). Prepayments under the Facilities other than under the
Swingline shall be in a minimum principal amount of U.S. $500,000 and integral multiples of
U.S. $100,000 in excess thereof and shall be applied as directed by the Borrowers to the
remaining payments thereof. Any prepayments under the Term Facility shall be made in inverse
order of maturity.

5.3     Mandatory Prepayments

        5.3.1    If any Credit Party receives cash proceeds, or net cash proceeds in the case of
        clauses (a), (b) and (c) below, from:

        (a)    a transaction after the Amendment and Restatement Date involving the creation or
               incurrence of any Funded Debt (other than Permitted Funded Debt), and
               notwithstanding any Default or Event of Default that results therefrom;

        (b)    transactions involving the sale, lease or other disposition of any assets (other than
               transactions described in clauses (a) through (d) inclusive and (f) through (j)
               inclusive of Section 7.2.4), except where such proceeds are reinvested in the
               business of any Credit Party within the applicable time period permitted in
               accordance with Section 5.3.2 (the “Sales Proceeds”); or

        (c)    property, casualty or other insurance proceeds received by any Credit Party,
               except where such proceeds are reinvested in the business of any Credit Party
               within the applicable time period permitted in accordance with Section 5.3.2 (the
               “Insurance Proceeds”); and/or

        (d)    Specified Equity Contribution (other than the Specified Equity Contribution
               deemed to be made on the Second Amendment Date);

        then, subject to Sections 5.3.2 and 8.6, the Borrowers shall make a Repayment on account
        of the Outstanding Advances in an amount equal to 100% of such proceeds, or net cash
        proceeds in the case of clauses (a), (b) and (c) above, within three Business Days (i) after
        such proceeds are received by the applicable Credit Party in the case of clauses (a) and (d)
        above, (ii) within three Business Days of the expiry of the applicable reinvestment period
        set out in Section 5.3.2 after such proceeds are received by the applicable Credit Party in
        the case of clause (b) above and within three Business Days of the expiry of the insurance
        proceeds reinvestment period described in Section 5.3.2(a) after such proceeds are
        received by the applicable Credit Party in the case of clause (c) above. As used herein,
        “net cash proceeds” in respect of any such transaction means the gross amount payable to
        the applicable Credit Party in cash in respect of such transaction less (i) any sales
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  commissions, selling expenses, brokers’ fees, consulting fees, legal fees, other costs and
  expenses of the transaction actually incurred, investment banking fees, accountants’ fees,
  consulting fees, underwriting discounts and commissions and other customary fees and
  expenses actually incurred, (ii) amounts required to be applied to the repayments of
  Funded Debt, (including the principal amount, premium or penalty, if any, interest and
  other amounts required to be applied to the repayment of any Funded Debt secured by a
  Lien (including because the asset sold is removed from a borrowing base supporting such
  Funded Debt)), (iii) taxes payable in connection with the transaction, (iv) usual and
  reasonable adjustments in connection with the transaction and, including the amount of
  any liability paid or to be paid or reasonable reserve established in accordance with
  GAAP against any liabilities associated with the assets that are the subject of such event
  and retained by the Canadian Borrower or any of its Subsidiaries, and (v) any other
  amount specifically approved by the Agent in writing.

  5.3.2    The Sales Proceeds or Insurance Proceeds, as applicable, need not be used by the
  Credit Parties to make a repayment under Section 5.3.1 and may be used by a Credit Party
  to purchase assets of the general type then used in the operation of an Eligible Line of
  Business, or, provided no Default (unless such repayment would cure any such Default)
  or Event of Default exists at such time, in the case of:

  (a)    Insurance Proceeds (i) of insured claims that do not exceed in the aggregate in any
         one Fiscal Year $7,500,000 or (ii) are used to repair or replace the property in
         respect of which such Insurance Proceeds were received, if such purchase, repair
         or replacement occurs within twelve (12) months of the receipt of such proceeds,
         subject to an extension of up to a further six (6) months to complete such
         reinvestment; provided, that the Credit Party is contractually bound to such
         reinvestment prior to the expiry of the initial twelve (12) months period; or

  (b)    Sales Proceeds (i) arising from any single transaction or series of related
         transactions that do not exceed in the aggregate in any one Fiscal Year $3,000,000
         or (ii) are used or useful by a Credit Party to purchase assets of the general type
         then used in the operation of an Eligible Line of Business, within nine (9) months
         of the receipt of such proceeds, subject to an extension of up to a further three (3)
         months to complete such reinvestment; provided, that the Credit Party is
         contractually bound to such reinvestment prior to the expiry of the initial nine (9)
         period.

  In connection with the foregoing, the Agent and the Lenders may rely upon and assume
  the correctness of all asset values and other statements contained in any certificate
  provided by an officer of the Canadian Borrower confirming the value of the relevant
  assets.

  5.3.3   Repayments under this Section 5.3 are to be applied first to Outstanding
  Advances under the Term Facility until they have been fully repaid, and then to
  Outstanding Advances under the Operating Facilities, as directed by the Canadian
  Borrower, or failing such direction, pro rata between the Operating Facilities.
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  Repayments under the Facilities under this Section 5.3 shall be applied in inverse order of
  maturity and will be made pro rata to each Lender under the applicable Facility.

  5.3.4     If as a result of currency rate fluctuation, the Outstanding Advances under the
  Canadian Operating Facility exceeds the Canadian Operating Facility Limit by at least 3%
  thereof (in each case, a “Currency Excess”), the Borrowers will, by the earlier of (a) five
  (5) Business Days after a written request from the Agent, and (b) the next date of a
  Rollover or Conversion, pay the applicable Currency Excess to the Agent as a Repayment
  for the benefit of the Canadian Operating Lenders to be shared on the basis of each
  applicable Lender’s Proportionate Share under the Canadian Operating Facility. If to pay
  a Currency Excess it is necessary to repay an Advance made by way of Bankers’
  Acceptance or a LIBOR Loan prior to the maturity date thereof, the Borrowers will not be
  required to repay such Advances until the maturity date applicable thereto; provided,
  however, that at the request of the Agent, the Borrowers will forthwith pay the Currency
  Excess to the Agent for deposit into a cash collateral account maintained by and in the
  name of the Agent for the benefit of the Canadian Operating Lenders. The Currency
  Excess will be held by the Agent for set off against future obligations owing by the
  Borrowers to the Canadian Operating Lenders in respect of such Currency Excess, if any,
  and, pending such application, such amounts will bear interest for the Borrowers’ account
  at the rate payable by the Agent in respect of deposits of similar amounts and for similar
  periods of time. The Agent shall have exclusive control over all amounts at any time on
  deposit in such cash collateral account. The deposit of the Currency Excess by the
  Borrowers with the Agent as herein provided will not operate as a Repayment under the
  Canadian Operating Facility until such time as the Currency Excess is actually paid to the
  Canadian Operating Lenders as a Repayment. If the Borrowers are required to provide a
  deposit under this Section 5.3.4 as a result of the Currency Excess with respect to an
  unmatured Bankers’ Acceptance or a LIBOR Loan, and such Currency Excess (or any
  portion thereof) is no longer in effect on the maturity date of such Bankers’ Acceptance or
  LIBOR Loan, such deposit (or the applicable portion thereof) shall be returned to the
  Borrowers within three Business Days after the maturity date of such Bankers’
  Acceptance or LIBOR Loan.

  5.3.5    If the aggregate Outstanding Advances under the Facilities, is at any time greater
  than the then applicable Borrowing Base (the amount of such excess being a “Borrowing
  Base Shortfall”), one or all of the Borrowers shall within three (3) Business Days repay
  such portion of the Outstanding Advances under the Operating Facilities to the Agent for
  the Canadian Operating Lenders as is required to eliminate such Borrowing Base
  Shortfall. The Agent will apply such payments (a) against the Term Facility and (b)
  thereafter, pro rata amongst the Canadian Operating Facility and the U.S. Operating
  Facility and in the following order: (i) first against Canadian Dollar Prime Rate Loans,
  U.S. Dollar Base Rate Loans, U.S. Dollar Prime Rate Loans, (ii) second to collateralize
  Bankers’ Acceptances as provided in Section 5.11, (iii) third to repay LIBOR Loans,
  subject to Section 5.14, and (iv) fourth to collateralize Letters of Credit as provided in
  Section 5.16(f), until any such Borrowing Base Shortfall has been eliminated. If the
  Borrowers are required to provide cash collateral under this Section 5.3.5 as a result of a
  Borrowing Base Shortfall, such amount shall be returned to the Borrowers within three
  (3) Business Days after such Borrowing Base Shortfall is no longer continuing.
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        5.3.6     If any Credit Party receives net cash proceeds from any Anchor Sale and
        Leaseback Transaction, then the Borrowers shall make a Repayment on account of the
        Outstanding Advances under the Operating Facilities in an amount equal to 100% of such
        net cash proceeds within five Business Days after such proceeds are received by the
        applicable Credit Party. As used herein, “net cash proceeds” has the same meaning
        ascribed thereto in Section 5.3.1. Repayments under this Section 5.3.6 are to be applied to
        Outstanding Advances under the Operating Facilities on a pro rata basis. Repayments
        under this Section 5.3.6 shall not result in a permanent reduction of any Operating
        Facility.

5.4     Notice Periods

        5.4.1   The Borrowers shall provide written notice to the Agent in respect of Advances,
        Rollovers, Conversions and Repayments to the extent set out below:

        (a)    no notice is required for Advances and Repayments in respect of Overdrafts under
               the Swingline;

        (b)    notice is required for each voluntary Repayment under any Facility in accordance
               with Section 5.2;

        (c)    except as provided in clauses (a) and (b) above, but subject to (d), (e) and (f)
               below, one Business Days’ notice is required before 10:00 a.m. Toronto time in
               respect of any Advance, Rollover, Conversion or voluntary Repayment in
               Canadian Dollars or in U.S. Dollars;

        (d)    notwithstanding the foregoing, if an Advance, Rollover, Conversion or voluntary
               Repayment relates to a Bankers’ Acceptance or BA Equivalent Loan, two
               Business Days’ notice is required before 10:00 a.m. Toronto time;

        (e)    notwithstanding the foregoing, if an Advance, Rollover, Conversion or voluntary
               Repayment relates to a LIBOR Loan, three Business Days’ notice is required
               before 10:00 a.m. Toronto time; and

        (f)    notwithstanding the foregoing, if an Advance relates to the issuance of a Letter of
               Credit, (i) if issued to a beneficiary located in Canada or the U.S., three Business
               Days’ notice is required before 10:00 a.m. Toronto time and (ii) if issued to a
               beneficiary located outside of Canada or the U.S., five (5) Business Days’ notice
               is required before 10:00 a.m. Toronto time.

        5.4.2    Notice of any Advance, Rollover, Conversion or voluntary Repayment referred
        to in Section 5.4.1 above shall be given in the form of a Drawdown Request, Rollover
        Notice, Conversion Notice or Repayment Notice, as the case may be, attached hereto as
        Exhibits, and shall be given to the Agent at its address set out in Section 13.11.

        5.4.3   If notice is not provided as contemplated herein with respect to the maturity of
        any Bankers’ Acceptance, BA Equivalent Loan and LIBOR Loan the Agent may convert
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        such Bankers’ Acceptance, BA Equivalent Loan or LIBOR Loan upon its maturity into a
        Canadian Dollar Prime Rate Loan or a U.S. Dollar Base Rate Loan, as applicable.

        5.4.4     Any Conversion from one form of Availment Option to another shall be subject
        to satisfaction of all terms and conditions applicable to the form of the new Availment
        Option.

5.5     Minimum Amounts, Multiples and Procedures re Advances, Conversions and
        Repayments

        5.5.1    Each request by a Borrower for an Advance or Conversion in the form of a
        Canadian Dollar Prime Rate Loan shall be in a minimum amount of Cdn. $500,000 and
        multiples of Cdn. $100,000 thereafter.

        5.5.2   Each request of a Borrower for an Advance or Conversion in the form of a U.S.
        Dollar Base Rate Loan shall be in a minimum amount of U.S. $500,000 and multiples of
        U.S. $100,000 thereafter.

        5.5.3   Each request by a Borrower for an Advance or Conversion in the form of a
        Bankers’ Acceptance or BA Equivalent Loan shall be in a minimum amount of Cdn.
        $500,000 and multiples of Cdn. $100,000 thereafter.

        5.5.4    Each request by a Borrower for an Advance or Conversion in the form of a
        LIBOR Loan in U.S. Dollars shall be in a minimum amount of U.S. $500,000 and in a
        multiple of U.S. $100,000 thereafter.

        5.5.5    Conversions or Rollovers under the Term Facility can be in such lesser amounts
        as are necessary to give effect to the principal repayments under the Term Facility
        required pursuant to Sections 3.4, 5.3.1 and 5.3.2.

        5.5.6    Upon receipt of a Drawdown Request under any Facility, the Agent shall
        promptly notify each Lender under such Facility of the contents thereof and such Lender’s
        Proportionate Share of the Advance. Such Drawdown Request shall not thereafter be
        revocable.

        5.5.7    Each Advance shall be made by the applicable Lenders to the Agent at its
        address referred to in Section 13.11 or such other address as the Agent may designate by
        notice in writing to the Lenders from time to time. Each Lender shall make available its
        Proportionate Share of each said Advance to the Agent. Unless the Agent determines that
        any condition of the Advance has not been satisfied or waived, the Agent shall make the
        funds so received from the Lenders available to the applicable Borrower by 2:00 p.m.
        (Toronto time) on the requested date of the Advance. No Lender shall be responsible for
        any other Lender’s obligation to make available its Proportionate Share of the said
        Advance.

        5.5.8    Each Borrower agrees to deliver to the Agent in favour of any requesting Lender
        such other agreements and documentation as such Lender may reasonably require (not
        inconsistent with this Agreement and upon at least two (2) Business Days’ prior written
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        notice) in respect of such Lender’s requirements for the acceptance of Bankers’
        Acceptances or the issuance of BA Equivalent Loans.

        5.5.9     All payments of principal, interest and other amounts made by the Credit Parties
        to the Agent in respect of the Outstanding Advances under a Facility shall be paid by the
        Agent to the Lenders in accordance with their respective Proportionate Shares of the
        Outstanding Advances under such Facility. For greater certainty, however, (a) stamping
        fees in respect of Bankers’ Acceptances and BA Equivalent Loans shall be received and
        retained by the respective Lenders which issued or accepted such Bankers’ Acceptances
        and BA Equivalent Loans and (b) in the event that any payments of principal, interest and
        other amounts made by the Credit Parties to the Agent instead of to the Swingline Lender
        in respect of the Outstanding Advances under the Swingline, any such payments shall be
        paid by the Agent to the Swingline Lender.

5.6     Place of Advances and Repayments

        5.6.1    Advances by any Lender to a Borrower shall be made by such Lender to the
        Agent from such Lender’s applicable Lending Office. All payments of principal, interest
        and other amounts to be made by the Borrowers and the other Credit Parties pursuant to
        this Agreement shall be made to the Agent at its address noted in Section 13.11 or to such
        other address at a major city in Canada as the Agent may direct in writing from time to
        time. All such payments received by the Agent on a Business Day before 2:00 p.m.
        (Toronto time) shall be treated as having been received by the Agent on that day;
        payments made after such time on a Business Day shall be treated as having been
        received by the Agent on the next Business Day.

        5.6.2    Whenever any payment or the performance of any covenant, duty or other
        obligation shall be due on (or required within a time period ending on) a day which is not
        a Business Day, the date for payment or performance thereof shall be extended to the next
        succeeding Business Day. Interest shall continue to accrue and be payable thereon as
        provided herein, until the date on which such payment is received by the Agent.

5.7     Evidence of Obligations (Noteless Advances)

        The Agent shall open and maintain, in accordance with its usual practice, accounts
evidencing the Obligations; and the information entered in such accounts shall constitute
conclusive evidence of the Obligations absent manifest error. The Agent may, but shall not be
obliged to, request the Borrowers to execute and deliver from time to time such promissory notes
as may be required as additional evidence of the Obligations; provided, that no promissory notes
shall be required in respect of any Hedging Agreements or Banking Services Agreements.

5.8     Determination of Equivalent Amounts

       Whenever it is necessary or desirable at any time to determine the Equivalent Amount in
Canadian Dollars of an amount expressed in U.S. Dollars, or vice-versa (specifically including
the determination of the Equivalent Amount in Canadian Dollars of an Advance made in U.S.
Dollars (as applicable), the determination of each Lender’s Proportionate Share of any
Repayment on any date, and the determination of whether the Outstanding Advances under any
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Facility exceed the limit applicable to such Facility at any time), the Equivalent Amount shall be
determined by reference to the Exchange Rate on the date of such determination.
Notwithstanding the foregoing, however, for the purposes of determining any Letter of Credit
fees under the Canadian Operating Facility or the standby fees applicable to the Canadian
Operating Facility, the Agent shall make such determination based upon the Bank of Canada
noon spot rate on the first Business Day of each quarter for such quarter as the case may be.

        If any basket used hereunder is exceeded solely as a result of fluctuations in applicable
currency exchange rates after the last time such basket was utilized, such basket will not be
deemed to have been exceeded solely as a result of such fluctuations in currency exchange rates.
For purposes of determining the Net Leverage Ratio, amounts denominated in a currency other
than U.S. Dollars will be converted to U.S. Dollars for the purposes of (A) testing the financial
covenant under Section 7.3.1(a), at the Exchange Rate as of the last day of the Fiscal Quarter for
which such measurement is being made, and (B) calculating any Net Leverage Ratio (other than
for the purposes of determining compliance with Section 7.3.1(a)), at the Exchange Rate as of the
date of calculation, and will, in the case of Funded Debt, reflect the currency translation effects,
determined in accordance with GAAP, of Hedging Agreements permitted hereunder for currency
exchange risks with respect to the applicable currency in effect on the date of determination of
the Equivalent Amount in U.S. Dollars of such Funded Debt.

5.9      Commitment to Purchase Bankers’ Acceptances and BA Equivalent Loans

         5.9.1    Each BA Lender which is a bank listed in Schedule I of the Bank Act (Canada)
         agrees to purchase those Bankers’ Acceptances which it has accepted, at a discount from
         the face amount thereof calculated at the CDOR Rate for the relevant period in effect on
         the issuance date thereof.

         5.9.2    Each BA Lender which is a bank listed in Schedule II or Schedule III of the
         Bank Act (Canada) agrees to purchase those Bankers’ Acceptances which it has accepted,
         at a discount from the face amount thereof calculated using a rate not in excess of the
         CDOR Rate for the relevant period in effect on the issuance date thereof plus up to
         one-tenth of one percent (0.10%).

         5.9.3    Each Non-BA Lender agrees to purchase BA Equivalent Loans issued by it
         hereunder at a discount from the face amount thereof calculated using a rate not in excess
         of the CDOR Rate plus up to one tenth of one percent (0.10%) for the relevant period in
         effect on the issuance date thereof.

         5.9.4     The discount applicable to each Bankers’ Acceptances and BA Equivalent Loan
         shall be determined on the basis of a year of 365 days.

5.10     Special Provisions Regarding Bankers’ Acceptances

      The following provisions are applicable to Bankers’ Acceptances issued by the Canadian
Borrower and accepted by any BA Lender hereunder.

         5.10.1 Payment of Bankers’ Acceptances. The Canadian Borrower agrees to provide for
         each Bankers’ Acceptance by payment of the face amount thereof to the Agent on behalf
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  of the BA Lender on the maturity of the Bankers’ Acceptance or, prior to such maturity,
  on the Acceleration Date; and the Agent shall remit the said amount to such BA Lender
  and such BA Lender shall in turn remit such amount to the holder of the Bankers’
  Acceptance. If the Canadian Borrower fails to provide for the payment of the Bankers’
  Acceptance accordingly, any amount not so paid shall be immediately payable by the
  Canadian Borrower to the Agent on behalf of the BA Lender together with interest on
  such amount calculated daily and payable monthly at the rate and in the manner
  applicable to Canadian Dollar Prime Rate Loans under the Facility under which such
  Bankers’ Acceptance was issued. The Canadian Borrower agrees not to claim any days of
  grace for the payment at maturity of any Bankers’ Acceptance and agrees to indemnify
  and save harmless the BA Lender in connection with all payments made by the BA
  Lender (or by the Agent on its behalf) pursuant to Bankers’ Acceptances accepted by the
  BA Lender, together with all reasonable costs and expenses incurred by the BA Lender in
  this regard. The Canadian Borrower hereby waives any defences to payment which might
  otherwise exist if for any reason a Bankers’ Acceptance is held by the BA Lender for its
  own account at maturity.

  5.10.2 Availability of Bankers’ Acceptances. If at any time and from time to time the
  Agent determines, acting reasonably, that there no longer exists a market for Bankers’
  Acceptances for the term requested by the Canadian Borrower, or at all, or if any BA
  Lenders representing no less than 35% of the Commitments advise the Agent in writing
  that the CDOR Rate will not or does not accurately reflect the cost of funds of such BA
  Lender, the Agent shall so advise the Canadian Borrower, and in such event the BA
  Lenders shall not be obliged to accept and the Canadian Borrower shall not be entitled to
  issue Bankers’ Acceptances. If such notice is given and there is any outstanding
  Drawdown Request, Rollover Notice or Conversion Notice requesting an Advance by
  way of, or a Rollover or Conversion into, a Bankers’ Acceptance at such a time, then such
  request will be deemed to be a request for, or a Rollover or Conversion into, a Canadian
  Dollar Prime Rate Loan.

  5.10.3 Power of Attorney. The Canadian Borrower hereby appoints each BA Lender as
  its true and lawful attorney to complete and issue Bankers’ Acceptances on behalf of the
  Canadian Borrower in accordance with written (including facsimile) transmitted
  instructions provided by the Canadian Borrower to the Agent on behalf of such BA
  Lender, and the Canadian Borrower hereby ratifies all lawful acts that its said attorney
  may do by virtue thereof. The Canadian Borrower agrees to indemnify and hold harmless
  the Agent and the BA Lenders and their respective directors, officers and employees from
  and against any charges, complaints, costs, damages, expenses, losses or liabilities of any
  kind or nature which they may incur, sustain or suffer, arising from or by reason of acting,
  or failing to act, as the case may be, in reliance upon this power of attorney, except to the
  extent caused by the gross negligence or willful misconduct of the Agent or the BA
  Lender or their respective directors, officers and employees. The Canadian Borrower
  hereby agrees that each Bankers’ Acceptance completed and issued and accepted in
  accordance with this Section by a BA Lender on behalf of the Canadian Borrower is a
  valid, binding and negotiable instrument of the Canadian Borrower as drawer and
  endorser. The Canadian Borrower agrees that each BA Lender’s accounts and records will
  constitute prima facie evidence of the execution and delivery by the Canadian Borrower
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  of Bankers’ Acceptances. This power of attorney is coupled with an interest and shall
  continue in force until written notice of revocation with respect to any BA Lender has
  been served upon the Agent by the Canadian Borrower at the Agent’s address set out in
  Section 13.11.

  5.10.4 Repayment Prior to Maturity. The Canadian Borrower acknowledges that
  Advances made by a Lender by way of Bankers’ Acceptances and BA Equivalent Loans
  may not be repaid prior to the maturity thereof. If any Bankers’ Acceptance or BA
  Equivalent Loan is repaid prior to the scheduled maturity date hereof (whether as a result
  of Section 2.3 or Section 10.2 or otherwise), the Canadian Borrower will forthwith pay to
  the Agent for deposit into an escrow account maintained by and in the name of the Agent
  for the benefit of the applicable Lenders the principal amount of such Bankers’
  Acceptance or BA Equivalent Loan and the Agent will in its discretion invest any funds
  in respect of such purported repayment in a term deposit maturing on the scheduled
  maturity date of the Bankers’ Acceptance or BA Equivalent Loan. Any interest accruing
  on the term deposit will be paid to the Canadian Borrower on the maturity date thereof;
  provided, that no Event of Default has occurred and is continuing.

  5.10.5 Depository Bills. It is the intention of the Parties that pursuant to the Depository
  Bills and Notes Act (Canada) (“DBNA”), all Bankers’ Acceptances accepted by the
  Lenders under this Agreement will be issued in the form of a “depository bill” (as defined
  in the DBNA), deposited with a “clearing house” (as defined in the DBNA), including
  The Canadian Depository for Securities Limited or its nominee CDS Clearing and
  Depository Services Inc. (“CDS”). In order to give effect to the foregoing, the Agent will,
  subject to the approval of the Canadian Borrower and the Lenders, establish and notify
  the Canadian Borrower and the Lenders of any additional procedures, consistent with the
  terms of this Agreement, as are reasonably necessary to accomplish such intention,
  including:

  (a)    any instrument held by the Agent for purposes of Bankers’ Acceptances will have
         marked prominently and legibly on its face and within its text, at or before the
         time of issue, the words “This is a depository bill subject to the Depository Bills
         and Notes Act (Canada)”;

  (b)    any reference to the authentication of the Bankers’ Acceptance will be removed;
         and

  (c)    any reference to the “bearer” will be removed and such Bankers’ Acceptances will
         not be marked with any words prohibiting negotiation, transfer or assignment of it
         or of an interest in it.

  5.10.6 Rounding. In the case of an issue of Bankers’ Acceptances, the Agent will round
  allocations amongst the Lenders to ensure that each Bankers’ Acceptance issued has a
  face amount which is a whole number multiple of $100,000 (and such rounded
  allocations shall constitute the Lenders’ respective Proportionate Share for the purposes
  of this Agreement).
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5.11     Escrowed Funds

        Upon the request of the Agent after the occurrence and during the continuance of an
Event of Default on the cancellation of this Agreement, or if any Outstanding Advances by way
of Bankers’ Acceptances are required to be prepaid hereunder prior to their maturity, the
Canadian Borrower will forthwith pay to the Agent for deposit into an escrow account
maintained by and in the name of the Agent for the benefit of the applicable Lenders, an amount
equal to the Lenders’ maximum potential liability under then outstanding Bankers’ Acceptances.
Such escrowed funds will be held by the Agent for set-off against future Obligations owing by
the Canadian Borrower to the applicable Lenders in respect of such Bankers’ Acceptances and
pending such application may be invested in accordance with Section 5.10.4. In the case such
Event of Default is either waived or cured in compliance with the terms of this Agreement, then
the remaining escrow funds if any, together with any accrued interest to the date of release, will
be released to the Canadian Borrower. The deposit of such escrow funds by the Canadian
Borrower with the Agent as herein provided, will not operate as a repayment of the Outstanding
Advance under the applicable Facility until such time as the escrow funds are actually paid to the
applicable Lenders as a Repayment on the applicable maturity date thereof.

5.12     Special Provisions regarding BA Equivalent Loans

        Each Non-BA Lender will not accept Bankers’ Acceptances hereunder, and shall instead
from time to time make BA Equivalent Loans to the Canadian Borrower. The amount of each BA
Equivalent Loan will be equal to the discount proceeds (based on the discount rate set forth in
Section 5.9.3 and subject to Section 5.10.6) which would be realized from a hypothetical sale of
the corresponding Bankers’ Acceptance on the basis the Lenders purchased such Bankers’
Acceptance and the maturity date of each such BA Equivalent Loan will be the same as the
maturity date of the corresponding Bankers’ Acceptance. Upon the reasonable request of a
Non-BA Lender, each BA Equivalent Loan may be evidenced by a non-interest bearing
promissory note payable by the Canadian Borrower to the Non-BA Lender in a form acceptable
to each such party, acting reasonably. Any such BA Equivalent Loan shall be negotiable by the
Non-BA Lender without notice to or the consent of the Canadian Borrower, and the holder
thereof shall be entitled to enforce such BA Equivalent Loan against the Canadian Borrower free
of any equities, defences or rights of set-off that may exist between the Credit Parties and the
Non-BA Lender. In this Agreement, all references to a BA Equivalent Loan shall mean the loan
evidenced thereby if required by the context; and all references to the “issuance” of a BA
Equivalent Loan by a Non-BA Lender and similar expressions shall mean the making of a BA
Equivalent Loan by the Non-BA Lender which is evidenced by a BA Equivalent Loan as if
applicable. The following provisions are applicable to each BA Equivalent Loan made by a
Non-BA Lender to the Canadian Borrower hereunder:

         5.12.1 Payment of BA Equivalent Loans. The Canadian Borrower agrees to provide for
         each BA Equivalent Loan by payment of the face amount thereof to the Agent on behalf
         of the Non-BA Lender on the maturity of the BA Equivalent Loan or, prior to such
         maturity, on the Acceleration Date; and the Agent shall remit the said amount to such
         Non-BA Lender and such Non-BA Lender shall in turn remit such amount to the holder
         of the BA Equivalent Loan. If the Canadian Borrower fails to provide for the payment of
         the BA Equivalent Loan accordingly, any amount not so paid shall be immediately
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         payable by the Canadian Borrower to the Agent on behalf of the Non-BA Lender together
         with interest on such amount calculated daily and payable monthly at the rate and in the
         manner applicable to Canadian Dollar Prime Rate Loans under the Facility under which
         such BA Equivalent Loan was made. The Canadian Borrower agrees not to claim any
         days of grace for the payment at maturity of any BA Equivalent Loan and agrees to
         indemnify and save harmless the Non-BA Lender in connection with all payments made
         by the Non-BA Lender (or by the Agent on its behalf) pursuant to BA Equivalent Loans
         accepted by the Non-BA Lender, together with all reasonable costs and expenses incurred
         by the Non-BA Lender in this regard. The Canadian Borrower hereby waives any
         defences to payment which might otherwise exist if for any reason a BA Equivalent Loan
         is held by the Non-BA Lender for its own account at maturity.

         5.12.2 Availability of BA Equivalent Loans. No Non-BA Lender shall have any
         obligation to issue BA Equivalent Loans during any period in which the BA Lenders’
         obligation to issue Bankers’ Acceptances is suspended pursuant to Section 5.10.2.

5.13     Special Provisions Regarding LIBOR Loans

      The following provisions are applicable to LIBOR Loans made by any Lender to the
Borrowers.

         5.13.1 Drawdown Procedures. Upon receipt by the Agent from a Borrower of a
         Drawdown Request, Conversion Notice or Rollover Notice in respect of a LIBOR Loan,
         the Agent will promptly advise such Borrower of the U.S. Dollar LIBOR Rate, such rate
         to be determined as at approximately 11:00 a.m. London time, two LIBOR Business Days
         before the commencement of the LIBOR Period for such LIBOR Loan.

         5.13.2 Interest Payment Dates for LIBOR Loans. Interest in respect of any LIBOR Loan
         in U.S. Dollars shall be calculated on the basis of a year of 360 days. Interest in respect of
         any LIBOR Loan with a LIBOR Period of between one month and three months
         (inclusive) shall be payable at the time the principal amount of such LIBOR Loan is
         payable. Interest in respect of any LIBOR Loan with a LIBOR Period longer than three
         months shall be payable in arrears every three months commencing on the last day of the
         third month following the commencement of such LIBOR Period, and also at the time the
         principal amount of such LIBOR Loan is payable.

         5.13.3 Laws Applicable to LIBOR Loans. Each Borrower acknowledges that the ability
         of the Lenders to maintain or provide any LIBOR Loan and to charge interest on any
         LIBOR Loan at the U.S. Dollar LIBOR Rate is and will be subject to any statute, law,
         regulation, rule or direction by any Governmental Authority having jurisdiction which
         may prohibit or restrict or limit such loans or such interest. Each Borrower agrees that the
         Lenders shall have the right to comply with any such requirements and, if the Agent
         determines it to be necessary as a result of such requirement, the Agent may convert any
         LIBOR Loan to a U.S. Dollar Base Rate Loan or require immediate repayment of all
         LIBOR Loans, including accrued interest thereon and all applicable breakage costs
         pursuant to Section 5.15.
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5.14     Breakage Costs

        The Borrowers may only Repay or Convert any LIBOR Loan prior to the scheduled
maturity date thereof, whether as a result of acceleration or for any other reason, if the Borrowers
agree to pay to the Agent upon demand all losses, damages, costs and expenses which such
Lender has incurred or may incur as a result of such Repayment or Conversion prior to the said
scheduled maturity date. The Agent shall provide the Borrowers with a written certificate
showing in reasonable detail the basis for such claim, which shall be deemed to be prima facie
correct, in the absence of manifest error.

5.15     Inability to Make LIBOR Loans

         If at any time and from time to time:

         (a)    the Agent (acting reasonably) determines that by reason of circumstances affecting
                the London Interbank Eurodollar Market, adequate and fair means do not exist for
                ascertaining the rate of interest with respect to, or deposits are not available in
                sufficient amounts in the ordinary course of business at the rate determined
                hereunder to fund, a requested LIBOR Loan during the ensuing LIBOR Period
                selected;

         (b)    the Agent (acting reasonably) determines that the making or continuing of the
                requested LIBOR Loan by the Lenders has been made impracticable by the
                occurrence of an event which materially adversely affects the London Interbank
                Eurodollar Market generally; or

         (c)    the Agent is advised by Lenders representing no less than 35% of the
                Commitments that the U.S. Dollar LIBOR Rate will not or does not represent the
                effective cost to such Lender of U.S. Dollar deposits in such market for the
                relevant LIBOR Period,

         then the Agent shall give notice thereof to the Lenders and the Borrowers as soon as
         possible after such determination or receipt of such notice, as the case may be, and if such
         notice is given subsequent to the giving of a Drawdown Request or any Rollover Notice
         or Conversion Notice to the Agent by a Borrower with regard to any requested LIBOR
         Loan, such Borrower shall, within one Business Day after receipt of such notice and in
         replacement of the Drawdown Request, Rollover Notice or Conversion Notice, as the
         case may be, previously given by such Borrower, give the Agent a Drawdown Request or
         a Conversion Notice, as the case may be, which specifies the Advance of a U.S. Dollar
         Base Rate Loan or the Conversion of the relevant LIBOR Loan on the last day of the
         applicable LIBOR Period into a U.S. Dollar Base Rate Loan. In the event a Borrower fails
         to give, if applicable, a valid replacement Conversion Notice with respect to the maturing
         LIBOR Loans which were the subject of a Rollover Notice, such maturing LIBOR Loans
         shall be converted on the last day of the applicable LIBOR Period into U.S. Dollar Base
         Rate Loans under the applicable Facility as if a Conversion Notice had been given to the
         Agent by such Borrower pursuant to the provisions hereof. In the event a Borrower fails
         to give, if applicable, a valid replacement Drawdown Request with respect to an Advance
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         originally requested by way of a LIBOR Loan, then such Borrower shall be deemed to
         have requested an Advance by way of a U.S. Dollar Base Rate Loan in the amount
         specified in the original Drawdown Request and, on the originally requested date of
         Advance, the applicable Lenders (subject to the other provisions hereof) shall make
         available the requested amount by way of a U.S. Dollar Base Rate Loan under the
         applicable Facility.

         If at any time the Agent determines (which determination shall be conclusive absent
         manifest error) that (i) the circumstances set forth in Section 5.15(b) have arisen and such
         circumstances are unlikely to be temporary or (ii) the circumstances set forth in Section
         5.15(b) have not arisen but the supervisor for the administrator of LIBOR Rate or a
         Governmental Authority having jurisdiction over the Agent has made a public statement
         identifying a specific date after which the LIBOR Rate shall no longer be used for
         determining interest rates for loans, then the Agent and the Borrowers shall negotiate in
         good faith to establish an alternate rate of interest to LIBOR Rate that gives due
         consideration to the then prevailing market convention for determining a rate of interest
         for LIBOR Loans made in Canada or in the United States at such time, and upon an
         agreement being reached, shall enter into an amendment to this Agreement to reflect such
         alternate rate of interest and such other related changes to this Agreement as may be
         applicable. Notwithstanding anything to the contrary herein, such amendment shall
         become effective without any further action or consent of any other party to this
         Agreement so long as the Agent shall not have received, within five (5) Business Days of
         the date notice of such alternate rate of interest is provided to the Lenders, a written
         notice from the Required Lenders stating that such Required Lenders object to such
         amendment. Provided that, if such alternate rate of interest shall be less than zero, such
         rate shall be deemed to be zero for the purposes of this Agreement.

5.16     Special Provisions Regarding Letters of Credit

       The following additional provisions are applicable to Letters of Credit issued by
hereunder:

         (a)    The obligation of a Borrower to reimburse any Issuing Bank for all drawings
                under Letters of Credit shall be absolute, unconditional and irrevocable and shall
                be satisfied strictly in accordance with their terms, irrespective of:

                (i)     any lack of validity or enforceability of any Letter of Credit;

                (ii)    the existence of any claim, setoff, defence or other right which such
                        Borrower or any other Person may at any time have against the beneficiary
                        under any Letter of Credit, such Issuing Bank, the Agent or any Lender
                        (other than the defence of payment in accordance with the terms of this
                        Agreement or a defence based on the gross negligence or willful
                        misconduct of such Issuing Bank as determined by a court of competent
                        jurisdiction by final and non-appealable judgment) or any other Person in
                        accordance with this Agreement or other transaction;
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        (iii)   any draft or other document presented under any Letter of Credit proving
                to be forged, fraudulent, invalid or insufficient in any respect or any
                statement therein being untrue or inaccurate in any respect; and

        (iv)    any other circumstance or event whatsoever, whether or not similar to any
                of the foregoing.

  (b)   In making any payment under any Letter of Credit (a) an Issuing Bank’s exclusive
        reliance on the documents presented to it under such Letter of Credit as to any and
        all matters set forth therein, including reliance on the amount of any draft
        presented under such Letter of Credit, whether or not the amount due to the
        beneficiary equals the amount of such draft and whether or not any document
        presented pursuant to such Letter of Credit proves to be insufficient in any respect,
        if such document on its face appears to be in order, and whether or not any other
        statement or any other document presented pursuant to such Letter of Credit
        proves to be forged or invalid or any statement therein proves to be inaccurate or
        untrue in any respect whatsoever and (b) any non-compliance in any immaterial
        respect of the documents presented under such Letter of Credit with the terms
        thereof shall, in each case, not be deemed willful misconduct or negligence of
        such Issuing Bank.

  (c)   Each Issuing Bank and its correspondents may accept and act upon the name,
        signature, or act of any party purporting to be the executor, administrator,
        receiver, trustee in bankruptcy or other legal representative of any party
        designated in any Letter of Credit in the place of the name, signature, or act of
        such party.

  (d)   In addition to amounts payable as elsewhere provided in this Section 5.16, each
        Borrower hereby agrees to protect, indemnify, pay and save each Issuing Bank and
        its respective directors, officers, employees, agents and representatives harmless
        from and against any and all claims, demands, liabilities, damages, losses, costs,
        charges and expenses (including legal fees and expenses) which each such
        indemnitee may incur or be subject to as a consequence, direct or indirect, of:

        (i)     the issuance of any Letter of Credit, other than as a result of the breach of
                the standards of reasonable care where such Issuing Bank would not be
                entitled to the foregoing indemnification under the Uniform Customs or
                under ISP98, in each case as stated on its face to be applicable to such
                Letter of Credit;

        (ii)    the inability of an indemnitee to honour a drawing under any Letter of
                Credit as a result of any act or omission, whether rightful or wrongful, of
                any present or future de jure or de facto Governmental Authority; or

        (iii)   any of the matters listed in Section 5.16(e).

  (e)   As between a Borrower, on the one hand, and an Issuing Bank, on the other hand,
        such Borrower assumes all risks of the acts and omissions of, or misuse of the
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        Letters of Credit issued at its request hereunder by, the respective beneficiaries of
        such Letters of Credit and, without limitation of the foregoing (but other than to
        the extent such Issuing Bank breaches the standards of reasonable care specified
        in the Uniform Customs and otherwise as may be required under ISP98, as
        applicable, where such Issuing Bank would not be entitled to indemnification
        under the Uniform Customs or under ISP98, in each case as stated on its face to
        be applicable to such Letter of Credit), such Issuing Bank shall not be responsible
        for:

        (i)     the form, validity, accuracy, genuineness or legal effect of any document
                submitted by any party in connection with the application for and issuance
                of such Letter of Credit, even if it should in fact prove to be in any or all
                respects invalid, inaccurate, fraudulent or forged;

        (ii)    the invalidity or insufficiency of any instrument transferring or assigning
                or purporting to transfer or assign any such Letter of Credit or the rights or
                benefits thereunder or proceeds thereof, in whole or in part, which may
                prove to be invalid or ineffective for any reason;

        (iii)   errors, omissions, interruptions or delays in transmission or delivery of any
                messages, by fax, electronic transmission, mail, cable telegraph, telex or
                otherwise, whether or not they are in cipher;

        (iv)    errors in interpretation of technical terms;

        (v)     any loss or delay in the transmission or otherwise of any document
                required in order to make a drawing under any such Letter of Credit or of
                the proceeds thereof;

        (vi)    the misapplication by the beneficiary of any such Letter of Credit of the
                proceeds of any drawing under such Letter of Credit; and

        (vii)   any consequences arising from causes beyond the reasonable control of
                any Lender, including any act or omission, whether rightful or wrongful,
                of any present or future de jure or de facto Governmental Authority.

        None of the above shall affect, impair or prevent the vesting of any Issuing Bank’s
        rights or powers hereunder. No action taken or omitted by an Issuing Bank under
        or in connection with any Letter of Credit issued by it or the related certificates, if
        taken or omitted in good faith, shall put such Issuing Bank under any resulting
        liability to the applicable Borrower (provided, that such Issuing Bank acts in
        accordance with the standards of reasonable care specified in the Uniform
        Customs and otherwise as may be required under ISP98, in each case as stated on
        its face to be applicable to the respective Letter of Credit).

  (f)   If any Letter of Credit is outstanding on the Facilities Maturity Date, on the date
        this Agreement and all Commitments hereunder are cancelled, at any time that an
        Event of Default occurs, a demand for repayment is made hereunder, or a
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        domestic or foreign court issues any judgment or order restricting or prohibiting
        payment by the applicable Issuing Bank under such Letter of Credit or extending
        the liability of the applicable Issuing Bank to make payment under such Letter of
        Credit beyond the expiry date specified therein, the applicable Borrower will
        forthwith upon demand by the Agent or the applicable Issuing Bank deposit into a
        cash collateral account maintained by and in the name of the Agent or the
        applicable Issuing Bank funds in the applicable currency in the amount of the
        Advance constituted by such Letter of Credit and such funds (together with
        interest thereon) will be held by the Agent or the applicable Issuing Bank for
        payment of the liability of the applicable Borrower pursuant to this Section 5.16
        or otherwise in respect of such Letter of Credit so long as such Issuing Bank has
        or may in any circumstance have any liability under such Letter of Credit, and,
        pending such payment, shall bear interest at the Agent’s or the applicable Issuing
        Bank, as applicable then prevailing rate in respect of deposits of similar amounts
        and of similar periods of time. Any balance of such funds and interest remaining
        at such time as the applicable Issuing Bank does not have and may never have any
        liability under such Letter of Credit will nevertheless continue to be held by the
        Agent or the applicable Issuing Bank, if and so long as any Default or Event of
        Default is continuing or after a demand for repayment is made or both, as security
        for the remaining liabilities of the applicable Borrower hereunder. The Agent or
        the applicable Issuing Bank, as applicable, shall have exclusive control over all
        amounts at any time on deposit in such cash collateral account. The deposit of
        such funds by a Borrower with the Agent or the applicable Issuing Bank as herein
        provided will not operate as a repayment of the U.S. Operating Facility or the
        Swingline Commitment, as applicable, until such time as such funds are actually
        paid to the U.S. Operating Lenders or the Swingline Lender, as applicable, as a
        principal repayment.

  (g)   The Issuing Bank and the Agent, in the case of Letters of Credit issued under the
        U.S. Operating Facility, and the Swingline Lender, in the case of Letters of Credit
        issued under the Swingline, shall each maintain records showing the undrawn and
        unexpired amount of each Letter of Credit outstanding under such Facility, and
        showing for each such Letter of Credit:

        (i)     the dates of issuance and expiration thereof;

        (ii)    the amount thereof; and

        (iii)   the date and amount of all payments made thereunder.

        The Issuing Bank and the Agent shall make copies of such records in the respect
        of Letters of Credit issued under the U.S. Operating Facility available to the U.S.
        Borrower and the U.S. Operating Lenders upon request. The Swingline Lender,
        shall make copies of such records in respect to Letters of Credit issued under the
        Swingline available to the Canadian Borrower, the Agent and the Canadian
        Operating Lenders upon request.
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5.17       Eligible Approved Contracts

        The Canadian Borrower may request, from time to time and by written notice to the
Agent, that the Agent designate additional contracts of the Credit Parties (the “Additional
Contracts”) as Eligible Approved Contracts, provided that, any such notice shall only be given
concurrently with the delivery of a Borrowing Base Certificate pursuant to 7.4.1(a) and such
notice shall include a true and correct copy of each Additional Contract.

        If an Additional Contract is in a form (a) previously approved by the Lenders or (b) in
respect of which the Agent has previously received a legal opinion opining that such contract or
agreement is valid and enforceable under the governing law thereof, then such Additional
Contract shall be designated by the Agent as an Eligible Approved Contract as of the date of the
notice referred to above, otherwise, such Additional Contract shall not be designated as an
Eligible Approved Contract until such time as the Agent has received an opinion of legal counsel
opining that such contract or agreement is valid and enforceable under the governing law thereof,
which opinion is in form and substance satisfactory to the Agent and is delivered by legal counsel
acceptable to the Agent (in each case acting reasonably).

                                      ARTICLE 6
                            REPRESENTATIONS AND WARRANTIES

6.1        Representations and Warranties

        Each Borrower jointly and severally hereby represents and warrants to the Agent and the
Lenders as follows, with respect to itself and, in the case of the Canadian Borrower, also with
respect to each Credit Party:

           6.1.1     Status. It has been duly incorporated, amalgamated, constituted, formed or
           established as the case may be, and is validly subsisting under the Laws of its governing
           jurisdiction and is up to date in respect of all corporate or similar filings and has all
           necessary corporate power, capacity and authority to carry on its business in each
           jurisdiction where it carries on business except, in the case of other jurisdiction, to the
           extent the failure to do so would reasonably be expected to have a Material Adverse
           Effect.

           6.1.2    Information. As of the date hereof, Schedule 6.1.2 contains the following
           information in respect of each Credit Party and each Subsidiary thereof as of the
           Amendment and Restatement Date: predecessors and prior names (within the
           immediately preceding five years), jurisdiction of incorporation or establishment, present
           governing jurisdiction, registered office, chief executive office, all locations at which it
           has owned or leased places of business or maintained a material amount of assets (other
           than assets temporarily out of a Credit Party’s custody or possession, including assets on
           the premises of others and items in transit) the number and classes of its issued and
           outstanding shares and a list of its shareholders including the number and class of shares
           held by each. All material records related to the Credit Party’s Receivables are located at
           those certain chief executive offices as identified in Schedule 6.1.2, as may be updated
           from time to time.

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  6.1.3     Subsidiaries. As of the Amendment and Restatement Date, neither Holdco nor
  the Canadian Borrower has any Material Subsidiaries or other Subsidiaries other than as
  set out in Schedule 6.1.3 and 100% of the issued and outstanding shares of each Material
  Subsidiary are directly or indirectly owned by the Canadian Borrower.

  6.1.4    No Pending Corporate Changes. As of the Amendment and Restatement Date,
  no Person has any agreement or option or any right or privilege (whether by law,
  pre-emptive or contractual) capable of becoming an agreement for the purchase of any
  properties or assets of any Credit Party out of the ordinary course of business or for the
  purchase, subscription, allotment or issuance of any debt or equity securities, including
  convertible securities, warrants or convertible obligations of any nature, of the Canadian
  Borrower.

  6.1.5    No Conflicts under Material Agreements or Material Permits. Except as
  disclosed in Schedule 6.1.5, the execution and delivery by each Credit Party of those
  Credit Documents to which it is a party, will not conflict with, result in a breach of or
  require any approval or consent under any Material Agreement or Material Permit, other
  than consents or approvals which have been obtained unconditionally and without
  imposition of any material conditions.

  6.1.6    No Conflict with Charter Documents. There are no provisions contained in the
  charter documents, or by-laws of any Credit Party, or any partnership agreement,
  shareholders’ agreement, voting trust agreement or similar agreement relating thereto or
  in any Material Agreement or Material Permit, which restrict or limit its powers to
  borrow money, issue debt obligations, guarantee the payment or performance of the
  obligations of others or encumber all or any of its present and after-acquired property; or
  which would be contravened by the execution and delivery of those Credit Documents to
  which any Credit Party is a party or the performance by any Credit Party of its obligations
  thereunder and which contravention would reasonably be expected to result in Material
  Adverse Change.

  6.1.7    Credit Documents. Each Credit Party has the necessary capacity, power, legal
  right and authority to borrow from the Lenders, guarantee payment to the Agent and the
  Lenders of those Obligations which are payable by the Borrowers, perform its obligations
  under the Credit Documents and provide the Security required to be provided by it
  hereunder. The execution and delivery of the Credit Documents by the Credit Parties and
  the performance of their respective obligations therein have been duly authorized by all
  necessary corporate or other action. This Agreement and the other Credit Documents
  constitute legal, valid and binding obligations of the Credit Parties, enforceable against
  them in accordance with the terms and provisions thereof, subject to Laws of general
  application affecting creditors’ rights and the discretion of the court in awarding equitable
  remedies.

  6.1.8    Conduct of Business; Compliance with Laws and Material Permits. Except as
  disclosed in Schedule 6.1.8, each Credit Party is in compliance in all material respects
  with all Applicable Laws of each jurisdiction in which it carries on business and is duly
  licensed, registered and qualified to do business and is in good standing in each
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      jurisdiction in which the nature of the business conducted by it or the property owned or
      leased by it make such qualification necessary, except to the extent that the failure to hold
      any such licences, registrations and permits would not constitute a Material Adverse
      Change. Schedule 6.1.8 contains a true and complete list of all Material Permits, and all
      such Material Permits are valid and subsisting and in good standing.

      6.1.9    Ownership of Assets; Permitted Liens. Each Credit Party has good and
      marketable title to (or a valid leasehold interest in) and owns and possesses its
      undertaking, property and assets (other than intellectual property) (or has a valid
      leasehold interest in) free and clear of any and all Liens except for Permitted Liens. No
      Credit Party has any commitment or obligation (contingent or otherwise) to grant any
      Liens except for Permitted Liens. No event has occurred which constitutes, or which with
      the giving of notice, lapse of time or both would constitute, a default under any specific
      Permitted Lien, which default would reasonably be expected to result in a Material
      Adverse Change.

      6.1.10 Leased Properties. As of the date hereof, Schedule 6.1.10 contains a true and
      complete list of the Leased Properties.

      6.1.11 Intellectual Property. Each Credit Party possesses or has the exclusive right to
      use all patents, patent rights, trademarks, trademark rights, trade names, trade name
      rights, service marks, service mark rights, copyrights and other forms of intellectual
      property material to the conduct of its business, each of which is in good standing in all
      material respects, and, to its knowledge, has the right to use such intellectual property
      without violation of any material rights of others with respect thereto, except, in each
      case, as would not reasonably be expected to have a Material Adverse Effect. Schedule
      6.1.11 contains a list of all such Credit Party’s owned material, registered and pending
      trademarks, service marks, patents and copyrights (excluding commercially available
      software) as of the Amendment and Restatement Date.

      6.1.12 Insurance. The Credit Parties have (a) placed insurance, including property,
      boiler and machinery, business interruption and liability insurance, in appropriate
      amounts and for appropriate risks as would be considered prudent for similar businesses,
      and (b) placed Account Receivable Insurance. Attached hereto as Schedule 6.1.12 is a
      true and complete list of all insurance policies (including the Account Receivable
      Insurance) held by the Credit Parties as of the Amendment and Restatement Date.

      6.1.13 Material Agreements. As of the date hereof, Schedule 6.1.13 contains a true and
      complete list of all Material Agreements, including a description of the nature of each
      Material Agreement. Each Material Agreement is in full force and effect; and none of the
      Credit Parties is in breach of any of the terms or conditions contained therein, in each
      case, which would reasonably be expected to have a Material Adverse Effect. Except as
      disclosed in writing to the Agent and as permitted hereby, no Material Agreement has
      been materially amended, supplemented or revised in any manner adverse to the Lenders
      since the date of execution thereof.



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  6.1.14 Labour Agreements. Except as disclosed in Schedule 6.1.14, there are no labour
  agreements in effect between any of the Credit Parties and any labour union or employee
  association and the Credit Parties are not under any obligation to assume any labour
  agreements to or conduct negotiations with any labour union or employee association
  with respect to any future agreements; and the Credit Parties are not aware of any current
  attempts to organize or establish any such labour union or employee association which, in
  each case, would reasonably be expected to result in a Material Adverse Effect.

  6.1.15 Environmental Laws. Each Credit Party and its business, operations, assets,
  equipment, property, leaseholds and other facilities is in compliance with all applicable
  Requirements of Environmental Law, specifically including all applicable Requirements
  of Environmental Law concerning the storage and handling of Hazardous Materials
  except where the failure to do so would not reasonably be expected to result in a Material
  Adverse Change. Each Credit Party holds all permits, licenses, certificates and approvals
  from Governmental Authorities which are required by the applicable Requirements of
  Environmental Law in connection with (i) air emissions; (ii) discharges to surface or
  groundwater; (iii) noise emissions; (iv) solid or liquid waste disposal; (v) the use,
  generation, storage, transportation or disposal of Hazardous Materials; and (vi) all other
  applicable Requirements of Environmental Law, except in each case where the failure to
  do so would reasonably be expected to result in a Material Adverse Change. Except as
  disclosed in Schedule 6.1.15 to the knowledge of the Credit Parties there has been no
  emissions, spills, releases, or discharges into or upon (i) the air; (ii) soils, or any
  improvements located thereon; (iii) surface water or groundwater; or (iv) any sewer,
  septic system or waste treatment, storage or disposal system servicing the premises, of
  any Hazardous Materials at or from any Land owned by any Credit Party or any of the
  Leased Properties that would reasonably be expected to have a Material Adverse Effect.
  Except as disclosed in Schedule 6.1.15 no complaint, order, directive, claim, citation, or
  notice from any Governmental Authority or any other Person has been received by any
  Credit Party with respect to (i) air emissions; (ii) spills, releases, or discharges to soils or
  improvements located thereon, surface water, groundwater or any sewer, septic system or
  waste treatment, storage or disposal systems servicing any Land owned by any Credit
  Party or any of the Leased Properties; (iii) noise emissions; (iv) solid or liquid waste
  disposal; (v) the use, generation, storage, transportation, or disposal of Hazardous
  Materials; or (vi) other applicable Requirements of Environmental Law affecting any
  Land owned by any Credit Party or the Leased Properties, in each case, which would
  reasonably be expected to result in a Material Adverse Change. Except as disclosed in
  Schedule 6.1.15, there are no legal or administrative proceedings, investigations or claims
  outstanding or to the Credit Parties’ knowledge now threatened or pending, with respect
  to the presence on or under, or the discharge, emission, spill, radiation or disposal into,
  upon or from any Land owned by any Credit Party or any of the Leased Properties of any
  Hazardous Material, including the discharge, emission, spill, radiation or disposal of any
  Hazardous Material from any such Land or Leased Properties onto or into the atmosphere
  or any adjacent land, watercourse or body of water; nor are there any material matters
  under discussion with any Governmental Authority relating thereto; and there is no
  factual basis for any such proceedings, investigations or claims, in each case, which
  would reasonably be expected to result in a Material Adverse Change. The Credit Parties
  have no indebtedness, obligation or liability with respect to the storage, treatment,
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  cleanup or disposal of any Hazardous Materials (including without limitation any such
  indebtedness, obligation, or liability under any applicable Requirements of Environmental
  Law regarding such storage, treatment, cleanup or disposal) which would reasonably be
  expected to result in a Material Adverse Change.

  6.1.16 No Litigation. Except as disclosed in Schedule 6.1.16, there are no actions, suits
  or proceedings pending, or to the knowledge of the Credit Parties threatened in writing,
  against any Credit Party in any court or before or by any federal, provincial, state,
  municipal or other Governmental Authority, which would reasonably be expected to
  result in a Material Adverse Change.

  6.1.17 Pension Plans. As of the Amendment and Restatement Date, the Credit Parties
  have not established any Pension Plans except as disclosed in Schedule 6.1.17. All of the
  Credit Parties’ Pension Plans have been duly registered under Applicable Law. No steps
  have been taken to terminate any such Pension Plan (in whole or in part), no contribution
  failure has occurred with respect to any such Pension Plan sufficient to give rise to a Lien
  under any Applicable Laws of any jurisdiction, and no condition exists and no event or
  transaction has occurred with respect to any such Pension Plan, in each case, which
  would reasonably be expected to result in the incurrence by any Credit Party of any
  material liability, fine or penalty. Each such Pension Plan is in compliance in all material
  respects with all applicable pension benefits and tax laws, (i) all contributions (including
  employee contributions made by authorized payroll deductions or other withholdings)
  required to be made to the appropriate funding agency in accordance with all Applicable
  Laws and the terms of such Pension Plan have been made in accordance with all
  Applicable Laws and the terms of such Pension Plan, (ii) all liabilities under such Pension
  Plan are funded, on a going concern and solvency basis, in accordance with the terms of
  the respective Pension Plans, the requirements of applicable pension benefits laws and of
  applicable regulatory authorities and the most recent actuarial report filed with respect to
  the Pension Plan, and (iii) no event has occurred and no conditions exist with respect to
  any such Pension Plan that has resulted or would reasonably be expected to result in such
  Pension Plan having its registration revoked or refused for the purposes of any applicable
  pension benefits or tax laws or being placed under the administration of any relevant
  pension benefits regulatory authority or being required to pay any taxes or penalties under
  any applicable pension benefits or tax laws.

  6.1.18 ERISA Liabilities. No ERISA Event has occurred or is reasonably expected to
  occur with respect to any Plan which would reasonably be expected to have a Material
  Adverse Effect. Since the most recent financial statement with respect to a Plan, there has
  been no change in the funding status of such Plan which would reasonably be expected to
  result in a Material Adverse Change. Neither any Credit Party nor any ERISA Affiliate
  has incurred or is reasonably expected to incur any Withdrawal Liability to any
  Multiemployer Plan which would reasonably be expected to result in a Material Adverse
  Change. Neither any Credit Party nor any ERISA Affiliate has been notified by the
  sponsor of a Multiemployer Plan that (i) such Multiemployer Plan has been terminated,
  within the meaning of Title IV of ERISA, or (ii) such Multiemployer Plan is reasonably
  expected to be terminated, within the meaning of Title IV of ERISA, which termination
  would reasonably be expected to result in a Material Adverse Change.
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  6.1.19 Financial Statements. The most recent Year-end Financial Statements and
  Interim Financial Statements of the Canadian Borrower delivered to the Agent and the
  Lenders have been prepared in accordance with GAAP (except that in the case of the
  Interim Financial Statements, subject to normal adjustments and the absence of footnotes)
  on a basis which is consistent with the previous fiscal period (unless otherwise noted),
  and present fairly in all material respects in accordance with GAAP:

  (a)    its assets and liabilities (whether accrued, absolute, contingent or otherwise) and
         financial condition as at the dates therein specified;

  (b)    its sales, earnings and results of its operations during the periods covered thereby;
         and

  (c)    in the case of the Year-end Financial Statements, its changes in financial position,

  and no Material Adverse Change has occurred since the date thereof.

  6.1.20 Financial and Other Information. All financial and other information provided
  in writing by or in respect of the Credit Parties to the Agent or the Lenders (other than
  projections, other forward looking information and information of a general economic or
  industry-specific nature to) taken as a whole, to the best of the Credit Party’s knowledge
  and belief (including good faith estimates and stated assumptions believed to be
  reasonable and fair as of the date made in light of conditions and facts then known), do
  not contain any untrue statement of a material fact or omit to state a material fact
  necessary to make the statements contained therein not materially misleading in light of
  the circumstances under which such statements were made (after giving effect to all
  supplements from time to time).

  6.1.21 No Funded Debt/Liens. No Funded Debt has been incurred or assumed by any
  Credit Party, except for Permitted Funded Debt. No Liens exist on the assets of any
  Credit Party, except for Permitted Liens.

  6.1.22 Validity and Ranking of Security. Each Security agreement is effective to create
  in favor of the Agent for the benefit of the Lenders, legal, valid and enforceable Liens on,
  and security interests in, the collateral referred to therein. The Obligations are secured by
  a First-Ranking Security Interest, other than in respect of any Priority Claims.

  6.1.23 Taxes. Except as disclosed in Schedule 6.1.23, each Credit Party has duly and
  timely filed all tax returns required to be filed by it, and has paid all taxes which are due
  and payable by it, except for any taxes which are subject to a Permitted Contest or which
  the failure to pay, individually or in the aggregate has not and would not reasonably be
  expected to have a Material Adverse Effect. Each Credit Party has also paid all other
  taxes, charges, penalties and interest due and payable under or in respect of all
  assessments and re-assessments of which it has received written notice, except to the
  extent that such assessments or re-assessments are subject to a Permitted Contest or
  which the failure to pay, individually or in the aggregate has not and would not
  reasonably be expected to have a Material Adverse Effect. There are no actions, suits,
  proceedings, investigations or claims threatened or pending against any Credit Party in
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    respect of taxes, governmental charges or assessments or any matters under discussion
    with any Governmental Authority relating to taxes, governmental charges or assessments
    asserted by any such Governmental Authority which would reasonably be expected to
    result in a Material Adverse Change.

    6.1.24 Statutory Liens. Each Credit Party has remitted on a timely basis all amounts
    required to have been withheld and remitted (including withholdings from employee
    wages and salaries relating to income tax, employment insurance, unemployment
    insurance and Canada Pension Plan contributions), goods and services tax and all other
    amounts which if not paid when due could result in the creation of a Statutory Lien
    against any of its property, except for Permitted Liens.

    6.1.25   No Default, etc. No Default or Event of Default has occurred and is continuing.

    6.1.26 Solvency. On the Amendment and Restatement Date (i) the fair market value of
    the assets of the Credit Parties, on a consolidated basis, at a fair valuation, will exceed
    their debt and liabilities, subordinated, contingent or otherwise; (ii) the present fair
    saleable value of the property of the Credit Parties, on a consolidated basis, will be
    greater than the amount that will be required to pay the probable liability of their
    indebtedness and other liabilities, subordinated, contingent or otherwise, as such
    indebtedness and other liabilities become absolute and matured; (iii) the Credit Parties, on
    a consolidated basis, will be able to pay their debts and liabilities, subordinated,
    contingent or otherwise, as such debts and liabilities become absolute and matured; (iv)
    the Credit Parties, on a consolidated basis, will not have unreasonably small capital with
    which to conduct the business in which they are engaged as such business is now
    conducted and is proposed to be conducted following the date of determination, and (v)
    the Credit Parties, on a consolidated basis, are not “insolvent” under any applicable
    Insolvency Legislation or otherwise unable to pay their debts as they fall due.

    6.1.27 Residency. The Canadian Borrower is not a non-resident of Canada as defined
    by the Income Tax Act (Canada).

    6.1.28 Investment Company Act. Neither the Canadian Borrower nor any Subsidiary is
    an “investment company” or a company “controlled” by an “investment company,” in
    each case, within the meaning of the Investment Company Act of 1940, as amended.

    6.1.29   Fiscal Year. The Fiscal Year end of each Credit Party is December 31.

    6.1.30 Place and Type of Business. As of the Amendment and Restatement Date,
    Schedule 6.1.2 contains a list of the only jurisdictions in which the Credit Parties carry on
    any material business. The Credit Parties’ sole business is providing drilling fluid and
    technical expertise to assist in drilling oil and gas wells, including skid controls, drilling
    waste management and drilling water treatment services and the rental of well bore
    cleanup tools.

    6.1.31 Economic Sanctions; Corrupt Practices. No Credit Party is in violation of any
    Economic Sanctions or the Foreign Corrupt Practices Act, the Corruption of Foreign
    Public Officials Act (Canada) or any similar legislation or, to its knowledge, is the target
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      or subject of any Economic Sanctions. No Credit Party or any of their respective
      Subsidiaries and, to the knowledge of any Credit Party, no director, officer, employee,
      broker or other agent of any Credit Party acting or benefiting in any capacity in
      connection with the Loans is any of the following:

      (a)    a Person that is listed in the annex to the Executive Order, or is otherwise the
             subject of Economic Sanctions;

      (b)    a Person owned or controlled by, or acting for or on behalf of, any Person that is
             listed in the annex to the Executive Order, or is otherwise the subject of Economic
             Sanctions;

      (c)    a Person with which any Lender is prohibited from dealing or otherwise engaging
             in any transaction by any Economic Sanctions;

      (d)    a Person that commits, threatens or conspires to commit or supports “terrorism” as
             defined in the Executive Order;

      (e)    a Person located, organized or resident in a country or territory that is, or whose
             government is, the subject of Economic Sanctions; or

      (f)    a Person that is named as a “specially designated national and blocked person” on
             the most current list published by OFAC at its official website or any replacement
             website or other replacement official publication of such list.

      No Credit Party or any of their respective Subsidiaries and, to the knowledge of any
      Credit Party, no director, officer, employee, broker or other agent of any Credit Party
      acting in any capacity in connection with the Loans (i) conducts any business or engages
      in making or receiving any contribution of funds, goods or services to or for the benefit of
      any Person described in clauses (a) through (f) above, (ii) deals in, or otherwise engages
      in any transaction relating to, any property or interests in property blocked pursuant to any
      Economic Sanctions, (iii) engages in or conspires to engage in any transaction that evades
      or avoids, or has the purpose of evading or avoiding, or attempts to violate, any of the
      prohibitions set forth in any Economic Sanctions, or (iv) is in violation of any applicable
      Economic Sanctions.

      6.1.32 Use of Facilities. Each Borrower acknowledges that the Facilities are for the use
      by the Credit Parties and will be used for the Credit Parties’ and their Subsidiaries’ lawful
      business purposes only.

      6.1.33 Use of Eligible Approved Contracts. As of June 30, 2018, all of the Insured
      Receivables used in determining the Borrowing Base were Receivables derived from and
      governed by Eligible Approved Contracts in existence as the Amendment and
      Restatement Date as set out in Schedule 6.1.33.

      6.1.34 Margin Regulations. No Credit Party is engaged principally, or as one of its
      important activities, in the business of extending credit for the purpose of buying or
      carrying Margin Stock (as defined in Regulation U). No part of the proceeds of any Loan
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          or any Letter of Credit will be used, whether directly or indirectly, and whether
          immediately, incidentally or ultimately, for any purpose that entails a violation of, or that
          is inconsistent with, the provisions of the regulations of the Board of Governors of the
          Federal Reserve, including Regulation T, Regulation U or Regulation X. The pledge of
          the Collateral pursuant to the Security does not violate such regulations.

6.2       Acknowledgement and Deemed Repetition

       Each Borrower acknowledges that the Agent and the Lenders are relying upon the
representations and warranties in this Article 6 in making the Facilities available to the
Borrowers and that the representations and warranties contained in Article 6, except for any
representation and warranty made solely as of an earlier date will be deemed to be restated and
shall be true and correct effective on the date each and every Advance is made (and any
representations and warranties made solely as of an earlier date shall be true and correct as of
such earlier date).

6.3       Survival of Representations and Warranties

        The Credit Parties acknowledge that the Agent and the Lenders shall rely upon the
representations and warranties contained in this Article 6 in connection with the establishment
and continuation of the Facilities and also in connection with the entering into by a Hedge
Provider of any Hedging Agreement with the Credit Parties. Notwithstanding any investigations
which may be made by the Agent or the Lenders, the said representations and warranties shall
survive the execution and delivery of this Agreement until full and final payment and satisfaction
of the Obligations and this Agreement has been terminated.

                                             ARTICLE 7
                                            COVENANTS

7.1       Positive Covenants

        While there are any Outstanding Advances under the Facilities or while any of the
Facilities remains available to any Borrower, each Borrower hereby covenants and agrees with
the Agent and the Lenders that it will, and will cause each of the other Credit Parties to:

          7.1.1    Prompt Payment. In the case of the Borrowers, punctually and unconditionally
          pay all principal, interest and other amounts due hereunder at the times and in the manner
          specified herein.

          7.1.2     Preservation of Existence. Except as permitted by Section 7.2.8, maintain its
          existence in good standing (or similar status), preserve its rights, powers, licences,
          privileges, franchises and goodwill, exercise any rights of renewal or extensions of any
          leases, licences, concessions, franchises or any other rights whatsoever which are material
          to the conduct of its business, maintain all qualifications to carry on business in each
          jurisdiction in which such qualifications are required where the failure to do so would not
          reasonably be expected to result in a Material Adverse Change, and carry on and conduct
          its business in a proper and efficient manner so as to protect its property and income; and
          not materially change the nature of its business.
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        7.1.3    Compliance with Applicable Laws; Use of Proceeds; Maintenance of Leases
        and Material Permits. Comply with all Applicable Laws (specifically including all
        applicable Requirements of Environmental Law and Economic Sanctions and the Foreign
        Corrupt Practices Act) except where the failure to do so would not reasonably be
        expected to result in a Material Adverse Change, use the proceeds of all Advances
        hereunder for legal and proper purposes, and obtain and maintain in good standing all
        material leases and Material Permits from any and all Governmental Authorities required
        in respect of its business and operations except where the failure to do so would not
        reasonably be expected to result in a Material Adverse Change.

        7.1.4     Payment of Priority Claims, Taxes, etc. Pay when due all Priority Claims, rents,
        ERISA liabilities, taxes, rates, pension obligations, levies, assessments and governmental
        charges, fees and dues lawfully levied, assessed or imposed in respect of its property
        which are material to the conduct of its business, and deliver to the Agent upon request
        receipts evidencing such payments; except for rents, taxes, rates, pension obligations,
        levies, assessments and governmental charges, fees or dues in respect of which an appeal
        or review proceeding has been commenced, a stay of execution pending such appeal or
        review proceeding has been obtained, reserves reasonably required by the Required
        Lenders have been established; and except where the failure to pay individually or in the
        aggregate, would not reasonably be expected to result in a Material Adverse Change.

        7.1.5    Maintain Records. Maintain adequate books, accounts and records in accordance
        with GAAP and all material records related to the Credit Parties’ Receivables shall be
        located at the chief executive offices as identified in Schedule 6.1.2, as the same may be
        updated from time to time.

        7.1.6    Maintenance and Operation of Properties. Keep its property and assets in good
        repair and working condition, reasonable wear and tear and casualty or condemnation
        excepted, and operate its property in accordance with prudent industry standards and the
        requirements of its insurance policies.

        7.1.7     Inspection. Permit the Agent and its employees and agents (who may be
        accompanied by any Lender and its employees and agents), upon reasonable notice and at
        their own cost, to enter upon and inspect their properties, assets, books and records from
        time to time during normal business hours and in a manner which does not materially
        interfere with the operations of the Credit Parties, and make copies of and abstracts from
        such books and records, and discuss their affairs, finances and accounts with any of their
        officers, directors, accountants and auditors; provided, that the Agent will deal with any
        personal information obtained in accordance with applicable privacy legislation;
        provided, that the Agent may not conduct more than one such examination during any
        calendar year unless a Default or an Event of Default has occurred and is continuing, in
        which case the foregoing limit shall not apply. All reasonable and documented
        out-of-pocket costs and expenses incurred by the Agent and its duly authorized
        representatives and agents in connection with the exercise of the Agent’s rights pursuant
        to this Section 7.1.7 shall be paid by the Canadian Borrower in accordance with Section
        13.5; provided, that so long as no Default or Event of Default exists the Canadian

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    Borrower shall not be responsible for the expenses of the Agent in connection with more
    than one such visit and inspection per calendar year.

    7.1.8    Liens. Maintain all of its property, assets and undertaking free of all Liens except
    Permitted Liens and maintain a First-Ranking Security Interest in favour of the Agent
    over all of the Collateral subject only to the Security and Permitted Liens which under
    Applicable Law rank in priority thereto.

    7.1.9    General Insurance Coverage. Obtain and maintain from financially responsible
    insurance companies and maintain liability insurance, all-risks property insurance on a
    replacement cost basis (less a reasonable deductible not to exceed amounts customary in
    the industry for similarly situated businesses and properties), and insurance in respect of
    such other risks and in such amounts (giving effect to self-insurance) as would be
    considered prudent for similar businesses, to the extent available on commercially
    reasonable terms, all of which policies of insurance shall include a standard mortgage
    clause approved by the Insurance Bureau of Canada; and the interest of the Agent shall be
    noted as an additional insured on all liability insurance policies and as first mortgagee
    and/or lender loss payee, as applicable, on all other insurance policies (other than
    directors and officers insurance); and the Agent shall be provided with certificates of
    insurance and certified copies of such policies from time to time upon request; provided,
    that no more than one request shall be made in any calendar year unless a Default or an
    Event of Default is continuing or if there has been a material change in any such policy.

    7.1.10 Account Receivable Insurance Coverage. Obtain and maintain Account
    Receivable Insurance, pay all required premiums in respect thereof once due and payable
    and renew such Account Receivable Insurance not less than sixty (60) days prior to the
    expiry thereof; and the Agent shall be provided with certificates of insurance and certified
    copies of such policies from time to time upon request; provided that no more than one
    request shall be made in any twelve month period of four consecutive fiscal quarters
    unless a Default or an Event of Default is continuing. At least 10 days prior to the
    renewal of any Account Receivable Insurance, the Borrowers shall provide the Agent
    with all information reasonably requested by the Agent, including for certainty, any
    proposed modifications to the existing policies then in place, in order for the Agent and
    third party legal counsel to conduct a review of such Account Receivable Insurance.

    7.1.11 Colombia Payments. Ensure that payments in favour of a Credit Party which are
    made under any material agreement executed by any Credit Party which are to be made in
    Colombian Pesos in Colombia are either directed to a trust established in Colombia
    which is subject to the Security or to an account over which the Agent has a
    First-Ranking Security Interest pursuant to an account control agreement or if such
    payments are otherwise subject to the Security in a manner satisfactory to the Agent,
    acting reasonably.

    7.1.12 Perform Obligations. Fulfill all covenants and obligations required to be
    performed by it under the Credit Documents, the Material Agreements, the Material
    Permits and the policy governing the Account Receivable Insurance (and as reasonably


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  requested by the Agent, provide evidence of compliance with the risk management and
  credit policies required thereunder).

  7.1.13    Bank Accounts and Banking Service Agreements. Maintain:

  (a)      all of its bank primary accounts and Banking Service Agreements of the
           Borrowers in Canada, the U.S. and Mexico with the Agent or an Affiliate thereof
           unless otherwise consented to by the Required Lenders, in their sole discretion;
           provided, that the U.S. Borrower shall be permitted to maintain its current bank
           accounts in the U.S. with Wells Fargo provided that the Deposit Account Control
           Agreement between the U.S. Borrower, such financial institution and the Agent
           remains in force and effect, which agreement shall, among other things, provide
           that such financial institution acknowledges that the Agent has a First-Ranking
           Security Interest over the applicable bank accounts and that upon written notice
           from the Agent, the Agent can exert control over such accounts; and

  (b)      except as set forth in Section 8.1(i), maintain all of the Credit Parties’ other bank
           accounts used as a primary concentration accounts for collection of proceeds of
           Eligible Receivables with financial institutions reasonably satisfactory to the
           Required Lenders; provided, that within 90 days after the formation of any new
           Material Subsidiary that is a Credit Party from time to time hereafter, such
           financial institution has entered into a deposit account control or similar account
           agreement with the Agent and the applicable Credit Party, in a form and substance
           reasonably satisfactory to the Agent, which agreement, among other things,
           provides that such financial institution acknowledges that the Agent has a
           First-Ranking Security Interest over the applicable bank accounts and that upon
           written notice from the Agent, the Agent can exert control over such accounts.

  Notwithstanding anything herein to the contrary, it is understood and agreed that no
  deposit account agreements or account agreement shall be required with respect to (i) any
  account which is not used as a primary concentration account for collection of proceeds
  of Eligible Receivables or for the direct collection of such proceeds or (ii) any other
  Excluded Account.

  7.1.14 Formation of Material Subsidiaries. In the event that any Borrower or any other
  Credit Party forms or acquires a Material Subsidiary, or a Person otherwise becomes a
  Material Subsidiary (in each case, for the avoidance of doubt, other than a Securitization
  SPE), after the Amendment and Restatement Date then, subject to Section 8.9, the
  Canadian Borrower shall deliver, and shall cause the applicable Subsidiary to deliver, to
  the Agent not later than (a) thirty (30) Business Days in the case of Material Subsidiaries
  formed outside of Canada and the U.S., or (b) ten (10) Business Days for Material
  Subsidiaries formed in Canada or the U.S., in either case, after the formation or
  acquisition of such Material Subsidiary (or such longer period as the Agent may approve,
  acting reasonably), a full recourse guarantee and the, within the applicable period
  therefor, any other Security relative to such Material Subsidiary referred to in Section 8.1
  or such other Security as may be requested by the Agent, acting reasonably, together with
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  related corporate documentation and legal opinions as may be requested by the Agent,
  acting reasonably.

  7.1.15 Ownership of Credit Parties. The Canadian Borrower will at all times be the
  (direct or indirect) sole beneficial owner of all of the issued and outstanding shares of
  each other Credit Party, other than Holdco.

  7.1.16 EBITDA; Ownership of Assets. Except as otherwise specifically permitted
  hereunder, the Canadian Borrower will ensure at all times that:

  (a)    the EBITDA directly attributed to the Credit Parties determined on an
         unconsolidated but combined basis is equal to at least 90% of the Canadian
         Borrower’s EBITDA determined on a consolidated basis;

  (b)    the Credit Parties legally, beneficially and directly own at least 90% of the
         Consolidated Net Tangible Assets of the Canadian Borrower (based on the
         amount thereof set forth in the financial statements most recently delivered as
         required hereunder); and

  (c)    the EBITDA directly attributed to the OECD Credit Parties determined on a
         consolidated basis is equal to at least 85% of the Canadian Borrower’s EBITDA
         determined on a consolidated basis; provided, that for the purposes of such
         calculation any Distribution remitted to an OECD Credit Party by any other
         Subsidiary of the Borrower shall be included in EBITDA;

  7.1.17 Colombian Free Cash Flow Distribution. The Canadian Borrower will cause the
  Distribution to it or any other Credit Party whose governing jurisdiction is in Canada, the
  U.S., Barbados or another jurisdiction reasonably acceptable to the Required Lenders by
  way of dividend (or a series of dividends) of no less than 75% of the Colombian Free
  Cash Flow for each Fiscal Year within 60 days of the end of such Fiscal Year; provided
  that such 60 day period may be extended by the Required Lenders, acting reasonably,
  upon the written request of the Canadian Borrower in light of cash flow needs in
  Colombia at the time of such scheduled distribution.

  7.1.18 Further Assurances. Provide the Agent and the Lenders with such further
  information, financial data, documentation and other assurances as they may reasonably
  require from time to time in order to ensure ongoing compliance with the terms of this
  Agreement and to achieve the spirit and intent of this Agreement.

  7.1.19 Reviews. Within 60 days of written demand by the Agent, the Borrowers will
  have initiated an independent business review by a third party satisfactory to the Agent,
  acting reasonably, of the business and operations of the Borrowers and their operations in
  scope, form and substance satisfactory to the Agent, acting reasonably; provided, only
  one such demand by the Agent may be made under this Section 7.1.19.

  7.1.20 Minimum Margin Availability. The Canadian Borrower will not permit the
  Minimum Margin Availability measured at the end of each Fiscal Quarter to be less than
  U.S. $5,000,000.[Reserved].
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        7.1.21 Minimum Liquidity. TheCommencing with the month ended June 30, 2019,
        the Borrowers will not permit the Minimum Liquidity measured at the end of each Fiscal
        Quartermonth to be less than U.S. $10,000,000.

7.2     Negative Covenants

        While there are any Outstanding Advances under the Facilities or while any of the
Facilities remains available to the Borrowers, each Borrower hereby covenants and agrees with
the Agent and the Lenders that it will not, and will ensure that each of its Material Subsidiaries
does not, without the prior written consent of the Agent on behalf of the Lenders:

        7.2.1   Liens. Grant or suffer to exist any Lien in respect of any of its property or assets,
        except Permitted Liens.

        7.2.2  Funded Debt. Create, incur or assume any Funded Debt, except Permitted
        Funded Debt.

        7.2.3   Investments/Financial Assistance. Provide Financial Assistance to, or invest
        money in, any Person, firm, joint venture, partnership, company or corporation whether
        by way of loan, acquisition of shares, acquisition of debt obligations or in any other way
        whatsoever (collectively “Investments”), except for the following (each, a “Permitted
        Investment”):

        (a)    Investments in cash and Cash Equivalents;

        (b)    Permitted Intercompany Loans;

        (c)    Guarantees which comprise part of the Security, are in respect of other Permitted
               Funded Debt or obligations of other Credit Parties or related to indemnities
               incurred in the ordinary cause of business;

        (d)    Permitted Acquisitions;

        (e)    Investments in other Credit Parties; provided, that such Investments together with
               any Financial Assistance provided to any Non-OECD Guarantors does not exceed
               in the aggregate at any one time an amount equal to 10% of the net book value of
               the Canadian Borrower’s Consolidated Net Tangible Assets;

        (f)    loans and advances by the Credit Parties to employees or directors of any Credit
               Party in the ordinary course of business (including for travel, entertainment and
               relocation expenses) not in excess of $250,000 at any one time outstanding in the
               aggregate so long as no Default or Event of Default has occurred and is continuing
               or would reasonably be expected to result therefrom;

        (g)    Investments made by the Credit Parties in the ordinary course of business
               consisting of (i) accounts receivables, (ii) negotiable instruments held for
               collection in the ordinary course of business, (iii) lease, utility and other similar
               deposits in the ordinary course of business, (iv) securities or debt obligations of
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        trade creditors or customers that are received in settlement of bona fide disputes
        or pursuant to any plan of reorganization or liquidation or similar arrangement
        upon the bankruptcy or insolvency of such trade creditors or customers;

  (h)   Investments in existence on the Amendment and Restatement Date and set forth
        on Schedule 7.2.3 hereto and, in each case, any extensions or renewals thereof, so
        long as the amount of any Investment made pursuant to this clause (h) is not
        increased at any time above the amount of such Investment set forth on Schedule
        7.2.3 hereto;

  (i)   Acquisitions outside of Canada and the U.S., Investments in joint ventures or
        other minority interest holdings and other Investments in, or Financial Assistance
        to, Persons which are not Credit Parties (provided, that no such Acquisitions or
        Investments would result in a breach of Section 7.2.17 or otherwise involve
        Persons or countries that are the subject of Economic Sanctions or that any
        Lender’s internal compliance policy would prohibit it from engaging in business
        with) which, after giving pro forma effect to all other Acquisitions, Investments or
        Financial Assistance permitted in reliance on this clause (i) since the date of the
        last consolidated balance sheet of the Canadian Borrower delivered to the Agent
        hereunder and outstanding on the date of such Acquisition, Investment or
        Financial Assistance, do not exceed at any one time, in the aggregate, 15% of
        Shareholders’ Equity (taking into account any increase in Shareholders’ Equity as
        of such date since the date of the last consolidated balance sheet of the Canadian
        Borrower delivered to the Agent hereunder, and with the fair market value of each
        Investment being measured at the time made and without giving effect to
        subsequent changes in value); so long as no Default or Event of Default has
        occurred and is continuing or would reasonably be expected to result therefrom;
        and further provided that in the case of any Acquisitions under this clause (i), if
        more than 50% of the revenues generated by the Acquired Business are derived
        from outside of Canada or the U.S., then the applicable Credit Party must receive
        the prior consent of the Required Lenders thereto;

  (j)   extensions of trade credit by the Canadian Borrower and its Material Subsidiaries
        in the ordinary course of business;

  (k)   Investments arising as a result of Permitted Securitization Financings;

  (l)   any Acquisition, Financial Assistance or Investment made in respect of Project
        Desert, the Anchor Acquisition or the Terra Acquisition;

  (m)   Investments in the United Joint Venture in an aggregate amount not to exceed (i)
        during the Fiscal Year ending December 31, 2019, U.S. $12,000,000 and (ii)
        during the Fiscal Year ending December 31, 2020, U.S. $8,000,000; plus, in each
        case, an amount equal to any returns actually received in respect of any such
        Investments (provided that any such returns reinvested in the United Joint Venture
        shall not be included in the calculation of EBITDA);
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  provided, that notwithstanding the foregoing, during the Covenant Relief Period, the
  Borrowers and the Material Subsidiaries shall not (i) complete any Acquisitions pursuant
  to Sections 7.2.3(d) or 7.2.3(i) without the prior written consent of the Required Lenders,
  or (ii) make any Investment or provide any Financial Assistance other than Investments
  and Financial Assistance: (x) existing as of the Amendment and Restatement Date and set
  forth on Schedule 7.2.3, and any extension or renewal thereof; (y) permitted under
  paragraphs (a), (b), (c), (e), (g), (j), (k), (l) or (m) of this Section 7.2.3; and/or (z) made in
  or provided to one or more joint ventures or Persons that are not Credit Parties in an
  aggregate amount, in the case of this clause (z), not to exceed $3,000,000.

  7.2.4     Disposition of Assets. Directly or indirectly sell, lease, assign, transfer, convey or
  otherwise dispose of all or any part of its assets, except the Credit Parties may sell, lease,
  assign, transfer, convey or otherwise dispose of the following:

  (a)     inventory and Cash Equivalents in the ordinary course of business;

  (b)     worn out, obsolete, no longer useful or immaterial, including assets sales, licenses,
          sublicenses or other dispositions or abandonment of intellectual property of a
          Credit Party or its subsidiaries determined by the management of such Credit
          Party to be no longer useful or necessary in the operation of the business of such
          Credit Party or any of its subsidiaries;

  (c)     assets to a Borrower or any other Credit Party or if a Subsidiary is not a Credit
          Party, to the Credit Parties or any of their Subsidiaries;

  (d)     transactions permitted by Section 7.2.8, Permitted Investments and Permitted
          Distributions permitted by Section 7.2.5 hereof;

  (e)     transfers of properties that have been subject to a casualty to the respective insurer
          of such property as part of an insurance settlement any casualty or other event of
          loss; provided, that the requirements of Section 5.3.1 are complied with in
          connection therewith;

  (f)     consignments in the ordinary course of business;

  (g)     dispositions of accounts receivables and other assets of Subsidiaries (other than
          Credit Parties) in the ordinary course of business;

  (h)     any assets the value of which (at the time the disposition is made) is not more than
          the greater of (i) $5,000,000 and (ii) 5% of the net book value of the Canadian
          Borrower’s Consolidated Net Tangible Assets as of the end of the Fiscal Quarter
          immediately prior to the date of such disposition, in any Fiscal Year; provided,
          that for such purpose, if such sale, transfer or other disposition is as part of an
          exchange of equipment to the extent that (A) such equipment is exchanged for
          credit against the purchase price of similar replacement property or (B) the
          proceeds thereof are reasonably promptly applied to the purchase price of such
          replacement property, then the amount of such purchase price of such replacement
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         property in excess of such credited value will still count towards the determination
         of such 5% of net book value;

  (i)    the disposition of Receivables pursuant to a Permitted Factoring Transaction;

  (j)    the disposition of Receivables pursuant to a Permitted Securitization Financing,
         provided that the Receivables subject to such disposition originated in the United
         States;

  (k)    any Anchor Sale and Leaseback Transaction, provided the proceeds of each such
         Anchor Sale and Leaseback Transaction shall be used to repay the Operating
         Facilities in accordance with Section 5.3.6;

  (clauses (a)-(k), collectively, the “Permitted Dispositions”); provided, that the Borrower
  and its Subsidiaries may, with the prior consent of the Required Lenders, sell, lease,
  assign, transfer, convey or otherwise dispose of all or any part of its assets in a transaction
  that does not constitute a Permitted Disposition to the extent that the proceeds thereof are
  to be used in accordance with Section 5.3.1.

  7.2.5    Distributions. Make any Distributions other than Permitted Distributions;
  provided that, during the Covenant Relief Period, only Distributions described in
  paragraphs (b), (f), (g) and (i) of the definition of “Permitted Distribution” shall be
  permitted under this Section 7.2.5.

  7.2.6   Dealing with Related Parties. Consummate any transaction with any Affiliate of
  Holdco or the Canadian Borrower or any of its Subsidiaries other than the following:

  (a)    any transaction that is on fair and reasonable terms that are substantially as
         favorable to the Canadian Borrower and/or its applicable Subsidiary as would be
         obtainable by the Canadian Borrower or such Subsidiary at the relevant time in a
         comparable arm’s length transaction with a Person that is not an Affiliate;

  (b)    payments and transactions provided for in the Material Agreements;

  (c)    any issuances of securities or other payments, awards or grants in cash, securities
         or otherwise pursuant to, or the funding of, employment agreements, stock option
         and stock ownership plans approved by the board of directors (or similar
         governing body) of Holdco, the Canadian Borrower or any of its Subsidiaries or
         the senior management thereof;

  (d)    employment arrangements and transactions pursuant thereto entered into in the
         ordinary course of business between Credit Parties and any employee thereof
         including any employee compensation, benefit plan or arrangement, any health,
         disability or similar insurance plan which covers employees;

  (e)    the payments of reasonable and customary fees, compensation, benefits and
         incentive arrangements paid or provided to, and indemnities provided on behalf
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         of, officers, directors, employees or consultants of Holdco (or any direct or
         indirect parent thereof), the Canadian Borrower or any of its Subsidiaries;

  (f)    any transaction with an Affiliate where the only consideration paid by a Credit
         Party is capital stock of such Credit Party or any of its Subsidiaries;

  (g)    the payment of any Permitted Distribution;

  (h)    transactions with customers, clients, suppliers or purchasers or sellers of goods or
         services, in each case, in the ordinary course of business and otherwise in
         compliance with the terms and conditions of this Agreement that are fair to the
         Credit Parties (as determined in good faith by the board of directors of the
         Canadian Borrower);

  (i)    transactions (i) among the Credit Parties or (ii) between Subsidiaries that are not
         Credit Parties, in each case that are permitted by this Agreement;

  (j)    so long as no Default or Event of Default shall have occurred and be continuing at
         the time of any action described below or would result therefrom the payment of
         transaction, advisory or similar fees payable to the Palladium or any Affiliate
         thereof in an aggregate amount in any Fiscal Year not to exceed $1,000,000,
         provided, that such fee is paid in connection with a bona fide transaction;

  (k)    those transactions set forth on Schedule 7.2.6 which are in place as of the
         Amendment and Restatement Date;

  (l)    transactions pursuant to any Permitted Securitization Financing; and

  (m)    the Anchor Acquisition Promissory Notes.

  7.2.7    Change or Cease Business. Cease to carry on the business or change in any
  material respect the nature of the business as is currently being carried on by it as of the
  Amendment and Restatement Date, including, for the avoidance of doubt, transactions in
  connection with a Permitted Securitization Financing, other than as part of a business
  reasonably related or ancillary thereto, or as otherwise approved in writing by the
  Required Lenders, acting reasonably.

  7.2.8    Corporate Changes. Consummate any transaction whereby all or a substantial
  portion of its undertaking, property and assets would become the property of any other
  Person, whether by way of reconstruction, reorganization, recapitalization, consolidation,
  amalgamation, merger, transfer, sale or otherwise; nor merge, amalgamate or acquire any
  other Person or all or substantially all of its assets; except that any of the foregoing
  transactions may take place: (a) among the Credit Parties if prompt written notice is given
  to the Agent, a Material Adverse Change will not occur as a result thereof and the
  applicable Credit Parties provide such additional or replacement Security as the Agent
  may reasonably require, (b) to consummate any Permitted Acquisition and (c) in
  connection with any Permitted Dispositions of all or substantially all of the assets of a
  Subsidiary of the Canadian Borrower; provided that in any such event which involves the
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  Canadian Borrower, the successor entity is a Person formed under the Laws of Canada or
  any province thereof remains a Borrower under the same Facilities that it was a borrower
  under immediately prior to such event.

  7.2.9     Constating Documents. Amend or restate or otherwise alter the articles of
  incorporation, amalgamation or continuance, as applicable, or by-laws of (i) any Credit
  Party in any manner that would reasonably be expected to materially and adversely affect
  the rights of the Agent and the Lenders under the Credit Documents or (ii) any Subsidiary
  (other than a Securitization SPE) which is not a Credit Party which would impose any
  restrictions upon the ability of such Subsidiary to make any Distributions to any Credit
  Party.

  7.2.10 Capital Expenditures. Make, or permit any Subsidiary to make, any Capital
  Expenditure in any Fiscal Year that exceeds in aggregate, for each Fiscal Year, 110% of
  the estimated maximum amount of such Capital Expenditures as set forth in the annual
  budget in respect of such Fiscal Year provided by the Canadian Borrower pursuant to
  Section 7.4.1(c) (unless such Capital Expenditures are funded entirely by the proceeds of
  equity contributions or Sales Proceeds to the extent permitted under Section 5.3.2);
  provided that, notwithstanding the foregoing, the maximum aggregate amount of Capital
  Expenditures permitted by this Section 7.2.10 shall be, for the Fiscal Year ending
  December 31, 2018, U.S. $30,000,000.

  7.2.11    Fiscal Year. Change its Fiscal Year end.

  7.2.12 Currency Hedging Agreements. Enter into or be a party to any Currency
  Hedging Agreement, unless:

  (a)      such Currency Hedging Agreement is entered into with one or more Hedge
           Providers or other counterparties, provided that if it is with any such other
           counterparties the obligations and liabilities thereunder shall be unsecured;

  (b)      in the case of a Currency Hedging Agreement with a Hedge Provider, the
           Canadian Borrower shall execute an ISDA agreement and all other documentation
           as may be required by the applicable counterparty to such Interest Rate Hedging
           Agreement;

  (c)      such Currency Hedging Agreement is entered into for the purpose of hedging
           against the risk of fluctuations in currencies and not for speculative purposes; and

  (d)      the maturity date of such Currency Hedging Agreement is not more than one year
           from the date thereof and, in any event, not later than the Facilities Maturity Date.

  7.2.13 Interest Rate Hedging Agreements. Enter into or be a party to any Interest Rate
  Hedging Agreement, unless:

  (a)      the aggregate notional amount under all such Interest Rate Hedging Agreements at
           such time does not exceed $75,000,000;
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  (b)    such Interest Rate Hedging Agreement is entered into with one or more Hedge
         Providers or other counterparties, provided that if it is with any such other
         counterparties the obligations and liabilities thereunder shall be unsecured;

  (c)    in the case of an Interest Rate Hedging Agreement with a Hedge Provider, the
         Canadian Borrower shall execute an ISDA agreement and all other documentation
         as may be required by the applicable counterparty to such Interest Rate Hedging
         Agreement;

  (d)    such Interest Rate Hedging Agreement is entered into for the purpose of hedging
         against the risk of fluctuations in interest rates, and not for speculative purposes;
         and

  (e)    the maturity date of such Interest Rate Hedging Agreement is not later than the
         Facilities Maturity Date.

  7.2.14 Use of Advances Sanctions. Directly or indirectly use the proceeds of Advances
  to fund operations, or finance investments in, any country that at the time is prohibited by
  Economic Sanctions, the Foreign Corrupt Practices Act, the Corruption of Foreign
  Public Officials Act (Canada) or other Applicable Law, or make payments to any country
  or Person that at the time is prohibited by Economic Sanctions, the Foreign Corrupt
  Practices Act, the Corruption of Foreign Public Officials Act (Canada) or other
  Applicable Law, or directly or indirectly fund any principal repayment with proceeds
  derived from any such country or Person that will result in a violation by a Credit Party
  (or any Lender hereunder) of such Economic Sanctions, the Foreign Corrupt Practices
  Act, the Corruption of Foreign Public Officials Act (Canada) or other Applicable Law.

  7.2.15 Use of Advances General. Use a material amount of the proceeds of any
  Advance for any purposes other than those expressly contemplated in this Agreement.

  7.2.16 Subordinated Debt. Make any payment to any holders of the Subordinated Debt
  in connection with principal, interest, fees or any other amounts in respect thereof or
  amend the terms thereof, except payments permitted in accordance with the terms of the
  applicable Subordination Agreement, and so long as no Default or Event of Default has
  occurred and is continuing or would reasonably be expected to result therefrom.

  7.2.17 Sanctions. Directly or indirectly, (i) knowingly conduct any business or engage
  in making or receiving any contribution of funds, goods or services to or for the benefit of
  any Person described in 6.1.31, (ii) knowingly deal in, or otherwise engage in any
  transaction relating to, any property or interests in property blocked pursuant to the
  Executive Order or any other Economic Sanction, or (iii) knowingly engage in or
  conspire to engage in any transaction that evades or avoids, or has the purpose of evading
  or avoiding, or attempts to violate, any of the prohibitions set forth in any Economic
  Sanction and the Credit Parties shall deliver to the Agent any certification or other
  evidence requested from time to time confirming the Credit Parties’ compliance with this
  Section 7.2.17.
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        7.2.18 Account Receivable Insurance Coverage. Provide the Agent with prior written
        notice of all proposed amendments or modifications to any Account Receivable Insurance
        and, to the extent that any such amendments or modifications (i) de-insures all or a
        portion of any Marginable Receivable that constitutes part of the Borrowing Base, (ii)
        modifies the individual country limits under the Account Receivable Insurance, (iii)
        extends any coverage period under the Account Receivable Insurance, or (iv) affects any
        of the coverage amounts or any coverage period(s) related to receivables of Petróleos
        Mexicanos or its Affiliates, shall not give effect to any such amendment or modification
        without the prior written consent of the Agent, acting reasonably, and in no case taking
        longer than 3 Business Days to provide such consent, it being understood that should the
        Agent fail to act within 3 Business Days to provide a an affirmative or negative written
        response, that failure should be deemed to be an act of consent with regards to the
        proposed amendment. For certainty, nothing in this Section 7.2.18 shall derogate from the
        obligations of the Borrowers, or the rights of the Agent, under Section 7.1.10.

        7.2.19 Cash Hoarding. Use the proceeds of any Advance to accumulate or maintain
        cash or Cash Equivalents in one or more depository or investment accounts maintained by
        any Credit Party in an amount, in the aggregate, greater than $20,000,000, but excluding
        therefrom cash or Cash Equivalents accumulated or maintained for a specified business
        purpose (to the extent permitted hereunder and other than simply accumulating cash
        reserve in a manner that is not consistent with past practice of the Credit Parties), and, for
        certainty, the Lenders may refuse to make any requested Advance which the Lenders,
        acting reasonably, determine would result in a contravention of this Section 7.2.19.

7.3     Financial Covenants

        7.3.1   Subject to the Equity Cure provided below in Section 7.3.2, while there are any
        Outstanding Advances under the Facilities or while any of the Facilities remains available
        to the Borrowers, the Borrowers will not, without the prior written consent of the
        Required Lenders:

        (a)    permit the Net Leverage Ratio measured at the end of each Fiscal Quarter to
               exceed (i) 4.75 to 1 for the Fiscal QuartersQuarter ending March 31, 2019 and
               June 30, 2019; (ii) 4.503.50 to 1 for the Fiscal QuarterQuarters ending June 30,
               2019, September 30, 2019 and December 31, 2019; (iii) 4.003.50 to 1 for the
               Fiscal Quarter ending December 31, 2019; and March 31, 2020; (iv) 4.75 to 1 for
               the Fiscal Quarter ending June 30, 2020; (v) 4.50 to 1 for the Fiscal Quarter
               ending September 30, 2020; (vi) 4.25 to 1 for the Fiscal Quarter ending
               December 31, 2020; and (vii) 3.00 to 1 for the Fiscal Quarters ending March 31,
               20202021 and thereafter; and

        (b)    permit the Fixed Charge Coverage Ratio measured at the end of each Fiscal
               Quarter to be less than (i) 1.10 to 1 for the Fiscal Quarters ending June 30, 2018,
               September 30, 2018 and December 31, 2018; and (ii) 1.25 to 1 for the Fiscal
               Quarters ending March 31, 2019 and thereafter; and.
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  (c)    permit the Unadjusted EBITDA measured at the end of each Fiscal Quarter to be
         less than (i) U.S. $4,160,000 for the Fiscal Quarter ending June 30, 2018; (ii) U.S.
         $5,980,000 for the Fiscal Quarter ending September 30, 2018; (iii) U.S.
         $6,240,000 for the Fiscal Quarter ending December 31, 2018; and (iv) U.S.
         $8,580,000 for the Fiscal Quarter ending March 31, 2019.

  7.3.2    In the event of any Event of Default of the financial covenants set forth in
  Section 7.3.1 (the “Designated Financial Covenants”), any equity contribution made by
  Holdco or the shareholders of Holdco to the Canadian Borrower will, at the request of the
  Canadian Borrower, be included in the calculation of EBITDA and/or Unadjusted
  EBITDA solely for the purposes of determining compliance with such financial
  covenants at the end of the applicable Fiscal Quarter and any subsequent period that
  includes such Fiscal Quarter (any such equity contribution, a “Specified Equity
  Contribution”); provided, that:

  (a)    prior written notice of the Canadian Borrower’s intention to utilize such Specified
         Equity Contribution is received by the Agent no later than the date on which the
         financial statements for such Fiscal Quarter or Fiscal Year (as applicable) are
         required to be delivered as provided for in Section 7.4;

  (b)    such Specified Equity Contribution is received by the Canadian Borrower within
         ten (10) Business Days after the Canadian Borrower being required to deliver the
         financial statements for such Fiscal Quarter or Fiscal Year (as applicable) as
         provided for in Section 7.4;

  (c)    the amount of any Specified Equity Contribution included in the calculation of
         EBITDA will be no greater than: (i) the amount required to cause the Canadian
         Borrower to be in compliance with the applicable Designated Financial Covenants
         and (ii) 40% of EBITDA as calculated on a trailing twelve month basis; provided,
         this paragraph shall not apply to the Specified Equity Contribution deemed
         to be made on the Second Amendment Date;

  (d)    all Specified Equity Contributions will be disregarded for all other purposes under
         the Credit Documents (including, to the extent applicable, calculating EBITDA
         for purposes of determining compliance with Section 7.1.16, the Applicable
         Margin for pricing and other items governed by reference to EBITDA or that
         include EBITDA in the determination thereof in any respect);

  (e)    there shall be no more than fourone Specified Equity Contributions made during
         the term of this AgreementContribution during any period of four consecutive
         Fiscal Quarters and the aggregate amount of all such Specified Equity
         Contributions shall not exceed $20,000,000;(f)    no provided that for
         certainty, the Specified Equity Contribution may be made in consecutive Fiscal
         Quarters; anddeemed to be made on the Second Amendment Date shall not be
         included for the purposes of calculating the $20,000,000 limit set forth in this
         paragraph;
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        (f)    [reserved];

        (g)    the proceeds of all Specified Equity Contributions are actually received by the
               Canadian Borrower and, except for the Specified Equity Contribution deemed
               to be made on the Second Amendment Date, the Canadian Borrower has
               delivered to the Agent 100% of the aggregate proceeds of such Specified Equity
               Contribution as a Repayment pursuant to Section 5.3.1(d) (each such Repayment,
               an “Equity Cure Repayment”), and the provided that each such Equity Cure
               Repayment shall be ignored for purposes of determining the amount of Total Net
               Debt of the Borrower and calculating, including where Total Net Debt is used
               in the calculation the Designated Financial Covenants and, until such time that
               the Specified Equity Contribution ceases to be calculated as EBITDA pursuant to
               the provisions of this Section 7.3.2; provided that, (i) notwithstanding the
               provisions of Section 5.3.3, the proceeds of each Equity Cure Repayment are to be
               applied first to Outstanding Advances under the Term Facility in inverse order of
               maturity until they have been fully repaid and, thereafter, to Outstanding
               Advances under the Operating Facilities in accordance with Section 5.3.3.

        If, after giving effect to the recalculations set forth in this Section 7.3.2, the Borrower
        shall then be in compliance with the Designated Financial Covenants, the Borrower shall
        be deemed to have satisfied the requirements of the Designated Financial Covenants and
        the applicable breach or default of the Designated Financial Covenants that had occurred
        shall be deemed cured for the purposes of this Agreement (in each instance, an “Equity
        Cure”).

        Pursuant to the exercise of the Specified Equity Contribution deemed to be made on
        the Second Amendment Date, the Designated Financial Covenants shall be
        recalculated giving effect to a pro forma adjustment by which EBITDA shall be
        increased for each of the Fiscal Quarters ending June 30, 2019, September 30, 2019,
        December 31, 2019 and March 31, 2020, and any four-quarter period that contains
        such quarter, by an amount equal to the Specified Equity Contribution deemed to
        be made on the Second Amendment Date in accordance with the terms above.

7.4     Reporting Requirements

        7.4.1    While there are any Outstanding Advances under the Facilities or while any of
        the Facilities remains available to the Borrower, the Borrowers shall deliver, or cause to
        be delivered, the following financial and other information to the Agent at the times
        indicated below:

        (a)    within 35 days after the end of each month after the Amendment and Restatement
               Date: (i) monthly aged accounts receivable listings, monthly aged accounts
               payable listings, listings of total inventory and total capital assets by stocking
               location, cash and Cash Equivalent listing and a Borrowing Base Certificate
               executed by the Borrower; and (ii) monthly unaudited financial statements of the
               Borrower, which shall include a balance sheet, statement of cash flows and
               income statement;
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  (b)   promptly upon becoming available and in any event within 45 days after the end
        of each of the first three Fiscal Quarters in each Fiscal Year, a Compliance
        Certificate along with the Interim Financial Statements of the Borrower, which
        shall include a balance sheet, statement of cash flows and income statement, on
        which it is based, and the Borrower shall also make available members of its
        senior management team for a telephone call with Lenders within five Business
        Days of the end of each Fiscal Quarter to discuss, inter alia, the financial position
        of the Borrower;

  (c)   promptly upon becoming available and in any event within 120 days after the end
        of each Fiscal Year, an annual business and financial plan for the Borrower which
        shall disclose all material assumptions utilized and shall include the following
        items: projected financial covenant ratios, balance sheet, income statement, cash
        flow statement and Capital Expenditure program;

  (d)   promptly upon becoming available and in any event within 120 days after the end
        of each Fiscal Year, the Year-end Financial Statements for the Borrower, which
        shall include a balance sheet, statement of cash flows and income statement,
        together with a copy of the management discussion and analysis and a
        Compliance Certificate which shall include all new material business locations
        and any other changes to Schedule 6.1.2;

  (e)   within 15 days of a request therefor by the Agent and only after a Material
        Adverse Effect or during the continuance of a Default or Event of Default, a
        listing of (i) each of the “serial number goods” (as defined in the Personal
        Property Security Act (Alberta)) or “collateral” for which a security interest must
        be indicated on a “certificate of title” (as such terms are defined under the UCC)
        for such collateral owned by the Credit Parties and the location of such serial
        number goods or certificate of title collateral, and (ii), a legal description of any
        Lands; but in each case, only to the extent that such assets are included in the
        Borrowing Base;

  (f)   (i) within five Business Days of the end of each calendar week, solely during the
        Covenant Relief Period, a weekly liquidity report in form and substance
        satisfactory to the Agent, including, but not limited to, global cash balances and
        global facility utilization of the Borrower, including individual account
        summaries; and (ii) solely during the Covenant Relief Period, a rolling thirteen
        week cash flow and Borrowing Base projection, in form and substance
        satisfactory to the Agent, to be delivered within 10 Business Days from receipt by
        the Borrower of the written request of the Agent for such information;

  (g)   (i) together with the delivery of the Interim Financial Statements for the Fiscal
        Quarter ending June 30, 2018, a collateral exam based on such Interim Financial
        Statements; and (ii) prior to December 31, 2018, updated appraisals of the
        equipment, inventory and real estate of the Credit Parties; in each case, in form
        and substance satisfactory to the Lenders, acting reasonably;
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  (h)   provide prompt notice to the Agent of: (i) the occurrence of any Default or Event
        of Default (for greater certainty, whether or not such Default or Event of Default
        is continuing); (ii) any Material Adverse Change or Material Adverse Effect; (iii)
        any material litigation affecting any Credit Party or any breach of any
        Requirement of Environmental Law, where in either such case there is a
        reasonable prospect that the liability of any Credit Party with respect thereto could
        exceed Cdn. $5,000,000 in any Fiscal Year or which would reasonably be
        expected to result in a Material Adverse Change; (iv) any material amendments to
        or replacements of, or waivers of material breaches in respect of, the Material
        Agreements or the Material Permits; (v) any notice of default, termination or
        suspension received by any Credit Party in respect of material Funded Debt or in
        respect of any Material Agreement or Material Permit; and (vi) the occurrence of
        any ERISA Event that would reasonably be expected to have a Material Adverse
        Effect;

  (i)   provide prompt notice to the Agent of: (i) any labour dispute to which any Credit
        Party is or is expected to become a party, including any strikes, lockouts or other
        labor disputes relating to any of such Person’s plants and other facilities, which
        could reasonably be expected to result in a Material Adverse Effect, (ii) any
        Worker Adjustment and Retraining Notification Act or related liability incurred
        with respect to the closing of any plant or other facility of any such Person and
        (iii) any material liability under Applicable Law similar to the Worker Adjustment
        and Retraining Notification Act or otherwise arising out of plant closings;

  (j)   (x) provide prompt notice to the Agent of any material notices it receives under or
        in connection with the Accounts Receivable Insurance, including related to: (i)
        any termination thereof, (ii) any disputed claims related thereto, (iii) any denied
        coverage thereunder or (iv) any alleged misrepresentations given by any Credit
        Party in connection therewith and (y) provide prior written notice of any
        amendment of material terms of the Account Receivable Insurance;

  (k)   provide written notice to the Agent of any event or circumstance, with the giving
        of notice or lapse of time or both, would constitute a default or event of default
        under a Permitted Securitization Financing promptly (and in any event not less
        than three Business Days) upon becoming aware of same constituted by a
        Permitted Securitization Financing; provided such notice shall include reasonable
        details of the nature of such event or circumstance and the corresponding default
        or event of default, any applicable cure period with respect thereto and any
        remedial actions to be taken with respect to same; and

  (l)   such additional information and documents as the Agent or the Lenders may
        reasonably require from time to time, not otherwise inconsistent with the terms of
        this Agreement, to ensure the ongoing compliance by the Borrower with the terms
        and conditions of this Agreement, in form reasonably acceptable to the Agent and
        the Lenders.
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7.5     Designation of Unrestricted Subsidiaries

        (a)   The Canadian Borrower from time to time, by notice to the Agent in the form of
              Exhibit I, shall be entitled to designate that either:

              (i)    a Material Subsidiary will be an Unrestricted Subsidiary; or

              (ii)   an Unrestricted Subsidiary will be a Material Subsidiary;

              provided, that the Borrower will not be entitled to designate a Material Subsidiary
              to be an Unrestricted Subsidiary if:

                     (A)     a Default or an Event of Default has occurred and is continuing
                             unless the exercise of the Borrower’s discretion under paragraph (i)
                             or (ii) above would cause such Default or Event of Default to be
                             cured; or

                     (B)     a Default or an Event of Default would result from or exist
                             immediately after such a designation.

        (b)   For the avoidance of doubt, notwithstanding anything in this Agreement or the
              Credit Documents to the contrary, for purposes of calculating the Borrowing Base,
              the definition of “Marginable Cash” shall include the unrestricted cash
              (determined in accordance with GAAP) and Cash Equivalents of each of QMax
              do Brasil Solucoes do Petroleo Ltda., International Drilling Fluids and
              Engineering Services (IDEC) Ltd. and QMax Solutions India (Project Office) of
              QMax Solutions Inc. (or any other Subsidiary of the Borrowers in the Agent’s sole
              discretion, acting reasonably) to the extent (a) such cash and Cash Equivalents are
              held in collateral account/s maintained by the Agent or an affiliate thereof (or such
              other bank deemed reasonable in the sole discretion of the Agent), and (b) the
              Agent has received a guarantee (to the extent of the value of the pledged cash and
              Cash Equivalents in such account; it being understood that Agent may waive this
              requirement in its sole discretion if the circumstances warrant) and a deposit
              account agreement or substantially equivalent agreements under the laws of such
              local jurisdiction, in form and substance reasonably satisfactory to Agent,
              whereby, inter alia, the Agent retains exclusive control to direct the transfer of
              funds therefrom during the continuation of an Event of Default under Section 10.1
              hereof (with withdrawals by the applicable Credit Party to be permitted upon
              notice to the Agent so long as the Agent has not delivered a notice of exclusive
              control upon the occurrence and during the continuation of an Event of Default),
              together with evidence of all requisite registrations or filings of each such
              agreement under Applicable Law and such other documentation reasonably
              satisfactory to Agent, including legal opinions.

        (c)   Any Subsidiary of the Borrowers that pledges cash and/or Cash Equivalents in the
              manner provided for in paragraph (b) above shall, notwithstanding that such
              Subsidiary is not a Material Subsidiary, be subject to the provisions of Section
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                7.2.1 hereof; provided, such Subsidiary shall otherwise not be subject to Section
                7.2.

        (d)     The Agent acknowledges that, as of the date hereof, Mud Movers LLC has been
                designated as an Unrestricted Subsidiary.

7.6     Securitization SPE

        7.6.1     As of the Amendment and Restatement Date, ADF SPE, LLC, a Delaware
        limited liability company, shall be designated a Securitization SPE.

        7.6.2    After the Amendment and Restatement Date, the Canadian Borrower from time
        to time, by notice to the Agent, may designate any Unrestricted Subsidiary as a
        Securitization SPE; provided, that the Borrower will not be entitled to such a designation
        if (a) a Default or an Event of Default has occurred and is continuing (unless such
        designation would cause such Default or Event of Default to be cured) or (b) a Default or
        an Event of Default would result from or exist immediately after such a designation.

        7.6.3      No Securitization SPE

        (a)     shall incur any Funded Debt other than Funded Debt pursuant to the Permitted
                Securitization Financing to which it is a party;

        (b)     shall conduct any business other than (i) the acquisition of accounts receivable
                from one or more Credit Parties, and (ii) the consummation and performance of
                Permitted Securitization Financing.

        7.6.4    As at the Amendment and Restatement Date, the Material Subsidiaries and
        Unrestricted Subsidiaries are as set out in Schedule 6.1.2.

                                            ARTICLE 8
                                            SECURITY

8.1     Security

        Each Borrower agrees to provide (or cause to be provided) the security listed below to the
Agent on behalf of the Lenders and the Hedge Providers as continuing security for the payment
and performance of all present and future, direct and indirect, indebtedness and obligations of the
Credit Parties to the Agent, the Lenders and the Hedge Providers (on a pari passu basis) related
to the Credit Documents, the Banking Service Agreements and the Hedging Agreements:

        (a)     a general security agreement from each Borrower creating a First-Ranking
                Security Interest in respect of all of its present and after-acquired property, assets
                and undertaking and a floating charge over all present and future owned real
                property;
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  (b)   an unlimited Guarantee from the U.S. Borrower in respect of present and future,
        direct and indirect, indebtedness and Obligations of the Canadian Borrower and
        other Credit Parties to the Agent and the Lenders;

  (c)   an unlimited Guarantee from each Material Subsidiary of the Canadian Borrower
        (excluding, for the avoidance of doubt, any Securitization SPE) which is not a
        Borrower in respect of present and future, direct and indirect, indebtedness and
        Obligations of the Borrowers to the Agent and the Lenders;

  (d)   a general security agreement or debenture (or other equivalent security applicable
        in the relevant jurisdiction) from each Guarantor creating a First-Ranking Security
        Interest in respect of all its present and after acquired property, assets and
        undertaking and a floating charge over all present and future owned real property,
        provided, that (a) for so long as the Encina Loan Agreement is in effect, with
        respect to Anchor and its Subsidiaries the ranking of the First-Ranking Security
        Interest is to be in accordance with the Encina Intercreditor Agreement and (b)
        thereafter, so long as the Wells Fargo Credit Agreement is in effect, any
        Receivables and other assets encumbered by a lien pursuant to the Wells Fargo
        Credit Agreement and the other loan documents in connection therewith shall be
        excluded from the Security of the Agent and the Lenders;

  (e)   a limited recourse guarantee from Holdco and a share pledge agreement from
        Holdco in respect of all of the issued and outstanding shares of the Canadian
        Borrower owned by it;

  (f)   a securities pledge agreement or charge over shares (or other equivalent security
        applicable in the relevant jurisdiction) in respect of the shares or units of the U.S.
        Borrower and any Material Subsidiary owned by a Credit Party;

  (g)   prior to the incurrence of any Subordinated Debt by any Credit Party, a
        Subordination Agreement in respect to such Subordinated Debt;

  (h)   for each Leased Property deemed material by the Required Lenders, acting
        reasonably, a Landlord Agreement in respect of each such Leased Property;
        provided that the Agent may impose a three month rent reserve against the
        Borrowing Base with respect to Eligible Inventory valued in excess of $250,000
        (per location) which is located at or on Leased Property in respect of which such
        Landlord Agreement is not obtained;

  (i)   for each Credit Party (other than Anchor, Terra and their Subsidiaries) who does
        not maintain all of its bank accounts exclusively with the Agent or its Affiliates,
        deposit account control or blocked account agreements among the Agent and the
        applicable financial institution which such bank account is maintained with, as
        may be reasonably required by the Agent subject to the last sentence of Section
        7.1.13;
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        (j)    estoppel letters, consignments agreements, bailee letters, certificates or consents
               from such third parties as may be reasonably required by the Agent, but subject to
               any limitations set forth herein or in any other Credit Document; and

        (k)    such other security as may be reasonably required by the Agent and the Lenders
               from time to time;

               in each case, in accordance with the time periods set out in Sections 7.1.14.

8.2     General Provisions re Security; Registration

        The Security shall be in form and substance satisfactory to the Agent and the Lenders,
acting reasonably. The Agent may require that any item of Security be governed by the laws of
the jurisdiction where the property subject to such item of Security is located. The Security shall
be registered by the Borrowers where necessary or desirable to record and perfect the charges
contained therein, as determined by the Agent giving consideration to, among other things, the
cost thereof relative to the benefit to the Lenders thereof, and if the Borrowers do not so register
the Security as requested or if the registration may be effected by the secured party thereunder,
the Agent may do the same. Notwithstanding the foregoing, the parties expressly agree that no
actions shall be required under this Section 8.2 or in respect of Security generally to the extent
that the costs of obtaining such Financial Assistance or Lien or perfecting or registering such
Security outweigh the benefits afforded thereby, in the opinion of the Required Lenders, acting
reasonably, such determination to be made at the written request of the Canadian Borrower;
provided, that the Agent and Lenders shall be entitled to re-evaluate whether the costs of
obtaining such Financial Assistance or Lien or perfecting or registering such Security outweigh
the benefits afforded thereby from time to time in their discretion.

       If any Lender determines, acting reasonably, that any Applicable Law has made it
unlawful, or that any Governmental Authority has asserted that it is unlawful for such Lender to
hold or benefit from any Guarantee and/or Security, such Lender shall notify the Agent and
disclaim any benefit of such Guarantee and/or Security to the extent of such unlawfulness,
provided that such disclaimer shall not invalidate or render unenforceable such Guarantee and/or
Security for the benefit of any of the other Lenders

8.3     Opinions re Security

        The Credit Parties shall cause to be delivered to the Agent and the Lenders the results of
all applicable searches in respect of the Credit Parties in the applicable jurisdiction as well as the
opinions of solicitors for the Credit Parties regarding their corporate status, the due authorization,
execution and delivery of the Security provided by them, all registrations in respect of the
Security, and the enforceability of such Security; all such opinions to be in form and substance
satisfactory to the Agent and its counsel, acting reasonably.

8.4     After-Acquired Property, Further Assurances

       Each Credit Party agrees to execute and deliver from time to time, and cause each of its
Material Subsidiaries to execute and deliver from time to time, all such further documents and
assurances as may be reasonably required by the Agent from time to time in order to provide the
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Security contemplated hereunder, specifically including: supplemental or additional security
agreements, assignments and pledge agreements which shall include lists of specific assets to be
subject to the security interests required hereunder.

8.5     Security for Swap Documents with Former Lenders

        (a)   If a Lender ceases to be a Lender under this Agreement (for purposes of this
              Section 8.5, a “Former Lender”), all Secured Hedging Liabilities owing to such
              Former Lender and its Affiliates under Hedging Agreements entered into while
              such Former Lender was a Lender shall remain secured by the Security (equally
              and rateably) to the extent that such Secured Hedging Liabilities were secured by
              the Security prior to such Lender becoming a Former Lender and, subject to the
              following provisions of this Section 8.5. For certainty, any Hedging Liabilities
              under Hedging Agreements entered into with a Former Lender or an Affiliate
              thereof after the Former Lender has ceased to be a Lender shall not be Secured
              Hedging Liabilities nor shall they be secured by the Security. Notwithstanding the
              foregoing, while any Obligations remain outstanding under the Facilities, no
              Former Lender or any Affiliate thereof shall have any right to cause or require the
              enforcement of the Security or any right to participate in any decisions relating to
              the Security, including any decisions relating to the enforcement or manner of
              enforcement of the Security or decisions relating to any amendment to, waiver
              under, release of or other dealing with all or any part of the Security; for certainty,
              the sole right of a Former Lender and its Affiliates with respect to the Security
              while any Obligations remain outstanding under the Facilities is to share, on a
              pari passu basis, in any proceeds of realization and enforcement of the Security.

        (b)   If this Agreement is terminated, all Secured Hedging Liabilities owing to any
              Hedge Provider under Hedging Agreements entered into while such Hedge
              Provider, or its Affiliate, was a Lender hereunder and all Obligations under
              Banking Service Agreements between one or more Credit Parties and such Lender
              entered into while the Lender was a Lender hereunder shall no longer be secured
              by the Security.

8.6     Insurance Proceeds

      If insurance proceeds become payable in respect of loss of or damage to any property
owned by a Credit Party:

        (a)   if an Event of Default has occurred and is continuing at such time, the Agent shall
              apply such proceeds against the Obligations; and

        (b)   otherwise, the Agent shall apply such excess proceeds against the Obligations in
              accordance with Sections 5.3.1 and 5.3.2.

8.7     Qualified ECP Guarantor Keepwell

        Each Qualified ECP Guarantor hereby jointly and severally absolutely, unconditionally
and irrevocably undertakes to provide such funds or other support as may be needed from time to
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time by each other Credit Party to honor all of such Credit Party’s obligations under this
Agreement and the applicable Security (provided, however, that each Qualified ECP Guarantor
shall only be liable under this Section 8.7 for the maximum amount of such liability that can be
hereby incurred without rendering its obligations under this Section 8.7, or otherwise under this
Agreement and the applicable Security, voidable under applicable law relating to fraudulent
conveyance or fraudulent transfer, and not for any greater amount). The obligations of each
Qualified ECP Guarantor under this Section 8.7 shall remain in full force and effect until its
Obligations have been discharged in full. Each Qualified ECP Guarantor intends that this Section
8.7 constitute, and this Section 8.7 shall be deemed to constitute, a “keepwell, support, or other
agreement” for the benefit of each other Credit Party for all purposes of Section 1a(18)(A)(v)(II)
of the Commodity Exchange Act.

8.8     Additional Release by Lender

        If any Lender determines, acting reasonably, that any Applicable Law has made it
unlawful, or that any Governmental Authority has asserted that it is unlawful, for such Lender to
hold or benefit from a Lien over real property pursuant to any law of the United States or any
State thereof, such Lender may notify the Agent and disclaim any benefit of such Lien to the
extent of such illegality; provided, that such determination or disclaimer shall not invalidate or
render unenforceable such Lien for the benefit of any other beneficiary of such Lien.

8.9     Security Principles Affecting Certain Subsidiaries

       In obtaining Security from Material Subsidiaries in their respective jurisdiction of
incorporation, the Agent, the Lenders and the Canadian Borrower agree that:

        (a)    all Guarantees and Security granted will be limited to the extent necessary to
               comply with local legal requirements, as determined by the Agent acting
               reasonably;

        (b)    general statutory limitations, financial assistance, corporate benefit, fraudulent
               preference, “thin capitalization” rules, tax restrictions (including tax thin
               capitalization issues), retention of title claims and similar principles may limit the
               ability of a Material Subsidiary to provide a Guarantee or other Security or may
               require that the Guarantee be limited by an amount or otherwise provided that the
               Canadian Borrower and the applicable Material Subsidiary will use reasonable
               endeavours to overcome such obstacles and to assist in demonstrating that
               adequate corporate benefit accrues to the relevant Guarantor;

        (c)    the Security and extent of its perfection will be agreed on the basis that the cost to
               the Credit Parties of providing such Security shall be proportionate to the benefit
               accruing to the Lenders;

        (d)    Material Subsidiaries will not be required to give Guarantees or enter into
               Security if that would conflict with the fiduciary duties of their directors or
               contravene any legal prohibition or result in a risk of personal or criminal liability
               on the part of an officer provided that the relevant Guarantor shall use reasonable
               endeavours to overcome any such obstacle;
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        (e)   perfection of security, when required, and other legal formalities will be
              completed as soon as practicable and, in any event, within the relevant time
              periods specified herein or, if earlier or to the extent no such time periods are
              specified herein, within the time periods specified by applicable law in order to
              ensure due perfection, provided that the perfection of security granted will not be
              required if it would have a material adverse effect on the ability of the relevant
              Guarantor to conduct its operations and business in the ordinary course as
              otherwise permitted by this Agreement;

        (f)   where a class of assets to be secured includes material and immaterial assets, if
              the cost of granting Security over the immaterial assets is disproportionate to the
              benefit of such Security, security will be granted over the material assets only.

                                      ARTICLE 9
                                CONDITIONS PRECEDENT

9.1     Conditions Precedent to Agreement

       This Agreement shall not become effective unless and until the following conditions have
been satisfied, in each case to the satisfaction of the Agent and the Lenders:

        (a)   the conditions precedent in Section 9.2 shall have been satisfied;

        (b)   the Agent and the Lenders shall be satisfied, in their reasonable discretion, with all
              Material Agreements, including confirmation that Palladium beneficially owns
              (within the meaning of Rule 13d-3 promulgated under the United States Securities
              Exchange Act of 1934) at least 52% of the issued and outstanding shares
              (excluding stock options) of the Canadian Borrower;

        (c)   the Credit Parties shall have obtained insurance in respect of its consolidated
              property, business and assets, evidenced by an insurance certificate naming the
              Agent as additional insured and first loss payee;

        (d)   the Canadian Borrower shall have in place acceptable Account Receivable
              Insurance, evidenced by an endorsement or insurance certificate naming the Agent
              as first loss payee;

        (e)   subject to Schedule 9.1, (A) this Agreement and all Security (or in the case of
              Security that was previously delivered in connection with the Existing Credit
              Agreement, an acknowledgment and confirmation from the applicable Credit
              Party thereto if so requested by the Agent) required shall have been executed and
              delivered and (i) in Alberta, British Columbia and each other applicable Canadian
              jurisdiction, all registrations and deliveries necessary or desirable in connection
              therewith shall have been made, and (ii) in any other jurisdiction, the same, as
              applicable, shall have been delivered to the Agent in proper form for filing, and
              (B) all legal opinions and other documentation reasonably required by the Lenders
              in connection therewith shall have been executed and delivered, in each case, in
              form and substance reasonably satisfactory to the Agent and the Lenders;
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  (f)   the Agent and the Lenders shall have received satisfactory evidence that there are
        no Liens affecting any of the assets of the Credit Parties, except for Permitted
        Liens;

  (g)   the Agent and Lenders shall have received satisfactory confirmation that at least
        80% of the Insured Receivables forming part of the Borrowing Base are derived
        from, subject to and governed by Eligible Approved Contracts;

  (h)   the Agent shall have received an officer’s certificate, certificate of incumbency
        and certified copies of the articles, by-laws and resolutions of the board of
        directors of each Borrower and each other Credit Party formed under the laws of
        Canada, the U.S. or any province or state thereof concerning the due
        authorization, execution and delivery of the Credit Documents to which it is a
        party, and such related matters as the Agent and the Lenders may reasonably
        require;

  (i)   the Agent shall have received a certificate of status, certificate of compliance or
        similar certificate for each Borrower and each other Credit Party formed under the
        laws of Canada, the U.S. or any province or state thereof issued by its governing
        jurisdiction;

  (j)   the Agent and the Lenders shall have received opinions from the solicitors for the
        Credit Parties in Alberta, British Columbia and Delaware, regarding, amongst
        other things, its corporate status, the due authorization, execution, delivery and
        enforceability of the Credit Documents provided by it, perfection and registration
        of the Security, and such other matters as the Agent and the Lenders may require;

  (k)   the Agent shall have received an opinion of its solicitors, Torys LLP, with respect
        to matters as the Agent and the Lenders may require.

  (l)   the Canadian Borrower shall have delivered a duly executed and completed
        Borrowing Base Certificate and a pro forma Compliance Certificate;

  (m)   consolidated cash flow projections, pro forma balance sheet, income statement
        and capital expenditure budget of the Canadian Borrower for each of the 2018,
        2019 and 2020 Fiscal Years, including an analysis of the Mexican days of sales
        outstanding;

  (n)   the Borrowers and the Agent shall have entered into a Fee Agreement;

  (o)   the Borrowers shall have paid to the Agent all fees and expenses (including the
        Agent’s reasonable and documented out-of-pocket legal expenses) relating to the
        establishment, amendment and restatement of the Facilities;

  (p)   no Material Adverse Change shall have occurred since March 31, 2018;

  (q)   the Agent shall have received satisfactory evidence that the Credit Parties have
        obtained all necessary consents of all Governmental Authorities required in
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              connection with the execution of the Credit Documents and the consummation of
              the transactions contemplated thereby and the Canadian Borrower shall have
              delivered an officer’s certificate certifying same;

        (r)   each of the representations and warranties in Article 6 shall be true and correct in
              all material respects and the Canadian Borrower shall have delivered an officer’s
              certificate certifying same; and

        (s)   Holdco shall have received no less than $3,000,000 by way of an equity
              contribution by Palladium, an Investor or an Affiliate thereof and shall,
              substantially concurrently therewith, provide reasonably satisfactory evidence of
              such receipt to the Agent.

9.2     Conditions Precedent to all Advances

        The Lenders shall have no obligation to make any Advance (including for greater
certainty the initial Advance hereunder), unless at the time of making each such Advance the
following terms and conditions shall have been satisfied:

        (a)   the representations and warranties in Article 6 shall be true and correct in all
              material respects as if made on the date of such Advance except to the extent such
              representations and warranties relate to an earlier date in which case the
              information contained in representations and warranties shall be true and correct
              in all material respects as of such earlier date;

        (b)   no Material Adverse Effect shall have occurred since the date of the then most
              recent Year-end Financial Statements;

        (c)   no Default or Event of Default shall have occurred and be continuing, nor shall
              the making of the Advance result in the occurrence of any Default or Event of
              Default;

        (d)   no Borrowing Base Shortfall shall and be continuing, nor shall the making of the
              Advance result in the occurrence of any Borrowing Base Shortfall;

        (e)   after giving effect to the proposed drawdown, the outstanding principal of all
              Outstanding Advances under the applicable Facility shall not exceed the
              maximum amount of such Facility; and

        (f)   the Borrower shall have given a Drawdown Request to the Agent in accordance
              with the notice requirements provided herein (except in respect of Advances in the
              form of Overdrafts).
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                                      ARTICLE 10
                                 DEFAULT AND REMEDIES

10.1     Events of Default

       The occurrence of any one or more of the following events, after the expiry of any
applicable cure period set out below, shall constitute an event of default under this Agreement
(an “Event of Default”):

         (a)   if,

               (i)     any Credit Party makes default in the due and punctual payment of any
                       principal amount owing under the Credit Documents, as and when the
                       same becomes due and payable, whether at maturity or otherwise;

               (ii)    any Credit Party makes default in the due and punctual payment of Interest
                       or fees owing under the Credit Documents (other than the Hedging
                       Agreements), as and when the same become due and payable, whether at
                       maturity or otherwise and such default continues for a period of three
                       Business Days after written notice thereof is given to the applicable Credit
                       Party by the Agent; or

               (iii)   any Credit Party makes default in the due and punctual payment of any
                       amounts in excess, in the aggregate, of $1,000,000 owing under the
                       Hedging Agreements with a Hedge Provider, as and when the same
                       become due and payable, whether at maturity or otherwise and such
                       default continues for a period of ten (10) Business Days after written
                       notice thereof is given to the applicable Credit Party by the applicable
                       Hedge Provider;

         (b)   the Borrower fails to be in compliance with any of the covenants set out in Section
               7.2 or Section 7.3 (subject to the Equity Cure in compliance with Section 7.3.2);

         (c)   any representation or warranty provided by a Credit Party to the Agent or the
               Lenders herein or in any other Credit Document was incorrect in any material
               respect on the date on which such representation or warranty was made;

         (d)   any Credit Party fails in a material way to perform or comply with any of its
               covenants or obligations contained in this Agreement or any other Credit
               Document (other than those set out in Subsections (a), (b) and (c) above);
               provided, that if such non-compliance is capable of remedy within 30 days after
               notice thereof from the Agent and such Credit Party diligently attempts to remedy
               such non-compliance and periodically informs the Agent of its efforts in this
               regard, and such non-compliance is remedied within such period, then such
               non-compliance shall be deemed not to constitute an Event of Default;

         (e)   the occurrence of a Change of Control;
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  (f)   any one or more of the Credit Parties is in default in the payment or performance
        of any of its or their indebtedness or obligations under any agreement relating to
        any Funded Debt (other than the Obligations) where the principal amount owing
        under such agreements in the aggregate is in excess of $10,000,000 (after the
        expiry of any grace or cure periods relating thereto), and in either case, such
        indebtedness or obligations have been, or may be, accelerated, unless such default
        is waived by the applicable counterparties or holders of such debt in accordance
        with its terms;

  (g)   one or more final judgments or decrees for the payment of money shall have been
        obtained or entered against any one or more of the Credit Parties in excess of
        $10,000,000 in the aggregate and is not released, bonded, satisfied, discharged,
        vacated, or stayed within 30 days;

  (h)   an Insolvency Event occurs in respect of any Credit Party or any Subsidiary of the
        Borrowers that pledges cash and/or Cash Equivalents in accordance with Section
        7.5(b) hereof; provided, this clause (h) shall exclude an Insolvency Event in
        respect of any Securitization SPE.

  (i)   the Credit Parties (taken as a whole) cease (or take an affirmative action towards
        ceasing) to carry on business, or a substantial part thereof, or make or threaten to
        make (or take an affirmative action towards making) a bulk sale of their property,
        except to the extent specifically permitted hereunder;

  (j)   the property of any one or more of the Credit Parties having a fair market value in
        excess of $10,000,000, in aggregate, shall be seized (including by way of
        execution, attachment, garnishment or distraint) or any Lien thereon shall be
        enforced, or such property shall become subject to any charging order or equitable
        execution of a court, or any writ of enforcement, writ of execution or distress
        warrant with respect to obligations in excess of $10,000,000, in aggregate, shall
        exist in respect of any one or more of any of them, or such property, or any sheriff,
        civil enforcement agent or other Person shall become lawfully entitled to seize or
        distrain upon such property under the Civil Enforcement Act (Alberta), the
        Workers’ Compensation Act (Alberta), the Personal Property Security Act
        (Alberta) or any other applicable Laws whereunder similar remedies are provided,
        and in any case such seizure, execution, attachment, garnishment, distraint,
        charging order or equitable execution, or other seizure or right, shall continue in
        effect and not be released or discharged for more than 30 days;

  (k)   a Material Adverse Change has occurred since the date of the then most recent
        Year-end Financial Statements and remains continuing for more than 30 days after
        notice thereof is given to the Canadian Borrower by the Agent;

  (l)   if an ERISA Event shall have occurred that would reasonably be expected to have
        a Material Adverse Effect;
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         (m)    any Credit Document or any material provision thereof is or is declared by any
                court of competent jurisdiction to be unenforceable, or any Credit Party terminates
                or purports to terminate its liability under any Credit Document or disputes the
                validity or enforceability of such Credit Document;

         (n)    any of the Security ceases to constitute a valid and perfected First-Ranking
                Security Interest over Collateral of a value in excess of $5,000,000 in the
                aggregate and the Borrower shall have failed to remedy such default within 5 days
                of becoming aware of such fact and being provided by the Agent with any
                documentation required to be executed to remedy such default; and

         (o)    if any Borrower fails to eliminate a Borrowing Base Shortfall as provided in
                Section 5.3.5.

        Notwithstanding the foregoing, a declaration of an Event of Default under clause (i)
above shall not: (1) prevent the commencement of a proceeding under Law 1116 of 2006 (“Law
1116”) or the filing of a petition in Colombia to commence a proceeding under Law 1116 with
respect to any Colombian Branch of any Credit Party, whether in a voluntary or involuntary
manner; (2) be construed to mean that the purpose of this Section is to prevent or create obstacles
to prevent, directly or indirectly, that proceedings be commenced in Colombia under Law 1116
with respect to any Colombian Branch of any Credit Party; (3) prohibit any Colombian Branch of
any Credit Party from negotiating or entering into a restructuring agreement under Law 1116; or
(4) impose any restrictions or prohibitions, or unfavorable effects “efectos desfavorables” upon
any Colombian Branch of any Credit Party for the negotiation or execution of a restructuring
agreement under Law 1116. The rights of the Lenders under this Section may not be exercised in
connection with clause (i) above if and for so long as a proceeding is commenced or a petition is
filed in Colombia to commence a proceeding under Law 1116 with respect to any Colombian
Branch clause (i) above, whether in a voluntary or involuntary manner or any Colombian Branch
clause (i) above engage in negotiations to enter into, or enters into a restructuring agreement in
Colombia under Law 1116.

10.2     Acceleration; Additional Interest

        Upon the occurrence of an Insolvency Event in respect of any Credit Party, the
Obligations shall become immediately due and payable, without the necessity of any demand
upon or notice to the Borrower by the Agent and the Swingline shall be cancelled. Upon the
occurrence and during the continuation of any Event of Default other than such an Insolvency
Event, the Agent, at the request of and on behalf, of the Required Lenders, shall by written notice
to the Borrowers declare the Obligations to be immediately due and payable. From and after the
date of the occurrence of an Event of Default and for so long as such Event of Default continues,
both before and after the Acceleration Date, all Outstanding Advances may bear interest or fees
at the Default Rate in order to compensate the Lenders for the additional risk associated
therewith.




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10.3     Acceleration of Certain Contingent Obligations

        Upon the occurrence of an Event of Default which is continuing, any Lender which has
issued a Bankers’ Acceptance, BA Equivalent Loan, LIBOR Loan or Letter of Credit or entered
into a Hedging Agreement with Credit Party may make a Canadian Dollar Prime Rate Loan, a
U.S. Dollar Base Rate Loan or a U.S. Dollar Prime Rate Loan, as applicable, to a Borrower in an
amount equal to the face amount of such Bankers’ Acceptance, BA Equivalent Loan, LIBOR
Loan or Letter of Credit, or the amount required to unwind such Hedging Agreement (such
amount to be determined in accordance with the terms thereof), as the case may be; and the
proceeds of any such Loan shall be held by such Lender and used to satisfy the Lender’s
obligations under the said Bankers’ Acceptance, BA Equivalent Loan, LIBOR Loan or Letter of
Credit as such becomes due, or to effect the unwinding of such Hedging Agreement. Any such
Loan shall bear interest at the rate and in the manner applicable to Canadian Dollar Prime Rate
Loans, U.S. Dollar Base Rate Loans or U.S. Dollar Prime Rate Loan, as applicable, under the
Facility under which such Bankers’ Acceptance, BA Equivalent Loan, LIBOR Loan or Letter of
Credit was issued. Any such Loan made in respect of a Hedging Agreement shall bear interest at
the rate and in the manner applicable to Canadian Dollar Prime Rate Loans under the Canadian
Operating Facility which provides for the highest interest rate at such time.

10.4     Combining Accounts, Set-Off

       Upon the occurrence and during the continuation of an Event of Default, in addition to
and not in limitation of any rights now or hereafter granted under Applicable Law, each Lender
may without notice to any Credit Party at any time and from time to time:

         (a)   combine, consolidate or merge any or all of the deposits or other accounts
               maintained with such Lender by such Credit Party in respect of this Agreement
               (whether term, notice, demand or otherwise and whether matured or unmatured)
               and such Credit Party’s obligations to such Lender hereunder; and

         (b)   set off, apply or transfer any or all sums standing to the credit of any such deposits
               or accounts in or towards the satisfaction of the said obligations,

including all claims of any nature or description arising out of or connected with this Agreement,
including contingent obligations of the Lenders in respect of unmatured Bankers’ Acceptances,
in which case the Agent or such Lender will promptly notify the Borrower thereof after the
occurrence thereof; provided, that the Agent’s or such Lender’s failure to give any such notice
will not affect the validity thereof. Nothing contained in the Credit Documents will require the
Agent or a Lender to exercise any right, or will affect the right of the Agent or a Lender to
exercise and retain the benefits of exercising any right, with respect to any Obligations existing
otherwise than pursuant to the Credit Documents.

10.5     Attorney in Fact

       Each Borrower hereby irrevocably constitutes and appoints the Agent and any officer or
agent thereof, with full power of substitution, as its true and lawful attorney in fact with full
irrevocable power and authority in the place and stead of such Borrower and in the name of such
Borrower or in its own name, from time to time in the Agent’s discretion, for the purpose of
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carrying out the terms of the Credit Documents, to take any and all appropriate action and to
execute any and all documents and instruments which may be necessary or desirable to
accomplish the purposes of the Credit Documents and which such Borrower being required by
the terms thereof to take or execute has failed to take or execute; provided, that this power of
attorney will not be effective until the occurrence and during the continuance of any Event of
Default. Each Borrower hereby ratifies all that said attorneys will lawfully do or cause to be done
by virtue hereof. This power of attorney is a power coupled with an interest and will be
irrevocable until all of the Obligations under the Credit Documents have been unconditionally
and irrevocably paid and performed in full. Each Borrower also authorizes the Agent, at any time
and from time to time following the occurrence and during the continuance of any Event of
Default, to execute any endorsements, assignments or other instruments of conveyance or
transfer pursuant to the Security. If requested by the Agent, each Borrower will cause each other
Credit Party to constitute and appoint the Agent and any officer or agent thereof, with full power
of substitution, as its true and lawful attorney in fact in accordance with the foregoing provisions
of this Section 10.5.

10.6     Appropriation of Monies

       After the occurrence and during the continuation of an Event of Default, the Agent may
from time to time apply any Proceeds of Realization against any portion or portions of the
Obligations, and the Borrowers may not require any different application. The taking of a
judgment or any other action or dealing whatsoever by the Agent or the Lenders in respect of the
Security shall not operate as a merger of any of the Obligations hereunder or in any way affect or
prejudice the rights, remedies and powers which the Agent or the Lenders may have, and the
foreclosure, surrender, cancellation or any other dealing with any Security or the said obligations
shall not release or affect the liability of the Borrowers or any other Person in respect of the
remaining portion of the Obligations.

10.7     No Further Advances

        The Lenders shall not be obliged to make any further Advances (including honouring any
cheques drawn by a Borrower which are presented for payment) from and after the earliest to
occur of the following: (a) delivery by the Agent to the Borrowers of a written notice that a
Default or an Event of Default has occurred and is continuing and that as a result thereof no
further Advances will be made (whether or not such notice also requires immediate repayment of
the Obligations) and (b) the occurrence and continuance of an Event of Default under Section
10.1(h).

10.8     Remedies Cumulative

        All of the rights and remedies granted to the Agent and the Lenders in this Agreement,
and any other Credit Documents or instruments in existence between the Parties or contemplated
hereby, and any other rights and remedies available to the Agent and the Lenders at law or in
equity, shall be cumulative. The exercise or failure to exercise any of the said remedies shall not
constitute a waiver or release thereof or of any other right or remedy, and shall be non-exclusive.
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10.9     Performance of Covenants by Agent

        If a Credit Party fails to perform any covenant or obligation to be performed by it
pursuant to this Agreement, the Agent, at the request of the Required Lenders (in their sole
discretion), after written notice to the Borrowers, perform any of the said obligations but shall be
under no obligation to do so; and any amounts expended or advanced by the Agent for such
purpose shall be payable by the Borrowers upon demand, together with interest thereon at the
highest rate then applicable to the Facilities.

10.10 Purchase of Participation Following Acceleration

        After all Obligations are declared by the Agent to be due and payable pursuant to Section
10.2, (i) each Lender agrees that it will at any time or from time to time thereafter at the request
of the Agent as required by any Lender, purchase at par on a non-recourse basis a participation in
the Outstanding Advances owing to each of the other Lenders under the Operating Facilities and
make any other adjustments as are necessary or appropriate, in order that the Outstanding
Advances owing to each of the Lenders under the Operating Facilities, as adjusted pursuant to
this Section 10.10, will be in the same proportion as each Lender’s Commitment under all the
Operating Facilities was to the aggregate Commitment of all Lenders under all the Operating
Facilities immediately prior to the Event of Default resulting in such declaration; (ii) the amount
of any repayment made by or on behalf of the Credit Parties under the Credit Documents or any
proceeds received by the Agent or the Lenders pursuant to Section 11.7 will be applied by the
Agent in a manner such that to the extent possible the amount of the Outstanding Advances
owing to each Lender under the Operating Facilities after giving effect to such application will be
in the same proportion as each Lender’s Commitment under all the Operating Facilities was to
the aggregate Commitment of all Lenders under all the Operating Facilities immediately prior to
the Event of Default resulting in such declaration; provided that: (i) HSBC US shall not purchase
any participation under this Section 10.10 from HSBC Bank Canada (and provided that for
certainty, the foregoing proviso shall not affect the obligations of HSBC US to any of the other
Lenders under this Section 10.10); and (ii) if Applicable Laws or a Lender's internal regulations
and policies prohibits such Lender from purchasing a participation in Outstanding Advances
owing by a Borrower other than the Canadian Borrower, such Lender shall not be required to
purchase a participation in the Outstanding Advances owing by such Borrower, provided that
such Lender hereby indemnifies the other Lenders for its Proportionate Share of such
Outstanding Advances as if such purchase had occurred.

                                   ARTICLE 11
                         ADMINISTRATION OF THE FACILITIES

11.1     Authorization and Action

       Each Lender hereby irrevocably appoints and authorizes the Agent to be its agent in its
name and on its behalf and to exercise such rights or powers granted to the Agent or the Lenders
under the Credit Documents to the extent specifically provided therein and on the terms thereof,
together with such powers and authority as are reasonably incidental thereto. As to any matters
not expressly provided for by the Credit Documents, the Agent will not be required to exercise
any discretion or take any action, but will be required to act or to refrain from acting (and will be
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fully indemnified and protected by the Lenders to the greatest extent permitted by Law in so
acting or refraining from acting) upon the instructions of the Required Lenders, and such
instructions will be binding upon all Lenders; provided, however, that the Agent will not be
required to take any action which, in the opinion of the Agent, might expose the Agent to liability
in such capacity, which could result in the Agent incurring any costs and expenses, or which is
contrary to the spirit and intent of this Agreement.

11.2     Decision-Making

         11.2.1 Any amendment to this Agreement relating to the following matters shall require
         the unanimous agreement of the Lenders:

         (a)    decreases in interest rates or fees payable in respect of any Facility;

         (b)    increases in the maximum amount of credit available under any Facility (other
                than increases made pursuant to Section 2.8.1);

         (c)    extensions, or changes to the definition, of the Facilities Maturity Date;

         (d)    extensions or postponements of the scheduled dates or the scheduled amounts for
                Repayments hereunder;

         (e)    reductions in the Outstanding Advances under any Facility;

         (f)    releases of all or substantially all of the Security, unless in connection with a
                Permitted Disposition;

         (g)    any change to the definition of Required Lenders;

         (h)    any provision of this Agreement which expressly states that the unanimous
                consent of the Lenders is required in connection with an action to be taken or
                consent provided by the Lenders;

         (i)    any amendment, modification or elimination the definition of Borrowing Base or
                any of the defined terms that are used in such definition to the extent that any such
                change results in more credit being made available to the Borrowers based upon
                the Borrowing Base, but not otherwise;

         (j)    any change to Sections 11.8.1, 11.9(b) or any other provision regarding the
                allocation of payments to the Lenders under this Agreement; and

         (k)    this Section 11.2;

         provided, that (A) any change to Section 2.6.1(i) or Article 11 will also require the
         consent of the Agent, (B) any change to Sections 4.6.1(c) and 4.7 (and the related
         definitions referenced therein) will require the consent of the Issuing Bank under the U.S.
         Operating Facility and the Agent, (C) any change to Sections 2.6.1(b) and 2.7 (and the
         related definitions referenced therein) will require the consent of the Swingline Lender
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         and the Agent, (D) any change to Section 5.16 (and the related definitions referenced
         therein) will require the consent of each Issuing Bank and the Agent (E) any increase to
         the individual commitment amount of a Lender under a Facility can only be made with
         the consent of such Lender; and (F) any other change which only effects the Canadian
         Operating Lenders, the U.S. Operating Lenders, the Canadian Operating Lenders, Term
         Lenders, the Issuing Bank, the Swingline Lender or the Agent, respectively, shall only
         require the consent of the affected Persons.

         11.2.2 Except for the matters described in Section 11.2.1 above, any amendment to this
         Agreement or the other Credit Documents shall be effective if made among the Borrower
         and the Required Lenders, and for greater certainty any such amendment which is agreed
         to by the Required Lenders shall be final and binding upon all Lenders.

         11.2.3 Except for the matters which require the unanimous consent of the Lenders as
         set out above, any action to be taken or decision to be made by the Lenders pursuant to
         this Agreement (specifically including for greater certainty the issuance of written notice
         to the Borrower of the occurrence of a Default or Event of Default, the issuance of a
         demand for payment of the Obligations, a decision to make an Advance despite any
         condition precedent relating thereto not being satisfied, the provision of any waiver in
         respect of a breach of any covenant or the issuance of any consent which may be required
         under Section 7.2) shall be effective if approved by the Required Lenders; and any such
         decision or action shall be final and binding upon all the Lenders.

         11.2.4 Any action to be taken or decision to be made by the Lenders pursuant to this
         Agreement which is required to be unanimous shall be made at a meeting of the Lenders
         called by the Agent pursuant to Section 11.11(k) or by a written instrument executed by
         all of the Lenders. Any action to be taken or decision to be made by the Lenders pursuant
         to this Agreement which is required to be made by the Required Lenders shall be made at
         a meeting of the Lenders called by the Agent pursuant to Section 11.11(k) or by a written
         instrument executed by the Required Lenders. Any instrument contemplated in this
         Section 11.2.4 may be executed by fax or pdf and in counterparts.

         11.2.5 Subject to Section 8.5(b), the Agent may from time to time without notice to or
         the consent of the Lenders execute and deliver partial releases of the Security in respect of
         any item of Collateral (whether or not the proceeds of sale thereof are received by the
         Agent) which the Credit Parties are permitted to dispose of in connection with a
         Permitted Disposition; and in releasing any such Security the Agent may rely upon and
         assume the correctness of all information contained in any certificate or document
         provided by any one or more of the Borrowers, without further enquiry. Otherwise, any
         release or discharge in respect of the Security or any portion thereof shall require the
         written consent of the Lenders acting unanimously.

11.3     Procedure for Making Advances

         11.3.1 Subject to Section 11.8.3, all Advances under each Facility will be made in
         accordance with each Lender’s Proportionate Share of such Advance under such Facility.
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         11.3.2 The Lenders, through the Agent, will make Advances under a Facility available
         to the Borrower as required hereunder by debiting the account of the Agent to which each
         Lender’s Proportionate Share in respect of each Facility of such Advances has been
         credited (or causing such account to be debited) and, in the absence of other arrangements
         agreed to by the Agent and the Borrowers in writing, by transferring (or causing to be
         transferred) like funds in accordance with the instructions of the Borrowers as set forth in
         the a Drawdown Request, Conversion Notice or Rollover Notice, as the case may be, in
         respect of each Advance under each Facility; provided, that the obligation of the Agent
         hereunder will be limited to taking such steps as are in keeping with its normal banking
         practice and which are commercially reasonable in the circumstances to implement such
         instructions, and the Agent will not be liable for any damages, claims or costs which may
         be suffered by the Borrowers or any of the Lenders and occasioned by the failure of such
         funds to reach their designated destination, unless such failure is due to the gross
         negligence or wilful misconduct of the Agent.

11.4     Failure to Fund

         11.4.1 Unless the Agent has actual knowledge that a Lender has not made or will not
         make available to the Agent for value on the date of any Advance the applicable amount
         required from such Lender hereunder, the Agent shall be entitled to assume that such
         amount has been or will be received from such Lender when so due and the Agent may
         (but shall not under any circumstances be obliged to), in reliance upon such assumption,
         make available to the applicable Borrower a corresponding amount (except that no such
         amount shall be made available to the applicable Borrower in the case of a deemed
         Advance). If such amount is not in fact received by the Agent from such Lender on such
         date and the Agent has made available a corresponding amount to the applicable
         Borrower on such date as aforesaid (or is deemed to have made an Advance to the
         applicable Borrower in such amount), such Lender shall pay to the Agent on demand an
         amount equal to the aggregate of the applicable amount required from such Lender
         hereunder plus an amount equal to the product of (a) the rate per annum applicable to
         overnight deposits made with the Agent for amounts approximately equal to the amount
         required from such Lender multiplied by (b) the amount that should have been paid to the
         Agent by such Lender on such date and was not, multiplied by (c) a fraction, the
         numerator of which is the number of days that have elapsed from and including such date
         to but excluding the date on which the amount is received by the Agent from such Lender
         and the denominator of which is 365 or 366 days, as the case may be, in the case of all
         Advances. A certificate of the Agent containing details of the amount owing by a Lender
         under this Section shall be binding and conclusive in the absence of manifest error. If any
         such amount is not in fact received by the Agent from such Lender on such date, the
         Agent shall be entitled to recover from the applicable Borrower, on demand, the related
         amount made available by the Agent to such Borrower as aforesaid together with interest
         thereon at the applicable rate per annum payable by such Borrower hereunder.

         11.4.2 Notwithstanding the provisions of Section 11.4.1, if any Lender fails to make
         available to the Agent its Proportionate Share of any Advance, which for greater certainty
         includes a deemed Advance hereunder (such Lender being herein called the “Non-Paying
         Lender”), the Agent shall forthwith give notice of such failure by the Non-Paying Lender
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         to the applicable Borrower (except where such failure relates to a deemed Advance) and
         to the other Lenders. The Agent shall then forthwith give notice to the other Lenders that
         any Lender may make available to the Agent all or any portion of the Non-Paying
         Lender’s Proportionate Share of such Advance (but in no way shall any other Lender or
         the Agent be obliged to do so) in the place of the Non-Paying Lender. If more than one
         Lender gives notice that it is prepared to make funds available in the place of a
         Non-Paying Lender in such circumstances and the aggregate of the funds which such
         Lenders (herein collectively called the “Contributing Lenders” and individually called
         the “Contributing Lender”) are prepared to make available exceeds the amount of the
         Advance which the Non-Paying Lender failed to make, then each Contributing Lender
         shall be deemed to have given notice that it is prepared to make available its
         Proportionate Share of such Advance based on the Contributing Lenders’ relative
         commitments to advance in such circumstances. If any Contributing Lender makes funds
         available in the place of a Non-Paying Lender in such circumstances, then the
         Non-Paying Lender shall pay to any Contributing Lender making the funds available in its
         place, forthwith on demand, any amount advanced on its behalf together with interest
         thereon at the rate applicable to such Advance from the date of advance to the date of
         payment, against payment by the Contributing Lender making the funds available of all
         interest received in respect of the Advance from the applicable Borrower. The failure of
         any Lender to make available to the Agent its Proportionate Share of any Advance as
         required herein shall not relieve any other Lender of its obligations to make available to
         the Agent its Proportionate Share of any Advance as required herein.

11.5     Defaulting Lenders and Replacement of Lenders

         11.5.1 Notwithstanding any provision of this Agreement to the contrary, if any Lender
         becomes a Defaulting Lender, then the following provisions shall apply for so long as
         such Lender is a Defaulting Lender:

         (a)    the standby fees payable to a Defaulting Lender hereunder shall cease to accrue on
                the unused portion of its Commitment under any Operating Facility, as applicable;

         (b)    a Defaulting Lender shall not be included in determining whether, and the
                Commitment and the Proportionate Share of the Outstanding Advances of such
                Defaulting Lender under the Facilities, or any of them, shall not be included in
                determining whether, all Lenders or the Required Lenders, have taken or may take
                any action hereunder; provided, that any waiver, amendment or modification
                requiring the consent of all Lenders or each affected Lender that affects such
                Defaulting Lender differently than other affected Lenders shall require the consent
                of such Defaulting Lender;

         (c)    subject to Section 11.4.1, for the purposes of any Advance requested hereunder
                while there is a Defaulting Lender, each Lender’s Proportionate Share thereof
                shall be calculated based on such Lender’s (A) Commitment relative to the total
                Commitment under the applicable Facility reduced by the Commitment of the
                Defaulting Lender;
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  (d)    the Agent, the Swingline Lender or the Issuing Bank may require such Defaulting
         Lender to pay to the Agent for deposit into an escrow account maintained by and
         in the name of the Agent an amount equal to such Defaulting Lender’s maximum
         contingent obligations hereunder to the Agent, the Swingline Lender or the
         Issuing Bank, as the case may be (provided that the foregoing shall not apply to
         Export Development Canada to the extent such a deposit is unlawful under the
         Financial Administration Act (Canada));

  (e)    the Agent may withhold any payments owing to such Defaulting Lender for set off
         against such Defaulting Lender’s existing or reasonably foreseeable future
         obligations hereunder; and

  (f)    for the avoidance of doubt, the Borrowers shall retain and reserve their other
         rights and remedies respecting each Defaulting Lender.

  11.5.2 If a Lender is a Defaulting Lender or refuses to give timely consent to an
  amendment, modification or waiver of this Agreement that, pursuant to Section 11.2,
  requires consent of all the Lenders (and the consent of the Required Lenders has been
  given with respect thereto) (a “Non-Consenting Lender”) (collectively, the “Departing
  Lenders”), then the Borrowers may:

  (a)    replace the Departing Lender with another financial institution acceptable to the
         Agent, the Swingline Lender and the Issuing Bank, each acting reasonably, who
         purchases at par, or such lower price as the Departing Lender may agree in its sole
         discretion, the Outstanding Advances and other amounts under all Facilities
         owing to the Departing Lender and such Lender’s entire Commitment and
         assumes the Departing Lender’s Commitment and all other obligations of the
         Departing Lender hereunder; provided, that prior to or concurrently with such
         replacement:

         (i)     the Departing Lender shall have received payment in full of all principal,
                 interest, fees and other amounts through such date of replacement and a
                 release from any further obligations to make Advances under the Credit
                 Documents after the date of such replacement;

         (ii)    the assignment fee required to be paid by Section 13.6.2 shall have been
                 paid to the Agent;

         (iii)   all of the other requirements for such assignment contained herein shall
                 have been satisfied, including the consent of the Agent, the Swingline
                 Lender and the Issuing Bank and the receipt by the Agent of such
                 agreements, documents and instruments as the Agent may reasonably
                 require; and

         (iv)    in the case of a Departing Lender who is a Non-Consenting Lender, each
                 assignee consents, at the time of such assignment, to each matter in respect
                 of which such Non-Consenting Lender was a Non-Consenting Lender and
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                        the Borrowers also requires each other Lender that is a Non-Consenting
                        Lender to assign the Outstanding Advances owing to it under each Facility
                        and its Commitment; or

         (b)    provided, no Default or Event of Default exists at such time, elect to terminate the
                Departing Lender’s Commitment, in which case the Commitment in respect of
                each Facility shall be reduced by an amount equal to the amount of any
                Commitment of such Facility so cancelled (provided, that prior to or concurrently
                with such cancellation the Departing Lender shall have received payment in full of
                all principal, interest, fees and other amounts through such date of cancellation
                (including breakage and other costs in accordance with Sections 5.10.4 and 5.14)
                and a release from any further obligations to make Advances under the Credit
                Documents after such termination); or

         (c)    exercise any combination of the rights under (a) and (b) above; provided, that in
                each case, each Departing Lender is treated ratably with the other Departing
                Lenders, if any.

11.6     Security and Exercise of Remedies

         11.6.1 Except to the extent provided in Section 11.6.2, the Security shall be granted in
         favour of and held by the Agent for and on behalf of the Lenders in accordance with the
         provisions of this Agreement. The Agent shall, in accordance with its usual practices in
         effect from time to time, take all steps required to perfect and maintain the Security to the
         extent required hereunder, including: taking possession of the certificates representing the
         securities required to be pledged hereunder to the extent required hereunder; filing
         renewals and change notices in respect of such Security; and ensuring that the name of
         the Agent is noted as loss payee or mortgagee on all property insurance policies covering
         the Collateral. If the Agent becomes aware of any matter concerning the Security which it
         considers to be material, it shall promptly inform the Lenders. The Agent shall comply
         with all instructions provided by the Lenders or the Required Lenders, as the case may be,
         in connection with the enforcement or release of the Security which it holds. The Agent
         agrees to permit each Lender to review and make photocopies of the original documents
         comprising the Security from time to time upon reasonable notice. The Agent is hereby
         authorized to enter into the Subordination Agreement on behalf of the Lenders and to any
         subordination and postponement agreements in respect of Subordinated Debt from time
         to time to the extent the same is permitted hereunder. Each Lender further authorizes the
         Agent to execute on its behalf, directly or through attorneys-in-fact duly appointed for
         such purposes, and to accept the benefits of, each of the Security governed under the laws
         of the Republic of Colombia and any other agreements or documents as may be necessary
         or advisable in connection with the grant of, or attachment or perfection of, modification,
         supplement or waiver under any of, the security interest granted to the Agent, for the
         benefit of the Lenders, pursuant to the Security governed under the laws of the Republic
         of Colombia. The Lenders and the other Secured Parties authorize the Agent to release
         any Collateral or Guarantors in accordance with Section 13.21 or if approved, authorized
         or ratified in accordance with Section 11.2.1. The Lenders and the other Secured Parties
         hereby irrevocably authorize and instruct the Agent to, without any further consent of any
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         Lender, enter into (or acknowledge and consent to) or amend, renew, extend, supplement,
         restate, replace, waive or otherwise modify the Encina Intercreditor Agreement and the
         Wells Fargo Letter to the extent this Agreement does not otherwise require the consent of
         the Required Lenders or all Lenders therefor.

         11.6.2 If any Credit Party has provided security in favour of any Lender directly, except
         for Permitted Purchase-Money Security Interests and Permitted Liens, such Lender agrees
         to pay to the Agent all amounts received by it in connection with the enforcement of such
         security, and all such amounts shall be deemed to constitute Proceeds of Realization and
         shall be dealt with as provided in Section 11.7.

         11.6.3 Except as otherwise provided herein, each Lender hereby acknowledges that, to
         the extent permitted by Applicable Law, rights and remedies provided under the Credit
         Documents to the Lenders are for the benefit of the Lenders collectively and not severally
         and further acknowledges that its rights and remedies thereunder are to be exercised not
         severally but collectively through the Agent upon the decision of the Lenders (with the
         required majority or unanimity as herein provided), regardless of whether acceleration of
         Obligations hereunder was made, and accordingly, notwithstanding any of the provisions
         contained herein, each of the Lenders hereby covenants and agrees that it will not be
         entitled to take any action with respect to the Facilities, including any acceleration of
         Obligations thereunder, but that any such action will be taken only by the Agent with the
         prior written direction of the Lenders (with the required majority or unanimity as herein
         provided). Notwithstanding the foregoing or anything else set forth herein to the contrary,
         in the absence of written instructions from the Lenders, and where in the sole opinion of
         the Agent the exigencies of the situation warrant such action, the Agent may without
         notice to or consent of the Lenders take such action on behalf of the Lenders as it deems
         appropriate or desirable in the circumstances. Each of the Lenders hereby covenants and
         agrees that it has not heretofore and will not seek, take, accept or receive any Liens in
         respect of any of the Obligations of the Credit Parties under the Credit Documents and
         will not enter into any agreement with any of the Parties relating in any manner
         whatsoever to the Facilities, unless all of the Lenders under the Facilities will at the same
         time obtain the benefit of any such security or agreement, as the case may be.

11.7     Application of Proceeds of Realization

       Notwithstanding any other provision of this Agreement, the Proceeds of Realization of
the Security or any portion thereof shall be distributed in the following order:

         (a)    firstly, in payment of all costs and expenses incurred by the Agent and the Lenders
                in connection with such realization, including legal, accounting and receivers’
                fees and disbursements;

         (b)    secondly, against the Obligations (including Secured Hedging Liabilities but
                excluding any other Hedging Liabilities in excess thereof, and, for certainty,
                excluding any Hedging Liabilities which are owed to a counterparty other than a
                Lender or Affiliate thereof), each Lender being entitled to receive its
                Proportionate Share thereof;
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         (c)   thirdly, against all Hedging Liabilities which are owing to any Lender or Affiliate
               thereof in excess of Secured Hedging Liabilities; and

         (d)   fourthly, if all Obligations of the Borrowers listed above and all other Hedging
               Liabilities owing to any Lender or Affiliate thereof have been paid and satisfied in
               full, any surplus Proceeds of Realization shall be paid in accordance with
               Applicable Law.

11.8     Payments by Agent

         11.8.1 The following provisions shall apply to all payments made by the Agent to the
         Lenders hereunder:

         (a)   the Agent shall be under no obligation to make any payment (whether in respect
               of principal, Interest, fees or otherwise) to any Lender until an amount in respect
               of such payment has been received by the Agent from a Credit Party;

         (b)   if the Agent receives a payment of principal, Interest, fees or other amount owing
               by any Borrower under a Facility which is less than the full amount of any such
               payment due, the Agent shall distribute such amount received among the Lenders
               under such Facility in each Lender’s Proportionate Share of such Facility;

         (c)   if the Agent receives payments in respect of principal, Interest, fees or other
               amounts owing by a Borrower under more than one Facility which are due on the
               same day, and if the amounts received are insufficient to satisfy all payments
               required under such Facilities on such day, the Agent shall, except as otherwise
               specifically set forth herein, distribute such amounts received among the Lenders
               under such Facilities in each Lender’s Proportionate Share of such Facilities;

         (d)   if any Lender has advanced more or less than its Proportionate Share of its
               Commitment under a Facility, such Lender’s entitlement to such payment shall be
               increased or reduced, as the case may be, in proportion to the amount actually
               advanced by such Lender;

         (e)   if a Lender’s Proportionate Share of an Advance under a Facility has been
               advanced for less than the full period to which any payment by any Credit Party
               relates, such Lender’s entitlement to receive a portion of any payment of interest
               or fees shall be reduced in proportion to the length of time such Lender’s
               Proportionate Share has actually been outstanding;

         (f)   the Agent acting reasonably and in good faith shall, after consultation with the
               Lenders in the case of any dispute, determine in all cases the amount of all
               payments to which each Lender is entitled and such determination shall be
               deemed to be prima facie correct;

         (g)   upon request by a Lender, the Agent shall deliver a statement detailing any of the
               payments to the Lenders referred to herein;
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           (h)    all payments by the Agent to a Lender hereunder shall be made to such Lender at
                  its address set out herein unless notice to the contrary is received by the Agent
                  from such Lender; and

           (i)    if the Agent has received a payment from a Credit Party on a Business Day (not
                  later than the time required for the receipt of such payment as set out in this
                  Agreement) and fails to remit such payment to any Lender entitled to receive its
                  Proportionate Share of such payment on such Business Day, the Agent agrees to
                  pay interest on such late payment at a rate determined by the Agent in accordance
                  with prevailing banking industry practice on interbank compensation.

           11.8.2 Each Borrower hereby irrevocably authorizes the Agent to debit any account
           maintained by it with the Agent after written notice to such Borrower in order to make
           payments to the Lenders or the Agent of any amount that is overdue and payable
           hereunder for the purposes of satisfying payment thereof.

           11.8.3 The Agent may in its discretion from time to time make adjustments in respect
           of any Lender’s share of an Advance, Conversion, Rollover or Repayment under a
           Facility in order that the Outstanding Advances due to such Lender under such Facility
           shall be approximately in accordance with such Lender’s Proportionate Share of the
           Facility.

11.9       Redistribution of Payment

           Each Lender agrees that, subject to Section 10.4:

           (a)    If it exercises any right of counterclaim, set off, bankers’ lien or similar right with
                  respect to any property of any Credit Party or if under Applicable Law it receives
                  a secured claim, it will apportion the amount thereof proportionately between:

                  (i)     amounts outstanding at the time owed by the Credit Party to such Lender
                          under this Agreement, which amounts will be applied in accordance with
                          this Section 11.9; and

                  (ii)    amounts otherwise owed to it by a Credit Party;

                  provided, that any cash collateral account held by such Lender as collateral for a
                  letter of credit or bankers’ acceptance (including a Bankers’ Acceptance) issued or
                  accepted by such Lender on behalf of a Credit Party may be applied by such
                  Lender to such amounts owed by such Credit Party to such Lender pursuant to
                  such letter of credit or in respect of any such bankers’ acceptance without
                  apportionment.

           (b)    If it receives, through the exercise of a right or the receipt of a secured claim
                  described in Section 11.9(a) or otherwise, payment of a proportion of the
                  aggregate amount of principal, interest and fees due to it hereunder which is
                  greater than the proportion received by any other Lender in respect of the
                  aggregate amount of principal, interest and fees due in respect of the applicable
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             Facility (having regard to the respective proportionate amounts advanced as
             Advances by each of the Lenders under the applicable Facility), the Lender
             receiving such proportionately greater payment will purchase a participation
             (which will be deemed to have been done simultaneously with receipt of such
             payment) in that portion of the applicable Facility of the other Lenders so that
             their respective receipts will be pro rata to their respective Proportionate Shares;
             provided, however, that, if all or part of such proportionately greater payment
             received by such purchasing Lender is otherwise recovered by it, such purchase
             will be rescinded and the purchase price for such participation will be returned to
             the extent of such recovery, but without interest. Such Lender will exercise its
             rights in respect of such secured claim in a manner consistent with the rights of
             the Lenders entitled under this Section 11.9 to share in the benefits of any
             recovery on such secured claims.

      (c)    If it does any act or thing permitted by Section 11.9(a) or 11.9(b), it will promptly
             provide full particulars thereof to the Agent.

      (d)    Except as permitted under Section 11.9(a) or 11.9(b), no Lender will be entitled to
             exercise any right of counter claim, set off, bankers’ lien or similar right without
             the prior written consent of the other Lenders.

      (e)    Notwithstanding anything else in this Section 11.9, any amounts which are
             lawfully received by any Hedge Provider in respect of Hedging Liabilities prior to
             the delivery by the Agent of a declaration of all Obligations becoming due
             pursuant to Section 11.9 are not required to be shared pursuant to the provisions
             of this Section 11.9.

      (f)    The provisions of this Section 11.9 shall survive repayment of the Obligations.

11.10 Protection of Agent

      11.10.1 Unless the Agent has actual knowledge or actual notice to the contrary, it may
      assume that each Lender’s address set out in Exhibit “A” attached hereto is correct, unless
      and until it has received from such Lender a notice designating a different address.

      11.10.2 The Agent may engage and pay for the advice or services of any lawyers,
      accountants or other experts whose advice or services may to it seem necessary, expedient
      or desirable and rely upon any advice so obtained (and to the extent that such costs are
      not recovered from the Credit Parties pursuant to this Agreement, each Lender agrees to
      reimburse the Agent in such Lender’s Proportionate Share of such costs).

      11.10.3 Unless the Agent has actual knowledge or actual notice to the contrary, it may
      rely as to matters of fact which might reasonably be expected to be within the knowledge
      of any Credit Party upon a statement contained in any Credit Document.

      11.10.4 Unless the Agent has actual knowledge or actual notice to the contrary, it may
      rely upon any communication or document believed by it to be genuine.
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  11.10.5 The Agent may refrain from exercising any right, power or discretion vested in it
  under this Agreement unless and until instructed by the Required Lenders as to whether
  or not such right, power or discretion is to be exercised and, if it is to be exercised, as to
  the manner in which it should be exercised (provided, that such instructions shall be
  required to be provided by all of the Lenders in respect of any matter for which the
  unanimous consent of the Lenders is required as set out herein).

  11.10.6 The Agent may refrain from exercising any right, power or discretion vested in it
  which would or might in its sole and unfettered opinion be contrary to any law of any
  jurisdiction or any directive or otherwise render it liable to any Person, and may do
  anything which is in its opinion in its sole discretion necessary to comply with any such
  law or directive.

  11.10.7 The Agent may delegate to such other Person, such duties and responsibilities of
  the Agent hereunder as it shall determine to be appropriate in respect of dealings with or
  relating to any Credit Party or any other Person and in particular, the Agent may execute
  any of its duties under this Agreement or any other Credit Document (including, for
  purposes of holding or enforcing any Lien on the Collateral (or any portion thereof)
  granted under the Security or of exercising any rights and remedies thereunder) by
  sub-agent or attorney-in-fact. The Agent shall not be responsible for the negligence or
  misconduct of any sub-agent or attorney-in-fact that it selects in the absence of gross
  negligence or willful misconduct on the part of the Agent, as determined by a final and
  non-appealable judgment of a court of competent jurisdiction. The exculpatory provisions
  of this Agreement applicable to the Agent shall apply to any such other Person, sub-agent
  or attorney-in-fact and to the Affiliates of the Agent and any such sub-agent or
  attorney-in-fact, and shall apply to their respective activities in connection with the
  syndication of the Facilities as well as activities as Agent.

  11.10.8 The Agent may refrain from acting in accordance with any instructions of the
  Required Lenders to begin any legal action or proceeding arising out of or in connection
  with this Agreement or take any steps to enforce or realize upon any Security, until it
  shall have received such security as it may reasonably require (whether by way of
  payment in advance or otherwise) against all costs, claims, expenses (including legal fees)
  and liabilities which it will or may expend or incur in complying with such instructions.

  11.10.9 The Agent shall not be bound to disclose to any Person any information relating
  to the Credit Parties or any Related Parties if such disclosure would or might in its
  opinion in its sole discretion constitute a breach of any law or regulation or be otherwise
  actionable at the suit of any Person.

  11.10.10 The Agent shall not accept any responsibility for the accuracy or completeness
  of any information supplied in connection herewith or for the legality, validity,
  effectiveness, adequacy or enforceability of any Credit Document and shall not be under
  any liability to any Lender as a result of taking or omitting to take any action in relation to
  any Credit Document except in the case of the Agent’s gross negligence or wilful
  misconduct.
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11.11 Duties of Agent

      The Agent shall:

      (a)    hold and maintain the Security to the extent provided in Section 11.6;

      (b)    provide to each Lender copies of all financial information received from the
             Credit Parties promptly after receipt thereof, and copies of any Drawdown
             Requests, Conversion Notices, Rollover Notices, Repayment Notices and other
             notices received by the Agent from the Credit Parties upon request by any Lender;

      (c)    promptly advise each Lender of Advances required to be made by it hereunder and
             disburse all Repayments to the Lenders hereunder in accordance with the terms of
             this Agreement;

      (d)    promptly notify each Lender of the occurrence of any Default or Event of Default
             of which the Agent has actual knowledge or actual notice;

      (e)    at the time of engaging any agent, receiver, receiver-manager, consultant, monitor
             or other party in connection with the Security or the enforcement thereof, obtain
             the agreement of such party to comply with the applicable terms of this
             Agreement in carrying out any such enforcement activities and dealing with any
             Proceeds of Realization;

      (f)    account for any monies received by it in connection with this Agreement, the
             Security and any other agreement delivered in connection herewith or therewith;

      (g)    each time a Borrower requests the written consent of the Lenders in connection
             with any matter, use its best efforts to obtain and communicate to the Borrowers
             the response of the Lenders in a reasonably prompt and timely manner having due
             regard to the nature and circumstances of the request;

      (h)    give written notice to the Borrowers in respect of any other matter in respect of
             which notice is required in accordance with or pursuant to this Agreement,
             promptly or promptly after receiving the consent of the Required Lenders, if
             required under the terms of this Agreement;

      (i)    except as otherwise provided in this Agreement, act in accordance with any
             instructions given to it by the Required Lenders;

      (j)    if so instructed by the Required Lenders, refrain from exercising any right, power
             or discretion vested in it under this Agreement or any document incidental thereto;
             and

      (k)    call a meeting of the Lenders at any time not earlier than five days and not later
             than 30 days after receipt of a written request for a meeting provided by any
             Lender.

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11.12 Lenders’ Obligations Several; No Partnership

        The obligations of each Lender under this Agreement are several. The failure of any
Lender to carry out its obligations hereunder shall not relieve the other Lenders of any of their
respective obligations hereunder. No Lender shall be responsible for the obligations of any other
Lender hereunder. Neither the entering into of this Agreement nor the completion of any
transactions contemplated herein shall constitute the Lenders and the Agent, or any combination
of them, a partnership or give rise to any fiduciary relationship between them.

11.13 Reliance Upon Agent

        The Borrowers will be entitled to rely upon any certificate, notice or other document or
other advice, statement or instruction provided to them (or any one of them) by the Agent
pursuant to the Credit Documents, and the Borrowers will be entitled to deal with the Agent with
respect to matters under the Credit Documents which the Agent is authorized hereunder to deal
with, without any obligation whatsoever to satisfy themselves as to the authority of the Agent to
act on behalf of the Lenders and without any liability whatsoever to the Lenders for relying upon
any certificate, notice or other document or other advice, statement or instruction provided to
them by the Agent, notwithstanding any lack of authority of the Agent to provide the same.

11.14 No Liability of Agent

       The Agent, in its capacity as agent of the Lenders under the Credit Documents, will have
no responsibility or liability to the Borrowers or the Lenders on account of the failure of any
Lender to perform its obligations hereunder, or to any Lender on account of the failure of any
Borrower to perform its obligations under the Credit Documents.

11.15 Agent and Agent Authority

        With respect to its Proportionate Share of each Facility and the Advances made by it as a
Lender thereunder, as applicable, the Agent will have the same rights and powers under the
Credit Documents as any other Lender and may exercise the same as though it were not the
Agent. The Agent may accept deposits from, lend money to, and generally engage in any kind of
business with any Credit Party, any of their Subsidiaries, their respective shareholders or
unitholders or any Person owned or controlled by any of them and any Person which may do
business with any of them, all as if the Agent was not serving as Agent, and without any duty or
obligation to account therefor to the Lenders.

11.16 Lenders’ Credit Decisions

        It is understood and agreed by each Lender that it has itself been, and will continue to be,
solely responsible for making its own independent appraisal of and investigations into the
financial condition, creditworthiness, condition, affairs, status and nature of the Credit Parties.
Accordingly, each Lender confirms with the Agent that it has not relied, and will not hereafter
rely, on the Agent (a) to check or inquire on its behalf into the adequacy, accuracy or
completeness of any information provided by the Credit Parties or any other Person under or in
connection with the Facilities (whether or not such information has been or is hereafter
distributed to such Lender by the Agent) or (b) to assess or keep under review on its behalf the
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financial condition, creditworthiness, condition, affairs, status or nature of any Credit Party. Each
Lender acknowledges that copies of the Credit Documents have been made available to it for
review and each Lender acknowledges that it is satisfied with the form and substance of the
Credit Documents. A Lender will not make any independent arrangement with any Credit Party
for the satisfaction of any Obligations owing to it under the Credit Documents without the
written consent of the other Lenders.

11.17 Indemnification

        The Lenders hereby severally agree to indemnify the Agent and its directors, officers,
agents and employees (to the extent not reimbursed by the Credit Parties) in accordance with
their respective Proportionate Share, from and against any and all liabilities, obligations, losses,
damages, penalties, actions, judgments, suits, costs, expenses or disbursements of any kind or
nature whatsoever which may be imposed on, incurred by, or asserted against the Agent or its
directors, officers, agents and employees in any way relating to or arising out of the Credit
Documents or any action taken or omitted by the Agent under or in respect of the Credit
Documents in its capacity as Agent; provided, that no Lender will be liable for any portion of
such liabilities, obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses
or disbursements resulting from the Agent’s gross negligence or wilful misconduct, as
determined by a final and non-appealable judgment of a court of component jurisdiction. Without
limiting the generality of the foregoing, each Lender agrees to reimburse the Agent promptly
upon demand for its Proportionate Share of any reasonable out of pocket expenses (including
legal fees, on a solicitor and his own client full indemnity basis) incurred by the Agent in
connection with the preservation of any right of the Agent or the Lenders under, or the
enforcement of, or legal advice in respect of rights or responsibilities under, the Credit
Documents, to the extent that the Agent is not reimbursed for such expenses by the Borrowers.
This indemnity will survive the termination of the other provisions of this Agreement as a
separate and continuing covenant of the Lenders.

11.18 Successor Agent

        The Agent may, as hereinafter provided, resign at any time by giving 30 days’ notice (the
“Resignation Notice”) thereof to the Lenders and the Borrowers. The remaining Lenders, with
the consent of the Borrowers, such consent not to be unreasonably withheld, will forthwith upon
receipt of the Resignation Notice unanimously appoint a successor agent (the “Successor
Agent”) to assume the duties hereunder of the resigning Agent. Upon the acceptance of any
appointment as agent hereunder by a Successor Agent, such Successor Agent will thereupon
succeed to and become vested with all the rights, powers, privileges and duties as agent under the
Credit Documents of the resigning Agent. Upon such acceptance, the resigning Agent will be
discharged from its further duties and obligations as agent under the Credit Documents, but any
such resignation will not affect such resigning Agent’s obligations hereunder as a Lender,
including for its Proportionate Share of the applicable Commitment. After the resignation of the
Agent as agent hereunder, the provisions of this Article 11 will continue to enure to its benefit as
to any actions taken or omitted to be taken by it while it was the agent of the Lenders hereunder.
Notwithstanding the foregoing, if the remaining Lenders fail to appoint a Successor Agent within
30 days of receipt of the Resignation Notice, the resigning Agent may, with the approval of the
Borrowers except during the continuance of an Event of Default, such approval not to be
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unreasonably withheld, appoint a Successor Agent from among the Lenders (other than Business
Development Bank of Canada).

11.19 Sharing of Information

       The Agent and the Lenders may share among themselves any information they may have
from time to time concerning the Credit Parties whether or not such information is confidential;
but shall have no obligation to do so (except for any obligations of the Agent to provide
information to the extent required in this Agreement). The Agent shall not have any duty to
disclose any information obtained or received by it or any of its Affiliates relating to any Credit
Party or any of its Subsidiaries to the extent such information was obtained or received in any
capacity other than as the Agent.

11.20 Acknowledgement by Borrowers

       Each Borrower hereby acknowledges notice of the terms of the provisions of this Article
11 and agrees to be bound hereby to the extent of its obligations hereunder, and further agrees not
to make any payments, take any action or omit to take any action which would result in the
non-compliance by the Agent or any Lender with its obligations hereunder.

11.21 Amendments to Article 11

        The Agent and the Lenders may amend any provision in this Article 11 (other than
Section 11.5) without prior notice to or the consent of the Borrowers, and the Agent shall provide
a copy of any such amendment to the Borrowers reasonably promptly thereafter; provided,
however, if, in the Agent’s opinion, any such amendment would materially and adversely affect
any rights, entitlements, obligations or liabilities of any Borrower, such amendment shall not be
effective until such Borrower provides its written consent thereto, such consent not to be
unreasonably withheld or arbitrarily delayed.

11.22 Deliveries, etc.

       As between the Credit Parties on the one hand, and the Agent and the Lenders on the
other hand:

       (a)     all statements, certificates, consents and other documents which the Agent
               purports to deliver to a Credit Party on behalf of the Lenders shall be binding on
               each of the Lenders, and none of the Credit Parties shall be required to ascertain
               or confirm the authority of the Agent in delivering such documents;

       (b)     all certificates, statements, notices and other documents which are delivered by a
               Credit Party to the Agent in accordance with this Agreement shall be deemed to
               have been duly delivered to each of the Lenders; and

       (c)     all payments which are delivered by a Credit Party to the Agent in accordance
               with this Agreement shall be deemed to have been duly delivered to each of the
               Lenders.
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11.23 Agency Fee

         The Borrowers jointly and severally agree to pay to the Agent an annual agency fee as set
         out in the Fee Agreement, payable in advance on the Amendment and Restatement Date
         and annually on each anniversary date thereafter during the term of this Agreement.

                                          ARTICLE 12
                                       INCREASED COSTS

12.1     Changes in Law

         12.1.1    If, after the Amendment and Restatement Date, due to either:

         (a)      the introduction of, or any change in, any Law or any change in the interpretation
                  of any Law, whether having the force of law or not, resulting in the imposition or
                  increase of reserves, deposits or similar requirements by any central bank or
                  Governmental Authority charged with the administration thereof; or

         (b)      imposition of any Lender or requirements on any Lender to maintain any capital
                  adequacy or additional capital liquidity requirements in respect of any Advances
                  or Commitments hereunder, or any other condition with respect to this
                  Agreement; or

         (c)      the compliance with any guideline or request from any central bank or other
                  Governmental Authority which a Lender, acting reasonably, determines that it is
                  required to comply with,

         there will be any increase in the cost to such Lender of agreeing to make or making,
         funding or maintaining an Advance or there will be any reduction in the effective return
         to such Lender thereunder, then, subject to Section 12.1.2, the Borrowers jointly and
         severally agree that they will, within ten Business Days after being notified by such
         Lender of such event, pay to such Lender, quarterly in arrears, that amount (the
         “Additional Compensation”) which such Lender, acting reasonably, determines will
         compensate it, after taking into account all applicable Taxes and all interest and other
         amounts received, for any such increased costs or reduced returns incurred or suffered by
         such Lender provided such Lender is also charging its other borrowers in similar
         circumstances similar additional compensation.

         12.1.2 If Additional Compensation is payable pursuant to Section 12.1.1(a), the
         Borrowers will have the option to convert the Advance to another type of Advance, in
         accordance with this Agreement, in respect of which no further such Additional
         Compensation will be payable, or prepay any amount of the Facility owed to the Lender
         entitled to receive the Additional Compensation, subject always to Section 5.13 without
         obligation to make a corresponding prepayment to any other Lender. If the Additional
         Compensation relates to outstanding Bankers’ Acceptances, such Lender may require the
         Borrowers to deposit in an interest bearing cash collateral account with such Lender such
         amount as may be necessary to fully satisfy the contingent obligations of such Lender for
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         all outstanding Bankers’ Acceptances in accordance with the arrangements similar to
         those set out in Section 5.11.

         12.1.3 Notwithstanding anything contained in this Section 12.1, the Dodd-Frank Wall
         Street Reform and Consumer Protection Act and all requests, rules, regulations,
         guidelines and directives thereunder or issued in connection therewith and all requests,
         rules, regulations, guidelines and directives concerning capital adequacy promulgated by
         the Bank for International Settlements, the Basel Committee on Banking Supervision (or
         any successor or similar authority or any United States, Canadian or foreign regulatory
         authority) (collectively, the “New Rules”) shall, in each case, be deemed a “change in
         Law” under Section 12.1.1(a) regardless of the date enacted, adopted or issued.

12.2     Changes in Circumstances

       Notwithstanding anything to the contrary herein or in any of the other Credit Documents
contained, if on any date a Lender determines, acting reasonably and in good faith, which
determination will be conclusive and binding on the Parties, and provided notice is given to the
Agent and the other Lenders and to the Borrowers that its ability to maintain, or continue to offer
any Advance has become unlawful or impossible due to:

         (a)    any change in Applicable Law, or in the interpretation or administration thereof by
                Governmental Authorities having jurisdiction in the matter; or

         (b)    any Material Adverse Change in or the termination of the London Interbank
                Eurodollar Market for Eurodollars; or

         (c)    the imposition of any condition, restriction or limitation upon such Lender which
                is outside of its control,

then in any such case, the Borrowers jointly and severally agree that they will forthwith repay to
such Lender all principal amounts affected thereby, together with all unpaid interest accrued
thereon to the date of Repayment and all other expenses incurred in connection with the
termination of any such Advance, including any expenses resulting from the early termination of
any LIBOR Period relating thereto in accordance with Section 5.13, without any obligation to
make a corresponding prepayment to any other Lender. The Borrowers may utilize other forms of
Advance not so affected in order to make any required Repayment and after any such Repayment,
the Borrowers may elect to re-borrow the amount repaid by way of some other Advance upon
complying with applicable requirements thereof.

12.3     Application of Sections 12.1 and 12.2

        If a Lender exercises its discretion under either Section 12.1 or 12.2, then concurrently
with a notice from such Lender to the Agent and the applicable Borrower requiring compliance
with the applicable Section, such Lender will provide such Borrower (with a copy to the Agent
who will notify the other Lenders) with a certificate in reasonable detail outlining the particulars
giving rise to such notice and certifying (with reasonable supporting detail) the increased costs, if
any, payable by such Borrower thereunder, which will be prima facie evidence thereof and
binding on the Parties.
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12.4     Taxes

         12.4.1 Except as provided in this Section 12.4, any and all payments by the Borrowers
         and any other Credit Party to or for the account of the Agent or any Lender under any
         Credit Document shall be made free and clear of and without deduction for any and all
         present or future taxes, duties, levies, imposts, deductions, assessments, fees,
         withholdings or similar charges imposed by any Governmental Authority, and all
         liabilities (including additions to tax, penalties and interest) related thereto (collectively,
         “Impositions”), excluding, in the case of the Agent and each Lender or other recipient or
         beneficial owner of payment to be made by or on account of a Credit Party under any
         Credit Document, (x) any Impositions imposed on or measured by its net income
         (including any taxes similar to branch profits tax or capital, and franchise (and similar)
         taxes imposed on it in lieu of net income taxes), by the jurisdiction (or any political
         subdivision thereof) under the Laws of which the Agent or such Lender, as the case may
         be, is organized, resident, in which its principal office is located, in which it maintains its
         Lending Office or in which it is subject to such Imposition by reason of a present or
         former connection between it and such jurisdiction (other than a connection arising solely
         from the Agent or such Lender (or its applicable Lending Office) as the case may be,
         becoming a party hereto, having executed, delivered or performed its obligations under
         any Credit Document, received a payment under, enforced its rights under, received or
         perfected a security interest under, or engaged in any other transaction pursuant to, a
         Credit Document), and all interest and penalties with respect thereto; (y) U.S. and
         Canadian federal withholding taxes imposed on amounts payable to or for the account of
         such Lender with respect to an applicable interest in a Loan or Commitment pursuant to a
         law in effect on the date on which (i) such Lender acquires such interest in the Loan or
         Commitment (other than pursuant to an assignment request by the Borrower under
         Section 12.4.6) or (ii) such Lender changes its Lending Office, except in each case to the
         extent that, pursuant to this Section, amounts with respect to such withholding taxes were
         payable either to such Lender’s assignor immediately before such Lender became a party
         hereto or to such Lender immediately before it changed its Lending Office; and (z)(i) U.S.
         federal withholding taxes imposed under FATCA, (ii) taxes attributable to such
         recipient’s or beneficial owner’s failure to comply with the applicable reporting
         requirements of FATCA, and (iii) taxes attributable to such recipient’s or beneficial
         owner’s failure to provide such documentation as is reasonably requested by the
         Borrower for the Borrower to comply with its obligations under FATCA and to determine
         that such recipient or beneficial owner has complied with such recipient’s or beneficial
         owner’s obligations under FATCA or to determine the amount to deduct and withhold
         from any payment to such recipient or beneficial owner (all such non-excluded
         Impositions being hereinafter referred to as “Taxes” and all such excluded Impositions
         being hereinafter referred to as “Excluded Taxes”). If any Credit Party or any other
         applicable withholding agent shall be required by the Applicable Laws of a relevant
         taxing jurisdiction to deduct any Taxes or Other Taxes from or in respect of any sum
         payable under any Credit Document to the Agent or any Lender, (i) the sum payable shall
         be increased by the applicable Credit Party as necessary so that after all required
         deductions (including deductions applicable to additional sums payable under this Section
         12.4) have been made, each of the Agent and such Lender receives an amount equal to the
         sum it would have received had only deductions attributable to Excluded Taxes been
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  made, (ii) the applicable withholding agent shall make such deductions, (iii) the
  applicable withholding agent shall pay the full amount deducted to the relevant taxation
  authority or other Governmental Authority in accordance with Applicable Laws, and (iv)
  within thirty (30) days after the date of such payment, the Credit Party making such
  payments shall furnish to the Agent or Lender (as the case may be) the original or a
  certified copy of a receipt evidencing payment thereof to the extent such a receipt is
  issued therefor, or other written proof of payment thereof that is reasonably satisfactory to
  the Agent.

  12.4.2 In addition but without duplication, the Borrowers agree to pay any and all
  present or future stamp, court or documentary taxes and any other excise, property,
  intangible or mortgage recording taxes, charges or similar levies imposed by a relevant
  taxing jurisdiction which arise from any payment made under any Credit Document or
  from the execution, delivery, performance, enforcement or registration of, or otherwise
  with respect to, any Credit Document (hereinafter referred to as “Other Taxes”).

  12.4.3 Each Borrower agrees to indemnify the Agent and each Lender for (i) the full
  amount of Taxes and Other Taxes (including any Taxes or Other Taxes imposed or
  asserted by any Governmental Authority of any relevant taxing jurisdiction on amounts
  payable under this Section 12.4) paid by the Agent and such Lender, and (ii) any
  reasonable expenses arising therefrom or with respect thereto, in each case whether or not
  such Taxes or Other Taxes were correctly or legally imposed or asserted by the relevant
  Governmental Authority; provided the Agent or Lender, as the case may be, provides the
  Borrowers with a written statement thereof setting forth in reasonable detail the basis and
  calculation of such amounts. Payment under this Section 12.4.3 shall be made within
  thirty (30) days after the date such Lender or the Agent makes a written demand therefor.

  12.4.4 Notwithstanding anything herein to the contrary, each Borrower shall not be
  required pursuant to this Section 12.4 to pay any additional amount to, or to indemnify,
  any Lender or the Agent, as the case may be, (i) to the extent that such Lender or the
  Agent becomes subject to Taxes subsequent to the Amendment and Restatement Date (or,
  if later, the date such Lender or the Agent becomes a party to this Agreement) as a result
  of a change in the place of organization or residence of such Lender or the Agent, a
  change in the Lending Office of such Lender, or a change in the principal office of such
  Lender or the Agent, except to the extent that any such change is requested or required by
  the Borrowers or to the extent that such Lender or the Agent was entitled, at the time of
  the change in place of organization, residence or the change in Lending Office, to receive
  additional amounts from the Borrowers pursuant to Sections 12.4.1 and 12.4.3 (and
  provided, that nothing in this Section 12.4 shall be construed as relieving the Borrowers
  from any obligation to make such payments or indemnification in the event of a change in
  Applicable Law) or (ii) where for Canadian income tax purposes, such Lender or the
  Agent, as the case may be, becomes subject to Taxes as a consequence of such Lender or
  the Agent either not dealing at arm’s length with the Borrowers (for purposes of the
  Income Tax Act (Canada)) or being, or not dealing at arm’s length with (for purposes of
  the Income Tax Act (Canada)) a “specified shareholder” (for purposes of the Income Tax
  Act (Canada)) of the Borrower; provided, that this subclause (ii) shall not apply to the
  extent that such Lender or the Agent, as the case may be, is considered to have not dealt
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      at arm’s length with the Borrowers for Canadian income tax purposes as a result of a
      change in Applicable Law after the Amendment and Restatement Date.

      12.4.5 If any Lender or the Agent determines in its sole discretion (exercised in good
      faith) that it has received a refund in respect of any Taxes or Other Taxes as to which
      indemnification or additional amounts have been paid to it by the Borrowers pursuant to
      this Section 12.4, it shall promptly remit such refund (including any interest included in
      such refund paid by the relevant Governmental Authority) to the Borrowers, net of all
      out-of-pocket expenses (including any taxes imposed with respect to such refund) of the
      Lender or the Agent, as the case may be; provided, however, that the Borrowers, upon the
      request of the Lender or the Agent, as the case may be, agree promptly to return such
      refund (plus any penalties, interest or other charges imposed by the relevant
      Governmental Authority) to such party in the event such party is required to repay such
      refund to the relevant taxing authority. Such Lender or the Agent, as the case may be,
      shall, at the Borrowers’ request, provide the Borrowers with a copy of any notice of
      assessment or other evidence of the requirement to repay such refund received from the
      relevant Governmental Authority (provided, that such Lender or the Agent may delete any
      information therein that such Lender or the Agent deems confidential). Notwithstanding
      anything to the contrary in this Section 12.4.5, in no event will a Lender be required to
      pay any amount to the Borrowers pursuant to this Section 12.4.5 the payment of which
      would place such Lender in a less favorable net after-tax position than such Lender would
      have been in if the Taxes or Other Taxes subject to indemnification and giving rise to
      such refund had not been deducted, withheld or otherwise imposed and the
      indemnification payments or additional amounts with respect to such Taxes or Other
      Taxes had never been paid. Nothing herein contained shall interfere with the right of a
      Lender or the Agent to arrange its tax affairs in whatever manner it thinks fit nor oblige
      any Lender or the Agent to disclose any information relating to its tax affairs or any
      computations in respect thereof or require any Lender or the Agent to do anything that
      would prejudice its ability to benefit from any other refunds, credits, reliefs, remissions or
      repayments to which it may be entitled.

      12.4.6 Each Lender agrees that, upon the occurrence of any event giving rise to the
      operation of Section 12.4.1 and 12.4.3 with respect to such Lender it will, if requested by
      the Borrowers, use commercially reasonable efforts (subject to such Lender’s overall
      internal policies of general application and legal and regulatory restrictions) to avoid or
      reduce to the greatest extent possible any indemnification or additional amounts being
      due under this Section 12.4, including to designate another Lending Office for any Loan
      (including, for certainty, any Letter of Credit) affected by such event; provided, that such
      efforts are made on terms that, in the reasonable judgment of such Lender, cause such
      Lender and its Lending Office(s) to suffer no material economic, legal or regulatory
      disadvantage, and provided, further, that nothing in this Section 12.4.6 shall affect or
      postpone any of the Obligations of the Borrowers or the rights of such Lender pursuant to
      Sections 12.4.1 and 12.4.3. The Borrowers hereby jointly and severally agree to pay all
      reasonable costs and expenses incurred by any Lender as a result of a request by the
      Borrowers under this Section 12.4.6.


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                                             ARTICLE 13
                                              GENERAL

13.1     Non-Disclosure

         13.1.1 All information received by the Agent and the Lenders from or in respect of the
         Credit Parties the confidential nature of which is made known or ought to have been
         known to the Party receiving such information, including any information relating to a
         Hostile Acquisition, other than information that is required to be disclosed by Applicable
         Law (including, for certainty, information required to be disclosed in connection with any
         legal proceedings, including proceedings relating to the Credit Documents) or to any
         Governmental Authority of competent jurisdiction, including any central bank or other
         banking regulatory authority and any official bank examiners or regulators, will be held
         by the Parties in the strictest confidence and will not be disclosed to any Person, except as
         provided in this Section 13.1.

         13.1.2    Section 13.1.1 does not apply to information:

         (a)      of a Party where that Party consents in writing to its disclosure;

         (b)      which becomes part of the public domain through no fault of the Agent or the
                  Lenders;

         (c)      received from a third party without restriction on further disclosure and which
                  third party was not to the knowledge of the Agent or such Lender, under a duty of
                  confidentiality to the applicable Credit Party at the time the information was so
                  received;

         (d)      developed independently without breach of Section 13.1;

         (e)      which the Agent or the relevant Lender can show was, prior to receipt thereof
                  from a Credit Party, lawfully in the Agent’s or Lender’s possession and not then
                  subject to any obligation on its part to the Credit Parties to maintain
                  confidentiality; or

         (f)      to the extent required to be disclosed by order or direction of a court or
                  Governmental Authority of competent jurisdiction (including any self-regulatory
                  authority, such as the National Association of Insurance Commissioners) or as
                  other required to be disclosed by Applicable Law or by any subpoena or similar
                  legal process.

         13.1.3 Information received by the Agent or a Lender may be disclosed to their
         respective Affiliates, Hedge Providers, the Agent or any other Lender or Participant,
         including any financial institution which desires to become a Lender or Participant
         hereunder, any actual or prospective counterparty (or its advisors) to any securitization,
         swap or derivative transaction relating to a Borrower or any other Credit Party, and the
         Obligations and to their respective employees, auditors, accountants, legal counsel,
         geologists, engineers and other consultants and financial advisors retained by such
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         Persons on a need to know basis and subject to the obligation to maintain confidentiality;
         provided, that the Agent or Lender providing the information shall be responsible for any
         breach by its Affiliate of the aforementioned duty of confidentiality.

13.2     Waiver

        The failure or delay by the Agent or any Lender in exercising any right or privilege with
respect to the non-compliance with any provisions of this Agreement by the Borrower and any
course of action on the part of the Agent or any Lender, shall not operate as a waiver of any rights
of the Agent or such Lender unless made in writing by the Agent or such Lender. Any such
waiver in writing and shall be effective only in the specific instance and for the purpose for
which it is given and shall not constitute a waiver of any other rights and remedies of the Agent
or such Lender with respect to any other or future non-compliance.

13.3     Governing Law

        This Agreement shall be interpreted in accordance with the Laws of the Province of
Alberta and the federal Laws of Canada applicable therein. Without prejudice to the right of the
Agent and the Lenders to commence any proceedings with respect to this Agreement in any other
proper jurisdiction, the Parties hereby attorn and submit to the non-exclusive jurisdiction of the
courts of the Province of Alberta.

13.4     Judgment Currency

        To the extent permitted by Applicable Law, if for the purposes of obtaining judgment
against any Credit Party in any court in any jurisdiction with respect to this Agreement it
becomes necessary for a Lender to convert into the currency of such jurisdiction (in this Section
called the “Judgment Currency”) any amount due to the Lender by such Credit Party under the
Credit Documents in any currency other than the Judgment Currency, the conversion shall be
made at the Exchange Rate prevailing on the Business Day before the day on which judgment is
given. To the extent permitted by Applicable Law, in the event that there is a change in the
Exchange Rate prevailing between the Business Day before the day on which the judgment is
given and the date of payment of the amount due, the applicable Credit Party will, on the date of
payment, pay such additional amounts (if any) or be entitled to receive reimbursement of such
amount, if any, as may be necessary to ensure that the amount paid on such date is the amount in
the Judgment Currency which when converted at the Exchange Rate prevailing on the date of
payment is the amount then due under this Agreement in such other currency. To the extent
permitted by Applicable Law, any additional amount due by a Credit Party under this Section
will be due as a separate debt and shall not be affected by judgment being obtained for any other
sums due under or in respect of this Agreement.

13.5     Expenses of Agent and Lenders

        Whether or not the transactions contemplated by this Agreement are completed or any
Advance has been made, each Borrower hereby agrees, jointly and severally, to promptly pay,
following receipt of invoice therefor from the Agent (and in any event within 30 days after
receipt thereof), from time to time all reasonable and documented expenses incurred by the
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Agent or any Lender in connection with this Agreement, the Security and all documents
contemplated hereby, specifically including: expenses incurred by the Lenders in respect of due
diligence, appraisals, insurance consultations, credit reporting and responding to demands of any
Governmental Authority (provided, that reimbursement obligations in respect of costs and
expenses arising under inspection rights set forth in Section 7.1.7 shall be limited in the manner
set forth in such Section); reasonable out-of-pocket legal expenses in connection with the
preparation and interpretation of this Agreement and the other Credit Documents, the registration
and perfection of the Security and the administration of the Facilities generally, including the
preparation of waivers and partial discharges of Security (if there are any additional fees or
expenses to be incurred in connection with any of the foregoing over and above those that have
already been disclosed to the Borrowers then the Agent agrees to notify the Borrowers of those
additional fees or expenses and obtain their concurrence to their payment); and all legal fees and
expenses (on a solicitor and his own client basis) in connection with the protection and
enforcement of the Security and the exercise of any rights and remedies of the Agent and the
Lenders under the Credit Documents. Each Borrower hereby authorizes the Agent to debit its
account in order to pay any such expenses if such amount is not paid in full within 30 days after
receipt of a written request from the Agent for payment of such amount.

13.6     Assignment

         13.6.1 This Agreement and the rights and obligations hereunder will not be assignable,
         in whole or in part, by any Borrower without the prior written consent of all of the
         Lenders.

         13.6.2 Each Lender will have the right to sell or assign its Commitment in minimum
         amounts of U.S. $5,000,000 (with such Lender, where such sale or assignment is not of
         all of such Lender’s Commitment under the applicable Facility, retaining a Commitment
         under the applicable Facility of at least U.S. $5,000,000), together with a proportionate
         share of Outstanding Advances owing to it, to one or more financial institutions with the
         consent of the Canadian Borrower, the Agent, the Issuing Bank and the Swingline Lender
         each such consent not to be unreasonably withheld (provided, that the Canadian Borrower
         may withhold such consent if a Borrower would be required to pay withholding taxes
         solely as a result of such assignment). An assignment fee of U.S. $3,500 for each such
         assignment will be payable to the Agent by the assigning Lender. In the event of such sale
         or assignment, the Borrowers, the Agent and the other Lenders will execute and deliver
         all such agreements, documents and instruments as the Agent or Lender may reasonably
         request to effect and recognize such sale or assignment, including an Assignment.
         Notwithstanding the foregoing, no consent of the Canadian Borrower will be required if
         an assignment (a) occurs during an Event of Default which is continuing, (b) is made
         between financial institutions who, at the relevant time, are already Lenders or Affiliates
         thereof, or (c) is made by a Lender to an Approved Fund. In the event that the Canadian
         Borrower fails to provide a response to the request for any such consent within five
         Business Days of the receipt of such request by the Canadian Borrower, the Canadian
         Borrower shall be deemed to have consented to such request. No consent to an
         assignment by a Lender shall be required from the U.S. Borrower. Notwithstanding the
         foregoing, no Lender may assign all or any part of its Commitment or Outstanding
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  Advances to Palladium, an Investor or an Affiliate thereof without the prior written
  consent of all of the Lenders.

  13.6.3 To the extent that any Lender sells or assigns any portion of its Commitment and
  Outstanding Advances pursuant to this Section 13.6 and such new Lender or new
  Lenders, as the case may be, has executed and delivered to the Borrower and the Agent an
  Assignment, such Lender will be relieved and forever discharged of any and all of its
  covenants and obligations under the Credit Documents in respect of that portion of its
  Commitment and Outstanding Advances so sold or assigned from and after the date of
  such Assignment and the Borrower’s recourse under the Credit Documents in respect of
  such portion so sold or assigned from and after the date of the Assignment for matters
  arising thereunder from and after the date of the Assignment will be to such new Lender
  or new Lenders only, as the case may be, and their successors and permitted assigns.

  13.6.4 Any Lender may at any time sell to one or more financial institutions or other
  Persons (each of such financial institutions and other Persons being herein called a
  “Participant”) participating interests in any of the Advances, commitments, or other
  interests of such Lender hereunder, without notice to, or consent from, the Agent or the
  Borrowers; provided, however, that:

  (a)    no participation contemplated in this Section 13.6.4 will relieve such Lender from
         its commitments or its other obligations hereunder or under any other Credit
         Document;

  (b)    such Lender will remain solely responsible for the performance of its
         commitments and such other obligations as if such participation had not taken
         place;

  (c)    the Agent will continue to deal solely and directly with such Lender in connection
         with such Lender’s rights and obligations under this Agreement and each of the
         other Credit Documents;

  (d)    no Participant will have any rights (through a right of consent or approval or
         otherwise) to require such Lender to take or refrain from taking any action
         hereunder or under any other Credit Document;

  (e)    no Borrower will be required to pay any amount hereunder that is greater than the
         amount which it would have been required to pay had no participating interest
         been sold; and

  (f)    in the case of any outstanding Bankers’ Acceptances, the Participants execute an
         indemnity agreement in respect of such Bankers’ Acceptances.

  Each U.S. Operating Lender that sells a participation shall, acting solely for this purpose
  as an agent of the U.S. Borrower, maintain a register on which it enters the name and
  address of each Participant in the U.S. Operating Facility and the principal amounts (and
  stated interest) of each Participant’s interest in the Commitments, Outstanding Advances
  or other obligations under the Credit Documents (the “Participant Register”); provided
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         that no U.S. Operating Lender shall have any obligation to disclose all or any portion of
         the Participant Register (including the identity of any Participant or any information
         relating to a Participant’s interest in any commitments, loans, letters of credit or its other
         obligations under the Credit Documents) to any Person except to the extent that such
         disclosure is necessary to establish that such commitment, loan, letter of credit or other
         obligation is in registered form under Section 5f.103-1(c) of the United States Treasury
         Regulations. The entries in the Participant Register shall be conclusive absent manifest
         error, and such U.S. Operating Lender shall treat each Person whose name is recorded in
         the Participant Register as the owner of such participation for all purposes of this
         Agreement notwithstanding any notice to the contrary. For the avoidance of doubt, the
         Agent (in its capacity as Agent) shall have no responsibility for maintaining a Participant
         Register.

         13.6.5 The Agent, acting solely for this purpose as an agent of the U.S. Borrower, shall
         maintain at its office located at 452 Fifth Avenue, 5th Floor, New York, NY 10018, a
         copy of each Assignment delivered to it and a register for the recordation of the names
         and addresses of the U.S. Operating Lenders, and the Commitments of, and principal
         amounts (and stated interest) of the Outstanding Advances owing to, each U.S. Operating
         Lender pursuant to the terms hereof from time to time (the “Register”). The entries in the
         Register shall be conclusive absent manifest error, and the Borrower, the Agent and the
         U.S. Operating Lenders shall treat each Person whose name is recorded in the Register
         pursuant to the terms hereof as a U.S. Operating Lender hereunder for all purposes of this
         Agreement. The Register shall be available for inspection by the Borrowers and any U.S.
         Operating Lender, at any reasonable time and from time to time upon reasonable prior
         notice.

13.7     General Indemnity

         In addition to any liability of the Borrowers to the Lenders under any other provision
hereof, each Borrower will and does hereby, jointly and severally, indemnify each Indemnitee
and hold each Indemnitee harmless against any losses, claims, costs, damages or liabilities
(including reasonable and documented out of pocket expenses and reasonable and documented
legal fees on a solicitor and his own client full indemnity basis of one counsel (but, for the
avoidance of doubt, excluding the allocated costs of in-house counsel) plus one local counsel in
each applicable jurisdiction) incurred by the same as a result of or in connection with: (a) any
cost or expense incurred by reason of the liquidation or re-deployment in whole or in part of
deposits or other funds required by any Lender to fund any Bankers’ Acceptance or to fund or
maintain any Advance as a result of any Borrower’s failure to complete an Advance or to make
any payment, repayment or prepayment on the date required hereunder or specified by it in any
notice given hereunder; (b) subject to permitted or deemed Rollovers and Conversions, any
Borrower’s failure to provide for the payment to the Agent for the account of the Lenders of the
full principal amount of each Bankers’ Acceptance on its Maturity Date; (c) any Borrower’s
failure to pay any other amount, including any interest or fees, due hereunder on its due date after
the expiration of any applicable grace or notice periods; (d) the prepayment of any outstanding
Bankers’ Acceptance before the Maturity Date of such Bankers’ Acceptance; (e) any Borrower’s
repayment or prepayment of a LIBOR Loan otherwise than on the last day of its LIBOR Period;
(f) the failure of any Borrower or any other Credit Party to make any other payment due
-
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hereunder or under any of the other Credit Documents; (g) the occurrence of any other Default or
Event of Default and the enforcement of rights and remedies in connection therewith; (h) any
instructions given to any Lender to stop payment on any cheque issued by any Borrower or to
reverse any wire transfer or other transaction initiated by such Lender at the request of any
Borrower; (i) any use of the proceeds of the Facilities, including to pay the purchase price of the
transaction or any other acquisition; and (j) any claim, litigation or other proceeding related to the
foregoing, regardless of whether such matter is initiated by a third party or by Holdco, a
Borrower or any of their Subsidiaries or Affiliates; provided that this Section 13.7 will not apply
to any losses, claims, costs, damages or liabilities that arise by reason of (i) the gross negligence
or wilful misconduct of the applicable Indemnitee claiming indemnity hereunder, as determined
by a final and non-appealable judgment of a court of component jurisdiction; or (ii) a material
breach of the applicable Indemnitee of its obligations under the Credit Documents as determined
by a final and non-appealable judgment of a court of competent jurisdiction.

13.8     Environmental Indemnity

         In addition to any other liability of the Borrowers hereunder, each Borrower hereby agrees
to, jointly and severally, indemnify and save harmless the Indemnitees from and against:

         (a)   any losses suffered by them for, in connection with, or as a direct or indirect result
               of, the failure of any Borrower or any of their respective Subsidiaries to comply
               with all Requirements of Environmental Law;

         (b)   any losses suffered by the Indemnitees for, in connection with, or as a direct or
               indirect result of, the presence of any Hazardous Material situated in, on or under
               any property owned by any Borrower or any of their respective Subsidiaries or
               upon which any of them carries on business, specifically including any diminution
               in value of the business, property and assets of such Person; and

         (c)   any and all liabilities, losses, damages, penalties, expenses (including reasonable
               legal fees) and claims which may be paid, incurred or asserted against the
               Indemnitees for, in connection with, or as a direct or indirect result of, any legal or
               administrative proceedings with respect to the presence of any Hazardous Material
               on or under any property owned by any Borrower or any of its respective
               Subsidiaries or upon which any of them carries on business, or the discharge,
               emission, spill, radiation or disposal by any Borrower or any of their respective
               Subsidiaries of any Hazardous Material into or upon any Land, the atmosphere, or
               any watercourse or body of water; including the costs of defending,
               counterclaiming or claiming against third parties in respect of any action or matter
               and any cost, liability or damage arising out of a settlement entered into by the
               Indemnitees of any such action or matter,

except to the extent arising from the gross negligence or wilful misconduct of the applicable
Indemnitee, as determined by a final and non-appealable judgment of a court of component
jurisdiction. For the purpose of this Section 13.8, liabilities means those amounts that are
quantifiable and found to be the responsibility of the Indemnitees either alone or jointly or
severally with others.
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13.9     Survival of Certain Obligations despite Termination of Agreement

        The termination of this Agreement shall not relieve the Borrowers from their obligations
to the Agent and the Lenders arising prior to such termination, such as obligations arising as a
result of or in connection with any breach of this Agreement, any failure to comply with this
Agreement or the inaccuracy of any representations and warranties made or deemed to have been
made prior to such termination, and obligations arising pursuant to all indemnity obligations
contained herein. Without limiting the generality of the foregoing, the obligations of the
Borrowers to the Agent and the Lenders arising under or in connection with Sections 8.5(b), 13.7
and 13.8 shall continue in full force and effect despite any termination of this Agreement.

13.10 Interest on Unpaid Costs and Expenses

       If a Borrower fails to pay when due any amount in respect of costs or expenses or any
other amount required to be paid by it hereunder (other than principal or interest on any
Advance), the Borrowers shall, jointly and severally, pay interest on such unpaid amount from
the time such amount is due until paid at the rate equal to the highest rate of interest then
applicable under the Facilities.

13.11 Notice

       Without prejudice to any other method of giving notice, all communications provided for
or permitted hereunder shall be in writing and delivered to the addressee by prepaid private
courier or sent by facsimile to the applicable address and to the attention of the officer of the
addressee as follows:

         (a)   to the Borrowers:

               Q’Max Solutions Inc.
               11700 Katy Freeway, Suite 200
               Houston Texas 77079
               United States

               Attention:      Chief Financial Officer
               Fax No.         (832) 201-8146

         (b)   to the Agent:

               HSBC Bank Canada, as Agent
               7th Floor, 70 York Street
               Toronto, Ontario
               M5J 1S9

               Attention:      Manager Agency
               Fax No.         (647) 788-2185

               with a copy to (for all notices other than Drawdown Requests, Conversion Notices
               and Rollover Notices):
-
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               HSBC Bank Canada
               5th Floor, 70 York Street
               Toronto, Ontario
               M5J 1S9

               Attention:     Director
               Fax No.        (647) 788-2185

       (c)     to any Lender, at its addressed noted on Exhibit “A” attached hereto.

Any communication transmitted by prepaid private courier shall be deemed to have been validly
and effectively given or delivered on the Business Day after which it is submitted for delivery.
Any communication transmitted by facsimile shall be deemed to have been validly and
effectively given or delivered on the day on which it is transmitted, if transmitted on a Business
Day on or before 5:00 p.m. (local time of the intended recipient), and otherwise on the next
following Business Day. Any party may change its address for service or other notices, including
electronic communications, by notice given in the foregoing manner. The Parties each covenant
to accept service of judicial proceedings arising under the Credit Documents at its respective
address set forth herein.

13.12 Telephone Instructions

        Any verbal instructions given by a Borrower in relation to this Agreement will be at the
risk of the Borrowers and neither the Agent nor the Lenders will have any liability for any error
or omission in such verbal instructions or in the interpretation or execution thereof by the Agent
or a Lender, as the case may be; provided, that the Agent or Lender, as the case may be, acted
without gross negligence in the circumstances. The Agent will notify the applicable Borrower of
any conflict or inconsistency between any written confirmation of such verbal instructions
received from such Borrower and the said verbal advice as soon as practicable after the conflict
or inconsistency becomes apparent to the Agent.

13.13 Severability

        Any provision of this Agreement which is illegal, prohibited or unenforceable in any
jurisdiction, in whole or in part, shall not invalidate the remaining provisions hereof; and any
such illegality, prohibition or unenforceability in any such jurisdiction shall not invalidate or
render unenforceable such provision in any other jurisdiction.

13.14 Further Assurances

        Each Borrower shall, at its expense, promptly execute and deliver or cause to be executed
and delivered to the Agent upon request, acting reasonably, from time to time all such other and
further documents, agreements, opinions, certificates and instruments in compliance with this
Agreement, or if necessary or desirable to more fully record or evidence the obligations intended
to be entered into herein, or to make any recording, file any notice or obtain any consent.



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13.15 Tombstone Marketing

        For the purpose of “tombstone marketing”, each Borrower hereby authorizes and consents
to the reproduction, disclosure and use by the Lenders and the Agent of its name, identifying logo
and the Facilities to enable the Lenders to publish promotional “tombstones”. Each Borrower
acknowledges and agrees: that the Lenders shall be entitled to determine, in their discretion,
whether to use such information; that no compensation will be payable by the Lenders or the
Agent in connection therewith; and that the Lenders and the Agent shall have no liability
whatsoever to any Borrower or any of its respective employees, officers, directors, Affiliates or
shareholders in obtaining and using such information as contemplated herein.

13.16 Entire Agreement

        This Agreement supersedes all discussion papers, term sheets and other writings issued
by the Agent or the Lenders prior to the date hereof relating to the Facilities; and this Agreement
and any other documents or instruments contemplated herein or therein shall constitute the entire
agreement and understanding among the Borrowers, the Lenders and the Agent relating to the
subject-matter hereof.

13.17 Anti-Money Laundering Legislation

       (a)     Each Borrower acknowledges that, pursuant to the Proceeds of Crime (Money
               Laundering) and Terrorist Financing Act (Canada) and other applicable
               anti-money laundering, anti-terrorist financing, government sanction and “know
               your client” Laws, whether within Canada or elsewhere (collectively, including
               any guidelines or orders thereunder, “AML Legislation”), the Lenders and the
               Agent may be required to obtain, verify and record information regarding the
               Borrowers, Palladium, the other Credit Parties, their respective directors,
               authorized signing officers, direct or indirect shareholders or other Persons in
               control of the Credit Parties or Palladium, and the transactions contemplated
               hereby. The Borrowers shall promptly provide all such information, including
               supporting documentation and other evidence, as may be reasonably requested by
               any Lender or the Agent, or any prospective assignee of a Lender or the Agent, in
               order to comply with any applicable AML Legislation, whether now or hereafter
               in existence.

       (b)     If, upon the written request of any Lender, the Agent has ascertained the identity
               of a Borrower, Palladium or any Credit Party or any authorized signatories of any
               Borrower or any other Credit Party for the purposes of applicable AML
               Legislation on such Lender’s behalf, then the Agent:

               (i)    shall be deemed to have done so as an agent for such Lender, and this
                      Agreement shall constitute a “written agreement” in such regard between
                      such Lender and the Agent within the meaning of applicable AML
                      Legislation; and



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               (ii)   shall provide to such Lender copies of all information obtained in such
                      regard without any representation or warranty as to its accuracy or
                      completeness.

       (c)     Notwithstanding the preceding sentence, each of the Lenders agrees that the Agent
               has no obligation to ascertain the identity of the Borrowers, Palladium or any
               other Credit Party or any authorized signatories of the Borrowers, Palladium or
               any other Credit Party, on behalf of any Lender, or to confirm the completeness or
               accuracy of any information it obtains from the Borrowers, Palladium or any other
               Credit Party or any such authorized signatory in doing so.

       (d)     Each Lender that is subject to the PATRIOT Act and the Agent (for itself and not
               on behalf of any Lender) hereby notifies the Credit Parties that pursuant to the
               requirements of the PATRIOT Act, it is required to obtain, verify and record
               information that identifies the Credit Parties, which information includes the
               name, address and tax identification number of the Credit Parties and other
               information regarding the Credit Parties that will allow such Lender or the Agent,
               as applicable, to identify the Credit Parties in accordance with the PATRIOT Act.
               This notice is given in accordance with the requirements of the PATRIOT Act and
               is effective as to the Lenders and the Agent.

13.18 Binding Effect

        This Agreement shall be binding upon and shall enure to the benefit of the Parties and
their respective successors and permitted assigns; “successors” includes any corporation resulting
from the amalgamation of any party with any other corporation.

13.19 Execution by Electronic Means and Counterparts

       This Agreement may be executed in several counterparts, each of which, when so
executed, shall be deemed to be an original and which counterparts together shall constitute one
and the same Agreement. This Agreement may be executed by facsimile, pdf or other electronic
means, and any signature contained hereon by facsimile, pdf or other electronic means shall be
deemed to be equivalent to an original signature for all purposes.

13.20 Intercreditor Agreement

       In the event of a conflict between the provisions of this Agreement and the provisions of
the Encina Intercreditor Agreement, the provisions of the Encina Intercreditor Agreement shall
govern.

13.21 Release of Liens and Guarantees.

       (a)     The Agent shall not, during the term of this Agreement, discharge, surrender,
               amend or otherwise modify any Security without the prior written consent of all of
               the Lenders, provided that the Agent may accept additional or supplemental
               Security as provided in the Credit Documents, and shall discharge Security
               provided hereunder in the Permitted Discretion of the Agent with respect to any
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        Permitted Disposition or, if applicable, any other transaction permitted by this
        Agreement in respect of which the Agent has received, upon its reasonable
        request, an officer’s certificate of the Canadian Borrower certifying that such
        disposition or other transaction is permitted by this Agreement, together with any
        other information from the Canadian Borrower reasonably required by the Agent,
        if any (and the Agent may rely conclusively on a certificate to that effect provided
        to it by the Canadian Borrower without further inquiry).

  (b)   The Lenders hereby authorize the Agent, and the Agent hereby agrees, to:

        (i)    discharge the Security at the Borrower’s sole cost and expense, forthwith
               after all of the Obligations under the Credit Documents (other than
               contingent obligations intended to survive payout of the Facilities) have
               been unconditionally and irrevocably paid or performed in full and the
               Facilities, Credit Documents and all Hedging Agreements have been
               terminated or, with respect to the Hedging Agreements, collateralized to
               the satisfaction of the Agent and the applicable Hedge Providers, acting
               reasonably; and

        (ii)   at the request of the Borrower and upon receipt of the Agent of an officer’s
               certificate from a senior officer of the Borrower certifying that such
               disposition is a Permitted Disposition, to discharge that portion of the
               Security that applies to the property subject to such Permitted Disposition
               or execute a no interest letter or similar document in connection therewith.

  (c)   As of the Amendment and Restatement Date, the Agent and other Secured Parties
        hereby release each of (x) QMax Ecuador S.A. and (y) Mud Movers Express LLC
        as Guarantors, hereby confirm that all such Subsidiaries’ Obligations are
        discharged, in each case, whether now existing or hereafter arising and whether or
        not matured or contingent, and that the Security granted by such Subsidiaries to
        the Agent is deemed to be released.
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                                      Annex I

                         Amended and Restated Commitments

                                   [see attached.]




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      EXHIBIT “A” TO THE Q’MAX SECOND AMENDED AND RESTATED CREDIT
             AGREEMENT - LENDERS AND LENDERS’ COMMITMENTS

*All amounts in U.S. $

Lender                               Total            Swing Line       Syndicated
CANADIAN OPERATING FACILITY COMMITMENTS
HSBC Bank Canada             46,018,072.00            10,000,000      36,018,072
Bank of Montreal             39,307,284.00                  N/A       39,307,284
Export Development Canada    25,332,809.00                  N/A       25,332,809
Business Development Canada   9,023,306.00                  N/A        9,023,306
Total                       119,681,471.00            10,000,000     109,681,471

TERM FACILITY COMMITMENTS
Lender                                Term Facility
HSBC Bank Canada                       6,014,774.28
Bank of Montreal                       3,357,083.44
Business Development Canada              699,392.28
Total                                 10,071,250.00

U.S. OPERATING FACILITY COMMITMENTS
Lender                                Total
HSBC Bank USA, N.A.           15,000,000.00
Total                         15,000,000.00

TOTAL COMMITMENT – ALL FACILITIES
Lender                               Total
HSBC Bank Canada             52,032,846.28
HSBC Bank USA, N. A.         15,000,000.00
Bank of Montreal             42,664,367.44
Export Development Canada    25,332,809.00
Business Development Canada   9,722,698.28
Total                       144,752,721.00

Lenders and Addresses for Service:
(a)   HSBC Bank Canada
      9th Floor, 407-8th Avenue S.W.
      Calgary, Alberta T2P 1E5
      Attn: Senior Corporate Banking Manager
      Fax: (403) 693-8556

(b)       HSBC Bank USA
          6363 N. State Highway 161, Suite 125
          Irving, Texas 75039
          Attn: Senior Corporate Banking Manager
          Fax: (972) 367-1050


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(c)       Bank of Montreal
          6th Floor, 595 Burrard Street
          Vancouver, British Colombia V7X 1L7
          Attn: Director
          Fax: (403) 234-1688

(d)       Export Development Canada
          150 Slater Street
          Ottawa, Ontario K1A 1K3
          Attn: Senior Asset Manager
          Fax: (613) 598-3186

(f)       Business Development Bank of Canada
          110, 444 – 7th Avenue S.W.
          Calgary, AB T2P 0X8
          Attn: Scott Overes or Bobby Chan
          Fax: (403) 292-6951

BA Lenders:             HSBC Bank Canada
                        Bank of Montreal

Non-BA Lenders:         Export Development Canada
                        Business Development Bank of Canada




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                   THIS IS EXHIBIT”_________
                      referred to in the AtIvit of
                                          JThc    I/
                   Sworn before me this            /
                   dayof                  A.D2OO

                        /

                              Jonathan Tomm
                            Barrister and Solicitor
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                                 THIRD AMENDING AGREEMENT

THIS THIRD AMENDING AGREEMENT (this “Agreement”) is made effective as of September 6,
2019 (the “Third Amendment Date”),

BETWEEN:

                     Q’MAX SOLUTIONS INC. and Q’MAX AMERICA INC.
                                     as Borrowers

                                                   and

                               QMAX CANADA OPERATIONS INC.
                               as Specified Canadian Swingline Borrower

                                                   and

                    THE PERSONS PARTY HERETO FROM TIME TO TIME
                           IN THEIR CAPACITIES AS LENDERS
                                      as Lenders

                                                   and

                                       HSBC BANK CANADA
                                       as Administrative Agent


PREAMBLE:

A.      Pursuant to the second amended and restated credit agreement dated as of July 31, 2018, by and
        between Q’Max Solutions Inc., Q’Max America Inc., QMax Canada Operations Inc.
        (collectively, the “Borrowers”), the Agent and the Lenders from time to time party thereto (as
        amended by that certain First Amending Agreement, dated as of May 13, 2019, a Second
        Amending Agreement, dated as of July 22, 2019, and as further amended from time to time, the
        “Credit Agreement”), the Agent and the Lenders agreed to provide the Facilities to the
        Borrowers.

B.      The parties hereto wish to otherwise amend the Credit Agreement on the terms and conditions
        herein provided.

AGREEMENT:

         In consideration of the premises, the covenants and the agreements herein contained and for other
good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged between
the parties, the parties hereto agree on the Third Amendment Date as follows:

1.      Definitions. Capitalized terms used in this Third Amending Agreement will, unless otherwise
        defined herein, have the meanings attributed to such terms in the Credit Agreement, as amended
        hereby.
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2.     Amendments.

       With effect upon the satisfaction of the conditions precedent set forth in Section 4 hereof, the
              Credit Agreement is hereby amended with the stricken text deleted (indicated textually in
              the same manner as the following example: stricken text) and with the double-underlined
              text added (indicated textually in the same manner as the following example: double-
              underlined text) as set forth in the pages of the Credit Agreement attached as Exhibit A
              hereto.

3.     Representations and Warranties. Each Borrower agrees with and confirms to the Agent and the
       Lenders that as of the Third Amendment Date, after giving effect to this Agreement, each of the
       representations and warranties contained in Section 6.1 of the Credit Agreement is true and
       accurate in all material respects (without duplication of any materiality qualifier contained in any
       such representations and warranties) except to the extent such representation and warranty
       expressly relates to an earlier date, in which case such representation and warranty shall be true
       and correct as of such earlier date. Further, each Borrower hereby represents and warrants to the
       Agent and the Lenders that:

       (a)     the execution and delivery of this Agreement and the performance by it of its obligations
               under this Agreement (i) are within its corporate powers, (ii) have been duly authorized
               by all necessary corporate action, (iii) have received all necessary governmental
               approvals (if any required), and (iv) do not and will not contravene or conflict with any
               provision of Applicable Law or of its constating documents or by-laws; and

       (b)     the Credit Agreement, as amended by this Agreement is a legal, valid and binding
               obligation of it, enforceable in accordance with its terms except as such enforcement may
               be limited by applicable bankruptcy, insolvency, reorganization, winding-up, moratorium
               or similar Applicable Law relating to the enforcement of creditors’ rights generally and
               by general principles of equity.

4.     Conditions Precedent. This Agreement is only effective upon the satisfaction of the following
       conditions precedent:

       (a)     The Administrative Agent shall have received a counterpart of this Agreement signed on
               behalf of each Credit Party party hereto, the Administrative Agent, and the Required
               Lenders party to the Credit Agreement as of the Third Amendment Date;

       (b)     Receipt by the Agent of:

               (i)     evidence that the existing Wells Fargo Credit Agreement will be: (A) repaid in
                       full with the initial advance under the Encina ABL Loan Agreement; and (B)
                       terminated immediately following such repayment;

               (ii)    duly executed copies of the Encina ABL Loan Agreement and the Encina
                       Intercreditor Agreement, each in form and substance satisfactory to the Required
                       Lenders, acting reasonably;

               (iii)   a certificate of status, certificate of compliance or similar certificate for each
                       Borrower issued by its governing jurisdiction;
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               (iv)    an amendment fee equal to $5,000 for each Lender that consents to the
                       amendments set forth herein.

5.     Continuing Effect. Each of the parties hereto acknowledges and agrees that the Credit
       Agreement, as amended by this Agreement and all other documents entered into in connection
       therewith, will be and continue in full force and effect and are hereby confirmed and the rights
       and obligations of all parties thereunder will not be effected or prejudiced in any manner by this
       Agreement except as specifically provided herein. In addition, each Borrower acknowledges that
       the Security previously granted to the Agent by each Credit Party under or in connection with the
       Credit Agreement continues in full force and effect without in any way impairing or derogating
       from any of the guarantees, indemnities, mortgages, pledges, charges, assignments, security
       interests and covenants therein contained or thereby constituted, as continuing security for all
       indebtedness, liabilities and other obligations owing by the Borrowers under the Credit
       Agreement, as amended by this Agreement.

6.     Further Assurance. Each Borrower will from time to time forthwith at the Agent’s request and
       at the Borrowers’ own cost and expense make, execute and deliver, or cause to be done, made,
       executed and delivered, all such further documents, financing statements, assignments, acts,
       matters and things which may be reasonably required by the Agent and as are consistent with the
       intention of the parties as evidenced herein, with respect to all matters arising under the Credit
       Agreement and this Agreement.

7.     Expenses. Each Borrower will be liable jointly and severally for all expenses of the Agent,
       including, without limitation, reasonable documented and out-of-pocket legal fees (on a solicitor
       and his own client full indemnity basis) and other out-of-pocket expenses in connection with the
       negotiation, preparation, establishment, operation or enforcement of the Facilities and of this
       Agreement (whether or not consummated) by the Agent and the Lenders.

8.     Governing Law. This Agreement will be governed by and construed in accordance with the laws
       in force in the Province of Alberta from time to time.

9.     Counterparts. This Agreement may be executed in any number of counterparts (including by
       facsimile or pdf transmission), each of which when executed and delivered will be deemed to be
       an original, but all of which when taken together constitutes one and the same instrument. Any
       party hereto may execute this Agreement by signing any counterpart.

                                       [signature pages follow]
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       IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
executed by their respective authorized officers as of the Third Amendment Date.


                                          Q'MAX SOLUTIONS INC., as Canadian Borrower


                                          By:
                                                 Name: Chlisfopher Ri~-,
                                                 Title: President and Chief Executive Officer


                                          Q'MAX AMERICA INC., as U.S. Borrower


                                          By:
                                                 Name: Christopher Ri...efs
                                                 Title: President and Chief Executive Officer


                                          QMAX CANADA OPERATIONS INC., as Specified
                                          Canadian Swingline Borrower


                                         By:
                                                 Name: ChristopherRiver; : ;
                                                 Title: President and Chief Executive Officer




                             [Third Amending Agreement- Q'Max]
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                                   EXPORT DEVELOPMENT
                                          DEVELOPME
                                                  ENT CANADA, as Lender


                                   By:
                                           Name:
                                              me: Philip Sauvé
                                                         Sa
                                                          au
                                                           uvé
                                           Title:
                                               e: Financing Manager
                                                             Ma
                                                              ana

                                   By:
                                              me: C
                                           Name:  Chris
                                                  Chh i Wilson
                                                        Wil
                                           Title: Sr. Financing Manager




                     [Third Amending Agreement – Q’Max]
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                                     Exhibit A

                         Conformed Copy of Credit Agreement




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                                                   Exhibit A to Third Amending Agreement

Conformed Credit Agreement reflecting the Third Amending Agreement, dated as of
September 6, 2019

                        SECOND AMENDED AND RESTATED
                             CREDIT AGREEMENT



                                         Among

               Q’MAX SOLUTIONS INC. and Q’MAX AMERICA INC.
                               as Borrowers

                                           and

                        QMAX CANADA OPERATIONS INC.
                        as Specified Canadian Swingline Borrower

                                           and

              THE PERSONS PARTY HERETO FROM TIME TO TIME
                     IN THEIR CAPACITIES AS LENDERS
                                as Lenders

                                           and

                                HSBC BANK CANADA
                                as Administrative Agent

                                        and with

                                 HSBC BANK CANADA
                   as Sole Lead Arranger, Bookrunner, Syndication Agent
                                 and Documentation Agent



                                Dated as of July 31, 2018




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                  SECOND AMENDED AND RESTATED CREDIT AGREEMENT

          This Agreement is dated as of July 31, 2018,

AMONG:

                       Q’MAX SOLUTIONS INC. and Q’MAX AMERICA INC.
                                       as Borrowers

                                                – and –

                               QMAX CANADA OPERATIONS INC.
                               as Specified Canadian Swingline Borrower

                                                – and –

                       THE PERSONS PARTY HERETO FROM TIME TO TIME
                              IN THEIR CAPACITIES AS LENDERS
                                         as Lenders

                                                – and –

                                       HSBC BANK CANADA,
                                        as Administrative Agent

                                                – with –

                                        HSBC BANK CANADA,
                          as Sole Lead Arranger, Bookrunner, Syndication Agent
                                        and Documentation Agent

PREAMBLE:

A.        The Borrowers have requested and the Lenders have agreed to further amend and restate
          the credit facilities under the Existing Credit Agreement and to continue to provide certain
          credit facilities on the terms and conditions and for the purposes set out in this Agreement.

B.        HSBC has agreed to continue to act as administrative agent for the Lenders under the
          Facilities on the terms and conditions and for the purposes set out in this Agreement.

AGREEMENT:

       In consideration of the covenants and agreements between the Parties contained in this
Agreement and other good and valuable consideration, the receipt and sufficiency of which are
hereby acknowledged, the Parties agree as follows:




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                                          ARTICLE 1
                                       INTERPRETATION

1.1     Definitions

        In this Agreement, the following words and phrases shall have the respective meanings set
forth below:

        1.1.1     “Acceleration Date” means the earlier of:

        (a)     the occurrence of an Insolvency Event in respect of any Credit Party; and

        (b)     the delivery by the Agent to the Borrower of a written notice that the Obligations
                are immediately due and payable, following the occurrence and during the
                continuation of an Event of Default other than an Insolvency Event.

        1.1.2    “Acceptable Account Debtors” means those account debtors in respect of
        Eligible Receivables who have Investment Grade long term unsecured debt ratings or are
        otherwise acceptable to the Required Lenders, in their Permitted Discretion.

        1.1.3     “Account Receivable Insurance” means one or more credit insurance policies
        issued by (a) Export Development Canada, (b) Export-Import Bank of the United States,
        or (c) such other governmental entity of Canada or the U.S. or a private insurer, in either
        case, with, and only for so long as such other insurer maintains, a credit rating of at least
        A by Standard & Poor’s Ratings Services (or an equivalent rating issued by another rating
        agency acceptable to the Required Lenders, acting reasonably) that is reasonably
        acceptable to the Required Lenders, in each case, together with all endorsements and
        agreements related thereto (including a tripartite agreement among the insured, the insurer
        and the Agent), and on terms and in amounts reasonably acceptable to Agent and which
        provides for the payment of claims thereunder directly to Agent.

        1.1.4    “Acquired Business” means the entity or assets acquired by a Credit Party in an
        Acquisition consummated after the date hereof.

        1.1.5     “Acquisition” means any transaction or series of related transactions for the
        purpose of or resulting, directly or indirectly, in (a) the acquisition of all or substantially
        all of the assets of a Person, or of any business or division of a Person, (b) the acquisition
        of a controlling interest in the capital stock, partnership interests, membership interests or
        equity of any Person (other than a Person that is a Subsidiary or the formation of a
        Subsidiary solely to facilitate a Permitted Acquisition), or (c) a merger, amalgamation,
        consolidation or any other combination with another Person (other than a Person that is a
        Credit Party); provided, that the Borrower or a Person that is or will become a Credit Party
        is the surviving entity.

        1.1.6    “Advance” means an extension of credit by one or more of the Lenders to a
        Borrower pursuant to this Agreement (including by way of issuance of a Letter of Credit
        or by way of any other Loan permitted by Section 2.7.2 under the Swingline), but does not
        include any Conversion or Rollover.
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  1.1.7    “Advisory Services Agreement” means the management and advisory service
  agreement dated as of May 23, 2014 between the Canadian Borrower and Palladium, as
  the same may be amended restated or supplemented from time to time permitted hereunder.

  1.1.8    “Affiliate” means with respect to any Person, any Person directly or indirectly
  controlling, controlled by or under direct or indirect common control with such other
  Person.

  1.1.9   “Agent” means HSBC in its capacity as administrative agent hereunder and any
  successors in such capacity appointed as agent pursuant to Section 11.18.

  1.1.10 “Agreement” means this amended and restated credit agreement (including the
  exhibits and schedules) as it may be amended, replaced or restated from time to time.

  1.1.11 “Amendment and Restatement Date” means the date of this Agreement or such
  later Business Day upon which each condition in Section 9.1 shall be satisfied or waived
  in a manner acceptable to the Required Lenders in their discretion.

  1.1.12   “Anchor” means Anchor Drilling Fluids USA, LLC.

  1.1.13 “Anchor Acquisition Agreement” means the Membership Interest Purchase
  Agreement, dated as of November 21, 2017, by and among Anchor Drilling Fluids USA,
  LLC, a Delaware limited liability company, Calumet Operating, LLC, a Delaware limited
  liability company, Q’Max Solutions Inc., a British Columbia corporation, and Q’Max
  America Inc., a Delaware corporation.

  1.1.14 “Anchor Sale and Leaseback Transaction” means any arrangement, whether in
  one transaction or in a series of transactions, with any Person whereby Anchor sells or
  transfers all or some portion of its truck fleet or similar motor vehicles, whether now owned
  or hereafter acquired, and thereafter, as part of such transaction, rents or leases such
  property that it intends to use for substantially the same purpose or purposes as the property
  being sold or transferred.

  1.1.15 “Annual Management Fee Cap” means U.S. $2,500,000 in the aggregate in any
  Fiscal Year.

  1.1.16 “Applicable Law” means, in respect of any Person, property, transaction or event,
  all Laws applicable thereto.

  1.1.17 “Applicable Margin” means, in respect of any Fiscal Quarter and in respect of
  any Availment Option or standby fee, the percentage in the column relating to such
  Availment Option or standby fee in the following table which corresponds to the Net
  Leverage Ratio in respect of such Fiscal Quarter described in the first column; subject to
  adjustment from time to time in accordance with Section 5.1.4:
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                                                                                           Standby Fee (For
                                      Canadian Dollar Prime
                                                                BA Fee, LIBOR Loans       Canadian Operating
                                     Based Loans, U.S. Dollar
Level*         Net Leverage Ratio                               and Financial Letter of    Facility and U.S.
                                     Base Rate Loans and U.S.
                                                                     Credit Fee**          Operating Facility
                                     Dollar Prime Rate Loans
                                                                                                 only)
  I                 < 1.50:1                 100 bps                   200 bps                45.000 bps
  II            ≥ 1.50:1 < 2.00:1            125 bps                   225 bps                50.625 bps
 III            ≥ 2.00:1 < 2.50:1            175 bps                   275 bps                61.875 bps
 IV             ≥ 2.50:1 < 3.00:1            200 bps                   300 bps                67.500 bps
  V             ≥ 3.00:1 < 3.50:1            275 bps                   375 bps                84.375 bps
 VI             ≥ 3.50:1 < 4.00:1            325 bps                   425 bps                95.625 bps
 VII                ≥ 4.00:1                 375 bps                   475 bps                106.875 bps


         * On the Amendment and Restatement Date, the Applicable Margin shall be deemed to be
         at Level VII and shall remain at Level VII at all times during the Covenant Relief Period.

         **Non-Financial Letters of Credit will be issued at 66⅔% of the pricing quoted above for
         Financial Letters of Credit.

         1.1.18 “Approved Fund” means any Fund that is administered or managed by (a) a
         Lender, (b) an Affiliate of a Lender or (c) an entity or an Affiliate of an entity that
         administers or manages a Lender.

         1.1.19 “Assignment” means an agreement whereby a financial institution becomes a
         Lender substantially in the form of Exhibit “G”, with the blanks completed.

         1.1.20 “Availment Option” means a method of borrowing which is available to the
         Borrower as provided herein and in respect of each Facility, means those particular
         methods of borrowing which are specifically identified as being available thereunder (in
         the case of the Canadian Operating Facility under Section 2.5.1, in the case of the Facility
         under Section 3.5.1 and in the case of the U.S. Operating Facility under Section 4.5.1).

         1.1.21 “BA Equivalent Loan” means an Advance in Canadian Dollars made by a
         Non-BA Lender pursuant to Section 5.10.2.

         1.1.22 “BA Lender” means a Lender identified in Exhibit “A” attached hereto as a
         Lender which will accept Bankers’ Acceptances hereunder.

         1.1.23 “Bankers’ Acceptance” means a bill of exchange or a blank non-interest bearing
         depository bill as defined in the Depository Bills and Notes Act (Canada) drawn by the
         Borrower and accepted by a BA Lender in respect of which the Borrower becomes
         obligated to pay the face amount thereof to the holder (which may be a third party or such
         BA Lender) upon maturity.

         1.1.24 “Banking Service Agreements” means agreements made between a Borrower or
         any other Credit Party and the Agent or any Lender or any of their respective Affiliates in
         respect of payment cards, credit cards, cash management, payroll, pooling, netting, or other
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  banking services; and “Banking Service Agreement” means any one of them as required
  by the context.

  1.1.25 “Banking Services Liabilities” mean, collectively, any and all direct and indirect,
  contingent and absolute obligations and liabilities of each Borrower and each other Credit
  Party to the Agent, any Lender or any of their respective Affiliates in respect of any
  Banking Service Agreement as the Credit Parties may from time to time enter into with the
  Agent, any Lender or any of their respective Affiliates; provided, that a liability shall
  constitute a “Banking Service Liability” if the agreement under which it arose was entered
  into with the Person who was an Agent, Lender or the Affiliate of a Person who was an
  Agent or Lender, at the time such agreement was entered into, regardless of whether such
  Agent or Lender ceased to be the Agent or a Lender hereunder.

  1.1.26 “BCBCA” means the Business Corporations Act (British Columbia), as amended
  from time to time.

  1.1.27 “BIA” means the Bankruptcy and Insolvency Act (Canada), as amended from time
  to time.

  1.1.28 “Borrowers” means, collectively, the Canadian Borrower, the Specified
  Canadian Swingline Borrower and the U.S. Borrower and “Borrower”, means any one of
  them; provided, that “Borrower”, in the context of provision hereunder relating to:

  (a)    the Term Facility and the Canadian Operating Facility, and Loans thereunder, shall
         mean the Canadian Borrower and its successors and assigns;

  (b)    the U.S. Operating Facility, and Loans thereunder, shall mean the U.S. Borrower
         and its successors and assigns; and

  (c)    the Swingline, and Loans thereunder, shall mean the applicable Swingline
         Borrower and its successors and assigns.

  1.1.29 “Borrowing Base” means the amount in U.S. Dollars calculated by the Borrower
  and approved by the Agent, in its sole discretion, as set out in the most recent Borrowing
  Base Certificate, being the aggregate amount of (without duplication):

  (a)    Marginable Receivables; plus

  (b)    Marginable Inventory; plus

  (c)    Marginable Cash; plus

  (d)    Marginable Capital Assets; minus

  (e)    Priority Claims; minus

  (f)    $150,000 (but only until such time as the Agent and HSBC US have received an
         environmental report or other information from or on behalf of Anchor which is
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           satisfactory to each of them (acting reasonably) related to the Norge, Oklahoma and
           Roosevelt, Utah properties owned by the Credit Parties, and the Agent and HSBC
           US agree to no longer require the reserve set out in this clause (f)), provided such
           reserve shall only apply to the extent such properties form part of the Borrowing
           Base, minus

  (g)      the amount in U.S. Dollars of unrealized losses resulting from mark to market
           accounting for hedging activities calculated in accordance with GAAP, minus

  (h)      the amount in U.S. Dollars of any deductible payable in respect of the Account
           Receivable Insurance (other than in respect of Anchor, Terra and their respective
           Subsidiaries), minus

  (i)      any amount that is payable to the insurer under the Account Receivable Insurance
           (other than in respect of Anchor, Terra and their respective Subsidiaries).

  1.1.30 “Borrowing Base Certificate” means a certificate of the Canadian Borrower,
  substantially in the form of Exhibit “H”.

  1.1.31    “Borrowing Base Shortfall” is defined under Section 5.3.5.

  1.1.32    “Business Day” means:

  (a)      for the purpose of giving any communication pursuant to Section 13.11 and in the
           context of U.S. Dollar Base Rate Loans and U.S. Dollar Prime Rate Loans, a day
           on which the main branches of the Agent or any of its Affiliates in Toronto,
           Calgary, Montreal, Quebec and New York are open for normal banking business;

  (b)      for purposes of LIBOR Loans, also must be a LIBOR Business Day; and

  (c)      for all other purposes, a day on which the main branch of the Agent in Calgary,
           Alberta, Montreal, Quebec and Toronto, Ontario is open for normal banking
           business,

  but in any event not including a Saturday or Sunday or other day on which banks in Calgary
  or Toronto are authorized or required by law to close.

  1.1.33 “Calumet” means Calumet Operating, LLC and its successors and permitted
  assigns.

  1.1.34 “Canadian Borrower” means Q’Max Solutions Inc., a corporation amalgamated
  pursuant to the BCBCA, and its successors and permitted assigns.

  1.1.35 “Canadian Dollar Prime Rate Loan” means a loan made by a Lender to the
  Canadian Borrower in Canadian Dollars in respect of which interest is determined by
  reference to the Canadian Prime Rate, but excluding Advances in the form of Overdrafts
  and BA Equivalent Loans.
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  1.1.36    “Canadian Dollars” or “Cdn. $” means the lawful money of Canada.

  1.1.37    “Canadian Operating Facility” is defined in Section 2.1.

  1.1.38 “Canadian Operating Facility Commitment” means, as the context requires,
  (a) as of the Second Amendment Date, collectively with respect to all Canadian Operating
  Lenders, in the aggregate, U.S. $119,681,471 or the Equivalent Amount in Cdn. $ (or any
  combination thereof), as otherwise increased or decreased pursuant to this Agreement and
  (b) means, with respect to each individual Canadian Operating Lender, the individual
  commitment amount of such Lender in the maximum principal amount indicated opposite
  such Canadian Operating Lender’s name in Exhibit “A” under the heading “Canadian
  Operating Facility Commitments”, as amended from time to time.

  1.1.39 “Canadian Operating Facility Limit” means the lesser of (a) the Canadian
  Operating Facility Commitment, and (b) the sum of the Borrowing Base less the then
  outstanding Advances under the Term Facility and the U.S. Operating Facility.

  1.1.40 “Canadian Operating Lenders” means the Lenders who have provided a
  Commitment under the Canadian Operating Facility as set forth in Exhibit “A”.

  1.1.41    “Canadian Prime Rate” means the greater of the following:

  (a)      the rate of interest announced from time to time by the Agent as its reference rate
           then in effect for determining rates of interest on Canadian dollar loans to its
           customers in Canada and designated as its prime rate; and

  (b)      the 30-day CDOR Rate plus 1% per annum;

  provided that if the Canadian Prime Rate calculated for any purpose would be less than
  zero on any day, then such rate shall be deemed to be zero for such purpose.

  1.1.42 “Capital Adequacy Requirements” means the Guideline dated January 2017,
  entitled “Capital Adequacy Requirements (CAR)” issued by OSFI and all other guidelines
  or requirements relating to capital adequacy issued by OSFI or any other Governmental
  Authority regulating or having jurisdiction with respect to any Lender, as amended,
  modified, supplemented, reissued or replaced from time to time.

  1.1.43 “Capital Expenditures” means, with respect to any Person for any period,
  without duplication, the aggregate amount of all expenditures (whether paid in cash or
  accrued as a liability) by such Person during that period for investments in other Persons
  and the acquisition or leasing (pursuant to a Capital Lease) of fixed or capital assets or
  additions to property, plant, or equipment (including replacements, capitalized repairs, and
  improvements), in each case, which are required to be capitalized on the balance sheet of
  such Person in accordance with GAAP; provided, however, that Capital Expenditures shall
  not include:

  (a)      expenditures with proceeds of insurance settlements, condemnation awards and
           other settlements in respect of lost, destroyed, damaged or condemned assets,
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         equipment or other property to the extent such expenditures are made to replace or
         repair such lost, destroyed, damaged or condemned assets, equipment or other
         property or otherwise to acquire, maintain, develop, construct, improve, upgrade or
         repair assets or properties useful in the business of a Borrower and its Subsidiaries
         within one year of receipt of such proceeds (or, if not made within such one year
         period, are committed to be made during such period, but if not so made, such
         amount will not be excluded in the next applicable period);

  (b)    interest capitalized during such period;

  (c)    expenditures that are accounted for as Capital Expenditures of such Person and that
         actually are paid for by a third party (excluding a Borrower or any Subsidiary
         thereof) and for which neither any Borrower nor any Subsidiary has provided or is
         required to provide or incur, directly or indirectly, any consideration or obligation
         to such third party or any other Person (whether before, during or after such period);

  (d)    the purchase price of equipment (i) that is purchased simultaneously with the trade-
         in of existing equipment to the extent that the gross amount of such purchase price
         is reduced by the credit granted by the seller of such equipment for the equipment
         being traded in at such time, (ii) to the extent the consideration therefor consists of
         any combination of (A) used or surplus equipment traded in at the time of such
         purchase and (B) the proceeds of a substantially concurrent sale of used or surplus
         equipment, in each case in the ordinary course of business; provided that only such
         credit value of such traded equipment will be excluded for this purpose;

  (e)    for purposes of Section 7.2.10 only, expenditures that constitute Permitted
         Acquisitions and Permitted Investments;

  (f)    the book value of any asset owned to the extent such book value is included as a
         capital expenditure as a result of reusing or beginning to reuse such asset during
         such period without a corresponding expenditure actually having been made in such
         period;

  (g)    expenditures of leasehold improvements for which such Person is reimbursed in
         cash or receives a credit; and

  (h)    any non-cash amounts reflected as additions to property, plant or equipment on
         such Person’s consolidated balance sheet.

  1.1.44 “Capital Lease” means any lease, license or similar transaction determined as a
  capital lease in accordance with GAAP as in effect on the Amendment and Restatement
  Date, or any sale and lease back transaction or any other lease (whether a synthetic lease
  or otherwise).

  1.1.45 “Cash Equivalents” means, as of the date of any determination thereof, the
  following:
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  (a)      marketable direct obligations issued or unconditionally guaranteed by the
           Government of Canada, the U.S., or any agency or instrumentality thereof, a
           government of a province of Canada or of a state of the U.S. or, in each case, any
           agency thereof, maturing no more than one year after the date of acquisition thereof;

  (b)      commercial paper maturing no more than one year after the date of acquisition
           thereof and having, at the time of acquisition, a rating of at least A1 by Standard &
           Poor’s Ratings Services or at least Prime 1 by Moody’s Investors Service, Inc. or
           at least R1 (low) by Dominion Bond Rating Service Inc.;

  (c)      certificates of deposit, deposit notes, term deposit receipts, or time deposits or
           bankers’ acceptances, maturing no more than one year after the date of acquisition
           thereof, issued by the Lender or by commercial banks incorporated under the laws
           of Canada or the U.S. or a state thereof, each having a rating of at least A1 by
           Standard & Poor’s Ratings Services or at least Prime 1 by Moody’s Investors
           Service, Inc. or at least R1 (low) by Dominion Bond Rating Service Inc.;

  (d)      such local currencies in those countries in which the Borrowers and their
           Subsidiaries transact business from time to time in the ordinary course of business;

  (e)      investments of comparable tenor and credit quality to those described in the
           foregoing clauses (a) through (c) or otherwise customarily utilized in countries in
           which the Borrowers and their Subsidiaries operate for short term cash management
           purposes; and

  (f)      investments in any investment company, money market or fund which invests
           substantially all of their assets in Cash Equivalents of a kind described in
           (a) through (c) of this definition.

  1.1.46 “Cash Taxes” means, in respect of any Person for any applicable period, the
  amount of all income taxes (including federal and provincial income taxes) paid or payable
  by such Person on its net taxable income for such period (which for greater certainty, does
  not include future income taxes).

  1.1.47    “Catch Up Management Fee Payments” is defined in Section 1.1.202(a).

  1.1.48 “CDOR Rate” means on any day the annual rate of interest which is the rate
  determined as being the arithmetic average of the quotations of all institutions listed in
  respect of the rate for Canadian Dollar denominated bankers’ acceptances for the relevant
  period displayed and identified as such on the “Reuters Screen CDOR Page” (as defined
  in the International Swaps and Derivatives Association, Inc. definitions, as modified and
  amended from time to time) as of 10:00 a.m. Toronto, Ontario local time on such day and,
  if such day is not a Business Day, then on the immediately preceding Business Day (as
  adjusted by the Agent after 10:00 a.m. Toronto, Ontario local time to reflect any error in a
  posted rate of interest or in the posted average annual rate of interest with notice of such
  adjustment in reasonable detail evidencing the basis for such determination being
  concurrently provided to the Borrower). If such rates are not available on the Reuters
  Screen CDOR Page on any particular day, then the CDOR Rate on that day shall be
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  calculated as the arithmetic mean of the rates applicable to Canadian Dollar denominated
  bankers’ acceptances for the relevant period publicly quoted for customers in Canada by
  those Lenders which are banks listed in Schedule I of the Bank Act (Canada) as of
  10:00 a.m. Toronto, Ontario local time on such day; or if such day is not a Business Day,
  then on the immediately preceding Business Day; provided that if the CDOR Rate
  calculated for any purpose would be less than zero on any day, then such rate shall be
  deemed to be zero for such purpose.

  1.1.49 “Change of Control” means in respect of the Canadian Borrower or Holdco, the
  occurrence of any of the following events:

  (a)    prior to any initial public offering of the Canadian Borrower or Holdco, as
         applicable, when Permitted Holders do not beneficially own, collectively, directly
         or indirectly, shares in the Canadian Borrower or Holdco, as applicable,
         representing more than 50% of the Voting Securities of the Canadian Borrower or
         Holdco; and

  (b)    after any initial public offering of the Canadian Borrower or Holdco, as applicable,
         when a Person or Group (other than any employee benefit plan and/or Person acting
         as the trustee, agent or other fiduciary or administrator) acquires shares in the
         Canadian Borrower or Holdco, as applicable, representing more than the greater of
         (i) 35% of the aggregate outstanding Voting Securities of the Canadian Borrower
         or Holdco, as applicable and (ii) the percentage of then outstanding Voting
         Securities of the Canadian Borrower or Holdco, as applicable, directly or indirectly,
         owned by Permitted Holders.

  1.1.50 “Code” means the United States Internal Revenue Code of 1986, and any
  successor statute and any regulations thereunder.

  1.1.51 “Collateral” means, collectively, all property, assets and undertaking of the
  Credit Parties encumbered by the Liens granted pursuant to the Security in support of the
  Obligations, and all property, assets and undertaking encumbered by the Liens granted
  pursuant to the Security in support of the Guarantees, together with all proceeds of the
  foregoing. For the avoidance of doubt, Collateral shall not include (a) capital assets or
  inventory of any Credit Party organized outside of the U.S. or Canada, (b) pending United
  States “intent-to-use” trademark applications for which a verified statement of use or an
  amendment to allege use has not been filed with and accepted by the United States Patent
  and Trademark Office, (c) Securitization Assets but only once transferred to a
  Securitization SPE and (d) any of the “Excluded Property” (as defined in the general
  security agreement from the U.S. Borrower as described in Section 8.1(a)).

  1.1.52 “Collection Rights” means, in respect of any Eligible Approved Contracts
  between a Pemex Entity, on the one hand, and QMax Mexico, on the other hand, the
  collection or credit rights granted to QMax Mexico by such Pemex Entity pursuant to such
  Eligible Approved Contract.
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  1.1.53 “Colombian Free Cash Flow” means, for any fiscal period, all EBITDA
  attributable to all Colombian operations of the Canadian Borrower and its Material
  Subsidiaries determined in accordance with the definition of EBITDA, minus Cash Taxes,
  Interest Expense and Unfunded Capital Expenditures, in each case, attributable to such
  Colombian Subsidiaries and operations.

  1.1.54 “Commitment” means, in respect of any Lender, such Lender’s commitment to
  make Advances to the Borrowers (or any one of them) under all Facilities or under any
  Facility, as the context requires as set forth in Exhibit “A”.

  1.1.55    “Common Shares” means the common shares in the capital of a Borrower.

  1.1.56 “Compliance Certificate” means a certificate delivered by the Canadian
  Borrower to the Agent in the form of Exhibit “F”.

  1.1.57 “Consolidated Net Income” shall mean, for any period, the net income (loss) of
  any Person and its Subsidiaries determined on a consolidated basis on the basis of GAAP;
  provided, however, that any net income (loss) of any Person (excluding any Securitization
  SPE) (i) who is not during such period a Material Subsidiary or (ii) whose net income is
  accounted for by the equity method of accounting, shall in each case be included in the
  calculation of Consolidated Net Income for all purposes of this Agreement only to the
  extent of the amount of any Distributions of such Person paid in cash (or to the extent
  converted into cash) to the Canadian Borrower or a Material Subsidiary, and
  “Consolidated Net Income” for such period shall include any ordinary course dividends
  in cash received by the Canadian Borrower or any of its Material Subsidiaries in excess of
  the amounts included in the foregoing item (i).

  1.1.58 “Consolidated Net Tangible Assets” means, as at any date of determination, all
  consolidated assets of the any Person as shown in the most recent consolidated balance
  sheet of such Person, less the aggregate of the following amounts reflected upon such
  balance sheet:

  (a)      all goodwill, deferred assets, trademarks, copyrights and other similar intangible
           assets; and

  (b)      to the extent not already deducted in computing such assets and without duplication,
           depreciation, depletion, amortization, reserves and any other account which reflects
           a decrease in the value of an asset or a periodic allocation of the cost of an asset;
           provided, that no deduction will be made under this paragraph (b) to the extent that
           such account reflects a decrease in value or periodic allocation of the cost of any
           asset referred in the paragraph (a) of this definition,

  all as determined in accordance with GAAP.

  1.1.59    “Contributing Lenders” is defined in Section 11.4.2.

  1.1.60 “control” means, in respect of any Person, the power to direct or cause the
  direction of management and policies of such Person, directly or indirectly, through the
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  ownership of Voting Securities, contract or otherwise; and “controlled” has a
  corresponding meaning.

  1.1.61 “Conversion” means the substitution of one Availment Option for another, and,
  for certainty, does not constitute a fresh or new Advance (and “Convert” shall have a
  corresponding meaning).

  1.1.62 “Conversion Notice” means a notice substantially in the form of Exhibit “D”
  given by a Borrower to the Agent for the purposes of requesting a Conversion.

  1.1.63 “Covenant Relief Period” means the period from the Amendment and
  Restatement Date, up to and including December 31, 2020, subject to the Borrowers’ right
  to elect a shorter period pursuant to Section 1.18.

  1.1.64 “Credit Documents” means this Agreement, the Security and all other
  agreements, documents, instruments and certificates required or contemplated herein to be
  provided by the Credit Parties and other Persons to the Agent and the Lenders.

  1.1.65 “Credit Parties” means, collectively, the Borrowers and any Guarantor; and
  “Credit Party” means any one of them as the context requires. Notwithstanding any
  provision in this Agreement or any other Credit Document, in no event shall any
  Securitization SPE be deemed a Credit Party.

  1.1.66 “Currency Hedging Agreement” means any swap, hedge or other agreement
  that does not contravene Section 7.2.12 entered into between a Credit Party and a
  counterparty, from time to time for the purpose of mitigating or hedging currency risk,
  including foreign exchange forward contracts.

  1.1.67 “Default” means an event which has occurred and is continuing, and which, with
  the giving of notice or the lapse of time or both, would constitute an Event of Default.

  1.1.68 “Default Rate” means, while an Event of Default exists, the interest rates and fess
  comprising the Applicable Margin will each increase by 2.0% per annum.

  1.1.69 “Defaulting Lender” means any Lender or, in the case of paragraph (e) below, a
  Lender’s parent (being any Person that directly or indirectly controls a Lender where
  control has the same meaning as in the definition of Affiliate):

  (a)    that has failed to fund any payment or its portion of any Advances required to be
         made by it hereunder, including as a result of being a Non-Paying Lender, within
         two Business Days of the date such Advances were required to be funded hereunder
         unless such Lender notifies the Agent and the Canadian Borrower in writing that
         such failure is the result of such Lender’s determination that one or more conditions
         precedent to funding (each of which conditions precedent, together with any
         applicable default, shall be specifically identified in such writing) has not been
         satisfied;
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  (b)      that has failed to pay the Agent or any other Lender any other amount required to
           be paid by it hereunder within two Business Days of the date when due;

  (c)      that has notified a Borrower (in writing) that it does not intend to or is unable to
           comply with any of its funding obligations under this Agreement or has made a
           public statement to that effect (unless such written notice or public statement relates
           to such Lender’s obligation to fund a Loan hereunder and states that such position
           is based on such Lender’s determination that a condition precedent to funding
           (which condition precedent, together with any applicable default, shall be
           specifically identified in such written notice of public statement) cannot be
           satisfied);

  (d)      that has failed, within three Business Days after request by a Borrower, to confirm
           that it will comply with the terms of this Agreement relating to its obligations to
           fund prospective Advances; or

  (e)      that becomes insolvent, has been deemed insolvent by a court of competent
           jurisdiction, or becomes the subject of bankruptcy or insolvency proceeding.

  1.1.70    “Departing Lenders” is defined in Section 11.5.2.

  1.1.71 “Deposit Account Control Agreement” means the deposit account control
  agreement dated December 29, 2014 between the Agent, Wells Fargo and the U.S.
  Borrower, as the same may be amended from time to time.

  1.1.72    “Designated Financial Covenants” is defined in Section 7.3.2

  1.1.73    “Distribution” means:

  (a)      any declaration or payment of dividends or returns of capital, including advisory
           fees and management fees, of any kind or nature directly or indirectly to any holder
           of shares of any Credit Party or to any Affiliate or Related Party of such holder and
           including any similar payments paid by any Credit Party to Palladium or its
           Affiliates, whether pursuant to the Advisory Services Agreement or any other
           similar agreement now or hereafter in effect between any one or more Credit Party
           and any one or more of Palladium or its Affiliates;

  (b)      any repurchase, retraction or redemption of shares of any Credit Party for cash or
           other property; and

  (c)      any payment, repayment or prepayment by a Person in cash of any amount of any
           principal, interest, fees or other amounts in respect of any Subordinated Debt.

  For certainty, Distributions shall not include the reimbursement of reasonable out-of-
  pocket expenses incurred by Palladium or the directors of the Credit Parties in the ordinary
  cause of business in rendering advisory or management services to the Credit Parties or
  performing a director’s obligations to the applicable Credit Party, as the case may be.
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  1.1.74 “Drawdown Request” means a notice in the form of Exhibit “B” given by the
  Borrower to the Agent for the purpose of requesting an Advance.

  1.1.75 “Earnout Payments” means, in respect of any Acquisition, the requirement for
  any Credit Party, as purchaser, to pay to the vendor under such Acquisition (or any nominee
  thereof) contingent payments of the purchase price thereof after the closing thereof which
  are payable when specified targets (including related to revenue or earnings), are satisfied
  within specified periods.

  1.1.76 “EBITDA” means, for any fiscal period, Consolidated Net Income of the
  Canadian Borrower and the Subsidiaries determined on a consolidated basis in accordance
  with GAAP and measured on a trailing four Fiscal Quarter basis for such period, plus all
  amounts deducted in the calculation thereof on account of (without duplication irrespective
  if any expense, loss or gain would fall into one or more of the foregoing categories):

  (a)    interest expense calculated in accordance with GAAP, including (i) the
         amortization of debt discounts, (ii) the amortization of all fees (including fees with
         respect to Hedging Agreements) payable in connection with the incurrence of
         Funded Debt to the extent included in interest expense, (iii) deferred financing fees
         and expenses, and (iv) the portion of any payments or accruals with respect to
         Capital Lease Obligations allocable to interest expense and the capitalized interest
         of such Person;

  (b)    any provision for or payment of taxes based on income, profits or capital gains,
         calculated in accordance with GAAP, including, without limitation, state,
         provincial, franchise, property and similar taxes and foreign withholding taxes
         (including penalties and interest related to such taxes or arising from tax
         examinations) and any deferred/future taxes;

  (c)    depreciation and amortization expense, calculated in accordance with GAAP,
         including amortization of intangible assets, unrecognized prior service costs and
         actuarial non-cash losses related to pensions and other post-employment benefits,
         of such;

  (d)    Permitted Management Fees (but for certainty, in an amount not exceeding the
         Annual Management Fee Cap in any Fiscal Year) and the reasonable out-of-pocket
         expenses related thereto which have been reimbursed by a Credit Party, and any
         payments permitted under clause (j) of Section 7.2.6, to the extent paid by a Credit
         Party to a non-Credit Party;

  (e)    all non-cash expenses and losses calculated in accordance with GAAP related to:
         (i) extraordinary and nonrecurring losses to the extent not otherwise dealt with in
         this definition, (ii) all non-recurring deferred financing costs written off and
         premiums paid or other expenses incurred directly in connection with any early
         extinguishment of Funded Debt and any net loss attributable to any write-off or
         forgiveness of Funded Debt, (iii) any non-cash expense or loss arising from the
         application of purchase accounting adjustments as a result of any Permitted
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        Acquisition, and (iv) other non-cash expenses and charges to the extent not
        otherwise dealt with in this definition (in each case, calculated on a pro forma basis
        as though realized on the first day of such period) reducing Consolidated Net
        Income for such period including resulting from impairment charges and including
        losses against book value on the disposal or write-off of any business or assets
        (including pursuant to any sale/leaseback transaction);

  (f)   [reserved];

  (g)   unrealized losses resulting from mark to market accounting for hedging activities
        calculated in accordance with GAAP;

  (h)   any unrealized foreign currency translation or transaction losses in respect of
        (i) Funded Debt denominated in a currency other than the functional currency of
        the relevant Person and (ii) any unrealized foreign exchange losses relating to
        translation of assets and liabilities denominated in foreign currencies;

  (i)   charges, expenses or losses reasonably related to (i) fees and expense in connection
        with Permitted Acquisitions, Permitted Investments, Permitted Dispositions, the
        incurrence of Permitted Funded Debt (but only to the extent not already included
        in clause (a) above), amendments and other modifications to the Credit Documents,
        the offering or issuance of debt securities and equity interests and other capital
        raising activities permitted hereunder, including, without limitation, refinancing of
        the Facilities (in each case, whether or not successful) and (ii) business optimization
        expenses and restructuring charges, reserves or expenses, (including losses from
        disposed, abandoned, transferred, closed or discontinued operations) in each case
        as documented by evidence provided by the Canadian Borrower and acceptable to
        the Agent (acting reasonably and responding to requests for approval within five
        (5) Business Days); provided, that all of the foregoing may not exceed a maximum
        aggregate amount of $5,500,000 for each applicable measurement period of four
        consecutive Fiscal Quarters, or such higher amount as the Required Lenders may
        consent to from time, acting reasonably;

  (j)   non-cash expenses incurred in connection with any equity based compensation
        provided pursuant to any management or employee equity based compensation plan
        (in each case, calculated on a pro forma basis as though realized on the first day of
        such period), and including (i) costs or expenses realized in connection with or
        resulting from stock appreciation or similar rights, stock options or other rights of
        officers, directors and employees, in each case of such Person or any such
        Subsidiary, and (ii) non-cash losses attributable to deferred compensation plans or
        trusts;

  (k)   third party audit, advisory and consulting fees and related out-of-pocket expenses
        of the Canadian Borrower or any of its Subsidiaries incurred in connection with
        audits, inspections and reviews conducted in connection with this Agreement at the
        direction of the Agent or any Lender (but which for certainty does not include audit
        fees related to the preparation of the financial statements required hereunder);
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  (l)    fees, costs and expenses in connection with the Anchor Acquisition not to exceed
         U.S. $11,000,000;

  (m)    discounts on sales of receivables and related assets in connection with any
         Permitted Securitization Financing;

  minus, in each case to the extent added in the calculation thereof (without duplication
  irrespective if any expense, loss or gain would fall into one or more of the foregoing
  categories):

  (n)    income tax credits calculated in accordance with GAAP;

  (o)    all cash payments during such period relating to non-cash charges which were
         added back in determining EBITDA in any prior period;

  (p)    other non-cash and non-recurring items increasing Consolidated Net Income that
         are not otherwise dealt with in this definition (but excluding any such non-cash
         items to the extent that it will result in the receipt of cash payments in any future
         period), including gains against book value on the disposal of any business or
         assets;

  (q)    unrealized gains resulting from mark to market accounting for hedging activities
         calculated in accordance with GAAP;

  (r)    any unrealized foreign currency translation or transaction gains in respect of
         Funded Debt denominated in a currency other than the functional currency of the
         relevant Person and any unrealized foreign exchange gains relating to translation
         of assets and liabilities denominated in foreign currencies;

  (s)    any net gain attributable to any write-off or forgiveness of Funded Debt;

  (t)    net gains on the disposal, abandonment, transfer, closing or discontinuance of
         operations;

  (u)    non-cash gains attributable of deferred compensation plans and trusts;

  (v)    any non-cash gains arising from the application of purchase accounting adjustments
         as a result of any Permitted Acquisition or other Acquisitions approved by the
         Lenders; and

  (w)    Consolidated Net Income attributable to or generated from any minority interest in
         a Person owned directly or indirectly by the Canadian Borrower, except for cash
         Distributions received by a Credit Party therefrom;

  provided, that if any of the events described in Section 1.13 occurs during the relevant
  period, the calculation of EBITDA will be adjusted as set forth in Section 1.13.
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  Notwithstanding the foregoing, the Borrowers may elect to calculate EBITDA on the
  following annualized basis (as opposed to a trailing four Fiscal Quarter basis) for the
  periods specified below: (i) for the Fiscal Quarter ending March 31, 2018, by calculating
  EBITDA for the six month period ending as of March 31, 2018 and multiplied by two, and
  (ii) for the Fiscal Quarter ending June 30, 2018, by calculating EBITDA for the nine month
  period ending as of June 30, 2018, and multiplied by four-thirds, but only if such alternative
  calculation would result in a greater value for EBITDA for such period.

  In addition, if EBITDA is calculated on the basis described in the immediately preceding
  paragraph, then the amounts described in paragraph (i) above (the “Prescribed Amounts”)
  shall be limited to, the lesser of (x) the Prescribed Amounts actually paid during such
  period and (y) $5,325,000.

  1.1.77 “Economic Sanctions” means the restrictions with respect to funding operations,
  or financing investments, in any country, or making payments to, or receiving payments or
  property from, any country or Person, then prohibited by:

  (a)    any sanctions or requirements imposed by, or based upon the obligations or
         authorities set forth in the Executive Order, the U.S. Money Laundering Control
         Act of 1986 (18 U.S.C. §§ 1956 et seq.), the PATRIOT Act, the U.S. International
         Emergency Economic Powers Act (50 U.S.C. §§ 1701 et seq.), the U.S. Trading
         with the Enemy Act (50 U.S.C. App. §§ 1 et seq.), the U.S. United Nations
         Participation Act, the U.S. Syria Accountability and Lebanese Sovereignty Act, the
         U.S. Comprehensive Iran Sanctions, Accountability, and Divestment Act of 2010 or
         the Iran Sanctions Act, all as amended, or any of the foreign assets control
         regulations of the U.S. Department of the Treasury (including but not limited to
         31 CFR, Subtitle B, Chapter V, as amended) or any other law or executive order
         relating thereto or regulation administered by the US State Department or the
         United States Treasury Department’s Office of Foreign Assets Control, in each
         case, to the extent applicable; and

  (b)    any of the economic sanctions of Canada, including those provided for pursuant to
         the Special Economic Measures Act (Canada) or the United Nations Act (Canada),
         in each case, to the extent applicable.

  1.1.78 “Eligible Approved Contracts” means a contract or other agreement of a Credit
  Party to provide goods or perform services: (a) that is listed on Schedule 6.1.33; (b) or
  designated by the Agent as an Eligible Approved Contract pursuant to Section 5.17.

  1.1.79 “Eligible Capital Assets” means, at any time, the capital assets of the Credit
  Parties; provided, that, in any event, no capital asset shall be deemed to be a Eligible Capital
  Asset unless each of the following statements is accurate and complete (and by including
  such capital asset in any computation of the Borrowing Base, the Borrowers will be deemed
  to made each of these statements in respect thereof):

  (a)    such capital asset is located in Canada or the U.S.;
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  (b)    such capital asset is in good condition, merchantable, meets all standards imposed
         by any Governmental Authority having regulatory authority over it or its use and/or
         sale and is not obsolete and is either currently usable or currently saleable in the
         normal course of business of the applicable Credit Party;

  (c)    the Agent, on behalf of the Lenders, has a First-Ranking Security Interest covering
         such capital asset;

  (d)    such capital asset is, and at all times will be, free and clear of all Liens other than
         Permitted Liens and unregistered Liens in respect of Priority Claims that are not
         yet due and payable;

  (e)    such capital asset does not constitute Hazardous Materials;

  (f)    such capital asset is covered by all applicable insurance as required by
         Section 7.1.9; and

  (g)    the Agent has not determined in its Permitted Discretion that it may not sell or
         otherwise dispose of such capital asset in accordance with the terms of the
         applicable Credit Documents without infringing upon the rights of another Person
         or violating any contract with any other Person.

  1.1.80 “Eligible Cash” means, as of the date of determination, the aggregate U.S. Dollar
  amount of the unrestricted cash (determined in accordance with GAAP) and Cash
  Equivalents of Credit Parties (other than with respect to Anchor and its Subsidiaries until
  such time as the Encina ABL Loan Agreement is terminated and the obligations thereunder
  have been repaid in full) that:

  (a)    the Agent on behalf of the Lenders, has a first priority perfected Lien covering such
         unrestricted cash or Cash Equivalent, and such unrestricted cash or Cash Equivalent
         is, and at all times will be, free and clear of all Liens other than Permitted Liens and
         unregistered Liens in respect of Priority Claims that are not yet due and payable;

  (b)    are held in collateral accounts located in Canada, the U.S., Mexico or another
         OECD member country; provided, such collateral accounts may be located in non-
         OECD member countries to the extent maintained by HSBC or an affiliate thereof
         (or such other bank deemed reasonable in the sole discretion of the Agent);

  (c)    subject to the proviso at the end of Section 8.1(i), are held in collateral accounts in
         the name of the Agent or an agent thereof (or, with the consent of the Agent, the
         applicable Credit Party), in each case maintained with (i) the Agent or (ii) an
         Affiliate of the Agent, another Lender, an Affiliate of another Lender or another
         depositary that has entered into a control agreement (in form and substance
         reasonably acceptable to the Agent) with the Agent and the applicable Credit Party,
         and, in each case, with respect to which the Agent retains exclusive control to direct
         the transfer of funds therefrom during the continuation of an Event of Default (with
         withdrawals by the applicable Credit Party to be permitted upon notice to the Agent
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         so long as the Agent has not delivered a notice of exclusive control upon the
         occurrence and during the continuation of an Event of Default);

  (d)    subject to clause (ii) above, is otherwise available for use by a Credit Party, without
         condition or restriction; and

  (e)    upon a reasonable request therefor by the Agent, for which Agent shall have
         received evidence, in form and substance reasonably satisfactory to Agent, of the
         amount thereof as of the applicable date of calculation,

  provided, that such unrestricted cash and Cash Equivalents shall be reduced by an amount
  equal to, as reasonably estimated by the Borrowers, the withholding tax payable on any
  cash and Cash Equivalents that are to be remitted by any Credit Party to a foreign
  jurisdiction; and further provided, that to the extent that any debit balances (or overdrawn
  amounts) of any accounts of such Credit Parties are deducted from the calculation of
  unrestricted cash and Cash Equivalents above, they shall be increased by an amount equal
  to the such debit balances (or overdrawn amounts) solely to the extent that availability
  under the Operating Facilities is reduced by the amount of any Letters of Credits (or any
  portion thereof) issued and outstanding under the Operating Facilities to backstop such
  deficit amounts.

  1.1.81 “Eligible Inventory” means, at any time, all inventory of the Credit Parties
  valued in U.S. Dollars on a lower of cost (excluding any component of cost representing
  intercompany profit in the case of inventory acquired from an Affiliate) or market basis in
  accordance with GAAP, with detailed calculations of lower of cost or market; provided
  that, in any event, no inventory shall be deemed Eligible Inventory unless each of the
  following statements is accurate and complete (unless all of the Lenders in their sole
  discretion elect to otherwise include such inventory) (and by including such inventory in
  any computation of the applicable Borrowing Base the Borrowers will be deemed to have
  made each of these statements in respect thereof):

  (a)    such inventory is in good condition, merchantable, meets all material standards
         imposed by any Governmental Authority having regulatory authority over it or its
         use and/or sale and is not obsolete and is either currently usable or currently
         saleable in the normal course of business of the applicable Credit Party;

  (b)    with respect to any such inventory in excess of $250,000 per location, such
         inventory is:

         (i)     in possession of a Credit Party and (1) located on real property owned or
                 leased by a Credit Party, and (2) within the U.S. or Canada; provided, that
                 if such inventory is located on real property leased by a Credit Party and if
                 so requested by the Agent, the landlord of such real property shall have
                 executed and delivered to the Agent a Landlord Agreement or at the request
                 of a Borrower or in lieu of such an agreement, the Lenders may take a
                 reserve against Eligible Inventory equal to three month’s rent;
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        (ii)    in the possession of a bailee and such bailee shall have executed and
                delivered to the Agent, a bailee letter in form and substance satisfactory to
                the Agent or at the request of a Borrower, the Lenders shall be permitted to
                take a reasonable reserve against Eligible Inventory related to the applicable
                Credit Party’s economic exposure to such bailee;

        (iii)   in the case of inventory located in the U.S., is placed on consignment with
                a consignee and such consignee shall have executed a valid consignment
                agreement in form and substance satisfactory to Agent and the applicable
                Borrower has filed (when applicable) appropriate UCC (or comparable)
                filings to perfect its interest in such inventory; or

        (iv)    in transit in Canada or the U.S. (provided, that the jurisdictions through
                which such inventory is in transit are jurisdictions where the Liens in such
                inventory under the Security are validly perfected first priority Liens as
                required by Applicable Law) and between owned or leased locations of the
                Credit Parties, and upon arrival at its destination, will comply with either
                clause (i) or (ii) above;

  (c)   the Agent on behalf of the Lenders, has a first priority perfected Lien covering such
        inventory, and such inventory is, and at all times will be, free and clear of all Liens
        other than Permitted Liens and unregistered Liens in respect of Priority Claims that
        are not yet due and payable;

  (d)   such inventory does not include goods (i) that are not owned by a Credit Party,
        (ii) that are held by a Credit Party pursuant to a consignment agreement, or
        (iii) which have been sold by a Credit Party on a bill and hold basis;

  (e)   such inventory is not subject to repossession on account of the “30 day goods” rule
        under section 81.1 of the Bankruptcy and Insolvency Act (Canada) or similar Laws
        except to the extent the applicable vendor has entered into an agreement with the
        Agent, in form and substance satisfactory to the Agent, waiving its right to
        repossession;

  (f)   such inventory does not consist of work in process, store room materials, samples,
        prototypes, or packing and shipping materials not considered for sale by the Credit
        Parties in the ordinary course of business;

  (g)   such inventory does not consist of goods that are returned (as defective or not fit
        for purpose) or used goods taken in trade;

  (h)   any portion of the value of such inventory which results from a profit or gain
        resulting from an inter-company sale or other disposition of such inventory shall be
        excluded;

  (i)   any “seconds” or scrap inventory shall be valued at scrap value;
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  (j)    such inventory is not evidenced by negotiable documents of title unless delivered
         to the Agent with endorsements;

  (k)    such inventory does not constitute Hazardous Materials;

  (l)    such inventory is covered by casualty insurance; and

  (m)    the Agent has not determined in its Permitted Discretion that it may not sell or
         otherwise dispose of such inventory in accordance with the terms of the applicable
         Credit Documents without infringing upon the rights of another Person or violating
         any contract with any other Person.

  1.1.82 “Eligible Line of Business” means any business engaged in as of the date of this
  Agreement by any of the Credit Parties, and any business reasonably related thereto.

  1.1.83 “Eligible Receivables” means, at the time of determination, the Receivables of
  the Credit Parties then existing (other than with respect to Anchor, Terra and their
  respective Subsidiaries), minus any Receivable to which any of the criteria set forth below
  applies (unless all of the Lenders in their sole discretion elect to otherwise include such
  Receivables):

  (a)    is not then subject to the applicable duly perfected Liens created by the Security;

  (b)    is subject to any Lien or deemed trust (other than a Permitted Lien which does not
         rank in priority to the Liens created by the Security);

  (c)    is outstanding more than (i) 120 days, in the case of Acceptable Account Debtors
         or (ii) 90 days, in the case of all other account debtors, in either case after the date
         of shipment of inventory or the provision of the service that created such
         Receivable;

  (d)    is subject to any offset or counterclaim by the applicable account debtor (but only
         to the extent of such offset);

  (e)    is owed by any Person whose principal place of business is located outside Canada
         or the U.S. unless the sale is on letter of credit, guarantee or some other terms
         acceptable to the Agent, acting reasonably;

  (f)    is payable in a currency other than Canadian Dollars or U.S. Dollars;

  (g)    is owed by an Affiliate of the Borrower or any employee, agent or representative
         of the Borrower or of any such Affiliate;

  (h)    with respect to which a cheque, note, draft or other payment instrument has not
         been honoured in accordance with its terms;

  (i)    is owed by any Person that is subject to an Insolvency Event; provided that the
         Receivables from insolvent account debtors shall be Eligible Receivables if and to
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           the extent that such Receivables are fully covered by credit insurance, letters of
           credit or other sufficient third-party credit support, or are otherwise deemed by the
           Agent not to pose an unreasonable risk of non-collectability;

  (j)      is subject to a holdback, but only to the extent of the amount of such holdback;

  (k)      is in dispute, but only to the extent of the amount thereof in dispute, or is subject to
           a claim regarding rescission, cancellation or avoidance, whether by operation of
           law or otherwise;

  (l)      to the extent such Receivable is evidenced by a judgment, provided that such
           Receivables shall be Eligible Receivables if and to the extent that such Receivables
           are fully covered by credit insurance, letters of credit or other sufficient third-party
           credit support, or are otherwise deemed by the Agent not to pose an unreasonable
           risk of non-collectability; and

  (m)      is owed by a Governmental Authority where Applicable Law imposes any
           requirement (including any requirement of notice, acceptance or acknowledgment
           by the Governmental Authority) to constitute a valid assignment as against such
           Governmental Authority, unless the applicable Credit Party has assigned its rights
           to payment of such Receivable to the Agent pursuant to, in the case of a U.S. federal
           Governmental Authority, the Assignment of Claims Act of 1940, as amended, or
           complied with such requirement pursuant to Applicable Law in the case of any
           other Governmental Authority.

  (n)      is or has been sold, contributed, financed or otherwise conveyed or pledged
           pursuant to either of a Permitted Factoring Transaction or a Permitted Securitization
           Financing.

  For certainty, if any Receivable that is otherwise an Eligible Receivable is sold,
  contributed, financed or otherwise conveyed or pledged pursuant to a Permitted
  Securitization Financing it shall immediately cease to be an Eligible Receivable.

  1.1.84 “Encina” means Encina Business Credit, LLC and its successors and permitted
  assigns.

  1.1.85 “Encina ABL Loan Agreement” means the credit agreement dated as of
  September 6, 2019, by and among Anchor, the U.S. Borrower, each Person joined thereto
  as a borrower form time to time, the lenders from time to time party thereto and Encina as
  agent on behalf of such lenders, as may be amended, restated, replaced or otherwise
  modified from time to time to the extent permitted by the Encina Intercreditor Agreement.

  1.1.86 “Encina Intercreditor Agreement” means the intercreditor agreement dated as
  of September 6, 2019, among Encina, the Agent, Anchor and the U.S. Borrower, as may
  be amended, restated, replaced or otherwise modified from time to time.

  1.1.87    “Equity Cure” is defined in Section 7.3.2.
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  1.1.88   “Equity Cure Repayment” is defined in Section 7.3.2.

  1.1.89 “Equivalent Amount” means, in relation to an amount in one currency, the
  amount in another currency that could be purchased by the amount in the first currency
  determined by reference to the applicable Exchange Rate at the time of such determination.

  1.1.90 “ERISA” means the Employee Retirement Income Security Act of 1974, as
  amended from time to time, and any applicable regulation promulgated thereunder.

  1.1.91 “ERISA Affiliate” means any Person that for purposes of Title IV of ERISA is a
  member of the controlled group of any Credit Party, or under common control with any
  Credit Party, within the meaning of Section 414 of the Code.

  1.1.92 “ERISA Event” means (i) the occurrence of a reportable event, as defined in
  Section 4043 of ERISA, with respect to any Plan unless the 30 day notice requirement with
  respect to such event has been waived by the PBGC; (ii) the application for a minimum
  funding waiver pursuant to Section 412(c) of the Code or Section 302(c) of ERISA with
  respect to a Plan; (iii) the receipt by any Credit Party from the administrator of any Plan of
  a notice pursuant to Section 4041(a)(2) of ERISA of intent to terminate such Plan in a
  distress termination described in Section 4041(c) of ERISA; (iv) the cessation of
  operations at a facility of any Credit Party or any ERISA Affiliate in the circumstances
  described in Section 4062(e) of ERISA; (v) the withdrawal by any Credit Party or any
  ERISA Affiliate from a Multiple Employer Plan during a plan year for which it was a
  substantial employer, as defined in Section 4001(a)(2) of ERISA; (vi) the conditions for
  imposition of a Lien under Section 303 of ERISA shall have been met with respect to any
  Plan; or (vii) the institution by the PBGC of proceedings to terminate a Plan pursuant to
  Section 4042 of ERISA, or the occurrence of any event or condition described in
  Section 4042(a) of ERISA that constitutes grounds for the termination of, or the
  appointment of a trustee to administer, such Plan.

  1.1.93 “Exchange Rate” means, on the date of determination of any amount of one
  currency to be converted into another currency pursuant to this Agreement for any reason,
  or vice-versa, the spot rate of exchange for converting Canadian Dollars into such other
  currency or vice-versa, as the case may be, established by the Bank of Canada at
  approximately 4:30 p.m. (Toronto time) on the Business Day immediately preceding the
  date of determination, and if no such rate is quoted, the spot rate of exchange for wholesale
  transactions by the Agent in Toronto, Ontario in accordance with its normal practice;.

  1.1.94 “Excluded Account” means (a) any deposit account used solely for: (i) funding
  payroll or segregating payroll taxes or funding other employee wage or benefit payments
  in the ordinary course of business or (ii) segregating 401k contributions or contributions to
  an employee stock purchase plan and other health and benefit plan, in each case for
  payment in accordance with any Applicable Laws, (iii) any zero-balance disbursement
  accounts, or (iv) disbursements to pay independent contractors, (b) any deposit account the
  funds in which consist solely of funds held by Holdco or any Subsidiary on behalf of or in
  trust for the benefit of any third party that is not an Affiliate of Holdco, any Subsidiary or
  any Investor, (c) any deposit account the funds in which consist solely of cash earnest
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  money deposits or funds deposited under escrow or similar arrangements in connection
  with any letter of intent or purchase agreement for a Permitted Acquisition or any other
  transaction permitted under this Agreement, and (d) any deposit account the funds in which
  consist solely of funds held by Anchor and its Subsidiaries until such time as the Encina
  ABL Loan Agreement is terminated and the obligations thereunder have been repaid in
  full;

  1.1.95 “Excluded Hedging Obligation” means, with respect to any Credit Party, any
  Hedging Liabilities if, and to the extent that, all or a portion of the Financial Assistance of
  such Credit Party of, or the grant by such Credit Party of a security interest to secure, such
  Hedging Liabilities (or any Financial Assistance in respect thereof) is or becomes illegal
  under the Commodity Exchange Act or any rule, regulation or order of the Commodity
  Futures Trading Commission (or the application or official interpretation of any thereof)
  by virtue of such Credit Party’s failure for any reason to constitute an Qualified ECP
  Guarantor at the time the Financial Assistance of such Credit Party, or a grant by such
  Credit Party of a security interest, becomes effective with respect to such Hedging
  Liabilities. If a Hedging Liability arises under a master agreement governing more than
  one swap, such exclusion shall apply only to the portion of such Hedging Liabilities that is
  attributable to swaps for which such Financial Assistance or security interest is or becomes
  excluded in accordance with the first sentence of this definition.

  1.1.96 “Executive Order” means the Executive Order No. 13224 of 23 September 2001,
  entitled “Blocking Property and Prohibiting Transactions With Persons Who Commit,
  Threaten to Commit, or Support Terrorism”.

  1.1.97 “Existing Credit Agreement” means the Amended and Restated Credit
  Agreement, dated January 30, 2015 (as amended, supplemented or otherwise modified
  from time to time prior to the Amendment and Restatement Date), among the Canadian
  Borrower, the U.S. Borrower, HSBC, as administrative agent thereunder and the financial
  institutions from time to time party thereto as lenders.

  1.1.98 “Facilities” means, collectively, the Term Facility, the Canadian Operating
  Facility and the U.S. Operating Facility; and “Facility” means any of them as the context
  requires.

  1.1.99   “Facilities Maturity Date” means, in respect of each Facility, May 22, 2021.

  1.1.100 “FATCA” means Section 1471 through 1474 of the Code, as of the date of this
  Agreement (or any amended or successor version that is substantively comparable and not
  materially more onerous to comply with), any current and future regulations or official
  interpretations thereof and any agreements entered into pursuant to Section 1471(b)(1) of
  the Code.

  1.1.101 “Federal Funds Rate” means, for any day, the rate of interest per annum set forth
  in the weekly statistical release designated as H.15(519), or any successor publication,
  published by the Federal Reserve Board (including any such successor, the “H.15(519)”)
  for such day opposite the caption “Federal Funds (Effective)”. If on any relevant day such
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  rate is not yet published in H.15(519), the rate for such day will be the rate of interest per
  annum set forth in the daily statistical release designated as the Composite 3:30 p.m.
  Quotations for U.S. Government Securities, or any successor publication, published by the
  Federal Reserve Bank of New York (including any successor, the “Composite 3:30 p.m.
  Quotations”) for such day under the caption “Federal Funds Effective Rate”. If on any
  relevant day the appropriate rate per annum for such day is not yet published in either
  H.15(519) or the Composite 3:30 p.m. Quotations, the rate for such day will be the
  arithmetic mean of the rates per annum for the last transaction in overnight Federal funds
  arranged prior to 9:00 a.m. (New York time) on that day by each of three major brokers of
  Federal funds transactions in New York City, selected by the Agent in its sole discretion,
  acting reasonably; provided that if the Federal Funds Rate calculated for any purpose would
  be less than zero on any day, then such rate shall be deemed to be zero for such purpose.

  1.1.102 “Fee Agreement” means the agreement between the Borrowers and the Agent
  delivered on or before the Amendment and Restatement Date under Section 9.1(n).

  1.1.103 “Financial Assistance” means with respect of any Person and without
  duplication, any loan, guarantee, indemnity, assurance, acceptance, extension of credit,
  loan purchase, share purchase, equity or capital contribution, investment or other form of
  direct or indirect financial assistance or support of any other Person or any obligation
  (contingent or otherwise) primarily for the purpose of enabling another Person to incur or
  pay any indebtedness or to comply with agreements relating thereto or otherwise to assure
  or protect creditors of the other Person against loss in respect of indebtedness of the other
  Person and includes any guarantee of or indemnity in respect of the indebtedness of the
  other Person and any absolute or contingent obligation to (directly or indirectly):

  (a)    advance or supply funds for the payment or purchase of any indebtedness of any
         other Person;

  (b)    purchase, sell or lease (as lessee or lessor) any property, assets, goods, services,
         materials or supplies primarily for the purpose of enabling any Person to make
         payment of Funded Debt or to assure the holder thereof against loss;

  (c)    guarantee, indemnify, hold harmless or otherwise become liable to any creditor of
         any other Person from or against any losses, liabilities or damages in respect of
         Funded Debt;

  (d)    make a payment to another for goods, property or services regardless of the non-
         delivery or non-furnishing thereof to a Person; or

  (e)    make an advance, loan or other extension of credit to or to make any subscription
         for equity, equity or capital contribution, or investment in or to maintain the capital,
         working capital, solvency or general financial condition of another Person;

  provided, however, that the term “Financial Assistance” shall not include endorsements of
  instruments for deposit or collection in the ordinary course of business or customary and
  reasonable indemnity obligations in effect on the Amendment and Restatement Date or
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  entered into in connection with any acquisition or disposition of assets permitted by this
  Agreement.

  The amount of any Financial Assistance is the amount of any loan or direct or indirect
  financial assistance or support, without duplication, given, or all indebtedness of the
  obligor to which the Financial Assistance relates, unless the Financial Assistance is limited
  to a determinable amount, in which case the amount of the Financial Assistance is the
  determinable amount.

  1.1.104 “Financial Letter of Credit” means a standby Letter of Credit if it serves as a
  payment guarantee of a Credit Party’s financial obligations and is treated as a direct credit
  substitute for purposes of the Capital Adequacy Guidelines in the Swingline Lender’s or
  Issuing Bank’s, as applicable, reasonable opinion.

  1.1.105 “First Amendment Date” means May 13, 2019.

  1.1.106 “First-Ranking Security Interest” in respect of any Collateral means a Lien in
  such Collateral which is registered where necessary or desirable to record and perfect the
  charges contained therein and which ranks in priority to all other Liens in such Collateral
  except for any Permitted Liens which have priority thereto in accordance with Applicable
  Law or as otherwise agreed in writing by the Lenders.

  1.1.107 “Fiscal Quarter” means the three (3) month period commencing on the first day
  of each Fiscal Year and each successive three (3) month period thereafter during such
  Fiscal Year.

  1.1.108 “Fiscal Year” means the fiscal year of the Borrowers and their Subsidiaries
  commencing on January 1 of each year and ending on December 31 of each year.

  1.1.109 “Fixed Charge Coverage Ratio” means, in respect of the Credit Parties on a
  combined basis for any applicable period, the ratio of:

  (a)    (i) EBITDA for such period, plus, to the extent not included in EBITDA, the
         aggregate amount of all unencumbered cash (except pursuant to the Security)
         received by any Credit Party as payment of unbilled Receivables outstanding as of
         December 31, 2015 that were outstanding for more than 720 days from any of the
         Pemex Entities, in respect of contract number 423023821 dated August 6, 2013,
         between Pemex Exploracion y Produccion and Qmax Mexico, S.A. de C.V., and
         contract number 423023813 dated July 25, 2013, between Pemex Exploracion y
         Produccion and Qmax Mexico, S.A. de C.V. (in each case, as may be amended or
         otherwise modified from time to time), in an amount not to exceed $13,500,000,
         minus (ii) Earnout Payments made during such period (but only to the extent not
         directly funded by the cash proceeds from the sale of equity interests of the
         Canadian Borrower and, to the extent contributed to the capital of the Canadian
         Borrower, equity interests of any of the Canadian Borrower’s direct or indirect
         parent companies), minus (iii) Unfunded Capital Expenditures made during such
         period, minus (iv) all Cash Taxes during such period, minus (v) Permitted
         Management Fees and Catch Up Management Fee Payments, if any, paid during
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         such period, minus (vi) any payments made during such period pursuant to clauses
         7.2.6(l), minus (vii) all other Distributions to Persons that are not Credit Parties paid
         during such period, minus (viii) the fees and expenses described in clause (k) of the
         definition of EBITDA; provided that, any deferred purchase price payments made
         in accordance with the terms of the Anchor Acquisition Agreement shall not be
         deducted from EBITDA for the purposes of calculating the Fixed Charge Coverage
         Ratio;

         divided by

  (b)    the sum total of:

         (i)     all Interest Expense paid or payable in cash for such period;

         (ii)    the scheduled principal component of all Capital Lease payments for such
                 period; and

         (iii)   all scheduled principal repayments under the Term Facility pursuant to
                 Section 3.4.2 or under any other Funded Debt paid during such period;

  all determined on a consolidated basis in accordance with GAAP and tested on a trailing
  12 month basis at the end of each Fiscal Quarter.

  1.1.110 “Fund” means any Person (other than a natural person) that is (or will be) engaged
  in making, purchasing, holding or otherwise investing in commercial loans and similar
  extensions of credit in the ordinary course of its business.

  1.1.111 “Funded Debt” means, with respect to any Person, all indebtedness, liabilities
  and obligations which would in accordance with GAAP be classified in the consolidated
  balance sheet of such Person as indebtedness for borrowed money and including without
  duplication:

  (a)    money borrowed by way of overdraft;

  (b)    indebtedness represented by bonds, debentures or notes payable and drafts accepted
         representing extensions of credit;

  (c)    bankers’ acceptances and similar instruments;

  (d)    letters of credit, letters of guarantee and surety bonds issued at the request of such
         Person (to the extent not cash collateralized), but excluding Non-Financial Letters
         of Credit;

  (e)    actual amounts owed under Hedging Agreements upon termination of such
         Hedging Agreements, including net settlement amounts payable upon maturity and
         termination payments payable upon termination or early termination, which are not
         paid when due;
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  (f)    indebtedness secured by any Lien existing on property of such Person, whether or
         not the indebtedness secured thereby shall have been assumed;

  (g)    all obligations (whether or not with respect to the borrowing of money) that are
         evidenced by bonds, debentures, notes or other similar instruments, or that are not
         so evidenced but that would be considered by GAAP to be indebtedness for
         borrowed money;

  (h)    all redemption obligations and mandatory dividend obligations of such Person with
         respect to any shares issued by such Person and which are by their terms or pursuant
         to any contract, agreement or arrangement:

         (i)     redeemable, retractable, payable or required to be purchased or otherwise
                 retired or extinguished, or convertible into debt of such Person (A) at a fixed
                 or determinable date, (B) at the option of any holder thereof, or (C) upon
                 the occurrence of a condition not solely within the control and discretion of
                 such Person; or

         (ii)    convertible into any other shares described in clause (i) above;

         in any case under this clause (h), except as a result of an initial public offering,
         change of control or asset sale (so long as the Obligations have otherwise been paid
         in full prior to any such payment being required to be made under clause (i) above).

  (i)    all obligations as lessee under Capital Leases;

  (j)    all obligations under or in connection with any (i) Permitted Factoring Transaction
         and (ii) Permitted Securitization Financing (to the extent included in the
         consolidated balance sheet of such Person), which shall in each case be deemed to
         be equal to the net proceeds received thereunder;

  (k)    all obligations of such Person secured by Purchase-Money Security Interests; and

  (l)    any guarantee or indemnity (other than by endorsement of negotiable instruments
         for collection or deposit in the ordinary course of business) in any manner of any
         part or all of an obligation of another Person of the type included in items (a)
         through (k) above;

  but excluding for greater certainty, deferred income taxes and normal course trade
  payables.

  1.1.112 “GAAP” means generally accepted accounting principles in Canada or the United
  States as approved by the Canadian Institute of Chartered Accountants or American
  Institute of Certified Public Accountants, respectively, in effect from time to time, and as
  of the Amendment and Restatement Date, includes Canadian or United States generally
  accepted accounting principles for private enterprises.

  1.1.113 “Governmental Authority” means any:
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  (a)    national, federal, provincial, state, municipal, local or other governmental or public
         department, central bank, court, commission, board, bureau, agency or
         instrumentality, domestic or foreign;

  (b)    any subdivision or authority of any of the foregoing; or

  (c)    any quasi-governmental, judicial or administrative body exercising any regulatory,
         expropriation or taxing authority under or for the account of any of the foregoing.

  1.1.114 “Group” means any “group” such term as used in Sections 13(d) and 14(d) of
  the United States Securities Exchange Act of 1934, as amended, other than the Permitted
  Holders.

  1.1.115 “Guarantee” means any agreement by which any Person assumes, guarantees,
  indemnifies, endorses, contingently agrees to purchase or provide funds for the payment
  of, or otherwise becomes liable upon, the obligation of any other Person, or agrees to
  maintain the net worth or working capital or other financial condition of any other Person
  or otherwise assures any creditor of such Person against loss, and shall include any
  contingent liability under any letter of credit or similar document or instrument.

  1.1.116 “Guarantors” means Holdco and all current and future direct and indirect
  Material Subsidiaries of the Canadian Borrower.

  1.1.117 “Hazardous Materials” means any contaminant, pollutant, waste or substance
  that is likely to cause immediately or at some future time harm or degradation to the
  surrounding environment or risk to human health; and without restricting the generality of
  the foregoing, including any pollutant, contaminant, waste, hazardous waste or dangerous
  goods that is regulated by any Requirements of Environmental Law or that is designated,
  classified, listed or defined as hazardous, toxic, radioactive or dangerous or as a
  contaminant, pollutant or waste by any Requirements of Environmental Law.

  1.1.118 “Hedge Provider” means any Lender or any Affiliate thereof that enters into a
  Hedging Agreement with a Credit Party prior to such Lender ceasing to be a Lender under
  this Agreement. For certainty, any Person who enters into a Hedging Agreement after such
  Person ceases to be a Lender hereunder is not a Hedge Provider for purposes such Hedging
  Agreement.

  1.1.119 “Hedging Agreements” means Interest Rate Hedging Agreements and Currency
  Hedging Agreements.

  1.1.120 “Hedging Liability” means the actual indebtedness or obligations of any Credit
  Party to a counterparty who enters into a Hedging Agreement with such Credit Party under
  or pursuant to such Hedging Agreement.

  1.1.121 “Holdco” means Fluid Holding Corp., a corporation incorporated under the
  BCBCA, and its successors and permitted assigns.
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  1.1.122 “Hostile Acquisition” means an acquisition, which is required to be reported to
  applicable securities regulatory authorities, of shares of a corporation where the board of
  directors of that corporation has not approved such acquisition nor recommended to the
  shareholders of the corporation that they sell their shares pursuant to the proposed
  acquisition or of units of a trust where the trustee or manager or administrator of that trust
  has not approved such acquisition nor recommended to the unitholders of the trust that they
  sell their units pursuant to the proposed acquisition or of units of a partnership where the
  board of directors of the general partner(s) thereof has not approved such acquisition nor
  recommended to the partners of the partnership that they sell their units pursuant to the
  proposed acquisition.

  1.1.123 “HSBC” means HSBC Bank Canada and its successors and permitted assigns.

  1.1.124 “HSBC Mexico” means HSBC México, S.A., Institución de Banca Múltiple,
  Grupo Financiero HSBC.

  1.1.125 “HSBC US” means HSBC Bank USA, National Association and its successors
  and permitted assigns.

  1.1.126 “Impositions” is defined in Section 12.4.1.

  1.1.127 “Indemnitees” means the Lenders, the Agent and their respective successors and
  permitted assignees, any agent of any of them (specifically including a receiver or
  receiver-manager) and the respective officers, directors and employees of the foregoing.

  1.1.128 “Insolvency Event” means, in respect of any Person:

  (a)    such Person commits an act of bankruptcy or becomes insolvent (as such terms are
         used in the BIA); or makes an assignment for the benefit of creditors, files a petition
         in bankruptcy, makes a proposal or commences a proceeding under Insolvency
         Legislation; or petitions or applies to any tribunal for, or consents to, the
         appointment of any receiver, trustee or similar liquidator in respect of all or a
         substantial part of its property; or admits the material allegations of a petition or
         application filed with respect to it in any proceeding commenced in respect of it
         under Insolvency Legislation; or takes any board action for specifically authorizing
         any of the foregoing actions; or

  (b)    any proceeding or filing is commenced against such Person seeking to have an order
         for relief entered against it as debtor or to adjudicate it a bankrupt or insolvent, or
         seeking liquidation, winding-up, reorganization, arrangement, adjustment or
         composition of it or its debts under any Insolvency Legislation, or seeking
         appointment of a receiver, trustee, custodian or other similar official for it or any of
         its property or assets; unless:

         (i)     such Person is diligently defending such proceeding in good faith and on
                 reasonable grounds as determined by the Required Lenders acting
                 reasonably and the same shall continue undismissed, or unstayed and in
                 effect, for any period of 60 consecutive days; and
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         (ii)   such proceeding does not in the reasonable opinion of the Required Lenders
                materially adversely affect the ability of such Person to carry on its business
                and to perform and satisfy all of its obligations.

  1.1.129 “Insolvency Legislation” means legislation in any applicable jurisdiction relating
  to reorganization, arrangement, compromise or re-adjustment of debt, dissolution or
  winding-up, or any similar legislation, and specifically includes the BIA, the Companies’
  Creditors Arrangement Act (Canada), the Winding-Up and Restructuring Act (Canada) and
  the Bankruptcy Code (United States) and any similar legislation under Applicable Law.

  1.1.130 “Insurance Proceeds” is defined in Section 5.3.1(c).

  1.1.131 “Insured Receivables” means Receivables of the Credit Parties owing from
  account debtors that:

  (a)    solely in respect of Insured Receivables that do not derive from and are not
         governed by the laws of Canada or the United States of America or any political
         subdivision thereof, no less than 80% of such Receivables arise from Eligible
         Approved Contracts; provided that if the revenue derived from any such single
         contract exceeds 10% of the Canadian Borrower’s annual revenue as set out in the
         then most recent income statement of the Canadian Borrower that was delivered to
         the Lenders hereunder, such contract must be an Eligible Approved Contract;

  (b)    does not arise under an “excluded contract” or any similar term as provided in the
         Account Receivable Insurance, are within the approved credit, sovereign, country,
         single obligor and other limits under the Account Receivable Insurance and are
         otherwise covered under the Account Receivable Insurance which is in full force
         and effect;

  (c)    the Credit Parties have complied with the credit policy provided for in the Account
         Receivable Insurance with respect to such Receivables, including the issuance of
         invoices, pro forma invoices and final invoices within the required time periods
         thereunder;

  (d)    there are no events, facts or circumstances which would reasonably be expected to
         result in the insurer under the Account Receivable Insurance denying (or
         withholding or delaying) payment of a claim in respect of such Receivables or
         asserting any defense, dispute or counterclaim with respect to such Receivables;

  (e)    the insurer under the Account Receivable Insurance has not denied all or any
         portion of a claim in respect of such Receivable, and has not asserted any defense,
         dispute or counterclaim with respect to such Receivable;

  (f)    the Credit Parties have not suffered any loss with respect to such Receivables,
         unless such loss is covered by the Account Receivable Insurance;

  (g)    are not in dispute and are valid and enforceable obligations of the account debtor
         under Applicable Law;
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  (h)    if Credit Parties have suffered a loss in respect of such Receivable covered by the
         Account Receivable Insurance, they have submitted a claim for such loss in
         accordance with the terms of the Account Receivable Insurance and have otherwise
         complied with all provisions of the Account Receivable Insurance on a timely basis
         in order to be entitled to have such claim paid by the insurer under the Account
         Receivable Insurance;

  (i)    the Credit Parties have paid any required deductibles under the Account Receivable
         Insurance in respect of such Receivables; and

  (j)    in any case, are due within the time period, including any “waiting period”, from
         the date of billing required under the Account Receivable Insurance in respect of
         such Receivable.

  1.1.132 “Intercreditor Agreement” means that certain intercreditor and priority
  agreement between the Agent, HSBC Mexico, and the Borrower or QMax Mexico, as
  amended, modified, supplemented or restated from time to time, with respect to any
  Permitted Factoring Transaction with HSBC Mexico.

  1.1.133 “Interest” means interest on loans, stamping fees in respect of bankers’
  acceptances, the difference between the proceeds received by the issuers of bankers’
  acceptances and the amounts payable upon the maturity thereof, issuance fees in respect of
  letters of credit, and any other charges or fees in connection with the extension of credit
  which are determined by reference to the amount of credit extended, plus standby fees in
  respect of the unutilized portion of any credit facility; but for greater certainty “Interest”
  shall not include agency fees, arrangement fees, structuring fees, fees relating to the
  granting of consents, waivers, amendments, extensions or restructurings, the
  reimbursement of costs and expenses, and any similar amounts which may be charged from
  time to time in connection with the establishment, administration or enforcement of the
  credit facilities.

  1.1.134 “Interest Expense” means, with respect to any Person for any period, the sum of
  (without duplication) (a) interest expense of such Person for such period on a consolidated
  basis, including (i) the amortization of debt discounts, (ii) all commissions, discounts and
  other fees and charges owed with respect to letters of credit and bankers’ acceptances,
  (iii) standby fees in respect of undrawn debt, (iv) discounts applied to the proceeds of any
  Permitted Factoring Transaction or Permitted Securitization Financing, and (v) the portion
  of any payments or accruals with respect to Capital Lease obligations allocable to interest
  expense (but excluding (A) non-cash interest expense attributable to the movement of
  mark-to-market hedging obligations or other derivative instruments pursuant to GAAP
  (B) penalties and interest related to taxes, amortization of debt financing fees, debt issuance
  costs, commissions, fees and expenses and the expensing of any commitment and other
  financing fee in each case, to the extent constituting interest expense under GAAP), and
  (b) capitalized interest of such Person. For purposes of the foregoing, cash interest expense
  shall be determined after giving effect to any net payments made or received and costs
  incurred by the Borrower and the Subsidiaries with respect to Interest Rate Hedging
  Agreements, and interest on a Capital Lease obligation shall be deemed to accrue at an
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  interest rate reasonably determined by the Borrower to be the rate of interest implicit in
  such Capital Lease obligation in accordance with GAAP.

  1.1.135 “Interest Rate Hedging Agreement” means any agreement that does not
  contravene Section 7.2.13 entered into between the Borrower and a counterparty from time
  to time for the purpose of hedging interest rate risk, including interest rate exchange
  agreements (commonly known as “interest rate swaps”) and forward rate agreements; and
  for greater certainty, including interest rate exchange agreements in U.S. Dollars
  (commonly known as “cross-currency swaps”).

  1.1.136 “Interim Financial Statements” in respect of any Fiscal Quarter means, in
  respect of any Person, the unaudited financial statements of such Person on a consolidated
  basis in respect of such Fiscal Quarter (and also on a year-to-date basis in respect of such
  Fiscal Quarter and all previous Fiscal Quarters in the same Fiscal Year).

  1.1.137 “Investment Grade” means, with respect to the long term unsecured debt ratings
  of a Person, of the rating agencies on the date hereof, Baa3 or higher for Moody’s Investors
  Services, Inc. or BBB- or higher for Standard & Poor’s Rating Services, a division of The
  McGraw Hill Companies, Inc. (or in either case, their respective successors).

  1.1.138 “Investments” has the meaning given to it in Section 7.2.3.

  1.1.139 “Investors” means Pep Fluid Co-Invest L.P., PEP Fluid L.P. and any other
  investors from time to time who are approved in writing by the Agent on behalf of the
  Required Lenders.

  1.1.140 “ISDA” means the International Swaps and Derivatives Association and its
  successors and assigns.

  1.1.141 “ISP98” means the International Standby Practices ISP98, as published by the
  International Chamber of Commerce and in effect from time to time.

  1.1.142 “Issuing Bank” means the Swingline Lender under the Canadian Operating
  Facility and HSBC US under the U.S. Operating Facility, as applicable.

  1.1.143 “Land” means real property (including a leasehold interest in land) and all
  buildings, improvements, fixtures and plant situated thereon.

  1.1.144 “Landlord Agreement” means an agreement between the Agent, the applicable
  Credit Party and the landlord of a Leased Property in form and substance reasonably
  satisfactory to the Agent, which shall include the following provisions (except to the extent
  otherwise agreed by the Agent in its discretion): such landlord consents to the granting of
  a security interest in the lease applicable to such Leased Property by a Credit Party which
  is a tenant thereunder in favour of the Agent, agrees to give written notice to the Agent in
  respect of and a reasonable opportunity to cure any default before terminating the lease,
  and agrees to waive (or subordinate and defer the enforcement of) its rights and remedies
  and any security it may hold in respect of any assets owned by the applicable Credit Party
  located on or affixed to such Leased Property.
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  1.1.145 “Laws” means all laws, statutes, codes, ordinances, decrees, rules, regulations,
  municipal by-laws, judicial or arbitral or administrative or ministerial or departmental or
  regulatory judgments, orders, decisions, rulings or awards, or any provisions of such laws,
  including general principles of common and civil law and equity or policies or guidelines,
  to the extent such policies or guidelines have the force of law, binding on the Person
  referred to in the context in which such word is used; and “Law” means any of the
  foregoing.

  1.1.146 “LC Payment” is defined in Section 2.7.9.

  1.1.147 “Leased Properties” means all Land leased by any Credit Party as tenant from
  time to time, specifically including as at the date of this Agreement the Land described in
  Schedule 6.1.10; and “Leased Property” means any of the Leased Properties as the
  context requires.

  1.1.148 “Lenders” means the lenders identified in Exhibit “A” attached hereto and any
  other Persons which may from time to time become lenders pursuant to this Agreement;
  and their respective successors and permitted assigns; and “Lender” means any of them as
  the context requires.

  1.1.149 “Lending Office” in respect of any Lender means the office of such Lender
  designated by it from time to time as the office from which it will make Advances
  hereunder.

  1.1.150 “Letter of Credit” means a stand-by letter of credit or a letter of guarantee or
  documentary letter of credit issued, at the request of and on behalf of the Borrower, by the
  applicable Issuing Bank.

  1.1.151 “Level” means the applicable level as set forth in the table set forth in the
  definition of Applicable Margin.

  1.1.152 “LIBOR Business Day” means a day on which the main branches of the Agent
  and commercial banks generally are open for international business (including dealings in
  U.S. Dollar deposits in the London interbank market) in London, England and New York,
  New York.

  1.1.153 “LIBOR Interest Period” means, with respect to each LIBOR Loan, the initial
  period (subject to availability) of approximately one, two, three, six or twelve months or
  such other periods as selected by the Borrower and notified in writing to the Agent
  commencing on and including the date of any Advance, Conversion or Rollover, as the
  case may be, applicable to such LIBOR Loan and ending on and including the last day of
  such initial period, and thereafter, each successive period (subject to availability) of
  approximately one, two, three, six or twelve months or such other periods as selected by
  the Borrower and notified to the Agent in writing commencing on and including the
  last day of the prior LIBOR Interest Period; provided, however, that:

  (a)    in the case of a Rollover, the last day of each LIBOR Interest Period shall also be
         the first day of the next LIBOR Interest Period;
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  (b)    the last day of each LIBOR Interest Period shall be a LIBOR Business Day and if
         not, the Borrower shall be deemed to have selected a LIBOR Interest Period the
         last day of which is the first LIBOR Business Day following the last day of the
         LIBOR Interest Period selected by the Borrower;

  (c)    if the Borrower selects a LIBOR Interest Period for a period longer than three
         months, the last day of such LIBOR Interest Period shall be the date falling three
         months after the beginning of such LIBOR Interest Period and the next LIBOR
         Interest Period shall begin on such date; and

  (d)    notwithstanding any of the foregoing, the last day of each LIBOR Interest Period
         shall be on or before the maturity date of the applicable Facility.

  1.1.154 “LIBOR Loan” means an Advance made by a Lender to a Borrower in
  U.S. Dollars in accordance with the provisions hereof, bearing interest by reference to the
  U.S. Dollar LIBOR Rate.

  1.1.155 “LIBOR Market” means the London Interbank Eurodollar offering market.

  1.1.156 “LIBOR Period” means, in respect of a LIBOR Loan, the period commencing
  on the date of the Advance of such LIBOR Loan and ending on the scheduled maturity date
  of such LIBOR Loan.

  1.1.157 “LIBOR Rate” means, with respect to each LIBOR Interest Period pertaining to
  any LIBOR Loan, the London interbank offered rate administered by ICE Benchmark
  Administration Limited (or any other successor thereto which takes over administration of
  such rate) appearing on Bloomberg Page BBAM1 screen (or on any successor or substitute
  page of such Bloomberg screen providing rate quotations comparable to those currently
  provided on such page of such Bloomberg screen, as determined by the Agent from time
  to time for purposes of providing quotations of interest rates applicable to U.S. Dollar
  deposits in the London interbank market) at approximately 11:00 a.m., London time, two
  LIBOR Business Days prior to the making a LIBOR Loan, as the rate for the offering of
  U.S. Dollar deposits with a maturity comparable to the LIBOR Interest Period of such
  LIBOR Loan; provided, however, that if the said page is not available for any reason, the
  term “LIBOR Rate” shall mean the rate per annum at which deposits in U.S. Dollars for
  the applicable interest period and amount are offered to the Agent in the LIBOR Market;
  provided that if the LIBOR Rate calculated for any purpose would be less than zero on any
  day, then such rate shall be deemed to be zero for such purpose.

  1.1.158 “Lien” means:

  (a)    a lien, charge, mortgage, deed of trust, pledge, security interest or conditional sale
         or title retention agreement in the nature of security which secures payment or
         performance of an obligation;

  (b)    an assignment, lease, consignment, deposits, trust or deemed trust that secures
         payment or performance of an obligation;
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  (c)    a garnishment; and

  (d)    any other encumbrance of any kind in the nature of security which secures payment
         or performance of an obligation (including any garantía prioritaria por adquisición
         under law 1676 of 2013 Colombia).

  1.1.159 “Loan” means a Canadian Dollar Prime Rate Loan, U.S. Dollar Base Rate Loan,
  U.S. Dollar Prime Rate Loan, LIBOR Loan, Bankers’ Acceptance, BA Equivalent Loan or
  Letter of Credit outstanding hereunder, or in the case of the Swingline, Overdraft
  borrowings and such other Advances permitted under Section 2.7.2.

  1.1.160 “Management Shareholders” means each of the employees of the Canadian
  Borrower who hold Common Shares of the Canadian Borrower or options in respect of the
  same on the Amendment and Restatement Date and such other holders thereof from time
  to time who are approved in writing by the Agent on behalf of the Required Lenders, and
  “Management Shareholder” means any one of them.

  1.1.161 “Marginable Capital Assets” means 60% of the net book value of Eligible
  Capital Assets at the time of determination, up to a maximum amount of U.S. $50,000,000
  less the amount of each completed Anchor Sale and Leaseback Transaction; provided that,
  reductions resulting from Anchor Sale and Leaseback Transactions shall not reduce the
  amount available below U.S. $30,000,000.

  1.1.162 “Marginable Cash” means 100% of Eligible Cash up to a maximum amount of
  U.S. $15,000,000 at any time.

  1.1.163 “Marginable Inventory” means 50% of Eligible Inventory at the time of
  determination, up to U.S. $35,000,000.

  1.1.164 “Marginable Receivables” means the sum of the following (without
  duplication):

  (a)    90% of Insured Receivables (or such lower percentage as is covered by the
         applicable Account Receivable Insurance) up to a maximum amount of U.S.
         $175,000,000;

  (b)    85% of Eligible Receivables owed to a Credit Party by Acceptable Account
         Debtors;

  (c)    75% of all other Eligible Receivables; and

  (d)    90% of Insured Receivables from Pemex outstanding more than 300 days, but not
         more than 540 days, in respect of contract numbers 423023819 and 423023813
         between Pemex Exploracion y Produccion and Qmax Mexico, S.A. de C.V., dated
         April 22, 2014 and July 17, 2013, respectively, and contract number 423023813,
         dated July 25, 2013, between Pemex Exploracion y Produccion and Qmax Mexico,
         S.A. de C.V. (in each case, as may be amended or otherwise modified from time to
         time).
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  1.1.165 “Material Adverse Change” or “Material Adverse Effect” means any matter,
  event or circumstance that individually or in the aggregate could, in the opinion of the
  Required Lenders, acting reasonably, be expected to result in a material adverse change to
  or have a material adverse effect on:

  (a)    the business, financial condition, prospects, operations, or property, of the
         Canadian Borrower and its Subsidiaries (excluding any Securitization SPE), taken
         as a whole;

  (b)    the ability of any Credit Party to pay and perform its obligations in accordance with
         this Agreement or any of the other Credit Documents; or

  (c)    the validity or enforceability of this Agreement or any other Credit Document.

  1.1.166 “Material Agreement” means, in respect of the Credit Parties, an agreement
  made between the applicable Credit Party or its predecessors and another Person
  (a) pursuant to which such Credit Party is reasonably expected to incur obligations or
  liabilities in excess of $10,000,000 in any Fiscal Year (other than any agreement related to
  the purchase of equipment, software or utility services) and (b) which if terminated (other
  than at its scheduled maturity) would, unless replaced with a substantially similar
  agreement, result, or would have a reasonable likelihood of resulting, in a Default, an Event
  of Default or a Material Adverse Change, specifically including, as at the Amendment and
  Restatement Date, each agreement listed in Schedule 6.1.13; provided, in each case, in no
  event shall the Wells Fargo Credit Agreement or any agreement in connection with a
  Permitted Securitization Financing be considered a Material Agreement.

  1.1.167 “Material Permit” means, in respect of the Credit Parties, a licence, permit,
  approval, registration or qualification granted to or held by the applicable Credit Party
  which if terminated and not replaced would result, or would have a reasonable likelihood
  of resulting, in a Default, an Event of Default or a Material Adverse Change; specifically
  including, as at the date of this Agreement, each licence, permit, approval, registration or
  qualification listed in Schedule 6.1.8.

  1.1.168 “Material Subsidiary” means (a) any wholly-owned Subsidiary of the Canadian
  Borrower which:

         (i)     has Consolidated Net Tangible Assets owned directly by it on an
                 unconsolidated basis equal or greater than 5% of the Canadian Borrower’s
                 Consolidated Net Tangible Assets as at the end of the Fiscal Quarter
                 immediately prior to the date of such determination;

         (ii)    has EBITDA generated by it on an unconsolidated basis equal or greater
                 than 5% of the Canadian Borrower’s consolidated EBITDA as at the end of
                 the Fiscal Quarter immediately prior to the date of such determination; or

         (iii)   any Subsidiary of the Canadian Borrower that has been designated as a
                 “Material Subsidiary” by the Borrower,
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  and (b) any Subsidiary which owns, directly or indirectly, any equity or other ownership
  interest in a Material Subsidiary.

  1.1.169 “Minimum Liquidity” means the sum of (A) the amount of unrestricted cash
  (determined in accordance with GAAP) and Cash Equivalents of the Credit Parties held in
  accounts with any of the Lenders, Encina (or any other lenders party to the Encina ABL
  Loan Agreement) and Wells Fargo (or any other lenders party to the Wells Fargo Credit
  Agreement), plus (B) the Minimum Margin Availability and undrawn available amount
  under the Encina ABL Loan Agreement or the Wells Fargo Credit Agreement, as
  applicable, plus (C) undrawn and available amounts under other facilities constituting
  Permitted Funded Debt plus (D) non-Marginable Cash.

  1.1.170 “Minimum Margin Availability” means the undrawn available amount under
  the Operating Facilities up to the Borrowing Base (as at the time of determination).

  1.1.171 “Minor Title Defects” in respect of any parcel of Land means encroachments,
  restrictions, easements, rights-of-way, servitudes and defects or irregularities in the title to
  such Land which are of a minor nature and which, in the aggregate, will not materially
  impair the use of such Land for the purposes for which such Land is held by the owner
  thereof.

  1.1.172 “Multiemployer Plan” means a multiemployer plan, as defined in
  Section 4001(a)(3) of ERISA, to which any Credit Party or any ERISA Affiliate is making
  or accruing an obligation to make contributions, or has within any of the preceding five
  plan years made or accrued an obligation to make contributions.

  1.1.173 “Multiple Employer Plan” means a plan that is described in Section 210 of
  ERISA and subject to Title IV of ERISA, and (i) is maintained for employees of any Credit
  Party or any ERISA Affiliate and (ii) in respect of which any Credit Party or any ERISA
  Affiliate could have liability under Section 4069 of ERISA in the event such plan has been
  or were to be terminated.

  1.1.174 “Net Leverage Ratio” means, in respect of any Fiscal Quarter, the ratio of Total
  Net Debt at the end of such Fiscal Quarter to EBITDA in the fiscal period comprised of
  such Fiscal Quarter and the immediately preceding three Fiscal Quarters.

  1.1.175 “New Rules” is defined in Section 12.1.3.

  1.1.176 “Non-BA Lender” means a Lender identified in Exhibit “A” attached hereto as a
  Lender which will make BA Equivalent Loans instead of accepting Bankers’ Acceptances
  hereunder.

  1.1.177 “Non-Consenting Lender” is defined in Section 11.5.2.

  1.1.178 “Non-Financial Letter of Credit” means a Letter of Credit that is not a Financial
  Letter of Credit and, for the purposes of the definition of “Funded Debt”, any similar
  performance letter of credit issued by a party that is not an Issuing Bank.
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  1.1.179 “Non-OECD Guarantor” means any Guarantor whose governing jurisdiction is
  located in a country which not a member of OECD, excluding Colombia.

  1.1.180 “Non-Paying Lender” is defined in Section 11.4.2.

  1.1.181 “Obligations” means, at any time all direct and indirect, contingent and absolute
  obligations and liabilities of the Borrower and the other Credit Parties to the Agent and the
  Lenders under or in connection with this Agreement and the Security (specifically
  including for greater certainty all Guarantees provided hereunder) at such time, specifically
  including the Outstanding Advances, all accrued and unpaid interest thereon, all Secured
  Hedging Liabilities and all Banking Service Liabilities, all indemnity obligations arising
  under, any other Credit Document, any Banking Service Agreement or any Hedging
  Agreement with a Hedge Provider, all fees payable in connection with prepayments, all
  breakage fees payable pursuant to Section 5.15 and all other fees, expenses and other
  amounts payable pursuant to this Agreement and the Security (specifically including fees
  relating to the Facilities as may be agreed in writing from time to time between a Borrower
  and any Lender); except that if otherwise specified or required by the context,
  “Obligations” shall mean any portion of the foregoing. Notwithstanding anything herein to
  the contrary, the “Obligations” shall exclude any Excluded Hedging Obligations.

  1.1.182 “OECD” means The Organisation for Economic Co-operation and Development.

  1.1.183 “OECD Credit Party” means any Credit Party whose governing jurisdiction is
  in a country which is an OECD member or which has a sovereign currency credit rating at
  an Investment Grade level.

  1.1.184 “OFAC” means the U.S. Treasury Department Office of Foreign Assets Control.

  1.1.185 “Operating Facilities” means, collectively, the Canadian Operating Facility and
  the U.S. Operating Facility, and “Operating Facility” means any of them as the context
  requires.

  1.1.186 “Other Taxes” is defined in Section 12.4.2.

  1.1.187 “Outstanding Advances” means, at any time, the aggregate of all obligations of
  the Borrowers to the Lenders (or if the context requires, to any Lender) in respect of all
  Advances made under the Facilities (or if the context requires, under any Facility) which
  have not been repaid or satisfied at such time, determined as follows:

  (a)    in the case of Canadian Dollar Prime Rate Loans and Overdrafts in Canadian
         Dollars, the principal amount thereof;

  (b)    in the case of Bankers’ Acceptances and BA Equivalent Loans and Letters of
         Credit, the face amount thereof;

  (c)    in the case of Letter of Credit, the undrawn amount thereof (to the extent not cash
         collateralized, backstopped or otherwise provided for in a manner acceptable to the
         Issuing Bank, in its discretion, in respect thereof); and
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  (d)    in the case of U.S. Dollar Base Rate Loans, Overdrafts in U.S. Dollars and LIBOR
         Loans the Equivalent Amount of the principal amount thereof expressed in
         Canadian Dollars.

  1.1.188 “Overdraft” means indebtedness of the Canadian Borrower to the Swingline
  Lender arising under the Swingline in connection with all amounts debited to all overdraft
  accounts established by the Canadian Borrower with the Swingline Lender (in Canadian
  Dollars or U.S. Dollars, as the case may be), including without limitation all cheques,
  transfers, withdrawals, interest, costs, charges and fees debited to such accounts.

  1.1.189 “Palladium” means Palladium Capital Management IV LLC.

  1.1.190 “Palladium Equity Line” means the Loan Agreement, dated as of October 18,
  2017, by and between Holdco, as borrower, and PEP Fluid L.P., as lender (together with
  the revolving demand note related thereto), and any related loan agreement and revolving
  demand note with PEP Fluid Co-Invest LP and/or Calumet, in an aggregate principal
  amount of up to $5,000,000, as may be amended, restated, replaced or otherwise modified
  from time to time.

  1.1.191 “Participant” is defined in Section 13.6.4.

  1.1.192 “Participant Register” is defined in Section 13.6.4

  1.1.193 “Parties” means the Borrowers, the Agent and the Lenders and their respective
  successors and permitted assigns.

  1.1.194 “PATRIOT Act” means The Uniting and Strengthening America by Providing
  Adequate Tools Required to Intercept and Obstruct Terrorism Act of 2001 (Title III of
  Pub. L. No. 107-56 (signed into law October 26, 2001)).

  1.1.195 “PBGC” means the Pension Benefit Guaranty Corporation (or any successor).

  1.1.196 “Pemex Entities” means, collectively, Petroleos Mexicanos, Pemex Exploracion
  y Produccion and Pemex Perforacion y Servicios.

  1.1.197 “Pension Plan” means:

  (a)    a “pension plan” or “plan” which is subject to the funding requirements of
         applicable pension benefits legislation in any jurisdiction of Canada and is
         applicable to employees of a Credit Party resident in Canada; or

  (b)    any pension benefit plan or similar arrangement (other than Plans or Multiemployer
         Plans) applicable to employees of a Credit Party.

  1.1.198 “Permitted Acquisition” means any Acquisition with respect to which all of the
  following conditions shall have been satisfied:
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  (a)   the Acquired Business has positive EBITDA calculated on a trailing twelve month
        basis (determined using the definition thereof set for herein as if the Acquired
        Business was the Canadian Borrower for such purpose);

  (b)   the Acquired Business is in an Eligible Line of Business in Canada or the U.S.;

  (c)   the Acquisition shall not be a Hostile Acquisition and, if the Acquisition involves
        a merger involving a Credit Party, the surviving entity is or becomes a Credit Party
        concurrently with the completion of such merger;

  (d)   the aggregate purchase price of all such Acquisitions shall not exceed the sum of
        $50,000,000 in any Fiscal Year;

  (e)   if the consideration payable at the closing of the acquisition of the Acquired
        Business in cash, shares or other tangible assets (but for certainty excluding Earnout
        Payments), plus the Permitted Funded Debt of the Acquired Business assumed as
        part of such acquisition, is greater than $15,000,000, then (i) the Net Leverage Ratio
        on a pro forma basis (including the EBITDA and, if applicable, Permitted Funded
        Debt of the Acquired Business) as of the end of and for the most recently completed
        four Fiscal Quarter period occurring prior to the closing of the Acquisition in
        question for which financial statements are available does not exceed the maximum
        Net Leverage Ratio permitted for such four Fiscal Quarter period under Section
        7.3.1(a) minus 0.25 to 1, (ii) after giving effect to the funding of the Acquisition in
        question the sum of: (A) unrestricted cash on hand of the Credit Parties, plus
        (B) undrawn and available amounts under the Operating Facilities, plus
        (C) undrawn and available amounts permitted under operating facilities provided
        under clauses (c) and (d) of the definition of Permitted Funded Debt (provided, that
        the stated maturity date of any such facility, if any, is not within 90 days after the
        date of such Acquisition), is no less than $25,000,000; and (iii) at least 10 Business
        Days prior to the date that the Acquisition is to close, the Lenders shall have
        received financial statements and quarterly earnings reports in respect of the
        Acquired Business which shall be satisfactory to the Required Lenders, acting
        reasonably, together with any other information in respect of the Acquired Business
        which the Agent may reasonably request (and in the case of (i) and (ii) above, the
        resident and/or chief financial officer of the Canadian Borrower will deliver to the
        Agent an officer’s certificate confirming such items, together with detailed
        calculations thereof);

  (f)   if the Acquisition relates to the purchase of shares or other equity of a Person, it
        must be for 100% of the issued and outstanding shares of such Person;

  (g)   if a new Material Subsidiary is formed or acquired as a result of or in connection
        with the Acquisition, the Borrower shall have complied with the requirements of
        Article 8 in connection therewith, subject to the last sentence of Section 8.2;

  (h)   any existing indebtedness of the Acquired Business will be repaid and, if
        applicable, cancelled, unless otherwise constituting Permitted Funded Debt; and
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  (i)    after giving effect to the Acquisition and any Advance in connection therewith, and
         subject to clause (j) below with respect to the representations and warranties in this
         Agreement, no Default or Event of Default shall exist, including with respect to the
         financial covenants contained in Section 7.3 on a pro forma basis as of the end of
         and for the most recently completed four Fiscal Quarter period occurring prior to
         the closing of the Acquisition for which financial statements are available; and

  (j)    all representations and warranties set forth herein (other than those which are
         specified to be given as of specific date) shall be repeated as of the date of the
         Acquisition (after giving effect to the Acquisition and any Advance in connection
         therewith) and must be true in all material respects;

  provided that, notwithstanding anything herein to the contrary, the Terra Acquisition shall
  constitute a Permitted Acquisition if the following conditions shall have been satisfied:

         (i)     the Terra Acquisition shall not be funded in whole or in part with the
                 proceeds of any Advance hereunder;

         (ii)    on the date hereof, all amounts outstanding under the Palladium Equity Line
                 shall be repaid in full and, immediately following such repayment,
                 Palladium shall make an equity contribution to the Canadian Borrower in
                 an amount not less than $7,000,000; and

         (iii)   prior to or substantially concurrently with the closing of the Terra
                 Acquisition, the Permitted Securitization Financing among ADF SPV,
                 LLC, as borrower, Anchor, as servicer, and Wells Fargo Bank, National
                 Association, as lender and agent shall also be consummated or the Credit
                 Parties shall have otherwise arranged sufficient funding to fund such
                 acquisition in a manner that is acceptable to the Required Lenders, acting
                 reasonably.

  1.1.199 “Permitted Contest” means action taken by or on behalf of a Credit Party in
  good faith by appropriate proceedings diligently pursued to contest a tax, claim or Lien;
  provided, that:

  (a)    the Person to which the tax, claim or Lien being contested is relevant (and, in the
         case of a Subsidiary of the Canadian Borrower, the Canadian Borrower on a
         consolidated basis) has established reasonable reserves therefor if and to the extent
         required by GAAP;

  (b)    proceeding with such contest does not have, and would not reasonably be expected
         to result in, a Material Adverse Change; and

  (c)    proceeding with such contest will not create a material risk of sale, forfeiture or loss
         of, or interference with the use or operation of, a material part of the assets of the
         Credit Parties, taken as a whole.
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  1.1.200 “Permitted Discretion” shall mean the Agent’s or any Required Lender’s
  discretion, as the context requires, exercising its reasonable credit judgment in accordance
  with customary business practices for comparable asset-based lending transactions and, as
  it relates to the adjustment or imposition of exclusionary criteria, shall require that, (a) such
  establishment, increase, adjustment or imposition after the Amendment and Restatement
  Date be based on the analysis of facts or events first occurring, first discovered or quantified
  by the Agent, or the applicable Required Lender, after the Amendment and Restatement
  Date or that are materially different from facts or events occurring or known to the Agent,
  or the Required Lender, on the Amendment and Restatement Date, (b) the contributing
  factors to such change shall not duplicate the exclusionary criteria set forth in the
  definitions of “Eligible Capital Assets”, “Eligible Inventory” and “Eligible Receivables”
  as applicable (and vice versa), and (c) the effect of any adjustment or imposition of
  exclusionary criteria shall be a quantification of the incremental reduction of the Borrowing
  Base attributable to such contributing factors which is reasonable in light of reasonable
  credit judgment exercised in senior secured asset-based revolving credit facilities with
  comparable companies of similar size, industries, businesses and business practices,
  including, without limitation, leverage profile and projected free cash flow, in the
  applicable market.

  1.1.201 “Permitted Dispositions” is defined in Section 7.2.4.

  1.1.202 “Permitted Distribution” means:

  (a)     the Permitted Management Fees; provided, that no such Distribution is permitted if
          a Default or an Event of Default exists at such time or would result therefrom; and
          further provided, that any such payments that were not able to be made during the
          occurrence of a Default or an Event of Default may be “caught up” when such
          Default or Event of Default no longer exists (regardless of the Annual Management
          Fee Cap) (with any such catch up payments in excess of the Annual Management
          Fee Cap in any Fiscal Year being referred to herein as the “Catch Up Management
          Fee Payments”);

  (b)     any Distribution from one Credit Party to another Credit Party;

  (c)     any other Distribution payable to the shareholders of the Canadian Borrower by
          any Credit Party if at the time such Distribution is made (i) no Default or Event of
          Default exists at such time or would result therefrom, (ii) on a pro forma basis after
          giving effect to such Distribution, the Net Leverage Ratio would not exceed
          2.50 to 1, as evidenced by the Canadian Borrower providing an officer’s certificate
          to the Agent confirming same, and (iii) no Borrowing Base Shortfall has occurred
          and is continuing or would result from any such Distribution on a pro forma basis
          as if such Distribution had been made as of the end of the last Fiscal Quarter;

  (d)     any dividend payments or other Distributions payable by Holdco or any of its
          Subsidiaries solely in the equity interests of such Person;

  (e)     any Distribution permitted under Section 7.2.6(l);
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  (f)    non-cash repurchases by Holdco or its Subsidiaries of equity interests deemed to
         occur upon exercise of stock options or similar equity incentive awards if such
         equity interests represents a portion of the exercise price of such options or similar
         equity incentive awards;

  (g)    cash dividends to Holdco (and by Holdco to its parent companies) by any Credit
         Party not to exceed an amount necessary to permit Holdco and its parent companies
         to pay for normal, reasonable and documented over-head and administrative costs
         and expenses of Holdco and its parent companies and franchise fees or similar taxes
         and fees required to maintain its corporate existence and to reimburse out-of-pocket
         expenses actually incurred by Holdco and its parent companies for the benefit of
         the Canadian Borrower, and other Distributions for customary directors’ fees to any
         board members and the reimbursement of out-of-pocket expenses incurred by any
         board members in such capacity, provided that no Default or Event of Default exists
         at such time or would result therefrom; and

  (h)    Distributions made (i) to Holdco to permit Holdco to, and Holdco may, redeem or
         repurchase equity interests of Holdco from officers, employees, consultants,
         managers and directors of the Canadian Borrower or any of its Subsidiaries in
         connection with the termination of employment or engagement of any such Person
         or (ii) pursuant to any management equity plan or stock option plan or any other
         management or employee benefit plan or other agreement or arrangement
         (including, but not limited to, employment, compensation, severance agreements
         or arrangements or stockholders agreements), provided that no Default or Event of
         Default exists at such time or would result therefrom; and

  (i)    prior to the closing of the Terra Acquisition, Distributions to Palladium or its
         Affiliates in repayment of the Palladium Equity Line; provided in the event the
         Palladium Equity Line is not repaid as contemplated in clause (ii) of the proviso set
         forth in the definition of “Permitted Acquisition”, (x) the Canadian Borrower and
         its Subsidiaries shall, on a pro forma basis, have a Minimum Liquidity of not less
         than U.S. $15,000,000 immediately after such repayment, and (y) the principal in
         respect of the Palladium Equity Line will not be repaid prior to October 31, 2018,
         unless (A) such prepayment is made in the manner prescribed by clause (ii) of the
         proviso set forth in the definition of “Permitted Acquisition” and the subsequent
         equity contribution described in such clause is also effected, or (B) the Required
         Lenders consent to such earlier prepayment in their Permitted Discretion;

  provided that the aggregate of all Distributions made under clauses (g) and (h) above do
  not in any Fiscal Year exceed $2,000,000 (with unusual amounts in any Fiscal Year being
  carried over to succeeding Fiscal Years), other than to the extent such Distributions are
  funded by the cash proceeds from the sale of equity interests of the Canadian Borrower
  and, to the extent contributed to the capital of the Canadian Borrower, equity interests of
  any of the Canadian Borrower’s direct or indirect parent companies.
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  1.1.203 “Permitted Factoring Debtors” means, collectively, the Pemex Entities,
  Petroamazones EP, Operaciones Río Napo CEM and any other Person agreed to in advance
  by the Agent, acting reasonably.

  1.1.204 “Permitted Factoring Transaction” means: at the Borrower’s option,

  (a)   the financing of certain Collection Rights by HSBC Mexico; provided that (i) such
        transaction is non-recourse to the Borrowers and their Material Subsidiaries, except
        for any Liens granted solely over the Collection Rights and the proceeds thereof,
        (ii) such transaction shall be and remain subject to the terms and conditions of the
        Intercreditor Agreement, (iii) QMax Mexico may remain responsible for the
        legitimacy and existence of the Collection Rights financed by such transaction at
        the time of execution of the relevant factoring transaction and (iv) QMax Mexico
        will no longer be liable for the payment of the Collection Rights to HSBC Mexico
        or any permitted assignee but may remain liable for the decrease in value of the
        Collection Rights; and/or

  (b)   the financing by the Borrowers or one or more of their Material Subsidiaries of any
        Receivables (other than as described in paragraph (a) above); provided that (i) such
        transaction results in a legal “true sale” of Receivables, (ii) such transaction is non-
        recourse to the Borrowers and their Material Subsidiaries, except for any Liens
        granted solely over such Receivables and the proceeds thereof, and (iii) such
        transaction shall only involve the sale of Receivables either (x) owing by any of the
        Permitted Factoring Debtors to a Credit Party or (y) not constituting Eligible
        Receivables; provided that, the aggregate principal, stated or investment amount of
        all outstanding loans made to the Credit Parties in respect of all Permitted Factoring
        Transactions shall not exceed $25,000,000 at any time outstanding; provided, such
        amount shall be increased to an amount specified by the Borrowers at any time if
        the Borrowers or one or more Material Subsidiaries provides notice to the Agent of
        such an increase, and the Agent (on the instruction of Required Lenders) has not
        objected within three Business Days following receipt of notice thereof. For
        certainty, if any Eligible Receivable is sold, contributed, financed or otherwise
        conveyed or pledged pursuant to a Permitted Factoring Transaction it shall
        immediately cease to be an Eligible Receivable.

  1.1.205 “Permitted Funded Debt” means, without duplication:

  (a)   the Obligations under the Facilities and, to the extent constituting Funded Debt,
        obligations in respect of Banking Services Agreements of the Canadian Borrower
        and its Subsidiaries owing to the Agent and the Lenders (and their Affiliates);

  (b)   Funded Debt up to U.S. $20,000,000 under a bilateral letter of credit facility with
        HSBC and insured by certain third parties reasonably satisfactory to the Agent;

  (c)   Funded Debt of any Credit Party whose governing jurisdiction is Mexico or
        Colombia which is unsecured or, if secured, which is secured solely by capital
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        assets and/or inventory located in Mexico or Colombia and which are not subject
        to the Security (subject to the proviso at the end of this definition);

  (d)   Funded Debt under the Surviving Colombian Credit Agreements and any Permitted
        Refinancing Indebtedness in respect thereof from time to time (subject to the
        proviso at the end of this definition);

  (e)   Funded Debt secured by Permitted Purchase Money Security Interests and Funded
        Debt incurred in conjunction with any Anchor Sale and Leaseback Transaction (in
        each case subject to the proviso at the end of this definition);

  (f)   Permitted Hedging Liabilities;

  (g)   Permitted Intercompany Loans;

  (h)   Subordinated Debt;

  (i)   Funded Debt as set out in Schedule 1.1.205 hereto and any Permitted Refinancing
        Indebtedness thereof;

  (j)   Funded Debt under a corporate credit card facility with a Lender and other cash
        management liabilities, up to a maximum aggregate amount of $2,000,000;

  (k)   Funded Debt (other than a revolving credit facility) of a Subsidiary acquired or
        assumed pursuant to a Permitted Acquisition after the Amendment and Restatement
        Date and any Permitted Refinancing Indebtedness in respect thereof (subject to the
        proviso at the end of this definition); provided, that such Funded Debt shall not be
        incurred in anticipation of such Permitted Acquisition;

  (l)   obligations in respect of Guarantees or Financial Assistance not prohibited under
        Section 7.2.3;

  (m)   other Funded Debt of the Credit Parties and Permitted Refinancing Indebtedness in
        respect thereof (subject to the proviso at the end of this definition);

  (n)   Funded Debt under a Permitted Factoring Transaction;

  (o)   Funded Debt consented to by the Required Lenders, in their discretion, prior to the
        incurrence or assumption thereof;

  (p)   Funded Debt up to an aggregate principal amount of up to U.S. $90,000,000 under
        the Encina ABL Loan Agreement and any Permitted Refinancing Indebtedness in
        respect thereof, provided that all such Funded Debt is and remains subject to the
        terms of the Encina Intercreditor Agreement;

  (q)   Funded Debt in connection with all Permitted Securitization Financing and any
        Permitted Refinancing Indebtedness in respect thereof; provided that the aggregate
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         principal amount of Funded Debt under clauses (p) and (q) (or commitments in
         respect thereof) does not exceed U.S.$90,000,000 at any time; and

  (r)    Funded Debt in respect of one or more promissory notes issued by the U.S.
         Borrower to Calumet, by the U.S. Borrower to the Canadian Borrower and by the
         Canadian Borrower to Holdco, in each case, substantially contemporaneously with
         the Anchor Acquisition (the “Anchor Acquisition Promissory Notes”),

  provided that the outstanding principal amount of Funded Debt under clauses (c), (d), (e),
  (k) and (m) above does not exceed in the aggregate $45,700,000 during the Covenant Relief
  Period and $75,000,000 at any time after the Covenant Relief Period.

  1.1.206 “Permitted Hedging Liability” means a Hedging Liability permitted by the
  provisions of Sections 7.2.11 and 7.2.13.

  1.1.207 “Permitted Holders” means (a) Palladium, the Investors, Management
  Shareholders and (b) any Person with which Palladium and the Management Shareholders
  form a Group as long as, in the case of clause (b), Palladium and its Affiliates beneficially
  own more than 50% of the relevant stock beneficially owned by that Group.

  1.1.208 “Permitted Intercompany Loan” means a loan made by any Credit Party to
  another Credit Party, provided that the Agent holds a First Ranking Security Interest in all
  property and assets of both such Credit Parties to the extent required under the terms of the
  Credit Documents.

  1.1.209 “Permitted Investments” is defined in Section 7.2.3.

  1.1.210 “Permitted Liens” means:

  (a)    Statutory Liens in respect of any amount which is not at the time overdue;

  (b)    Statutory Liens in respect of any amount which may be overdue but the validity of
         which is subject to a Permitted Contest;

  (c)    the reservations, limitations, provisos and conditions, if any, expressed in any
         original grant from the Crown of any Land or any interest therein;

  (d)    servicing agreements, development agreements, site plan agreements and other
         agreements with Governmental Authorities pertaining to the use or development of
         any Land, provided same are complied with in all material respects;

  (e)    applicable municipal and other governmental restrictions, including municipal
         by-laws and regulations, affecting the use of Land or the nature of any structures
         which may be erected thereon, provided such restrictions have been complied with
         in all material respects;
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  (f)   Liens or rights of distress reserved in or exercisable under any lease for rent not at
        the time overdue or for compliance with the terms of such lease not at the time in
        default;

  (g)   Liens or rights reserved to or exercisable by or any obligations or duties affecting
        any Land due to any public utility or to any Governmental Authority, under or with
        respect to any franchise, temporary grant, licence or permit in good standing and
        any defects in title to structures or other facilities arising solely from the fact that
        such structures or facilities are constructed or installed on Land under government
        permits, leases or other grants in good standing; provided such facilities, temporary
        grants, licences and permits have been complied with in all material respects and
        are in good standing and such Liens, rights, obligations, duties and defects in the
        aggregate do not materially impair the use of such property, structures or facilities
        for the purpose for which they are held;

  (h)   Liens incurred or deposits made in connection with contracts, bids, tenders or
        expropriation proceedings, surety or appeal bonds, costs of litigation when required
        by law, public and statutory obligations, and warehousemen’s, storers’, repairers’,
        carriers’ and other similar Liens and deposits;

  (i)   security given to a public utility or any Governmental Authority to secure
        obligations incurred to such utility, municipality, government or other authority in
        the ordinary course of business and not at the time overdue;

  (j)   Liens and privileges arising out of judgments or awards in respect of which: an
        appeal or proceeding for review has been commenced; a stay of execution pending
        such appeal or proceedings for review has been obtained; and reserves have been
        established as reasonably required by the Required Lenders;

  (k)   any Lien arising in connection with the construction or improvement of any Land
        or arising out of the furnishing of materials or supplies therefor, provided that such
        Lien secures moneys not at the time overdue (or if overdue, the validity of which
        is subject to a Permitted Contest), notice of such Lien has not been given to the
        Agent or any Lender and such Lien has not been registered against title to such
        Land;

  (l)   licenses (including licences of intellectual property), leases or subleases granted to
        third parties or Credit Parties in the ordinary course of business which, individually
        or in the aggregate, do not materially interfere with the ordinary course of business
        of the Borrower or any of its Subsidiaries;

  (m)   the filing of UCC or PPSA financing statements (or equivalents thereto in other
        jurisdictions) solely as a precautionary measure in connection with operating leases
        and consignment arrangements;

  (n)   Liens in favor of customs and revenue authorities arising as a matter of law and in
        the ordinary course of business to secure payment of customs duties in connection
        with the importation of goods;
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  (o)   Liens arising out of conditional sale, title retention, consignment or similar
        arrangements for the sale of goods entered into by any Credit Party in the ordinary
        course of business;

  (p)   Liens (i) on deposits of cash or Cash Equivalents in favor of the seller of any
        property to be acquired in any Permitted Investment to be applied against the
        purchase price for such Permitted Investment, (ii) consisting of an agreement to
        dispose of any property in a Permitted Disposition and (iii) earnest money deposits
        of cash or Cash Equivalents made by any Credit Party in connection with any letter
        of intent or purchase agreement permitted hereunder;

  (q)   rights of setoff or bankers’ liens upon deposits of funds in favor of banks or other
        depository institutions or upon securities in favor of securities intermediaries,
        solely to the extent incurred in connection with the maintenance of deposit accounts
        or securities accounts in the ordinary course of business;

  (r)   Minor Title Defects;

  (s)   the Permitted Purchase-Money Security Interests;

  (t)   Liens which are secured solely by assets which are located outside of Canada and
        the U.S. and which are not subject to the Security; provided that the aggregate
        principal amount of Funded Debt or other obligations secured thereby constitutes
        Permitted Funded Debt;

  (u)   Liens as set out in Schedule 1.1.210 and any extension, renewal or replacement (or
        successive extensions, renewals or replacements), as a whole or in part, of thereof,
        so long as any such extension, renewal or replacement of such Lien is limited to all
        or any part of the same property that secured the Lien extended, renewed or
        replaced (plus improvements on such property) and the Funded Debt secured
        thereby is not increased and constitutes Permitted Funded Debt;

  (v)   any Lien from time to time which is consented in writing to by the Required
        Lenders;

  (w)   the Security or any other Liens securing the Obligations;

  (x)   Liens which secure obligations owing under Permitted Funded Debt described in
        clause (c), (d) or (m) of the definition thereof; provided that in the case of such
        clause (m), such Lien does not apply to any of the Collateral; subject to the
        limitation set forth in the proviso at the end of the definition of Permitted Funded
        Debt;

  (y)   Liens securing Funded Debt permitted by clause (k) of the definition of Permitted
        Funded Debt, subject to the limitation set forth in the proviso at the end of the
        definition of Permitted Funded Debt, and existing on any property or asset prior to
        the acquisition thereof by any Credit Party or any Subsidiary or existing on any
        property or asset of any Person that becomes a Subsidiary after the date hereof prior
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         to the time such Person becomes a Subsidiary; provided, that (i) such Liens do not
         apply to all of the assets of the acquired Subsidiary generally or to any other
         property or assets of any Credit Party not securing such Funded Debt prior to the
         acquisition of such property or asset and (ii) such Lien shall secure only those
         obligations which it secured on the date of acquisition and extensions, renewals and
         replacements thereof permitted hereunder that do not increase the outstanding
         principal amount thereof; provided further, with respect to Liens in connection with
         Funded Debt that is assumed in connection with an acquisition of assets or equity
         interests, no such Lien extends to or covers any other assets (other than the proceeds
         or products thereof, accessions or additions thereto and improvements thereon) or
         was created in contemplation of, or in connection with, the applicable acquisition
         of assets or equity interests (except to the extent the same is otherwise Permitted
         Funded Debt);

  (z)    Liens which secure Subordinated Debt permitted hereunder;

  (aa)   Liens arising under a Permitted Factoring Transaction but only to the extent that
         any such Lien relates to the applicable Receivables sold, contributed, financed or
         otherwise conveyed or pledged pursuant to such transaction;

  (bb)   Liens arising under the Encina ABL Loan Agreement but only to the extent that
         any such Lien is and remains subject to the terms of the Encina Intercreditor
         Agreement;

  (cc)   Liens arising under any Anchor Sale and Leaseback Transaction;

  (dd)   Liens on the Receivables of a Securitization SPE sold pursuant to a Permitted
         Securitization Financing (together with any and all related security and ancillary
         rights related thereto which are customary for transactions of such nature) to the
         extent incurred pursuant to a Permitted Securitization Financing; and

  (ee)   any other Liens; provided, that the aggregate principal amount of Funded Debt or
         other obligations secured thereby does not exceed U.S. $5,000,000.

  provided, that the use of the term “Permitted Liens” to describe the foregoing Liens shall
  mean that such Liens are permitted to exist (whether in priority to or subsequent in priority
  to the Security, as determined by Applicable Law); and for greater certainty such Liens
  shall not be entitled to priority over the Security by virtue of being described in this
  Agreement as “Permitted Liens”.

  1.1.211 “Permitted Management Fees” means advisory or management fees payable by
  the Credit Parties to Palladium and Calumet in an aggregate amount not to exceed the
  Annual Management Fee Cap in any Fiscal Year.

  1.1.212 “Permitted Purchase-Money Security Interests” means Purchase-Money
  Security Interests incurred or assumed in connection with the purchase, leasing or
  acquisition of capital equipment in the ordinary course of business; provided, that the
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  obligations secured thereby are permitted under clause (e) of the definition of Permitted
  Funded Debt.

  1.1.213 “Permitted Refinancing Indebtedness” shall mean any Funded Debt issued in
  exchange for, or the net proceeds of which are used to extend, refinance, renew, replace,
  defease or refund (collectively, to “Refinance”), the Permitted Funded Debt being
  Refinanced (or previous refinancings thereof constituting Permitted Refinancing
  Indebtedness); provided, that (a) the principal amount (or accreted value, if applicable) of
  such Permitted Refinancing Indebtedness does not exceed the principal amount (or
  accreted value, if applicable) of the Permitted Funded Debt so Refinanced (plus unpaid
  accrued interest and premium (including tender premiums) thereon and underwriting
  discounts, defeasance costs, fees, commissions and expenses), (b) if the Permitted Funded
  Debt being Refinanced is subordinated in right of payment to the Obligations under this
  Agreement, such Permitted Refinancing Indebtedness shall be subordinated in right of
  payment to such Obligations on terms at least as favorable to the Lenders as those contained
  in the documentation governing the Permitted Funded Debt being Refinanced, (c) no
  Permitted Refinancing Indebtedness shall have different obligors, or greater guarantees or
  security, than the Permitted Funded Debt being Refinanced, unless such new obligors are
  Credit Parties and (d) if the Permitted Funded Debt being Refinanced is secured by any
  collateral (whether equally and ratably with, or junior to, the Lenders or otherwise), such
  Permitted Refinancing Indebtedness may be secured by such collateral (including pursuant
  to after acquired property clauses to the extent such type collateral secured the Funded Debt
  being Refinanced) on terms not materially less favorable to the Lenders than those
  contained in the documentation governing the Permitted Funded Debt being so Refinanced.

  1.1.214 “Permitted Securitization Financing” shall mean one or more transactions
  pursuant to which (i) Securitization Assets or interests therein are sold or transferred to or
  financed by one or more Securitization SPE, and (ii) such Securitization SPE finance (or
  refinance) their acquisition of such Securitization Assets or interests therein, or the
  financing thereof, by selling or borrowing against Securitization Assets (including conduit
  and warehouse financings) and any Hedging Agreements entered into in connection with
  such Securitization Assets; provided, that recourse to the Borrowers or any Subsidiary
  (other than the Securitization SPE) in connection with such transactions shall be limited to
  the extent customary (as determined by the Agent and the Canadian Borrower each acting
  reasonably and in good faith and acceptable to the Agent acting reasonably) for similar
  transactions in the applicable jurisdictions (including, to the extent applicable, in a manner
  consistent with the delivery of a “true sale”/“absolute transfer” opinion with respect to any
  transfer by the Borrowers or any Subsidiary (other than a Securitization SPE)).

  1.1.215 “Person” includes an individual, corporation, partnership, trust, union,
  unincorporated association, Governmental Authority or any combination of the above.

  1.1.216 “Plan” means a Single Employer Plan or a Multiple Employer Plan.

  1.1.217 “Priority Claims” means, with respect to any Person, any amount payable or
  accrued by such Person which ranks or is capable of ranking prior to or pari passu with the
  Liens created by the Security in respect of any Collateral, including amounts owing for
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  wages, vacation pay, severance pay, employee deductions, sales tax, excise tax, tax payable
  pursuant to Part IX of the Excise Tax Act (Canada) (net of GST input credits), income tax,
  employment insurance, unemployment insurance, workers compensation, government
  royalties, pension fund obligations or deficiencies, overdue rents or taxes, and other
  statutory or other claims, deemed trusts or Liens that have or may have priority over, or
  rank pari passu with, the Liens created by the Security. For the avoidance of doubt, no
  Banking Services Liabilities shall be deemed Priority Claims due to their pari passu
  ranking with the Obligations.

  1.1.218 “Proceeds of Realization”, in respect of the Security or any portion thereof,
  means all amounts received by the Agent and any Lender in connection with:

  (a)    any realization thereof, whether occurring as a result of enforcement or otherwise;

  (b)    any sale, expropriation, loss or damage or other disposition of the Collateral or any
         portion thereof; and

  (c)    the dissolution, liquidation, bankruptcy or winding-up of a Credit Party or any other
         distribution of its assets to creditors,

  and all other amounts which are expressly deemed to constitute “Proceeds of Realization”
  in this Agreement.

  1.1.219 “Project Desert” means the acquisition by the Borrowers or any Material
  Subsidiary of Environmental Solutions for Petroleum Services, an oilfield services
  company with operations in Algeria and Egypt on substantially the same terms and
  conditions set forth in the letter of intent dated as of December 11, 2016, as amended,
  between the Canadian Borrower and Project Desert Egypt.

  1.1.220 “Project Desert Algeria” means Environmental Solutions Algeria S.A.R.L., an
  Algerian company.

  1.1.221 “Project Desert Egypt” means Environmental Solutions for Petroleum Services
  (S.A.E.), an Egyptian company.

  1.1.222 “Project Desert Subsidiaries” means each of Project Desert Egypt and Project
  Desert Algeria.

  1.1.223 “Proportionate Share” means:

  (a)    in the context of any Lender’s obligation to make Advances under all Facilities,
         such Lender’s Commitment to make Advances under all Facilities divided by the
         aggregate amount of all Lenders’ Commitments to make Advances under all
         Facilities;

  (b)    in the context of any Lender’s obligation to make Advances under a Facility, such
         Lender’s Commitment (excluding, as the case may be, the applicable Swingline
         Limit in the case of the Canadian Operating Facility) to make Advances under such
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         Facility divided by the aggregate amount of all Lenders’ Commitments (excluding,
         as the case may be, the applicable Swingline Limit in the case of Canadian
         Operating Facility) to make Advances under such Facility;

  (c)    in the context of any Lender’s entitlement to receive a portion of the standby fee in
         respect of Canadian Operating Facility or the U.S. Operating Facility payable
         pursuant to Section 2.6.1(h) or Section 4.6.1(d), as applicable, such Lender’s
         Commitment (excluding, as the case may be, the applicable Swingline Limit) under
         the applicable Facility to make Advances under Canadian Operating Facility or the
         U.S. Operating Facility divided by the aggregate amount of all such Lenders’
         Commitments (excluding, as the case may be, the applicable Swingline Limit) to
         make Advances under Canadian Operating Facility or the U.S. Operating Facility,
         as applicable;

  (d)    in the context of any Lender’s entitlement to receive payments of principal, interest
         or fees under all Facilities (other than a portion of the standby fee under Canadian
         Operating Facility or the U.S. Operating Facility), the Outstanding Advances due
         to such Lender under all Facilities divided by the aggregate amount of the
         Outstanding Advances due to all Lenders under all Facilities; and

  (e)    in the context of any Lender’s entitlement to receive payments of principal, interest
         or fees under a Facility (other than a portion of the standby fee under Canadian
         Operating Facility or the U.S. Operating Facility), the Outstanding Advances due
         to such Lender under such Facility divided by the aggregate amount of the
         Outstanding Advances due to all Lenders under such Facility.

  1.1.224 “Purchase-Money Security Interest” means:

  (a)    a Capital Lease; or

  (b)    a Lien on any property or asset which is created, issued or assumed to secure the
         unpaid purchase price thereof, provided that such Lien is restricted to such property
         or asset and secures an amount not in excess of the purchase price thereof and any
         interest and fees payable in respect thereof.

  1.1.225 “QMax Mexico” means QMax Mexico, S.A. de C.V.

  1.1.226 “Qualified ECP Guarantor” means, in respect of any Hedging Agreement, each
  Credit Party that has total assets exceeding $10,000,000 at the time of the grant of the
  relevant Security of such Credit Party to such Hedging Agreement or such other Person as
  constitutes an “eligible contract participant” under the Commodity Exchange Act or any
  regulations promulgated thereunder and can cause another Person to qualify as an “eligible
  contract participant” at such time by entering into a keep well under
  Section 1a(18)(A)(v)(II) of the Commodity Exchange Act.

  1.1.227 “Receivables” means and includes, as to the Credit Parties, all of Credit Parties’
  accounts, contract rights, payment intangibles, instruments (other than those evidencing
  indebtedness owed to a Credit Party), documents, chattel paper (including electronic chattel
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  paper), general intangibles relating to accounts, drafts and acceptances, and all other forms
  of obligations owing to a Credit Party arising out of or in connection with the sale or lease
  of inventory or for services rendered (including, in the case of Insured Receivables,
  amounts owed with respect to work in progress that are covered by Account Receivable
  Insurance), all supporting obligations, guarantees and other security therefor, whether
  secured or unsecured, now existing or hereafter created, and whether or not specifically
  sold or assigned to the Agent hereunder.

  1.1.228 “Register” is defined in Section 13.6.5.

  1.1.229 “Regulation T” means Regulation T of the Board of Governors of the Federal
  Reserve System as from time to time in effect and all official rulings and interpretations
  thereunder or thereof.

  1.1.230 “Regulation U” means Regulation U of the Board of Governors of the Federal
  Reserve System as from time to time in effect and all official rulings and interpretations
  thereunder or thereof.

  1.1.231 “Regulation X” means Regulation X of the Board of Governors of the Federal
  Reserve System as from time to time in effect and all official rulings and interpretations
  thereunder or thereof.

  1.1.232 “Related Party” means, with respect to any Person, an Affiliate of such Person,
  a shareholder of such Person (if applicable), or a Person related to or not at arm’s length to
  such Person or holder of shares of such Person, and with respect to the Borrower and its
  Subsidiaries, includes Palladium, the Management Shareholders, the Investors and any
  company or entity controlled directly or indirectly by any one or more of such Persons.

  1.1.233 “Repayment” means a repayment by the Borrower on account of the Outstanding
  Advances under all Facilities or a Facility, as the context requires, other than the reduction
  of an Overdraft (and “Repay” shall have a corresponding meaning).

  1.1.234 “Repayment Notice” means a notice delivered by the Borrower to the Agent
  committing it to make a Repayment, in the form of Exhibit “E”.

  1.1.235 “Required Lenders” means, with the exception of those matters set out in
  Section 11.2 which require the agreement of all Lenders, (a) if there are two or less
  Lenders, all Lenders, (b) if there are three or more Lenders, Lenders holding, in aggregate,
  at least 66⅔% of the Commitments, or (c) during the continuance of an Event of Default,
  Lenders holding at least 66⅔% of the Outstanding Advances under the Facilities. The
  Advances and Commitments of any Defaulting Lender shall be disregarded in determining
  Required Lenders at any time in accordance with Section 11.5.1(b).

  1.1.236 “Requirements of Environmental Law” means:

  (a)    obligations under common law;
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  (b)    requirements imposed by or pursuant to statutes, regulations and by-laws whether
         presently or hereafter in force;

  (c)    directives, policies and guidelines issued or relied upon by any Governmental
         Authority to the extent such directives policies or guidelines have the force of law;

  (d)    permits, licenses, certificates and approvals issued by Governmental Authorities
         which are required in connection with air emissions, discharges to surface or
         groundwater, noise emissions, solid or liquid waste disposal, the use, generation,
         storage, transportation or disposal of Hazardous Materials; and

  (e)    requirements imposed under any clean-up, compliance or other order made by a
         Governmental Authority pursuant to any of the foregoing,

  in each and every case relating to environmental, health or safety matters including all such
  obligations and requirements which relate to:

         (i)     solid, gaseous or liquid waste generation, handling, treatment, storage,
                 disposal or transportation; and

         (ii)    exposure to Hazardous Materials.

  1.1.237 “Resignation Notice” is defined in Section 11.18.

  1.1.238 “Rollover” means the renewal of an Availment Option upon its maturity in the
  same form.

  1.1.239 “Rollover Notice” means a notice substantially in the form of Exhibit “C” given
  by the Borrower to the Agent for the purpose of requesting a Rollover.

  1.1.240 “Sales Proceeds” is defined in Section 5.3.1(b).

  1.1.241 “Second Amendment Date” means July 22, 2019.

  1.1.242 “Secured Hedging Liability” means any Hedging Liability under a Hedging
  Agreement entered into between the Canadian Borrower and a Hedge Provider permitted
  by the provisions of Sections 7.2.12 and 7.2.13 and, provided that if a Hedge Provider does
  not have actual knowledge that such Hedging Liability was not permitted under such
  Sections at the time the applicable Hedging Agreement was entered into by such Hedge
  Provider, then such Hedging Liability will be deemed to be a Secured Hedging Liability
  for purposes of Section 8.5.

  1.1.243 “Securitization Assets” shall mean any of the following assets (or interests
  therein) from time to time originated, acquired or otherwise owned by the Borrowers or
  any Subsidiary or in which the Borrowers or any Subsidiary has any rights or interests, in
  each case, without regard to where such assets or interests are located: (a) Receivables, (b)
  franchise fees, royalties and other similar payments made related to the use of trade names
  and other intellectual property, business support, training and other services, (c) revenues
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  related to distribution and merchandising of the products of the Borrower and its
  Subsidiaries, (d) any equipment, contractual rights with unaffiliated third parties, website
  domains and associated property and rights necessary for a Securitization SPE to operate
  in accordance with its stated purposes, and (e) other assets and property (or proceeds of
  such assets or property) to the extent customarily included in securitization transactions of
  the relevant type in the applicable jurisdictions (as determined by the Agent and the
  Canadian Borrower each acting reasonably and in good faith).

  1.1.244 “Securitization SPE” means (i) a direct or indirect Subsidiary of any Borrower
  established in connection with a Permitted Securitization Financing for the acquisition of
  Securitization Assets or interests therein, and which is organized in a manner (as
  determined by the Canadian Borrower in good faith) intended to reduce the likelihood that
  it would be substantively consolidated with Holdings, the Borrowers or any of the
  Subsidiaries (other than Securitization SPE) in the event Holdings, the Borrowers or any
  such Subsidiary becomes subject to a proceeding under the U.S. Bankruptcy Code (or other
  insolvency law) and (ii) any subsidiary of a Securitization SPE.

  1.1.245 “Security” means all Guarantees, security agreements, mortgages, control
  agreements, pledge agreements, debentures and other documents required to be provided
  to the Agent or the Lenders pursuant to Article 8 and all other documents and agreements
  delivered by the Borrower and other Persons to the Agent for the benefit of the Lenders
  from time to time as security for the payment and performance of the Obligations, and the
  security interests, assignments and Liens constituted by the foregoing.

  1.1.246 “Shareholders’ Equity” means, at any time, the shareholders’ equity as shown
  on the consolidated balance sheet of the Canadian Borrower.

  1.1.247 “Single Employer Plan” means a single employer plan, as defined in
  Section 4001(a)(15) of ERISA, that is subject to Title IV of ERISA, and (i) is maintained
  for employees of any Credit Party or any ERISA Affiliate and no Person other than the
  Credit Parties and the ERISA Affiliates or (ii) was so maintained and in respect of which
  any Credit Party or any ERISA Affiliate could have liability under Section 4069 of ERISA
  in the event such plan has been or were to be terminated.

  1.1.248 “Specified Canadian Swingline Borrower” means (i) QMax Canada Operations
  Inc. or (ii) any other Material Subsidiary of the Canadian Borrower that has been formed
  under the laws of Canada or any province thereof as agreed to in writing by the Canadian
  Borrower, the Swingline Lender and the Agent, in their sole and absolute discretion.

  1.1.249 “Specified Equity Contribution” is defined in Section 7.3.2.

  1.1.250 “Statutory Lien” means a Lien in respect of any property or assets of a Credit
  Party created by or arising pursuant to any applicable legislation in favour of any Person
  (such as but not limited to a Governmental Authority), including a Lien for the purpose of
  securing such Credit Party’s obligation to deduct and remit employee source deductions
  and goods and services tax pursuant to the Income Tax Act (Canada), the Excise Tax Act
  (Canada), the Canada Pension Plan (Canada), the Employment Insurance Act (Canada)
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  and any legislation in any jurisdiction similar to or enacted in replacement of the foregoing
  from time to time.

  1.1.251 “Subordinated Debt” means any indebtedness of any Credit Party to any Person,
  in respect of which the holder thereof has entered into a subordination and postponement
  agreement in favour of the Agent on behalf of itself and the Lenders, substantially in the
  form of Exhibit “J” for any indebtedness which is governed by Applicable Laws of Canada
  or the U.S., or for any indebtedness governed by other Applicable Laws, such other
  agreement as is reasonably satisfactory to the Required Lenders (each, a “Subordination
  Agreement”) and, to the extent necessary or desirable under Applicable Law, registered
  in all places where necessary or desirable to protect the priority of the Security, which shall
  provide (among other things) that:

  (a)    upon notice of the occurrence and continuance of an Event of Default hereunder,
         the holder of such indebtedness may not receive payments on account of principal
         or interest thereon;

  (b)    any security held in respect of such indebtedness is subordinated to the Security;
         and

  (c)    the holder of such indebtedness may not take any enforcement action in respect of
         any such security without the prior written consent of the Agent (except to the
         extent, if any, expressly permitted therein).

  1.1.252 “Subordination Agreement” is defined in the definition of Subordinated Debt.

  1.1.253 “Subsidiary” means any Person of which more than 50% of the outstanding
  Voting Securities are owned, directly or indirectly by or for a Credit Party, provided that
  the ownership of such securities confers the right to elect at least a majority of the board of
  directors of such Person, or a majority of Persons serving similar roles, and includes any
  legal entity in like relationship to a Subsidiary.

  1.1.254 “Surviving Colombian Credit Agreements” means the following agreements
  by and between QMAX Solutions Colombia, as borrower: (i) revolving credit agreement
  with Helm Bank, as lender, dated as of October 6, 2009; (ii) common terms agreement for
  the execution of derivatives with Banco Corpobanca Colombia S.A., as lender, dated as of
  April 19, 2013; and (iii) common terms agreement for the execution of derivatives with
  Banco de Bogotá S.A., as lender, dated as of May 5, 2009; (iv) line of credit agreement
  with BBVA Colombia, as lender, dated as of December 3, 2012; and (v) line of credit
  agreement with Bancolombia dated January 20, 2010; in each case up to the respective
  maximum facility amounts set forth in Schedule 1.1.254 (each as amended, restated,
  supplemented, waived, replaced, (whether or not upon termination, and whether with the
  original agents, lenders, or otherwise), restructured, repaid, refunded, refinanced or
  otherwise modified from time to time, including any agreement refinancing, replacing or
  otherwise restructuring all or any portion of the indebtedness thereunder or increasing the
  amount loaned thereunder or altering the maturity thereof), subject to clause (d) of the
  definition of Permitted Funded Debt.
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  1.1.255 “Swingline” is defined in Section 2.7.1.

  1.1.256 “Swingline Borrower” is defined in Section 2.7.1.

  1.1.257 “Swingline Lender” means HSBC.

  1.1.258 “Swingline Limit” means $10,000,000 or the Equivalent Amount in Cdn. $, or
  any combination thereof.

  1.1.259 “Swingline Loan” means any Advance made available to the Borrower by the
  Swingline Lender outstanding from time to time under the Swingline.

  1.1.260 “Syndicated Advance” means any Advance under the Canadian Operating
  Facility that is not a Swingline Loan.

  1.1.261 “Taxes” is defined in Section 12.4.1.

  1.1.262 “Term Facility” is defined in Section 3.1.

  1.1.263 “Term Facility Commitment” means, as the context requires, (a) collectively
  with respect to all Term Lenders, in the aggregate as of the Second Amendment Date, U.S.
  $10,071,250, as otherwise increased or decreased pursuant to this Agreement and
  (b) means, with respect to each individual Term Lender, the individual commitment
  amount of such Lender in the maximum principal amount indicated opposite such Term
  Lender’s name in Exhibit “A” under the heading “Term Facility Commitments”, as
  amended from time to time.

  1.1.264 “Term Lenders” means the Lenders who have provided a Commitment under the
  Term Facility as set forth in Exhibit “A”.

  1.1.265 “Terra” means Terra Oilfield Solutions, LLC, a Delaware limited liability
  company.

  1.1.266 “Terra Acquisition” means the purchase of all of the membership interests of
  Terra pursuant to the Terra Purchase Agreement.

  1.1.267 “Terra Purchase Agreement” means the Membership Interest Purchase
  Agreement dated July 15, 2018 by and between Q’Max America Inc., as purchaser, and
  OFS Commander LLC, a Delaware limited liability company, as seller, as the same may
  be amended, restated or otherwise modified from time to time.

  1.1.268 “Total Net Debt” means, in respect of the Credit Parties and determined on a
  combined basis and without duplication, all interest bearing indebtedness for borrowed
  money, Capital Leases, the drawn and unreimbursed amount outstanding under all letters
  of credit, letters of guarantee and surety bonds to the extent not cash collateralized
  (excluding performance bonds provided by insurers), mark to market liabilities on Hedging
  Agreements, bankers’ acceptances and similar instruments, indebtedness secured by a
  Lien, redemption and mandatory dividend obligations with respect to a Credit Party’s
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  shares that are redeemable or convertible into debt at a fixed time at the option of the holder
  thereof or upon the occurrence of a condition within the control of such Person, obligations
  evidenced by bonds, debentures, notes or similar instruments and any guarantees or
  indemnity in any manner in respect of any part or all of an obligations of any other Person
  of the type included above, less the aggregate amount of cash and Cash Equivalents of the
  Credit Parties which are held with the Agent or an Affiliate thereof in Canada, the United
  States or Mexico which is unencumbered (except pursuant to the Security) and the use of
  which is otherwise unrestricted up to an aggregate principal amount of U.S. $20,000,000.

  1.1.269 “Unfunded Capital Expenditures” means for any applicable period, Capital
  Expenditures of the Credit Parties that are not financed with Funded Debt, or from the
  proceeds of the issuance of any new equity by the Credit Parties, any Sales Proceeds or any
  Insurance Proceeds in that period, but excluding therefrom any Capital Expenditures for
  which any Credit Party has received any reimbursement in the form of cash or Cash
  Equivalents from any Person other than another Credit Party in connection with such
  Capital Expenditure, but only to the extent of such reimbursement.

  1.1.270 “Uniform Customs” means the Uniform Customs and Practice for Documentary
  Credits, published as International Chamber of Commerce publication no. 600 and all
  subsequent amendments to same, in each case, as are current at the time of issuance of the
  applicable Letter of Credit.

  1.1.271 “United Joint Venture” means the joint venture in respect of Kuwait Drilling
  Fluid Company, 49% of the equity interests of which, as of the First Amendment Date, is
  owned by Q’Max Solutions Inc.

  1.1.272 “Unrestricted Subsidiary” means any Subsidiary of the Borrower that is not a
  Material Subsidiary.

  1.1.273 “U.S.” means the United States of America.

  1.1.274 “U.S. Base Rate” means the greater of the following:

  (a)    the rate of interest announced from time to time by the Agent as its reference rate
         then in effect for determining rates of interest on U.S. dollar loans to its customers
         in Canada and designated as its U.S. base rate;

  (b)    the Federal Funds Rate plus three-quarters of one percent (0.75%) per annum; and

  (c)    sum of (i) the LIBOR Rate and (ii) one percent (1.00%) per annum.

  1.1.275 “U.S. Borrower” means Q’Max America Inc., a corporation incorporated
  pursuant to the Laws of the state of Delaware, and its successors and permitted assigns.

  1.1.276 “U.S. Dollar Base Rate Loan” means an Advance made by a Lender in Canada
  to the Borrower by way of a direct loan in U.S. Dollars, but excluding Advances in the
  form of a LIBOR Loan.
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  1.1.277 “U.S. Dollar LIBOR Rate” means, at any time, the LIBOR Rate applicable to
  LIBOR Loans denominated in U.S. Dollars determined at such time.

  1.1.278 “U.S. Dollar Prime Rate Loan” means an Advance in U.S. Dollars bearing
  interest at a fluctuating rate determined by reference to the U.S. Prime Rate.

  1.1.279 “U.S. Dollars” or “U.S. $” means the lawful money of the U.S.

  1.1.280 “U.S. Operating Facility” is defined in Section 4.1.

  1.1.281 “U.S. Operating Facility Commitment” means, as the context requires, (a)
  collectively with respect to all U.S. Operating Lenders, in the aggregate as of the
  Amendment and Restatement Date, U.S. $15,000,000, as otherwise increased or decreased
  pursuant to this Agreement and (b) means, with respect to each individual U.S. Operating
  Lender, the individual commitment amount of such Lender in the maximum principal
  amount indicated opposite such U.S. Operating Lender’s name in Exhibit “A” under the
  heading “U.S. Operating Facility Commitments”, as amended from time to time.

  1.1.282 “U.S. Operating Facility Limit” means the lesser of (a) the U.S. Operating
  Facility Commitment, and (b) the sum of the Borrowing Base less the then outstanding
  Advances under the Term Facility and the Canadian Operating Facility.

  1.1.283 “U.S. Operating Lenders” means the Lenders who have provided a Commitment
  under the U.S. Operating Facility as set forth in Exhibit “A”.

  1.1.284 “U.S. Prime Rate” means, for any day, the rate per annum from time to time
  announced by HSBC US as its prime rate in effect at its principal office in New York City.
  The U.S. Prime Rate is a reference rate and does not necessarily represent the lowest or
  best rate actually charged to any customer. HSBC US may make commercial loans or other
  loans at rates of interest at, above or below the U.S. Prime Rate. Any change in the U.S.
  Prime Rate shall take effect at the opening of business on the day specified in the public
  announcement of such change.

  1.1.285 “Voting Securities” means securities of capital stock of any class of any
  corporation, partnership units in the case of a partnership, trust units in the case of a trust,
  or other evidence of ownership serving similar purposes, carrying voting rights under all
  circumstances, provided that, for the purposes of this definition, shares which only carry
  the right to vote conditionally on the happening of an event will not be considered Voting
  Securities, whether or not such event will have occurred, nor will any securities be deemed
  to cease to be Voting Securities solely by reason of a right to vote accruing to securities of
  another class or classes by reason of the happening of such event.

  1.1.286 “Wells Fargo” means Wells Fargo Bank, National Association.

  1.1.287 “Wells Fargo Credit Agreement” means the Credit and Security Agreement
  dated July 31, 2018, by and among ADF SPV, LLC, as the borrower, Anchor, as the
  servicer, and Wells Fargo, as lender and collateral agent, as may be amended, restated,
  supplemented, replaced or otherwise modified from time to time.
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        1.1.288 “Wells Fargo Letter” means that certain letter to be dated as of the date of the
        Wells Fargo Credit Agreement between HSBC, as administrative agent, and Wells Fargo,
        as lender and collateral agent (to be in form and substance satisfactory to the Agent, acting
        reasonably), as the same may be amended, restated or otherwise modified from time to
        time.

        1.1.289 “Withdrawal Liability” has the meaning specified in Part I of Subtitle E of
        Title IV of ERISA.

        1.1.290 “Year-end Financial Statements” in respect of any Person means the audited
        consolidated financial statements of such Person prepared in accordance with GAAP,
        including the notes thereto, in respect of its most recently completed Fiscal Year.

1.2     Accounting Principles

         Except as otherwise expressly provided herein, all accounting terms, principles and
calculations applicable to the Facilities and this Agreement will be interpreted, applied and
calculated, as the case may be, in accordance with GAAP. If, after the date of this Agreement,
there shall occur any change in GAAP or change in the accounting method under GAAP that are
different from those used in the historical preparation of the financial statements, including any
change by reason of any change in the rules, regulations, pronouncements, opinions or other
requirements of the Canadian Institute of Chartered Accountants (or any successor thereto or
agency with similar function), including the adoption of International Financial Reporting
Standards, that are different from those used in the preparation of the financial statements delivered
pursuant to Section 7.4 and such change shall result in a change in the method of calculation of
any financial covenant, ratio, standard or term found in this Agreement, including the treatment of
operating and capital leases, either the Canadian Borrower or the Required Lenders may by notice
to the Agent and the Canadian Borrower, respectively, require that the Lenders and the Canadian
Borrower negotiate in good faith to amend such covenants, ratios, standards, and terms so as
equitably to reflect such change in accounting principles, with the desired result being that the
criteria for evaluating the financial condition of the Canadian Borrower and its Subsidiaries shall
be the same as if such change had not been made. No delay by the Canadian Borrower or the
Required Lenders in requiring such negotiation shall limit their right to so require such a
negotiation at any time after such a change in accounting principles. Until any such covenant, ratio,
standard or term is amended in accordance with this Section 1.2, financial covenants shall be
computed and determined in accordance with GAAP in effect prior to such change in accounting
principles.

1.3     Currency References

        All amounts referred to in this Agreement are in U.S. Dollars unless otherwise noted.

1.4     References to Statutes

        Whenever in this Agreement reference is made to a statute or regulations made pursuant to
a statute, such reference shall, unless otherwise specified, be deemed to include all amendments to
such statute or regulations from time to time and all statutes or regulations which may come into
effect from time to time substantially in replacement for the said statutes or regulations.
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1.5      Extended Meanings

        Terms defined in the singular have the same meaning when used in the plural, and
vice-versa. When used in the context of a general statement followed by a reference to one or more
specific items or matters, the term “including” shall mean “including, without limitation”, and the
term “includes” shall mean “includes, without limitation”. Any reference herein to the exercise of
discretion by the Agent or the Lenders (including phrases such as “in the discretion of”, “in the
opinion of”, “to the satisfaction of” and similar phrases) shall mean that such discretion is absolute
and unfettered and shall not imply any obligation to act reasonably, unless otherwise expressly
stated herein.

1.6      Headings

        Headings, subheadings and the table of contents contained in the Credit Documents are
inserted for convenience of reference only, and will not affect the construction or interpretation of
the Credit Documents.

1.7      Subdivisions

        Unless otherwise stated, reference herein to a Schedule or to an Article, Section, paragraph
or other subdivision is a reference to such Schedule to this Agreement or such Article, Section,
paragraph or other subdivision of this Agreement. Unless specified otherwise, reference in
Schedule “A” to a Schedule or to an Article, Section, paragraph or other subdivision is a reference
to such Schedule or Article, Section, paragraph or other subdivision of this Agreement.

1.8      Number

        Wherever the context in the Credit Documents so requires, a term used herein importing
the singular will also include the plural and vice versa.

1.9      Time

         Time will be of the essence of the Credit Documents.

1.10     Amendments

     No Credit Document may be amended orally and, subject to Sections 1.11(a) and 11.2, any
amendment may only be made by way of an instrument in writing signed by the Parties.

1.11     No Waiver

         (a)    No waiver by a Party of any provision or of the breach of any provision of the
                Credit Documents will be effective unless it is contained in a written instrument
                duly executed by an authorized officer or representative of such Party. Such written
                waiver will affect only the matter specifically identified in the instrument granting
                the waiver and will not extend to any other matter, provision or breach.
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         (b)   The failure of a Party to take any steps in exercising any right in respect of the
               breach or non fulfilment of any provision of the Credit Documents will not operate
               as a waiver of that right, breach or provision, nor will any single or partial exercise
               of any right preclude any other or future exercise of that right or the exercise of any
               other right, whether in Law or otherwise.

         (c)   Acceptance of payment by a Party after a breach or non fulfilment of any provision
               of the Credit Documents requiring a payment to such Party will constitute a waiver
               of such provision if cured by such payment, but will not constitute a waiver or cure
               of any other provision of the Credit Documents.

1.12     Inconsistency

       To the extent that there is any inconsistency or ambiguity between the provisions of this
Agreement and any other Credit Document, the provisions of this Agreement will govern to the
extent necessary to eliminate such inconsistency or ambiguity. For greater certainty, a provision
of this Agreement and a provision of another Credit Document shall be considered to be
inconsistent if both relate to the same subject-matter and the provision in one such document
imposes more onerous obligations or restrictions than the corresponding provision in the other.

1.13     Pro Forma Adjustments

        For purposes of making computations of the Net Leverage Ratio and the Fixed Charge
Coverage Ratio herein, if any applicable Person or makes any Permitted Acquisitions, mergers,
amalgamations, consolidations, dispositions of assets or divisions or the Canadian Borrower
makes any adjustments to the Capital Expenditure budget (each a “relevant transaction”) during
the reference period applicable to such computation shall be calculated on a pro forma basis
assuming that all such relevant transactions (and the change in EBITDA resulting therefrom) had
occurred on the first day of such reference period. If since the beginning of such reference period
any Person that subsequently became a Subsidiary or was merged with or into the Borrower or any
of its Subsidiaries since the beginning of such period shall have consummated any relevant
transactions that would have required adjustment pursuant to this definition, then the Net Leverage
Ratio shall be calculated giving pro forma effect thereto for such reference period as if such
relevant transaction had occurred at the beginning of the applicable reference period.

        For purposes of this Section 1.13, whenever pro forma effect is to be given to a transaction,
the pro forma calculations shall be made in good faith by a responsible financial or accounting
officer of the Canadian Borrower and may include, without duplication, cost savings, operating
expense reductions, restructuring charges and expenses and cost-saving synergies resulting from
such acquisition or other relevant transaction, in each case in a manner acceptable to the Required
Lenders, acting reasonably.

1.14     Joint and Several Liability of Borrowers

       Notwithstanding anything else set forth in the Credit Documents to the contrary, each of
the Borrowers agrees and confirms to the Agent and Lenders that the liabilities and obligations of
the Borrowers under this Agreement and the other Credit Documents are joint and several as
between each Borrower.
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1.15     Deemed Action by all Borrowers

       All consents, waivers, notices and other action required, made, given to or received by the
Borrowers under this Agreement or any of the other Credit Documents will be deemed to be
required, made, given or received by all of the Borrowers if required, made, given or received by
one or more of the Borrowers. If a representation, certification or other statement under this
Agreement or any of the other Credit Documents is made by one Borrower, or to the knowledge
of one Borrower, it will be deemed to be made by all Borrowers, or the knowledge of all
Borrowers, as applicable.

1.16     Amendment and Restatement

        The Borrowers, the Agent and the Lenders agree that effective on the Amendment and
Restatement Date, this Agreement is an amendment and restatement of the Existing Credit
Agreement and is not a novation of the Existing Credit Agreement. As a consequence, the
obligations, indebtedness and liabilities outstanding under the Existing Credit Agreement
(including any existing letters of credit thereunder which will be deemed to be Letters of Credit
issued by the applicable Issuing Bank under the corresponding Facility hereunder) shall constitute
obligations, indebtedness and liabilities hereunder governed by the terms hereof and shall continue
to be secured by the Security. Such obligations, indebtedness and liabilities shall be continuing in
all respects, and this Agreement shall not be deemed to evidence or result in a novation of such
obligations, indebtedness and liabilities or a repayment and reborrowing of such obligations,
indebtedness and liabilities. The Existing Credit Agreement has been amended and restated solely
for the purposes of reflecting amendments to the Existing Credit Agreement which the Lenders,
the Agent and the Borrowers have agreed upon. All references to the “Credit Agreement”
contained in the Credit Documents delivered prior to the effectiveness of this Agreement shall be
references to this Agreement without further amendment to those Credit Documents. The
Borrowers confirm that each of the Credit Documents otherwise remains in full force and effect.
All deliverables made under the Existing Credit Agreement shall be deemed to have been delivered
under this Agreement. Each Lender authorizes the Agent to take all actions and make such
adjustments as are reasonably necessary to give effect to the foregoing. Notwithstanding the
foregoing or any other term hereof, all of the applicable continuing covenants, representations and
warranties on the part of the Borrowers under the Existing Credit Agreement and all of the claims
and causes of action arising against the Borrowers in connection therewith, in respect of all matters,
events, circumstances and obligations arising or existing prior to the Amendment and Restatement
Date shall continue, survive and shall not be merged in the execution of this Agreement or any
other Credit Documents or any advance or provision of any Loan hereunder.

1.17     Exhibits and Schedules

        The following exhibits and schedules are attached to this Agreement and incorporated
herein by reference:

          Exhibit “A”          – Lenders and Lenders’ Commitments
          Exhibit “B”          – Form of Drawdown Request
          Exhibit “C”          – Form of Rollover Notice
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          Exhibit “D”          –   Form of Conversion Notice
          Exhibit “E”          –   Form of Repayment Notice
          Exhibit “F”          –   Form of Compliance Certificate
          Exhibit “G”          –   Form of Assignment Agreement
          Exhibit “H”          –   Form of Borrowing Base Certificate
          Exhibit “I”          –   Form of Designation Notice
          Exhibit “J”          –   Form of Subordination Agreement
          Schedule 1.1.205     –   Existing Permitted Funded Debt
          Schedule 1.1.210     –   Existing Permitted Liens
          Schedule 1.1.254     –   Surviving Colombian Credit Agreements
          Schedule 6.1.2       –   Corporate Information
          Schedule 6.1.3       –   Subsidiaries
          Schedule 6.1.5       –   Consents and Approvals Required
          Schedule 6.1.8       –   Material Permits
          Schedule 6.1.10      –   Leased Properties
          Schedule 6.1.11      –   Intellectual Property
          Schedule 6.1.12      –   Insurance Policies
          Schedule 6.1.13      –   Material Agreements
          Schedule 6.1.14      –   Labour Matters
          Schedule 6.1.15      –   Environmental Matters
          Schedule 6.1.16      –   Litigation
          Schedule 6.1.17      –   Pension Plans
          Schedule 6.1.23      –   Taxes
          Schedule 6.1.33      –   Eligible Approved Contracts
          Schedule 7.2.3       –   Investments
          Schedule 7.2.6       –   Transactions with Affiliates
          Schedule 9.1         –   Post-Closing Schedule

1.18     Covenant Relief Period

        The Borrowers may, by providing an irrevocable written notice to the Agent, terminate the
Covenant Relief Period, which notice shall specify the date on which the Covenant Relief Period
is to end; provided that, such termination date shall not be retroactive to a date that precedes such
notice.
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                                     ARTICLE 2
                            CANADIAN OPERATING FACILITY

2.1     Establishment of Canadian Operating Facility

        Subject to the terms and conditions in this Agreement, each Canadian Operating Lender
hereby establishes a committed, revolving credit facility in favour of the Canadian Borrower in the
maximum principal amount indicated opposite such Canadian Operating Lender’s name in
Exhibit “A” under the heading “Canadian Operating Facility Commitments”. Such credit facility
in the maximum aggregate principal amount of the Canadian Operating Facility Limit are
established by the Canadian Operating Lenders severally and not jointly, and are hereinafter
collectively referred to as “Canadian Operating Facility”. Each Advance by a Canadian
Operating Lender under the Canadian Operating Facility shall be made by such Canadian
Operating Lender in its Proportionate Share of the Canadian Operating Facility. If the Canadian
Operating Facility Limit is at any time less than the Canadian Operating Facility Commitment,
then each Canadian Operating Lender’s obligation to provide Advances under the Canadian
Operating Facility will be reduced accordingly on a pro rata basis.

2.2     Purpose

        Advances under the Canadian Operating Facility shall be used by the Canadian Borrower
to fund working capital needs and for general corporate purposes, including Permitted Acquisitions
(other than a Hostile Acquisition and the Terra Acquisition).

2.3     Revolving Nature

        The Canadian Operating Facility shall be a revolving facility. For greater certainty, the
Borrower shall, subject to the terms of this Agreement, be entitled to obtain Advances under the
Canadian Operating Facility from time to time and repay all or any portion of the Outstanding
Advances under the Canadian Operating Facility from time to time; provided, that the Outstanding
Advances under the Canadian Operating Facility at any time shall not exceed the Canadian
Operating Facility Limit in effect at such time. If at any time and for whatever reason the
Outstanding Advances under the Canadian Operating Facility exceed the Canadian Operating
Facility Limit then in effect, the Canadian Borrower shall, within two Business Days of receipt of
a written notice from the Agent, pay to the Agent the principal amount required to reduce the
Outstanding Advances under the Canadian Operating Facility to an amount not greater than the
Canadian Operating Facility Limit then in effect.

2.4     Repayment

        The Obligations under the Canadian Operating Facility shall become due and payable on
the earlier of: (i) the Acceleration Date; and (ii) the Facilities Maturity Date.

2.5     Availment Options

        2.5.1  Subject to the restrictions contained in this Section 2.5 and elsewhere in this
        Agreement (and in particular, Sections 5.4 and 5.5), the Canadian Borrower may receive
        Advances under the Canadian Operating Facility by any one or more of the following
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        Availment Options (or any combination thereof) in minimum amounts and multiples as
        provided in Section 5.5:

        (a)    Overdrafts in Canadian Dollars or U.S. Dollars (but only under the Swingline);

        (b)    Letters of Credit in Canadian Dollars or U.S. Dollars (but only under the
               Swingline);

        (c)    Canadian Dollar Prime Rate Loans;

        (d)    U.S. Dollar Base Rate Loans;

        (e)    Bankers’ Acceptances from the BA Lenders in Canadian Dollars only with a
               maturity of 30, 60, 90 or 180 days, subject to availability;

        (f)    BA Equivalent Loans from the Non-BA Lenders in Canadian Dollars only with a
               maturity of 30, 60, 90 or 180 days, subject to availability; or

        (g)    LIBOR Loans in U.S. Dollars, with a LIBOR Period of 30, 60, 90 or 180 days,
               subject to availability.

        2.5.2   Bankers’ Acceptances, BA Equivalent Loans and LIBOR Loans under the
        Canadian Operating Facility will not be issued with a maturity date later than the Facilities
        Maturity Date.

        2.5.3    The Canadian Borrower may Convert Outstanding Advances under the Canadian
        Operating Facility in the form of any above Availment Option applicable to it into another
        form of Availment Option in the same currency, subject to and in accordance with the
        terms and conditions of this Agreement (but for greater certainty, Bankers’ Acceptances,
        BA Equivalent Loans, LIBOR Loans and Letters of Credit may not be converted into
        another Availment Option prior to the maturity thereof, except in the case of unexpired
        Letter of Credits by the return of the original thereof to the Swingline Lender for
        cancellation).

2.6     Interest and Fees

        2.6.1  In respect of Advances under the Canadian Operating Facility, the Canadian
        Borrower agrees to pay the following:

        (a)    interest on Overdrafts in Canadian Dollars and interest on Canadian Dollar Prime
               Rate Loans at the Canadian Prime Rate plus the Applicable Margin per annum,
               payable monthly in arrears on the last Business Day of such month;

        (b)    in respect of each Letter of Credit issued under the Canadian Operating Facility:

               (i)     to the Swingline Lender in respect of the period from the date of issuance
                       of such Letter of Credit to the date of expiry of such Letter of Credit
                       (including the first day but excluding the last day) and divided by 365 or
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               366 days, as the case may be, a fee equal to the Applicable Margin in effect
               at the time of issuance multiplied by the face amount of such Letter of Credit
               multiplied by the number of days in such period and divided by 365 or
               366 days, as the case may be, payable on the date of issuance of such Letter
               of Credit; and

        (ii)   in respect of each Letter of Credit, in addition to the fees referred to in
               clause (i) immediately above, fees generally applicable to Letters of Credit
               from time to time (such as issuance, drawing, registration, amendment,
               communication and other processing and out of pocket fees) at the
               Swingline Lender’s usual rates, payable to the Swingline Lender for its own
               account,

        and each fee referred to in this Section in respect of a Letter of Credit shall be paid
        in the same currency as the currency of such Letter of Credit;

  (c)   in respect of each Bankers’ Acceptance, a stamping fee equal to the Applicable
        Margin multiplied by the face amount of the Bankers’ Acceptance with the product
        thereof further multiplied by the number of days to maturity of the Bankers’
        Acceptance and divided by 365 or 366 days, as the case may be, payable at the time
        of acceptance (and for greater certainty, in addition to paying the said stamping fee,
        the Canadian Borrower acknowledges that the proceeds received upon the issuance
        of such Bankers’ Acceptance will be less than the face amount payable to the holder
        of such Bankers’ Acceptance on the maturity thereof, as more particularly provided
        in Section 5.10);

  (d)   in respect of each BA Equivalent Loan, a stamping fee equal to the Applicable
        Margin multiplied by the face amount of the BA Equivalent Loan with the product
        thereof further multiplied by the number of days to maturity of the BA Equivalent
        Loan and divided by 365 or 366 days, as the case may be, payable at the time of
        acceptance (and for greater certainty, in addition to paying the said stamping fee,
        the Canadian Borrower acknowledges that the proceeds received upon the issuance
        of such BA Equivalent Loan will be less than the principal amount of such
        BA Equivalent Loan on the maturity thereof, as more particularly provided in
        Section 5.12);

  (e)   interest on Overdrafts in U.S. Dollars and interest on U.S. Dollar Base Rate Loans
        at the U.S. Base Rate plus the Applicable Margin per annum, payable monthly in
        arrears on the last day of each and every month (provided, that if the last day of any
        month is not a Business Day, interest shall be payable on the next Business Day
        thereafter);

  (f)   interest on LIBOR Loans in U.S. Dollars at the U.S. Dollar LIBOR Rate plus the
        Applicable Margin per annum calculated on the basis of a year of 360 days, payable
        in the manner set out in Section 5.13.2;
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        (g)    a standby fee with respect to the unused portion of the Canadian Operating Facility
               (other than the Swingline), calculated in U.S. Dollars on a daily basis as being the
               difference between (i) the Canadian Operating Facility Commitment less the
               Swingline Limit and (ii) the Outstanding Advances under that portion of the
               Canadian Operating Facility other than the Swingline, multiplied by the Applicable
               Margin and divided by 365 or 366 days, as the case may be, which standby fee shall
               be payable quarterly in arrears on the last day of each Fiscal Quarter;

        (h)    a standby fee with respect to the Swingline payable to the Agent for the account of
               the Swingline Lender, calculated in U.S. Dollars on a daily basis as being the
               difference between (i) the Swingline Limit and (ii) the Outstanding Advances
               under the Swingline, multiplied by the Applicable Margin and divided by 365 or
               366 days, as the case may be, which standby fee shall be payable quarterly in arrears
               on the last day of each Fiscal Quarter; and

        (i)    such fees payable to the Agent as may be agreed in writing from time to time
               between the Canadian Borrower and the Agent relating to any Banking Services
               Agreements and related services which may be provided by the Agent for the
               Canadian Borrower from time to time.

        2.6.2    With respect to any Availment Option under the Canadian Operating Facility,
        “Applicable Margin” means, in respect of any Fiscal Quarter, the percentage in the column
        relating to such Availment Option which corresponds to the Net Leverage Ratio as
        determined pursuant to Section 5.1.4.

2.7     Swingline

        2.7.1   A portion of the Canadian Operating Facility in the maximum amount of the
        Swingline Limit is hereby designated as the “Swingline” and shall be subject to the terms
        and conditions in this Section 2.7 (in addition to any other applicable terms and conditions
        contained in this Agreement). The Swingline shall be available to each of the Canadian
        Borrower and the Specified Canadian Swingline Borrower (collectively the “Swingline
        Borrowers”).

        2.7.2    The Swingline shall be established and maintained by the Swingline Lender only.
        Either Swingline Borrower may only receive Advances under the Swingline by way of
        Overdrafts, LIBOR Loans, Bankers’ Acceptances or the issuance of Letters of Credit, in
        each case (other than with respect to Bankers’ Acceptances), in Canadian Dollars or U.S.
        Dollars. The aggregate amount owing under the Swingline may at no time exceed the
        Swingline Limit and the aggregate principal amount outstanding under the Swingline plus
        the other Outstanding Advances under the Canadian Operating Facility shall at no time
        exceed the Canadian Operating Facility Limit. The total number of Bankers’ Acceptances
        and LIBOR Loans outstanding under the Swingline shall not exceed fifteen at any time.

        2.7.3    The Swingline shall form a part of the Canadian Operating Facility and, except
        for the purpose of calculating the Canadian Operating Facility standby fee, any Swingline
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  Loan shall reduce availability under the Canadian Operating Facility on a dollar for dollar
  basis.

  2.7.4     The Swingline Lender will make Advances to the Swingline Borrowers under the
  Swingline by way of (a) Canadian Dollar Overdraft into Canadian Dollar accounts, or U.S.
  Dollar Overdraft into U.S. Dollar accounts, in each case held at a branch of the Agent and
  as designated by either Swingline Borrower from time to time as required in order to
  honour cheques drawn by either Swingline Borrower on such accounts which are presented
  to the Swingline Lender for payment, (b) the issuance of Letters of Credit in Canadian
  Dollars or U.S. Dollars or (c) LIBOR Loans or Bankers’ Acceptances. Other than in respect
  of Letters of Credit, LIBOR Loans or Bankers’ Acceptances, no Drawdown Request or
  minimum amount shall be required in connection therewith and each Swingline Loan shall
  be on a dollar for dollar basis (i.e. not subject to multiples). As deposits are made into such
  accounts by the applicable Swingline Borrower, the Swingline Lender shall withdraw
  funds from such accounts from time to time and apply such funds as Repayments under
  the Swingline; provided, that the foregoing shall not apply to any Swingline Loans made
  by way of issuance of a Letter of Credit, LIBOR Loan or Bankers’ Acceptance. No notice
  of repayment shall be required to be given by the Canadian Borrower in respect of any such
  repayment of any Swingline Loan (other than in respect of LIBOR Loans or Bankers’
  Acceptances). The Swingline Borrowers authorize and direct the Swingline Lender, in its
  discretion, to automatically debit, by mechanical, electronic or manual means, the bank
  accounts of the Swingline Borrowers maintained by it for any amounts (including principal,
  interest or fees) that are due and payable under this Section 2.7.

  2.7.5     Letters of Credit may be issued under the Swingline in Canadian Dollars or U.S.
  Dollars (or such other currencies as may be agreed to by the Swingline Lender); provided,
  that the Equivalent Amount expressed in U.S. Dollars (or such other currency, if
  applicable) of the aggregate face amount of all Letters of Credit outstanding under the
  Swingline at any time may not exceed U.S. $10,000,000. Each Letter of Credit shall have
  an expiry date not exceeding the earlier of (a) one year from the date of issuance thereof
  (subject to any customary auto-renewal terms contained in such Letter of Credit; provided,
  that such auto-renewal provisions do not provide for a renewal in the singular instance in
  excess of one year from the date of such renewal), and (b) five Business Days prior to the
  Facilities Maturity Date. Letters of Credit will not be issued for the purpose of guaranteeing
  obligations of any Person other than a Credit Party. On the date of issue, the Swingline
  Lender will complete and issue one or more Letters of Credit in favour of the beneficiary
  as specified by the applicable Swingline Borrower in its Drawdown Request. No Letter of
  Credit shall require payment against a conforming draft to be made thereunder on the same
  Business Day upon which such draft is presented, if such presentation is made after
  11:00 a.m. (Toronto time) on such Business Day. Prior to the issue date, the applicable
  Swingline Borrower shall specify a precise description of the documents and the verbatim
  text of any certificate to be presented by the beneficiary prior to payment under the Letter
  of Credit. The Swingline Lender may require changes in any such documents or certificate,
  acting reasonably. In determining whether to pay under a Letter of Credit, the Swingline
  Lender shall be responsible only to determine that the documents and certificates required
  to be delivered under such Letter of Credit have been delivered and that they comply on
  their face with the requirements of such Letter of Credit. Sections 4.7.2, 4.7.3, 4.7.4 and
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  4.7.6 shall apply to Letters of Credit issued under the Swingline mutatis mutandis as if the
  Swingline Lender was the Issuing Bank.

  2.7.6    If the Canadian Borrower requests a Syndicated Advance and the Swingline
  Lender’s Proportionate Share of such Syndicated Advance would cause its Proportionate
  Share of all Syndicated Advances under the Canadian Operating Facility then outstanding
  together with the aggregate outstanding principal amount of all Swingline Loans to exceed
  the Swingline Lender’s Commitment under the Canadian Operating Facility, then the
  Canadian Borrower shall be required to repay such Swingline Loans (or to convert the
  same into a Syndicated Advance in accordance with Section 2.7.7) to the extent of such
  excess on or before the requested date of such Syndicated Advance; provided, that the
  foregoing shall not apply to any Swingline Loans made by way of issuance of a Letter of
  Credit.

  2.7.7     Notwithstanding anything to the contrary herein contained, the Canadian
  Borrower may at any time give notice to the Swingline Lender and the Agent, which notice
  shall direct a Conversion of any outstanding Swingline Loan into a Syndicated Advance
  (other than by way of issuance of a Letter of Credit) and shall specify the particulars of
  such Swingline Loans, and the Agent shall forthwith provide a copy of such notice to the
  Canadian Operating Lenders and, effective on the effective date of such notice, the
  Canadian Borrower shall be deemed to have requested a Conversion of such Swingline
  Loan into a Syndicated Advance (whether or not it was the actual borrower under such
  Swingline Loan) and in an amount sufficient to repay the relevant Swingline Loan and
  accrued and unpaid interest in respect thereof. Subject to the same notice period set out in
  Section 5.4, each Canadian Operating Lender shall disburse to the Agent for payment to
  the Swingline Lender its respective Proportionate Share of such amounts and such amounts
  shall thereupon be deemed to have been advanced by such other Canadian Operating
  Lenders to the Canadian Borrower and to constitute Syndicated Advances by way of
  Canadian Dollar Prime Rate Loans or U.S. Dollar Base Rate Loans, as applicable. Such
  Syndicated Advances shall be deemed to be comprised of principal and accrued and unpaid
  interest in the same proportions as the corresponding Swingline Loans.

  2.7.8    Upon the occurrence and any time during the continuance of an Event of Default,
  the Canadian Operating Lenders shall make such adjusting payments amongst themselves
  in any manner as may be required to ensure their respective participations in outstanding
  Advances under the Canadian Operating Facility reflect their respective Proportionate
  Share under the Canadian Operating Facility. If any Swingline Loans (other than by way
  of Letters of Credit) are outstanding, the Swingline Lender may at any time in its sole and
  absolute discretion, on behalf of either Swingline Borrower (which hereby irrevocably
  directs and authorizes the Swingline Lender to make such request on its behalf), request
  that each Canadian Operating Lender, through the Agent, make a Canadian Dollar Prime
  Rate Loan or U.S. Dollar Base Rate Loan, as applicable, to the Canadian Borrower
  (whether or not it was the actual borrower under such Swingline Loan) in an amount equal
  to the Lender’s Proportionate Share of the principal amount of such Swingline Loan
  outstanding on the date such notice is given (in this Section, the “Refunded Swingline
  Loans”), provided that the provisions of this clause shall not affect the applicable
  Swingline Borrower’s obligation to repay the Swingline Loans to the extent they remain
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  outstanding. Each Canadian Operating Lender will make the proceeds of any such
  Canadian Dollar Prime Rate Loan or U.S. Dollar Base Rate Loan, as applicable, available
  to the Swingline Lender on the Business Day next following the date such notice is given
  in immediately available funds. The proceeds of such a Canadian Dollar Prime Rate Loan
  or U.S. Dollar Base Rate Loan shall be applied by the Swingline Lender to the payment in
  full of the Refunded Swingline Loans.

  2.7.9    In the event of any request for a drawing under any Letter of Credit, the Swingline
  Lender may notify the applicable Swingline Borrower (with a copy of the notice to the
  Agent) on or before the date on which it intends to honour such drawing. The applicable
  Swingline Borrower (whether or not such notice is given) shall reimburse the Swingline
  Lender within two Business Days of demand by the Swingline Lender, in the relevant
  currency, an amount, in same day funds, equal to the amount of such drawing (in this
  Section, an “LC Payment”). The applicable Swingline Borrower shall pay to the
  Swingline Lender interest on the amount of any such drawn Letter of Credit as if such
  drawn amount was a Canadian Dollar Prime Rate Loan or U.S. Dollar Base Rate Loan, as
  applicable, from the date such Letter of Credit is drawn upon until such time as the
  applicable Swingline Borrower reimburses the Swingline Lender for the drawn amount of
  such Letter of Credit. If the applicable Swingline Borrower does not reimburse the
  Swingline Lender within such two Business Days, the Canadian Operating Lenders shall,
  on the third Business Day following the date of such initial demand on the applicable
  Swingline Borrower by the Swingline Lender, at the request of the Swingline Lender,
  provide its Proportionate Share of the amount drawn under any such Letter of Credit and
  the Agent shall apply the proceeds thereof to the reimbursement of the Swingline Lender
  for the amount of such drawing. The applicable Swingline Borrower shall pay to Canadian
  Operating Lenders interest on the amount of any such drawn Letter of Credit from the date
  the Swingline Lender requests payment from each of Canadian Operating Lenders in
  respect of such drawn Letter of Credit until such time as the Canadian Borrower reimburses
  the Swingline Lender and each of Canadian Operating Lenders for the drawn amount of
  such Letter of Credit which has been drawn upon as if such drawn amount was a Canadian
  Dollar Prime Rate Loan or U.S. Dollar Base Rate Loan, as applicable. Each Canadian
  Operating Lender acknowledges and agrees that its obligation to acquire participations in
  each Letter of Credit issued by the Swingline Lender and its obligation to make the
  payments specified herein, and the right of the Swingline Lender to receive the same, in
  the manner specified herein, are absolute and unconditional and shall not be affected by
  any circumstance whatsoever, including the occurrence and continuance of a Default or
  Event of Default hereunder, and that each such payment shall be made without any offset,
  abatement, withholding or reduction whatsoever.

  2.7.10 The obligations of each Canadian Operating Lender under Sections 2.7.8 and
  2.7.9 are unconditional, shall not be subject to any qualification or exception whatsoever
  and shall be performed in accordance with the terms and conditions of this Agreement
  under all circumstances including:

  (a)    any lack of validity or enforceability of the applicable Swingline Borrower’s
         obligations under this Section 2.7;
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        (b)    the occurrence of any Default or Event of Default or the exercise of any rights by
               the Agent under the Credit Documents;

         (c)    whether the Borrower under a Swingline loan was the Canadian Borrower or the
                                 Specified Canadian Swingline Borrower; and

        (d)    the absence of any demand for payment being made, any proof of claim being filed,
               any proceeding being commenced or any judgment being obtained by any Lender
               against any Credit Party.

        2.7.11 For certainty, it is hereby acknowledged and agreed that the Canadian Operating
        Lenders shall be obligated to disburse to the Agent for payment to the Swingline Lender
        their respective Proportionate Shares of any Syndicated Advances contemplated in this
        Section 2.7 regardless of:

        (a)    whether a Default or Event of Default has occurred or is then continuing or whether
               any other condition in Section 9.2 is met;

        (b)    whether or not the Canadian Borrower has, in fact, actually requested such
               Conversion; and

        (c)    whether or not a Person was a Canadian Operating Lender at the time the applicable
               Swingline Loan was made.

        2.7.12 Notwithstanding any other terms of this Section 2.7, this Agreement or any other
        Loan Document, the Canadian Borrower shall be jointly and severally liable with the
        Specified Canadian Swingline Borrower for all obligations and indebtedness arising out of
        any Swingline Loan advanced by the Swingline Lender to the Specified Canadian
        Swingline Borrower.

2.8     Accordion - Increase in the Canadian Operating Facility Commitment Amount

        2.8.1    The Canadian Borrower may at any time and from time to time (a) with the
        consent of the Agent and the Swingline Lender add additional financial institutions
        hereunder, as Canadian Operating Lenders or, (b) with the consent of the applicable
        Canadian Operating Lender, the Agent and the Swingline Lender, increase the individual
        Canadian Operating Facility Commitment of such Canadian Operating Lender, and, in each
        case, thereby increase the Canadian Operating Facility Commitment; provided, that at the
        time of any such addition or increase:

                      (A)     no Default or Event of Default has occurred and is continuing or
                              would result therefrom and the Agent has received a certificate from
                              the Borrower confirming the same;

                      (B)     the aggregate amount of all increases to the Canadian Operating
                              Facility Commitment pursuant to this Section 2.8.1 shall not exceed
                              $10,000,000;
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             (C)   the aggregate of the U.S. Operating Facility Commitment and the
                   Canadian Operating Facility Commitment (as increased) does not at
                   any time exceed $144,681,471;

             (D)   the Agent and the Swingline Lender have each consented to such
                   Canadian Operating Lender increasing its Canadian Operating
                   Facility Commitment, each such consent not to be unreasonably
                   withheld or delayed;

             (E)   (i) the Canadian Operating Facility Commitment increased pursuant
                   to this Section 2.8.1 and (ii) the individual Canadian Operating
                   Facility Commitment of any new financial institution being added
                   as a Lender pursuant to this Section 2.8.1, shall in each case be no
                   less than $2,500,000;

             (F)   concurrently with the addition of a financial institution as an
                   additional Canadian Operating Lender or the increase of a Canadian
                   Operating Lender’s Canadian Operating Facility Commitment, such
                   financial institution or Canadian Operating Lender, as the case may
                   be, shall purchase from each Canadian Operating Lender, such
                   portion of the Outstanding Advances owed to each Canadian
                   Operating Lender under the Canadian Operating Facility as is
                   necessary to ensure that the Outstanding Advances owed to all
                   Canadian Operating Lenders and including therein such additional
                   financial institution and the increased Canadian Operating Facility
                   Commitment of any Canadian Operating Lender, as applicable, are
                   in accordance with the Lender’s Proportionate Shares of all such
                   Canadian Operating Lenders (including the new financial institution
                   and the increased Canadian Operating Facility Commitment of any
                   Lender) and such financial institution shall execute such
                   documentation as is required by the Agent, acting reasonably, to
                   novate such financial institution as a Canadian Operating Lender
                   hereunder; provided that with respect to any portion of such
                   Outstanding Advances which is outstanding by way of Bankers’
                   Acceptance, the new financial institution or such Canadian
                   Operating Lender shall provide an indemnity to the other Lenders
                   (provided that no such indemnity may exceed one month in duration
                   unless agreed to by all of the affected Lenders) in order to ensure
                   such Bankers’ Acceptances are outstanding in accordance with the
                   new Proportionate Shares; and

             (G)   the Canadian Borrower has provided to the Agent a certified copy
                   of a directors’ resolution of the Canadian Borrower authorizing any
                   such increase in the Canadian Operating Facility Commitment
                   (which may be the original directors’ resolution authorizing the
                   credit facility hereunder) together with (i) an acknowledgement and
                   confirmation agreement in respect of Security from each Credit
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                               Party formed under the laws of Canada, the U.S. or any province or
                               state thereof and (ii) a legal opinion with respect each Credit Party
                               formed under the laws of Canada, the U.S. or any province or state
                               thereof, in each case in form and substance satisfactory to the Agent,
                               acting reasonably;

        provided, in the case of any Canadian Operating Lender which is requested to provide an
        increase to its Canadian Operating Facility Commitment, (i) each Canadian Operating
        Lender shall notify the Agent within the time period specified in the Agent’s notice of such
        increase to such Canadian Operating Lender (which shall in no event be less than ten
        Business Days from the date of delivery of such notice to the Canadian Operating Lenders)
        whether or not it agrees to increase its Canadian Operating Facility Commitment and by
        what amount; (ii) any Canadian Operating Lender not responding within such time period
        shall be deemed to have declined to increase its Canadian Operating Facility Commitment;
        and (iii) in no event shall any existing Canadian Operating Lender be required to increase
        its Canadian Operating Facility Commitment.

                                          ARTICLE 3
                                        TERM FACILITY

3.1     Establishment of the Term Facility

        Subject to the terms and conditions in this Agreement, each Term Lender hereby
establishes a committed non-revolving reducing term credit facility in favour of the Canadian
Borrower in the maximum principal amount indicated opposite such Term Lender’s name in
Exhibit “A” under the heading “Term Facility Commitments”. Such credit facility in the maximum
aggregate principal amount of the Term Facility Commitment is established by the Term Lenders
severally and not jointly, and is hereinafter referred to as the “Term Facility”. Each Advance by
a Term Lender under the Term Facility shall be made by such Term Lender in its Proportionate
Share of the Term Facility.

3.2     Purpose

        Advances to partially finance the purchase price of certain Acquisitions.

3.3     Nature

        The Term Facility shall be a non-revolving facility, and any Repayment under the Term
Facility may not be re-borrowed. As of the Amendment and Restatement Date, no new Advances
are available under the Term Facility.

3.4     Repayment

        3.4.1     The Obligations under the Term Facility shall become due and payable on the
        earlier of: (a) the Acceleration Date; and (b) the Facilities Maturity Date.

        3.4.2    The Canadian Borrower shall make Repayments under the Term Facility in
        quarterly installments on the last day of each Fiscal Quarter (and if the last day of a Fiscal
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        Quarter is not a Business Day, such payment shall be due on the next Business Day) of
        U.S. $1,195,000 in each case, payable on the last Business Day of each such Fiscal Quarter;
        provided, however, that no such Repayment shall be required under this Section 3.4.2 with
        respect to the Fiscal Quarters ending June 30, 2019, September 30, 2019 and December
        31, 2019.

        3.4.3    Each Repayment under the Term Facility shall be applied to the Term Lenders
        holding such Loans pro rata based upon their Proportionate Share thereof and the Term
        Facility Commitment shall be reduced by the amount of each such Repayment.

3.5     Availment Options

        3.5.1    Subject to the restrictions contained in this Section 3.5, the Canadian Borrower
        may receive Advances under the Term Facility by way of (and may convert Outstanding
        Advances under the Term Facility into) any one or more of the following Availment
        Options (or any combination thereof) in minimum amounts and multiples as provided in
        Section 5.5:

        (a)    Canadian Dollar Prime Rate Loans;

        (b)    Bankers’ Acceptances from the BA Lenders in Canadian Dollars only with a
               maturity date of 30, 60, 90 or 180 days, subject to availability;

        (c)    BA Equivalent Loans from the Non-BA Lenders in Canadian Dollars only with a
               maturity date of 30, 60, 90 or 180 days, subject to availability;

        (d)    U.S. Dollar Base Rate Loans; or

        (e)    LIBOR Loans in U.S. Dollars only with a LIBOR Period of 30, 60, 90 or 180 days,
               subject to availability.

        3.5.2    Bankers’ Acceptances, BA Equivalent Loans and LIBOR Loans under the Term
        Facility may not be converted into another Availment Option prior to the maturity thereof,
        and may not be issued with a maturity date later than the Facilities Maturity Date.

3.6     Interest and Fees

        3.6.1    In respect of Advances under the Term Facility, the Canadian Borrower agrees to
        pay the following:

        (a)    interest on Canadian Dollar Prime Rate Loans at the Canadian Prime Rate plus the
               Applicable Margin per annum, payable monthly in arrears on the first Business Day
               of the next month;

        (b)    in respect of each Bankers’ Acceptance, a stamping fee equal to the Applicable
               Margin multiplied by the face amount of the Bankers’ Acceptance with the product
               thereof further multiplied by the number of days to maturity of the Bankers’
               Acceptance and divided by 365 or 366 days, as the case may be, payable at the time
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               of acceptance (and for greater certainty, in addition to paying the said stamping fee,
               the Canadian Borrower acknowledges that the proceeds received upon the issuance
               of such Bankers’ Acceptance will be less than the face amount payable to the holder
               of such Bankers’ Acceptance on the maturity thereof, as more particularly provided
               in Section 5.10);

        (c)    in respect of each BA Equivalent Loan, a stamping fee equal to the Applicable
               Margin multiplied by the face amount of the BA Equivalent Loan with the product
               thereof further multiplied by the number of days to maturity of the BA Equivalent
               Loan and divided by 365 or 366 days, as the case may be, payable at the time of
               acceptance (and for greater certainty, in addition to paying the said stamping fee,
               the Canadian Borrower acknowledges that the proceeds received upon the issuance
               of such BA Equivalent Loan will be less than the principal amount of such
               BA Equivalent Loan on the maturity thereof, as more particularly provided in
               Section 5.12);

        (d)    interest on U.S. Dollar Base Rate Loans at the U.S. Base Rate plus the Applicable
               Margin per annum, payable monthly in arrears on the first Business Day of the next
               month; and

        (e)    interest on LIBOR Loans in U.S. Dollars at the U.S. Dollar LIBOR Rate plus the
               Applicable Margin per annum calculated on the basis of a year of 360 days, payable
               in the manner set out in Section 5.13.2.

        3.6.2    With respect to any Availment Option under the Term Facility, “Applicable
        Margin” means, in respect of any Fiscal Quarter, the percentage in the column relating to
        such Availment Option which corresponds to the Net Leverage Ratio as determined
        pursuant to Section 5.1.4.

                                        ARTICLE 4
                                U.S. OPERATING FACILITY

4.1     Establishment of U.S. Operating Facility

        Subject to the terms and conditions in this Agreement, each U.S. Operating Lender hereby
establishes a committed, revolving credit facility in favour of the U.S. Borrower in the maximum
principal amount indicated opposite such U.S. Operating Lender’s name in Exhibit “A” under the
heading “U.S. Operating Facility Commitments”. Such credit facility in the maximum aggregate
principal amount of the U.S. Operating Facility Limit are established by the U.S. Operating
Lenders severally and not jointly, and are hereinafter collectively referred to as the “U.S.
Operating Facility”. Each Advance by a U.S. Operating Lender under the U.S. Operating Facility
shall be made by such U.S. Operating Lender in its Proportionate Share of the U.S. Operating
Facility.
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4.2     Purpose

        Advances under the U.S. Operating Facility shall be used by the U.S. Borrower to fund
working capital needs and for general corporate purposes including the Permitted Acquisitions
(other than a Hostile Acquisition and the Terra Acquisition).

4.3     Revolving Nature

        The U.S. Operating Facility shall be a revolving facility. For greater certainty, the U.S.
Borrower shall, subject to the terms of this Agreement, be entitled to obtain Advances by way of
U.S. Dollar Prime Rate Loans, LIBOR Loans or Letters of Credit in U.S. Dollars under the U.S.
Operating Facility from time to time and repay all or any portion of the Outstanding Advances
under the U.S. Operating Facility from time to time; provided, that the Outstanding Advances
under the U.S. Operating Facility at any time shall not exceed the U.S. Operating Facility
Commitment in effect at such time. If at any time and for whatever reason the Outstanding
Advances under the U.S. Operating Facility exceed the U.S. Operating Facility Commitment then
in effect, the U.S. Borrower shall, within two Business Days of receipt of a written notice from the
Agent, pay to the Agent the principal amount required to reduce the Outstanding Advances under
the U.S. Operating Facility to an amount not greater than the U.S. Operating Facility Commitment
then in effect.

4.4     Repayment

        The Obligations under the U.S. Operating Facility shall become due and payable on the
earlier of: (i) the Acceleration Date; and (ii) the Facilities Maturity Date.

4.5     Availment Options

        4.5.1    Subject to the restrictions contained in this Section 4.5 and elsewhere in this
        Agreement (and in particular, Sections 5.4 and 5.5), the U.S. Borrower may receive
        Advances under the U.S. Operating Facility by any one or more of the following Availment
        Options (or any combination thereof) in minimum amounts and multiples as provided in
        Section 5.5:

        (a)    Letters of Credit in U.S. Dollars;

        (b)    U.S. Dollar Prime Rate Loans; or

        (c)    LIBOR Loans in U.S. Dollars, with a LIBOR Period of 30, 60, 90 or 180 days,
               subject to availability.

        4.5.2     LIBOR Loans under the U.S. Operating Facility will not be issued with a maturity
        date later than the Facilities Maturity Date.

        4.5.3     The U.S. Borrower may convert Outstanding Advances under the U.S. Operating
        Facility in the form of any above Availment Option applicable to it into another form of
        Availment Option in the same currency, subject to and in accordance with the terms and
        conditions of this Agreement (but for greater certainty, LIBOR Loans and Letters of Credit
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        may not be converted into another Availment Option prior to the maturity thereof, except
        in the case of unexpired Letter of Credits by the return of the original thereof to the Issuing
        Bank for cancellation).

4.6     Interest and Fees

        4.6.1    In respect of Advances under the U.S. Operating Facility, the U.S. Borrower
        agrees to pay the following:

        (a)    interest on U.S. Dollar Prime Rate Loans in U.S. Dollars at the U.S. Prime Rate
               plus the Applicable Margin per annum, payable monthly in arrears on the last day
               of each and every month (provided, that if such day is not a Business Day, interest
               shall be payable on the next Business Day thereafter);

        (b)    interest on LIBOR Loans in U.S. Dollars at the U.S. Dollar LIBOR Rate plus the
               Applicable Margin per annum calculated on the basis of a year of 360 days, payable
               in the manner set out in Section 5.13.2;

        (c)    in respect of each Letter of Credit issued under the U.S. Operating Facility:

               (i)     to the Agent for the account of the U.S. Operating Lenders in respect of the
                       period from the date of issuance of such Letter of Credit to the date of expiry
                       of such Letter of Credit (including the first day but excluding the last day)
                       and divided by 360 days, a fee equal to the Applicable Margin in effect at
                       the time of issuance multiplied by the face amount of such Letter of Credit
                       multiplied by the number of days in such period and divided by 360 days,
                       payable on the date of issuance of such Letter of Credit; and

               (ii)    in respect of each Letter of Credit, in addition to the fees referred to in
                       Section 4.6.1(c), fees generally applicable to Letters of Credit from time to
                       time (such as issuance, drawing, registration, amendment, communication
                       and other processing and out of pocket fees) at the Issuing Bank’s usual
                       rates, payable to the Issuing Bank for its own account.

               Each fee referred to in this Section in respect of a Letter of Credit shall be paid in
               U.S. Dollars; and

        (d)    an unused commitment fee with respect to the unused portion of the U.S. Operating
               Facility calculated in U.S. Dollars on a daily basis as being the difference between
               (i) the U.S. Operating Facility Commitment and (ii) the Outstanding Advances
               under the U.S. Operating Facility, multiplied by the Applicable Margin and divided
               by 360 days which standby fee shall be payable quarterly in arrears on the last day
               of each Fiscal Quarter.

        4.6.2    With respect to any Availment Option under the U.S. Operating Facility,
        “Applicable Margin” means, in respect of any Fiscal Quarter, the percentage in the column
        relating to such Availment Option which corresponds to the Net Leverage Ratio as
        determined pursuant to Section 5.1.4.
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4.7     Letters of Credit

        4.7.1    Letters of Credit may be issued under the U.S. Operating Facility in U.S. Dollars
        (or such other currencies as may be agreed to by the Agent and by the applicable Issuing
        Bank); provided, that the Equivalent Amount expressed in U.S. Dollars of the aggregate
        face amount of all Letters of Credit outstanding under the U.S. Operating Facility at any
        time may not exceed U.S. $5,000,000. Each Letter of Credit shall have an expiry date not
        exceeding the earlier of (a) one year from the date of issuance thereof (subject to any
        customary auto-renewal terms contained in such Letter of Credit; provided, that such auto-
        renewal provisions do not provide for a renewal in the singular instance in excess of one
        year from the date of such renewal), and (b) five Business Days prior to the Facilities
        Maturity Date.

        4.7.2     Each request for the issuance of a Letter of Credit shall be delivered by the U.S.
        Borrower to the Issuing Bank (with a copy to the Agent) in accordance with the notice
        requirements set out in Section 5.4 herein, together with Issuing Bank’s customary form of
        application and indemnity agreement completed to its satisfaction and the proposed form
        of the Letter of Credit (which shall be satisfactory to the Issuing Bank) and such other
        certificates, documents and other papers and information as the Issuing Bank may
        reasonably request.

        4.7.3     On the date of issue, the Issuing Bank will complete and issue one or more Letters
        of Credit in favour of the beneficiary as specified by the U.S. Borrower in its Drawdown
        Request. No Letter of Credit shall require payment against a conforming draft to be made
        thereunder on the same Business Day upon which such draft is presented, if such
        presentation is made after 11:00 a.m. (New York time) on such Business Day. Prior to the
        issue date, the U.S. Borrower shall specify a precise description of the documents and the
        verbatim text of any certificate to be presented by the beneficiary prior to payment under
        the Letter of Credit. The Issuing Bank may require changes in any such documents or
        certificate, acting reasonably. In determining whether to pay under a Letter of Credit, the
        Issuing Bank shall be responsible only to determine that the documents and certificates
        required to be delivered under such Letter of Credit have been delivered and that they
        comply on their face with the requirements of such Letter of Credit.

        4.7.4     In the event of any request for a drawing under any Letter of Credit, the Issuing
        Bank may notify the U.S. Borrower (with a copy of the notice to the Agent) on or before
        the date on which it intends to honour such drawing. The U.S. Borrower (whether or not
        such notice is given) shall reimburse the Issuing Bank within one Business Day of demand
        by the Issuing Bank, an amount, in same day funds, equal to the amount of such drawing.
        The U.S. Borrower shall pay to the Issuing Bank interest on the amount of any such drawn
        Letter of Credit as if such drawn amount was a U.S. Dollar Prime Rate Loan from the date
        such Letter of Credit is drawn upon until such time as the U.S. Borrower reimburses the
        Issuing Bank for the drawn amount of such Letter of Credit. If the U.S. Borrower does not
        reimburse the Issuing Bank within such two Business Days, U.S. Operating Lenders shall,
        on the third Business Day following the date of such initial demand on the U.S. Borrower
        by the Issuing Bank, at the request of the Issuing Bank, provide its Proportionate Share of
        the amount drawn under any such Letter of Credit and the Agent shall apply the proceeds
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        thereof to the reimbursement of the Issuing Bank for the amount of such drawing. The U.S.
        Borrower shall pay to U.S. Operating Lenders interest on the amount of any such drawn
        Letter of Credit from the date the Issuing Bank requests payment from each of U.S.
        Operating Lenders in respect of such drawn Letter of Credit until such time as the U.S.
        Borrower reimburses the Issuing Bank and each of U.S. Operating Lenders for the drawn
        amount of such Letter of Credit which has been drawn upon as if such drawn amount was
        a U.S. Dollar Base Rate Loan. Each U.S. Operating Lender acknowledges and agrees that
        its obligation to acquire participations in each Letter of Credit issued by the Issuing Bank
        and its obligation to make the payments specified herein, and the right of the Issuing Bank
        to receive the same, in the manner specified herein, are absolute and unconditional and
        shall not be affected by any circumstance whatsoever, including the occurrence and
        continuance of a Default or Event of Default hereunder, and that each such payment shall
        be made without any offset, abatement, withholding or reduction whatsoever.

        4.7.5    The Issuing Bank shall notify each the Agent of the principal amount, the number,
        and the expiration date of each Letter of Credit and upon receipt of such information, the
        Agent shall notify each U.S. Operating Lender of the amount of such U.S. Operating
        Lender’s participation therein. The Issuing Bank shall review each draft and any
        accompanying documents presented under a Letter of Credit and shall notify the Agent of
        any such presentment and upon receipt of such information, the Agent shall notify each
        U.S. Operating Lender of such presentment.

        4.7.6    The Issuing Bank shall not be obligated to issue any Letter of Credit (i) in
        violation of any Applicable Law or policy of such Issuing Bank or any Lender or (ii) if any
        order, judgment or decree of any Governmental Authority or arbitrator shall by its terms
        purport to enjoin or restrain the Issuing Bank from issuing such Letter of Credit. The
        Issuing Bank shall not at any time be obligated to issue any Letter of Credit if such issuance
        would conflict with, or cause the Issuing Bank to exceed any limits imposed by, this
        Agreement or any applicable requirements of Applicable Law or any regulatory or internal
        limit.

                                       ARTICLE 5
                                   GENERAL CONDITIONS

5.1     Matters relating to Interest and Fees

        5.1.1    Unless otherwise indicated, Interest on any outstanding principal amount
        hereunder shall be calculated daily and shall be payable monthly in arrears on the last day
        of each and every month. If the last day of a month is not a Business Day, the Interest
        payment due on such day shall be made on the next Business Day, and Interest shall
        continue to accrue on the said principal amount and shall also be paid on such next Business
        Day. Interest shall accrue from and including the day upon which an Advance is made or
        is deemed to have been made, and ending on but excluding the day on which such Advance
        is repaid or satisfied. Any change in the Canadian Prime Rate shall cause an immediate
        adjustment of the interest rate applicable to Canadian Dollar Prime Rate Loans and
        Overdrafts in Canadian Dollars and any change in the U.S. Base Rate shall cause an
        immediate adjustment of the interest rate applicable to U.S. Dollar Base Rate Loans and
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  Overdrafts in U.S. Dollars, in each case without the necessity of any notice to any
  Borrower.

  5.1.2     Unless otherwise stated, in this Agreement if reference is made to a rate of
  Interest, fee or other amount “per annum” or a similar expression is used, such interest, fee
  or other amount shall be calculated on the basis of a year of 365 or 366 days (or 360 days
  in the case of Loans or Letters of Credit denominated in U.S. Dollars), as the case may be.
  If the amount of any Interest, fee or other amount is determined or expressed on the basis
  of a period of less than one year of 365 days or 366 days (or 360 days in the case of Loans
  denominated in U.S. Dollars), as the case may be, the equivalent yearly rate is equal to the
  rate so determined or expressed, divided by the number of days in the said period, and
  multiplied by the actual number of days in that calendar year.

  5.1.3    Notwithstanding any other provisions of this Agreement:

  (a)     the Borrowers and the Lenders intend to strictly comply with all Applicable Laws,
          including applicable usury laws (or the usury laws of any jurisdiction whose usury
          laws are deemed to apply to this Agreement and the other Credit Documents despite
          the intention and desire of the parties to apply the usury laws of the Province of
          Alberta and the federal laws applicable therein);

  (b)     in no event shall any Borrower or any other Person be obligated to pay, or any
          Lender have any right or privilege to reserve, receive or retain, (a) any interest in
          excess of the maximum amount of nonusurious interest permitted under the laws of
          the Province of Alberta the federal laws of Canada applicable therein, or the
          Applicable Laws of any other jurisdiction, or (b) total interest in excess of the
          amount which such Lender could lawfully have contracted for, reserved, received,
          retained or charged had the interest been calculated for the full term of the
          applicable Loan; and

  (c)     if the amount of any interest, premium, fees or other monies or any rate of interest
          stipulated for, taken, reserved or extracted under the Credit Documents would
          otherwise contravene the provisions of Section 347 of the Criminal Code (Canada),
          Section 8 of the Interest Act (Canada) or any successor or similar legislation
          (including any usury law in the U.S.), or would exceed the amounts which any
          Lender is legally entitled to charge and receive under any law to which such
          compensation is subject, then such amount or rate of interest shall be reduced to
          such maximum amount as would not contravene such provision; and to the extent
          that any excess has been charged or received such Lender shall apply such excess
          against the Outstanding Advances and refund any further excess amount to the
          applicable Borrower.

  As used in this Section 5.1.3, the term “interest” includes the aggregate of all charges, fees,
  benefits or other compensation which constitute interest under Applicable Law; provided,
  that, to the maximum extent permitted by Applicable Law, (a) any non-principal payment
  shall be characterized as an expense or as compensation for something other than the use,
  forbearance or detention of money and not as interest, and (b) all interest at any time
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  contracted for, reserved, charged or received shall be amortized, prorated, allocated and
  spread, using the actuarial method, during the full term of the Facilities. The daily interest
  rates to be used in calculating interest for the purposes of this Section 5.1.3 shall be
  determined by dividing the applicable interest rate per annum by the number of days in the
  calendar year for which such calculation is being made. None of the terms and provisions
  contained in this Agreement or in any other Credit Document which directly or indirectly
  relate to interest shall ever be construed without reference to this Section 5.1.3, or be
  construed to create a contract to pay for the use, forbearance or detention of money at any
  interest rate in excess of the amounts permitted under any Applicable Law.

  The provisions of this Section shall govern and control over every other provision of this
  Agreement or any other Credit Document which conflicts or is inconsistent with this
  Section 5.1.3.

  5.1.4     Any change in the Applicable Margin in respect of any Availment Option under
  a Facility shall be determined in accordance with this Section. For purposes of this Section,
  the term “Pricing Date” means, for any Fiscal Quarter of the Canadian Borrower ending
  on or after the Amendment and Restatement Date, the date on which the Agent is in receipt
  of the financial statements and Compliance Certificate pursuant to Section 7.4.1(b) or
  Section 7.4.1(d), as applicable, for such Fiscal Quarter. The Applicable Margin shall be
  established on a Pricing Date based on the Net Leverage Ratio as of the end of the most
  recently completed Fiscal Quarter and the Applicable Margin established on a Pricing Date
  shall remain in effect until the next Pricing Date. If the financial statements and
  Compliance Certificate are delivered before 10:00 a.m. Toronto time on a specific Business
  Day (the “Specific Business Day”) then pricing will be adjusted starting on the Specific
  Business Day. If the financial statements and Compliance Certificate are received after
  10:00 a.m. Toronto time on the Specific Business Day then any pricing adjustment will be
  effective on the next Business Day. If the Canadian Borrower has not delivered its financial
  statements and Compliance Certificate by the date such financial statements and
  Compliance Certificate are required to be delivered pursuant to Section 7.4.1(b) or
  Section 7.4.1(d), as applicable, then until such financial statements and Compliance
  Certificate are delivered, the Applicable Margin shall be based on Level VI. The
  Applicable Margin established by such financial statements shall be in effect from the
  Pricing Date that occurs immediately after the end of the Fiscal Quarter covered by such
  financial statements until the next Pricing Date; provided, that no changes will be made in
  respect of any Bankers’ Acceptances or BA Equivalent Loans which are outstanding on
  the effective date, until the Rollover thereof and fees paid on the issuance or renewal of a
  Letter of Credit will not change during the term of a Letter of Credit as a result of a change
  in the Net Leverage Ratio.

  5.1.5    The determination of the Applicable Margin by the Agent shall be conclusive and
  binding on the Borrowers and the Lenders if reasonably determined, absent manifest error.

  5.1.6     Effective upon the occurrence of an Event of Default (the “effective date”), the
  interest rates then applicable to all Availment Options will each increase by 200 basis
  points and such increase will remain in effect for as long as such Event of Default subsists.
  An increase in interest rates and fees as aforesaid arising from an Event of Default shall
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        apply to all outstanding Advances under the Facilities and will on the effective date apply
        proportionately to each outstanding Advance during the continuance of such Event of
        Default. The Borrowers will pay to the Agent on behalf of the Lenders any resulting
        increase in stamping fees and Letter of Credit fees on or prior to the third Business Day
        following the effective date. In addition to the conditions set forth above, the Lenders’
        obligation to provide any Advances under any Facility, other than Rollovers or
        Conversions of then maturing Advances (in each case not to exceed a 30 day term), will be
        suspended for as long as there exists an Event of Default.

        5.1.7    If the Canadian Borrower has delivered a Compliance Certificate that is
        subsequently found to be inaccurate in any way as a result of the Canadian Borrower’s
        financial results having to be restated or if the Canadian Borrower’s financial results were
        inaccurately reflected in the original financial results on which such Compliance Certificate
        was based or for any other reason and the result thereof is that the Net Leverage Ratio was
        originally reported as lower (and the corresponding Level in the Applicable Margin table
        was lower) than it otherwise would have been in the absence of such inaccuracy or prior to
        such restatement, then the Borrowers will, immediately upon the correction of such
        inaccuracy or upon such restatement, pay to the Agent for the benefit of the applicable
        Lenders an amount equal to the interest, Letter of Credit fees, stamping fees in respect of
        Bankers’ Acceptances and standby fees that the Lenders should have received, but did not
        receive, over the applicable period had the Net Leverage Ratio, and the underlying
        components thereof, been reported correctly in the first instance.

5.2     Voluntary Prepayments

       Subject to Section 5.15, the Borrowers may from time to time, without payment of any
penalty or fee, upon at least two Business Days’ prior written notice to the Agent make a
prepayment in respect of any Outstanding Advances under any of the Facilities. In the case of
Term Facility, the Term Facility Commitment shall be automatically and permanently reduced by
the amount of any such prepayment. Notwithstanding the foregoing, Bankers’ Acceptances,
BA Equivalent Loans and LIBOR Loans may not be repaid prior to the maturity thereof (except
in accordance with Sections 5.11 and 5.14, as applicable) and unexpired Letter of Credits may not
be prepaid prior to the maturity thereof (except by the return of the original thereof to the Issuing
Bank or Swingline Lender, as applicable, for cancellation or by the collateralization thereof in the
manner set forth in Section 5.16(f)). Prepayments under the Facilities other than under the
Swingline shall be in a minimum principal amount of U.S. $500,000 and integral multiples of
U.S. $100,000 in excess thereof and shall be applied as directed by the Borrowers to the remaining
payments thereof. Any prepayments under the Term Facility shall be made in inverse order of
maturity.

5.3     Mandatory Prepayments

        5.3.1    If any Credit Party receives cash proceeds, or net cash proceeds in the case of
        clauses (a), (b) and (c) below, from:
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  (a)    a transaction after the Amendment and Restatement Date involving the creation or
         incurrence of any Funded Debt (other than Permitted Funded Debt), and
         notwithstanding any Default or Event of Default that results therefrom;

  (b)    transactions involving the sale, lease or other disposition of any assets (other than
         transactions described in clauses (a) through (d) inclusive and (f) through (j)
         inclusive of Section 7.2.4), except where such proceeds are reinvested in the
         business of any Credit Party within the applicable time period permitted in
         accordance with Section 5.3.2 (the “Sales Proceeds”); or

  (c)    property, casualty or other insurance proceeds received by any Credit Party, except
         where such proceeds are reinvested in the business of any Credit Party within the
         applicable time period permitted in accordance with Section 5.3.2 (the “Insurance
         Proceeds”); and/or

  (d)    Specified Equity Contribution (other than the Specified Equity Contribution
         deemed to be made on the Second Amendment Date);

  then, subject to Sections 5.3.2 and 8.6, the Borrowers shall make a Repayment on account
  of the Outstanding Advances in an amount equal to 100% of such proceeds, or net cash
  proceeds in the case of clauses (a), (b) and (c) above, within three Business Days (i) after
  such proceeds are received by the applicable Credit Party in the case of clauses (a) and (d)
  above, (ii) within three Business Days of the expiry of the applicable reinvestment period
  set out in Section 5.3.2 after such proceeds are received by the applicable Credit Party in
  the case of clause (b) above and within three Business Days of the expiry of the insurance
  proceeds reinvestment period described in Section 5.3.2(a) after such proceeds are received
  by the applicable Credit Party in the case of clause (c) above. As used herein, “net cash
  proceeds” in respect of any such transaction means the gross amount payable to the
  applicable Credit Party in cash in respect of such transaction less (i) any sales commissions,
  selling expenses, brokers’ fees, consulting fees, legal fees, other costs and expenses of the
  transaction actually incurred, investment banking fees, accountants’ fees, consulting fees,
  underwriting discounts and commissions and other customary fees and expenses actually
  incurred, (ii) amounts required to be applied to the repayments of Funded Debt, (including
  the principal amount, premium or penalty, if any, interest and other amounts required to be
  applied to the repayment of any Funded Debt secured by a Lien (including because the
  asset sold is removed from a borrowing base supporting such Funded Debt)), (iii) taxes
  payable in connection with the transaction, (iv) usual and reasonable adjustments in
  connection with the transaction and, including the amount of any liability paid or to be paid
  or reasonable reserve established in accordance with GAAP against any liabilities
  associated with the assets that are the subject of such event and retained by the Canadian
  Borrower or any of its Subsidiaries, and (v) any other amount specifically approved by the
  Agent in writing.

  5.3.2    The Sales Proceeds or Insurance Proceeds, as applicable, need not be used by the
  Credit Parties to make a repayment under Section 5.3.1 and may be used by a Credit Party
  to purchase assets of the general type then used in the operation of an Eligible Line of
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  Business, or, provided no Default (unless such repayment would cure any such Default) or
  Event of Default exists at such time, in the case of:

  (a)    Insurance Proceeds (i) of insured claims that do not exceed in the aggregate in any
         one Fiscal Year $7,500,000 or (ii) are used to repair or replace the property in
         respect of which such Insurance Proceeds were received, if such purchase, repair
         or replacement occurs within twelve (12) months of the receipt of such proceeds,
         subject to an extension of up to a further six (6) months to complete such
         reinvestment; provided, that the Credit Party is contractually bound to such
         reinvestment prior to the expiry of the initial twelve (12) months period; or

  (b)    Sales Proceeds (i) arising from any single transaction or series of related
         transactions that do not exceed in the aggregate in any one Fiscal Year $3,000,000
         or (ii) are used or useful by a Credit Party to purchase assets of the general type
         then used in the operation of an Eligible Line of Business, within nine (9) months
         of the receipt of such proceeds, subject to an extension of up to a further three
         (3) months to complete such reinvestment; provided, that the Credit Party is
         contractually bound to such reinvestment prior to the expiry of the initial nine (9)
         period.

  In connection with the foregoing, the Agent and the Lenders may rely upon and assume
  the correctness of all asset values and other statements contained in any certificate provided
  by an officer of the Canadian Borrower confirming the value of the relevant assets.

  5.3.3    Repayments under this Section 5.3 are to be applied first to Outstanding Advances
  under the Term Facility until they have been fully repaid, and then to Outstanding
  Advances under the Operating Facilities, as directed by the Canadian Borrower, or failing
  such direction, pro rata between the Operating Facilities. Repayments under the Facilities
  under this Section 5.3 shall be applied in inverse order of maturity and will be made
  pro rata to each Lender under the applicable Facility.

  5.3.4     If as a result of currency rate fluctuation, the Outstanding Advances under the
  Canadian Operating Facility exceeds the Canadian Operating Facility Limit by at least 3%
  thereof (in each case, a “Currency Excess”), the Borrowers will, by the earlier of (a) five
  (5) Business Days after a written request from the Agent, and (b) the next date of a Rollover
  or Conversion, pay the applicable Currency Excess to the Agent as a Repayment for the
  benefit of the Canadian Operating Lenders to be shared on the basis of each applicable
  Lender’s Proportionate Share under the Canadian Operating Facility. If to pay a Currency
  Excess it is necessary to repay an Advance made by way of Bankers’ Acceptance or a
  LIBOR Loan prior to the maturity date thereof, the Borrowers will not be required to repay
  such Advances until the maturity date applicable thereto; provided, however, that at the
  request of the Agent, the Borrowers will forthwith pay the Currency Excess to the Agent
  for deposit into a cash collateral account maintained by and in the name of the Agent for
  the benefit of the Canadian Operating Lenders. The Currency Excess will be held by the
  Agent for set off against future obligations owing by the Borrowers to the Canadian
  Operating Lenders in respect of such Currency Excess, if any, and, pending such
  application, such amounts will bear interest for the Borrowers’ account at the rate payable
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        by the Agent in respect of deposits of similar amounts and for similar periods of time. The
        Agent shall have exclusive control over all amounts at any time on deposit in such cash
        collateral account. The deposit of the Currency Excess by the Borrowers with the Agent as
        herein provided will not operate as a Repayment under the Canadian Operating Facility
        until such time as the Currency Excess is actually paid to the Canadian Operating Lenders
        as a Repayment. If the Borrowers are required to provide a deposit under this Section 5.3.4
        as a result of the Currency Excess with respect to an unmatured Bankers’ Acceptance or a
        LIBOR Loan, and such Currency Excess (or any portion thereof) is no longer in effect on
        the maturity date of such Bankers’ Acceptance or LIBOR Loan, such deposit (or the
        applicable portion thereof) shall be returned to the Borrowers within three Business Days
        after the maturity date of such Bankers’ Acceptance or LIBOR Loan.

        5.3.5     If the aggregate Outstanding Advances under the Facilities, is at any time greater
        than the then applicable Borrowing Base (the amount of such excess being a “Borrowing
        Base Shortfall”), one or all of the Borrowers shall within three (3) Business Days repay
        such portion of the Outstanding Advances under the Operating Facilities to the Agent for
        the Canadian Operating Lenders as is required to eliminate such Borrowing Base Shortfall.
        The Agent will apply such payments (a) against the Term Facility and (b) thereafter,
        pro rata amongst the Canadian Operating Facility and the U.S. Operating Facility and in
        the following order: (i) first against Canadian Dollar Prime Rate Loans, U.S. Dollar Base
        Rate Loans, U.S. Dollar Prime Rate Loans, (ii) second to collateralize Bankers’
        Acceptances as provided in Section 5.11, (iii) third to repay LIBOR Loans, subject to
        Section 5.14, and (iv) fourth to collateralize Letters of Credit as provided in
        Section 5.16(f), until any such Borrowing Base Shortfall has been eliminated. If the
        Borrowers are required to provide cash collateral under this Section 5.3.5 as a result of a
        Borrowing Base Shortfall, such amount shall be returned to the Borrowers within three (3)
        Business Days after such Borrowing Base Shortfall is no longer continuing.

        5.3.6     If any Credit Party receives net cash proceeds from any Anchor Sale and
        Leaseback Transaction, then the Borrowers shall make a Repayment on account of the
        Outstanding Advances under the Operating Facilities in an amount equal to 100% of such
        net cash proceeds within five Business Days after such proceeds are received by the
        applicable Credit Party. As used herein, “net cash proceeds” has the same meaning ascribed
        thereto in Section 5.3.1. Repayments under this Section 5.3.6 are to be applied to
        Outstanding Advances under the Operating Facilities on a pro rata basis. Repayments under
        this Section 5.3.6 shall not result in a permanent reduction of any Operating Facility.

5.4     Notice Periods

        5.4.1   The Borrowers shall provide written notice to the Agent in respect of Advances,
        Rollovers, Conversions and Repayments to the extent set out below:

        (a)    no notice is required for Advances and Repayments in respect of Overdrafts under
               the Swingline;

        (b)    notice is required for each voluntary Repayment under any Facility in accordance
               with Section 5.2;
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        (c)    except as provided in clauses (a) and (b) above, but subject to (d), (e) and (f) below,
               one Business Days’ notice is required before 10:00 a.m. Toronto time in respect of
               any Advance, Rollover, Conversion or voluntary Repayment in Canadian Dollars
               or in U.S. Dollars;

        (d)    notwithstanding the foregoing, if an Advance, Rollover, Conversion or voluntary
               Repayment relates to a Bankers’ Acceptance or BA Equivalent Loan, two Business
               Days’ notice is required before 10:00 a.m. Toronto time;

        (e)    notwithstanding the foregoing, if an Advance, Rollover, Conversion or voluntary
               Repayment relates to a LIBOR Loan, three Business Days’ notice is required before
               10:00 a.m. Toronto time; and

        (f)    notwithstanding the foregoing, if an Advance relates to the issuance of a Letter of
               Credit, (i) if issued to a beneficiary located in Canada or the U.S., three Business
               Days’ notice is required before 10:00 a.m. Toronto time and (ii) if issued to a
               beneficiary located outside of Canada or the U.S., five (5) Business Days’ notice is
               required before 10:00 a.m. Toronto time.

        5.4.2    Notice of any Advance, Rollover, Conversion or voluntary Repayment referred
        to in Section 5.4.1 above shall be given in the form of a Drawdown Request, Rollover
        Notice, Conversion Notice or Repayment Notice, as the case may be, attached hereto as
        Exhibits, and shall be given to the Agent at its address set out in Section 13.11.

        5.4.3   If notice is not provided as contemplated herein with respect to the maturity of
        any Bankers’ Acceptance, BA Equivalent Loan and LIBOR Loan the Agent may convert
        such Bankers’ Acceptance, BA Equivalent Loan or LIBOR Loan upon its maturity into a
        Canadian Dollar Prime Rate Loan or a U.S. Dollar Base Rate Loan, as applicable.

        5.4.4     Any Conversion from one form of Availment Option to another shall be subject
        to satisfaction of all terms and conditions applicable to the form of the new Availment
        Option.

5.5     Minimum Amounts, Multiples and Procedures re Advances, Conversions and
        Repayments

        5.5.1    Each request by a Borrower for an Advance or Conversion in the form of a
        Canadian Dollar Prime Rate Loan shall be in a minimum amount of Cdn. $500,000 and
        multiples of Cdn. $100,000 thereafter.

        5.5.2   Each request of a Borrower for an Advance or Conversion in the form of a U.S.
        Dollar Base Rate Loan shall be in a minimum amount of U.S. $500,000 and multiples of
        U.S. $100,000 thereafter.

        5.5.3   Each request by a Borrower for an Advance or Conversion in the form of a
        Bankers’ Acceptance or BA Equivalent Loan shall be in a minimum amount of Cdn.
        $500,000 and multiples of Cdn. $100,000 thereafter.
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        5.5.4   Each request by a Borrower for an Advance or Conversion in the form of a LIBOR
        Loan in U.S. Dollars shall be in a minimum amount of U.S. $500,000 and in a multiple of
        U.S. $100,000 thereafter.

        5.5.5    Conversions or Rollovers under the Term Facility can be in such lesser amounts
        as are necessary to give effect to the principal repayments under the Term Facility required
        pursuant to Sections 3.4, 5.3.1 and 5.3.2.

        5.5.6    Upon receipt of a Drawdown Request under any Facility, the Agent shall promptly
        notify each Lender under such Facility of the contents thereof and such Lender’s
        Proportionate Share of the Advance. Such Drawdown Request shall not thereafter be
        revocable.

        5.5.7     Each Advance shall be made by the applicable Lenders to the Agent at its address
        referred to in Section 13.11 or such other address as the Agent may designate by notice in
        writing to the Lenders from time to time. Each Lender shall make available its
        Proportionate Share of each said Advance to the Agent. Unless the Agent determines that
        any condition of the Advance has not been satisfied or waived, the Agent shall make the
        funds so received from the Lenders available to the applicable Borrower by 2:00 p.m.
        (Toronto time) on the requested date of the Advance. No Lender shall be responsible for
        any other Lender’s obligation to make available its Proportionate Share of the said
        Advance.

        5.5.8    Each Borrower agrees to deliver to the Agent in favour of any requesting Lender
        such other agreements and documentation as such Lender may reasonably require (not
        inconsistent with this Agreement and upon at least two (2) Business Days’ prior written
        notice) in respect of such Lender’s requirements for the acceptance of Bankers’
        Acceptances or the issuance of BA Equivalent Loans.

        5.5.9     All payments of principal, interest and other amounts made by the Credit Parties
        to the Agent in respect of the Outstanding Advances under a Facility shall be paid by the
        Agent to the Lenders in accordance with their respective Proportionate Shares of the
        Outstanding Advances under such Facility. For greater certainty, however, (a) stamping
        fees in respect of Bankers’ Acceptances and BA Equivalent Loans shall be received and
        retained by the respective Lenders which issued or accepted such Bankers’ Acceptances
        and BA Equivalent Loans and (b) in the event that any payments of principal, interest and
        other amounts made by the Credit Parties to the Agent instead of to the Swingline Lender
        in respect of the Outstanding Advances under the Swingline, any such payments shall be
        paid by the Agent to the Swingline Lender.

5.6     Place of Advances and Repayments

        5.6.1    Advances by any Lender to a Borrower shall be made by such Lender to the Agent
        from such Lender’s applicable Lending Office. All payments of principal, interest and
        other amounts to be made by the Borrowers and the other Credit Parties pursuant to this
        Agreement shall be made to the Agent at its address noted in Section 13.11 or to such other
        address at a major city in Canada as the Agent may direct in writing from time to time. All
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        such payments received by the Agent on a Business Day before 2:00 p.m. (Toronto time)
        shall be treated as having been received by the Agent on that day; payments made after
        such time on a Business Day shall be treated as having been received by the Agent on the
        next Business Day.

        5.6.2    Whenever any payment or the performance of any covenant, duty or other
        obligation shall be due on (or required within a time period ending on) a day which is not
        a Business Day, the date for payment or performance thereof shall be extended to the next
        succeeding Business Day. Interest shall continue to accrue and be payable thereon as
        provided herein, until the date on which such payment is received by the Agent.

5.7     Evidence of Obligations (Noteless Advances)

        The Agent shall open and maintain, in accordance with its usual practice, accounts
evidencing the Obligations; and the information entered in such accounts shall constitute
conclusive evidence of the Obligations absent manifest error. The Agent may, but shall not be
obliged to, request the Borrowers to execute and deliver from time to time such promissory notes
as may be required as additional evidence of the Obligations; provided, that no promissory notes
shall be required in respect of any Hedging Agreements or Banking Services Agreements.

5.8     Determination of Equivalent Amounts

        Whenever it is necessary or desirable at any time to determine the Equivalent Amount in
Canadian Dollars of an amount expressed in U.S. Dollars, or vice-versa (specifically including the
determination of the Equivalent Amount in Canadian Dollars of an Advance made in U.S. Dollars
(as applicable), the determination of each Lender’s Proportionate Share of any Repayment on any
date, and the determination of whether the Outstanding Advances under any Facility exceed the
limit applicable to such Facility at any time), the Equivalent Amount shall be determined by
reference to the Exchange Rate on the date of such determination. Notwithstanding the foregoing,
however, for the purposes of determining any Letter of Credit fees under the Canadian Operating
Facility or the standby fees applicable to the Canadian Operating Facility, the Agent shall make
such determination based upon the Bank of Canada noon spot rate on the first Business Day of
each quarter for such quarter as the case may be.

        If any basket used hereunder is exceeded solely as a result of fluctuations in applicable
currency exchange rates after the last time such basket was utilized, such basket will not be deemed
to have been exceeded solely as a result of such fluctuations in currency exchange rates. For
purposes of determining the Net Leverage Ratio, amounts denominated in a currency other than
U.S. Dollars will be converted to U.S. Dollars for the purposes of (A) testing the financial covenant
under Section 7.3.1(a), at the Exchange Rate as of the last day of the Fiscal Quarter for which such
measurement is being made, and (B) calculating any Net Leverage Ratio (other than for the
purposes of determining compliance with Section 7.3.1(a)), at the Exchange Rate as of the date of
calculation, and will, in the case of Funded Debt, reflect the currency translation effects,
determined in accordance with GAAP, of Hedging Agreements permitted hereunder for currency
exchange risks with respect to the applicable currency in effect on the date of determination of the
Equivalent Amount in U.S. Dollars of such Funded Debt.
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5.9      Commitment to Purchase Bankers’ Acceptances and BA Equivalent Loans

         5.9.1    Each BA Lender which is a bank listed in Schedule I of the Bank Act (Canada)
         agrees to purchase those Bankers’ Acceptances which it has accepted, at a discount from
         the face amount thereof calculated at the CDOR Rate for the relevant period in effect on
         the issuance date thereof.

         5.9.2    Each BA Lender which is a bank listed in Schedule II or Schedule III of the Bank
         Act (Canada) agrees to purchase those Bankers’ Acceptances which it has accepted, at a
         discount from the face amount thereof calculated using a rate not in excess of the CDOR
         Rate for the relevant period in effect on the issuance date thereof plus up to one-tenth of
         one percent (0.10%).

         5.9.3    Each Non-BA Lender agrees to purchase BA Equivalent Loans issued by it
         hereunder at a discount from the face amount thereof calculated using a rate not in excess
         of the CDOR Rate plus up to one tenth of one percent (0.10%) for the relevant period in
         effect on the issuance date thereof.

         5.9.4     The discount applicable to each Bankers’ Acceptances and BA Equivalent Loan
         shall be determined on the basis of a year of 365 days.

5.10     Special Provisions Regarding Bankers’ Acceptances

      The following provisions are applicable to Bankers’ Acceptances issued by the Canadian
Borrower and accepted by any BA Lender hereunder.

         5.10.1 Payment of Bankers’ Acceptances. The Canadian Borrower agrees to provide for
         each Bankers’ Acceptance by payment of the face amount thereof to the Agent on behalf
         of the BA Lender on the maturity of the Bankers’ Acceptance or, prior to such maturity,
         on the Acceleration Date; and the Agent shall remit the said amount to such BA Lender
         and such BA Lender shall in turn remit such amount to the holder of the Bankers’
         Acceptance. If the Canadian Borrower fails to provide for the payment of the Bankers’
         Acceptance accordingly, any amount not so paid shall be immediately payable by the
         Canadian Borrower to the Agent on behalf of the BA Lender together with interest on such
         amount calculated daily and payable monthly at the rate and in the manner applicable to
         Canadian Dollar Prime Rate Loans under the Facility under which such Bankers’
         Acceptance was issued. The Canadian Borrower agrees not to claim any days of grace for
         the payment at maturity of any Bankers’ Acceptance and agrees to indemnify and save
         harmless the BA Lender in connection with all payments made by the BA Lender (or by
         the Agent on its behalf) pursuant to Bankers’ Acceptances accepted by the BA Lender,
         together with all reasonable costs and expenses incurred by the BA Lender in this regard.
         The Canadian Borrower hereby waives any defences to payment which might otherwise
         exist if for any reason a Bankers’ Acceptance is held by the BA Lender for its own account
         at maturity.

         5.10.2 Availability of Bankers’ Acceptances. If at any time and from time to time the
         Agent determines, acting reasonably, that there no longer exists a market for Bankers’
         Acceptances for the term requested by the Canadian Borrower, or at all, or if any BA
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  Lenders representing no less than 35% of the Commitments advise the Agent in writing
  that the CDOR Rate will not or does not accurately reflect the cost of funds of such BA
  Lender, the Agent shall so advise the Canadian Borrower, and in such event the
  BA Lenders shall not be obliged to accept and the Canadian Borrower shall not be entitled
  to issue Bankers’ Acceptances. If such notice is given and there is any outstanding
  Drawdown Request, Rollover Notice or Conversion Notice requesting an Advance by way
  of, or a Rollover or Conversion into, a Bankers’ Acceptance at such a time, then such
  request will be deemed to be a request for, or a Rollover or Conversion into, a Canadian
  Dollar Prime Rate Loan.

  5.10.3 Power of Attorney. The Canadian Borrower hereby appoints each BA Lender as
  its true and lawful attorney to complete and issue Bankers’ Acceptances on behalf of the
  Canadian Borrower in accordance with written (including facsimile) transmitted
  instructions provided by the Canadian Borrower to the Agent on behalf of such BA Lender,
  and the Canadian Borrower hereby ratifies all lawful acts that its said attorney may do by
  virtue thereof. The Canadian Borrower agrees to indemnify and hold harmless the Agent
  and the BA Lenders and their respective directors, officers and employees from and against
  any charges, complaints, costs, damages, expenses, losses or liabilities of any kind or
  nature which they may incur, sustain or suffer, arising from or by reason of acting, or failing
  to act, as the case may be, in reliance upon this power of attorney, except to the extent
  caused by the gross negligence or willful misconduct of the Agent or the BA Lender or
  their respective directors, officers and employees. The Canadian Borrower hereby agrees
  that each Bankers’ Acceptance completed and issued and accepted in accordance with this
  Section by a BA Lender on behalf of the Canadian Borrower is a valid, binding and
  negotiable instrument of the Canadian Borrower as drawer and endorser. The Canadian
  Borrower agrees that each BA Lender’s accounts and records will constitute prima facie
  evidence of the execution and delivery by the Canadian Borrower of Bankers’
  Acceptances. This power of attorney is coupled with an interest and shall continue in force
  until written notice of revocation with respect to any BA Lender has been served upon the
  Agent by the Canadian Borrower at the Agent’s address set out in Section 13.11.

  5.10.4 Repayment Prior to Maturity. The Canadian Borrower acknowledges that
  Advances made by a Lender by way of Bankers’ Acceptances and BA Equivalent Loans
  may not be repaid prior to the maturity thereof. If any Bankers’ Acceptance or BA
  Equivalent Loan is repaid prior to the scheduled maturity date hereof (whether as a result
  of Section 2.3 or Section 10.2 or otherwise), the Canadian Borrower will forthwith pay to
  the Agent for deposit into an escrow account maintained by and in the name of the Agent
  for the benefit of the applicable Lenders the principal amount of such Bankers’ Acceptance
  or BA Equivalent Loan and the Agent will in its discretion invest any funds in respect of
  such purported repayment in a term deposit maturing on the scheduled maturity date of the
  Bankers’ Acceptance or BA Equivalent Loan. Any interest accruing on the term deposit
  will be paid to the Canadian Borrower on the maturity date thereof; provided, that no Event
  of Default has occurred and is continuing.

  5.10.5 Depository Bills. It is the intention of the Parties that pursuant to the Depository
  Bills and Notes Act (Canada) (“DBNA”), all Bankers’ Acceptances accepted by the
  Lenders under this Agreement will be issued in the form of a “depository bill” (as defined
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         in the DBNA), deposited with a “clearing house” (as defined in the DBNA), including The
         Canadian Depository for Securities Limited or its nominee CDS Clearing and Depository
         Services Inc. (“CDS”). In order to give effect to the foregoing, the Agent will, subject to
         the approval of the Canadian Borrower and the Lenders, establish and notify the Canadian
         Borrower and the Lenders of any additional procedures, consistent with the terms of this
         Agreement, as are reasonably necessary to accomplish such intention, including:

         (a)    any instrument held by the Agent for purposes of Bankers’ Acceptances will have
                marked prominently and legibly on its face and within its text, at or before the time
                of issue, the words “This is a depository bill subject to the Depository Bills and
                Notes Act (Canada)”;

         (b)    any reference to the authentication of the Bankers’ Acceptance will be removed;
                and

         (c)    any reference to the “bearer” will be removed and such Bankers’ Acceptances will
                not be marked with any words prohibiting negotiation, transfer or assignment of it
                or of an interest in it.

         5.10.6 Rounding. In the case of an issue of Bankers’ Acceptances, the Agent will round
         allocations amongst the Lenders to ensure that each Bankers’ Acceptance issued has a face
         amount which is a whole number multiple of $100,000 (and such rounded allocations shall
         constitute the Lenders’ respective Proportionate Share for the purposes of this Agreement).

5.11     Escrowed Funds

        Upon the request of the Agent after the occurrence and during the continuance of an Event
of Default on the cancellation of this Agreement, or if any Outstanding Advances by way of
Bankers’ Acceptances are required to be prepaid hereunder prior to their maturity, the Canadian
Borrower will forthwith pay to the Agent for deposit into an escrow account maintained by and in
the name of the Agent for the benefit of the applicable Lenders, an amount equal to the Lenders’
maximum potential liability under then outstanding Bankers’ Acceptances. Such escrowed funds
will be held by the Agent for set-off against future Obligations owing by the Canadian Borrower
to the applicable Lenders in respect of such Bankers’ Acceptances and pending such application
may be invested in accordance with Section 5.10.4. In the case such Event of Default is either
waived or cured in compliance with the terms of this Agreement, then the remaining escrow funds
if any, together with any accrued interest to the date of release, will be released to the Canadian
Borrower. The deposit of such escrow funds by the Canadian Borrower with the Agent as herein
provided, will not operate as a repayment of the Outstanding Advance under the applicable Facility
until such time as the escrow funds are actually paid to the applicable Lenders as a Repayment on
the applicable maturity date thereof.

5.12     Special Provisions regarding BA Equivalent Loans

       Each Non-BA Lender will not accept Bankers’ Acceptances hereunder, and shall instead
from time to time make BA Equivalent Loans to the Canadian Borrower. The amount of each
BA Equivalent Loan will be equal to the discount proceeds (based on the discount rate set forth in
Section 5.9.3 and subject to Section 5.10.6) which would be realized from a hypothetical sale of
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the corresponding Bankers’ Acceptance on the basis the Lenders purchased such Bankers’
Acceptance and the maturity date of each such BA Equivalent Loan will be the same as the
maturity date of the corresponding Bankers’ Acceptance. Upon the reasonable request of a Non-
BA Lender, each BA Equivalent Loan may be evidenced by a non-interest bearing promissory
note payable by the Canadian Borrower to the Non-BA Lender in a form acceptable to each such
party, acting reasonably. Any such BA Equivalent Loan shall be negotiable by the Non-BA Lender
without notice to or the consent of the Canadian Borrower, and the holder thereof shall be entitled
to enforce such BA Equivalent Loan against the Canadian Borrower free of any equities, defences
or rights of set-off that may exist between the Credit Parties and the Non-BA Lender. In this
Agreement, all references to a BA Equivalent Loan shall mean the loan evidenced thereby if
required by the context; and all references to the “issuance” of a BA Equivalent Loan by a
Non-BA Lender and similar expressions shall mean the making of a BA Equivalent Loan by the
Non-BA Lender which is evidenced by a BA Equivalent Loan as if applicable. The following
provisions are applicable to each BA Equivalent Loan made by a Non-BA Lender to the Canadian
Borrower hereunder:

         5.12.1 Payment of BA Equivalent Loans. The Canadian Borrower agrees to provide for
         each BA Equivalent Loan by payment of the face amount thereof to the Agent on behalf of
         the Non-BA Lender on the maturity of the BA Equivalent Loan or, prior to such maturity,
         on the Acceleration Date; and the Agent shall remit the said amount to such
         Non-BA Lender and such Non-BA Lender shall in turn remit such amount to the holder of
         the BA Equivalent Loan. If the Canadian Borrower fails to provide for the payment of the
         BA Equivalent Loan accordingly, any amount not so paid shall be immediately payable by
         the Canadian Borrower to the Agent on behalf of the Non-BA Lender together with interest
         on such amount calculated daily and payable monthly at the rate and in the manner
         applicable to Canadian Dollar Prime Rate Loans under the Facility under which such BA
         Equivalent Loan was made. The Canadian Borrower agrees not to claim any days of grace
         for the payment at maturity of any BA Equivalent Loan and agrees to indemnify and save
         harmless the Non-BA Lender in connection with all payments made by the
         Non-BA Lender (or by the Agent on its behalf) pursuant to BA Equivalent Loans accepted
         by the Non-BA Lender, together with all reasonable costs and expenses incurred by the
         Non-BA Lender in this regard. The Canadian Borrower hereby waives any defences to
         payment which might otherwise exist if for any reason a BA Equivalent Loan is held by
         the Non-BA Lender for its own account at maturity.

         5.12.2 Availability of BA Equivalent Loans. No Non-BA Lender shall have any
         obligation to issue BA Equivalent Loans during any period in which the BA Lenders’
         obligation to issue Bankers’ Acceptances is suspended pursuant to Section 5.10.2.

5.13     Special Provisions Regarding LIBOR Loans

      The following provisions are applicable to LIBOR Loans made by any Lender to the
Borrowers.

         5.13.1 Drawdown Procedures. Upon receipt by the Agent from a Borrower of a
         Drawdown Request, Conversion Notice or Rollover Notice in respect of a LIBOR Loan,
         the Agent will promptly advise such Borrower of the U.S. Dollar LIBOR Rate, such rate
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         to be determined as at approximately 11:00 a.m. London time, two LIBOR Business Days
         before the commencement of the LIBOR Period for such LIBOR Loan.

         5.13.2 Interest Payment Dates for LIBOR Loans. Interest in respect of any LIBOR Loan
         in U.S. Dollars shall be calculated on the basis of a year of 360 days. Interest in respect of
         any LIBOR Loan with a LIBOR Period of between one month and three months (inclusive)
         shall be payable at the time the principal amount of such LIBOR Loan is payable. Interest
         in respect of any LIBOR Loan with a LIBOR Period longer than three months shall be
         payable in arrears every three months commencing on the last day of the third month
         following the commencement of such LIBOR Period, and also at the time the principal
         amount of such LIBOR Loan is payable.

         5.13.3 Laws Applicable to LIBOR Loans. Each Borrower acknowledges that the ability
         of the Lenders to maintain or provide any LIBOR Loan and to charge interest on any
         LIBOR Loan at the U.S. Dollar LIBOR Rate is and will be subject to any statute, law,
         regulation, rule or direction by any Governmental Authority having jurisdiction which may
         prohibit or restrict or limit such loans or such interest. Each Borrower agrees that the
         Lenders shall have the right to comply with any such requirements and, if the Agent
         determines it to be necessary as a result of such requirement, the Agent may convert any
         LIBOR Loan to a U.S. Dollar Base Rate Loan or require immediate repayment of all
         LIBOR Loans, including accrued interest thereon and all applicable breakage costs
         pursuant to Section 5.15.

5.14     Breakage Costs

        The Borrowers may only Repay or Convert any LIBOR Loan prior to the scheduled
maturity date thereof, whether as a result of acceleration or for any other reason, if the Borrowers
agree to pay to the Agent upon demand all losses, damages, costs and expenses which such Lender
has incurred or may incur as a result of such Repayment or Conversion prior to the said scheduled
maturity date. The Agent shall provide the Borrowers with a written certificate showing in
reasonable detail the basis for such claim, which shall be deemed to be prima facie correct, in the
absence of manifest error.

5.15     Inability to Make LIBOR Loans

         If at any time and from time to time:

         (a)    the Agent (acting reasonably) determines that by reason of circumstances affecting
                the London Interbank Eurodollar Market, adequate and fair means do not exist for
                ascertaining the rate of interest with respect to, or deposits are not available in
                sufficient amounts in the ordinary course of business at the rate determined
                hereunder to fund, a requested LIBOR Loan during the ensuing LIBOR Period
                selected;

         (b)    the Agent (acting reasonably) determines that the making or continuing of the
                requested LIBOR Loan by the Lenders has been made impracticable by the
                occurrence of an event which materially adversely affects the London Interbank
                Eurodollar Market generally; or
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  (c)    the Agent is advised by Lenders representing no less than 35% of the Commitments
         that the U.S. Dollar LIBOR Rate will not or does not represent the effective cost to
         such Lender of U.S. Dollar deposits in such market for the relevant LIBOR Period,

  then the Agent shall give notice thereof to the Lenders and the Borrowers as soon as
  possible after such determination or receipt of such notice, as the case may be, and if such
  notice is given subsequent to the giving of a Drawdown Request or any Rollover Notice or
  Conversion Notice to the Agent by a Borrower with regard to any requested LIBOR Loan,
  such Borrower shall, within one Business Day after receipt of such notice and in
  replacement of the Drawdown Request, Rollover Notice or Conversion Notice, as the case
  may be, previously given by such Borrower, give the Agent a Drawdown Request or a
  Conversion Notice, as the case may be, which specifies the Advance of a U.S. Dollar Base
  Rate Loan or the Conversion of the relevant LIBOR Loan on the last day of the applicable
  LIBOR Period into a U.S. Dollar Base Rate Loan. In the event a Borrower fails to give, if
  applicable, a valid replacement Conversion Notice with respect to the maturing LIBOR
  Loans which were the subject of a Rollover Notice, such maturing LIBOR Loans shall be
  converted on the last day of the applicable LIBOR Period into U.S. Dollar Base Rate Loans
  under the applicable Facility as if a Conversion Notice had been given to the Agent by such
  Borrower pursuant to the provisions hereof. In the event a Borrower fails to give, if
  applicable, a valid replacement Drawdown Request with respect to an Advance originally
  requested by way of a LIBOR Loan, then such Borrower shall be deemed to have requested
  an Advance by way of a U.S. Dollar Base Rate Loan in the amount specified in the original
  Drawdown Request and, on the originally requested date of Advance, the applicable
  Lenders (subject to the other provisions hereof) shall make available the requested amount
  by way of a U.S. Dollar Base Rate Loan under the applicable Facility.

  If at any time the Agent determines (which determination shall be conclusive absent
  manifest error) that (i) the circumstances set forth in Section 5.15(b) have arisen and such
  circumstances are unlikely to be temporary or (ii) the circumstances set forth in Section
  5.15(b) have not arisen but the supervisor for the administrator of LIBOR Rate or a
  Governmental Authority having jurisdiction over the Agent has made a public statement
  identifying a specific date after which the LIBOR Rate shall no longer be used for
  determining interest rates for loans, then the Agent and the Borrowers shall negotiate in
  good faith to establish an alternate rate of interest to LIBOR Rate that gives due
  consideration to the then prevailing market convention for determining a rate of interest
  for LIBOR Loans made in Canada or in the United States at such time, and upon an
  agreement being reached, shall enter into an amendment to this Agreement to reflect such
  alternate rate of interest and such other related changes to this Agreement as may be
  applicable. Notwithstanding anything to the contrary herein, such amendment shall become
  effective without any further action or consent of any other party to this Agreement so long
  as the Agent shall not have received, within five (5) Business Days of the date notice of
  such alternate rate of interest is provided to the Lenders, a written notice from the Required
  Lenders stating that such Required Lenders object to such amendment. Provided that, if
  such alternate rate of interest shall be less than zero, such rate shall be deemed to be zero
  for the purposes of this Agreement.
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5.16     Special Provisions Regarding Letters of Credit

         The following additional provisions are applicable to Letters of Credit issued by hereunder:

         (a)    The obligation of a Borrower to reimburse any Issuing Bank for all drawings under
                Letters of Credit shall be absolute, unconditional and irrevocable and shall be
                satisfied strictly in accordance with their terms, irrespective of:

                (i)     any lack of validity or enforceability of any Letter of Credit;

                (ii)    the existence of any claim, setoff, defence or other right which such
                        Borrower or any other Person may at any time have against the beneficiary
                        under any Letter of Credit, such Issuing Bank, the Agent or any Lender
                        (other than the defence of payment in accordance with the terms of this
                        Agreement or a defence based on the gross negligence or willful misconduct
                        of such Issuing Bank as determined by a court of competent jurisdiction by
                        final and non-appealable judgment) or any other Person in accordance with
                        this Agreement or other transaction;

                (iii)   any draft or other document presented under any Letter of Credit proving to
                        be forged, fraudulent, invalid or insufficient in any respect or any statement
                        therein being untrue or inaccurate in any respect; and

                (iv)    any other circumstance or event whatsoever, whether or not similar to any
                        of the foregoing.

         (b)    In making any payment under any Letter of Credit (a) an Issuing Bank’s exclusive
                reliance on the documents presented to it under such Letter of Credit as to any and
                all matters set forth therein, including reliance on the amount of any draft presented
                under such Letter of Credit, whether or not the amount due to the beneficiary equals
                the amount of such draft and whether or not any document presented pursuant to
                such Letter of Credit proves to be insufficient in any respect, if such document on
                its face appears to be in order, and whether or not any other statement or any other
                document presented pursuant to such Letter of Credit proves to be forged or invalid
                or any statement therein proves to be inaccurate or untrue in any respect whatsoever
                and (b) any non-compliance in any immaterial respect of the documents presented
                under such Letter of Credit with the terms thereof shall, in each case, not be deemed
                willful misconduct or negligence of such Issuing Bank.

         (c)    Each Issuing Bank and its correspondents may accept and act upon the name,
                signature, or act of any party purporting to be the executor, administrator, receiver,
                trustee in bankruptcy or other legal representative of any party designated in any
                Letter of Credit in the place of the name, signature, or act of such party.

         (d)    In addition to amounts payable as elsewhere provided in this Section 5.16, each
                Borrower hereby agrees to protect, indemnify, pay and save each Issuing Bank and
                its respective directors, officers, employees, agents and representatives harmless
                from and against any and all claims, demands, liabilities, damages, losses, costs,
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        charges and expenses (including legal fees and expenses) which each such
        indemnitee may incur or be subject to as a consequence, direct or indirect, of:

        (i)     the issuance of any Letter of Credit, other than as a result of the breach of
                the standards of reasonable care where such Issuing Bank would not be
                entitled to the foregoing indemnification under the Uniform Customs or
                under ISP98, in each case as stated on its face to be applicable to such Letter
                of Credit;

        (ii)    the inability of an indemnitee to honour a drawing under any Letter of Credit
                as a result of any act or omission, whether rightful or wrongful, of any
                present or future de jure or de facto Governmental Authority; or

        (iii)   any of the matters listed in Section 5.16(e).

  (e)   As between a Borrower, on the one hand, and an Issuing Bank, on the other hand,
        such Borrower assumes all risks of the acts and omissions of, or misuse of the
        Letters of Credit issued at its request hereunder by, the respective beneficiaries of
        such Letters of Credit and, without limitation of the foregoing (but other than to the
        extent such Issuing Bank breaches the standards of reasonable care specified in the
        Uniform Customs and otherwise as may be required under ISP98, as applicable,
        where such Issuing Bank would not be entitled to indemnification under the
        Uniform Customs or under ISP98, in each case as stated on its face to be applicable
        to such Letter of Credit), such Issuing Bank shall not be responsible for:

        (i)     the form, validity, accuracy, genuineness or legal effect of any document
                submitted by any party in connection with the application for and issuance
                of such Letter of Credit, even if it should in fact prove to be in any or all
                respects invalid, inaccurate, fraudulent or forged;

        (ii)    the invalidity or insufficiency of any instrument transferring or assigning or
                purporting to transfer or assign any such Letter of Credit or the rights or
                benefits thereunder or proceeds thereof, in whole or in part, which may
                prove to be invalid or ineffective for any reason;

        (iii)   errors, omissions, interruptions or delays in transmission or delivery of any
                messages, by fax, electronic transmission, mail, cable telegraph, telex or
                otherwise, whether or not they are in cipher;

        (iv)    errors in interpretation of technical terms;

        (v)     any loss or delay in the transmission or otherwise of any document required
                in order to make a drawing under any such Letter of Credit or of the
                proceeds thereof;

        (vi)    the misapplication by the beneficiary of any such Letter of Credit of the
                proceeds of any drawing under such Letter of Credit; and
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        (vii)   any consequences arising from causes beyond the reasonable control of any
                Lender, including any act or omission, whether rightful or wrongful, of any
                present or future de jure or de facto Governmental Authority.

        None of the above shall affect, impair or prevent the vesting of any Issuing Bank’s
        rights or powers hereunder. No action taken or omitted by an Issuing Bank under
        or in connection with any Letter of Credit issued by it or the related certificates, if
        taken or omitted in good faith, shall put such Issuing Bank under any resulting
        liability to the applicable Borrower (provided, that such Issuing Bank acts in
        accordance with the standards of reasonable care specified in the Uniform Customs
        and otherwise as may be required under ISP98, in each case as stated on its face to
        be applicable to the respective Letter of Credit).

  (f)   If any Letter of Credit is outstanding on the Facilities Maturity Date, on the date
        this Agreement and all Commitments hereunder are cancelled, at any time that an
        Event of Default occurs, a demand for repayment is made hereunder, or a domestic
        or foreign court issues any judgment or order restricting or prohibiting payment by
        the applicable Issuing Bank under such Letter of Credit or extending the liability of
        the applicable Issuing Bank to make payment under such Letter of Credit beyond
        the expiry date specified therein, the applicable Borrower will forthwith upon
        demand by the Agent or the applicable Issuing Bank deposit into a cash collateral
        account maintained by and in the name of the Agent or the applicable Issuing Bank
        funds in the applicable currency in the amount of the Advance constituted by such
        Letter of Credit and such funds (together with interest thereon) will be held by the
        Agent or the applicable Issuing Bank for payment of the liability of the applicable
        Borrower pursuant to this Section 5.16 or otherwise in respect of such Letter of
        Credit so long as such Issuing Bank has or may in any circumstance have any
        liability under such Letter of Credit, and, pending such payment, shall bear interest
        at the Agent’s or the applicable Issuing Bank, as applicable then prevailing rate in
        respect of deposits of similar amounts and of similar periods of time. Any balance
        of such funds and interest remaining at such time as the applicable Issuing Bank
        does not have and may never have any liability under such Letter of Credit will
        nevertheless continue to be held by the Agent or the applicable Issuing Bank, if and
        so long as any Default or Event of Default is continuing or after a demand for
        repayment is made or both, as security for the remaining liabilities of the applicable
        Borrower hereunder. The Agent or the applicable Issuing Bank, as applicable, shall
        have exclusive control over all amounts at any time on deposit in such cash
        collateral account. The deposit of such funds by a Borrower with the Agent or the
        applicable Issuing Bank as herein provided will not operate as a repayment of the
        U.S. Operating Facility or the Swingline Commitment, as applicable, until such
        time as such funds are actually paid to the U.S. Operating Lenders or the Swingline
        Lender, as applicable, as a principal repayment.

  (g)   The Issuing Bank and the Agent, in the case of Letters of Credit issued under the
        U.S. Operating Facility, and the Swingline Lender, in the case of Letters of Credit
        issued under the Swingline, shall each maintain records showing the undrawn and
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                unexpired amount of each Letter of Credit outstanding under such Facility, and
                showing for each such Letter of Credit:

                (i)     the dates of issuance and expiration thereof;

                (ii)    the amount thereof; and

                (iii)   the date and amount of all payments made thereunder.

                The Issuing Bank and the Agent shall make copies of such records in the respect of
                Letters of Credit issued under the U.S. Operating Facility available to the U.S.
                Borrower and the U.S. Operating Lenders upon request. The Swingline Lender,
                shall make copies of such records in respect to Letters of Credit issued under the
                Swingline available to the Canadian Borrower, the Agent and the Canadian
                Operating Lenders upon request.

5.17     Eligible Approved Contracts

        The Canadian Borrower may request, from time to time and by written notice to the Agent,
that the Agent designate additional contracts of the Credit Parties (the “Additional Contracts”)
as Eligible Approved Contracts, provided that, any such notice shall only be given concurrently
with the delivery of a Borrowing Base Certificate pursuant to 7.4.1(a) and such notice shall include
a true and correct copy of each Additional Contract.

        If an Additional Contract is in a form (a) previously approved by the Lenders or (b) in
respect of which the Agent has previously received a legal opinion opining that such contract or
agreement is valid and enforceable under the governing law thereof, then such Additional Contract
shall be designated by the Agent as an Eligible Approved Contract as of the date of the notice
referred to above, otherwise, such Additional Contract shall not be designated as an Eligible
Approved Contract until such time as the Agent has received an opinion of legal counsel opining
that such contract or agreement is valid and enforceable under the governing law thereof, which
opinion is in form and substance satisfactory to the Agent and is delivered by legal counsel
acceptable to the Agent (in each case acting reasonably).

                                    ARTICLE 6
                          REPRESENTATIONS AND WARRANTIES

6.1      Representations and Warranties

        Each Borrower jointly and severally hereby represents and warrants to the Agent and the
Lenders as follows, with respect to itself and, in the case of the Canadian Borrower, also with
respect to each Credit Party:

         6.1.1     Status. It has been duly incorporated, amalgamated, constituted, formed or
         established as the case may be, and is validly subsisting under the Laws of its governing
         jurisdiction and is up to date in respect of all corporate or similar filings and has all
         necessary corporate power, capacity and authority to carry on its business in each
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  jurisdiction where it carries on business except, in the case of other jurisdiction, to the
  extent the failure to do so would reasonably be expected to have a Material Adverse Effect.

  6.1.2     Information. As of the date hereof, Schedule 6.1.2 contains the following
  information in respect of each Credit Party and each Subsidiary thereof as of the
  Amendment and Restatement Date: predecessors and prior names (within the immediately
  preceding five years), jurisdiction of incorporation or establishment, present governing
  jurisdiction, registered office, chief executive office, all locations at which it has owned or
  leased places of business or maintained a material amount of assets (other than assets
  temporarily out of a Credit Party’s custody or possession, including assets on the premises
  of others and items in transit) the number and classes of its issued and outstanding shares
  and a list of its shareholders including the number and class of shares held by each. All
  material records related to the Credit Party’s Receivables are located at those certain chief
  executive offices as identified in Schedule 6.1.2, as may be updated from time to time.

  6.1.3   Subsidiaries. As of the Amendment and Restatement Date, neither Holdco nor the
  Canadian Borrower has any Material Subsidiaries or other Subsidiaries other than as set
  out in Schedule 6.1.3 and 100% of the issued and outstanding shares of each Material
  Subsidiary are directly or indirectly owned by the Canadian Borrower.

  6.1.4     No Pending Corporate Changes. As of the Amendment and Restatement Date, no
  Person has any agreement or option or any right or privilege (whether by law, pre-emptive
  or contractual) capable of becoming an agreement for the purchase of any properties or
  assets of any Credit Party out of the ordinary course of business or for the purchase,
  subscription, allotment or issuance of any debt or equity securities, including convertible
  securities, warrants or convertible obligations of any nature, of the Canadian Borrower.

  6.1.5    No Conflicts under Material Agreements or Material Permits. Except as disclosed
  in Schedule 6.1.5, the execution and delivery by each Credit Party of those Credit
  Documents to which it is a party, will not conflict with, result in a breach of or require any
  approval or consent under any Material Agreement or Material Permit, other than consents
  or approvals which have been obtained unconditionally and without imposition of any
  material conditions.

  6.1.6    No Conflict with Charter Documents. There are no provisions contained in the
  charter documents, or by-laws of any Credit Party, or any partnership agreement,
  shareholders’ agreement, voting trust agreement or similar agreement relating thereto or in
  any Material Agreement or Material Permit, which restrict or limit its powers to borrow
  money, issue debt obligations, guarantee the payment or performance of the obligations of
  others or encumber all or any of its present and after-acquired property; or which would be
  contravened by the execution and delivery of those Credit Documents to which any Credit
  Party is a party or the performance by any Credit Party of its obligations thereunder and
  which contravention would reasonably be expected to result in Material Adverse Change.

  6.1.7    Credit Documents. Each Credit Party has the necessary capacity, power, legal
  right and authority to borrow from the Lenders, guarantee payment to the Agent and the
  Lenders of those Obligations which are payable by the Borrowers, perform its obligations
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  under the Credit Documents and provide the Security required to be provided by it
  hereunder. The execution and delivery of the Credit Documents by the Credit Parties and
  the performance of their respective obligations therein have been duly authorized by all
  necessary corporate or other action. This Agreement and the other Credit Documents
  constitute legal, valid and binding obligations of the Credit Parties, enforceable against
  them in accordance with the terms and provisions thereof, subject to Laws of general
  application affecting creditors’ rights and the discretion of the court in awarding equitable
  remedies.

  6.1.8     Conduct of Business; Compliance with Laws and Material Permits. Except as
  disclosed in Schedule 6.1.8, each Credit Party is in compliance in all material respects with
  all Applicable Laws of each jurisdiction in which it carries on business and is duly licensed,
  registered and qualified to do business and is in good standing in each jurisdiction in which
  the nature of the business conducted by it or the property owned or leased by it make such
  qualification necessary, except to the extent that the failure to hold any such licences,
  registrations and permits would not constitute a Material Adverse Change. Schedule 6.1.8
  contains a true and complete list of all Material Permits, and all such Material Permits are
  valid and subsisting and in good standing.

  6.1.9      Ownership of Assets; Permitted Liens. Each Credit Party has good and marketable
  title to (or a valid leasehold interest in) and owns and possesses its undertaking, property
  and assets (other than intellectual property) (or has a valid leasehold interest in) free and
  clear of any and all Liens except for Permitted Liens. No Credit Party has any commitment
  or obligation (contingent or otherwise) to grant any Liens except for Permitted Liens. No
  event has occurred which constitutes, or which with the giving of notice, lapse of time or
  both would constitute, a default under any specific Permitted Lien, which default would
  reasonably be expected to result in a Material Adverse Change.

  6.1.10 Leased Properties. As of the date hereof, Schedule 6.1.10 contains a true and
  complete list of the Leased Properties.

  6.1.11 Intellectual Property. Each Credit Party possesses or has the exclusive right to
  use all patents, patent rights, trademarks, trademark rights, trade names, trade name rights,
  service marks, service mark rights, copyrights and other forms of intellectual property
  material to the conduct of its business, each of which is in good standing in all material
  respects, and, to its knowledge, has the right to use such intellectual property without
  violation of any material rights of others with respect thereto, except, in each case, as would
  not reasonably be expected to have a Material Adverse Effect. Schedule 6.1.11 contains a
  list of all such Credit Party’s owned material, registered and pending trademarks, service
  marks, patents and copyrights (excluding commercially available software) as of the
  Amendment and Restatement Date.

  6.1.12 Insurance. The Credit Parties have (a) placed insurance, including property, boiler
  and machinery, business interruption and liability insurance, in appropriate amounts and
  for appropriate risks as would be considered prudent for similar businesses, and (b) placed
  Account Receivable Insurance. Attached hereto as Schedule 6.1.12 is a true and complete
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  list of all insurance policies (including the Account Receivable Insurance) held by the
  Credit Parties as of the Amendment and Restatement Date.

  6.1.13 Material Agreements. As of the date hereof, Schedule 6.1.13 contains a true and
  complete list of all Material Agreements, including a description of the nature of each
  Material Agreement. Each Material Agreement is in full force and effect; and none of the
  Credit Parties is in breach of any of the terms or conditions contained therein, in each case,
  which would reasonably be expected to have a Material Adverse Effect. Except as
  disclosed in writing to the Agent and as permitted hereby, no Material Agreement has been
  materially amended, supplemented or revised in any manner adverse to the Lenders since
  the date of execution thereof.

  6.1.14 Labour Agreements. Except as disclosed in Schedule 6.1.14, there are no labour
  agreements in effect between any of the Credit Parties and any labour union or employee
  association and the Credit Parties are not under any obligation to assume any labour
  agreements to or conduct negotiations with any labour union or employee association with
  respect to any future agreements; and the Credit Parties are not aware of any current
  attempts to organize or establish any such labour union or employee association which, in
  each case, would reasonably be expected to result in a Material Adverse Effect.

  6.1.15 Environmental Laws. Each Credit Party and its business, operations, assets,
  equipment, property, leaseholds and other facilities is in compliance with all applicable
  Requirements of Environmental Law, specifically including all applicable Requirements
  of Environmental Law concerning the storage and handling of Hazardous Materials except
  where the failure to do so would not reasonably be expected to result in a Material Adverse
  Change. Each Credit Party holds all permits, licenses, certificates and approvals from
  Governmental Authorities which are required by the applicable Requirements of
  Environmental Law in connection with (i) air emissions; (ii) discharges to surface or
  groundwater; (iii) noise emissions; (iv) solid or liquid waste disposal; (v) the use,
  generation, storage, transportation or disposal of Hazardous Materials; and (vi) all other
  applicable Requirements of Environmental Law, except in each case where the failure to
  do so would reasonably be expected to result in a Material Adverse Change. Except as
  disclosed in Schedule 6.1.15 to the knowledge of the Credit Parties there has been no
  emissions, spills, releases, or discharges into or upon (i) the air; (ii) soils, or any
  improvements located thereon; (iii) surface water or groundwater; or (iv) any sewer, septic
  system or waste treatment, storage or disposal system servicing the premises, of any
  Hazardous Materials at or from any Land owned by any Credit Party or any of the Leased
  Properties that would reasonably be expected to have a Material Adverse Effect. Except as
  disclosed in Schedule 6.1.15 no complaint, order, directive, claim, citation, or notice from
  any Governmental Authority or any other Person has been received by any Credit Party
  with respect to (i) air emissions; (ii) spills, releases, or discharges to soils or improvements
  located thereon, surface water, groundwater or any sewer, septic system or waste treatment,
  storage or disposal systems servicing any Land owned by any Credit Party or any of the
  Leased Properties; (iii) noise emissions; (iv) solid or liquid waste disposal; (v) the use,
  generation, storage, transportation, or disposal of Hazardous Materials; or (vi) other
  applicable Requirements of Environmental Law affecting any Land owned by any Credit
  Party or the Leased Properties, in each case, which would reasonably be expected to result
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  in a Material Adverse Change. Except as disclosed in Schedule 6.1.15, there are no legal
  or administrative proceedings, investigations or claims outstanding or to the Credit Parties’
  knowledge now threatened or pending, with respect to the presence on or under, or the
  discharge, emission, spill, radiation or disposal into, upon or from any Land owned by any
  Credit Party or any of the Leased Properties of any Hazardous Material, including the
  discharge, emission, spill, radiation or disposal of any Hazardous Material from any such
  Land or Leased Properties onto or into the atmosphere or any adjacent land, watercourse
  or body of water; nor are there any material matters under discussion with any
  Governmental Authority relating thereto; and there is no factual basis for any such
  proceedings, investigations or claims, in each case, which would reasonably be expected
  to result in a Material Adverse Change. The Credit Parties have no indebtedness, obligation
  or liability with respect to the storage, treatment, cleanup or disposal of any Hazardous
  Materials (including without limitation any such indebtedness, obligation, or liability under
  any applicable Requirements of Environmental Law regarding such storage, treatment,
  cleanup or disposal) which would reasonably be expected to result in a Material Adverse
  Change.

  6.1.16 No Litigation. Except as disclosed in Schedule 6.1.16, there are no actions, suits
  or proceedings pending, or to the knowledge of the Credit Parties threatened in writing,
  against any Credit Party in any court or before or by any federal, provincial, state,
  municipal or other Governmental Authority, which would reasonably be expected to result
  in a Material Adverse Change.

  6.1.17 Pension Plans. As of the Amendment and Restatement Date, the Credit Parties
  have not established any Pension Plans except as disclosed in Schedule 6.1.17. All of the
  Credit Parties’ Pension Plans have been duly registered under Applicable Law. No steps
  have been taken to terminate any such Pension Plan (in whole or in part), no contribution
  failure has occurred with respect to any such Pension Plan sufficient to give rise to a Lien
  under any Applicable Laws of any jurisdiction, and no condition exists and no event or
  transaction has occurred with respect to any such Pension Plan, in each case, which would
  reasonably be expected to result in the incurrence by any Credit Party of any material
  liability, fine or penalty. Each such Pension Plan is in compliance in all material respects
  with all applicable pension benefits and tax laws, (i) all contributions (including employee
  contributions made by authorized payroll deductions or other withholdings) required to be
  made to the appropriate funding agency in accordance with all Applicable Laws and the
  terms of such Pension Plan have been made in accordance with all Applicable Laws and
  the terms of such Pension Plan, (ii) all liabilities under such Pension Plan are funded, on a
  going concern and solvency basis, in accordance with the terms of the respective Pension
  Plans, the requirements of applicable pension benefits laws and of applicable regulatory
  authorities and the most recent actuarial report filed with respect to the Pension Plan, and
  (iii) no event has occurred and no conditions exist with respect to any such Pension Plan
  that has resulted or would reasonably be expected to result in such Pension Plan having its
  registration revoked or refused for the purposes of any applicable pension benefits or tax
  laws or being placed under the administration of any relevant pension benefits regulatory
  authority or being required to pay any taxes or penalties under any applicable pension
  benefits or tax laws.
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  6.1.18 ERISA Liabilities. No ERISA Event has occurred or is reasonably expected to
  occur with respect to any Plan which would reasonably be expected to have a Material
  Adverse Effect. Since the most recent financial statement with respect to a Plan, there has
  been no change in the funding status of such Plan which would reasonably be expected to
  result in a Material Adverse Change. Neither any Credit Party nor any ERISA Affiliate has
  incurred or is reasonably expected to incur any Withdrawal Liability to any Multiemployer
  Plan which would reasonably be expected to result in a Material Adverse Change. Neither
  any Credit Party nor any ERISA Affiliate has been notified by the sponsor of a
  Multiemployer Plan that (i) such Multiemployer Plan has been terminated, within the
  meaning of Title IV of ERISA, or (ii) such Multiemployer Plan is reasonably expected to
  be terminated, within the meaning of Title IV of ERISA, which termination would
  reasonably be expected to result in a Material Adverse Change.

  6.1.19 Financial Statements. The most recent Year-end Financial Statements and Interim
  Financial Statements of the Canadian Borrower delivered to the Agent and the Lenders
  have been prepared in accordance with GAAP (except that in the case of the Interim
  Financial Statements, subject to normal adjustments and the absence of footnotes) on a
  basis which is consistent with the previous fiscal period (unless otherwise noted), and
  present fairly in all material respects in accordance with GAAP:

  (a)    its assets and liabilities (whether accrued, absolute, contingent or otherwise) and
         financial condition as at the dates therein specified;

  (b)    its sales, earnings and results of its operations during the periods covered thereby;
         and

  (c)    in the case of the Year-end Financial Statements, its changes in financial position,

  and no Material Adverse Change has occurred since the date thereof.

  6.1.20 Financial and Other Information. All financial and other information provided in
  writing by or in respect of the Credit Parties to the Agent or the Lenders (other than
  projections, other forward looking information and information of a general economic or
  industry-specific nature to) taken as a whole, to the best of the Credit Party’s knowledge
  and belief (including good faith estimates and stated assumptions believed to be reasonable
  and fair as of the date made in light of conditions and facts then known), do not contain
  any untrue statement of a material fact or omit to state a material fact necessary to make
  the statements contained therein not materially misleading in light of the circumstances
  under which such statements were made (after giving effect to all supplements from time
  to time).

  6.1.21 No Funded Debt/Liens. No Funded Debt has been incurred or assumed by any
  Credit Party, except for Permitted Funded Debt. No Liens exist on the assets of any Credit
  Party, except for Permitted Liens.

  6.1.22 Validity and Ranking of Security. Each Security agreement is effective to create
  in favor of the Agent for the benefit of the Lenders, legal, valid and enforceable Liens on,
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  and security interests in, the collateral referred to therein. The Obligations are secured by
  a First-Ranking Security Interest, other than in respect of any Priority Claims.

  6.1.23 Taxes. Except as disclosed in Schedule 6.1.23, each Credit Party has duly and
  timely filed all tax returns required to be filed by it, and has paid all taxes which are due
  and payable by it, except for any taxes which are subject to a Permitted Contest or which
  the failure to pay, individually or in the aggregate has not and would not reasonably be
  expected to have a Material Adverse Effect. Each Credit Party has also paid all other taxes,
  charges, penalties and interest due and payable under or in respect of all assessments and
  re-assessments of which it has received written notice, except to the extent that such
  assessments or re-assessments are subject to a Permitted Contest or which the failure to
  pay, individually or in the aggregate has not and would not reasonably be expected to have
  a Material Adverse Effect. There are no actions, suits, proceedings, investigations or claims
  threatened or pending against any Credit Party in respect of taxes, governmental charges
  or assessments or any matters under discussion with any Governmental Authority relating
  to taxes, governmental charges or assessments asserted by any such Governmental
  Authority which would reasonably be expected to result in a Material Adverse Change.

  6.1.24 Statutory Liens. Each Credit Party has remitted on a timely basis all amounts
  required to have been withheld and remitted (including withholdings from employee wages
  and salaries relating to income tax, employment insurance, unemployment insurance and
  Canada Pension Plan contributions), goods and services tax and all other amounts which if
  not paid when due could result in the creation of a Statutory Lien against any of its property,
  except for Permitted Liens.

  6.1.25   No Default, etc. No Default or Event of Default has occurred and is continuing.

  6.1.26 Solvency. On the Amendment and Restatement Date (i) the fair market value of
  the assets of the Credit Parties, on a consolidated basis, at a fair valuation, will exceed their
  debt and liabilities, subordinated, contingent or otherwise; (ii) the present fair saleable
  value of the property of the Credit Parties, on a consolidated basis, will be greater than the
  amount that will be required to pay the probable liability of their indebtedness and other
  liabilities, subordinated, contingent or otherwise, as such indebtedness and other liabilities
  become absolute and matured; (iii) the Credit Parties, on a consolidated basis, will be able
  to pay their debts and liabilities, subordinated, contingent or otherwise, as such debts and
  liabilities become absolute and matured; (iv) the Credit Parties, on a consolidated basis,
  will not have unreasonably small capital with which to conduct the business in which they
  are engaged as such business is now conducted and is proposed to be conducted following
  the date of determination, and (v) the Credit Parties, on a consolidated basis, are not
  “insolvent” under any applicable Insolvency Legislation or otherwise unable to pay their
  debts as they fall due.

  6.1.27 Residency. The Canadian Borrower is not a non-resident of Canada as defined by
  the Income Tax Act (Canada).
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  6.1.28 Investment Company Act. Neither the Canadian Borrower nor any Subsidiary is
  an “investment company” or a company “controlled” by an “investment company,” in each
  case, within the meaning of the Investment Company Act of 1940, as amended.

  6.1.29    Fiscal Year. The Fiscal Year end of each Credit Party is December 31.

  6.1.30 Place and Type of Business. As of the Amendment and Restatement Date,
  Schedule 6.1.2 contains a list of the only jurisdictions in which the Credit Parties carry on
  any material business. The Credit Parties’ sole business is providing drilling fluid and
  technical expertise to assist in drilling oil and gas wells, including skid controls, drilling
  waste management and drilling water treatment services and the rental of well bore cleanup
  tools.

  6.1.31 Economic Sanctions; Corrupt Practices. No Credit Party is in violation of any
  Economic Sanctions or the Foreign Corrupt Practices Act, the Corruption of Foreign
  Public Officials Act (Canada) or any similar legislation or, to its knowledge, is the target
  or subject of any Economic Sanctions. No Credit Party or any of their respective
  Subsidiaries and, to the knowledge of any Credit Party, no director, officer, employee,
  broker or other agent of any Credit Party acting or benefiting in any capacity in connection
  with the Loans is any of the following:

  (a)      a Person that is listed in the annex to the Executive Order, or is otherwise the subject
           of Economic Sanctions;

  (b)      a Person owned or controlled by, or acting for or on behalf of, any Person that is
           listed in the annex to the Executive Order, or is otherwise the subject of Economic
           Sanctions;

  (c)      a Person with which any Lender is prohibited from dealing or otherwise engaging
           in any transaction by any Economic Sanctions;

  (d)      a Person that commits, threatens or conspires to commit or supports “terrorism” as
           defined in the Executive Order;

  (e)      a Person located, organized or resident in a country or territory that is, or whose
           government is, the subject of Economic Sanctions; or

  (f)      a Person that is named as a “specially designated national and blocked person” on
           the most current list published by OFAC at its official website or any replacement
           website or other replacement official publication of such list.

  No Credit Party or any of their respective Subsidiaries and, to the knowledge of any Credit
  Party, no director, officer, employee, broker or other agent of any Credit Party acting in
  any capacity in connection with the Loans (i) conducts any business or engages in making
  or receiving any contribution of funds, goods or services to or for the benefit of any Person
  described in clauses (a) through (f) above, (ii) deals in, or otherwise engages in any
  transaction relating to, any property or interests in property blocked pursuant to any
  Economic Sanctions, (iii) engages in or conspires to engage in any transaction that evades
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        or avoids, or has the purpose of evading or avoiding, or attempts to violate, any of the
        prohibitions set forth in any Economic Sanctions, or (iv) is in violation of any applicable
        Economic Sanctions.

        6.1.32 Use of Facilities. Each Borrower acknowledges that the Facilities are for the use
        by the Credit Parties and will be used for the Credit Parties’ and their Subsidiaries’ lawful
        business purposes only.

        6.1.33 Use of Eligible Approved Contracts. As of June 30, 2018, all of the Insured
        Receivables used in determining the Borrowing Base were Receivables derived from and
        governed by Eligible Approved Contracts in existence as the Amendment and Restatement
        Date as set out in Schedule 6.1.33.

        6.1.34 Margin Regulations. No Credit Party is engaged principally, or as one of its
        important activities, in the business of extending credit for the purpose of buying or
        carrying Margin Stock (as defined in Regulation U). No part of the proceeds of any Loan
        or any Letter of Credit will be used, whether directly or indirectly, and whether
        immediately, incidentally or ultimately, for any purpose that entails a violation of, or that
        is inconsistent with, the provisions of the regulations of the Board of Governors of the
        Federal Reserve, including Regulation T, Regulation U or Regulation X. The pledge of the
        Collateral pursuant to the Security does not violate such regulations.

6.2     Acknowledgement and Deemed Repetition

        Each Borrower acknowledges that the Agent and the Lenders are relying upon the
representations and warranties in this Article 6 in making the Facilities available to the Borrowers
and that the representations and warranties contained in Article 6, except for any representation
and warranty made solely as of an earlier date will be deemed to be restated and shall be true and
correct effective on the date each and every Advance is made (and any representations and
warranties made solely as of an earlier date shall be true and correct as of such earlier date).

6.3     Survival of Representations and Warranties

       The Credit Parties acknowledge that the Agent and the Lenders shall rely upon the
representations and warranties contained in this Article 6 in connection with the establishment and
continuation of the Facilities and also in connection with the entering into by a Hedge Provider of
any Hedging Agreement with the Credit Parties. Notwithstanding any investigations which may
be made by the Agent or the Lenders, the said representations and warranties shall survive the
execution and delivery of this Agreement until full and final payment and satisfaction of the
Obligations and this Agreement has been terminated.
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                                           ARTICLE 7
                                          COVENANTS

7.1     Positive Covenants

       While there are any Outstanding Advances under the Facilities or while any of the Facilities
remains available to any Borrower, each Borrower hereby covenants and agrees with the Agent
and the Lenders that it will, and will cause each of the other Credit Parties to:

        7.1.1    Prompt Payment. In the case of the Borrowers, punctually and unconditionally
        pay all principal, interest and other amounts due hereunder at the times and in the manner
        specified herein.

        7.1.2     Preservation of Existence. Except as permitted by Section 7.2.8, maintain its
        existence in good standing (or similar status), preserve its rights, powers, licences,
        privileges, franchises and goodwill, exercise any rights of renewal or extensions of any
        leases, licences, concessions, franchises or any other rights whatsoever which are material
        to the conduct of its business, maintain all qualifications to carry on business in each
        jurisdiction in which such qualifications are required where the failure to do so would not
        reasonably be expected to result in a Material Adverse Change, and carry on and conduct
        its business in a proper and efficient manner so as to protect its property and income; and
        not materially change the nature of its business.

        7.1.3    Compliance with Applicable Laws; Use of Proceeds; Maintenance of Leases and
        Material Permits. Comply with all Applicable Laws (specifically including all applicable
        Requirements of Environmental Law and Economic Sanctions and the Foreign Corrupt
        Practices Act) except where the failure to do so would not reasonably be expected to result
        in a Material Adverse Change, use the proceeds of all Advances hereunder for legal and
        proper purposes, and obtain and maintain in good standing all material leases and Material
        Permits from any and all Governmental Authorities required in respect of its business and
        operations except where the failure to do so would not reasonably be expected to result in
        a Material Adverse Change.

        7.1.4    Payment of Priority Claims, Taxes, etc. Pay when due all Priority Claims, rents,
        ERISA liabilities, taxes, rates, pension obligations, levies, assessments and governmental
        charges, fees and dues lawfully levied, assessed or imposed in respect of its property which
        are material to the conduct of its business, and deliver to the Agent upon request receipts
        evidencing such payments; except for rents, taxes, rates, pension obligations, levies,
        assessments and governmental charges, fees or dues in respect of which an appeal or review
        proceeding has been commenced, a stay of execution pending such appeal or review
        proceeding has been obtained, reserves reasonably required by the Required Lenders have
        been established; and except where the failure to pay individually or in the aggregate,
        would not reasonably be expected to result in a Material Adverse Change.

        7.1.5  Maintain Records. Maintain adequate books, accounts and records in accordance
        with GAAP and all material records related to the Credit Parties’ Receivables shall be
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  located at the chief executive offices as identified in Schedule 6.1.2, as the same may be
  updated from time to time.

  7.1.6    Maintenance and Operation of Properties. Keep its property and assets in good
  repair and working condition, reasonable wear and tear and casualty or condemnation
  excepted, and operate its property in accordance with prudent industry standards and the
  requirements of its insurance policies.

  7.1.7     Inspection. Permit the Agent and its employees and agents (who may be
  accompanied by any Lender and its employees and agents), upon reasonable notice and at
  their own cost, to enter upon and inspect their properties, assets, books and records from
  time to time during normal business hours and in a manner which does not materially
  interfere with the operations of the Credit Parties, and make copies of and abstracts from
  such books and records, and discuss their affairs, finances and accounts with any of their
  officers, directors, accountants and auditors; provided, that the Agent will deal with any
  personal information obtained in accordance with applicable privacy legislation; provided,
  that the Agent may not conduct more than one such examination during any calendar year
  unless a Default or an Event of Default has occurred and is continuing, in which case the
  foregoing limit shall not apply. All reasonable and documented out-of-pocket costs and
  expenses incurred by the Agent and its duly authorized representatives and agents in
  connection with the exercise of the Agent’s rights pursuant to this Section 7.1.7 shall be
  paid by the Canadian Borrower in accordance with Section 13.5; provided, that so long as
  no Default or Event of Default exists the Canadian Borrower shall not be responsible for
  the expenses of the Agent in connection with more than one such visit and inspection per
  calendar year.

  7.1.8    Liens. Maintain all of its property, assets and undertaking free of all Liens except
  Permitted Liens and maintain a First-Ranking Security Interest in favour of the Agent over
  all of the Collateral subject only to the Security and Permitted Liens which under
  Applicable Law rank in priority thereto.

  7.1.9     General Insurance Coverage. Obtain and maintain from financially responsible
  insurance companies and maintain liability insurance, all-risks property insurance on a
  replacement cost basis (less a reasonable deductible not to exceed amounts customary in
  the industry for similarly situated businesses and properties), and insurance in respect of
  such other risks and in such amounts (giving effect to self-insurance) as would be
  considered prudent for similar businesses, to the extent available on commercially
  reasonable terms, all of which policies of insurance shall include a standard mortgage
  clause approved by the Insurance Bureau of Canada; and the interest of the Agent shall be
  noted as an additional insured on all liability insurance policies and as first mortgagee
  and/or lender loss payee, as applicable, on all other insurance policies (other than directors
  and officers insurance); and the Agent shall be provided with certificates of insurance and
  certified copies of such policies from time to time upon request; provided, that no more
  than one request shall be made in any calendar year unless a Default or an Event of Default
  is continuing or if there has been a material change in any such policy.
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  7.1.10 Account Receivable Insurance Coverage. Obtain and maintain Account
  Receivable Insurance, pay all required premiums in respect thereof once due and payable
  and renew such Account Receivable Insurance not less than sixty (60) days prior to the
  expiry thereof; and the Agent shall be provided with certificates of insurance and certified
  copies of such policies from time to time upon request; provided that no more than one
  request shall be made in any period of four consecutive fiscal quarters unless a Default or
  an Event of Default is continuing. At least 10 days prior to the renewal of any Account
  Receivable Insurance, the Borrowers shall provide the Agent with all information
  reasonably requested by the Agent, including for certainty, any proposed modifications to
  the existing policies then in place, in order for the Agent and third party legal counsel to
  conduct a review of such Account Receivable Insurance.

  7.1.11 Colombia Payments. Ensure that payments in favour of a Credit Party which are
  made under any material agreement executed by any Credit Party which are to be made in
  Colombian Pesos in Colombia are either directed to a trust established in Colombia which
  is subject to the Security or to an account over which the Agent has a First-Ranking
  Security Interest pursuant to an account control agreement or if such payments are
  otherwise subject to the Security in a manner satisfactory to the Agent, acting reasonably.

  7.1.12 Perform Obligations. Fulfill all covenants and obligations required to be
  performed by it under the Credit Documents, the Material Agreements, the Material
  Permits and the policy governing the Account Receivable Insurance (and as reasonably
  requested by the Agent, provide evidence of compliance with the risk management and
  credit policies required thereunder).

  7.1.13    Bank Accounts and Banking Service Agreements. Maintain:

  (a)      all of its bank primary accounts and Banking Service Agreements of the Borrowers
           in Canada, the U.S. and Mexico with the Agent or an Affiliate thereof unless
           otherwise consented to by the Required Lenders, in their sole discretion; provided,
           that the U.S. Borrower shall be permitted to maintain its current bank accounts in
           the U.S. with Wells Fargo provided that the Deposit Account Control Agreement
           between the U.S. Borrower, such financial institution and the Agent remains in
           force and effect, which agreement shall, among other things, provide that such
           financial institution acknowledges that the Agent has a First-Ranking Security
           Interest over the applicable bank accounts and that upon written notice from the
           Agent, the Agent can exert control over such accounts; and

  (b)      except as set forth in Section 8.1(i), maintain all of the Credit Parties’ other bank
           accounts used as a primary concentration accounts for collection of proceeds of
           Eligible Receivables with financial institutions reasonably satisfactory to the
           Required Lenders; provided, that within 90 days after the formation of any new
           Material Subsidiary that is a Credit Party from time to time hereafter, such financial
           institution has entered into a deposit account control or similar account agreement
           with the Agent and the applicable Credit Party, in a form and substance reasonably
           satisfactory to the Agent, which agreement, among other things, provides that such
           financial institution acknowledges that the Agent has a First-Ranking Security
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         Interest over the applicable bank accounts and that upon written notice from the
         Agent, the Agent can exert control over such accounts.

  Notwithstanding anything herein to the contrary, it is understood and agreed that no deposit
  account agreements or account agreement shall be required with respect to (i) any account
  which is not used as a primary concentration account for collection of proceeds of Eligible
  Receivables or for the direct collection of such proceeds or (ii) any other Excluded
  Account.

  7.1.14 Formation of Material Subsidiaries. In the event that any Borrower or any other
  Credit Party forms or acquires a Material Subsidiary, or a Person otherwise becomes a
  Material Subsidiary (in each case, for the avoidance of doubt, other than a Securitization
  SPE), after the Amendment and Restatement Date then, subject to Section 8.9, the
  Canadian Borrower shall deliver, and shall cause the applicable Subsidiary to deliver, to
  the Agent not later than (a) thirty (30) Business Days in the case of Material Subsidiaries
  formed outside of Canada and the U.S., or (b) ten (10) Business Days for Material
  Subsidiaries formed in Canada or the U.S., in either case, after the formation or acquisition
  of such Material Subsidiary (or such longer period as the Agent may approve, acting
  reasonably), a full recourse guarantee and the, within the applicable period therefor, any
  other Security relative to such Material Subsidiary referred to in Section 8.1 or such other
  Security as may be requested by the Agent, acting reasonably, together with related
  corporate documentation and legal opinions as may be requested by the Agent, acting
  reasonably.

  7.1.15 Ownership of Credit Parties. The Canadian Borrower will at all times be the
  (direct or indirect) sole beneficial owner of all of the issued and outstanding shares of each
  other Credit Party, other than Holdco.

  7.1.16 EBITDA; Ownership of Assets. Except as otherwise specifically permitted
  hereunder, the Canadian Borrower will ensure at all times that:

  (a)    the EBITDA directly attributed to the Credit Parties determined on an
         unconsolidated but combined basis is equal to at least 90% of the Canadian
         Borrower’s EBITDA determined on a consolidated basis;

  (b)    the Credit Parties legally, beneficially and directly own at least 90% of the
         Consolidated Net Tangible Assets of the Canadian Borrower (based on the amount
         thereof set forth in the financial statements most recently delivered as required
         hereunder); and

  (c)    the EBITDA directly attributed to the OECD Credit Parties determined on a
         consolidated basis is equal to at least 85% of the Canadian Borrower’s EBITDA
         determined on a consolidated basis; provided, that for the purposes of such
         calculation any Distribution remitted to an OECD Credit Party by any other
         Subsidiary of the Borrower shall be included in EBITDA;

  7.1.17 Colombian Free Cash Flow Distribution. The Canadian Borrower will cause the
  Distribution to it or any other Credit Party whose governing jurisdiction is in Canada, the
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        U.S., Barbados or another jurisdiction reasonably acceptable to the Required Lenders by
        way of dividend (or a series of dividends) of no less than 75% of the Colombian Free Cash
        Flow for each Fiscal Year within 60 days of the end of such Fiscal Year; provided that such
        60 day period may be extended by the Required Lenders, acting reasonably, upon the
        written request of the Canadian Borrower in light of cash flow needs in Colombia at the
        time of such scheduled distribution.

        7.1.18 Further Assurances. Provide the Agent and the Lenders with such further
        information, financial data, documentation and other assurances as they may reasonably
        require from time to time in order to ensure ongoing compliance with the terms of this
        Agreement and to achieve the spirit and intent of this Agreement.

        7.1.19 Reviews. Within 60 days of written demand by the Agent, the Borrowers will have
        initiated an independent business review by a third party satisfactory to the Agent, acting
        reasonably, of the business and operations of the Borrowers and their operations in scope,
        form and substance satisfactory to the Agent, acting reasonably; provided, only one such
        demand by the Agent may be made under this Section 7.1.19.

        7.1.20    [Reserved].

        7.1.21 Minimum Liquidity. Commencing with the month ended June 30, 2019, the
        Borrowers will not permit the Minimum Liquidity measured at the end of each month to
        be less than U.S. $10,000,000.

7.2     Negative Covenants

       While there are any Outstanding Advances under the Facilities or while any of the Facilities
remains available to the Borrowers, each Borrower hereby covenants and agrees with the Agent
and the Lenders that it will not, and will ensure that each of its Material Subsidiaries does not,
without the prior written consent of the Agent on behalf of the Lenders:

        7.2.1   Liens. Grant or suffer to exist any Lien in respect of any of its property or assets,
        except Permitted Liens.

        7.2.2     Funded Debt. Create, incur or assume any Funded Debt, except Permitted Funded
        Debt.

        7.2.3   Investments/Financial Assistance. Provide Financial Assistance to, or invest
        money in, any Person, firm, joint venture, partnership, company or corporation whether by
        way of loan, acquisition of shares, acquisition of debt obligations or in any other way
        whatsoever (collectively “Investments”), except for the following (each, a “Permitted
        Investment”):

        (a)      Investments in cash and Cash Equivalents;

        (b)      Permitted Intercompany Loans;
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  (c)   Guarantees which comprise part of the Security, are in respect of other Permitted
        Funded Debt or obligations of other Credit Parties or related to indemnities incurred
        in the ordinary cause of business;

  (d)   Permitted Acquisitions;

  (e)   Investments in other Credit Parties; provided, that such Investments together with
        any Financial Assistance provided to any Non-OECD Guarantors does not exceed
        in the aggregate at any one time an amount equal to 10% of the net book value of
        the Canadian Borrower’s Consolidated Net Tangible Assets;

  (f)   loans and advances by the Credit Parties to employees or directors of any Credit
        Party in the ordinary course of business (including for travel, entertainment and
        relocation expenses) not in excess of $250,000 at any one time outstanding in the
        aggregate so long as no Default or Event of Default has occurred and is continuing
        or would reasonably be expected to result therefrom;

  (g)   Investments made by the Credit Parties in the ordinary course of business consisting
        of (i) accounts receivables, (ii) negotiable instruments held for collection in the
        ordinary course of business, (iii) lease, utility and other similar deposits in the
        ordinary course of business, (iv) securities or debt obligations of trade creditors or
        customers that are received in settlement of bona fide disputes or pursuant to any
        plan of reorganization or liquidation or similar arrangement upon the bankruptcy
        or insolvency of such trade creditors or customers;

  (h)   Investments in existence on the Amendment and Restatement Date and set forth on
        Schedule 7.2.3 hereto and, in each case, any extensions or renewals thereof, so long
        as the amount of any Investment made pursuant to this clause (h) is not increased
        at any time above the amount of such Investment set forth on Schedule 7.2.3 hereto;

  (i)   Acquisitions outside of Canada and the U.S., Investments in joint ventures or other
        minority interest holdings and other Investments in, or Financial Assistance to,
        Persons which are not Credit Parties (provided, that no such Acquisitions or
        Investments would result in a breach of Section 7.2.17 or otherwise involve Persons
        or countries that are the subject of Economic Sanctions or that any Lender’s internal
        compliance policy would prohibit it from engaging in business with) which, after
        giving pro forma effect to all other Acquisitions, Investments or Financial
        Assistance permitted in reliance on this clause (i) since the date of the last
        consolidated balance sheet of the Canadian Borrower delivered to the Agent
        hereunder and outstanding on the date of such Acquisition, Investment or Financial
        Assistance, do not exceed at any one time, in the aggregate, 15% of Shareholders’
        Equity (taking into account any increase in Shareholders’ Equity as of such date
        since the date of the last consolidated balance sheet of the Canadian Borrower
        delivered to the Agent hereunder, and with the fair market value of each Investment
        being measured at the time made and without giving effect to subsequent changes
        in value); so long as no Default or Event of Default has occurred and is continuing
        or would reasonably be expected to result therefrom; and further provided that in
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          the case of any Acquisitions under this clause (i), if more than 50% of the revenues
          generated by the Acquired Business are derived from outside of Canada or the U.S.,
          then the applicable Credit Party must receive the prior consent of the Required
          Lenders thereto;

  (j)     extensions of trade credit by the Canadian Borrower and its Material Subsidiaries
          in the ordinary course of business;

  (k)     Investments arising as a result of Permitted Securitization Financings;

  (l)     any Acquisition, Financial Assistance or Investment made in respect of Project
          Desert, the Anchor Acquisition or the Terra Acquisition;

  (m)     Investments in the United Joint Venture in an aggregate amount not to exceed (i)
          during the Fiscal Year ending December 31, 2019, U.S. $12,000,000 and (ii) during
          the Fiscal Year ending December 31, 2020, U.S. $8,000,000; plus, in each case, an
          amount equal to any returns actually received in respect of any such Investments
          (provided that any such returns reinvested in the United Joint Venture shall not be
          included in the calculation of EBITDA);

  provided, that notwithstanding the foregoing, during the Covenant Relief Period, the
  Borrowers and the Material Subsidiaries shall not (i) complete any Acquisitions pursuant
  to Sections 7.2.3(d) or 7.2.3(i) without the prior written consent of the Required Lenders,
  or (ii) make any Investment or provide any Financial Assistance other than Investments
  and Financial Assistance: (x) existing as of the Amendment and Restatement Date and set
  forth on Schedule 7.2.3, and any extension or renewal thereof; (y) permitted under
  paragraphs (a), (b), (c), (e), (g), (j), (k), (l) or (m) of this Section 7.2.3; and/or (z) made in
  or provided to one or more joint ventures or Persons that are not Credit Parties in an
  aggregate amount, in the case of this clause (z), not to exceed $3,000,000.

  7.2.4     Disposition of Assets. Directly or indirectly sell, lease, assign, transfer, convey or
  otherwise dispose of all or any part of its assets, except the Credit Parties may sell, lease,
  assign, transfer, convey or otherwise dispose of the following:

  (a)     inventory and Cash Equivalents in the ordinary course of business;

  (b)     worn out, obsolete, no longer useful or immaterial, including assets sales, licenses,
          sublicenses or other dispositions or abandonment of intellectual property of a Credit
          Party or its subsidiaries determined by the management of such Credit Party to be
          no longer useful or necessary in the operation of the business of such Credit Party
          or any of its subsidiaries;

  (c)     assets to a Borrower or any other Credit Party or if a Subsidiary is not a Credit
          Party, to the Credit Parties or any of their Subsidiaries;

  (d)     transactions permitted by Section 7.2.8, Permitted Investments and Permitted
          Distributions permitted by Section 7.2.5 hereof;
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  (e)    transfers of properties that have been subject to a casualty to the respective insurer
         of such property as part of an insurance settlement any casualty or other event of
         loss; provided, that the requirements of Section 5.3.1 are complied with in
         connection therewith;

  (f)    consignments in the ordinary course of business;

  (g)    dispositions of accounts receivables and other assets of Subsidiaries (other than
         Credit Parties) in the ordinary course of business;

  (h)    any assets the value of which (at the time the disposition is made) is not more than
         the greater of (i) $5,000,000 and (ii) 5% of the net book value of the Canadian
         Borrower’s Consolidated Net Tangible Assets as of the end of the Fiscal Quarter
         immediately prior to the date of such disposition, in any Fiscal Year; provided, that
         for such purpose, if such sale, transfer or other disposition is as part of an exchange
         of equipment to the extent that (A) such equipment is exchanged for credit against
         the purchase price of similar replacement property or (B) the proceeds thereof are
         reasonably promptly applied to the purchase price of such replacement property,
         then the amount of such purchase price of such replacement property in excess of
         such credited value will still count towards the determination of such 5% of net
         book value;

  (i)    the disposition of Receivables pursuant to a Permitted Factoring Transaction;

  (j)    the disposition of Receivables pursuant to a Permitted Securitization Financing,
         provided that the Receivables subject to such disposition originated in the United
         States;

  (k)    any Anchor Sale and Leaseback Transaction, provided the proceeds of each such
         Anchor Sale and Leaseback Transaction shall be used to repay the Operating
         Facilities in accordance with Section 5.3.6;

  (clauses (a)-(k), collectively, the “Permitted Dispositions”); provided, that the Borrower
  and its Subsidiaries may, with the prior consent of the Required Lenders, sell, lease, assign,
  transfer, convey or otherwise dispose of all or any part of its assets in a transaction that
  does not constitute a Permitted Disposition to the extent that the proceeds thereof are to be
  used in accordance with Section 5.3.1.

  7.2.5    Distributions. Make any Distributions other than Permitted Distributions;
  provided that, during the Covenant Relief Period, only Distributions described in
  paragraphs (b), (f), (g) and (i) of the definition of “Permitted Distribution” shall be
  permitted under this Section 7.2.5.

  7.2.6   Dealing with Related Parties. Consummate any transaction with any Affiliate of
  Holdco or the Canadian Borrower or any of its Subsidiaries other than the following:

  (a)    any transaction that is on fair and reasonable terms that are substantially as
         favorable to the Canadian Borrower and/or its applicable Subsidiary as would be
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        obtainable by the Canadian Borrower or such Subsidiary at the relevant time in a
        comparable arm’s length transaction with a Person that is not an Affiliate;

  (b)   payments and transactions provided for in the Material Agreements;

  (c)   any issuances of securities or other payments, awards or grants in cash, securities
        or otherwise pursuant to, or the funding of, employment agreements, stock option
        and stock ownership plans approved by the board of directors (or similar governing
        body) of Holdco, the Canadian Borrower or any of its Subsidiaries or the senior
        management thereof;

  (d)   employment arrangements and transactions pursuant thereto entered into in the
        ordinary course of business between Credit Parties and any employee thereof
        including any employee compensation, benefit plan or arrangement, any health,
        disability or similar insurance plan which covers employees;

  (e)   the payments of reasonable and customary fees, compensation, benefits and
        incentive arrangements paid or provided to, and indemnities provided on behalf of,
        officers, directors, employees or consultants of Holdco (or any direct or indirect
        parent thereof), the Canadian Borrower or any of its Subsidiaries;

  (f)   any transaction with an Affiliate where the only consideration paid by a Credit Party
        is capital stock of such Credit Party or any of its Subsidiaries;

  (g)   the payment of any Permitted Distribution;

  (h)   transactions with customers, clients, suppliers or purchasers or sellers of goods or
        services, in each case, in the ordinary course of business and otherwise in
        compliance with the terms and conditions of this Agreement that are fair to the
        Credit Parties (as determined in good faith by the board of directors of the Canadian
        Borrower);

  (i)   transactions (i) among the Credit Parties or (ii) between Subsidiaries that are not
        Credit Parties, in each case that are permitted by this Agreement;

  (j)   so long as no Default or Event of Default shall have occurred and be continuing at
        the time of any action described below or would result therefrom the payment of
        transaction, advisory or similar fees payable to the Palladium or any Affiliate
        thereof in an aggregate amount in any Fiscal Year not to exceed $1,000,000,
        provided, that such fee is paid in connection with a bona fide transaction;

  (k)   those transactions set forth on Schedule 7.2.6 which are in place as of the
        Amendment and Restatement Date;

  (l)   transactions pursuant to any Permitted Securitization Financing; and

  (m)   the Anchor Acquisition Promissory Notes.
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  7.2.7    Change or Cease Business. Cease to carry on the business or change in any
  material respect the nature of the business as is currently being carried on by it as of the
  Amendment and Restatement Date, including, for the avoidance of doubt, transactions in
  connection with a Permitted Securitization Financing, other than as part of a business
  reasonably related or ancillary thereto, or as otherwise approved in writing by the Required
  Lenders, acting reasonably.

  7.2.8    Corporate Changes. Consummate any transaction whereby all or a substantial
  portion of its undertaking, property and assets would become the property of any other
  Person, whether by way of reconstruction, reorganization, recapitalization, consolidation,
  amalgamation, merger, transfer, sale or otherwise; nor merge, amalgamate or acquire any
  other Person or all or substantially all of its assets; except that any of the foregoing
  transactions may take place: (a) among the Credit Parties if prompt written notice is given
  to the Agent, a Material Adverse Change will not occur as a result thereof and the
  applicable Credit Parties provide such additional or replacement Security as the Agent may
  reasonably require, (b) to consummate any Permitted Acquisition and (c) in connection
  with any Permitted Dispositions of all or substantially all of the assets of a Subsidiary of
  the Canadian Borrower; provided that in any such event which involves the Canadian
  Borrower, the successor entity is a Person formed under the Laws of Canada or any
  province thereof remains a Borrower under the same Facilities that it was a borrower under
  immediately prior to such event.

  7.2.9     Constating Documents. Amend or restate or otherwise alter the articles of
  incorporation, amalgamation or continuance, as applicable, or by-laws of (i) any Credit
  Party in any manner that would reasonably be expected to materially and adversely affect
  the rights of the Agent and the Lenders under the Credit Documents or (ii) any Subsidiary
  (other than a Securitization SPE) which is not a Credit Party which would impose any
  restrictions upon the ability of such Subsidiary to make any Distributions to any Credit
  Party.

  7.2.10 Capital Expenditures. Make, or permit any Subsidiary to make, any Capital
  Expenditure in any Fiscal Year that exceeds in aggregate, for each Fiscal Year, 110% of
  the estimated maximum amount of such Capital Expenditures as set forth in the annual
  budget in respect of such Fiscal Year provided by the Canadian Borrower pursuant to
  Section 7.4.1(c) (unless such Capital Expenditures are funded entirely by the proceeds of
  equity contributions or Sales Proceeds to the extent permitted under Section 5.3.2);
  provided that, notwithstanding the foregoing, the maximum aggregate amount of Capital
  Expenditures permitted by this Section 7.2.10 shall be, for the Fiscal Year ending
  December 31, 2018, U.S. $30,000,000.

  7.2.11   Fiscal Year. Change its Fiscal Year end.

  7.2.12 Currency Hedging Agreements. Enter into or be a party to any Currency Hedging
  Agreement, unless:
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  (a)    such Currency Hedging Agreement is entered into with one or more Hedge
         Providers or other counterparties, provided that if it is with any such other
         counterparties the obligations and liabilities thereunder shall be unsecured;

  (b)    in the case of a Currency Hedging Agreement with a Hedge Provider, the Canadian
         Borrower shall execute an ISDA agreement and all other documentation as may be
         required by the applicable counterparty to such Interest Rate Hedging Agreement;

  (c)    such Currency Hedging Agreement is entered into for the purpose of hedging
         against the risk of fluctuations in currencies and not for speculative purposes; and

  (d)    the maturity date of such Currency Hedging Agreement is not more than one year
         from the date thereof and, in any event, not later than the Facilities Maturity Date.

  7.2.13 Interest Rate Hedging Agreements. Enter into or be a party to any Interest Rate
  Hedging Agreement, unless:

  (a)    the aggregate notional amount under all such Interest Rate Hedging Agreements at
         such time does not exceed $75,000,000;

  (b)    such Interest Rate Hedging Agreement is entered into with one or more Hedge
         Providers or other counterparties, provided that if it is with any such other
         counterparties the obligations and liabilities thereunder shall be unsecured;

  (c)    in the case of an Interest Rate Hedging Agreement with a Hedge Provider, the
         Canadian Borrower shall execute an ISDA agreement and all other documentation
         as may be required by the applicable counterparty to such Interest Rate Hedging
         Agreement;

  (d)    such Interest Rate Hedging Agreement is entered into for the purpose of hedging
         against the risk of fluctuations in interest rates, and not for speculative purposes;
         and

  (e)    the maturity date of such Interest Rate Hedging Agreement is not later than the
         Facilities Maturity Date.

  7.2.14 Use of Advances Sanctions. Directly or indirectly use the proceeds of Advances
  to fund operations, or finance investments in, any country that at the time is prohibited by
  Economic Sanctions, the Foreign Corrupt Practices Act, the Corruption of Foreign Public
  Officials Act (Canada) or other Applicable Law, or make payments to any country or
  Person that at the time is prohibited by Economic Sanctions, the Foreign Corrupt Practices
  Act, the Corruption of Foreign Public Officials Act (Canada) or other Applicable Law, or
  directly or indirectly fund any principal repayment with proceeds derived from any such
  country or Person that will result in a violation by a Credit Party (or any Lender hereunder)
  of such Economic Sanctions, the Foreign Corrupt Practices Act, the Corruption of Foreign
  Public Officials Act (Canada) or other Applicable Law.
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  7.2.15 Use of Advances General. Use a material amount of the proceeds of any Advance
  for any purposes other than those expressly contemplated in this Agreement.

  7.2.16 Subordinated Debt. Make any payment to any holders of the Subordinated Debt
  in connection with principal, interest, fees or any other amounts in respect thereof or amend
  the terms thereof, except payments permitted in accordance with the terms of the applicable
  Subordination Agreement, and so long as no Default or Event of Default has occurred and
  is continuing or would reasonably be expected to result therefrom.

  7.2.17 Sanctions. Directly or indirectly, (i) knowingly conduct any business or engage in
  making or receiving any contribution of funds, goods or services to or for the benefit of
  any Person described in 6.1.31, (ii) knowingly deal in, or otherwise engage in any
  transaction relating to, any property or interests in property blocked pursuant to the
  Executive Order or any other Economic Sanction, or (iii) knowingly engage in or conspire
  to engage in any transaction that evades or avoids, or has the purpose of evading or
  avoiding, or attempts to violate, any of the prohibitions set forth in any Economic Sanction
  and the Credit Parties shall deliver to the Agent any certification or other evidence
  requested from time to time confirming the Credit Parties’ compliance with this
  Section 7.2.17.

  7.2.18 Account Receivable Insurance Coverage. Provide the Agent with prior written
  notice of all proposed amendments or modifications to any Account Receivable Insurance
  and, to the extent that any such amendments or modifications (i) de-insures all or a portion
  of any Marginable Receivable that constitutes part of the Borrowing Base, (ii) modifies the
  individual country limits under the Account Receivable Insurance, (iii) extends any
  coverage period under the Account Receivable Insurance, or (iv) affects any of the
  coverage amounts or any coverage period(s) related to receivables of Petróleos Mexicanos
  or its Affiliates, shall not give effect to any such amendment or modification without the
  prior written consent of the Agent, acting reasonably, and in no case taking longer than
  3 Business Days to provide such consent, it being understood that should the Agent fail to
  act within 3 Business Days to provide a an affirmative or negative written response, that
  failure should be deemed to be an act of consent with regards to the proposed amendment.
  For certainty, nothing in this Section 7.2.18 shall derogate from the obligations of the
  Borrowers, or the rights of the Agent, under Section 7.1.10.

  7.2.19 Cash Hoarding. Use the proceeds of any Advance to accumulate or maintain cash
  or Cash Equivalents in one or more depository or investment accounts maintained by any
  Credit Party in an amount, in the aggregate, greater than $20,000,000, but excluding
  therefrom cash or Cash Equivalents accumulated or maintained for a specified business
  purpose (to the extent permitted hereunder and other than simply accumulating cash
  reserve in a manner that is not consistent with past practice of the Credit Parties), and, for
  certainty, the Lenders may refuse to make any requested Advance which the Lenders,
  acting reasonably, determine would result in a contravention of this Section 7.2.19.
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7.3     Financial Covenants

        7.3.1    Subject to the Equity Cure provided below in Section 7.3.2, while there are any
        Outstanding Advances under the Facilities or while any of the Facilities remains available
        to the Borrowers, the Borrowers will not, without the prior written consent of the Required
        Lenders:

        (a)    permit the Net Leverage Ratio measured at the end of each Fiscal Quarter to exceed
               (i) 4.75 to 1 for the Fiscal Quarter ending March 31, 2019; (ii) 3.50 to 1 for the
               Fiscal Quarters ending June 30, 2019, September 30, 2019 and December 31, 2019;
               (iii) 3.50 to 1 for the Fiscal Quarter ending March 31, 2020; (iv) 4.75 to 1 for the
               Fiscal Quarter ending June 30, 2020; (v) 4.50 to 1 for the Fiscal Quarter ending
               September 30, 2020; (vi) 4.25 to 1 for the Fiscal Quarter ending December 31,
               2020; and (vii) 3.00 to 1 for the Fiscal Quarters ending March 31, 2021 and
               thereafter; and

        (b)    permit the Fixed Charge Coverage Ratio measured at the end of each Fiscal Quarter
               to be less than (i) 1.10 to 1 for the Fiscal Quarters ending June 30, 2018, September
               30, 2018 and December 31, 2018; and (ii) 1.25 to 1 for the Fiscal Quarters ending
               March 31, 2019 and thereafter.

        7.3.2    In the event of any Event of Default of the financial covenants set forth in
        Section 7.3.1 (the “Designated Financial Covenants”), any equity contribution made by
        Holdco or the shareholders of Holdco to the Canadian Borrower will, at the request of the
        Canadian Borrower, be included in the calculation of EBITDA solely for the purposes of
        determining compliance with such financial covenants at the end of the applicable Fiscal
        Quarter and any subsequent period that includes such Fiscal Quarter (any such equity
        contribution, a “Specified Equity Contribution”); provided, that:

        (a)    prior written notice of the Canadian Borrower’s intention to utilize such Specified
               Equity Contribution is received by the Agent no later than the date on which the
               financial statements for such Fiscal Quarter or Fiscal Year (as applicable) are
               required to be delivered as provided for in Section 7.4;

        (b)    such Specified Equity Contribution is received by the Canadian Borrower within
               ten (10) Business Days after the Canadian Borrower being required to deliver the
               financial statements for such Fiscal Quarter or Fiscal Year (as applicable) as
               provided for in Section 7.4;

        (c)    the amount of any Specified Equity Contribution included in the calculation of
               EBITDA will be no greater than: (i) the amount required to cause the Canadian
               Borrower to be in compliance with the applicable Designated Financial Covenants
               and (ii) 40% of EBITDA as calculated on a trailing twelve month basis; provided,
               this paragraph shall not apply to the Specified Equity Contribution deemed to be
               made on the Second Amendment Date;

        (d)    all Specified Equity Contributions will be disregarded for all other purposes under
               the Credit Documents (including, to the extent applicable, calculating EBITDA for
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                purposes of determining compliance with Section 7.1.16, the Applicable Margin
                for pricing and other items governed by reference to EBITDA or that include
                EBITDA in the determination thereof in any respect);

        (e)     there shall be no more than one Specified Equity Contribution during any period of
                four consecutive Fiscal Quarters and the aggregate amount of all such Specified
                Equity Contributions shall not exceed $20,000,000; provided that for certainty, the
                Specified Equity Contribution deemed to be made on the Second Amendment Date
                shall not be included for the purposes of calculating the $20,000,000 limit set forth
                in this paragraph;

        (f)     [reserved];

        (g)     the proceeds of all Specified Equity Contributions are actually received by the
                Canadian Borrower and, except for the Specified Equity Contribution deemed to
                be made on the Second Amendment Date, the Canadian Borrower has delivered to
                the Agent 100% of the aggregate proceeds of such Specified Equity Contribution
                as a Repayment pursuant to Section 5.3.1(d) (each such Repayment, an “Equity
                Cure Repayment”) provided that each such Equity Cure Repayment shall be
                ignored for purposes of determining the amount of Total Net Debt of the Borrower,
                including where Total Net Debt is used in the calculation the Designated Financial
                Covenants, until such time that the Specified Equity Contribution ceases to be
                calculated as EBITDA pursuant to the provisions of this Section 7.3.2; provided
                that, notwithstanding the provisions of Section 5.3.3, the proceeds of each Equity
                Cure Repayment are to be applied first to Outstanding Advances under the Term
                Facility in inverse order of maturity until they have been fully repaid and, thereafter,
                to Outstanding Advances under the Operating Facilities in accordance with
                Section 5.3.3.

        If, after giving effect to the recalculations set forth in this Section 7.3.2, the Borrower shall
        then be in compliance with the Designated Financial Covenants, the Borrower shall be
        deemed to have satisfied the requirements of the Designated Financial Covenants and the
        applicable breach or default of the Designated Financial Covenants that had occurred shall
        be deemed cured for the purposes of this Agreement (in each instance, an “Equity Cure”).

        Pursuant to the exercise of the Specified Equity Contribution deemed to be made on the
        Second Amendment Date, the Designated Financial Covenants shall be recalculated giving
        effect to a pro forma adjustment by which EBITDA shall be increased for each of the Fiscal
        Quarters ending June 30, 2019, September 30, 2019, December 31, 2019 and March 31,
        2020, and any four-quarter period that contains such quarter, by an amount equal to the
        Specified Equity Contribution deemed to be made on the Second Amendment Date in
        accordance with the terms above.

7.4     Reporting Requirements

        7.4.1     While there are any Outstanding Advances under the Facilities or while any of the
        Facilities remains available to the Borrower, the Borrowers shall deliver, or cause to be
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  delivered, the following financial and other information to the Agent at the times indicated
  below:

  (a)    within 35 days after the end of each month after the Amendment and Restatement
         Date: (i) monthly aged accounts receivable listings, monthly aged accounts payable
         listings, listings of total inventory and total capital assets by stocking location, cash
         and Cash Equivalent listing and a Borrowing Base Certificate executed by the
         Borrower; and (ii) monthly unaudited financial statements of the Borrower, which
         shall include a balance sheet, statement of cash flows and income statement;

  (b)    promptly upon becoming available and in any event within 45 days after the end of
         each of the first three Fiscal Quarters in each Fiscal Year, a Compliance Certificate
         along with the Interim Financial Statements of the Borrower, which shall include a
         balance sheet, statement of cash flows and income statement, on which it is based,
         and the Borrower shall also make available members of its senior management team
         for a telephone call with Lenders within five Business Days of the end of each
         Fiscal Quarter to discuss, inter alia, the financial position of the Borrower;

  (c)    promptly upon becoming available and in any event within 120 days after the end
         of each Fiscal Year, an annual business and financial plan for the Borrower which
         shall disclose all material assumptions utilized and shall include the following
         items: projected financial covenant ratios, balance sheet, income statement, cash
         flow statement and Capital Expenditure program;

  (d)    promptly upon becoming available and in any event within 120 days after the end
         of each Fiscal Year, the Year-end Financial Statements for the Borrower, which
         shall include a balance sheet, statement of cash flows and income statement,
         together with a copy of the management discussion and analysis and a Compliance
         Certificate which shall include all new material business locations and any other
         changes to Schedule 6.1.2;

  (e)    within 15 days of a request therefor by the Agent and only after a Material Adverse
         Effect or during the continuance of a Default or Event of Default, a listing of
         (i) each of the “serial number goods” (as defined in the Personal Property Security
         Act (Alberta)) or “collateral” for which a security interest must be indicated on a
         “certificate of title” (as such terms are defined under the UCC) for such collateral
         owned by the Credit Parties and the location of such serial number goods or
         certificate of title collateral, and (ii), a legal description of any Lands; but in each
         case, only to the extent that such assets are included in the Borrowing Base;

  (f)    (i) within five Business Days of the end of each calendar week, solely during the
         Covenant Relief Period, a weekly liquidity report in form and substance satisfactory
         to the Agent, including, but not limited to, global cash balances and global facility
         utilization of the Borrower, including individual account summaries; and (ii) solely
         during the Covenant Relief Period, a rolling thirteen week cash flow and Borrowing
         Base projection, in form and substance satisfactory to the Agent, to be delivered
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        within 10 Business Days from receipt by the Borrower of the written request of the
        Agent for such information;

  (g)   (i) together with the delivery of the Interim Financial Statements for the Fiscal
        Quarter ending June 30, 2018, a collateral exam based on such Interim Financial
        Statements; and (ii) prior to December 31, 2018, updated appraisals of the
        equipment, inventory and real estate of the Credit Parties; in each case, in form and
        substance satisfactory to the Lenders, acting reasonably;

  (h)   provide prompt notice to the Agent of: (i) the occurrence of any Default or Event
        of Default (for greater certainty, whether or not such Default or Event of Default is
        continuing); (ii) any Material Adverse Change or Material Adverse Effect; (iii) any
        material litigation affecting any Credit Party or any breach of any Requirement of
        Environmental Law, where in either such case there is a reasonable prospect that
        the liability of any Credit Party with respect thereto could exceed Cdn. $5,000,000
        in any Fiscal Year or which would reasonably be expected to result in a Material
        Adverse Change; (iv) any material amendments to or replacements of, or waivers
        of material breaches in respect of, the Material Agreements or the Material Permits;
        (v) any notice of default, termination or suspension received by any Credit Party in
        respect of material Funded Debt or in respect of any Material Agreement or
        Material Permit; and (vi) the occurrence of any ERISA Event that would reasonably
        be expected to have a Material Adverse Effect;

  (i)   provide prompt notice to the Agent of: (i) any labour dispute to which any Credit
        Party is or is expected to become a party, including any strikes, lockouts or other
        labor disputes relating to any of such Person’s plants and other facilities, which
        could reasonably be expected to result in a Material Adverse Effect, (ii) any Worker
        Adjustment and Retraining Notification Act or related liability incurred with
        respect to the closing of any plant or other facility of any such Person and (iii) any
        material liability under Applicable Law similar to the Worker Adjustment and
        Retraining Notification Act or otherwise arising out of plant closings;

  (j)   (x) provide prompt notice to the Agent of any material notices it receives under or
        in connection with the Accounts Receivable Insurance, including related to: (i) any
        termination thereof, (ii) any disputed claims related thereto, (iii) any denied
        coverage thereunder or (iv) any alleged misrepresentations given by any Credit
        Party in connection therewith and (y) provide prior written notice of any
        amendment of material terms of the Account Receivable Insurance;

  (k)   provide written notice to the Agent of any event or circumstance, with the giving
        of notice or lapse of time or both, would constitute a default or event of default
        under a Permitted Securitization Financing promptly (and in any event not less than
        three Business Days) upon becoming aware of same constituted by a Permitted
        Securitization Financing; provided such notice shall include reasonable details of
        the nature of such event or circumstance and the corresponding default or event of
        default, any applicable cure period with respect thereto and any remedial actions to
        be taken with respect to same; and
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        (l)   such additional information and documents as the Agent or the Lenders may
              reasonably require from time to time, not otherwise inconsistent with the terms of
              this Agreement, to ensure the ongoing compliance by the Borrower with the terms
              and conditions of this Agreement, in form reasonably acceptable to the Agent and
              the Lenders.

7.5     Designation of Unrestricted Subsidiaries

        (a)   The Canadian Borrower from time to time, by notice to the Agent in the form of
              Exhibit I, shall be entitled to designate that either:

              (i)    a Material Subsidiary will be an Unrestricted Subsidiary; or

              (ii)   an Unrestricted Subsidiary will be a Material Subsidiary;

              provided, that the Borrower will not be entitled to designate a Material Subsidiary
              to be an Unrestricted Subsidiary if:

                     (A)     a Default or an Event of Default has occurred and is continuing
                             unless the exercise of the Borrower’s discretion under paragraph (i)
                             or (ii) above would cause such Default or Event of Default to be
                             cured; or

                     (B)     a Default or an Event of Default would result from or exist
                             immediately after such a designation.

        (b)   For the avoidance of doubt, notwithstanding anything in this Agreement or the
              Credit Documents to the contrary, for purposes of calculating the Borrowing Base,
              the definition of “Marginable Cash” shall include the unrestricted cash (determined
              in accordance with GAAP) and Cash Equivalents of each of QMax do Brasil
              Solucoes do Petroleo Ltda., International Drilling Fluids and Engineering Services
              (IDEC) Ltd. and QMax Solutions India (Project Office) of QMax Solutions Inc. (or
              any other Subsidiary of the Borrowers in the Agent’s sole discretion, acting
              reasonably) to the extent (a) such cash and Cash Equivalents are held in collateral
              account/s maintained by the Agent or an affiliate thereof (or such other bank
              deemed reasonable in the sole discretion of the Agent), and (b) the Agent has
              received a guarantee (to the extent of the value of the pledged cash and Cash
              Equivalents in such account; it being understood that Agent may waive this
              requirement in its sole discretion if the circumstances warrant) and a deposit
              account agreement or substantially equivalent agreements under the laws of such
              local jurisdiction, in form and substance reasonably satisfactory to Agent, whereby,
              inter alia, the Agent retains exclusive control to direct the transfer of funds
              therefrom during the continuation of an Event of Default under Section 10.1 hereof
              (with withdrawals by the applicable Credit Party to be permitted upon notice to the
              Agent so long as the Agent has not delivered a notice of exclusive control upon the
              occurrence and during the continuation of an Event of Default), together with
              evidence of all requisite registrations or filings of each such agreement under
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                Applicable Law and such other documentation reasonably satisfactory to Agent,
                including legal opinions.

        (c)     Any Subsidiary of the Borrowers that pledges cash and/or Cash Equivalents in the
                manner provided for in paragraph (b) above shall, notwithstanding that such
                Subsidiary is not a Material Subsidiary, be subject to the provisions of Section 7.2.1
                hereof; provided, such Subsidiary shall otherwise not be subject to Section 7.2.

        (d)     The Agent acknowledges that, as of the date hereof, Mud Movers LLC has been
                designated as an Unrestricted Subsidiary.

7.6     Securitization SPE

        7.6.1      As of the Amendment and Restatement Date, ADF SPE, LLC, a Delaware limited
        liability company, shall be designated a Securitization SPE.

        7.6.2    After the Amendment and Restatement Date, the Canadian Borrower from time
        to time, by notice to the Agent, may designate any Unrestricted Subsidiary as a
        Securitization SPE; provided, that the Borrower will not be entitled to such a designation
        if (a) a Default or an Event of Default has occurred and is continuing (unless such
        designation would cause such Default or Event of Default to be cured) or (b) a Default or
        an Event of Default would result from or exist immediately after such a designation.

        7.6.3      No Securitization SPE

        (a)     shall incur any Funded Debt other than Funded Debt pursuant to the Permitted
                Securitization Financing to which it is a party;

        (b)     shall conduct any business other than (i) the acquisition of accounts receivable from
                one or more Credit Parties, and (ii) the consummation and performance of
                Permitted Securitization Financing.

        7.6.4    As at the Amendment and Restatement Date, the Material Subsidiaries and
        Unrestricted Subsidiaries are as set out in Schedule 6.1.2.

                                            ARTICLE 8
                                            SECURITY

8.1     Security

       Each Borrower agrees to provide (or cause to be provided) the security listed below to the
Agent on behalf of the Lenders and the Hedge Providers as continuing security for the payment
and performance of all present and future, direct and indirect, indebtedness and obligations of the
Credit Parties to the Agent, the Lenders and the Hedge Providers (on a pari passu basis) related to
the Credit Documents, the Banking Service Agreements and the Hedging Agreements:
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  (a)   a general security agreement from each Borrower creating a First-Ranking Security
        Interest in respect of all of its present and after-acquired property, assets and
        undertaking and a floating charge over all present and future owned real property;

  (b)   an unlimited Guarantee from the U.S. Borrower in respect of present and future,
        direct and indirect, indebtedness and Obligations of the Canadian Borrower and
        other Credit Parties to the Agent and the Lenders;

  (c)   an unlimited Guarantee from each Material Subsidiary of the Canadian Borrower
        (excluding, for the avoidance of doubt, any Securitization SPE) which is not a
        Borrower in respect of present and future, direct and indirect, indebtedness and
        Obligations of the Borrowers to the Agent and the Lenders;

  (d)   a general security agreement or debenture (or other equivalent security applicable
        in the relevant jurisdiction) from each Guarantor creating a First-Ranking Security
        Interest in respect of all its present and after acquired property, assets and
        undertaking and a floating charge over all present and future owned real property,
        provided, that (a) for so long as the Encina Loan Agreement is in effect, with respect
        to Anchor and its Subsidiaries the ranking of the First-Ranking Security Interest is
        to be in accordance with the Encina Intercreditor Agreement and (b) thereafter, so
        long as the Wells Fargo Credit Agreement is in effect, any Receivables and other
        assets encumbered by a lien pursuant to the Wells Fargo Credit Agreement and the
        other loan documents in connection therewith shall be excluded from the Security
        of the Agent and the Lenders;

  (e)   a limited recourse guarantee from Holdco and a share pledge agreement from
        Holdco in respect of all of the issued and outstanding shares of the Canadian
        Borrower owned by it;

  (f)   a securities pledge agreement or charge over shares (or other equivalent security
        applicable in the relevant jurisdiction) in respect of the shares or units of the U.S.
        Borrower and any Material Subsidiary owned by a Credit Party;

  (g)   prior to the incurrence of any Subordinated Debt by any Credit Party, a
        Subordination Agreement in respect to such Subordinated Debt;

  (h)   for each Leased Property deemed material by the Required Lenders, acting
        reasonably, a Landlord Agreement in respect of each such Leased Property;
        provided that the Agent may impose a three month rent reserve against the
        Borrowing Base with respect to Eligible Inventory valued in excess of $250,000
        (per location) which is located at or on Leased Property in respect of which such
        Landlord Agreement is not obtained;

  (i)   for each Credit Party (other than Anchor, Terra and their Subsidiaries) who does
        not maintain all of its bank accounts exclusively with the Agent or its Affiliates,
        deposit account control or blocked account agreements among the Agent and the
        applicable financial institution which such bank account is maintained with, as may
        be reasonably required by the Agent subject to the last sentence of Section 7.1.13;
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        (j)    estoppel letters, consignments agreements, bailee letters, certificates or consents
               from such third parties as may be reasonably required by the Agent, but subject to
               any limitations set forth herein or in any other Credit Document; and

        (k)    such other security as may be reasonably required by the Agent and the Lenders
               from time to time;

               in each case, in accordance with the time periods set out in Sections 7.1.14.

8.2     General Provisions re Security; Registration

        The Security shall be in form and substance satisfactory to the Agent and the Lenders,
acting reasonably. The Agent may require that any item of Security be governed by the laws of the
jurisdiction where the property subject to such item of Security is located. The Security shall be
registered by the Borrowers where necessary or desirable to record and perfect the charges
contained therein, as determined by the Agent giving consideration to, among other things, the
cost thereof relative to the benefit to the Lenders thereof, and if the Borrowers do not so register
the Security as requested or if the registration may be effected by the secured party thereunder, the
Agent may do the same. Notwithstanding the foregoing, the parties expressly agree that no actions
shall be required under this Section 8.2 or in respect of Security generally to the extent that the
costs of obtaining such Financial Assistance or Lien or perfecting or registering such Security
outweigh the benefits afforded thereby, in the opinion of the Required Lenders, acting reasonably,
such determination to be made at the written request of the Canadian Borrower; provided, that the
Agent and Lenders shall be entitled to re-evaluate whether the costs of obtaining such Financial
Assistance or Lien or perfecting or registering such Security outweigh the benefits afforded
thereby from time to time in their discretion.

       If any Lender determines, acting reasonably, that any Applicable Law has made it
unlawful, or that any Governmental Authority has asserted that it is unlawful for such Lender to
hold or benefit from any Guarantee and/or Security, such Lender shall notify the Agent and
disclaim any benefit of such Guarantee and/or Security to the extent of such unlawfulness,
provided that such disclaimer shall not invalidate or render unenforceable such Guarantee and/or
Security for the benefit of any of the other Lenders

8.3     Opinions re Security

        The Credit Parties shall cause to be delivered to the Agent and the Lenders the results of
all applicable searches in respect of the Credit Parties in the applicable jurisdiction as well as the
opinions of solicitors for the Credit Parties regarding their corporate status, the due authorization,
execution and delivery of the Security provided by them, all registrations in respect of the Security,
and the enforceability of such Security; all such opinions to be in form and substance satisfactory
to the Agent and its counsel, acting reasonably.

8.4     After-Acquired Property, Further Assurances

       Each Credit Party agrees to execute and deliver from time to time, and cause each of its
Material Subsidiaries to execute and deliver from time to time, all such further documents and
assurances as may be reasonably required by the Agent from time to time in order to provide the
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Security contemplated hereunder, specifically including: supplemental or additional security
agreements, assignments and pledge agreements which shall include lists of specific assets to be
subject to the security interests required hereunder.

8.5     Security for Swap Documents with Former Lenders

        (a)   If a Lender ceases to be a Lender under this Agreement (for purposes of this
              Section 8.5, a “Former Lender”), all Secured Hedging Liabilities owing to such
              Former Lender and its Affiliates under Hedging Agreements entered into while
              such Former Lender was a Lender shall remain secured by the Security (equally
              and rateably) to the extent that such Secured Hedging Liabilities were secured by
              the Security prior to such Lender becoming a Former Lender and, subject to the
              following provisions of this Section 8.5. For certainty, any Hedging Liabilities
              under Hedging Agreements entered into with a Former Lender or an Affiliate
              thereof after the Former Lender has ceased to be a Lender shall not be Secured
              Hedging Liabilities nor shall they be secured by the Security. Notwithstanding the
              foregoing, while any Obligations remain outstanding under the Facilities, no
              Former Lender or any Affiliate thereof shall have any right to cause or require the
              enforcement of the Security or any right to participate in any decisions relating to
              the Security, including any decisions relating to the enforcement or manner of
              enforcement of the Security or decisions relating to any amendment to, waiver
              under, release of or other dealing with all or any part of the Security; for certainty,
              the sole right of a Former Lender and its Affiliates with respect to the Security while
              any Obligations remain outstanding under the Facilities is to share, on a pari passu
              basis, in any proceeds of realization and enforcement of the Security.

        (b)   If this Agreement is terminated, all Secured Hedging Liabilities owing to any
              Hedge Provider under Hedging Agreements entered into while such Hedge
              Provider, or its Affiliate, was a Lender hereunder and all Obligations under Banking
              Service Agreements between one or more Credit Parties and such Lender entered
              into while the Lender was a Lender hereunder shall no longer be secured by the
              Security.

8.6     Insurance Proceeds

      If insurance proceeds become payable in respect of loss of or damage to any property
owned by a Credit Party:

        (a)   if an Event of Default has occurred and is continuing at such time, the Agent shall
              apply such proceeds against the Obligations; and

        (b)   otherwise, the Agent shall apply such excess proceeds against the Obligations in
              accordance with Sections 5.3.1 and 5.3.2.

8.7     Qualified ECP Guarantor Keepwell

        Each Qualified ECP Guarantor hereby jointly and severally absolutely, unconditionally
and irrevocably undertakes to provide such funds or other support as may be needed from time to
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time by each other Credit Party to honor all of such Credit Party’s obligations under this Agreement
and the applicable Security (provided, however, that each Qualified ECP Guarantor shall only be
liable under this Section 8.7 for the maximum amount of such liability that can be hereby incurred
without rendering its obligations under this Section 8.7, or otherwise under this Agreement and
the applicable Security, voidable under applicable law relating to fraudulent conveyance or
fraudulent transfer, and not for any greater amount). The obligations of each Qualified ECP
Guarantor under this Section 8.7 shall remain in full force and effect until its Obligations have
been discharged in full. Each Qualified ECP Guarantor intends that this Section 8.7 constitute, and
this Section 8.7 shall be deemed to constitute, a “keepwell, support, or other agreement” for the
benefit of each other Credit Party for all purposes of Section 1a(18)(A)(v)(II) of the Commodity
Exchange Act.

8.8     Additional Release by Lender

        If any Lender determines, acting reasonably, that any Applicable Law has made it
unlawful, or that any Governmental Authority has asserted that it is unlawful, for such Lender to
hold or benefit from a Lien over real property pursuant to any law of the United States or any State
thereof, such Lender may notify the Agent and disclaim any benefit of such Lien to the extent of
such illegality; provided, that such determination or disclaimer shall not invalidate or render
unenforceable such Lien for the benefit of any other beneficiary of such Lien.

8.9     Security Principles Affecting Certain Subsidiaries

       In obtaining Security from Material Subsidiaries in their respective jurisdiction of
incorporation, the Agent, the Lenders and the Canadian Borrower agree that:

        (a)    all Guarantees and Security granted will be limited to the extent necessary to
               comply with local legal requirements, as determined by the Agent acting
               reasonably;

        (b)    general statutory limitations, financial assistance, corporate benefit, fraudulent
               preference, “thin capitalization” rules, tax restrictions (including tax thin
               capitalization issues), retention of title claims and similar principles may limit the
               ability of a Material Subsidiary to provide a Guarantee or other Security or may
               require that the Guarantee be limited by an amount or otherwise provided that the
               Canadian Borrower and the applicable Material Subsidiary will use reasonable
               endeavours to overcome such obstacles and to assist in demonstrating that adequate
               corporate benefit accrues to the relevant Guarantor;

        (c)    the Security and extent of its perfection will be agreed on the basis that the cost to
               the Credit Parties of providing such Security shall be proportionate to the benefit
               accruing to the Lenders;

        (d)    Material Subsidiaries will not be required to give Guarantees or enter into Security
               if that would conflict with the fiduciary duties of their directors or contravene any
               legal prohibition or result in a risk of personal or criminal liability on the part of an
               officer provided that the relevant Guarantor shall use reasonable endeavours to
               overcome any such obstacle;
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        (e)   perfection of security, when required, and other legal formalities will be completed
              as soon as practicable and, in any event, within the relevant time periods specified
              herein or, if earlier or to the extent no such time periods are specified herein, within
              the time periods specified by applicable law in order to ensure due perfection,
              provided that the perfection of security granted will not be required if it would have
              a material adverse effect on the ability of the relevant Guarantor to conduct its
              operations and business in the ordinary course as otherwise permitted by this
              Agreement;

        (f)   where a class of assets to be secured includes material and immaterial assets, if the
              cost of granting Security over the immaterial assets is disproportionate to the
              benefit of such Security, security will be granted over the material assets only.

                                      ARTICLE 9
                                CONDITIONS PRECEDENT

9.1     Conditions Precedent to Agreement

       This Agreement shall not become effective unless and until the following conditions have
been satisfied, in each case to the satisfaction of the Agent and the Lenders:

        (a)   the conditions precedent in Section 9.2 shall have been satisfied;

        (b)   the Agent and the Lenders shall be satisfied, in their reasonable discretion, with all
              Material Agreements, including confirmation that Palladium beneficially owns
              (within the meaning of Rule 13d-3 promulgated under the United States Securities
              Exchange Act of 1934) at least 52% of the issued and outstanding shares (excluding
              stock options) of the Canadian Borrower;

        (c)   the Credit Parties shall have obtained insurance in respect of its consolidated
              property, business and assets, evidenced by an insurance certificate naming the
              Agent as additional insured and first loss payee;

        (d)   the Canadian Borrower shall have in place acceptable Account Receivable
              Insurance, evidenced by an endorsement or insurance certificate naming the Agent
              as first loss payee;

        (e)   subject to Schedule 9.1, (A) this Agreement and all Security (or in the case of
              Security that was previously delivered in connection with the Existing Credit
              Agreement, an acknowledgment and confirmation from the applicable Credit Party
              thereto if so requested by the Agent) required shall have been executed and
              delivered and (i) in Alberta, British Columbia and each other applicable Canadian
              jurisdiction, all registrations and deliveries necessary or desirable in connection
              therewith shall have been made, and (ii) in any other jurisdiction, the same, as
              applicable, shall have been delivered to the Agent in proper form for filing, and (B)
              all legal opinions and other documentation reasonably required by the Lenders in
              connection therewith shall have been executed and delivered, in each case, in form
              and substance reasonably satisfactory to the Agent and the Lenders;
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  (f)   the Agent and the Lenders shall have received satisfactory evidence that there are
        no Liens affecting any of the assets of the Credit Parties, except for Permitted Liens;

  (g)   the Agent and Lenders shall have received satisfactory confirmation that at least
        80% of the Insured Receivables forming part of the Borrowing Base are derived
        from, subject to and governed by Eligible Approved Contracts;

  (h)   the Agent shall have received an officer’s certificate, certificate of incumbency and
        certified copies of the articles, by-laws and resolutions of the board of directors of
        each Borrower and each other Credit Party formed under the laws of Canada, the
        U.S. or any province or state thereof concerning the due authorization, execution
        and delivery of the Credit Documents to which it is a party, and such related matters
        as the Agent and the Lenders may reasonably require;

  (i)   the Agent shall have received a certificate of status, certificate of compliance or
        similar certificate for each Borrower and each other Credit Party formed under the
        laws of Canada, the U.S. or any province or state thereof issued by its governing
        jurisdiction;

  (j)   the Agent and the Lenders shall have received opinions from the solicitors for the
        Credit Parties in Alberta, British Columbia and Delaware, regarding, amongst other
        things, its corporate status, the due authorization, execution, delivery and
        enforceability of the Credit Documents provided by it, perfection and registration
        of the Security, and such other matters as the Agent and the Lenders may require;

  (k)   the Agent shall have received an opinion of its solicitors, Torys LLP, with respect
        to matters as the Agent and the Lenders may require.

  (l)   the Canadian Borrower shall have delivered a duly executed and completed
        Borrowing Base Certificate and a pro forma Compliance Certificate;

  (m)   consolidated cash flow projections, pro forma balance sheet, income statement and
        capital expenditure budget of the Canadian Borrower for each of the 2018, 2019
        and 2020 Fiscal Years, including an analysis of the Mexican days of sales
        outstanding;

  (n)   the Borrowers and the Agent shall have entered into a Fee Agreement;

  (o)   the Borrowers shall have paid to the Agent all fees and expenses (including the
        Agent’s reasonable and documented out-of-pocket legal expenses) relating to the
        establishment, amendment and restatement of the Facilities;

  (p)   no Material Adverse Change shall have occurred since March 31, 2018;

  (q)   the Agent shall have received satisfactory evidence that the Credit Parties have
        obtained all necessary consents of all Governmental Authorities required in
        connection with the execution of the Credit Documents and the consummation of
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              the transactions contemplated thereby and the Canadian Borrower shall have
              delivered an officer’s certificate certifying same;

        (r)   each of the representations and warranties in Article 6 shall be true and correct in
              all material respects and the Canadian Borrower shall have delivered an officer’s
              certificate certifying same; and

        (s)   Holdco shall have received no less than $3,000,000 by way of an equity
              contribution by Palladium, an Investor or an Affiliate thereof and shall,
              substantially concurrently therewith, provide reasonably satisfactory evidence of
              such receipt to the Agent.

9.2     Conditions Precedent to all Advances

        The Lenders shall have no obligation to make any Advance (including for greater certainty
the initial Advance hereunder), unless at the time of making each such Advance the following
terms and conditions shall have been satisfied:

        (a)   the representations and warranties in Article 6 shall be true and correct in all
              material respects as if made on the date of such Advance except to the extent such
              representations and warranties relate to an earlier date in which case the information
              contained in representations and warranties shall be true and correct in all material
              respects as of such earlier date;

        (b)   no Material Adverse Effect shall have occurred since the date of the then most
              recent Year-end Financial Statements;

        (c)   no Default or Event of Default shall have occurred and be continuing, nor shall the
              making of the Advance result in the occurrence of any Default or Event of Default;

        (d)   no Borrowing Base Shortfall shall and be continuing, nor shall the making of the
              Advance result in the occurrence of any Borrowing Base Shortfall;

        (e)   after giving effect to the proposed drawdown, the outstanding principal of all
              Outstanding Advances under the applicable Facility shall not exceed the maximum
              amount of such Facility; and

        (f)   the Borrower shall have given a Drawdown Request to the Agent in accordance
              with the notice requirements provided herein (except in respect of Advances in the
              form of Overdrafts).
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                                      ARTICLE 10
                                 DEFAULT AND REMEDIES

10.1     Events of Default

       The occurrence of any one or more of the following events, after the expiry of any
applicable cure period set out below, shall constitute an event of default under this Agreement (an
“Event of Default”):

         (a)   if,

               (i)     any Credit Party makes default in the due and punctual payment of any
                       principal amount owing under the Credit Documents, as and when the same
                       becomes due and payable, whether at maturity or otherwise;

               (ii)    any Credit Party makes default in the due and punctual payment of Interest
                       or fees owing under the Credit Documents (other than the Hedging
                       Agreements), as and when the same become due and payable, whether at
                       maturity or otherwise and such default continues for a period of three
                       Business Days after written notice thereof is given to the applicable Credit
                       Party by the Agent; or

               (iii)   any Credit Party makes default in the due and punctual payment of any
                       amounts in excess, in the aggregate, of $1,000,000 owing under the Hedging
                       Agreements with a Hedge Provider, as and when the same become due and
                       payable, whether at maturity or otherwise and such default continues for a
                       period of ten (10) Business Days after written notice thereof is given to the
                       applicable Credit Party by the applicable Hedge Provider;

         (b)   the Borrower fails to be in compliance with any of the covenants set out in
               Section 7.2 or Section 7.3 (subject to the Equity Cure in compliance with Section
               7.3.2);

         (c)   any representation or warranty provided by a Credit Party to the Agent or the
               Lenders herein or in any other Credit Document was incorrect in any material
               respect on the date on which such representation or warranty was made;

         (d)   any Credit Party fails in a material way to perform or comply with any of its
               covenants or obligations contained in this Agreement or any other Credit Document
               (other than those set out in Subsections (a), (b) and (c) above); provided, that if
               such non-compliance is capable of remedy within 30 days after notice thereof from
               the Agent and such Credit Party diligently attempts to remedy such non-compliance
               and periodically informs the Agent of its efforts in this regard, and such
               non-compliance is remedied within such period, then such non-compliance shall be
               deemed not to constitute an Event of Default;

         (e)   the occurrence of a Change of Control;
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  (f)   any one or more of the Credit Parties is in default in the payment or performance
        of any of its or their indebtedness or obligations under any agreement relating to
        any Funded Debt (other than the Obligations) where the principal amount owing
        under such agreements in the aggregate is in excess of $10,000,000 (after the expiry
        of any grace or cure periods relating thereto), and in either case, such indebtedness
        or obligations have been, or may be, accelerated, unless such default is waived by
        the applicable counterparties or holders of such debt in accordance with its terms;

  (g)   one or more final judgments or decrees for the payment of money shall have been
        obtained or entered against any one or more of the Credit Parties in excess of
        $10,000,000 in the aggregate and is not released, bonded, satisfied, discharged,
        vacated, or stayed within 30 days;

  (h)   an Insolvency Event occurs in respect of any Credit Party or any Subsidiary of the
        Borrowers that pledges cash and/or Cash Equivalents in accordance with
        Section 7.5(b) hereof; provided, this clause (h) shall exclude an Insolvency Event
        in respect of any Securitization SPE.

  (i)   the Credit Parties (taken as a whole) cease (or take an affirmative action towards
        ceasing) to carry on business, or a substantial part thereof, or make or threaten to
        make (or take an affirmative action towards making) a bulk sale of their property,
        except to the extent specifically permitted hereunder;

  (j)   the property of any one or more of the Credit Parties having a fair market value in
        excess of $10,000,000, in aggregate, shall be seized (including by way of execution,
        attachment, garnishment or distraint) or any Lien thereon shall be enforced, or such
        property shall become subject to any charging order or equitable execution of a
        court, or any writ of enforcement, writ of execution or distress warrant with respect
        to obligations in excess of $10,000,000, in aggregate, shall exist in respect of any
        one or more of any of them, or such property, or any sheriff, civil enforcement agent
        or other Person shall become lawfully entitled to seize or distrain upon such
        property under the Civil Enforcement Act (Alberta), the Workers’ Compensation
        Act (Alberta), the Personal Property Security Act (Alberta) or any other applicable
        Laws whereunder similar remedies are provided, and in any case such seizure,
        execution, attachment, garnishment, distraint, charging order or equitable
        execution, or other seizure or right, shall continue in effect and not be released or
        discharged for more than 30 days;

  (k)   a Material Adverse Change has occurred since the date of the then most recent
        Year-end Financial Statements and remains continuing for more than 30 days after
        notice thereof is given to the Canadian Borrower by the Agent;

  (l)   if an ERISA Event shall have occurred that would reasonably be expected to have
        a Material Adverse Effect;

  (m)   any Credit Document or any material provision thereof is or is declared by any
        court of competent jurisdiction to be unenforceable, or any Credit Party terminates
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                or purports to terminate its liability under any Credit Document or disputes the
                validity or enforceability of such Credit Document;

         (n)    any of the Security ceases to constitute a valid and perfected First-Ranking Security
                Interest over Collateral of a value in excess of $5,000,000 in the aggregate and the
                Borrower shall have failed to remedy such default within 5 days of becoming aware
                of such fact and being provided by the Agent with any documentation required to
                be executed to remedy such default; and

         (o)    if any Borrower fails to eliminate a Borrowing Base Shortfall as provided in
                Section 5.3.5.

        Notwithstanding the foregoing, a declaration of an Event of Default under clause (i) above
shall not: (1) prevent the commencement of a proceeding under Law 1116 of 2006 (“Law 1116”)
or the filing of a petition in Colombia to commence a proceeding under Law 1116 with respect to
any Colombian Branch of any Credit Party, whether in a voluntary or involuntary manner; (2) be
construed to mean that the purpose of this Section is to prevent or create obstacles to prevent,
directly or indirectly, that proceedings be commenced in Colombia under Law 1116 with respect
to any Colombian Branch of any Credit Party; (3) prohibit any Colombian Branch of any Credit
Party from negotiating or entering into a restructuring agreement under Law 1116; or (4) impose
any restrictions or prohibitions, or unfavorable effects “efectos desfavorables” upon any
Colombian Branch of any Credit Party for the negotiation or execution of a restructuring
agreement under Law 1116. The rights of the Lenders under this Section may not be exercised in
connection with clause (i) above if and for so long as a proceeding is commenced or a petition is
filed in Colombia to commence a proceeding under Law 1116 with respect to any Colombian
Branch clause (i) above, whether in a voluntary or involuntary manner or any Colombian Branch
clause (i) above engage in negotiations to enter into, or enters into a restructuring agreement in
Colombia under Law 1116.

10.2     Acceleration; Additional Interest

        Upon the occurrence of an Insolvency Event in respect of any Credit Party, the Obligations
shall become immediately due and payable, without the necessity of any demand upon or notice
to the Borrower by the Agent and the Swingline shall be cancelled. Upon the occurrence and during
the continuation of any Event of Default other than such an Insolvency Event, the Agent, at the
request of and on behalf, of the Required Lenders, shall by written notice to the Borrowers declare
the Obligations to be immediately due and payable. From and after the date of the occurrence of
an Event of Default and for so long as such Event of Default continues, both before and after the
Acceleration Date, all Outstanding Advances may bear interest or fees at the Default Rate in order
to compensate the Lenders for the additional risk associated therewith.

10.3     Acceleration of Certain Contingent Obligations

       Upon the occurrence of an Event of Default which is continuing, any Lender which has
issued a Bankers’ Acceptance, BA Equivalent Loan, LIBOR Loan or Letter of Credit or entered
into a Hedging Agreement with Credit Party may make a Canadian Dollar Prime Rate Loan, a
U.S. Dollar Base Rate Loan or a U.S. Dollar Prime Rate Loan, as applicable, to a Borrower in an
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amount equal to the face amount of such Bankers’ Acceptance, BA Equivalent Loan, LIBOR Loan
or Letter of Credit, or the amount required to unwind such Hedging Agreement (such amount to
be determined in accordance with the terms thereof), as the case may be; and the proceeds of any
such Loan shall be held by such Lender and used to satisfy the Lender’s obligations under the said
Bankers’ Acceptance, BA Equivalent Loan, LIBOR Loan or Letter of Credit as such becomes due,
or to effect the unwinding of such Hedging Agreement. Any such Loan shall bear interest at the
rate and in the manner applicable to Canadian Dollar Prime Rate Loans, U.S. Dollar Base Rate
Loans or U.S. Dollar Prime Rate Loan, as applicable, under the Facility under which such Bankers’
Acceptance, BA Equivalent Loan, LIBOR Loan or Letter of Credit was issued. Any such Loan
made in respect of a Hedging Agreement shall bear interest at the rate and in the manner applicable
to Canadian Dollar Prime Rate Loans under the Canadian Operating Facility which provides for
the highest interest rate at such time.

10.4     Combining Accounts, Set-Off

        Upon the occurrence and during the continuation of an Event of Default, in addition to and
not in limitation of any rights now or hereafter granted under Applicable Law, each Lender may
without notice to any Credit Party at any time and from time to time:

         (a)   combine, consolidate or merge any or all of the deposits or other accounts
               maintained with such Lender by such Credit Party in respect of this Agreement
               (whether term, notice, demand or otherwise and whether matured or unmatured)
               and such Credit Party’s obligations to such Lender hereunder; and

         (b)   set off, apply or transfer any or all sums standing to the credit of any such deposits
               or accounts in or towards the satisfaction of the said obligations,

including all claims of any nature or description arising out of or connected with this Agreement,
including contingent obligations of the Lenders in respect of unmatured Bankers’ Acceptances, in
which case the Agent or such Lender will promptly notify the Borrower thereof after the
occurrence thereof; provided, that the Agent’s or such Lender’s failure to give any such notice will
not affect the validity thereof. Nothing contained in the Credit Documents will require the Agent
or a Lender to exercise any right, or will affect the right of the Agent or a Lender to exercise and
retain the benefits of exercising any right, with respect to any Obligations existing otherwise than
pursuant to the Credit Documents.

10.5     Attorney in Fact

        Each Borrower hereby irrevocably constitutes and appoints the Agent and any officer or
agent thereof, with full power of substitution, as its true and lawful attorney in fact with full
irrevocable power and authority in the place and stead of such Borrower and in the name of such
Borrower or in its own name, from time to time in the Agent’s discretion, for the purpose of
carrying out the terms of the Credit Documents, to take any and all appropriate action and to
execute any and all documents and instruments which may be necessary or desirable to accomplish
the purposes of the Credit Documents and which such Borrower being required by the terms
thereof to take or execute has failed to take or execute; provided, that this power of attorney will
not be effective until the occurrence and during the continuance of any Event of Default. Each
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Borrower hereby ratifies all that said attorneys will lawfully do or cause to be done by virtue
hereof. This power of attorney is a power coupled with an interest and will be irrevocable until all
of the Obligations under the Credit Documents have been unconditionally and irrevocably paid
and performed in full. Each Borrower also authorizes the Agent, at any time and from time to time
following the occurrence and during the continuance of any Event of Default, to execute any
endorsements, assignments or other instruments of conveyance or transfer pursuant to the Security.
If requested by the Agent, each Borrower will cause each other Credit Party to constitute and
appoint the Agent and any officer or agent thereof, with full power of substitution, as its true and
lawful attorney in fact in accordance with the foregoing provisions of this Section 10.5.

10.6     Appropriation of Monies

        After the occurrence and during the continuation of an Event of Default, the Agent may
from time to time apply any Proceeds of Realization against any portion or portions of the
Obligations, and the Borrowers may not require any different application. The taking of a judgment
or any other action or dealing whatsoever by the Agent or the Lenders in respect of the Security
shall not operate as a merger of any of the Obligations hereunder or in any way affect or prejudice
the rights, remedies and powers which the Agent or the Lenders may have, and the foreclosure,
surrender, cancellation or any other dealing with any Security or the said obligations shall not
release or affect the liability of the Borrowers or any other Person in respect of the remaining
portion of the Obligations.

10.7     No Further Advances

        The Lenders shall not be obliged to make any further Advances (including honouring any
cheques drawn by a Borrower which are presented for payment) from and after the earliest to occur
of the following: (a) delivery by the Agent to the Borrowers of a written notice that a Default or
an Event of Default has occurred and is continuing and that as a result thereof no further Advances
will be made (whether or not such notice also requires immediate repayment of the Obligations)
and (b) the occurrence and continuance of an Event of Default under Section 10.1(h).

10.8     Remedies Cumulative

        All of the rights and remedies granted to the Agent and the Lenders in this Agreement, and
any other Credit Documents or instruments in existence between the Parties or contemplated
hereby, and any other rights and remedies available to the Agent and the Lenders at law or in
equity, shall be cumulative. The exercise or failure to exercise any of the said remedies shall not
constitute a waiver or release thereof or of any other right or remedy, and shall be non-exclusive.

10.9     Performance of Covenants by Agent

        If a Credit Party fails to perform any covenant or obligation to be performed by it pursuant
to this Agreement, the Agent, at the request of the Required Lenders (in their sole discretion), after
written notice to the Borrowers, perform any of the said obligations but shall be under no obligation
to do so; and any amounts expended or advanced by the Agent for such purpose shall be payable
by the Borrowers upon demand, together with interest thereon at the highest rate then applicable
to the Facilities.
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10.10 Purchase of Participation Following Acceleration

         After all Obligations are declared by the Agent to be due and payable pursuant to
Section 10.2, (i) each Lender agrees that it will at any time or from time to time thereafter at the
request of the Agent as required by any Lender, purchase at par on a non-recourse basis a
participation in the Outstanding Advances owing to each of the other Lenders under the Operating
Facilities and make any other adjustments as are necessary or appropriate, in order that the
Outstanding Advances owing to each of the Lenders under the Operating Facilities, as adjusted
pursuant to this Section 10.10, will be in the same proportion as each Lender’s Commitment under
all the Operating Facilities was to the aggregate Commitment of all Lenders under all the Operating
Facilities immediately prior to the Event of Default resulting in such declaration; (ii) the amount
of any repayment made by or on behalf of the Credit Parties under the Credit Documents or any
proceeds received by the Agent or the Lenders pursuant to Section 11.7 will be applied by the
Agent in a manner such that to the extent possible the amount of the Outstanding Advances owing
to each Lender under the Operating Facilities after giving effect to such application will be in the
same proportion as each Lender’s Commitment under all the Operating Facilities was to the
aggregate Commitment of all Lenders under all the Operating Facilities immediately prior to the
Event of Default resulting in such declaration; provided that: (i) HSBC US shall not purchase any
participation under this Section 10.10 from HSBC Bank Canada (and provided that for certainty,
the foregoing proviso shall not affect the obligations of HSBC US to any of the other Lenders
under this Section 10.10); and (ii) if Applicable Laws or a Lender's internal regulations and policies
prohibits such Lender from purchasing a participation in Outstanding Advances owing by a
Borrower other than the Canadian Borrower, such Lender shall not be required to purchase a
participation in the Outstanding Advances owing by such Borrower, provided that such Lender
hereby indemnifies the other Lenders for its Proportionate Share of such Outstanding Advances as
if such purchase had occurred.

                                    ARTICLE 11
                          ADMINISTRATION OF THE FACILITIES

11.1     Authorization and Action

        Each Lender hereby irrevocably appoints and authorizes the Agent to be its agent in its
name and on its behalf and to exercise such rights or powers granted to the Agent or the Lenders
under the Credit Documents to the extent specifically provided therein and on the terms thereof,
together with such powers and authority as are reasonably incidental thereto. As to any matters not
expressly provided for by the Credit Documents, the Agent will not be required to exercise any
discretion or take any action, but will be required to act or to refrain from acting (and will be fully
indemnified and protected by the Lenders to the greatest extent permitted by Law in so acting or
refraining from acting) upon the instructions of the Required Lenders, and such instructions will
be binding upon all Lenders; provided, however, that the Agent will not be required to take any
action which, in the opinion of the Agent, might expose the Agent to liability in such capacity,
which could result in the Agent incurring any costs and expenses, or which is contrary to the spirit
and intent of this Agreement.
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11.2     Decision-Making

         11.2.1 Any amendment to this Agreement relating to the following matters shall require
         the unanimous agreement of the Lenders:

         (a)    decreases in interest rates or fees payable in respect of any Facility;

         (b)    increases in the maximum amount of credit available under any Facility (other than
                increases made pursuant to Section 2.8.1);

         (c)    extensions, or changes to the definition, of the Facilities Maturity Date;

         (d)    extensions or postponements of the scheduled dates or the scheduled amounts for
                Repayments hereunder;

         (e)    reductions in the Outstanding Advances under any Facility;

         (f)    releases of all or substantially all of the Security, unless in connection with a
                Permitted Disposition;

         (g)    any change to the definition of Required Lenders;

         (h)    any provision of this Agreement which expressly states that the unanimous consent
                of the Lenders is required in connection with an action to be taken or consent
                provided by the Lenders;

         (i)    any amendment, modification or elimination the definition of Borrowing Base or
                any of the defined terms that are used in such definition to the extent that any such
                change results in more credit being made available to the Borrowers based upon the
                Borrowing Base, but not otherwise;

         (j)    any change to Sections 11.8.1, 11.9(b) or any other provision regarding the
                allocation of payments to the Lenders under this Agreement; and

         (k)    this Section 11.2;

         provided, that (A) any change to Section 2.6.1(i) or Article 11 will also require the consent
         of the Agent, (B) any change to Sections 4.6.1(c) and 4.7 (and the related definitions
         referenced therein) will require the consent of the Issuing Bank under the U.S. Operating
         Facility and the Agent, (C) any change to Sections 2.6.1(b) and 2.7 (and the related
         definitions referenced therein) will require the consent of the Swingline Lender and the
         Agent, (D) any change to Section 5.16 (and the related definitions referenced therein) will
         require the consent of each Issuing Bank and the Agent (E) any increase to the individual
         commitment amount of a Lender under a Facility can only be made with the consent of
         such Lender; and (F) any other change which only effects the Canadian Operating Lenders,
         the U.S. Operating Lenders, the Canadian Operating Lenders, Term Lenders, the Issuing
         Bank, the Swingline Lender or the Agent, respectively, shall only require the consent of
         the affected Persons.
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         11.2.2 Except for the matters described in Section 11.2.1 above, any amendment to this
         Agreement or the other Credit Documents shall be effective if made among the Borrower
         and the Required Lenders, and for greater certainty any such amendment which is agreed
         to by the Required Lenders shall be final and binding upon all Lenders.

         11.2.3 Except for the matters which require the unanimous consent of the Lenders as set
         out above, any action to be taken or decision to be made by the Lenders pursuant to this
         Agreement (specifically including for greater certainty the issuance of written notice to the
         Borrower of the occurrence of a Default or Event of Default, the issuance of a demand for
         payment of the Obligations, a decision to make an Advance despite any condition
         precedent relating thereto not being satisfied, the provision of any waiver in respect of a
         breach of any covenant or the issuance of any consent which may be required under
         Section 7.2) shall be effective if approved by the Required Lenders; and any such decision
         or action shall be final and binding upon all the Lenders.

         11.2.4 Any action to be taken or decision to be made by the Lenders pursuant to this
         Agreement which is required to be unanimous shall be made at a meeting of the Lenders
         called by the Agent pursuant to Section 11.11(k) or by a written instrument executed by all
         of the Lenders. Any action to be taken or decision to be made by the Lenders pursuant to
         this Agreement which is required to be made by the Required Lenders shall be made at a
         meeting of the Lenders called by the Agent pursuant to Section 11.11(k) or by a written
         instrument executed by the Required Lenders. Any instrument contemplated in this
         Section 11.2.4 may be executed by fax or pdf and in counterparts.

         11.2.5 Subject to Section 8.5(b), the Agent may from time to time without notice to or
         the consent of the Lenders execute and deliver partial releases of the Security in respect of
         any item of Collateral (whether or not the proceeds of sale thereof are received by the
         Agent) which the Credit Parties are permitted to dispose of in connection with a Permitted
         Disposition; and in releasing any such Security the Agent may rely upon and assume the
         correctness of all information contained in any certificate or document provided by any
         one or more of the Borrowers, without further enquiry. Otherwise, any release or discharge
         in respect of the Security or any portion thereof shall require the written consent of the
         Lenders acting unanimously.

11.3     Procedure for Making Advances

         11.3.1 Subject to Section 11.8.3, all Advances under each Facility will be made in
         accordance with each Lender’s Proportionate Share of such Advance under such Facility.

         11.3.2 The Lenders, through the Agent, will make Advances under a Facility available
         to the Borrower as required hereunder by debiting the account of the Agent to which each
         Lender’s Proportionate Share in respect of each Facility of such Advances has been
         credited (or causing such account to be debited) and, in the absence of other arrangements
         agreed to by the Agent and the Borrowers in writing, by transferring (or causing to be
         transferred) like funds in accordance with the instructions of the Borrowers as set forth in
         the a Drawdown Request, Conversion Notice or Rollover Notice, as the case may be, in
         respect of each Advance under each Facility; provided, that the obligation of the Agent
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         hereunder will be limited to taking such steps as are in keeping with its normal banking
         practice and which are commercially reasonable in the circumstances to implement such
         instructions, and the Agent will not be liable for any damages, claims or costs which may
         be suffered by the Borrowers or any of the Lenders and occasioned by the failure of such
         funds to reach their designated destination, unless such failure is due to the gross
         negligence or wilful misconduct of the Agent.

11.4     Failure to Fund

         11.4.1 Unless the Agent has actual knowledge that a Lender has not made or will not
         make available to the Agent for value on the date of any Advance the applicable amount
         required from such Lender hereunder, the Agent shall be entitled to assume that such
         amount has been or will be received from such Lender when so due and the Agent may
         (but shall not under any circumstances be obliged to), in reliance upon such assumption,
         make available to the applicable Borrower a corresponding amount (except that no such
         amount shall be made available to the applicable Borrower in the case of a deemed
         Advance). If such amount is not in fact received by the Agent from such Lender on such
         date and the Agent has made available a corresponding amount to the applicable Borrower
         on such date as aforesaid (or is deemed to have made an Advance to the applicable
         Borrower in such amount), such Lender shall pay to the Agent on demand an amount equal
         to the aggregate of the applicable amount required from such Lender hereunder plus an
         amount equal to the product of (a) the rate per annum applicable to overnight deposits made
         with the Agent for amounts approximately equal to the amount required from such Lender
         multiplied by (b) the amount that should have been paid to the Agent by such Lender on
         such date and was not, multiplied by (c) a fraction, the numerator of which is the number
         of days that have elapsed from and including such date to but excluding the date on which
         the amount is received by the Agent from such Lender and the denominator of which is
         365 or 366 days, as the case may be, in the case of all Advances. A certificate of the Agent
         containing details of the amount owing by a Lender under this Section shall be binding and
         conclusive in the absence of manifest error. If any such amount is not in fact received by
         the Agent from such Lender on such date, the Agent shall be entitled to recover from the
         applicable Borrower, on demand, the related amount made available by the Agent to such
         Borrower as aforesaid together with interest thereon at the applicable rate per annum
         payable by such Borrower hereunder.

         11.4.2 Notwithstanding the provisions of Section 11.4.1, if any Lender fails to make
         available to the Agent its Proportionate Share of any Advance, which for greater certainty
         includes a deemed Advance hereunder (such Lender being herein called the “Non-Paying
         Lender”), the Agent shall forthwith give notice of such failure by the Non-Paying Lender
         to the applicable Borrower (except where such failure relates to a deemed Advance) and to
         the other Lenders. The Agent shall then forthwith give notice to the other Lenders that any
         Lender may make available to the Agent all or any portion of the Non-Paying Lender’s
         Proportionate Share of such Advance (but in no way shall any other Lender or the Agent
         be obliged to do so) in the place of the Non-Paying Lender. If more than one Lender gives
         notice that it is prepared to make funds available in the place of a Non-Paying Lender in
         such circumstances and the aggregate of the funds which such Lenders (herein collectively
         called the “Contributing Lenders” and individually called the “Contributing Lender”)
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         are prepared to make available exceeds the amount of the Advance which the Non-Paying
         Lender failed to make, then each Contributing Lender shall be deemed to have given notice
         that it is prepared to make available its Proportionate Share of such Advance based on the
         Contributing Lenders’ relative commitments to advance in such circumstances. If any
         Contributing Lender makes funds available in the place of a Non-Paying Lender in such
         circumstances, then the Non-Paying Lender shall pay to any Contributing Lender making
         the funds available in its place, forthwith on demand, any amount advanced on its behalf
         together with interest thereon at the rate applicable to such Advance from the date of
         advance to the date of payment, against payment by the Contributing Lender making the
         funds available of all interest received in respect of the Advance from the applicable
         Borrower. The failure of any Lender to make available to the Agent its Proportionate Share
         of any Advance as required herein shall not relieve any other Lender of its obligations to
         make available to the Agent its Proportionate Share of any Advance as required herein.

11.5     Defaulting Lenders and Replacement of Lenders

         11.5.1 Notwithstanding any provision of this Agreement to the contrary, if any Lender
         becomes a Defaulting Lender, then the following provisions shall apply for so long as such
         Lender is a Defaulting Lender:

         (a)    the standby fees payable to a Defaulting Lender hereunder shall cease to accrue on
                the unused portion of its Commitment under any Operating Facility, as applicable;

         (b)    a Defaulting Lender shall not be included in determining whether, and the
                Commitment and the Proportionate Share of the Outstanding Advances of such
                Defaulting Lender under the Facilities, or any of them, shall not be included in
                determining whether, all Lenders or the Required Lenders, have taken or may take
                any action hereunder; provided, that any waiver, amendment or modification
                requiring the consent of all Lenders or each affected Lender that affects such
                Defaulting Lender differently than other affected Lenders shall require the consent
                of such Defaulting Lender;

         (c)    subject to Section 11.4.1, for the purposes of any Advance requested hereunder
                while there is a Defaulting Lender, each Lender’s Proportionate Share thereof shall
                be calculated based on such Lender’s (A) Commitment relative to the total
                Commitment under the applicable Facility reduced by the Commitment of the
                Defaulting Lender;

         (d)    the Agent, the Swingline Lender or the Issuing Bank may require such Defaulting
                Lender to pay to the Agent for deposit into an escrow account maintained by and
                in the name of the Agent an amount equal to such Defaulting Lender’s maximum
                contingent obligations hereunder to the Agent, the Swingline Lender or the Issuing
                Bank, as the case may be (provided that the foregoing shall not apply to Export
                Development Canada to the extent such a deposit is unlawful under the Financial
                Administration Act (Canada));
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  (e)    the Agent may withhold any payments owing to such Defaulting Lender for set off
         against such Defaulting Lender’s existing or reasonably foreseeable future
         obligations hereunder; and

  (f)    for the avoidance of doubt, the Borrowers shall retain and reserve their other rights
         and remedies respecting each Defaulting Lender.

  11.5.2 If a Lender is a Defaulting Lender or refuses to give timely consent to an
  amendment, modification or waiver of this Agreement that, pursuant to Section 11.2,
  requires consent of all the Lenders (and the consent of the Required Lenders has been given
  with respect thereto) (a “Non-Consenting Lender”) (collectively, the “Departing
  Lenders”), then the Borrowers may:

  (a)    replace the Departing Lender with another financial institution acceptable to the
         Agent, the Swingline Lender and the Issuing Bank, each acting reasonably, who
         purchases at par, or such lower price as the Departing Lender may agree in its sole
         discretion, the Outstanding Advances and other amounts under all Facilities owing
         to the Departing Lender and such Lender’s entire Commitment and assumes the
         Departing Lender’s Commitment and all other obligations of the Departing Lender
         hereunder; provided, that prior to or concurrently with such replacement:

         (i)     the Departing Lender shall have received payment in full of all principal,
                 interest, fees and other amounts through such date of replacement and a
                 release from any further obligations to make Advances under the Credit
                 Documents after the date of such replacement;

         (ii)    the assignment fee required to be paid by Section 13.6.2 shall have been
                 paid to the Agent;

         (iii)   all of the other requirements for such assignment contained herein shall
                 have been satisfied, including the consent of the Agent, the Swingline
                 Lender and the Issuing Bank and the receipt by the Agent of such
                 agreements, documents and instruments as the Agent may reasonably
                 require; and

         (iv)    in the case of a Departing Lender who is a Non-Consenting Lender, each
                 assignee consents, at the time of such assignment, to each matter in respect
                 of which such Non-Consenting Lender was a Non-Consenting Lender and
                 the Borrowers also requires each other Lender that is a Non-Consenting
                 Lender to assign the Outstanding Advances owing to it under each Facility
                 and its Commitment; or

  (b)    provided, no Default or Event of Default exists at such time, elect to terminate the
         Departing Lender’s Commitment, in which case the Commitment in respect of each
         Facility shall be reduced by an amount equal to the amount of any Commitment of
         such Facility so cancelled (provided, that prior to or concurrently with such
         cancellation the Departing Lender shall have received payment in full of all
         principal, interest, fees and other amounts through such date of cancellation
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                (including breakage and other costs in accordance with Sections 5.10.4 and 5.14)
                and a release from any further obligations to make Advances under the Credit
                Documents after such termination); or

         (c)    exercise any combination of the rights under (a) and (b) above; provided, that in
                each case, each Departing Lender is treated ratably with the other Departing
                Lenders, if any.

11.6     Security and Exercise of Remedies

         11.6.1 Except to the extent provided in Section 11.6.2, the Security shall be granted in
         favour of and held by the Agent for and on behalf of the Lenders in accordance with the
         provisions of this Agreement. The Agent shall, in accordance with its usual practices in
         effect from time to time, take all steps required to perfect and maintain the Security to the
         extent required hereunder, including: taking possession of the certificates representing the
         securities required to be pledged hereunder to the extent required hereunder; filing
         renewals and change notices in respect of such Security; and ensuring that the name of the
         Agent is noted as loss payee or mortgagee on all property insurance policies covering the
         Collateral. If the Agent becomes aware of any matter concerning the Security which it
         considers to be material, it shall promptly inform the Lenders. The Agent shall comply
         with all instructions provided by the Lenders or the Required Lenders, as the case may be,
         in connection with the enforcement or release of the Security which it holds. The Agent
         agrees to permit each Lender to review and make photocopies of the original documents
         comprising the Security from time to time upon reasonable notice. The Agent is hereby
         authorized to enter into the Subordination Agreement on behalf of the Lenders and to any
         subordination and postponement agreements in respect of Subordinated Debt from time to
         time to the extent the same is permitted hereunder. Each Lender further authorizes the
         Agent to execute on its behalf, directly or through attorneys-in-fact duly appointed for such
         purposes, and to accept the benefits of, each of the Security governed under the laws of the
         Republic of Colombia and any other agreements or documents as may be necessary or
         advisable in connection with the grant of, or attachment or perfection of, modification,
         supplement or waiver under any of, the security interest granted to the Agent, for the benefit
         of the Lenders, pursuant to the Security governed under the laws of the Republic of
         Colombia. The Lenders and the other Secured Parties authorize the Agent to release any
         Collateral or Guarantors in accordance with Section 13.21 or if approved, authorized or
         ratified in accordance with Section 11.2.1. The Lenders and the other Secured Parties
         hereby irrevocably authorize and instruct the Agent to, without any further consent of any
         Lender, enter into (or acknowledge and consent to) or amend, renew, extend, supplement,
         restate, replace, waive or otherwise modify the Encina Intercreditor Agreement and the
         Wells Fargo Letter to the extent this Agreement does not otherwise require the consent of
         the Required Lenders or all Lenders therefor.

         11.6.2 If any Credit Party has provided security in favour of any Lender directly, except
         for Permitted Purchase-Money Security Interests and Permitted Liens, such Lender agrees
         to pay to the Agent all amounts received by it in connection with the enforcement of such
         security, and all such amounts shall be deemed to constitute Proceeds of Realization and
         shall be dealt with as provided in Section 11.7.
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         11.6.3 Except as otherwise provided herein, each Lender hereby acknowledges that, to
         the extent permitted by Applicable Law, rights and remedies provided under the Credit
         Documents to the Lenders are for the benefit of the Lenders collectively and not severally
         and further acknowledges that its rights and remedies thereunder are to be exercised not
         severally but collectively through the Agent upon the decision of the Lenders (with the
         required majority or unanimity as herein provided), regardless of whether acceleration of
         Obligations hereunder was made, and accordingly, notwithstanding any of the provisions
         contained herein, each of the Lenders hereby covenants and agrees that it will not be
         entitled to take any action with respect to the Facilities, including any acceleration of
         Obligations thereunder, but that any such action will be taken only by the Agent with the
         prior written direction of the Lenders (with the required majority or unanimity as herein
         provided). Notwithstanding the foregoing or anything else set forth herein to the contrary,
         in the absence of written instructions from the Lenders, and where in the sole opinion of
         the Agent the exigencies of the situation warrant such action, the Agent may without notice
         to or consent of the Lenders take such action on behalf of the Lenders as it deems
         appropriate or desirable in the circumstances. Each of the Lenders hereby covenants and
         agrees that it has not heretofore and will not seek, take, accept or receive any Liens in
         respect of any of the Obligations of the Credit Parties under the Credit Documents and will
         not enter into any agreement with any of the Parties relating in any manner whatsoever to
         the Facilities, unless all of the Lenders under the Facilities will at the same time obtain the
         benefit of any such security or agreement, as the case may be.

11.7     Application of Proceeds of Realization

       Notwithstanding any other provision of this Agreement, the Proceeds of Realization of the
Security or any portion thereof shall be distributed in the following order:

         (a)    firstly, in payment of all costs and expenses incurred by the Agent and the Lenders
                in connection with such realization, including legal, accounting and receivers’ fees
                and disbursements;

         (b)    secondly, against the Obligations (including Secured Hedging Liabilities but
                excluding any other Hedging Liabilities in excess thereof, and, for certainty,
                excluding any Hedging Liabilities which are owed to a counterparty other than a
                Lender or Affiliate thereof), each Lender being entitled to receive its Proportionate
                Share thereof;

         (c)    thirdly, against all Hedging Liabilities which are owing to any Lender or Affiliate
                thereof in excess of Secured Hedging Liabilities; and

         (d)    fourthly, if all Obligations of the Borrowers listed above and all other Hedging
                Liabilities owing to any Lender or Affiliate thereof have been paid and satisfied in
                full, any surplus Proceeds of Realization shall be paid in accordance with
                Applicable Law.
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11.8     Payments by Agent

         11.8.1 The following provisions shall apply to all payments made by the Agent to the
         Lenders hereunder:

         (a)   the Agent shall be under no obligation to make any payment (whether in respect of
               principal, Interest, fees or otherwise) to any Lender until an amount in respect of
               such payment has been received by the Agent from a Credit Party;

         (b)   if the Agent receives a payment of principal, Interest, fees or other amount owing
               by any Borrower under a Facility which is less than the full amount of any such
               payment due, the Agent shall distribute such amount received among the Lenders
               under such Facility in each Lender’s Proportionate Share of such Facility;

         (c)   if the Agent receives payments in respect of principal, Interest, fees or other
               amounts owing by a Borrower under more than one Facility which are due on the
               same day, and if the amounts received are insufficient to satisfy all payments
               required under such Facilities on such day, the Agent shall, except as otherwise
               specifically set forth herein, distribute such amounts received among the Lenders
               under such Facilities in each Lender’s Proportionate Share of such Facilities;

         (d)   if any Lender has advanced more or less than its Proportionate Share of its
               Commitment under a Facility, such Lender’s entitlement to such payment shall be
               increased or reduced, as the case may be, in proportion to the amount actually
               advanced by such Lender;

         (e)   if a Lender’s Proportionate Share of an Advance under a Facility has been advanced
               for less than the full period to which any payment by any Credit Party relates, such
               Lender’s entitlement to receive a portion of any payment of interest or fees shall be
               reduced in proportion to the length of time such Lender’s Proportionate Share has
               actually been outstanding;

         (f)   the Agent acting reasonably and in good faith shall, after consultation with the
               Lenders in the case of any dispute, determine in all cases the amount of all payments
               to which each Lender is entitled and such determination shall be deemed to be
               prima facie correct;

         (g)   upon request by a Lender, the Agent shall deliver a statement detailing any of the
               payments to the Lenders referred to herein;

         (h)   all payments by the Agent to a Lender hereunder shall be made to such Lender at
               its address set out herein unless notice to the contrary is received by the Agent from
               such Lender; and

         (i)   if the Agent has received a payment from a Credit Party on a Business Day (not
               later than the time required for the receipt of such payment as set out in this
               Agreement) and fails to remit such payment to any Lender entitled to receive its
               Proportionate Share of such payment on such Business Day, the Agent agrees to
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                pay interest on such late payment at a rate determined by the Agent in accordance
                with prevailing banking industry practice on interbank compensation.

         11.8.2 Each Borrower hereby irrevocably authorizes the Agent to debit any account
         maintained by it with the Agent after written notice to such Borrower in order to make
         payments to the Lenders or the Agent of any amount that is overdue and payable hereunder
         for the purposes of satisfying payment thereof.

         11.8.3 The Agent may in its discretion from time to time make adjustments in respect of
         any Lender’s share of an Advance, Conversion, Rollover or Repayment under a Facility in
         order that the Outstanding Advances due to such Lender under such Facility shall be
         approximately in accordance with such Lender’s Proportionate Share of the Facility.

11.9     Redistribution of Payment

         Each Lender agrees that, subject to Section 10.4:

         (a)    If it exercises any right of counterclaim, set off, bankers’ lien or similar right with
                respect to any property of any Credit Party or if under Applicable Law it receives a
                secured claim, it will apportion the amount thereof proportionately between:

                (i)     amounts outstanding at the time owed by the Credit Party to such Lender
                        under this Agreement, which amounts will be applied in accordance with
                        this Section 11.9; and

                (ii)    amounts otherwise owed to it by a Credit Party;

                provided, that any cash collateral account held by such Lender as collateral for a
                letter of credit or bankers’ acceptance (including a Bankers’ Acceptance) issued or
                accepted by such Lender on behalf of a Credit Party may be applied by such Lender
                to such amounts owed by such Credit Party to such Lender pursuant to such letter
                of credit or in respect of any such bankers’ acceptance without apportionment.

         (b)    If it receives, through the exercise of a right or the receipt of a secured claim
                described in Section 11.9(a) or otherwise, payment of a proportion of the aggregate
                amount of principal, interest and fees due to it hereunder which is greater than the
                proportion received by any other Lender in respect of the aggregate amount of
                principal, interest and fees due in respect of the applicable Facility (having regard
                to the respective proportionate amounts advanced as Advances by each of the
                Lenders under the applicable Facility), the Lender receiving such proportionately
                greater payment will purchase a participation (which will be deemed to have been
                done simultaneously with receipt of such payment) in that portion of the applicable
                Facility of the other Lenders so that their respective receipts will be pro rata to their
                respective Proportionate Shares; provided, however, that, if all or part of such
                proportionately greater payment received by such purchasing Lender is otherwise
                recovered by it, such purchase will be rescinded and the purchase price for such
                participation will be returned to the extent of such recovery, but without interest.
                Such Lender will exercise its rights in respect of such secured claim in a manner
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             consistent with the rights of the Lenders entitled under this Section 11.9 to share in
             the benefits of any recovery on such secured claims.

      (c)    If it does any act or thing permitted by Section 11.9(a) or 11.9(b), it will promptly
             provide full particulars thereof to the Agent.

      (d)    Except as permitted under Section 11.9(a) or 11.9(b), no Lender will be entitled to
             exercise any right of counter claim, set off, bankers’ lien or similar right without
             the prior written consent of the other Lenders.

      (e)    Notwithstanding anything else in this Section 11.9, any amounts which are lawfully
             received by any Hedge Provider in respect of Hedging Liabilities prior to the
             delivery by the Agent of a declaration of all Obligations becoming due pursuant to
             Section 11.9 are not required to be shared pursuant to the provisions of this
             Section 11.9.

      (f)    The provisions of this Section 11.9 shall survive repayment of the Obligations.

11.10 Protection of Agent

      11.10.1 Unless the Agent has actual knowledge or actual notice to the contrary, it may
      assume that each Lender’s address set out in Exhibit “A” attached hereto is correct, unless
      and until it has received from such Lender a notice designating a different address.

      11.10.2 The Agent may engage and pay for the advice or services of any lawyers,
      accountants or other experts whose advice or services may to it seem necessary, expedient
      or desirable and rely upon any advice so obtained (and to the extent that such costs are not
      recovered from the Credit Parties pursuant to this Agreement, each Lender agrees to
      reimburse the Agent in such Lender’s Proportionate Share of such costs).

      11.10.3 Unless the Agent has actual knowledge or actual notice to the contrary, it may
      rely as to matters of fact which might reasonably be expected to be within the knowledge
      of any Credit Party upon a statement contained in any Credit Document.

      11.10.4 Unless the Agent has actual knowledge or actual notice to the contrary, it may
      rely upon any communication or document believed by it to be genuine.

      11.10.5 The Agent may refrain from exercising any right, power or discretion vested in it
      under this Agreement unless and until instructed by the Required Lenders as to whether or
      not such right, power or discretion is to be exercised and, if it is to be exercised, as to the
      manner in which it should be exercised (provided, that such instructions shall be required
      to be provided by all of the Lenders in respect of any matter for which the unanimous
      consent of the Lenders is required as set out herein).

      11.10.6 The Agent may refrain from exercising any right, power or discretion vested in it
      which would or might in its sole and unfettered opinion be contrary to any law of any
      jurisdiction or any directive or otherwise render it liable to any Person, and may do
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      anything which is in its opinion in its sole discretion necessary to comply with any such
      law or directive.

      11.10.7 The Agent may delegate to such other Person, such duties and responsibilities of
      the Agent hereunder as it shall determine to be appropriate in respect of dealings with or
      relating to any Credit Party or any other Person and in particular, the Agent may execute
      any of its duties under this Agreement or any other Credit Document (including, for
      purposes of holding or enforcing any Lien on the Collateral (or any portion thereof) granted
      under the Security or of exercising any rights and remedies thereunder) by sub-agent or
      attorney-in-fact. The Agent shall not be responsible for the negligence or misconduct of
      any sub-agent or attorney-in-fact that it selects in the absence of gross negligence or willful
      misconduct on the part of the Agent, as determined by a final and non-appealable judgment
      of a court of competent jurisdiction. The exculpatory provisions of this Agreement
      applicable to the Agent shall apply to any such other Person, sub-agent or attorney-in-fact
      and to the Affiliates of the Agent and any such sub-agent or attorney-in-fact, and shall
      apply to their respective activities in connection with the syndication of the Facilities as
      well as activities as Agent.

      11.10.8 The Agent may refrain from acting in accordance with any instructions of the
      Required Lenders to begin any legal action or proceeding arising out of or in connection
      with this Agreement or take any steps to enforce or realize upon any Security, until it shall
      have received such security as it may reasonably require (whether by way of payment in
      advance or otherwise) against all costs, claims, expenses (including legal fees) and
      liabilities which it will or may expend or incur in complying with such instructions.

      11.10.9 The Agent shall not be bound to disclose to any Person any information relating
      to the Credit Parties or any Related Parties if such disclosure would or might in its opinion
      in its sole discretion constitute a breach of any law or regulation or be otherwise actionable
      at the suit of any Person.

      11.10.10The Agent shall not accept any responsibility for the accuracy or completeness of
      any information supplied in connection herewith or for the legality, validity, effectiveness,
      adequacy or enforceability of any Credit Document and shall not be under any liability to
      any Lender as a result of taking or omitting to take any action in relation to any Credit
      Document except in the case of the Agent’s gross negligence or wilful misconduct.

11.11 Duties of Agent

      The Agent shall:

      (a)    hold and maintain the Security to the extent provided in Section 11.6;

      (b)    provide to each Lender copies of all financial information received from the Credit
             Parties promptly after receipt thereof, and copies of any Drawdown Requests,
             Conversion Notices, Rollover Notices, Repayment Notices and other notices
             received by the Agent from the Credit Parties upon request by any Lender;
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       (c)     promptly advise each Lender of Advances required to be made by it hereunder and
               disburse all Repayments to the Lenders hereunder in accordance with the terms of
               this Agreement;

       (d)     promptly notify each Lender of the occurrence of any Default or Event of Default
               of which the Agent has actual knowledge or actual notice;

       (e)     at the time of engaging any agent, receiver, receiver-manager, consultant, monitor
               or other party in connection with the Security or the enforcement thereof, obtain
               the agreement of such party to comply with the applicable terms of this Agreement
               in carrying out any such enforcement activities and dealing with any Proceeds of
               Realization;

       (f)     account for any monies received by it in connection with this Agreement, the
               Security and any other agreement delivered in connection herewith or therewith;

       (g)     each time a Borrower requests the written consent of the Lenders in connection
               with any matter, use its best efforts to obtain and communicate to the Borrowers
               the response of the Lenders in a reasonably prompt and timely manner having due
               regard to the nature and circumstances of the request;

       (h)     give written notice to the Borrowers in respect of any other matter in respect of
               which notice is required in accordance with or pursuant to this Agreement,
               promptly or promptly after receiving the consent of the Required Lenders, if
               required under the terms of this Agreement;

       (i)     except as otherwise provided in this Agreement, act in accordance with any
               instructions given to it by the Required Lenders;

       (j)     if so instructed by the Required Lenders, refrain from exercising any right, power
               or discretion vested in it under this Agreement or any document incidental thereto;
               and

       (k)     call a meeting of the Lenders at any time not earlier than five days and not later
               than 30 days after receipt of a written request for a meeting provided by any Lender.

11.12 Lenders’ Obligations Several; No Partnership

        The obligations of each Lender under this Agreement are several. The failure of any Lender
to carry out its obligations hereunder shall not relieve the other Lenders of any of their respective
obligations hereunder. No Lender shall be responsible for the obligations of any other Lender
hereunder. Neither the entering into of this Agreement nor the completion of any transactions
contemplated herein shall constitute the Lenders and the Agent, or any combination of them, a
partnership or give rise to any fiduciary relationship between them.
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11.13 Reliance Upon Agent

        The Borrowers will be entitled to rely upon any certificate, notice or other document or
other advice, statement or instruction provided to them (or any one of them) by the Agent pursuant
to the Credit Documents, and the Borrowers will be entitled to deal with the Agent with respect to
matters under the Credit Documents which the Agent is authorized hereunder to deal with, without
any obligation whatsoever to satisfy themselves as to the authority of the Agent to act on behalf of
the Lenders and without any liability whatsoever to the Lenders for relying upon any certificate,
notice or other document or other advice, statement or instruction provided to them by the Agent,
notwithstanding any lack of authority of the Agent to provide the same.

11.14 No Liability of Agent

        The Agent, in its capacity as agent of the Lenders under the Credit Documents, will have
no responsibility or liability to the Borrowers or the Lenders on account of the failure of any Lender
to perform its obligations hereunder, or to any Lender on account of the failure of any Borrower
to perform its obligations under the Credit Documents.

11.15 Agent and Agent Authority

        With respect to its Proportionate Share of each Facility and the Advances made by it as a
Lender thereunder, as applicable, the Agent will have the same rights and powers under the Credit
Documents as any other Lender and may exercise the same as though it were not the Agent. The
Agent may accept deposits from, lend money to, and generally engage in any kind of business with
any Credit Party, any of their Subsidiaries, their respective shareholders or unitholders or any
Person owned or controlled by any of them and any Person which may do business with any of
them, all as if the Agent was not serving as Agent, and without any duty or obligation to account
therefor to the Lenders.

11.16 Lenders’ Credit Decisions

         It is understood and agreed by each Lender that it has itself been, and will continue to be,
solely responsible for making its own independent appraisal of and investigations into the financial
condition, creditworthiness, condition, affairs, status and nature of the Credit Parties. Accordingly,
each Lender confirms with the Agent that it has not relied, and will not hereafter rely, on the Agent
(a) to check or inquire on its behalf into the adequacy, accuracy or completeness of any information
provided by the Credit Parties or any other Person under or in connection with the Facilities
(whether or not such information has been or is hereafter distributed to such Lender by the Agent)
or (b) to assess or keep under review on its behalf the financial condition, creditworthiness,
condition, affairs, status or nature of any Credit Party. Each Lender acknowledges that copies of
the Credit Documents have been made available to it for review and each Lender acknowledges
that it is satisfied with the form and substance of the Credit Documents. A Lender will not make
any independent arrangement with any Credit Party for the satisfaction of any Obligations owing
to it under the Credit Documents without the written consent of the other Lenders.
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11.17 Indemnification

         The Lenders hereby severally agree to indemnify the Agent and its directors, officers,
agents and employees (to the extent not reimbursed by the Credit Parties) in accordance with their
respective Proportionate Share, from and against any and all liabilities, obligations, losses,
damages, penalties, actions, judgments, suits, costs, expenses or disbursements of any kind or
nature whatsoever which may be imposed on, incurred by, or asserted against the Agent or its
directors, officers, agents and employees in any way relating to or arising out of the Credit
Documents or any action taken or omitted by the Agent under or in respect of the Credit
Documents in its capacity as Agent; provided, that no Lender will be liable for any portion of such
liabilities, obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses or
disbursements resulting from the Agent’s gross negligence or wilful misconduct, as determined by
a final and non-appealable judgment of a court of component jurisdiction. Without limiting the
generality of the foregoing, each Lender agrees to reimburse the Agent promptly upon demand for
its Proportionate Share of any reasonable out of pocket expenses (including legal fees, on a
solicitor and his own client full indemnity basis) incurred by the Agent in connection with the
preservation of any right of the Agent or the Lenders under, or the enforcement of, or legal advice
in respect of rights or responsibilities under, the Credit Documents, to the extent that the Agent is
not reimbursed for such expenses by the Borrowers. This indemnity will survive the termination
of the other provisions of this Agreement as a separate and continuing covenant of the Lenders.

11.18 Successor Agent

        The Agent may, as hereinafter provided, resign at any time by giving 30 days’ notice (the
“Resignation Notice”) thereof to the Lenders and the Borrowers. The remaining Lenders, with the
consent of the Borrowers, such consent not to be unreasonably withheld, will forthwith upon
receipt of the Resignation Notice unanimously appoint a successor agent (the “Successor Agent”)
to assume the duties hereunder of the resigning Agent. Upon the acceptance of any appointment
as agent hereunder by a Successor Agent, such Successor Agent will thereupon succeed to and
become vested with all the rights, powers, privileges and duties as agent under the Credit
Documents of the resigning Agent. Upon such acceptance, the resigning Agent will be discharged
from its further duties and obligations as agent under the Credit Documents, but any such
resignation will not affect such resigning Agent’s obligations hereunder as a Lender, including for
its Proportionate Share of the applicable Commitment. After the resignation of the Agent as agent
hereunder, the provisions of this Article 11 will continue to enure to its benefit as to any actions
taken or omitted to be taken by it while it was the agent of the Lenders hereunder. Notwithstanding
the foregoing, if the remaining Lenders fail to appoint a Successor Agent within 30 days of receipt
of the Resignation Notice, the resigning Agent may, with the approval of the Borrowers except
during the continuance of an Event of Default, such approval not to be unreasonably withheld,
appoint a Successor Agent from among the Lenders (other than Business Development Bank of
Canada).

11.19 Sharing of Information

       The Agent and the Lenders may share among themselves any information they may have
from time to time concerning the Credit Parties whether or not such information is confidential;
but shall have no obligation to do so (except for any obligations of the Agent to provide
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information to the extent required in this Agreement). The Agent shall not have any duty to
disclose any information obtained or received by it or any of its Affiliates relating to any Credit
Party or any of its Subsidiaries to the extent such information was obtained or received in any
capacity other than as the Agent.

11.20 Acknowledgement by Borrowers

       Each Borrower hereby acknowledges notice of the terms of the provisions of this Article 11
and agrees to be bound hereby to the extent of its obligations hereunder, and further agrees not to
make any payments, take any action or omit to take any action which would result in the
non-compliance by the Agent or any Lender with its obligations hereunder.

11.21 Amendments to Article 11

        The Agent and the Lenders may amend any provision in this Article 11 (other than
Section 11.5) without prior notice to or the consent of the Borrowers, and the Agent shall provide
a copy of any such amendment to the Borrowers reasonably promptly thereafter; provided,
however, if, in the Agent’s opinion, any such amendment would materially and adversely affect
any rights, entitlements, obligations or liabilities of any Borrower, such amendment shall not be
effective until such Borrower provides its written consent thereto, such consent not to be
unreasonably withheld or arbitrarily delayed.

11.22 Deliveries, etc.

        As between the Credit Parties on the one hand, and the Agent and the Lenders on the other
hand:

        (a)    all statements, certificates, consents and other documents which the Agent purports
               to deliver to a Credit Party on behalf of the Lenders shall be binding on each of the
               Lenders, and none of the Credit Parties shall be required to ascertain or confirm the
               authority of the Agent in delivering such documents;

        (b)    all certificates, statements, notices and other documents which are delivered by a
               Credit Party to the Agent in accordance with this Agreement shall be deemed to
               have been duly delivered to each of the Lenders; and

        (c)    all payments which are delivered by a Credit Party to the Agent in accordance with
               this Agreement shall be deemed to have been duly delivered to each of the Lenders.

11.23 Agency Fee

        The Borrowers jointly and severally agree to pay to the Agent an annual agency fee as set
        out in the Fee Agreement, payable in advance on the Amendment and Restatement Date
        and annually on each anniversary date thereafter during the term of this Agreement.
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                                           ARTICLE 12
                                        INCREASED COSTS

12.1     Changes in Law

         12.1.1    If, after the Amendment and Restatement Date, due to either:

         (a)      the introduction of, or any change in, any Law or any change in the interpretation
                  of any Law, whether having the force of law or not, resulting in the imposition or
                  increase of reserves, deposits or similar requirements by any central bank or
                  Governmental Authority charged with the administration thereof; or

         (b)      imposition of any Lender or requirements on any Lender to maintain any capital
                  adequacy or additional capital liquidity requirements in respect of any Advances or
                  Commitments hereunder, or any other condition with respect to this Agreement; or

         (c)      the compliance with any guideline or request from any central bank or other
                  Governmental Authority which a Lender, acting reasonably, determines that it is
                  required to comply with,

         there will be any increase in the cost to such Lender of agreeing to make or making, funding
         or maintaining an Advance or there will be any reduction in the effective return to such
         Lender thereunder, then, subject to Section 12.1.2, the Borrowers jointly and severally
         agree that they will, within ten Business Days after being notified by such Lender of such
         event, pay to such Lender, quarterly in arrears, that amount (the “Additional
         Compensation”) which such Lender, acting reasonably, determines will compensate it,
         after taking into account all applicable Taxes and all interest and other amounts received,
         for any such increased costs or reduced returns incurred or suffered by such Lender
         provided such Lender is also charging its other borrowers in similar circumstances similar
         additional compensation.

         12.1.2 If Additional Compensation is payable pursuant to Section 12.1.1(a), the
         Borrowers will have the option to convert the Advance to another type of Advance, in
         accordance with this Agreement, in respect of which no further such Additional
         Compensation will be payable, or prepay any amount of the Facility owed to the Lender
         entitled to receive the Additional Compensation, subject always to Section 5.13 without
         obligation to make a corresponding prepayment to any other Lender. If the Additional
         Compensation relates to outstanding Bankers’ Acceptances, such Lender may require the
         Borrowers to deposit in an interest bearing cash collateral account with such Lender such
         amount as may be necessary to fully satisfy the contingent obligations of such Lender for
         all outstanding Bankers’ Acceptances in accordance with the arrangements similar to those
         set out in Section 5.11.

         12.1.3 Notwithstanding anything contained in this Section 12.1, the Dodd-Frank Wall
         Street Reform and Consumer Protection Act and all requests, rules, regulations, guidelines
         and directives thereunder or issued in connection therewith and all requests, rules,
         regulations, guidelines and directives concerning capital adequacy promulgated by the
         Bank for International Settlements, the Basel Committee on Banking Supervision (or any
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         successor or similar authority or any United States, Canadian or foreign regulatory
         authority) (collectively, the “New Rules”) shall, in each case, be deemed a “change in
         Law” under Section 12.1.1(a) regardless of the date enacted, adopted or issued.

12.2     Changes in Circumstances

       Notwithstanding anything to the contrary herein or in any of the other Credit Documents
contained, if on any date a Lender determines, acting reasonably and in good faith, which
determination will be conclusive and binding on the Parties, and provided notice is given to the
Agent and the other Lenders and to the Borrowers that its ability to maintain, or continue to offer
any Advance has become unlawful or impossible due to:

         (a)     any change in Applicable Law, or in the interpretation or administration thereof by
                 Governmental Authorities having jurisdiction in the matter; or

         (b)     any Material Adverse Change in or the termination of the London Interbank
                 Eurodollar Market for Eurodollars; or

         (c)     the imposition of any condition, restriction or limitation upon such Lender which
                 is outside of its control,

then in any such case, the Borrowers jointly and severally agree that they will forthwith repay to
such Lender all principal amounts affected thereby, together with all unpaid interest accrued
thereon to the date of Repayment and all other expenses incurred in connection with the
termination of any such Advance, including any expenses resulting from the early termination of
any LIBOR Period relating thereto in accordance with Section 5.13, without any obligation to
make a corresponding prepayment to any other Lender. The Borrowers may utilize other forms of
Advance not so affected in order to make any required Repayment and after any such Repayment,
the Borrowers may elect to re-borrow the amount repaid by way of some other Advance upon
complying with applicable requirements thereof.

12.3     Application of Sections 12.1 and 12.2

        If a Lender exercises its discretion under either Section 12.1 or 12.2, then concurrently with
a notice from such Lender to the Agent and the applicable Borrower requiring compliance with
the applicable Section, such Lender will provide such Borrower (with a copy to the Agent who
will notify the other Lenders) with a certificate in reasonable detail outlining the particulars giving
rise to such notice and certifying (with reasonable supporting detail) the increased costs, if any,
payable by such Borrower thereunder, which will be prima facie evidence thereof and binding on
the Parties.

12.4     Taxes

         12.4.1 Except as provided in this Section 12.4, any and all payments by the Borrowers
         and any other Credit Party to or for the account of the Agent or any Lender under any
         Credit Document shall be made free and clear of and without deduction for any and all
         present or future taxes, duties, levies, imposts, deductions, assessments, fees, withholdings
         or similar charges imposed by any Governmental Authority, and all liabilities (including
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  additions to tax, penalties and interest) related thereto (collectively, “Impositions”),
  excluding, in the case of the Agent and each Lender or other recipient or beneficial owner
  of payment to be made by or on account of a Credit Party under any Credit Document, (x)
  any Impositions imposed on or measured by its net income (including any taxes similar to
  branch profits tax or capital, and franchise (and similar) taxes imposed on it in lieu of net
  income taxes), by the jurisdiction (or any political subdivision thereof) under the Laws of
  which the Agent or such Lender, as the case may be, is organized, resident, in which its
  principal office is located, in which it maintains its Lending Office or in which it is subject
  to such Imposition by reason of a present or former connection between it and such
  jurisdiction (other than a connection arising solely from the Agent or such Lender (or its
  applicable Lending Office) as the case may be, becoming a party hereto, having executed,
  delivered or performed its obligations under any Credit Document, received a payment
  under, enforced its rights under, received or perfected a security interest under, or engaged
  in any other transaction pursuant to, a Credit Document), and all interest and penalties with
  respect thereto; (y) U.S. and Canadian federal withholding taxes imposed on amounts
  payable to or for the account of such Lender with respect to an applicable interest in a Loan
  or Commitment pursuant to a law in effect on the date on which (i) such Lender acquires
  such interest in the Loan or Commitment (other than pursuant to an assignment request by
  the Borrower under Section 12.4.6) or (ii) such Lender changes its Lending Office, except
  in each case to the extent that, pursuant to this Section, amounts with respect to such
  withholding taxes were payable either to such Lender’s assignor immediately before such
  Lender became a party hereto or to such Lender immediately before it changed its Lending
  Office; and (z)(i) U.S. federal withholding taxes imposed under FATCA, (ii) taxes
  attributable to such recipient’s or beneficial owner’s failure to comply with the applicable
  reporting requirements of FATCA, and (iii) taxes attributable to such recipient’s or
  beneficial owner’s failure to provide such documentation as is reasonably requested by the
  Borrower for the Borrower to comply with its obligations under FATCA and to determine
  that such recipient or beneficial owner has complied with such recipient’s or beneficial
  owner’s obligations under FATCA or to determine the amount to deduct and withhold from
  any payment to such recipient or beneficial owner (all such non-excluded Impositions
  being hereinafter referred to as “Taxes” and all such excluded Impositions being
  hereinafter referred to as “Excluded Taxes”). If any Credit Party or any other applicable
  withholding agent shall be required by the Applicable Laws of a relevant taxing jurisdiction
  to deduct any Taxes or Other Taxes from or in respect of any sum payable under any Credit
  Document to the Agent or any Lender, (i) the sum payable shall be increased by the
  applicable Credit Party as necessary so that after all required deductions (including
  deductions applicable to additional sums payable under this Section 12.4) have been made,
  each of the Agent and such Lender receives an amount equal to the sum it would have
  received had only deductions attributable to Excluded Taxes been made, (ii) the applicable
  withholding agent shall make such deductions, (iii) the applicable withholding agent shall
  pay the full amount deducted to the relevant taxation authority or other Governmental
  Authority in accordance with Applicable Laws, and (iv) within thirty (30) days after the
  date of such payment, the Credit Party making such payments shall furnish to the Agent or
  Lender (as the case may be) the original or a certified copy of a receipt evidencing payment
  thereof to the extent such a receipt is issued therefor, or other written proof of payment
  thereof that is reasonably satisfactory to the Agent.
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  12.4.2 In addition but without duplication, the Borrowers agree to pay any and all present
  or future stamp, court or documentary taxes and any other excise, property, intangible or
  mortgage recording taxes, charges or similar levies imposed by a relevant taxing
  jurisdiction which arise from any payment made under any Credit Document or from the
  execution, delivery, performance, enforcement or registration of, or otherwise with respect
  to, any Credit Document (hereinafter referred to as “Other Taxes”).

  12.4.3 Each Borrower agrees to indemnify the Agent and each Lender for (i) the full
  amount of Taxes and Other Taxes (including any Taxes or Other Taxes imposed or asserted
  by any Governmental Authority of any relevant taxing jurisdiction on amounts payable
  under this Section 12.4) paid by the Agent and such Lender, and (ii) any reasonable
  expenses arising therefrom or with respect thereto, in each case whether or not such Taxes
  or Other Taxes were correctly or legally imposed or asserted by the relevant Governmental
  Authority; provided the Agent or Lender, as the case may be, provides the Borrowers with
  a written statement thereof setting forth in reasonable detail the basis and calculation of
  such amounts. Payment under this Section 12.4.3 shall be made within thirty (30) days
  after the date such Lender or the Agent makes a written demand therefor.

  12.4.4 Notwithstanding anything herein to the contrary, each Borrower shall not be
  required pursuant to this Section 12.4 to pay any additional amount to, or to indemnify,
  any Lender or the Agent, as the case may be, (i) to the extent that such Lender or the Agent
  becomes subject to Taxes subsequent to the Amendment and Restatement Date (or, if later,
  the date such Lender or the Agent becomes a party to this Agreement) as a result of a
  change in the place of organization or residence of such Lender or the Agent, a change in
  the Lending Office of such Lender, or a change in the principal office of such Lender or
  the Agent, except to the extent that any such change is requested or required by the
  Borrowers or to the extent that such Lender or the Agent was entitled, at the time of the
  change in place of organization, residence or the change in Lending Office, to receive
  additional amounts from the Borrowers pursuant to Sections 12.4.1 and 12.4.3 (and
  provided, that nothing in this Section 12.4 shall be construed as relieving the Borrowers
  from any obligation to make such payments or indemnification in the event of a change in
  Applicable Law) or (ii) where for Canadian income tax purposes, such Lender or the
  Agent, as the case may be, becomes subject to Taxes as a consequence of such Lender or
  the Agent either not dealing at arm’s length with the Borrowers (for purposes of the Income
  Tax Act (Canada)) or being, or not dealing at arm’s length with (for purposes of the Income
  Tax Act (Canada)) a “specified shareholder” (for purposes of the Income Tax Act (Canada))
  of the Borrower; provided, that this subclause (ii) shall not apply to the extent that such
  Lender or the Agent, as the case may be, is considered to have not dealt at arm’s length
  with the Borrowers for Canadian income tax purposes as a result of a change in Applicable
  Law after the Amendment and Restatement Date.

  12.4.5 If any Lender or the Agent determines in its sole discretion (exercised in good
  faith) that it has received a refund in respect of any Taxes or Other Taxes as to which
  indemnification or additional amounts have been paid to it by the Borrowers pursuant to
  this Section 12.4, it shall promptly remit such refund (including any interest included in
  such refund paid by the relevant Governmental Authority) to the Borrowers, net of all out-
  of-pocket expenses (including any taxes imposed with respect to such refund) of the Lender
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         or the Agent, as the case may be; provided, however, that the Borrowers, upon the request
         of the Lender or the Agent, as the case may be, agree promptly to return such refund (plus
         any penalties, interest or other charges imposed by the relevant Governmental Authority)
         to such party in the event such party is required to repay such refund to the relevant taxing
         authority. Such Lender or the Agent, as the case may be, shall, at the Borrowers’ request,
         provide the Borrowers with a copy of any notice of assessment or other evidence of the
         requirement to repay such refund received from the relevant Governmental Authority
         (provided, that such Lender or the Agent may delete any information therein that such
         Lender or the Agent deems confidential). Notwithstanding anything to the contrary in this
         Section 12.4.5, in no event will a Lender be required to pay any amount to the Borrowers
         pursuant to this Section 12.4.5 the payment of which would place such Lender in a less
         favorable net after-tax position than such Lender would have been in if the Taxes or Other
         Taxes subject to indemnification and giving rise to such refund had not been deducted,
         withheld or otherwise imposed and the indemnification payments or additional amounts
         with respect to such Taxes or Other Taxes had never been paid. Nothing herein contained
         shall interfere with the right of a Lender or the Agent to arrange its tax affairs in whatever
         manner it thinks fit nor oblige any Lender or the Agent to disclose any information relating
         to its tax affairs or any computations in respect thereof or require any Lender or the Agent
         to do anything that would prejudice its ability to benefit from any other refunds, credits,
         reliefs, remissions or repayments to which it may be entitled.

         12.4.6 Each Lender agrees that, upon the occurrence of any event giving rise to the
         operation of Section 12.4.1 and 12.4.3 with respect to such Lender it will, if requested by
         the Borrowers, use commercially reasonable efforts (subject to such Lender’s overall
         internal policies of general application and legal and regulatory restrictions) to avoid or
         reduce to the greatest extent possible any indemnification or additional amounts being due
         under this Section 12.4, including to designate another Lending Office for any Loan
         (including, for certainty, any Letter of Credit) affected by such event; provided, that such
         efforts are made on terms that, in the reasonable judgment of such Lender, cause such
         Lender and its Lending Office(s) to suffer no material economic, legal or regulatory
         disadvantage, and provided, further, that nothing in this Section 12.4.6 shall affect or
         postpone any of the Obligations of the Borrowers or the rights of such Lender pursuant to
         Sections 12.4.1 and 12.4.3. The Borrowers hereby jointly and severally agree to pay all
         reasonable costs and expenses incurred by any Lender as a result of a request by the
         Borrowers under this Section 12.4.6.

                                            ARTICLE 13
                                             GENERAL

13.1     Non-Disclosure

         13.1.1 All information received by the Agent and the Lenders from or in respect of the
         Credit Parties the confidential nature of which is made known or ought to have been known
         to the Party receiving such information, including any information relating to a Hostile
         Acquisition, other than information that is required to be disclosed by Applicable Law
         (including, for certainty, information required to be disclosed in connection with any legal
         proceedings, including proceedings relating to the Credit Documents) or to any
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         Governmental Authority of competent jurisdiction, including any central bank or other
         banking regulatory authority and any official bank examiners or regulators, will be held by
         the Parties in the strictest confidence and will not be disclosed to any Person, except as
         provided in this Section 13.1.

         13.1.2    Section 13.1.1 does not apply to information:

         (a)      of a Party where that Party consents in writing to its disclosure;

         (b)      which becomes part of the public domain through no fault of the Agent or the
                  Lenders;

         (c)      received from a third party without restriction on further disclosure and which third
                  party was not to the knowledge of the Agent or such Lender, under a duty of
                  confidentiality to the applicable Credit Party at the time the information was so
                  received;

         (d)      developed independently without breach of Section 13.1;

         (e)      which the Agent or the relevant Lender can show was, prior to receipt thereof from
                  a Credit Party, lawfully in the Agent’s or Lender’s possession and not then subject
                  to any obligation on its part to the Credit Parties to maintain confidentiality; or

         (f)      to the extent required to be disclosed by order or direction of a court or
                  Governmental Authority of competent jurisdiction (including any self-regulatory
                  authority, such as the National Association of Insurance Commissioners) or as other
                  required to be disclosed by Applicable Law or by any subpoena or similar legal
                  process.

         13.1.3 Information received by the Agent or a Lender may be disclosed to their
         respective Affiliates, Hedge Providers, the Agent or any other Lender or Participant,
         including any financial institution which desires to become a Lender or Participant
         hereunder, any actual or prospective counterparty (or its advisors) to any securitization,
         swap or derivative transaction relating to a Borrower or any other Credit Party, and the
         Obligations and to their respective employees, auditors, accountants, legal counsel,
         geologists, engineers and other consultants and financial advisors retained by such Persons
         on a need to know basis and subject to the obligation to maintain confidentiality; provided,
         that the Agent or Lender providing the information shall be responsible for any breach by
         its Affiliate of the aforementioned duty of confidentiality.

13.2     Waiver

        The failure or delay by the Agent or any Lender in exercising any right or privilege with
respect to the non-compliance with any provisions of this Agreement by the Borrower and any
course of action on the part of the Agent or any Lender, shall not operate as a waiver of any rights
of the Agent or such Lender unless made in writing by the Agent or such Lender. Any such waiver
in writing and shall be effective only in the specific instance and for the purpose for which it is
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given and shall not constitute a waiver of any other rights and remedies of the Agent or such Lender
with respect to any other or future non-compliance.

13.3     Governing Law

        This Agreement shall be interpreted in accordance with the Laws of the Province of Alberta
and the federal Laws of Canada applicable therein. Without prejudice to the right of the Agent and
the Lenders to commence any proceedings with respect to this Agreement in any other proper
jurisdiction, the Parties hereby attorn and submit to the non-exclusive jurisdiction of the courts of
the Province of Alberta.

13.4     Judgment Currency

        To the extent permitted by Applicable Law, if for the purposes of obtaining judgment
against any Credit Party in any court in any jurisdiction with respect to this Agreement it becomes
necessary for a Lender to convert into the currency of such jurisdiction (in this Section called the
“Judgment Currency”) any amount due to the Lender by such Credit Party under the Credit
Documents in any currency other than the Judgment Currency, the conversion shall be made at the
Exchange Rate prevailing on the Business Day before the day on which judgment is given. To the
extent permitted by Applicable Law, in the event that there is a change in the Exchange Rate
prevailing between the Business Day before the day on which the judgment is given and the date
of payment of the amount due, the applicable Credit Party will, on the date of payment, pay such
additional amounts (if any) or be entitled to receive reimbursement of such amount, if any, as may
be necessary to ensure that the amount paid on such date is the amount in the Judgment Currency
which when converted at the Exchange Rate prevailing on the date of payment is the amount then
due under this Agreement in such other currency. To the extent permitted by Applicable Law, any
additional amount due by a Credit Party under this Section will be due as a separate debt and shall
not be affected by judgment being obtained for any other sums due under or in respect of this
Agreement.

13.5     Expenses of Agent and Lenders

        Whether or not the transactions contemplated by this Agreement are completed or any
Advance has been made, each Borrower hereby agrees, jointly and severally, to promptly pay,
following receipt of invoice therefor from the Agent (and in any event within 30 days after receipt
thereof), from time to time all reasonable and documented expenses incurred by the Agent or any
Lender in connection with this Agreement, the Security and all documents contemplated hereby,
specifically including: expenses incurred by the Lenders in respect of due diligence, appraisals,
insurance consultations, credit reporting and responding to demands of any Governmental
Authority (provided, that reimbursement obligations in respect of costs and expenses arising under
inspection rights set forth in Section 7.1.7 shall be limited in the manner set forth in such Section);
reasonable out-of-pocket legal expenses in connection with the preparation and interpretation of
this Agreement and the other Credit Documents, the registration and perfection of the Security and
the administration of the Facilities generally, including the preparation of waivers and partial
discharges of Security (if there are any additional fees or expenses to be incurred in connection
with any of the foregoing over and above those that have already been disclosed to the Borrowers
then the Agent agrees to notify the Borrowers of those additional fees or expenses and obtain their
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concurrence to their payment); and all legal fees and expenses (on a solicitor and his own client
basis) in connection with the protection and enforcement of the Security and the exercise of any
rights and remedies of the Agent and the Lenders under the Credit Documents. Each Borrower
hereby authorizes the Agent to debit its account in order to pay any such expenses if such amount
is not paid in full within 30 days after receipt of a written request from the Agent for payment of
such amount.

13.6     Assignment

         13.6.1 This Agreement and the rights and obligations hereunder will not be assignable,
         in whole or in part, by any Borrower without the prior written consent of all of the Lenders.

         13.6.2 Each Lender will have the right to sell or assign its Commitment in minimum
         amounts of U.S. $5,000,000 (with such Lender, where such sale or assignment is not of all
         of such Lender’s Commitment under the applicable Facility, retaining a Commitment
         under the applicable Facility of at least U.S. $5,000,000), together with a proportionate
         share of Outstanding Advances owing to it, to one or more financial institutions with the
         consent of the Canadian Borrower, the Agent, the Issuing Bank and the Swingline Lender
         each such consent not to be unreasonably withheld (provided, that the Canadian Borrower
         may withhold such consent if a Borrower would be required to pay withholding taxes solely
         as a result of such assignment). An assignment fee of U.S. $3,500 for each such assignment
         will be payable to the Agent by the assigning Lender. In the event of such sale or
         assignment, the Borrowers, the Agent and the other Lenders will execute and deliver all
         such agreements, documents and instruments as the Agent or Lender may reasonably
         request to effect and recognize such sale or assignment, including an Assignment.
         Notwithstanding the foregoing, no consent of the Canadian Borrower will be required if an
         assignment (a) occurs during an Event of Default which is continuing, (b) is made between
         financial institutions who, at the relevant time, are already Lenders or Affiliates thereof, or
         (c) is made by a Lender to an Approved Fund. In the event that the Canadian Borrower
         fails to provide a response to the request for any such consent within five Business Days
         of the receipt of such request by the Canadian Borrower, the Canadian Borrower shall be
         deemed to have consented to such request. No consent to an assignment by a Lender shall
         be required from the U.S. Borrower. Notwithstanding the foregoing, no Lender may assign
         all or any part of its Commitment or Outstanding Advances to Palladium, an Investor or an
         Affiliate thereof without the prior written consent of all of the Lenders.

         13.6.3 To the extent that any Lender sells or assigns any portion of its Commitment and
         Outstanding Advances pursuant to this Section 13.6 and such new Lender or new Lenders,
         as the case may be, has executed and delivered to the Borrower and the Agent an
         Assignment, such Lender will be relieved and forever discharged of any and all of its
         covenants and obligations under the Credit Documents in respect of that portion of its
         Commitment and Outstanding Advances so sold or assigned from and after the date of such
         Assignment and the Borrower’s recourse under the Credit Documents in respect of such
         portion so sold or assigned from and after the date of the Assignment for matters arising
         thereunder from and after the date of the Assignment will be to such new Lender or new
         Lenders only, as the case may be, and their successors and permitted assigns.
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  13.6.4 Any Lender may at any time sell to one or more financial institutions or other
  Persons (each of such financial institutions and other Persons being herein called a
  “Participant”) participating interests in any of the Advances, commitments, or other
  interests of such Lender hereunder, without notice to, or consent from, the Agent or the
  Borrowers; provided, however, that:

  (a)    no participation contemplated in this Section 13.6.4 will relieve such Lender from
         its commitments or its other obligations hereunder or under any other Credit
         Document;

  (b)    such Lender will remain solely responsible for the performance of its commitments
         and such other obligations as if such participation had not taken place;

  (c)    the Agent will continue to deal solely and directly with such Lender in connection
         with such Lender’s rights and obligations under this Agreement and each of the
         other Credit Documents;

  (d)    no Participant will have any rights (through a right of consent or approval or
         otherwise) to require such Lender to take or refrain from taking any action
         hereunder or under any other Credit Document;

  (e)    no Borrower will be required to pay any amount hereunder that is greater than the
         amount which it would have been required to pay had no participating interest been
         sold; and

  (f)    in the case of any outstanding Bankers’ Acceptances, the Participants execute an
         indemnity agreement in respect of such Bankers’ Acceptances.

  Each U.S. Operating Lender that sells a participation shall, acting solely for this purpose
  as an agent of the U.S. Borrower, maintain a register on which it enters the name and
  address of each Participant in the U.S. Operating Facility and the principal amounts (and
  stated interest) of each Participant’s interest in the Commitments, Outstanding Advances
  or other obligations under the Credit Documents (the “Participant Register”); provided
  that no U.S. Operating Lender shall have any obligation to disclose all or any portion of
  the Participant Register (including the identity of any Participant or any information
  relating to a Participant’s interest in any commitments, loans, letters of credit or its other
  obligations under the Credit Documents) to any Person except to the extent that such
  disclosure is necessary to establish that such commitment, loan, letter of credit or other
  obligation is in registered form under Section 5f.103-1(c) of the United States Treasury
  Regulations. The entries in the Participant Register shall be conclusive absent manifest
  error, and such U.S. Operating Lender shall treat each Person whose name is recorded in
  the Participant Register as the owner of such participation for all purposes of this
  Agreement notwithstanding any notice to the contrary. For the avoidance of doubt, the
  Agent (in its capacity as Agent) shall have no responsibility for maintaining a Participant
  Register.

  13.6.5 The Agent, acting solely for this purpose as an agent of the U.S. Borrower, shall
  maintain at its office located at 452 Fifth Avenue, 5th Floor, New York, NY 10018, a copy
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         of each Assignment delivered to it and a register for the recordation of the names and
         addresses of the U.S. Operating Lenders, and the Commitments of, and principal amounts
         (and stated interest) of the Outstanding Advances owing to, each U.S. Operating Lender
         pursuant to the terms hereof from time to time (the “Register”). The entries in the Register
         shall be conclusive absent manifest error, and the Borrower, the Agent and the U.S.
         Operating Lenders shall treat each Person whose name is recorded in the Register pursuant
         to the terms hereof as a U.S. Operating Lender hereunder for all purposes of this
         Agreement. The Register shall be available for inspection by the Borrowers and any U.S.
         Operating Lender, at any reasonable time and from time to time upon reasonable prior
         notice.

13.7     General Indemnity

         In addition to any liability of the Borrowers to the Lenders under any other provision
hereof, each Borrower will and does hereby, jointly and severally, indemnify each Indemnitee and
hold each Indemnitee harmless against any losses, claims, costs, damages or liabilities (including
reasonable and documented out of pocket expenses and reasonable and documented legal fees on
a solicitor and his own client full indemnity basis of one counsel (but, for the avoidance of doubt,
excluding the allocated costs of in-house counsel) plus one local counsel in each applicable
jurisdiction) incurred by the same as a result of or in connection with: (a) any cost or expense
incurred by reason of the liquidation or re-deployment in whole or in part of deposits or other funds
required by any Lender to fund any Bankers’ Acceptance or to fund or maintain any Advance as a
result of any Borrower’s failure to complete an Advance or to make any payment, repayment or
prepayment on the date required hereunder or specified by it in any notice given hereunder;
(b) subject to permitted or deemed Rollovers and Conversions, any Borrower’s failure to provide
for the payment to the Agent for the account of the Lenders of the full principal amount of each
Bankers’ Acceptance on its Maturity Date; (c) any Borrower’s failure to pay any other amount,
including any interest or fees, due hereunder on its due date after the expiration of any applicable
grace or notice periods; (d) the prepayment of any outstanding Bankers’ Acceptance before the
Maturity Date of such Bankers’ Acceptance; (e) any Borrower’s repayment or prepayment of a
LIBOR Loan otherwise than on the last day of its LIBOR Period; (f) the failure of any Borrower
or any other Credit Party to make any other payment due hereunder or under any of the other Credit
Documents; (g) the occurrence of any other Default or Event of Default and the enforcement of
rights and remedies in connection therewith; (h) any instructions given to any Lender to stop
payment on any cheque issued by any Borrower or to reverse any wire transfer or other transaction
initiated by such Lender at the request of any Borrower; (i) any use of the proceeds of the Facilities,
including to pay the purchase price of the transaction or any other acquisition; and (j) any claim,
litigation or other proceeding related to the foregoing, regardless of whether such matter is initiated
by a third party or by Holdco, a Borrower or any of their Subsidiaries or Affiliates; provided that
this Section 13.7 will not apply to any losses, claims, costs, damages or liabilities that arise by
reason of (i) the gross negligence or wilful misconduct of the applicable Indemnitee claiming
indemnity hereunder, as determined by a final and non-appealable judgment of a court of
component jurisdiction; or (ii) a material breach of the applicable Indemnitee of its obligations
under the Credit Documents as determined by a final and non-appealable judgment of a court of
competent jurisdiction.
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13.8     Environmental Indemnity

         In addition to any other liability of the Borrowers hereunder, each Borrower hereby agrees
to, jointly and severally, indemnify and save harmless the Indemnitees from and against:

         (a)   any losses suffered by them for, in connection with, or as a direct or indirect result
               of, the failure of any Borrower or any of their respective Subsidiaries to comply
               with all Requirements of Environmental Law;

         (b)   any losses suffered by the Indemnitees for, in connection with, or as a direct or
               indirect result of, the presence of any Hazardous Material situated in, on or under
               any property owned by any Borrower or any of their respective Subsidiaries or upon
               which any of them carries on business, specifically including any diminution in
               value of the business, property and assets of such Person; and

         (c)   any and all liabilities, losses, damages, penalties, expenses (including reasonable
               legal fees) and claims which may be paid, incurred or asserted against the
               Indemnitees for, in connection with, or as a direct or indirect result of, any legal or
               administrative proceedings with respect to the presence of any Hazardous Material
               on or under any property owned by any Borrower or any of its respective
               Subsidiaries or upon which any of them carries on business, or the discharge,
               emission, spill, radiation or disposal by any Borrower or any of their respective
               Subsidiaries of any Hazardous Material into or upon any Land, the atmosphere, or
               any watercourse or body of water; including the costs of defending,
               counterclaiming or claiming against third parties in respect of any action or matter
               and any cost, liability or damage arising out of a settlement entered into by the
               Indemnitees of any such action or matter,

except to the extent arising from the gross negligence or wilful misconduct of the applicable
Indemnitee, as determined by a final and non-appealable judgment of a court of component
jurisdiction. For the purpose of this Section 13.8, liabilities means those amounts that are
quantifiable and found to be the responsibility of the Indemnitees either alone or jointly or
severally with others.

13.9     Survival of Certain Obligations despite Termination of Agreement

        The termination of this Agreement shall not relieve the Borrowers from their obligations
to the Agent and the Lenders arising prior to such termination, such as obligations arising as a
result of or in connection with any breach of this Agreement, any failure to comply with this
Agreement or the inaccuracy of any representations and warranties made or deemed to have been
made prior to such termination, and obligations arising pursuant to all indemnity obligations
contained herein. Without limiting the generality of the foregoing, the obligations of the Borrowers
to the Agent and the Lenders arising under or in connection with Sections 8.5(b), 13.7 and 13.8
shall continue in full force and effect despite any termination of this Agreement.
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13.10 Interest on Unpaid Costs and Expenses

        If a Borrower fails to pay when due any amount in respect of costs or expenses or any other
amount required to be paid by it hereunder (other than principal or interest on any Advance), the
Borrowers shall, jointly and severally, pay interest on such unpaid amount from the time such
amount is due until paid at the rate equal to the highest rate of interest then applicable under the
Facilities.

13.11 Notice

        Without prejudice to any other method of giving notice, all communications provided for
or permitted hereunder shall be in writing and delivered to the addressee by prepaid private courier
or sent by facsimile to the applicable address and to the attention of the officer of the addressee as
follows:

       (a)     to the Borrowers:

               Q’Max Solutions Inc.
               11700 Katy Freeway, Suite 200
               Houston Texas 77079
               United States

               Attention:      Chief Financial Officer
               Fax No.         (832) 201-8146

       (b)     to the Agent:

               HSBC Bank Canada, as Agent
               7th Floor, 70 York Street
               Toronto, Ontario
               M5J 1S9

               Attention:      Manager Agency
               Fax No.         (647) 788-2185

               with a copy to (for all notices other than Drawdown Requests, Conversion Notices
               and Rollover Notices):

               HSBC Bank Canada
               5th Floor, 70 York Street
               Toronto, Ontario
               M5J 1S9

               Attention:      Director
               Fax No.         (647) 788-2185

       (c)     to any Lender, at its addressed noted on Exhibit “A” attached hereto.
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Any communication transmitted by prepaid private courier shall be deemed to have been validly
and effectively given or delivered on the Business Day after which it is submitted for delivery.
Any communication transmitted by facsimile shall be deemed to have been validly and effectively
given or delivered on the day on which it is transmitted, if transmitted on a Business Day on or
before 5:00 p.m. (local time of the intended recipient), and otherwise on the next following
Business Day. Any party may change its address for service or other notices, including electronic
communications, by notice given in the foregoing manner. The Parties each covenant to accept
service of judicial proceedings arising under the Credit Documents at its respective address set
forth herein.

13.12 Telephone Instructions

         Any verbal instructions given by a Borrower in relation to this Agreement will be at the
risk of the Borrowers and neither the Agent nor the Lenders will have any liability for any error or
omission in such verbal instructions or in the interpretation or execution thereof by the Agent or a
Lender, as the case may be; provided, that the Agent or Lender, as the case may be, acted without
gross negligence in the circumstances. The Agent will notify the applicable Borrower of any
conflict or inconsistency between any written confirmation of such verbal instructions received
from such Borrower and the said verbal advice as soon as practicable after the conflict or
inconsistency becomes apparent to the Agent.

13.13 Severability

         Any provision of this Agreement which is illegal, prohibited or unenforceable in any
jurisdiction, in whole or in part, shall not invalidate the remaining provisions hereof; and any such
illegality, prohibition or unenforceability in any such jurisdiction shall not invalidate or render
unenforceable such provision in any other jurisdiction.

13.14 Further Assurances

        Each Borrower shall, at its expense, promptly execute and deliver or cause to be executed
and delivered to the Agent upon request, acting reasonably, from time to time all such other and
further documents, agreements, opinions, certificates and instruments in compliance with this
Agreement, or if necessary or desirable to more fully record or evidence the obligations intended
to be entered into herein, or to make any recording, file any notice or obtain any consent.

13.15 Tombstone Marketing

        For the purpose of “tombstone marketing”, each Borrower hereby authorizes and consents
to the reproduction, disclosure and use by the Lenders and the Agent of its name, identifying logo
and the Facilities to enable the Lenders to publish promotional “tombstones”. Each Borrower
acknowledges and agrees: that the Lenders shall be entitled to determine, in their discretion,
whether to use such information; that no compensation will be payable by the Lenders or the Agent
in connection therewith; and that the Lenders and the Agent shall have no liability whatsoever to
any Borrower or any of its respective employees, officers, directors, Affiliates or shareholders in
obtaining and using such information as contemplated herein.
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13.16 Entire Agreement

        This Agreement supersedes all discussion papers, term sheets and other writings issued by
the Agent or the Lenders prior to the date hereof relating to the Facilities; and this Agreement and
any other documents or instruments contemplated herein or therein shall constitute the entire
agreement and understanding among the Borrowers, the Lenders and the Agent relating to the
subject-matter hereof.

13.17 Anti-Money Laundering Legislation

       (a)     Each Borrower acknowledges that, pursuant to the Proceeds of Crime (Money
               Laundering) and Terrorist Financing Act (Canada) and other applicable anti-
               money laundering, anti-terrorist financing, government sanction and “know your
               client” Laws, whether within Canada or elsewhere (collectively, including any
               guidelines or orders thereunder, “AML Legislation”), the Lenders and the Agent
               may be required to obtain, verify and record information regarding the Borrowers,
               Palladium, the other Credit Parties, their respective directors, authorized signing
               officers, direct or indirect shareholders or other Persons in control of the Credit
               Parties or Palladium, and the transactions contemplated hereby. The Borrowers
               shall promptly provide all such information, including supporting documentation
               and other evidence, as may be reasonably requested by any Lender or the Agent, or
               any prospective assignee of a Lender or the Agent, in order to comply with any
               applicable AML Legislation, whether now or hereafter in existence.

       (b)     If, upon the written request of any Lender, the Agent has ascertained the identity of
               a Borrower, Palladium or any Credit Party or any authorized signatories of any
               Borrower or any other Credit Party for the purposes of applicable AML Legislation
               on such Lender’s behalf, then the Agent:

               (i)     shall be deemed to have done so as an agent for such Lender, and this
                       Agreement shall constitute a “written agreement” in such regard between
                       such Lender and the Agent within the meaning of applicable
                       AML Legislation; and

               (ii)    shall provide to such Lender copies of all information obtained in such
                       regard without any representation or warranty as to its accuracy or
                       completeness.

       (c)     Notwithstanding the preceding sentence, each of the Lenders agrees that the Agent
               has no obligation to ascertain the identity of the Borrowers, Palladium or any other
               Credit Party or any authorized signatories of the Borrowers, Palladium or any other
               Credit Party, on behalf of any Lender, or to confirm the completeness or accuracy
               of any information it obtains from the Borrowers, Palladium or any other Credit
               Party or any such authorized signatory in doing so.

       (d)     Each Lender that is subject to the PATRIOT Act and the Agent (for itself and not
               on behalf of any Lender) hereby notifies the Credit Parties that pursuant to the
               requirements of the PATRIOT Act, it is required to obtain, verify and record
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               information that identifies the Credit Parties, which information includes the name,
               address and tax identification number of the Credit Parties and other information
               regarding the Credit Parties that will allow such Lender or the Agent, as applicable,
               to identify the Credit Parties in accordance with the PATRIOT Act. This notice is
               given in accordance with the requirements of the PATRIOT Act and is effective as
               to the Lenders and the Agent.

13.18 Binding Effect

        This Agreement shall be binding upon and shall enure to the benefit of the Parties and their
respective successors and permitted assigns; “successors” includes any corporation resulting from
the amalgamation of any party with any other corporation.

13.19 Execution by Electronic Means and Counterparts

        This Agreement may be executed in several counterparts, each of which, when so executed,
shall be deemed to be an original and which counterparts together shall constitute one and the same
Agreement. This Agreement may be executed by facsimile, pdf or other electronic means, and any
signature contained hereon by facsimile, pdf or other electronic means shall be deemed to be
equivalent to an original signature for all purposes.

13.20 Intercreditor Agreement

       In the event of a conflict between the provisions of this Agreement and the provisions of
the Encina Intercreditor Agreement, the provisions of the Encina Intercreditor Agreement shall
govern.

13.21 Release of Liens and Guarantees.

       (a)     The Agent shall not, during the term of this Agreement, discharge, surrender,
               amend or otherwise modify any Security without the prior written consent of all of
               the Lenders, provided that the Agent may accept additional or supplemental
               Security as provided in the Credit Documents, and shall discharge Security
               provided hereunder in the Permitted Discretion of the Agent with respect to any
               Permitted Disposition or, if applicable, any other transaction permitted by this
               Agreement in respect of which the Agent has received, upon its reasonable request,
               an officer’s certificate of the Canadian Borrower certifying that such disposition or
               other transaction is permitted by this Agreement, together with any other
               information from the Canadian Borrower reasonably required by the Agent, if any
               (and the Agent may rely conclusively on a certificate to that effect provided to it by
               the Canadian Borrower without further inquiry).

       (b)     The Lenders hereby authorize the Agent, and the Agent hereby agrees, to:

               (i)     discharge the Security at the Borrower’s sole cost and expense, forthwith
                       after all of the Obligations under the Credit Documents (other than
                       contingent obligations intended to survive payout of the Facilities) have
                       been unconditionally and irrevocably paid or performed in full and the
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               Facilities, Credit Documents and all Hedging Agreements have been
               terminated or, with respect to the Hedging Agreements, collateralized to the
               satisfaction of the Agent and the applicable Hedge Providers, acting
               reasonably; and

        (ii)   at the request of the Borrower and upon receipt of the Agent of an officer’s
               certificate from a senior officer of the Borrower certifying that such
               disposition is a Permitted Disposition, to discharge that portion of the
               Security that applies to the property subject to such Permitted Disposition
               or execute a no interest letter or similar document in connection therewith.

  (c)   As of the Amendment and Restatement Date, the Agent and other Secured Parties
        hereby release each of (x) QMax Ecuador S.A. and (y) Mud Movers Express LLC
        as Guarantors, hereby confirm that all such Subsidiaries’ Obligations are
        discharged, in each case, whether now existing or hereafter arising and whether or
        not matured or contingent, and that the Security granted by such Subsidiaries to the
        Agent is deemed to be released.



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                            Jonathan Tomm
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5.      ADDITIONAL AGREEMENTS

        5.1.    The parties hereto agree to the following:

                (a)      notwithstanding anything to the contrary in the Credit Agreement, commencing on
                         the Effective Date and ending on such date as may be agreed to by the Agent in
                         writing, the Borrowers shall not be permitted to request further Advances by way
                         of, Rollover, or Covert any Loan into, Bankers’ Acceptances, BA Equivalent Loans,
                         or LIBOR Loans;

                (b)      upon the maturity of the LIBOR Period of each Existing LIBOR Loan, each Existing
                         LIBOR Loan outstanding under (x) the Canadian Operating Facility shall be
                         deemed to be Converted into a U.S. Dollar Base Rate Loan under the Canadian
                         Operating Facility; (y) the US Operating Facility shall be deemed to be Converted
                         into a U.S. Dollar Prime Rate Loan under the US Operating Facility, and (z) the
                         Term Facility shall be deemed to be Converted into a U.S. Dollar Base Rate Loan
                         under the Term Facility;

                (c)      all principal, Interest and fees that would otherwise be payable pursuant to the
                         LIBOR Loan Payment Obligation shall continue as Obligations under the Canadian
                         Operating Facility, the US Operating Facility, or the Term Facility, as applicable,
                         which Obligations shall, for greater certainty, be subject to the waiver and payment
                         deferral terms set out in Section 3.1 above; and

                (d)      notwithstanding Section 5.1.4 of the Credit Agreement, from the Effective Date
                         until the delivery by the Borrowers of a Compliance Certificate in respect of the
                         Fiscal Quarter ending June 30, 2020 in accordance with Section 7.4.1(b) and (d)
                         of the Credit Agreement, the Applicable Margin shall be at Level VII, and shall
                         thereafter be determined in accordance with Section 5.1.4 of the Credit
                         Agreement.

6.      CONFIRMATION

The waivers in Section 3 above are effective only in this instance and for the specific purpose stated herein.
They shall not be, or be deemed to be, consents to, or waivers of, any preceding or subsequent breach of
the same or any other covenant or provision of the Credit Agreement or any of the other Credit Documents
nor shall they operate as waivers of any right, power or remedy of the Agent or the Lenders under the Credit
Agreement and the other Credit Documents.

7.      FEES

In consideration of the waivers and amendments provided for herein, the Borrowers shall pay to the Agent,
for and on behalf of the Lenders on a pro rata basis, a fee of 20 bps on all Lenders’ Commitments (the
Waiver Fee), which fee shall, on the Effective Date, be fully earned and shall be deemed to be an Obligation
outstanding and shall accrue interest in the same manner as a U.S. Dollar Base Rate Loan outstanding
under the Canadian Operating Facility. The Waiver Fee is in addition to all other fees, interest, costs and
expenses payable in connection with the Credit Documents, and may be charged by the Agent to any
account of the Borrowers maintained by the Agent.

8.      REPRESENTATIONS AND WARRANTIES

        8.1.    The Borrowers represent and warrant to the Agent and the Lenders as follows:

                (a)      the recitals to this Agreement are true and correct;




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                                         [Signature pages follow.]

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IN WITNESS WHEREOF, the Agent, the Lenders and the Borrowers have executed and delivered this
Agreement.




                                            Q’MAX SOLUTIONS INC., as Canadian Borrower




                                            Per:
                                                      Name: Rafael Diaz-Granados
                                                      N
                                                      Title: President



                                            Q’MAX AMERICA INC., as U.S. Borrower




                                            Per:
                                                      Name: Rafael Diaz-Granados
                                                      Title: President


                                            Q’MAX CANADA OPERATIONS INC., as Specified
                                            Canadian Swingline Borrower




                                            Per:
                                                      Name: Rafael Diaz-Granados
                                                      Title: President




                       [Waiver and Fourth Amending Agreement – Q’Max]
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                                    HSBC BANK CANADA, as Administrative Agent



                                    Per:
                                              Name:
                                                       Cameron Bailey
                                              Title:


                                    Per:
                                              Name:
                                              Title:   Paul Irving, Vice President LMU




                [Waiver and Fourth Amending Agreement – Q’Max]
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                                    HSBC BANK CANADA, as Lender



                                    Per:
                                              Name:
                                                me:
                                              Title:
                                                          Cameron Bailey


                                    Per:
                                              Name:
                                              Title:




                [Waiver and Fourth Amending Agreement – Q’Max]
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                                    BANK OF MONTREAL, as Lender



                                    Per:
                                              Name: Stanley
                                                     St l Julien
                                                            J li
                                              Title: Managing Director
                                                              Direc

                                    Per:
                                              Name:
                                              N
                                              Na  me: Jesse
                                                      J     Agassiz
                                                            A    i
                                              Title:  Senior Manager




                [Waiver and Fourth Amending Agreement – Q’Max]
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                                    EXPORT DEVELOPMENT CANADA, as Lender



                                    Per:
                                              Name:
                                              Title:   Katie Furfaro
                                                                         ger
                                                       Special Risks Manager

                                    Per:
                                              Name:
                                              Title:




                [Waiver and Fourth Amending Agreement – Q’Max]
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                                     BUSINESS DEVELOPMENT BANK OF CANADA, as
                                     Lender

                                     Per:
                                               Name:
                                               Title:


                                     Per:
                                               Name:
                                               Title:




                 [Waiver and Fourth Amending Agreement
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                                                                              HSBC BANK USA, NATIONAL ASSOCIATION, as
                                                                              Lender

                                                                              Per:                             Aa                   i/.P
                                                                                            Name:        Stephen M.
                                                                                                         Stephen  M. Ellsowrth
                                                                                                                     Ellsowrth
                                                                                            Title:       Vice President
                                                                                                         Vice President

                                                                             Per:
                                                                             -------------------------------------------------------------------------
                                                                             -------------------------------------------------------------------------
                                                                                            Name:
                                                                             -------------------------------------------------------------------------
                                                                             -------------------------------------------------------------------------
                                                                                            Title:




                                                          [Waiver and Fourth Amending Agreement – Q’Max]

  Stephen M. Ellsowrth
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                   THIS IS EXHIBIT”
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                   Sworn before me this
                   dayof                    A.D.2OO

                           /
                                 Jonathan Tomm
                               Barrister and Solic4tor
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•   TO:
                                              GUARANTEE


                      HSBC BANK CANADA, as Agent (the "Agent")

    DATE:             May 23,2014

    PREAMBLE:


    A.       Fluid Acquisition Corp. and Q'Max America Inc. (collectively, the "Borrowers"), as
             borrowers, HSBC Bank Canada and those other financial institutions which are .from lime
             to time party thereto as lenders (collectively, the "Lenders") and HSBC Bank Canada, as
             administrative agent for the Lenders (in such capacity together with its successors and
             assigns in such capacity, the "Agent") are parties to a credit agreement dated as of the
             date hereof (as such credit agreement may be amended, supplemented or otherwise
             modified or restated from time to time, the "Credit Agreement").

    B.       The Borrowers and the Guarantors (as defined in the Credit Agreement) (collectively, the
             "Credit Parties" and each a "Credit Party") may, from time to time, incur indebtedness,
             obligations and liabilities to the Agent, the Lenders, the Hedge Providers and
             counterparties providing services pursuant to the Banking Services Agreements
             (collectively, the "Creditors") pursuant to or in connection with the Credit Agreement,
I            the other Loan Documents, the Hedging Agreements and the Banking Services
             Agreements from time to time.

    C.       It is in the interests of 1356760 Alberta Ltd. (the "Guarantor"), that the Creditors extend
             credit to the Borrowers pursuant to the applicable Credit Documents and therefore the
             Guarantor is prepared to issue this Guarantee to the Agent for and on behalf of the
             Creditors.

    AGREEMENT:

            For valuable consideration, the receipt and sufficiency of which are hereby conclusively
    acknowledged by the Guarantor, the Guarantor hereby agrees in favour of the Agent for its own
    benefit and on behalf of the Creditors as follows:

    l.       Defined Terms. In this Guarantee, capitalized words and phrases which are not
             otherwise defined have the respective meanings given to such terms in the Credit
             Agreement. In addition, the term "Loan Documents" when used herein means the Credit
             Agreement, the Hedging Agreements, the Banking Services Agreements, the Security
             and any other Credit Documents, instruments or agreements entered into pursuant thereto
             or in connection therewith.

    2.       Guarantee. The Guarantor hereby unconditionally and irrevocably guarantees the
             prompt payment and performance to the Agent for its own benefit and on behalf of the



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             Creditors forthwith upon demand by the Agent during the occurrence and continuance of
             an Event of Default of all indebtedness, liabilities and obligations of any kind whatsoever


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I           (whether direct or indirect, joint or several, absolute or contingent, matured or
            unmatured) which the Borrowers or any other Credit Party (other than the Guarantor) has
            from time to time incurred or is under or may hereafter incur or be under to the Agent or
            any Creditor under or in connection with or with respect to the Loan Documents
            (collectively, the "Guaranteed Obligations"). All amounts payable by the Guarantor
            hereunder will be paid to the Agent for its own benefit and on behalf of the Creditors at
            the address of the Agent set forth in Section 23 below or as otherwise directed in writing
            by the Agent. Any amounts payable by the Guarantor under this Guarantee which are not
            paid forthwith upon demand therefor by the Agent as aforesaid for its own benefit and on
            behalf of the Creditors will bear interest from the date of such demand at the rate or rates
            applicable
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                        to. the corresponding  Guaranteed
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                                                                          Obligations.
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    3.       Continuing, Unconditional and Absolute Guarantee. The obligations of the Guarantor
             under this Guarantee are continuing, unconditional and absolute and, without limiting the
             generality of the foregoing, will not be released, discharged, diminished, limited or
             otherwise affected by (and the Guarantor hereby consents to or waives, as applicable, to
             the fullest extent permitted by Applicable Laws):

             (a)      any extension, other indulgence, renewal, settlement, discharge, compromise,
                      waiver, subordination or release in respect of any Guaranteed Obligation,
                      security, Person or otherwise, unless such settlement, discharge, compromise or
                      release shall specifically release the Guarantor from its obligations, indebtedness
                      or liabilities hereunder or any part thereof or is a payment of the Guaranteed
I                     Obligations;

             (b)      any waiver, modification, restatement or amendment of or supplement to any
                      Loan Document or the Guaranteed Obligations, including any increase or
                      decrease in the principal, the rates of interest or other amounts payable
                      thereunder;

             (c)      any change in the time, manner or place of payment of or in any other term of any
                      Loan Document or the Guaranteed Obligations, or the failure on the part of the
                      Borrowers or any other Credit Party to carry out any of its Guaranteed
                      Obligations under any Loan Document;

             (d)      any impossibility, impracticability, frustration of purpose, illegality, force majeure
                      or act of government;

             (e)      any non-perfection or invalidity of any direct or indirect security for any
                      Guaranteed Obligation;

             (f)      any change in the existence, structure, constitution, name, objects, powers,
                      business, control or ownership of the Borrowers, any other Credit Party or any
                      other Person, or any insolvency, bankruptcy, reorganization or other similar
                      proceeding affecting tlJe Borrowers, any other Credit Party or any other Person or
                      its assets;


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I            (g)      the existence of any claim, set-off or other rights which the Guarantor may have
                      at any time against the Borrowers, any other Credit Party, the Agent or any other
                      Person, whether in connection herewith or any unrelated transactions;

             (h)      any invalidity, illegality or unenforceability relating to or against the Borrowers or
                      any other Credit Party or any provision of Applicable Law purporting to prohibit
                      the payment by the Borrowers or any other Credit Party of the principal or interest
                      under the Guaranteed Obligations;

             (i)      any limitation, postponement, prohibition, subordination or other restriction on
                      the rights of the Agent or any Creditor to receive payment of the Guaranteed
                      Obligations;

                      any release, substitution or addition of any co-signer, endorser or other guarantor
                      of the Guaranteed Obligations;

             (k)      any defence arising by reason of any failure of the Agent or any Creditor to make
                      any presentment, demand for performance, notice of non-performance, protest,
                      and any other notice, including notice of all of the following: acceptance of this
                      Guarantee, partial payment or non-payment of all or any part of the Guaranteed
                      Obligations and the existence, creation, or incurring of new or additional
                      Guaranteed Obligations;

I            (1)      any defence arising by reason of any failure of the Agent or any Creditor to
                      proceed against the Borrowers, any other Credit Party or any other Person, to
                      proceed against, apply or exhaust any security held from the Borrowers, any other
                      Credit Party or any other Person for the Guaranteed Obligations, to proceed
                      against, apply or exhaust any security held from the Guarantor or any other
                      Person for this Guarantee or to pursue any other remedy in the power of the Agent
                      or any Creditor whatsoever;

             (m)      any Applicable Law which provides that the obligation of a guarantor must
                      neither be larger in amount nor in other respects more burdensome than that of the
                      principal obligation or which reduces a guarantor's obligation in proportion to the
                      principal obligation;

             (n)      any defence arising by reason of any incapacity, lack of authority, or other
                      defence of the Borrowers, any other Credit Party or any other Person, or by reason
                      of any limitation, postponement, prohibition on the Agent's or any Creditor's
                      right to receive payment of the Guaranteed Obligations or any part thereof, or by
                      reason of the cessation from any cause whatsoever of the liability of the
                      Borrowers, any other Credit Party or any other Person with respect to all or any
                      part of the Guaranteed Obligations, or by reason of any act or omission of the
                      Agent or any Creditor or others which directly or indirectly results in the
                      discharge or release of the Borrowers, any other Credit Party or any other Person
                      or all or any part of the Guaranteed Obligations or any security or guarantee
                      therefor, whether by contract, operation of law or otherwise;
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             (0)       any defence arising by reason of any failure by the Agent or any Creditor to
                       obtain, perfect or maintain a perfected or prior (or any) security interest in or Lien
                       upon any property of the Borrowers, any other Credit Party or any other Person,
                       or by reason of any interest of the Agent or any Creditor in any property, whether
                       as owner thereof or the holder of a security interest therein or Lien thereon, being
                       invalidated, voided, declared fraudulent or preferential or otherwise set aside, or
                       by reason of any impairment by the Agent of any right to recourse or collateral;

             (p)       any defence arising by reason of the failure of the Agent or any Creditor to
                       marshal any assets;

             (q)       any defence based upon any failure of the Agent or any Creditor to give to the
                       Borrowers, any other Credit Party, the Guarantor or any other Person notice of
                       any sale or other disposition of any property securing any or all of the Guaranteed
                       Obligations or any guarantee thereof, or any defect in any notice that may be
                       given in connection with any sale or other disposition of any such property, or any
                       failure of the Agent or any Creditor to comply with any provision of Applicable
                       Law in enforcing any Lien upon any such property, including any failure by the
                       Agent or any Creditor to dispose of any such property in a commercially
                       reasonable manner;

             (r)       any dealing whatsoever with the Borrowers, any other Credit Party or other



•            (s)
                       Person or any security, whether negligently or not, or any failure to do so;

                       any defence based upon or arising out of any bankruptcy, insolvency,
                       reorganization, moratorium, arrangement, readjustment of debt, liquidation or
                       dissolution proceeding commenced by or against the Borrowers, any other Credit
                       Party or any other Person, including any discharge of, or bar against collecting,
                       any of the Guaranteed Obligations, in or as a result of any such proceeding; or

             (t)       any other act or omission to act or delay of any kind by the Borrowers, any other
                       Credit Party, the Agent, a Creditor or any other Person or any other circumstance
                       whatsoever, whether similar or dissimilar to the foregoing, which might, but for
                       the provisions of this Section 3, constitute a legal or equitable discharge,
                       limitation or reduction of the Guarantor's obligations hereunder (other than the
                       irrevocable and .unconditional payment in full of all of the Guaranteed
                       Obligations).

             The foregoing provisions apply (and the foregoing waivers will be effective) even if the
             effect of any action (or failure to take action) by the Agent or any Creditor is to destroy or
             diminish the Guarantor's subrogation rights, the Guarantor's right to proceed against the
             Borrowers or any other Credit Party for reimbursement, the Guarantor's right to recover
             contribution from any other guarantor or any other right or remedy.

    4.       Release of Guaranteed Obligations. This Guarantee will remain in full force and effect
             until the Guaranteed Obligations are irrevocably and unconditionally performed and paid



•
             in full.


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    5.       Validity of Agreements. The Guarantor will not contest or otherwise challenge the
             legality, validity or enforceability of any tenn, condition or other provision contained in
             the Loan Documents. The Guarantor represents to the Agent for and on behalf of the
             Creditors that it is familiar with and consents to the tenns and conditions of the Loan
             Documents.

    6.       Assumption of Authoritv. The Agent, for and on behalf of the Creditors, is entitled to
             assume, notwithstanding any investigation by or on behalf of the Agent or any Creditor,
             the power and authority of the officers, directors, agents or other Persons acting or
             purporting to act on behalf of the Borrowers, the Guarantor or the other Credit Parties,
             and any Guaranteed Obligations made or created in reliance upon the exercise of such
             power or authority will be guaranteed hereunder.

    7.       Recourse against Credit Parties and Others. The Agent, for and on behalf of the
             Creditors, is not required to exhaust its recourse against the Borrowers, the other Credit
             Parties, any other guarantor or other Person or under any other security or other guarantee
             before being entitled to payment from the Guarantor under this Guarantee.

    8.       Settlement of Accounts. Any account settled or stated between the Agent, for and on
             behalf of the Creditors, and the Borrowers or the other Credit Parties will be accepted by
             the Guarantor as prima facie evidence, subject to manifest error, that the amount thereby
             appearing due by the Borrowers or the other Credit Parties to the Agent and the Creditors



•   9.
             is so due.

              No Waiver. No delay on the part of the Agent, for and on behalf of the Creditors, in
            . exercising any of its options, powers or rights, or partial or single exercise thereof, will
              constitute a waiver thereof. No waiver of any of the Agent's or any Creditor's rights
              hereunder, and no modification or amendment of this Guarantee, will be deemed to be
              made by the Agent for and on behalf of the Creditors unless the same will be in writing,
              duly signed by the Agent, for and on behalf of the Creditors, and the Guarantor, and each
              such waiver, if any, will apply only with respect to the specific instance involved, and
              will in no way impair the rights of the Agent and the Creditors or the liabilities of the
              Guarantor to the Agent and the Creditors in any other respect at any other time.

    10.      Guarantee of all Credit Obtained; Indemnity. All moneys and credits in fact
             borrowed or obtained by the Borrowers or any other Credit Party from the Agent or any
             Creditor under the Loan Documents will be deemed to fonn part of the Guaranteed
             Obligations notwithstanding any incapacity, disability or lack or limitation of status or
             power of the Borrowers or any other Credit Party or of the directors, officers, employees,
             partners or agents thereof, or that the Borrowers or any other Credit Party may not be a
             legal entity, or any irregularity, defect or infonnality in the borrowing or obtaining of
             such moneys or credits. If any amount in respect of the Guaranteed Obligations is not
             recoverable from the Guarantor hereunder on the basis of a guarantee, then,
             notwithstanding any other provision hereof, the Guarantor will indemnify and save
             hannless the Agent and each Creditor and all of their respective directors, officers,
             shareholders and agents from and against any and all losses, damages, costs, expenses or



•            liabilities suffered or incurred by the Agent or any Creditor or any of their respective


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            directors, officers, shareholders and agents resulting or arising from or relating to any
            failure of the Borrowers or any other Credit Party to unconditionally and irrevocably pay
            in full or fully perform the Guaranteed Obligations as and when due provided that the
            amount of such indemnification shall not exceed the amount of such Guaranteed
            Obligations and any amounts due and owing hereunder.

    II.      Stay of Acceleration. If acceleration of the time for payment, or the liability of the
             Borrowers or any other Credit Party to make payment, of any amount specified to be
             payable by the Borrowers or any other Credit Party in respect of the Guaranteed
             Obligations is stayed, prohibited or otherwise affected upon the insolvency, bankruptcy,
             reorganization or winding-up of the Borrowers or any other Credit Party or any
             moratorium affecting the payment of the Guaranteed Obligations, all such amounts
             otherwise subject to acceleration or payment will nonetheless be deemed for all purposes
             of this Guarantee to be and to become due and payable by the Borrowers or any other
             Credit Party and will be payable by the Guarantor hereunder forthwith on demand by the
             Agent for and on behalf of the Creditors.

    12.      Reinstatement. If, at any time, all or any part of any payment previously applied by the
             Agent or any Creditor to any Guaranteed Obligation is or must be rescinded or returned
             by the Agent or any Creditor for any reason whatsoever (including the insolvency,
             bankruptcy, or reorganization of the Borrowers or any other Credit Party), such
             Guaranteed Obligation will, for the purpose of this Guarantee, to the extent that such



•            payment is or must be rescinded or returned, be deemed to have continued in existence,
             notwithstanding such application by the Agent or any such Creditor, and this Guarantee
             will continue to be effective or be reinstated, as the case may be, as to such Guaranteed
             Obligation, all as though such application by the Agent or any such Creditor had not been
             made.

    13.      Assignment and Postponement. All present and future indebtedness and liability of the
             Borrowers and each other Credit Party to the Guarantor is hereby assigned by the
             Guarantor to the Agent for its own benefit and on behalf of the Creditors and
             subordinated to the Guaranteed Obligations and all moneys received by the Guarantor in
             respect thereof following the occurrence and during the continuance of an Event of
             Default will be received in trust for and, unless prior written authorization from the Agent
             to the contrary will have been obtained by the Guarantor, will be paid over to the Agent
             for its own benefit and on behalf of the Creditors upon demand by the Agent. If the
             Agent receives from the Guarantor a payment or payments in full or on account of the
             liability of the Guarantor hereunder, the Guarantor will not be entitled to claim repayment
             against the Borrowers or any other Credit Party until the Agent's and the Creditors'
             claims against the Borrowers or the applicable Credit Party have been irrevocably and
             unconditionally paid in full. In case of liquidation, winding up or bankruptcy of the
             Borrowers or any other Credit Party (whether voluntary or involuntary) or any
             composition with creditors or scheme of arrangement, the Agent for its own benefit and
             on behalf of the Creditors will have the right to rank for its full claims and receive all or
             other payments in respect thereof in priority to the Guarantor until the Guaranteed



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             Obligations have been irrevocably and unconditionally paid in full, and the Guarantor
             will continue to be liable hereunder for any balance which may be owing to the Agent for


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            its own benefit and on behalf of the Creditors by the Borrowers or any other Credit Party.
            In the event of the valuation by the Agent of any of its security and/or the retention
            thereof by the Agent, such valuation and/or retention will not, as between the Agent and
            the Guarantor, be considered as a purchase of such security, or as payment or satisfaction
            of the Guaranteed Obligations or any part thereof. The foregoing provisions of this
            Section 13 will not in any way limit or lessen the liability of the Guarantor under any
            other section of this Guarantee.

    14.      No Subrogation. Notwithstanding any payment made by the Guarantor under this
             Guarantee or any setoff or application of funds of the Guarantor by the Agent or any
             Creditor, the Guarantor will have no right of subrogation to, and waives, to the fullest
             extent permitted by Applicable Law, any right to enforce any remedy which the Agent
             now has or may hereafter have against the Borrowers or any other Credit Party, until all
             of the Guaranteed Obligations have been irrevocably and unconditionally paid in full; and
             until that time, the Guarantor waives any benefit of, and any right to participate in, any
             security, whether real or personal property, now or hereafter held by the Agent or any
             Creditor for the Guaranteed Obligations.

    15.      Foreign Currency Guaranteed Obligations. The Guarantor will make payment
             relative to each Guaranteed Obligation in the currency (the "Original Currency") in
             which the Borrowers or any other Credit Party is required to pay such Guaranteed
             Obligation. If the Guarantor makes payment relative to any Guaranteed Obligation to the



•            Agent or any Creditor in a currency (the "Other Currency") other than the Original
             Currency (whether voluntarily or pursuant to an order or judgment of a court or tribunal
             of any jurisdiction), such payment will constitute a discharge of the liability of the
             Guarantor hereunder in respect of such Guaranteed Obligation only to the extent of the
             amount of the Original Currency which the Agent is able to purchase at Toronto, Ontario
             with the amount it receives on the date of receipt. If the amount of the Original Currency
             which the Agent is able to purchase is less than the amount of such currency originally
             due to it in respect to the relevant Guaranteed Obligation, the Guarantor will indemnify
             and save the Agent and each Creditor harmless from and against any loss or damage
             arising as a result of such deficiency. This indemnity will constitute an obligation
             separate and independent from the other obligations contained in this Guarantee, will
             give rise to a separate and independent cause of action, will apply irrespective of any
             indulgence granted by the Agent, for its own benefit and on behalf of the Creditors, and
             will continue in full force and effect notwithstanding any judgment or order in respect of
             any amount due hereunder or under any judgment or order.

    16.      Taxes. All payments to be made by the Guarantor hereunder will be made without set-
             off or counterclaim and without deduction for any taxes, levies, duties, fees, deductions,
             withholdings, restrictions or conditions of any nature whatsoever. If at any time any
             Applicable Law, regulation or international agreement requires the Guarantor to make
             any such deduction or withholding from any such payment, the sum due from the
             Guarantor with respect to such payment will be increased to the extent necessary to
             ensure that, after the making of such deduction or withholding, the Agent, for its own




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             benefit and on behalf of the Creditors, receives a net sum equal to the sum which it would
             have received had no deduction or withholding been required.


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    17.     Payment of Expenses; Indemnification. The Guarantor will pay on demand during the
            occurrence and continuance of an Event of Default, and will indemnify and save the
            Agent and each Creditor harmless from, any and all liabilities, all reasonable costs and
            expenses (including reasonable out-of-pocket legal fees and expenses on a solicitor and
            his own client full indemnity basis and any sales, goods and services or other similar
            taxes payable to any Governmental Authority with respect to any such liabilities, costs
            and expenses) (a) incurred by the Agent for its own benefit and on behalf of the Creditors
            in the administration or enforcement of this Guarantee, (b) with respect to, or resulting
            from, any failure or delay by the Guarantor in performing or observing any of its
            obligations under this Guarantee, or (c) incurred by the Agent in performing or observing
            any of the other covenants of the Guarantor under this Guarantee .
                  . ,.
    18.      Additional Security. This Guarantee is in addition and without prejudice to any security
             of any kind (including other guarantees) now or hereafter held by or for the benefit of the
             Agent or the Creditors and any other rights or remedies that the Agent or the Creditors
             might have.

    19.     Governing Law; Attornment. This Guarantee will be governed by and construed in
            accordance with the laws of the Province of Alberta and the laws of Canada applicable
            therein, without giving effect to the conflict of law principles thereof. Without prejudice
            to the ability of the Agent or any Creditor to enforce this Guarantee in any other proper
            jurisdiction, the Guarantor irrevocably submits and attoms to the non-exclusive


•           jurisdiction of the courts of the Province of Alberta, or any appellate court thereof, for the
            purposes of this Guarantee. To the extent legally permitted, the Guarantor waives any
            right it may have to, or to apply for, trial by jury in connection with any matter, action,
            proceeding, claim or counterclaim arising out of or relating to the Loan Documents or
            any of the transactions contemplated thereby.

    20.      Successors and Assigns. The provisions of this Guarantee will be binding upon and
             enure to the benefit of the Agent, the Creditors and their respective successors and
             assigns and will be binding upon the Guarantor and its successors. The Guarantor's
             obligations hereunder will not be assigned or delegated. The Agent or any Creditor may
             from time to time, and without notice to or the consent of the Guarantor, assign or
             transfer all or any of the Guaranteed Obligations or any interest therein in accordance
             with the Loan Documents and, notwithstanding any such assignment or transfer or any
             subsequent assignment or transfer thereof, any such Guaranteed Obligation or part
             thereof so transferred or assigned will remain a "Guaranteed Obligation" for the purposes
             of this Guarantee and any immediate and successive permitted assignee or transferee of
             any Guaranteed Obligation or any interest therein will, to the extent of the interest so
             assigned or transferred, be entitled to the benefit of, and the right to enforce, this
             Guarantee.

    21.      Time. Time will be of the essence in this Guarantee.

    22.      Severability. If any portion of this Guarantee or the application thereof to any
             circumstance will be held invalid or unenforceable by a court of competent jurisdiction



•            from which no further appeal has or is taken, to an extent that does not affect in a


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             fundamental way the operation of this Guarantee, the remainder of the provIsIOn in
             question, or its application to any circumstance other than that to which it has been held
             invalid or unenforceable, and the remainder of this Guarantee will not be affected thereby
             and will be valid and enforceable to the fullest extent permitted by Applicable Laws.

    23.      Notice. All notices, requests and demands to or upon the Agent or the Guarantor under
             this Agreement shall be in writing and given as provided in Section 13.11 of the Credit
             Agreement to the address (a) of the Agent set forth in the Credit Agreement and (b) of the
             Guarantor at the following address for notice:

             By personal delivery:
             1356760 Alberta Ltd.
             407 2nd St. S.W., Ste. 1700
             Calgary, Alberta T2P 2Y3

             By mail:
             1356760 Alberta Ltd.
             407 2nd St. S. W., Ste. 1700
             Calgary, Alberta T2P 2Y3

             Attention:     Mark Roberts, Chief Financial Officer
             Fax No.:       (403) 269-2251

I            or in either case at such other address as shall be designated reasonably beforehand by
             such party in a written notice to each other party.

    24.      Credit Parties' Financial Condition. The Guarantor is fully aware of the financial
             condition of the Borrowers and the other Credit Parties.

    25.      Negotiated Document. This Guarantee is the result of negotiations between the
             Guarantor and the Agent and have been reviewed by counsel to the Guarantor and the
             Agent and is the product of both the Guarantor and the Agent. Accordingly, this
             Guarantee is not to be construed against the Agent merely because of its involvement in
             this Guarantee's preparation.

    26.      Interpretation. The division of this Guarantee into sections and paragraphs, and the
             insertion of headings, is for convenience of reference only and will not affect the
             construction or interpretation of this Guarantee. Unless the context otherwise requires,
             words importing the singular include the plural and vice versa, and words importing
             gender include all genders. When used in this Guarantee, the word "including" (or
             includes) means "including (or includes) without limitation".

    27.      Receipt of Copy. The Guarantor acknowledges receipt of an executed copy of this
             Guarantee. The Guarantor waives the right to receive any amount that it may now or
             hereafter be entitled to receive (whether by way of damages, fine, penalty or otherwise)
             by reason of the failure of the Agent to deliver to the Guarantor a copy of any financing



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             statement or any statement issued by any registry that confirms registration of a financing
             statement relating to this Guarantee.

    28.      Acknowledgement.        The Guarantor acknowledges having reviewed each of the
             representations, warranties and covenants set forth in the Credit Agreement (including
             Articles 6 and 7 thereof) and hereby restates each of such representations, warranties and
             covenants herein to the extent they relate to the Guarantor as a "Credit Party" and the
             Guarantor agrees to be bound by each such representations, warranties and covenants as
             if it was repeated herein, subject to the same cure periods, if any, set out in the Credit
             Agreement.
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•    THIS GUARANTEE executed effective the date first written above.


                                                      1356760 ALBERTA LTD.


                                                      Per:
                                                      Name:    ---Mark Roberts
                                                      Title:    Chief Financial Officer




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•                     [Signature Page to Guarantee - 1356760 Alberta Ltd]
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                   THIS IS EXHIBIT”_________
                      refrred to in the Aavit of
                      C                             I/
                   Sworn before me this      C       /
                   dayof



                             Jonathan Tomm
                           Banister and Solicitor
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•   TO:
                                              GUARANTEE


                      "SBC BANK CANADA, as Agent (the "Agent")

    DATE:             May 23, 2014

    PREA"IfB£E:


    A.       Fluid Acquisition Corp. and Q'Max America Inc. (collectively, the "Borrowers"), as
             borrowers, HSBC Bank Canada and those other finanr..i~i institutions which·are from time
             to time party thereto as lenders (collectively, the "Lenders") and HSBC Bank Canada, as
             administrative agent for the Lenders (in such capacity together with its successors and
             assigns in such capacity, the "Agent") are parties to a credit agreement dated as of the
             date hereof (as such credit agreement may be amended, supplemented or otherwise
             modified or restated from time to time, the "Credit Agreement").

    B.       The Borrowers and the Guarantors (as defined in the Credit Agreement) (collectively, the
             "Credit Parties" and each a "Credit Party") may, from time to time, incur indebtedness,
             obligations and liabilities to the Agent, the Lenders, the Hedge Providers and
             counterparties providing services pursuant to the Banking Services Agreements



•   C.
             (collectively, the "Creditors") pursuant to or in connection with the Credit Agreement,
             the other Loan Documents, the Hedging Agreements and the Banking Services
             Agreements from time to time.

             It is in the interests of Q'Max Solutions Holdings Inc. (the "Guarantor"), that the
             Creditors extend credit to the Borrowers pursuant to the applicable Credit Documents and
             therefore the Guarantor is prepared to issue this Guarantee to the Agent for and on behalf
             of the Creditors.

    AGREEMENT:

            For valuable consideration, the receipt and sufficiency of which are hereby conclusively
    acknowledged by the Guarantor, the Guarantor hereby agrees in favour of the Agent for its own
    benefit and on behalf of the Creditors as follows:

    1.       Defined Terms. In this Guarantee, capitalized words and phrases which are not
             otherwise defined have the respective meanings given to such terms in the Credit
             Agreement. In addition, the term "Loan Documents" when used herein means the Credit
             Agreement, the Hedging Agreements, the Banking Services Agreements, the Security
             and any other Credit Documents, instruments or agreements entered into pursuant thereto
             or in connection therewith.

    2.       Guarantee. The Guarantor hereby unconditionally and irrevocably guarantees the
             prompt payment and performance to the Agent for its own benefit and on behalf of the



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             Creditors forthwith upon demand by the Agent during the occurrence and continuance of
             an Event of Default of all indebtedness, liabilities and obligations of any kind whatsoever


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             (whether direct or indirect, joint or several, absolute or contingent, matured or
             unmatured) which the Borrowers or any other Credit Party (other than the Guarantor) has
             from time to time incurred or is under or may hereafter incur or be under to the Agent or
             any Creditor under or in connection with or with respect to the Loan Documents
             (collectively, the "Guaranteed Obligations"). All amounts payable by the Guarantor
             hereunder will be paid to the Agent for its own benefit and on behalf of the Creditors at
             the address of the Agent set forth in Section 23 below or as otherwise directed in writing
             by the Agent. Any amounts payable by the Guarantor under this Guarantee which are not
             paid forthwith upon demand therefor by the Agent as aforesaid for its own benefit and on
             behalf of the Creditors will bear interest from the date of such demand at the rate or rates
             applicable:.t?the corresponding Guar~!e.~d Obligations.

    3.       Continuing, Unconditional and Absolute Guarantee. The obligations of the Guarantor
             under this Guarantee are continuing, unconditional and absolute and, without limiting the
             generality of the foregoing, will not be released, discharged, diminished, limited or
             otherwise affected by (and the Guarantor hereby consents to or waives, as applicable, to
             the fullest extent permitted by Applicable Laws):

             (a)      any extension, other indulgence, renewal, settlement, discharge, compromise,
                      waiver, subordination or release in respect of any Guaranteed Obligation,
                      security, Person or otherwise, unless such settlement, discharge, compromise or
                      release shall specifically release the Guarantor from its obligations, indebtedness


•            (b)
                      or liabilities hereunder or any part thereof or is a payment of the Guaranteed
                      Obligations;

                      any waiver, modification, restatement or amendment of or supplement to any
                      Loan Document or the Guaranteed Obligations, including any increase or
                      decrease in the principal, the rates of interest or other amounts payable
                      thereunder;

             (c)      any change in the time, manner or place of payment of or in any other term of any
                      Loan Document or the Guaranteed Obligations, or the failure on the part of the
                      Borrowers or any other Credit Party to carry out any of its Guaranteed
                      Obligations under any Loan Document;

             (d)      any impossibility, impracticability, frustration of purpose, illegality, force majeure
                      or act of government;

             (e)      any non-perfection or invalidity of any direct or indirect security for any
                      Guaranteed Obligation;

             (t)      any change in the existence, structure, constitution, name, objects, powers,
                      business, control or ownership of the Borrowers, any other Credit Party or any
                      other Person, or any insolvency, bankruptcy, reorganization or other similar
                      proceeding affecting the Borrowers, any other Credit Party or any other Person or
                      its assets;



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            (g)       the existence of any claim, set-off or other rights which the Guarantor may have
                      at any time against the Borrowers, any other Credit Party, the Agent or any other
                      Person, whether in connection herewith or any unrelated transactions;

            (h)       any invalidity, illegality or unenforceability relating to or against the Borrowers or
                      any other Credit Party or any provision of Applicable Law purporting to prohibit
                      the payment by the Borrowers or any other Credit Party of the principal or interest
                      under the Guaranteed Obligations;

             (i)      any limitation, postponement, prohibition, subordination or other restriction on
                      the rights of the Agent or any Creditor to receive payment of the Guaranteed
                      Obligations;

             (j)      any release, substitution or addition of any co-signer, endorser or other guarantor
                      of the Guaranteed Obligations;

             (k)      any defence arising by reason of any failure of the Agent or any Creditor to make
                      any presentment, demand for performance, notice of non-performance, protest,
                      and any other notice, including notice of all of the following: acceptance of this
                      Guarantee, partial payment or non-payment of all or any part of the Guaranteed
                      Obligations and the existence, creation, or incurring of new or additional
                      Guaranteed Obligations;



•            (I)      any defence arising by reason of any failure of the Agent or any Creditor to
                      proceed against the Borrowers, any other Credit Party or any other Person, to
                      proceed against, apply or exhaust any security held from the Borrowers, any other
                      Credit Party or any other Person for the Guaranteed Obligations, to proceed
                      against, apply or exhaust any security held from the Guarantor or any other
                      Person for this Guarantee or to pursue any other remedy in the power of the Agent
                      or any Creditor whatsoever;

             (m)      any Applicable Law which provides that the obligation of a guarantor must
                      neither be larger in amount nor in other respects more burdensome than that of the
                      principal obligation or which reduces a guarantor's obligation in proportion to the
                      principal obligation;

             (n)      any defence arising by reason of any incapacity, lack of authority, or other
                      defence of the Borrowers, any other Credit Party or any other Person, or by reason
                      of any limitation, postponement, prohibition on the Agent's or any Creditor's
                      right to receive payment of the Guaranteed Obligations or any part thereof, or by
                      reason of the cessation from any cause whatsoever of the liability of the
                      Borrowers, any other Credit Party or any other Person with respect to all or any
                      part of the Guaranteed Obligations, or by reason of any act or omission of the
                      Agent or any Creditor or others which directly or indirectly results in the
                      discharge or release of the Borrowers, any other Credit Party or any other Person
                      or all or any part of the Guaranteed Obligations or any security or guarantee



•                     therefor, whether by contract, operation oflaw or otherwise;



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             (0)      any defence arising by reason of any failure by the Agent or any Creditor to
                      obtain, perfect or maintain a perfected or prior (or any) security interest in or Lien
                      upon any property of the Borrowers, any other Credit Party or any other Person,
                      or by reason of any interest of the Agent or any Creditor in any property, whether
                      as owner thereof or the holder of a security interest therein or Lien thereon, being
                      invalidated, voided, declared fraudulent or preferential or otherwise set aside, or
                      by reason of any impairment by the Agent of any right to recourse or collateral;

             (p)      any defence arising by reason of the failure of the Agent or any Creditor to
                      marshal any assets;

             (q)      any defence based upon any failure of the Agent or any Creditor to give to the
                      Borrowers, any other Credit Party, the Guarantor or any other Person notice of
                      any sale or other disposition of any property securing any or all of the Guaranteed
                      Obligations or any guarantee thereof, or any defect in any notice that may be
                      given in connection with any sale or other disposition of any such property, or any
                      failure of the Agent or any Creditor to comply with any provision of Applicable
                      Law in enforcing any Lien upon any such property, including any failure by the
                      Agent or any Creditor to dispose of any such property in a commercially
                      reasonable manner;

             (r)      any dealing whatsoever with the Borrowers, any other Credit Party or other


•            (s)
                      Person or any security, whether negligently or not, or any failure to do so;

                      any defence based upon or arising out of any bankruptcy, insolvency,
                      reorganization, moratorium, arrangement, readjustment of debt, liquidation or
                      dissolution proceeding commenced by or against the Borrowers, any other Credit
                      Party or any other Person, including any discharge of, or bar against collecting,
                      any of the Guaranteed Obligations, in or as a result of any such proceeding; or

             (t)      any other act or omission to act or delay of any kind by the Borrowers, any other
                      Credit Party, the Agent, a Creditor or any other Person or any other circumstance
                      whatsoever, whether similar or dissimilar to the foregoing, which might, but for
                      the provisions of this Section 3, constitute a legal or equitable discharge,
                      limitation or reduction of the Guarantor's obligations hereunder (other than the
                      irrevocable and unconditional payment in full of all of the Guaranteed
                      Obligations).

             The foregoing provisions apply (and the foregoing waivers will be effective) even if the
             effect of any action (or failure to take action) by the Agent or any Creditor is to destroy or
             diminish the Guarantor's subrogation rights, the Guarantor's right to proceed against the
             Borrowers or any other Credit Party for reimbursement, the Guarantor's right to recover
             contribution from any other guarantor or any other right or remedy.

    4.       Release of Guaranteed Obligations. This Guarantee will remain in full force and effect
             until the Guaranteed Obligations are irrevocably and unconditionally performed and paid



•            in full.



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    5.       Validity of Agreements. The Guarantor will not contest or otherwise challenge the
             legality, validity or enforceability of any tenn, condition or other provision contained in
             the Loan Documents. The Guarantor represents to the Agent for and on behalf of the
             Creditors that it is familiar with and consents to the tenns and conditions of the Loan
             Documents.

    6.       Assumption of Authority. The Agent, for and on behalf of the Creditors, is entitled to
             assume, notwithstanding any investigation by or on behalf of the Agent or any Creditor,
             the power and authority of the officers, directors, agents or other Persons acting or
             purporting to act on behalf of the Borrowers, the Guarantor or the other Credit Parties,
             and any Guaranteed Obligations made or created in reliance upon the exercise of such
             power or authority will be'guaranteed hereunder.

    7.       Recourse against Credit Parties and Others. The Agent, for and on behalf of the
             Creditors, is not required to exhaust its recourse against the Borrowers, the other Credit
             Parties, any other guarantor or other Person or under any other security or other guarantee
             before being entitled to payment from the Guarantor under this Guarantee.

    8.       Settlement of Accounts. Any account settled or stated between the Agent, for and on
             behalf of the Creditors, and the Borrowers or the other Credit Parties will be accepted by
             the Guarantor as prima facie evidence, subject to manifest error, that the amount thereby
             appearing due by the Borrowers or the other Credi t Parties to the Agent and the Creditors



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             is so due.

             No Waiver. No delay on the part of the Agent, for and on behalf of the Creditors, in
             exercising any of its options, powers or rights, or partial or single exercise thereof, will
             constitute a waiver thereof. No waiver of any of the Agent's or any Creditor's rights
             hereunder, and no modification or amendment of this Guarantee, will be deemed to be
             made by the Agent for and on behalf of the Creditors unless the same will be in writing,
             duly signed by the Agent, for and on behalf of the Creditors, and the Guarantor, and each
             such waiver, if any, will apply only with respect to the specific instance involved, and
             will in no way impair the rights of the Agent and the Creditors or the liabilities of the
             Guarantor to the Agent and the Creditors in any other respect at any other time.

    10.      Guarantee of all Credit Obtained; Indemnity. All moneys and credits in fact
             borrowed or obtained by the Borrowers or any other Credit Party from the Agent or any
             Creditor under the Loan Documents will be deemed to fonn part of the Guaranteed
             Obligations notwithstanding any incapacity, disability or lack or limitation of status or
             power of the Borrowers or any other Credit Party or of the directors, officers, employees,
             partners or agents thereof, or that the Borrowers or any other Credit Party may not be a
             legal entity, or any irregularity, defect or infonnality in the borrowing or obtaining of
             such moneys or credits. If any amount in respect of the Guaranteed Obligations is not
             recoverable from the Guarantor hereunder on the basis of a guarantee, then,
             notwithstanding any other provision hereof, the Guarantor will indemnify and save
             hannless the Agent and each Creditor and all of their respective directors, officers,
             shareholders and agents from and against any and all losses, damages, costs, expenses or



•            liabilities suffered or incurred by the Agent or any Creditor or any of their respective


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             directors, officers, shareholders and agents resulting or arising from or relating to any
             failure of the Borrowers or any other Credit Party to unconditionally and irrevocably pay
             in full or fully perform the Guaranteed Obligations as and when due provided that the
             amount of such indemnification shall not exceed the amount of such Guaranteed
             Obligations and any amounts due and owing hereunder.

    11.      Stay of Acceleration. If acceleration of the time for payment, or the liability of the
             Borrowers or any other Credit Party to make payment, of any amount specified to be
             payable by the Borrowers or any other Credit Party in respect of the Guaranteed
             Obligations is stayed, prohibited or otherwise affected upon the insolvency, bankruptcy,
             reorganization or winding-up of the Borrowers or any other Credit Party or any
             moratorium affecting the payment of the Guaranteed Obligations, all such amounts
             otherwise subject to acceleration or payment will nonetheless be deemed for all purposes
             of this Guarantee to be and to become due and payable by the Borrowers or any other
             Credit Party and will be payable by the Guarantor hereunder forthwith on demand by the
             Agent for and on behalf of the Creditors.

    12.      Reinstatement. If, at any time, all or any part of any payment previously applied by the
             Agent or any Creditor to any Guaranteed Obligation is or must be rescinded or returned
             by the Agent or any Creditor for any reason whatsoever (including the insolvency,
             bankruptcy, or reorganization of the Borrowers or any other Credit Party), such
             Guaranteed Obligation will, for the purpose of this Guarantee, to the extent that such


•            payment is or must be rescinded or returned, be deemed to have continued in existence,
             notwithstanding such application by the Agent or any such Creditor, and this Guarantee
             will continue to be effective or be reinstated, as the case may be, as to such Guaranteed
             Obligation, all as though such application by the Agent or any such Creditor had not been
             made.

    13.      Assignment and Postponement. All present and future indebtedness and liability of the
             Borrowers and each other Credit Party to the Guarantor is hereby assigned by the
             Guarantor to the Agent for its own benefit and on behalf of the Creditors and
             subordinated to the Guaranteed Obligations and all moneys received by the Guarantor in
             respect thereof following the occurrence and during the continuance of an Event of
             Default will be received in trust for and, unless prior written authorization from the Agent
             to the contrary will have been obtained by the Guarantor, will be paid over to the Agent
             for its own benefit and on behalf of the Creditors upon demand by the Agent. If the
             Agent receives from the Guarantor a payment or payments in full or on account of the
             liability of the Guarantor hereunder, the Guarantor will not be entitled to claim repayment
             against the Borrowers or any other Credit Party until the Agent's and the Creditors'
             claims against the Borrowers or the applicable Credit Party have been irrevocably and
             unconditionally paid in full. In case of liquidation, winding up or bankruptcy of the
             Borrowers or any other Credit Party (whether voluntary or involuntary) or any
             composition with creditors or scheme of arrangement, the Agent for its own benefit and
             on behalf of the Creditors will have the right to rank for its full claims and receive all or
             other payments in respect thereof in priority to the Guarantor until the Guaranteed



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             Obligations have been irrevocably and unconditionally paid in full, and the Guarantor
             will continue to be liable hereunder for any balance which may be owing to the Agent for


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             its own benefit and on behalf of the Creditors by the Borrowers or any other Credit Party.
             In the event of the valuation by the Agent of any of its security and/or the retention
             thereof by the Agent, such valuation and/or retention will not, as between the Agent and
             the Guarantor, be considered as a purchase of such security, or as payment or satisfaction
             of the Guaranteed Obligations or any part thereof. The foregoing provisions of this
             Section 13 will not in any way limit or lessen the liability of the Guarantor under any
             other section of this Guarantee.

    14.      No Subrogation. Notwithstanding any payment made by the Guarantor under this
             Guarantee or any setoff or application of funds of the Guarantor by the Agent or any
             Creditor, the Guarantor will have no right of subrogation to, and waives, to the fullest
             extent permitted 'by Applicable Law, any right to enforce any remedy which the Agent' .
             now has or may hereafter have against the Borrowers or any other Credit Party, until all
             of the Guaranteed Obligations have been irrevocably and unconditionally paid in full; and
             until that time, the Guarantor waives any benefit of, and any right to participate in, any
             security, whether real or personal property, now or hereafter held by the Agent or any
             Creditor for the Guaranteed Obligations.

    15.      Foreign Currency Guaranteed Obligations. The Guarantor will make payment
             relative to each Guaranteed Obligation in the currency (the "Original Currency") in
             which the Borrowers or any other Credit Party is required to pay such Guaranteed
             Obligation. If the Guarantor makes payment relative to any Guaranteed Obligation to the


•            Agent or any Creditor in a currency (the "Other Currency") other than the Original
             Currency (whether voluntarily or pursuant to an order or judgment of a court or tribunal
             of any jurisdiction), such payment will constitute a discharge of the liability of the
             Guarantor hereunder in respect of such Guaranteed Obligation only to the extent of the
             amount of the Original Currency which the Agent is able to purchase at Toronto, Ontario
             with the amount it receives on the date of receipt. If the amount of the Original Currency
             which the Agent is able to purchase is less than the amount of such currency originally
             due to it in respect to the relevant Guaranteed Obligation, the Guarantor will indemnify
             and save the Agent and each Creditor harmless from and against any loss or damage
             arising as a result of such deficiency. This indemnity will constitute an obligation
             separate and independent from the other obligations contained in this Guarantee, will
             give rise to a separate and independent cause of action, will apply irrespective of any
             indulgence granted by the Agent, for its own benefit and on behalf of the Creditors, and
             will continue in full force and effect notwithstanding any judgment or order in respect of
             any amount due hereunder or under any judgment or order.

    16.      Taxes. All payments to be made by the Guarantor hereunder will be made without set-
             off or counterclaim and without deduction for any taxes, levies, duties, fees, deductions,
             withholdings, restrictions or conditions of any nature whatsoever. If at any time any
             Applicable Law, regulation or international agreement requires the Guarantor to make
             any such deduction or withholding from any such payment, the sum due from the
             Guarantor with respect to such payment will be increased to the extent necessary to
             ensure that, after the making of such deduction or withholding, the Agent, for its own



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             benefit and on behalf of the Creditors, receives a net sum equal to the sum which it would
             have received had no deduction or withholding been required.


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    17.     Payment of Expenses; Indemnification. The Guarantor will pay on demand during the
            occurrence and continuance of an Event of Default, and will indemnify and save the
            Agent and each Creditor harmless from, any and all liabilities, all reasonable costs and
            expenses (including reasonable out-of-pocket legal fees and expenses on a solicitor and
            his own client full indemnity basis and any sales, goods and services or other similar
            taxes payable to any Governmental Authority with respect to any such liabilities, costs
            and expenses) (a) incurred by the Agent for its own benefit and on behalf of the Creditors
            in the administration or enforcement of this Guarantee, (b) with respect to, or resulting
            from, any failure or delay by the Guarantor in performing or observing any of its
            obligations under this Guarantee, or (c) incurred by the Agent in performing or observing
            any of the other covenants of the Guarantor under this Guarantee.
                                                  .      -.
    18.     Additional Security. This Guarantee is in addition and without prejUdice to any security
            of any kind (including other guarantees) now or hereafter held by or for the benefit of the
            Agent or the Creditors and any other rights or remedies that the Agent or the Creditors
            might have.

    19.     Governing Law; Attornment. This Guarantee will be governed by and construed in
            accordance with the laws of the Province of Alberta and the laws of Canada applicable
            therein, without giving effect to the conflict of law principles thereof. Without prejUdice
            to the ability of the Agent or any Creditor to enforce this Guarantee in any other proper
            jurisdiction, the Guarantor irrevocably submits and attorns to the non-exclusive


•           jurisdiction of the courts of the Province of Alberta, or any appellate court thereof, for the
            purposes of this Guarantee. To the extent legally permitted, the Guarantor waives any
            right it may have to, or to apply for, trial by jury in connection with any matter, action,
            proceeding, claim or counterclaim arising out of or relating to the Loan Documents or
            any of the transactions contemplated thereby.

    20.      Successors and Assigns. The provisions of this Guarantee will be binding upon and
             enure to the benefit of the Agent, the Creditors and their respective successors and
             assigns and will be binding upon the Guarantor and its successors. The Guarantor's
             obligations hereunder will not be assigned or delegated. The Agent or any Creditor may
             from time to time, and without notice to or the consent of the Guarantor, assign or
             transfer all or any of the Guaranteed Obligations or any interest therein in accordance
             with the Loan Documents and, notwithstanding any such assignment or transfer or any
             subsequent assignment or transfer thereof, any such Guaranteed Obligation or part
             thereof so transferred or assigned will remain a "Guaranteed Obligation" for the purposes
             of this Guarantee and any immediate and successive permitted assignee or transferee of
             any Guaranteed Obligation or any interest therein will, to the extent of the interest so
             assigned or transferred, be entitled to the benefit of, and the right to enforce, this
             Guarantee.

    21.      Time. Time will be of the essence in this Guarantee.

    22.      Severability. If any portion of this Guarantee or the application thereof to any
             circumstance will be held invalid or unenforceable by a court of competent jurisdiction


•            from which no further appeal has or is taken, to an extent that does not affect in a


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             fundamental way the operation of this Guarantee, the remainder of the provIsIOn in
             question, or its application to any circumstance other than that to which it has been held
             invalid or unenforceable, and the remainder of this Guarantee will not be affected thereby
             and will be valid and enforceable to the fullest extent permitted by Applicable Laws.

    23.      Notice. All notices, requests and demands to or upon the Agent or the Guarantor under
             this Agreement shall be in writing and given as provided in Section 13.11 of the Credit
             Agreement to the address (a) of the Agent set forth in the Credit Agreement and (b) of the
             Guarantor at the following address for notice:

             By personal delivery:
             Q'Max Solutions Holdings Inc.
             407 2nd St. S.W., Ste. 1700
             Calgary, Alberta T2P 2Y3

             By mail:
             Q'Max Solutions Holdings Inc.
             407 2nd St. S.W., Ste. 1700
             Calgary, Alberta T2P 2Y3

             Attention:     Mark Roberts, Chief Financial Officer
             Fax No.:       (403) 269-2251


•   24.
             or in either case at such other address as shall be designated reasonably beforehand by
             such party in a written notice to each other party.

             Credit Parties' Financial Condition. The Guarantor is fully aware of the financial
             condition of the Borrowers and the other Credit Parties.

    25.      Negotiated Document. This Guarantee is the result of negotiations between the
             Guarantor and the Agent and have been reviewed by counsel to the Guarantor and the
             Agent and is the product of both the Guarantor and the Agent. Accordingly, this
             Guarantee is not to be construed against the Agent merely because of its involvement in
             this Guarantee's preparation.

    26.      Interpretation. The division of this Guarantee into sections and paragraphs, and the
             insertion of headings, is for convenience of reference only and will not affect the
             construction or interpretation of this Guarantee. Unless the context otherwise requires,
             words importing the singular include the plural and vice versa, and words importing
             gender include all genders. When used in this Guarantee, the word "including" (or
             includes) means "including (or includes) without limitation".

    27.      Receipt of Copy. The Guarantor acknowledges receipt of an executed copy of this
             Guarantee. The Guarantor waives the right to receive any amount that it may now or
             hereafter be entitled to receive (whether by way of damages, fine, penalty or otherwise)
             by reason of the failure of the Agent to deliver to the Guarantor a copy of any financing



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            statement or any statement issued by any registry that confirms registration of a financing
            statement relating to this Guarantee.

    28.     Acknowledgement.        The Guarantor acknowledges having reviewed each of the
            representations, warranties and covenants set forth in the Credit Agreement (including
            Articles 6 and 7 thereof) and hereby restates each of such representations, warranties and
            covenants herein to the extent they relate to the Guarantor as a "Credit Party" and the
            Guarantor agrees to be bound by each such representations, warranties and covenants as
            if it was repeated herein, subject to the same cure periods, if any, set out in the Credit
            Agreement.

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•    THIS GUARANTEE executed effective the date first written above.


                                                       Q'MAX SOLUTIONS HOLDINGS
                                                       INC .


                                                       Per:     .:2~~~e=~s~;::>~--
                                                       Name: "'Mark Roberts
                                                       Title: Chief Financial Officer




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•                 [Signature Page to Guarantee - Q 'Max Solutions Holdings Inc.)
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                   THIS IS EXHIBIT”
                      rf rredto in theAt4vit of
                      (_ O/
                   Sworn before me this   2C         /
                   dayof                  A.D.20&O



                             Jonathan Tomm
                           Barrister and Solicitor
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•   TO:
                                              GUARANTEE


                      HSBC BANK CANADA, as Agent (the "Agent")

    DATE:             May 23, 2014

    PHEAMBLE:


    A.      Fluid Acquisition Corp. and Q'Max America Inc. (collectively, the "Borrowers"), as
            borrowers, HSBC Bank Canada and those other financial institutions which are from time
            to l;;-.." party thereto as lenders (collectively, the "Lenders") and HSl.;C 13ilnk Canada, as
            administrative agent for the Lenders (in such capacity together with its successors and
            assigns in such capacity, the "Agent") are parties to a credit agreement dated as of the
            date hereof (as such credit agreement may be amended, supplemented or otherwise
            modified or restated from time to time, the "Credit Agreement").

    B.      The Borrowers and the Guarantors (as defined in the Credit Agreement) (collectively, the
            "Credit Parties" and each a "Credit Party") may, from time to time, incur indebtedness,
            obligations and liabilities to the Agent, the Lenders, the Hedge Providers and
            counterparties providing services pursuant to the Banking Services Agreements



•   C.
            (collectively, the "Creditors") pursuant to or in connection with the Credit Agreement,
            the other Loan Documents, the Hedging Agreements and the Banking Services
            Agreements from time to time.

            It is in the interests of Q'Max Solutions Inc. (the "Guarantor"), that the Creditors extend
             credit to the Borrowers pursuant to the applicable Credit Documents and therefore the
             Guarantor is prepared to issue this Guarantee to the Agent for and on behalf of the
             Creditors.

    AGREEMENT:

            For valuable consideration, the receipt and sufficiency of which are hereby conclusively
    acknowledged by the Guarantor, the Guarantor hereby agrees in favour of the Agent for its own
    benefit and on behalf of the Creditors as follows:

    1.       Defined Terms. In this Guarantee, capitalized words and phrases which are not
             otherwise defined have the respective meanings given to such terms in the Credit
             Agreement. In addition, the term "Loan Documents" when used herein means the Credit
             Agreement, the Hedging Agreements, the Banking Services Agreements, the Security
             and any other Credit Documents, instruments or agreements entered into pursuant thereto
             or in connection therewith.

    2.       Guarantee. The Guarantor hereby unconditionally and irrevocably guarantees the


•            prompt payment and performance to the Agent for its own benefit and on behalf of the
             Creditors forthwith upon demand by the Agent during the occurrence and continuance of
             an Event of Default of all indebtedness, liabilities and obligations of any kind whatsoever


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•            (whether direct or indirect, joint or several, absolute or contingent, matured or
             unmatured) which the Borrowers or any other Credit Party (other than the Guarantor) has
             from time to time incurred or is under or may hereafter incur or be under to the Agent or
             any Creditor under or in connection with or with respect to the Loan Documents
             (collectively, the "Guaranteed Obligations"). All amounts payable by the Guarantor
             hereunder will be paid to the Agent for its own benefit and on behalf of the Creditors at
             the address of the Agent set forth in Section 23 below or as otherwise directed in writing
             by the Agent. Any amounts payable by the Guarantor under this Guarantee which are not
             paid forthwith upon demand therefor by the Agent as aforesaid for its own benefit and on
             behalf of the Creditors will bear interest from the date of such demand at the rate or rates
             applicable to the corresponding Guaranteed Obligations.

    3.       Continuing, Unconditional and Absolute Guarantee. The obligations of the Guarantor
             under this Guarantee are continuing, unconditional and absolute and, without limiting the
             generality of the foregoing, will not be released, discharged, diminished, limited or
             otherwise affected by (and the Guarantor hereby consents to or waives, as applicable, to
             the fullest extent permitted by Applicable Laws):

             (a)      any extension, other indulgence, renewal, settlement, discharge, compromise,
                      waiver, subordination or release in respect of any Guaranteed Obligation,
                      security, Person or otherwise, unless such settlement, discharge, compromise or
                      release shall specifically release the Guarantor from its obligations, indebtedness


•            (b)
                      or liabilities hereunder or any part thereof or is a payment of the Guaranteed
                      Obligations;

                      any waiver, modification, restatement or amendment of or supplement to any
                      Loan Document or the Guaranteed Obligations, including any increase or
                      decrease in the principal, the rates of interest or other amounts payable
                      thereunder;

             (c)      any change in the time, manner or place of payment of or in any other term of any
                      Loan Document or the Guaranteed Obligations, or the failure on the part of the
                      Borrowers or any other Credit Party to carry out any of its Guaranteed
                      Obligations under any Loan Document;

             (d)      any impossibility, impracticability, frustration of purpose, illegality, force majeure
                      or act of government;

             (e)      any non-perfection or invalidity of any direct or indirect security for any
                      Guaranteed Obligation;

             (t)      any change in the existence, structure, constitution, name, objects, powers,
                      business, control or ownership of the Borrowers, any other Credit Party or any
                      other Person, or any insolvency, bankruptcy, reorganization or other similar
                      proceeding affecting the Borrowers, any other Credit Party or any other Person or


•                     its assets;




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•            (g)



             (h)
                      the existence of any claim, set-off or other rights which the Guarantor may have
                      at any time against the Borrowers, any other Credit Party, the Agent or any other
                      Person, whether in connection herewith or any unrelated transactions;

                      any invalidity, illegality or unenforceability relating to or against the Borrowers or
                      any other Credit Party or any provision of Applicable Law purporting to prohibit
                      the payment by the Borrowers or any other Credit Party of the principal or interest
                      under the Guaranteed Obligations;

             (i)      any limitation, postponement, prohibition, subordination or other restriction on
                      the rights of the Agent or any Creditor to receive payment of the Guaranteed
                      Obligations;

             (j)      any release, substitution or addition of any co-signer, endorser or other guarantor
                      of the Guaranteed Obligations;

             (k)      any defence arising by reason of any failure of the Agent or any Creditor to make
                      any presentment, demand for performance, notice of non-performance, protest,
                      and any other notice, including notice of all of the following: acceptance of this
                      Guarantee, partial payment or non-payment of all or any part of the Guaranteed
                      Obligations and the existence, creation, or incurring of new or additional
                      Guaranteed Obligations;


•            (I)      any defence arising by reason of any failure of the Agent or any Creditor to
                      proceed against the Borrowers, any other Credit Party or any other Person, to
                      proceed against, apply or exhaust any security held from the Borrowers, any other
                      Credit Party or any other Person for the Guaranteed Obligations, to proceed
                      against, apply or exhaust any security held from the Guarantor or any other
                      Person for this Guarantee or to pursue any other remedy in the power of the Agent
                      or any Creditor whatsoever;

             (m)      any Applicable Law which provides that the obligation of a guarantor must
                      neither be larger in amount nor in other respects more burdensome than that of the
                      principal obligation or which reduces a guarantor's obligation in proportion to the
                      principal obligation;

             (n)      any defence arising by reason of any incapacity, lack of authority, or other
                      defence of the Borrowers, any other Credit Party or any other Person, or by reason
                      of any limitation, postponement, prohibition on the Agent's or any Creditor's
                      right to receive payment of the Guaranteed Obligations or any part thereof, or by
                      reason of the cessation from any cause whatsoever of the liability of the
                      Borrowers, any other Credit Party or any other Person with respect to all or any
                      part of the Guaranteed Obligations, or by reason of any act or omission of the
                      Agent or any Creditor or others which directly or indirectly results in the
                      discharge or release of the Borrowers, any other Credit Party or any other Person


•                     or all or any part of the Guaranteed Obligations or any security or guarantee
                      therefor, whether by contract, operation of law or otherwise;



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•            (0)      any defence arising by reason of any failure by the Agent or any Creditor to
                      obtain, perfect or maintain a perfected or prior (or any) security interest in or Lien
                      upon any property of the Borrowers, any other Credit Party or any other Person,
                      or by reason of any interest of the Agent or any Creditor in any property, whether
                      as owner thereof or the holder of a security interest therein or Lien thereon, being
                      invalidated, voided, declared fraudulent or preferential or otherwise set aside, or
                      by reason of any impairment by the Agent of any right to recourse or collateral;

             (p)      any defence arising by reason of the failure of the Agent or any Creditor to
                      marshal any assets;

             (q)      any defence based upon any failure of the Agent or any Creditor to give to the
                      Borrowers, any other Credit Party, the Guarantor or any other Person notice of
                      any sale or other disposition of any property securing any or all of the Guaranteed
                      Obligations or any guarantee thereof, or any defect in any notice that may be
                      given in connection with any sale or other disposition of any such property, or any
                      failure of the Agent or any Creditor to comply with any provision of Applicable
                      Law in enforcing any Lien upon any such property, including any failure by the
                      Agent or any Creditor to dispose of any such property in a commercially
                      reasonable manner;

             (r)      any dealing whatsoever with the Borrowers, any other Credit Party or other



•            (s)
                      Person or any security, whether negligently or not, or any failure to do so;

                      any defence based upon or arising out of any bankruptcy, insolvency,
                      reorganization, moratorium, arrangement, readjustment of debt, liquidation or
                      dissolution proceeding commenced by or against the Borrowers, any other Credit
                      Party or any other Person, including any discharge of, or bar against collecting,
                      any of the Guaranteed Obligations, in or as a result of any such proceeding; or

             (t)      any other act or omission to act or delay of any kind by the Borrowers, any other
                      Credit Party, the Agent, a Creditor or any other Person or any other circumstance
                      whatsoever, whether similar or dissimilar to the foregoing, which might, but for
                      the provisions of this Section 3, constitute a legal or equitable discharge,
                      limitation or reduction of the Guarantor's obligations hereunder (other than the
                      irrevocable and unconditional payment in full of all of the Guaranteed
                      Obligations).

             The foregoing provisions apply (and the foregoing waivers will be effective) even if the
             effect of any action (or failure to take action) by the Agent or any Creditor is to destroy or
             diminish the Guarantor's subrogation rights, the Guarantor's right to proceed against the
             Borrowers or any other Credit Party for reimbursement, the Guarantor's right to recover
             contribution from any other guarantor or any other right or remedy.

    4.       Release of Guaranteed Obligations. This Guarantee will remain in full force and effect


•            until the Guaranteed Obligations are irrevocably and unconditionally performed and paid
             in full.



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•   5.       Validity of Agreements. The Guarantor will not contest or otherwise challenge the
             legality, validity or enforceability of any term, condition or other provision contained in
             the Loan Documents. The Guarantor represents to the Agent for and on behalf of the
             Creditors that it is familiar with and consents to the terms and conditions of the Loan
             Documents.

    6.       Assumption of Authority. The Agent, for and on behalf of the Creditors, is entitled to
             assume, notwithstanding any investigation by or on behalf of the Agent or any Creditor,
             the power and authority of the officers, directors, agents or other Persons acting or
             purporting to act on behalf of the Borrowers, the Guarantor or the other Credit Parties,
             and any Guaranteed Obligations made or created in reliance upon the exercise of such
             power or authority will be guaranteed hereunder.

    7.       Recourse against Credit Parties and Others. The Agent, for and on behalf of the
             Creditors, is not required to exhaust its recourse against the Borrowers, the other Credit
             Parties, any other guarantor or other Person or under any other security or other guarantee
             before being entitled to payment from the Guarantor under this Guarantee.

    8.       Settlement of Accounts. Any account settled or stated between the Agent, for and on
             behalf of the Creditors, and the Borrowers or the other Credit Parties will be accepted by
             the Guarantor as prima facie evidence, subject to manifest error, that the amount thereby
             appearing due by the Borrowers or the other Credit Parties to the Agent and the Creditors



•   9.
             is so due.

             No Waiver. No delay on the part of the Agent, for and on behalf of the Creditors, in
             exercising any of its options, powers or rights, or partial or single exercise thereof, will
             constitute a waiver thereof. No waiver of any of the Agent's or any Creditor's rights
             hereunder, and no modification or amendment of this Guarantee, will be deemed to be
             made by the Agent for and on behalf of the Creditors unless the same will be in writing,
             duly signed by the Agent, for and on behalf of the Creditors, and the Guarantor, and each
             such waiver, if any, will apply only with respect to the specific instance involved, and
             will in no way impair the rights of the Agent and the Creditors or the liabilities of the
             Guarantor to the Agent and the Creditors in any other respect at any other time.

    10.      Guarantee of all Credit Obtained; Indemnitv. All moneys and credits in fact
             borrowed or obtained by the Borrowers or any other Credit Party from the Agent or any
             Creditor under the Loan Documents will be deemed to form part of the Guaranteed
             Obligations notwithstanding any incapacity, disability or lack or limitation of status or
             power of the Borrowers or any other Credit Party or of the directors, officers, employees,
             partners or agents thereof, or that the Borrowers or any other Credit Party may not be a
             legal entity, or any irregularity, defect or informality in the borrowing or obtaining of
             such moneys or credits. If any amount in respect of the Guaranteed Obligations is not
             recoverable from the Guarantor hereunder on the basis of a guarantee, then,
             notwithstanding any other provision hereof, the Guarantor will indemnify and save



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             harmless the Agent and each Creditor and all of their respective directors, officers,
             shareholders and agents from and against any and all losses, damages, costs, expenses or
             liabilities suffered or incurred by the Agent or any Creditor or any of their respective


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•           directors, officers, shareholders and agents resulting or arising from or relating to any
            failure of the Borrowers or any other Credit Party to unconditionally and irrevocably pay
            in full or fully perform the Guaranteed Obligations as and when due provided that the
            amount of such indemnification shall not exceed the amount of such Guaranteed
            Obligations and any amounts due and owing hereunder.

    11.      Stay of Acceleration. If acceleration of the time for payment, or the liability of the
             Borrowers or any other Credit Party to make payment, of any amount specified to be
             payable by the Borrowers or any other Credit Party in respect of the Guaranteed
             Obligations is stayed, prohibited or otherwise affected upon the insolvency, bankruptcy,
             reorganization or winding-up of the Borrowers or any other Credit Party or any
             moratorium affecting the payment of the Guaranteed Obligations, all such amounts
             otherwise subject to acceleration or payment will nonetheless be deemed for all purposes
             of this Guarantee to be and to become due and payable by the Borrowers or any other
             Credit Party and will be payable by the Guarantor hereunder forthwith on demand by the
             Agent for and on behalf of the Creditors.

    12.      Reinstatement. If, at any time, all or any part of any payment previously applied by the
             Agent or any Creditor to any Guaranteed Obligation is or must be rescinded or returned
             by the Agent or any Creditor for any· reason whatsoever (including the insolvency,
             bankruptcy, or reorganization of the Borrowers or any other Credit Party), such
             Guaranteed Obligation will, for the purpose of this Guarantee, to the extent that such


•            payment is or must be rescinded or returned, be deemed to have continued in existence,
             notwithstanding such application by the Agent or any such Creditor, and this Guarantee
             will continue to be effective or be reinstated, as the case may be, as to such Guaranteed
             Obligation, all as though such application by the Agent or any such Creditor had not been
             made.

    13.      Assignment and Postponement. All present and future indebtedness and liability of the
             Borrowers and each other Credit Party to the Guarantor is hereby assigned by the
             Guarantor to the Agent for its own benefit and on behalf of the Creditors and
             subordinated to the Guaranteed Obligations and all moneys received by the Guarantor in
             respect thereof following the occurrence and during the continuance of an Event of
             Default will be received in trust for and, unless prior written authorization from the Agent
             to the contrary will have been obtained by the Guarantor, will be paid over to the Agent
             for its own benefit and on behalf of the Creditors upon demand by the Agent. If the
             Agent receives from the Guarantor a payment or payments in full or on account of the
             liability of the Guarantor hereunder, the Guarantor will not be entitled to claim repayment
             against the Borrowers or any other Credit Party until the Agent's and the Creditors'
             claims against the Borrowers or the applicable Credit Party have been irrevocably and
             unconditionally paid in full. In case of liquidation, winding up or bankruptcy of the
             Borrowers or any other Credit Party (whether voluntary or involuntary) or any
             composition with creditors or scheme of arrangement, the Agent for its own benefit and
             on behalf of the Creditors will have the right to rank for its full claims and receive all or



•            other payments in respect thereof in priority to the Guarantor until the Guaranteed
             Obligations have been irrevocably and unconditionally paid in full, and the Guarantor
             will continue to be liable hereunder for any balance which may be owing to the Agent for


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•           its own benefit and on behalf of the Creditors by the Borrowers or any other Credit Party.
            In the event of the valuation by the Agent of any of its security and/or the retention
            thereof by the Agent, such valuation and/or retention will not, as between the Agent and
            the Guarantor, be considered as a purchase of such security, or as payment or satisfaction
            of the Guaranteed Obligations or any part thereof. The foregoing provisions of this
            Section 13 will not in any way limit or lessen the liability of the Guarantor under any
            other section of this Guarantee.

    14.     No Subrogation. Notwithstanding any payment made by the Guarantor under this
            Guarantee or any setoff or application of funds of the Guarantor by the Agent or any
            Creditor, the Guarantor will have no right of subrogation to, and waives, to the fullest
            extent permitted by Applicable Law, any right to enforce any remedy which the Agent
            now has or may hereafter have against the Borrowers or any other Credit Party, until all
            of the Guaranteed Obligations have been irrevocably and unconditionally paid in full; and
            until that time, the Guarantor waives any benefit of, and any right to participate in, any
            security, whether real or personal property, now or hereafter held by the Agent or any
            Creditor for the Guaranteed Obligations.

    IS.     Foreign Currency Guaranteed Obligations. The Guarantor will make payment
            relative to each Guaranteed Obligation in the currency (the "Original Currency") in
            which the Borrowers or any other Credit Party is required to pay such Guaranteed
            Obligation. If the Guarantor makes payment relative to any Guaranteed Obligation to the


•           Agent or any Creditor in a currency (the "Other Currency") other than the Original
            Currency (whether voluntarily or pursuant to an order or judgment of a court or tribunal
            of any jurisdiction), such payment will constitute a discharge of the liability of the
            Guarantor hereunder in respect of such Guaranteed Obligation only to the extent of the
            amount of the Original Currency which the Agent is able to purchase at Toronto, Ontario
            with the amount it receives on the date of receipt. If the amount of the Original Currency
            which the Agent is able to purchase is less than the amount of such currency originally
            due to it in respect to the relevant Guaranteed Obligation, the Guarantor will indemnify
            and save the Agent and each Creditor harmless from and against any loss or damage
            arising as a result of such deficiency. This indemnity will constitute an obligation
            separate and independent from the other obligations contained in this Guarantee, will
            give rise to a separate and independent cause of action, will apply irrespective of any
            indulgence granted by the Agent, for its own benefit and on behalf of the Creditors, and
            will continue in full force and effect notwithstanding any judgment or order in respect of
            any amount due hereunder or under any judgment or order.

    16.      Taxes. All payments to be made by the Guarantor hereunder will be made without set-
             off or counterclaim and without deduction for any taxes, levies, duties, fees, deductions,
             withholdings, restrictions or conditions of any nature whatsoever. If at any time any
             Applicable Law, regulation or international agreement requires the Guarantor to make
             any such deduction or withholding from any such payment, the sum due from the
             Guarantor with respect to such payment will be increased to the extent necessary to



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             ensure that, after the making of such deduction or withholding, the Agent, for its own
             benefit and on behalf of the Creditors, receives a net sum equal to the sum which it would
             have received had no deduction or withholding been required.


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•   17.     Payment of Expenses; Indemnification. The Guarantor will pay on demand during the
            occurrence and continuance of an Event of Default, and will indemnify and save the
            Agent and each Creditor harmless from, any and all liabilities, all reasonable costs and
            expenses (including reasonable out-of-pocket legal fees and expenses on a solicitor and
            his own client full indemnity basis and any sales, goods and services or other similar
            taxes payable to any Governmental Authority with respect to any such liabilities, costs
            and expenses) (a) incurred by the Agent for its own benefit and on behalf of the Creditors
            in the administration or enforcement of this Guarantee, (b) with respect to, or resulting
            from, any failure or delay by the Guarantor in performing or observing any of its
            obligations under this Guarantee, or (c) incurred by the Agent in performing or observing
            any of the other covenants of the Guarantor under this Guarantee.

    18.     Additional Security. This Guarantee is in addition and without prejudice to any security
            of any kind (including other guarantees) now or hereafter held by or for the benefit of the
            Agent or the Creditors and any other rights or remedies that the Agent or the Creditors
            might have.

    19.     Governing Law; Attornment. This Guarantee will be governed by and construed in
            accordance with the laws of the Province of Alberta and the laws of Canada applicable
            therein, without giving effect to the conflict of law principles thereof. Without prejudice
            to the ability of the Agent or any Creditor to enforce this Guarantee in any other proper
            jurisdiction, the Guarantor irrevocably submits and attorns to the non-exclusive



•           jurisdiction of the courts of the Province of Alberta, or any appellate court thereof, for the
            purposes of this Guarantee. To the extent legally permitted, the Guarantor waives any
            riglit it may have to, or to apply for, trial by jury in connection with any matter, action,
            proceeding, claim or counterclaim arising out of or relating to the Loan Documents or
            any of the transactions contemplated thereby.

    20.      Successors and Assigns. The provisions of this Guarantee will be binding upon and
             enure to the benefit of the Agent, the Creditors and their respective successors and
             assigns and will be binding upon the Guarantor and its successors. The Guarantor's
             obligations hereunder will not be assigned or delegated. The Agent or any Creditor may
             from time to time, and without notice to or the consent of the Guarantor, assign or
             transfer all or any of the Guaranteed Obligations or any interest therein in accordance
             with the Loan Documents and, notwithstanding any such assignment or transfer or any
             subsequent assignment or transfer thereof, any such Guaranteed Obligation or part
             thereof so transferred or assigned will remain a "Guaranteed Obligation" for the purposes
             of this Guarantee and any immediate and successive permitted assignee or transferee of
             any Guaranteed Obligation or any interest therein will, to the extent of the interest so
             assigned or transferred, be entitled to the benefit of, and the right to enforce, this
             Guarantee.

    21.      Time. Time will be of the essence in this Guarantee.




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    22.      Severabilitv. . If any portion of this Guarantee or the application thereof to any
             circumstance will be held invalid or unenforceable by a court of competent jurisdiction
             from which no further appeal has or is taken, to an extent that does not affect in a


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•           fundamental way the operation of this Guarantee, the remainder of the provision in
            question, or its application to any circumstance other than that to which it has been held
            invalid or unenforceable, and the remainder of this Guarantee will not be affected thereby
            and will be valid and enforceable to the fullest extent permitted by Applicable Laws.

    23.     Notice. All notices, requests and demands to or upon the Agent or the Guarantor under
            this Agreement shall be in writing and given as provided in Section 13.11 of the Credit
            Agreement to the address (a) of the Agent set forth in the Credit Agreement and (b) of the
            Guarantor at the following address for notice:

            By personal delivery:
            Q'Max Solutions Inc.
            407 2nd St. S.w., Ste. 1700
            Calgary, Alberta T2P 2Y3

             By mail:
             Q'Max Solutions Inc.
             407 2nd St. S.w., Ste. 1700
             Calgary, Alberta T2P 2Y3

             Attention:    Mark Roberts, Chief Financial Officer
             Fax No.:      (403) 269-2251



•   24.
             or in either case at such other address as shall be designated reasonably beforehand by
             such party in a written notice to each other party.

             Credit Parties' Financial Condition. The Guarantor is fully aware of the financial
             condition of the Borrowers and the other Credit Parties.

    25.      Negotiated Document. This Guarantee is the result of negotiations between the
             Guarantor and the Agent and have been reviewed by counsel to the Guarantor and the
             Agent and is the product of both the Guarantor and the Agent. Accordingly, this
             Guarantee is not to be construed against the Agent merely because of its involvement in
             this Guarantee's preparation.

    26.      Interpretation. The division of this Guarantee into sections and paragraphs, and the
             insertion of headings, is for convenience of reference only and will not affect the
             construction or interpretation of this Guarantee. Unless the context otherwise requires,
             words importing the singular include the plural and vice versa, and words importing
             gender include all genders. When used in this Guarantee, the word "including" (or
             includes) means "including (or includes) without limitation".

    27.      Receipt of Copy. The Guarantor acknowledges receipt of an executed copy of this
             Guarantee. The Guarantor waives the right to receive any amount that it may now or



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             hereafter be entitled to receive (whether by way of damages, fine, penalty or otherwise)
             by reason of the failure of the Agent to deliver to the Guarantor a copy of any financing




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•   28.
            statement or any statement issued by any registry that confirms registration of a financing
            statement relating to this Guarantee.

            Acknowledgement. The Guarantor acknowledges having reviewed each of the
            representations, warranties and covenants set forth in the Credit Agreement (including
            Articles 6 and 7 thereof) and hereby restates each of such representations, warranties and
            covenants herein to the extent they relate to the Guarantor as a "Credit Party" and the
            Guarantor agrees to be bound by each such representations, warranties and covenants as
            if it was repeated herein, subject to the same cure periods, if any, set out in the Credit
            Agreement.

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•    THIS GUARANTEE executed effective the date first written above.


                                                       Q'MAX SOLUTIONS INC.


                                                       Per:
                                                       Name:      Mark Roberts
                                                       Title:'    Chief Financial Officer




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•                     [Signature Page to Guarantee - Q 'Max Solutions ltic.]
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                   THIS IS EXHIBIT”________
                      refrred to in the Affivit of


                   Swornbeforemethis    2C   /
                   dayof               A.D.2OO

                           /

                             Jonathan Tomm
                           Banister and Sohcitor
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•   TO:
                                               GUARANTEE


                     HSBC BANK CANADA, as Agent (the "Agent")

    DATE:            September 1, 2016

    PREAMBLE:


    A.        Q' Max Solutions Inc. and Q' Max America Inc. (collectively, the "Borrowers"), as
              borrowers, HSBC Bank Canada and those other financial institutions which are from time
              to time party thereto as lenders (collectively, the "Lenders") and HSBC Bank Canada, as
              administrative agent for the Lenders (in such capacity together with its successors and
              assigns in such capacity, the "Agent") are parties to an amended and restated credit
              agreement dated as of January 30, 2015 (as amended by a first amending agreement dated
              as of September 3, 2015, and as further amended by a second amending agreement dated
              as of March 30, 2016, as may be further amended, supplemented or otherwise modified
              or restated from time to time, the "Credit Agreement").

    B.        The Borrowers and the Guarantors (as defined in the Credit Agreement) (collectively, the
              "Credit Parties" and each a "Credit Party") may, from time to time, incur indebtedness,



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              obligations and liabilities to the Agent, the Lenders, the Hedge Providers and
              counterparties providing services pursuant to the Banking Services Agreements
              (collectively, the "Creditors") pursuant to or in connection with the Credit Agreement,
              the other Loan Documents, the Hedging Agreements and the Banking Services
              Agreements from time to time.

    C.        It is in the interests of QMax Canada Operations Inc. (the "Guarantor"), that the
              Creditors extend credit to the Borrowers pursuant to the applicable Credit Documents and
              therefore the Guarantor is prepared to issue this Guarantee to the Agent for and on behalf
              of the Creditors.

    AGREEMENT:

            For valuable consideration, the receipt and sufficiency of which are hereby conclusively
    acknowledged by the Guarantor, the Guarantor hereby agrees in favour of the Agent for its own
    benefit and on behalf of the Creditors as follows :

    1.        Defined Terms. In this Guarantee, capitalized words and phrases which are not
              otherwise defined have the respective meanings given to such terms in the Credit
              Agreement. In addition, the tem1 "Loan Documents" when used herein means the Credit
              Agreement, the Hedging Agreements, the Banking Services Agreements, the Security
              and any other Credit Documents, instruments or agreements entered into pursuant thereto
              or in connection therewith .




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    2.        Guarantee. The Guarantor hereby unconditionally and irrevocably guarantees the
              prompt payment and perfom1ance to the Agent for its own benefit and on behalf of the


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•            Creditors forthwith upon demand by the Agent during the occurrence and continuance of
             an Event of Default of all indebtedness, liabilities and obligations of any kind whatsoever
             (whether direct or indirect, joint or several, absolute or contingent, matured or
             unmatured) which the Borrowers or any other Credit Party (other than the Guarantor) has
             from time to time incurred or is under or may hereafter incur or be under to the Agent or
             any Creditor under or in connection with or with respect to the Loan Documents
             (collectively, the "Guaranteed Obligations"). All amounts payable by the Guarantor
             hereunder will be paid to the Agent for its own benefit and on behalf of the Creditors at
             the address of the Agent set forth in Section 23 below or as otherwise directed in writing
             by the Agent. Any amounts payable by the Guarantor under this Guarantee which are not
             paid forthwith upon demand therefor by the Agent as aforesaid for its own benefit and on
             behalf of the Creditors will bear interest from the date of such demand at the rate or rates
             applicable to the corresponding Guaranteed Obligations.

    3.       Continuing, Unconditional and Absolute Guarantee. The obligations of the Guarantor
             under this Guarantee are continuing, unconditional and absolute and, without limiting the
             generality of the foregoing, will not be released, discharged, diminished, limited or
             otherwise affected by (and the Guarantor hereby consents to or waives, as applicable, to
             the fullest extent pe1mitted by Applicable Laws) :

             (a)    any extension, other indulgence, renewal, settlement, discharge, compromise,
                    waiver, subordination or release in respect of any Guaranteed Obligation,



•            (b)
                    security, Person or otherwise, unless such settlement, discharge, compromise or
                    release shall specifically release the Guarantor from its obligations, indebtedness
                    or liabilities hereunder or any part thereof or is a payment of the Guaranteed
                    Obligations;

                    any waiver, modification, restatement or amendment of or supplement to any
                    Loan Document or the Guaranteed Obligations, including any increase or
                    decrease in the principal, the rates of interest or other amounts payable
                    thereunder;

             (c)    any change in the time, manner or place of payment of or in any other term of any
                    Loan Document or the Guaranteed Obligations, or the failure on the part of the
                    Borrowers or any other Credit Party to carry out any of its Guaranteed
                    Obligations under any Loan Document;

             (d)    any impossibility, impracticability, frustration of purpose, illegality, force majeure
                    or act of governn1ent;

             (e)    any non-perfection or invalidity of any direct or indirect security for any
                    Guaranteed Obligation;

             (f)    any change in the existence, structure, constitution, name, objects, powers,
                    business, control or ownership of the Borrowers, any other Credit Party or any
                    other Person, or any insolvency, bankruptcy, reorganization or other similar




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•             (g)
                    proceeding affecting the Borrowers, any other Credit Party or any other Person or
                    its assets;

                    the existence of any claim, set-off or other rights which the Guarantor may have
                    at any time against the Borrowers, any other Credit Party, the Agent or any other
                    Person, whether in connection herewith or any unrelated transactions;

              (h)   any invalidity, illegality or unenforceability relating to or against the Bonowers or
                    any other Credit Party or any provision of Applicable Law purporting to prohibit
                    the payment by the Borrowers or any other Credit Party of the principal or interest
                    under the Guaranteed Obligations;

              (i)   any limitation, postponement, prohibition, subordination or other restriction on
                    the rights of the Agent or any Creditor to receive payment of the Guaranteed
                    Obligations;

              (j)   any release, substitution or addition of any co-signer, endorser or other guarantor
                    of the Guaranteed Obligations;

              (k)   any defence arising by reason of any failure of the Agent or any Creditor to make
                    any presentment, demand for performance, notice of non-performance, protest,
                    and any other notice, including notice of all of the following: acceptance of this



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                    Guarantee, partial payment or non-payment of all or any part of the Guaranteed
                    Obligations and the existence, creation, or incurring of new or additional
                    Guaranteed Obligations;

              (1)   any defence arising by reason of any failure of the Agent or any Creditor to
                    proceed against the Borrowers, any other Credit Party or any other Person, to
                    proceed against, apply or exhaust any security held from the Borrowers, any other
                    Credit Party or any other Person for the Guaranteed Obligations, to proceed
                    against, apply or exhaust any security held from the Guarantor or any other
                    Person for this Guarantee or to pursue any other remedy in the power of the Agent
                    or any Creditor whatsoever;

              (m)   any Applicable Law which provides that the obligation of a guarantor must
                    neither be larger in amount nor in other respects more burdensome than that of the
                    principal obligation or which reduces a guarantor's obligation in proportion to the
                    principal obligation;

              (n)   any defence arising by reason of any incapacity, lack of authority, or other
                    defence of the Bonowers, any other Credit Party or any other Person, or by reason
                    of any limitation, postponement, prohibition on the Agent's or any Creditor' s
                    right to receive payment of the Guaranteed Obligations or any part thereof, or by
                    reason of the cessation from any cause whatsoever of the liability of the
                    Bonowers, any other Credit Party or any other Person with respect to all or any
                    part of the Guaranteed Obligations, or by reason of any act or omission of the



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                    Agent or any Creditor or others which directly or indirectly results in the
                    discharge or release of the Bonowers, any other Credit Party or any other Person

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•             (o)
                     or all or any part of the Guaranteed Obligations or any security or guarantee
                     therefor, whether by contract, operation of Jaw or otherwise;

                     any defence arising by reason of any failure by the Agent or any Creditor to
                     obtain, perfect or maintain a perfected or prior (or any) secmity interest in or Lien
                     upon any property of the Bonowers, any other Credit Party or any other Person,
                     or by reason of any interest of the Agent or any Creditor in any property, whether
                     as owner thereof or the holder of a security interest therein or Lien thereon, being
                     invalidated, voided, declared fraudulent or preferential or otherwise set aside, or
                     by reason of any impairment by the Agent of any right to recourse or collateral;

              (p)    any defence arising by reason of the failure of the Agent or any Creditor to
                     marshal any assets;

              (q)    any defence based upon any failure of the Agent or any Creditor to give to the
                     Bonowers, any other Credit Party, the Guarantor or any other Person notice of
                     any sale or other disposition of any property securing any or all of the Guaranteed
                     Obligations or any guarantee thereof, or any defect in any notice that may be
                     given in connection with any sale or other disposition of any such property, or any
                     failure of the Agent or any Creditor to comply with any provision of Applicable
                     Law in enforcing any Lien upon any such property, including any failure by the
                     Agent or any Creditor to dispose of any such property in a commercially



•             (r)


              (s)
                     reasonable manner;

                     any dealing whatsoever with the Bonowers, any other Credit Party or other
                     Person or any security, whether negligently or not, or any failure to do so;

                     any defence based upon or arising out of any bankruptcy, insolvency,
                     reorganization, moratorium, anangement, readjustment of debt, liquidation or
                     dissolution proceeding commenced by or against the Bonowers, any other Credit
                     Party or any other Person, including any discharge of, or bar against collecting,
                     any of the Guaranteed Obligations, in or as a result of any such proceeding; or

              (t)    any other act or omission to act or delay of any kind by the Bonowers, any other
                     Credit Party, the Agent, a Creditor or any other Person or any other circumstance
                     whatsoever, whether similar or dissimilar to the foregoing, which might, but for
                     the provisions of this Section 3, constitute a legal or equitable discharge,
                     limitation or reduction of the Guarantor' s obligations hereunder (other than the
                     inevocable and unconditional payment in full of all of the Guaranteed
                     Obligations).

              The foregoing provisions apply (and the foregoing waivers will be effective) even if the
              effect of any action (or failure to take action) by the Agent or any Creditor is to destroy or
              diminish the Guarantor' s subrogation rights, the Guarantor's right to proceed against the
              Bonowers or any other Credit Party for reimbursement, the Guarantor' s 1ight to recover
              contribution from any other guarantor or any other right or remedy .



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    4.        Release of Guaranteed Obligations. This Guarantee will remain in full force and effect
              until the Guaranteed Obligations are inevocably and unconditionally performed and paid
              in full.

    5.        Validity of Agreements. The Guarantor will not contest or otherwise challenge the
              legality, validity or enforceability of any term, condition or other provision contained in
              the Loan Documents. The Guarantor represents to the Agent for and on behalf of the
              Creditors that it is familiar with and consents to the terms and conditions of the Loan
              Documents.

    6.        Assumption of Authority. The Agent, for and on behalf of the Creditors, is entitled to
              assume, notwithstanding any investigation by or on behalf of the Agent or any Creditor,
              the power and authority of the officers, directors, agents or other Persons acting or
              purporting to act on behalf of the Bonowers, the Guarantor or the other Credit Parties,
              and any Guaranteed Obligations made or created in reliance upon the exercise of such
              power or authority will be guaranteed hereunder.

    7.        Recourse against Credit Parties and Others . The Agent, for and on behalf of the
              Creditors, is not required to exhaust its recourse against the Bonowers, the other Credit
              Parties, any other guarantor or other Person or under any other security or other guarantee
              before being entitled to payment from the Guarantor under this Guarantee.




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    8.        Settlement of Accounts. Any account settled or stated between the Agent, for and on
              behalf of the Creditors, and the Bonowers or the other Credit Parties will be accepted by
              the Guarantor as prima facie evidence, subject to manifest enor, that the amount thereby
              appea1ing due by the Bonowers or the other Credit Parties to the Agent and the Creditors
              is so due.

    9.        No Waiver. No delay on the part of the Agent, for and on behalf of the Creditors, in
              exercising any of its options, powers or rights, or partial or single exercise thereof, will
              constitute a waiver thereof. No waiver of any of the Agent's or any Creditor's rights
              hereunder, and no modification or amendment of this Guarantee, will be deemed to be
              made by the Agent for and on behalf of the Creditors unless the same will be in writing,
              duly signed by the Agent, for and on behalf of the Creditors, and the Guarantor, and each
              such waiver, if any, will apply only with respect to the specific instance involved, and
              will in no way impair the rights of the Agent and the Creditors or the liabilities of the
              Guarantor to the Agent and the Creditors in any other respect at any other time.

    10.       Guarantee of all Credit Obtained; Indemnity. All moneys and credits in fact
              bon·owed or obtained by the Bonowers or any other Credit Party from the Agent or any
              Creditor under the Loan Documents will be deemed to form part of the Guaranteed
              Obligations notwithstanding any incapacity, disability or lack or limitation of status or
              power of the Bonowers or any other Credit Party or of the directors, officers, employees,
              partners or agents thereof, or that the Bonowers or any other Credit Party may not be a
              legal entity, or any inegularity, defect or informality in the bonowing or obtaining of
              such moneys or credits. If any amount in respect of the Guaranteed Obligations is not



•             recoverable from the Guarantor hereunder on the basis of a guarantee, then,



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•             notwithstanding any other provlSlon hereof, the Guarantor will indemnify and save
              harmless the Agent and each Creditor and all of their respective directors, officers,
              shareholders and agents from and against any and all losses, damages, costs, expenses or
              liabilities suffered or incurred by the Agent or any Creditor or any of their respective
              directors, officers, shareholders and agents resulting or arising from or relating to any
              failure of the Bonowers or any other Credit Party to unconditionally and inevocably pay
              in full or fully perform the Guaranteed Obligations as and when due provided that the
              amount of such indemnification shall not exceed the amount of such Guaranteed
              Obligations and any amounts due and owing hereunder.

    11 .      Stay of Acceleration. If acceleration of the time for payment, or the liability of the
              Borrowers or any other Credit Party to make payment, of any amount specified to be
              payable by the Bonowers or any other Credit Party in respect of the Guaranteed
              Obligations is stayed, prohibited or otherwise affected upon the insolvency, bankruptcy,
              reorganization or winding-up of the Borrowers or any other Credit Party or any
              moratorium affecting the payment of the Guaranteed Obligations, all such amounts
              otherwise subject to acceleration or payment will nonetheless be deemed for all purposes
              of this Guarantee to be and to become due and payable by the Bonowers or any other
              Credit Party and will be payable by the Guarantor hereunder forthwith on demand by the
              Agent for and on behalf of the Creditors.

    12.       Reinstatement. If, at any time, all or any part of any payment previously applied by the



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              Agent or any Creditor to any Guaranteed Obligation is or must be rescinded or returned
              by the Agent or any Creditor for any reason whatsoever (including the insolvency,
              bankruptcy, or reorganization of the Borrowers or any other Credit Party), such
              Guaranteed Obligation will, for the purpose of this Guarantee, to the extent that such
              payment is or must be rescinded or returned, be deemed to have continued in existence,
              notwithstanding such application by the Agent or any such Creditor, and this Guarantee
              will continue to be effective or be reinstated, as the case may be, as to such Guaranteed
              Obligation, all as though such application by the Agent or any such Creditor had not been
              made.

    13.       Assignment and Postponement. All present and future indebtedness and liability of the
              Borrowers and each other Credit Party to the Guarantor is hereby assigned by the
              Guarantor to the Agent for its own benefit and on behalf of the Creditors and
              subordinated to the Guaranteed Obligations and all moneys received by the Guarantor in
              respect thereof following the occmTence and during the continuance of an Event of
              Default will be received in trust for and, unless prior written authorization from the Agent
              to the contrary will have been obtained by the Guarantor, will be paid over to the Agent
              for its own benefit and on behalf of the Creditors upon demand by the Agent. If the
              Agent receives from the Guarantor a payment or payments in full or on account of the
              liability of the Guarantor hereunder, the Guarantor will not be entitled to claim repayment
              against the Borrowers or any other Credit Party until the Agent's and the Creditors'
              claims against the Borrowers or the applicable Credit Party have been irrevocably and
              unconditionally paid in full. In case of liquidation, winding up or bankruptcy of the
              Borrowers or any other Credit Party (whether voluntary or involuntary) or any



•             composition with creditors or scheme of arrangement, the Agent for its own benefit and


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•             on behalf of the Creditors will have the right to rank for its full claims and receive all or
              other payments in respect thereof in priority to the Guarantor until the Guaranteed
              Obligations have been irrevocably and unconditionally paid in full, and the Guarantor
              will continue to be liable hereunder for any balance which may be owing to the Agent for
              its own benefit and on behalf of the Creditors by the Borrowers or any other Credit Party.
              In the event of the valuation by the Agent of any of its security and/or the retention
              thereofby the Agent, such valuation and/or retention will not, as between the Agent and
              the Guarantor, be considered as a purchase of such security, or as payment or satisfaction
              of the Guaranteed Obligations or any part thereof. The foregoing provisions of this
              Section 13 will not in any way limit or lessen the liability of the Guarantor under any
              other section of this Guarantee.

    14.       No Subrogation. Notwithstanding any payment made by the Guarantor under this
              Guarantee or any set-off or application of funds of the Guarantor by the Agent or any
              Creditor, the Guarantor will have no right of subrogation to, and waives, to the fullest
              extent permitted by Applicable Law, any right to enforce any remedy which the Agent
              now has or may hereafter have against the Borrowers or any other Credit Pmty, until all
              of the Guaranteed Obligations have been irrevocably and unconditionally paid in full; and
              until that time, the Guarantor waives any benefit of, and any right to participate in, any
              security, whether real or personal property, now or hereafter held by the Agent or any
              Creditor for the Guaranteed Obligations.




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    15 .      Foreign Currency Guaranteed Obligations. The Guarantor will make payment
              relative to each Guaranteed Obligation in the currency (the "Original Currency") in
              which the Borrowers or any other Credit Party is required to pay such Guaranteed
              Obligation. If the Guarantor makes payment relative to any Guaranteed Obligation to the
              Agent or any Creditor in a cunency (the "Other Currency") other than the Original
              Currency (whether voluntarily or pursuant to an order or judgment of a court or tribunal
              of any jurisdiction), such payment will constitute a discharge of the liability of the
              Guarantor hereunder in respect of such Guaranteed Obligation only to the extent of the
              amount of the Original Cunency which the Agent is able to purchase at Toronto, Ontario
              with the amount it receives on the date of receipt. If the amount of the Original Cunency
              which the Agent is able to purchase is less than the amount of such currency originally
              due to it in respect to the relevant Guaranteed Obligation, the Guarantor will indemnify
              and save the Agent and each Creditor harmless from and against any loss or damage
              arising as a result of such deficiency. This indemnity will constitute an obligation
              separate and independent from the other obligations contained in this Guarantee, will
              give rise to a separate and independent cause of action, will apply irrespective of any
              indulgence granted by the Agent, for its own benefit and on behalf of the Creditors, and
              will continue in full force and effect notwithstanding any judgment or order in respect of
              any amount due hereunder or under any judgment or order.

    16.       Taxes. All payments to be made by the Guarantor hereunder will be made without set-
              off or counterclaim and without deduction for any taxes, levies, duties, fees , deductions,
              withholdings, restrictions or conditions of any nature whatsoever. If at any time any
              Applicable Law, regulation or international agreement requires the Guarantor to make



•             any such deduction or withholding from any such payment, the sum due from the


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•             Guarantor with respect to such payment will be increased to the extent necessary to
              ensure that, after the making of such deduction or withholding, the Agent, for its own
              benefit and on behalf of the Creditors, receives a net sum equal to the sum which it would
              have received had no deduction or withholding been required.

    17.       Payment of Expenses; Indemnification. The Guarantor will pay on demand during the
              occurrence and continuance of an Event of Default, and will indemnify and save the
              Agent and each Creditor harmless from, any and all liabilities, all reasonable costs and
              expenses (including reasonable out-of-pocket legal fees and expenses on a solicitor and
              his own client full indemnity basis and any sales, goods and services or other similar
              taxes payable to any Governmental Authority with respect to any such liabilities, costs
              and expenses) (a) incun·ed by the Agent for its own benefit and on behalf of the Creditors
              in the administration or enforcement of this Guarantee, (b) with respect to, or resulting
              from, any failure or delay by the Guarantor in performing or observing any of its
              obligations under this Guarantee, or (c) incurred by the Agent in performing or observing
              any of the other covenants of the Guarantor under this Guarantee.

    18 .      Additional Security. This Guarantee is in addition and without prejudice to any security
              of any kind (including other guarantees) now or hereafter held by or for the benefit of the
              Agent or the Creditors and any other rights or remedies that the Agent or the Creditors
              might have.




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    19 .      Governing Law; Attornment. This Guarantee will be governed by and construed in
              accordance with the laws of the Province of Alberta and the laws of Canada applicable
              therein, without giving effect to the conflict of law principles thereof. Without prejudice
              to the ability of the Agent or any Creditor to enforce this Guarantee in any other proper
              jurisdiction, the Guarantor irrevocably submits and attoms to the non-exclusive
              jurisdiction of the courts of the Province of Alberta, or any appellate court thereof, for the
              purposes of this Guarantee. To the extent legally permitted, the Guarantor waives any
              right it may have to, or to apply for, trial by jury in connection with any matter, action,
              proceeding, claim or counterclaim arising out of or relating to the Loan Documents or
              any of the transactions contemplated thereby.

    20 .      Successors and Assigns. The provisions of this Guarantee will be binding upon and
              enure to the benefit of the Agent, the Creditors and their respective successors and
              assigns and will be binding upon the Guarantor and its successors. The Guarantor's
              obligations hereunder will not be assigned or delegated. The Agent or any Creditor may
              from time to time, and without notice to or the consent of the Guarantor, assign or
              transfer all or any of the Guaranteed Obligations or any interest therein in accordance
              with the Loan Documents and, notwithstanding any such assigmnent or transfer or any
              subsequent assigru11ent or transfer thereof, any such Guaranteed Obligation or part
              thereof so transferred or assigned will remain a "Guaranteed Obligation" for the purposes
              of this Guarantee and any immediate and successive permitted assignee or transferee of
              any Guaranteed Obligation or any interest therein will, to the extent of the interest so
              assigned or transferred, be entitled to the benefit of, and the right to enforce, this
              Guarantee .



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•   21.

    22.
              Time. Time will be of the essence in this Guarantee.

              Severability. If any portion of this Guarantee or the application thereof to any
              circumstance will be held invalid or unenforceable by a court of competent jurisdiction
              from which no further appeal has or is taken, to an extent that does not affect in a
              fundamental way the operation of this Guarantee, the remainder of the provision in
              question, or its application to any circumstance other than that to which it has been held
              invalid or unenforceable, and the remainder of this Guarantee will not be affected thereby
              and will be valid and enforceable to the fullest extent permitted by Applicable Laws.

    23.       Notice. All notices, requests and demands to or upon the Agent or the Guarantor under
              this Agreement shall be in writing and given as provided in Section 13.11 of the Credit
              Agreement to the address (a) of the Agent set forth in the Credit Agreement and (b) of the
              Guarantor at the following address for notice:

              QMax Canada Operations Inc.
              11700 Katy Freeway
              Suite 200
              Houston, Texas 77079

              Attention:     Legal Department
              Fax No.:       (832) 201-8146



•   24.
              or in either case at such other address as shall be designated reasonably beforehand by
              such party in a written notice to each other party.

              Credit Parties' Financial Condition . The Guarantor is fully aware of the financial
              condition of the Borrowers and the other Credit Parties.

    25.       Negotiated Document. This Guarantee is the result of negotiations between the
              Guarantor and the Agent and have been reviewed by counsel to the Guarantor and the
              Agent and is the product of both the Guarantor and the Agent. Accordingly, this
              Guarantee is not to be construed against the Agent merely because of its involvement in
              this Guarantee' s preparation.

    26.       Interpretation. The division of this Guarantee into sections and paragraphs, and the
              insertion of headings, is for convenience of reference only and will not affect the
              construction or interpretation of this Guarantee. Unless the context otherwise requires,
              words importing the singular include the plural and vice versa, and words importing
              gender include all genders. When used in this Guarantee, the word "including" (or
              includes) means "including (or includes) without limitation" .

    27.       Receipt of Copy. The Guarantor acknowledges receipt of an executed copy of this
              Guarantee. The Guarantor waives the right to receive any amount that it may now or
              hereafter be entitled to receive (whether by way of damages, fine, penalty or otherwise)
              by reason of the failure of the Agent to deliver to the Guarantor a copy of any fmancing



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•   28.
               statement or any statement issued by any registry that confirms registration of a financing
               statement relating to this Guarantee.

               Acknowledgement. The Guarantor acknowledges having reviewed each of the
               representations, warranties and covenants set forth in the Credit Agreement (including
               Articles 6 and 7 thereof) and hereby restates each of such representations, wmTanties and
               covenants herein to the extent they relate to the Guarantor as a "Credit Party" and the
               Guarantor agrees to be bound by each such representations, warranties and covenants as
               if it was repeated herein, subject to the same cure periods, if any, set out in the Credit
               Agreement.

    29.        Signature Page.       Delivery of an executed signature page of this Guarantee by
               facsimile transmission or any electronic transmission shall be as effective as delivery of a
               manually executed counterpart hereof.

                            [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




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  THIS GUARANTEE executed effective the date first written above.


                                                 QMax Canada Operations Inc.


                                                 Per:
                                                 Name:     Christopher Rivers
                                                 Title:    Director




                [Signature Page to Guarantee- QMax Canada Operations Inc.]
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                   THIS IS EXHIBIT”_________
                      refrred to in the Amdavit of


                   Sworn before me this             /
                   dayof                  A.D.2OO



                             Jonathan Tomm
                           Barrister and SoIictor
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•   TO:
                                 LIMITED RECOURSE GUARANTEE


                    HSBC BANK CANADA, as Agent (the "Agent")

    DATE:           May 23, 2014

    P/(EA1YBLE:


    A.       Fluid Acquisition Corp. and Q'Max America Inc. (collectively, the "Borrowers"), as
             borrowers, HSBC Bank Canada and those other finar..cl"1 institutions which are'from·time· ..
             to time party thereto as lenders (collectively, the "Lenders") and HSBC Bank Canada, as
             administrative agent for the Lenders (in such capacity together with its successors and
             assigns in such capacity, the "Agent") are parties to a credit agreement dated as of the
             date hereof (as such credit agreement may be amended, supplemented or otherwise
             modified or restated from time to time, the "Credit Agreement").

    B.       The Borrowers and the Guarantors (as defined in the Credit Agreement) (collectively, the
             "Credit Parties" and each a "Credit Party") may, from time to time, incur indebtedness,
             obligations and liabilities to the Agent, the Lenders, the Hedge Providers and
             counterparties providing services pursuant to the Banking Services Agreements



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             (collectively, the "Creditors") pursuant to or in connection with the Credit Agreement,
             the other Loan Documents. the Hedging Agreements and the Banking Services
             Agreements from time to time.

    C.       It is in the interests of Fluid Holding Corp. (the "Guarantor"), that the Creditors extend
             credit to the Borrowers pursuant to the applicable Credit Documents and therefore the
             Guarantor is prepared to issue this Limited Recourse Guarantee to the Agent for and on
             behalf of the Creditors.

    D.       Pursuant to a securities pledge agreement (the "Securities Pledge") dated as of the date
             hereof, the Guarantor as pledgor has pledged to the Agent a Security Interest (as defined
             in the Securities Pledge) in respect of the Collateral (as defined in the Securities Pledge).

    AGREEMENT:

            For valuable consideration, the receipt and sufficiency of which are hereby conclusively
    acknowledged by the Guarantor, the Guarantor hereby agrees in favour of the Agent for its own
    benefit and on behalf of the Creditors as follows:

    I.       Defined Terms. In this Guarantee, capitalized words and phrases which are not
             otherwise defined have the respective meanings given to such terms in the Credit
             Agreement. In addition, the term "Loan Documents" when used herein means the Credit
             Agreement, the Hedging Agreements, the Banking Services Agreements, the Security
             and any other Credit Documents, instruments or agreements entered into pursuant thereto
             or in connection therewith.


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•   2.       Guarantee. Subject to Section 3 below, the Guarantor hereby unconditionally and
             irrevocably guarantees the prompt payment and performance to the Agent for its own
             benefit and on behalf of the Creditors forthwith upon demand by the Agent during the
             occurrence and continuance of an Event of Default of all indebtedness, liabilities and
             obligations of any kind whatsoever (whether direct or indirect, joint or several, absolute
             or contingent, matured or unmatured) which the Borrowers or any other Credit Party
             (other than the Guarantor) has from time to time incurred or is under or may hereafter
             incur or be under to the Agent or any Creditor under or in connection with or with respect
             to the Loan Documents (collectively, the "Guaranteed Obligations"). All amounts
             payable by the Guarantor hereunder will be paid to the Agent for its own benefit and on
             behalf of the Creditors at the address of the Agent set forth in Section 23 below or as
             otherwise:ai~ecte?in·writing by·itie Agent. ~ Any amounts payable by the Guarantor uider
             this Guarantee which are not paid forthwith upon demand therefor by the Agent as
             aforesaid for its own benefit and on behalf of the Creditors will bear interest from the
             date of such demand at the rate or rates applicable to the corresponding Guaranteed
             Obligations.

    3.       Limitation of Liabilitv. Notwithstanding anything to the contrary in this Guarantee, the
             Securities Pledge, the other Loan Documents or otherwise, in the event that the Guarantor
             shall default in its obligations under the Guarantee, the sole recourse of the Agent, for
             and on behalf of the Creditors, against the Guarantor shall be with respect to the
             Collateral (as defined in the Securities Pledge) charged pursuant to the Securities Pledge;



•            and neither the Agent nor any of the Creditors shall, under any circumstances, have any
             right to payment from the Guarantor or against any property or assets or rights of the
             Guarantor other than such Collateral. Other than in respect of Section 17 below, the
             Guarantor shall not be liable to the Agent or the· Creditors hereunder in respect of the
             Guaranteed Obligations or any other amount except to the extent such liability is required
             to permit realization against the Collateral to be commenced or completed and the
             Guarantor shall not be liable for any deficiency resulting from any such realization or
             otherwise.

    4.       Continuin!!, Unconditional and Absolute Guarantee. Subject to Section 3 above, the
             obligations of the Guarantor under this Guarantee are continuing, unconditional and
             absolute and, without limiting the generality of the foregoing, will not be released,
             discharged, diminished, limited or otherwise affected by (and the Guarantor hereby
             consents to or waives, as applicable, to the fullest extent permitted by Applicable Laws):

             (a)    any extension, other indulgence, renewal, settlement, discharge, compromise,
                    waiver, subordination or release in respect of any Guaranteed Obligation,
                    security, Person or otherwise, unless such settlement, discharge, compromise or
                    release shall specifically release the Guarantor from its obligations, indebtedness
                    or liabilities hereunder or any part thereof or is a payment of the Guaranteed
                    Obligations;

             (b)    any waiver, modification, restatement or amendment of or supplement to any
                    Loan Document or the Guaranteed Obligations, including any increase or



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•            (c)
                   decrease in the principal, the rates of interest or other amounts payable
                   thereunder;

                   any change in the time, manner or place of payment of or in any other term of any
                   Loan Document or the Guaranteed Obligations, or the failure on the part of the
                   Borrowers or any other Credit Party to carry out any of its Guaranteed
                   Obligations under any Loan Document;

             (d)   any impossibility, impracticability, frustration of purpose, illegality, force majeure
                   or act of government;

             (e)   any non-perfection or invalidity -of any direct or indirect security for any
                   Guaranteed Obligation;

             (I)   any change in the existence, structure, constitution, name, objects, powers;
                   business, control or ownership of the Borrowers, any other Credit Party or any
                   other Person, or any insolvency, bankruptcy, reorganization or other similar
                   proceeding affecting the Borrowers, any other Credit Party or any other Person or
                   its assets;

             (g)   the existence of any claim, set-off or other rights which the Guarantor may have
                   at any time against the Borrowers, any other Credit Party, the Agent or any other



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                   Person, whether in connection herewith or any unrelated transactions;

             (h)   any invalidity, illegality or unenforceability relating to or against the Borrowers or
                   any other Credit Party or any provision of Applicable Law purporting to prohibit
                   the payment by the Borrowers or any other Credit Party of the principal or interest
                   under the Guaranteed Obligations;

             (i)   any limitation, postponement, prohibition, subordination or other restriction on
                   the rights of the Agent or any Creditor to receive payment of the Guaranteed
                   Obligations;

             (j)   any release, substitution or addition of any co-signer, endorser or other guarantor
                   of the Guaranteed Obligations;

             (k)   any defence arising by reason of any failure of the Agent or any Creditor to make
                   any presentment, demand for performance, notice of non-performance, protest,
                   and any other notice, including notice of all of the following: acceptance of this
                   Guarantee, partial payment or non-payment of all or any part of the Guaranteed
                   Obligations and the existence, creation, or incurring of new or additional
                   Guaranteed Obligations;

             (I)   any defence arising by reason of any failure of the Agent or any Creditor to
                   proceed against the Borrowers, any other Credit Party or any other Person, to
                   proceed against, apply or exhaust any security held from the Borrowers, any other
                   Credit Party or any other Person for the Guaranteed Obligations, to proceed



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                   against, apply or exhaust any security held from the Guarantor or any other
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•             (m)
                         Person for this Guarantee or to pursue any other remedy in the power of the Agent
                         or any Creditor whatsoever;

                         any Applicable Law which provides that the obligation of a guarantor must
                         neither be larger in amount nor in other respects more burdensome than that of the
                         principal obligation or which reduces a guarantor's obligation in proportion to the
                         principal obligation;

              (n)         any defence arising by reason of any incapacity, lack of authority, or other
                          defence of the Borrowers, any other Credit Party or any other Person, or by reason
                          of any limitation, postponement, prohibition on the Agent's or any Creditor's
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                         'right to receive payment of the Guaranteed' Obligations uranY'part thereof, or by
                          reason of the cessation from any cause whatsoever of the liability of the
                          Borrowers, any other Credit Party or any other Person with respect to all or any
                          part of the Guaranteed Obligations, or by reason of any act or omission of the
                          Agent or any Creditor or others which directly or indirectly results in the
                          discharge or release of the Borrowers, any other Credit Party or any other Person
                          or all or any part of the Guaranteed Obligations or any security or guarantee
                          therefor, whether by contract, operation of law or otherwise;

              (0)        any defence arising by reason of any failure by the Agent or any Creditor to
                         obtain, perfect or maintain a perfected or prior (or any) security interest in or Lien



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                         upon any property of the Borrowers, any other Credit Party or any other Person,
                         or by reason of any interest of the Agent or any Creditor in any property, whether
                         as owner thereof or the holder of a security interest therein or Lien thereon, being
                         invalidated, voided, declared fraudulent or preferential or otherwise set aside, or
                         by reason of any impairment by the Agent of any right to recourse or collateral;

              (p)        any defence arising by reason of the failure of the Agent or any Creditor to
                         marshal any assets;

              (q)        any defence based upon any failure of the Agent or any Creditor to give to the
                         Borrowers, any other Credit Party, the Guarantor or any other Person notice of
                         any sale or other disposition of any property securing any or all of the Guaranteed
                         Obligations or any guarantee thereof, or any defect in any notice that may be
                         given in connection with any sale or other disposition of any such property, or any
                         failure of the Agent or any Creditor to comply with any provision of Applicable
                         Law in enforcing any Lien upon any such property, including any failure by the
                         Agent or any Creditor to dispose of any such property in a commercially
                         reasonable manner;

              (r)        any dealing whatsoever with the Borrowers, any other Credit Party or other
                         Person or any security, whether negligently or not, or any failure to do so;

              (s)        any defence based upon or arising out of any bankruptcy, insolvency,
                         reorganization, moratorium, arrangement, readjustment of debt, liquidation or



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                         dissolution proceeding commenced by or against the Borrowers, any other Credit



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•            (t)
                    Party or any other Person, including any discharge of, or bar against collecting,
                    any ofthe Guaranteed Obligations, in or as a result of any such proceeding; or

                    any other act or omission to act or delay of any kind by the Borrowers, any other
                    Credit Party, the Agent, a Creditor or any other Person or any other circumstance
                    whatsoever, whether similar or dissimilar to the foregoing, which might, but for
                    the provisions of this Section 4, constitute a legal or equitable discharge,
                    limitation or reduction of the Guarantor's obligations hereunder (other than the
                    irrevocable and unconditional payment in full of all of the Guaranteed
                    Obligations).

             The foregoing provisions"apply-(anll the foregoing waivers will be effective) even if the'" ' '...- - - -
             effect of any action (or failure to take action) by the Agent or any Creditor is to destroy or
             diminish the Guarantor's subrogation rights, the Guarantor's right to proceed against the
             Borrowers or any other Credit Party for reimbursement, the Guarantor's right to recover
             contribution from any other guarantor or any other right or remedy.

    5.       Release of Guaranteed Obligations. This Guarantee will remain in full force and effect
             until the Guaranteed Obligations are irrevocably and unconditionally performed and paid
             in full.

    6.       Validity of Agreements.      The Guarantor will not contest or otherwise challenge the




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             legality, validity or enforceability of any term, condition or other provision contained in
             the Loan Documents. The Guarantor represents to the Agent for and on behalf of the
             Creditors that it is familiar with and consents to the terms and conditions of the Loan
             Documents.

    7.       Assumption of Authority. The Agent, for and on behalf of the Creditors, is entitled to
             assume, notwithstanding any investigation by or on behalf of the Agent or any Creditor,
             the power and authority of the officers, directors, agents or other Persons acting or
             purporting to act on behalf of the Borrowers, the Guarantor or the other Credit Parties,
             and any Guaranteed Obligations made or created in reliance upon the exercise of such
             power or authority will be guaranteed hereunder.

    8.       Recourse against Borrowers and Others. The Agent, for and on behalf of the
             Creditors, is not required to exhaust its recourse against the Borrowers, the other Credit
             Parties, any other guarantor or other Person or under any other security or other guarantee
             before being entitled to payment from the Guarantor under this Guarantee.

    9.       Settlement of Accounts. Any account settled or stated between the Agent, for and on
             behalf of the Creditors, and the Borrowers or the other Credit Parties will be accepted by
             the Guarantor as prima facie evidence, subject to mani fest error, that the amount thereby
             appearing due by the Borrowers or the other Credit Parties to the Agent and the Creditors
             is so due.

    10.      No Waiver. No delay on the part of the Agent, for and on behalf of the Creditors, in




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             exercising any of its options, powers or rights, or partial or single exercise thereof, will
             constitute a waiver thereof. No waiver of any of the Agent's or any Creditor's rights


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•            hereunder, and no modification or amendment of this Guarantee, will be deemed to be
             made by the Agent for and on behalf of the Creditors unless the same will be in writing,
             duly signed by the Agent, for and on behalf of the Creditors, and the Guarantor, and each
             such waiver, if any, will apply only with respect to the specific instance involved, and
             will in no way impair the rights of the Agent and the Creditors or the liabilities of the
             Guarantor to the Agent and the Creditors in any other respect at any other time.

    II.      Guarantee of all Credit Obtained; Indemnity. All moneys and credits in fact
             borrowed or obtained by the Borrowers or any other Credit Party from the Agent or any
             Creditor under the Loan Documents will be deemed to form part of the Guaranteed
             Obligations notwithstanding any incapacity, disability or lack or limitation of status or
             power of the Borrowers or any other Credit Party or chile ·tlireciors, officers, euiployees,
             partners or agents thereof, or that the Borrowers or any other Credit Party may not be a
             legal entity, or any irregularity, defect or informality in the borrowing or obtaining of
             such moneys or credits. If any amount in respect of the Guaranteed Obligations is not
             recoverable from the Guarantor hereunder on the basis of a guarantee, then,
             notwithstanding any other provision hereof, the Guarantor will, subject to Section 3
             above, indemnity and save harmless the Agent and each Creditor and all of their
             respective directors, officers, shareholders and agents from and against any and all losses,
             damages, costs, expenses or liabilities suffered or incurred by the Agent or any Creditor
             or any of their respective directors, officers, shareholders and agents resulting or arising
             from or relating to any failure of the Borrowers or any other Credit Party to



•   12.
             unconditionally and irrevocably pay in full or fully perform the Guaranteed Obligations
             as and when due provided that the amount of such indemnification shall not exceed the
             amount of such Guaranteed Obligations and any amounts due and owing hereunder.

             Stay of Acceleration. If acceleration of the time for payment, or the liability of the
             Borrowers or any other Credit Party to make payment, of any amount specified to be
             payable by the Borrowers or any other Credit Party in respect of the Guaranteed
             Obligations is stayed, prohibited or otherwise affected upon the insolvency, bankruptcy,
             reorganization or winding-up of the Borrowers or any other Credit Party or any
             moratorium affecting the payment of the Guaranteed Obligations, all such amounts
             otherwise subject to acceleration or payment will nonetheless be deemed for all purposes
             of this Guarantee to be and to become due and payable by the Borrowers or any other
             Credit Party and will be payable by the Guarantor hereunder forthwith on demand by the
             Agent for and on behalf of the Creditors.

    13.      Reinstatement. If, at any time, all or any part of any payment previously applied by the
             Agent or any Creditor to any Guaranteed Obligation is or must be rescinded or returned
             by the Agent or any Creditor for any reason whatsoever (including the insolvency,
             bankruptcy, or reorganization of the Borrowers or any other Credit Party), such
             Guaranteed Obligation will, for the purpose of this Guarantee, to the extent that such
             payment is or must be rescinded or returned, be deemed to have continued in existence,
             notwithstanding such application by the Agent or any such Creditor, and this Guarantee
             will continue to be effective or be reinstated, as the case may be, as to such Guaranteed
             Obligation, all as though such application by the Agent or any such Creditor had not been



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•   14.      No Subrogation. Notwithstanding any payment made by the Guarantor under this
             Guarantee or any setoff or application of funds of the Guarantor by the Agent or any
             Creditor, the Guarantor will have no right of subrogation to, and waives, to the fullest
             extent permitted by Applicable Law, any right to enforce any remedy which the Agent
             now has or may hereafter have against the Borrowers or any other Credit Party, until all
             of the Guaranteed Obligations have been irrevocably and unconditionally paid in full; and
             until that time, the Guarantor waives any benefit of, and any right to participate in, any
             security, whether real or personal property, now or hereafter held by the Agent or any
             Creditor for the Guaranteed Obligations.

    15.      Foreign Currency Guaranteed Obligations. The Guarantor will make payment
             relative to 'each GUarariteed Obligation in the currency (the "Original Currency")ifi-
             which the Borrowers or any other Credit Party is required to pay such Guaranteed
             Obligation. If the Guarantor makes payment relative to any Guaranteed Obligation to the
             Agent or any Creditor in a currency (the "Other Currency") other than the Original
             Currency (whether voluntarily or pursuant to an order or judgment of a court or tribunal
             of any jurisdiction), such payment will constitute a discharge of the liability of the
             Guarantor hereunder in respect of such Guaranteed Obligation only to the extent of the
             amount of the Original Currency which the Agent is able to purchase at Toronto, Ontario
             with the amount it receives on the date of receipt. If the amount of the Original Currency
             which the Agent is able to purchase is less than the amount of such currency originally
             due to it in respect to the relevant Guaranteed Obligation, the Guarantor will indemnif'y



•            and save the Agent and each Creditor harmless from and against any loss or damage
             arising as a result of such deficiency. This indemnity will constitute an obligation
             separate and independent from the other obligations contained in this Guarantee, will
             give rise to a separate and independent cause of action, will apply irrespective of any
             indulgence granted by the Agent, for its own benefit and on behalf of the Creditors, and
             will continue in full force and effect notwithstanding any judgment or order in respect of
             any amount due hereunder or under any judgment or order.

    16.      Taxes. All payments to be made by the Guarantor hereunder will be made without set-
             off or counterclaim and without deduction for any taxes, levies, duties, fees, deductions,
             withholdings, restrictions or conditions of any nature whatsoever. If at any time any
             Applicable Law, regulation or international agreement requires the Guarantor to make
             any such deduction or withholding from any such payment, the sum due from the
             Guarantor with respect to such payment will be increased to the extent necessary to
             ensure that, after the making of such deduction or withholding, the Agent, for its own
             benefit and on behalf of the Creditors, receives a net sum equal to the sum which it would
             have received had no deduction or withholding been required.

    17.      Payment of Expenses; Indemnification. The Guarantor will pay on demand during the
             occurrence and continuance of an Event of Default, and will indemnify and save the
             Agent and each Creditor harmless from, any and all liabilities, all reasonable costs and
             expenses (including reasonable out-of-pocket legal fees and expenses on a solicitor and
             his own client full indemnity basis and any sales, goods and services or other similar
             taxes payable to any Governmental Authority with respect to any such liabilities, costs



•            and expenses) (a) incurred by the Agent for its own benefit and on behalf of the Creditors


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•            in the administration or enforcement of this Guarantee, (b) with respect to, or resulting
             from, any failure or delay by the Guarantor in performing or observing any of its
             obligations under this Guarantee, or (c) incurred by the Agent in performing or observing
             any of the other covenants of the Guarantor under this Guarantee.

    18.      Additional Security. This Guarantee is in addition and without prejudice to any security
             of any kind (including other guarantees) now or hereafter held by or for the benefit of the
             Agent or the Creditors and any other rights or remedies that the Agent or the Creditors
             might have.

    19.      Governing Law; Attornment. This Guarantee will be governed by and construed in
             accordance with the laws of the Province· of Alberta and the laws of Canada applicable
             therein, without giving effect to the conflict of law principles thereof. Without prejudice
             to the ability of the Agent or any Creditor to enforce this Guarantee in any other proper
             jurisdiction, the Guarantor irrevocably submits and attorns to the non-exclusive
             jurisdiction of the courts of the Province of Alberta, or any appellate court thereof, for the
             purposes of this Guarantee. To the extent legally permitted, the Guarantor waives any
             right it may have to, or to apply for, trial by jury in connection with any matter, action,
             proceeding, claim or counterclaim arising out of or relating to the Loan Documents or
             any of the transactions contemplated thereby.

    20.      Successors and Assigns. The provisions of this Guarantee will be binding upon and




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             enure to the benefit of the Agent, the Creditors and their respective successors and
             assigns and will be binding upon the Guarantor and its successors. The Guarantor's
             obligations hereunder will not be assigned or delegated. The Agent or any Creditor may
             from time to time, and without notice to or the consent of the Guarantor, assign or
             transfer all or any of the Guaranteed Obligations or any interest therein in accordance
             with the Loan Documents and, notwithstanding any such assignment or transfer or any
             subsequent assignment or transfer thereof, any such Guaranteed Obligation or part
             thereof so transferred or assigned will remain a "Guaranteed Obligation" for the purposes
             of this Guarantee and any immediate and successive permitted assignee or transferee of
             any Guaranteed Obligation or any interest therein will, to the extent of the interest so
             assigned or transferred, be entitled to the benefit of, and the right to enforce, this
             Guarantee.

    21.      Time. Time will be of the essence in this Guarantee.

    22.      Severability. If any portion of this Guarantee or the application thereof to any
             circumstance will be held invalid or unenforceable by a court of competent jurisdiction
             from which no further appeal has or is taken, to an extent that does not affect in a
             fundamental way the operation of this Guarantee, the remainder of the provision in
             question, or its application to any circumstance other than that to which it has been held
             invalid or unenforceable, and the remainder of this Guarantee will not be affected thereby
             and will be valid and enforceable to the fullest extent permitted by Applicable Laws.

    23.      Notice. All notices, requests and demands to or upon the Agent or the Guarantor under



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             this Agreement shall be in writing and given as provided in Section 13.11 of the Credit


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•             Agreement to the address (a) of the Agent set forth in the Credit Agreement and (b) of the
              Guarantor at the following address for notice:

              By personal delivery:

              Fluid Holding Corp.
              c/o Palladium Notices Department
              P.O. BOX 10424 Pacific Centre
              1300 - 777 Dunsmuir Street
              Vancouver BC V7Y lK2
              Canada
          _~. _........   0. ...::-._                                               ........   "--
              By mail:

              Fluid Holding Corp.
              c/o Palladium Notices Department
              P.O. BOX 10424 Pacific Centre
              1300 - 777 Dunsmuir Street
              Vancouver BC V7Y lK2
              Canada

              Attention:                Adam Shebitz



•   24.
              Fax No.:                  (202) 218 - 5155

              or in either case at such other address as shall be designated reasonably beforehand by
              such party in a written notice to each other party.

              Credit Parties' Financial Condition. The Guarantor is fully aware of the financial
              condition of the Borrowers and the other Credit Parties.

    25.       Negotiated Document. This Guarantee is the result of negotiations between the
              Guarantor and the Agent and have been reviewed by counsel to the Guarantor and the
              Agent and is the product of both the Guarantor and the Agent. Accordingly, this
              Guarantee is not to be construed against the Agent merely because of its involvement in
              this Guarantee's preparation.

    26.       Interpretation. The division of this Guarantee into sections and paragraphs, and the
              insertion of headings, is for convenience of reference only and will not affect the
              construction or interpretation of this Guarantee. Unless the context otherwise requires,
              words importing the singular include the plural and vice versa, and words importing
              gender include all genders. When used in this Guarantee, the word "including" (or
              includes) means "including (or includes) without limitation".

    27.       Receipt of Copy. The Guarantor acknowledges receipt of an executed copy of this
              Guarantee. The Guarantor waives the right to receive any amount that it may now or
              hereafter be entitled to receive (whether by way of damages, fine, penalty or otherwise)



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              by reason of the failure of the Agent to deliver to the Guarantor a copy of any financing


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•   28.
             statement or any statement issued by any registry that confirms registration of a financing
             statement relating to this Guarantee.

             Representations and Warranties.

             The Guarantor represents and warrants to the Agent for its own benefit and on behalf of
             the Creditors and acknowledges and confirms that each of the Creditors is relying upon
             such representations and warranties as follows:

             (a)    as of the date hereof, it is the sole shareholder of the Canadian Borrower;

             (b)    it has been duly incorporated. and is a validly subsisting corporation under the
                    Laws of its governing jurisdiction and has all necessary applicable authority,
                    power and capacity required to carry on its business in each jurisdiction where it
                    carries on business;

             (c)    it has the necessary capacity, power, legal right and authority to guarantee
                    payment to the Agent and the Creditors of the Guaranteed Obligations to perform
                    its obligations under the Loan Documents to which it is a party and to provide the
                    Security required to be provided by it;

             (d)    the execution and delivery by the Guarantor of this Guarantee and the other Loan
                    Documents to which it is a party and the performance of its respective obligations


•                   herein and therein have been duly authorized by all necessary action, requires no
                    governmental authorization or action by or in respect of, or filing with, any
                    Governmental Authority and does not contravene or constitute a default under any
                    provision of Applicable Law, or any agreement or any judgment, injunction,
                    order, decree or other instrument binding upon the Guarantor or result in the
                    creation or imposition of any security interest on any asset of such Guarantor;

             (e)    this Guarantee and the other Loan Documents to which it is a party constitute
                    legal, valid and binding obligations of the Guarantor, enforceable against it in
                    accordance with the terms and provisions thereof, subject to Laws of general
                    application affecting creditors' rights and the discretion of the court in awarding
                    equitable remedies; and

             (t)    there are no provisions contained in the charter documents, or by laws of the
                    Guarantor, shareholders' agreement, voting trust agreement or similar agreement
                    relating thereto, which restrict or limit the Guarantor's powers to guarantee the
                    payment or performance of the obligations of others or encumber all or any of its
                    present and after acquired property; or which would be contravened by the
                    execution and delivery of this Guarantee and the other Loan Documents to which
                    the Guarantor is a party or the performance of its obligations thereunder and
                    which contravention would reasonably be expected to result in a Material Adverse
                    Effect.




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    29.      Acknowledgement and Deemed Repetition



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•            The Guarantor acknowledges that the Agent and the other Creditors are relying upon the
             representations and warranties contained in Section 28 above and that such
             representations and warranties will be deemed to be restated in every respect effective on
             the date when such representations and warranties under the Credit Agreement are
             repeated or deemed to be repeated unless otherwise stated herein to be made as of the
             date hereof.

    30.      Survival of Representations and Warranties

             The Guarantor acknowledges that the Agent and the Creditors shall be entitled to rely
             upon the representations and warranties contained in Section 28 above. Notwithstanding
            .any investigations which may be made" by the Agent or 'the Creditors, 'the said
             representations and warranties shall survive the execution and delivery of this Guarantee
             and the other Loan Documents to which the Guarantor is a party until full and final
             payment and satisfaction of the Guaranteed Obligations and the termination of the
             Guarantee.

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•    THIS GUARANTEE executed effective the date first written above.


                                                       FLUID HOLDING CORP.


                                                       Per'
                                                       Name:
                                                                .2.~
                                                                Mark Roberts
                                                                             ~
                                                       Title:    Authorized Signatory




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•              [Signature Page to Limited Recourse Guarantee - Fluid Holding Corp.]
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                   THIS IS EXHIBIT”_________
                      referred to in the Affidavit of


                   Sworn before me this               /
                   dayof                  A.D.2OO


                           I
                              Jonathan Tomm
                            Barrister and Solicitor
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•
                               1356760 ALBERTA LTD.

                                      as Obligor

                                         and

                               "SBC BANK CANADA

                                as Administrative Agent




                              SECURITY AGREEMENT
                                    May 23, 2014



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•                                      SECURITY AGREEMENT

           Security Agreement dated as of May 23, 2014 (the "Agreement") made by 1356760
    Alberta Ltd. (the "Obligor"), to and in favour of HSBC Bank Canada, as Agent for the benefit of
    the Secured Creditors.

            WHEREAS, pursuant to, and subject to the terms and conditions of, a Credit Agreement
    dated as of the date hereof (as amended, supplemented or restated from time to time, the "Credit
    Agreement") among Fluid Acquisition Corp. and Q'Max America Inc., as horrowers, HSBC
    Bank Canada and those other financial institutions who from time to time become parties thereto as
    lenders (collectively, the "Lenders") and HSBC Bank Canada, as administrative agent for the
    Lenders (in such capacity together with its successors and assigns in such capacity, the "Agent")
    the Lenders agreed to make certain credit facilities available to the Borrowers;

            AND WHEREAS, the obligations of the Lenders to make available certain Advances
    pursuant to the Credit Agreement and the entry into Hedging Agreements by the Hedge Providers and
    the entry into the Banking Services Agreements by the Agent and the Affiliates of the Agent or a Lender
    from time to time are conditioned upon the execution and delivery by the Obligor of a security
    agreement in favour of the Agent, on behalf of the Secured Creditors, in the form hereof, to
    secure all of the Obligations;

            NOW, THEREFORE, in consideration of the premises and for other good and valuable



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    consideration the receipt and sufficiency of which are hereby acknowledged, the parties hereto
    agree as follows:

                                              ARTICLE 1
                                           INTERPRETATION

    Section 1.1     Defined Terms.

    As used in this Agreement, the following terms have the following meanings:

    "Agreement" means this security agreement as may be amended, supplemented or otherwise
    modified from time to time.

    "CIPO" means the Canadian Intellectual Property Office.

    "Collateral" has the meaning specified in Section 2.1 of this Agreement.

    "Credit Agreement" shall have the meaning attributed to such term in the Preamble of this
    Agreement.

    "Instruments" means (i) a bill, note or cheque within the meaning of the Bills of Exchange Act
    (Canada) or any other writing that evidences a right to the payment of money and is of a type
    that in the ordinary course of business is transferred by delivery with any necessary endorsement
    or assignment, or (ii) a letter of credit and an advice of credit if the letter or advice states that it
    must be surrendered upon claiming payment thereunder, or (iii) chattel paper or any other



•   writing that evidences both a monetary obligation and a security interest in or a lease of specific


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•   goods, or (iv) documents of title or any other writing that purports to be issued by or addressed to
    a bailee and purports to cover such goods in the bailee's possession as are identified or fungible
    portions of an identified mass, and that in the ordinary course of business is treated as
    establishing that the Person in possession of it is entitled to receive, hold and dispose of the
    document and the goods it covers, or (v) any document or writing commonly known as an
    instrument, but excludes investment property.

    "Intellectual Property" means domestic and foreign: (i) patents, applications for patents and
    reissues, divisions, continuations, renewals, extensions and continuations-in-part of patents or
    patent applications; (ii) proprietary and nonpublic business information, including inventions
    (whether patentable or not), invention disclosures, improvements, discoveries, trade secrets,
    confidcntiar·ihformation, know-how, methods, processes, designs, technology;·technical data,
    schematics, formulae and customer lists, and documentation relating to any of the foregoing; (iii)
    copyrights, copyright registrations and applications for copyright registration; (iv) mask works,
    mask work registrations and applications for mask work registrations; (v) designs, design
    registrations, design registration applications and integrated circuit topographies; (vi) trade
    names, business names, corporate names, domain names, website names and world wide web
    addresses, common law trade-marks, service marks, certification marks, trade dress, logos,
    applications, registrations and renewals for any of the foregoing and the goodwill connected with
    the use of and symbolized by any of the foregoing; (vii) computer software and programs (both
    source code and object code form), all proprietary rights in the computer software and programs
    and all documentation and other materials related to the computer software and programs; (viii)



•   any other intellectual property and industrial property; (ix) income, fees, royalties, damages,
    claims and payments for past, present, or future infringements, dilutions or other violations
    thereof; (x) rights corresponding thereto throughout the world; and (xi) rights to sue for past,
    present or future infringements, dilutions or other violations thereof.

    "Obligations" means, in respect of the Obligor, the Obligations (as such term is defined in the
    Credit Agreement) of such Obligor.

    "Obligor" shall have the meaning attributed to such term in the Preamble of this Agreement.

    "PPSA" means the Personal Property Security Act (Alberta) and the regulations promulgated
    thereunder and other applicable personal property security legislation of the applicable Canadian
    province or provinces (including the Civil Code of Quebec and the regulations respecting the
    register of personal and movable real rights promulgated thereunder) as all such legislation now
    exists or may from time to time hereafter be amended, modified, recodified, supplemented or
    replaced, together with all rules, regulations and interpretations thereunder or related thereto.

    "Registrable Intellectual Property" means any Intellectual Property in respect of which
    ownership, title, security interests, charges or encumbrances are capable of registration,
    recording or notation with any Governmental Authority pursuant to Applicable Laws.

    "Restricted Asset" has the meaning specified in Section 2.4(1) of this Agreement.

    "Secured Creditors" means, collectively, the Agent, the Lenders, the Hedge Providers and



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    counterparties providing services pursuant to the Banking Services Agreements.


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•   "Secured Obligations" has the meaning specified in Section 2.2 of this Agreement.

    "Securities" means securities as defined in the Securities Transfer Act (Alberta).

    "Security Interest" has the meaning specified in Section 2.2

    Section 1.2     Interpretation.

    (I)      Capitalized tenns used in this Agreement but not defined have the meanings given to
             them in the Credit Agreement. Tenns defined in the PPSA and the Securities Transfer
             Act (Alberta) ("ST A") and used but not otherwise defined in this Agreement have the
             same meanings. For greater certainty, the tenns "account", "chattel paper", "document
             of title", "equipment", "goods", '"instrument", "intangible", "investment property",
             "money", "personal property" and "proceeds" have the meanings given to them in the
             PPSA; and the tenns "certificated security", "control", "delivery", "entitlement
             holder", "financial asset", "securities account", "securities intermediary", "security
             entitlement" and "uncertificated security" have the meanings given to them in the ST A
             or the PPSA as applicable.

    (2)      Any reference in any Credit Document to Pennitted Liens and any right of the Obligor to
             create or suffer to exist Pennitted Liens are not intended to and do not and will not
             subordinate the Security Interest to any such Pennitted Lien or give priority to any Person



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             over the Secured Creditors with respect to any such Pennitted Lien.

    (3)      The rules of interpretation specified in Article I of the Credit Agreement shall be
             applicable to this Agreement.

                                             ARTICLE 2
                                         ARTICLE 2 SECURITY

    Section 2.1     Grant of Security.

    (I)      Subject to Section 2.4 and Section 2.5, the Obligor grants to the Agent, for the benefit of
             the Secured Creditors, a security interest in, and assigns, mortgages, charges,
             hypothecates and pledges to the Agent, for the benefit of the Secured Creditors, all of the
             property, assets, effects and undertaking of the Obligor whether now owned or hereafter
             acquired and all of the property, assets, effects and undertaking in which the Obligor now
             has or hereafter acquires any interest (collectively, the "Personal Property Collateral"),
             including all of the Obligor's:

             (a)    present and after-acquired personal property including:

                    (i)     inventory including goods held for sale, lease or resale, goods furnished or
                            to be furnished to third parties under contracts of lease, consignment or
                            service, goods which are raw materials or work in process, goods used in
                            or procured for packing and materials used or consumed in the businesses
                            of the Obligor;


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•                                           (ii)    equipment, machinery, furniture, fixtures, plant, vehicles and other goods
                                                    of every kind and description and all licences and other rights and all
                                                    related records, files, charts, plans, drawings, specifications, manuals and
                                                    documents;

                                            (iii)   accounts due or accruing and all related agreements, books, accounts,
                                                    invoices, letters, documents and papers recording, evidencing or relating
                                                    to them;

                                            (iv)    money, documents of title, chattel paper, financial assets and investment
                                                    property;
    _._~   w.   ~   . ...:!-   ...

                                            (v)     security accounts and all of the credit balances, securities entitlements,
                                                    other financial assets and items or property (or their value) standing to the
                                                    credit from time to time in such securities accounts;

                                            (vi)    Instruments and Securities; and

                                            (vii)   intangibles including all security interests, goodwill, choses in action,
                                                    contracts, contract rights, licenses and other contractual benefits;

                                     (b)    Intellectual Property including the Registrable Intellectual Property;



•                                    (c)



                                     (d)
                                            all substitutions and replacements of and increases, additions and, where
                                            applicable, accessions to the property described in Section 2.1 (a) and Section
                                            2.1(b); and

                                            all proceeds in any form derived directly or indirectly from any dealing with all or
                                            any part of the property described in Section 2. I (a) and Section 2.1(c) inclusive,
                                            including the proceeds of such proceeds.

                (2)                  Subject to Section 2.4 and Section 2.5, the Obligor hereby charges as and by way of a
                                     floating charge in favour of the Agent for the benefit of the Secured Creditors all the
                                     presently owned or held and hereafter acquired property, assets, effects and undertaking
                                     of the Obligor of whatsoever nature and kind and wheresoever situate, other than such of
                                     the Obligor's property, assets, effects and undertakings of the Obligor as are validly and
                                     effectively subjected to the security interest granted to the Agent pursuant to Section
                                     2.1(1) (all of which property, assets, effects and undertakings so charged by this Section
                                     2.1 (2) are herein collectively called the "Other Collateral", and together with the
                                     Personal Property Collateral thc "Collateral") including, without limiting the generality
                                     of the foregoing, all presently owned or held and hereafter acquired right, title and
                                     interest of the Obligor in and to real and immovable and leasehold property and rights
                                     whether in fee or of a less estate and all interest in and rights relating to lands and all
                                     easements, rights of way, privilege, benefits, licences, improvements and rights whether
                                     connected therewith or appurtenant thereto or separately owned or held and all structures,
                                     buildings, plant, machinery, fixtures, apparatus and fixed assets and the charge created by



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                                     this Section 2.1(2) shall be a floating charge such that the Obligor shall not have power
                                     without the prior written consent of the Agent to:


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•            (a)    create or permit to exist any Lien against any of the Other Collateral which ranks
                    or could in any event rank in priority to or pari passu with the security constituted
                    by this Agreement, save for those Liens that are Permitted Liens; or

             (b)    grant, sell, exchange, transfer, assign, lease or otherwise dispose of the Other
                    Collateral, save for Permitted Dispositions.

    Section 2.2     Secured Obligations.

           The security interests, assignments, mortgages, charges, hypothecations and pledges
    granted by the Obligor under this Agreement (collectively, the "Security Interest") secure the
    payment and performance offue following (collectively, the "Secured Obligations"): ,-- - ......• ,~-

             (a)    the Obligations of the Obligor; and

             (b)    all expenses, costs and charges incurred by or on behalf of the Secured Creditors
                    in connection with this Agreement, the Security Interest or the Collateral,
                    including all reasonable legal fees, court costs, receiver's or agent's remuneration
                    and other expenses of taking possession of, repairing, protecting, insuring,
                    preparing for disposition, realizing, collecting, selling, transferring, delivering or
                    obtaining payment for the Collateral, and of taking, defending or participating in
                    any action or proceeding in connection with any of the foregoing matters or




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                    otherwise in connection with the Secured Creditors' interest in any Collateral,
                    whether or not directly relating to the enforcement of this Agreement or any other
                    Credit Document.

    Section 2.3     Attachment.

             The Obligor acknowledges that (i) value has been given, (ii) it has rights in the applicable
    Collateral or the power to transfer rights in the Collateral to the Agent (other than after-acquired
    Collateral), (iii) it has not agreed to postpone the time of attachment of the Security Interest, and
    (iv) it has received a copy of this Agreement.

    Section 2.4     Scope of Security Interest.

    (1)      To the extent that an assignment of amounts payable and other proceeds arising under or
             in connection with, or the grant of a security interest in any agreement, licence, lease,
             permit, instrument or quota of the Obligor would constitute a default under, or a breach
             of, or would result in the termination of, such agreement, licence, lease, permit,
             instrument or quota (each, a "Restricted Asset"), the Security Interest with respect to
             each Restricted Asset will constitute a trust created in favour of the Agent, for the benefit
             of the Secured Creditors, pursuant to which the Obligor holds as trustee all proceeds
             arising under or in connection with the Restricted Asset in trust for the Agent, for the
             benefit of the Secured Creditors, on the following basis:

             (a)    subject to the Credit Agreement, until the Security Interest is enforceable, the
                    Obligor is entitled to receive all such proceeds; and



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•            (b)    whenever the Security Interest is enforceable, (i) all rights of the Obligor to
                    receive such proceeds cease and all such proceeds will be immediately paid over
                    to the Agent for the benefit of the Secured Creditors, and (ii) the Obligor will take
                    all actions requested by the Agent to collect and enforce payment and other rights
                    arising under the Restricted Asset.

    (2)      The Security Interest with respect to trademarks constitutes a security interest in, and a
             charge, hypothecation and pledge of such Collateral in favour of the Agent for the benefit
             of the Secured Creditors, but does not constitute an assignment or mortgage of such
             Collateral to the Agent or any Secured Creditor.

    (3)      Until the Security Interest is' enforceable, :the grant 'of the Security Interest in the
             Intellectual Property does not affect in any way the Obligor's rights to commercially
             exploit the Intellectual Property, defend it, enforce the Obligor's rights in it or with
             respect to it against third parties in any court or claim and be entitled to receive any
             damages with respect to any infringement of it.

    (4)      The Security Interest does not extend to consumer goods,

    (5)      The Security Interest does not extend or apply to the last day of the term of any lease or
             sublease of real property or any agreement for a lease or sublease of real property, now
             held or hereafter acquired by the Obligor, but the Obligor will stand possessed of any



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             such last day upon trust to assign and dispose of it as the Agent may reasonably direct.

    Section 2.5     No Control Agreements.

            Notwithstanding anything to the contrary herein, in no event shall the Obligor or any
    Subsidiary thereof be required to execute control agreements to perfect the security interests
    granted hereunder, including in (i) any deposit, commodity or securities account (including,
    without limitation, securities entitlements and related assets) or (ii) other assets requiring
    perfection through controL

    Section 2.6     Grant of Licence to Use Intellectual Property.

             For the purpose of enabling the Agent, during an Event of Default which is continuing, to
    exercise rights and remedies hereunder, and for no other purposes, the Obligor hereby grants to
    the Agent an irrevocable, non-exclusive license, (exercisable without payments of royalty or
    other compensation to the Obligor) to use, assign, license or sub-license any of the Collateral of
    the Obligor consisting of Intellectual Property in which the Obligor now has or hereafter acquires
    rights, and wherever the same may be located, and including in such license reasonable access to
    all media in which any of the licensed items may be recorded or stored and to all computer
    software and programs used for the compilation or printout thereof. The Agent covenants and
    agrees that it will not exercise its rights under the foregoing license except during the time that it
    shall be lawfully entitled to exercise its rights and remedies hereunder.




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•   Section 2.7

    (I)
                    Care and Custody of Collateral.

             The Agent shall keep the Collateral in its possession identifiable in accordance with its
             customary practice for the Collateral of such type.

    (2)      Without limiting any other rights or remedies under this Agreement, the Agent may upon
             the occurrence and during the continuance of an Event of Default, (i) notify any Person
             obligated on an Instrument, Security or account to make payments to the Agent, whether
             or not the Obligor was previously making collections on such accounts, chattel paper,
             instruments, and (ii) assume control of any proceeds arising from the Collateral.

    (3)     The Agent-has no obligation to collect dividends, distributions or interest·payable·on, or
            exercise any option or right in connection with, any Collateral. The Agent has no
            obligation to protect or preserve any Collateral from depreciating in value or becoming
            worthless and is released from all responsibility for any loss of value. In the physical
            keeping of any Securities, the Agent is only obliged to exercise !be same degree of care
            as it would exercise with respect to its own Securities kept at the same place.

    (4)      The Agent may, upon the occurrence and during the continuance of any Event of Default,
             sell, transfer, use or otherwise deal with any investment property included in the
             Collateral over which the Agent has control, on such conditions and in such manner as
             the Agent in its sole discretion may detennine.




•   Section 2.8

    (I)
                    Rights of the Obligor.

             Until the occurrence of an Event of Default which is continuing, the Obligor is entitled to
             vote the Securities and other financial assets that are part of the Collateral and to receive
             dividends and distributions on such Securities and financial assets, as may be permitted
             by the Credit Agreement. Upon the occurrence and during the continuance of an Event of
             Default, all rights of the Obligor to vote (under any proxy given by the Agent (or its
             nominee) or otherwise) or to receive distributions or dividends cease and all such rights
             become vested solely and absolutely in the Agent.

    (2)      Any distributions or dividends received by the Obligor contrary to Section 2.8(1) or any
             other moneys or property received by the Obligor after the Security Interest is
             enforceable will be received as trustee for the Agent and the Secured Creditors and shall
             be immediately paid over to !be Agent.

                                               ARTICLE 3
                                             ENFORCEMENT

    Section 3.1     Enforcement.

           The Security Interest becomes and is enforceable against the Obligor upon the occurrence
    and during the continuance of an Event of Default.




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    Section 3.2    Remedies.

           Whenever the Security Interest is enforceable, the Agent may realize upon the Collateral
    and enforce the rights of the Agent and the Secured Creditors by:

             (a)   entry onto any premises where Collateral consisting of tangible personal property
                   may be located;

             (b)   entry into possession of the Collateral by any method permitted by law;

             (c)   sale, grant of options to purchase, or lease of all or any part of the Collateral;

             (d)   holding, storing and keeping idle or operating all or any part of the Collateral;

             (e)   exercising and enforcing all rights and remedies of a holder of the Collateral as if
                   the Agent were the absolute owner thereof (including, if necessary, causing the
                   Collateral to be registered in the name of the Agent or its nominee if not already
                   done);

             (I)   collection of any proceeds arising in respect of the Collateral;

             (g)   collection, realization or sale of, or other dealing with, accounts;




•            (h)




             (i)
                   license or sublicense, whether on an exclusive or nonexclusive basis, of any
                   Intellectual Property for such term and on such conditions and in such manner as
                   the Agent in its sole judgment determines (taking into account such provisions as
                   may be necessary to protect and preserve such Intellectual Property);

                   instruction to any bank to transfer all moneys constituting Collateral held by such
                   bank to an account maintained with or by the Agent;

             Ul    application of any moneys constituting Collateral or proceeds thereof                In
                   accordance with this Agreement;

             (k)   appointment by instrument in writing of a receiver (which term as used in this
                   Agreement includes a receiver and manager) or agent of all or any part of the
                   Collateral and removal or replacement from time to time of any receiver or agent;

             (1)   institution of proceedings in any court of competent jurisdiction for the
                   appointment of a receiver of all or any part of the Collateral;

             (m)   institution of proceedings in any court of competent jurisdiction for sale or
                   foreclosure of all or any part of the Collateral;

             (n)   filing of proofs of claim and other documents to establish claims to the Collateral
                   in any proceeding relating to the Obligor; and




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             (0)   any other remedy or proceeding authorized or permitted under the PPSA or
                   otherwise by law or equity.


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•   Section 3.3       Additional Rights.

             In addition to the remedies set forth in Section 3.2 and elsewhere in this Agreement,
    whenever the Security Interest is enforceable, the Agent may:

             (a)      require the Obligor, at the Obligor's expense, to assemble the Collateral at a place
                      or places designated by notice in writing and the Obligor agrees to so assemble
                      the Collateral promptly upon receipt of such notice;

             (b)      require the Obligor, by notice in writing, to disclose to the Agent the location or
                      locations of the Collateral and the Obligor agrees to promptly make such
    o .-",..;,:--.'   disclosure when so required;                                . ,~..
             (c)      repair, process, modify, complete or otherwise deal with the Collateral and
                      prepare for the disposition of the Collateral, whether on the premises of the
                      Obligor or otherwise;

             (d)      redeem any prior security interest against any Collateral, procure the transfer of
                      such security interest to itself, or settle and pass the accounts of the prior
                      mortgagee, chargee or encumbrancer (any accounts to be conclusive and binding
                      on the Obligor absent manifest error and provided the Agent has exercised
                      reasonable diligence in verifying such accounts);



•            (e)


              (I)
                      pay any liability secured by any Lien against any Collateral (all such payments to
                      be added to the Obligations);

                      carry on all or any part of the business of the Obligor and, to the exclusion of all
                      others including the Obligor, enter upon, occupy and use all or any of the
                      premises, buildings, and other property of or used by the Obligor for such time as
                      the Agent sees fit, free of charge, and the Agent and the Secured Creditors are not
                      liable to the Obligor for any act, omission or negligence (other than their own
                      gross negligence or willful misconduct) in so doing or for any rent, charges,
                      depreciation or damages incurred in connection with or resulting from such
                      action;

              (g)     borrow for the purpose of carrying on any of the businesses of the Obligor or for
                      the maintenance, preservation or protection of the Collateral and grant a security
                      interest in the Collateral, whether or not in priority to the Security Interest, to
                      secure repayment;

              (h)     commence, continue or defend any judicial or administrative proceedings for the
                      purpose of protecting, seizing, collecting, realizing or obtaining possession or
                      payment of the Collateral, and give good and valid receipts and discharges in
                      respect of the Collateral and compromise or give time for the payment or
                      performance of all or any part of the accounts or any other obligation of any third
                      party to the Obligor; and




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•            (i)    at any public sale, and to the extent pennitted by law on any private sale, bid for
                    and purchase any or all of the Collateral offered for sale and upon compliance
                    with the tenns of such sale, hold, retain and dispose of such Collateral without
                    any further accountability to the Obligor or any other Person with respect to such
                    holding, retention or disposition, except as required by law. In any such sale to the
                    Agent, the Agent may, for the purpose of making payment for all or any part of
                    the Collateral so purchased, use any claim for Secured Obligations then due and
                    payable to it as a credit against the purchase price.

    Section 3.4     Exercise of Remedies.

           The remedies hereunder including under Section 3.2 and Section 3.3 may, subject to the·····'-" "--
    Applicable Laws to the extent required thereby, be exercised from time to time separately or in
    combination and are in addition to, and not in substitution for, any other rights of the Agent and
    the Secured Creditors however arising or created. The Agent and the Secured Creditors are not
    bound to exercise any right or remedy, and the exercise of rights and remedies is without
    prejudice to the rights of the Agent and the Secured Creditors in respect of the Secured
    Obligations including the right to claim for any deficiency.

    Section 3.5     Receiver's Powers.

    (1)      Any receiver appointed by the Agent is vested with the rights and remedies which could



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             have been exercised by the Agent in respect of the Obligor or the Collateral and such
             other powers and discretions as are granted in the instrument of appointment and any
             supplemental instruments. The identity of the receiver, its replacement and its
             remuneration are within the sole and unfettered discretion of the Agent, provided such
             remuneration is on commercially reasonable tenns.

    (2)      Any receiver appointed by the Agent will act as agent for the Agent for the purposes of
             taking possession of the Collateral, but otherwise and for all other purposes (except as
             provided below), as agent for the Obligor. The receiver may sell, lease, or otherwise
             dispose of Collateral as agent for the Obligor or as agent for the Agent as the Agent may
             detennine in its discretion. The Obligor agrees to ratify and con finn all actions of the
             receiver acting as agent for the Obligor, and to release and indemnify the receiver in
             respect of all such actions.

    (3)      The Agent, in appointing or refraining from appointing any receiver, does not incur
             liability to the receiver, the Obligor or otherwise and is not responsible for any
             misconduct or negligence of such receiver.

    Section 3.6     Appointment of Attorney.

    (I)      The Obligor hereby irrevocably constitutes and appoints the Agent and any officer or
             agent thereof, with full power of substitution, as its true and lawful attorney-in-fact with
             full irrevocable power and authority in the place and stead of the Obligor and in the name
             of the Obligor or in its own name, for the purpose of carrying out the tenns of this



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             Agreement, to take any and all appropriate action and to execute any and all documents
             and instruments which may be necessary or desirable to accomplish the purposes of this


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•            Agreement, and, without limiting the generality of the foregoing, the Obligor hereby
             gives the Agent the power and right, on behalf of the Obligor, without notice to or assent
             by the Obligor, to do any or all of the following:

             (a)    in the name of the Obligor or its own name, or otherwise, take possession of and
                    endorse and collect any cheques, drafts, notes, acceptances or other instruments
                    for the payment of moneys due with respect to any Collateral and file any claim
                    or take any other action or proceeding in any court of law or equity or otherwise
                    deemed appropriate by the Agent for the purpose of collecting any and all such
                    moneys due whenever payable;

             (b)    'in the case of any Intellectual Property,-execute arid deliver, and have recorded,
                     any and all agreements, instruments, documents and papers as the Agent may
                     request to evidence the Agent's and the Secured Creditors' Security Interest in
                     such Intellectual Property and the goodwill and general intangibles of the Obligor
                     relating thereto or represented thereby;

             (c)    payor discharge taxes and Liens levied or placed on or threatened against the
                    Collateral, effect any repairs or any insurance called for by the terms of this
                    Agreement and pay all or any part of the premiums therefor and the costs thereof;

             (d)    execute, in connection with any sale provided for in this Agreement, any



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                    endorsements, assignments or other instruments of conveyance or transfer with
                    respect to the Collateral; and

             (e)    (I) direct any party liable for any payment under any of the Collateral to make
                    payment of any and all moneys due or to become due thereunder directly to the
                    Agent or as the Agent shall direct; (2) ask or demand for, collect, and receive
                    payment of and receipt for, any and all moneys, claims and other amounts due or
                    to become due at any time in respect of or arising out of any Collateral; (3) sign
                    and endorse any invoices, freight or express bills, bills of lading, storage or
                    warehouse receipts, drafts against debtors, assignments, verifications, notices and
                    other documents in connection with any of the Collateral; (4) commence and
                    prosecute any suits, actions or proceedings at law or in equity in any court of
                    competent jurisdiction to collect the Collateral or any portion thereof and to
                    enforce any other right in respect of any Collateral; (5) defend any suit, action or
                    proceeding brought against the Obligor with respect to any Collateral; (6) settle,
                    compromise or adjust any such suit, action or proceeding and, in connection
                    therewith, give such discharges or releases as the Agent may deem appropriate;
                    (7) assign any Intellectual Property (along with the goodwill of the business to
                    which any such Intellectual Property pertains), throughout the world for such term
                    or terms, on such conditions, and in such manner, as the Agent shall in its sole
                    discretion determine; and (8) generally, sell, transfer, pledge and make any
                    agreement with respect to or otherwise deal with any of the Collateral as fully and
                    completely as though the Agent were the absolute owner thereof for all purposes,
                    and do, at the Agent's option and the Obligor's expense, at any time, or from time



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                    to time, all acts and things which the Agent deems necessary to protect, preserve
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•                   or realize upon the Collateral and the Agent's and the Secured Creditors' Security
                    Interests therein and to effect the intent of this Agreement, all as fully and
                    effectively as the Obligor might do.

           Notwithstanding anything to the contrary in this Section 3.6, the Agent agrees that it will
    not exercise any rights under the power of attorney provided for in this Section 3.6 unless an
    Event of Default shall have occurred and be continuing and the Agent shall have given the
    Obligor notice of its intent to exercise the rights under the power of attorney provided for in this
    Section 3.6.

    (2)      If the Obligor fails to perform or comply with any of its agreements contained herein, the
             Agent;- at- its'option, but without any obligation so to do, may perform or 'comply; or
             otherwise cause performance or compliance, with such agreement.

    (3)      The expenses of the Agent incurred in connection with actions undertaken as provided in
             this Section 3.6, together with interest thereon at a rate per annum equal to the highest
             rate per annum at which interest would then be payable on any category of past due
             Canadian Dollar Prime-Based Loans under the Credit Agreement, from the date of
             payment by the Agent to the date reimbursed by the Obligor, shall constitute Obligations
             and shall be payable by the Obligor to the Agent on demand.

    (4)      The Obligor hereby ratifies all that said attorneys shall lawfully do or cause to be done in



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             accordance with the terms hereof. And in accordance with this Section 3.6 all powers,
             authorizations and agencies contained in this Agreement are coupled with an interest and
             are irrevocable until this Agreement is terminated and the Security Interests created
             hereby are released.

    Section 3.7     Dealing with the Collateral.

    (I)      The Agent and the Secured Creditors are not obliged to exhaust their recourse against the
             Obligor or any other Person or against any other security they may hold in respect of the
             Secured Obligations before realizing upon or otherwise dealing with the Collateral in
             such manner as the Agent may consider desirable.

    (2)      The Agent and the Secured Creditors may grant extensions or other indulgences, take and
             give up securities, accept compositions, grant releases and discharges and otherwise deal
             with the Obligor and with other Persons, sureties or securities as they may see fit without
             prejudice to the Secured Obligations, the liability of the Obligor or the rights of the Agent
             and the Secured Creditors in respect of the Collateral.

    (3)      Except as otherwise provided by law or this Agreement, the Agent and the Secured
             Creditors are not (i) liable or accountable for any failure to collect, realize or obtain
             payment in respect of the Collateral, (ii) bound to institute proceedings for the purpose of
             collecting, enforcing, realizing or obtaining payment of the Collateral or for the purpose
             of preserving any rights of any Persons in respect of the Collateral, (iii) responsible for
             any loss occasioned by any sale or other dealing with the Collateral in accordance with



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             the terms hereof or by the retention of or failure to sell or otherwise deal with the
             Collateral, or (iv) bound to protect the Collateral from depreciating in value or becoming


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•            worthless. Notwithstanding the foregoing, the Agent and the Secured Creditors shall be
             responsible to the Obligor for gross negligence or willful misconduct.

    Section 3.8     Standards of Sale.

           Without prejudice to the ability of the Agent to dispose of the Collateral in any manner
    which is commercially reasonable, and subject always to the provisions of the PPSA, the Obligor
    acknowledges that:

             (a)    the Collateral may be disposed of in whole or in part;

             (b)    the Collateral may be .. disposed, oLby public auction, public tender or private         .. -   -   ...   -   ....
                    contract, with or without advertising and without any other formality;

             (c)    any assignee of such Collateral may be the Agent, a Secured Creditor or a
                    customer of any such Person;

             (d)    any sale conducted by the Agent will be at such time and place, on such notice
                    and in accordance with such procedures as the Agent, in its sole discretion, may
                    deem advantageous;

             (e)    the Collateral may be disposed of in any manner and on any terms necessary to
                    avoid violation of Applicable Law (including compliance with such procedures as


•                   may restrict the number of prospective bidders and purchasers, require that the
                    prospective bidders and purchasers have certain qualifications, and restrict the
                    prospective bidders and purchasers to Persons who will represent and agree that
                    they are purchasing for their own account for investment and not with a view to
                    the distribution or resale of the Collateral) or in order to obtain any required
                    approval of the disposition (or of the resulting purchase) by any governmental or
                    regulatory authority or official;

             (I)    a disposition of the Collateral may be on such terms and conditions as to credit or
                    otherwise as the Agent, in its sole discretion, may deem advantageous; and

             (g)    the Agent may establish an upset or reserve bid or price in respect of the
                    Collateral.

    Section 3.9     Dealings by Third Parties.

    (I)      No Person dealing with the Agent, any of the Secured Creditors or an agent or receiver is
             required to determine (i) whether the Security Interest has become enforceable, (ii)
             whether the powers which such Person is purporting to exercise have become
             exercisable, (iii) whether any money remains due to the Agent or the Secured Creditors
             by the Obligor, (iv) the necessity or expediency of the stipulations and conditions subject
             to which any sale or lease of Collateral is made, (v) the propriety or regularity of any sale
             or other dealing by the Agent or any Secured Creditor with the Collateral, or (vi) how any
             money paid to the Agent or the Secured Creditors have been applied.



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•     (2)      Any bona fide purchaser of all or any part of the Collateral from the Agent or any
               receiver or agent will hold the Collateral absolutely, free from any claim or right of
               whatever kind, including any equity, of redemption, of the Obligor, which each the
               Obligor specifically waives (to the fullest extent permitted by law) as against any such
               purchaser together with all rights of redemption, stay or appraisal which the Obligor has
               or may have under any rule of law or statute now existing or hereafter adopted,

      Section 3.10 Proceeds to be Turned Over to Agent

                 If an Event of Default shall occur and be continuing, all proceeds received by the Obligor
        consisting of cash, cheques and other near-cash items shall be held by the Obligor in trust for the
    .... Agem-antt'the Secured Creditors and shall, forthwith upon receipt by the·8bligm-;'he turned over'
         to the Agent in the exact form received by the Obligor (duly endorsed by the Obligor to the
         Agent, if required). All proceeds received by the Agent hereunder shall be held by the Agent in
         a collateral account maintained under its sole dominion and control. All proceeds while held by
         the Agent in a collateral account (or by the Obligor in trust for the Agent and the Secured
         Creditors) shall continue to be held as collateral security for all the Obligations and shall not
         constitute payment thereof until applied thereto as provided in Section 3.11.

      Section 3.11 Application of Proceeds

              At such intervals as may be agreed upon by the Obligor and the Agent, or, if an Event of



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      Default shall have occurred and be continuing, at any time at the Agent's election, the Agent
      may apply all or any part of proceeds constituting Collateral and any proceeds of and distribution
      in respect of Collateral in payment of the Obligations as provided in the Credit Agreement.

                                        ARTICLE 4
                       REPRESENTATIONS, WARRANTIES AND COVENANTS

      Section 4.1     General Representations, Warranties and Covenants.

             The Obligor represents and warrants and covenants and agrees, acknowledging and
      confirming that the Agent and each Secured Creditor is relying on such representations,
      warranties, covenants and agreements, that:

               (a)    Obligor's Legal Status. On, the date hereof, the Obligor's legal name,
                      jurisdiction of organization or formation (as applicable), the location of the
                      Obligor's chief executive office, the location of the Obligor's business and assets,
                      as the case may be, are specified on Schedule A, as such Schedule may be
                      amended, supplemented or modified from time to time. The Obligor has
                      delivered to the Agent a certified charter, certificate of incorporation, partnership
                      agreement or other organization document and good standing certificate (or
                      equivalent thereto) as of a date which is recent to the date hereof.

               (b)    Title to Collateral. Except for the Security Interest granted to the Agent for the
                      benefit of the Secured Creditors pursuant to this Agreement and the other
                      Permitted Liens, the Obligor owns each item of the Collateral free and clear of


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                      any and all Liens or claims of others excepting Permitted Liens. For the
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•                  avoidance of doubt, it is understood and agreed that the Obligor may, as part of its
                   business, grant licenses to third parties to use intellectual Property owned or
                   developed by the Obligor to the extent permitted by the Credit Agreement. Each
                   of the Agent and each Secured Creditor understands that any such licenses may be
                   exclusive to the applicable licensees, and such exclusivity provisions may, to the
                   extent such licenses are Permitted Liens, limit the ability of the Agent to utilize,
                   license free of such license rights.

             (c)   Validitv of Security Interest. The Security interest (a) will constitute valid
                   perfected Security Interests in respect of all Collateral in which the Security
                   Interest may be perfected by filing, recording or registration in the province of
                   Alberta, in' each"casI:m favor of tlie Agent, for the benefit of the Secured           .~--"~"-

                   Creditors, as collateral security for the Obligor's Obligations, enforceable in
                   accordance with the terms hereof against all creditors of the Obligor and any
                   Persons purporting to purchase any Collateral from the Obligor and (b) are prior
                   to all other Liens on the Collateral in existence on the date hereof except for (x)
                   unrecorded Permitted Liens which have priority over the Liens on the Collateral
                   by operation of law and (y) Liens expressly permitted by the Credit Agreement to
                   be prior to the Security Interest granted pursuant to the terms hereof.

                                              ARTICLE 5
                                             COVENANTS



•         The Obligor covenants and agrees with the Agent, that, from and after the date of this
    Agreement until the Obligations shall have been paid in full:

    Section 5.1    Changes in Name, etc.

            The Obligor will not, except upon 30 days' prior written notice to the Agent and delivery
    to the Agent of all additional financing statements and executed documents reasonably requested
    by the Agent to maintain the validity, perfection and priority of the Security Interests provided
    for herein, (i) change the location of its chief executive office or sole place of business or (ii)
    change its name.

    Section 5.2    Title to Collateral

            The Obligor shall maintain the Security Interest created by this Agreement as a perfected
    Security Interest and shall defend such Security Interest against the claims and demands of all
    Persons whomsoever, subject to the rights of the Obligor under the Credit Agreement to dispose
    of the Collateral.

    Section 5.3    Other Action as to Collateral

             (a)   The Obligor will furnish to the Agent from time to time statements and schedules
                   further identifying and describing the assets and property of the Obligor and such
                   other reports in connection therewith as the Agent may reasonably request, all in
                   reasonable detail,


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•            (b)   without limiting the foregoing, within 15 days of a request therefor by the Agent
                   and only during the continuance of a Default or Event of Default, the Obligor will
                   furnish to the Agent (i) a listing of each of the "serial number goods" which fonn
                   part of the Collateral (as defined in the PPSA) together with the location of such
                   serial number goods and (ii) the legal descriptions of any Lands which fonn part
                   of the Collateral.

             (c)   At any time and from time to time, upon the written request of the Agent, and at
                   the sole expense of the Obligor, the Obligor will promptly and duly execute and
                   deliver, and have recorded, such further instruments and documents and take such
                   further actions as the Agent may reasonably request for the purpose of obtaining
                   or preserving the full benefits of this Agreement -and of the rights and powers
                   herein granted, including, without limitation, filing any financing or continuation
                   statements under the PPSA (or other similar laws) in effect in any jurisdiction
                   with respect to the Security Interests created hereby.

    Section 5.4    Intellectual Property

             (a)   Except with respect to any patent, trademark or copyright pennitted to be
                   abandoned under the Credit Agreement, the Obligor shall notify the Agent
                   immediately if it knows or has reason to know that any application or registration
                   relating to any material patent, trademark or copyright of the Obligor may become



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                   abandoned, or dedicated to the public domain, or of any adverse detennination or
                   development regarding the Obligor's ownership of any patent, trademark or
                   copyright, its right to register the same, or to keep and maintain the same, except
                   in each case, to the extent it would not reasonably be expected to result in a
                   Material Adverse Effect.

             (b)   Whenever the Obligor, either by itself or through any agent, employee, licensee or
                   designee, shall file an application for the registration of or acquire any interests in
                   any material patent, trademark or copyright with CIPO or any similar office or
                   agency of any jurisdiction, the Obligor shall report such filing to the Agent within
                   ten (10) Business Days after the last day of the fiscal quarter in which such filing
                   occurs, and, upon request of the Agent, the Obligor shall execute and deliver any
                   and all agreements relating to patent, trademark or copyright as the Agent may
                   request to evidence the Agent's Security Interest in such patent, trademark or
                   copyright, and the general intangibles of the Obligor relating thereto or
                   represented thereby. For the avoidance of doubt, the provisions hereof shall
                   automatically apply to any such patent, trademark or copyright acquired after the
                   date hereof and such patent, trademark or copyright shall automatically constitute
                   Collateral as if such would have constituted Collateral at the time of execution
                   hereof and be subject to the Lien and security interest created by this Agreement
                   without further action by any party.

             (c)   Except with respect to any copyright pennitted to be abandoned under the Credit
                   Agreement, the Obligor shall take all actions necessary or reasonably requested



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                   by the Agent to maintain and pursue each application, to obtain the relevant
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•            (d)
                   registration and to maintain the registration of each material copyright, including
                   the filing of applications for renewal.

                   Except with respect to any patent or trademark permitted to be abandoned under
                   the Credit Agreement, the Obligor shall take all actions necessary or reasonably
                   requested by the Agent to maintain and pursue each application, to obtain the
                   relevant registration and to maintain the registration of each material patent or
                   trademark, including the filing of applications for renewal, affidavits of use and
                   affidavits of non-contestability and the payment of maintenance fees.

             (e)   In the event that any material patents, trademarks or copyrights is infringed upon,
                   or misappropriated, diluted or otherwise violated by a third party, the0bligor--
                   shall (i) notify the Agent promptly after the Obligor learns thereof and (ii) take
                   such actions as the Obligor shall reasonably deem appropriate under the
                   circumstances to protect such patent, trademark or copyright, stop the
                   infringement and obtain damages.

             (I)   Except with respect to any copyright, trademark or patent not required to be
                   maintained or permitted to be abandoned under the Credit Agreement, the Obligor
                   (either itself or through its permitted licensees) will not take or knowingly omit to
                   take any action whereby any material copyright, trademark or patent could
                   reasonably be expected to become abandoned, dedicated or invalidated or



•                  whereby the remedies in respect of such copyright, trademark or patent with
                   respect to potential infringers could reasonably be expected to become weakened.

             (g)   The Obligor (either itself or through licensee) will not knowingly do any act that
                   uses any Intellectual Property to infringe the intellectual property rights of any
                   other Person which would reasonably be likely to have a Material Adverse Effect.

    Section 5.5    Insurance.

            All property damage insurance maintained on any portion of the Collateral of the Obligor
    shall name the Agent as lender's loss payee, and all liability insurance maintained in respect of
    any portion of the Collateral of the Obligor shall name the Agent as an additional insured. The
    Obligor shall furnish the Agent with certificates of insurance evidencing compliance with the
    foregoing insurance provision.

                                              ARTICLE 6
                                              GENERAL

    Section 6.1    Notices.

           All notices, requests and demands to or upon the Agent or the Obligor under this
    Agreement shall be in writing and delivered to the addressee by prepaid private courier or sent
    by facsimile to the applicable address and to the attention of the officer of the addressee as
    follows:




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•            To the Obligor:

             1356760 Alberta Ltd.
             407 2nd St. SW, Ste. 1700
             Calgary, Alberta T2P 2Y3

             Attention:      Mark Roberts, Chief Financial Officer
             Fax No.:        (403) 269-2251

             To the Agent:

             HSBC Bank Canada, as Agent
             7th Floor, 70 York Street
             Toronto, Ontario M5J I S9

             Attention:      Manager Agency
             Fax No.:        (647) 788-2185

    Any communication transmitted by prepaid private courier shall be deemed to have been validly
    and effectively given or delivered on the Business Day after which it is submitted for delivery.
    Any communication transmitted by facsimile ·shall be deemed to have been validly and
    effectively given or delivered on the day on which it is transmitted, if transmitted on a Business
    Day on or before 5:00 p.m. (local time of the intended recipient), and otherwise on the next


•   following Business Day. The Agent or the Obligor may change its respective address for service
    or other notices, including electronic communications, by notice given in the foregoing manner.

    Section 6.2     Discharge.

            The Security Interest will be discharged upon, but only upon, full and indefeasible
    payment and performance of the Secured Obligations. Upon the discharge of the Secured
    Obligations and at the request and expense of the Obligor, the Agent will execute and deliver to
    the Obligor such releases, discharges, financing statements and other documents or instruments
    as the Obligor may reasonably require and the Agent will promptly redeliver to the Obligor, or as
    the Obligor may otherwise direct the Agent, any Collateral in its possession.

            If any of the Collateral shall be sold, transferred or otherwise disposed of by the Obligor
    in a transaction permitted by the Credit Agreement then the Agent, at the request and sole
    expense of the Obligor, shall promptly execute and deliver to the Obligor all releases or other
    documents necessary or reasonably desirable for the release of the Liens created by such
    Collateral.

    Section 6.3     No Merger.

            This Agreement does not operate by way of merger of any of the Secured Obligations
    and no judgment recovered by the Agent or any of the Secured Creditors will operate by way of
    merger of, or in any way affect, the Security Interest, which is in addition to, and not in
    substitution for, any other security now or hereafter held by the Agent and the Secured Creditors



•   in respect of the Secured Obligations. The representations, warranties and covenants of the


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•   Obligor in this Agreement survive the execution and delivery of this Agreement and any
    advances under the Credit Agreement. Notwithstanding any investigation made by or on behalf
    of the Agent or the Secured Creditors these covenants, representations and warranties continue in
    full force and effect until this Agreement shall terminate (or thereafter to the extent provided
    therein).

    Section 6.4     Further Assurances.

            The Obligor will do all acts and things and execute and deliver, or cause to be executed
    and delivered, all agreements, documents and instruments that the Agent may reasonably require
    and take all further steps relating to the Collateral or any other property or assets of the Obligor
    that·the-Agent·may reasonably require for (i) protecting the Collateral;(ii) perfecting;preserving
    and protecting the Security Interest, and (iii) exercising all powers, authorities and discretions
    conferred upon the Collateral Agent. Whenever the Security Interest is enforceable, the Obligor
    will do all acts and things and execute and deliver all documents and instruments that the
    Collateral Agent may reasonably require for facilitating the sale or other disposition of the
    Collateral in connection with its realization.

    Section 6.5     Supplemental Security.

            This Agreement is in addition to, without prejudice to and supplemental to all other
    security now held or which may hereafter be held by the Agent or the Secured Creditors.



•   Section 6.6     Successors and Assigns.

            This Agreement is binding on the Obligor and its successors and permitted assigns, and
    enures to the benefit of the Agent, the Secured Creditors and their respective successors and
    permitted assigns. This Agreement may be assigned by the Agent in accordance with the Credit
    Agreement and, in such event, any such assignee will be entitled to all of the rights and remedies
    of the Agent as set forth in this Agreement or otherwise. In any action brought by an assignee to
    enforce any such right or remedy, the Obligor will not assert against the assignee any claim or
    defence which the Obligor now has or may have against the Agent or any of the Secured
    Creditors. The Obligor may not assign, transfer or delegate any of its rights or obligations under
    this Agreement without the prior written consent of the Agent which may be unreasonably
    withheld.

    Section 6.7     Enforcement Expenses; Indemnification

    (I)      The Obligor agrees to payor reimburse each Secured Creditor and the Agent for all its
             costs and expenses incurred in enforcing or preserving any rights under this Agreement
             and the other Credit Documents to which the Obligor is a party, including, without
             limitation, the reasonable fees and disbursements of a single outside counsel to the Agent
             in each relevant jurisdiction.

    (2)      The Obligor agrees to pay, and to save the Agent and the Secured Creditors harmless
             from, any and all liabilities with respect to, or resulting from any delay in paying, any and
             all stamp, excise, sales or other taxes which may be payable or determined to be payable


•            with respect to any of the Collateral or in connection with any of the transactions


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•   (3)
             contemplated by this Agreement, in each case to the extent the Obligor would be required
             to do so pursuant to the Credit Agreement.

             The Obligor agrees to pay, and to save the Agent and the Secured Creditors harmless
             from, any and all liabilities, obligations, losses, damages, penalties, actions, judgments,
             suits, costs, expenses or disbursements of any kind or nature whatsoever with respect to
             the execution, delivery, enforcement, performance and administration of this Agreement
             to the extent the Obligor would be required to do so pursuant the Credit Agreement.

    (4)      The agreements in this Section 6.7 shall survive repayment of the Obligations and all
             other amounts payable under the Credit Agreement and the other Credit Documents.

    Section 6.8     Set-Off

             In addition to any rights and remedies of the Secured Creditors provided by law, each
    Secured Creditor shall have the right, without notice to the Obligor, any such notice being
    expressly waived by the Obligor to the extent permitted by Applicable Law, upon the
    Obligations becoming due and payable by the Obligor (whether at the stated maturity, by
    acceleration or otherwise), to apply to the payment of such Obligations, by setoff or otherwise,
    any and all deposits (general or special, time or demand, provisional or final), in any currency,
    and any other credits, indebtedness or claims, in any currency, in each case whether direct or
    indirect, absolute or contingent, matured or unmatured, at any time held or owing by such



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    Secured Creditor, any affiliate thereof or any of their respective branches or agencies to or for
    the credit or the account of the Obligor. Each Secured Creditor agrees promptly to notify the
    Obligor and the Agent after any such application made by such Secured Creditor; provided that
    the failure to give such notice shall not affect the validity of such application.

    Section 6.9     Severability.

           If any court of competent jurisdiction from which no appeal exists or is taken, determines
    any provision of this Agreement to be illegal, invalid or unenforceable, that provision will be
    severed from this Agreement and the remaining provisions will remain in full force and effect.

    Section 6.10 Amendment.

          This Agreement may only be amended, supplemented or otherwise modified by written
    agreement executed by the Agent and the Obligor.

    Section 6.11    Waivers, etc.

    (I)      No consent or waiver by the Agent or the Secured Creditors in respect of this Agreement
             is binding unless made in writing and signed by an authorized officer of the Agent. Any
             consent or waiver given under this Agreement is effective only in the specific instance
             and for the specific purpose for which given. No waiver of any of the provisions of this
             Agreement constitutes a waiver of any other provision.

    (2)      A failure or delay on the part of the Agent or the Secured Creditors in exercising a right



•            under this Agreement does not operate as a waiver of, or impair, any right of the Agent or


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•            the Secured Creditors however arising. A single or partial exercise of a right on the part
             of the Agent or the Secured Creditors does not preclude any other or further exercise of
             that right or the exercise of any other right by the Agent or the Secured Creditors.

    Section 6.12 Conflict.

             In the event of a direct conflict or inconsistency between the terms and prOVlSlons
    contained in this Agreement and the terms and provisions contained in the Credit Agreement, it
    is the intentions of the parties hereto that such terms and provisions in such documents shall be
    read together and construed, to the fullest extent possible, to be in concert with each other. In the
    event of any actual, irreconcilable conflict or inconsistency that cannot be resolved as aforesaid,
    the "terms and provisions of the Credit Agreement shall control and govern. In addition, to the'
    extent that, under the Credit Agreement, the Obligor is permitted to undertake any act or granted
    any entitlement, the provisions of this Agreement shall be deemed to preserve such permission or
    entitlement notwithstanding anything to the contrary herein.

    Section 6.13 Governing Law.

           This Agreement will be governed by, interpreted and enforced in accordance with the
    laws of the Province of Alberta and the federal laws of Canada applicable therein.

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•     IN WITNESS WHEREOF the Obligor has executed this Agreement.



                                               1356760 ALBERTA LTD.



                                               Per:
                                                      Name: Mark Roberts
                                                      Title: Chief Financial Officer




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•              [Signature Page to General Security Agreement - 1356760 Alberta Ltd]
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•   Legal Name
                                        SCHEDULE "A"

                           Jurisdiction of
                           Incorporation or
                           Formation
                                                Location of Chief Executive
                                                Office
                                                                              Location of Business and
                                                                              Assets


    1356760 Alberta Ltd.   Alberta              407 2nd St. NW, Ste. 1700     Alberta
                                                Calgary, Alberta T2P 2Y3




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                   THIS IS EXHIBIT”________
                      rfrred to in the Aivit of
                      (_ Ov JTh’
                   Sworn before me this              /
                   dayof                  A.D.2O



                             Jonathan Tomm
                           Barrister and Solicitor
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•
                         Q'MAX SOLUTIONS HOLDINGS INC.

                                      as Obligor

                                         and

                               HSBC BANK CANADA

                                as Administrative Agent




                              SECURITY AGREEMENT
                                     May 23, 2014




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•                                       SECURITY AGREEMENT

           Security Agreement dated as of May 23, 2014 (the "Agreement") made by Q'Max
    Solutions Holdings Inc. (the "Obligor"), to and in favour of HSBC Bank Canada, as Agent for
    the benefit of the Secured Creditors.

            WHEREAS, pursuant to, and subject to the terms and conditions of, a Credit Agreement
    dated as of the date hereof (as amended, supplemented or restated from time to time, the "Credit
    Agreement") among Fluid Acquisition Corp. and Q'Max America Inc., as borrowers, HSBC
    Bank Canada and those other financial institutions who from time to time become parties thereto as
    lenders (collectively, the "Lenders") and HSBC Bank Canada, as administrative agent for the
    Lenders (in such capacity together with its successors and assigns in such capacity, the "Agent")
    the Lenders agreed to make certain credit facilities available to the Borrowers;

            AND WHEREAS, the obligations of the Lenders to make available certain Advances
    pursuant to the Credit Agreement and the entry into Hedging Agreements by the Hedge Providers and
    the entry into the Banking Services Agreements by the Agent and the Affiliates of the Agent or a Lender
    from time to time are conditioned upon the execution and delivery by the Obligor of a security
    agreement in favour of the Agent, on behalf of the Secured Creditors, in the form hereof, to
    secure all of the Obligations;

            NOW, THEREFORE, in consideration of the premises and for other good and valuable



•   consideration the receipt and sufficiency of which are hereby acknowledged, the parties hereto
    agree as follows:

                                              ARTICLE 1
                                           INTERPRETATION

    Section 1.1    Defined Terms.

    As used in this Agreement, the following terms have the following meanings:

    "Agreement" means this security agreement as may be amended, supplemented or otherwise
    modified from time to time.

    "CIPO" means the Canadian Intellectual Property Office.

    "Collateral" has the meaning specified in Section 2.1 of this Agreement.

    "Credit Agreement" shall have the meaning attributed to such term in the Preamble of this
    Agreement.

    "Instruments" means (i) a bill, note or cheque within the meaning of the Bills of Exchange Act
    (Canada) or any other writing that evidences a right to the payment of money and is of a type
    that in the ordinary course of business is transferred by delivery with any necessary endorsement
    or assignment, or (ii) a letter of credit and an advice of credit if the letter or advice states that it
    must be surrendered upon claiming payment thereunder, or (iii) chattel paper or any other



•   writing that evidences both a monetary obligation and a security interest in or a lease of specific

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    goods, or (iv) documents of title or any other writing that purports to be issued by or addressed to
    a bailee and purports to cover such goods in the bailee's possession as are identified or fungible
    portions of an identified mass, and that in the ordinary course of business is treated as
    establishing that the Person in possession of it is entitled to receive, hold and dispose of the
    document and the goods it covers, or (v) any document or writing commonly known as an
    instrument, but excludes investment property.

      "Intellectual Property" means domestic and foreign: (i) patents, applications for patents and
      reissues, divisions, continuations, renewals, extensions and continuations-in-part of patents or
      patent applications; (ii) proprietary and nonpublic business information, including inventions
      (whether patentable or not), invention disclosures, improvements, discoveries, trade secrets,
      confidential information, know-how, methods, processes, designs, technology, technical data;
      schematics, formulae and customer lists, and documentation relating to any of the foregoing; (iii)
      copyrights, copyright registrations and applications for copyright registration; (iv) mask works,
      mask work registrations and applications for mask work registrations; (v) designs, design
      registrations, design registration applications and integrated circuit topographies; (vi) trade
      names, business names, corporate names, domain names, website names and world wide web
      addresses, common law trade-marks, service marks, certification marks, trade dress, logos,
      applications, registrations and renewals for any of the foregoing and the goodwill connected with
      the use of and symbolized by any of the foregoing; (vii) computer software and programs (both
      source code and object code form), all proprietary rights in the computer software and programs
      and all documentation and other materials related to the computer software and programs; (viii)
      any other intellectual property and industrial property; (ix) income, fees, royalties, damages,
I     claims and payments for past, present, or future infringements, dilutions or other violations
      thereof; (x) rights corresponding thereto throughout the world; and (xi) rights to sue for past,
    . present or future infringements, dilutions or other violations thereof.

    "Obligations" means, in respect of the Obligor, the Obligations (as such term is defined in the
    Credit Agreement) of such Obligor.

    "Obligor" shall have the meaning attributed to such term in the Preamble of this Agreement.

    "PPSA" means the Personal Property Security Act (Alberta) and the regulations promulgated
    thereunder and other applicable personal property security legislation of the applicable Canadian
    province or provinces (including the Civil Code of Quebec and the regulations respecting the
    register of personal and movable real rights promulgated thereunder) as all such legislation now
    exists or may from time to time hereafter be amended, modified, recodified, supplemented or
    replaced, together with all rules, regulations and interpretations thereunder or related thereto.

    "Registrable Intellectual Property" means any Intellectual Property in respect of which
    ownership, title, security interests, charges or encumbrances are capable of registration,
    recording or notation with any Governmental Authority pursuant to Applicable Laws.

    "Restricted Asset" has the meaning specified in Section 2.4(1) of this Agreement.

    "Secured Creditors" means, collectively, the Agent, the Lenders, the Hedge Providers and



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    counterparties providing services pursuant to the Banking Services Agreements .



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I   "Secured Obligations" has the meaning specified in Section 2.2 of this Agreement.

    "Securities" means securities as defined in the Securities Transfer Act (Alberta).

    "Security Interest" has the meaning specified in Section 2.2

    Section 1.2     Interpretation.

    (I)      Capitalized terms used in this Agreement but not defined have the meanings given to
             them in the Credit Agreement. Terms defined in the PPSA and the Securities Transfer
             Act (Alberta) ("ST A") and used but not otherwise defined in this Agreement have the
             same meanings. Eor l,'feater certainty, the terms "account", "chattel paper", "document: _
             of title", "equipment", Hgoods", "instrument", "intangible", "investment property",           -"
             "money", "personal property" and "proceeds" have the meanings given to them in the
             PPSA; and the terms "certificated security", "control", "delivery", "entitlement
             holder", "financial asset", "securities account", "securities intermediary", "security
             entitlement" and "uncertificated security" have the meanings given to them in the STA
             or the PPSA as applicable.

    (2)      Any reference in any Credit Document to Permitted Liens and any right of the Obligor to
             create or suffer to exist Permitted Liens are not intended to and do not and will not
             subordinate the Security Interest to any such Permitted Lien or give priority to any Person



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             over the Secured Creditors with respect to any such Permitted Lien .

    (3)      The rules of interpretation specified in Article I of the Credit Agreement shall be
             applicable to this Agreement.

                                             ARTICLE 2
                                         ARTICLE 2 SECURITY

    Section 2.1     Grant of Security.

    (I)      Subject to Section 2.4 and Section 2.5, the Obligor grants to the Agent, for the benefit of
             the Secured Creditors, a security interest in, and assigns, mortgages, charges,
             hypothecates and pledges to the Agent, for the benefit of the Secured Creditors, all of the
             property, assets, effects and undertaking of the Obligor whether now owned or hereafter
             acquired and all of the property, assets, effects and undertaking in which the Obligor now
             has or hereafter acquires any interest (collectively, the "Personal Property Collateral"),
             including all of the Obligor's:

             (a)    present and after-acquired personal property including:

                    (i)     inventory including goods held for sale, lease or resale, goods furnished or
                            to be furnished to third parties under contracts oflease, consignment or
                            service, goods which are raw materials or work in process, goods used in
                            or procured for packing and materials used or consumed in the businesses
                            of the Obligor;

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                    (ii)    equipment, machinery, furniture, fixtures, plant, vehicles and other goods
                            of every kind and description and all licences and other rights and all
                            related records, files, charts, plans, drawings, specifications, manuals and
                            documents;

                    (iii)   accounts due or accruing and all related agreements, books, accounts,
                            invoices, letters, documents and papers recording, evidencing or relating
                            to them;

                    (iv)    money, documents of title, chattel paper, financial assets and investment
                            property;

                    (v)     security accounts and all of the credit balances, securities entitlements,
                            other financial assets and items or property (or their value) standing to the
                            credit from time to time in such securities accounts;

                    (vi)    Instruments and Securities; and

                    (vii)   intangibles including all security interests, goodwill, choses in action,
                            contracts, contract rights, licenses and other contractual benefits;

             (b)    Intellectual Property including the Registrable Intellectual Property;



•            (c)



             (d)
                    all substitutions and replacements of and increases, additions and, where
                    applicable, accessions to the property described in Section 2.I(a) and Section
                    2.I(b); and

                    all proceeds in any form derived directly or indirectly from any dealing with all or
                    any part of the property described in Section 2.I(a) and Section 2.1(c) inclusive,
                    including the proceeds of such proceeds.

    (2)      Subject to Section 2.4 and Section 2.5, the Obligor hereby charges as and by way of a
             floating charge in favour of the Agent for the benefit of the Secured Creditors all the
             presently owned or held and hereafter acquired property, assets, effects and undertaking
             of the Obligor of whatsoever nature and kind and wheresoever situate, other than such of
             the Obligor's property, assets, effects and undertakings of the Obligor as are validly and
             effectively subjected to the security interest granted to the Agent pursuant to Section
             2.1 (I) (all of which property, assets, effects and undertakings so charged by this Section
             2.1(2) are herein collectively called the "Other Collateral", and together with the
             Personal Property Collateral the "Collateral") including, without limiting the generality
             of the foregoing, all presently owned or held and hereafter acquired right, title and
             interest of the Obligor in and to real and immovable and leasehold property and rights
             whether in fee or of a less estate and all interest in and rights relating to lands and all
             easements, rights of way, privilege, benefits, licences, improvements and rights whether
             connected therewith or appurtenant thereto or separately owned or held and all structures,
             buildings, plant, machinery, fixtures, apparatus and fixed assets and the charge created by



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             this Section 2.1(2) shall be a floating charge such that the Obligor shall not have power
             without the prior written consent of the Agent to:


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             (a)    create or penn it to exist any Lien against any of the Other Collateral which ranks
                    or could in any event rank in priority to or pari passu with the security constituted
                    by this Agreement, save for those Liens that are Pennitted Liens; or

             (b)    grant, sell, exchange, transfer, assign, lease or otherwise dispose of the Other
                    Collateral, save for Pennitted Dispositions.

    Section 2.2     Secured Obligations.

           The security interests, assignments, mortgages, charges, hypothecations and pledges
    granted by the Obligor under this Agreement (collectively, the "Security Interest") secure the
    payment andperfonnance of the following (collectively, the "Secured Obligations'.');· '.,.~" .•.

             (a)    the Obligations of the Obligor; and

             (b)    all expenses, costs and charges incurred by or on behalf of the Secured Creditors
                    in connection with this Agreement, the Security Interest or the Collateral,
                    including all reasonable legal fees, court costs, receiver's or agent's remuneration
                    and other expenses of taking possession of, repairing, protecting, insuring,
                    preparing for disposition, realizing, collecting, selling, transferring, delivering or
                    obtaining payment for the Collateral, and of taking, defending or participating in
                    any action or proceeding in connection with any of the foregoing matters or



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                    otherwise in connection with the Secured Creditors' interest in any Collateral,
                    whether or not directly relating to the enforcement of this Agreement or any other
                    Credit Document.

    Section 2.3     Attachment.

             The Obligor acknowledges that (i) value has been given, (ii) it has rights in the applicable
    Collateral or the power to transfer rights in the Collateral to the Agent (other than after-acquired
    Collateral), (iii) it has not agreed to postpone the time of attachment of the Security Interest, and
    (iv) it has received a copy of this Agreement.

    Section 2.4     Scope of Security Interest.

    (I)      To the extent that an assignment of amounts payable and other proceeds arising. under or
             in connection with, or the grant of a security interest in any agreement, licence, lease,
             pennit, instrument or quota of the Obligor would constitute a default under, or a breach
             of, or would result in the tennination of, such agreement, licence, lease, pennit,
             instrument or quota (each, a "Restricted Asset"), the Security Interest with respect to
             each Restricted Asset will constitute a trust created in favour of the Agent, for the benefit
             of the Secured Creditors, pursuant to which the Obligor holds as trustee all proceeds
             arising under or in connection with the Restricted Asset in trust for the Agent, for the
             benefit of the Secured Creditors, on the following basis:

             (a)    subject to the Credit Agreement, until the Security Interest is enforceable, the




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                    Obligor is entitled to receive all such proceeds; and



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             (b)    whenever the Security Interest is enforceable, (i) all rights of the Obligor to
                    receive such proceeds cease and all such proceeds will be immediately paid over
                    to the Agent for the benefit of the Secured Creditors, and (ii) the Obligor will take
                    all actions requested by the Agent to collect and enforce payment and other rights
                    arising under the Restricted Asset.

    (2)      The Security Interest with respect to trademarks constitutes a security interest in, and a
             charge, hypothecation and pledge of such Collateral in favour of the Agent for the benefit
             of the Secured Creditors, but does not constitute an assignment or mortgage of such
             Collateral to the Agent or any Secured Creditor.

    (3)      Until the Security Interest-'is; e"nfarccable, the grant of the Security Interest" in' the      .-   .~   .
                                                                                                                       ~'   .. ;:..
             Intellectual Property does not affect in any way the Obligor's rights to commercially
             exploit the Intellectual Property, defend it, enforce the Obligor's rights in it or with
             respect to it against third parties in any court or claim and be entitled to receive any
             damages with respect to any infringement of it.

    (4)      The Security Interest does not extend to consumer goods.

    (5)      The Security Interest does not extend or apply to the last day of the term of any lease or
             sublease of real property or any agreement for a lease or sublease of real property, now
             held or hereafter acquired by the Obligor, but the Obligor will stand possessed of any



•            such last day upon trust to assign and dispose of it as the Agent may reasonably direct.

    Section 2.5     No Control Agreements.

            Notwithstanding anything to the contrary herein, in no event shall the Obligor or any
    Subsidiary thereof be required to execute control agreements to perfect the security interests
    granted hereunder, including in (i) any deposit, commodity or securities account (including,
    without limitation. securities entitlements and related assets) or (ii) other assets requiring
    perfection through control.

    Section 2.6     Grant of Licence to Use Intellectual Property.

            For the purpose of enabling the Agent, during an Event of Default which is continuing, to
    exercise rights and remedies hereunder, and· for no other purposes, the Obligor hereby grants to
    the Agent an irrevocable, non-exclusive license, (exercisable without payments of royalty or
    other compensation to the Obligor) to use, assign, license or sub-license any of the Collateral of
    the Obligor consisting of Intellectual Property in which the Obligor now has or hereafter acquires
    rights, and wherever the same may be located, and including in such license reasonable access to
    all media in which any of the licensed items may be recorded or stored and to all computer
    software and programs used for the compilation or printout thereof. The Agent covenants and
    agrees that it will not exercise its rights under the foregoing license except during the time that it
    shall be lawfully entitled to exercise its rights and remedies hereunder.




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•          Section 2.7

           (I)
                           Care and Custody of Collateral.

                    The Agent shall keep the Collateral in its possession identifiable in accordance with its
                    customary practice for the Collateral of such type,

           (2)      Without limiting any other rights or remedies under this Agreement, the Agent may upon
                    the occurrence and during the continuance of an Event of Default, (i) notifY any Person
                    obligated on an Instrument, Security or account to make payments to the Agent, whether
                    or not the Obligor was previously making collections on such accounts, chattel paper,
                    instruments, and (ii) assume control of any proceeds arising from the Collateral.

    '"   ", ~3)':c,,"-The Agent has no obligation to collect dividends, distributions or- interest payable on, or
                     exercise any option or right in connection with, any Collateral. The Agent has no
                     obligation to protect or preserve any Collateral from depreciating in value or becoming
                     worthless and is released from all responsibility for any loss of value, In the physical
                     keeping of any Securities, the Agent is only obliged to exercise the same degree of care
                     as it would exercise with respect to its own Securities kept at the same place,

           (4)      The Agent may, upon the occurrence and during the continuance of any Event of Default,
                    sell, transfer, use or otherwise deal with any investment property included in the
                    Collateral over which the Agent has control, on such conditions and in such manner as
                    the Agent in its sole discretion may determine,



•          Section 2.8

           (I)
                           Rights of the Obligor.

                    Until the occurrence of an Event of Default which is continuing, the Obligor is entitled to
                    vote the Securities and other financial assets that are part of the Collateral and to receive
                    dividends and distributions on such Securities and financial assets, as may be permitted
                    by the Credit Agreement. Upon the occurrence and during the continuance of an Event of
                    Default, all rights of the Obligor to vote (under any proxy given by the Agent (or its
                    nominee) or otherwise) or to receive distributions or dividends cease and all such rights
                    become vested solely and absolutely in the Agent.

           (2)       Any distributions or dividends received by the Obligor contrary to Section 2,8(1) or any
                     other moneys or property received by the Obligor after the Security Interest is
                   , enforceable will be received as trustee for the Agent and the' Secured Creditors and shall
                     be immediately paid over to the Agent.

                                                      ARTICLE 3
                                                    ENFORCEMENT

           Section 3.1      Enforcement.

                  The Security Interest becomes and is enforceable against the Obligor upon the occurrence
           and during the continuance of an Event of Default.




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    Section 3.2    Remedies.

           Whenever the Security Interest is enforceable, the Agent may realize upon the Collateral
    and enforce the rights of the Agent and the Secured Creditors by:

             (a)   entry onto any premises where Collateral consisting of tangible personal property
                   may be located;

             (b)   entry into possession of the Collateral by any method permitted by law;

             (c)   sale, grant of options to purchase, or lease of all or any part of the Collateral;
                           .--_:., ,-   :...~':'   -.. ~'-.:.,.... ...   --
             (d)   holding, storing and keeping idle or operating all or any part of the Collateral;

             (e)   exercising and enforcing all rights and remedies of a holder of the Collateral as if
                   the Agent were the absolute owner thereof (including, if necessary, causing the
                   Collateral to be registered in the name of the Agent or its nominee if not already
                   done);

             (I)   collection of any proceeds arising in respect of the Collateral;

             (g)   collection, realization or sale of, or other dealing with, accounts;



•            (h)




             (i)
                   license or sublicense, whether on an exclusive or nonexclusive basis, of any
                   Intellectual Property for such term and on such conditions and in such manner as
                   the Agent in its sole judgment determines (taking into account such provisions as
                   may be necessary to protect and preserve such Intellectual Property);

                   instruction to any bank to transfer all moneys constituting Collateral held by such
                   bank to an account maintained with or by the Agent;

             U)    application of any moneys constituting Collateral or proceeds thereof                III
                   accordance with this Agreement;

             (k)   appointment by instrument in writing of a receiver (which term as used in this
                   Agreement includes a receiver and manager) or agent of all or any part of the
                   Collateral' arid rerrioval or replacement from ·time to time of any receiver or agent;

             (I)   institution of proceedings in any court of competent jurisdiction for the
                   appointment of a receiver of all or any part of the Collateral;

             (m)   institution of proceedings in any court of competent jurisdiction for sale or
                   foreclosure of all or any part of the Collateral;

             (n)   filing of proofs of claim and other documents to establish claims to the Collateral
                   in any proceeding relating to the Obligor; and




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             (0)   any other remedy or proceeding authorized or permitted under the PPSA or
                   otherwise by law or equity.


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    Section 3.3    Additional Rights.

          In addition to the remedies set forth in Section 3.2 and elsewhere in this Agreement,
    whenever the Security Interest is enforceable, the Agent may:

             (a)   require the Obligor, at the Obligor's expense, to assemble the Collateral at a place
                   or places designated by notice in writing and the Obligor agrees to so assemble
                   the Collateral promptly upon receipt of such notice;

             (b)   require the Obligor, by notice in writing, to disclose to the Agent the location or
                   locations of the Collateral and the Obligor agrees to promptly make such
                   disclosure when so required;

             (c)   repair, process, modify, complete or otherwise deal with the Collateral and
                   prepare for the disposition of the Collateral, whether on the premises of the
                   Obligor or otherwise;

             (d)   redeem any prior security interest against any Collateral, procure the transfer of
                   such security interest to itself, or settle and pass the accounts of the prior
                   mortgagee, chargee or encumbrancer (any accounts to be conclusive and binding
                   on the Obligor absent manifest error and provided the Agent has exercised
                   reasonable diligence in verifying such accounts);



•            (e)


             (I)
                   pay any liability secured by any Lien against any Collateral (all such payments to
                   be added to the Obligations);

                   carry on all or any part of the business of the Obligor and, to the exclusion of all
                   others including the Obligor, enter upon, occupy and use all or any of the
                   premises, buildings, and other property of or used by the Obligor for such time as
                   the Agent sees fit, free of charge, and the Agent and the Secured Creditors are not
                   liable to the Obligor for any act, omission or negligence (other than their own
                   gross negligence or willful misconduct) in so doing or for any rent, charges,
                   depreciation or damages incurred in connection with or resulting from such
                   action;

             (g)   borrow for the purpose of carrying on any of the businesses of the Obligor or for
                   the maintenance, preservation or protection of the Collateral and grant a security
                   interest in the Collateral, whether or not in priority to the Security Interest, to
                   secure repayment;

             (h)   commence, continue or defend any judicial or administrative proceedings for the
                   purpose of protecting, seizing, collecting, realizing or obtaining possession or
                   payment of the Collateral, and give good and valid receipts and discharges in
                   respect of the Collateral and compromise or give time for the payment or
                   performance of all or any part of the accounts or any other obligation of any third
                   party to the Obligor; and



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•            (i)    at any public sale, and to the extent permitted by law on any private sale, bid for
                    and purchase any or all of the Collateral offered for sale and upon compliance
                    with the terms of such sale, hold, retain and dispose of such Collateral without
                    any further accountability to the Obligor or any other Person with respect to such
                    holding, retention or disposition, except as required by law. In any such sale to the
                    Agent, the Agent may, for the purpose of making payment for all or any part of
                    the Collateral so purchased, use any claim for Secured Obligations then due and
                    payable to it as a credit against the purchase price.

    Section 3.4     Exercise of Remedies.

           The remedies hereunder including under Section 3.2 and Section 3.3 may; subjeCt to' the
    Applicable Laws to the extent required thereby, be exercised from time to time separately or in
    combination and are in addition to. and not in substitution for, any other rights of the Agent and
    the Secured Creditors however arising or created. The Agent and the Secured Creditors are not
    bound to exercise any right or remedy, and the exercise of rights and remedies is without
    prejudice to the rights of the Agent and the Secured Creditors in respect of the Secured
    Obligations including the right to claim for any deficiency.

    Section 3.5     Receiver's Powers.

    (I)      Any receiver appointed by the Agent is vested with the rights and remedies which could



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             have been exercised by the Agent in respect of the Obligor or the Collateral and such
             other powers and discretions as are granted in the instrument of appointment and any
             supplemental instruments. The identity of the receiver, its replacement and its
             remuneration are within the sale and unfettered discretion of the Agent, provided such
             remuneration is on commercially reasonable terms.

    (2)      Any receiver appointed by the Agent will act as agent for the Agent for the purposes of
             taking possession of the Collateral, but otherwise and for all other purposes (except as
             provided below), as agent for the Obligor. The receiver may sell, lease, or otherwise
             dispose of Collateral as agent for the Obligor or as agent for the Agent as the Agent may
             determine in its discretion. The Obligor agrees to ratify and confirm all actions of the
             receiver acting as agent for the Obligor, and to release and indemnify the receiver in
             respect of all such actions.

    (3)      The Agent, in appointing or refraining from appointing any receiver, does not incur
             liability to the receiver, the Obligor or otherwise and is not responsible for any
             misconduct or negligence of such receiver.

    Section 3.6     Appointment of Attorney.

    (I)      The Obligor hereby irrevocably constitutes and appoints the Agent and any officer or
             agent thereof, with full power of substitution, as its true and lawful attorney-in-fact with
             full irrevocable power and authority in the place and stead of the Obligor and in the name
             of the Obligor or in its own name, for the purpose of carrying out the terms of this



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             Agreement, to take any and all appropriate action and to execute any and all documents
             and instruments which may be necessary or desirable to accomplish the purposes of this

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             Agreement, and, without limiting the generality of the foregoing, the Obligor hereby
             gives the Agent the power and right, on behalf of the Obligor, without notice to or assent
             by the Obligor, to do any or all of the following:

             (a)    in the name of the Obligor or its own name, or otherwise, take possession of and
                    endorse and collect any cheques, drafts, notes, acceptances or other instruments
                    for the payment of moneys due with respect to any Collateral and file any claim
                    or take any other action or proceeding in any court of law or equity or otherwise
                    deemed appropriate by the Agent for the purpose of collecting any and all such
                    moneys due whenever payable;

             (b)    in the case of any Intellectual-Property, execute and deliver, and have recorded,
                    any and all agreements, instruments, documents and papers as the Agent may
                    request to evidence the Agent's and the Secured Creditors' Security Interest in
                    such Intellectual Property and the goodwill and general intangibles of the Obligor
                    relating thereto or represented thereby;

             (c)    payor discharge taxes and Liens levied or placed on or threatened against the
                    Collateral, effect any repairs or any insurance called for by the terms of this
                    Agreement and pay all or any part of the premiums therefor and the costs thereof;

             (d)    execute, in connection with any sale provided for in this Agreement, any



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                    endorsements, assignments or other instruments of conveyance or transfer with
                    respect to the Collateral; and

             (e)    (I) direct any party liable for any payment under any of the Collateral to make
                    payment of any and all moneys due or to become due thereunder directly to the
                    Agent or as the Agent shall direct; (2) ask or demand for, collect, and receive
                    payment of and receipt for, any and all moneys, claims and other amounts due or
                    to become due at any time in respect of or arising out of any Collateral; (3) sign
                    and endorse any invoices, freight or express bills, bills of lading, storage or
                    warehouse receipts, drafts against debtors, assignments, verifications, notices and
                    other documents in connection with any of the Collateral; (4) commence and
                    prosecute any suits, actions or proceedings at law or in equity in any court of
                    competent jurisdiction to collect the Collateral or any portion thereof and to
                    enforce any other right in respeCt 'of any Collateral; (5) defend any suit, action or
                    proceeding brought against the Obligor with respect to any Collateral; (6) settle,
                    compromise or adjust any such suit, action or proceeding and, in connection
                    therewith, give such discharges or releases as the Agent may deem appropriate;
                    (7) assign any Intellectual Property (along with the goodwill of the business to
                    which any such Intellectual Property pertains), throughout the world for such term
                    or terms, on such conditions, and in such manner, as the Agent shall in its sole
                    discretion determine; and (8) generally, sell, transfer, pledge and make any
                    agreement with respect to or otherwise deal with any of the Collateral as fully and
                    completely as though the Agent were the absolute owner thereof for all purposes,
                    and do, at the Agent's option and the Obligor's expense, at any time, or from time



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                    to time, all acts and things which the Agent deems necessary to protect, preserve
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•                   or realize upon the Collateral and the Agent's and the Secured Creditors' Security
                    Interests therein and to effect the intent of this Agreement, all as fully and
                    effectively as the Obligor might do.

           Notwithstanding anything to the contrary in this Section 3.6, the Agent agrees that it will
    not exercise any rights under the power of attorney provided for in this Section 3.6 unless an
    Event of Default shall have occurred and be continuing and the Agent shall have given the
    Obligor notice of its intent to exercise the rights under the power of attorney provided for in this
    Section 3.6.

    (2)     If the Obligor fails to perform or comply with any of its agreements contained herein, the
      . ··--Agent; at its option, but without any obligation so to do, may perform-or comply, or
            otherwise cause performance or compliance, with such agreement.

    (3)      The expenses of the Agent incurred in connection with actions undertaken as provided in
             this Section 3.6, together with interest thereon at a rate per annum equal to the highest
             rate per annum at which interest would then be payable on any category of past due
             Canadian Dollar Prime-Based Loans under the Credit Agreement, from the date of
             payment by the Agent to the date reimbursed by the Obligor, shall constitute Obligations
             and shall be payable by the Obligor to the Agent on demand.

    (4)      The Obligor hereby ratifies all that said attorneys shall lawfully do or cause to be done in



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             accordance with the terms hereof. And in accordance with this Section 3.6 all powers,
             authorizations and agencies contained in this Agreement are coupled with an interest and
             are irrevocable until this Agreement is terminated and the Security Interests created
             hereby are released.

    Section 3.7     Dealing with the Collateral.

    (I)      The Agent and the Secured Creditors are not obliged to exhaust their recourse against the
             Obligor or any other Person or against any other security they may hold in respect of the
             Secured Obligations before realizing upon or otherwise dealing with the Collateral 10
             such manner as the Agent may consider desirable.

    (2)      The Agent and the Secured Creditors may grant extensions or other indulgences, take and
             give up securities, accept compositions, grant releases and discharges and otherwise deal
             with the Obligor and with other Persons, sureties or securities as they may see fit without
             prejudice to the Secured Obligations, the liability of the Obligor or the rights of the Agent
             and the Secured Creditors in respect of the Collateral.

    (3)      Except as otherwise provided by law or this Agreement, the Agent and the Secured
             Creditors are not (i) liable or accountable for any failure to collect, realize or obtain
             payment in respect of the Collateral, (ii) bound to institute proceedings for the purpose of
             collecting, enforcing, realizing or obtaining payment of the Collateral or for the purpose
             of preserving any rights of any Persons in respect of the Collateral, (iii) responsible for
             any loss occasioned by any sale or other dealing with the Collateral in accordance with



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             the terms hereof or by the retention of or failure to sell or otherwise deal with the
             Collateral, or (iv) bound to protect the Collateral from depreciating in value or becoming


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             worthless. Notwithstanding the foregoing, the Agent and the Secured Creditors shall be
             responsible to the Obligor for gross negligence or willful misconduct.

    Section 3.8     Standards of Sale.

           Without prejudice to the ability of the Agent to dispose of the Collateral in any manner
    which is commercially reasonable, and subject always to the provisions of the PPSA, the Obligor
    acknowledges that:

             (a)    the Collateral may be disposed of in whole or in part;

             (b)    the Collateral-ma¥_.be~di~posed of by public auction, public tender or private.,· . c.:. __ ,,~.
                    contract, with or without advertising and without any other formality;

             (c)    any assignee of such Collateral may be the Agent, a Secured Creditor or a
                    customer of any such Person;

             (d)    any sale conducted by the Agent will be at such time and place, on such notice
                    and in accordance with such procedures as the Agent, in its sole discretion, may
                    deem advantageous;

             (e)    the Collateral may be disposed of in any manner and on any terms necessary to



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                    avoid violation of Applicable Law (including compliance with such procedures as
                    may restrict the number of prospective bidders and purchasers, require that the
                    prospective bidders and purchasers have certain qualifications, and restrict the
                    prospective bidders and purchasers to Persons who will represent and agree that
                    they are purchasing for their own account for investment and not with a view to
                    the distribution or resale of the Collateral) or in order to obtain any required
                    approval of the disposition (or of the resulting purchase) by any governmental or
                    regulatory authority or official;

             (I)    a disposition of the Collateral may be on such terms and conditions as to credit or
                    otherwise as the Agent, in its sole discretion, may deem advantageous; and

             (g)    the Agent may establish an upset or reserve bid or price in respect of the
                    Collateral.

    Section 3.9     Dealings by Third Parties.

    (I)      No Person dealing with the Agent, any of the Secured Creditors or an agent or receiver is
             required to determine (i) whether the Security Interest has become enforceable, (ii)
             whether the powers which such Person is purporting to exercise have become
             exercisable, (iii) whether any money remains due to the Agent or the Secured Creditors
             by the Obligor, (iv) the necessity or expediency of the stipulations and conditions subject
             to which any sale or lease of Collateral is made, (v) the propriety or regularity of any sale
             or other dealing by the Agent or any Secured Creditor with the Collateral, or (vi) how any
             money paid to the Agent or the Secured Creditors have been applied.



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•           (2)       Any bona fide purchaser of all or any part of the Collateral from the Agent or any
                      receiver or agent will hold the Collateral absolutely, free from any claim or right of
                      whatever kind, including any equity of redemption, of the Obligor, which each the
                      Obligor specifically waives (to the fullest extent permitted by law) as against any such
                      purchaser together with all rights of redemption, stay or appraisal which the Obligor has
                      or may have under any rule oflaw or statute now existing or hereafter adopted.

            Section 3.10 Proceeds to be Turned Over to Agent

                      If an Event of Default shall occur and be continuing, all proceeds received by the Obligor
              consisting of cash, cheques and other near-cash items shall be held by the Obligor in trust for the
. '. -~.- !---Agent and the' S'ecured Creditors and shall, forthwith upon receipt by the Obligor, be turned'over'
              to the Agent in the exact form received by the Obligor (duly endorsed by the Obligor to the
              Agent, if required). All proceeds received by the Agent hereunder shall be held by the Agent in
              a collateral account maintained under its sole dominion and control. All proceeds while held by
              the Agent in a collateral account (or by the Obligor in trust for the Agent and the Secured
              Creditors) shall continue to be held as collateral security for all the Obligations and shall not
              constitute payment thereof until applied thereto as provided in Section 3.11.

            Section 3.11 Application of Proceeds

                     At such intervals as may be agreed upon by the Obligor and the Agent, or, if an Event of



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             Default shall have occurred and be continuing, at any time at the Agent's election, the Agent
             may apply all or any part of proceeds constituting Collateral and any proceeds of and distribution
             in respect of Collateral in payment of the Obligations as provided in the Credit Agreement.

                                               ARTICLE 4
                              REPRESENTATIONS, WARRANTIES AND COVENANTS

             Section 4.1     General Representations, Warranties and Covenants.

                   The Obligor represents and warrants and covenants and agrees, acknowledging and
            confirming that the Agent and each Secured Creditor is relying on such representations,
            warranties, covenants and agreements, that:

                      (a)    Obligor's Legal Status. On the date hereof, the Obligor's legal name,
                             jurisdiction of organization or formation (as applicable), the location of the
                             Obligor's chief executive office, the location of the Obligor's business and assets,
                             as the case may be, are specified on Schedule A, as such Schedule may be
                             amended, supplemented or modified from time to time. The Obligor has
                             delivered to the Agent a certified charter, certificate of incorporation, partnership
                             agreement or other organization document and good standing certificate (or
                             equivalent thereto) as of a date which is recent to the date hereof.

                      (b)    Title to Collateral. Except for the Security Interest granted to the Agent for the
                             benefit of the Secured Creditors pursuant to this Agreement and the other



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                             Permitted Liens, the Obligor owns each item of the Collateral free and clear of
                             any and all Liens or claims of others excepting Permitted Liens. For the


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                   avoidance of doubt, it is understood and agreed that the Obligor may, as part of its
                   business, grant licenses to third parties to use Intellectual Property owned or
                   developed by the Obligor to the extent permitted by the Credit Agreement. Each
                   of the Agent and each Secured Creditor understands that any such licenses may be
                   exclusive to the applicable licensees, and such exclusivity provisions may, to the
                   extent such licenses are Permitted Liens, limit the ability of the Agent to utilize,
                   license free of such license rights.

             (c)   Validity of Security Interest. The Security Interest (a) will constitute valid
                   perfected Security Interests in respect of all Collateral in which the Security
                   Interest may be perfected by filing, recording or registration in the province of
                   Alberta:,:-in-each case in favor of the Agent, for the benefit of the' Sectlred~-'
                   Creditors, as collateral security for the Obligor's Obligations, enforceable in
                   accordance with the terms hereof against all creditors of the Obligor and any
                   Persons purporting to purchase any Collateral from the Obligor and (b) are prior
                   to all other Liens on the Collateral in existence on the date hereof except for (x)
                   unrecorded Permitted Liens which have priority over the Liens on the Collateral
                   by operation oflaw and (y) Liens expressly permitted by the Credit Agreement to
                   be prior to the Security Interest granted pursuant to the terms hereof.

                                              ARTICLE 5
                                             COVENANTS



•         The Obligor covenants and agrees with the Agent, that, from and after the date of this
    Agreement until the Obligations shall have been paid in full:

    Section 5.1    Changes in Name, etc.

            The Obligor will not, except upon 30 days' prior written notice to the Agent and delivery
    to the Agent of all additional financing statements and executed documents reasonably requested
    by the Agent to maintain the validity, perfection and priority of the Security Interests provided
    for herein, (i) change the location of its chief executive office or sole place of business or (ii)
    change its name.

    Section 5.2    Title to Collateral

            The Obligor shall maintain the Security Interest created by this Agreement as a perfected
    Security Interest and shall defend such Security Interest against the claims and demands of all
    Persons whomsoever, subject to the rights of the Obligor under the Credit Agreement to dispose
    of the Collateral.

    Section 5.3    Other Action as to Collateral

             (a)   The Obligor will furnish to the Agent from time to time statements and schedules
                   further identifying and describing the assets and property of the Obligor and such
                   other reports in connection therewith as the Agent may reasonably request, all in



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                   reasonable detail,



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             (b)   without limiting the foregoing, within 15 days of a request therefor by the Agent
                   and only during the continuance of a Default or Event of Default, the Obligor will
                   furnish to the Agent (i) a listing of each of the "serial number goods" which form
                   part of the Collateral (as defined in the PPSA) together with the location of such
                   serial number goods and (ii) the legal descriptions of any Lands which form part
                   of the Collateral.

             (c)   At any time and from time to time, upon the written request of the Agent, and at
                   the sole expense of the Obligor, the Obligor will promptly and duly execute and
                   deliver, and have recorded, such further instruments and documents and take such
                   further actions as the Agent may reasonably request for the purpose of obtaining
                   or preserving the full benefits' Of-this Agreement and of the rights and powers
                   herein granted, including, without limitation, filing any financing or continuation
                   statements under the PPSA (or other similar laws) in effect in any jurisdiction
                   with respect to the Security Interests created hereby.

    Section 5.4    Intellectual Property

             (a)   Except with respect to any patent, trademark or copyright permitted to be
                   abandoned under the Credit Agreement, the Obligor shall notify the Agent
                   immediately if it knows or has reason to know that any application or registration
                   relating to any material patent, trademark or copyright of the Obligor may become



•                  abandoned, or dedicated to the public domain, or of any adverse determination or
                   development regarding the Obligor's ownership of any patent, trademark or
                   copyright, its right to register the same, or to keep and maintain the same, except
                   in each case, to the extent it would not reasonably be expected to result in a
                   Material Adverse Effect.

             (b)   Whenever the Obligor, either by itself or through any agent, employee, licensee or
                   designee, shall file an application for the registration of or acquire any interests in
                   any material patent, trademark or copyright with CIPO or any similar office or
                   agency of any jurisdiction, the Obligor shall report such filing to the Agent within
                   ten (10) Business Days after the last day of the fiscal quarter in which such filing
                   occurs, and, upon request of the Agent, the Obligor shall execute and deliver any
                   and all agreements relating to patent, trademark or copyright as the Agent may
                   request to evidence the Agent'~ Security Interest in such patent, trademark or
                   copyright, and the general intangibles of the Obligor relating thereto or
                   represented thereby. For the avoidance of doubt, the provisions hereof shall
                   automatically apply to any such patent, trademark or copyright acquired after the
                   date hereof and such patent, trademark or copyright shall automatically constitute
                   Collateral as if such would have constituted Collateral at the time of execution
                   hereof and be subject to the Lien and security interest created by this Agreement
                   without further action by any party.

             (c)   Except with respect to any copyright permitted to be abandoned under the Credit
                   Agreement, the Obligor shall take all actions necessary or reasonably requested



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                   by the Agent to maintain and pursue each application, to obtain the relevant
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•            (d)
                   registration and to maintain the registration of each material copyright, including
                   the filing of applications for renewal.

                   Except with respect to any patent or trademark permitted to be abandoned under
                   the Credit Agreement, the Obligor shall take all actions necessary or reasonably
                   requested by the Agent to maintain and pursue each application, to obtain the
                   relevant registration and to maintain the registration of each material patent or
                   trademark, including the filing of applications for renewal, affidavits of use and
                   affidavits of non-contestability and the payment of maintenance fees.

             (e)   In the event that any material patents, trademarks or copyrights is infringed upon,
                   or misappropriated, diluted or otherwise violated by a third party, the" Obligor
                   shall (i) notify the Agent promptly after the Obligor learns thereof and (ii) take
                   such actions as the Obligor shall reasonably deem appropriate under the
                   circumstances to protect such patent, trademark or copyright, stop the
                   infringement and obtain damages.

             (f)   Except with respect to any copyright, trademark or patent not required to be
                   maintained or permitted to be abandoned under the Credit Agreement, the Obligor
                   (either itself or through its permitted licensees) will not take or knowingly omit to
                   take any action whereby any material copyright, trademark or patent could
                   reasonably be expected to become abandoned, dedicated or invalidated or



•            (g)
                   whereby the remedies in respect of such copyright, trademark or patent with
                   respect to potential infringers could reasonably be expected to become weakened.

                   The Obligor (either itself or through licensee) will not knowingly do any act that
                   uses any Intellectual Property to infringe the intellectual property rights of any
                   other Person which would reasonably be likely to have a Material Adverse Effect.

    Section 5.5    Insurance.

            All property damage insurance maintained on any portion of the Collateral of the Obligor
    shall name the Agent as lender's loss payee, and all liability insurance maintained in respect of
    any portion of the Collateral of the Obligor shall name the Agent as an additional insured. The
    Obligor shall furnish the Agent with certificates of insurance evidencing compliance with the
    foregoing insurance provision.

                                               ARTICLE 6
                                               GENERAL

    Section 6.1    Notices.

           All notices, requests and demands to or upon the Agent or the Obligor under this
    Agreement shall be in writing and delivered to the addressee by prepaid private courier or sent
    by facsimile to the applicable address and to the attention of the officer of the addressee as
    follows:




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•            To the Obligor:

             Q'Max Solutions Holdings Inc.
             407 2nd SI. SW, Ste. 1700
             Calgary, Alberta T2P 2Y3

             Attention:      Mark Roberts, Chief Financial Officer
             Fax No.:        (403) 269-2251

             To the Agent:

             HSBC Bank Canada, as Agenl ... _..                                                           "   . ..--
             7th Floor, 70 York Street
             Toronto, Ontario M5J I S9

             Attention:      Manager Agency
             Fax No.:        (647) 788-2185

    Any communication transmitted by prepaid private courier shall be deemed to have been validly
    and effectively given or delivered on the Business Day after which it is submitted for delivery.
    Any communication transmitted by facsimile shall be deemed to have been validly and
    effectively given or delivered on the day on which it is transmitted, if transmitted on a Business



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    Day on or before 5:00 p.m. (local time of the intended recipient), and otherwise on the next
    following Business Day. The Agent or the Obligor may change its respective address for service
    or other notices, including electronic communications, by notice given in the foregoing manner.

    Section 6.2     Discharge.

            The Security Interest will be discharged upon, but only upon, full and indefeasible
    payment and performance of the Secured Obligations. Upon the discharge of the Secured
    Obligations and at the request and expense of the Obligor, the Agent will execute and deliver to
    the Obligor such releases, discharges, financing statements and other documents or instruments
    as the Obligor may reasonably require and the Agent will promptly redeliver to the Obligor, or as
    the Obligor may otherwise direct the Agent, any Collateral in its possession.

            If any of the Collateral shall be sold, transferred or otherwise disposed of by the Obligor
    in a transaction permitted by the Credit Agreement then the Agent, at the request and sole
    expense of the Obligor, shall promptly execute and deliver to the Obligor all releases or other
    documents necessary or reasonably desirable for the release of the Liens created by such
    Collateral.

    Section 6.3     No Merger.

            This Agreement does not operate by way of merger of any of the Secured Obligations
    and no judgment recovered by the Agent or any of the Secured Creditors will operate by way of
    merger of, or in any way affect, the Security Interest, which is in addition to, and not in
    substitution for, any other security now or hereafter held by the Agent and the Secured Creditors


•   in respect of the Secured Obligations. The representations, warranties and covenants of the


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    Obligor in this Agreement survive the execution and delivery of this Agreement and any
    advances under the Credit Agreement. Notwithstanding any investigation made by or on behalf
    of the Agent or the Secured Creditors these covenants, representations and warranties continue in
    full force and effect until this Agreement shall terminate (or thereafter to the extent provided
    therein).

    Section 6.4     Further Assurances.

              The Obligor will do all acts and things and execute and deliver, or cause to be executed
     and delivered, all agreements, documents and instruments that the Agent may reasonably require
     and take all further steps relating to the Collateral or any other property or assets of the Obligor
    -that· the Agent may reasonably require for (i) protecting the Collateral,(ii)-perfecting, preserving -
     and protecting the Security Interest, and (iii) exercising all powers, authorities and discretions
     conferred upon the Collateral Agent. Whenever the Security Interest is enforceable, the Obligor
     will do all acts and things and execute and deliver all documents and instruments that the
     Collateral Agent may reasonably require for facilitating the sale or other disposition of the
     Collateral in connection with its realization.

    Section 6.S     Supplemental Security.

            This Agreement is in addition to, without prejudice to and supplemental to all other
    security now held or which may hereafter be held by the Agent or the Secured Creditors.

•   Section 6.6     Successors and Assigns.

            This Agreement is binding on the Obligor and its successors and permitted assigns, and
    enures to the benefit of the Agent, the Secured Creditors and their respective successors and
    permitted assigns. This Agreement may be assigned by the Agent in accordance with the Credit
    Agreement and, in such event, any such assignee will be entitled to all of the rights and remedies
    of the Agent as set forth in this Agreement or otherwise. In any action brought by an assignee to
    enforce any such right or remedy, the Obligor will not assert against the assignee any claim or
    defence which the Obligor now has or may have against the Agent or any of the Secured
    Creditors. The Obligor may not assign, transfer or delegate any of its rights or obligations under
    this Agreement without the prior written consent of the Agent which may be unreasonably
    withheld.

    Section 6.7     Enforcement Expenses; Indemnification

    (I)      The Obligor agrees to payor reimburse each Secured Creditor and the Agent for all its
             costs and expenses incurred in enforcing or preserving any rights under this Agreement
             and the other Credit Documents to which the Obligor is a party, including, without
             limitation, the reasonable fees and disbursements of a single outside counsel to the Agent
             in each relevant jurisdiction.

    (2)      The Obligor agrees to pay, and to save the Agent and the Secured Creditors harmless
             from, any and all liabilities with respect to, or resulting from any delay in paying, any and



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             all stamp, excise, sales or other taxes which may be payable or determined to be payable
             with respect to any of the Collateral or in connection with any of the transactions


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•   (3)
             contemplated by this Agreement, in each case to the extent the Obligor would be required
             to do so pursuant to the Credit Agreement.

             The Obligor agrees to pay, and to save the Agent and the Secured Creditors harmless
             from, any and all liabilities, obligations, losses, damages, penalties, actions, judgments,
             suits, costs, expenses or disbursements of any kind or nature whatsoever with respect to
             the execution, delivery, enforcement, performance and administration of this Agreement
             to the extent the Obligor would be required to do so pursuant the Credit Agreement.

    (4)      The agreements in this Section 6.7 shall survive repayment of the Obligations and all
             other amounts payable under the Credit Agreement and the other Credit Documents.

    Section 6.8     Set-Off

           In addition to any rights and remedies of the Secured Creditors provided by law, each
    Secured Creditor shall have the right, without notice to the Obligor, any such notice being
    expressly waived by the Obligor to the extent permitted by Applicable Law, upon the
    Obligations becoming due and payable by the Obligor (whether at the stated maturity, by
    acceleration or otherwise), to apply to the payment of such Obligations, by setoff or otherwise,
    any and all deposits (general or special, time or demand, provisional or final), in any currency,
    and any other credits, indebtedness or claims, in any currency, in each case whether direct or
    indirect, absolute or contingent, matured or unmatured, at any time held or owing by such




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    Secured Creditor, any affiliate thereof or any of their respective branches or agencies to or for
    the credit or the account of the Obligor. Each Secured Creditor agrees promptly to notify the
    Obligor and the Agent after any such application made by such Secured Creditor; provided that
    the failure to give such notice shall not affect the validity of such application.

    Section 6.9     Severability.

           If any court of competent jurisdiction from which no appeal exists or is taken, determines
    any provision of this Agreement to be illegal, invalid or unenforceable, that provision will be
    severed from this Agreement and the remaining provisions will remain in full force and effect.

    Section 6.10 Amendment.

          This Agreement may only be amended, supplemented or otherwise modified by written
    agreement executed by the Agent and the Obligor.

    Section 6.11 Waivers, etc.

    (I)      No consent or waiver by the Agent or the Secured Creditors in respect of this Agreement
             is binding unless made in writing and signed by an authorized officer of the Agent. Any
             consent or waiver given under this Agreement is effective only in the specific instance
             and for the specific purpose for which given. No waiver of any of the provisions of this
             Agreement constitutes a waiver of any other provision.

    (2)      A failure or delay on the part of the Agent or the Secured Creditors in exercising a right


•            under this Agreement does not operate as a waiver of, or impair, any right of the Agent or


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             the Secured Creditors however arising. A single or partial exercise of a right on the part
             of the Agent or the Secured Creditors does not preclude any other or further exercise of
             that right or the exercise of any other right by the Agent or the Secured Creditors.

    Section 6.12 Conflict.

            In the event of a direct conflict or inconsistency between the terms and provISIons
    contained in this Agreement and the terms and provisions contained in the Credit Agreement, it
    is the intentions of the parties hereto that such terms and provisions in such documents shall be
    read together and construed, to the fullest extent possible, to be in concert with each other. In the
    event of any actual, irreconcilable conflict or inconsistency that cannot be resolved as aforesaid,
    the terms and provisions of the Credit Agreement shall ccatrol and govern. In addition, to the
    extent that, under the Credit Agreement, the Obligor is permitted to undertake any act or granted
    any entitlement, the provisions of this Agreement shall be deemed to preserve such permission or
    entitlement notwithstanding anything to the contrary herein.

    Section 6.13 Governing Law.

           This Agreement will be governed by, interpreted and enforced in accordance with the
    laws of the Province of Alberta and the federal laws of Canada applicable therein.

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•     IN WITNESS WHEREOF the Obligor has executed this Agreement.



                                               Q'MAX SOLUTIONS HOLDINGS INC.



                                               Per:
                                                      Name: Mark Roberts
                                                      Title: Chief Financial Officer




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•          [Signature Page to General Security Agreement- Q'Max Solutions Holdings Inc.]
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•   Legal Name
                                                 SCHEDULE "A"
                                    Jurisdiction of
                                    Incorporation or
                                                         Location of Chief Executive
                                                         Office
                                                                                       Location of Business and
                                                                                       Assets
                                    Formation

    Q'Max Solutions Holdings Inc.   Alberta              407 2nd SI. NW, Ste. 1700     Alberta
                                                         Calgary, Alberta T2P 2Y3




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                   THIS IS EXHIBIT”________
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                      (_   Ov\/’          ji         I
                   Sworn before me this    2             /
                   dayof



                             Jonathan Tomm
                           Barrister and Solicitor
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•
                              Q'MAX SOLUTIONS INC.

                                      as Obligor

                                         and

                               HSBC BANK CANADA

                                as Administrative Agent




                              SECURITY AGREEMENT
                                     May 23, 2014




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•                                       SECURITY AGREEMENT

            Security Agreement dated as of May 23, 2014 (the "Agreement") made by Q'Max
    Solutions Inc. (the "Obligor"), to and in favour of HSBC Bank Canada, as Agent for the benefit
    of the Secured Creditors.

            WHEREAS, pursuant to, and subject to the terms and conditions of, a Credit Agreement
    dated as of the date hereof (as amended, supplemented or restated from time to time, the "Credit
    Agreement") among Fluid Acquisition Corp. and Q'Max America Inc., as borrowers, HSBC
    Bank Canada and those other financial institutions who from time to time become parties thereto as
    lenders (collectively, the "Lenders") and HSBC Bank Canada, as administrative agent for the
    Lenders (in such capacity together with its successors and assigns in such·capacity, the "Agent"),
    the Lenders agreed to make certain credit facilities available to the Borrowers;

            AND WHEREAS, the obligations of the Lenders to make available certain Advances
    pursuant to the Credit Agreement and the entry into Hedging Agreements by the Hedge Providers and
    the entry into the Banking Services Agreements by the Agent and the Affiliates of the Agent or a Lender
    from time to time are conditioned upon the execution and delivery by the Obligor of a security
    agreement in favour of the Agent, on behalf of the Secured Creditors, in the form hereof, to
    secure all of the Obligations;

           NOW, THEREFORE, in consideration of the premises and for other good and valuable



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    consideration the receipt and sufficiency of which are hereby acknowledged, the parties hereto
    agree as follows:

                                               ARTICLE 1
                                            INTERPRETATION

    Section 1.1    Defined Terms.

    As used in this Agreement, the following terms have the following meanings:

    "Agreement" means this security agreement as may be amended, supplemented or otherwise
    modified from time to time.

    "CIPO" means the Canadian Intellectual Property Office.

    "Collateral" has the meaning specified in Section 2.1 of this Agreement.

    "Credit Agreement" shall have the meaning attributed to such term in the Preamble of this
    Agreement.

    "Instruments" means (i) a bill, note or cheque within the meaning of the Bills of Exchange Act
    (Canada) or any other writing that evidences a right to the payment of money and is of a type
    that in the ordinary course of business is transferred by delivery with any necessary endorsement
    or assignment, or (ii) a letter of credit and an advice of credit if the letter or advice states that it
    must be surrendered upon claiming payment thereunder, or (iii) chattel paper or any other



•   writing that evidences both a monetary obligation and a security interest in or a lease of specific

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                       [Signature Page to General Security Agreement - Q'Max Solutions Inc.]
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    goods, or (iv) documents of title or any other writing that purports to be issued by or addressed to
    a bailee and purports to cover such goods in the bailee's possession as are identified or fungible
    portions of an identified mass, and that in the ordinary course of business is treated as
    establishing that the Person in possession of it is entitled to receive, hold and dispose of the
    document and the goods it covers, or (v) any document or writing commonly known as an
    instrument, but excludes investment property.

    "Intellectual Property" means domestic and foreign: (i) patents, applications for patents and
    reissues, divisions, continuations, renewals, extensions and continuations-in-part of patents or
    patent applications; (ii) proprietary and nonpublic business information, including inventions
    (whether patentable or not), invention disclosures, improvements, discoveries, trade secrets,
    confidential information, 'kr!ow'now, methods, processes, designs, technology, technical data;"-
    schematics, formulae and customer lists, and documentation relating to any of the foregoing; (iii)
    copyrights, copyright registrations and applications for copyright registration; (iv) mask works,
    mask work registrations and applications for mask work registrations; (v) designs, design
    registrations, design registration applications and integrated circuit topographies; (vi) trade
    names, business names, corporate names, domain names, website names and world wide web
    addresses, common law trade-marks, service marks, certification marks, trade dress, logos,
    applications, registrations and renewals for any of the foregoing and the goodwill connected with
    the use of and symbolized by any of the foregoing; (vii) computer software and programs (both
    source code and object code form), all proprietary rights in the computer software and programs
    and all documentation and other materials related to the computer software and programs; (viii)


•   any other intellectual property and industrial property; (ix) income, fees, royalties, damages,
    claims and payments for past, present, or future infringements, dilutions or other violations
    thereof; (x) rights corresponding thereto throughout the world; and (xi) rights to sue for past,
    present or future infringements, dilutions or other violations thereof.

    "Obligations" means, in respect of the Obligor, the Obligations (as such term is defined in the
    Credit Agreement) of such Obligor.

    "Obligor" shall have the meaning attributed to such term in the Preamble of this Agreement.

    "PPSA" means the Personal Property Security Act (Alberta) and the regulations promulgated
    thereunder and other applicable personal property security legislation of the applicable Canadian
    province or provinces (including the Civil Code of Quebec and the regulations respecting the
    register of personal and movable real rights promulgated thereunder) as all such legislation now
    exists or may from time to time hereafter be amended, modified, recodified, supplemented or
    replaced, together with all rules, regulations and interpretations thereunder or related thereto.

    "Registrable Intellectual Property" means any Intellectual Property in respect of which
    ownership, title, security interests, charges or encumbrances are capable of registration,
    recording or notation with any Governmental Authority pursuant to Applicable Laws.

    "Restricted Asset" has the meaning specified in Section 2.4(1) of this Agreement.

    "Secured Creditors" means, collectively, the Agent, the Lenders, the Hedge Providers and



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    counterparties providing services pursuant to the Banking Services Agreements.


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    "Secured Obligations" has the meaning specified in Section 2.2 of this Agreement.

    "Securities" means securities as defined in the Securities Transfer Act (Alberta).

    "Security Interest" has the meaning specified in Section 2.2

    Section 1.2     Interpretation.

    (I)      Capitalized tenns used in this Agreement but not defined have the meanings given to
             them in the Credit Agreement. Tenns defined in the PPSA and the Securities Transfer
             Act (Alberta) ("STA") and used but not otherwise defined in this Agreement have the
             same meanings. For greater certainty, the tenns ."account", "chattel paper", "document
             of title", "equipment", Hgoods", Hinstrument", Uintangible", Hinvestment property",
             "money", "personal property" and "proceeds" have the meanings given to them in the
             PPSA; and the tenns "certificated security", "control", "delivery", "entitlement
             holder", "financial asset", "securities account", "securities intermediary", "security
             entitlement" and "uncertificated security" have the meanings given to them in the STA
             or the PPSA as applicable.

    (2)      Any reference in any Credit Document to Pennitted Liens and any right of the Obligor to
             create or suffer to exist Pennitted Liens are not intended to and do not and will not
             subordinate the Security Interest to any such Permitted Lien or give priority to any Person



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             over the Secured Creditors with respect to any such Pennitted Lien.

    (3)      The rules of interpretation specified in Article I of the Credit Agreement shall be
             applicable to this Agreement.

                                             ARTICLE 2
                                         ARTICLE 2 SECURITY

    Section 2.1     Grant of Security.

    (I)      Subject to Section 2.4 and Section 2.5, the Obligor grants to the Agent, for the benefit of
             the Secured Creditors, a security interest in, and assigns, mortgages, charges,
             hypothecates and pledges to the Agent, for the benefit of the Secured Creditors, all of the
             property, assets, effects and undertaking of the Obligor whether now owned or hereafter
             acquired and all of the property, assets, effects and undertaking in which the Obligor now
             has or hereafter acquires any interest (collectively, the "Personal Property Collateral"),
             including all of the Obligor's:

             (a)    present and after-acquired personal property including:

                    (i)     inventory including goods held for sale, lease or resale, goods furnished or
                            to be furnished to third parties under contracts oflease, consignment or
                            service, goods which are raw materials or work in process, goods used in
                            or procured for packing and materials used or consumed in the businesses
                            of the Obligor;


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                    (ii)    equipment, machinery, furniture, fixtures, plant, vehicles and other goods
                            of every kind and description and all licences and other rights and all
                            related records, files, charts, plans, drawings, specifications, manuals and
                            documents;

                    (iii)   accounts due or accruing and all related agreements, books, accounts,
                            invoices, letters, documents and papers recording, evidencing or relating
                            to them;

                    (iv)    money, documents of title, chattel paper, financial assets and investment
                            property;
                                                                                                 .       .
                                             ... . - -   -   -   -#   _1   •
                                                                                             -       --.--
                    (v)     security accounts and all of the credit balances, securities entitlements,
                            other financial assets and items or property (or their value) standing to the
                            credit from time to time in such securities accounts;

                    (vi)    Instruments and Securities; and

                    (vii)   intangibles including all security interests, goodwill, choses in action,
                            contracts, contract rights, licenses and other contractual benefits;

             (b)    Intellectual Property including the Registrable Intellectual Property;




•            (c)



             (d)
                    all substitutions and replacements of and increases, additions and, where
                    applicable, accessions to the property described in Section 2.1(a) and Section
                    2.1(b); and

                    all proceeds in any form derived directly or indirectly from any dealing with all or
                    any part of the property described in Section 2.1(a) and Section 2.1(c) inclusive,
                    including the proceeds of such proceeds.

    (2)       Subject to Section 2.4 and Section 2.5, the Obligor hereby charges as and by way of a
              floating charge in favour of the Agent for the benefit of the Secured Creditors all the
              presently owned or held and hereafter acquired property, assets, effects and undertaking
              of the Obligor of whatsoever nature and kind and wheresoever situate, other than such of
            . the Obligor's property, assets, effects and undertakings of the Obligor as are validly and
              effectively subjected to the security interest granted to the Agent pursuant to Section
              2.1(1) (all of which property, assets, effects and undertakings so charged by this Section
              2.1 (2) are herein collectively called the "Other Collateral", and together with the
              Personal Property Collateral the "Collateral") including, without limiting the generality
              of the foregoing, all presently owned or held and hereafter acquired right, title and
              interest of the Obligor in and to real and immovable and leasehold property and rights
              whether in fee or of a less estate and all interest in and rights relating to lands and all
              easements, rights of way, privilege, benefits, licences, improvements and rights whether
              connected therewith or appurtenant thereto or separately owned or held and all structures,
              buildings, plant, machinery, fixtures, apparatus and fixed assets. and the charge created by



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              this Section 2.1(2) shall be a floating charge such that the Obligor shall not have power
              without the prior written consent of the Agent to:


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             (a)    create or permit to exist any Lien against any of the Other Collateral which ranks
                    or could in any event rank in priority to or pari passu with the security constituted
                    by this Agreement, save for those Liens that are Permitted Liens; or

             (b)    grant, sell, exchange, transfer, assign, lease or otherwise dispose of the Other
                    Collateral, save for Permitted Dispositions.

    Section 2.2     Secured Obligations.

            The security interests, assignments, mortgages, charges, hypothecations and pledges
     granted by the Obligor under this Agreement (collectively, the "Security Interest") secure the
    'payment and performance of the following (collectively, the "Secured Obligations"):

             (a)    the Obligations of the Obligor; and

             (b)    all expenses, costs and charges incurred by or on behalf of the Secured Creditors
                    in connection with this Agreement, the Security Interest or the Collateral,
                    including all reasonable legal fees, court costs, receiver's or agent's remuneration
                    and other expenses of taking possession of, repairing, protecting, insuring,
                    preparing for disposition, realizing, collecting, selling, transferring, delivering or
                    obtaining payment for the Collateral, and of taking, defending or participating in
                    any action or proceeding in connection with any of the foregoing matters or




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                    otherwise in connection with the Secured Creditors' interest in any Collateral,
                    whether or not directly relating to the enforcement of this Agreement or any other
                    Credit Document.

    Section 2.3     Attachment.

             The Obligor acknowledges that (i) value has been given, (ii) it has rights in the applicable
    Collateral or the power to transfer rights in the Collateral to the Agent (other than after-acquired
    Collateral), (iii) it has not agreed to postpone the time of attachment of the Security Interest, and
    (iv) it has received a copy of this Agreement.

    Section 2.4     Scope of Security Interest.

    (I)      To the extent that an assignment of amounts payable and other proceeds arising under or
             in connection with, or the grant of a security interest in any agreement, licence, lease,
             permit, instrument or quota of the Obligor would constitute a default under, or a breach
             of, or would result in the termination of, such agreement, licence, lease, permit,
             instrument or quota (each, a "Restricted Asset"), the Security Interest with respect to
             each Restricted Asset will constitute a trust created in favour of the Agent, for the benefit
             of the Secured Creditors, pursuant to which the Obligor holds as trustee all proceeds
             arising under or in connection with the Restricted Asset in trust for the Agent, for the
             benefit of the Secured Creditors, on the following basis:

             (a)    subject to the Credit Agreement, until the Security Interest is enforceable, the



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                    Obligor is entitled to receive all such proceeds; and



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             (b)    whenever the Security Interest is enforceable, (i) all rights of the Obligor to
                    receive such proceeds cease and all such proceeds will be immediately paid over
                    to the Agent for the benefit of the Secured Creditors, and (ii) the Obligor will take
                    all actions requested by the Agent to collect and enforce payment and other rights
                    arising under the Restricted Asset.

    (2)      The Security Interest with respect to trademarks constitutes a security interest in, and a
             charge, hypothecation and pledge of such Collateral in favour of the Agent for the benefit
             of the Secured Creditors, but does not constitute an assignment or mortgage of such
             Collateral to the Agent or any Secured Creditor.

    (3)'- ..... Until 'the Security' Interela- is enforceable, 'the grant of the' Security' Interest in the .... '.
                Intellectual Property does not affect in any way the Obligor's rights to commercially
                exploit the Intellectual Property, defend it, enforce the Obligor's rights in it or with
                respect to it against third parties in any court or claim and be entitled to receive any
                damages with respect to any infringement of it.

    (4)      The Security Interest does not extend to consumer goods.

    (5)      The Security Interest does not extend or apply to the last day of the term of any lease or
             sublease of real property or any agreement for a lease or sublease of real property, now
             held or hereafter acquired by the Obligor, but the Obligor wi 11 stand possessed of any



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             such last day upon trust to assign and dispose of it as the Agent may reasonably direct.

    Section 2.5     No Control Agreements.

            Notwithstanding anything to the contrary herein, in no event shall the Obligor or any
    Subsidiary thereof be required to execute control agreements to perfect the security interests
    granted hereunder, including in (i) any deposit, commodity or securities account (including,
    without limitation, securities entitlements and related assets) or (ii) other assets requiring
    perfection through control.

    Section 2.6     Grant of Licence to Use Intellectual Property.

             For the purpose of enabling the Agent, during an Event of Default which is continuing, to
    exercise rights and remedies hereunder, and for no other purposes, the Obligor hereby grants to
    the Agent an irrevocable, non-exclusive license, (exercisable without payments of royalty or
    other compensation to the Obligor) to use, assign, license or sub-license any of the Collateral of
    the Obligor consisting of Intellectual Property in which the Obligor now has or hereafter acquires
    rights, and wherever the same may be located, and including in such license reasonable access to
    all media in which any of the licensed items may be recorded or stored and to all computer
    software and programs used for the compilation or printout thereof. The Agent covenants and
    agrees that it will not exercise its rights under the foregoing license except during the time that it
    shall be lawfully entitled to exercise its rights and remedies hereunder.




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•   Section 2.7

    (I)
                    Care and Custody of Collateral.

             The Agent shall keep the Collateral in its possession identifiable in accordance with its
             customary practice for the Collateral of such type.

    (2)      Without limiting any other rights or remedies under this Agreement, the Agent may upon
             the occurrence and during the continuance of an Event of Default, (i) notify any Person
             obligated on an Instrument, Security or account to make payments to the Agent, whether
             or not the Obligor was previously making collections on such accounts, chattel paper,
             instruments, and (ii) assume control of any proceeds arising from the Collateral.

    (3)      The Agent has no oblig~tionte-collect dividends, distributions or interest payable on, or·',    ,,~,,_O._-._ .' .
             exercise any option or right in connection with, any Collateral. The Agent has no
             obligation to protect or preserve any Collateral from depreciating in value or becoming
             worthless and is released from all responsibility for any loss of value. In the physical
             keeping of any Securities, the Agent is only obliged to exercise the same degree of care
             as it would exercise with respect to its own Securities kept at the same place.

    (4)      The Agent may, upon the occurrence and during the continuance of any Event of Default,
             sell, transfer, use or otherwise deal with any investment property included in the
             Collateral over which the Agent has control, on such conditions and in such manner as
             the Agent in its sole discretion may determine.



•   Section 2.8

    (I)
                    Rights of the Obligor.

             Until the occurrence of an Event of Default which is continuing, the Obligor is entitled to
             vote the Securities and other financial assets that are part of the Collateral and to receive
             dividends and distributions on such Securities and financial assets, as may be permitted
             by the Credit Agreement. Upon the occurrence and during the continuance of an Event of
             Default, all rights of the Obligor to vote (under any proxy given by the Agent (or its
             nominee) or otherwise) or to receive distributions or dividends cease and all such rights
             become vested solely and absolutely in the Agent.

    (2)      Any distributions or dividends received by the Obligor contrary to Section 2.8(1) or any
             other moneys or property received by the Obligor after the Security Interest is
             enforceable will be received as trustee for the Agent and the Secured Creditors and shall.
             be immediately paid over to the Agent.

                                               ARTICLE 3
                                             ENFORCEMENT

    Section 3.1     Enforcement.

           The Security Interest becomes and is enforceable against the Obligor upon the occurrence
    and during the continuance of an Event of Default.




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•   Section 3.2    Remedies.

           Whenever the Security Interest is enforceable, the Agent may realize upon the Collateral
    and enforce the rights of the Agent and the Secured Creditors by:

             (a)   entry onto any premises where Collateral consisting of tangible personal property
                   may be located;

             (b)   entry into possession of the Collateral by any method permitted by law;

             (c)   sale, grant of options to purchase, or lease of all or any part of the Collateral;

             (d)   holding, storing and keeping idle or operating all or any part of the Collateral;

             (e)   exercising and enforcing all rights and remedies of a holder of the Collateral as if
                   the Agent were the absolute owner thereof (including, if necessary, causing the
                   Collateral to be registered in the name of the Agent or its nominee if not already
                   done);

             (f)   collection of any proceeds arising in respect of the Collateral;

             (g)   collection. realization or sale of, or other dealing with, accounts;




•            (h)




             (i)
                   license or sublicense, whether on an exclusive or nonexclusive basis, of any
                   Intellectual Property for such term and on such conditions and in such manner as
                   the Agent in its sole judgment determines (taking into account such provisions as
                   may be necessary to protect and preserve such Intellectual Property);

                   instruction to any bank to transfer all moneys constituting Collateral held by such
                   bank to an account maintained with or by the Agent;

             (j)   application of any moneys constituting Collateral or proceeds thereof                In
                   accordance with this Agreement;

             (k)   appointment by instrument in writing of a receiver (which term as used in this
                   Agreement includes a receiver and manager) or agent of all or any part of the
                   Collateral and removal or replacement from time to time of any receiver or agent;

             (I)   institution of proceedings in any court of competent jurisdiction for the
                   appointment of a receiver of all or any part of the Collateral;

             (m)   institution of proceedings in any court of competent jurisdiction for sale or
                   foreclosure of all or any part of the Collateral;

             (n)   filing of proofs of claim and other documents to establish claims to the Collateral
                   in any proceeding relating to the Obligor; and




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             (0)   any other remedy or proceeding authorized or permitted under the PPSA or
                   otherwise by law or equity.


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•   Section 3.3    Additional Rights.

          In addition to the remedies set forth in Section 3.2 and elsewhere in this Agreement,
    whenever the Security Interest is enforceable, the Agent may:

             (a)   require the Obligor, at the Obligor's expense, to assemble the Collateral at a place
                   or places designated by notice in writing and the Obligor agrees to so assemble
                   the Collateral promptly upon receipt of such notice;

             (b)   require the Obligor, by notice in writing, to disclose to the Agent the location or
                   locations of the Collateral and the Obligor agrees to promptly make such
                   discJomre-when so required;                                            '-.;..       ....
                                                                                                :..~.::;..~.,




             (c)   repair, process, modify, complete or otherwise deal with the Collateral and
                   prepare for the disposition of the Collateral, whether on the premises of the
                   Obligor or otherwise;

             (d)   redeem any prior security interest against any Collateral, procure the transfer of
                   such security interest to itself, or settle and pass the accounts of the prior
                   mortgagee, chargee or encumbrancer (any accounts to be conclusive and binding
                   on the Obligor absent manifest error and provided the Agent has exercised
                   reasonable diligence in verifying such accounts);



•            (e)


             (I)
                   pay any liability secured by any Lien against any Collateral (all such payments to
                   be added to the Obligations);

                   carry on all or any part of the business of the Obligor and, to the exclusion of all
                   others including the Obligor, enter upon, occupy and use all or any of the
                   premises, buildings, and other property of or used by the Obligor for such time as
                   the Agent sees fit, free of charge, and the Agent and the Secured Creditors are not
                   liable to the Obligor for any act, omission or negligence (other than their own
                   gross negligence or willful misconduct) in so doing or for any rent, charges,
                   depreciation or damages incurred in connection with or resulting from such
                   action;

             (g)   borrow for the purpose of carrying on any of the businesses of the Obligor or for
                   the maintenance, preservation or protection of the Collateral and grant a security
                   interest in the Collateral, whether or not in priority to the Security Interest, to
                   secure repayment;

             (h)   commence, continue or defend any judicial or administrative proceedings for the
                   purpose of protecting, seizing, collecting, realizing or obtaining possession or
                   payment of the Collateral, and give good and valid receipts and discharges in
                   respect of the Collateral and compromise or give time for the payment or
                   performance of all or any part of the accounts or any other obligation of any third
                   party to the Obligor; and



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•             (i)    at any public sale, and to the extent pennitted by law on any private sale, bid for
                     and purchase any or all of the Collateral offered for sale and upon compliance
                     with the tenns of such sale, hold, retain and dispose of such Collateral without
                     any further accountability to the Obligor or any other Person with respect to such
                     holding, retention or disposition, except as required by law. In any such sale to the
                     Agent, the Agent may, for the purpose of making payment for all or any part of
                     the Collateral so purchased, use any claim for Secured Obligations then due and
                     payable to it as a credit against the purchase price.

     Section 3.4     Exercise of Remedies.
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            The remedies hereunder including under Section' 3.2 and Section 3.3 may, subject to the
     Applicable Laws to the extent required thereby, be exercised from time to time separately or in
     combination and are in addition to, and not in substitution for, any other rights of the Agent and
     the Secured Creditors however arising or created. The Agent and the Secured Creditors are not
     bound to exercise any right or remedy, and the exercise of rights and remedies is without
     prejudice to the rights of the Agent and the Secured Creditors in respect of the Secured
     Obligations including the right to claim for any deficiency.

     Section 3.5     Receiver's Powers.

     (\)      Any receiver appointed by the Agent is vested with the rights and remedies which could



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              have been exercised by the Agent in respect of the Obligor or the Collateral and such
              other powers and discretions as are granted in the instrument of appointment and any
              supplemental instruments. The identity of the receiver, its replacement and its
              remuneration are within the sole and unfettered discretion of the Agent, provided such
              remuneration is on commercially reasonable tenns.

     (2)      Any receiver appointed by the Agent will act as agent for the Agent for the purposes of
              taking possession of the Collateral, but otherwise and for all other purposes (except as
              provided below), as agent for the Obligor. The receiver may sell, lease, or otherwise
              dispose of Collateral as agent for the Obligor or as agent for the Agent as the Agent may
              detennine in its discretion. The Obligor agrees to ratify and con finn all actions of the
              receiver acting as agent for the Obligor, and to release and indemnify the receiver in
              respect of all such actions.

     (3)      The Agent, in appointing or refraining from appointing any receiver, does not incur
              liability to the receiver, the Obligor or otherwise and is not responsible for any
              misconduct or negligence of such receiver.

     Section 3.6     Appointment of Attorney.

     (I)      The Obligor hereby irrevocably constitutes and appoints the Agent and any officer or
              agent thereof, with full power of substitution, as its true and lawful attorney-in-fact with
              full irrevocable power and authority in the place and stead of the Obligor and in the name
              of the Obligor or in its own name, for the purpose of carrying out the tenns of this



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              Agreement, to take any and all appropriate action and to execute any and all documents
              and instruments which may be necessary or desirable to accomplish the purposes of this


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             Agreement, and, without limiting the generality of the foregoing, the Obligor hereby
             gives the Agent the power and right, on behalf of the Obligor, without notice to or assent
             by the Obligor, to do any or all of the following:

             (a)       in the name of the Obligor or its own name, or otherwise, take possession of and
                       endorse and collect any cheques, drafts, notes, acceptances or other instruments
                       for the payment of moneys due with respect to any Collateral and file any claim
                       or take any other action or proceeding in any court of law or equity or otherwise
                       deemed appropriate by the Agent for the purpose of collecting any and all such
                       moneys due whenever payable;

         .... (u)   "-~in the case of 'any Intellectual Property, execute and deliver, and have recorded,
                       any and all agreements, instruments, documents and papers as the Agent may
                       request to evidence the Agent's and the Secured Creditors' Security Interest in
                       such Intellectual Property and the goodwill and general intangibles of the Obligor
                       relating thereto or represented thereby;

             (c)       payor discharge taxes and Liens levied or placed on or threatened against the
                       Collateral, effect any repairs or any insurance called for by the terms of this
                       Agreement and pay all or any part of the premiums therefor and the costs thereof;

             (d)       execute, in connection with any sale provided for in this Agreement, any



•            (e)
                       endorsements, assignments or other instruments of conveyance or transfer with
                       respect to the Collateral; and

                       (I) direct any party liable for any payment under any of the Collateral to make
                       payment of any and all moneys due or to become due thereunder directly to the
                       Agent or as the Agent shall direct; (2) ask or demand for, collect, and receive
                       payment of and receipt for, any and all moneys, claims and other amounts due or
                       to become due at any time in respect of or arising out of any Collateral; (3) sign
                       and endorse any invoices, freight or express bills, bills of lading, storage or
                       warehouse receipts, drafts against debtors, assignments, verifications, notices and
                       other documents in connection with any of the Collateral; (4) commence and
                       prosecute any suits, actions or proceedings at law or in equity in any court of
                       competent jurisdiction to collect the Collateral or any portion thereof and to
                       enforce any other right in respect of any Collateral; (5) defend any suit, action or
                       proceeding brought against the Obligor with respect to any Collateral; (6) settle,
                       compromise or adjust any such suit, action or proceeding and, in connection
                       therewith, give such discharges or releases as the Agent may deem appropriate;
                       (7) assign any Intellectual Property (along with the goodwill of the business to
                       which any such Intellectual Property pertains), throughout the world for such term
                       or terms, on such conditions, and in such manner, as the Agent shall in its sole
                       discretion determine; and (8) generally, sell, transfer, pledge and make any
                       agreement with respect to or otherwise deal with any of the Collateral as fully and
                       completely as though the Agent were the absolute owner thereof for all purposes,
                       and do, at the Agent's option and the Obligor's expense, at any time, or from time



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                       to time, all acts and things which the Agent deems necessary to protect, preserve
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•                   or realize upon the Collateral and the Agent's and the Secured Creditors' Security
                    Interests therein and to effect the intent of this Agreement, all as fully and
                    effectively as the Obligor might do.

           Notwithstanding anything to the contrary in this Section 3.6, the Agent agrees that it will
    not exercise any rights under the power of attorney provided for in this Section 3.6 unless an
    Event of Default shall have occurred and be continuing and the Agent shall have given the
    Obligor notice of its intent to exercise the rights under the power of attorney provided for in this
    Section 3.6.

    (2)      If the Obligor fails to perform or comply with any of its agreements contained herein, the
             Agent, at its option, but withcut';my obligation so to do, may perform or comply, or            '.'-- ..   -
             otherwise cause performance or compliance, with such agreement.

    (3)      The expenses of the Agent incurred in connection with actions undertaken as provided in
             this Section 3.6, together with interest thereon at a rate per annum equal to the highest
             rate per annum at which interest would then be payable on any category of past due
             Canadian Dollar Prime-Based Loans under the Credit Agreement, from the date of
             payment by the Agent to the date reimbursed by the Obligor, shall constitute Obligations
             and shall be payable by the Obligor to the Agent on demand.

    (4)      The Obligor hereby ratifies all that said attorneys shall lawfully do or cause to be done in



•            accordance with the terms hereof. And in accordance with this Section 3.6 all powers,
             authorizations and agencies contained in this Agreement are coupled with an interest and
             are irrevocable until this Agreement is terminated and the Security Interests created
             hereby are released.

    Section 3.7     Dealing with the Collateral.

    (I)      The Agent and the Secured Creditors are not obliged to exhaust their recourse against the
             Obligor or any other Person or against any other security they may hold in respect of the
             Secured Obligations before realizing upon or otherwise dealing with the Collateral in
             such manner as the Agent may consider desirable.

    (2)      The Agent and the Secured Creditors may grant extensions or other indulgences, take and
             give up securities, accept compositions, grant releases and discharges and otherwise deal
             with the Obligor and with other Persons, sureties or securities as they may see fit without
             prejUdice to the Secured Obligations, the liability of the Obligor or the rights of the Agent
             and the Secured Creditors in respect of the Collateral.

    (3)      Except as otherwise provided by law or this Agreement, the Agent and the Secured
             Creditors are not (i) liable or accountable for any failure to collect, realize or obtain
             payment in respect of the Collateral, (ii) bound to institute proceedings for the purpose of
             collecting, enforcing, realizing or obtaining payment of the Collateral or for the purpose
             of preserving any rights of any Persons in respect of the Collateral, (iii) responsible for
             any loss occasioned by any sale or other dealing with the Collateral in accordance with



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             the terms hereof or by the retention of or failure to sell or otherwise deal with the
             Collateral, or (iv) bound to protect the Collateral from depreciating in value or becoming


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•                   worthless. Notwithstanding the foregoing, the Agent and the Secured Creditors shall be
                    responsible to the Obligor for gross negligence or willful misconduct.

           Section 3.8     Standards of Sale.

                  Without prejudice to the ability of the Agent to dispose of the Collateral in any manner
           which is commercially reasonable, and subject always to the provisions of the PPSA, the Obligor
           acknowledges that:

                    (a)    the Collateral may be disposed of in whole or in part;

    "_ ---
      ..            (b)    the Collateral may be disposed of by public auction,_public tender or· private
                           contract, with or without advertising and without any other formality;

                    (c)    any assignee of such Collateral may be the Agent, a Secured Creditor or a
                           customer of any such Person;

                    (d)    any sale conducted by the Agent will be at such time and place, on such notice
                           and in accordance with such procedures as the Agent, in its sole discretion, may
                           deem advantageous;

                    (e)    the Collateral may be disposed of in any manner and on any terms necessary to



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                           avoid violation of Applicable Law (including compliance with such procedures as
                           may restrict the number of prospective bidders and purchasers, require that the
                           prospective bidders and purchasers have certain qualifications, and restrict the
                           prospective bidders and purchasers to Persons who will represent and agree that
                           they are purchasing for their own account for investment and not with a view to
                           the distribution or resale of the Collateral) or in order to obtain any required
                           approval of the disposition (or of the resulting purchase) by any governmental or
                           regulatory authority or official;

                    (f)    a disposition of the Collateral may be on such terms and conditions as to credit or
                           otherwise as the Agent, in its sole discretion, may deem advantageous; and

                    (g)    the Agent may establish an upset or reserve bid or price in respect of the
                           Collateral.

           Section 3.9     Dealings by Third Parties.

           (I)      No Person dealing with the Agent, any of the Secured Creditors or an agent or receiver is
                    required to determine (i) whether the Security Interest has become enforceable, (ii)
                    whether the powers which such Person is purporting to exercise have become
                    exercisable, (iii) whether any money remains due to the Agent or the Secured Creditors
                    by the Obligor, (iv) the necessity or expediency of the stipulations and conditions subject
                    to which any sale or lease of Collateral is made, (v) the propriety or regularity of any sale
                    or other dealing by the Agent or any Secured Creditor with the Collateral, or (vi) how any
                    money paid to the Agent or the Secured Creditors have been applied.


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•   (2)      Any bona fide purchaser of all or any part of the Collateral from the Agent or any
             receiver or agent will hold the Collateral absolutely, free from any claim or right of
             whatever kind, including any equity of redemption, of the Obligor, which each the
             Obligor specifically waives (to the fullest extent permitted by law) as against any such
             purchaser together with all rights of redemption, stay or appraisal which the Obligor has
             or may have under any rule of law or statute now existing or hereafter adopted.

    Section 3.10    Proceeds to be Turned Over to Agent

            If an Event of Default shall occur and be continuing, all proceeds received by the Obligor
    consisting of cash, cheques and other near-cash items shall be held by the Obligor in trust for the
    Agent and the Secured'C-reditorSaiid shall, forthwith'upon receipt by the Obligor, be tumed-over· oc- - .
    to the Agent in the exact form received by the Obligor (duly endorsed by the Obligor to the
    Agent, if required). All proceeds received by the Agent hereunder shall be held by the Agent in
    a collateral account maintained under its sole dominion and control. All proceeds while held by
    the Agent in a collateral account (or by the Obligor in trust for the Agent and the Secured
    Creditors) shall continue to be held as collateral security for all the Obligations and shall not
    constitute payment thereof until applied thereto as provided in Section 3.11.

    Section 3.11    Application of Proceeds

            At such intervals as may be agreed upon by the Obligor and the Agent, or, if an Event of



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    Default shall have occurred and be continuing, at any time at the Agent's election, the Agent
    may apply all or any part of proceeds constituting Collateral and any proceeds of and distribution
    in respect of Collateral in payment of the Obligations as provided in the Credit Agreement.

                                      ARTICLE 4
                     REPRESENTATIONS, WARRANTIES AND COVENANTS

    Section 4.1     General Representations, Warranties and Covenants.

           The Obligor represents and warrants and covenants and agrees, acknowledging and
    confirming that the Agent and each Secured Creditor is relying on such representations,
    warranties, covenants and agreements, that:

             (a)    Obligor's Legal Status. On the date hereof, the Obligor's legal name,
                    jurisdiction of organization or formation (as applicable), the location of the
                    Obligor's chief executive office, the location of the Obligor's business and assets,
                    as the case may be, are specified on Schedule A, as such Schedule may be
                    amended, supplemented or modified from time to time. The Obligor has
                    delivered to the Agent a certified charter, certificate of incorporation, partnership
                    agreement or other organization document and good standing certificate (or
                    equivalent thereto) as of a date which is recent to the date hereof.

             (b)    Title to Collateral. Except for the Security Interest granted to the Agent for the
                    benefit of the Secured Creditors pursuant to this Agreement and the other




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                    Permitted Liens, the Obligor owns each item of the Collateral free and clear of
                    any and all Liens or claims of others excepting Permitted Liens. F or the


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•                      avoidance of doubt, it is understood and agreed that the Obligor may, as part of its
                       business, grant licenses to third parties to use Intellectual Property owned or
                       developed by the Obligor to the extent permitted by the Credit Agreement. Each
                       of the Agent and each Secured Creditor understands that any such licenses may be
                       exclusive to the applicable licensees, and such exclusivity provisions may, to the
                       extent such licenses are Permitted Liens, limit the ability of the Agent to utilize,
                       license free of such license rights.

                 (c)     Validity of Security Interest. The Security Interest (a) will constitute valid
                         perfected Security Interests in respect of all Collateral in which the Security
                         Interest may be perfected by filing, recording or registration in the province of
--~,-
                       . Alberta, in each case in favor of the-Agent, for the benefit of the Secured
                         Creditors, as collateral security for the Obligor's Obligations, enforceable in
                         accordance with the terms hereof against all creditors of the Obligor and any
                         Persons purporting to purchase any Collateral from the Obligor and (b) are prior
                         to all other Liens on the Collateral in existence on the date hereof except for (x)
                         unrecorded Permitted Liens which have priority over the Liens on the Collateral
                         by operation of law and (y) Liens expressly permitted by the Credit Agreement to
                         be prior to the Security Interest granted pursuant to the terms hereof.

                                                   ARTICLES
                                                  COVENANTS



•             The Obligor covenants and agrees with the Agent, that, from and after the date of this
        Agreement until the Obligations shall have been paid in full:

        Section 5.1    Changes in Name, etc.

                The Obligor will not, except upon 30 days' prior written notice to the Agent and delivery
        to the Agent of all additional financing statements and executed documents reasonably requested
        by the Agent to maintain the validity, perfection and priority of the Security Interests provided
        for herein, (i) change the location of its chief executive office or sole place of business or (ii)
        change its name.

        Section 5.2    Title to Collateral

                The Obligor shall maintain the Security Interest created by this Agreement as a perfected
        Security Interest and shall defend such Security Interest against the claims and demands of all
        Persons whomsoever, subject to the rights of the Obligor under the Credit Agreement to dispose
        of the Collateral.

        Section 5.3    Other Action as to Collateral

                 (a)   The Obligor will furnish to the Agent from time to time statements and schedules
                       further identifying and describing the assets and property of the Obligor and such
                       other reports in connection therewith as the Agent may reasonably request, all in




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                       reasonable detail,



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•            (b)     without limiting the foregoing, within 15 days of a request therefor by the Agent
                     and only during the continuance of a Default or Event of Default, the Obligor will
                     furnish to the Agent (i) a listing of each of the "serial number goods" which form
                     part of the Collateral (as defined in the PPSA) together with the location of such
                     serial number goods and (ii) the legal descriptions of any Lands which form part
                     of the Collateral.

             (c)     At any time and from time to time, upon the written request of the Agent, and at
                     the sole expense of the Obligor, the Obligor will promptly and duly execute and
                     deliver, and have recorded, such further instruments and documents and take such
                     further actions as the Agent may reasonably request for the purpose of obtaining
                   --ot i'ireserving the full benefits of this Agreement and of the rights· and powers
                     herein granted, including, without limitation, filing any financing or continuation
                     statements under the PPSA (or other similar laws) in effect in any jurisdiction
                     with respect to the Security Interests created hereby.

    Section 5.4      Intellectual Property

             (a)     Except with respect to any patent, trademark or copyright permitted to be
                     abandoned under the Credit Agreement, the Obligor shall notify the Agent
                     immediately if it knows or has reason to know that any application or registration
                     relating to any material patent, trademark or copyright of the Obligor may become



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                     abandoned, or dedicated to the public domain, or of any adverse determination or
                     development regarding the Obligor's ownership of any patent, trademark or
                     copyright, its right to register the same, or to keep and maintain the same, except
                     in each case, to the extent it would not reasonably be expected to result in a
                     Material Adverse Effect.

             (b)     Whenever the Obligor, either by itself or through any agent, employee, licensee or
                     designee, shall file an application for the registration of or acquire any interests in
                     any material patent, trademark or copyright with ClPO or any similar office or
                     agency of any jurisdiction, the Obligor shall report such filing to the Agent within
                     ten (10) Business Days after the last day of the fiscal quarter in which such filing
                     occurs, and, upon request of the Agent, the Obligor shall execute and deliver any
                     and all agreements relating to patent, trademark or copyright as the Agent may
                     request to evidence the Agent's Security Interest in such patent, trademark or
                     copyright, and the general intangibles of the Obligor relating thereto or
                     represented thereby. For the avoidance of doubt, the provisions hereof shall
                     automatically apply to any such patent, trademark or copyright acquired after the
                     date hereof and such patent, trademark or copyright shall automatically constitute
                     Collateral as if such would have constituted Collateral at the time of execution
                     hereof and be subject to the Lien and security interest created by this Agreement
                     without further action by any party.

             (c)     Except with respect to any copyright permitted to be abandoned under the Credit
                     Agreement, the Obligor shall take all actions necessary or reasonably requested



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                     by the Agent to maintain and pursue each application, to obtain the relevant


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•            (d)
                   registration and to maintain the registration of each material copyright, including
                   the filing of applications for renewal.

                   Except with respect to any patent or trademark permitted to be abandoned under
                   the Credit Agreement, the Obligor shall take all actions necessary or reasonably
                   requested by the Agent to maintain and pursue each application, to obtain the
                   relevant registration and to maintain the registration of each material patent or
                   trademark, including the filing of applications for renewal, affidavits of use and
                   affidavits of non-contestability and the payment of maintenance fees.

             (e)   In the event that any material patents, trademarks or copyrights is infringed upon,
                   or misappropriated, diluted or otherwise violated by a third party, the Obligor
                   shall (i) notify the Agent promptly after the Obligor learns thereof and (ii) take
                   such actions as the Obligor shall reasonably deem appropriate under the
                   circumstances to protect such patent, trademark or copyright, stop the
                   infringement and obtain damages.

             (I)   Except with respect to any copyright, trademark or patent not required to be
                   maintained or permitted to be abandoned under the Credit Agreement, the Obligor
                   (either itself or through its permitted licensees) will not take or knowingly omit to
                   take any action whereby any material copyright, trademark or patent could
                   reasonably be expected to become abandoned, dedicated or invalidated or



•            (g)
                   whereby the remedies in respect of such copyright, trademark or patent with
                   respect to potential infringers could reasonably be expected to become weakened.

                   The Obligor (either itself or through licensee) will not knowingly do any act that
                   uses any Intellectual Property to infringe the intellectual property rights of any
                   other Person which would reasonably be likely to have a Material Adverse Effect.

    Section 5,5    Insurance.

            All property damage insurance maintained on any portion of the Collateral of the Obligor
    shall name the Agent as lender's loss payee, and all liability insurance maintained in respect of
    any portion of the Collateral of the Obligor shall name the Agent as an additional insured. The
    Obligor shall furnish the Agent with certificates of insurance evidencing compliance with the
    foregoing insurance provision.

                                              ARTICLE 6
                                              GENERAL

    Section 6.1    Notices.

           All notices, requests and demands to or upon the Agent or the Obligor under this
    Agreement shall be in writing and delivered to the addressee by prepaid private courier or sent
    by facsimile to the applicable address and to the attention of the officer of the addressee as
    follows:




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             To the Obligor:

             Q'Max Solutions Inc.
             407 2nd St. SW, Ste. 1700
             Calgary, Alberta T2P 2Y3

             Attention:      Mark Roberts, Chief Financial Officer
             Fax No.:        (403) 269-2251

             To the Agent:

           ._HSBC Bank Canada, as Agent                                    _..   .   .~-.:..'-   ,"   ,   "-'\'

             7th Floor, 70 York Street
             Toronto, Ontario M5J I S9

             Attention:      Manager Agency
             Fax No.:        (647) 788-2185

    Any communication transmitted by prepaid private courier shall be deemed to have been validly
    and effectively given or delivered on the Business Day after which it is submitted for delivery.
    Any communication transmitted by facsimile shall be deemed to have been validly and
    effectively given or delivered on the day on which it is transmitted, if transmitted on a Business



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    Day on or before 5:00 p.m. (local time of the intended recipient), and otherwise on the next
    following Business Day. The Agent or the Obligor may change its respective address for service
    or other notices, including electronic communications, by notice given in the foregoing manner.

    Section 6.2     Discharge.

            The Security Interest will be discharged upon, but only upon, full and indefeasible
    payment and performance of the Secured Obligations. Upon the discharge of the Secured
    Obligations and at the request and expense of the Obligor, the Agent will execute and deliver to
    the Obligor such releases, discharges, financing statements and other documents or instruments
    as the Obligor may reasonably require and the Agent will promptly redeliver to the Obligor, or as
    the Obligor may otherwise direct the Agent, any Collateral in its possession.

            If any of the Collateral shall be sold, transferred or otherwise disposed of by the Obligor
    in a transaction permitted by the Credit Agreement then the Agent, at the request and sole
    expense of the Obligor, shall promptly execute and deliver to the Obligor all releases or other
    documents necessary or reasonably desirable for the release of the Liens created by such
    Collateral.

    Section 6.3     No Merger.

            This Agreement does not operate by way of merger of any of the Secured Obligations
    and no judgment recovered by the Agent or any of the Secured Creditors will operate by way of
    merger of, or in any way affect, the Security Interest, which is in addition to, and not in
    substitution for, any other security now or hereafter held by the Agent and the Secured Creditors



•   in respect of the Secured Obligations. The representations, warranties and covenants of the


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•   Oblig~r in this Agreement survive the execution and delivery of this Agreement and any
    advances under the Credit Agreement. Notwithstanding any investigation made by or on behalf
    of the Agent or the Secured Creditors these covenants, representations and warranties continue in
    full force and effect until this Agreement shall terminate (or thereafter to the extent provided
    therein).

    Section 6.4     Further Assurances.

            The Obligor will do all acts and things and execute and deliver, or cause to be executed
    and delivered, all agreements, documents and instruments that the Agent may reasonably require
    and take all further steps relating to the Collateral or any other property or assets of the Obligor
    that the Agent may reasonably-requiie for (i) protecting the Collateral, (ii) perfecting, preserving
    and protecting the Security Interest, and (iii) exercising all powers, authorities and discretions
    conferred upon the Collateral Agent. Whenever the Security Interest is enforceable, the Obligor
    will do all acts and things and execute and deliver all documents and instruments that the
    Collateral Agent may reasonably require for facilitating the sale or other disposition of the
    Collateral in connection with its realization.

    Section 6.5     Supplemental Security.

            This Agreement is in addition to, without prejudice to and supplemental to all other
    security now held or which may hereafter be held by the Agent or the Secured Creditors.



•   Section 6.6     Successors and Assigns.

            This Agreement is binding on the Obligor and its successors and permitted assigns, and
    enures to the benefit of the Agent, the Secured Creditors and their respective successors and
    permitted assigns. This Agreement may be assigned by the Agent in accordance with the Credit
    Agreement and, in such event, any such assignee will be entitled to all of the rights and remedies
    of the Agent as set forth in this Agreement or otherwise. In any action brought by an assignee to
    enforce any such right or remedy, the Obligor will not assert against the assignee any claim or
    defence which the Obligor now has or may have against the Agent or any of the Secured
    Creditors. The Obligor may not assign, transfer or delegate any of its rights or obligations under
    this Agreement without the prior written consent of the Agent which may be unreasonably
    withheld.

    Section 6.7     Enforcement Expenses; Indemnification

    (I)      The Obligor agrees to payor reimburse each Secured Creditor and the Agent for all its
             costs and expenses incurred in enforcing or preserving any rights under this Agreement
             and the other Credit Documents to which the Obligor is a party, including, without
             limitation, the reasonable fees and disbursements of a single outside counsel to the Agent
             in each relevant jurisdiction.

    (2)      The Obligor agrees to pay, and to save the Agent and the Secured Creditors harmless
             from, any and all liabilities with respect to, or resulting from any delay in paying, any and



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             all stamp, excise, sales or other taxes which may be payable or determined to be payable
             with respect to any of the Collateral or in connection with any of the transactions


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•   (3)
             contemplated by this Agreement, in each case to the extent the Obligor would be required
             to do so pursuant to the Credit Agreement.

             The Obligor agrees to pay, and to save the Agent and the Secured Creditors harmless
             from, any and all liabilities, obligations, losses, damages, penalties, actions, judgments,
             suits, costs, expenses or disbursements of any kind or nature whatsoever with respect to
             the execution, delivery, enforcement, performance and administration of this Agreement
             to the extent the Obligor would be required to do so pursuant the Credit Agreement.

    (4)      The agreements in this Section 6.7 shall survive repayment of the Obligations and all
             other amounts payable under the Credit Agreement and the other Credit Documents.

    Section 6.8     Set·Off

            In addition to any rights and remedies of the Secured Creditors provided by law, each
    Secured Creditor shall have the right, without notice to the Obligor, any such notice being
    expressly waived by the Obligor to the extent permitted by Applicable Law, upon the
    Obligations becoming due and payable by the Obligor (whether at the stated maturity, by
    acceleration or otherwise), to apply to the payment of such Obligations, by setoff or otherwise,
    any and all deposits (general or special, time or demand, provisional or final), in any currency,
    and any other credits, indebtedness or claims, in any currency, in each case whether direct or
    indirect, absolute or contingent, matured or unmatured, at any time held or owing by such



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    Secured Creditor, any affiliate thereof or any of their respective branches or agencies to or for
    the credit or the account of the Obligor. Each Secured Creditor agrees promptly to notifY the
    Obligor and the Agent after any such application made by such Secured Creditor; provided that
    the failure to give such notice shall not affect the validity of such application.

    Section 6.9     Severability.

           If any court of competent jurisdiction from which no appeal exists or is taken, determines
    any provision of this Agreement to be illegal, invalid or unenforceable, that provision will be
    severed from this Agreement and the remaining provisions will remain in full force and effect.

    Section 6.10 Amendment.

          This Agreement may only be amended, supplemented or otherwise modified by written
    agreement executed by the Agent and the Obligor.

    Section 6.11    Waivers, etc.

    (I)      No consent or waiver by the Agent or the Secured Creditors in respect of this Agreement
             is binding unless made in writing and signed by an authorized officer of the Agent. Any
             consent or waiver given under this Agreement is effective only in the specific instance
             and for the specific purpose for which given. No waiver of any of the provisions of this
             Agreement constitutes a waiver of any other provision.

    (2)      A failure or delay on the part of the Agent or the Secured Creditors in exercising a right



•            under this Agreement does not operate as a waiver of, or impair, any right of the Agent or


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•            the Secured Creditors however arising. A single or partial exercise of a right on the part
             of the Agent or the Secured Creditors does not preclude any other or further exercise of
             that right or the exercise of any other right by the Agent or the Secured Creditors.

    Section 6.12 Conflict.

            In the event of a direct conflict or inconsistency between the tenns and provISIons
    contained in this Agreement and the tenns and provisions contained in the Credit Agreement, it
    is the intentions of the parties hereto that such tenns and provisions in such documents shall be
    read together and construed, to the fullest extent possible, to be in concert with each other. In the
    event of any actual, irreconcilable conflict or inconsistency that cannot be resolved as aforesaid,
    the tenns and provisions of the Credit Agreement shall control and govern. In addition, to-the
    extent that, under the Credit Agreement, the Obligor is pennitted to undertake any act or granted
    any entitlement, the provisions of this Agreement shall be deemed to preserve such pennission or
    entitlement notwithstanding anything to the contrary herein.

    Section 6.13 Governing Law.

           This Agreement will be governed by, interpreted and enforced in accordance with the
    laws of the Province of Alberta and the federal laws of Canada applicable therein.

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•     IN WITNESS WHEREOF the Obligor has executed this Agreement.



                                               Q'MAX SOLUTIONS INC.



                                               Per:
                                                         5::::::;2%~:;7=?ZSn-tc::::::::::;:~_ __
                                                      Name: Mark Roberts
                                                      Title: Chief Financial Officer




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•              [Signature Page to General Security Agreement - Q 'Max Solutions Inc.)
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•   Legal Name
                                         SCHEDULE "A"
                            Jurisdiction of
                            Incorporation or
                                                 Location of Chief Executive
                                                 Office
                                                                               Location of Business and
                                                                               Assets
                            Formation

    Q'Max Solutions Inc.    Alberta              407 2nd SI. NW, Ste. 1700     Albena and India
                                                 Calgary, Albena T2P 2Y3




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•
                        QMAX CANADA OPERATIONS INC.

                                    as Obligor

                                       and

                              HSBC BANK CANADA

                              as Administrative Agent




                            SECURITY AGREEMENT
                                September 1, 2016




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•                                       SECURITY AGREEMENT

           Security Agreement dated as of September 1, 2016 (the "Agreement") made by QMax
    Canada Operations Inc. (the "Obligor"), to and in favour of HSBC Bank Canada, as Agent for
    the benefit of the Secured Creditors.

             WHEREAS, pursuant to, and subject to the tenns and conditions of, an Amended and
    Restated Credit Agreement dated as of January 30, 2015 (as amended by a first amending
    agreement dated as of September 3, 2015, and as further amended by a second amending
    agreement dated as of March 30, 2016, as may be further amended, restated, supplemented
    and/or modified from time to time, the "Credit Agreement"), among Q'Max Solutions Inc. and
    Q'Max America Inc. , as borrowers, HSBC Bank Canada and those other financial institutions
    who from time to time become parties thereto as lenders (collectively, the "Lenders") and
    HSBC Bank Canada, as administrative agent for the Lenders (in such capacity together with its
    successors and assigns in such capacity, the "Agent"), the Lenders agreed to make certain credit
    facilities available to the Borrowers;

           AND WHEREAS, the Obligor has agreed to execute this Agreement to become a
    Material Subsidiary and Credit Party under the Credit Agreement;

           NOW, THEREFORE, in consideration of the premises and for other good and valuable
    consideration the receipt and sufficiency of which are hereby acknowledged, the parties hereto



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    agree as follows:

                                               ARTICLE 1
                                            INTERPRETATION

    Section 1.1     Defined Terms.

    As used in this Agreement, the following terms have the following meanings :

    "Agreement" means this security agreement as may be amended, supplemented or otherwise
    modified from time to time.

    "CIPO" means the Canadian Intellectual Property Office.

    "Collateral" has the meaning specified in Section 2.1 of this Agreement.

    "Credit Agreement" shall have the meaning attributed to such term in the Preamble of this
    Agreement.

    "Instruments" means (i) a bill, note or cheque within the meaning of the Bills of Exchange Act
    (Canada) or any other writing that evidences a right to the payment of money and is of a type
    that in the ordinary course of business is transferred by delivery with any necessary endorsement
    or assignment, or (ii) a letter of credit and an adv ice of credit if the letter or advice states that it
    must be surrendered upon claiming payment thereunder, or (iii) chattel paper or any other
    writing that evidences both a monetary obligation and a security interest in or a lease of specific



•   goods, or (iv) documents of title or any other writing that purports to be issued by or addressed to


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•   a bailee and purports to cover such goods in the bailee's possession as are identified or fungible
    portions of an identified mass, and that in the ordinary course of business is treated as
    establishing that the Person in possession of it is entitled to receive, hold and dispose of the
    document and the goods it covers, or (v) any document or writing commonly known as an
    instrument, but excludes investment property.

    "Intellectual Property" means domestic and foreign: (i) patents, applications for patents and
    reissues, divisions, continuations, renewals, extensions and continuations-in-part of patents or
    patent applications; (ii) proprietary and nonpublic business information, including inventions
    (whether patentable or not), invention disclosures, improvements, discoveries, trade secrets,
    confidential information, know-how, methods, processes, designs, technology, technical data,
    schematics, formulae and customer lists, and documentation relating to any of the foregoing; (iii)
    copyrights, copyright registrations and applications for copyright registration; (iv) mask works,
    mask work registrations and applications for mask work registrations; (v) designs, design
    registrations, design registration applications and integrated circuit topographies; (vi) trade
    names, business names, corporate names, domain names, website names and world wide web
    addresses, common law trade-marks, service marks, certification marks, trade dress, logos,
    applications, registrations and renewals for any of the foregoing and the goodwill connected with
    the use of and symbolized by any of the foregoing; (vii) computer software and programs (both
    source code and object code fonn), all proprietary rights in the computer software and programs
    and all documentation and other materials related to the computer software and programs; (viii)
    any other intellectual property and industrial property; (ix) income, fees, royalties, damages,



•   claims and payments for past, present, or future infringements, dilutions or other violations
    thereof; (x) rights corresponding thereto throughout the world; and (xi) rights to sue for past,
    present or future infringements, dilutions or other violations thereof.

    "Obligations" means, in respect of the Obligor, the Obligations (as such term is defined in the
    Credit Agreement) of such Obligor.

    "Obligor" shall have the meaning attributed to such term in the Preamble of this Agreement.

    "PPSA" means the Personal Property Security Act (Albetia) and the regulations promulgated
    thereunder and other applicable personal property security legislation of the applicable Canadian
    province or provinces (including the Civil Code of Quebec and the regulations respecting the
    register of personal and movable real rights promulgated thereunder) as all such legislation now
    exists or may from time to time hereafter be amended, modified, recodified, supplemented or
    replaced, together with all rules, regulations and interpretations thereunder or related thereto.

    "Registrable Intellectual Property" means any Intellectual Property in respect of which
    ownership, title, security interests, charges or encumbrances are capable of registration,
    recording or notation with any Governmental Authority pursuant to Applicable Laws.

    "Restricted Asset" has the meaning specified in Section 2.4(1) of this Agreement.

    "Secured Creditors" means, collectively, the Agent, the Lenders, the Hedge Providers and
    counterparties providing services pursuant to the Banking Services Agreements.

•   "Secured Obligations" has the meaning specified in Section 2.2 of this Agreement.


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•   "Securities" means securities as defined in the Securities Transfer Act (Alberta).

    "Security Interest" has the meaning specified in Section 2.2

    Section 1.2      Interpretation.

    (1)       Capitalized terms used in this Agreement but not defined have the meanings given to
              them in the Credit Agreement. Terms defined in the PPSA and the Securities Transfer
              Act (Alberta) ("ST A") and used but not otherwise defined in this Agreement have the
              same meanings. For greater certainty, the terms " account", "chattel paper", "document
              of title", "equipment", "goods", "instrument", "intangible", "investment property",
              "money", "personal property" and "proceeds" have the meanings given to them in the
              PPSA; and the terms "certificated security", "control", "delivery", "entitlement
              holder", "financial asset", "securities account", "securities intermediary", "security
              entitlement" and "uncertificated security" have the meanings given to them in the STA
              or the PPSA as applicable.

    (2)       Any reference in any Credit Document to Permitted Liens and any right of the Obligor to
              create or suffer to exist Permitted Liens are not intended to and do not and will not
              subordinate the Security Interest to any such Permitted Lien or give priority to any Person
              over the Secured Creditors with respect to any such Permitted Lien.




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    (3)       The rules of interpretation specified in Article 1 of the Credit Agreement shall be
              applicable to this Agreement.

                                              ARTICLE2
                                          ARTICLE 2 SECURITY

    Section 2.1      Grant of Security.

    (1)       Subject to Section 2.4 and Section 2.5, the Obligor grants to the Agent, for the benefit of
              the Secured Creditors, a security interest in, and assigns, mortgages, charges,
              hypothecates and pledges to the Agent, for the benefit of the Secured Creditors, all of the
              property, assets, effects and undertaking of the Obligor whether now owned or hereafter
              acquired and all of the property, assets, effects and undertaking in which the Obligor now
              has or hereafter acquires any interest (collectively, the "Personal Property Collateral"),
              including all of the Obligor's:

              (a)    present and after-acquired personal property including:

                     (i)     inventory including goods held for sale, lease or resale, goods furnished or
                             to be furnished to third parties under contracts of lease, consignment or
                             service, goods which are raw materials or work in process, goods used in
                             or procured for packing and materials used or consumed in the businesses
                             of the Obligor;

                     (ii)    equipment, machinery, furniture, fixtures , plant, vehicles and other goods



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                             of every kind and description and all licences and other rights and all
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•                    (iii)
                             related records, files, charts, plans, drawings, specifications, manuals and
                             documents;

                             accounts due or accruing and all related agreements, books, accounts,
                             invoices, letters, documents and papers recording, evidencing or relating
                             to them;

                     (iv)    money, documents of title, chattel paper, financial assets and investment
                             property;

                     (v)     security accounts and all of the credit balances, securities entitlements,
                             other financial assets and items or property (or their value) standing to the
                             credit from time to time in such securities accounts;

                     (vi)    Instruments and Securities; and

                     (vii)   intangibles including all security interests, goodwill, choses in action,
                             contracts, contract rights, licenses and other contractual benefits;

              (b)    Intellectual Property including the Registrable Intellectual Property;

              (c)    all substitutions and replacements of and increases, additions and, where




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                     applicable, accessions to the property described in Section 2.1(a) and Section
                     2.1(b); and

              (d)    all proceeds in any form derived directly or indirectly from any dealing with all or
                     any part of the property described in Section 2.1(a) and Section 2.1(c) inclusive,
                     including the proceeds of such proceeds.

    (2)       Subject to Section 2.4 and Section 2.5, the Obligor hereby charges as and by way of a
              floating charge in favour of the Agent for the benefit of the Secured Creditors all the
              presently owned or held and hereafter acquired property, assets, effects and undertaking
              of the Obligor of whatsoever nature and kind and wheresoever situate, other than such of
              the Obligor' s property, assets, effects and undertakings of the Obligor as are validly and
              effectively subjected to the security interest granted to the Agent pursuant to Section
              2.1(1) (all of which property, assets, effects and undertakings so charged by this Section
              2.1 (2) are herein collectively called the "Other Collateral", and together with the
              Personal Property Collateral the "Collateral") including, without limiting the generality
              of the foregoing, all presently owned or held and hereafter acquired right, title and
              interest of the Obligor in and to real and immovable and leasehold property and rights
              whether in fee or of a less estate and all interest in and rights relating to lands and all
              easements, rights of way, privilege, benefits, licences, improvements and rights whether
              connected therewith or appurtenant thereto or separately owned or held and all structures,
              buildings, plant, machinery, fixtures , apparatus and fixed assets and the charge created by
              this Section 2.1(2) shall be a floating charge such that the Obligor shall not have power
              without the prior written consent of the Agent to:




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•             (a)    create or permit to exist any Lien against any of the Other Collateral which ranks
                     or could in any event rank in priority to or pari passu with the security constituted
                     by this Agreement, save for those Liens that are Permitted Liens; or

              (b)    grant, sell, exchange, transfer, assign, lease or otherwise dispose of the Other
                     Collateral, save for Permitted Dispositions.

    Section 2.2      Secured Obligations.

           The security interests, assignments, mortgages, charges, hypothecations and pledges
    granted by the Obligor under this Agreement (collectively, the "Security Interest") secure the
    payment and performance of the following (collectively, the "Secured Obligations"):

              (a)    the Obligations of the Obligor; and

              (b)    all expenses, costs and charges incurred by or on behalf of the Secured Creditors
                     in connection with this Agreement, the Security Interest or the Collateral,
                     including all reasonable legal fees , court costs, receiver's or agent's remuneration
                     and other expenses of taking possession of, repairing, protecting, insuring,
                     preparing for disposition, realizing, collecting, selling, transferring, delivering or
                     obtaining payment for the Collateral, and of taking, defending or participating in
                     any action or proceeding in connection with any of the foregoing matters or




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                     otherwise in connection with the Secured Creditors' interest in any Collateral,
                     whether or not directly relating to the enforcement of this Agreement or any other
                     Credit Document.

    Section 2.3      Attachment.

             The Obligor acknowledges that (i) value has been given, (ii) it has rights in the applicable
    Collateral or the power to transfer rights in the Collateral to the Agent (other than after-acquired
    Collateral), (iii) it has not agreed to postpone the time of attachment of the Security Interest, and
    (iv) it has received a copy of this Agreement.

    Section 2.4      Scope of Security Interest.

    (1)       To the extent that an assignment of amounts payable and other proceeds arising under or
              in connection with, or the grant of a security interest in any agreement, licence, lease,
              permit, instrument or quota of the Obligor would constitute a default under, or a breach
              of, or would result in the termination of, such agreement, licence, lease, permit,
              instrument or quota (each, a "Restricted Asset"), the Security Interest with respect to
              each Restricted Asset will constitute a bust created in favour of the Agent, for the benefit
              of the Secured Creditors, pursuant to which the Obligor holds as trustee all proceeds
              arising under or in connection with the Restricted Asset in trust for the Agent, for the
              benefit of the Secured Creditors, on the following basis:

              (a)    subject to the Credit Agreement, until the Security Interest is enforceable, the




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                     Obligor is entitled to receive all such proceeds; and



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•              (b)    whenever the Security Interest is enforceable, (i) all rights of the Obligor to
                      receive such proceeds cease and all such proceeds will be immediately paid over
                      to the Agent for the benefit of the Secured Creditors, and (ii) the Obligor will take
                      all actions requested by the Agent to collect and enforce payment and other rights
                      arising under the Restricted Asset.

    (2)        The Security Interest with respect to trademarks constitutes a security interest in, and a
               charge, hypothecation and pledge of such Collateral in favour of the Agent for the benefit
               of the Secured Creditors, but does not constitute an assignment or mortgage of such
               Collateral to the Agent or any Secured Creditor.

    (3)        Until the Security Interest is enforceable, the grant of the Security Interest in the
               Intellectual Property does not affect in any way the Obligor's rights to commercially
               exploit the Intellectual Property, defend it, enforce the Obligor's rights in it or with
               respect to it against third parties in any court or claim and be entitled to receive any
               damages with respect to any inftingement of it.

    (4)        The Security Interest does not extend to consumer goods.

    (5)        The Security Interest does not extend or apply to the last day of the term of any lease or
               sublease of real property or any agreement for a lease or sublease of real property, now
               held or hereafter acquired by the Obligor, but the Obligor will stand possessed of any



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               such last day upon trust to assign and dispose of it as the Agent may reasonably direct.

    Section 2.5       No Control Agreements.

            Notwithstanding anything to the contrary herein, in no event shall the Obligor or any
    Subsidiary thereof be required to execute control agreements to perfect the security interests
    granted hereunder, including in (i) any deposit, commodity or securities account (including,
    without limitation, securities entitlements and related assets) or (ii) other assets requiring
    perfection through control.

    Section 2.6       Grant of Licence to Use Intellectual Property.

            For the purpose of enabling the Agent, during an Event of Default which is continuing, to
    exercise rights and remedies hereunder, and for no other purposes, the Obligor hereby grants to
    the Agent an irrevocable, non-exclusive license, (exercisable without payments of royalty or
    other compensation to the Obligor) to use, assign, license or sub-license any of the Collateral of
    the Obligor consisting of Intellectual Property in which the Obligor now has or hereafter acquires
    rights, and wherever the same may be located, and including in such license reasonable access to
    all media in which any of the licensed items may be recorded or stored and to all computer
    software and programs used for the compilation or printout thereof. The Agent covenants and
    agrees that it will not exercise its rights under the foregoing license except during the time that it
    shall be lawfully entitled to exercise its rights and remedies hereunder.




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•   Section 2.7

    (1)
                     Care and Custody of Collateral.

              The Agent shall keep the Collateral in its possession identifiable in accordance with its
              customary practice for the Collateral of such type.

    (2)       Without limiting any other rights or remedies under this Agreement, the Agent may upon
              the occurrence and during the continuance of an Event of Default, (i) notify any Person
              obligated on an Instmment, Security or account to make payments to the Agent, whether
              or not the Obligor was previously making collections on such accounts, chattel paper,
              instmments, and (ii) assume control of any proceeds atising from the Collateral.

    (3)       The Agent has no obligation to collect dividends, distributions or interest payable on, or
              exercise any option or right in connection with, any Collateral. The Agent has no
              obligation to protect or preserve any Collateral from depreciating in value or becoming
              worthless and is released from all responsibility for any loss of value. In the physical
              keeping of any Securities, the Agent is only obliged to exercise the same degree of care
              as it would exercise with respect to its own Securities kept at the same place.

    (4)       The Agent may, upon the occurrence and during the continuance of any Event of Default,
              sell, transfer, use or otherwise deal with any inveshnent property included in the
              Collateral over which the Agent has control, on such conditions and in such manner as
              the Agent in its sole discretion may determine.

•   Section 2.8      Rights of the Obligor.

    ( 1)      Until the occurrence of an Event of Default which is continuing, the Obligor is entitled to
              vote the Securities and other financial assets that are part of the Collateral and to receive
              dividends and distributions on such Securities and financial assets, as may be permitted
              by the Credit Agreement. Upon the occurrence and during the continuance of an Event of
              Default, all rights of the Obligor to vote (under any proxy given by the Agent (or its
              nominee) or otherwise) or to receive distributions or dividends cease and all such rights
              become vested solely and absolutely in the Agent.

    (2)       Any distributions or dividends received by the Obligor contrary to Section 2.8(1) or any
              other moneys or property received by the Obligor after the Security Interest is
              enforceable will be received as tmstee for the Agent and the Secured Creditors and shall
              be immediately paid over to the Agent.

                                                ARTICLE 3
                                              ENFORCEMENT

    Section 3.1      Enforcement.

           The Security Interest becomes and is enforceable against the Obligor upon the occurrence
    and during the continuance of an Event of Default.




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•   Section 3.2     Remedies.

           Whenever the Security Interest is enforceable, the Agent may realize upon the Collateral
    and enforce the rights of the Agent and the Secured Creditors by:

              (a)   entry onto any premises where Collateral consisting of tangible personal property
                    may be located;

              (b)   entry into possession of the Collateral by any method permitted by law;

              (c)   sale, grant of options to purchase, or lease of all or any part of the Collateral;

              (d)   holding, storing and keeping idle or operating all or any part of the Collateral;

              (e)   exercising and enforcing all rights and remedies of a holder of the Collateral as if
                    the Agent were the absolute owner thereof (including, if necessary, causing the
                    Collateral to be registered in the name of the Agent or its nominee if not already
                    done);

              (f)   collection of any proceeds arising in respect of the Collateral;

              (g)   collection, realization or sale of, or other dealing with, accounts;




•             (h)




              (i)
                    license or sublicense, whether on an exclusive or nonexclusive basis, of any
                    Intellectual Property for such term and on such conditions and in such manner as
                    the Agent in its sole judgment determines (taking into account such provisions as
                    may be necessary to protect and preserve such Intellectual Property);

                    instruction to any bank to transfer all moneys constituting Collateral held by such
                    bank to an account maintained with or by the Agent;

              (j)   application of any moneys constituting Collateral or proceeds thereof m
                    accordance with this Agreement;

              (k)   appointment by instrument in writing of a receiver (which term as used in this
                    Agreement includes a receiver and manager) or agent of all or any part of the
                    Collateral and removal or replacement from time to time of any receiver or agent;

              (1)   institution of proceedings in any court of competent jurisdiction for the
                    appointment of a receiver of all or any part of the Collateral;

              (m)   institution of proceedings in any court of competent jurisdiction for sale or
                    foreclosure of all or any part of the Collateral;

              (n)   filing of proofs of claim and other documents to establish claims to the Collateral
                    in any proceeding relating to the Obligor; and




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              (o)   any other remedy or proceeding authorized or permitted under the PPSA or
                    otherwise by law or equity.


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•   Section 3.3     Additional Rights.

          In addition to the remedies set forth in Section 3.2 and elsewhere in this Agreement,
    whenever the Security Interest is enforceable, the Agent may:

              (a)   require the Obligor, at the Obligor's expense, to assemble the Collateral at a place
                    or places designated by notice in writing and the Obligor agrees to so assemble
                    the Collateral promptly upon receipt of such notice;

              (b)   require the Obligor, by notice in writing, to disclose to the Agent the location or
                    locations of the Collateral and the Obligor agrees to promptly make such
                    disclosure when so required;

              (c)   repair, process, modify, complete or otherwise deal with the Collateral and
                    prepare for the disposition of the Collateral, whether on the premises of the
                    Obligor or otherwise;

              (d)   redeem any prior security interest against any Collateral, procure the transfer of
                    such security interest to itself, or settle and pass the accounts of the prior
                    mortgagee, chargee or encumbrancer (any accounts to be conclusive and binding
                    on the Obligor absent manifest error and provided the Agent has exercised
                    reasonable diligence in verifying such accounts);




•             (e)


              (f)
                    pay any liability secured by any Lien against any Collateral (all such payments to
                    be added to the Obligations);

                    carry on all or any part of the business of the Obligor and, to the exclusion of all
                    others including the Obligor, enter upon, occupy and use all or any of the
                    premises, buildings, and other property of or used by the Obligor for such time as
                    the Agent sees fit, free of charge, and the Agent and the Secured Creditors are not
                    liable to the Obligor for any act, omission or negligence (other than their own
                    gross negligence or willful misconduct) in so doing or for any rent, charges,
                    depreciation or damages incuned in connection with or resulting from such
                    action;

              (g)   borrow for the purpose of carrying on any of the businesses of the Obligor or for
                    the maintenance, preservation or protection of the Collateral and grant a security
                    interest in the Collateral, whether or not in priority to the Security Interest, to
                    secure repayment;

              (h)   commence, continue or defend any judicial or administrative proceedings for the
                    purpose of protecting, seizing, collecting, realizing or obtaining possession or
                    payment of the Collateral, and give good and valid receipts and discharges in
                    respect of the Collateral and compromise or give time for the payment or
                    performance of all or any part of the accounts or any other obligation of any third
                    party to the Obligor; and




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•            (i)    at any public sale, and to the extent permitted by law on any private sale, bid for
                    and purchase any or all of the Collateral offered for sale and upon compliance
                    with the terms of such sale, hold, retain and dispose of such Collateral without
                    any further accountability to the Obligor or any other Person with respect to such
                    holding, retention or disposition, except as required by law. In any such sale to the
                    Agent, the Agent may, for the purpose of making payment for all or any part of
                    the Collateral so purchased, use any claim for Secured Obligations then due and
                    payable to it as a credit against the purchase price.

    Section 3.4     Exercise of Remedies.

           The remedies hereunder including under Section 3.2 and Section 3.3 may, subject to the
    Applicable Laws to the extent required thereby, be exercised from time to time separately or in
    combination and are in addition to, and not in substitution for, any other rights of the Agent and
    the Secured Creditors however arising or created. The Agent and the Secured Creditors are not
    bound to exercise any right or remedy, and the exercise of rights and remedies is without
    prejudice to the rights of the Agent and the Secured Creditors in respect of the Secured
    Obligations including the right to claim for any deficiency.

    Section 3.5     Receiver's Powers.

    (1)      Any receiver appointed by the Agent is vested with the rights and remedies which could



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             have been exercised by the Agent in respect of the Obligor or the Collateral and such
             other powers and discretions as are granted in the instrument of appointment and any
             supplemental instruments. The identity of the receiver, its replacement and its
             remuneration are within the sole and unfettered discretion of the Agent, provided such
             remuneration is on commercially reasonable terms.

    (2)      Any receiver appointed by the Agent will act as agent for the Agent for the purposes of
             taking possession of the Collateral, but otherwise and for all other purposes (except as
             provided below), as agent for the Obligor. The receiver may sell, lease, or otherwise
             dispose of Collateral as agent for the Obligor or as agent for the Agent as the Agent may
             determine in its discretion. The Obligor agrees to ratify and confirm all actions of the
             receiver acting as agent for the Obligor, and to release and indemnify the receiver in
             respect of all such actions.

    (3)      The Agent, in appointing or refraining from appomtmg any receiver, does not incur
             liability to the receiver, the Obligor or otherwise and is not responsible for any
             misconduct or negligence of such receiver.

    Section 3.6     Appointment of Attorney.

    (1)      The Obligor hereby irrevocably constitutes and appoints the Agent and any officer or
             agent thereof, with full power of substitution, as its true and lawful attorney-in-fact with
             full irrevocable power and authority in the place and stead of the Obligor and in the name
             of the Obligor or in its own name, for the purpose of can-ying out the te1ms of this




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             Agreement, to take any and all appropriate action and to execute any and all documents
             and instruments which may be necessary or desirable to accomplish the purposes of this


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•             Agreement, and, without limiting the generality of the foregoing, the Obligor hereby
              gives the Agent the power and right, on behalf of the Obligor, without notice to or assent
              by the Obligor, to do any or all of the following:

              (a)    in the name of the Obligor or its own name, or otherwise, take possession of and
                     endorse and collect any cheques, drafts, notes, acceptances or other instruments
                     for the payment of moneys due with respect to any Collateral and file any claim
                     or take any other action or proceeding in any court of law or equity or otherwise
                     deemed appropriate by the Agent for the purpose of collecting any and all such
                     moneys due whenever payable;

              (b)    in the case of any Intellectual Prope1iy, execute and deliver, and have recorded,
                     any and all agreements, instruments, documents and papers as the Agent may
                     request to evidence the Agent's and the Secured Creditors' Security Interest in
                     such Intellectual Property and the goodwill and general intangibles of the Obligor
                     relating thereto or represented thereby;

              (c)    pay or discharge taxes and Liens levied or placed on or threatened against the
                     Collateral, effect any repairs or any insurance called for by the terms of this
                     Agreement and pay all or any part of the premiums therefor and the costs thereof;

              (d)    execute, in connection with any sale provided for in this Agreement, any




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                     endorsements, assignments or other instruments of conveyance or transfer with
                     respect to the Collateral; and

              (e)    ( 1) direct any party liable for any payment under any of the Collateral to make
                     payment of any and all moneys due or to become due thereunder directly to the
                     Agent or as the Agent shall direct; (2) ask or demand for, collect, and receive
                     payment of and receipt for, any and all moneys, claims and other amounts due or
                     to become due at any time in respect of or arising out of any Collateral; (3) sign
                     and endorse any invoices, freight or express bills, bills of lading, storage or
                     warehouse receipts, drafts against debtors, assignments, verifications, notices and
                     other documents in connection with any of the Collateral; (4) cornn1ence and
                     prosecute any suits, actions or proceedings at law or in equity in any court of
                     competent jurisdiction to collect the Collateral or any portion thereof and to
                     enforce any other right in respect of any Collateral; (5) defend any suit, action or
                     proceeding brought against the Obligor with respect to any Collateral; (6) settle,
                     compromise or adjust any such suit, action or proceeding and, in connection
                     therewith, give such discharges or releases as the Agent may deem appropriate;
                     (7) assign any Intellectual Property (along with the goodwill of the business to
                     which any such Intellectual Prope1iy pertains), throughout the world for such term
                     or tenns, on such conditions, and in such manner, as the Agent shall in its sole
                     discretion determine; and (8) generally, sell, transfer, pledge and make any
                     agreement with respect to or otherwise deal with any of the Collateral as fully and
                     completely as though the Agent were the absolute owner thereof for all purposes,
                     and do , at the Agent's option and the Obligor's expense, at any time, or from time



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                     to time, all acts and things which the Agent deems necessary to protect, preserve
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•                    or realize upon the Collateral and the Agent's and the Secured Creditors' Security
                     Interests therein and to effect the intent of this Agreement, all as fully and
                     effectively as the Obligor might do.

           Notwithstanding anything to the contrary in this Section 3.6, the Agent agrees that it will
    not exercise any rights under the power of attorney provided for in this Section 3.6 unless an
    Event of Default shall have occurred and be continuing and the Agent shall have given the
    Obligor notice of its intent to exercise the rights under the power of attorney provided for in this
    Section 3.6.

    (2)       If the Obligor fails to perform or comply with any of its agreements contained herein, the
              Agent, at its option, but without any obligation so to do, may perform or comply, or
              otherwise cause performance or compliance, with such agreement.

    (3)       The expenses of the Agent incurred in connection with actions undertaken as provided in
              this Section 3.6, together with interest thereon at a rate per annum equal to the highest
              rate per annum at which interest would then be payable on any category of past due
              Canadian Dollar Prime-Based Loans under the Credit Agreement, from the date of
              payment by the Agent to the date reimbursed by the Obligor, shall constitute Obligations
              and shall be payable by the Obligor to the Agent on demand.

    (4)       The Obligor hereby ratifies all that said attorneys shall lawfully do or cause to be done in



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              accordance with the terms hereof. And in accordance with this Section 3.6 all powers,
              authorizations and agencies contained in this Agreement are coupled with an interest and
              are irrevocable until this Agreement is terminated and the Security Interests created
              hereby are released.

    Section 3.7      Dealing with the Collateral.

    (1)       The Agent and the Secured Creditors are not obliged to exhaust their recourse against the
              Obligor or any other Person or against any other security they may hold in respect of the
              Secured Obligations before realizing upon or otherwise dealing with the Collateral in
              such manner as the Agent may consider desirable.

    (2)       The Agent and the Secured Creditors may grant extensions or other indulgences, take and
              give up securities, accept compositions, grant releases and discharges and otherwise deal
              with the Obligor and with other Persons, sureties or securities as they may see fit without
              prejudice to the Secured Obligations, the liability of the Obligor or the rights of the Agent
              and the Secured Creditors in respect of the Collateral.

    (3)       Except as otherwise provided by law or this Agreement, the Agent and the Secured
              Creditors are not (i) liable or accountable for any failure to collect, realize or obtain
              payment in respect of the Collateral, (ii) bound to institute proceedings for the purpose of
              collecting, enforcing, realizing or obtaining payment of the Collateral or for the purpose
              of preserving any rights of any Persons in respect of the Collateral, (iii) responsible for
              any loss occasioned by any sale or other dealing with the Collateral in accordance with




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              the terms hereof or by the retention of or failure to sell or otherwise deal with the
              Collateral, or (iv) bound to protect the Collateral from depreciating in value or becoming


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•             worthless. Notwithstanding the foregoing, the Agent and the Secured Creditors shall be
              responsible to the Obligor for gross negligence or willful misconduct.

    Section 3.8      Standards of Sale.

           Without prejudice to the ability of the Agent to dispose of the Collateral in any manner
    which is commercially reasonable, and subject always to the provisions of the PPSA, the Obligor
    acknowledges that:

              (a)    the Collateral may be disposed of in whole or in part;

              (b)    the Collateral may be disposed of by public auction, public tender or private
                     contract, with or without advertising and without any other fonnality;

              (c)    any assignee of such Collateral may be the Agent, a Secured Creditor or a
                     customer of any such Person;

              (d)    any sale conducted by the Agent will be at such time and place, on such notice
                     and in accordance with such procedures as the Agent, in its sole discretion, may
                     deem advantageous;

              (e)    the Collateral may be disposed of in any manner and on any terms necessary to




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                     avoid violation of Applicable Law (including compliance with such procedures as
                     may restrict the number of prospective bidders and purchasers, require that the
                     prospective bidders and purchasers have certain qualifications, and restrict the
                     prospective bidders and purchasers to Persons who will represent and agree that
                     they are purchasing for their own account for investment and not with a view to
                     the distribution or resale of the Collateral) or in order to obtain any required
                     approval of the disposition (or of the resulting purchase) by any governmental or
                     regulatory authority or official;

              (f)    a disposition of the Collateral may be on such terms and conditions as to credit or
                     otherwise as the Agent, in its sole discretion, may deem advantageous; and

              (g)    the Agent may establish an upset or reserve bid or price in respect of the
                     Collateral.

    Section 3.9      Dealings by Third Parties.

    (1)       No Person dealing with the Agent, any of the Secured Creditors or an agent or receiver is
              required to determine (i) whether the Security Interest has become enforceable, (ii)
              whether the powers which such Person is purporting to exercise have become
              exercisable, (iii) whether any money remains due to the Agent or the Secured Creditors
              by the Obligor, (iv) the necessity or expediency of the stipulations and conditions subject
              to which any sale or lease of Collateral is made, (v) the propriety or regulmity of any sale
              or other dealing by the Agent or any Secured Creditor with the Collateral, or (vi) how any
              money paid to the Agent or the Secured Creditors have been applied .



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•   (2)       Any bona fide purchaser of all or any part of the Collateral from the Agent or any
              receiver or agent will hold the Collateral absolutely, free from any claim or right of
              whatever kind, including any equity of redemption, of the Obligor, which each the
              Obligor specifically waives (to the fullest extent permitted by law) as against any such
              purchaser together with all rights of redemption, stay or appraisal which the Obligor has
              or may have under any rule of law or statute now existing or hereafter adopted.

    Section 3.10 Proceeds to be Turned Over to Agent.

            If an Event of Default shall occur and be continuing, all proceeds received by the Obligor
    consisting of cash, cheques and other near-cash items shall be held by the Obligor in trust for the
    Agent and the Secured Creditors and shall, forthwith upon receipt by the Obligor, be turned over
    to the Agent in the exact form received by the Obligor (duly endorsed by the Obligor to the
    Agent, if required). All proceeds received by the Agent hereunder shall be held by the Agent in a
    collateral account maintained under its sole dominion and control. All proceeds while held by the
    Agent in a collateral account (or by the Obligor in trust for the Agent and the Secured Creditors)
    shall continue to be held as collateral security for all the Obligations and shall not constitute
    payment thereof until applied thereto as provided in Section 3 .11.

    Section 3.11     Application of Proceeds.

            At such intervals as may be agreed upon by the Obligor and the Agent, or, if an Event of



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    Default shall have occurred and be continuing, at any time at the Agent's election, the Agent
    may apply all or any part of proceeds constituting Collateral and any proceeds of and distribution
    in respect of Collateral in payment of the Obligations as provided in the Credit Agreement.

                                       ARTICLE 4
                      REPRESENTATIONS, WARRANTIES AND COVENANTS

    Section 4.1      General Representations, Warranties and Covenants.

           The Obligor represents and warrants and covenants and agrees, acknowledging and
    confirming that the Agent and each Secured Creditor is relying on such representations,
    warranties, covenants and agreements, that:

              (a)    Obligor's Legal Status . On the date hereof, the Obligor' s legal name, jurisdiction
                     of organization or fom1ation (as applicable), the location of the Obligor's chief
                     executive office, the location of the Obligor' s business and assets, as the case may
                     be, are specified on Schedule A, as such Schedule may be amended,
                     supplemented or modified from time to time. The Obligor has delivered to the
                     Agent a certified charter, certificate of incorporation, pmtnership agreement or
                     other organization document and good standing certificate (or equivalent thereto)
                     as of a date which is recent to the date hereof.

              (b)    Title to Collateral. Except for the Security Interest granted to the Agent for the
                     benefit of the Secured Creditors pursuant to this Agreement and the other




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                     Permitted Liens, the Obligor owns each item of the Collateral free and clear of
                     any and all Liens or claims of others excepting Permitted Liens. For the avoidance


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•                   of doubt, it is understood and agreed that the Obligor may, as part of its business,
                    grant licenses to third parties to use Intellectual Property owned or developed by
                    the Obligor to the extent pennitted by the Credit Agreement. Each of the Agent
                    and each Secured Creditor understands that any such licenses may be exclusive to
                    the applicable licensees, and such exclusivity provisions may, to the extent such
                    licenses are Permitted Liens, limit the ability of the Agent to utilize, license free
                    of such license rights.

              (c)   Validity of Security Interest. The Security Interest (a) will constitute valid
                    perfected Security Interests in respect of all Collateral in which the Security
                    Interest may be perfected by filing, recording or registration in the province of
                    Alberta, in each case in favor of the Agent, for the benefit of the Secured
                    Creditors, as collateral security for the Obligor's Obligations, enforceable in
                    accordance with the tenus hereof against all creditors of the Obligor and any
                    Persons purporting to purchase any Collateral from the Obligor and (b) are prior
                    to all other Liens on the Collateral in existence on the date hereof except for (x)
                    unrecorded Permitted Liens which have priority over the Liens on the Collateral
                    by operation of law and (y) Liens expressly permitted by the Credit Agreement to
                    be prior to the Security Interest granted pursuant to the terms hereof.

                                               ARTICLES
                                              COVENANTS



•         The Obligor covenants and agrees with the Agent, that, from and after the date of this
    Agreement until the Obligations shall have been paid in full:

    Section 5.1     Changes in Name, etc.

            The Obligor will not, except upon 30 days' prior written notice to the Agent and delivery
    to the Agent of all additional financing statements and executed documents reasonably requested
    by the Agent to maintain the validity, perfection and priority of the Security Interests provided
    for herein, (i) change the location of its chief executive office or sole place of business or (ii)
    change its name.

    Section 5.2     Title to Collateral.

            The Obligor shall maintain the Security Interest created by this Agreement as a perfected
    Security Interest and shall defend such Security Interest against the claims and demands of all
    Persons whomsoever, subject to the rights of the Obligor under the Credit Agreement to dispose
    of the Collateral.

    Section 5.3     Other Action as to Collateral.

              (a)   The Obligor will furnish to the Agent from time to time statements and schedules
                    further identifying and describing the assets and property of the Obligor and such
                    other reports in connection therewith as the Agent may reasonably request, all in




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                    reasonable detail,



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•             (b)   without limiting the foregoing, within 15 days of a request therefor by the Agent
                    and only during the continuance of a Default or Event of Default, the Obligor will
                    furnish to the Agent (i) a listing of each of the " serial number goods" which fonn
                    part of the Collateral (as defined in the PPSA) together with the location of such
                    serial number goods and (ii) the legal descriptions of any Lands which form part
                    of the Collateral.

              (c)   At any time and from time to time, upon the written request of the Agent, and at
                    the sole expense of the Obligor, the Obligor will promptly and duly execute and
                    deliver, and have recorded, such further instruments and documents and take such
                    further actions as the Agent may reasonably request for the purpose of obtaining
                    or preserving the full benefits of this Agreement and of the rights and powers
                    herein granted, including, without limitation, filing any financing or continuation
                    statements under the PPSA (or other similar laws) in effect in any jurisdiction
                    with respect to the Security Interests created hereby.

    Section 5.4     Intellectual Property.

              (a)   Except with respect to any patent, trademark or copyright permitted to be
                    abandoned under the Credit Agreement, the Obligor shall notify the Agent
                    immediately if it knows or has reason to know that any application or registration
                    relating to any material patent, trademark or copyright of the Obligor may become



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                    abandoned, or dedicated to the public domain, or of any adverse determination or
                    development regarding the Obligor's ownership of any patent, trademark or
                    copyright, its right to register the same, or to keep and maintain the same, except
                    in each case, to the extent it would not reasonably be expected to result in a
                    Material Adverse Effect.

              (b)   Whenever the Obligor, either by itself or through any agent, employee, licensee or
                    designee, shall file an application for the registration of or acquire any interests in
                    any material patent, trademark or copyright with CIPO or any similar office or
                    agency of any jurisdiction, the Obligor shall report such filing to the Agent within
                    ten ( 10) Business Days after the last day of the fiscal quarter in which such filing
                    occurs, and, upon request of the Agent, the Obligor shall execute and deliver any
                    and all agreements relating to patent, trademark or copyright as the Agent may
                    request to evidence the Agent' s Security Interest in such patent, trademark or
                    copyright, and the general intangibles of the Obligor relating thereto or
                    represented thereby. For the avoidance of doubt, the provisions hereof shall
                    automatically apply to any such patent, trademark or copyright acquired after the
                    date hereof and such patent, trademark or copyright shall automatically constitute
                    Collateral as if such would have constituted Collateral at the time of execution
                    hereof and be subject to the Lien and security interest created by this Agreement
                    without further action by any party.

              (c)   Except with respect to any copyright permitted to be abandoned under the Credit
                    Agreement, the Obligor shall take all actions necessary or reasonably requested



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                    by the Agent to maintain and pursue each application, to obtain the relevant



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•             (d)
                    registration and to maintain the registration of each material copyright, including
                    the filing of applications for renewal.

                    Except with respect to any patent or trademark permitted to be abandoned under
                    the Credit Agreement, the Obligor shall take all actions necessary or reasonably
                    requested by the Agent to maintain and pursue each application, to obtain the
                    relevant registration and to maintain the registration of each material patent or
                    trademark, including the filing of applications for renewal, affidavits of use and
                    affidavits of non-contestability and the payment of maintenance fees.

              (e)   In the event that any material patents, trademarks or copyrights is infringed upon,
                    or misappropriated, diluted or otherwise violated by a third party, the Obligor
                    shall (i) notify the Agent promptly after the Obligor learns thereof and (ii) take
                    such actions as the Obligor shall reasonably deem appropriate under the
                    circumstances to protect such patent, trademark or copyright, stop the
                    infringement and obtain damages.

              (f)   Except with respect to any copyright, trademark or patent not required to be
                    maintained or permitted to be abandoned under the Credit Agreement, the Obligor
                    (either itself or through its permitted licensees) will not take or knowingly omit to
                    take any action whereby any material copyright, trademark or patent could
                    reasonably be expected to become abandoned, dedicated or invalidated or



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                    whereby the remedies in respect of such copyright, trademark or patent with
                    respect to potential infringers could reasonably be expected to become weakened.

              (g)   The Obligor (either itself or through licensee) will not knowingly do any act that
                    uses any Intellectual Property to infringe the intellectual property rights of any
                    other Person which would reasonably be likely to have a Material Adverse Effect.

    Section 5.5     Insurance.

            All property damage insurance maintained on any portion of the Collateral of the Obligor
    shall name the Agent as lender's loss payee, and all liability insurance maintained in respect of
    any portion of the Collateral of the Obligor shall name the Agent as an additional insured. The
    Obligor shall furnish the Agent with certificates of insurance evidencing compliance with the
    foregoing insurance provision.

                                                ARTICLE 6
                                                GENERAL

    Section 6.1     Notices.

           All notices, requests and demands to or upon the Agent or the Obligor under this
    Agreement shall be in w1iting and delivered to the addressee by prepaid private courier or sent
    by facsimile to the applicable address and to the attention of the officer of the addressee as
    follows:




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•             To the Obligor:

              QMax Canada Operations Inc.
              11700 Katy Freeway
              Suite 200
              Houston, Texas 77079

              Attention:      Legal Department
              Fax No.:        (832) 201-8146

              To the Agent:

              HSBC Bank Canada, as Agent
              7th Floor, 70 York Street
              Toronto, Ontario M5J 1S9

              Attention:      Manager Agency
              Fax No. :       (647) 788-2185

    Any communication transmitted by prepaid private courier shall be deemed to have been validly
    and effectively given or delivered on the Business Day after which it is submitted for delivery.
    Any communication transmitted by facsimile shall be deemed to have been validly and



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    effectively given or delivered on the day on which it is transmitted, if transmitted on a Business
    Day on or before 5:00p.m. (local time of the intended recipient), and otherwise on the next
    following Business Day. The Agent or the Obligor may change its respective address for service
    or other notices, including electronic communications, by notice given in the foregoing manner.

    Section 6.2      Discharge.

            The Security Interest will be discharged upon, but only upon, full and indefeasible
    payment and performance of the Secured Obligations. Upon the discharge of the Secured
    Obligations and at the request and expense of the Obligor, the Agent will execute and deliver to
    the Obligor such releases, discharges, financing statements and other documents or instruments
    as the Obligor may reasonably require and the Agent will promptly redeliver to the Obligor, or as
    the Obligor may otherwise direct the Agent, any Collateral in its possession.

           If any of the Collateral shall be sold, transferred or otherwise disposed of by the Obligor
    in a transaction permitted by the Credit Agreement then the Agent, at the request and sole
    expense of the Obligor, shall promptly execute and deliver to the Obligor all releases or other
    documents necessary or reasonably desirable for the release of the Liens created by such
    Collateral.

    Section 6.3      No Merger.

            This Agreement does not operate by way of merger of any of the Secured Obligations
    and no judgment recovered by the Agent or any of the Secured Creditors will operate by way of
    merger of, or in any way affect, the Security Interest, which is in addition to, and not in
•   substitution for, any other security now or hereafter held by the Agent and the Secured Creditors


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•   in respect of the Secured Obligations. The representations, warranties and covenants of the
    Obligor in this Agreement survive the execution and delivery of this Agreement and any
    advances under the Credit Agreement. Notwithstanding any investigation made by or on behalf
    of the Agent or the Secured Creditors these covenants, representations and warranties continue in
    full force and effect until this Agreement shall terminate (or thereafter to the extent provided
    therein).

    Section 6.4      Further Assurances.

            The Obligor will do all acts and things and execute and deliver, or cause to be executed
    and delivered, all agreements, documents and instruments that the Agent may reasonably require
    and take all further steps relating to the Collateral or any other property or assets of the Obligor
    that the Agent may reasonably require for (i) protecting the Collateral, (ii) perfecting, preserving
    and protecting the Security Interest, and (iii) exercising all powers, authorities and discretions
    conferred upon the Collateral Agent. Whenever the Security Interest is enforceable, the Obligor
    will do all acts and things and execute and deliver all documents and instruments that the
    Collateral Agent may reasonably require for facilitating the sale or other disposition of the
    Collateral in connection with its realization.

    Section 6.5      Supplemental Security.

            This Agreement is in addition to, without prejudice to and supplemental to all other



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    security now held or which may hereafter be held by the Agent or the Secured Creditors .

    Section 6.6      Successors and Assigns.

            This Agreement is binding on the Obligor and its successors and permitted assigns, and
    enures to the benefit of the Agent, the Secured Creditors and their respective successors and
    permitted assigns. This Agreement may be assigned by the Agent in accordance with the Credit
    Agreement and, in such event, any such assignee will be entitled to all of the rights and remedies
    of the Agent as set forth in this Agreement or otherwise. In any action brought by an assignee to
    enforce any such right or remedy, the Obligor will not assert against the assignee any claim or
    defence which the Obligor now has or may have against the Agent or any of the Secured
    Creditors. The Obligor may not assign, transfer or delegate any of its rights or obligations under
    this Agreement without the prior written consent of the Agent which may be unreasonably
    withheld.

    Section 6. 7     Enforcement Expenses; Indemnification.

    (1)       The Obligor agrees to pay or reimburse each Secured Creditor and the Agent for all its
              costs and expenses incuned in enforcing or preserving any rights under this Agreement
              and the other Credit Documents to which the Obligor is a party, including, without
              limitation, the reasonable fees and disbursements of a single outside counsel to the Agent
              in each relevant jurisdiction.

    (2)       The Obligor agrees to pay, and to save the Agent and the Secured Creditors harmless




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              from, any and all liabilities with respect to, or resulting from any delay in paying, any and
              all stamp, excise, sales or other taxes which may be payable or determined to be payable


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•             with respect to any of the Collateral or in connection with any of the transactions
              contemplated by this Agreement, in each case to the extent the Obligor would be required
              to do so pursuant to the Credit Agreement.

    (3)       The Obligor agrees to pay, and to save the Agent and the Secured Creditors harmless
              from, any and all liabilities, obligations, losses, damages, penalties, actions, judgments,
              suits, costs, expenses or disbursements of any kind or nature whatsoever with respect to
              the execution, delivery, enforcement, performance and administration of this Agreement
              to the extent the Obligor would be required to do so pursuant the Credit Agreement.

    (4)       The agreements in this Section 6.7 shall survive repayment of the Obligations and all
              other amounts payable under the Credit Agreement and the other Credit Documents.

    Section 6.8      Set-Off.

            In addition to any rights and remedies of the Secured Creditors provided by law, each
    Secured Creditor shall have the right, without notice to the Obligor, any such notice being
    expressly waived by the Obligor to the extent permitted by Applicable Law, upon the
    Obligations becoming due and payable by the Obligor (whether at the stated maturity, by
    acceleration or otherwise), to apply to the payment of such Obligations, by setoff or otherwise,
    any and all deposits (general or special, time or demand, provisional or final), in any currency,
    and any other credits, indebtedness or claims, in any currency, in each case whether direct or




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    indirect, absolute or contingent, matured or unmatured, at any time held or owing by such
    Secured Creditor, any affiliate thereof or any of their respective branches or agencies to or for
    the credit or the account of the Obligor. Each Secured Creditor agrees promptly to notify the
    Obligor and the Agent after any such application made by such Secured Creditor; provided that
    the failure to give such notice shall not affect the validity of such application.

    Section 6.9      Severability.

           If any court of competent jurisdiction from which no appeal exists or is taken, determines
    any provision of this Agreement to be illegal, invalid or unenforceable, that provision will be
    severed from this Agreement and the remaining provisions will remain in full force and effect.

    Section 6.10 Amendment.

          This Agreement may only be amended, supplemented or otherwise modified by written
    agreement executed by the Agent and the Obligor.

    Section 6.11     Waivers, etc.

    (1)       No consent or waiver by the Agent or the Secured Creditors in respect of this Agreement
              is binding unless made in writing and signed by an authorized officer of the Agent. Any
              consent or waiver given under this Agreement is effective only in the specific instance
              and for the specific purpose for which given. No waiver of any of the provisions of this
              Agreement constitutes a waiver of any other provision .




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•   (2)       A failure or delay on the part of the Agent or the Secured Creditors in exercising a right
              under this Agreement does not operate as a waiver of, or impair, any right of the Agent or
              the Secured Creditors however arising. A single or partial exercise of a right on the part
              of the Agent or the Secured Creditors does not preclude any other or further exercise of
              that right or the exercise of any other right by the Agent or the Secured Creditors.

    Section 6.12 Conflict.

            In the event of a direct conflict or inconsistency between the terms and provlSlons
    contained in this Agreement and the terms and provisions contained in the Credit Agreement, it
    is the intentions of the parties hereto that such terms and provisions in such documents shall be
    read together and construed, to the fullest extent possible, to be in concert with each other. In the
    event of any actual, irreconcilable conflict or inconsistency that cannot be resolved as aforesaid,
    the terms and provisions of the Credit Agreement shall control and govern. In addition, to the
    extent that, under the Credit Agreement, the Obligor is permitted to undertake any act or granted
    any entitlement, the provisions of this Agreement shall be deemed to preserve such permission or
    entitlement notwithstanding anything to the contrary herein.

    Section 6.13 Governing Law.

           This Agreement will be governed by, interpreted and enforced in accordance with the
    laws of the Province of Alberta and the federal laws of Canada applicable therein.

•   Section 6.14 Counterparts.

            This Agreement may be executed in any number of counterparts, and by the different
    parties hereto on separate counterpart signature pages, and all such counterparts taken together
    shall be deemed to constitute one and the same instrument. Delivery of an executed signature
    page of this Agreement by facsimile transmission or any electronic transmission shall be as
    effective as delivery of a manually executed counterpart hereof.

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   IN WITNESS WHEREOF the Obligor has executed this Agreement.



                                           QMAX CANADA OPERATIONS INC.



                                           Per:          ~L"~
                                                  Name: Christophe~.
                                                  Title: Director




         [Signature Page to General Security Agreement- QMax Canada Operations Inc.]
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Acknowledged and agreed as ofthe
date first set forth above:

HSBC BANK CANADA, as Agent



Per:
Name:
Title: Assistant Vice President
           Energy Financin




               [Signature Page to General Security Agreement- QMax Canada Operations Inc.]
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•           Legal Name
                                                SCHEDULE "A"

                                     Jurisdiction of
                                    Incorporation or
                                       Formation
                                                           Location of Chief Executive Office      Location of
                                                                                                   Business and
                                                                                                      Assets

    QMax Canada Operations Inc.   British Columbia     c/o Q'Max Solutions Inc.                 British Columbia
                                                       1210
                                                       585 8th Ave. SW                          Alberta
                                                       Calgary, AB T2P 1G1




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                   THIS IS EXHIBIT”
                      rf rred to in the Ati4vit of
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                   Sworn before me this              /
                   day of                 AD, 20 c)



                              Jonathan Tomm
                            Banister and Solicitor
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•                                SECURITIES PLEDGE AGREEMENT

    This Securities Pledge Agreement is made as of May 23,2014.

    TO:      Name:       HSBC BANK CANADA, as Agent

             Address:    7th Floor, 70 York Street
                         Toronto, ON M5J 1S9

             Attention: Manager Agency
             Fax No.    (647) 788-2185

    RECITALS:

    A.       Pursuant to the terms of a credit agreement dated as of the date hereof among Fluid
             Acquisition Corp. and Q'Max America Inc. (collectively, the "Borrowers"), as
             borrowers, HSBC Bank Canada and those other financial institutions which are from time
             to time party thereto as lenders (collectively, the "Lenders") and HSBC Bank Canada, as
             administrative agent for the Lenders (in such capacity together with its successors and
             assigns in such capacity, the "Agent") (as amended, supplemented, restated or replaced
             from time to time, the "Credit Agreement"), the Borrowers is, or may become, indebted
             or liable to the Agent and the Lenders.




•   B.




    C.
             Pursuant to a limited recourse guarantee dated as of the date hereof granted by Fluid
             Holding Corp. (the "Debtor") to the Agent, the Debtor is, or may become, indebted to
             the Agent, the Lenders, the Hedge Providers and the counterparties to the Banking
             Services Agreements (collectively, the "Secured Creditors").

             To secure the payment and performance of the Secured Liabilities, the Debtor has agreed
             to grant to the Agent, on behalf of the Secured Creditors, the Security Interests in respect
             of the Collateral in accordance with the terms ofthis Agreement.

           For good and valuable consideration, the receipt and adequacy of which are
    acknowledged by the Debtor, the Debtor agrees with and in favour of the Agent, on behalf of the
    Secured Creditors, as follows:

    I.       Definitions. In this Agreement, capitalized terms used but not otherwise defined in this
             Agreement shall have the meanings given to them in the Credit Agreement, and the
             following terms have the following meanings:

    "Agent" has the meaning set out in the recitals hereto.

    "Agreement" means this securities pledge agreement, including the schedules and recitals to this
    agreement, as it or they may be amended, supplemented, restated or replaced from time to time,
    and the expressions "hereof', "herein", "hereto", "hereunder", "hereby" and similar expressions
    refer to this Agreement and not to any particular section or other portion of this Agreement.




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•   "Certificated Security", "Investment Property", "Proceeds", "Securities Account",
    "Securities Intermediary" "Security", "Security Certificate", "Security Entitlement", and
    "Uncertificated Security" have the meanings given to them in the PPSA.

    "Collateral" means:

             (a)   the Pledged Property;

             (b)   all certificates and instruments evidencing or representing the Pledged Property;

             (c)   all interest, dividends and distributions (whether in cash, kind or stock) received~.".,,:,;.:.:.-, ' .
                   or receivable upon or in respect of any of the Pledged Property and all moneys or
                   other property payable or paid on account of any return or repayment of capital in
                   respect of any of the Pledged Property or otherwise distributed in respect thereof
                   or which will in any way be charged to, or payable or paid out of, the capital of
                   any Pledged Issuer on account of any such Pledged Property;

             (d)   all other property that may at any time be received or receivable by or otherwise
                   distributed to the Debtor in respect of, or in substitution for, or in exchange or
                   replacement for, any of the foregoing; and
             (e)   all Proceeds of any of the foregoing.

•   "control" means, in respect of a particular Person, the possession, directly or indirectly, of the
    power to direct or cause the direction of the management or policies of such Person, whether
    through the ability to exercise voting power, by contract or otherwise. "controlled" has
    meanings correlative thereto.

    "Credit Agreement" has the meaning set out in the recitals hereto.

    "Debtor" has the meaning set out in the recitals hereto.

    "Event of Default" means any "Event of Default" as defined in the Credit Agreement.

    "Issuer" has the meaning given to that term in the STA.

    "Organizational Documents" means, with respect to any Person, such Person's articles or other
    charter documents, by-laws, unanimous shareholder agreement, partnership agreement, limited
    partnership agreements or trust agreement, as applicable, and any and all other similar
    agreements, documents and instruments relative to such Person.

    "Pledged Certificated Securities" means any and all Collateral that is a Certificated Security.

    "Pledged Property" means all assets, property and undertaking described in Schedule A.

    "Pledged Issuer" means, at any time, any Person which is at such time an Issuer with respect to



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    any Pledged Securities or Pledged Security Entitlements.



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•   "Pledged Issuer's Jurisdiction" means, with respect to any Pledged Issuer, its jurisdiction as
    determined under section 44 of the STA.

    "Pledged Securities" means any and all Collateral that is a Security.

    "Pledged Securities Accounts" means any and all Collateral that is a Securities Account.

    "Pledged Securities Intermediary" means, at any time, any Person which is at such time is a
    Securities Intermediary at which a Pledged Securities Account is maintained.

    "Pledged ·Securities Intermediary's Jurisdiction" means ... with respect ,toany·.-Securities
    Intermediary, its jurisdiction as determined under section 45(2) of the STA.

    "Pledged Security Certificates" means any and all Security Certificates representing the
    Pledged Certificated Securities.

    "Pledged Security Entitlements" means any and all Collateral that is a Security Entitlement.

    "Pledged Un certificated Securities" means any and all Collateral that is an Uncertificated
    Security.

    "PPSA" means the Personal Property Security Act of the Province referred to in the "Governing



•   Law" section of this Agreement, as such legislation may be amended, renamed or replaced from
    time to time, and includes all regulations from time to time made under such legislation.

    "Release Date" means the date on which all the Secured Liabilities have been indefeasibly paid
    and discharged in full and the Secured Creditors have no further obligations to the Debtor
    pursuant to which further Secured Liabilities might arise and the Secured Liabilities have been
    unconditionally and irrevocably repaid in full.

    "Secured Creditors" has the meaning set out in the recitals hereto.

    "Secured Liabilities" means all present and future indebtedness, liabilities and obligations of
    any and every kind, nature and description (whether direct or indirect, joint or several, absolute
    or contingent, matured or unmatured) of the Debtor to the Secured Creditors under, in connection
    with or with respect to the Credit Agreement, the Loan Documents, the Hedging Agreements, the
    Banking Services Agreements and any unpaid balance thereof.

    "Security Interests" means the Liens created by the Debtor in favour of the Secured Creditors
    under this Agreement.

    "STA" means the Securities Transfer Act of the Province referred to in the "Governing Law"
    section of this Agreement, as such legislation may be amended, renamed or replaced from time
    to time, and includes all regulations from time to time made under such legislation.

    2.       Grant of Security Interests. As general and continuing collateral security for the due



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             payment and performance of the Secured Liabilities, the Debtor pledges to the Agent, on



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•            behalf of the Secured Creditors, and grants to the Agent, on behalf of the Secured
             Creditors, a security interest in, the Collateral.

    3.       Attachment; No Obligation to Advance. The Debtor confirms that value has been
             given by the Secured Creditors to the Debtor, that the Debtor has rights in the Collateral
             existing at the date of this Agreement and that the Debtor and the Secured Creditors have
             not agreed to postpone the time for attachment of the Security Interests to any of the
             Collateral. The Security Interests will have effect and be deemed to be effective whether
             or not the Secured Liabilities or any part thereof are owing or in existence before or after
             or upon the date of this Agreement. Neither the execution and delivery of this Agreement
            'not ihe"provi§'i'or\' of any financial accommodation by 'the Secured Creditors shall "oblige
             the Secured Creditors to make any financial accommodation or further financial
             accommodation available to the Debtor or any other Person.

    4.       Representations and Warranties. The Debtor represents and warrants to the Secured
             Creditors that, as of the date of this Agreement:

             (a)    Debtor Information. All of the information set out in Schedule B is accurate and
                    complete.

             (b)    Consents. Except for any consent that has been obtained and is in full force and



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                    effect, no consent of any Person is required, or is purported to be required, for the
                    execution, delivery, performance and enforcement of this Agreement. For the
                    purposes of complying with any transfer restrictions contained in the
                    Organizational Documents of any Pledged Issuer, the Debtor hereby irrevocably
                    consents to any transfer of the Pledged Securities of such Pledged Issuer.

             (c)    Due Authorization. The Pledged Securities have been duly authorized and validly
                    issued and are fully paid and non-assessable.

             (d)    Warrants. Options. etc. There are no outstanding warrants, options or other rights
                    to purchase, or other agreements outstanding with respect to, or property that is
                    now or hereafter convertible into, or that requires the issuance or sale of, any
                    Pledged Securities.

             (e)    No Required Disposition. There is no eXlstlllg agreement, option, right or
                    privilege capable of becoming an agreement or option pursuant to which the
                    Debtor would be required to sell or otherwise dispose of any Pledged Securities or
                    under which any Pledged Issuer thereof has any obligation to issue any Securities
                    of such Pledged Issuer to any Person, except as may be required under that certain
                    Employment Agreement with Christopher I. Rivers dated as of the date hereof.

    5.       Survival of Representations and Warranties. All representations and warranties made
             by the Debtor in this Agreement: (a) are material; (b) will be considered to have been
             relied on by the Secured Creditors; and (c) will survive the execution and delivery of this



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             Agreement or any investigation made at any time by or on behalf of the Secured




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•            Creditors and any disposition or payment of the Secured Liabilities until the Release
             Date.

    6.       Covenants. The Debtor covenants and agrees with the Secured Creditors that:

             (a)    Further Documentation. The Debtor will from time to time, at the expense of the
                    Debtor, promptly and duly authorize, execute and deliver such further instruments
                    and documents, and take such further action, as the Agent may reasonably request
                    for the purpose of obtaining or preserving the full benefits of, and the rights and
                    powers granted by, this Agreement (including the filing of any financing
                    statements or financing ·change' statenients under any Applicable Laws with
                    respect to the Security Interests). The Debtor acknowledges that this Agreement
                    has been prepared based on the existing Laws in the Province of Alberta and that
                    a change in such Laws, or the Laws of other jurisdictions, may require the
                    execution and delivery of different forms of security documentation.
                    Accordingly, the Debtor agrees that the Agent will have the right to require that
                    this Agreement be amended, supplemented, restated or replaced, and that the
                    Debtor will promptly on request by the Agent authorize, execute and deliver any
                    such amendment, supplement, restatement or replacement: (i) to reflect any
                    changes in such Laws, whether arising as a result of statutory amendments, court
                    decisions or otherwise; (ii) to facilitate the creation and registration of appropriate



•            (b)
                    security in all appropriate jurisdictions; or (iii) if the Debtor merges or
                    amalgamates with any other Person or enters into any corporate reorganization, in
                    each case in order to confer on the Secured Creditors Liens similar to, and having
                    the same effect as, the Security Interests.

                    Pledged Certificated Securities. The Debtor will deliver to the Agent any and all
                    Pledged Security Certificates and other materials as may be required from time to
                    time to provide the Agent with control over all Pledged Certificated Securities in
                    the manner provided under section 23 of the ST A. At the request of the Agent at
                    any time after the occurrence and during the continuance of an Event of Default,
                    the Debtor will cause all Pledged Security Certificates to be registered in the
                    name of the Agent or its nominee.

             (c)    Pledged Uncertificated Securities. The Debtor will deliver to the Agent any and
                    all such documents, agreements and other materials as may be required from time
                    to time to provide the Agent with control over all Pledged Uncertificated
                    Securities in the manner provided under section 24 of the STA.

             (d)    Pledged Security Entitlements. The Debtor will deliver to the Agent any and all
                    such documents, agreements and other materials as may be required from time to
                    time to provide the Agent with control over all Pledged Security Entitlements in
                    the manner provided under section 25 or 26 of the STA.

             (e)    Transfer Restrictions. If the constating documents of any Pledged Issuer restrict



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                    the transfer of the Securities of such Pledged Issuer, then the Debtor will deliver



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•                           to the Agent a certified copy of a resolution of the directors, shareholders,
                            unitholders or partners of such Pledged Issuer, as applicable, consenting to the
                            transfer(s) contemplated by this Agreement, including any prospective transfer of
                            the Collateral by the Agent upon a realization on the Security Interests.

                    (f)     Notices. The Debtor will advise the Agent promptly, in reasonable detail, of any:

                            (i)     acquisition after the date of this Agreement of any right, title or interest in
                                    any Pledged Property, together with all applicable information set out in
                                    Schedule B with respect thereto;
    .. ...-•.....   ~-~-.



                            (ii)    change to a Pledged Securities Intermediary's Jurisdiction or Pledged
                                    Issuer's Jurisdiction;

                            (iii)   change in the location of the jurisdiction of incorporation or
                                    amalgamation, chief executive office, or domicile of the Debtor;

                            (iv)    change in the name of the Debtor;

                            (v)     any merger, consolidation or amalgamation of the Debtor with any other
                                    Person;




•                           (vi)


                            (vii)
                                    Lien (other than Permitted Liens) on, or material claim asserted against,
                                    any of the Collateral; or

                                    occurrence of any event, claim or occurrence that could reasonably be
                                    expected to have a material adverse effect on the value of the Collateral or
                                    on the Security Interests.

                            The Debtor will not effect or permit any of the changes referred to in clauses (ii)
                            through (v) above unless all filings have been made and all other actions taken
                            that are reasonably required in order for the Agent to continue at all times
                            following such change to have a valid and perfected first priority Security Interest
                            in respect of all of the Collateral.

    7.              Voting Rights. Unless an Event of Default has occurred and is continuing, the Debtor
                    will be entitled to exercise all voting power from time to time exercisable in respect of
                    the Pledged Securities and Pledged Security Entitlements and give consents, waivers and
                    ratifications in respect thereof; provided, however, that no vote will be cast or consent,
                    waiver or ratification given or action taken which would be, or would have a reasonably
                    likelihood of being, materially prejudicial to the interests of the Secured Creditors or
                    imposing any material restriction on the transferability of any of the Collateral. Unless
                    an Event of Default has occurred and is continuing the Agent shall, from time to time at
                    the request and expense of the Debtor, execute or cause to be executed, in respect of all
                    Pledged Securities that are registered in the name of the Agent or its nominee, valid
                    proxies appointing the Debtor as its (or its nominee's) proxy to attend, vote and act for


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                    and on behalf of the Agent or such nominee, as the case may be, at any and all meetings
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•            of the applicable Pledged Issuer's shareholders or debt holders, all Pledged Securities that
             are registered in the name of the Agent or such nominee, as the case may be, and to
             execute and deliver, consent to or approve or disapprove of or withhold consent to any
             resolutions in writing of shareholders or debt holders of the applicable Pledged Issuer for
             and on behalf of the Agent or such nominee, as the case may be. Immediately upon the
             occurrence and during the continuance of any Event of Default, all such rights of the
             Debtor to vote and give consents, waivers and ratifications will cease and the Agent or its
             nominee will be entitled to exercise all such voting rights and to give all such consents,
             waivers and ratifications.

    8.       Dividends; Interest. Unles:;-an Event of Default has occurred and is continuing, the
             Debtor will be entitled to receive any and all cash dividends, partnership distributions
             interest, principal payments and other forms of cash distribution on the Pledged
             Securities or Pledged Security Entitlements which it is otherwise entitled to receive, but
             any and all stock and/or liquidating dividends, distributions of property (other than cash
             partnership distributions), returns of capital or other distributions made on or in respect of
             the Pledged Securities or Pledged Security Entitlements, whether resulting from a
             subdivision, combination or reclassification of the outstanding capital stock of any
             Pledged Issuer or received in exchange for the Pledged Securities, Pledged Security
             Entitlements or any part thereof or as a result of any amalgamation, merger,
             consolidation, acquisition or other exchange of property to which any Pledged Issuer may



•            be a party or otherwise, and any and all cash and other property received in exchange for
             any Pledged Securities or Pledged Security Entitlements will be and become part of the
             Collateral subject to the Security Interests. If any Pledged Security Certificates are
             received by the Debtor, they will forthwith be delivered to the Agent or its nominee
             (accompanied, if appropriate, by proper instruments of assignment and/or stock powers
             of attorney executed by the Debtor in accordance with the Agent's instructions) to be
             held subject to the terms of this Agreement; and if any of the Pledged Security
             Certificates have been registered in the name of the Agent or its nominee, the Agent will
             execute and deliver (or cause to be executed and delivered) to the Debtor all such
             dividend orders and other instruments as the Debtor may request for the purpose of
             enabling the Debtor to receive the dividends, distributions or other payments which the
             Debtor is authorized to receive and retain pursuant to this Section. If an Event of Default
             has occurred and is continuing, all rights of the Debtor pursuant to this Section will cease
             and the Agent will have the sole and exclusive right and authority to receive and retain
             the cash dividends, interest, principal payments and other forms of cash distribution
             which the Debtor would otherwise be authorized to retain pursuant to this Section. Any
             money and other property paid over to or received by the Agent pursuant to the
             provisions of this Section will be retained by the Agent (on behalf of the Secured
             Creditors) as additional Collateral hereunder and be applied in accordance with the
             provisions of this Agreement.

    9.       Rights on Event of Default. If an Event of Default has occurred and is continuing, then
             and in every such case the Security Interests shall become enforceable and the Agent, in
             addition to any rights now or hereafter existing under Applicable Laws may, personally


•            or by agent, at such time or times as the Agent in its discretion may, subject to the



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•            Applicable Laws to the extent required thereby, determine, do anyone or more of the
             following:

             (a)    Rights under PPSA, etc. Exercise all of the rights and remedies granted to
                    secured parties under the PPSA and any other applicable statute, or otherwise
                    available to the Secured Creditors by contract, at law or in equity.

             (b)    Dispose of Collateral. Realize on any or all of the Collateral and sell, lease,
                    assign, give options to purchase, or otherwise dispose of and deliver any or all of
                    the Collateral (or contract to do any of the above), in one or more parcels at any
                    public or private sale, at any exchange, broker's board or office of the Agent or
                    elsewhere, with or without advertising or other formality, except as required by
                    Applicable Laws, on such terms and conditions as the Agent may deem advisable
                    and at such prices as it may deem best, for cash or on credit or for future delivery.

             (c)    Court-Approved Disposition of Collateral. Obtain from any court of competent
                    jurisdiction an order for the sale or foreclosure of any or all of the Collateral.

             (d)    Purchase by Secured Creditor. At any public sale, and to the extent permitted by
                    Law on any private sale, bid for and purchase any or all of the Collateral offered
                    for sale and, upon compliance with the terms of such sale, hold, retain, sell or



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                    otherwise dispose of such Collateral without any further accountability to the
                    Debtor or any other Person with respect to such holding, retention, sale or other
                    disposition, except as required by Applicable Laws. In any such sale to a Secured
                    Creditor, such Secured Creditor may, for the purpose of making payment for all
                    or any part of the Collateral so purchased, use any claim for any or all of the
                    Secured Liabilities then due and payable to it as a credit against the purchase
                    pnce.

             (e)    Transfer of Collateral. Transfer any Collateral that is Investment Property into
                    the name of the Agent or its nominee.

             (I)    Voting. Vote any or all of the Pledged Securities (whether or not transferred to
                    the Agent or its nominee) and Pledged Security Entitlements and give or withhold
                    all consents, waivers and ratifications in respect thereof and otherwise act with
                    respect thereto as though it were the outright owner thereof.

             (g)    Exercise Other Rights. Exercise any and all rights, privileges, entitlements and
                    options pertaining to any Collateral that is Investment Property as if the Agent
                    were the absolute owner of such Investment Property.

             The Agent may exercise any or all of the foregoing rights and remedies without demand
             of performance or other demand, presentment, protest, advertisement or notice of any
             kind (except as required by Applicable Laws) to or on the Debtor or any other Person,
             and the Debtor hereby waives each such demand, presentment, protest, advertisement and



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             notice to the extent permitted by Applicable Laws. None of the above rights or remedies
             will be exclusive of or dependent on or merge in any other right or remedy, and one or


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•            more of such rights and remedies may be exercised independently or in combination from
             time to time. The Debtor acknowledges and agrees that any action taken by the Agent
             hereunder following the occurrence and during the continuance of an Event of Default
             shall not be rendered invalid or ineffective as a result of the subsequent curing of the
             Event of Default on which such action was based.

    10.      Realization Standards. To the extent that Applicable Law imposes duties on the
             Secured Creditors to exercise remedies in a commercially reasonable manner and without
             prejudice to the ability of the Secured Creditors to dispose of the Collateral in any such
             manner, the Debtor acknowledges and agrees that it is not commercially unreasonable for
             the Secured-Credit-ots to (or not to): (a) to the extent deemed appropriate by the-l\gerit~­
             obtain the services of other brokers, investment bankers, consultants and other
             professionals to assist the Secured Creditors in the collection or disposition of any of the
             Collateral; (b) dispose of Collateral in whole or in part; (c) dispose of Collateral to a
             customer of a Secured Creditor; and (d) establish an upset or reserve bid price in respect
             of Collateral.

    II.      Securities Laws. The Agent is authorized, in connection with any offer or sale of any
             Pledged Securities or Pledged Security Entitlements, to comply with any limitation or
             restriction as it may be advised by counsel is necessary to comply with Applicable Law,
             including compliance with procedures that may restrict the number of prospective bidders



•            and purchasers, requiring that prospective bidders and purchasers have certain
             qualifications, and restricting prospective bidders and purchasers to Persons who will
             represent and agree that they are purchasing for their own account or investment and not
             with a view to the distribution or resale of such Securities. In addition to and without
             limiting Section 10, the Debtor further agrees that compliance with any such limitation or
             restriction will not result in a sale being considered or deemed not to have been made in a
             commercially reasonable manner, and the Secured Creditors will not be liable or
             accountable to the Debtor for any discount allowed by reason of the fact that such
             Pledged Securities or Pledged Security Entitlements are sold in compliance with any such
             limitation or restriction. If the Agent chooses to exercise its right to sell any or all
             Pledged Securities or Pledged Security Entitlements, upon written request, the Debtor
             will cause each applicable Pledged Issuer to furnish to the Agent all such information as
             the Agent may request in order to determine the number of shares and other instruments
             included in the Collateral which may be sold by the Agent in exempt transactions under
             any Laws governing securities, and the rules and regulations of any applicable securities
             regulatory body thereunder, as the same are from time to time in effect.

    12.      Application of Proceeds. All Proceeds of Collateral received by the Agent may be
             applied to discharge or satisfy any expenses (including expenses of enforcing the Secured
             Creditors' rights under this Agreement), Liens on the Collateral in favour of Persons
             other than the Secured Creditors, borrowings, taxes and other outgoings affecting the
             Collateral or which are considered advisable by the Agent to protect, preserve, repair,
             process, maintain or enhance the Collateral or prepare it for sale or other disposition, or
             to keep in good standing any Liens on the Collateral ranking in priority to any of the



•            Security Interests, or to sell or otherwise dispose of the Collateral. The balance of such



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•            Proceeds may, at the sole discretion of the Agent, be held as collateral security for the
             Secured Liabilities or be applied to such of the Secured Liabilities (whether or not the
             same are due and payable) in such manner and at such times as the Agent considers
             appropriate and thereafter will be accounted for as required by Law.

    13.      Agent's Appointment as Attorney in Fact. Effective upon the occurrence and during
             the continuance of an Event of Default, the Debtor constitutes and appoints the Agent and
             any officer or agent of the Agent, with full power of substitution, as the Debtor's true and
             lawful attorney in fact with full power and authority in the place of the Debtor and in the
             name of the Debtor or in its own name, from time to time in the Agent's discretion, to
             take any and all appropriate action and to execute any and all documents and instruments
             as, in the opinion of such attorney, may be necessary or desirable to accomplish the
             purposes of this Agreement. Without limiting the effect of this Section, the Debtor grants
             the Agent an irrevocable proxy to vote the Pledged Securities and Pledged Security
             Entitlements and to exercise all other rights, powers, privileges and remedies to which a
             holder thereof would be entitled (including giving or withholding written consents of
             shareholders, calling special meetings of shareholders and voting at such meetings),
             which proxy shall be effective, automatically and without the necessity of any action
             (including any transfer of any Pledged Securities or Pledged Security Entitlements on the
             books and records of a Pledged Issuer or Pledged Securities Intermediary, as applicable,
             upon the occurrence of an Event of Default. These powers are coupled with an interest



•            and are irrevocable until the Release Date. Nothing in this Section affects the right of the
             Agent as secured party or any other Person on any Secured Creditor's behalf, to sign and
             file or deliver (as applicable) all such financing statements, financing change statements,
             notices, verification statements and other documents relating to the Collateral and this
             Agreement as the Agent or such other Person considers appropriate. The Debtor hereby
             ratifies and confirms, and agrees to ratify and confirm, whatever lawful acts the Agent or
             any of the Agent's sub-agents, nominees or attorneys do or purport to do in exercise of
             the power of attorney granted to the Agent pursuant to this Section.

    14.      Performance by Secured Creditors of Debtor's Obligations. If the Debtor fails to
             perform or comply with any of the obligations of the Debtor under this Agreement, the
             Secured Creditors may, but need not, perform or otherwise cause the performance or
             compliance of such obligation, provided that such performance or compliance will not
             constitute a waiver, remedy or satisfaction of such failure. The expenses of the Secured
             Creditors incurred in connection with any such performance or compliance will be
             payable by the Debtor to the Agent immediately on demand, and until paid, any such
             expenses will form part of the Secured Liabilities and will be secured by the Security
             Interests.

    15.      Severability. Any provision of this Agreement that is prohibited or unenforceable in any
             jurisdiction will, as to that jurisdiction, be ineffective to the extent of such prohibition or
             unenforceability and will be severed from the balance of this Agreement, all without
             affecting the remaining provisions of this Agreement or affecting the validity or
             enforceability of such provision in any other jurisdiction.


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•   16.      Rights of Secured Creditors; Limitations on Secured Creditors' Obligations.

             (a)      Limitations on Secured Creditors' Liability. No Secured Creditor will be liable to
                      the Debtor or any other Person for any failure or delay in exercising any of the
                      rights of the Debtor under this Agreement (including any failure to take
                      possession of, collect, sell, lease or otherwise dispose of any Collateral, or to
                      preserve rights against prior parties). No Secured Creditor nor any agent of any
                      Secured Creditor (including, any sheriff) is required to take, or will have any
                      liability for any failure to take or delay in taking, any steps necessary or advisable
                      to preserve rights against other Persons under any Collateral in its possession. No
                   . ~Secured Creditor nor any agent of any Secured Creditor will bdiable for any, and
                      the Debtor will bear the full risk of all, loss or damage to any and all of the
                      Collateral (including any Collateral in the possession of any Secured Creditor or
                      any agent thereof) caused for any reason other than the gross negligence or wilful
                      misconduct of a Secured Creditor or such agent of such Secured Creditor.

             (b)     Use of Agents. The Agent may perform any of its rights or duties under this
                     Agreement by or through agents.

    17.      Dealings by Secured Creditors. No Secured Creditor will be obliged to exhaust its
             recourse against the Debtor or any other Person or against any other security it may hold



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             in respect of the Secured Liabilities or any part thereof before realizing upon or otherwise
             dealing with the Collateral in such manner as the Agent may consider desirable. The
             Secured Creditors may grant extensions of time and other indulgences, take and give up
             security, accept compositions, grant releases and discharges and otherwise deal with the
             Debtor and any other Person, and with any or all of the Collateral, and with other security
             and sureties, as the Agent may see fit, all without prejudice to the Secured Liabilities or
             to the rights and remedies of the Secured Creditors under this Agreement. The powers
             conferred on the Agent under this Agreement are solely to protect the interests of the
             Secured Creditors in the Collateral and will not impose any duty upon any Secured
             Creditor to exercise any such powers.

    18.      Communication. Any notice or other communication required or permitted to be given
             under this Agreement will be made in accordance with the terms of the Credit
             Agreement.

    19.      Release of Information. The Debtor authorizes the Agent to provide a copy of this
             Agreement and such other information as may be requested of the Agent: (a) to the extent
             necessary to enforce the Agent's rights, remedies and entitlements under this Agreement;
             (b) to any permitted assignee or prospective assignee of all or any part of the Secured
             Liabilities; and (c) as required by Applicable Laws.

    20.      Expenses; Indemnity; Waiver.

             (a)     The Debtor shall pay: (i) all reasonable out-of-pocket expenses incurred by the



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                     Agent, including the reasonable fees, charges and disbursements of counsel for



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•                  the Agent and all applicable taxes, in connection with the preparation and
                   administration of this Agreement; (ii) all reasonable out-of-pocket expenses
                   incurred by the Agent, including the reasonable fees, charges and disbursements
                   of counsel for the Agent and applicable taxes, in connection with any
                   amendments, modifications or waivers of the provisions hereof; and (iii) all out-
                   of-pocket expenses incurred by the Agent, including the fees, charges and
                   disbursements of any counsel for the Secured Creditors and all applicable taxes,
                   in connection with the assessment, enforcement or protection of their rights in
                   connection with this Agreement, including its rights under this Section, including
                   all such out-of-pocket expenses incurred during any workout, restructuring or
                   negotiations in respecl"o[ theSecured Liabilities.

             (b)   The Debtor shall indemnify the Secured Creditors against, and hold each Secured
                   Creditor harmless from, any and all losses, claims, cost recovery actions,
                   damages, expenses and liabilities of whatsoever nature or kind and all reasonable
                   out-of-pocket expenses and all applicable taxes to which the applicable Secured
                   Creditor may become subject arising out of or in connection with: (i) the
                   execution or delivery of this Agreement and the performance by the Debtor of its
                   obligations hereunder; (ii) any actual or prospective claim, litigation, investigation
                   or proceeding relating to this Agreement or the Secured Liabilities, whether based
                   on contract, tort or any other theory and regardless of whether the applicable



•                  Secured Creditor is a party thereto; (iii) any other aspect of this Agreement; or
                   (iv) the enforcement of the Secured Creditors' rights hereunder and any related
                   investigation, defence, preparation of defence, litigation and enquiries; provided
                   that such indemnity shall not, as to any Secured Creditor, be available to the
                   extent that such losses, claims, damages, liabilities or related expenses are
                   determined by a court of competent jurisdiction by final and non-appealable
                   judgment to have resulted from the gross negligence (it being acknowledged that
                   ordinary negligence does not necessarily constitute gross negligence) or wilful
                   misconduct of or material breach of this Agreement by such Secured Creditor.

             (c)   The Debtor shall not assert, and hereby waives (to the fullest extent permitted by
                   Applicable Laws): (i) any claim against any Secured Creditor (or any director,
                   officer or employee thereof), on any theory of liability, for special, indirect,
                   consequential or punitive damages (as opposed to direct or actual damages)
                   arising out of, in connection with, or as a result of, this Agreement; and (ii) all of
                   the rights, benefits and protections given by any present or future statute that
                   imposes limitations on the rights, powers or remedies of a secured party or on the
                   methods of, or procedures for, realization of security, including any "seize or sue"
                   or "anti-deficiency" statute or any similar provision of any other statute.

             (d)   All amounts due under this Section shall be payable not later than thirty (30) days
                   after written demand therefor.

             (e)   The indemnifications set out in this Section will survive the Release Date and the



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                   release or extinguishment of the Security Interests.
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•   21.      Release of Debtor. Upon the written request of the Debtor given at any time on or after
             the Release Date, the Agent shall at the expense of the Debtor, promptly release the
             Debtor and the Collateral from the Security Interests. Upon such release, and at the
             request and expense of the Debtor, the Agent shall promptly execute and deliver to the
             Debtor such releases and discharges as the Debtor may reasonably request.

    22.      Additional Security. This Agreement is in addition to, and not in substitution of, any
             and all other security previously or concurrently delivered by the Debtor or any other
             Person to the Secured Creditors, all of which other security shall remain in full force and
             effect.

    23.      Alteration or Waiver. None of the terms or provisions of this Agreement may be
             waived, amended, supplemented or otherwise modified except by a written instrument
             executed by the Agent. The Agent will not, by any act or delay, be deemed to have
             waived any right or remedy hereunder or to have acquiesced in any Event of Default or in
             any breach of any of the terms and conditions hereof. No failure to exercise, nor any
             delay in exercising, on the part of the Agent, any right, power or privilege hereunder shall
             operate as a waiver thereof. No single or partial exercise of any right, power or privilege
             hereunder will preclude any other or further exercise thereof or the exercise of any other
             right, power or privilege. A waiver by the Agent of any right or remedy hereunder on
             anyone occasion will not be construed as a bar to any right or remedy which the Agent




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             would otherwise have on any future occasion. Neither the taking of any judgment nor the
             exercise of any powcr of seizure or sale will extinguish the liability of the Debtor to pay
             the Secured Liabilities, nor will the same operate as a merger of any covenant contained
             in this Agreement or of any other liability, nor will the acceptance of any payment or
             other security constitute or create any novation.

    24.      Amalgamation. The Debtor acknowledges that if it amalgamates or merges with any
             other corporation or corporations, then: (a) the Collateral and the Security Interests will
             extend to and include all the property and assets of the successor corporation and to any
             property or assets of the successor corporation thereafter owned or acquired; (b) the term
             "Debtor", where used in this Agreement, will extend to and include the successor
             corporation; and (c) the term "Secured Liabilities", where used in this Agreement, will
             extend to and include the Secured Liabilities of the successor corporation.

    25.      Governing Law; Attornment. This Agreement will be governed by and construed in
             accordance with the Laws of the Province of Alberta. Without prejudice to the ability of
             the Secured Creditors to enforce this Agreement in any other proper jurisdiction, the
             Debtor irrevocably submits and attorns to the non-exclusive jurisdiction of the courts of
             such province. To the extent permitted by Applicable Laws, the Debtor irrevocably
             waives any objection (including any claim of inconvenient forum) that it may now or
             hereafter have to the venue of any legal proceeding arising out of or relating to this
             Agreement in the courts of such Province.

    26.      Interpretation. The definitions of terms herein shall apply equally to the singular and



•            plural forms of the terms defined. Whenever the context may require, any pronoun shall



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•            include the corresponding masculine, feminine and neuter forms. The words "include",
             "includes" and "including" shall be deemed to be followed by the phrase "without
             limitation". The word "will" shall be construed to have the same meaning and effect as
             the word "shall". The word "or" is disjunctive; the word "and" is conjunctive. The word
             "shall" is mandatory; the word "may" is permissive. Unless the context requires
             otherwise: (a) any definition of or reference to any agreement, instrument or other
             document herein shall be construed as referring to such agreement, instrument or other
             document as from time to time amended, supplemented or otherwise modified (subject to
             any restrictions on such amendments, supplements or modifications set out herein); (b)
             any reference herein to any statute or any section thereof shall, unless otherwise expressly
             stated, be deemed to be a reference to such statute or section as amended, restated or re-
             enacted from time to time; (c) any reference herein to any Person shall be construed to
             include such Person's successors and permitted assigns; (d) the words "herein", "hereof'
             and "hereunder", and words of similar import, shall be construed to refer to this
             Agreement in its entirety and not to any particular provision hereof; and (el all references
             herein to Sections and Schedules shall be construed to refer to Sections and Schedules to,
             this Agreement, Section headings are for convenience of reference only, are not part of
             this Agreement and shall not affect the construction of, or be taken into consideration in
             interpreting, this Agreement. Any reference in this Agreement to a Permitted Lien is not
             intended to subordinate or postpone, and shall not be interpreted as subordinating or
             postponing, or as any agreement to subordinate or postpone, any Security Interest to any



•   27.
             Permitted Lien.

             Successors and Assigns. This Agreement will enure to the benefit of, and be binding on,
             the Debtor and its successors and permitted assigns, and will enure to the benefit of, and
             be binding on, the Secured Creditors and their successors and assigns. The Debtor may
             not assign this Agreement or any of its rights or obligations under this Agreement. The
             Agent may assign this Agreement and any of its rights and obligations hereunder to any
             Person that replaces it in its capacity as such.

    28.      Acknowledgment of Receipt/Waiver. The Debtor acknowledges receipt of an executed
             copy of this Agreement and, to the extent permitted by Applicable Laws, waives the right
             to receive a copy of any financing statement or financing change statement registered in
             connection with this Agreement or any verification statement issued in respect of any
             such financing statement or financing change statement.

    29.      Paramountcy. If a conflict or inconsistency exists in or between a provision of this
             Agreement and a provision of the Credit Agreement or any part thereof, the provisions of
             the Credit Agreement shall prevail to the extent necessary to resolve such conflict or
             inconsistency.

    30.      Electronic Signature. Delivery of an executed signature page to this Agreement by the
             Debtor by facsimile, pdf or other electronic form of transmission shall be as effective as
             delivery by the Debtor of a manually executed copy of this Agreement by the Debtor.




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•          IN WITNESS WHEREOF the undersigned has caused this Agreement to be duly
    executed as of the date first written above.

                                                         FLUID HOLDING CORP.



                                                         Per: ~;;%(
                                                         Name: Mark Roberts
                                                         Title: Authorized Signatory




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•                     [Signature Page to Pledge Agreement - Fluid Holding Corp.]
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I                                            SCHEDULE A

                                        PLEDGED PROPERTY

    A.       The Securities Accounts described in Schedule B and all Securities Entitlements carried
             therein from time to time.

    B.       All Securities and Security Entitlements of Fluid Acquisition Corp. (or any of its
             successors, including, for certainty, by way of amalgamation) in which the Debtor now or
             in the future has any right, title or interest whatsoever.




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•                                            SCHEDULE B

                        DEBTOR & PLEDGED PROPERTY INFORMATION

    Full legal name: Fluid Holding Corp.

    Jurisdiction of incorporation or organization: British Columbia

    Address of chief executive office:   Fluid Holding Corp.
                                         P.O. BOX 10424 Pacific Centre
                                         1300 - 777 Dunsmuir Street
                                         Vancouver BC V7Y 1K2
                                         Canada

    Pledged Uncertificated Securities: Nil

    Pledged Securities Accounts: Nil

    Pledged Certificated Securities: See below

                                             % of issued and
                                              outstanding



•   Fluid Acquisition
    Corp.
                           1,658,600
                                         Securities of
                                      Pledged Issuer as
      Pledged Issuer Securities Owned of the date hereof

                                                   100
                                                                Security
                                                               Certificate
                                                               Numhers

                                                                   2,3
                                                                              Security
                                                                             Certificate
                                                                              Location

                                                                              Alberta




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                   THIS IS EXHrBIT”_________
                      referred to in the Aivit of


                   Sworn before me this              /
                   day of                 A.D. 20 )



                              Jonathan Tomm
                            Barrister and SoUcifor
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•                                SECURITIES PLEDGE AGREEMENT

    This Securities Pledge Agreement is made as of May 23, 2014.

    TO:      Name:       "SBC BANK CANADA, as Agent

             Address:    7th Floor, 70 York Street
                         Toronto, ON M5J IS9

             Attention: Manager Agency
             Fax No.    (647) 788-2185

    RECITALS:

    A.       Pursuant to the terms of a credit agreement dated as of the date hereof among Fluid
             Acquisition Corp. and Q'Max America Inc. (collectively, the "Borrowers"), as
             borrowers, HSBC Bank Canada and those other financial institutions which are from time
             to time party thereto as lenders (collectively, the "Lenders") and HSBC Bank Canada, as
             administrative agent for the Lenders (in such capacity together with its successors and
             assigns in such capacity, the "Agent") (as amended, supplemented, restated or replaced
             from time to time, the "Credit Agreement"), the Borrowers is, or may become, indebted
             or liable to the Agent and the Lenders.



•   B.       Pursuant to a guarantee dated as of the date hereof granted by Q'Max Solutions Inc. (the
             "Debtor") to the Agent, the Debtor is, or may become, indebted to the Agent, the
             Lenders, the Hedge Providers and the counterparties to the Banking Services Agreements
             (collectively, the "Secured Creditors").

    C.       To secure the payment and performance of the Secured Liabilities, the Debtor has agreed
             to grant to the Agent, on behalf of the Secured Creditors, the Security Interests in respect
             of the Collateral in accordance with the terms of this Agreement.

           For good and valuable consideration, the receipt and adequacy of which are
    acknowledged by the Debtor, the Debtor agrees with and in favour of the Agent, on behalf of the
    Secured Creditors, as follows:

    I.       Definitions. In this Agreement, capitalized terms used but not otherwise defined in this
             Agreement shall have the meanings given to them in the Credit Agreement, and the
             following terms have the following meanings:

    "Agent" has the meaning set out in the recitals hereto.

    "Agreement" means this securities pledge agreement, including the schedules and recitals to this
    agreement, as it or they may be amended, supplemented, restated or replaced from time to time,
    and the expressions "hereof', "herein", "hereto", "hereunder", "hereby" and similar expressions
    refer to this Agreement and not to any particular section or other portion of this Agreement.




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    "Certificated Security", "Investment Property", "Proceeds", "Securities Account",
    "Securities Intermediary" "Security", "Security Certificate", "Security Entitlement", and
    "Uncertificated Security" have the meanings given to them in the PPSA.

    "Collateral" means:

             (a)   the Pledged Property;

             (b)   all certificates and instruments evidencing or representing the Pledged Property;

             (c)   all interest, dividends and distributions (whether in cash, kind or stock) received
                   or receivable upon or in respect of any of the Pledged Property and all moneys or
                   other property payable or paid on account of any return or repayment of capital in
                   respect of any of the Pledged Property or otherwise distributed in respect thereof
                   or which will in any way be charged to, or payable or paid out of, the capital of
                   any Pledged Issuer on account of any such Pledged Property;

             (d)   all other property that may at any time be received or receivable by or otherwise
                   distributed to the Debtor in respect of, or in substitution for, or in exchange or
                   replacement for, any of the foregoing; and




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             (e)   all Proceeds of any of the foregoing.

    "control" means, in respect of a particular Person, the possession, directly or indirectly, of the
    power to direct or cause the direction of the management or policies of such Person, whether
    through the ability to exercise voting power, by contract or otherwise. "controlled" has
    meanings correlative thereto.

    "Credit Agreement" has the meaning set out in the recitals hereto.

    "Debtor" has the meaning set out in the recitals hereto.

    "Event of Default" means any "Event of Default" as defined in the Credit Agreement.

    "Issuer" has the meaning given to that term in the ST A.

    "Organizational Documents" means, with respect to any Person, such Person's articles or other
    charter documents, by-laws, unanimous shareholder agreement, partnership agreement, limited
    partnership agreements or trust agreement, as applicable, and any and all other similar
    agreements, documents and instruments relative to such Person.

    "Pledged Certificated Securities" means any and all Collateral that is a Certificated Security.

    "Pledged Property" means all assets, property and undertaking described in Schedule A.

    "Pledged Issuer" means, at any time, any Person which is at such time an Issuer with respect to



•   any Pledged Securities or Pledged Security Entitlements.



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    "Pledged Issuer's Jurisdiction" means, with respect to any Pledged Issuer, its jurisdiction as
    determined under section 44 of the ST A.

    "Pledged Securities" means any and all Collateral that is a Security.

    "Pledged Securities Accounts" means any and all Collateral that is a Securities Account.

    "Pledged Securities Intermediary" means, at any time, any Person which is at such time is a
    Securities Intermediary at which a Pledged Securities Account is maintained.

    "Pledged Securities Intermediary's Jurisdiction"., means, with respect ··to· any Securities· .       ..   '.-'


    Intermediary, its jurisdiction as determined under section 45(2) of the ST A.

    "Pledged Security Certificates" means any and all Security Certificates representing the
    Pledged Certificated Securities.

    "Pledged Security Entitlements" means any and all Collateral that is a Security Entitlement.

    "Pledged Uncertificated Securities" means any and all Collateral that is an Uncertificated
    Security.




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    "PPSA" means the Personal Property Security Act of the Province referred to in the "Governing
    Law" section of this Agreement, as such legislation may be amended, renamed or replaced from
    time to time, and includes all regulations from time to time made under such legislation.

    "Release Date" means the date on which all the Secured Liabilities have been indefeasibly paid
    and discharged in full and the Secured Creditors have no further obligations to the Debtor
    pursuant to which further Secured Liabilities might arise and the Secured Liabilities have been
    unconditionally and irrevocably repaid in fulL

    "Secured Creditors" has the meaning set out in the recitals hereto.

    "Secured Liabilities" means all present and future indebtedness, liabilities and obligations of
    any and every kind, nature and description (whether direct or indirect, joint or several, absolute
    or contingent, matured or unmatured) of the Debtor to the Secured Creditors under, in connection
    with or with respect to the Credit Agreement, the Loan Documents, the Hedging Agreements, the
    Banking Services Agreements and any unpaid balance thereof.

    "Security Interests" means the Liens created by the Debtor in favour of the Secured Creditors
    under this Agreement.

    "ST A" means the Securities Transfer Act of the Province referred to in the "Governing Law"
    section of this Agreement, as such legislation may be amended, renamed or replaced from time
    to time, and includes all regulations from time to time made under such legislation.

    2.       Grant of Security Interests. As general and continuing collateral security for the due



•            payment and performance of the Secured Liabilities, the Debtor pledges to the Agent, on



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             behalf of the Secured Creditors, and grants to the Agent, on behalf of the Secured
             Creditors, a security interest in, the Collateral.

    3.       Attachment; No Obligation to Advance. The Debtor confirms that value has been
             given by the Secured Creditors to the Debtor, that the Debtor has rights in the Collateral
             existing at the date of this Agreement and that the Debtor and the Secured Creditors have
             not agreed to postpone the time for attachment of the Security Interests to any of the
             Collateral. The Security Interests will have effect and be deemed to be effective whether
             or not the Secured Liabilities or any part thereof are owing or in existence before or after
             or upon the date of this Agreement. Neither the execution and delivery of this Agreement
         '"Ird7tlf'e provision of any financial accommodation by the Secured CreditOrs shall oblige
             the Secured Creditors to make any financial accommodation or further financial
             accommodation available to the Debtor or any other Person.

    4.       Representations and Warranties. The Debtor represents and warrants to the Secured
             Creditors that, as of the date of this Agreement:

             (a)    Debtor Information. All of the information set out in Schedule B is accurate and
                    complete.

             (b)    Consents. Except for any consent that has been obtained and is in full force and



•                   effect, no consent of any Person is required, or is purported to be required, for the
                    execution, delivery, performance and enforcement of this Agreement. For the
                    purposes of complying with any transfer restrictions. contained in the
                    Organizational Documents of any Pledged Issuer, the Debtor hereby irrevocably
                    consents to any transfer of the Pledged Securities of such Pledged Issuer.

             (c)    Due Authorization. The Pledged Securities have been duly authorized and validly
                    issued and are fully paid and non-assessable.

             (d)    Warrants, Options, etc. There are no outstanding warrants, options or other rights
                    to purchase, or other agreements outstanding with respect to, or property that is
                    now or hereafter convertible into, or that requires the issuance or sale of, any
                    Pledged Securities.

             (e)    No Required Disposition. There is no eXlstmg agreement, option, right or
                    privilege capable of becoming an agreement or option pursuant to which the
                    Debtor would be required to sell or otherwise dispose of any Pledged Securities or
                    under which any Pledged Issuer thereof has any obligation to issue any Securities
                    of such Pledged Issuer to any Person.

    5.       Survival of Representations and Warranties. All representations and warranties made
             by the Debtor in this Agreement: (a) are material; (b) will be considered to have been
             relied on by the Secured Creditors; and (c) will survive the execution and delivery of this
             Agreement or any investigation made at any time by or on behalf of the Secured



•            Creditors and any disposition or payment of the Secured Liabilities until the Release
             Date.


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         6.           Covenants. The Debtor covenants and agrees with the Secured Creditors that:

                      (a)    Further Documentation. The Debtor will from time to time, at the expense of the
                             Debtor, promptly and duly authorize, execute and deliver such further instruments
                             and documents, and take such further action, as the Agent may reasonably request
                             for the purpose of obtaining or preserving the full benefits of, and the rights and
                             powers granted by, this Agreement (including the filing of any financing
                             statements or financing change statements under any Applicable Laws with
                             respect to the Security Interests). The Debtor acknowledges that this Agreement
                             has been prepared based on the existing Laws in the Province of Alberta and that
    .. - .
                             a. change in such 'taws;""or the Laws of other jurisdictions, may require the
                             execution and delivery of different forms of security documentation.
                             Accordingly, the Debtor agrees that the Agent will have the right to require that
                             this Agreement be amended, supplemented, restated or replaced, and that the
                             Debtor will promptly on request by the Agent authorize, execute and deliver any
                             such amendment, supplement, restatement or replacement: (i) to reflect any
                             changes in such Laws, whether arising as a result of statutory amendments, court
                             decisions or otherwise; (ii) to facilitate the creation and registration of appropriate
                             security in all appropriate jurisdictions; or (iii) if the Debtor merges or
                             amalgamates with any other Person or enters into any corporate reorganization, in



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                             each case in order to confer on the Secured Creditors Liens similar to, and having
                             the same effect as, the Security Interests.

                      (b)    Pledged Certificated Securities. The Debtor will deliver to the Agent any and all
                             Pledged Security Certificates and other materials as may be required from time to
                             time to provide the Agent with control over all Pledged Certificated Securities in
                             the manner provided under section 23 of the STA. At the request of the Agent at
                             any time after the occurrence and during the continuance of an Event of Default,
                             the Debtor will cause all Pledged Security Certificates to be registered in the
                             name of the Agent or its nominee.

                      (c)    Pledged Uncertificated Securities. The Debtor will deliver to the Agent any and
                             all such documents, agreements and other materials as may be required from time
                             to time to provide the Agent with control over all Pledged Uncertificated
                             Securities in the manner provided under section 24 of the STA.

                      (d)    Pledged Security Entitlements. The Debtor will deliver to the Agent any and all
                             such documents, agreements and other materials as may be required from time to
                             time to provide the Agent with control over all Pledged Security Entitlements in
                             the manner provided under section 25 or 26 of the ST A.

                      (e)    Transfer Restrictions. If the constating documents of any Pledged Issuer restrict
                             the transfer of the Securities of such Pledged Issuer, then the Debtor will deliver
                             to the Agent a certified copy of a resolution of the directors, shareholders,
                             unitholders or partners of such Pledged Issuer, as applicable, consenting to the



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                     transfer(s) contemplated by this Agreement, including any prospective transfer of
                     the Collateral by the Agent upon a realization on the Security Interests.

              (f)    Notices. The Debtor will advise the Agent promptly, in reasonable detail, of any:

                     (i)     acquisition after the date of this Agreement of any right, title or interest in
                             any Pledged Property, together with all applicable information set out in
                             Schedule B with respect thereto;

                     (ii)    change to a Pledged Securities Intermediary's Jurisdiction or Pledged
      .'                     Issuer's Jurisdiction;

                     (iii)   change in the location of the jurisdiction of incorporation or
                             amalgamation, chief executive office, or domicile of the Debtor;

                     (iv)    change in the name of the Debtor;

                     (v)     any merger, consolidation or amalgamation of the Debtor with any other
                             Person;

                     (vi)    Lien (other than Pennitted Liens) on, or material claim asserted against,
                             any of the Collateral; or

It                   (vii)   occurrence of any event, claim or occurrence that could reasonably be
                             expected to have a material adverse effect on the value of the Collateral or
                             on the Security Interests.

                     The Debtor will not effect or permit any of the changes referred to in clauses (ii)
                     through (v) above unless all filings have been made and all other actions taken
                     that are reasonably required in order for the Agent to continue at all times
                     following such change to have a valid and perfected first priority Security Interest
                     in respect of all of the Collateral.

     7.       Voting Rights. Unless an Event of Default has occurred and is continuing, the Debtor
              will be entitled to exercise all voting power from time to time exercisable in respect of
              the Pledged Securities and Pledged Security Entitlements and give consents, waivers and
              ratifications in respect thereof; provided, however, that no vote will be cast or consent,
              waiver or ratification given or action taken which would be, or would have a reasonably
              likelihood of being, materially prejudicial to the interests of the Secured Creditors or
              imposing any material restriction on the transferability of any of the Collateral. Unless
              an Event of Default has occurred and is continuing the Agent shall, from time to time at
              the request and expense of the Debtor, execute or cause to be executed, in respect of all
              Pledged Securities that are registered in the name of the Agent or its nominee, valid
              proxies appointing the Debtor as its (or its nominee's) proxy to attend, vote and act for
              and on behalf of the Agent or such nominee, as the case may be, at any and all meetings



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              of the applicable Pledged Issuer's shareholders or debt holders, all Pledged Securities that
              are registered in the name of the Agent or such nominee, as the case may be, and to



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            execute and deliver, consent to or approve or disapprove of or withhold consent to any
            resolutions in writing of shareholders or debt holders of the applicable Pledged Issuer for
            and on behalf of the Agent or such nominee, as the case may be. Immediately upon the
            occurrence and during the continuance of any Event of Default, all such rights of the
            Debtor to vote and give consents, waivers and ratifications will cease and the Agent or its
            nominee will be entitled to exercise all such voting rights and to give all such consents,
            waivers and ratifications.

    8.      Dividends; Interest. Unless an Event of Default has occurred and is continuing, the
            Debtor will be entitled to receive any and all cash dividends, partnership distributions
            interest, principal pay'ments and other forms of cash distribution on the Pledged
            Securities or Pledged Security Entitlements which it is otherwise entitled to receive, but
            any and all stock and/or liquidating dividends, distributions of property (other than cash
            partnership distributions), returns of capital or other distributions made on or in respect of
            the Pledged Securities or Pledged Security Entitlements, whether resulting from a
            subdivision, combination or reclassification of the outstanding capital stock of any
            Pledged Issuer or received in exchange for the Pledged Securities, Pledged Security
            Entitlements or any part thereof or as a result of any amalgamation, merger,
            consolidation, acquisition or other exchange of property to which any Pledged Issuer may
            be a party or otherwise, and any and all cash and other property received in exchange for




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            any Pledged Securities or Pledged Security Entitlements will be and become part of the
            Collateral suhject to the Security Interests. If any Pledged Security Certificates are
            received by the Debtor, they will forthwith be delivered to the Agent or its nominee
            (accompanied, if appropriate, by proper instruments of assignment and/or stock powers
            of attorney executed by the Debtor in accordance with the Agent's instructions) to be
            held subject to the terms of this Agreement; and if any of the Pledged Security
            Certificates have been registered in the name of the Agent or its nominee, the Agent will
            execute and deliver (or cause to be executed and delivered) to the Debtor all such
            dividend orders and other instruments as the Debtor may request for the purpose of
            enabling the Debtor to receive the dividends, distributions or other payments which the
            Debtor is authorized to receive and retain pursuant to this Section. If an Event of Default
            has occurred and is continuing, all rights of the Debtor pursuant to this Section will cease
            and the Agent will have the sole and exclusive right and authority to receive and retain
            the cash dividends, interest, principal payments and other forms of cash .distribution _ .
            which the Debtor would otherwise be authorized to retain pursuant to this Section. Any
            money and other property paid over to or received by the Agent pursuant to the
            provisions of this Section will be retained by the Agent (on behalf of the Secured
            Creditors) as additional Collateral hereunder and be applied in accordance with the
             provisions of this Agreement.

    9.       Rights on Event of Default. If an Event of Default has occurred and is continuing, then
             and in every such case the Security Interests shall become enforceable and the Agent, in
             addition to any rights now or hereafter existing under Applicable Laws may, personally
             or by agent, at such time or times as the Agent in its discretion may, subject to the



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             Applicable Laws to the extent required thereby, determine, do anyone or more of the
             following:



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            (a)    Rights under PPSA. etc. Exercise all of the rights and remedies granted to
                   secured parties under the PPSA and any other applicable statute, or otherwise
                   available to the Secured Creditors by contract, at law or in equity.

            (b)     Dispose of Collateral. Realize on any or all of the Collateral and sell, lease,
                    assign, give options to purchase, or otherwise dispose of and deliver any or all of
                    the Collateral (or contract to do any of the above), in one or more parcels at any
                    public or private sale, at any exchange, broker's board or office of the Agent or
                    elsewhere, with or without advertising or other formality, except as required by
                    Applicable Laws, on such terms and conditions as the Agent may deem advisable
                    and at such prices as it may deem best, for cash or on credit or for future delivery.

             (c)   Court-Approved Disposition of Collateral. Obtain from any court of competent
                   jurisdiction an order for the sale or foreclosure of any or all of the Collateral.

             (d)    Purchase by Secured Creditor. At any public sale, and to the extent permitted by
                    Law on any private sale, bid for and purchase any or all of the Collateral offered
                    for sale and, upon compliance with the terms of such sale, hold, retain, sell or
                    otherwise dispose of such Collateral without any further accountability to the
                    Debtor or any other Person with respect to such holding, retention, sale or other
                    disposition, except as required by Applicable Laws. In any such sale to a Secured



•            (e)
                    Creditor, such Secured Creditor may, for the purpose of making payment for all
                    or any part of the Collateral so purchased, use any claim for any or all of the
                    Secured Liabilities then due and payable to it as a credit against the purchase
                    price.

                    Transfer of Collateral. Transfer any Collateral that is Investment Property into
                    the name of the Agent or its nominee.

             (I)    Voting. Vote any or all of the Pledged Securities (whether or not transferred to
                    the Agent or its nominee) and Pledged Security Entitlements and give or withhold
                    all consents, waivers and ratifications in respect thereof and otherwise act with
                    respect thereto as though it were the outright owner thereof.

             (g)    Exercise Other Rights. Exercise any and all rights; privileges, entitlements and
                    options pertaining to any Collateral that is Investment Property as if the Agent
                    were the absolute owner of such Investment Property.

             The Agent may exercise any or all of the foregoing rights and remedies without demand
             of performance or other demand, presentment, protest, advertisement or notice of any
             kind (except as required by Applicable Laws) to or on the Debtor or any other Person,
             and the Debtor hereby waives each such demand, presentment, protest, advertisement and
             notice to the extent permitted by Applicable Laws. None of the above rights or remedies
             will be exclusive of or dependent on or merge in any other right or remedy, and one or
             more of such rights and remedies may be exercised independently or in combination from



•            time to time. The Debtor acknowledges and agrees that any action taken by the Agent



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             hereunder following the occurrence and during the continuance of an Event of Default
             shall not be rendered invalid or ineffective as a result of the subsequent curing of the
             Event of Default on which such action was based.

    10.      Realization Standards. To the extent that Applicable Law imposes duties on the
             Secured Creditors to exercise remedies in a commercially reasonable manner and without
             prejUdice to the ability of the Secured Creditors to dispose of the Collateral in any such
             manner, the Debtor acknowledges and agrees that it is not commercially unreasonable for
             the Secured Creditors to (or not to): (a) to the extent deemed appropriate by the Agent,
             obtain the services of other brokers, investment bankers, consultants and other
             profeSSionals to assist the Secured Creditors in the' collection or disposition 'of any of the
             Collateral; (b) dispose of Collateral in whole or in part; (c) dispose of Collateral to a
             customer of a Secured Creditor; and (d) establish an upset or reserve bid price in respect
             of Collateral.

    11.       Securities Laws. The Agent is authorized, in connection with any offer or sale of any
              Pledged Securities or Pledged Security Entitlements, to comply with any limitation or
              restriction as it may be advised by counsel is necessary to comply with Applicable Law,
              including compliance with procedures that may restrict the number of prospective bidders
              and purchasers, requiring that prospective bidders and purchasers have certain
              qualifications, and restricting prospective bidders and purchasers to Persons who will


•             represent and agree that they are purchasing for their own account or investment and not
              with a view to the distribution or resale of such Securities. In addition to and without
              limiting Section 10, the Debtor further agrees that compliance with any such limitation or
              restriction will not result in a sale being considered or deemed not to have been made in a
              commercially reasonable manner, and the Secured Creditors will not be liable or
              accountable to the Debtor for any discount allowed by reason of the fact that such
              Pledged Securities or Pledged Security Entitlements are sold in compliance with any such
              limitation or restriction. If the Agent chooses to exercise its right to sell any or all
              Pledged Securities or Pledged Security Entitlements, upon written request, the Debtor
              wiIl cause each applicable Pledged Issuer to furnish to the Agent all such information as
              the Agent may request in order to determine the number of shares and other instruments
              included in the Collateral which may be sold by the Agent in exempt transactions under
          " ._any Law.!! governing §ecurities, and the rules and regullltions of anY".applicable securities". "
              regulatory body thereunder, as the same are from time to time in effect.

    12.       Application of Proceeds. All Proceeds of Collateral received by the Agent may be
              applied to discharge or satisfY any expenses (including expenses of enforcing the Secured
              Creditors' rights under this Agreement), Liens on the Collateral in favour of Persons
              other than the Secured Creditors, borrowings, taxes and other outgoings affecting the
              Collateral or which are considered advisable by the Agent to protect, preserve, repair,
              process, maintain or enhance the Collateral or prepare it for sale or other disposition, or
              to keep in good standing any Liens on the Collateral ranking in priority to any of the
              Security Interests, or to sell or otherwise dispose of the Collateral. The balance of such



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              Proceeds may, at the sole discretion of the Agent, be held as collateral security for the
              Secured Liabilities or be applied to such of the Secured Liabilities (whether or not the



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             same are due and payable) in such manner and at such times as the Agent considers
             appropriate and thereafter will be accounted for as required by Law.

    13.      Agent's Appointment as Attorney in Fact. Effective upon the occurrence and during
             the continuance of an Event of Default, the Debtor constitutes and appoints the Agent and
             any officer or agent of the Agent, with full power of substitution, as the Debtor's true and
             lawful attorney in fact with full power and authority in the place of the Debtor and in the
             name of the Debtor or in its own name, from time to time in the Agent's discretion, to
             take any and all appropriate action and to execute any and all documents and instruments
             as, in the opinion of such attorney, may be necessary or desirable to accomplish the
             purposes of this Agreement. Without lilniting the effect of this Section, the Debtor grants
             the Agent an irrevocable proxy to vote the Pledged Securities and Pledged Security
             Entitlements and to exercise all other rights, powers, privileges and remedies to which a
             holder thereof would be entitled (including giving or withholding written consents of
             shareholders, calling special meetings of shareholders and voting at such meetings),
             which proxy shall be effective, automatically and without the necessity of any action
             (including any transfer of any Pledged Securities or Pledged Security Entitlements on the
             books and records of a Pledged Issuer or Pledged Securities Intermediary, as applicable,
             upon the occurrence of an Event of Default. These powers are coupled with an interest
             and are irrevocable until the Release Date. Nothing in this Section affects the right of the



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             Agent as secured party or any other Person on any Secured Creditor's behalf, to sign and
             file or deliver (as applicable) all such financing statements, financing change statements,
             notices, verification statements and other documents relating to the Collateral and this
             Agreement as the Agent or such other Person considers appropriate. The Debtor hereby
             ratifies and confirms, and agrees to ratify and confirm, whatever lawful acts the Agent or
             any of the Agent's sub-agents, nominees or attorneys do or purport to do in exercise of
             the power of attorney granted to the Agent pursuant to this Section.

    14.      Performance by Secured Creditors of Debtor's Obligations. If the Debtor fails to
             perform or comply with any of the obligations of the Debtor under this Agreement, the
             Secured Creditors may, but need not, perform or otherwise cause the performance or
             compliance of such obligation, provided that such performance or compliance will not
             constitute a waiver, remedy or satisfaction of such failure. The expenses of the Secured
             Creditors incurred in con_nection with. any such performance or compliance will be
             payable by the Debtor to the Agent immediately on demand, and until paid, any such
             expenses will form part of the Secured Liabilities and will be secured by the Security
             Interests.

    IS.      Severability. Any provision of this Agreement that is prohibited or unenforceable in any
             jurisdiction will, as to that jurisdiction, be ineffective to the extent of such prohibition or
             unenforceability and will be severed from the balance of this Agreement, all without
             affecting the remaining provisions of this Agreement or affecting the validity or
             enforceability of such provision in any other jurisdiction.




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    16.      Rights of Secured Creditors; Limitations on Secured Creditors' Obligations,




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            (a)     Limitations on Secured Creditors' Liability. No Secured Creditor will be liable to
                    the Debtor or any other Person for any failure or delay in exercising any of the
                    rights of the Debtor under this Agreement (including any failure to take
                    possession of, collect, sell, lease or otherwise dispose of any Collateral, or to
                    preserve rights against prior parties). No Secured Creditor nor any agent of any
                    Secured Creditor (including, any sheriff) is required to take, or will have any
                    liability for any failure to take or delay in taking, any steps necessary or advisable
                    to preserve rights against other Persons under any Collateral in its possession. No
                    Secured Creditor nor any agent of any Secured Creditor will be liable for any, and
                    the Debtor will bear the full risk of all, loss or damage to any and all of the
                    Collateral (including any Collateral in the possession of any "Secured Creditor or
                    any agent thereof) caused for any reason other than the gross negligence or wilful
                    misconduct of a Secured Creditor or such agent of such Secured Creditor.

             (b)    Use of Agents. The Agent may perform any of its rights or duties under this
                    Agreement by or through agents.

    17.      Dealings by Secured Creditors. No Secured Creditor will be obliged to exhaust its
             recourse against the Debtor or any other Person or against any other security it may hold
             in respect of the Secured Liabilities or any part thereof before realizing upon or otherwise
             dealing with the Collateral in such manner as the Agent may consider desirable. The
             Secured Creditors may grant extensions of time and other indulgences, take and give up
t            security, accept compositions, grant releases and discharges and otherwise deal with the
             Debtor and any other Person, and with any or all of the Collateral, and with other security
             and sureties, as the Agent may see fit, all without prejudice to the Secured Liabilities or
             to the rights and remedies of the Secured Creditors under this Agreement. The powers
             conferred on the Agent under this Agreement are solely to protect the interests of the
             Secured Creditors in the Collateral and will not impose any duty upon any Secured
             Creditor to exercise any such powers.

    18.      Communication. Any notice or other communication required or permitted to be given
             under this Agreement will be made in accordance with the terms of the Credit
             Agreement.

    19.      Release"' of Information. The Debtor authorizes the Agent to provide a copy of this
             Agreement and such other information as may be requested of the Agent: (a) to the extent
             necessary to enforce the Agent's rights, remedies and entitlements under this Agreement;
             (b) to any permitted assignee or prospective assignee of all or any part of the Secured
             Liabilities; and (c) as required by Applicable Laws.

    20.      Expenses; Indemnity; Waiver.

             (a)    The Debtor shall pay: (i) all reasonable out-of-pocket expenses incurred by the
                    Agent, including the reasonable fees, charges and disbursements of counsel for
                    the Agent and all applicable taxes, in connection with the preparation and
                    administration of this Agreement; (ii) all reasonable out-of-pocket expenses
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                   incurred by the Agent, including the reasonable fees, charges and disbursements
                   of counsel for the Agent and applicable taxes, in connection with any
                   amendments, modifications or waivers of the provisions hereof; and (iii) all out-
                   of-pocket expenses incurred by the Agent, including the fees, charges and
                   disbursements of any counsel for the Secured Creditors and all applicable taxes,
                   in connection with the assessment, enforcement or protection of their rights in
                   connection with this Agreement, including its rights under this Section, including
                   all such out-of-pocket expenses incurred during any workout, restructuring or
                   negotiations in respect of the Secured Liabilities.

             (b)   The Debtor shall indemnify the Secured Creditors against, imd hold each Secured
                   Creditor harmless from, any and all losses, claims, cost recovery actions,
                   damages, expenses and liabilities of whatsoever nature or kind and all reasonable
                   out-of-pocket expenses and all applicable taxes to which the applicable Secured
                   Creditor may become subject arising out of or in connection with: (i) the
                   execution or delivery of this Agreement and the performance by the Debtor of its
                   obligations hereunder; (ii) any actual or prospective claim, litigation, investigation
                   or proceeding relating to this Agreement or the Secured Liabilities, whether based
                   on contract, tort or any other theory and regardless of whether the applicable
                   Secured Creditor is a party thereto; (iii) any other aspect of this Agreement; or
                   (iv) the enforcement of the Secured Creditors' rights hereunder and any related
                   investigation, defence, preparation of defence, litigation and enquiries; provided
                   that such indemnity shall not, as to any Secured Creditor, be available to the
                   extent that such losses, claims, damages, liabilities or related expenses are
                   determined by a court of competent jurisdiction by final and non-appealable
                   judgment to have resulted from the gross negligence (it being acknowledged that
                   ordinary negligence does not necessarily constitute gross negligence) or wilful
                   misconduct of or material breach of this Agreement by such Secured Creditor.

             (c)   The Debtor shall not assert, and hereby waives (to the fullest extent permitted by
                   Applicable Laws): (i) any claim against any Secured Creditor (or any director,
                   officer or employee thereof), on any theory of liability, for special, indirect,
                   consequential or punitive damages (as opposed to direct or actual damages)
                   arising out of, in connection with, or as a result of, this Agreement; and (ii).all of
                   the rights, benefits and protections given by any present or future statute that
                   imposes limitations on the rights, powers or remedies of a secured party or on the
                   methods of, or procedures for, realization of security, including any "seize or sue"
                   or "anti-deficiency" statute or any similar provision of any other statute.

             (d)   All amounts due under this Section shall be payable not later than thirty (30) days
                   after written demand therefor.

             (e)   The indemnifications set out in this Section will survive the Release Date and the
                   release or extinguishment of the Security interests .




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    21.       Release of Debtor. Upon the written request of the Debtor given at any time on or after
            . the Release Date, the Agent shall at the expense of the Debtor, promptly release the
              Debtor and the Collateral from the Security Interests. Upon such release, and at the
              request and expense of the Debtor, the Agent shall promptly execute and deliver to the
              Debtor such releases and discharges as the Debtor may reasonably request.

    22.      Additional Security. This Agreement is in addition to, and not in substitution of, any
             and all other security previously or concurrently delivered by the Debtor or any other
             Person to the Secured Creditors, all of which other security shall remain in full force and
             effect.

    23.      Alteration or Waiver. None of the terms or provisions of this Agreement may be
             waived, amended, supplemented or otherwise modified except by a written instrument
             executed by the Agent. The Agent will not, by any act or delay, be deemed to have
             waived any right or remedy hereunder or to have acquiesced in any Event of Default or in
             any breach of any of the terms and conditions hereof. No failure to exercise, nor any
             delay in exercising, on the part of the Agent, any right, power or privilege hereunder shall
             operate as a waiver thereof. No single or partial exercise of any right, power or privilege
             hereunder will preclude any other or further exercise thereof or the exercise of any other
             right, power or privilege. A waiver by the Agent of any right or remedy hereunder on
             anyone occasion will not be construed as a bar to any right or remedy which the Agent



•            would otherwise have on any future occasion. Neither the taking of any judgment nor the
             exercise of any power of seizure or sale will extinguish the liability of the Debtor to pay
             the Secured Liabilities, nor will the same operate as a merger of any covenant contained
             in this Agreement or of any other liability; nor will the acceptance of any payment or
             other security constitute or create any novation.

    24.      Amalgamation. The Debtor acknowledges that if it amalgamates or merges with any
             other corporation or corporations, then: (a) the Collateral and the Security Interests will
             extend to and include all the property and assets of the successor corporation and to any
             property or assets of the successor corporation thereafter owned or acquired; (b) the term
             "Debtor", where used in this Agreement, will extend to and include the successor
             corporation; and (c) the term "Secured Liabilities", where used in this Agreement, will
             extend.to and include the .Secured Ljabilitiesofthe successor corporation.

    25.      Governing Law; Attornment. This Agreement will be governed by and construed in
             accordance with the Laws of the Province of Alberta. Without prejudice to the ability of
             the Secured Creditors to enforce this Agreement in any other proper jurisdiction, the
             Debtor irrevocably submits and attorns to the non-exclusive jurisdiction of the courts of
             such province. To the extent permitted by Applicable Laws, the Debtor irrevocably
             waives any objection (including any claim of inconvenient forum) that it may now or
             hereafter have to the venue of any legal proceeding arising out of or relating to this
             Agreement in the courts of such Province.

    26.      Interpretation. The definitions of terms herein shall apply equally to the singular and
             plural forms of the terms defined. Whenever the context may require, any pronoun shall
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             include the corresponding masculine, feminine and neuter forms. The words "include",
             "includes" and "including" shall be deemed to be followed by the phrase "without
             limitation". The word "will" shall be construed to have the same meaning and effect as
             the word "shall". The word "or" is disjunctive; the word "and" is conjunctive. The word
             "shall" is mandatory; the word "may" is permissive. Unless the context requires
             otherwise: (a) any definition of or reference to any agreement, instrument or other
             document herein shall be construed as referring to such agreement, instrument or other
             document as from time to time amended, supplemented or otherwise modified (subject to
             any restrictions on such amendments, supplements or modifications set out herein); (b)
             any reference herein to any statute or any section thereof shall, unless otherwise expressly
             stated, be deemed to be a reference to such statute or section as amended, restated or re-
             enacted from time to time; (c) any reference herein to any Person shall be construed to
             include such Person's successors and permitted assigns; (d) the words "herein", "hereof'
             and "hereunder", and words of similar import, shall be construed to refer to this
             Agreement in its entirety and not to any particular provision hereof; and (e) all references
             herein to Sections and Schedules shall be construed to refer to Sections and Schedules to,
             this Agreement, Section headings are for convenience of reference only, are not part of
             this Agreement and shall not affect the construction of, or be taken into consideration in
             interpreting, this Agreement. Any reference in this Agreement to a Permitted Lien is not
             intended to subordinate or postpone, and shall not be interpreted as subordinating or



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             postponing, or as any agreement to subordinate or postpone, any Security Interest to any
             Permitted Lien.

    27.      Successors and Assigns. This Agreement will enure to the benefit of, and be binding on,
             the Debtor and its successors and permitted assigns, and will enure to the benefit of, and
             be binding on, the Secured Creditors and their successors and assigns. The Debtor may
             not assign this Agreement or any of its rights or obligations under this Agreement. The
             Agent may assign this Agreement and any of its rights and obligations hereunder to any
             Person that replaces it in its capacity as such.

    28.      Acknowledgment of Receipt/Waiver. The Debtor acknowledges receipt of an executed
             copy of this Agreement and, to the extent permitted by Applicable Laws, waives the right
             to receive a copy of any financing statement or financing change statement registered in
             connection with this Agreement or. any verification statement issued in respect of any
             such financing statement or financing change statement.

    29.      Paramountcy. If a conflict or inconsistency exists in or between a provision of this
             Agreement and a provision of the Credit Agreement or any part thereof, the provisions of
             the Credit Agreement shall prevail to the extent necessary to resolve such conflict or
             inconsistency.

    30.      Electronic Signature. Delivery of an executed signature page to this Agreement by the
             Debtor by facsimile, pdf or other electronic form of transmission shall be as effective as
             delivery by the Debtor of a manually executed copy of this Agreement by the Debtor.




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•          IN WITNESS WHEREOF the undersigned has caused this Agreement to be duly
    executed as of the date first written above.

                                                          Q'MAX SOLUTIONS INC.



                                                          per:~~.£--:-::~?-_~_...::::====S_-_
                                                          Name: Mark Roberts
                                                          Title: Chief Financial Officer




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•                 [Signature Page to Pledge Agreement- Q'Max Solutions Inc. (Canadian)]
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•                                            SCHEDULE A

                                        PLEDGED PROPERTY

    A.       The Securities Accounts described in Schedule B and all Securities Entitlements carried
             therein from time to time.

    B.       All Securities and Security Entitlements of Q'Max Solutions Holdings [nco and [356760
             Alberta Ltd. (or any of their successors, including, for certainty, by way of
             amalgamation) in which the Debtor now or in the future has any right, title or interest
             whatsoever.




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•                                            SCHEDULE B

                       DEBTOR & PLEDGED PROPERTY INFORMATION

    Full legal name: Q'Max Solutions Inc.

    Jurisdiction of incorporation or organization: Alberta

    Address of chief executive office:    Q'Max Solutions Inc.
                                          407 2nd St. SW, Ste. 1700
                                          Calgary, Alberta T2P 2Y3
                                          Canada

    Pledged Uncertificated Securities: Nil

    Pledged Securities Accounts: Nil

    Pledged Certificated Securities: See below

                                         % of issued and
                                           outstanding



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                                           Securities of          Security      Security
                                        Pledged Issuer as        Certificate   Certificate
      Pledged Issuer   Securities Owned of the date hereof       Numbers        Location

    Q'Max Solutions      100 Class "A"             0.2                A-I       Alberta
    Holdings Inc.       Common Shares

    Q'Max Solutions     60,000 Class "C"          99.8                C-I       Alberta
    Holdings Inc.       Preferred Shares

    1356760 Alberta     2,984,800 Class            100            A-I, A-2      Alberta
    Ltd.                 "A" Common
                            Shares




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                   THIS IS EXHIBIT”_________
                      rf9rred to in the A1vit of
                      (    OV\/’                     I
                   Swornbeforemethis      2
                   dayof



                             Jonathan Tomm
                           Barrister and Solicitor
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                                                                                           Execution Copy



•           This PLEDGE AGREEMENT dated as of May 23, 2014 (together with all amendments, if any,
    from time to time hereto, this "Agreement"), is made by and between Q'MAX SOLUTIONS INC. (the
    "Pledgor") and HSBC BANK CANADA, as administrative agent for the Lenders (as defined below) (in
    such capacity, together with its successors and permitted assigns, the "Agent" and, cOllectively with the
    Lenders, the Hedge Providers and the Agent and its Affiliates as counterparties to the Banking Services
    Agreements, the "Secured Parties" and each, a "Secured Party").

                                             WIT N E SSE T H:

           A.      Pursuant to that certain Credit Agreement dated as of the date hereof (as amended,
    supplemented or restated from time to time, the "Credit Agreement"), by and among Fluid Acquisition
    Corp. and Q'Max America Inc. (collectively, the "Borrowers"), HSBC Bank Canada and the other
    Lenders from time to time party to the Credit Agreement (collectively, the "Lenders") and the Agent, the
    Lenders have agreed to make available to the Borrowers certain Loans.

            B.       The obligation of the Lenders to continue to make Loans available to the Borrowers
    pursuant to the Credit Agreement, the entry into Hedging Agreements by the Hedge Providers from time
    to time and the entry into Banking Services Agreements by the Agent and its Affiliates, from time to time
    are conditioned upon the execution and delivery by the Pledgor of this Agreement to secure the
    Obligations.

            NOW, THEREFORE, in consideration of the premises and mutual covenants herein contained,
    in order to induce the Lenders to make Advances under the Credit Agreement and to induce the Hedge
    Providers to enter into Hedging Agreements from time to time and for other good and valuable




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    consideration, the receipt and sufficiency of which hereby are acknowledged, the parties hereto hereby
    agree as follows:

            Section I.    Terms Defined in Credit Agreement. Except as otherwise provided in this
    Agreement, all capitalized terms used herein without definition shall have the same meanings
    herein as such terms have in the Credit Agreement.

            Section 2.        Grant of Security Interest in the Collateral. To secure the prompt and
    complete payment, performance and observance of all of the Obligations of the Pledgor (collectively, the
    "Secured Obligations"), the Pledgor hereby grants to the Agent for the benefit of the Secured
    Parties a lien on and security interest in, and acknowledges and agrees that the Agent has and
    shall continue to have for the benefit of the Secured Parties a continuing lien on and security
    interest in, all right, title, and interest of the Pledgor in (a) (i) all shares of the capital stock of
    Q'Max America Inc. (the "Issuer"), whether now owned or hereafter formed or acquired (those
    shares as of the date hereof being listed and described on Schedule A attached hereto), and all
    substitutions and additions to such shares (herein, the "Pledged Securities"), (ii) all dividends,
    distributions, and sums distributable or payable from, upon or in respect of the Pledged
    Securities, and (iii) all other rights and privileges incident to the Pledged Securities (all of the
    foregoing being hereinafter referred to collectively as the "Stock Collateral") and (b) all proceeds
    of the foregoing; all of the foregoing being herein sometimes referred to as the "Collateral".

           Section 3.    Covenants, Agreements, Representations and Warranties. The Pledgor
    hereby covenants and agrees with, and represents and warrants to, the Secured Parties that:




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                      (a)   The Pledgor is the sole and lawful owner of its Collateral.




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•                   (b)    None of the Collateral constitutes margin stock (within the meaning of
             Regulation U of the Board of Governors of the Federal Reserve System).

                    (c)    The Pledgor shall warrant and defend the Collateral against any claims
             and demands of all persons (other than holders of Permitted Liens) at any time claiming
             the same or any interest in the Collateral adverse to the Secured Parties.

                     (d)    The Pledgor agrees to execute and deliver to the Agent such further
             agreements, assignments, instruments, and documents, and to do all such other things, as
             the Agent may deem necessary or appropriate to assure the Agent its lien and security
             interest hereunder, including, without limitation, such assignments, acknowledgments,
             stock powers, financing statements, instruments, and documents as the Agent may from
             time to time require in order to comply with the Uniform Commercial Code of the State
             of New York as in effect from time to time ("UCC"). The Pledgor hereby authorizes the
             Agent to file any and all financing statements covering the Collateral or any part thereof
             as the Agent may require.

                     (e)     If, as and when the Pledgor acquires any Pledged Securities in addition to
             those listed on Schedule A hereto, the Pledgor shall furnish to the Agent a supplement to
             the relevant Schedule reflecting the additional Collateral subject to this Agreement
             (provided the Pledgor's failure to do so shall not impair the Agent's security interest
             therein).



•                    (f)      On failure of the Pledgor to perform any of the covenants and agreements
             herein contained, the Agent may, at its option, perform the same and in so doing may
             expend such sums as the Agent deems advisable in the performance thereof, including,
             without limitation, the payment of any insurance premiums, the payment of any taxes,
             liens, and encumbrances, expenditures made in defending against any adverse claims, and
             all other expenditures which the Agent may be compelled to make by operation of law or
             which the Agent may make by agreement or otherwise for the protection of the security
             hereof. All such sums and amounts so expended shall be repayable by the Pledgor upon
             demand, shall constitute additional Secured Obligations secured hereunder. No such
             performance of any covenant or agreement by the Agent on behalf of the Pledgor, and no
             such advancement or expenditure therefor, shall relieve the Pledgor of any default under
             the terms of this Agreement or in any way obligate any Secured Party to take any further
             or future action with respect thereto. The Agent, in making any payment hereby
             authorized, may do so according to any bill, statement or estimate procured from the
             appropriate public office or holder of the claim to be discharged without inquiry into the
             accuracy of such bill, statement or estimate or into the validity of any tax assessment,
             sale, forfeiture, tax lien or title or claim.

             Section 4.     Special Provisions Re: Stock Collateral.

                      (a)   The Pledgor has the right to vote the Pledged Securities and there are no
             restrictions upon the voting rights associated with, or the transfer of, any of the Pledged
             Securities, except as provided by federal and state laws applicable to the sale of securities



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             generally and the terms of this Agreement.



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•                     (b)    The certificates for all shares of the Pledged Securities shall be delivered
              by the Pledgor to the Agent duly endorsed in blank for transfer or accompanied by an
              appropriate assignment or assignments or an appropriate undated stock power or powers,
              in every case sufficient to transfer title thereto. The Agent may, at any time after the
              occurrence of any Event of Default, cause to be transferred into its name or into the name
              of its nominee or nominees any and all of the Pledged Securities. If an Event of Default
              shall have occurred and be continuing, the Agent shall have the right to exchange the
              certificates representing the Pledged Securities for certificates of smaller or larger
              denominations.

                      (c)    The Pledged Securities have been validly issued and, except as described
              on Schedule A, are fully paid and non-assessable. Except as set forth on Schedule A,
              there are no outstanding commitments or other obligations of the issuers of any of the
              Pledged Securities to issue, and no options, warrants or other rights of any individual or
              entity to acquire, any share of any class or series of capital stock of such issuers. The
              Pledged Securities listed and described on Schedule A attached hereto constitute the
              percentage of the issued and outstanding capital stock of each series and class of the
              issuers thereof as set forth thereon owned by the relevant Pledgor. The Pledgor agrees
              that in the event any such issuer shall issue any additional capital stock of any series or
              class (whether or not entitled to vote) to the Pledgor or otherwise on account of its
              ownership interest therein, the Pledgor will forthwith pledge and deposit hereunder, or
              cause to be pledged and deposited hereunder, all such additional shares of such capital



•             stock.

           Section 5.    Voting Rights and Dividends. Unless and until an Event of Default
    hereunder has occurred and is continuing and thereafter until notified by the Agent pursuant to
    Section 7(c) hereof:

                     (a)     The Pledgor shall be entitled to exercise all voting and/or consensual
              powers pertaining to the Collateral of the Pledgor, or any part thereof, for all purposes not
              inconsistent with the terms of this Agreement or any other document evidencing or
              otherwise relating to any of the Secured Obligations.

                      (b)     The Pledgor shall be entitled to receive and retain all dividends and
              distributions in respect of the Collateral; provided. however. that any non-cash dividends
              and distributions upon or in respect of the Pledged Securities or any part thereof or
              resulting from a split-up, revision or reclassification of the Pledged Securities or any part
              thereof or received in addition to, in substitution of or in exchange for the Pledged
              Securities or any part thereof as a result of a merger, consolidation or otherwise that
              would constitute Pledged Securities shall be delivered or transferred, as appropriate,
              directly to the Agent promptly upon the receipt thereof by the Pledgor and shall be held
              by the Agent pursuant hereto as part of the Collateral pledged under and subject to the
              terms of this Agreement.

                      (c)    In order to permit the Pledgor to exercise such voting and/or consensual
              powers which it is entitled to exercise under subsection (a) above and to receive such



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              distributions which the Pledgor is entitled to receive and retain under subsection (b)


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•            above, the Agent will, if necessary, upon the written request of the Pledgor and at the
             expense of the Pledgor, from time to time execute and deliver to the Pledgor appropriate
             proxies and dividend orders.

            Section 6.      Power of Attorney. In addition to any other powers of attorney contained
    herein, the Pledgor hereby appoints the Agent, its nominee, or any other person whom the Agent
    may designate as the Pledgor's attorney-in-fact, with full power and authority upon the
    occurrence and during the continuation of any Event of Default to ask, demand, collect, receive,
    receipt for, sue for, compound and give acquittance for any and all sums or properties which may
    be or become due, payable or distributable in respect of the Collateral or any part thereof, with
    full power to settle, adjust or compromise any claim thereunder or therefor as fully as the
    Pledgor could itself do, to endorse or sign the Pledgor's name on any assignments, stock powers
    or other instruments of transfer and on any checks, notes, acceptances, money orders, drafts, and
    any other forms of payment or security that may come into the Agent's possession and on all
    documents of satisfaction, discharge or receipt required or requested in connection therewith,
    and, in its discretion, to file any claim or take any other action or proceeding, either in its own
    name or in the name of the Pledgor, or otherwise, which the Agent deems necessary or
    appropriate to collect or otherwise realize upon all or any part of the Collateral, or effect a
    transfer thereof, or which may be necessary or appropriate to protect and preserve the right, title,
    and interest of the Agent in and to such Collateral and the security intended to be afforded
    hereby. The Pledgor hereby ratifies and approves all acts of any such attorney and agrees that
    neither the Agent nor any such attorney will be liable for any such acts or omissions nor for any




•   error of judgment or mistake of fact or law other than such person's gross negligence or willful
    misconduct. The Agent may file one or more financing statements disclosing its security interest
    in all or any part of the Collateral without the Pledgor's signature appearing thereon, and the
    Pledgor also hereby grants the Agent a power of attorney to execute any such financing
    statements, and any amendments or supplements thereto, on behalf of the Pledgor without notice
    thereof to the Pledgor. The foregoing powers of attorney, being coupled with an interest, are
    irrevocable until the Secured Obligations (other than un asserted contingent indemnification
    obligations not due and payable) have been fully satisfied and all commitments of the Lenders to
    extend credit to or for the account of the Borrowers, or any of them, under the Credit Agreement
    have expired or otherwise terminated.

           Section 7.     Defaults and Remedies. (a) The occurrence of any event or the existence
    of any condition specified as an "Event of Default" under the Credit Agreement shall constitute
    an "Event of Default" hereunder.

            (b)    Upon the occurrence and during the continuation of any Event of Default, the
    Agent shall have, in addition to all other rights provided herein or by law, the rights and
    remedies of a secured party under the UCC (regardless of whether the UCC is the law of the
    jurisdiction where the rights or remedies are asserted and regardless of whether the UCC applies
    to the affected Collateral), and further the Agent may, without demand and, to the extent
    permitted by applicable law, without advertisement, notice, hearing or process of law, all of
    which the Pledgor hereby waives to the extent permitted by applicable law, at any time or times,
    sell and deliver any or all of the Collateral held by or for it at public or private sale, at any
    securities exchange or broker's board or at the Agent's office or elsewhere, for cash, upon credit



•   or otherwise, at such prices and upon such terms as the Agent deems advisable, in its reasonable



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•   discretion. In the exercise of any such remedies, the Agent may sell the Collateral as a unit even
    though the sales price thereof may be in excess of the amount remaining unpaid on the Secured
    Obligations. In addition to all other sums due any Secured Party hereunder, the Pledgor shall
    pay the Secured Parties all costs and expenses incurred by the Secured Parties, including
    reasonable and documented out-of-pocket attorneys' fees and court costs, in obtaining,
    liquidating or enforcing payment of Collateral or the Secured Obligations or in the prosecution or
    defense of any action or proceeding by or against any Secured Party or the Pledgor concerning
    any matter arising out of or connected with this Agreement or the Collateral or the Secured
    Obligations, including, without limitation, any of the foregoing arising in, arising under or
    related to a case under the United States Bankruptcy Code (or any successor statute). Any
    requirement of reasonable notice shall be met if such notice is personally served on or mailed,
    postage prepaid, to the Pledgor in accordance with Section 11 (b) hereof at least 10 days before
    the time of sale or other event giving rise to the requirement of such notice; provided. however.
    no notification need be given to the Pledgor if the Pledgor has signed, after an Event of Default
    has occurred, a statement renouncing any right to notification of sale or other intended
    disposition. The Agent shall not be obligated to make any sale or other disposition of the
    Collateral regardless of notice having been given. Any Secured Party may be the purchaser at
    any such sale. The Pledgor hereby waives all of its rights of redemption from any such sale.
    The Agent may postpone or cause the postponement of the sale of all or any portion of the
    Collateral by announcement at the time and place of such sale, and such sale may, without
    further notice, be made at the time and place to which the sale was postponed or the Agent may
    further postpone such sale by announcement made at such time and place. The Agent may sell



•   or otherwise dispose of the Collateral without giving any warranties as to the Collateral or any
    part thereof, including disclaimers of any warranties of title or the like, and the Pledgor
    acknowledges and agrees that the absence of such warranties shall not render the disposition
    commercially unreasonable.

             THE PLEDGOR AGREES THAT IF ANY PART OF THE COLLATERAL IS SOLD AT ANY PUBLIC OR
    PRIVATE SALE, THE AGENT MAY ELECT TO SELL ONLY TO A BUYER WHO WILL GIVE FURTHER
    ASSURANCES, SATISFACTORY IN FORM AND SUBSTANCE TO THE AGENT, RESPECTING COMPLIANCE
    WITH THE REQUIREMENTS OF THE SECURITIES ACT OF        1933, AS AMENDED, AND APPLICABLE STATE
    SECURITIES LAWS, AND A SALE SUBJECT TO SUCH CONDITION SHALL BE DEEMED COMMERCIALLY
    REASONABLE.

             THE PLEDGOR FURTHER AGREES THAT IN ANY SALE OF ANY PART OF THE COLLATERAL, THE
    AGENT     IS   HEREBY AUTHORIZED TO COMPLY        WITH   ANY   LIMITATION OR     RESTRICTION    IN
    CONNECTION WITH SUCH SALE AS IT MAY BE ADVISED BY COUNSEL IS NECESSARY IN ORDER TO
    AVOID ANY VIOLATION OF APPLICABLE LAW (INCLUDING, WITHOUT LIMITATION, COMPLIANCE
    WITH SUCH PROCEDURES AS MAY RESTRICT THE NUMBER OF PROSPECTIVE BIDDERS AND
    PURCHASERS AND/OR FURTHER RESTRICT SUCH PROSPECTIVE BIDDERS OR PURCHASERS TO PERSONS
    WHO WILL REPRESENT AND AGREE THAT THEY ARE PURCHASING FOR THEIR OWN ACCOUNT FOR
    INVESTMENT AND NOT WITH A VIEW TO THE DISTRIBUTION OR RESALE OF SUCH COLLATERAL), OR
    IN ORDER TO OBTAIN ANY REQUIRED APPROVAL OF THE SALE OR OF THE PURCHASER BY ANY
    GOVERNMENTAL REGULATORY AUTHORITY OR OFFICIAL, AND THE PLEDGOR FURTHER AGREES
    THAT SUCH COMPLIANCE SHALL NOT RESULT IN SUCH SALE BEING CONSIDERED OR DEEMED NOT TO
    HAVE BEEN MADE IN A COMMERCIALLY REASONABLE MANNER, NOR SHALL THE AGENT BE LIABLE




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•   OR ACCOUNTABLE TO THE PLEDGOR FOR ANY DISCOUNT ALLOWED BY REASON OF THE FACT THAT
    SUCH COLLATERAL IS SOLD IN COMPLIANCE WITH ANY SUCH LIMITATION OR RESTRICTION.

            (c)      Without in any way limiting the foregoing, upon the occurrence and during the
    continuation of any Event of Default, all rights of the Pledgor to receive and retain the
    distributions which they are entitled to receive and retain pursuant to Section 5(b) hereof shall, at
    the option of the Agent, cease and thereupon become vested in the Agent which, in addition to
    all other rights provided herein or by law, shall then be entitled solely and exclusively to receive
    and retain the distributions which the Pledgor would otherwise have been authorized to retain
    pursuant to Section 5(b) hereof and all rights of the Pledgor to exercise the voting and/or
    consensual powers which they are entitled to exercise pursuant to Section 5(a) hereof shall, at the
    option of the Agent, cease and thereupon become vested in the Agent which, in addition to all
    other rights provided herein or by law, shall then be entitled solely and exclusively to exercise all
    voting and other consensual powers pertaining to the Collateral and to exercise any and all rights
    of conversion, exchange or subscription and any other rights, privileges or options pertaining
    thereto as if the Agent were the absolute owner thereof, including, without limitation, the right to
    exchange, at its discretion, the Collateral or any part thereof upon the merger, consolidation,
    reorganization, recapitalization or other readjustment of the respective issuer thereof or upon the
    exercise by or on behalf of any such issuer or the Agent of any right, privilege or option
    pertaining to the Collateral or any part thereof and, in connection therewith, to deposit and
    deliver the Collateral or any part thereof with any committee, depositary, transfer agent, registrar
    or other designated agency upon such terms and conditions as the Agent may determine. In the



•   event the Agent in good faith believes any of the Collateral constitutes restricted securities within
    the meaning of any applicable securities laws, any disposition thereof in compliance with such
    laws shall not render the disposition commercially unreasonable.

            (d)      The powers conferred upon the Secured Parties hereunder are solely to protect
    their interest in the Collateral and shall not impose on them any duty to exercise such powers.
    The Agent shall be deemed to have exercised reasonable care in the custody and preservation of
    the Collateral in its possession or control if such Collateral is accorded treatment substantially
    equivalent to that which the Agent accords its own property, consisting of similar type assets, it
    being understood, however, that the Agent shall have no responsibility for (i) ascertaining or
    taking any action with respect to calls, conversions, exchanges, maturities, tenders or other
    matters relating to any Collateral, whether or not the Agent has or is deemed to have knowledge
    of such matters, (ii) taking any necessary steps to preserve rights against any parties with respect
    to any Collateral, or (iii) initiating any action to protect the Collateral or any part thereof against
    the possibility of a decline in market value. This Agreement constitutes an assignment of rights
    only and not an assignment of any duties or obligations of the Pledgor in any way related to the
    Collateral, and the Agent shall have no duty or obligation to discharge any such duty or
    obligation. Neither any Secured Party nor any party acting as attorney for any Secured Party
    shall be liable hereunder for any acts or omissions or for any error of judgment or mistake of fact
    or law other than such person's gross negligence or willful misconduct.

            (e)      Failure by the Agent to exercise any right, remedy or option under this Agreement
    or any other agreement between the Pledgor and the Agent or provided by law, or delay by the
    Agent in exercising the same, shall not operate as a waiver; and no waiver shall be effective



•   unless it is in writing, signed by the party against whom such waiver is sought to be enforced and



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•   then only to the extent specifically stated. The rights and remedies of the Secured Parties under
    this Agreement shall be cumulative and not exclusive of any other right or remedy which any
    Secured Party may have. For purposes of this Agreement, an Event of Default shall be construed
    as continuing after its occurrence until the same is waived in writing by the Agent or cured.

            Section 8.     Application of Proceeds. The proceeds and avails of the Collateral at any
    time received by the Agent upon the occurrence and during the continuation of any Event of
    Default shall, when received by the Agent in cash or its equivalent, be applied by the Agent in
    reduction of, or held as security for, the Secured Obligations in accordance with the terms of the
    Credit Agreement. The Pledgor shall remain liable to the Secured Parties for any deficiency.
    Any surplus remaining after the full payment and satisfaction of the Secured Obligations shall be
    returned to the Pledgor or paid to whomsoever the Agent reasonably determines is lawfully
    entitled thereto.

            Section 9.      Continuing Agreement. This Agreement shall be a continuing agreement
    in every respect and shall remain in full force and effect until all of the Secured Obligations
    (other than unasserted contingent indemnification obligations not due and payable), including all
    principal and interest, have been fully paid and satisfied and the commitments of the Lenders to
    extend credit to or for the account of the Borrowers under the Credit Agreement shall have
    expired or otherwise terminated. Upon such termination of this Agreement, the Agent shall,
    upon the request and at the expense of the Pledgor, forthwith release all its liens and security
    interests hereunder.   In connection with any termination pursuant to this Section 9, the Agent




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    shall execute and deliver to the Pledgor all documents that the Pledgor shall reasonably request
    to evidence such termination (including Uniform Commercial Code termination statements), and
    will duly assign and transfer to the Pledgor, such of the Collateral that may be in the possession
    of the Agent and has not theretofore been sold or otherwise applied or released pursuant to this
    Agreement. [NTD: Plegor's rights to file UCC-3s and take any other actions arise by law under
    the UCC and don't need to be addressed here, consistent with the US Security Agreement.]

            Section 10.    Reinstatement. This Agreement shall remain in full force and effect and
    continue to be effective should any petition be filed by or against the Pledgor for liquidation or
    reorganization, should the Pledgor become insolvent or make an assignment for the benefit of
    any creditor or creditors or should a receiver or trustee be appointed for all or any significant part
    of the Pledgor's assets, and shall continue to be effective or be reinstated, as the case may be, if
    at any time payment and performance of the Secured Obligations, or any part thereof, is,
    pursuant to applicable law, rescinded or reduced in amount, or must otherwise be restored or
    returned by any obligee of the Secured Obligations, whether as a "voidable preference,"
    "fraudulent conveyance," or otherwise, all as though such payment or performance had not been
    made. In the event that any payment, or any part thereof, is rescinded, reduced, restored or
    returned, the Secured Obligations shall be reinstated and deemed reduced only by such amount
    paid and not so rescinded, reduced, restored or returned.

            Section 11.   The Agent. In acting under or by virtue of this Agreement, the Agent shall
    be entitled to all the rights, authority, privileges, and immunities provided in the Credit
    Agreement, all of which provisions of said Credit Agreement are incorporated by reference
    herein with the same force and effect as if set forth herein in their entirety. The Agent hereby



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    disclaims any representation or warranty to the Secured Parties or any other holders of the


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•   Secured Obligations concerning the perfection of the liens and security interests granted
    hereunder or in the value of any of the Collateral.

            Section J2.      Miscellaneous. (a) This Agreement cannot be changed or terminated
    orally. This Agreement shall create a continuing lien on and security interest in the Collateral
    and shall be binding upon the Pledgor and its successors and permitted assigns, and shall inure,
    together with the rights and remedies of the Secured Parties hereunder, to the benefit of the
    Secured Parties and their successors and assigns; provided, however, that the Pledgor may not
    assign its rights or delegate its duties hereunder without the Agent's prior written consent.

          (b)     Except as otherwise specified herein, all notices hereunder shall be given in the
    manner, and to the address, provided for in the Credit Agreement.

            (c)     In the event and to the extent that any provision hereof shall be deemed to be
    invalid or unenforceable by reason of the operation of any law or by reason of the interpretation
    placed thereon by any court, this Agreement shall to such extent be construed as not containing
    such provision, but only as to such jurisdictions where such law or interpretation is operative,
    and the invalidity or unenforceability of such provision shall not affect the validity of any
    remaining provisions hereof, and any and all other provisions hereof which are otherwise lawful
    and valid shall remain in full force and effect.

            (d)     The lien and security interest herein created and provided for stand as direct and



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    primary security for all Secured Obligations. No application of any sums received by the
    Secured Parties in respect of the Collateral or any disposition thereof to the reduction of the
    Secured Obligations or any part thereof shall in any manner entitle the Pledgor to any right, title
    or interest in or to the Secured Obligations or any security therefor, whether by subrogation or
    otherwise, unless and until all Secured Obligations have been fully paid and satisfied and all
    commitments to extend credit to or for the account of the Borrowers under the Credit Agreement
    have expired or otherwise terminated. The Pledgor acknowledges and agrees that the lien and
    security interest hereby created and provided for are absolute and unconditional and shall not in
    any manner be affected or impaired by any acts or omissions whatsoever of any Secured Party or
    any other holder of any of the Secured Obligations, and without limiting the generality of the
    foregoing, the lien and security interest hereof shall not be impaired by any acceptance by any
    Secured Party or any other holder of any of the Secured Obligations of any other security for or
    guaranty of any Secured Obligations or by any failure, neglect or omission on the part of any
    Secured Party or any other holder of any of the Secured Obligations to realize upon or protect
    any of the Secured Obligations or any security therefor. The lien and security interest hereof
    shall not in any manner be impaired or affected by (and the Secured Parties, without notice to
    anyone, are hereby authorized to make from time to time) any sale, pledge, surrender,
    compromise, settlement, release, renewal, extension, indulgence, alteration, substitution,
    exchange, change in, modification or disposition of any of the Secured Obligations or of any
    security therefor, or of any guaranty thereof, or of any instrument or agreement setting forth the
    terms and conditions pertaining to any of the foregoing. The Secured Parties may at their
    discretion at any time grant credit to the Borrowers without notice to the Pledgor in such
    amounts and on such terms as the Secured Parties may elect without in any manner impairing the
    lien and security interest hereby created and provided for. In order to realize hereon and to



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    exercise the rights granted the Secured Parties hereunder and under applicable law, there shall be


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•   no obligation on the part of any Secured Party or any other holder of any of the Secured
    Obligations at any time to first resort for payment to the Borrowers or any other pledgor or to
    any guaranty of the Secured Obligations or any portion thereof or to resort to any other security,
    property, liens or any other rights or remedies whatsoever, and the Secured Parties shall have the
    right to enforce this Agreement against the Pledgor or any of its Collateral irrespective of
    whether or not other proceedings or steps seeking resort to or realization upon or from any of the
    foregoing are pending.

            (e)     This Agreement may be executed in any number of counterparts and by different
    parties hereto on separate counterpart signature pages, each constituting an original, but all
    together one and the same instrument. The Pledgor acknowledges that this Agreement is and
    shall be effective upon its execution and delivery by the Pledgor to the Agent, and it shall not be
    necessary for the Agent to execute this Agreement or any other acceptance hereof or otherwise to
    signify or express its acceptance hereof.

           (I)     This Agreement shall be deemed to have been made in the State of New York and
    shall be governed by, and construed in accordance with, the laws of the State of New York,
    without regard to principles of conflicts of law (other than New York General Obligations
    Laws 5-1401 and 5-1402). The headings in this Agreement are for convenience of reference
    only and shall not limit or otherwise affect the meaning of any provision hereof.

            (g)     The Pledgor hereby submits to the non-exclusive jurisdiction of the United States



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    District Court for the Southern District of New York and of any New York state court sitting in
    the City of New York, Borough of Manhattan, for purposes of all legal proceedings arising out of
    or relating to this Agreement or the transactions contemplated hereby. The Pledgor irrevocably
    waives, to the fullest extent permitted by law, any objection which it may now or hereafter have
    to the laying of the venue of any such proceeding brought in such a court and any claim that any
    such proceeding brought in such a court has been brought in an inconvenient form. THE
    PLEDGOR AND, BY ACCEPTING THE BENEFITS OF THIS AGREEMENT, EACH SECURED PARTY HEREBY
    IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL PROCEEDING ARISING
    OUT OF OR RELATING TO THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY.

           (h)    In the event of any direct conflict between this Agreement and the Credit
    Agreement such that it would be impossible to comply with the provisions of each of this
    Agreement and the Credit Agreement, the provisions of the Credit Agreement shall control and
    be paramount to the provisions of this Agreement.

                                     [SIGNATURE PAGES TO FOLLOW]




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•          IN WITNESS WHEREOF, the Pledgor has caused this Pledge Agreement to be duly
    executed and delivered as of the date first above written.

                                                             PLEDGOR

                                                             Q'MAX SOLUTIONS       ~ "-

                                                             By:             ~_S
                                                                     Name      Mark Roberts
                                                                     Title     Chief Financial Officer




          Acknowledged and agreed to as of the date first above written.


                                                             HSBC BANK CANADA, as Agent

                                                             By:
                                                                     Name
                                                                             ----------------
                                                                     Title



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                      [Signature Page to Pledge Agreement - Q ·Max Solutions Inc. (U.S.)]
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•          IN WITNESS WHEREOF, the Pledgor has caused this Pledge Agreement to be duly
    executed and delivered as of the date first above written.

                                                          PLEDGOR

                                                          Q'MAX SOLUTIONS INC.

                                                          By:
                                                                ---------------------------
                                                                Name
                                                                Title
                                                                      ----------------------


          Acknowledged and agreed to as of the date first above written.


                                                           HSBC            CANA




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•                                 SCHEDULE A To PLEDGE AGREEMENT

                                       THE PLEDGED SECURITIES

                                            JURISDICTION
                                                                               PERCENTAGE
        NAME OF                                  OF        No. OF   CERTIFIC
                           NAME OF ISSUER                                       OF ISSUER'S
        PLEDGOR                             INCORPORATI    SHARES   ATE No.
                                                                                  STOCK
                                                 ON



         Q'MAX
                             Q'MAX
      SOLUTIONS                             DELAWARE         I       CS-I         100%
                           AMERICA INC.
           INC.




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                   THIS IS EXHmIT”_________
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                   Swornbeforemethis__________
                   dayof                A.D.2O


                             Jonathan Tomm
                           Barrister and Solicitor
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                                      O'MAX SOLUTIONS INC.

                    AMENDMENT TO SECURITIES PLEDGE AGREEMENT

THIS AMENDING AGREEMENT is made as ofthe 1st day of September, 2016;

BETWEEN:
                          Q'MAX SOLUTIONS INC.

                          (the "Debtor")

                          -and-

                          HSBC BANK CANDA, as Agent

                          (the "Agent")

      WHEREAS the Debtor and the Agent entered into a Securities Pledge Agreement dated as of
May 23, 2014 (as amended, supplemented or otherwise modified prior to the date hereof, the
"Securities Pledge Agreement");

        AND WHEREAS the Debtor and the Agent wish to amend the Securities Pledge Agreement
on the terms set out herein;

      AND WHEREAS all capitalized terms used in this Amending Agreement and not defined in
this Amending Agreement shall have the meaning ascribed thereto in the Securities Pledge
Agreement;

          NOW THEREFORE:

1.         Schedule A to the Securities Pledge Agreement is hereby deleted in its entirety and replaced
           with "Exhibit 1" hereto.

2.         Schedule B to the Securities Pledge Agreement is hereby deleted in its entirety and replaced
           with "Exhibit 2" hereto.

3.         Except as amended above, the Securities Pledge Agreement shall remain in full force and
           effect, unaltered. This Amending Agreement and the Securities Pledge Agreement constitute
           a single agreement and to the extent possible shall be read together as one instrument.

4.         The Debtor hereby represents and warrants to and in favour of the Agent that this Amending
           Agreement has been duly authorized, executed and delivered by the Debtor and constitutes a
           legal, valid and binding obligation of the Debtor, enforceable in accordance with its terms,
           except as enforceability thereof may be limited by bankruptcy, insolvency, reorganization,
           fraudulent transfer, moratorium or other similar laws affecting creditors' rights generally and
           general principles of equity (regardless of whether such enforceability is considered in a
           proceeding at law or in equity).




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5.       The Debtor shall do all such further acts and things and execute all such further documents as
         shall be reasonably required in order to properly perform and carry out the terms of this
         Amending Agreement.

6.       This Amending Agreement shall be governed by and construed in accordance with the laws
         ofthe Province of Alberta and the laws of Canada applicable therein.

7.       This Amending Agreement may be executed in any number of counterparts, each of which
         shall be deemed to be an original and all of which taken together shall be deemed to
         constitute one and the same instrument. Delivery of an executed signature page of this
         Amending Agreement by facsimile transmission or any electronic transmission shall be as
         effective as delivery of a manually executed counterpart hereof

                                 [Remainder ofPage Intentionally Left Blank]




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        IN WITNESS WHEREOF the parties hereto have executed this Amending Agreement as of
the date first written above.

                                                   Q'MAX SOLUTIONS INC., as Debtor



                                                   By:
                                                          Name:
                                                          Title: Director




                             [Signature Page to Pledge Amendment]
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                                           HSBC BANK CANDA, as Agent



                                           By:
                                                 Name:  ~   John Schmidt
                                                 Title: Assistant Vice President
                                                           Energy Financing




                      [Signature page to Pledge Amendment]
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                                          EXHIBIT 1


                                        SCHEDULE A

                                   PLEDGED PROPERTY

1.      The Securities Accounts described in Schedule B and all Securities Entitlements carried
        therein from time to time.

2.      All Securities and Security Entitlements of Q' Max Solutions Holdings Inc., 1356760
        Alberta Ltd. and QMax Canada Operations Inc. (or any of their successors, including, for
        certainty, by way of amalgamation) in which the Debtor now or in the future has any
        right, title or interest whatsoever.
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                                                       EXHIBIT 2


                                                     SCHEDULEB

                         DEBTOR & PLEDGED PROPERTY INFORMATION

Full legal name: Q'Max Solutions Inc.

Jurisdiction of incorporation or organization: British Columbia

Address of chief executive office:                Q'Max Solutions Inc.
                                                  11700 Katy Freeway, Suite 200
                                                  Houston, TX 77079

Pledged Uncertificated Securities: Nil

Pledged Securities Accounts: Nil

Pledged Certificated Securities: See below

-   '
                                                      % of issued and
                                                                                                 I~
                                                        outstanding
                         I~                         Securities of Pledged
                                                    Issuer as of the date Security Certificate        Security €ertificate
        Pledged Issuer        Securities Owned             hereof             Numbers                      Location
                                                                                                          .,.
Q'Max Solutions                 100 Class "A"               0.2                   A-1                           Alberta
Holdings Inc.                  Common Shares

Q'Max Solutions                60,000 Class "C"             99.8                  C-1                           Alberta
Holdings Inc.                  Preferred Shares

1356760 Alberta Ltd.          2,984,800 Class "A"           100                 A-1 , A-2                       Alberta
                                Common Shares

QMaxCanada                    372 Common Shares             100                   C-1                           Alberta
Operations Inc.
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                   THIS IS EXHIBIT”________
                      refrred to in the Affivit of


                   Swornbeforemethis                 /
                   dayof                  A.D.2OO



                             Jonathan Tomm
                           Barrister and Solicitor
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                                                                     Execution Version




                                 INTERCREDITOR AGREEMENT

                                              by and among

                                ENCINA BUSINESS CREDIT, LLC,
                                        as ABL Agent,

                                                   and

                                         HSBC BANK CANADA,
                                          as Parent Facility Agent

                                    Dated as of September 6, 2019




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                              INTERCREDITOR AGREEMENT

               THIS INTERCREDITOR AGREEMENT (as amended, restated, supplemented,
waived or otherwise modified from time to time pursuant to the terms hereof, this “Agreement”)
is entered into as of September 6, 2019 by and among Encina Business Credit, LLC, in its
capacity as agent (together with its successors and assigns in such capacity from time to time,
and as further defined herein, the “ABL Agent”) for the ABL Secured Parties, HSBC Bank
Canada, in its capacity as agent (together with its successors and assigns in such capacity from
time to time, and as further defined herein, the “Parent Facility Agent”) for the Parent Facility
Secured Parties, and acknowledged by each Credit Party (as defined below). Capitalized terms
defined in Article 1 hereof are used in this Agreement as so defined.

                                          RECITALS

                A.     Pursuant to the Original ABL Credit Agreement, (i) the ABL Credit
Agreement Lenders have agreed to make certain loans and other financial accommodations to or
for the benefit of the ABL Borrowers and (ii) the ABL Guarantors have agreed to guarantee the
payment and performance of the ABL Borrowers’ obligations under the ABL Documents.

               B.     As a condition to the effectiveness of the Original ABL Credit Agreement
and to secure the obligations of the ABL Credit Parties under and in connection with the ABL
Documents, the ABL Credit Parties have granted to the ABL Agent (for the benefit of the ABL
Secured Parties) Liens on the Collateral.

                C.    Pursuant to the Original Parent Facility Credit Agreement, (i) the Parent
Facility Credit Agreement Lenders have agreed to make certain loans to or for the benefit of the
Parent Facility Borrowers and (ii) the Credit Parties have agreed to guarantee the payment and
performance of the Parent Facility Borrowers’ obligations under the Parent Facility Documents.

               D.      To secure the obligations of the applicable Borrowers under and in
connection with the Parent Facility Documents, the Credit Parties have granted to the Parent
Facility Agent (for the benefit of the Parent Facility Secured Parties) Liens on the Collateral.

               E.      Each of the ABL Agent (on behalf of the ABL Secured Parties) and the
Parent Facility Agent (on behalf of the Parent Facility Secured Parties) and, by their
acknowledgment hereof, the Credit Parties desire to agree to the relative priority of Liens on the
Collateral and certain other rights, priorities and interests as provided herein.

               Accordingly, in consideration of the foregoing and for other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, the parties hereto
agree as follows:

                                          ARTICLE 1

                                           Definitions

           Section 1.1 UCC Definitions. The following terms which are defined in the
Uniform Commercial Code are used herein as so defined: Chattel Paper, Commercial Tort
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Claims, Commodity Accounts, Deposit Accounts, Documents, Electronic Chattel Paper,
Equipment, Financial Assets, General Intangibles, Goods, Instruments, Inventory, Investment
Property, Letter-of-Credit Rights, Money, Payment Intangibles, Promissory Notes, Records,
Security, Securities Accounts, Security Entitlements, Supporting Obligations and Tangible
Chattel Paper.

              Section 1.2 Other Definitions. As used in this Agreement, the following terms
                           shall have the meanings set forth below:

               “ABL Agent” shall mean Encina Business Credit, LLC, in its capacity as agent
under the ABL Credit Agreement, together with its successors and assigns in such capacity from
time to time, whether under the Original ABL Credit Agreement or any subsequent ABL Credit
Agreement, as well as any Person designated as the “Agent” or “Collateral Agent” under any
subsequent ABL Credit Agreement.

               “ABL Amount” shall have the meaning set forth in Section 4.3.

              “ABL Borrowers” shall mean, collectively, Anchor Drilling (together with its
successors and assigns), along with each direct and indirect Subsidiary thereof that at any time is
a “Borrower” under (and as defined in) the ABL Credit Agreement and any other Person who,
with Parent Facility Agent’s consent (unless otherwise permitted under the Parent Facility
Documents), becomes a “Borrower” under the ABL Credit Agreement.

               “ABL Cap” means $65,000,000 plus, in the case of a DIP Financing, the DIP
Amount.

               “ABL Collateral Documents” shall mean the ABL Credit Agreement and each of
the security agreements and other instruments and documents (including, without limitation, all
mortgages, guaranties, and pledge agreements) executed and delivered by any Credit Party for
purposes of providing collateral security for the ABL Obligations, in each case as the same may
be amended, restated, supplemented, waived or modified from time to time, in each case in
accordance with the terms hereof.

                “ABL Credit Agreement” shall mean the Original Credit Agreement and shall
include any other agreement extending the maturity of, consolidating, restructuring, refunding,
replacing, or refinancing all or any portion of the ABL Obligations, whether by the same or any
other agent, lender or group of lenders (including, without limitation, under any agreement with
respect to a DIP Financing provided by any or all of the ABL Secured Parties), in each case in
accordance with the terms hereof and so long as the holders of such indebtedness (or an agent on
their behalf) shall have agreed to be bound by this Agreement and no such holder is a Credit
Party, a Parent Facility Credit Party or an Affiliate of any such Person.

               “ABL Credit Agreement Lenders” shall mean the lenders, debtholders and other
creditors party from time to time to the ABL Credit Agreement, together with their successors,
assigns and transferees.

               “ABL Credit Parties” shall mean the ABL Borrowers and the Loan Parties (as
defined in the ABL Credit Agreement), including the ABL Guarantors, and each other direct or



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indirect Subsidiary of Parent that, with Parent Facility Agent’s consent (unless otherwise
permitted under the Parent Facility Documents), is now or hereafter becomes a party to any ABL
Document.

              “ABL Documents” shall mean (a) the ABL Credit Agreement and the other Loan
Documents (as defined in the ABL Credit Agreement) or the applicable definition designated by
the ABL Agent as being its equivalent in any subsequent ABL Credit Agreement, (b) each
Hedging Agreement or other such agreement pursuant to which “Obligations” (as defined in the
ABL Credit Agreement) arise and (c) each Bank Product Agreement or other such agreement
pursuant to which “Obligations” (as defined in the ABL Credit Agreement) arise, in each case as
amended, restated, supplemented, waived or otherwise modified from time to time, in each case
in accordance with the terms hereof.

               “ABL Guarantors” shall mean, collectively, the ABL Borrowers, each direct and
indirect Subsidiary of Anchor Drilling (together with its successors and assigns) that at any time
is a guarantor under the ABL Credit Agreement and any other Person who, with Parent Facility
Agent’s consent (unless otherwise permitted under the Parent Facility Documents), becomes a
guarantor under the ABL Credit Agreement or provides any guarantees of any ABL Obligations
in favor of any ABL Secured Party.

                “ABL Obligations” means all obligations of every nature of each Credit Party
from time to time owed to the ABL Secured Parties, or any of them, under any ABL Document,
including, without limitation, all “Obligations” of each Credit Party or similar term as defined in
the ABL Credit Agreement, whether for principal, interest, reimbursement of amounts drawn
under letters of credit, payments for early termination of swap contracts, fees, expenses,
indemnification or otherwise, and all other amounts owing or due under the terms of the ABL
Documents (including interest, fees, indemnification payments, expense reimbursements and
other amounts which, but for the filing of an Insolvency Proceeding with respect to such Credit
Party, would have accrued on or been payable with respect to any ABL Obligation, whether or
not a claim is allowed against such Credit Party for such interest, fees, indemnification
payments, expense reimbursements and other amounts in the related Insolvency Proceeding), as
amended, restated, modified, renewed, refunded, replaced or refinanced in whole or in part from
time to time in accordance with the terms hereof and thereof.

                “ABL Priority Collateral” shall mean all Collateral (other than the Parent Facility
Priority Collateral), including the following :

               (1)    all Receivables (other than Receivables identifiable as Proceeds of Parent
Facility Priority Collateral but expressly including Receivables constituting ABL Priority
Inventory Proceeds);

               (2)    all ABL Priority Inventory Proceeds;

             (3)      all Capital Stock of the Company and of any direct or indirect Subsidiaries
of the Company;

               (4)    all Intellectual Property, other than the Specified Intellectual Property;




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               (5)    (x) all Deposit Accounts and Securities Accounts (and all Money, cash,
Cash Equivalents, checks, other negotiable instruments, funds and other evidences of payments,
Securities and Security Entitlements, in each case, credited thereto or deposited therein), and (y)
all cash and Cash Equivalents, in each case other than (i) the Asset Sales Proceeds Account and
all cash, checks and other property held therein or credited thereto, and (ii) except as otherwise
provided in Sections 4.3 and 4.4, Proceeds of Parent Facility Priority Collateral;

                (6)    all Chattel Paper (including Tangible Chattel Paper and Electronic Chattel
Paper), all Documents, General Intangibles (including data processing software, Instruments
(including Promissory Notes), Letter of Credit Rights and Commercial Tort Claims, except to the
extent any of the foregoing also relates to Parent Facility Priority Collateral, only that portion
related to the items referred to in the preceding clauses (1) through (5) shall be included in the
ABL Priority Collateral;

                (7)     all Supporting Obligations; except to the extent any of the foregoing
relates to or constitutes Parent Facility Priority Collateral only that portion related to the items
referred to in the preceding clauses (1) through (6) shall be included in the ABL Priority
Collateral;

              (8)     all claims under policies of business interruption insurance and all
proceeds of business interruption insurance;

               (9)     all rights under the ABL Documents and to the proceeds of the advances
thereunder;

                (10) all books and Records (including all books, databases, customer lists,
credit files, computer files and Records, whether tangible or electronic), except to the extent any
of the foregoing also relates to Parent Facility Priority Collateral, only that portion related to the
items referred to in the preceding clauses (1) through (9) shall be included in the ABL Priority
Collateral; and

                (11) all accessions to, substitutions for and replacements of the foregoing, and
all Proceeds of the foregoing, including cash, Cash Equivalents, Money, instruments, securities,
financial assets, Investment Property, insurance proceeds and Deposit Accounts and Securities
Accounts directly received as Proceeds of any ABL Priority Collateral described in the preceding
clauses (1) through (10) (such Proceeds, “ABL Priority Proceeds”); provided, however, that no
Proceeds of ABL Priority Proceeds will constitute ABL Priority Collateral unless such Proceeds
of ABL Priority Proceeds would otherwise constitute ABL Priority Collateral.

              “ABL Priority Inventory Proceeds” shall mean all Proceeds of Inventory
(including Receivables and Proceeds thereof) arising:

              (i)    prior to the third Business Day following ABL Agent’s receipt of an
Inventory Proceeds Priority Notice delivered by Parent Facility Agent after the occurrence of an
Inventory Proceeds Trigger Event;

               (ii)    after an Inventory Proceeds Priority Rescission Event; or




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              (iii) at any time while a DIP Financing provided by any or all of the ABL
Secured Parties and secured by Proceeds of Inventory is in effect and any obligations thereunder
remain outstanding, in an amount not to exceed at any time the aggregate amount outstanding
under such DIP Financing (subject to the ABL Cap).

              “ABL Priority Proceeds” shall have the meaning set forth in the definition of
“ABL Priority Collateral” in this Agreement.

               “ABL Recovery” shall have the meaning set forth in Section 5.3(a).

               “ABL Secured Parties” shall mean the ABL Credit Agreement Lenders, the ABL
Agent and any other secured parties under the ABL Documents (including affiliates of ABL
Credit Agreement Lenders that provide cash management services, hedges or other bank
products to Credit Parties).

                “Affiliate” shall mean, with respect to any Person, another Person that directly, or
indirectly through one or more intermediaries, Controls or is Controlled by or is under common
Control with the Person specified. For the purposes of this definition, “Control” means the
possession, directly or indirectly, of the power to direct or cause the direction of the management
or policies of a Person, whether through the ability to exercise voting power, by contract or
otherwise; and “Controlling” and “Controlled” have meanings correlative thereto.

               “Agent” shall mean the ABL Agent and the Parent Facility Agent, as applicable.

               “Agreement” shall mean this Intercreditor Agreement, as the same may be
amended, restated, supplemented, waived or otherwise modified from time to time pursuant to
the terms hereof.

               “Anchor Drilling” shall mean Anchor Drilling Fluids USA, LLC.

                “Asset Sales Proceeds Account” shall mean one or more Deposit Accounts or
Securities Accounts holding only the proceeds of any sale or disposition of any Parent Facility
Priority Collateral and the Proceeds of investment thereof.

               “Bank Products Agreement” shall mean any agreement pursuant to which a bank
or other financial institution agrees to provide composite accounting or other cash pooling
arrangements and netting, overdraft protection, employee credit card programs, automatic
clearing house arrangements and other arrangements with any bank arising under standard
business terms of such bank.

              “Bankruptcy Code” shall mean title 11 of the United States Code entitled
“Bankruptcy”, as now and hereafter in effect, or any successor statute.

               “Bankruptcy Law” shall mean the Bankruptcy Code and all other liquidation,
conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium, rearrangement,
receivership, insolvency, reorganization, or similar debtor relief Laws of the United States or
other applicable jurisdictions from time to time in effect and affecting the rights of creditors
generally.



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               “Borrower” shall mean any of the ABL Borrowers and the Parent Facility
Borrowers.

            “Business Day” shall mean a day other than a Saturday, Sunday or other day on
which commercial banks in Illinois or New York are authorized or required by law to close.

               “Capital Stock” of any Person shall mean any and all shares, rights to purchase,
options, warrants, general, limited or limited liability partnership interests, member interests,
participation or other equivalents of or interests in equity of such Person whether voting or non-
voting, including common stock, preferred stock, convertible securities or any other equity
security.

               “Cash Collateral” shall mean any Collateral consisting of Money or Cash
Equivalents, any Security Entitlement and any Financial Assets.

             “Cash Equivalents” shall have the meaning assigned to such term in the Original
ABL Credit Agreement as in effect on the date hereof, and any other cash equivalents similar to
such “Cash Equivalents” described therein.

               “Collateral” shall mean all Property now owned or hereafter acquired by any
Credit Party in or upon which a Lien is granted or purported to be granted to the ABL Agent or
the Parent Facility Agent under any of the ABL Collateral Documents, or the Parent Facility
Collateral Documents, together with all rents, issues, profits, products, and Proceeds thereof to
the extent a Lien is granted or purported to be granted therein to the applicable Agent by such
applicable documents (including for the avoidance of doubt, any such Property that, but for the
application of Section 552 of the Bankruptcy Code (or any similar provision of any Bankruptcy
Laws), would be Collateral).

                “Collateral Documents” shall mean the ABL Collateral Documents and the Parent
Facility Collateral Documents.

             “Company” shall mean Anchor Drilling Fluids LLC, a Delaware limited liability
company, and any successor in interest thereto.

               “Control Collateral” shall mean any Collateral consisting of any Certificated
Security, Investment Property, Securities Account, Deposit Account, Instruments, Chattel Paper
and any other Collateral as to which a Lien may be perfected through possession or control by
the secured party, or any agent therefor.

               “Copyrights” shall mean all (a) copyright rights in any work subject to the
copyright laws of the United States or any other jurisdiction, whether registered or unregistered
and whether published or unpublished, including copyrights in computer software and the
content thereof, and internet web sites and the content thereof, (b) all derivative works, renewals,
extensions, reversions or restorations associated with such copyrights, now or hereafter provided
by law, regardless of the tangible medium of fixation, (c) registrations, recordings and
applications for registration of any such copyright rights in the United States or any other
jurisdiction, including registrations, recordings, supplemental registrations and pending




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applications for registration in the United States Copyright Office or in a foreign equivalent, and
(d) rights to obtain all renewals thereof.

               “Credit Documents” shall mean the ABL Documents and the Parent Facility
Documents.

              “Credit Parties” shall mean each Person who constitutes an ABL Credit Party,
including, as applicable, in such Person’s capacity Parent Facility Credit Party. For the
avoidance of doubt, “Credit Parties” shall not include any Parent Facility Credit Party that is not
an ABL Credit Party.

               “Declining Agent” shall have the meaning set forth in Section 2.5(c).

                “DIP Amount” means, after the commencement of an Insolvency Proceeding, the
greater of (i) $7,800,000 and (b) 15% of the lesser of (x) the maximum revolving commitment
amount under the ABL Credit Agreement as in effect immediately prior to the commencement of
such Insolvency Proceeding and (y) the ABL Cap (calculated without giving effect to the
addition of the DIP Amount as set forth in the definition thereof).

               “DIP Financing” shall have the meaning assigned to it in Section 6.1(a).

               “Discharge of ABL Obligations” shall mean, subject to Section 5.3:

                 (a)    the payment in full in cash of the Indebtedness under the ABL Credit
Agreement (including interest accruing during the pendency of any Insolvency Proceeding,
regardless of whether allowed or allowable in such Insolvency Proceeding) and all other ABL
Obligations (other than obligations under any ABL Document that is a Hedging Agreement or a
Bank Products Agreement) that are outstanding and unpaid at the time all such Indebtedness
under the applicable ABL Credit Agreement is paid in full in cash, (i) including (if applicable),
with respect to amounts available to be drawn under outstanding letters of credit issued
thereunder at such time (or indemnities or other undertakings issued pursuant thereto in respect
of outstanding letters of credit at such time), delivery or provision of cash or backstop letters of
credit in respect thereof in compliance with the terms of any such ABL Credit Agreement (which
shall not exceed an amount equal to 105% of the aggregate undrawn amount of such letters of
credit) but (ii) excluding unasserted contingent indemnification obligations under the applicable
ABL Credit Agreement at such time;

                (b)     the termination of all then outstanding commitments to extend credit or
issue Letters of Credit under the ABL Documents at such time; and

              (c)     the payment in full in cash of all other ABL Obligations that are
outstanding and unpaid at such time (or, with respect to any obligations under any ABL
Document that is a Hedging Agreement or a Bank Products Agreement, termination of such
agreements and payment in cash of amount due in respect thereof, or cash collateralization or
other arrangements satisfactory to the applicable counterparty).




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For the avoidance of doubt, the Discharge of ABL Obligations shall not be deemed to have
occurred in connection with a refinancing of the then existing ABL Credit Agreement with a
subsequent ABL Credit Agreement.

               “Discharge of Parent Facility Obligations” shall mean, subject to Section 5.3:

               (a)     the payment in full in cash of the Indebtedness under the Parent Facility
Credit Agreement (including interest accruing during the pendency of any Insolvency
Proceeding, regardless of whether allowed or allowable in such Insolvency Proceeding) and all
other Parent Facility Obligations (other than obligations under any Parent Facility Document that
is a Hedging Agreement or a Bank Products Agreement) that are outstanding and unpaid at the
time all such Indebtedness under the Parent Facility Credit Agreement is paid in full in cash, but
excluding unasserted contingent indemnification obligations under the Parent Facility Credit
Agreement at such time;

              (b)     the termination of all then outstanding commitments under the Parent
Facility Documents at such time; and

              (c)     the payment in full in cash of all other Parent Facility Obligations that are
outstanding and unpaid at such time (or, with respect to any obligations under any Parent Facility
Document that is a Hedging Agreement or a Bank Products Agreement, termination of such
agreements and payment in cash of amount due in respect thereof, or cash collateralization or
other arrangements satisfactory to the applicable counterparty).

For the avoidance of doubt, the Discharge of Parent Facility Obligations shall not be deemed to
have occurred in connection with a refinancing of the then existing Parent Facility Credit
Agreement with a subsequent Parent Facility Credit Agreement.

               “Disposition” shall mean any sale, issuance, conveyance, transfer, lease, license
or other disposition.

              “Event of Default” shall mean an Event of Default under any ABL Credit
Agreement or any Parent Facility Credit Agreement.

             “Exercise Any Secured Creditor Remedies” or “Exercise of Secured Creditor
Remedies” shall mean:

               (a)      the taking of any action to enforce or realize upon any Lien on Collateral,
including the institution of any foreclosure proceedings or the noticing of any public or private
sale pursuant to Article 9 of the Uniform Commercial Code, or taking any action to enforce any
right or power to repossess, replevy, attach, garnish, levy upon or collect the Proceeds of any
Lien on Collateral;

               (b)    the exercise of any right or remedy provided to a secured creditor on
account of a Lien on Collateral under any of the Credit Documents, under applicable law, by
self-help repossession, by notification to account obligors of any Grantor, in an Insolvency
Proceeding or otherwise, including the election to retain any of the Collateral in satisfaction of a
Lien on Collateral;



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                (c)    the taking of any action or the exercise of any right or remedy in respect of
the collection on, set-off against, marshalling of, injunction respecting or foreclosure on the
Collateral or the Proceeds thereof;

                 (d)     the appointment of a receiver, receiver and manager or interim receiver of
all or part of the Collateral;

               (e)     the sale, lease, license, or other disposition by an Agent or any Secured
Party of all or any portion of the Collateral by private or public sale or any other means
permissible under applicable law or, during an Event of Default, the applicable Agent’s or
Requisite Holder’s consenting to any such sale, lease license or other disposition conducted by a
Credit Party and not otherwise permitted under the applicable Credit Documents;

               (f)  the exercise of any other right of a secured creditor under Part 6 of Article
9 of the Uniform Commercial Code in respect of a Credit Party or the Collateral;

               (g)     the exercise by an Agent or any Secured Party of any voting rights relating
to any Capital Stock included in the Collateral; and

              (h)     the delivery by an Agent or any Secured Party of any notice, claim or
demand relating to the Collateral to any Person (including any securities intermediary,
depository bank or landlord) in possession or control of any Collateral,

               provided that (i) filing a proof of claim or statement of interest in any Insolvency
Proceeding, (ii) the acceleration of the ABL Obligations or the Parent Facility Obligations, (iii)
the establishment or change of borrowing base and/or availability reserves, collateral or
Receivables or Inventory ineligibles, or other conditions for advances, (iv) the changing of
advance rates or advance sub-limits, (v) the imposition of a default rate or late fee, (vi) the
collection and application (including pursuant to “cash dominion” provisions) of Receivables or
other monies deposited from time to time in Commodity Accounts, Deposit Accounts or
Securities Accounts, in each case, against the ABL Obligations pursuant to the provisions of the
ABL Credit Agreement (including the notification of account debtors, depositary institutions or
any other Person to deliver proceeds of ABL Priority Collateral to the ABL Agent), (vii) the
cessation of lending or termination of commitments pursuant to the provisions of the ABL
Documents or the Parent Facility Documents, (viii) the consent by the ABL Agent to disposition
by any Grantor of any of the ABL Priority Collateral or the consent by the Parent Facility Agent
to disposition by any Grantor of any of the Parent Facility Priority Collateral or (ix) seeking
adequate protection subject to the other provisions hereof shall, in each case, not be deemed to be
an Exercise of Secured Creditor Remedies.

               “Governmental Authority” shall mean any nation or government, any state or
other political subdivision thereof and any entity exercising executive, legislative, judicial,
regulatory or administrative functions of or pertaining to government, including the European
Union.

               “Grantor” shall mean any Credit Party that has granted or purported to grant
security under a Collateral Document.




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              “Hedging Agreement” shall mean any interest rate protection agreement, foreign
currency exchange agreement, commodity price protection agreement or other interest, currency
exchange rate or commodity price hedging arrangement.

             “Indebtedness” shall have the meaning provided in the Original ABL Credit
Agreement on the date t hereof.

               “Insolvency Proceeding” shall mean (a) any case commenced by or against any
Grantor under any Bankruptcy Law, any other proceeding for the reorganization, recapitalization
or adjustment or marshalling of the assets or liabilities of any Grantor, any receivership or
administration of any Grantor or assignment, compromise or arrangement with or for the benefit
of creditors relating to any Grantor or any similar case, action or proceeding relative to any
Grantor or its creditors, as such, in each case whether or not voluntary; (2) any liquidation,
dissolution, marshalling of assets or liabilities or other winding up of or relating to any Grantor,
in each case whether or not voluntary and whether or not involving bankruptcy or insolvency; or
(3) any other proceeding of any type or nature in which substantially all claims of creditors of
any Grantor are determined and any payment or distribution is or may be made on account of
such claims.

                “Intellectual Property” shall mean, with respect to any Credit Party, the collective
reference to such Credit Party’s Trade Secrets, Copyrights, Patents, Trademarks and the IP
Agreements, all rights therein, and all rights to sue at law or in equity for any past, present or
future infringement, misappropriation, violation, misuse or other impairment thereof, including
the right to receive injunctive relief and all Proceeds and damages therefrom.

                 “Inventory Proceeds Priority Notice” shall mean a written notice delivered to the
ABL Agent by the Parent Facility Agent after the occurrence of an Inventory Proceeds Priority
Trigger Event (and before the occurrence of an Inventory Proceeds Priority Rescission Event),
stating that an Inventory Proceeds Priority Trigger Event has occurred.

               “Inventory Proceeds Priority Rescission Event” shall mean the occurrence of all
of the following events, after the occurrence of an Inventory Proceeds Priority Trigger Event: (i)
any acceleration of the Parent Facility Obligations has been rescinded, (ii) the Parent Facility
Agent has ceased any Exercise of Secured Creditor Remedies, (iii) any pending Insolvency
Proceeding has been dismissed and (iv) no Event of Default exists.

               “Inventory Proceeds Priority Trigger Event” shall mean the occurrence of one or
more of the following events: (i) acceleration of the Parent Facility Obligations, (ii)
commencement by the Parent Facility Agent of any Exercise of Secured Creditor Remedies or
(iii) the commencement of an Insolvency Proceeding.

                “IP Agreements” shall mean any and all written agreements, now or hereafter in
effect, relating to the license, development, use, manufacture, distribution, sale or disclosure of
any Copyrights, Patents, Trademarks, Trade Secrets or other Intellectual Property to which any
Grantor, now or hereafter, is a party.

              “Lien” shall mean, with respect to any asset, (a) any mortgage, trust declared for
the purpose of creating a security interest in an asset, lien, pledge, encumbrance, charge or



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security interest in or on such asset and (b) the interest of a vendor or a lessor under any
conditional sale agreement, capital lease or title retention agreement (or any financing lease
having substantially the same economic effect as any of the foregoing).

                “Lien Priority” shall mean, with respect to any Lien of the ABL Agent, the ABL
Secured Parties, the Parent Facility Agent and the Parent Facility Secured Parties in the
Collateral, the order of priority of such Lien as specified in Section 2.1.

             “Original ABL Credit Agreement” shall mean that certain Loan and Security
Agreement dated as of September 6, 2019 by and among the ABL Borrowers, the ABL Credit
Agreement Lenders and the ABL Agent, as amended, restated, supplemented, waived or
otherwise modified from time to time in accordance with the terms hereof.

                “Original Parent Facility Credit Agreement” shall mean that certain Credit
Agreement dated as of January 30, 2015 by and among the Parent Facility Borrowers, the Parent
Facility Credit Agreement Lenders and the Parent Facility Agent, as amended to the date hereof
and as may be further amended, restated, supplemented, waived or otherwise modified from time
to time in accordance with terms hereof.

               “Parent Facility Agent” shall mean HSBC Bank Canada, in its capacity as
collateral agent under the Original Parent Facility Credit Agreement, together with its successors
and assigns in such capacity from time to time, whether under the Original Parent Facility Credit
Agreement or any subsequent Parent Facility Credit Agreement, as well as any Person
designated as the “Agent” or “Collateral Agent” under any Parent Facility Credit Agreement.

              “Parent Facility Borrowers” shall have the meaning assigned to the term
“Borrowers” in the Parent Facility Credit Agreement.

               “Parent Facility Collateral Documents” shall mean the Security (as defined in the
Parent Facility Credit Agreement) and each of the security agreements and other instruments and
documents executed and delivered by any Credit Party for purposes of providing collateral
security for the Parent Facility Obligations, in each case as the same may be amended,
supplemented, waived or modified from time to time, in each case in accordance with the terms
hereof.

                “Parent Facility Credit Agreement” shall mean the Original Parent Facility Credit
and shall include any other agreement extending the maturity of, consolidating, restructuring,
refunding, replacing or refinancing all or any portion of the Parent Facility Obligations, whether
by the same or any other agent, lender or group of lenders, in each case as the same may be
amended, restated, supplemental, waived or modified from time to time, in each case in
accordance with the terms hereof and so long as the holders of such indebtedness (or an agent on
their behalf) shall have agreed to be bound by this Agreement and no such holder is a Credit
Party, a Parent Facility Credit Party or an Affiliate of any such Person.

               “Parent Facility Credit Agreement Lenders” shall mean the lenders, debtholders,
and other creditors party from time to time to the Parent Facility Credit Agreement, together with
their successors, assigns and transferees.




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                “Parent Facility Credit Parties” shall mean the Parent Facility Borrowers, the
Parent Facility Guarantors, and each other Person that is now or hereafter becomes a party to the
Parent Facility Documents.

                “Parent Facility Documents” shall mean (a) the Parent Facility Credit Agreement
and the other Loan Documents (as defined in the Parent Facility Credit Agreement) or the
applicable definition designated by the Parent Facility Agent as being its equivalent in any
subsequent Parent Facility Credit Agreement, (b) each Hedging Agreement or other agreement
pursuant to which Hedging Liabilities (as defined in the Parent Facility Credit Agreement) arise
and (c) each Bank Product Agreement or similar agreement pursuant to which Banking Services
Liabilities (as defined in the Parent Facility Credit Agreement) arise (in each case as amended,
restated, supplemented, waived or otherwise modified from time to time, in each case in
accordance with the terms hereof.

               “Parent Facility Guarantors” shall mean, collectively, the Parent Facility
Borrowers and any other Person who becomes a guarantor under the Parent Facility Credit
Agreement or provides any guarantees of any Parent Facility Obligations of any Parent Facility
Credit Party in favor of any Parent Facility Secured Party.

                “Parent Facility Obligations” means all obligations of every nature of each Credit
Party from time to time owed to the Parent Facility Secured Parties, or any of them, under any
Parent Facility Document, including, without limitation, all “Obligations” of each Credit Party or
similar term as defined in the Parent Facility Credit Agreement, whether for principal, interest,
fees, expenses, indemnification or otherwise, and all other amounts owing or due under the terms
of the Parent Facility Documents (including interest, fees, indemnification payments, expense
reimbursements and other amounts which, but for the filing of an Insolvency Proceeding with
respect to such Credit Party, would have accrued on or been payable with respect to any Parent
Facility Obligation, whether or not a claim is allowed against such Credit Party for such interest,
fees, indemnification payments, expense reimbursements and other amounts in the related
Insolvency Proceeding), as amended, restated, modified, renewed, refunded, replaced or
refinanced in whole or in part from time to time in accordance with the terms hereof and thereof.

               “Parent Facility Priority Collateral” shall mean all Collateral consisting of the
following:

               (1)    Real Property;

               (2)    Equipment;

               (3)    Inventory;

               (4)    the Specified Intellectual Property;

              (5)     to the extent involving or governing any of the items referred to in the
preceding clauses (1) through (4), all Chattel Paper (including Tangible Chattel Paper and
Electronic Chattel Paper), all Documents, General Intangibles (including data processing
software but excluding Intellectual Property and Capital Stock of the Company and direct and
indirect Subsidiaries of the Company), Instruments (including Promissory Notes), Letter of



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Credit Rights and Commercial Tort Claims, provided that to the extent any of the foregoing also
relates to ABL Loan Priority Collateral, only that portion related to the items referred to in the
preceding clauses (1) through (4) shall be included in the Parent Facility Priority Collateral;

                (6)    to the extent involving or governing any of the items referred to in the
preceding clauses (1) through (5), all Supporting Obligations; provided that to the extent any of
the foregoing also relates to ABL Loan Priority Collateral only that portion related to the items
referred to in the preceding clauses (1) through (5) shall be included in the Parent Facility
Priority Collateral;

               (7)     all books and Records relating to the foregoing (including all books,
databases, customer lists, credit files, computer files and Records, whether tangible or electronic,
which contain any information relating to any of the foregoing), except to the extent any of the
foregoing also relates to ABL Priority Collateral, only that portion related to the items referred to
in the preceding clauses (1) through (6) shall be included in the Parent Facility Priority
Collateral;

                (8)    all accessions to, substitutions for and replacements of the foregoing, and
all Proceeds (other than ABL Priority Inventory Proceeds) of the foregoing, including cash, Cash
Equivalents, Money, instruments, securities (other than Capital Stock of the Company and direct
and indirect Subsidiaries of the Company), financial assets, Investment Property (other than
Capital Stock of the Company and direct and indirect Subsidiaries of the Company), insurance
proceeds and Deposit Accounts and Securities Accounts directly received as Proceeds of any
Parent Facility Priority Collateral described in the preceding clauses (1) through (5) (such
Proceeds, “Parent Facility Priority Proceeds”); provided, however, that no Proceeds of Parent
Facility Priority Proceeds will constitute Parent Facility Priority Collateral unless such Proceeds
of Parent Facility Priority Proceeds would otherwise constitute Parent Facility Priority
Collateral.

Under no circumstance shall ABL Priority Inventory Proceeds, or the Proceeds thereof,
constitute Parent Facility Priority Collateral or Parent Facility Priority Proceeds.
                “Parent Facility Priority Proceeds” shall have the meaning set forth in the
definition of “Parent Facility Priority Collateral.”

               “Parent Facility Recovery” shall have the meaning set forth in Section 5.3(b).

                “Parent Facility Secured Parties” shall mean the Agent, Lenders and Hedge
Providers (in each case, as defined in the Original Parent Facility Credit Agreement) or the
definition designated by the Parent Facility Agent as being its equivalent in any subsequent
Parent Facility Credit Agreement.

                “Party” shall mean, at any time, the ABL Agent or the Parent Facility Agent, and
“Parties” shall mean all of the ABL Agent and the Parent Facility Agent.

                “Patents” shall mean (a) all letters patent of the United States or any other
jurisdiction, all registrations, recordings and extensions thereof, and all applications for letters
patent of the United States or any other jurisdiction, including patent registrations, statutory




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invention registrations, utility models, recordings and pending applications in the United States
Patent and Trademark Office or a foreign equivalent, and (b) all reissues, continuations,
divisions, continuations-in-part, renewals or extensions thereof, and in the case of (a) and (b), all
the inventions disclosed or claimed therein and all improvements thereto, including the right to
make, use and/or sell the inventions disclosed or claimed therein.

              “Payment Collateral” shall mean all Receivables, Instruments, Chattel Paper,
Letter-Of-Credit Rights, Deposit Accounts (other than the Asset Sales Proceeds Account),
Securities Accounts, and Payment Intangibles, together with all Supporting Obligations, in each
case composing a portion of the Collateral.

                 “Person” shall mean any natural person, corporation, limited liability company,
trust, joint venture, association, company, partnership, Governmental Authority or other entity.

               “Pledged Securities” shall mean all equity interests of any Credit Party that are
required to be pledged to the Parent Facility Agent under the Parent Facility Documents or shall
have the meaning assigned to the term “Pledged Equity” in the ABL Credit Agreement, as the
context requires.

                “Priority Collateral” shall mean the ABL Priority Collateral or the Parent Facility
Priority Collateral.

               “Proceeds” shall mean (a) all “proceeds” as such term is defined in Article 9 of
the Uniform Commercial Code, with respect to the Collateral, (b) whatever is recoverable or
recovered when any Collateral is sold, exchanged, collected, or disposed of, whether voluntarily
or involuntarily and (c) in the case of Proceeds of Pledged Securities, all dividends or other
income from the Pledged Securities, collections thereon or distributions or payments with respect
thereto.

              “Property” shall mean any interest in any kind of property or asset, whether real,
personal or mixed, or tangible or intangible.

               “Real Property” shall mean any right, title or interest in and to real property,
including any fee interest, leasehold interest, easement, or license and any other right to use or
occupy real property.

              “Receivable” shall have the meaning assigned to the term “Account” in the
Original ABL Credit Agreement as in effect on the date hereof, for the avoidance of doubt, shall
include Receivables without regard to whether the any amount thereof has been invoiced or
billed.

               “Requisite ABL Holders” shall mean those ABL Secured Parties necessary to
validly consent to the requested action in accordance with the ABL Collateral Documents.

               “Requisite Parent Facility Holders” shall mean those Parent Facility Secured
Parties necessary to validly consent to the requested action in accordance with the Parent Facility
Collateral Documents.




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               “Secured Parties” shall mean the ABL Secured Parties and the Parent Facility
Secured Parties.

              “Specified Intellectual Property” shall mean the Intellectual Property identified in
Annex I hereto.

                “Subsidiary” of a Person shall mean a corporation, partnership, joint venture,
limited liability company or other business entity of which a majority of the shares of securities
or other interests having ordinary voting power for the election of directors or other governing
body (other than securities or interests having such power only by reason of the happening of a
contingency) are at the time beneficially owned, or the management of which is otherwise
controlled, directly, or indirectly through one or more intermediaries, or both, by such Person.

                “Trade Secrets” shall mean (a) all trademarks, service marks, domain names,
trade names, corporate names, company names, business names, fictitious business names, trade
dress, logos, slogans, other source or business identifiers, now existing or hereafter adopted or
acquired, whether registered or unregistered, in each case arising under the laws of the United
States or any state thereof or any other jurisdiction, and all registrations, recordings and
applications for registration filed in connection with the foregoing, including registrations,
recordings and applications for registration in the United States Patent and Trademark Office or
any similar offices in any State of the United States or any foreign jurisdiction and all common-
law rights related thereto, (b) all goodwill associated therewith or symbolized thereby and (c) all
extensions or renewals thereof.

                “Trademarks” shall mean all confidential and proprietary information, including
know-how, trade secrets, manufacturing and production processes and techniques, inventions,
research and development information, databases and data, in each case arising under the laws of
the United States or any State thereof or any foreign jurisdiction, including, without limitation,
technical data, financial, marketing and business data, pricing and cost information, business and
marketing plans and customer and supplier lists and information.

                “Uniform Commercial Code” shall mean the Uniform Commercial Code as the
same may, from time to time, be in effect in the State of New York; provided that to the extent
that the Uniform Commercial Code is used to define any term in any security document and such
term is defined differently in differing Articles of the Uniform Commercial Code, the definition
of such term contained in Article 9 shall govern; provided, further, that in the event that, by
reason of mandatory provisions of law, any or all of the attachment, perfection, publication or
priority of, or remedies with respect to, Liens of any Party is governed by the Uniform
Commercial Code or foreign personal property security laws as enacted and in effect in a
jurisdiction other than the State of New York, the term “Uniform Commercial Code” will mean
the Uniform Commercial Code or such foreign personal property security laws as enacted and in
effect in such other jurisdiction solely for purposes of the provisions thereof relating to such
attachment, perfection, priority or remedies and for purposes of definitions related to such
provisions.

               “United States” shall mean the United States of America.




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               “Use Period” means the period commencing on the date that the ABL Agent
commences the liquidation and sale of the ABL Priority Collateral and ending 90 days thereafter;
provided that if any stay or other order that prohibits any of the ABL Agent, the other ABL
Secured Parties, or any Credit Party (with the consent of the ABL Agent) from commencing and
continuing to Exercise Any Secured Creditor Remedies or to liquidate and sell the ABL Priority
Collateral has been entered by a court of competent jurisdiction, such 90-day period shall be
tolled during the pendency of any such stay or other order and the Use Period shall be so
extended.

               Section 1.3 Rules of Construction. Unless the context of this Agreement clearly
requires otherwise, references to the plural include the singular, references to the singular include
the plural, the term “including” is not limiting, and the term “or” has, except where otherwise
indicated, the inclusive meaning represented by the phrase “and/or.” The words “hereof”,
“herein”, “hereby”, “hereunder” and similar terms in this Agreement refer to this Agreement as a
whole and not to any particular provision of this Agreement. Article, section, subsection, clause,
schedule, and exhibit references herein are to this Agreement unless otherwise specified. Any
reference in this Agreement to any agreement, instrument, or document shall include all
alterations, amendments, changes, extensions, modifications, renewals, replacements,
substitutions, joinders and supplements thereto and thereof, as applicable (subject to any
restrictions on such alterations, amendments, changes, extensions, modifications, renewals,
replacements, substitutions, joinders and supplements set forth herein). Any reference herein to
any Person shall be construed to include such Person’s successors and assigns. Any reference
herein to the repayment in full of an obligation shall mean the payment in full in cash of such
obligation, or in such other manner as may be approved in writing by the holder of the obligation
at such holder’s sole option.

                                            ARTICLE 2

                                           Lien Priority

               Section 2.1 Agreement to Subordinate. (a) Notwithstanding (i) the date, time,
method, manner, or order of grant, attachment, or perfection (including any defect or deficiency
or alleged defect or deficiency in any of the foregoing) of any Liens granted to the ABL Agent or
the ABL Secured Parties in respect of all or any portion of the Collateral, or of any Liens granted
to the Parent Facility Agent or the Parent Facility Secured Parties in respect of all or any portion
of the Collateral, and regardless of how any such Lien was acquired (whether by grant, statute,
operation of law, subrogation or otherwise), (ii) the order or time of filing or recordation of any
document or instrument for perfecting the Liens in favor of the ABL Agent or the Parent Facility
Agent (or the ABL Secured Parties or the Parent Facility Secured Parties) in any Collateral, (iii)
any provision of the Uniform Commercial Code, the Bankruptcy Code or any other applicable
law, or of the ABL Documents or the Parent Facility Documents, (iv) whether the ABL Agent or
the Parent Facility Agent, in each case, either directly or through agents, holds possession of, or
has control over, all or any part of the Collateral, (v) the fact that any such Liens in favor of the
ABL Agent or the ABL Secured Parties or the Parent Facility Agent or the Parent Facility
Secured Parties securing any of the ABL Obligations or the Parent Facility Obligations
respectively, are (x) subordinated to any Lien securing any obligation of any Credit Party other
than the Parent Facility Obligations (in the case of the ABL Obligations) or the ABL Obligations



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(in the case of the Parent Facility Obligations), respectively, or (y) otherwise subordinated,
voided, avoided, invalidated or lapsed or (vi) any other circumstance of any kind or nature
whatsoever, the ABL Agent, on behalf of itself and the ABL Secured Parties and the Parent
Facility Agent, on behalf of itself and the Parent Facility Secured Parties represented thereby,
hereby agree that:

              (1)     any Lien in respect of all or any portion of the ABL Priority Collateral
       now or hereafter held by or on behalf of the Parent Facility Agent or any Parent Facility
       Secured Party that secures all or any portion of the Parent Facility Obligations, shall in all
       respects be junior and subordinate to all Liens granted to the ABL Agent and the ABL
       Secured Parties in the ABL Priority Collateral to secure all or any portion of the ABL
       Obligations;

               (2)     any Lien in respect of all or any portion of the ABL Priority Collateral
       now or hereafter held by or on behalf of the ABL Agent or any ABL Secured Party that
       secures all or any portion of the ABL Obligations shall in all respects be senior and prior
       to all Liens granted to the Parent Facility Agent or any Parent Facility Secured Party in
       the ABL Priority Collateral to secure all or any portion of the Parent Facility Obligations;

               (3)     any Lien in respect of all or any portion of the Parent Facility Priority
       Collateral now or hereafter held by or on behalf of the ABL Agent or any ABL Secured
       Party that secures all or any portion of the ABL Obligations shall in all respects be junior
       and subordinate to all Liens granted to the Parent Facility Agent and the Parent Facility
       Secured Parties in the Parent Facility Priority Collateral to secure all or any portion of the
       Parent Facility Obligations; and

              (4)     any Lien in respect of all or any portion of the Parent Facility Priority
       Collateral now or hereafter held by or on behalf of the Parent Facility Agent or any
       Parent Facility Secured Party that secures all or any portion of the Parent Facility
       Obligations shall in all respects be senior and prior to all Liens granted to the ABL Agent
       or any ABL Secured Party in the Parent Facility Priority Collateral to secure all or any
       portion of the ABL Obligations.

                (b)     Notwithstanding any failure by any ABL Secured Party or Parent Facility
Secured Party to perfect its security interests in the Collateral or any avoidance, invalidation,
priming or subordination by any third party or court of competent jurisdiction of the security
interests in the Collateral granted to the ABL Secured Parties or the Parent Facility Secured
Parties, the priority and rights as between the ABL Secured Parties, on the one hand, and the
Parent Facility Secured Parties, on the other hand, with respect to the Collateral shall be as set
forth herein.

               (c)    The Parent Facility Agent, for and on behalf of itself and the Parent
Facility Secured Parties, acknowledges and agrees that the ABL Agent, for the benefit of itself
and the ABL Secured Parties, has been granted Liens upon all of the Collateral in which the
Parent Facility Agent has been granted Liens and the Parent Facility Agent hereby consents
thereto. The ABL Agent, for and on behalf of itself and the ABL Secured Parties, acknowledges
and agrees that the Parent Facility Agent, for the benefit of itself and the Parent Facility Secured




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Parties, has been granted Liens upon all of the Collateral in which the ABL Agent has been
granted Liens and the ABL Agent hereby consents thereto. The subordination of Liens by the
Parent Facility Agent in favor of the ABL Agent, by the ABL Agent in favor of the Parent
Facility Agent and in each case as set forth herein, shall not be deemed to subordinate the Liens
of the Parent Facility Agent or the ABL Agent to the Liens of any other Person.

               (d)     Lien priority as between the ABL Obligations, on the one hand, and the
Parent Facility Obligations, on the other hand, with respect to any Collateral will be governed
solely by this Agreement, except as may be separately otherwise agreed in writing by or among
any applicable Parties.

              Section 2.2 Waiver of Right to Contest Liens.

                 (a) The Parent Facility Agent, for and on behalf of itself and the Parent Facility
Secured Parties, agrees that it and they shall not (and hereby waives any right to) take any action
to contest or challenge (or assist or support any other Person in contesting or challenging),
directly or indirectly, whether or not in any proceeding (including in any Insolvency
Proceeding), the extent, validity, attachment, priority, enforceability or perfection of the Liens of
the ABL Agent and the ABL Secured Parties in respect of the Collateral or the provisions of this
Agreement. Except to the extent expressly set forth in this Agreement, the Parent Facility Agent,
for itself and on behalf of the Parent Facility Secured Parties, agrees that none of the Parent
Facility Agent or the Parent Facility Secured Parties will take any action that would interfere
with any Exercise of Secured Creditor Remedies undertaken by the ABL Agent or any ABL
Secured Party under the ABL Documents with respect to the ABL Priority Collateral. Except to
the extent expressly set forth in this Agreement, the Parent Facility Agent, for itself and on
behalf of the Parent Facility Secured Parties, hereby waives any and all rights it or the Parent
Facility Secured Parties may have as a junior lien creditor or otherwise to contest, protest, object
to, or interfere with the manner in which the ABL Agent or any ABL Secured Party seeks to
enforce its Liens in any ABL Priority Collateral.

                (b)     The ABL Agent, for and on behalf of itself and the ABL Secured Parties,
agrees that it and they shall not (and hereby waives any right to) take any action to contest or
challenge (or assist or support any other Person in contesting or challenging), directly or
indirectly, whether or not in any proceeding (including in any Insolvency Proceeding), the
extent, validity, attachment, priority, enforceability or perfection of the Liens of any Parent
Facility Agent and any Parent Facility Secured Parties in respect of the Collateral or the
provisions of this Agreement. Except to the extent expressly set forth in this Agreement, the
ABL Agent, for itself and on behalf of the ABL Secured Parties, agrees that none of the ABL
Agent or the ABL Secured Parties will take any action that would interfere with any Exercise of
Secured Creditor Remedies undertaken by the Parent Facility Agent or any Parent Facility
Secured Party under the Parent Facility Documents, with respect to the Parent Facility Priority
Collateral. Except to the extent expressly set forth in this Agreement, the ABL Agent, for itself
and on behalf of the ABL Secured Parties, hereby waives any and all rights it or the ABL
Secured Parties may have as a junior lien creditor or otherwise to contest, protest, object to, or
interfere with the manner in which the Parent Facility Agent or any Parent Facility Secured Party
seeks to enforce its Liens in any Parent Facility Priority Collateral.




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              (c)     For the avoidance of doubt, the assertion of priority rights established
under the terms of this Agreement or in any separate writing between any of the parties hereto
shall not be considered a challenge to the Lien priority of any Party prohibited by this
Section 2.2.

              Section 2.3 Remedies Standstill.

               (a) The Parent Facility Agent, on behalf of itself and the Parent Facility Secured
Parties, agrees that, until the Discharge of ABL Obligations, neither the Parent Facility Agent
nor any Parent Facility Secured Party will, or will seek to, Exercise Any Secured Creditor
Remedies (or institute or join in any action or proceeding with respect to the Exercise of Secured
Creditor Remedies) with respect to any of the ABL Priority Collateral without the written
consent of the ABL Agent and, subject to Sections 4.3 and 4.4, will not knowingly take, receive
or accept any Proceeds of ABL Priority Collateral, it being understood and agreed that the
temporary deposit of Proceeds of ABL Priority Collateral in a Deposit Account controlled by the
Parent Facility Agent, if any, shall not constitute a breach of this Agreement so long as such
Proceeds are promptly (but in no event later than five (5) Business Days after the Parent Facility
Agent’s actual knowledge of its receipt thereof) remitted to the ABL Agent. From and after the
date upon which the Discharge of ABL Obligations shall have occurred, the Parent Facility
Agent or any Parent Facility Secured Party may Exercise Any Secured Creditor Remedies under
the Parent Facility Documents or applicable law as to any ABL Priority Collateral; provided,
however, that any Exercise of Secured Creditor Remedies with respect to any Collateral by the
Parent Facility Agent or any Parent Facility Secured Party is at all times subject to the provisions
of this Agreement.

                (b)      The ABL Agent, on behalf of itself and the ABL Secured Parties, agrees
that until the Discharge of Parent Facility Obligations, neither the ABL Agent nor any ABL
Secured Party will, or will seek to, Exercise Any Secured Creditor Remedies (or institute or join
in any action or proceeding with respect to the Exercise of Secured Creditor Remedies) with
respect to the Parent Facility Priority Collateral without the written consent of the Parent Facility
Agent and, subject to Sections 4.3 and 4.4, will not knowingly take, receive or accept any
Proceeds of the Parent Facility Priority Collateral (other than to the extent constituting ABL
Priority Collateral), it being understood and agreed that (i) the temporary deposit of Proceeds of
Parent Facility Priority Collateral in a Deposit Account controlled by the ABL Agent shall not
constitute a breach of this Agreement so long as, if ABL Agent receives written notice from
Parent Facility Agent that such Proceeds constitute identifiable Proceeds of Parent Facility
Priority Collateral prior to the deposit thereof in such Deposit Account, such Proceeds are
promptly (but in no event later than five (5) Business Days after the ABL Agent’s actual
knowledge of its receipt thereof) remitted to the Parent Facility Agent, and (ii) notwithstanding
the foregoing, ABL Agent may manufacture, package and sell Inventory during a Use Period as
contemplated by (and subject to the terms of) Section 3.3. From and after the date upon which
the Discharge of Parent Facility Obligations shall have occurred, the ABL Administrative Agent
or any ABL Secured Party may Exercise Any Secured Creditor Remedies under the ABL
Documents or applicable law as to any Parent Facility Priority Collateral; provided, however,
that any Exercise of Secured Creditor Remedies with respect to any Collateral by the Parent
Facility Agent or any Parent Facility Secured Party is at all times subject to the provisions of this
Agreement.



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              Section 2.4 Exercise of Rights.

                (a)      Notice of ABL Agent’s Lien. Without limiting Section 2.3 hereof, and
subject to Section 2.4(d), the Parent Facility Agent, for and on behalf of itself and the Parent
Facility Secured Parties, hereby agrees that, until the Discharge of ABL Obligations, in
connection with any Exercise of Secured Creditor Remedies by the Parent Facility Agent or any
Parent Facility Secured Party with respect to any ABL Priority Collateral, the Parent Facility
Agent or such Parent Facility Secured Party, as applicable, shall advise any purchaser or
transferee of any ABL Priority Collateral in writing that the sale (whether public, private, by
foreclosure, or otherwise) or other transfer of such ABL Priority Collateral is subject to the Liens
of the ABL Agent and the ABL Secured Parties, unless the ABL Agent otherwise consents in
writing. In addition, the Parent Facility Agent agrees, for and on behalf of itself and the Parent
Facility Secured Parties, that, until the Discharge of ABL Obligations, any notice of any
proposed foreclosure or sale of any ABL Priority Collateral and any other notice in connection
with the Exercise of Secured Creditor Remedies with respect thereto shall state prominently and
clearly that the sale is subject to the ABL Agent’s and the ABL Secured Parties’ prior Liens and
that such Liens shall continue as against the ABL Priority Collateral to be sold, unless the ABL
Agent otherwise consents in writing.

                (b)    Notice of Parent Facility Agent’s Lien. Without limiting Section 2.3
hereof, and subject to Section 2.4(d), the ABL Agent, for and on behalf of itself and the ABL
Secured Parties, hereby agrees that, until the Discharge of Parent Facility Obligations, in
connection with any Exercise of Secured Creditor Remedies by the ABL Agent or any ABL
Secured Party with respect to the Parent Facility Priority Collateral, the ABL Agent or such ABL
Secured Party, as applicable, shall advise any purchaser or transferee of any Parent Facility
Priority Collateral in writing that the sale (whether public, private, by foreclosure, or otherwise)
or other transfer of such Parent Facility Priority Collateral is subject to the Liens of the Parent
Facility Agent and the Parent Facility Secured Parties, unless the Parent Facility Agent otherwise
consents in writing. In addition, the ABL Agent agrees, for and on behalf of itself and the ABL
Secured Parties, that, until the Discharge of Parent Facility Obligations, any notice of any
proposed foreclosure or sale of any Parent Facility Priority Collateral and any other notice in
connection with the Exercise of Secured Creditor Remedies with respect thereto shall state
prominently and clearly that the sale is subject to the Parent Facility Agent’s and the Parent
Facility Secured Parties’ prior Liens and that such Liens shall continue as against the Parent
Facility Priority Collateral to be sold, unless the Parent Facility Agent otherwise consents in
writing.

               (c)     No Other Restrictions.

               (i)     Except as expressly set forth in this Agreement, each of the Parent Facility
Agent, the Parent Facility Secured Parties, the ABL Agent and the ABL Secured Parties shall
have any and all rights and remedies it may have as a creditor under applicable law, including the
right to the Exercise of Secured Creditor Remedies (except as may be separately otherwise
agreed in writing by and between or among any applicable Parties, solely as among such Parties
and the Secured Parties represented thereby); provided, however, that the Exercise of Secured
Creditor Remedies with respect to the Collateral shall be subject to the Lien Priority and to the
provisions of this Agreement, including Sections 2.3 and 4.1 hereof. The ABL Agent may




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enforce the provisions of the ABL Documents and the Parent Facility Agent may enforce the
provisions of the Parent Facility Documents, all in such order and in such manner as each may
determine in the exercise of its sole discretion, consistent with the terms of this Agreement and
mandatory provisions of applicable law (except as may be separately otherwise agreed in writing
by and between or among any applicable Parties, solely as among such Parties and the Secured
Parties represented thereby); provided, however, that each of the ABL Agent and the Parent
Facility Agent agrees to provide to each other such Party (x) prior written notice of the
commencement of any Exercise of Secured Creditor Remedies and (y) copies of any notices that
it is required under applicable law to deliver to any Credit Party; provided, further, however, that
the ABL Agent’s failure to provide any such copies to any other such Party (other than the notice
described in the preceding clause (x)) shall not impair any of the ABL Agent’s rights hereunder
or under any of the ABL Documents, and the Parent Facility Agent’s failure to provide any such
copies to any other such Party (other than the notice described in the preceding clause (x)) shall
not impair any of the Parent Facility Agent’s rights hereunder or under any of the Parent Facility
Documents.

               (ii)    The Parent Facility Agent, on behalf of itself and the Parent Facility
Secured Parties, agrees that it will not institute or join in any suit, Insolvency Proceeding or other
proceeding or assert in any suit, Insolvency Proceeding or other proceeding any claim against the
ABL Agent or any other ABL Secured Party seeking damages from or other relief by way of
specific performance, instructions or otherwise, with respect to, any action taken or omitted to be
taken by such Person with respect to the Collateral that is consistent with the terms of this
Agreement, and none of such Persons shall be liable for any such action taken or omitted to be
taken.

                 (iii) The ABL Agent, on behalf of itself and the ABL Secured Parties, agrees
that it will not institute or join in any suit, Insolvency Proceeding or other proceeding or assert in
any suit, Insolvency Proceeding or other proceeding any claim against the Parent Facility Agent
or any other Parent Facility Secured Party seeking damages from or other relief by way of
specific performance, instructions or otherwise, with respect to, any action taken or omitted to be
taken by such Person with respect to the Collateral that is consistent with the terms of this
Agreement, and none of such Persons shall be liable for any such action taken or omitted to be
taken.

               (d)     Release of Liens.

               (i)     In the event of (A) any private or public sale of all or any portion of the
ABL Priority Collateral in connection with any Exercise of Secured Creditor Remedies by or
with the consent of the ABL Agent, (B) any sale, transfer or other disposition of all or any
portion of the ABL Priority Collateral (including upon termination or discharge of a subsidiary
guarantee), so long as such sale, transfer or other disposition (or release or discharge) is then
permitted by the ABL Credit Agreement and, if no Event of Default exists, the Parent Facility
Credit Agreement, or (C) the release of the ABL Collateral Secured Parties’ Lien on all or any
portion of the ABL Priority Collateral, which release under clause (C) shall have been approved
by the Requisite ABL Holders and, if no Event of Default exists, the Requisite Parent Facility
Holders, in the case of clauses (B) and (C), only to the extent occurring prior to the Discharge of
ABL Obligations (without regard to clause (c) of the definition thereof) and not in connection




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with a Discharge of ABL Obligations (without regard to clause (c) of the definition thereof), the
Parent Facility Agent agrees, on behalf of itself and the Parent Facility Secured Parties, that (so
long as, if applicable, the net cash proceeds of any such sale, if any, described in clause (A)
above are applied as provided in Section 4.1 hereof and there is a corresponding release of the
Liens securing the ABL Obligations) such sale, transfer, disposition or release will be free and
clear of the Liens on such ABL Priority Collateral securing the Parent Facility Obligations, and
the Parent Facility Agent’s and the Parent Facility Secured Parties’ Liens with respect to the
ABL Priority Collateral so sold, transferred, disposed or released shall terminate and be
automatically, unconditionally, and simultaneously released without further action.               In
furtherance of, and subject to, the foregoing, the Parent Facility Agent agrees that it will execute
any and all Lien releases or other documents reasonably requested by the ABL Agent in
connection therewith. Parent Facility Agent hereby appoints the ABL Agent and any officer or
duly authorized person of the ABL Agent, with full power of substitution, as its true and lawful
attorney-in-fact with full irrevocable power of attorney in the place and stead of such Party and
in the name of such Party or in the ABL Agent’s own name, from time to time, in the ABL
Agent sole discretion, for the purposes of carrying out the terms of this paragraph, to take any
and all appropriate action and to execute and deliver any and all documents and instruments as
may be necessary or desirable to accomplish the purposes of this paragraph, including any
financing statements, endorsements, assignments, releases or other documents or instruments of
transfer (which appointment, being coupled with an interest, is irrevocable).

                (ii)    In the event of (A) any private or public sale of all or any portion of the
Parent Facility Priority Collateral in connection with any Exercise of Secured Creditor Remedies
by or with the consent of the Parent Facility Agent, (B) any sale, transfer or other disposition of
all or any portion of the Parent Facility Priority Collateral (including upon termination or
discharge of a subsidiary guarantee), so long as such sale, transfer or other disposition (or release
or discharge) is then permitted by the Parent Facility Credit Agreement and, if no Event of
Default exists, the ABL Credit Agreement, or (C) the release of the Parent Facility Secured
Parties’ Liens on all or any portion of the Parent Facility Priority Collateral, which release under
clause (C) shall have been approved by the Requisite Parent Facility Holders and, if no Event of
Default exists, the Requisite ABL Holders, in the case of clauses (B) and (C), only to the extent
occurring prior to the Discharge of Parent Facility Obligations (without regard to clause (c) in
each of the definition of Discharge of Parent Facility Obligations) and not in connection with a
Discharge of Parent Facility Obligations (without regard to clause (c) in each of the definition of
Discharge of Parent Facility Obligations), the ABL Agent agrees, on behalf of itself and the ABL
Secured Parties, that (so long as, if applicable, the net cash proceeds of any such sale, if any,
described in clause (A) above are applied as provided in Section 4.1 hereof and there is a
corresponding release of the Liens securing the Parent Facility Obligations) such sale, transfer,
disposition or release will be free and clear of the Liens on such Parent Facility Priority
Collateral securing the ABL Obligations and the ABL Agent’s and the ABL Secured Parties’
Liens with respect to the Parent Facility Priority Collateral so sold, transferred, disposed or
released shall terminate and be automatically, unconditionally and simultaneously released
without further action. In furtherance of, and subject to, the foregoing, the ABL Agent agrees
that it will execute any and all Lien releases or other documents reasonably requested by the
Parent Facility Agent in connection therewith. The ABL Agent hereby appoints the Parent
Facility Agent and any officer or duly authorized person of the Parent Facility Agent, with full
power of substitution, as its true and lawful attorney-in-fact with full irrevocable power of



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attorney in the place and stead of such Party and in the name of such Party or in the Parent
Facility Agent’s own name, from time to time, in the Parent Facility Agent’s sole discretion, for
the purposes of carrying out the terms of this paragraph, to take any and all appropriate action
and to execute and deliver any and all documents and instruments as may be necessary or
desirable to accomplish the purposes of this paragraph, including any financing statements,
endorsements, assignments, releases or other documents or instruments of transfer (which
appointment, being coupled with an interest, is irrevocable).

              Section 2.5 No New Liens.

                 (a) Until the Discharge of ABL Obligations, the parties hereto agree that (except
as may be separately otherwise agreed in writing by and between the relevant Agents, each on
behalf of itself and the Secured Parties represented thereby), no Parent Facility Secured Party
shall knowingly acquire or hold (x) any guarantee of the Parent Facility Obligations by any
Credit Party unless such Credit Party also provides a guarantee of the ABL Obligations or (y)
any Lien on any assets of any Credit Party securing any Parent Facility Obligation which assets
are not also subject to the Lien of the ABL Agent under the ABL Collateral Documents (other
than to the extent the ABL Agent is a Declining Agent with respect to such guarantee or assets),
subject to the Lien Priority set forth herein. If any Parent Facility Secured Party shall
nonetheless acquire or hold any guarantee of the Parent Facility Obligations by any Credit Party
who does not provide a guarantee of the ABL Obligations or any Lien on any assets of any
Credit Party securing any Parent Facility Obligation which assets are not also subject to the Lien
of the ABL Agent under the ABL Collateral Documents (other than to the extent the ABL Agent
is a Declining Agent with respect to such guarantee or assets), subject to the Lien Priority set
forth herein, then the Parent Facility Agent (or the relevant Parent Facility Secured Party) shall,
without the need for any further consent of any other Parent Facility Secured Party and
notwithstanding anything to the contrary in any other Parent Facility Document, be deemed to
also hold and have held such Lien for the benefit of the ABL Agent as security for the ABL
Obligations (subject to the Lien Priority and other terms hereof) and shall promptly notify the
ABL Agent in writing of the existence of such guarantee or Lien.

                (b)     Until the Discharge of Parent Facility Obligations, the parties hereto agree
that (except as may be separately otherwise agreed in writing by and between the relevant
Agents, each on behalf of itself and the Secured Parties represented thereby), no ABL Secured
Party shall knowingly acquire or hold (x) any guarantee of ABL Obligations by any Person
unless such Person also provides a guarantee of the Parent Facility Obligations, or (y) any Lien
on any assets of any Credit Party securing any ABL Obligation which assets are not also subject
to the Lien of the Parent Facility Agent under the Parent Facility Collateral Documents (other
than to the extent the Parent Facility Agent is a Declining Agent with respect to such guarantee
or assets), subject to the Lien Priority set forth herein. If any ABL Secured Party shall
nonetheless acquire or hold any guarantee of the ABL Obligations by any Person who does not
provide a guarantee of the Parent Facility Obligations any Lien on any assets of any Credit Party
securing any ABL Obligations which assets are not also subject to the Lien of the Parent Facility
Agent under the Parent Facility Collateral Documents (other than to the extent the Parent Facility
Agent is a Declining Agent with respect to such guarantee or assets), subject to the Lien Priority
set forth herein, then the ABL Agent (or the relevant ABL Secured Party) shall, without the need
for any further consent of any other ABL Secured Party and notwithstanding anything to the



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contrary in any other ABL Document be deemed to also hold and have held such Lien for the
benefit of the Parent Facility Agent as security for the Parent Facility Obligations (subject to the
Lien Priority and other terms hereof) and shall promptly notify the Parent Facility Agent in
writing of the existence of such guarantee or Lien.

                (c)     No Agent shall be deemed to be in breach of this Section 2.5 as a result of
any other Agent (a “Declining Agent”) expressly declining, in writing after being offered the
applicable guarantee or grant of a Lien on the applicable asset by the applicable Person or Credit
Party, or failing to respond to such offer within 30 days thereof, in which case such Declining
Agent shall be deemed to have declined to accept such guarantee or Lien on such asset.

                (d)    Notwithstanding anything in this Agreement or any other ABL Document
or Parent Facility Document, collateral consisting of cash and cash equivalents pledged to secure
ABL Obligations or Parent Facility Obligations consisting of reimbursement obligations in
respect of letters of credit shall be applied as specified in the applicable ABL Document or
Parent Facility Document and shall not constitute “Collateral” for purposes of this Section 2.5,
except to the extent any amounts remain after such letters of credit are terminated after
satisfaction of any reimbursement obligations with respect thereto.

              Section 2.6 Waiver of Marshalling. Until the Discharge of ABL Obligations and
the Parent Facility Agent, on behalf of itself and the Parent Facility Secured Parties, agrees not to
assert, and hereby waives, to the fullest extent permitted by law, any right to demand, request,
plead or otherwise assert or otherwise claim the benefit of, any marshalling, appraisal, valuation
or other similar right that may otherwise be available under applicable law with respect to the
ABL Priority Collateral or any other similar rights a junior secured creditor may have under
applicable law.

                Until the Discharge of Parent Facility Obligations, the ABL Agent, on behalf of
itself and the ABL Secured Parties, agrees not to assert and hereby waives, to the fullest extent
permitted by law, any right to demand, request, plead or otherwise assert or otherwise claim the
benefit of, any marshalling, appraisal, valuation or other similar right that may otherwise be
available under applicable law with respect to the Parent Facility Priority Collateral or any other
similar rights a junior secured creditor may have under applicable law.

                                            ARTICLE 3

                                       Actions of the Parties

              Section 3.1 Certain Actions Permitted. Notwithstanding anything herein to the
                                          contrary:

                (a)     the Parent Facility Agent and the ABL Agent may make such demands or
file such claims in respect of the Parent Facility Obligations or the ABL Obligations, as
applicable, as are necessary to prevent the waiver or bar of such claims under applicable statutes
of limitations or other statutes, court orders, or rules of procedure at any time;

              (b)      in any Insolvency Proceeding commenced by or against any Credit Party,
each Parent Facility Secured Party and ABL Secured Party may file a proof of claim or statement



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of interest with respect to its respective Parent Facility Obligations and ABL Obligations, as
applicable;

                (c)     each Parent Facility Secured Party and ABL Secured Party shall be
entitled to file any necessary responsive or defensive pleadings in opposition to any motion,
claim, adversary proceeding or other pleading made by any person objecting to or otherwise
seeking the disallowance of the claims of such Parent Facility Secured Party or ABL Secured
Party, as applicable, including, without limitation, any claims secured by the Collateral, if any, in
each case if not directly or indirectly inconsistent with the terms of this Agreement;

                 (d)     each Parent Facility Secured Party and ABL Secured Party shall be
entitled to file any pleadings, objections, motions or agreements which assert rights or interests
available to unsecured creditors of the Credit Parties arising under either the Bankruptcy Law or
applicable non-bankruptcy law, in each case if not directly or indirectly inconsistent with the
terms of this Agreement and provided that any judgment Lien obtained in connection therewith
shall be subject to the relative Lien priorities set forth in this Agreement; and

                (e)     each Parent Facility Secured Party and ABL Secured Party shall be
entitled to file any proof of claim and other filings and make any arguments and motions
(including in support of or opposition to the confirmation or approval of any plan of
reorganization) in order to preserve or protect its Liens on the Collateral that are, in each case,
not directly or indirectly inconsistent with the terms of this Agreement, with respect to the Parent
Facility Obligations, the ABL Obligations and the Collateral.

              Section 3.2 Bailee for Perfection.

                (a)     The ABL Agent, for and on behalf of itself and each ABL Secured Party
and the Parent Facility Agent, for and on behalf of each Parent Facility Secured Party, each agree
to hold all Control Collateral and Cash Collateral that is part of the Collateral in their respective
possession, custody, or control (or in the possession, custody, or control of agents or bailees for
either) as non-fiduciary, gratuitous bailee and agent for the benefit of each other (such bailment
being intended, among other things, to satisfy the requirements of Sections 8-106(d)(3), 8-
301(a)(2) and 9-313(c) of the Uniform Commercial Code) solely for the purpose of perfecting
the security interest granted to each in such Control Collateral or Cash Collateral, subject to the
terms and conditions of this Section 3.2. Each of the ABL Agent and the Parent Facility Agent
hereby accepts such appointments pursuant to this Section 3.2 and acknowledges and agrees that
it shall hold and control, as applicable, the Control Collateral for the benefit of the other Secured
Parties with respect to any Control Collateral and that any proceeds received thereby under any
Control Collateral shall be applied in accordance with Section 4. For purposes of this
Section 3.2, “control” shall be deemed to also be defined as set forth in the Uniform Commercial
Code.

                (b)     None of the ABL Agent, the ABL Secured Parties, the Parent Facility
Agent, or the Parent Facility Secured Parties, as applicable, shall have any obligation whatsoever
to the others to assure that the Control Collateral or the Cash Collateral is genuine or owned by
any Credit Party or any other Person or to preserve rights or benefits of any Person. The duties
or responsibilities of the ABL Agent and the Parent Facility Agent under this Section 3.2 are and




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shall be limited solely to holding or maintaining control of the Control Collateral and the Cash
Collateral as agent for the other Parties for purposes of perfecting the Lien held by the Parent
Facility Agent or the ABL Agent, as applicable. The ABL Agent is not and shall not be deemed
to be a fiduciary of any kind for the Parent Facility Agent, the Parent Facility Secured Parties, or
any other Person. The Parent Facility Agent is not and shall not be deemed to be a fiduciary of
any kind for the ABL Agent, the ABL Secured Parties, or any other Person.

                (c)     Each Credit Party shall deliver all Control Collateral and all Cash
Collateral required to be delivered pursuant to the Credit Documents (i) in the case of ABL
Priority Collateral or Proceeds thereof, to the ABL Agent, or (ii) in the case of Parent Facility
Priority Collateral or Proceeds thereof, to the Parent Facility Agent.

              Section 3.3 Inspection and Access Rights.

                (a)     Without limiting any rights the ABL Agent or any other ABL Secured
Party may otherwise have under applicable law or by agreement, in the event of any liquidation
of the ABL Priority Collateral (or any other Exercise of Any Secured Creditor Remedies by the
ABL Agent) and whether or not the Parent Facility Agent or any other Parent Facility Secured
Party has commenced and is continuing to Exercise Any Secured Creditor Remedies of the
Parent Facility Agent, the ABL Agent or any other Person (including any Credit Party) acting
with the consent, or on behalf, of the ABL Agent, shall have the right (1) during the Use Period
in connection with the conducting of audits and appraisals in the ordinary course, during normal
business hours on any Business Day, to access ABL Priority Collateral that (i) is stored or
located in or on, or (ii) has become an accession with respect to (within the meaning of Section
9-335 of the Uniform Commercial Code), or (iii) has been commingled with (within the meaning
of Section 9-336 of the Uniform Commercial Code), Parent Facility Priority Collateral, and (2)
during the Use Period, shall have an irrevocable, non-exclusive right and a royalty-free and rent-
free license and right to use any Parent Facility Priority Collateral, each of the foregoing in order
to collect or otherwise realize upon all Receivables or other amounts owing under Instruments or
Chattel Paper or otherwise in respect of ABL Priority Collateral, (i) to inspect, copy, use or
preserve any and all information relating to any of the Collateral (and to download or remove
any such information relating to any of the ABL Priority Collateral), to take action to perfect its
Liens on, take possession of, move, prepare and advertise for sale, sell (by public auction, private
sale or otherwise), store or otherwise deal with the ABL Priority Collateral, and (ii) during the
first thirty (30) days of such Use Period only (to the extent ABL Agent reasonably deems
necessary or desirable in order to realize upon ABL Priority Collateral) to manufacture (or
complete the manufacture), package and sell any current runs of Inventory; provided, however,
that the royalty free, rent free license and lease granted in the this clause (a) with respect to
Parent Facility Priority Collateral shall immediately expire upon the sale, lease, transfer or other
disposition of such Parent Facility Priority Collateral, provided that the Parent Facility Agent
shall have provided the ABL Agent with at least ten (10) days’ notice prior to such sale, lease,
transfer or disposition.

               (b)     During the period of actual occupation, use and/or control by the ABL
Secured Parties and/or the ABL Agent (or their respective employees, agents, advisers and
representatives) of any Parent Facility Priority Collateral, the ABL Secured Parties and the ABL
Agent shall be obligated to repair at their expense any physical damage (but not any other




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diminution in value) to such Parent Facility Priority Collateral resulting from such occupancy,
use or control, and to leave such Parent Facility Priority Collateral in substantially the same
condition as it was at the commencement of such occupancy, use or control, ordinary wear and
tear excepted. Notwithstanding the foregoing, in no event shall the ABL Secured Parties or the
ABL Agent have any liability to the Parent Facility Secured Parties and/or to the Parent Facility
Agent pursuant to this Section 3.3 as a result of any condition (including any environmental
condition, claim or liability) on or with respect to the Parent Facility Priority Collateral existing
prior to the date of the exercise by the ABL Secured Parties (or the ABL Agent, as the case may
be) of their rights under this Section 3.3 and the ABL Secured Parties shall have no duty or
liability to maintain the Parent Facility Priority Collateral in a condition or manner better than
that in which it was maintained prior to the use thereof by the ABL Secured Parties, or for any
diminution in the value of the Parent Facility Priority Collateral that results from ordinary wear
and tear resulting from the use of the Parent Facility Priority Collateral by the ABL Secured
Parties in the manner and for the time periods specified under this Section 3.3. Without limiting
the rights granted in this Section 3.3, the ABL Secured Parties and the ABL Agent shall
cooperate with the Parent Facility Secured Parties and/or the Parent Facility Agent in connection
with any efforts made by the Parent Facility Secured Parties and/or the Parent Facility Agent to
sell the Parent Facility Priority Collateral.

               (c)     [Reserved.]

                (d)    Except as provided in clauses (b) and (e) of this Section 3.3, the ABL
Agent and the other ABL Secured Parties shall not be obligated to pay any amounts to the Parent
Facility Agent or the Parent Facility Secured Parties (or any person claiming by, through or
under the Parent Facility Secured Parties, including any purchaser of the Parent Facility Priority
Collateral) or to the Credit Parties, for or in respect of the use by the ABL Agent and the other
ABL Secured Parties of the Parent Facility Priority Collateral.

                (e)    The ABL Secured Parties shall (i) use the Parent Facility Priority
Collateral in accordance with applicable law, (ii) insure for damage to property and liability to
persons, including property and liability insurance for the benefit of the Parent Facility Secured
Parties and (iii) indemnify the Parent Facility Secured Parties from any claim, loss, damage, cost
or liability made by any third party (other than any Credit Party) arising from the ABL Secured
Parties’ use of the Parent Facility Priority Collateral (except for those arising from the gross
negligence or willful misconduct of any Parent Facility Secured Party).

                (f)     The Parent Facility Agent and the other Parent Facility Secured Parties (i)
will use commercially reasonable efforts to cooperate with the ABL Agent and the other ABL
Secured Parties in exercising its rights pursuant to this Section 3.3, (ii) will not hinder or restrict
in any respect the ABL Agent from exercising the rights described in this Section 3.3 and (iii)
will, subject to the rights of any landlords under real estate leases, permit the ABL Agent, its
employees, agents, advisers and representatives to exercise the rights described in this Section
3.3.

               (g)    In furtherance of the foregoing in this Section 3.3, the Parent Facility
Agent and the other Parent Facility Secured Parties, in their capacity as a secured party (or as a
purchaser, assignee or transferee, as applicable), and to the extent of its interest therein, hereby




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grants to the ABL Agent and the other ABL Secured Parties during the Use Period a
nonexclusive, irrevocable, royalty-free, worldwide license to use, license or sublicense any and
all Intellectual Property now owned or hereafter acquired included as part of the Parent Facility
Priority Collateral (and including in such license access to all media in which any of the licensed
items may be recorded or stored and to all computer software and programs used for the
compilation or printout thereof) as is or may be necessary or advisable in the ABL Agent’s
reasonable judgment for the ABL Agent in order to collect or otherwise realize upon all
Receivables or other amounts owing under Instruments or Chattel Paper or otherwise in respect
of ABL Priority Collateral, (i) to inspect, copy, use or preserve any and all information relating
to any of the Collateral (and to download or remove any such information relating to any of the
ABL Priority Collateral), store or otherwise deal with the ABL Priority Collateral, and (ii) during
the first thirty (30) days of such Use Period only (to the extent ABL Agent reasonably deems
necessary or desirable in order to realize upon ABL Priority Collateral) to manufacture (or
complete the manufacture), package and sell any current runs of Inventory; provided that (i) any
such license shall terminate upon the sale of the applicable ABL Priority Collateral and shall not
extend or transfer to the purchaser of such ABL Priority Collateral, (ii) the ABL Agent’s use of
such Intellectual Property shall be reasonable and lawful, and (iii) any such license is granted on
an “AS IS” basis, without any representation or warranty whatsoever. Furthermore, the Parent
Facility Agent agrees that, in connection with any Exercise of Secured Creditor Remedies
conducted by the Parent Facility Agent in respect of Parent Facility Priority Collateral, the Parent
Facility shall provide written notice to any purchaser, assignee or transferee of Intellectual
Property pursuant to an Exercise of Secured Creditor Remedies that the applicable Intellectual
Property is subject to such license.

                (h)    In the event that the ABL Agent shall, in the exercise of its rights under
the ABL Collateral Documents or otherwise, receive possession or control of any books and
records of any Credit Party which contain information identifying or pertaining to the Parent
Facility Priority Collateral, the ABL Agent shall either make available to the Parent Facility
Agent such books and records for inspection and duplication or provide to the Parent Facility
Agent copies thereof. In the event that the Parent Facility Agent shall, in the exercise of its rights
under the Parent Facility Security Documents or otherwise, receive possession or control of any
books and records of any Credit Party which contain information identifying or pertaining to any
of the ABL Priority Collateral, the Parent Facility Agent shall either make available to the ABL
Agent such books and records for inspection and duplication or provide the ABL Agent copies
thereof.

                Section 3.4 Insurance. Proceeds of Collateral include insurance proceeds and,
therefore, the Lien Priority shall govern the ultimate disposition of casualty insurance proceeds.
The ABL Agent shall be named as additional insured or loss payee, as applicable, with respect to
all insurance policies relating to the Collateral and the Parent Facility Agent shall also be named
as additional insured or loss payee, as applicable, with respect to all insurance policies relating to
the Collateral. Until the Discharge of ABL Obligations, the ABL Agent shall have the sole and
exclusive right, as against any Secured Party, to adjust settlement of insurance claims in the
event of any covered loss, theft or destruction of ABL Priority Collateral. Until the Discharge of
Parent Facility Obligations, the Parent Facility Agent shall have the sole and exclusive right, as
against any Secured Party, to adjust settlement of insurance claims in the event of any covered
loss, theft or destruction of Parent Facility Priority Collateral. To the extent that an insured claim



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covers both ABL Priority Collateral and Parent Facility Priority Collateral, then the ABL Agent
and the Parent Facility Agent will work jointly and in good faith to collect, adjust and/or settle
under the insurance policy, as applicable, in accordance with Section 4.3. All proceeds of such
insurance shall be remitted to the ABL Agent or to the Parent Facility Agent, as the case may be,
and each of the Parent Facility Agent and the ABL Agent shall cooperate (if necessary) in a
reasonable manner in effecting the payment of insurance proceeds in accordance with
Section 4.1 hereof.

                Section 3.5 No Additional Rights For the Credit Parties Hereunder. Except as
provided in Section 3.6, if any ABL Secured Party or Parent Facility Secured Party shall enforce
its rights or remedies in violation of the terms of this Agreement, the Credit Parties shall not be
entitled to use such violation as a defense to any action by any ABL Secured Party or Parent
Facility Secured Party, nor to assert such violation as a counterclaim or basis for set off or
recoupment against any ABL Secured Party or Parent Facility Secured Party.

              Section 3.6 Payments Over.

                (a)    So long as the Discharge of ABL Obligations has not occurred, any ABL
Priority Collateral or Proceeds thereof not constituting Parent Facility Priority Collateral
received by the Parent Facility Agent or any Parent Facility Secured Parties (i) in connection
with the exercise of any right or remedy (including set off) relating to the ABL Priority
Collateral in contravention of this Agreement or (ii) as proceeds of any assignment or transfer of
any portion of the Parent Facility Obligations to a Credit Party, a Parent Facility Credit Party or
an Affiliate of any such Person, shall be segregated and held in trust and forthwith paid over to
the ABL Agent for the benefit of the ABL Secured Parties in the same form as received, with
any necessary endorsements or as a court of competent jurisdiction may otherwise direct. The
ABL Agent is hereby authorized to make any such endorsements as agent for the Parent Facility
Agent or any such Parent Facility Secured Parties. This authorization is coupled with an interest
and is irrevocable until such time as this Agreement is terminated in accordance with its terms.

                (b)     So long as the Discharge of Parent Facility Obligations has not occurred,
any Parent Facility Priority Collateral or Proceeds thereof not constituting ABL Priority
Collateral received by the ABL Agent or any other ABL Secured Party (i) in connection with the
exercise of any right or remedy (including set off) relating to the Parent Facility Priority
Collateral in contravention of this Agreement or (ii) as proceeds of any assignment or transfer of
any portion of the ABL Facility Obligations to a Credit Party, a Parent Facility Credit Party or an
Affiliate of any such Person, shall be segregated and held in trust and forthwith paid over to the
Parent Facility Agent for the benefit of the Parent Facility Secured Parties in the same form as
received, with any necessary endorsements or as a court of competent jurisdiction may otherwise
direct. The Parent Facility Agent is hereby authorized to make any such endorsements as agent
for the ABL Agent or any such other ABL Secured Parties. This authorization is coupled with an
interest and is irrevocable until such time as this Agreement is terminated in accordance with its
terms.

              (c)    Nothing in this Agreement shall prohibit the receipt by the ABL Agent or
the Parent Facility Agent or any Secured Party of payments of interest, principal and other
amounts owed in respect of the ABL Obligations or the Parent Facility Obligations, so long as




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such receipt is not (i) the direct or indirect result of the Exercise of Any Secured Creditor
Remedies by the ABL Agent or the Parent Facility Agent or any Secured Party in contravention
of this Agreement with respect to any Lien held by any of them, or (ii) as proceeds of any
assignment or transfer of any portion of the ABL Facility Obligations or the Parent Facility
Obligations to a Credit Party, a Parent Facility Credit Party or an Affiliate of any such Person.

               Section 3.7 Agent Discretion. The Parent Facility Agent and the ABL Agent
hereby agree that notwithstanding any provision to the contrary under any Parent Facility
Document or ABL Document, as applicable, the ABL Agent shall have sole discretion (in
consultation with the Company, if applicable) with respect to any determination concerning ABL
Priority Collateral as to which such Agent would have authority to exercise under any Parent
Facility Document or ABL Document, as applicable. The Parent Facility Agent and the ABL
Agent hereby agree that notwithstanding any provision to the contrary under any Parent Facility
Document or ABL Document, as applicable, the Parent Facility Agent shall have sole discretion
(in consultation with the Company, if applicable) with respect to any determination concerning
Parent Facility Priority Collateral as to which such Agent would have authority to exercise under
any Parent Facility Document or ABL Document, as applicable.

                                          ARTICLE 4

                                    Application of Proceeds

             Section 4.1 Application of Proceeds.

              (a)     Revolving Nature of Obligations.

               (i)     The Parent Facility Agent, for and on behalf of itself and the Parent
Facility Secured Parties, expressly acknowledges and agrees that (i) the Original ABL Credit
Agreement includes a revolving commitment and any other ABL Credit Agreement may include
a revolving commitment and in the ordinary course of business the ABL Agent and the ABL
Secured Parties will apply payments and make advances thereunder, and no application of any
Payment Collateral or Cash Collateral or the release of any Lien by the ABL Agent upon any
portion of the Collateral in connection with a permitted disposition under any ABL Credit
Agreement shall constitute the Exercise of Secured Creditor Remedies under this Agreement; (ii)
the amount of the ABL Obligations that may be outstanding at any time or from time to time
may be increased or reduced and subsequently reborrowed, the terms of the ABL Obligations
may be modified, extended or amended from time to time, and the aggregate amount of the ABL
Obligations may be increased, replaced or refinanced, in each event, without notice to or consent
by the Parent Facility Secured Parties and without affecting the provisions hereof; and (iii) all
Payment Collateral or Cash Collateral received by the ABL Agent may be applied, reversed,
reapplied, credited, or reborrowed, in whole or in part, to the ABL Obligations at any time;
provided, however, that from and after the date on which the ABL Agent (or any ABL Secured
Party) commences the Exercise of Secured Creditor Remedies, all amounts received by the ABL
Agent or any ABL Secured Party as a result of such Exercise of Secured Creditor Remedies shall
be applied as otherwise specified in this Section 4.1. The Lien Priority shall not be altered or
otherwise affected by any such amendment, modification, supplement, extension, repayment,




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reborrowing, increase, replacement, renewal, restatement or refinancing of the ABL Obligations,
the Parent Facility Obligations, or any portion thereof.

               (ii)    The ABL Agent, for and on behalf of itself and the ABL Secured Parties,
expressly acknowledges and agrees that (i) the Original Parent Facility Credit Agreement
includes a revolving commitment and any other Parent Facility Credit Agreement may include a
revolving commitment and in the ordinary course of business the Parent Facility Agent and the
Parent Facility Secured Parties will apply payments and make advances thereunder, and no
application of any Payment Collateral or Cash Collateral or the release of any Lien by the Parent
Facility Agent upon any portion of the Collateral in connection with a permitted disposition
under any Parent Facility Credit Agreement shall constitute the Exercise of Secured Creditor
Remedies under this Agreement; (ii) the amount of the Parent Facility Obligations that may be
outstanding at any time or from time to time may be increased or reduced and subsequently
reborrowed, the terms of the Parent Facility Obligations may be modified, extended or amended
from time to time, and the aggregate amount of the Parent Facility Obligations may be increased,
replaced or refinanced, in each event, without notice to or consent by the ABL Secured Parties
and without affecting the provisions hereof; and (iii) all Payment Collateral or Cash Collateral
received by the Parent Facility Agent may be applied, reversed, reapplied, credited, or
reborrowed, in whole or in part, to the Parent Facility Obligations at any time; provided,
however, that from and after the date on which the Parent Facility Agent (or any Parent Facility
Secured Party) commences the Exercise of Secured Creditor Remedies, all amounts received by
the Parent Facility Agent or any Parent Facility Secured Party as a result of such Exercise of
Secured Creditor Remedies shall be applied as otherwise specified in this Section 4.1. The Lien
Priority shall not be altered or otherwise affected by any such amendment, modification,
supplement, extension, repayment, reborrowing, increase, replacement, renewal, restatement or
refinancing of the Parent Facility Obligations, the ABL Obligations, or any portion thereof.

                (b)    Application of Proceeds of ABL Priority Collateral. The ABL Agent and
the Parent Facility Agent hereby agree that all ABL Priority Collateral, and, subject to Sections
4.3 and 4.4, all Proceeds thereof, received by any of them in connection with (x) any Exercise of
Secured Creditor Remedies or (y) any Insolvency Proceeding (but excluding in connection with
a DIP Financing complying with the terms of Section 6.1(a) hereof) shall be applied,

             first, to the payment of costs and expenses of the ABL Agent in connection with
       such Exercise of Secured Creditor Remedies to the extent provided in the ABL
       Documents,

              second, to the payment of the ABL Obligations in accordance with the ABL
       Credit Agreement until the Discharge of ABL Obligations,

              third, by the Parent Facility Agent to the payment of the Parent Facility
       Obligations in accordance with the Parent Facility Credit Agreement until the Discharge
       of Parent Facility Obligations, and

               fourth, the balance, if any, to the Credit Parties or to whomsoever may be lawfully
       entitled to receive the same or as a court of competent jurisdiction may direct.




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              Each ABL Agent and Parent Facility Agent shall provide the ABL Agent and the
       Parent Facility Agent with such information about the ABL Obligations or Parent Facility
       Obligations represented by it as they may reasonably request in order to carry out the
       purposes of this Section 4.1.

               (c)     Application of Proceeds of Parent Facility Priority Collateral. The ABL
Agent and the Parent Facility Agent hereby agree that all Parent Facility Priority Collateral, and,
subject to Sections 4.3 and 4.4, all Proceeds thereof, received by any of them in connection with
(x) any Exercise of Secured Creditor Remedies or (y) any Insolvency Proceeding shall be
applied,

              first, to the payment of costs and expenses of the Parent Facility Agent in
       connection with such Exercise of Secured Creditor Remedies to the extent provided in
       the Parent Facility Documents,

              second, by the Parent Facility Agent to the payment of the Parent Facility
       Obligations until the Discharge of Parent Facility Obligations,

             third, to the payment of the ABL Obligations in accordance with the ABL Credit
       Agreement until the Discharge of ABL Obligations, and

               fourth, the balance, if any, to the Credit Parties or to whomsoever may be lawfully
       entitled to receive the same or as a court of competent jurisdiction may direct.

Each ABL Agent, and Parent Facility Agent shall provide the ABL Agent and the Parent Facility
Agent with such information about the ABL Obligations or Parent Facility Collateral Obligations
represented by it as they may reasonably request in order to carry out the purposes of this
Section 4.1.

               (d)     Limited Obligation or Liability. In exercising remedies, whether as a
secured creditor or otherwise, no Party shall have any obligation or liability to the other Party or
any Parent Facility Secured Party or ABL Secured Party regarding the adequacy of any Proceeds
or for any action or omission, save and except solely for an action or omission that breaches the
express obligations undertaken by each Party under the terms of this Agreement.

               (e)     Turnover of Cash Collateral After Discharge. Upon the Discharge of ABL
Obligations, the ABL Agent shall deliver to the Parent Facility Agent or shall execute such
documents as the Company or the Parent Facility Agent may reasonably request to enable the
Parent Facility Agent to have control over any Control Collateral or Cash Collateral still in the
ABL Agent’s possession, custody, or control in the same form as received with any necessary
endorsements, or as a court of competent jurisdiction may otherwise direct. Upon the Discharge
of Parent Facility Obligations, the Parent Facility Agent shall deliver to the ABL Agent or shall
execute such documents as the Company or the ABL Agent may reasonably request to enable the
ABL Agent to have control over any Control Collateral or Cash Collateral still in the Parent
Facility Agent’s possession, custody or control in the same form as received with any necessary
endorsements, or as a court of competent jurisdiction may otherwise direct subject to the
reinstatement provision of Section 5.3.




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              Section 4.2 Specific Performance. Each of the ABL Agent and the Parent Facility
Agent is hereby authorized to demand specific performance of this Agreement, whether or not
any Credit Party shall have complied with any of the provisions of any of the Credit Documents,
at any time when any other Party shall have failed to comply with any of the provisions of this
Agreement applicable to it. Each of the ABL Agent, for and on behalf of itself and the ABL
Secured Parties, and the Parent Facility Agent, for and on behalf of itself and the Parent Facility
Secured Parties, hereby irrevocably waives any defense based on the adequacy of a remedy at
law that might be asserted as a bar to such remedy of specific performance.

                Section 4.3 Sale of Collateral Comprising Both ABL Priority Collateral and
Parent Facility Priority Collateral; Certain Proceeds of Capital Stock . In the event that prior to
 the Discharge of ABL Obligations, proceeds of the Collateral are received in connection with a
 Disposition, loss, condemnation or other disposition (whether voluntary or involuntary) of
 Collateral that involves both ABL Priority Collateral and Parent Facility Priority Collateral, for
 the purposes of this Agreement with respect to such Disposition, loss, condemnation or other
 disposition, the ABL Agent and the Parent Facility Agent shall use commercially reasonable
 efforts in good faith to allocate the Proceeds received in connection with such Disposition, loss,
 condemnation or other disposition of such Collateral to the ABL Priority Collateral and the
 Parent Facility Priority Collateral. In the event that Proceeds are received in connection with a
 Disposition of all or substantially all of the Capital Stock issued by any Grantor or any amounts
 are received in respect of Capital Stock of any Grantor in an Insolvency Proceeding such
 amounts shall be deemed to be proceeds received from a Disposition of ABL Priority Collateral
 and Parent Facility Priority Collateral (in proportion to ABL Priority Collateral and Parent
 Facility Priority Collateral owned at such time by the Grantor) and shall be applied as provided
 in the preceding sentence.

               Section 4.4 Priorities in Proceeds.

                (a)    Until the Discharge of ABL Obligations (unless any Credit Party shall
become subject to any Insolvency Proceeding), prior to the Exercise of Secured Creditor
Remedies by the ABL Agent, the ABL Agent is hereby permitted to deem all collections and
payments deposited in any Deposit Account controlled by the ABL Agent to be ABL Priority
Collateral (or Proceeds of ABL Priority Collateral) and the Parent Facility Agent, on behalf of
itself and the other Parent Facility Secured Parties, consents to the application of such funds to
the ABL Obligations, and no such funds credited to any such Deposit Account shall be subject to
disgorgement or be deemed to be held in trust by the ABL Agent for the benefit of the Parent
Facility Agent, or the Parent Facility Secured Parties (and all claims of such Persons to such
amounts are hereby waived); provided, however, that the provisions of this Section 4.4(a) shall
not be applicable to any Proceeds of Parent Facility Priority Collateral (other than Proceeds of
Inventory in the form of Receivables) so deposited into any Deposit Account if prior to such
deposit the applicable Credit Party or any Secured Party shall have notified the ABL Agent in
writing of such Proceeds to be deposited and reasonably identifying the amount of such Proceeds
and specifying the origin thereof.

                 (b)    Except as otherwise provided in Section 4.4(a) above, the ABL Agent, on
behalf of itself and the ABL Secured Parties represented by it, and Parent Facility Agent, on
behalf of itself and the Parent Facility Secured Parties, represented by it, agrees that after any the




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Exercise of any Secured Credit Remedies by the ABL Agent or the Parent Facility Agent, each
such Person shall cooperate in good faith to identify the proceeds of the ABL Priority Collateral
and the Parent Facility Priority Collateral, as the case may be (it being agreed that after any
Exercise of Secured Credit Remedies, unless the ABL Agent has actual knowledge to the
contrary, all funds deposited to a Deposit Account controlled by the ABL Agent and then applied
to the ABL Obligation shall be presumed to be ABL Priority Collateral (a presumption that can
be rebutted by any Parent Facility Agent)); provided, however, that no Secured Party shall be
liable or in any way responsible for any claims or damages from conversion of the ABL Priority
Collateral or Parent Facility Priority Collateral, as the case may be (it being understood and
agreed that (A) the only obligation of any ABL Secured Party is to pay over to the Parent Facility
Agent, in the same form as received, with any necessary endorsements, all proceeds that such
ABL Secured Party received that have been properly identified as proceeds of the Parent Facility
Priority Collateral and (B) the only obligation of the applicable Parent Facility Secured Party is
to pay over to the ABL Agent, in the same form as received, with any necessary endorsements,
all proceeds that such Parent Facility Secured Party received that have been properly identified
as proceeds of the ABL Priority Collateral). The Agents may request from the other Agents an
accounting of the identification of the Proceeds of Collateral (and the other Agent upon which
such request is made shall use commercially reasonable efforts to deliver such accounting
reasonably promptly after such request is made). Notwithstanding anything to the contrary in
this Agreement, Proceeds of Inventory in the form of Receivables shall constitute ABL Priority
Collateral for all purposes of this Agreement, including under Sections 2.1 and 4.1.

                                            ARTICLE 5

                           Intercreditor Acknowledgements and Waivers

               Section 5.1 Notice of Acceptance and Other Waivers. (a) All ABL Obligations at
any time made or incurred by any Credit Party shall be deemed to have been made or incurred in
reliance upon this Agreement, and the Parent Facility Agent, on behalf of itself and the Parent
Facility Secured Parties, represented thereby, hereby waives notice of acceptance of, or proof of
reliance by the ABL Agent or any ABL Secured Party on, this Agreement, and notice of the
existence, increase, renewal, extension, accrual, creation, or non-payment of all or any part of the
ABL Obligations. All Parent Facility Obligations at any time made or incurred by any Credit
Party shall be deemed to have been made or incurred in reliance upon this Agreement, and the
ABL Agent, on behalf of itself and the ABL Secured Parties, hereby waives notice of
acceptance, or proof of reliance, by the Parent Facility Agent or any Parent Facility Secured
Party of this Agreement, and notice of the existence, increase, renewal, extension, accrual,
creation, or non-payment of all or any part of the Parent Facility Obligations.

               (b)      None of the ABL Agent, any ABL Secured Party, or any of their
respective Affiliates, directors, officers, employees, or agents shall be liable to the Parent Facility
Agent or any Parent Facility Secured Party for failure to demand, collect, or realize upon any of
the Collateral or any Proceeds, or for any delay in doing so, or shall be under any obligation to
sell or otherwise dispose of any Collateral or Proceeds thereof or to take any other action
whatsoever with regard to the Collateral or any part or Proceeds thereof, except as specifically
provided in this Agreement. If the ABL Agent or any ABL Secured Party honors (or fails to
honor) a request by any Borrower for an extension of credit pursuant to any ABL Credit



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Agreement or any of the other ABL Documents, whether the ABL Agent or any ABL Secured
Party has knowledge that the honoring of (or failure to honor) any such request would constitute
a default under the terms of any Parent Facility Credit Agreement or any other Parent Facility
Document (but not a default under this Agreement) or an act, condition, or event that, with the
giving of notice or the passage of time, or both, would constitute such a default, or if the ABL
Agent or any ABL Secured Party otherwise should exercise any of its contractual rights or
remedies under any ABL Documents (subject to the express terms and conditions hereof),
neither the ABL Agent nor any ABL Secured Party shall have any liability whatsoever to the
Parent Facility Agent or any Parent Facility Secured Party as a result of such action, omission, or
exercise (so long as any such exercise does not breach the express terms and provisions of this
Agreement). The ABL Agent and the ABL Secured Parties shall be entitled to manage and
supervise their loans and extensions of credit under the ABL Credit Agreement and any of the
other ABL Documents as they may, in their sole discretion, deem appropriate, and may manage
their loans and extensions of credit without regard to any rights or interests that the Parent
Facility Agent or any Parent Facility Secured Party has in the Collateral, except as otherwise
expressly set forth in this Agreement. The Parent Facility Agent, on behalf of itself and the
Parent Facility Secured Parties, agrees that neither the ABL Agent nor any ABL Secured Party
shall incur any liability as a result of a sale, lease, license, application, or other disposition of all
or any portion of the Collateral or Proceeds thereof, pursuant to the ABL Documents, so long as
such disposition is conducted in accordance with mandatory provisions of applicable law and
does not breach the provisions of this Agreement.

                (c)    None of the Parent Facility Agent, the Parent Facility Secured Parties or
any of their respective Affiliates, directors, officers, employees, or agents shall be liable to the
ABL Agent or any ABL Secured Party for failure to demand, collect, or realize upon any of the
Collateral or any Proceeds, or for any delay in doing so, or shall be under any obligation to sell
or otherwise dispose of any Collateral or Proceeds thereof or to take any other action whatsoever
with regard to the Collateral or any part or Proceeds thereof, except as specifically provided in
this Agreement. If the Parent Facility Agent or any Parent Facility Secured Party honors (or fails
to honor) a request by any Borrower for an extension of credit pursuant to any Parent Facility
Credit Agreement or any of the other Parent Facility Documents, whether the Parent Facility
Agent or any Parent Facility Secured Party has knowledge that the honoring of (or failure to
honor) any such request would constitute a default under the terms of any ABL Credit
Agreement or any other ABL Document (but not a default under this Agreement) or an act,
condition, or event that, with the giving of notice or the passage of time, or both, would
constitute such a default, or if the Parent Facility Agent or any Parent Facility Secured Party
otherwise should exercise any of its contractual rights or remedies under the Parent Facility
Documents (subject to the express terms and conditions hereof), neither the Parent Facility Agent
nor any Parent Facility Secured Party shall have any liability whatsoever to the ABL Agent or
any ABL Secured Party as a result of such action, omission, or exercise (so long as any such
exercise does not breach the express terms and provisions of this Agreement). The Parent
Facility Agent and the Parent Facility Secured Parties shall be entitled to manage and supervise
their loans and extensions of credit under the Parent Facility Documents as they may, in their
sole discretion, deem appropriate, and may manage their loans and extensions of credit without
regard to any rights or interests that the ABL Agent or any ABL Secured Party has in the
Collateral, except as otherwise expressly set forth in this Agreement. The ABL Agent, on behalf
of itself and the ABL Secured Parties, agrees that none of the Parent Facility Agent or the Parent



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Facility Secured Parties shall incur any liability as a result of a sale, lease, license, application, or
other disposition of all or any portion of the Collateral or any Proceeds thereof, pursuant to the
Parent Facility Documents, so long as such disposition is conducted in accordance with
mandatory provisions of applicable law and does not breach the provisions of this Agreement.

               Section 5.2 Modifications to ABL Documents and Parent Facility Documents. (a)
The Parent Facility Agent, on behalf of itself and the Parent Facility Secured Parties, hereby
agrees that, without affecting the obligations of the Parent Facility Agent and the Parent Facility
Secured Parties hereunder, the ABL Agent and the ABL Secured Parties may, at any time and
from time to time, in their sole discretion without the consent of or notice to the Parent Facility
Agent or any Parent Facility Secured Party (except to the extent such notice or consent is
required pursuant to the express provisions of this Agreement), and without incurring any
liability to the Parent Facility Agent or any Parent Facility Secured Party or impairing or
releasing the subordination provided for herein, amend, restate, supplement, replace, refinance,
extend, consolidate, restructure, or otherwise modify any of the ABL Documents in any manner
whatsoever, other than in a manner which would have the effect of contravening the terms of this
Agreement, and in addition, absent the prior written consent of Parent Facility Agent, no ABL
Secured Party shall consent to any amendment, modification or waiver to the ABL Documents
(or to any refinancing thereof permitted herein) that:

                (i)     increases the “Applicable Margin” or similar component of the interest
rate under the ABL Documents in a manner that would result in the total yield on the ABL
Obligations to exceed by more than three percent (3.00%) the total yield on the ABL Obligations
as in effect on the date of the ABL Credit Agreement (excluding (A) increases resulting from the
accrual of interest at the default rate, (B) increases resulting from a change in the applicable
pricing level on the pricing grid as set forth in the definition of “Applicable Margin” in the ABL
Credit Agreement (as in effect on the date hereof) and (C) any increases from the accrual of any
payment in kind interest applicable to the ABL Obligations),

               (ii)   except as permitted under the ABL Documents (as in effect on the date
hereof) or as contemplated by Section 6 for a DIP Financing, contractually subordinates the
Liens of the ABL Secured Parties in the ABL Priority Collateral to any other secured obligations
of Grantors secured by Liens in the ABL Priority Collateral,

              (iii) changes to earlier dates any scheduled dates (including the maturity date)
for the payment of principal or interest with respect to the ABL Obligations (from that in effect
on the date hereof), other than as a result of the acceleration of the ABL Obligations in
accordance with the terms of the ABL Documents, or

             (iv)   result in the aggregate principal amount of revolving loans under the ABL
Documents exceeding the ABL Cap.

               (b)    The ABL Agent, on behalf of itself and the ABL Secured Parties, hereby
agrees that, without affecting the obligations of the ABL Agent and the ABL Secured Parties
hereunder, the Parent Facility Agent and the Parent Facility Secured Parties may, at any time and
from time to time, in their sole discretion without the consent of or notice to the ABL Agent or
any ABL Secured Party (except to the extent such notice or consent is required pursuant to the




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express provisions of this Agreement), and without incurring any liability to the ABL Agent or
any ABL Secured Party or impairing or releasing the subordination provided for herein, amend,
restate, supplement, replace, refinance, extend, consolidate, restructure, or otherwise modify any
of the Parent Facility Documents in any manner whatsoever, other than in a manner which would
have the effect of contravening the terms of this Agreement and in addition, absent the prior
written consent of ABL Agent, no Parent Facility Secured Party shall consent to any amendment,
modification or waiver to the Parent Facility Documents (or to any refinancing thereof permitted
herein) that:

               (i)      except as permitted under the Parent Facility Documents (as in effect on
the date hereof), contractually subordinates the Liens of the Parent Facility Secured Parties in the
Parent Facility Priority Collateral to any other secured obligations of Grantors secured by Liens
in the Parent Facility Priority Collateral, or

               (ii)   changes to earlier dates any scheduled dates (including the maturity date)
for the payment of principal or interest with respect to the Parent Facility Obligations (from that
in effect on the date hereof), other than as a result of the acceleration of the Parent Facility
Obligations in accordance with the terms of the Parent Facility Documents.

               (c)    In addition, each ABL Agent, for and on behalf of itself and the ABL
Secured Parties and each Parent Facility Agent, for and on behalf of itself and the Parent Facility
Secured Parties, agrees that each ABL Collateral Document and/or each Parent Facility
Collateral Document, as applicable, consisting of a mortgage covering any Collateral consisting
of real estate shall contain language appropriate to reflect the subordination of such ABL
Collateral Document and/or Parent Facility Collateral Document, as applicable, covering such
Collateral.

               (d)     Subject to Sections 5.2(a) and 5.2(b), the ABL Obligations and, the Parent
Facility Obligations may be refunded, replaced or refinanced, in whole or in part, in each case,
without notice to, or the consent (except to the extent a consent is required to permit the
refunding, replacement or refinancing transaction under any ABL Document or any Parent
Facility Document) of the ABL Agent, the ABL Secured Parties, the Parent Facility Agent or the
Parent Facility Secured Parties, as the case may be, all without affecting the Lien Priorities
provided for herein or the other provisions hereof; provided, however, that the holders of such
new, amended, restructured or refinancing indebtedness (or an authorized agent or trustee on
their behalf) bind themselves in writing to the terms of this Agreement pursuant to such
documents or agreements (including amendments or supplements to this Agreement) as the ABL
Agent or the Parent Facility Agent, as the case may be, shall reasonably request and in form and
substance reasonably acceptable to the ABL Agent or the Parent Facility Agent, as the case may
be, and any such increase, restatement, amendment and restatement, supplement, modification,
replacement, restructuring, amendment or refinancing transaction shall be in accordance with
any applicable provisions of both the ABL Documents and the Parent Facility Documents (to the
extent such documents survive such increase, restatement, amendment and restatement,
supplement, modification, replacement, restructuring, amendment or refinancing). ABL Agent
and Parent Facility Agent each (i) will use its commercially reasonable efforts to notify the other
parties of any written amendment or modification to any ABL Document or any Parent Facility
Document, as applicable, but the failure to do so will not create a cause of action against the




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party failing to give such notice or create any claim or right on behalf of any third party or
impact the effectiveness of any such amendment or modification, and (ii) will, upon request of
the other party, provide copies of all such modifications or amendments and copies of all other
relevant documentation to the other Persons.

               Section 5.3 Reinstatement and Continuation of Agreement. (a) If the ABL Agent
or any ABL Secured Party is required in any Insolvency Proceeding or otherwise to turn over or
otherwise pay to the estate of any Credit Party (or any trustee, receiver or similar person
therefor), because the payment of such amount was declared to be fraudulent or preferential in
any respect or for any other reason, any amount (an “ABL Recovery”), whether received as
proceeds of security, enforcement of any right of setoff or otherwise, then as among the parties
hereto the ABL Obligations shall be deemed to be reinstated to the extent of such ABL Recovery
and to be outstanding as if such payment had not occurred and the ABL Secured Parties shall be
entitled, to the extent they are entitled hereunder, to a Discharge of ABL Obligations with
respect to all such recovered amounts and shall have all rights hereunder until such time. If this
Agreement shall have been terminated prior to such ABL Recovery, this Agreement shall be
reinstated in full force and effect, and such prior termination shall not diminish, release,
discharge, impair or otherwise affect the obligations of the parties hereto. All rights, interests,
agreements, and obligations of the ABL Agent, the Parent Facility Agent, the ABL Secured
Parties and, the Parent Facility Secured Parties under this Agreement shall remain in full force
and effect and shall continue irrespective of the commencement of, or any discharge,
confirmation, conversion, or dismissal of, any Insolvency Proceeding by or against any Credit
Party or any other circumstance which otherwise might constitute a defense available to, or a
discharge of any Credit Party in respect of the ABL Obligations, or the Parent Facility
Obligations. No priority or right of the ABL Agent or any ABL Secured Party shall at any time
be prejudiced or impaired in any way by any act or failure to act on the part of any Credit Party
or by the noncompliance by any Person with the terms, provisions, or covenants of any of the
ABL Documents, regardless of any knowledge thereof which the ABL Agent or any ABL
Secured Party may have.

               (b)     If the Parent Facility Agent or any Parent Facility Secured Party is
required in any Insolvency Proceeding or otherwise to turn over or otherwise pay to the estate of
any Credit Party (or any trustee, receiver or similar person therefor), because the payment of
such amount was declared to be fraudulent or preferential in any respect or for any other reason,
any amount (a “Parent Facility Recovery”), whether received as proceeds of security,
enforcement of any right of setoff or otherwise, then as among the parties hereto the Parent
Facility Obligations shall be deemed to be reinstated to the extent of such Parent Facility
Recovery and to be outstanding as if such payment had not occurred and the Parent Facility
Secured Parties shall be entitled to a Discharge of Parent Facility Obligations with respect to all
such recovered amounts and shall have all rights hereunder until such time. If this Agreement
shall have been terminated prior to such Parent Facility Recovery, this Agreement shall be
reinstated in full force and effect, and such prior termination shall not diminish, release,
discharge, impair or otherwise affect the obligations of the parties hereto. All rights, interests,
agreements, and obligations of the ABL Agent, the Parent Facility Agent, the ABL Secured
Parties, and the Parent Facility Secured Parties under this Agreement shall remain in full force
and effect and shall continue irrespective of the commencement of, or any discharge,
confirmation, conversion, or dismissal of, any Insolvency Proceeding by or against any Credit



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Party or any other circumstance which otherwise might constitute a defense available to, or a
discharge of any Credit Party in respect of the ABL Obligations, or the Parent Facility
Obligations. No priority or right of the Parent Facility Agent or any Parent Facility Secured
Party shall at any time be prejudiced or impaired in any way by any act or failure to act on the
part of any Credit Party or by the noncompliance by any Person with the terms, provisions, or
covenants of any of the Parent Facility Documents, regardless of any knowledge thereof which
the Parent Facility Agent or any Parent Facility Secured Party may have.

                                            ARTICLE 6

                                      Insolvency Proceedings

               Section 6.1 DIP Financing. (a) If any Credit Party shall be subject to any
Insolvency Proceeding at any time prior to the Discharge of ABL Obligations, and the ABL
Agent or any ABL Credit Agreement Lenders shall agree to provide any Credit Party with, or
consent to a third party providing any Credit Party with, any financing under Section 364 of the
Bankruptcy Code or consent to any order for the use of cash collateral constituting ABL Priority
Collateral under Section 363 of the Bankruptcy Code (“DIP Financing”), with such DIP
Financing to be secured by all or any portion of the Collateral (including assets that, but for the
application of Section 552 of the Bankruptcy Code would be Collateral), then the Parent Facility
Agent, on behalf of itself and the Parent Facility Secured Parties, agrees that it will raise no
objection, and will not directly or indirectly support or act in concert with any other party in
raising an objection, to such DIP Financing or to the Liens securing the same on the grounds of a
failure to provide “adequate protection” for the Liens of the Parent Facility Agent securing the
Parent Facility Obligations or on any other grounds (and will not request any adequate protection
solely as a result of such DIP Financing), will subordinate its Liens in the ABL Priority
Collateral and in any other assets (other than Parent Facility Priority Collateral) of the Credit
Parties that may serve as collateral (including avoidance actions or the proceeds thereof) for such
DIP Financing (including any carveouts for US Trustee or professional fees or adequate
protection liens granted in connection therewith, in each case, approved by a court of competent
jurisdiction) to the Liens securing such DIP Financing, so long as (i) the Parent Facility Agent
retains its Lien on the Collateral to secure the Parent Facility Obligations (in each case, including
Proceeds thereof arising after the commencement of the case under the Bankruptcy Code) and, as
to the Parent Facility Priority Collateral only, such Lien has the same priority as existed prior to
the commencement of the case under the Bankruptcy Code and any Lien securing such DIP
Financing is junior and subordinate to the Lien of the Parent Facility Agent on the Parent Facility
Priority Collateral, (ii) all Liens on ABL Priority Collateral securing any such DIP Financing
shall be senior to or on a parity with the Liens of the ABL Agent and the ABL Secured Parties
securing the ABL Obligations on ABL Priority Collateral, (iii) the sum of the principal amount
(and any related commitments therefor) of such DIP Financing plus the principal amount of
loans outstanding under the ABL Credit Agreement does not exceed the ABL Cap, and (iv) if the
ABL Agent and/or any ABL Secured Party receives an adequate protection Lien on post-petition
assets of the debtor to secure the ABL Obligations, the Parent Facility Agent also receives an
adequate protection Lien on such post-petition assets of the debtor to secure the Parent Facility
Obligations; provided that (x) such Liens in favor of the ABL Agent and the Parent Facility
Agent shall be subject to the provisions of Section 6.1(b) hereof and (y) the foregoing provisions
of this Section 6.1(a) shall not prevent the Parent Facility Agent and the Parent Facility Secured



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Parties from objecting to any provision in any DIP Financing relating to any provision or content
of a plan of reorganization.

                (b)   All Liens granted to the ABL Agent or the Parent Facility Agent in any
Insolvency Proceeding, whether as adequate protection or otherwise, are intended by the Parties
to be and shall be deemed to be subject to the Lien Priority and the other terms and conditions of
this Agreement; provided, however, that the foregoing shall not alter the super-priority of any
Liens securing any DIP Financing in accordance with this Section 6.1.

               Section 6.2 Relief From Stay. Until the Discharge of ABL Obligations, the Parent
Facility Agent, on behalf of itself and the Parent Facility Secured Parties, represented thereby,
agrees not to seek relief from the automatic stay or any other stay in any Insolvency Proceeding
in respect of any portion of the ABL Priority Collateral without the ABL Agent’s express written
consent. Until the Discharge of Parent Facility Obligations, the ABL Agent, on behalf of itself
and the ABL Secured Parties, agrees not to seek relief from the automatic stay or any other stay
in any Insolvency Proceeding in respect of any portion of the Parent Facility Priority Collateral
without the Parent Facility Agent’s express written consent.

               Section 6.3 No Contest. (a) The Parent Facility Agent, on behalf of itself and the
Parent Facility Secured Parties, agrees that, prior to the Discharge of ABL Obligations, none of
them shall contest (or directly or indirectly support any other Person contesting) (i) any request
by the ABL Agent or any ABL Secured Party for adequate protection of its interest in the
Collateral (unless in contravention of Section 6.1) or (ii) any objection by the ABL Agent or any
ABL Secured Party to any motion, relief, action or proceeding based on a claim by the ABL
Agent or any ABL Secured Party that its interests in the Collateral (unless in contravention of
Section 6.1) are not adequately protected (or any other similar request under any law applicable
to an Insolvency Proceeding), so long as (x) any Liens granted to the ABL Agent as adequate
protection of its interests are subject to this Agreement and (y) any post-petition interest, fees or
expenses as a result of any interest in the Collateral are not paid from the proceeds of Parent
Facility Priority Collateral.

                 (b)    The ABL Agent, on behalf of itself and the ABL Secured Parties, agrees
that, prior to the Discharge of Parent Facility Obligations, none of them shall contest (or directly
or indirectly support any other Person contesting) (i) any request by the Parent Facility Agent or
any Parent Facility Secured Party for adequate protection of its interest in the Collateral as long
as (x) the ABL Agent retains its Lien on the Collateral to secure the ABL Obligations (in each
case, including Proceeds thereof arising after the commencement of the case under the
Bankruptcy Code) and, as to the ABL Priority Collateral only, such Lien has the same priority as
existed prior to the commencement of the case under the Bankruptcy Code or similar Bankruptcy
Law and (y) if the Parent Facility Agent and/or any Parent Facility Secured Party receives an
adequate protection Lien on post-petition assets of the debtor to secure the Parent Facility
Obligations, the ABL Agent also receives an adequate protection Lien on such post-petition
assets of the debtor to secure the ABL Obligations; provided that such Liens in favor of the ABL
Agent and the Parent Facility Agent shall be subject to the provisions of Section 6.1(b) hereof or
(ii) any objection by the Parent Facility Agent or any Parent Facility Secured Party to any
motion, relief, action or proceeding based on a claim by the Parent Facility Agent or any Parent
Facility Secured Party that its interests in the Collateral (unless in contravention of clauses (i)(x)




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and (i)(y) above) are not adequately protected (or any other similar request under any law
applicable to an Insolvency Proceeding), so long as (x) any Liens granted to the Parent Facility
Agent as adequate protection of its interests are subject to this Agreement and (y) any post-
petition interest, fees or expenses as a result of any interest in the Collateral are not paid from the
proceeds of ABL Priority Collateral.

               Section 6.4 Asset Sales. The Parent Facility Agent agrees, on behalf of itself and
the Parent Facility Secured Parties, represented thereby, that it will not oppose any sale
consented to by the ABL Agent of any ABL Priority Collateral pursuant to Section 363(f) of the
Bankruptcy Code (or any similar provision under the law applicable to any Insolvency
Proceeding) so long the Liens of the parties attach to the proceeds of such sale consistent with
the Lien Priority on the assets sold and as the proceeds of such sale are otherwise applied in
accordance with this Agreement. The ABL Agent agrees, on behalf of itself and the ABL
Secured Parties, that it will not oppose any sale consented to by the Parent Facility Agent, of any
Parent Facility Priority Collateral pursuant to Section 363(f) of the Bankruptcy Code (or any
similar provision under the law applicable to any Insolvency Proceeding) so long (i) the Liens of
the parties attach to the proceeds of such sale consistent with the Lien Priority on the assets sold
and as the proceeds of such sale are otherwise applied in accordance with this Agreement and (ii)
the purchaser assumes and agrees to the provisions of Section 3.3.

               Section 6.5 Separate Grants of Security and Separate Classification. Each Parent
Facility Secured Party and the Parent Facility Agent on the one hand, and each ABL Secured
Party and the ABL Agent, on the other hand, acknowledges and agrees that (i) the grants of
Liens pursuant to the ABL Collateral Documents and the Parent Facility Collateral Documents
constitute separate and distinct grants of Liens and (ii) because of, among other things, their
differing rights in the Collateral and, the Parent Facility Obligations are fundamentally different
from the ABL Obligations and must be separately classified in any plan of reorganization
proposed or adopted in an Insolvency Proceeding. To further effectuate the intent of the Parties
as provided in the immediately preceding sentence, if it is held that the claims of the ABL
Secured Parties and, on the one hand, and the Parent Facility Secured Parties, on the other hand,
in respect of the Collateral constitute only one secured claim (rather than separate classes of
senior and junior secured claims), then the ABL Secured Parties, the Parent Facility Secured
Parties hereby acknowledge and agree that all distributions shall be made as if there were
separate classes of ABL Obligation claims and Parent Facility Obligation claims against the
Credit Parties (with the effect being that, to the extent that the aggregate value of the ABL
Priority Collateral or the Parent Facility Priority Collateral is sufficient (for this purpose ignoring
all claims held by the other Secured Parties), the ABL Secured Parties or the Parent Facility
Secured Parties respectively, shall be entitled to receive, in addition to amounts distributed to
them in respect of principal, pre-petition interest and other claims, all amounts owing in respect
of post-petition interest that is available from each pool of Priority Collateral for each of the
ABL Secured Parties, on the one hand, and the Parent Facility Secured Parties, on the other hand,
before any distribution is made from the applicable pool of Priority Collateral in respect of the
claims held by the other Secured Parties, with the other Secured Parties hereby acknowledging
and agreeing to turn over to the respective other Secured Parties amounts otherwise received or
receivable by them from the applicable pool of Priority Collateral to the extent necessary to
effectuate the intent of this sentence, even if such turnover has the effect of reducing the
aggregate recoveries).



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              Section 6.6 Enforceability. The provisions of this Agreement are intended to be
and shall be enforceable under Section 510(a) of the Bankruptcy Code.

               Section 6.7 ABL Obligations Unconditional. All rights of the ABL Agent
hereunder, and all agreements and obligations of the Parent Facility Agent, and the Credit Parties
(to the extent applicable) hereunder, shall remain in full force and effect irrespective of:

               (i)     any lack of validity or enforceability of any ABL Document;

               (ii)  any change in the time, place or manner of payment of, or in any other
term of, all or any portion of the ABL Obligations, or any amendment, waiver or other
modification, whether by course of conduct or otherwise, or any refinancing, replacement,
refunding or restatement of any ABL Document (but solely to the extent permitted pursuant to
Section 5.2(a));

                (iii) any exchange, release, voiding, avoidance or non-perfection of any
security interest in any Collateral or any other collateral, or any release, amendment, waiver or
other modification, whether by course of conduct or otherwise, or any refinancing, replacement,
refunding, restatement or increase of all or any portion of the ABL Obligations or any guarantee
thereof;

              (iv)   the commencement of any Insolvency Proceeding in respect of any
Borrower or any Credit Party; or

                (v)    any other circumstances that otherwise might constitute a defense
available to, or a discharge of, any Credit Party in respect of the ABL Obligations, or of any of
the Parent Facility Agent or any Credit Party, to the extent applicable, in respect of this
Agreement.

               Section 6.8 Parent Facility Obligations Unconditional. All rights of the Parent
 Facility Agent hereunder, and all agreements and obligations of the ABL Agent, and the Credit
 Parties (to the extent applicable) hereunder, shall remain in full force and effect irrespective of:

               (i)     any lack of validity or enforceability of any Parent Facility Document;

                (ii)   any change in the time, place or manner of payment of, or in any other
term of, all or any portion of the Parent Facility Obligations, or any amendment, waiver or other
modification, whether by course of conduct or otherwise, or any refinancing, replacement,
refunding or restatement of any Parent Facility Document (but solely to the extent permitted
pursuant to Section 5.2(b));

                (iii) any exchange, release, voiding, avoidance or non-perfection of any
security interest in any Collateral, or any other collateral, or any release, amendment, waiver or
other modification, whether by course of conduct or otherwise, or any refinancing, replacement,
refunding, restatement or increase of all or any portion of the Parent Facility Obligations or any
guarantee thereof;




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              (iv)   the commencement of any Insolvency Proceeding in respect of any
Borrower or any Credit Party; or

                (v)     any other circumstances that otherwise might constitute a defense
available to, or a discharge of, any Credit Party in respect of the Parent Facility Obligations, or of
any of the ABL Agent or any Credit Party, to the extent applicable, in respect of this Agreement.

              Section 6.9 [Reserved].

               Section 6.10 Adequate Protection. Except to the extent expressly provided in
Section 6.1, Section 6.3, and this Section 6.10, nothing in this Agreement shall limit the rights of
(x) the ABL Agent and the ABL Secured Parties or (y) the Parent Facility Agent and the Parent
Facility Secured Parties, respectively, from seeking or requesting adequate protection with
respect to their interests in the Collateral in any Insolvency Proceeding, including adequate
protection in the form of a cash payment, periodic cash payments, cash payments of interest,
additional collateral or otherwise; provided that:

                (a)     in the event that the ABL Agent, on behalf of itself or any of the ABL
Secured Parties, seeks or requests adequate protection in respect of the ABL Obligations and
such adequate protection is granted in the form of a Lien on additional collateral comprising
assets of the type of assets that constitute Parent Facility Priority Collateral, then the ABL Agent,
on behalf of itself and each of the ABL Secured Parties, agrees that the Parent Facility Agent
shall also be granted a senior Lien on such collateral as security for the Parent Facility
Obligations and that any Lien on such collateral securing the ABL Obligations shall be
subordinate to any Lien on such collateral securing the Parent Facility Obligations, and

               (b)     in the event that the Parent Facility Agent, on behalf of itself or any of the
Parent Facility Secured Parties, seeks or requests adequate protection in respect of the Parent
Facility Obligations and such adequate protection is granted in the form of a Lien on additional
collateral comprising assets of the type of assets that constitute ABL Priority Collateral, then the
Parent Facility Agent, on behalf of itself and each of the Parent Facility Secured Parties, agrees
that the ABL Agent shall also be granted a senior Lien on such collateral as security for the ABL
Obligations and that any Lien on such collateral securing the Parent Facility Obligations shall be
subordinate to the Lien on such collateral securing the ABL Obligations.

              Section 6.11 Plan of Reorganization.

                (a)    If, in any Insolvency Proceeding, debt obligations of any reorganized
Grantor secured by Liens upon any property of the reorganized Grantor are distributed or
reinstated (in whole or in part) pursuant to a plan of reorganization, both on account of the ABL
Obligations and on account of the Parent Facility Obligations, then, to the extent the debt
obligations distributed on account of the ABL Obligations and on account of the Parent Facility
Obligations are secured by Liens upon the same property, the relative Lien priorities and other
provisions of this Agreement will survive the distribution of such debt obligations pursuant to
such plan of reorganization and will apply with like effect to the Liens securing such debt
obligations.




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               (b)      The ABL Agent, for itself and on behalf of the other ABL Secured Parties,
and the Parent Facility Agent, for itself and on behalf of the other Parent Facility Secured Parties,
agrees that neither it nor its related Secured Parties shall (i) take or support any other Person in
taking any action that is inconsistent with the relative Lien priorities or other provisions of this
Agreement or (ii) without the written consent of each other Agent, propose, vote for, or
otherwise support directly or indirectly any plan of organization or liquidation (or similar plan in
an Insolvency Proceeding) whose provisions are inconsistent with, or in contravention of, the
relative Lien priorities or other provisions of this Agreement, including Sections 2.1, 4.1 and 6.1
(and, in the event of any such proposal, vote or other support of an inconsistent or contravening
plan of reorganization or liquidation (or similar plan) by any class of Secured Parties, the Agent
representing any other class of Secured Parties shall be entitled to have any such proposal, vote
or support changed or withdrawn).

              Section 6.12 Section 1111(b) of the Bankruptcy Code.

                (a)     The ABL Agent, for itself and on behalf of the ABL Secured Parties,
agrees that neither it nor the ABL Secured Parties shall object to or oppose (or support any other
Person objecting to or opposing), or take any other action to impede, in any Insolvency
Proceeding, the right of any Parent Facility Secured Party to make an election under Section
1111(b)(2) of the Bankruptcy Code with respect to the Parent Facility Priority Collateral. The
ABL Agent, for itself and the other ABL Secured Parties waives any claim it or the ABL
Secured Parties may hereafter have against any Parent Facility Secured Party arising out of (a)
the election by such Parent Facility Secured Party of the application of Section 1111(b)(2) of the
Bankruptcy Code or (b) any cash collateral or financing arrangement, and any related grant of a
security interest in the Parent Facility Priority Collateral, made in accordance with Section 6.1 in
any Insolvency Proceeding.

                (b)    The Parent Facility Agent, for itself and on behalf of the Parent Facility
Secured Parties, each agrees that neither it nor the Secured Parties it represents shall object to or
oppose (or support any other Person objecting to or opposing), or take any other action to
impede, in any Insolvency Proceeding, the right of any ABL Secured Party to make an election
under Section 1111(b)(2) of the Bankruptcy Code with respect to the ABL Priority Collateral.
The Parent Facility Agent, for itself and the other Parent Facility Secured Parties, waives any
claim it or the Secured Parties it represents may hereafter have against any ABL Secured Party
arising out of (a) the election by such ABL Secured Party of the application of Section
1111(b)(2) of the Bankruptcy Code or (b) any cash collateral or financing arrangement, and any
related grant of a security interest in the Parent Facility Priority Collateral, made in accordance
with Section 6.1 in any Insolvency Proceeding.

                                            ARTICLE 7

                                           Miscellaneous

               Section 7.1 Rights of Subrogation. The Parent Facility Agent, for and on behalf
of itself and the Parent Facility Secured Parties, agrees that no payment by the Parent Facility
Agent or any Parent Facility Secured Party to the ABL Agent or any ABL Secured Party
pursuant to the provisions of this Agreement shall entitle the Parent Facility Agent or any Parent




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Facility Secured Party to exercise any rights of subrogation in respect thereof until the Discharge
of ABL Obligations shall have occurred. Following the Discharge of ABL Obligations, the ABL
Agent agrees to execute such documents, agreements, and instruments as the Parent Facility
Agent or any Parent Facility Secured Party may reasonably request to evidence the transfer by
subrogation to any such Person of an interest in the ABL Obligations resulting from payments to
the ABL Agent by such Person, so long as all costs and expenses (including all reasonable legal
fees and disbursements) incurred in connection therewith by the ABL Agent are paid by such
Person upon request for payment thereof.

                The ABL Agent, for and on behalf of itself and the ABL Secured Parties, agrees
that no payment by the ABL Agent or any ABL Secured Party to the Parent Facility Agent or
any Parent Facility Secured Party pursuant to the provisions of this Agreement shall entitle the
ABL Agent or any ABL Secured Party to exercise any rights of subrogation in respect thereof
until the Discharge of Parent Facility Obligations shall have occurred. Following the Discharge
of Parent Facility Obligations, the Parent Facility Agent agrees to execute such documents,
agreements, and instruments as the ABL Agent or any ABL Secured Party may reasonably
request to evidence the transfer by subrogation to any such Person of an interest in the Parent
Facility Obligations resulting from payments to the Parent Facility Agent by such Person, so
long as all costs and expenses (including all reasonable legal fees and disbursements) incurred in
connection therewith by the Parent Facility Agent are paid by such Person upon request for
payment thereof.

               Section 7.2 Further Assurances. The Parties will, at their own expense and at any
time and from time to time, promptly execute and deliver all further instruments and documents,
and take all further action, that may be necessary or desirable, or that any Party may reasonably
request, in order to protect any right or interest granted or purported to be granted hereby or to
enable such Party to exercise and enforce its rights and remedies hereunder; provided, however,
that no Party shall be required to pay over any payment or distribution, execute any instruments
or documents, or take any other action referred to in this Section 7.2, to the extent that such
action would contravene any law, order or other legal requirement or any of the terms or
provisions of this Agreement, and in the event of a controversy or dispute, such Party may
interplead any payment or distribution in any court of competent jurisdiction, without further
responsibility in respect of such payment or distribution under this Section 7.2.

               Section 7.3 Representations. The Parent Facility Agent represents and warrants to
the ABL Agent that it has the requisite power and authority under the Parent Facility Documents
to enter into, execute, deliver, and carry out the terms of this Agreement on behalf of itself and
the Parent Facility Secured Parties. The ABL Agent represents and warrants to the Parent
Facility Agent that it has the requisite power and authority under the ABL Documents to enter
into, execute, deliver, and carry out the terms of this Agreement on behalf of itself and the ABL
Secured Parties.

              Section 7.4 Amendments. (a) No amendment, modification or waiver of any
  provision of this Agreement, and no consent to any departure by any Party hereto, shall be
  effective unless it is in a written agreement executed by (i) prior to the Discharge of Parent
     Facility Obligations, the Parent Facility Agent, and (ii) prior to the Discharge of ABL
 Obligations, the ABL Agent. Any amendment, modification or waiver of any provision of this




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Agreement that would have the effect, directly or indirectly, through any reference in any Credit
 Document to this Agreement or otherwise, of waiving, amending, supplementing or otherwise
modifying any Credit Document, or any term or provision thereof, or any right or obligation of
the Company or any other Credit Party thereunder or in respect thereof, shall not be given such
effect except pursuant to a written instrument executed by the Company and each other affected
                                           Credit Party.

                (b)    In the event that the ABL Agent enters into any amendment, waiver or
consent in respect of or replacing any ABL Collateral Document for the purpose of adding to or
waiving or consenting to any departure from any provisions of, any ABL Collateral Document
relating to the ABL Priority Collateral or changing in any manner the rights of the ABL Agent,
the ABL Secured Parties, or any Credit Party with respect to the ABL Priority Collateral, then
such amendment, waiver or consent shall apply automatically to any comparable provision of
each Parent Facility Collateral Document, in each case without the consent of, or any action by,
any Parent Facility Agent or any Parent Facility Secured Party, as applicable; provided, that such
amendment, waiver or consent does not adversely affect the rights of the Parent Facility Secured
Parties, or the interests of the Parent Facility Secured Parties, in the Parent Facility Priority
Collateral or release the Liens securing the Parent Facility Obligations in the ABL Priority
Collateral other than as set forth in Section 2.4(d). The ABL Agent shall give written notice of
such amendment, waiver or consent to the Parent Facility Agent; provided that the failure to give
such notice shall not affect the effectiveness of such amendment, waiver or consent with respect
to the provisions of any Parent Facility Collateral Document as set forth in this Section 7.4(b).

                (c)    In the event that the Parent Facility Agent enters into any amendment,
waiver or consent in respect of or replacing any Parent Facility Collateral Document for the
purpose of adding to or waiving or consenting to any departures from any provisions of, any
Parent Facility Collateral Document relating to the Parent Facility Priority Collateral or changing
in any manner the rights of the Parent Facility Agent, the Parent Facility Secured Parties, or any
Credit Party with respect to the Parent Facility Priority Collateral, then such amendment, waiver
or consent shall apply automatically to any comparable provision of each ABL Collateral
Document without the consent of, or any action by, the ABL Agent or any ABL Secured Party;
provided, that such amendment, waiver or consent does not adversely affect the rights or
interests of the ABL Secured Parties in the ABL Priority Collateral or release the Liens securing
the ABL Obligations in the Parent Facility Priority Collateral other than as set forth in Section
2.4(d). The Parent Facility Agent shall give written notice of such amendment, waiver or
consent to the ABL Agent; provided that the failure to give such notice shall not affect the
effectiveness of such amendment, waiver or consent with respect to the provisions of any ABL
Collateral Document as set forth in this Section 7.4(c).

               Section 7.5 Addresses for Notices. Unless otherwise specifically provided herein,
any notice or other communication herein required or permitted to be given shall be in writing
and may be personally served, faxed, sent by electronic mail or sent by overnight express courier
service or United States mail and shall be deemed to have been given when delivered in person
or by courier service, upon receipt of a facsimile or, in the case of an electronic mail, when sent
(except that, if not given during normal business hours for the recipient, shall be deemed to have
been given at the opening of business on the next Business Day for the recipient) or five (5) days
after deposit in the United States mail (certified, with postage prepaid and properly addressed).



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For the purposes hereof, the addresses of the parties hereto (until notice of a change thereof is
delivered as provided in this Section) shall be as set forth below or, as to each party, at such
other address as may be designated by such party in a written notice to all of the other parties.

               ABL Agent:                    Encina Business Credit, LLC
                                             123 N. Wacker Drive, Suite 2400
                                             Chicago, Illinois 60606
                                             Attention: Account Manager
                                             E-mail: tsullivan@encinabc.com

               Parent Facility Agent:        HSBC Bank Canada
                                             5th Floor, 70 York Street
                                             Toronto, Ontario
                                             M5J 1S9
                                             Attention: Director
                                             E-mail:

               Section 7.6 No Waiver, Remedies. No failure on the part of any Party to exercise,
and no delay in exercising, any right hereunder shall operate as a waiver thereof; nor shall any
single or partial exercise of any right hereunder preclude any other or further exercise thereof or
the exercise of any other right. The remedies herein provided are cumulative and not exclusive
of any remedies provided by law.

              Section 7.7 Continuing Agreement, Transfer of Secured Obligations. This
Agreement is a continuing agreement and shall (a) remain in full force and effect until the earlier
to occur of (i) the Discharge of ABL Obligations and (ii) the Discharge of Parent Facility
Obligations, (b) be binding upon the Parties and their successors and assigns, and (c) inure to the
benefit of and be enforceable by the Parties and their respective successors, permitted transferees
and permitted assigns. Nothing herein is intended, or shall be construed to give, any other
Person any right, remedy or claim under, to or in respect of this Agreement or any Collateral,
subject to Section 7.10 hereof. All references to any Credit Party shall include any Credit Party
as debtor-in-possession and any receiver or trustee for such Credit Party in any Insolvency
Proceeding. The ABL Agent, any ABL Secured Party, the Parent Facility Agent, or any Parent
Facility Secured Party, may assign or otherwise transfer all or any portion of the ABL
Obligations or, the Parent Facility Obligations, as applicable, to any other Person (other than a
Credit Party, a Parent Facility Credit Party or an Affiliate of any such Person), and such other
Person shall thereupon become vested with all the rights and obligations in respect thereof
granted to the ABL Agent, the Parent Facility Agent, such ABL Secured Party or, such Parent
Facility Secured Party, as the case may be, herein or otherwise. No such assignment or transfer
may be made to a Credit Party, and Parent Facility Credit Party or an Affiliate of any such
Person, and any such assignment or transfer shall be void. The ABL Secured Parties and, the
Parent Facility Secured Parties may continue, at any time and without notice to the other Parties
hereto, to extend credit and other financial accommodations, lend monies and provide
indebtedness to, or for the benefit of, any Credit Party on the faith hereof.

             Section 7.8 Governing Law: Entire Agreement. The validity, performance, and
enforcement of this Agreement shall be governed by, and construed in accordance with, the laws



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of the State of New York. This Agreement constitutes the entire agreement and understanding
among the Parties with respect to the subject matter hereof and supersedes any prior agreements,
written or oral, with respect thereto.

              Section 7.9 Counterparts. This Agreement may be executed in any number of
counterparts (including by telecopy and other electronic transmission), and it is not necessary
that the signatures of all Parties be contained on any one counterpart hereof, each counterpart
will be deemed to be an original, and all together shall constitute one and the same document.

               Section 7.10 No Third Party Beneficiaries. This Agreement and the rights and
benefits hereof shall inure to the benefit of each of the parties hereto and its respective successors
and assigns and shall inure to the benefit of each of the ABL Agent, the ABL Secured Parties,
the Parent Facility Agent, the Parent Facility Secured Parties, and, with respect to Sections
2.4(d), 5.2 and 7.4, the Company and the other Credit Parties. No other Person shall have or be
entitled to assert rights or benefits hereunder.

              Section 7.11 Provisions Solely to Define Relative Rights. The provisions of this
Agreement are and are intended solely for the purpose of defining the relative rights of the ABL
Secured Parties, on the one hand, and the Parent Facility Secured Parties, on the other hand.
Nothing in this Agreement is intended to or shall impair the rights of the Company or any other
Credit Party, or the obligations of the Company or any other Credit Party to pay the ABL
Obligations, the Parent Facility Obligations as and when the same shall become due and payable
in accordance with their terms (such obligations to pay being absolute and unconditional).

             Section 7.12 Headings. The headings of the articles and sections of this
Agreement are inserted for purposes of convenience only and shall not be construed to affect the
meaning or construction of any of the provisions hereof.

              Section 7.13 Severability. Any provision of this Agreement which is prohibited or
unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such
prohibition or unenforceability without invalidating the remaining provisions hereof, and any
such prohibition or unenforceability in any jurisdiction shall not (i) invalidate or render
unenforceable such provision in any other jurisdiction or (ii) invalidate the Lien Priority or the
application of Proceeds and other priorities set forth in this Agreement.

              Section 7.14 Agents. It is understood and agreed that (i) Encina Business Credit,
LLC is entering into this Agreement in its capacity as agent under the ABL Credit Agreement
and the provisions of the ABL Credit Agreement applicable to Encina Business Credit, LLC as
collateral agent thereunder shall also apply to Encina Business Credit, LLC, as the ABL Agent
hereunder, and (ii) HSBC Bank Canada, is entering into this Agreement in its capacity as agent
under the Parent Facility Credit Agreement and the provisions of the Parent Facility Credit
Agreement applicable to HSBC Bank Canada, as collateral agent thereunder shall also apply to
HSBC Bank Canada, as the Parent Facility Agent hereunder.

         Section 7.15 VENUE; JURY TRIAL WAIVER. (a) EACH PARTY HERETO
HEREBY IRREVOCABLY AND UNCONDITIONALLY SUBMITS FOR ITSELF AND ITS
PROPERTY IN ANY LEGAL ACTION OR PROCEEDING RELATING TO THIS




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AGREEMENT TO THE EXCLUSIVE GENERAL JURISDICTION OF THE SUPREME
COURT OF THE STATE OF NEW YORK FOR THE COUNTY OF NEW YORK (THE
“NEW YORK SUPREME COURT”), AND THE UNITED STATES DISTRICT COURT FOR
THE SOUTHERN DISTRICT OF NEW YORK (THE “FEDERAL DISTRICT COURT,” AND
TOGETHER WITH THE NEW YORK SUPREME COURT, THE “NEW YORK COURTS”)
AND APPELLATE COURTS FROM EITHER OF THEM; PROVIDED THAT NOTHING IN
THIS AGREEMENT SHALL BE DEEMED OR OPERATE TO PRECLUDE (I) ANY PARTY
FROM BRINGING ANY LEGAL ACTION OR PROCEEDING IN ANY JURISDICTION
FOR THE RECOGNITION AND ENFORCEMENT OF ANY JUDGMENT, (II) IF ALL SUCH
NEW YORK COURTS DECLINE JURISDICTION OVER ANY PERSON, OR DECLINE (OR
IN THE CASE OF THE FEDERAL DISTRICT COURT, LACK) JURISDICTION OVER ANY
SUBJECT MATTER OF SUCH ACTION OR PROCEEDING, A LEGAL ACTION OR
PROCEEDING MAY BE BROUGHT WITH RESPECT THERETO IN ANOTHER COURT
HAVING JURISDICTION AND (III) IN THE EVENT A LEGAL ACTION OR
PROCEEDING IS BROUGHT AGAINST ANY PARTY HERETO OR INVOLVING ANY OF
ITS ASSETS OR PROPERTY IN ANOTHER COURT (WITHOUT ANY COLLUSIVE
ASSISTANCE BY SUCH PARTY OR ANY OF ITS SUBSIDIARIES OR AFFILIATES),
SUCH PARTY FROM ASSERTING A CLAIM OR DEFENSE (INCLUDING ANY CLAIM
OR DEFENSE THAT THIS SECTION 7.17(a) WOULD OTHERWISE REQUIRE TO BE
ASSERTED IN A LEGAL PROCEEDING IN A NEW YORK COURT) IN ANY SUCH
ACTION OR PROCEEDING.

(b) EACH PARTY HERETO HEREBY (I) WAIVES ITS RESPECTIVE RIGHTS TO A JURY
TRIAL OF ANY CLAIM OR CAUSE OF ACTION BASED UPON OR ARISING OUT OF
THIS AGREEMENT OR ANY OF THE TRANSACTIONS CONTEMPLATED HEREIN,
INCLUDING CONTRACT CLAIMS, TORT CLAIMS, BREACH OF DUTY CLAIMS, AND
ALL OTHER COMMON LAW OR STATUTORY CLAIMS, (II) CERTIFIES THAT NO
REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PARTY HAS
REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD
NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER
AND (III) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE
BEEN INDUCED TO ENTER INTO THIS AGREEMENT, BY, AMONG OTHER THINGS,
THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION 7.17(b). EACH
PARTY HERETO FURTHER REPRESENTS THAT IT HAS REVIEWED THIS WAIVER
AND IT KNOWINGLY AND VOLUNTARILY WAIVES ITS JURY TRIAL RIGHTS
FOLLOWING CONSULTATION WITH LEGAL COUNSEL.           IN THE EVENT OF
LITIGATION, A COPY OF THIS AGREEMENT MAY BE FILED AS A WRITTEN
CONSENT TO A TRIAL BY THE COURT.

(c) EACH PARTY TO THIS AGREEMENT IRREVOCABLY CONSENTS TO SERVICE OF
PROCESS IN THE MANNER PROVIDED FOR NOTICES IN SECTION 7.5. NOTHING IN
THIS AGREEMENT WILL AFFECT THE RIGHT OF ANY PARTY TO THIS AGREEMENT
TO SERVE PROCESS IN ANY OTHER MANNER PERMITTED BY LAW.

               Section 7.16 Intercreditor Agreement. This Agreement is the “Intercreditor
Agreement” referred to in the ABL Credit Agreement and, the “Intercreditor Agreement”
referred to in the Parent Facility Credit Agreement. Nothing in this Agreement shall be deemed



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to subordinate the right of any ABL Secured Party to receive payment to the right of any Parent
Facility Secured Party to receive payment or of any Parent Facility Secured Party to receive
payment to the right of any ABL Secured Party to receive payment (whether before or after the
occurrence of an Insolvency Proceeding), it being the intent of the Parties that this Agreement
shall effectuate a subordination of Liens as between the ABL Secured Parties, on the one hand,
and the Parent Facility Secured Parties, on the other hand, but not a subordination of
Indebtedness.

              Section 7.17 No Warranties or Liability. The Parent Facility Agent and, the ABL
Agent each acknowledges and agrees that none of the other Parties has made any representation
or warranty with respect to the execution, validity, legality, completeness, collectability or
enforceability of any other ABL Document or, any other Parent Facility Document. Except as
otherwise provided in this Agreement, the Parent Facility Agent, the ABL Agent will be entitled
to manage and supervise their respective extensions of credit to any Credit Party in accordance
with law and their usual practices, modified from time to time as they deem appropriate.

              Section 7.18 Conflicts. In the event of any conflict between the provisions of this
Agreement and the provisions of any ABL Document or, any Parent Facility Document, the
provisions of this Agreement shall govern. The parties hereto acknowledge that the terms of this
Agreement are not intended to negate any specific rights granted to, or obligations of, the
Company or any other Credit Party in the Parent Facility Documents or, the ABL Documents.

                Section 7.19 Information Concerning Financial Condition of the Credit Parties.
Neither the Parent Facility Agent nor the ABL Agent has any responsibility for keeping any
other Party informed of the financial condition of the Credit Parties or of other circumstances
bearing upon the risk of non-payment of the ABL Obligations or, the Parent Facility Obligations.
The Parent Facility Agent and, the ABL Agent hereby agree that no party shall have any duty to
advise any other party of information known to it regarding such condition or any such
circumstances. In the event the Parent Facility Agent or the ABL Agent, in its sole discretion,
undertakes at any time or from time to time to provide any information to any other party to this
Agreement, it shall be under no obligation (A) to provide any such information to such other
party or any other party on any subsequent occasion, (B) to undertake any investigation not a
part of its regular business routine, or (C) to disclose any other information.



                                    [Signature pages follow]




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                                  ACKNOWLEDGMENT

                 Each Credit Party hereby acknowledges that it has received a copy of this
  Agreement and consents thereto, agrees to recognize all rights granted thereby to the ABL
  Agent, the ABL Secured Parties, the Parent Facility Agent, and the Parent Facility Secured
  Parties, and will not do any act or perform any obligation which would be contrary to the
  express agreements set forth in this Agreement, including the granting of Liens in
  contravention of Section 2.5. Each Credit Party further acknowledges and agrees that it is
  not an intended beneficiary or third party beneficiary under this Agreement, except as
  expressly provided therein.

  CREDIT PARTIES:




                                               ANCHOR DRILLING FLUIDS, LLC


                                               By:

                                               Name: Christopher River~
                                               Tille: President and Chief Executive Officer




                      Signature Page to Intercreditor Agreement - Anchor
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                                                Annex I

                                     Specified Intellectual Property

  Owner/Registrant        Patent Name          Patent         Registration      Patent Application
                                             Registration        Date                Number
                                              Number
Anchor Drilling Fluids   Apparatus,        9352264          5/31/2016        13/896317
USA, LLC                 Methods and
                         Systems for
                         Removing
                         Particulate
                         Impurities from
                         Above a Shale
                         Shaker
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                   THIS IS EXHIBIT”_________
                      rf rred to in the Am4vit of
                      (O/’                ci
                   Sworn before me this              /
                   dayof                  A.D.2OO


                           /
                             Jonathan Tomm
                           Barrister and Solicitor
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                   THIS IS EXHIBIT”________
                      refrred to in the Affl4avit of


                   Sworn before me this            /
                   dayof


                             Jonathan Tomm
                           Bamster and Solicitor
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Qmax Solutions - Global Liquidity Summary                                                                                                                                                                                            DRAFT FOR DISCUSSION ONLY
Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                                                           04/15/20
Forecast Does Not Reflect Any HSBC Principal, Interest, or Borrowing Base True-up Payments

Forecast Status                                                      Fcst          Fcst          Fcst        Fcst        Fcst        Fcst        Fcst        Fcst        Fcst        Fcst        Fcst        Fcst        Fcst          Fcst            Fcst
13 Week Period                                                        1             2             3           4           5           6           7           8           9          10           11          12          13           14              14
Week Ending Date                                                     4/3           4/10          4/17        4/24        5/1         5/8         5/15        5/22        5/29        6/5         6/12        6/19        6/26          7/3             7/3
(All $'s in thousands)
Beginning Free Liquidity[1]                                           13,009        11,454        12,778        8,437       5,635       1,740         611     (1,046)     (1,456)     (3,188)     (4,242)     (5,584)     (6,267)      (10,534)         13,009
Beginning Total Liquidity[2]                                          15,404        14,161        15,380      10,731        7,642       4,629       3,128       1,599         820     (1,153)     (2,236)     (3,711)     (5,077)       (9,705)         15,404
Operating Cash Receipts                                                 7,217         7,437         6,203       6,002       6,568       5,495       5,811       7,042       6,159       5,840       5,848       5,821       5,379         4,763         85,587
Priority                                                               (2,550)       (1,635)       (5,396)     (3,952)     (4,048)     (2,039)     (3,010)     (3,451)     (3,901)     (2,431)     (2,165)     (3,064)     (5,919)       (2,310)        (45,872)
Vendors                                                                (5,028)       (4,240)       (5,174)     (4,755)     (4,541)     (4,781)     (3,868)     (3,457)     (3,719)     (3,718)     (3,165)     (3,139)     (3,269)       (2,958)        (55,810)
    Operating Disbursements                                           (7,577)       (5,875)      (10,570)     (8,707)     (8,589)     (6,820)     (6,878)     (6,908)     (7,620)     (6,149)     (5,330)     (6,203)     (9,189)       (5,268)       (101,683)
Net Operating Cash Flow                                                  (361)        1,562       (4,367)     (2,705)     (2,020)     (1,325)     (1,067)         134     (1,461)        (309)        518        (382)    (3,809)          (505)       (16,096)
Mandatory Financing                                                    (1,104)         (571)         (301)       (607)     (1,203)       (176)       (462)       (964)       (782)       (878)     (1,993)       (983)     (1,041)         (959)        (12,024)
    Non-Operating Cash Disbursements                                  (1,104)          (571)         (301)       (607)    (1,203)        (176)       (462)       (964)       (782)       (878)    (1,993)        (983)    (1,041)          (959)       (12,024)
Net Operating Cash Flow Before Voluntary Financing                    (1,465)           992       (4,668)     (3,311)     (3,224)     (1,501)     (1,529)       (830)     (2,243)     (1,187)     (1,475)     (1,365)     (4,850)       (1,464)        (28,120)
Voluntary Financing                                                      370         (1,716)         797       1,842       3,588          20          62        (260)       (390)         (99)      (726)        133          71           527           4,218
Net Cash Flow                                                         (1,095)          (724)      (3,872)     (1,470)        365      (1,481)     (1,467)     (1,090)     (2,632)     (1,286)     (2,201)     (1,233)     (4,780)         (937)        (23,901)
Ending Free Liquidity[1]                                              11,454        12,778         8,437       5,635       1,740         611      (1,046)     (1,456)     (3,188)     (4,242)     (5,584)     (6,267)    (10,534)      (12,042)        (12,042)
Ending Total Liquidity[2]                                             14,161        15,380        10,731       7,642       4,629       3,128       1,599         820      (1,153)     (2,236)     (3,711)     (5,077)     (9,705)      (11,168)        (11,168)

Current Forecast
ASK FROM HSBC - In Week (No Excess AP Catch-Up)                             0                0          0           0      3,260       1,129       1,656         410       1,732       1,055       1,342         683       4,267         1,508          17,042
ASK FROM HSBC - Cum (No Excess AP Catch-Up)                                 0                0          0           0      3,260       4,389       6,046       6,456       8,188       9,242      10,584      11,267      15,534        17,042

Prior Forecast: w/e 3.20 to w/e 6.12
ASK FROM HSBC - In Week (No Excess AP Catch-Up)                             0                0          0        932       5,995         757       1,572         509       2,291        958          852                                                13,866
ASK FROM HSBC - Cum (No Excess AP Catch-Up)                                 0                0          0        932       6,926       7,683       9,255       9,764      12,056     13,014       13,866

Cumulative Ask: Better / (Worse)                                            0                0          0        932       3,666       3,294       3,210       3,309       3,868       3,772       3,282
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Qmax Solutions - Global Liquidity Summary                                                                                                                                                                          DRAFT FOR DISCUSSION ONLY
Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                                          04/15/20
Forecast Does Not Reflect Any HSBC Principal, Interest, or Borrowing Base True-up Payments

(All $'s in thousands)

Forecast Status                                                        Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst        Fcst       Fcst       Fcst       Fcst         Fcst          Fcst
13 Week Period                                                          1          2          3          4          5          6          7          8          9          10         11         12         13           14            14
Week Ending Date                                                        4/3       4/10       4/17       4/24        5/1        5/8       5/15       5/22       5/29         6/5       6/12       6/19       6/26          7/3           7/3

Global Liquidity


Beginning Cash                                                         10,888      9,792      9,068      5,197      3,727      4,092      2,611      1,144            54    (2,578)    (3,864)    (6,065)    (7,298)     (12,077)      10,888

Net Operating Cash Flow
USA                                                                     (1,231)      (99)     (2,860)    (1,966)    (1,979)      (383)    (1,243)     (341)     (1,655)      (806)       (80)        (7)     (3,645)        (143)      (16,438)
Mexico                                                                     698       865        (778)      (278)      (502)       (88)       246       470         722        840        937        144         159         (228)        3,207
MEA                                                                        893       210        (177)      (499)       345        (85)      (281)       87        (327)      (311)      (158)        89        (370)        (104)         (689)
Canada                                                                     132        (2)        194          6        (65)      (377)       (74)        0         (83)        (3)        (8)       (58)         (8)          (4)         (350)
Colombia                                                                  (512)      977        (423)       385        876       (110)       558       283         277        314        215       (206)        326          297         3,255
   Total Net Operating Cash Flow                                           (21)    1,950      (4,045)    (2,353)    (1,325)    (1,043)      (795)      500      (1,067)        35        906        (38)     (3,537)        (183)      (11,014)

Non-Operating Disbursements
USA                                                                      (261)      (250)      (250)      (250)      (300)      (250)      (250)      (250)      (250)       (300)      (250)      (250)      (250)         (300)       (3,661)
Mexico                                                                      0       (116)         0          0          0          0          0        (94)       (72)        (22)      (116)       (22)         0             0          (441)
MEA                                                                         3          0          0          0          0          0         50          0          0           0          0          0          0             0            53
Canada                                                                    (82)       (22)       (72)       (22)      (396)       (32)       (72)       (22)       (72)        (22)       (22)       (72)       (22)          (22)         (953)
Colombia                                                                    0          0          0        (80)         0          0          0          0          0           0          0          0          0             0           (80)
   Total Non-Operating Disbursements                                     (340)      (388)      (322)      (352)      (696)      (282)      (272)      (366)      (394)       (344)      (388)      (344)      (272)         (322)       (5,082)

Cash Flow from Financing - Mandatory(1)
USA                                                                   (1,002)          0       (167)      (440)       (490)     (175)      (448)      (393)      (688)       (765)     (1,959)     (575)       (881)        (924)       (8,909)
Mexico                                                                      0          0          0          0        (214)        0          0          0          0           0           0         0           0            0          (214)
MEA                                                                         0       (170)       (21)       (54)       (217)        0         (2)      (130)       (51)       (113)        (23)        0           0            0          (781)
Canada                                                                   (102)      (102)      (102)      (102)       (237)        0          0          0          0           0           0         0           0            0          (644)
Colombia                                                                    0       (299)       (11)       (11)        (45)       (1)       (11)      (441)       (42)          0         (11)     (408)       (160)         (34)       (1,476)
     Total Cash Flow from Financing                                   (1,104)       (571)      (301)      (607)     (1,203)     (176)      (462)      (964)      (782)       (878)     (1,993)     (983)     (1,041)        (959)      (12,024)
(1) - Mandatory Financing - interest, amortization, and borrowing-base true-ups

Inter Company Transfers
USA                                                                           0          0          0          0          0          0          0          0           0          0          0          0          0            0             0
Mexico                                                                        0          0          0          0          0          0          0          0           0          0          0          0          0            0             0
MEA                                                                           0          0          0          0          0          0          0          0           0          0          0          0          0            0             0
Canada                                                                        0          0          0          0          0          0          0          0           0          0          0          0          0            0             0
Colombia                                                                      0          0          0          0          0          0          0          0           0          0          0          0          0            0             0
Total Inter Company Transfers                                                 0          0          0          0          0          0          0          0           0          0          0          0          0            0             0

Net Cash Flow
USA                                                                     (2,495)     (349)     (3,277)    (2,656)    (2,769)      (808)    (1,942)     (983)     (2,594)     (1,871)    (2,289)      (832)    (4,776)      (1,368)      (29,008)
Mexico                                                                     698       749        (778)      (278)      (716)       (88)       246       377         650         819        821        122        159         (228)        2,552
MEA                                                                        896        40        (198)      (553)       128        (85)      (233)      (43)       (378)       (424)      (181)        89       (370)        (104)       (1,416)
Canada                                                                     (52)     (126)         20       (118)      (698)      (410)      (146)      (22)       (155)        (25)       (30)      (130)       (30)         (27)       (1,947)
Colombia                                                                  (512)      677        (435)       294        831       (111)       547      (158)        234         314        204       (614)       166          263         1,699
   Net Cash Flow                                                        (1,465)      992      (4,668)    (3,311)    (3,224)    (1,501)    (1,529)     (830)     (2,243)     (1,187)    (1,475)    (1,365)    (4,850)      (1,464)      (28,120)

Cash Flow from Financing - Voluntary(2)
Plus: Encina Line - Draw / (Repay)                                          4          87        18      1,564      2,563          0          0          0           0         222          0          0          0          222         4,679
Plus: HSBC Swingline - Draw / (Repay)                                     270      (1,802)      778        278      1,025          0          0       (260)       (390)       (321)      (791)         8       (129)         255        (1,079)
Plus: In-Country Financing - Draw / (Repay)                                96           0         0          0          0         20         62          0           0           0         65        125        200           50           618
    Ending Cash                                                         9,792       9,068     5,197      3,727      4,092      2,611      1,144         54      (2,578)     (3,864)    (6,065)    (7,298)   (12,077)     (13,014)      (13,014)
(2) Voluntary Financing - draws on facilites to meet liquidity needs

Plus Encina Availability                                                3,947      3,922      3,904      2,563          0          0          0          0         222           0          0          0        222            0             0
Plus HSBC Swingline Availability                                          280      2,082      1,304      1,025         (0)        (0)        (0)       260         650         971      1,762      1,754      1,883        1,628         1,628
Plus: FHC Availability                                                      0          0          0          0          0          0          0          0           0           0          0          0          0            0             0
Plus: In-Country Availability (ITAU, BdB, BBVA, Scotia)                   142        308        327        327        537        517        455        506         553         657        592        467        267          217           217
    Total Liquidity                                                    14,161     15,380     10,731      7,642      4,629      3,128      1,599        820      (1,153)     (2,236)    (3,711)    (5,077)    (9,705)     (11,168)      (11,168)

Less: Minimum Operating Cash - US                                       (3,947)    (3,922)    (3,904)    (3,866)    (3,840)    (3,773)    (3,714)    (3,660)    (3,588)     (3,294)    (3,208)    (3,124)    (3,021)      (3,000)       (3,000)
Less: Minimum Operating Cash - Mexico                                   (7,730)    (7,589)    (7,638)    (7,687)    (7,725)    (7,661)    (7,867)    (8,073)    (8,275)     (8,442)    (8,574)    (8,823)    (9,068)      (9,196)       (9,196)
Less: Minimum Operating Cash - MEA                                        (220)      (220)      (220)      (220)      (220)      (220)      (220)      (220)      (220)       (220)      (220)      (220)      (220)        (220)         (220)
Less: Minimum Operating Cash - Canada                                     (445)      (213)      (150)      (150)      (150)      (150)      (150)      (150)      (150)       (150)      (150)      (150)      (150)        (150)         (150)
Less: Minimum Operating Cash - Colombia                                   (150)      (150)      (150)      (150)      (150)      (150)      (150)      (150)      (150)       (150)      (150)      (150)      (150)        (150)         (150)
   Operating Liquidity                                                   1,668      3,286     (1,331)    (4,431)    (7,457)    (8,827)   (10,502)   (11,433)   (13,536)    (14,492)   (16,013)   (17,544)   (22,313)     (23,884)      (23,884)
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    Qmax Solutions - Global Liquidity Summary                                                                                                                                                             DRAFT FOR DISCUSSION ONLY
    Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                             04/15/20

X USA Operations (Anchor, Corp & CPI)

    (All $'s in thousands)

    Forecast Status                                             Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst         Fcst       Fcst         Fcst
    13 Week Period                                               1          2          3          4          5          6          7          8          9         10         11         12           13         14           14
    Week Ending Date                                             4/3       4/10       4/17       4/24        5/1        5/8       5/15       5/22       5/29        6/5       6/12       6/19         6/26        7/3          7/3

R Customer Receipts: Anchor                                      2,863      2,704      2,652      2,674      2,670      2,719      2,657      2,622      2,635      2,669      2,668      2,654        2,677      2,382        37,244
    Total Receipts                                               2,863      2,704      2,652      2,674      2,670      2,719      2,657      2,622      2,635      2,669      2,668      2,654        2,677      2,382        37,244

    Disbursements: Operating
V   Anchor: Mud                                                  (1,377)    (1,140)    (1,398)    (1,004)      (936)      (803)    (1,050)    (1,048)    (1,000)    (1,073)      (879)      (860)        (860)      (860)     (14,289)
V   Anchor: Spec Chem                                              (147)       (28)       (75)      (123)       (84)      (150)      (100)       (99)      (125)       (96)       (68)       (78)         (78)       (78)      (1,327)
V   Anchor: Logistics                                              (317)      (417)      (372)      (259)      (271)      (265)      (213)      (220)      (213)      (228)      (187)      (188)        (188)      (188)      (3,526)
V   Anchor: Comm Chem                                              (388)      (233)      (292)      (221)      (243)      (394)      (221)      (234)      (226)      (238)      (145)      (154)        (154)      (154)      (3,296)
V   Anchor: Screens & Equip                                         (85)       (96)      (117)       (87)       (93)      (118)       (66)       (83)       (75)       (79)       (49)       (44)         (44)       (44)      (1,081)
V   Anchor: Other                                                  (179)      (206)       (79)      (382)      (327)       (69)      (152)      (117)      (161)       (86)       (72)       (76)         (76)       (76)      (2,057)
V   Corp: Recurring                                                 (47)      (106)      (106)      (106)      (107)      (120)      (120)      (120)      (120)      (120)      (120)      (120)        (120)      (120)      (1,553)
V   CPI: Recurring                                                 (352)      (391)      (370)      (387)      (351)      (160)      (160)      (160)      (160)      (160)      (160)      (160)        (160)      (160)      (3,290)
P   Wages: Anchor & Corp                                           (745)         0     (1,818)      (745)    (1,568)      (572)    (1,030)      (572)    (1,030)      (529)      (933)         0       (1,462)         0      (11,004)
P   Benefits: Anchor & Corp                                        (175)         0          0       (675)         0       (175)         0       (175)      (500)      (175)         0       (175)        (500)      (175)      (2,725)
P   Sales Tax & Other Auto-Debits: Anchor                          (281)      (186)      (885)      (650)      (670)      (275)      (790)      (135)      (680)      (690)      (135)      (806)      (2,680)      (670)      (9,534)
M   Acquisition Debt: Calumet                                      (328)         0          0       (319)         0          0          0          0       (328)         0          0          0         (321)         0       (1,296)
       Disbursements: Operating                                  (4,422)    (2,803)    (5,512)    (4,959)    (4,649)    (3,101)    (3,900)    (2,962)    (4,618)    (3,474)    (2,748)    (2,661)      (6,643)    (2,525)     (54,978)

    Net Operating Cash Flows                                     (1,559)       (99)    (2,860)    (2,285)    (1,979)     (383)     (1,243)     (341)     (1,983)     (806)        (80)          (7)    (3,966)     (143)      (17,734)

  Disbursements: Non-Operating
M Cash Interest on New Credit Facility                            (135)         0          0          0       (128)         0          0          0          0       (173)         0          0            0       (126)         (562)
P Other Corp: Non-Recurring (Legal, Insurance, Pros, etc.)        (261)      (250)      (250)      (250)      (300)      (250)      (250)      (250)      (250)      (300)      (250)      (250)        (250)      (300)       (3,661)
     Disbursements: Non-Operating                                 (396)      (250)      (250)      (250)      (428)      (250)      (250)      (250)      (250)      (473)      (250)      (250)        (250)      (426)       (4,223)

  Net Cash Flow Before Borrowing Base True-Up                    (1,955)     (349)     (3,110)    (2,535)    (2,407)     (633)     (1,493)     (591)     (2,233)    (1,278)      (330)     (257)       (4,216)      (570)     (21,957)
M Plus/Minus: Borrowing Base True-Up                               (540)       62        (167)      (121)      (362)     (175)       (448)     (393)       (361)      (592)    (1,959)     (575)         (560)      (798)      (6,989)
     Net Cash Flow USA                                           (2,495)     (287)     (3,277)    (2,656)    (2,769)     (808)     (1,942)     (983)     (2,594)    (1,871)    (2,289)     (832)       (4,776)    (1,368)     (28,946)


    Beginning Cash                                                7,105     4,614       4,352      1,093          0       (206)    (1,014)    (2,956)    (3,939)    (6,533)    (8,181)   (10,470)     (11,303)   (16,078)       7,105
    Less: Net Cash Flow USA                                      (2,495)     (287)     (3,277)    (2,656)    (2,769)      (808)    (1,942)      (983)    (2,594)    (1,871)    (2,289)      (832)      (4,776)    (1,368)     (28,946)
    Plus: Draws / (Repayments) from Barbados                          0         0           0          0          0          0          0          0          0          0          0          0            0          0            0
    Plus: Draws / (Repayments) on HSBC                                0         0           0          0          0          0          0          0          0          0          0          0            0          0            0
       Ending Cash                                                4,611     4,327       1,075     (1,564)    (2,769)    (1,014)    (2,956)    (3,939)    (6,533)    (8,403)   (10,470)   (11,303)     (16,078)   (17,446)     (21,841)
    Plus: Draws / (Repayments) on Encina                              4        25          18      1,564      2,563          0          0          0          0        222          0          0            0        222        4,618
       Ending Cash, After Other Sources                           4,614     4,352       1,093          0       (206)    (1,014)    (2,956)    (3,939)    (6,533)    (8,181)   (10,470)   (11,303)     (16,078)   (17,223)     (17,223)
    Plus: Illustrative Net Availability                           3,947     3,922       3,904      2,563          0          0          0          0        222          0          0          0          222          0            0
       Total Liquidity                                            8,561     8,274       4,997      2,563       (206)    (1,014)    (2,956)    (3,939)    (6,310)    (8,181)   (10,470)   (11,303)     (15,856)   (17,223)     (17,223)
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  Qmax Solutions - Global Liquidity Summary                                                                                                                                                         DRAFT FOR DISCUSSION ONLY
  Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                         04/15/20

X USA Operations (Anchor, Corp & CPI)

  (All $'s in thousands)

  Forecast Status                                           Fcst        Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst        Fcst
  13 Week Period                                             1           2          3          4          5          6          7          8          9         10         11         12         13         14          14
  Week Ending Date                                           4/3        4/10       4/17       4/24        5/1        5/8       5/15       5/22       5/29        6/5       6/12       6/19       6/26        7/3         7/3

X Standalone: Anchor Ops, Corporate & CPI

  USA: Anchor Ops                                            4/3        4/10       4/17       4/24       5/1        5/8        5/15       5/22       5/29       6/5        6/12       6/19       6/26       7/3         Fcst
  Receipts                                                    2,863       2,704      2,652      2,674     2,670      2,719       2,657      2,622      2,635     2,669       2,668      2,654      2,677     2,382       37,244
  Anchor: Mud                                                (1,377)     (1,140)    (1,398)    (1,004)     (936)      (803)     (1,050)    (1,048)    (1,000)   (1,073)       (879)      (860)      (860)     (860)     (14,289)
  Anchor: Spec Chem                                            (147)        (28)       (75)      (123)       (84)     (150)       (100)       (99)      (125)       (96)       (68)       (78)       (78)       (78)     (1,327)
  Anchor: Logistics                                            (317)       (417)      (372)      (259)     (271)      (265)       (213)      (220)      (213)     (228)       (187)      (188)      (188)     (188)      (3,526)
  Anchor: Comm Chem                                            (388)       (233)      (292)      (221)     (243)      (394)       (221)      (234)      (226)     (238)       (145)      (154)      (154)     (154)      (3,296)
  Anchor: Screens & Equip                                        (85)       (96)      (117)       (87)       (93)     (118)        (66)       (83)       (75)       (79)       (49)       (44)       (44)       (44)     (1,081)
  Anchor: Other                                                (179)       (206)       (79)      (382)     (327)        (69)      (152)      (117)      (161)       (86)       (72)       (76)       (76)       (76)     (2,057)
  Payroll & Contractors                                        (670)          0     (1,195)      (670)   (1,195)      (497)       (729)      (497)      (729)     (454)       (702)         0     (1,156)         0      (8,493)
  Severance                                                        0          0       (160)         0        (35)         0        (26)         0        (26)         0        (14)         0        (14)         0        (275)
  Benefits                                                     (137)          0          0       (529)         0      (137)          0       (137)      (392)     (137)          0       (137)      (392)     (137)      (2,137)
  Sales Tax/Other: Recurring                                   (140)       (105)      (585)      (555)     (440)        (30)      (460)       (30)      (480)     (440)        (30)      (460)      (480)     (440)      (4,676)
  Sales Tax/Other: Non-Recurring                                   0          0          0          0      (105)      (105)       (105)      (105)      (105)     (105)       (105)      (105)      (105)     (105)      (1,050)
     USA: Anchor Ops                                           (578)        479     (1,621)    (1,157)   (1,059)       150        (464)        53       (897)     (268)        417        552       (870)      300       (4,964)
  Cash Interest on New Credit Facility                         (135)          0          0          0      (128)          0          0          0          0      (173)          0          0          0      (126)        (562)
  Plus/Minus: Borrowing Base True-Up                           (540)         62       (167)      (121)     (362)      (175)       (448)      (393)      (361)     (592)     (1,959)      (575)      (560)     (798)      (6,989)
  Plus: Draws / (Repayments) on Encina                             4         25         18      1,564     2,563           0          0          0          0       222           0          0          0       222        4,618
     Anchor Ops + Encina                                     (1,250)        566     (1,770)       285     1,014         (25)      (912)      (340)    (1,258)     (811)     (1,543)       (23)    (1,429)     (402)      (7,898)

  USA: Corporate                                             4/3        4/10       4/17       4/24       5/1        5/8        5/15       5/22       5/29       6/5        6/12       6/19       6/26       7/3         Fcst
  Corp: Recurring                                               (47)       (106)      (106)      (106)     (107)      (120)       (120)      (120)      (120)     (120)       (120)      (120)      (120)     (120)      (1,553)
  Corp: Non-Recurring                                          (261)       (250)      (250)      (250)     (300)      (250)       (250)      (250)      (250)     (300)       (250)      (250)      (250)     (300)      (3,661)
  Payroll & Contractors                                         (75)          0       (449)       (75)     (324)        (75)      (235)       (75)      (235)       (75)      (185)         0       (260)         0      (2,063)
  Severance                                                       0           0        (14)         0        (14)         0        (40)         0        (40)         0        (32)         0        (32)         0        (172)
  Benefits                                                      (38)          0          0       (146)         0        (38)         0        (38)      (108)       (38)         0        (38)      (108)       (38)       (588)
  Sales Tax/Other: Recurring                                      0         (65)       (50)       (95)     (125)      (140)          0          0        (95)     (145)          0        (50)    (2,095)     (125)      (2,985)
  Current Forecast                                             (469)        (16)      (250)      (319)         0          0       (225)         0       (328)         0          0       (191)      (321)         0      (2,119)
     USA: Corporate                                            (890)       (437)    (1,119)      (991)     (870)      (622)       (870)      (483)    (1,176)     (678)       (587)      (649)    (3,186)     (583)     (13,141)
  Plus: Draws / (Repayments) from Barbados                        0           0          0          0          0          0          0          0          0          0          0          0          0          0           0
  Plus: Draws / (Repayments) on HSBC                              0           0          0          0          0          0          0          0          0          0          0          0          0          0           0
     USA: Corporate + External Funding                         (890)       (437)    (1,119)      (991)     (870)      (622)       (870)      (483)    (1,176)     (678)       (587)      (649)    (3,186)     (583)     (13,141)

  USA: CPI                                                   4/3        4/10       4/17       4/24       5/1        5/8        5/15       5/22       5/29       6/5        6/12       6/19       6/26       7/3         Fcst
  CPI: Recurring                                               (352)       (391)      (370)      (387)     (351)      (160)       (160)      (160)      (160)     (160)       (160)      (160)      (160)     (160)      (3,290)
    USA: CPI                                                   (352)       (391)      (370)      (387)     (351)      (160)       (160)      (160)      (160)     (160)       (160)      (160)      (160)     (160)      (3,290)
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  Qmax Solutions - Global Liquidity Summary                                                                                                                                                                DRAFT FOR DISCUSSION ONLY
  Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                                04/15/20

X Mexico Operations

  (All $'s in thousands)

  Forecast Status                                               Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst         Fcst          Fcst
  13 Week Period                                                  1          2          3         4           5          6          7         8          9          10         11         12         13           14            14
  Week Ending Date                                               4/3       4/10       4/17       4/24        5/1        5/8       5/15       5/22       5/29        6/5       6/12       6/19       6/26          7/3          7/3

  Customer Receipts: Pemex                                         523      2,001        793        689        477        768        758        838        670        844        843        870        859           947       11,881
  Customer Receipts: Perfolat                                    1,400          0        432        432        432        432        993      1,332      1,432      1,132      1,132      1,132        432           432       11,150
  Customer Receipts: Other Customers                                 0        218        436        195        312         62          0         45        163         14         41          2         87             2        1,577
    Total Receipts                                               1,923      2,219      1,662      1,317      1,222      1,262      1,751      2,215      2,266      1,990      2,017      2,004      1,378         1,382       24,608

  Disbursements: Operating
  Total Vendor Spend                                               (775)    (1,200)    (1,200)    (1,200)    (1,200)    (1,200)    (1,000)    (1,000)    (1,000)    (1,000)    (1,000)    (1,000)    (1,000)      (1,000)      (14,775)
  Rent - Facilities only                                              0        (74)         0          0         (4)       (70)         0          0         (4)       (70)         0          0         (4)         (70)         (296)
  Community Vendors                                                   0        (80)       (80)       (80)       (80)       (80)       (80)       (80)       (80)       (80)       (80)       (80)       (80)         (80)       (1,040)
  Payroll                                                          (400)         0       (960)         0       (440)         0       (420)         0       (460)         0          0       (420)         0         (460)       (3,560)
  VAT Taxes                                                           0          0          0       (135)         0          0          0       (135)         0          0          0          0       (135)           0          (405)
  Non-VAT Taxes                                                     (50)         0       (200)      (180)         0          0         (5)      (530)         0          0          0       (360)         0            0        (1,325)
     Disbursements: Operating                                    (1,225)    (1,354)    (2,440)    (1,595)    (1,724)    (1,350)    (1,505)    (1,745)    (1,544)    (1,150)    (1,080)    (1,860)    (1,219)      (1,610)      (21,401)

  Net Operating Cash Flows                                         698        865       (778)      (278)      (502)        (88)      246        470        722        840        937        144        159         (228)        3,207

  Disbursements: Non-Operating
  Cash Interest - Perfolat Loan                                        0        0            0          0     (214)           0          0         0          0          0         0           0           0            0        (214)
  Cash Amortization - Perfolat Loan                                    0        0            0          0        0            0          0         0          0          0         0           0           0            0           0
  Capex                                                                0        0            0          0        0            0          0       (94)       (72)       (22)        0         (22)          0            0        (209)
  Other Non-Recurring (FX, Legal, Insurance, Pros, etc.)               0     (116)           0          0        0            0          0         0          0          0      (116)          0           0            0        (232)
     Disbursements: Non-Operating                                      0     (116)           0          0     (214)           0          0       (94)       (72)       (22)     (116)        (22)          0            0        (655)

     Net Cash Flow Mexico                                          698        749       (778)      (278)      (716)        (88)      246        377        650        819        821        122        159         (228)        2,552


  Beginning Cash                                                   185       1,154       100        100        100       (175)      (263)       (17)       100        100        100        100        100          100            185
  Less: Net Cash Flow Mexico                                       698         749      (778)      (278)      (716)       (88)       246        377        650        819        821        122        159         (228)         2,552
  Plus: HSBC Swingline - Draw / (Repay)                            270      (1,802)      778        278        441          0          0       (260)      (650)      (819)      (821)      (122)      (159)         228         (2,637)
     Ending Cash, After Other Sources                            1,154         100       100        100       (175)      (263)       (17)       100        100        100        100        100        100          100            100
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  Qmax Solutions - Global Liquidity Summary                                                                                                                                                                 DRAFT FOR DISCUSSION ONLY
  Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                                 04/15/20

X Colombia Operations

  (All $'s in thousands)

  Forecast Status                                                Fcst       Fcst      Fcst       Fcst      Fcst      Fcst         Fcst      Fcst        Fcst        Fcst       Fcst        Fcst      Fcst         Fcst          Fcst
  13 Week Period                                                  1          2         3          4         5         6            7         8           9           10         11          12        13           14            14
  Week Ending Date                                                4/3       4/10      4/17       4/24       5/1       5/8         5/15      5/22        5/29         6/5       6/12        6/19      6/26          7/3           7/3

  Customer Receipts: Ecopetrol                                      184      1,649        86        244       872       214          563       662         439          68        475         475       475          348         6,752
  Other Customer Receipts                                           165        139       650        997       760       617          631     1,109         324         927        332         220       422          420         7,713
  Income Tax Refund                                                   0          0         0          0         0         0            0         0           0           0          0           0         0            0             0
     Total Receipts                                                 349      1,788       736      1,241     1,632       831        1,194     1,771         763         995        806         695       897          768        14,465

  Less: Receipts Collected in Barbados                              (71)      (989)     (211)       (28)     (288)     (175)        (186)     (218)       (145)        (22)      (157)       (157)     (157)         (115)      (2,917)
     Net Colombian Receipts: In-Country                             278        799       526      1,213     1,344       656        1,008     1,553         618         972        650         538       740           653       11,548

  Disbursements: Operating
  Vendors                                                          (600)      (100)      (300)     (200)     (400)     (400)        (400)      (200)      (200)       (200)      (250)       (250)     (160)        (150)        (3,810)
  Community Vendors                                                (200)      (280)      (270)     (250)     (250)     (200)        (180)      (180)      (180)       (200)      (210)       (220)     (220)        (220)         (3,060)
  Bank Service Charges                                               (1)        (1)        (1)       (1)       (1)       (1)          (1)        (1)        (1)         (1)        (1)         (1)       (1)          (1)            (14)
  Rent - Facilities only                                              0        (70)         0         0         0       (70)           0          0          0           0        (70)          0         0            0            (210)
  Other Recurring Expenses                                            0          0          0         0         0         0            0          0          0           0          0           0         0            0               0
  Payroll                                                           (60)      (310)      (370)     (400)     (100)     (200)         (50)      (440)      (100)       (200)       (50)       (430)      (50)        (100)        (2,860)
  VAT Taxes                                                           0          0          0         0         0         0            0       (548)         0           0          0           0         0            0            (548)
  Non-VAT Taxes                                                       0        (50)      (219)       (5)       (5)      (70)          (5)      (120)        (5)        (80)       (10)          0      (140)           0            (708)
     Disbursements: Operating                                      (861)      (811)    (1,160)     (856)     (756)     (941)        (636)    (1,488)      (486)       (681)      (591)       (901)     (571)        (471)       (11,210)

  Net Operating Cash Flows                                         (583)       (12)     (634)       357       588      (285)         372           65      132         291            59     (363)      169          182            339

  Disbursements: Non-Operating
  Cash Interest                                                         0       (8)        (3)      (11)      (10)          (1)      (11)       (8)         (8)            0      (11)        (37)       (8)            0          (118)
  Amortization                                                          0     (291)        (8)        0       (34)           0         0      (433)        (34)            0        0        (371)     (152)          (34)       (1,359)
  New Debt Issuance                                                     0        0          0         0         0            0         0         0           0             0        0           0         0             0             0
  Capex                                                                 0        0          0       (80)        0            0         0         0           0             0        0           0         0             0           (80)
  Other Non-Recurring (FX, Legal, Insurance, Pros, etc.)                0        0          0         0         0            0         0         0           0             0        0           0         0             0             0
     Disbursements: Non-Operating                                       0     (299)       (11)      (91)      (45)          (1)      (11)     (441)        (42)            0      (11)       (408)     (160)          (34)       (1,556)

  Net Cash Flow Colombia                                           (583)      (311)     (645)       266       544      (287)         361      (377)            89      291            48     (771)          9        148         (1,218)


  Beginning Cash                                                  1,024        441       130          0       266       810          523       884         507         596        888         935       164           173         1,024
  Less: Net Cash Flow Colombia                                     (583)      (311)     (645)       266       544      (287)         361      (377)         89         291         48        (771)        9           148        (1,218)
  Plus: Barbados Cash Transfer                                        0          0       516          0         0         0            0         0           0           0          0           0         0             0           516
     Ending Cash After Other Sources                                441        130         0        266       810       523          884       507         596         888        935         164       173           321           321
  Plus: Illustrative Net Availability - Barbados                  1,122      2,111     1,806      1,834     2,122     2,297        2,483     2,701       2,846       2,868      3,025       3,182     3,338         3,453         3,453
  Plus: In-Country Availability (ITAU, BdB, BBVA, Scotia)             0          0         0          0         0         0            0         0           0           0          0           0         0             0             0
     Total Liquidity                                              1,563      2,241     1,806      2,100     2,931     2,820        3,367     3,208       3,442       3,756      3,960       3,346     3,512         3,774         3,774
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  Qmax Solutions - Global Liquidity Summary                                                                                                                                                               DRAFT FOR DISCUSSION ONLY
  Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                               04/15/20

X MEA Operations

  (All $'s in thousands)

  Forecast Status                                                Fcst        Fcst        Fcst      Fcst      Fcst      Fcst        Fcst      Fcst        Fcst      Fcst      Fcst      Fcst        Fcst         Fcst          Fcst
  13 Week Period                                                  1           2           3         4         5         6           7         8           9        10        11        12          13           14             14
  Week Ending Date                                                4/3        4/10        4/17      4/24       5/1       5/8        5/15      5/22        5/29       6/5      6/12      6/19        6/26          7/3           7/3

  Customer Receipts                                               1,268         421         653       265       603       553         153       377         440       133       304       415         374              50      6,009
    Total Receipts                                                1,268         421         653       265       603       553         153       377         440       133       304       415         374              50      6,009

  Disbursements: Operating
  Vendor Payments - Inventory                                      (186)          0        (248)     (206)      (49)      (33)       (206)      (70)       (127)     (234)     (120)     (150)        (43)         (20)        (1,692)
  Vendor Payments - Freight                                          (2)          0         (34)       (2)        0         0           0        (2)         (5)        0        (1)        0          (5)           0            (51)
  Vendor Payments - Direct Expenses                                 (65)         (5)       (191)      (79)     (162)     (349)        (43)      (45)       (108)     (171)      (57)      (18)       (326)         (61)        (1,680)
  Vendor Payments - Administrative (G&A)                             (7)        (14)         (7)       (4)      (11)      (16)        (13)       (1)          1        (1)      (11)       (1)         (5)          (7)           (97)
  Vendor Payments - Other                                             0          (4)          0       (10)        0        (4)        (76)      (10)          0         0        (6)        0         (10)           0           (120)
  Vendor payments - Direct Expenses - Other                           0           0        (200)        0         0      (200)          0         0        (200)        0         0         0           0            0           (600)
  Rent - Facilities only                                            (21)          0         (29)        0       (17)      (16)         (5)        0          (2)        0       (19)       (2)          0          (53)          (163)
  Other Recurring Expenses                                          (28)        (20)        (17)       (8)       (8)       (8)        (17)       (8)         (8)       (8)      (17)       (8)          0            0           (155)
  Payroll                                                           (61)       (157)        (55)     (421)      (10)       (6)        (45)     (124)       (311)        0       (45)      (88)       (348)         (13)        (1,684)
  Free Zone Levy                                                      0           0           0        (5)        0         0           0         0          (5)        0         0         0          (5)           0            (15)
  VAT Taxes                                                           0           0           0         0         0         0           0         0           0         0         0         0           0            0              0
  Non-VAT Taxes                                                       0          (6)        (43)      (28)        0        (6)        (18)      (30)          0       (30)     (186)      (48)          0            0           (395)
  Bank Service Charges                                               (6)         (5)         (6)       (1)       (2)        0         (11)        0          (2)        0         0       (11)         (2)           0            (46)
     Disbursements: Operating                                      (376)       (211)       (830)     (764)     (258)     (638)       (434)     (290)       (767)     (444)     (462)     (326)       (744)        (154)        (6,698)

  Net Operating Cash Flows                                          893         210        (177)     (499)      345       (85)       (281)          87     (327)     (311)     (158)          89     (370)        (104)         (689)

  Disbursements: Non-Operating
  Capex - IDEC                                                           0        0           0         0         0            0        0         0           0         0         0         0           0               0          0
  Capex - Egypt                                                          0        0           0         0         0            0        0         0           0         0         0         0           0               0          0
  Capex - Kuwait JV                                                      0        0           0         0         0            0        0         0           0         0         0         0           0               0          0
  Capex - Algeria                                                        0        0           0         0         0            0        0         0           0         0         0         0           0               0          0
  Saudi Consulting Fees                                                  0        0           0         0         0            0        0         0           0         0         0         0           0               0          0
  Corplease - Egypt                                                      0        0           0       (54)        0            0        0       (78)          0         0       (21)        0           0               0       (153)
  Import Line - Draw / (Repayment)                                      96     (166)        (19)        0      (210)          20       62       (51)        (47)     (104)       65       125         200              50         21
  Other Non-Recurring (FX, Legal, Insurance, Pros, etc.)                 3        0           0         0         0            0       50         0           0         0         0         0           0               0         53
  Interest                                                               0       (4)         (2)        0        (7)           0       (2)       (1)         (4)       (9)       (2)        0           0               0        (31)
      Disbursements: Non-Operating                                      99     (170)        (21)      (54)     (217)          20      110      (130)        (51)     (113)       42       125         200              50       (110)

     Net Cash Flow MEA                                              992             40     (198)     (553)      128       (65)       (171)      (43)       (378)     (424)     (116)      214        (170)         (54)         (798)


  Beginning Cash                                                  1,133       2,125       2,165     1,967     1,414     1,542       1,477     1,306       1,263       885       461       345         559          389         1,133
  Less: Net Cash Flow MEA                                           992          40        (198)     (553)      128       (65)       (171)      (43)       (378)     (424)     (116)      214        (170)         (54)         (798)
  Plus: UOP - Kuwait JV Debt Draw / (Repay)                           0           0           0         0         0         0           0         0           0         0         0         0           0            0             0
  Plus: HSBC Swingline - Draw / (Repay)                               0           0           0         0         0         0           0         0           0         0         0         0           0            0             0
     Ending Cash, After Other Sources                             2,125       2,165       1,967     1,414     1,542     1,477       1,306     1,263         885       461       345       559         389          335           335
  Plus: In-Country Availability                                     142         308         327       327       537       517         455       506         553       657       592       467         267          217           217
     Total Liquidity                                              2,267       2,473       2,294     1,741     2,079     1,994       1,761     1,769       1,438     1,118       937     1,026         656          552           552
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  Qmax Solutions - Global Liquidity Summary                                                                                                                                                                                      DRAFT FOR DISCUSSION ONLY
  Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                                                      04/15/20
  Forecast Does Not Reflect Any HSBC Principal, Interest, or Borrowing Base True-up Payments

X Canada Operations

  (All $'s in thousands)

  Forecast Status                                                          Fcst         Fcst         Fcst        Fcst       Fcst      Fcst      Fcst        Fcst        Fcst        Fcst         Fcst         Fcst        Fcst         Fcst          Fcst
  13 Week Period                                                            1            2            3           4          5         6         7           8           9           10           11           12          13           14            14
  Week Ending Date                                                          4/3         4/10         4/17        4/24        5/1       5/8      5/15        5/22        5/29         6/5         6/12         6/19        6/26          7/3           7/3

  Customer Receipts                                                            814         306          500         506        441       131           56          56          56          53           53           53          53       182         3,261
    Total Receipts                                                             814         306          500         506        441       131           56          56          56          53           53           53          53       182         3,261

  Disbursements: Operating
  Vendor Payments                                                             (500)        (300)       (185)       (484)      (308)     (500)      (50)        (48)          0         (31)         (40)         (40)        (40)          (40)       (2,566)
  Bank Service Charges                                                          (1)          (1)         (1)         (1)        (1)       (1)       (1)         (1)         (1)         (1)          (1)          (1)         (1)           (1)          (14)
  Rent - Facilities only                                                       (17)           0           0           0        (17)        0         0           0           0         (17)           0            0           0           (17)          (68)
  Other Recurring Expenses                                                       0            0           0           0          0         0         0           0           0           0            0            0           0             0             0
  Payroll                                                                     (104)          (7)       (120)         (7)       (80)       (7)      (80)         (7)        (80)         (7)         (20)         (70)        (20)          (70)         (679)
  VAT Taxes                                                                    (60)           0           0           0       (100)        0         0           0         (50)          0            0            0           0           (50)         (260)
  Non-VAT Taxes                                                                  0            0           0          (8)         0         0         0           0          (8)          0            0            0           0            (8)          (24)
     Disbursements: Operating                                                 (682)        (308)       (306)       (500)      (506)     (508)     (131)        (56)       (139)        (56)         (61)        (111)        (61)         (186)       (3,611)

  Net Operating Cash Flows                                                     132             (2)      194             6      (65)     (377)      (74)            0       (83)            (3)          (8)      (58)            (8)          (4)      (350)

  Disbursements: Non-Operating
  HSBC - Interest Payment                                                        0            0           0           0          0         0         0           0           0           0            0            0           0             0             0
  HSBC - Amortization                                                            0            0           0           0          0         0         0           0           0           0            0            0           0             0             0
  Terra - Acquisition Debt - P&I                                              (102)        (102)       (102)       (102)      (102)        0         0           0           0           0            0            0           0             0          (508)
  Tarek Acquisition Debt - P&I                                                   0            0           0           0          0         0         0           0           0           0            0            0           0             0             0
  Funding: India, Brazil, & Ecuador                                              0            0         (50)          0          0         0       (50)          0           0           0            0          (50)          0             0          (150)
  Asset Sale                                                                     0            0           0           0          0         0         0           0           0           0            0            0           0             0             0
  Microsoft Lease                                                                0            0           0           0       (136)        0         0           0           0           0            0            0           0             0          (136)
  Other Non-Recurring (FX, Legal, Insurance, Pros, LCs, etc.)                  (82)         (22)        (22)        (22)      (396)      (32)      (22)        (22)        (72)        (22)         (22)         (22)        (22)          (22)         (803)
     Disbursements: Non-Operating                                             (184)        (124)       (174)       (124)      (633)      (32)      (72)        (22)        (72)        (22)         (22)         (72)        (22)          (22)       (1,597)

  Net Cash Flow Before True-up                                                 (52)        (126)            20     (118)      (698)     (410)     (146)        (22)       (155)        (25)         (30)        (130)        (30)          (27)       (1,947)
  Plus/Minus: Borrowing Base True-Up                                             0            0              0        0          0         0         0           0           0           0            0            0           0             0             0
  Net Cash Flow Canada                                                         (52)        (126)            20     (118)      (698)     (410)     (146)        (22)       (155)        (25)         (30)        (130)        (30)          (27)       (1,947)


  Beginning Cash                                                               388         336          210         231        113         0      (410)       (556)       (578)       (473)           0            0            0            0           388
  Less: Net Cash Flow Before True-up                                           (52)       (126)          20        (118)      (698)     (410)     (146)        (22)       (155)         (25)        (30)        (130)         (30)         (27)       (1,947)
  Plus: HSBC Swingline - Draw / (Repay)                                          0           0            0           0        584         0         0           0         260         498           30          130           30           27         1,558
     Ending Cash, After Other Sources                                          336         210          231         113          0      (410)     (556)       (578)       (473)           0           0            0            0            0             0
  Plus: Illustrative Net Availability                                          280       2,082        1,304       1,025          0         0         0         260         650         971        1,762        1,754       1,883         1,628         1,628
  Plus: FHC Availability                                                         0           0            0           0          0         0         0           0           0            0           0            0            0            0             0
     Total Liquidity                                                           616       2,292        1,534       1,139          0      (410)     (556)       (318)        177         971        1,762        1,754       1,883         1,628         1,628
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Qmax Solutions - Global Liquidity Summary                                                                                                                                                                 DRAFT FOR DISCUSSION ONLY

Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                                04/15/20

Forecast Does Not Reflect Any HSBC Principal, Interest, or Borrowing Base True-up Payments



Forecast Status                                 Fcst         Fcst         Fcst       Fcst        Fcst         Fcst         Fcst       Fcst        Fcst        Fcst         Fcst        Fcst        Fcst        Fcst          Fcst

13 Week Period                                   1            2            3          4           5            6            7          8           9           10           11          12          13          14            14

Week Ending Date                                 4/3         4/10         4/17       4/24         5/1          5/8         5/15       5/22        5/29         6/5         6/12        6/19        6/26         7/3          7/3



(All $'s in thousands)


Cash Flow



Cash Inflows                                      7,287        8,426        6,414      6,030       6,856        5,671        5,997      7,260       6,304       5,862        6,005       5,978       5,536       4,878       88,503

Less: Cash Outflows                              (8,382)      (9,150)     (10,285)    (7,500)     (6,491)      (7,152)      (7,464)    (8,350)     (8,937)     (7,148)      (8,205)     (7,210)    (10,315)     (5,815)     (112,405)
   Net Cash Flow                                 (1,095)          (724)    (3,872)    (1,470)           365    (1,481)      (1,467)    (1,090)     (2,632)     (1,286)      (2,201)     (1,233)     (4,780)       (937)      (23,901)



Beginning Cash Balance                           10,888        9,792        9,068      5,197       3,727        4,092        2,611      1,144            54    (2,578)      (3,864)     (6,065)     (7,298)    (12,077)      10,888

Plus / (Minus): Net Cash Flow                    (1,095)          (724)    (3,872)    (1,470)           365    (1,481)      (1,467)    (1,090)     (2,632)     (1,286)      (2,201)     (1,233)     (4,780)       (937)      (23,901)
   Ending Cash Balance                            9,792        9,068        5,197      3,727       4,092        2,611        1,144           54    (2,578)     (3,864)      (6,065)     (7,298)    (12,077)    (13,014)      (13,014)



Liquidity Calculation



Availability on HSBC Facility                          280     2,082        1,304      1,025             0            0           0        260         650           971     1,762       1,754       1,883       1,628         1,628

Plus: Availability on Encina Facility             3,947        3,922        3,904      2,563             0            0           0          0         222            0            0           0         222            0           0

Plus: Marginable Cash                             7,227        6,774        3,230      2,047       1,740             611    (1,046)    (1,716)     (4,060)     (5,213)      (7,345)     (8,021)    (12,640)    (13,670)      (13,670)

Plus: FHC Availability                                  0            0           0           0            0           0           0          0           0             0          0            0          0            0            0
   Free Liqudity                                 11,454       12,778        8,437      5,635       1,740             611    (1,046)    (1,456)     (3,188)     (4,242)      (5,584)     (6,267)    (10,534)    (12,042)      (12,042)

Plus: Non-Marginable Cash                         2,566        2,295        1,967      1,680       2,352        2,000        2,190      1,770       1,481       1,349        1,280           723         563          657          657

Plus: In-Country Availability                          142        308          327        327           537          517        455        506         553           657         592         467         267          217          217

Plus: 1st National Capex Availability                    0           0           0           0           0             0          0          0           0            0            0           0           0           0            0
   Total Liquidity                               14,161       15,380       10,731      7,642       4,629        3,128        1,599         820     (1,153)     (2,236)      (3,711)     (5,077)     (9,705)    (11,168)      (11,168)



Debt / Capitalization



Encina (Revolving & Term Loan)                   22,368       22,226       22,123     23,214      25,602       25,153       24,761     24,400      23,696      21,959       21,384      20,825      19,916      19,822       19,822

HSBC                                            144,467      142,665      143,443    143,721     144,747      144,747      144,747    144,487     144,097     143,776      142,985     142,993     142,864     143,118      143,118
   Senior Secured Debt                          166,836      164,891      165,566    166,935     170,349      169,900      169,508    168,887     167,794     165,735      164,370     163,818     162,779     162,940      162,940

MEX: Perforlat Debt                               7,360        7,360        7,360      7,360       7,360        7,360        7,360      7,360       7,360       7,360        7,360       7,360       7,360       7,360         7,360

COL: BBVA                                         1,484        1,484        1,484      1,484       1,484        1,484        1,484      1,484       1,484       1,484        1,484       1,113       1,113       1,113         1,113

COL: Banco de Bogota                              3,181        2,890        2,881      2,881       2,847        2,847        2,847      2,847       2,812       2,812        2,812       2,812       2,660       2,626         2,626

COL: ITAU                                         1,395        1,395        1,395      1,395       1,395        1,395        1,395         962         962           962         962         962         962          962          962

IDEC: Import Line                                 1,758        1,592        1,573      1,573       1,363        1,383        1,445      1,394       1,347       1,243        1,308       1,433       1,633       1,683         1,683

EGY: Corplease                                         313        313          313        259           259          259        259        181         181           181         160         160         160          160          160

USA: 1st National Capex Line                            0            0           0           0            0           0           0          0           0             0          0            0           0           0             0
   Total Debt                                   182,327      179,925      180,573    181,888     185,057      184,628      184,298    183,115     181,941     179,778      178,457     177,659     176,669     176,845      176,845
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Qmax Solutions - Global Liquidity Summary                                                                                                                                                                                               DRAFT FOR DISCUSSION ONLY
Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                                                              04/22/20
Forecast Does Not Reflect Any HSBC Principal, Interest, or Borrowing Base True-up Payments

Forecast Status                                                      Fcst        Fcst        Fcst        Fcst       Fcst       Fcst        Fcst        Fcst       Fcst       Fcst          Fcst       Fcst       Fcst        Fcst           Fcst           Fcst
13 Week Period                                                        1           2           3           4          5          6           7           8          9         10             11         12         13         14              15             15
Week Ending Date                                                     4/3         4/10        4/17        4/24       5/1        5/8         5/15        5/22       5/29       6/5           6/12       6/19       6/26        7/3            7/10           7/10
(All $'s in thousands)
Beginning Free Liquidity[1]                                          13,009      11,454      12,778       8,437      5,635      1,740         611      (1,046)    (1,456)    (3,188)       (4,242)    (5,584)     (6,267)    (10,534)       (12,042)       13,009
Beginning Total Liquidity[2]                                         15,404      14,161      15,380      10,731      7,642      4,629       3,128       1,599        820     (1,153)       (2,236)    (3,711)     (5,077)     (9,705)       (11,168)       15,404
Operating Cash Receipts                                               7,217        7,437       6,203      6,002      6,568      5,495       5,811       7,042      6,159      5,840         5,848      5,821      5,379       4,763          5,500         91,086
Priority                                                              (2,550)      (1,635)     (5,396)    (3,952)    (4,048)    (2,039)     (3,010)     (3,451)    (3,901)    (2,431)       (2,165)    (3,064)     (5,919)     (2,310)        (1,568)      (47,440)
Vendors                                                               (5,028)      (4,240)     (5,174)    (4,755)    (4,541)    (4,781)     (3,868)     (3,457)    (3,719)    (3,718)       (3,165)    (3,139)     (3,269)     (2,958)        (2,974)      (58,784)
    Operating Disbursements                                          (7,577)      (5,875)    (10,570)    (8,707)    (8,589)    (6,820)     (6,878)     (6,908)    (7,620)    (6,149)       (5,330)    (6,203)     (9,189)     (5,268)        (4,541)     (106,224)
Net Operating Cash Flow                                                (361)       1,562      (4,367)    (2,705)    (2,020)    (1,325)     (1,067)        134     (1,461)      (309)          518       (382)     (3,809)       (505)          958        (15,138)
Mandatory Financing                                                   (1,104)       (571)       (301)      (607)     (1,203)     (176)       (462)       (964)      (782)      (878)        (1,993)     (983)      (1,041)      (959)          (626)       (12,650)
  Non-Operating Cash Disbursements                                   (1,104)        (571)       (301)      (607)    (1,203)      (176)       (462)       (964)      (782)      (878)       (1,993)      (983)     (1,041)       (959)          (626)      (12,650)
Net Operating Cash Flow Before Voluntary Financing                   (1,465)         992      (4,668)    (3,311)    (3,224)    (1,501)     (1,529)       (830)    (2,243)    (1,187)       (1,475)    (1,365)     (4,850)     (1,464)          333        (27,787)
Voluntary Financing                                                     370       (1,716)        797      1,842      3,588            20          62     (260)      (390)           (99)     (726)       133            71       527         (1,436)        2,783
Net Cash Flow                                                        (1,095)        (724)     (3,872)    (1,470)       365     (1,481)     (1,467)     (1,090)    (2,632)    (1,286)       (2,201)    (1,233)     (4,780)       (937)        (1,103)      (25,005)
Ending Free Liquidity[1]                                             11,454      12,778       8,437       5,635      1,740        611      (1,046)     (1,456)    (3,188)    (4,242)       (5,584)    (6,267)    (10,534)    (12,042)       (11,314)      (11,314)
Ending Total Liquidity[2]                                            14,161      15,380      10,731       7,642      4,629      3,128       1,599         820     (1,153)    (2,236)       (3,711)    (5,077)     (9,705)    (11,168)       (10,836)      (10,836)

Current Forecast
ASK FROM HSBC - In Week (No Excess AP Catch-Up)                             0           0           0           0    3,260      1,129       1,656         410      1,732      1,055         1,342        683      4,267       1,508           (728)        16,314
ASK FROM HSBC - Cum (No Excess AP Catch-Up)                                 0           0           0           0    3,260      4,389       6,046       6,456      8,188      9,242        10,584     11,267     15,534      17,042         16,314

Prior Forecast: w/e 3.20 to w/e 6.12
ASK FROM HSBC - In Week (No Excess AP Catch-Up)                             0           0           0       932      5,995        757       1,572         509      2,291        958           852                                                          13,866
ASK FROM HSBC - Cum (No Excess AP Catch-Up)                                 0           0           0       932      6,926      7,683       9,255       9,764     12,056     13,014        13,866

Cumulative Ask: Better / (Worse)                                            0           0           0       932      3,666      3,294       3,210       3,309      3,868      3,772         3,282
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Qmax Solutions - Global Liquidity Summary                                                                                                                                                                               DRAFT FOR DISCUSSION ONLY
Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                                               04/22/20
Forecast Does Not Reflect Any HSBC Principal, Interest, or Borrowing Base True-up Payments

(All $'s in thousands)

Forecast Status                                                        Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst        Fcst
13 Week Period                                                          1          2          3          4          5          6          7          8          9          10         11         12         13         14         15          15
Week Ending Date                                                        4/3       4/10       4/17       4/24        5/1        5/8       5/15       5/22       5/29        6/5       6/12       6/19       6/26        7/3       7/10        7/10

Global Liquidity


Beginning Cash                                                         10,888      9,792      9,068      5,197      3,727      4,092      2,611      1,144         54      (2,578)    (3,864)    (6,065)    (7,298)   (12,077)   (13,014)   10,888

Net Operating Cash Flow
USA                                                                    (1,231)       (99)    (2,860)    (1,966)    (1,979)      (383)     (1,243)     (341)     (1,655)     (806)       (80)        (7)     (3,645)     (143)      (167)    (16,605)
Mexico                                                                    698        865       (778)      (278)      (502)       (88)        246       470         722       840        937        144         159      (228)     1,436       4,642
MEA                                                                       893        210       (177)      (499)       345        (85)       (281)       87        (327)     (311)      (158)        89        (370)     (104)       (60)       (749)
Canada                                                                    132         (2)       194          6        (65)      (377)        (74)        0         (83)       (3)        (8)       (58)         (8)       (4)       112        (238)
Colombia                                                                 (512)       977       (423)       385        876       (110)        558       283         277       314        215       (206)        326       297        (90)      3,165
   Total Net Operating Cash Flow                                          (21)     1,950     (4,045)    (2,353)    (1,325)    (1,043)       (795)      500      (1,067)       35        906        (38)     (3,537)     (183)     1,230      (9,784)

Non-Operating Disbursements
USA                                                                      (261)      (250)      (250)      (250)      (300)      (250)      (250)      (250)      (250)      (300)      (250)      (250)      (250)      (300)      (250)     (3,911)
Mexico                                                                      0       (116)         0          0          0          0          0        (94)       (72)       (22)      (116)       (22)         0          0          0        (441)
MEA                                                                         3          0          0          0          0          0         50          0          0          0          0          0          0          0          0          53
Canada                                                                    (82)       (22)       (72)       (22)      (396)       (32)       (72)       (22)       (72)       (22)       (22)       (72)       (22)       (22)       (22)       (975)
Colombia                                                                    0          0          0        (80)         0          0          0          0          0          0          0          0          0          0          0         (80)
   Total Non-Operating Disbursements                                     (340)      (388)      (322)      (352)      (696)      (282)      (272)      (366)      (394)      (344)      (388)      (344)      (272)      (322)      (272)     (5,354)

Cash Flow from Financing - Mandatory(1)
USA                                                                  (1,002)           0       (167)      (440)      (490)      (175)      (448)      (393)      (688)      (765)     (1,959)     (575)       (881)     (924)      (316)     (9,225)
Mexico                                                                    0            0          0          0       (214)         0          0          0          0          0           0         0           0         0          0        (214)
MEA                                                                       0         (170)       (21)       (54)      (217)         0         (2)      (130)       (51)      (113)        (23)        0           0         0        (14)       (795)
Canada                                                                 (102)        (102)      (102)      (102)      (237)         0          0          0          0          0           0         0           0         0          0        (644)
Colombia                                                                  0         (299)       (11)       (11)       (45)        (1)       (11)      (441)       (42)         0         (11)     (408)       (160)      (34)      (295)     (1,772)
     Total Cash Flow from Financing                                  (1,104)        (571)      (301)      (607)    (1,203)      (176)      (462)      (964)      (782)      (878)     (1,993)     (983)     (1,041)     (959)      (626)    (12,650)
(1) - Mandatory Financing - interest, amortization, and borrowing-base true-ups

Inter Company Transfers
USA                                                                           0          0          0          0          0          0          0          0          0          0          0          0          0          0          0           0
Mexico                                                                        0          0          0          0          0          0          0          0          0          0          0          0          0          0          0           0
MEA                                                                           0          0          0          0          0          0          0          0          0          0          0          0          0          0          0           0
Canada                                                                        0          0          0          0          0          0          0          0          0          0          0          0          0          0          0           0
Colombia                                                                      0          0          0          0          0          0          0          0          0          0          0          0          0          0          0           0
Total Inter Company Transfers                                                 0          0          0          0          0          0          0          0          0          0          0          0          0          0          0           0

Net Cash Flow
USA                                                                    (2,495)      (349)    (3,277)    (2,656)    (2,769)      (808)     (1,942)     (983)     (2,594)    (1,871)    (2,289)      (832)    (4,776)    (1,368)     (734)    (29,742)
Mexico                                                                    698        749       (778)      (278)      (716)       (88)        246       377         650        819        821        122        159       (228)    1,436       3,988
MEA                                                                       896         40       (198)      (553)       128        (85)       (233)      (43)       (378)      (424)      (181)        89       (370)      (104)      (74)     (1,490)
Canada                                                                    (52)      (126)        20       (118)      (698)      (410)       (146)      (22)       (155)       (25)       (30)      (130)       (30)       (27)       90      (1,857)
Colombia                                                                 (512)       677       (435)       294        831       (111)        547      (158)        234        314        204       (614)       166        263      (385)      1,314
   Net Cash Flow                                                       (1,465)       992     (4,668)    (3,311)    (3,224)    (1,501)     (1,529)     (830)     (2,243)    (1,187)    (1,475)    (1,365)    (4,850)    (1,464)      333     (27,787)

Cash Flow from Financing - Voluntary(2)
Plus: Encina Line - Draw / (Repay)                                          4         87         18      1,564      2,563          0          0          0           0        222          0          0          0        222          0      4,679
Plus: HSBC Swingline - Draw / (Repay)                                     270     (1,802)       778        278      1,025          0          0       (260)       (390)      (321)      (791)         8       (129)       255     (1,436)    (2,514)
Plus: In-Country Financing - Draw / (Repay)                                96          0          0          0          0         20         62          0           0          0         65        125        200         50          0        618
    Ending Cash                                                         9,792      9,068      5,197      3,727      4,092      2,611      1,144         54      (2,578)    (3,864)    (6,065)    (7,298)   (12,077)   (13,014)   (14,117)   (14,117)
(2) Voluntary Financing - draws on facilites to meet liquidity needs

Plus Encina Availability                                                3,947      3,922      3,904      2,563          0          0          0          0         222          0          0          0        222          0          0          0
Plus HSBC Swingline Availability                                          280      2,082      1,304      1,025         (0)        (0)        (0)       260         650        971      1,762      1,754      1,883      1,628      3,064      3,064
Plus: FHC Availability                                                      0          0          0          0          0          0          0          0           0          0          0          0          0          0          0          0
Plus: In-Country Availability (ITAU, BdB, BBVA, Scotia)                   142        308        327        327        537        517        455        506         553        657        592        467        267        217        217        217
    Total Liquidity                                                    14,161     15,380     10,731      7,642      4,629      3,128      1,599        820      (1,153)    (2,236)    (3,711)    (5,077)    (9,705)   (11,168)   (10,836)   (10,836)

Less: Minimum Operating Cash - US                                      (3,947)    (3,922)    (3,904)    (3,866)    (3,840)    (3,773)     (3,714)    (3,660)    (3,588)    (3,294)    (3,208)    (3,124)    (3,021)    (3,000)    (3,000)    (3,000)
Less: Minimum Operating Cash - Mexico                                  (7,730)    (7,589)    (7,638)    (7,687)    (7,725)    (7,661)     (7,867)    (8,073)    (8,275)    (8,442)    (8,574)    (8,823)    (9,068)    (9,196)    (9,325)    (9,325)
Less: Minimum Operating Cash - MEA                                       (220)      (220)      (220)      (220)      (220)      (220)       (220)      (220)      (220)      (220)      (220)      (220)      (220)      (220)      (220)      (220)
Less: Minimum Operating Cash - Canada                                    (445)      (213)      (150)      (150)      (150)      (150)       (150)      (150)      (150)      (150)      (150)      (150)      (150)      (150)      (150)      (150)
Less: Minimum Operating Cash - Colombia                                  (150)      (150)      (150)      (150)      (150)      (150)       (150)      (150)      (150)      (150)      (150)      (150)      (150)      (150)      (150)      (150)
   Operating Liquidity                                                  1,668      3,286     (1,331)    (4,431)    (7,457)    (8,827)    (10,502)   (11,433)   (13,536)   (14,492)   (16,013)   (17,544)   (22,313)   (23,884)   (23,681)   (23,681)
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    Qmax Solutions - Global Liquidity Summary                                                                                                                                                           DRAFT FOR DISCUSSION ONLY
    Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                           04/22/20

X USA Operations (Anchor, Corp & CPI)

    (All $'s in thousands)

    Forecast Status                                            Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst       Fcst         Fcst       Fcst       Fcst       Fcst
    13 Week Period                                              1         2         3         4         5         6         7         8         9        10        11         12           13         14         15         15
    Week Ending Date                                            4/3      4/10      4/17      4/24       5/1       5/8      5/15      5/22      5/29       6/5      6/12       6/19         6/26        7/3       7/10       7/10

R Customer Receipts: Anchor                                     2,863     2,704     2,652     2,674     2,670     2,719     2,657     2,622     2,635     2,669     2,668      2,654        2,677      2,382      2,116     39,360
    Total Receipts                                              2,863     2,704     2,652     2,674     2,670     2,719     2,657     2,622     2,635     2,669     2,668      2,654        2,677      2,382      2,116     39,360

    Disbursements: Operating
V   Anchor: Mud                                                (1,377)   (1,140)   (1,398)   (1,004)     (936)     (803)   (1,050)   (1,048)   (1,000)   (1,073)      (879)      (860)        (860)      (860)      (867)   (15,155)
V   Anchor: Spec Chem                                            (147)      (28)      (75)     (123)      (84)     (150)     (100)      (99)     (125)      (96)       (68)       (78)         (78)       (78)       (75)    (1,402)
V   Anchor: Logistics                                            (317)     (417)     (372)     (259)     (271)     (265)     (213)     (220)     (213)     (228)      (187)      (188)        (188)      (188)      (190)    (3,716)
V   Anchor: Comm Chem                                            (388)     (233)     (292)     (221)     (243)     (394)     (221)     (234)     (226)     (238)      (145)      (154)        (154)      (154)      (149)    (3,446)
V   Anchor: Screens & Equip                                       (85)      (96)     (117)      (87)      (93)     (118)      (66)      (83)      (75)      (79)       (49)       (44)         (44)       (44)       (43)    (1,124)
V   Anchor: Other                                                (179)     (206)      (79)     (382)     (327)      (69)     (152)     (117)     (161)      (86)       (72)       (76)         (76)       (76)       (77)    (2,134)
V   Corp: Recurring                                               (47)     (106)     (106)     (106)     (107)     (120)     (120)     (120)     (120)     (120)      (120)      (120)        (120)      (120)      (120)    (1,674)
V   CPI: Recurring                                               (352)     (391)     (370)     (387)     (351)     (160)     (160)     (160)     (160)     (160)      (160)      (160)        (160)      (160)      (160)    (3,449)
P   Wages: Anchor & Corp                                         (745)        0    (1,818)     (745)   (1,568)     (572)   (1,030)     (572)   (1,030)     (529)      (933)         0       (1,462)         0       (467)   (11,471)
P   Benefits: Anchor & Corp                                      (175)        0         0      (675)        0      (175)        0      (175)     (500)     (175)         0       (175)        (500)      (175)         0     (2,725)
P   Sales Tax & Other Auto-Debits: Anchor                        (281)     (186)     (885)     (650)     (670)     (275)     (790)     (135)     (680)     (690)      (135)      (806)      (2,680)      (670)      (135)    (9,669)
M   Acquisition Debt: Calumet                                    (328)        0         0      (319)        0         0         0         0      (328)        0          0          0         (321)         0          0     (1,296)
       Disbursements: Operating                                (4,422)   (2,803)   (5,512)   (4,959)   (4,649)   (3,101)   (3,900)   (2,962)   (4,618)   (3,474)    (2,748)    (2,661)      (6,643)    (2,525)    (2,283)   (57,261)

    Net Operating Cash Flows                                   (1,559)      (99)   (2,860)   (2,285)   (1,979)     (383)   (1,243)     (341)   (1,983)     (806)       (80)          (7)    (3,966)     (143)      (167)    (17,901)

  Disbursements: Non-Operating
M Cash Interest on New Credit Facility                           (135)        0         0         0      (128)        0         0         0         0      (173)        0          0            0       (126)         0        (562)
P Other Corp: Non-Recurring (Legal, Insurance, Pros, etc.)       (261)     (250)     (250)     (250)     (300)     (250)     (250)     (250)     (250)     (300)     (250)      (250)        (250)      (300)      (250)     (3,911)
     Disbursements: Non-Operating                                (396)     (250)     (250)     (250)     (428)     (250)     (250)     (250)     (250)     (473)     (250)      (250)        (250)      (426)      (250)     (4,473)

  Net Cash Flow Before Borrowing Base True-Up                  (1,955)     (349)   (3,110)   (2,535)   (2,407)     (633)   (1,493)     (591)   (2,233)   (1,278)      (330)     (257)       (4,216)      (570)     (417)    (22,374)
M Plus/Minus: Borrowing Base True-Up                             (540)       62      (167)     (121)     (362)     (175)     (448)     (393)     (361)     (592)    (1,959)     (575)         (560)      (798)     (316)     (7,306)
     Net Cash Flow USA                                         (2,495)     (287)   (3,277)   (2,656)   (2,769)     (808)   (1,942)     (983)   (2,594)   (1,871)    (2,289)     (832)       (4,776)    (1,368)     (734)    (29,680)


    Beginning Cash                                              7,105     4,614     4,352     1,093         0      (206)   (1,014)   (2,956)   (3,939)   (6,533)    (8,181)   (10,470)     (11,303)   (16,078)   (17,223)     7,105
    Less: Net Cash Flow USA                                    (2,495)     (287)   (3,277)   (2,656)   (2,769)     (808)   (1,942)     (983)   (2,594)   (1,871)    (2,289)      (832)      (4,776)    (1,368)      (734)   (29,680)
    Plus: Draws / (Repayments) from Barbados                        0         0         0         0         0         0         0         0         0         0          0          0            0          0          0          0
    Plus: Draws / (Repayments) on HSBC                              0         0         0         0         0         0         0         0         0         0          0          0            0          0          0          0
       Ending Cash                                              4,611     4,327     1,075    (1,564)   (2,769)   (1,014)   (2,956)   (3,939)   (6,533)   (8,403)   (10,470)   (11,303)     (16,078)   (17,446)   (17,957)   (22,575)
    Plus: Draws / (Repayments) on Encina                            4        25        18     1,564     2,563         0         0         0         0       222          0          0            0        222          0      4,618
       Ending Cash, After Other Sources                         4,614     4,352     1,093         0      (206)   (1,014)   (2,956)   (3,939)   (6,533)   (8,181)   (10,470)   (11,303)     (16,078)   (17,223)   (17,957)   (17,957)
    Plus: Illustrative Net Availability                         3,947     3,922     3,904     2,563         0         0         0         0       222         0          0          0          222          0          0          0
       Total Liquidity                                          8,561     8,274     4,997     2,563      (206)   (1,014)   (2,956)   (3,939)   (6,310)   (8,181)   (10,470)   (11,303)     (15,856)   (17,223)   (17,957)   (17,957)
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  Qmax Solutions - Global Liquidity Summary                                                                                                                                                     DRAFT FOR DISCUSSION ONLY
  Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                     04/22/20

X USA Operations (Anchor, Corp & CPI)

  (All $'s in thousands)

  Forecast Status                                            Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst       Fcst
  13 Week Period                                              1         2         3         4         5         6         7         8         9        10        11        12        13        14        15         15
  Week Ending Date                                            4/3      4/10      4/17      4/24       5/1       5/8      5/15      5/22      5/29       6/5      6/12      6/19      6/26       7/3      7/10       7/10

X Standalone: Anchor Ops, Corporate & CPI

  USA: Anchor Ops                                            4/3       4/10      4/17      4/24      5/1       5/8       5/15      5/22      5/29      6/5       6/12      6/19      6/26      7/3       7/10        Fcst
  Receipts                                                    2,863     2,704     2,652     2,674     2,670    2,719      2,657     2,622     2,635     2,669     2,668     2,654     2,677     2,382     2,116      39,360
  Anchor: Mud                                                (1,377)   (1,140)   (1,398)   (1,004)     (936)     (803)   (1,050)   (1,048)   (1,000)   (1,073)     (879)     (860)     (860)     (860)     (867)    (15,155)
  Anchor: Spec Chem                                            (147)      (28)      (75)     (123)      (84)     (150)     (100)      (99)     (125)      (96)      (68)      (78)      (78)      (78)      (75)     (1,402)
  Anchor: Logistics                                            (317)     (417)     (372)     (259)     (271)     (265)     (213)     (220)     (213)     (228)     (187)     (188)     (188)     (188)     (190)     (3,716)
  Anchor: Comm Chem                                            (388)     (233)     (292)     (221)     (243)     (394)     (221)     (234)     (226)     (238)     (145)     (154)     (154)     (154)     (149)     (3,446)
  Anchor: Screens & Equip                                       (85)      (96)     (117)      (87)      (93)     (118)      (66)      (83)      (75)      (79)      (49)      (44)      (44)      (44)      (43)     (1,124)
  Anchor: Other                                                (179)     (206)      (79)     (382)     (327)      (69)     (152)     (117)     (161)      (86)      (72)      (76)      (76)      (76)      (77)     (2,134)
  Payroll & Contractors                                        (670)        0    (1,195)     (670)   (1,195)     (497)     (729)     (497)     (729)     (454)     (702)        0    (1,156)        0      (392)     (8,886)
  Severance                                                       0         0      (160)        0       (35)        0       (26)        0       (26)        0       (14)        0       (14)        0         0        (275)
  Benefits                                                     (137)        0         0      (529)        0      (137)        0      (137)     (392)     (137)        0      (137)     (392)     (137)        0      (2,137)
  Sales Tax/Other: Recurring                                   (140)     (105)     (585)     (555)     (440)      (30)     (460)      (30)     (480)     (440)      (30)     (460)     (480)     (440)      (30)     (4,706)
  Sales Tax/Other: Non-Recurring                                  0         0         0         0      (105)     (105)     (105)     (105)     (105)     (105)     (105)     (105)     (105)     (105)     (105)     (1,155)
     USA: Anchor Ops                                           (578)      479    (1,621)   (1,157)   (1,059)      150      (464)       53      (897)     (268)      417       552      (870)      300       188      (4,776)
  Cash Interest on New Credit Facility                         (135)        0         0         0      (128)        0         0         0         0      (173)        0         0         0      (126)        0        (562)
  Plus/Minus: Borrowing Base True-Up                           (540)       62      (167)     (121)     (362)     (175)     (448)     (393)     (361)     (592)   (1,959)     (575)     (560)     (798)     (316)     (7,306)
  Plus: Draws / (Repayments) on Encina                            4        25        18     1,564     2,563         0         0         0         0       222         0         0         0       222         0       4,618
     Anchor Ops + Encina                                     (1,250)      566    (1,770)      285     1,014       (25)     (912)     (340)   (1,258)     (811)   (1,543)      (23)   (1,429)     (402)     (129)     (8,027)

  USA: Corporate                                             4/3       4/10      4/17      4/24      5/1       5/8       5/15      5/22      5/29      6/5       6/12      6/19      6/26      7/3       7/10        Fcst
  Corp: Recurring                                               (47)     (106)     (106)     (106)     (107)     (120)     (120)     (120)     (120)     (120)     (120)     (120)     (120)     (120)     (120)     (1,674)
  Corp: Non-Recurring                                          (261)     (250)     (250)     (250)     (300)     (250)     (250)     (250)     (250)     (300)     (250)     (250)     (250)     (300)     (250)     (3,911)
  Payroll & Contractors                                         (75)        0      (449)      (75)     (324)      (75)     (235)      (75)     (235)      (75)     (185)        0      (260)        0       (75)     (2,138)
  Severance                                                       0         0       (14)        0       (14)        0       (40)        0       (40)        0       (32)        0       (32)        0         0        (172)
  Benefits                                                      (38)        0         0      (146)        0       (38)        0       (38)     (108)      (38)        0       (38)     (108)      (38)        0        (588)
  Sales Tax/Other: Recurring                                      0       (65)      (50)      (95)     (125)     (140)        0         0       (95)     (145)        0       (50)   (2,095)     (125)        0      (2,985)
  Current Forecast                                             (469)      (16)     (250)     (319)        0         0      (225)        0      (328)        0         0      (191)     (321)        0         0      (2,119)
     USA: Corporate                                            (890)     (437)   (1,119)     (991)     (870)     (622)     (870)     (483)   (1,176)     (678)     (587)     (649)   (3,186)     (583)     (445)    (13,587)
  Plus: Draws / (Repayments) from Barbados                        0         0         0         0         0         0         0         0         0         0         0         0         0         0         0           0
  Plus: Draws / (Repayments) on HSBC                              0         0         0         0         0         0         0         0         0         0         0         0         0         0         0           0
     USA: Corporate + External Funding                         (890)     (437)   (1,119)     (991)     (870)     (622)     (870)     (483)   (1,176)     (678)     (587)     (649)   (3,186)     (583)     (445)    (13,587)

  USA: CPI                                                   4/3       4/10      4/17      4/24      5/1       5/8       5/15      5/22      5/29      6/5       6/12      6/19      6/26      7/3       7/10       Fcst
  CPI: Recurring                                               (352)     (391)     (370)     (387)     (351)     (160)     (160)     (160)     (160)     (160)     (160)     (160)     (160)     (160)     (160)    (3,449)
    USA: CPI                                                   (352)     (391)     (370)     (387)     (351)     (160)     (160)     (160)     (160)     (160)     (160)     (160)     (160)     (160)     (160)    (3,449)
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  Qmax Solutions - Global Liquidity Summary                                                                                                                                                             DRAFT FOR DISCUSSION ONLY
  Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                             04/22/20

X Mexico Operations

  (All $'s in thousands)

  Forecast Status                                              Fcst       Fcst      Fcst       Fcst       Fcst      Fcst       Fcst       Fcst      Fcst      Fcst      Fcst      Fcst      Fcst       Fcst       Fcst       Fcst
  13 Week Period                                                 1         2         3          4           5         6         7          8         9         10        11        12        13         14         15         15
  Week Ending Date                                              4/3       4/10      4/17       4/24        5/1       5/8       5/15       5/22      5/29       6/5      6/12      6/19      6/26        7/3       7/10       7/10

  Customer Receipts: Pemex                                        523      2,001       793        689        477       768        758        838       670       844       843       870       859        947        932     12,812
  Customer Receipts: Perfolat                                   1,400          0       432        432        432       432        993      1,332     1,432     1,132     1,132     1,132       432        432      1,583     12,732
  Customer Receipts: Other Customers                                0        218       436        195        312        62          0         45       163        14        41         2        87          2          1      1,579
    Total Receipts                                              1,923      2,219     1,662      1,317      1,222     1,262      1,751      2,215     2,266     1,990     2,017     2,004     1,378      1,382      2,516     27,123

  Disbursements: Operating
  Total Vendor Spend                                             (775)    (1,200)   (1,200)    (1,200)    (1,200)   (1,200)    (1,000)    (1,000)   (1,000)   (1,000)   (1,000)   (1,000)   (1,000)    (1,000)    (1,000)    (15,775)
  Rent - Facilities only                                            0        (74)        0          0         (4)      (70)         0          0        (4)      (70)        0         0        (4)       (70)         0        (296)
  Community Vendors                                                 0        (80)      (80)       (80)       (80)      (80)       (80)       (80)      (80)      (80)      (80)      (80)      (80)       (80)       (80)     (1,120)
  Payroll                                                        (400)         0      (960)         0       (440)        0       (420)         0      (460)        0         0      (420)        0       (460)         0      (3,560)
  VAT Taxes                                                         0          0         0       (135)         0         0          0       (135)        0         0         0         0      (135)         0          0        (405)
  Non-VAT Taxes                                                   (50)         0      (200)      (180)         0         0         (5)      (530)        0         0         0      (360)        0          0          0      (1,325)
     Disbursements: Operating                                  (1,225)    (1,354)   (2,440)    (1,595)    (1,724)   (1,350)    (1,505)    (1,745)   (1,544)   (1,150)   (1,080)   (1,860)   (1,219)    (1,610)    (1,080)    (22,481)

  Net Operating Cash Flows                                       698        865       (778)      (278)      (502)      (88)      246        470       722       840       937       144       159        (228)     1,436      4,642

  Disbursements: Non-Operating
  Cash Interest - Perfolat Loan                                       0        0           0          0     (214)          0          0        0         0         0         0         0           0          0          0     (214)
  Cash Amortization - Perfolat Loan                                   0        0           0          0        0           0          0        0         0         0         0         0           0          0          0        0
  Capex                                                               0        0           0          0        0           0          0      (94)      (72)      (22)        0       (22)          0          0          0     (209)
  Other Non-Recurring (FX, Legal, Insurance, Pros, etc.)              0     (116)          0          0        0           0          0        0         0         0      (116)        0           0          0          0     (232)
     Disbursements: Non-Operating                                     0     (116)          0          0     (214)          0          0      (94)      (72)      (22)     (116)      (22)          0          0          0     (655)

     Net Cash Flow Mexico                                        698        749       (778)      (278)      (716)      (88)      246        377       650       819       821       122       159        (228)     1,436      3,988


  Beginning Cash                                                  185      1,154       100        100        100      (175)      (263)       (17)      100       100       100       100       100        100        100         185
  Less: Net Cash Flow Mexico                                      698        749      (778)      (278)      (716)      (88)       246        377       650       819       821       122       159       (228)     1,436       3,988
  Plus: HSBC Swingline - Draw / (Repay)                           270     (1,802)      778        278        441         0          0       (260)     (650)     (819)     (821)     (122)     (159)       228     (1,436)     (4,073)
     Ending Cash, After Other Sources                           1,154        100       100        100       (175)     (263)       (17)       100       100       100       100       100       100        100        100         100
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  Qmax Solutions - Global Liquidity Summary                                                                                                                                                             DRAFT FOR DISCUSSION ONLY
  Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                             04/22/20

X Colombia Operations

  (All $'s in thousands)

  Forecast Status                                              Fcst       Fcst      Fcst      Fcst      Fcst      Fcst         Fcst      Fcst      Fcst      Fcst       Fcst      Fcst      Fcst       Fcst      Fcst       Fcst
  13 Week Period                                                1          2         3         4         5         6            7         8         9        10         11        12        13         14        15         15
  Week Ending Date                                              4/3       4/10      4/17      4/24       5/1       5/8         5/15      5/22      5/29       6/5       6/12      6/19      6/26        7/3      7/10       7/10

  Customer Receipts: Ecopetrol                                   184       1,649       86        244       872      214           563       662      439        68        475       475       475        348       178       6,931
  Other Customer Receipts                                        165         139      650        997       760      617           631     1,109      324       927        332       220       422        420       413       8,125
  Income Tax Refund                                                0           0        0          0         0        0             0         0        0         0          0         0         0          0         0           0
     Total Receipts                                              349       1,788      736      1,241     1,632      831         1,194     1,771      763       995        806       695       897        768       591      15,056

  Less: Receipts Collected in Barbados                           (71)       (989)     (211)      (28)     (288)     (175)        (186)     (218)     (145)     (22)       (157)     (157)     (157)      (115)     (59)     (2,976)
     Net Colombian Receipts: In-Country                          278         799       526     1,213     1,344       656        1,008     1,553       618      972         650       538       740        653      532      12,080

  Disbursements: Operating
  Vendors                                                        (600)      (100)     (300)     (200)     (400)     (400)        (400)     (200)     (200)     (200)      (250)     (250)     (160)      (150)     (100)     (3,910)
  Community Vendors                                              (200)      (280)     (270)     (250)     (250)     (200)        (180)     (180)     (180)     (200)      (210)     (220)     (220)      (220)     (220)     (3,280)
  Bank Service Charges                                             (1)        (1)       (1)       (1)       (1)       (1)          (1)       (1)       (1)       (1)        (1)       (1)       (1)        (1)       (1)        (15)
  Rent - Facilities only                                            0        (70)        0         0         0       (70)           0         0         0         0        (70)        0         0          0       (70)       (280)
  Other Recurring Expenses                                          0          0         0         0         0         0            0         0         0         0          0         0         0          0         0           0
  Payroll                                                         (60)      (310)     (370)     (400)     (100)     (200)         (50)     (440)     (100)     (200)       (50)     (430)      (50)      (100)     (200)     (3,060)
  VAT Taxes                                                         0          0         0         0         0         0            0      (548)        0         0          0         0         0          0         0        (548)
  Non-VAT Taxes                                                     0        (50)     (219)       (5)       (5)      (70)          (5)     (120)       (5)      (80)       (10)        0      (140)         0       (90)       (798)
     Disbursements: Operating                                    (861)      (811)   (1,160)     (856)     (756)     (941)        (636)   (1,488)     (486)     (681)      (591)     (901)     (571)      (471)     (681)    (11,891)

  Net Operating Cash Flows                                       (583)       (12)     (634)     357       588       (285)        372        65       132       291         59       (363)     169        182       (149)       190

  Disbursements: Non-Operating
  Cash Interest                                                       0       (8)       (3)      (11)      (10)          (1)      (11)       (8)       (8)          0      (11)      (37)       (8)         0        (4)       (122)
  Amortization                                                        0     (291)       (8)        0       (34)           0         0      (433)      (34)          0        0      (371)     (152)       (34)     (291)     (1,650)
  New Debt Issuance                                                   0        0         0         0         0            0         0         0         0           0        0         0         0          0         0           0
  Capex                                                               0        0         0       (80)        0            0         0         0         0           0        0         0         0          0         0         (80)
  Other Non-Recurring (FX, Legal, Insurance, Pros, etc.)              0        0         0         0         0            0         0         0         0           0        0         0         0          0         0           0
     Disbursements: Non-Operating                                     0     (299)      (11)      (91)      (45)          (1)      (11)     (441)      (42)          0      (11)     (408)     (160)       (34)     (295)     (1,852)

  Net Cash Flow Colombia                                         (583)      (311)     (645)     266       544       (287)        361       (377)      89       291         48       (771)          9     148       (444)     (1,662)


  Beginning Cash                                                1,024        441       130         0       266       810          523       884       507       596        888       935       164        173       321       1,024
  Less: Net Cash Flow Colombia                                   (583)      (311)     (645)      266       544      (287)         361      (377)       89       291         48      (771)        9        148      (444)     (1,662)
  Plus: Barbados Cash Transfer                                      0          0       516         0         0         0            0         0         0         0          0         0         0          0       123         638
     Ending Cash After Other Sources                              441        130         0       266       810       523          884       507       596       888        935       164       173        321         0          (0)
  Plus: Illustrative Net Availability - Barbados                1,122      2,111     1,806     1,834     2,122     2,297        2,483     2,701     2,846     2,868      3,025     3,182     3,338      3,453     3,389       3,389
  Plus: In-Country Availability (ITAU, BdB, BBVA, Scotia)           0          0         0         0         0         0            0         0         0         0          0         0         0          0         0           0
     Total Liquidity                                            1,563      2,241     1,806     2,100     2,931     2,820        3,367     3,208     3,442     3,756      3,960     3,346     3,512      3,774     3,389       3,389
  Less: Greater of Vendor Stretch & Minimum Operating Cash       (150)      (150)     (150)     (150)     (150)     (150)        (150)     (150)     (150)     (150)      (150)     (150)     (150)      (150)     (150)       (150)
     Operating Liquidity                                        1,413      2,091     1,656     1,950     2,781     2,670        3,217     3,058     3,292     3,606      3,810     3,196     3,362      3,624     3,239       3,239
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  Qmax Solutions - Global Liquidity Summary                                                                                                                                                       DRAFT FOR DISCUSSION ONLY
  Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                       04/22/20

X MEA Operations

  (All $'s in thousands)

  Forecast Status                                              Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst       Fcst
  13 Week Period                                                1         2         3         4         5         6         7         8         9        10        11        12        13        14        15          15
  Week Ending Date                                              4/3      4/10      4/17      4/24       5/1       5/8      5/15      5/22      5/29       6/5      6/12      6/19      6/26       7/3      7/10       7/10

  Customer Receipts                                             1,268      421       653       265       603       553       153       377       440       133       304       415       374        50        44       6,053
    Total Receipts                                              1,268      421       653       265       603       553       153       377       440       133       304       415       374        50        44       6,053

  Disbursements: Operating
  Vendor Payments - Inventory                                    (186)        0      (248)     (206)      (49)      (33)     (206)      (70)     (127)     (234)     (120)     (150)      (43)      (20)      (38)     (1,730)
  Vendor Payments - Freight                                        (2)        0       (34)       (2)        0         0         0        (2)       (5)        0        (1)        0        (5)        0        (2)        (53)
  Vendor Payments - Direct Expenses                               (65)       (5)     (191)      (79)     (162)     (349)      (43)      (45)     (108)     (171)      (57)      (18)     (326)      (61)      (38)     (1,718)
  Vendor Payments - Administrative (G&A)                           (7)      (14)       (7)       (4)      (11)      (16)      (13)       (1)        1        (1)      (11)       (1)       (5)       (7)      (10)       (107)
  Vendor Payments - Other                                           0        (4)        0       (10)        0        (4)      (76)      (10)        0         0        (6)        0       (10)        0        (5)       (125)
  Vendor payments - Direct Expenses - Other                         0         0      (200)        0         0      (200)        0         0      (200)        0         0         0         0         0         0        (600)
  Rent - Facilities only                                          (21)        0       (29)        0       (17)      (16)       (5)        0        (2)        0       (19)       (2)        0       (53)        0        (163)
  Other Recurring Expenses                                        (28)      (20)      (17)       (8)       (8)       (8)      (17)       (8)       (8)       (8)      (17)       (8)        0         0         0        (155)
  Payroll                                                         (61)     (157)      (55)     (421)      (10)       (6)      (45)     (124)     (311)        0       (45)      (88)     (348)      (13)        0      (1,684)
  Free Zone Levy                                                    0         0         0        (5)        0         0         0         0        (5)        0         0         0        (5)        0         0         (15)
  VAT Taxes                                                         0         0         0         0         0         0         0         0         0         0         0         0         0         0         0           0
  Non-VAT Taxes                                                     0        (6)      (43)      (28)        0        (6)      (18)      (30)        0       (30)     (186)      (48)        0         0        (6)       (401)
  Bank Service Charges                                             (6)       (5)       (6)       (1)       (2)        0       (11)        0        (2)        0         0       (11)       (2)        0        (5)        (51)
     Disbursements: Operating                                    (376)     (211)     (830)     (764)     (258)     (638)     (434)     (290)     (767)     (444)     (462)     (326)     (744)     (154)     (104)     (6,802)

  Net Operating Cash Flows                                       893       210       (177)     (499)     345        (85)     (281)      87       (327)     (311)     (158)      89       (370)     (104)      (60)      (749)

  Disbursements: Non-Operating
  Capex - IDEC                                                     0          0         0         0         0        0         0          0         0         0         0        0         0         0          0          0
  Capex - Egypt                                                    0          0         0         0         0        0         0          0         0         0         0        0         0         0          0          0
  Capex - Kuwait JV                                                0          0         0         0         0        0         0          0         0         0         0        0         0         0          0          0
  Capex - Algeria                                                  0          0         0         0         0        0         0          0         0         0         0        0         0         0          0          0
  Saudi Consulting Fees                                            0          0         0         0         0        0         0          0         0         0         0        0         0         0          0          0
  Corplease - Egypt                                                0          0         0       (54)        0        0         0        (78)        0         0       (21)       0         0         0        (14)      (167)
  Import Line - Draw / (Repayment)                                96       (166)      (19)        0      (210)      20        62        (51)      (47)     (104)       65      125       200        50          0         21
  Other Non-Recurring (FX, Legal, Insurance, Pros, etc.)           3          0         0         0         0        0        50          0         0         0         0        0         0         0          0         53
  Interest                                                         0         (4)       (2)        0        (7)       0        (2)        (1)       (4)       (9)       (2)       0         0         0          0        (31)
      Disbursements: Non-Operating                                99       (170)      (21)      (54)     (217)      20       110       (130)      (51)     (113)       42      125       200        50        (14)      (124)

     Net Cash Flow MEA                                           992        40       (198)     (553)     128        (65)     (171)      (43)     (378)     (424)     (116)     214       (170)      (54)      (74)      (872)


  Beginning Cash                                                1,133     2,125     2,165     1,967     1,414     1,542     1,477     1,306     1,263       885       461       345       559      389       335       1,133
  Less: Net Cash Flow MEA                                         992        40      (198)     (553)      128       (65)     (171)      (43)     (378)     (424)     (116)      214      (170)     (54)      (74)       (872)
  Plus: UOP - Kuwait JV Debt Draw / (Repay)                         0         0         0         0         0         0         0         0         0         0         0         0         0        0         0           0
  Plus: HSBC Swingline - Draw / (Repay)                             0         0         0         0         0         0         0         0         0         0         0         0         0        0         0           0
     Ending Cash, After Other Sources                           2,125     2,165     1,967     1,414     1,542     1,477     1,306     1,263       885       461       345       559       389      335       261         261
  Plus: In-Country Availability                                   142       308       327       327       537       517       455       506       553       657       592       467       267      217       217         217
     Total Liquidity                                            2,267     2,473     2,294     1,741     2,079     1,994     1,761     1,769     1,438     1,118       937     1,026       656      552       478         478
                                                   Case 20-34791 Document 7-2 Filed in TXSB on 09/30/20 Page 1216 of 1445


  Qmax Solutions - Global Liquidity Summary                                                                                                                                                                                  DRAFT FOR DISCUSSION ONLY
  Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                                                  04/22/20
  Forecast Does Not Reflect Any HSBC Principal, Interest, or Borrowing Base True-up Payments

X Canada Operations

  (All $'s in thousands)

  Forecast Status                                                          Fcst       Fcst         Fcst      Fcst       Fcst      Fcst      Fcst      Fcst       Fcst      Fcst         Fcst         Fcst      Fcst         Fcst         Fcst      Fcst
  13 Week Period                                                            1          2            3         4          5         6         7         8          9        10           11           12        13           14           15        15
  Week Ending Date                                                          4/3       4/10         4/17      4/24        5/1       5/8      5/15      5/22       5/29       6/5         6/12         6/19      6/26          7/3         7/10      7/10

  Customer Receipts                                                          814        306          500       506        441       131        56        56         56        53           53           53        53          182          233      3,494
    Total Receipts                                                           814        306          500       506        441       131        56        56         56        53           53           53        53          182          233      3,494

  Disbursements: Operating
  Vendor Payments                                                            (500)      (300)        (185)     (484)      (308)     (500)      (50)      (48)         0       (31)         (40)         (40)      (40)         (40)        (100)   (2,666)
  Bank Service Charges                                                         (1)        (1)          (1)       (1)        (1)       (1)       (1)       (1)        (1)       (1)          (1)          (1)       (1)          (1)          (1)      (15)
  Rent - Facilities only                                                      (17)         0            0         0        (17)        0         0         0          0       (17)           0            0         0          (17)           0       (68)
  Other Recurring Expenses                                                      0          0            0         0          0         0         0         0          0         0            0            0         0            0            0         0
  Payroll                                                                    (104)        (7)        (120)       (7)       (80)       (7)      (80)       (7)       (80)       (7)         (20)         (70)      (20)         (70)         (20)     (699)
  VAT Taxes                                                                   (60)         0            0         0       (100)        0         0         0        (50)        0            0            0         0          (50)           0      (260)
  Non-VAT Taxes                                                                 0          0            0        (8)         0         0         0         0         (8)        0            0            0         0           (8)           0       (24)
     Disbursements: Operating                                                (682)      (308)        (306)     (500)      (506)     (508)     (131)      (56)      (139)      (56)         (61)        (111)      (61)        (186)        (121)   (3,732)

  Net Operating Cash Flows                                                   132             (2)     194            6      (65)     (377)      (74)          0      (83)          (3)          (8)      (58)          (8)          (4)     112       (238)

  Disbursements: Non-Operating
  HSBC - Interest Payment                                                       0          0            0         0          0         0         0         0          0         0            0            0         0            0            0         0
  HSBC - Amortization                                                           0          0            0         0          0         0         0         0          0         0            0            0         0            0            0         0
  Terra - Acquisition Debt - P&I                                             (102)      (102)        (102)     (102)      (102)        0         0         0          0         0            0            0         0            0            0      (508)
  Tarek Acquisition Debt - P&I                                                  0          0            0         0          0         0         0         0          0         0            0            0         0            0            0         0
  Funding: India, Brazil, & Ecuador                                             0          0          (50)        0          0         0       (50)        0          0         0            0          (50)        0            0            0      (150)
  Asset Sale                                                                    0          0            0         0          0         0         0         0          0         0            0            0         0            0            0         0
  Microsoft Lease                                                               0          0            0         0       (136)        0         0         0          0         0            0            0         0            0            0      (136)
  Other Non-Recurring (FX, Legal, Insurance, Pros, LCs, etc.)                 (82)       (22)         (22)      (22)      (396)      (32)      (22)      (22)       (72)      (22)         (22)         (22)      (22)         (22)         (22)     (825)
     Disbursements: Non-Operating                                            (184)      (124)        (174)     (124)      (633)      (32)      (72)      (22)       (72)      (22)         (22)         (72)      (22)         (22)         (22)   (1,619)

  Net Cash Flow Before True-up                                                (52)      (126)         20       (118)      (698)     (410)     (146)      (22)      (155)      (25)         (30)        (130)      (30)         (27)         90     (1,857)
  Plus/Minus: Borrowing Base True-Up                                            0          0           0          0          0         0         0         0          0         0            0            0         0            0           0          0
  Net Cash Flow Canada                                                        (52)      (126)         20       (118)      (698)     (410)     (146)      (22)      (155)      (25)         (30)        (130)      (30)         (27)         90     (1,857)


  Beginning Cash                                                             388         336          210       231        113         0      (410)     (556)      (578)     (473)           0            0         0            0            0       388
  Less: Net Cash Flow Before True-up                                         (52)       (126)          20      (118)      (698)     (410)     (146)      (22)      (155)      (25)         (30)        (130)      (30)         (27)          90    (1,857)
  Plus: HSBC Swingline - Draw / (Repay)                                        0           0            0         0        584         0         0         0        260       498           30          130        30           27            0     1,558
     Ending Cash, After Other Sources                                        336         210          231       113          0      (410)     (556)     (578)      (473)        0            0            0         0            0           90        90
  Plus: Illustrative Net Availability                                        280       2,082        1,304     1,025          0         0         0       260        650       971        1,762        1,754     1,883        1,628        3,064     3,064
  Plus: FHC Availability                                                       0           0            0         0          0         0         0         0          0         0            0            0         0            0            0         0
     Total Liquidity                                                         616       2,292        1,534     1,139          0      (410)     (556)     (318)       177       971        1,762        1,754     1,883        1,628        3,154     3,154
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Qmax Solutions - Global Liquidity Summary                                                                                                                                                                            DRAFT FOR DISCUSSION ONLY
Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                                           04/22/20
Forecast Does Not Reflect Any HSBC Principal, Interest, or Borrowing Base True-up Payments


Forecast Status                                Fcst         Fcst         Fcst         Fcst         Fcst        Fcst        Fcst       Fcst        Fcst         Fcst        Fcst       Fcst       Fcst       Fcst         Fcst          Fcst
13 Week Period                                  1            2            3            4            5           6           7          8           9           10          11         12         13         14            15            15
Week Ending Date                                4/3         4/10         4/17         4/24         5/1         5/8         5/15       5/22        5/29         6/5         6/12       6/19       6/26       7/3          7/10          7/10



(All $'s in thousands)


Cash Flow


Cash Inflows                                      7,287        8,426        6,414       6,030        6,856       5,671       5,997      7,260       6,304        5,862       6,005      5,978      5,536      4,878        5,558        94,062
Less: Cash Outflows                              (8,382)      (9,150)     (10,285)      (7,500)     (6,491)     (7,152)     (7,464)    (8,350)     (8,937)      (7,148)     (8,205)    (7,210)   (10,315)    (5,815)       (6,661)     (119,066)
   Net Cash Flow                                 (1,095)         (724)     (3,872)      (1,470)          365    (1,481)     (1,467)    (1,090)     (2,632)      (1,286)     (2,201)    (1,233)    (4,780)        (937)     (1,103)      (25,005)


Beginning Cash Balance                          10,888         9,792        9,068        5,197       3,727       4,092       2,611      1,144            54     (2,578)     (3,864)    (6,065)    (7,298)   (12,077)      (13,014)      10,888
Plus / (Minus): Net Cash Flow                    (1,095)         (724)     (3,872)      (1,470)          365    (1,481)     (1,467)    (1,090)     (2,632)      (1,286)     (2,201)    (1,233)    (4,780)        (937)     (1,103)      (25,005)
   Ending Cash Balance                            9,792        9,068        5,197        3,727       4,092       2,611       1,144           54    (2,578)      (3,864)     (6,065)    (7,298)   (12,077)   (13,014)      (14,117)      (14,117)


Liquidity Calculation


Availability on HSBC Facility                         280      2,082        1,304        1,025             0           0          0        260          650          971     1,762      1,754      1,883      1,628        3,064         3,064
Plus: Availability on Encina Facility             3,947        3,922        3,904        2,563             0           0          0          0          222            0          0          0        222           0            0            0
Plus: Marginable Cash                             7,227        6,774        3,230        2,047       1,740           611    (1,046)    (1,716)     (4,060)      (5,213)     (7,345)    (8,021)   (12,640)   (13,670)      (14,378)      (14,378)
Plus: FHC Availability                                  0           0           0             0            0           0          0          0            0           0           0          0          0          0            0             0
   Free Liqudity                                11,454       12,778         8,437        5,635       1,740           611    (1,046)    (1,456)     (3,188)      (4,242)     (5,584)    (6,267)   (10,534)   (12,042)      (11,314)      (11,314)
Plus: Non-Marginable Cash                         2,566        2,295        1,967        1,680       2,352       2,000       2,190      1,770          1,481     1,349       1,280         723        563         657          261           261
Plus: In-Country Availability                         142        308          327            327         537         517        455        506          553          657        592        467        267         217          217           217
Plus: 1st National Capex Availability                   0           0           0              0           0           0          0          0            0            0          0          0          0           0            0            0
   Total Liquidity                              14,161       15,380       10,731         7,642       4,629       3,128       1,599         820     (1,153)      (2,236)     (3,711)    (5,077)    (9,705)   (11,168)      (10,836)      (10,836)


Debt / Capitalization


Encina (Revolving & Term Loan)                  22,368       22,226       22,123       23,214       25,602      25,153      24,761     24,400      23,696       21,959      21,384     20,825     19,916     19,822       19,740        19,740
HSBC                                           144,467      142,665      143,443      143,721      144,747     144,747     144,747    144,487     144,097      143,776     142,985    142,993    142,864    143,118      141,683       141,683
   Senior Secured Debt                         166,836      164,891      165,566      166,935      170,349     169,900     169,508    168,887     167,794      165,735     164,370    163,818    162,779    162,940      161,423       161,423
MEX: Perforlat Debt                               7,360        7,360        7,360       7,360        7,360       7,360       7,360      7,360       7,360        7,360       7,360      7,360      7,360      7,360        7,360          7,360
COL: BBVA                                         1,484        1,484       1,484        1,484        1,484       1,484       1,484      1,484       1,484        1,484       1,484      1,113      1,113      1,113        1,113          1,113
COL: Banco de Bogota                              3,181        2,890        2,881        2,881       2,847       2,847       2,847      2,847       2,812        2,812       2,812      2,812      2,660      2,626        2,335          2,335
COL: ITAU                                         1,395        1,395        1,395       1,395        1,395       1,395       1,395         962          962          962        962        962        962         962          962           962
IDEC: Import Line                                 1,758        1,592        1,573        1,573       1,363       1,383       1,445      1,394       1,347        1,243       1,308      1,433      1,633      1,683        1,683         1,683
EGY: Corplease                                        313        313          313            259         259         259        259        181          181          181        160        160        160         160          147           147
USA: 1st National Capex Line                            0           0           0              0          0            0          0          0            0           0           0          0          0           0           0             0
   Total Debt                                  182,327      179,925      180,573      181,888      185,057     184,628     184,298    183,115     181,941      179,778     178,457    177,659    176,669    176,845      175,023       175,023
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                             Jonathan Tomm
                           Barrister and Solicitor
                                                     Case 20-34791 Document 7-2 Filed in TXSB on 09/30/20 Page 1219 of 1445


Qmax Solutions - Global Liquidity Summary                                                                                                                                                                                                       DRAFT FOR DISCUSSION ONLY
Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                                                                      04/29/20
Forecast Does Not Reflect Any HSBC Principal, Interest, or Borrowing Base True-up Payments

Forecast Status                                                     Fcst         Fcst        Fcst        Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst        Fcst        Fcst            Fcst           Fcst
13 Week Period                                                       1            2           3           4          5          6          7          8          9         10          11         12         13         14           15              16             16
Week Ending Date                                                    4/3          4/10        4/17        4/24       5/1        5/8        5/15       5/22       5/29       6/5        6/12       6/19       6/26        7/3         7/10            7/17           7/17
(All $'s in thousands)
Beginning Free Liquidity[1]                                         13,009       11,454       12,778       8,437      5,635      1,740        611    (1,046)    (1,456)    (3,188)    (4,242)    (5,584)     (6,267)    (10,534)    (12,042)       (11,314)        13,009
Beginning Total Liquidity[2]                                        15,404       14,161       15,380     10,731       7,642      4,629      3,128      1,599        820    (1,153)    (2,236)    (3,711)     (5,077)     (9,705)    (11,168)       (10,836)        15,404
Operating Cash Receipts                                               7,217        7,437        6,203      6,002      6,568      5,495      5,811      7,042      6,159      5,840      5,848      5,821       5,379       4,763       5,500          5,499        96,585
Priority                                                             (2,550)      (1,635)      (5,396)    (3,952)    (4,048)    (2,039)    (3,010)    (3,451)    (3,901)    (2,431)    (2,165)    (3,064)     (5,919)     (2,310)     (1,568)        (3,334)       (50,774)
Vendors                                                              (5,028)      (4,240)      (5,174)    (4,755)    (4,541)    (4,781)    (3,868)    (3,457)    (3,719)    (3,718)    (3,165)    (3,139)     (3,269)     (2,958)     (2,974)        (2,886)       (61,670)
    Operating Disbursements                                         (7,577)      (5,875)     (10,570)    (8,707)    (8,589)    (6,820)    (6,878)    (6,908)    (7,620)    (6,149)    (5,330)    (6,203)     (9,189)     (5,268)     (4,541)        (6,221)      (112,445)
Net Operating Cash Flow                                                (361)       1,562      (4,367)    (2,705)    (2,020)    (1,325)    (1,067)        134    (1,461)       (309)       518       (382)    (3,809)        (505)        958           (722)      (15,860)
Mandatory Financing                                                  (1,104)        (571)        (301)      (607)    (1,203)      (176)      (462)      (964)      (782)      (878)    (1,993)      (983)     (1,041)       (959)       (626)            (88)      (12,738)
    Non-Operating Cash Disbursements                                (1,104)         (571)        (301)      (607)   (1,203)       (176)      (462)      (964)      (782)      (878)   (1,993)       (983)    (1,041)        (959)       (626)           (88)      (12,738)
Net Operating Cash Flow Before Voluntary Financing                  (1,465)          992     (4,668)     (3,311)    (3,224)    (1,501)    (1,529)      (830)    (2,243)    (1,187)    (1,475)    (1,365)     (4,850)     (1,464)         333          (810)       (28,598)
Voluntary Financing                                                    370        (1,716)       797       1,842      3,588         20         62       (260)      (390)        (99)     (726)       133          71         527       (1,436)         (692)         2,091
Net Cash Flow                                                       (1,095)         (724)    (3,872)     (1,470)       365     (1,481)    (1,467)    (1,090)    (2,632)    (1,286)    (2,201)    (1,233)     (4,780)       (937)     (1,103)        (1,502)       (26,507)
Ending Free Liquidity[1]                                            11,454       12,778       8,437       5,635      1,740        611     (1,046)    (1,456)    (3,188)    (4,242)    (5,584)    (6,267)    (10,534)    (12,042)    (11,314)       (12,161)       (12,161)
Ending Total Liquidity[2]                                           14,161       15,380      10,731       7,642      4,629      3,128      1,599        820     (1,153)    (2,236)    (3,711)    (5,077)     (9,705)    (11,168)    (10,836)       (11,646)       (11,646)

Current Forecast
ASK FROM HSBC - In Week (No Excess AP Catch-Up)                            0            0           0           0    3,260      1,129      1,656        410      1,732      1,055      1,342        683      4,267       1,508        (728)            846         17,161
ASK FROM HSBC - Cum (No Excess AP Catch-Up)                                0            0           0           0    3,260      4,389      6,046      6,456      8,188      9,242     10,584     11,267     15,534      17,042      16,314          17,161

Prior Forecast: w/e 3.20 to w/e 6.12
ASK FROM HSBC - In Week (No Excess AP Catch-Up)                            0            0           0       932      5,995        757      1,572        509      2,291        958        852                                                                       13,866
ASK FROM HSBC - Cum (No Excess AP Catch-Up)                                0            0           0       932      6,926      7,683      9,255      9,764     12,056     13,014     13,866

Cumulative Ask: Better / (Worse)                                           0            0           0       932      3,666      3,294      3,210      3,309      3,868      3,772      3,282
                                                                 Case 20-34791 Document 7-2 Filed in TXSB on 09/30/20 Page 1220 of 1445


Qmax Solutions - Global Liquidity Summary                                                                                                                                                                                          DRAFT FOR DISCUSSION ONLY
Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                                                          04/29/20
Forecast Does Not Reflect Any HSBC Principal, Interest, or Borrowing Base True-up Payments

(All $'s in thousands)

Forecast Status                                                        Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst       Fcst        Fcst
13 Week Period                                                          1          2          3          4          5          6          7          8          9          10         11         12         13         14         15         16          16
Week Ending Date                                                        4/3       4/10       4/17       4/24        5/1        5/8       5/15       5/22       5/29        6/5       6/12       6/19       6/26        7/3       7/10       7/17        7/17

Global Liquidity


Beginning Cash                                                         10,888      9,792      9,068      5,197      3,727      4,092      2,611      1,144         54      (2,578)    (3,864)    (6,065)    (7,298)   (12,077)   (13,014)   (14,117)   10,888

Net Operating Cash Flow
USA                                                                    (1,231)       (99)    (2,860)    (1,966)    (1,979)      (383)     (1,243)     (341)     (1,655)     (806)       (80)        (7)     (3,645)     (143)      (167)      (787)    (17,392)
Mexico                                                                    698        865       (778)      (278)      (502)       (88)        246       470         722       840        937        144         159      (228)     1,436        742       5,384
MEA                                                                       893        210       (177)      (499)       345        (85)       (281)       87        (327)     (311)      (158)        89        (370)     (104)       (60)        36        (713)
Canada                                                                    132         (2)       194          6        (65)      (377)        (74)        0         (83)       (3)        (8)       (58)         (8)       (4)       112         12        (226)
Colombia                                                                 (512)       977       (423)       385        876       (110)        558       283         277       314        215       (206)        326       297        (90)      (403)      2,762
   Total Net Operating Cash Flow                                          (21)     1,950     (4,045)    (2,353)    (1,325)    (1,043)       (795)      500      (1,067)       35        906        (38)     (3,537)     (183)     1,230       (400)    (10,184)

Non-Operating Disbursements
USA                                                                      (261)      (250)      (250)      (250)      (300)      (250)      (250)      (250)      (250)      (300)      (250)      (250)      (250)      (300)      (250)      (250)     (4,161)
Mexico                                                                      0       (116)         0          0          0          0          0        (94)       (72)       (22)      (116)       (22)         0          0          0          0        (441)
MEA                                                                         3          0          0          0          0          0         50          0          0          0          0          0          0          0          0          0          53
Canada                                                                    (82)       (22)       (72)       (22)      (396)       (32)       (72)       (22)       (72)       (22)       (22)       (72)       (22)       (22)       (22)       (72)     (1,047)
Colombia                                                                    0          0          0        (80)         0          0          0          0          0          0          0          0          0          0          0          0         (80)
   Total Non-Operating Disbursements                                     (340)      (388)      (322)      (352)      (696)      (282)      (272)      (366)      (394)      (344)      (388)      (344)      (272)      (322)      (272)      (322)     (5,676)

Cash Flow from Financing - Mandatory(1)
USA                                                                  (1,002)           0       (167)      (440)      (490)      (175)      (448)      (393)      (688)      (765)     (1,959)     (575)       (881)     (924)      (316)        (81)    (9,306)
Mexico                                                                    0            0          0          0       (214)         0          0          0          0          0           0         0           0         0          0           0       (214)
MEA                                                                       0         (170)       (21)       (54)      (217)         0         (2)      (130)       (51)      (113)        (23)        0           0         0        (14)          0       (795)
Canada                                                                 (102)        (102)      (102)      (102)      (237)         0          0          0          0          0           0         0           0         0          0           0       (644)
Colombia                                                                  0         (299)       (11)       (11)       (45)        (1)       (11)      (441)       (42)         0         (11)     (408)       (160)      (34)      (295)         (7)    (1,779)
     Total Cash Flow from Financing                                  (1,104)        (571)      (301)      (607)    (1,203)      (176)      (462)      (964)      (782)      (878)     (1,993)     (983)     (1,041)     (959)      (626)        (88)   (12,738)
(1) - Mandatory Financing - interest, amortization, and borrowing-base true-ups

Inter Company Transfers
USA                                                                           0          0          0          0          0          0          0          0          0          0          0          0          0          0          0          0           0
Mexico                                                                        0          0          0          0          0          0          0          0          0          0          0          0          0          0          0          0           0
MEA                                                                           0          0          0          0          0          0          0          0          0          0          0          0          0          0          0          0           0
Canada                                                                        0          0          0          0          0          0          0          0          0          0          0          0          0          0          0          0           0
Colombia                                                                      0          0          0          0          0          0          0          0          0          0          0          0          0          0          0          0           0
Total Inter Company Transfers                                                 0          0          0          0          0          0          0          0          0          0          0          0          0          0          0          0           0

Net Cash Flow
USA                                                                    (2,495)      (349)    (3,277)    (2,656)    (2,769)      (808)     (1,942)     (983)     (2,594)    (1,871)    (2,289)      (832)    (4,776)    (1,368)     (734)     (1,118)   (30,860)
Mexico                                                                    698        749       (778)      (278)      (716)       (88)        246       377         650        819        821        122        159       (228)    1,436         742      4,730
MEA                                                                       896         40       (198)      (553)       128        (85)       (233)      (43)       (378)      (424)      (181)        89       (370)      (104)      (74)         36     (1,454)
Canada                                                                    (52)      (126)        20       (118)      (698)      (410)       (146)      (22)       (155)       (25)       (30)      (130)       (30)       (27)       90         (60)    (1,917)
Colombia                                                                 (512)       677       (435)       294        831       (111)        547      (158)        234        314        204       (614)       166        263      (385)       (410)       903
   Net Cash Flow                                                       (1,465)       992     (4,668)    (3,311)    (3,224)    (1,501)     (1,529)     (830)     (2,243)    (1,187)    (1,475)    (1,365)    (4,850)    (1,464)      333        (810)   (28,598)

Cash Flow from Financing - Voluntary(2)
Plus: Encina Line - Draw / (Repay)                                          4         87         18      1,564      2,563          0          0          0           0        222          0          0          0        222          0          0      4,679
Plus: HSBC Swingline - Draw / (Repay)                                     270     (1,802)       778        278      1,025          0          0       (260)       (390)      (321)      (791)         8       (129)       255     (1,436)      (742)    (3,256)
Plus: In-Country Financing - Draw / (Repay)                                96          0          0          0          0         20         62          0           0          0         65        125        200         50          0         50        668
    Ending Cash                                                         9,792      9,068      5,197      3,727      4,092      2,611      1,144         54      (2,578)    (3,864)    (6,065)    (7,298)   (12,077)   (13,014)   (14,117)   (15,619)   (15,619)
(2) Voluntary Financing - draws on facilites to meet liquidity needs

Plus Encina Availability                                                3,947      3,922      3,904      2,563          0          0          0          0         222          0          0          0        222          0          0          0          0
Plus HSBC Swingline Availability                                          280      2,082      1,304      1,025         (0)        (0)        (0)       260         650        971      1,762      1,754      1,883      1,628      3,064      3,806      3,806
Plus: FHC Availability                                                      0          0          0          0          0          0          0          0           0          0          0          0          0          0          0          0          0
Plus: In-Country Availability (ITAU, BdB, BBVA, Scotia)                   142        308        327        327        537        517        455        506         553        657        592        467        267        217        217        167        167
    Total Liquidity                                                    14,161     15,380     10,731      7,642      4,629      3,128      1,599        820      (1,153)    (2,236)    (3,711)    (5,077)    (9,705)   (11,168)   (10,836)   (11,646)   (11,646)

Less: Minimum Operating Cash - US                                      (3,947)    (3,922)    (3,904)    (3,866)    (3,840)    (3,773)     (3,714)    (3,660)    (3,588)    (3,294)    (3,208)    (3,124)    (3,021)    (3,000)    (3,000)    (3,000)    (3,000)
Less: Minimum Operating Cash - Mexico                                  (7,730)    (7,589)    (7,638)    (7,687)    (7,725)    (7,661)     (7,867)    (8,073)    (8,275)    (8,442)    (8,574)    (8,823)    (9,068)    (9,196)    (9,325)    (9,454)    (9,454)
Less: Minimum Operating Cash - MEA                                       (220)      (220)      (220)      (220)      (220)      (220)       (220)      (220)      (220)      (220)      (220)      (220)      (220)      (220)      (220)      (220)      (220)
Less: Minimum Operating Cash - Canada                                    (445)      (213)      (150)      (150)      (150)      (150)       (150)      (150)      (150)      (150)      (150)      (150)      (150)      (150)      (150)      (150)      (150)
Less: Minimum Operating Cash - Colombia                                  (150)      (150)      (150)      (150)      (150)      (150)       (150)      (150)      (150)      (150)      (150)      (150)      (150)      (150)      (150)      (150)      (150)
   Operating Liquidity                                                  1,668      3,286     (1,331)    (4,431)    (7,457)    (8,827)    (10,502)   (11,433)   (13,536)   (14,492)   (16,013)   (17,544)   (22,313)   (23,884)   (23,681)   (24,621)   (24,621)
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    Qmax Solutions - Global Liquidity Summary                                                                                                                                                                        DRAFT FOR DISCUSSION ONLY
    Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                                        04/29/20

X USA Operations (Anchor, Corp & CPI)

    (All $'s in thousands)

    Forecast Status                                             Fcst       Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst       Fcst         Fcst       Fcst       Fcst       Fcst       Fcst
    13 Week Period                                               1          2         3         4         5         6         7         8         9        10        11         12           13         14         15         16         16
    Week Ending Date                                             4/3       4/10      4/17      4/24       5/1       5/8      5/15      5/22      5/29       6/5      6/12       6/19         6/26        7/3       7/10       7/17       7/17

R Customer Receipts: Anchor                                      2,863      2,704     2,652     2,674     2,670     2,719     2,657     2,622     2,635     2,669     2,668      2,654        2,677      2,382      2,116      2,264      41,624
    Total Receipts                                               2,863      2,704     2,652     2,674     2,670     2,719     2,657     2,622     2,635     2,669     2,668      2,654        2,677      2,382      2,116      2,264      41,624

    Disbursements: Operating
V   Anchor: Mud                                                  (1,377)   (1,140)   (1,398)   (1,004)     (936)     (803)   (1,050)   (1,048)   (1,000)   (1,073)      (879)      (860)        (860)      (860)      (867)      (738)   (15,894)
V   Anchor: Spec Chem                                              (147)      (28)      (75)     (123)      (84)     (150)     (100)      (99)     (125)      (96)       (68)       (78)         (78)       (78)       (75)       (65)    (1,468)
V   Anchor: Logistics                                              (317)     (417)     (372)     (259)     (271)     (265)     (213)     (220)     (213)     (228)      (187)      (188)        (188)      (188)      (190)      (163)    (3,878)
V   Anchor: Comm Chem                                              (388)     (233)     (292)     (221)     (243)     (394)     (221)     (234)     (226)     (238)      (145)      (154)        (154)      (154)      (149)      (130)    (3,575)
V   Anchor: Screens & Equip                                         (85)      (96)     (117)      (87)      (93)     (118)      (66)      (83)      (75)      (79)       (49)       (44)         (44)       (44)       (43)       (37)    (1,162)
V   Anchor: Other                                                  (179)     (206)      (79)     (382)     (327)      (69)     (152)     (117)     (161)      (86)       (72)       (76)         (76)       (76)       (77)       (67)    (2,201)
V   Corp: Recurring                                                 (47)     (106)     (106)     (106)     (107)     (120)     (120)     (120)     (120)     (120)      (120)      (120)        (120)      (120)      (120)      (130)    (1,804)
V   CPI: Recurring                                                 (352)     (391)     (370)     (387)     (351)     (160)     (160)     (160)     (160)     (160)      (160)      (160)        (160)      (160)      (160)      (160)    (3,609)
P   Wages: Anchor & Corp                                           (745)        0    (1,818)     (745)   (1,568)     (572)   (1,030)     (572)   (1,030)     (529)      (933)         0       (1,462)         0       (467)      (904)   (12,375)
P   Benefits: Anchor & Corp                                        (175)        0         0      (675)        0      (175)        0      (175)     (500)     (175)         0       (175)        (500)      (175)         0          0     (2,725)
P   Sales Tax & Other Auto-Debits: Anchor                          (281)     (186)     (885)     (650)     (670)     (275)     (790)     (135)     (680)     (690)      (135)      (806)      (2,680)      (670)      (135)      (656)   (10,325)
M   Acquisition Debt: Calumet                                      (328)        0         0      (319)        0         0         0         0      (328)        0          0          0         (321)         0          0          0     (1,296)
       Disbursements: Operating                                  (4,422)   (2,803)   (5,512)   (4,959)   (4,649)   (3,101)   (3,900)   (2,962)   (4,618)   (3,474)    (2,748)    (2,661)      (6,643)    (2,525)    (2,283)    (3,051)   (60,312)

    Net Operating Cash Flows                                     (1,559)      (99)   (2,860)   (2,285)   (1,979)     (383)   (1,243)     (341)   (1,983)     (806)       (80)          (7)    (3,966)     (143)      (167)      (787)    (18,688)

  Disbursements: Non-Operating
M Cash Interest on New Credit Facility                            (135)         0         0         0      (128)        0         0         0         0      (173)        0          0            0       (126)         0          0        (562)
P Other Corp: Non-Recurring (Legal, Insurance, Pros, etc.)        (261)      (250)     (250)     (250)     (300)     (250)     (250)     (250)     (250)     (300)     (250)      (250)        (250)      (300)      (250)      (250)     (4,161)
     Disbursements: Non-Operating                                 (396)      (250)     (250)     (250)     (428)     (250)     (250)     (250)     (250)     (473)     (250)      (250)        (250)      (426)      (250)      (250)     (4,723)

  Net Cash Flow Before Borrowing Base True-Up                    (1,955)     (349)   (3,110)   (2,535)   (2,407)     (633)   (1,493)     (591)   (2,233)   (1,278)      (330)     (257)       (4,216)      (570)     (417)     (1,037)   (23,411)
M Plus/Minus: Borrowing Base True-Up                               (540)       62      (167)     (121)     (362)     (175)     (448)     (393)     (361)     (592)    (1,959)     (575)         (560)      (798)     (316)        (81)    (7,387)
     Net Cash Flow USA                                           (2,495)     (287)   (3,277)   (2,656)   (2,769)     (808)   (1,942)     (983)   (2,594)   (1,871)    (2,289)     (832)       (4,776)    (1,368)     (734)     (1,118)   (30,798)


    Beginning Cash                                                7,105     4,614     4,352     1,093         0      (206)   (1,014)   (2,956)   (3,939)   (6,533)    (8,181)   (10,470)     (11,303)   (16,078)   (17,223)   (17,957)     7,105
    Less: Net Cash Flow USA                                      (2,495)     (287)   (3,277)   (2,656)   (2,769)     (808)   (1,942)     (983)   (2,594)   (1,871)    (2,289)      (832)      (4,776)    (1,368)      (734)    (1,118)   (30,798)
    Plus: Draws / (Repayments) from Barbados                          0         0         0         0         0         0         0         0         0         0          0          0            0          0          0          0          0
    Plus: Draws / (Repayments) on HSBC                                0         0         0         0         0         0         0         0         0         0          0          0            0          0          0          0          0
       Ending Cash                                                4,611     4,327     1,075    (1,564)   (2,769)   (1,014)   (2,956)   (3,939)   (6,533)   (8,403)   (10,470)   (11,303)     (16,078)   (17,446)   (17,957)   (19,075)   (23,693)
    Plus: Draws / (Repayments) on Encina                              4        25        18     1,564     2,563         0         0         0         0       222          0          0            0        222          0          0      4,618
       Ending Cash, After Other Sources                           4,614     4,352     1,093         0      (206)   (1,014)   (2,956)   (3,939)   (6,533)   (8,181)   (10,470)   (11,303)     (16,078)   (17,223)   (17,957)   (19,075)   (19,075)
    Plus: Illustrative Net Availability                           3,947     3,922     3,904     2,563         0         0         0         0       222         0          0          0          222          0          0          0          0
       Total Liquidity                                            8,561     8,274     4,997     2,563      (206)   (1,014)   (2,956)   (3,939)   (6,310)   (8,181)   (10,470)   (11,303)     (15,856)   (17,223)   (17,957)   (19,075)   (19,075)
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  Qmax Solutions - Global Liquidity Summary                                                                                                                                                              DRAFT FOR DISCUSSION ONLY
  Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                              04/29/20

X USA Operations (Anchor, Corp & CPI)

  (All $'s in thousands)

  Forecast Status                                          Fcst       Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst       Fcst
  13 Week Period                                            1          2         3         4         5         6         7         8         9        10        11        12        13        14        15        16         16
  Week Ending Date                                          4/3       4/10      4/17      4/24       5/1       5/8      5/15      5/22      5/29       6/5      6/12      6/19      6/26       7/3      7/10      7/17       7/17

X Standalone: Anchor Ops, Corporate & CPI

  USA: Anchor Ops                                           4/3       4/10      4/17      4/24      5/1       5/8       5/15      5/22      5/29      6/5       6/12      6/19      6/26      7/3       7/10      7/17        Fcst
  Receipts                                                   2,863     2,704     2,652     2,674     2,670     2,719     2,657     2,622     2,635     2,669     2,668     2,654     2,677     2,382     2,116     2,264      41,624
  Anchor: Mud                                               (1,377)   (1,140)   (1,398)   (1,004)     (936)     (803)   (1,050)   (1,048)   (1,000)   (1,073)     (879)     (860)     (860)     (860)     (867)     (738)    (15,894)
  Anchor: Spec Chem                                           (147)      (28)      (75)     (123)      (84)     (150)     (100)      (99)     (125)      (96)      (68)      (78)      (78)      (78)      (75)      (65)     (1,468)
  Anchor: Logistics                                           (317)     (417)     (372)     (259)     (271)     (265)     (213)     (220)     (213)     (228)     (187)     (188)     (188)     (188)     (190)     (163)     (3,878)
  Anchor: Comm Chem                                           (388)     (233)     (292)     (221)     (243)     (394)     (221)     (234)     (226)     (238)     (145)     (154)     (154)     (154)     (149)     (130)     (3,575)
  Anchor: Screens & Equip                                      (85)      (96)     (117)      (87)      (93)     (118)      (66)      (83)      (75)      (79)      (49)      (44)      (44)      (44)      (43)      (37)     (1,162)
  Anchor: Other                                               (179)     (206)      (79)     (382)     (327)      (69)     (152)     (117)     (161)      (86)      (72)      (76)      (76)      (76)      (77)      (67)     (2,201)
  Payroll & Contractors                                       (670)         0   (1,195)     (670)   (1,195)     (497)     (729)     (497)     (729)     (454)     (702)        0    (1,156)        0      (392)     (671)     (9,556)
  Severance                                                      0          0     (160)        0       (35)        0       (26)         0      (26)        0       (14)        0       (14)        0         0       (14)        (289)
  Benefits                                                    (137)         0         0     (529)        0      (137)        0      (137)     (392)     (137)        0      (137)     (392)     (137)        0         0      (2,137)
  Sales Tax/Other: Recurring                                  (140)     (105)     (585)     (555)     (440)      (30)     (460)      (30)     (480)     (440)      (30)     (460)     (480)     (440)      (30)     (460)     (5,166)
  Sales Tax/Other: Non-Recurring                                 0          0         0        0      (105)     (105)     (105)     (105)     (105)     (105)     (105)     (105)     (105)     (105)     (105)     (105)     (1,260)
     USA: Anchor Ops                                          (578)      479    (1,621)   (1,157)   (1,059)      150      (464)        53     (897)     (268)      417       552      (870)      300       188      (186)     (4,962)
  Cash Interest on New Credit Facility                        (135)         0         0        0      (128)        0         0          0        0      (173)        0         0         0      (126)        0         0         (562)
  Plus/Minus: Borrowing Base True-Up                          (540)        62     (167)     (121)     (362)     (175)     (448)     (393)     (361)     (592)   (1,959)     (575)     (560)     (798)     (316)      (81)      (7,387)
  Plus: Draws / (Repayments) on Encina                           4         25        18    1,564     2,563         0         0          0        0       222         0         0         0       222         0         0        4,618
     Anchor Ops + Encina                                    (1,250)      566    (1,770)      285     1,014       (25)     (912)     (340)   (1,258)     (811)   (1,543)      (23)   (1,429)     (402)     (129)     (267)     (8,294)

  USA: Corporate                                            4/3       4/10      4/17      4/24      5/1       5/8       5/15      5/22      5/29      6/5       6/12      6/19      6/26      7/3       7/10      7/17        Fcst
  Corp: Recurring                                              (47)     (106)     (106)     (106)     (107)     (120)     (120)     (120)     (120)     (120)     (120)     (120)     (120)     (120)     (120)     (130)     (1,804)
  Corp: Non-Recurring                                         (261)     (250)     (250)     (250)     (300)     (250)     (250)     (250)     (250)     (300)     (250)     (250)     (250)     (300)     (250)     (250)     (4,161)
  Payroll & Contractors                                        (75)        0      (449)      (75)     (324)      (75)     (235)      (75)     (235)      (75)     (185)        0      (260)        0       (75)     (188)     (2,326)
  Severance                                                      0         0       (14)        0       (14)        0       (40)        0       (40)        0       (32)        0       (32)        0         0       (32)       (204)
  Benefits                                                     (38)        0         0      (146)        0       (38)        0       (38)     (108)      (38)        0       (38)     (108)      (38)        0         0        (588)
  Sales Tax/Other: Recurring                                     0       (65)      (50)      (95)     (125)     (140)        0         0       (95)     (145)        0       (50)   (2,095)     (125)        0         0      (2,985)
  Current Forecast                                            (469)      (16)     (250)     (319)        0         0      (225)        0      (328)        0         0      (191)     (321)        0         0       (91)     (2,210)
     USA: Corporate                                           (890)     (437)   (1,119)     (991)     (870)     (622)     (870)     (483)   (1,176)     (678)     (587)     (649)   (3,186)     (583)     (445)     (691)    (14,278)
  Plus: Draws / (Repayments) from Barbados                       0         0         0         0         0         0         0         0         0         0         0         0         0         0         0         0           0
  Plus: Draws / (Repayments) on HSBC                             0         0         0         0         0         0         0         0         0         0         0         0         0         0         0         0           0
     USA: Corporate + External Funding                        (890)     (437)   (1,119)     (991)     (870)     (622)     (870)     (483)   (1,176)     (678)     (587)     (649)   (3,186)     (583)     (445)     (691)    (14,278)

  USA: CPI                                                  4/3       4/10      4/17      4/24      5/1       5/8       5/15      5/22      5/29      6/5       6/12      6/19      6/26      7/3       7/10      7/17       Fcst
  CPI: Recurring                                              (352)     (391)     (370)     (387)     (351)     (160)     (160)     (160)     (160)     (160)     (160)     (160)     (160)     (160)     (160)     (160)    (3,609)
    USA: CPI                                                  (352)     (391)     (370)     (387)     (351)     (160)     (160)     (160)     (160)     (160)     (160)     (160)     (160)     (160)     (160)     (160)    (3,609)
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  Qmax Solutions - Global Liquidity Summary                                                                                                                                                                        DRAFT FOR DISCUSSION ONLY
  Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                                        04/29/20

X Mexico Operations

  (All $'s in thousands)

  Forecast Status                                              Fcst       Fcst      Fcst       Fcst       Fcst      Fcst       Fcst       Fcst      Fcst      Fcst      Fcst      Fcst      Fcst       Fcst       Fcst       Fcst       Fcst
  13 Week Period                                                 1         2         3          4           5         6         7          8         9         10        11        12        13         14         15         16         16
  Week Ending Date                                              4/3       4/10      4/17       4/24        5/1       5/8       5/15       5/22      5/29       6/5      6/12      6/19      6/26        7/3       7/10       7/17       7/17

  Customer Receipts: Pemex                                        523      2,001       793        689        477       768        758        838       670       844       843       870       859        947        932        866     13,678
  Customer Receipts: Perfolat                                   1,400          0       432        432        432       432        993      1,332     1,432     1,132     1,132     1,132       432        432      1,583      1,232     13,965
  Customer Receipts: Other Customers                                0        218       436        195        312        62          0         45       163        14        41         2        87          2          1        124      1,702
    Total Receipts                                              1,923      2,219     1,662      1,317      1,222     1,262      1,751      2,215     2,266     1,990     2,017     2,004     1,378      1,382      2,516      2,222     29,345

  Disbursements: Operating
  Total Vendor Spend                                              (775)   (1,200)   (1,200)    (1,200)    (1,200)   (1,200)    (1,000)    (1,000)   (1,000)   (1,000)   (1,000)   (1,000)   (1,000)    (1,000)    (1,000)    (1,000)    (16,775)
  Rent - Facilities only                                             0       (74)        0          0         (4)      (70)         0          0        (4)      (70)        0         0        (4)       (70)         0          0        (296)
  Community Vendors                                                  0       (80)      (80)       (80)       (80)      (80)       (80)       (80)      (80)      (80)      (80)      (80)      (80)       (80)       (80)       (80)     (1,200)
  Payroll                                                         (400)        0      (960)         0       (440)        0       (420)         0      (460)        0         0      (420)        0       (460)         0       (400)     (3,960)
  VAT Taxes                                                          0         0         0       (135)         0         0          0       (135)        0         0         0         0      (135)         0          0          0        (405)
  Non-VAT Taxes                                                    (50)        0      (200)      (180)         0         0         (5)      (530)        0         0         0      (360)        0          0          0          0      (1,325)
     Disbursements: Operating                                   (1,225)   (1,354)   (2,440)    (1,595)    (1,724)   (1,350)    (1,505)    (1,745)   (1,544)   (1,150)   (1,080)   (1,860)   (1,219)    (1,610)    (1,080)    (1,480)    (23,961)

  Net Operating Cash Flows                                        698       865       (778)      (278)      (502)      (88)      246        470       722       840       937       144       159        (228)     1,436       742       5,384

  Disbursements: Non-Operating
  Cash Interest - Perfolat Loan                                       0        0           0          0     (214)          0          0        0         0         0         0         0           0          0          0          0     (214)
  Cash Amortization - Perfolat Loan                                   0        0           0          0        0           0          0        0         0         0         0         0           0          0          0          0        0
  Capex                                                               0        0           0          0        0           0          0      (94)      (72)      (22)        0       (22)          0          0          0          0     (209)
  Other Non-Recurring (FX, Legal, Insurance, Pros, etc.)              0     (116)          0          0        0           0          0        0         0         0      (116)        0           0          0          0          0     (232)
     Disbursements: Non-Operating                                     0     (116)          0          0     (214)          0          0      (94)      (72)      (22)     (116)      (22)          0          0          0          0     (655)

     Net Cash Flow Mexico                                         698       749       (778)      (278)      (716)      (88)      246        377       650       819       821       122       159        (228)     1,436       742       4,730


  Beginning Cash                                                  185      1,154       100        100        100      (175)      (263)       (17)      100       100       100       100       100        100        100        100         185
  Less: Net Cash Flow Mexico                                      698        749      (778)      (278)      (716)      (88)       246        377       650       819       821       122       159       (228)     1,436        742       4,730
  Plus: HSBC Swingline - Draw / (Repay)                           270     (1,802)      778        278        441         0          0       (260)     (650)     (819)     (821)     (122)     (159)       228     (1,436)      (742)     (4,815)
     Ending Cash, After Other Sources                           1,154        100       100        100       (175)     (263)       (17)       100       100       100       100       100       100        100        100        100         100
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  Qmax Solutions - Global Liquidity Summary                                                                                                                                                                       DRAFT FOR DISCUSSION ONLY
  Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                                       04/29/20

X Colombia Operations

  (All $'s in thousands)

  Forecast Status                                              Fcst       Fcst      Fcst      Fcst      Fcst      Fcst         Fcst      Fcst      Fcst      Fcst       Fcst      Fcst      Fcst       Fcst      Fcst      Fcst         Fcst
  13 Week Period                                                1          2         3         4         5         6            7         8         9         10         11        12        13         14        15        16           16
  Week Ending Date                                              4/3       4/10      4/17      4/24       5/1       5/8         5/15      5/22      5/29       6/5       6/12      6/19      6/26        7/3      7/10      7/17         7/17

  Customer Receipts: Ecopetrol                                   184       1,649       86        244       872      214           563       662      439        68        475       475       475        348       178       178         7,109
  Other Customer Receipts                                        165         139      650        997       760      617           631     1,109      324       927        332       220       422        420       413       342         8,467
  Income Tax Refund                                                0           0        0          0         0        0             0         0        0         0          0         0         0          0         0         0             0
     Total Receipts                                              349       1,788      736      1,241     1,632      831         1,194     1,771      763       995        806       695       897        768       591       520        15,576

  Less: Receipts Collected in Barbados                           (71)       (989)     (211)      (28)     (288)     (175)        (186)     (218)     (145)     (22)       (157)     (157)     (157)      (115)     (59)       (59)       (3,034)
     Net Colombian Receipts: In-Country                          278         799       526     1,213     1,344       656        1,008     1,553       618      972         650       538       740        653      532       461        12,542

  Disbursements: Operating
  Vendors                                                        (600)      (100)     (300)     (200)     (400)     (400)        (400)     (200)     (200)     (200)      (250)     (250)     (160)      (150)     (100)     (150)        (4,060)
  Community Vendors                                              (200)      (280)     (270)     (250)     (250)     (200)        (180)     (180)     (180)     (200)      (210)     (220)     (220)      (220)     (220)     (220)        (3,500)
  Bank Service Charges                                             (1)        (1)       (1)       (1)       (1)       (1)          (1)       (1)       (1)       (1)        (1)       (1)       (1)        (1)       (1)       (1)           (16)
  Rent - Facilities only                                            0        (70)        0         0         0       (70)           0         0         0         0        (70)        0         0          0       (70)        0           (280)
  Other Recurring Expenses                                          0          0         0         0         0         0            0         0         0         0          0         0         0          0         0         0              0
  Payroll                                                         (60)      (310)     (370)     (400)     (100)     (200)         (50)     (440)     (100)     (200)       (50)     (430)      (50)      (100)     (200)      (50)        (3,110)
  VAT Taxes                                                         0          0         0         0         0         0            0      (548)        0         0          0         0         0          0         0      (502)       (1,050)
  Non-VAT Taxes                                                     0        (50)     (219)       (5)       (5)      (70)          (5)     (120)       (5)      (80)       (10)        0      (140)         0       (90)        0           (798)
     Disbursements: Operating                                    (861)      (811)   (1,160)     (856)     (756)     (941)        (636)   (1,488)     (486)     (681)      (591)     (901)     (571)      (471)     (681)     (923)      (12,814)

  Net Operating Cash Flows                                       (583)       (12)     (634)     357       588       (285)        372        65       132       291         59       (363)     169        182       (149)     (462)         (272)

  Disbursements: Non-Operating
  Cash Interest                                                       0       (8)       (3)      (11)      (10)          (1)      (11)       (8)       (8)          0      (11)      (37)       (8)         0        (4)          (7)      (129)
  Amortization                                                        0     (291)       (8)        0       (34)           0         0      (433)      (34)          0        0      (371)     (152)       (34)     (291)           0     (1,650)
  New Debt Issuance                                                   0        0         0         0         0            0         0         0         0           0        0         0         0          0         0            0          0
  Capex                                                               0        0         0       (80)        0            0         0         0         0           0        0         0         0          0         0            0        (80)
  Other Non-Recurring (FX, Legal, Insurance, Pros, etc.)              0        0         0         0         0            0         0         0         0           0        0         0         0          0         0            0          0
     Disbursements: Non-Operating                                     0     (299)      (11)      (91)      (45)          (1)      (11)     (441)      (42)          0      (11)     (408)     (160)       (34)     (295)          (7)    (1,859)

  Net Cash Flow Colombia                                         (583)      (311)     (645)     266       544       (287)        361       (377)      89       291         48       (771)          9     148       (444)     (469)       (2,131)


  Beginning Cash                                                1,024        441       130         0       266       810          523       884       507       596        888       935       164        173       321         0         1,024
  Less: Net Cash Flow Colombia                                   (583)      (311)     (645)      266       544      (287)         361      (377)       89       291         48      (771)        9        148      (444)     (469)       (2,131)
  Plus: Barbados Cash Transfer                                      0          0       516         0         0         0            0         0         0         0          0         0         0          0       123       469         1,108
     Ending Cash After Other Sources                              441        130         0       266       810       523          884       507       596       888        935       164       173        321         0         0             0
  Plus: Illustrative Net Availability - Barbados                1,122      2,111     1,806     1,834     2,122     2,297        2,483     2,701     2,846     2,868      3,025     3,182     3,338      3,453     3,389     2,979         2,979
  Plus: In-Country Availability (ITAU, BdB, BBVA, Scotia)           0          0         0         0         0         0            0         0         0         0          0         0         0          0         0         0             0
     Total Liquidity                                            1,563      2,241     1,806     2,100     2,931     2,820        3,367     3,208     3,442     3,756      3,960     3,346     3,512      3,774     3,389     2,979         2,979
  Less: Greater of Vendor Stretch & Minimum Operating Cash       (150)      (150)     (150)     (150)     (150)     (150)        (150)     (150)     (150)     (150)      (150)     (150)     (150)      (150)     (150)     (150)         (150)
     Operating Liquidity                                        1,413      2,091     1,656     1,950     2,781     2,670        3,217     3,058     3,292     3,606      3,810     3,196     3,362      3,624     3,239     2,829         2,829
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  Qmax Solutions - Global Liquidity Summary                                                                                                                                                                  DRAFT FOR DISCUSSION ONLY
  Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                                  04/29/20

X MEA Operations

  (All $'s in thousands)

  Forecast Status                                               Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst      Fcst       Fcst
  13 Week Period                                                 1         2         3         4         5         6         7         8         9        10        11        12        13        14        15        16          16
  Week Ending Date                                               4/3      4/10      4/17      4/24       5/1       5/8      5/15      5/22      5/29       6/5      6/12      6/19      6/26       7/3      7/10      7/17       7/17

  Customer Receipts                                              1,268      421       653       265       603       553       153       377       440       133       304       415       374        50        44       259       6,312
    Total Receipts                                               1,268      421       653       265       603       553       153       377       440       133       304       415       374        50        44       259       6,312

  Disbursements: Operating
  Vendor Payments - Inventory                                     (186)        0      (248)     (206)      (49)      (33)     (206)      (70)     (127)     (234)     (120)     (150)      (43)      (20)      (38)      (60)     (1,790)
  Vendor Payments - Freight                                         (2)        0       (34)       (2)        0         0         0        (2)       (5)        0        (1)        0        (5)        0        (2)        0         (53)
  Vendor Payments - Direct Expenses                                (65)       (5)     (191)      (79)     (162)     (349)      (43)      (45)     (108)     (171)      (57)      (18)     (326)      (61)      (38)      (35)     (1,753)
  Vendor Payments - Administrative (G&A)                            (7)      (14)       (7)       (4)      (11)      (16)      (13)       (1)        1        (1)      (11)       (1)       (5)       (7)      (10)       (1)       (108)
  Vendor Payments - Other                                            0        (4)        0       (10)        0        (4)      (76)      (10)        0         0        (6)        0       (10)        0        (5)        0        (125)
  Vendor payments - Direct Expenses - Other                          0         0      (200)        0         0      (200)        0         0      (200)        0         0         0         0         0         0         0        (600)
  Rent - Facilities only                                           (21)        0       (29)        0       (17)      (16)       (5)        0        (2)        0       (19)       (2)        0       (53)        0        (2)       (165)
  Other Recurring Expenses                                         (28)      (20)      (17)       (8)       (8)       (8)      (17)       (8)       (8)       (8)      (17)       (8)        0         0         0         0        (155)
  Payroll                                                          (61)     (157)      (55)     (421)      (10)       (6)      (45)     (124)     (311)        0       (45)      (88)     (348)      (13)        0       (74)     (1,758)
  Free Zone Levy                                                     0         0         0        (5)        0         0         0         0        (5)        0         0         0        (5)        0         0         0         (15)
  VAT Taxes                                                          0         0         0         0         0         0         0         0         0         0         0         0         0         0         0         0           0
  Non-VAT Taxes                                                      0        (6)      (43)      (28)        0        (6)      (18)      (30)        0       (30)     (186)      (48)        0         0        (6)      (51)       (452)
  Bank Service Charges                                              (6)       (5)       (6)       (1)       (2)        0       (11)        0        (2)        0         0       (11)       (2)        0        (5)        0         (51)
     Disbursements: Operating                                     (376)     (211)     (830)     (764)     (258)     (638)     (434)     (290)     (767)     (444)     (462)     (326)     (744)     (154)     (104)     (223)     (7,025)

  Net Operating Cash Flows                                        893       210       (177)     (499)     345        (85)     (281)      87       (327)     (311)     (158)      89       (370)     (104)      (60)      36        (713)

  Disbursements: Non-Operating
  Capex - IDEC                                                      0          0         0         0         0        0         0          0         0         0         0        0         0         0          0        0           0
  Capex - Egypt                                                     0          0         0         0         0        0         0          0         0         0         0        0         0         0          0        0           0
  Capex - Kuwait JV                                                 0          0         0         0         0        0         0          0         0         0         0        0         0         0          0        0           0
  Capex - Algeria                                                   0          0         0         0         0        0         0          0         0         0         0        0         0         0          0        0           0
  Saudi Consulting Fees                                             0          0         0         0         0        0         0          0         0         0         0        0         0         0          0        0           0
  Corplease - Egypt                                                 0          0         0       (54)        0        0         0        (78)        0         0       (21)       0         0         0        (14)       0        (167)
  Import Line - Draw / (Repayment)                                 96       (166)      (19)        0      (210)      20        62        (51)      (47)     (104)       65      125       200        50          0       50          71
  Other Non-Recurring (FX, Legal, Insurance, Pros, etc.)            3          0         0         0         0        0        50          0         0         0         0        0         0         0          0        0          53
  Interest                                                          0         (4)       (2)        0        (7)       0        (2)        (1)       (4)       (9)       (2)       0         0         0          0        0         (31)
      Disbursements: Non-Operating                                 99       (170)      (21)      (54)     (217)      20       110       (130)      (51)     (113)       42      125       200        50        (14)      50         (74)

     Net Cash Flow MEA                                            992        40       (198)     (553)     128        (65)     (171)      (43)     (378)     (424)     (116)     214       (170)      (54)      (74)      86        (786)


  Beginning Cash                                                 1,133     2,125     2,165     1,967     1,414     1,542     1,477     1,306     1,263       885       461       345       559      389       335       261       1,133
  Less: Net Cash Flow MEA                                          992        40      (198)     (553)      128       (65)     (171)      (43)     (378)     (424)     (116)      214      (170)     (54)      (74)       86        (786)
  Plus: UOP - Kuwait JV Debt Draw / (Repay)                          0         0         0         0         0         0         0         0         0         0         0         0         0        0         0         0           0
  Plus: HSBC Swingline - Draw / (Repay)                              0         0         0         0         0         0         0         0         0         0         0         0         0        0         0         0           0
     Ending Cash, After Other Sources                            2,125     2,165     1,967     1,414     1,542     1,477     1,306     1,263       885       461       345       559       389      335       261       347         347
  Plus: In-Country Availability                                    142       308       327       327       537       517       455       506       553       657       592       467       267      217       217       167         167
     Total Liquidity                                             2,267     2,473     2,294     1,741     2,079     1,994     1,761     1,769     1,438     1,118       937     1,026       656      552       478       514         514
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  Qmax Solutions - Global Liquidity Summary                                                                                                                                                                                              DRAFT FOR DISCUSSION ONLY
  Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                                                              04/29/20
  Forecast Does Not Reflect Any HSBC Principal, Interest, or Borrowing Base True-up Payments

X Canada Operations

  (All $'s in thousands)

  Forecast Status                                                         Fcst       Fcst         Fcst      Fcst       Fcst      Fcst      Fcst      Fcst       Fcst      Fcst         Fcst         Fcst      Fcst         Fcst         Fcst      Fcst       Fcst
  13 Week Period                                                           1          2            3         4          5         6         7         8          9         10           11           12        13           14           15        16         16
  Week Ending Date                                                         4/3       4/10         4/17      4/24        5/1       5/8      5/15      5/22       5/29       6/5         6/12         6/19      6/26          7/3         7/10      7/17       7/17

  Customer Receipts                                                          814        306         500       506        441       131        56        56         56        53           53           53        53           182         233        233      3,727
    Total Receipts                                                           814        306         500       506        441       131        56        56         56        53           53           53        53           182         233        233      3,727

  Disbursements: Operating
  Vendor Payments                                                            (500)      (300)       (185)     (484)      (308)     (500)      (50)      (48)         0       (31)         (40)         (40)      (40)         (40)        (100)     (150)     (2,816)
  Bank Service Charges                                                         (1)        (1)         (1)       (1)        (1)       (1)       (1)       (1)        (1)       (1)          (1)          (1)       (1)          (1)          (1)       (1)        (16)
  Rent - Facilities only                                                      (17)         0           0         0        (17)        0         0         0          0       (17)           0            0         0          (17)           0         0         (68)
  Other Recurring Expenses                                                      0          0           0         0          0         0         0         0          0         0            0            0         0            0            0         0           0
  Payroll                                                                    (104)        (7)       (120)       (7)       (80)       (7)      (80)       (7)       (80)       (7)         (20)         (70)      (20)         (70)         (20)      (70)       (769)
  VAT Taxes                                                                   (60)         0           0         0       (100)        0         0         0        (50)        0            0            0         0          (50)           0         0        (260)
  Non-VAT Taxes                                                                 0          0           0        (8)         0         0         0         0         (8)        0            0            0         0           (8)           0         0         (24)
     Disbursements: Operating                                                (682)      (308)       (306)     (500)      (506)     (508)     (131)      (56)      (139)      (56)         (61)        (111)      (61)        (186)        (121)     (221)     (3,953)

  Net Operating Cash Flows                                                   132            (2)     194            6      (65)     (377)      (74)          0      (83)          (3)          (8)      (58)          (8)          (4)     112         12       (226)

  Disbursements: Non-Operating
  HSBC - Interest Payment                                                       0          0           0         0          0         0         0         0          0         0            0            0         0            0            0         0           0
  HSBC - Amortization                                                           0          0           0         0          0         0         0         0          0         0            0            0         0            0            0         0           0
  Terra - Acquisition Debt - P&I                                             (102)      (102)       (102)     (102)      (102)        0         0         0          0         0            0            0         0            0            0         0        (508)
  Tarek Acquisition Debt - P&I                                                  0          0           0         0          0         0         0         0          0         0            0            0         0            0            0         0           0
  Funding: India, Brazil, & Ecuador                                             0          0         (50)        0          0         0       (50)        0          0         0            0          (50)        0            0            0       (50)       (200)
  Asset Sale                                                                    0          0           0         0          0         0         0         0          0         0            0            0         0            0            0         0           0
  Microsoft Lease                                                               0          0           0         0       (136)        0         0         0          0         0            0            0         0            0            0         0        (136)
  Other Non-Recurring (FX, Legal, Insurance, Pros, LCs, etc.)                 (82)       (22)        (22)      (22)      (396)      (32)      (22)      (22)       (72)      (22)         (22)         (22)      (22)         (22)         (22)      (22)       (847)
     Disbursements: Non-Operating                                            (184)      (124)       (174)     (124)      (633)      (32)      (72)      (22)       (72)      (22)         (22)         (72)      (22)         (22)         (22)      (72)     (1,691)

  Net Cash Flow Before True-up                                                (52)      (126)        20       (118)      (698)     (410)     (146)      (22)      (155)      (25)         (30)        (130)      (30)         (27)         90        (60)     (1,917)
  Plus/Minus: Borrowing Base True-Up                                            0          0          0          0          0         0         0         0          0         0            0            0         0            0           0          0           0
  Net Cash Flow Canada                                                        (52)      (126)        20       (118)      (698)     (410)     (146)      (22)      (155)      (25)         (30)        (130)      (30)         (27)         90        (60)     (1,917)


  Beginning Cash                                                             388         336         210       231        113         0      (410)     (556)      (578)     (473)           0            0         0             0           0         90        388
  Less: Net Cash Flow Before True-up                                         (52)       (126)         20      (118)      (698)     (410)     (146)      (22)      (155)      (25)         (30)        (130)      (30)          (27)         90        (60)    (1,917)
  Plus: HSBC Swingline - Draw / (Repay)                                        0           0           0         0        584         0         0         0        260       498           30          130        30            27           0          0      1,558
     Ending Cash, After Other Sources                                        336         210         231       113          0      (410)     (556)     (578)      (473)        0            0            0         0             0          90         30         30
  Plus: Illustrative Net Availability                                        280       2,082       1,304     1,025          0         0         0       260        650       971        1,762        1,754     1,883        1,628        3,064     3,806       3,806
  Plus: FHC Availability                                                       0           0           0         0          0         0         0         0          0         0            0            0         0             0           0          0          0
     Total Liquidity                                                         616       2,292       1,534     1,139          0      (410)     (556)     (318)       177       971        1,762        1,754     1,883        1,628        3,154     3,836       3,836
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Qmax Solutions - Global Liquidity Summary                                                                                                                                                                                            DRAFT FOR DISCUSSION ONLY
Illustrative 13WCF, Updated for Actuals 3/27                                                                                                                                                                                                           04/29/20
Forecast Does Not Reflect Any HSBC Principal, Interest, or Borrowing Base True-up Payments


Forecast Status                                 Fcst         Fcst         Fcst         Fcst        Fcst        Fcst        Fcst       Fcst         Fcst         Fcst        Fcst       Fcst       Fcst       Fcst         Fcst           Fcst          Fcst
13 Week Period                                   1            2            3            4           5           6           7          8            9           10          11         12         13         14           15              16           16
Week Ending Date                                4/3          4/10         4/17         4/24        5/1         5/8         5/15       5/22         5/29         6/5         6/12       6/19       6/26       7/3          7/10           7/17          7/17



(All $'s in thousands)


Cash Flow


Cash Inflows                                      7,287        8,426        6,414        6,030       6,856       5,671       5,997         7,260     6,304        5,862       6,005      5,978      5,536      4,878        5,558          5,557        99,619
Less: Cash Outflows                              (8,382)      (9,150)     (10,285)       (7,500)    (6,491)     (7,152)     (7,464)    (8,350)      (8,937)      (7,148)     (8,205)    (7,210)   (10,315)    (5,815)      (6,661)        (7,060)     (126,126)
   Net Cash Flow                                 (1,095)          (724)    (3,872)       (1,470)         365    (1,481)     (1,467)    (1,090)      (2,632)      (1,286)     (2,201)    (1,233)    (4,780)        (937)    (1,103)        (1,502)      (26,507)


Beginning Cash Balance                           10,888        9,792        9,068        5,197       3,727       4,092       2,611         1,144          54     (2,578)     (3,864)    (6,065)    (7,298)   (12,077)     (13,014)       (14,117)       10,888
Plus / (Minus): Net Cash Flow                    (1,095)          (724)    (3,872)       (1,470)         365    (1,481)     (1,467)    (1,090)      (2,632)      (1,286)     (2,201)    (1,233)    (4,780)        (937)    (1,103)        (1,502)      (26,507)
   Ending Cash Balance                            9,792        9,068        5,197        3,727       4,092       2,611       1,144           54     (2,578)      (3,864)     (6,065)    (7,298)   (12,077)   (13,014)     (14,117)       (15,619)      (15,619)


Liquidity Calculation


Availability on HSBC Facility                         280      2,082        1,304        1,025             0           0          0         260          650          971     1,762      1,754      1,883      1,628        3,064          3,806         3,806
Plus: Availability on Encina Facility             3,947        3,922        3,904        2,563             0           0          0           0          222            0          0          0        222           0           0               0            0
Plus: Marginable Cash                             7,227        6,774        3,230        2,047       1,740           611    (1,046)    (1,716)      (4,060)      (5,213)     (7,345)    (8,021)   (12,640)   (13,670)     (14,378)       (15,967)      (15,967)
Plus: FHC Availability                                  0            0           0            0            0           0          0           0            0           0           0          0          0           0           0              0             0
   Free Liqudity                                 11,454       12,778        8,437        5,635       1,740           611    (1,046)    (1,456)      (3,188)      (4,242)     (5,584)    (6,267)   (10,534)   (12,042)     (11,314)       (12,161)      (12,161)
Plus: Non-Marginable Cash                         2,566        2,295        1,967        1,680       2,352       2,000       2,190         1,770     1,481        1,349       1,280         723        563         657         261             347          347
Plus: In-Country Availability                         142         308          327           327         537         517        455         506          553          657        592        467        267         217         217             167          167
Plus: 1st National Capex Availability                   0            0           0             0          0            0          0           0            0           0           0          0          0           0           0              0             0
   Total Liquidity                               14,161       15,380       10,731        7,642       4,629       3,128       1,599          820     (1,153)      (2,236)     (3,711)    (5,077)    (9,705)   (11,168)     (10,836)       (11,646)      (11,646)


Debt / Capitalization


Encina (Revolving & Term Loan)                   22,368       22,226       22,123       23,214      25,602      25,153      24,761     24,400       23,696       21,959      21,384     20,825     19,916     19,822       19,740         19,475        19,475
HSBC                                            144,467      142,665      143,443      143,721     144,747     144,747     144,747    144,487      144,097      143,776     142,985    142,993    142,864    143,118      141,683        140,941       140,941
   Senior Secured Debt                          166,836      164,891      165,566      166,935     170,349     169,900     169,508    168,887      167,794      165,735     164,370    163,818    162,779    162,940      161,423        160,416       160,416
MEX: Perforlat Debt                               7,360        7,360        7,360        7,360       7,360       7,360       7,360         7,360     7,360        7,360       7,360      7,360      7,360      7,360        7,360          7,360         7,360
COL: BBVA                                         1,484        1,484        1,484        1,484       1,484       1,484       1,484      1,484        1,484        1,484       1,484      1,113      1,113      1,113        1,113          1,113         1,113
COL: Banco de Bogota                              3,181        2,890        2,881        2,881       2,847       2,847       2,847      2,847           2,812     2,812       2,812      2,812      2,660      2,626        2,335          2,335         2,335
COL: ITAU                                         1,395        1,395        1,395        1,395       1,395       1,395       1,395          962          962          962        962        962        962         962         962             962          962
IDEC: Import Line                                 1,758        1,592        1,573        1,573       1,363       1,383       1,445         1,394     1,347        1,243       1,308      1,433      1,633      1,683        1,683          1,733         1,733
EGY: Corplease                                        313         313          313           259         259         259        259         181          181          181        160        160        160         160         147             147          147
USA: 1st National Capex Line                            0            0           0             0          0            0          0           0            0           0           0          0          0           0           0              0             0
   Total Debt                                   182,327      179,925      180,573      181,888     185,057     184,628     184,298    183,115      181,941      179,778     178,457    177,659    176,669    176,845      175,023        174,065       174,065
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                       L                   JTh
                    Sworn before me this   2         /
                   dayof                   A.D.2OLO
                                 /

                              Jonathan Tomm
                            Banister and Solicitor
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                            ENCINA BUSINESS CREDIT, LLC
                             123 N. Wacker Drive, Suite 2400
                                 Chicago, Illinois 60606




                                                           May 22, 2020


VIA E-MAIL (paul.irving@hsbc.ca)
 HSBC Bank Canada
 5th Floor, 70 York Street
 Toronto, Ontario
 M5J 1S9
 Attention: Director

       Re:    Anchor Drilling Fluids USA, LLC

Ladies and Gentlemen:

       Reference is made to that certain Credit Agreement dated as of September 6, 2019 (the
“Credit Agreement”) entered into by and among (i) Encina Business Credit, LLC, as Agent
(“Encina”) and as a Lender, (ii) Q’Max America Inc.; (iii) Anchor Drilling Fluids USA, LLC (the
“Borrower”), (iv) the Guarantors, and (v) and the other Lenders party thereto.

       Reference is further made to that certain Intercreditor Agreement dated as of September 6,
2019 (the “Intercreditor Agreement”) entered into by and between Encina, as ABL Agent, and
HSBC Bank Canada, as Parent Facility Agent (“HSBC”). (Capitalized terms used in this letter
and not otherwise defined shall have the meanings as defined in the Intercreditor Agreement).

        Further reference is made to (i) that certain notice of demand for payment of all
Outstanding Amounts (as defined therein) dated May 12, 2020 from counsel to HSBC to, among
others, the Borrower, and (ii) that certain Notice of Intention to Enforce Security dated May 12,
2020 from HSBC to the Borrower (collectively, the “Notices”).

       The Notices constitute the Exercise of Secured Creditor Remedies and violate the terms
and conditions of the Intercreditor Agreement in that:

       (a)    HSBC failed to provide copies of the Notices to Encina;

        (b)    The Notices failed to state that HSBC’s Exercise of Secured Creditor Remedies is
subject to Encina’s paramount rights and interests in all ABL Priority Collateral; and

       (c)     HSBC’s stated intention to commence the Exercise of Secured Creditor Remedies
breaches the “Remedies Standstill” contained in the Intercreditor Agreement.
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       PLEASE TAKE NOTICE that HSBC is hereby advised and directed to immediately cease
and desist any further Exercise of Secured Creditor Remedies in violation of the terms and
conditions of the Intercreditor Agreement. HSBC is hereby notified that HSBC shall be liable to
Encina for any and all damages caused by HSBC’s knowing and willful breach of the terms and
conditions of the Intercreditor Agreement.

         Encina hereby expressly reserves all rights, remedies, powers, and privileges under the
Credit Agreement and the Intercreditor Agreement. Nothing herein or in any other communication
with Encina shall be deemed an agreement by Encina to forbear from exercising any and all of its
rights, remedies, powers, and privileges. Encina hereby reserves the right to take such actions and
to exercise its rights, remedies, powers, and privileges as entitled pursuant to the Credit
Agreement, the Intercreditor Agreement, and applicable law at such times as it, in its sole and
exclusive discretion, deems appropriate or necessary.

                                                     Very truly yours,

                                                     ENCINA BUSINESS CREDIT, LLC,
                                                     Agent

                                                     By:_______________________
                                                     Name: Jeffrey W. Linstrom
                                                     Title: General Counsel


cc:         Howard Gorman, Esquire (howard.gorman@nortonrosefulbright.com)
            Walker MacLeod, Esquire (wmacleod@mccarthy.ca)
            Ken Kattner, Esquire (kenric.kattner@haynesandboone.com)
            Donald E. Rothman, Esquire (drothman@riemerlaw.com)
            Claire Zikovsky, Esquire (czikovsky@stikeman.com)



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                   Sworn before me this        1/
                   day of                 A.D. 20 c)



                              Jonathan Tomm
                            Barrister and SoIjcj
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                            ENCINA BUSINESS CREDIT, LLC
                             123 N. Wacker Drive, Suite 2400
                                 Chicago, Illinois 60606




                                                           May 22, 2020


VIA E-MAIL (Celina.carter@qmax.com)
Q’Max America Inc.
11700 Katy Freeway, Suite 200
Houston, TX 77079

                      Re:    Anchor Drilling Fluids USA, LLC

Ladies and Gentlemen:

        Reference is made to that certain Credit Agreement, dated as of September 6, 2019 (the
“Credit Agreement”), entered into by and among (i) Encina Business Credit, LLC, as Agent
(“Encina”) and as a Lender, (ii) Q’Max America Inc., (iii) Anchor Drilling Fluids USA, LLC
(the “Borrower”), (iv) the Guarantors, and (v) and the other Lenders party thereto. Reference is
further made to that certain Pledge Agreement, dated as of September 6, 2019 (the “Pledge
Agreement”), entered into by and between Encina and Q’Max America Inc. (“Q’Max”).

      Please be advised that one or more Events of Default have occurred under the Credit
Agreement, which constitute one or more Events of Default under the Pledge Agreement.
Accordingly, Q’Max is hereby notified that, EFFECTIVE IMMEDIATELY:

      1.    Encina hereby exercises its rights as proxy and attorney in fact pursuant to the
Pledge Agreement, and discharges and terminates Q’Max as Managing Member of the
Borrower;

       2.     Encina hereby appoints CR3 Partners, LLC (“CR3”) as the interim manager of
the Borrower with all the rights specified in the Second Amended and Restated Limited Liability
Company Agreement of the Borrower as specified for the Member-Manager.

       3.     Encina hereby exercises its rights as proxy and attorney in fact pursuant to the
Pledge Agreement, and discharges and terminates the following officers of the Borrower Rafael
Andres Diaz-Granados, Eric Glover, Chris Rivers, Brad Billon, Mark Margavio, Celina Carter
and Jocelyn Rivera; and

       4.     Encina hereby adopts and ratifies the Engagement Agreement, dated May 21,
2020, entered into by and among Q’Max, the Borrower, and CR3, and hereby confirms the
appointment of James Katchadurian of CR3 as the Chief Restructuring Officer of the Borrower.
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       PLEASE TAKE NOTICE that any and all actions taken or purported to be taken by
Q’Max as the former Managing Member of the Borrower, or any former officer of the Borrower,
from and after the service of this notice shall in each case be NULL AND VOID ab initio and of
no force or effect. CR3 has and shall have sole and exclusive authority over the management of
the business and assets of the Borrower.

        Encina hereby expressly reserves all rights, remedies, powers, and privileges under the
Credit Agreement and the Pledge Agreement. Nothing herein or in any other communication
with Encina, oral or written, shall be deemed an agreement by Encina to forbear from exercising
any or all of its rights, remedies, powers, and privileges. Encina hereby reserves the right to take
such actions and to exercise its rights, remedies, powers, and privileges to which it may be
entitled pursuant to the Credit Agreement, the Pledge Agreement, and applicable law at such
times as it, in its sole and exclusive discretion, deems necessary or appropriate.

                                                     Very truly yours,

                                                     ENCINA BUSINESS CREDIT, LLC,
                                                     Agent

                                                     By:_______________________
                                                     Name: Jeffrey W. Linstrom
                                                     Title: General Counsel


cc:         Howard Gorman, Esquire (howard.gorman@nortonrosefulbright.com)
            Walker MacLeod, Esquire (wmacleod@mccarthy.ca)
            Ken Kattner, Esquire (kenric.kattner@haynesandboone.com)
            Donald E. Rothman, Esquire (drothman@riemerlaw.com)
            Claire Zikovsky, Esquire (czikovsky@stikeman.com)



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May 22, 2020

                                                                                                        Norton Rose Fulbright Canada LLP
Sent By Email                                                                                           400 3rd Avenue SW, Suite 3700
                                                                                                        Calgary, Alberta T2P 4H2 Canada
Encina Business Credit, LLC
123 N. Wacker Drive, Suite 2400                                                                         F: +1 403.264.5973
Chicago Illinois 60606                                                                                  nortonrosefulbright.com
USA
                                                                                                        Howard Gorman, Q.C.
Attention: Jeffrey W. Linstrom                                                                          +1 403.267.8144
           General Counsel                                                                              howard.gorman@nortonrosefulbright.com

                                                                                                        Assistant
                                                                                                        +1 403.267.9580
                                                                                                        joanna.vanham@nortonrosefulbright.com

                                                                                                        Your reference                              Our reference
                                                                                                                                                    1001115678



Dear Sir:

Anchor Drilling Fluids USA, LLC

We are in receipt of your two letters on behalf of Encina, both dated May 22, 2020, to Mr. Irving from HSBC and
Ms. Carter from Q’Max America Inc. (“Q’Max America”, and collectively with the broader Q’Max entity group, the
“Q’Max Group”), each of which were copied to my attention.

Capitalized terms not otherwise defined herein are as defined in your letters or the Intercreditor Agreement, as
applicable.

In response to your letter to Mr. Irving, we note the following:

          (a)          Encina clearly received copies of the Notices, which were prepared in conjunction with the Q’Max
                       Group’s proposed but since adjourned and perhaps abandoned creditor protection application
                       under the Companies’ Creditors Arrangement Act. Encina and the Lenders were both in constant
                       communication with the Q’Max Group as senior secured creditors and potential priority DIP
                       lenders. In any event, the Intercreditor Agreement provides that any failure by HSBC to provide
                       Encina with notices that are required under applicable law (such as the Notices) will not impair
                       HSBC’s rights;

          (b)          the Intercreditor Agreement only requires HSBC to provide a notice about the ABL Priority
                       Collateral in the context of a foreclosure or sale, however, the Notices were not delivered by
                       HSBC in respect of a foreclosure or sale. They are 10-day notices of a potential future intention to
                       enforce security required under Canadian law;

          (c)          the terms of the Intercreditor Agreement restrict HSBC from exercising remedies against the ABL
                       Priority Collateral; however, HSBC’s intention is to apply for the appointment of a receiver and
                       manager over all of HSBC’s security in Canada and the United States, expressly excluding the
                       ABL Priority Collateral, in accordance with the terms of the Intercreditor Agreement; and

          (d)          similarly Encina is required under the Intercreditor Agreement to provide Notice of an intended
                       foreclosure or sale and is prohibited from exercising remedies as against HSBC’s Parent Facility



CAN_DMS: \133566183\1

Norton Rose Fulbright Canada LLP is a limited liability partnership established in Canada.

Norton Rose Fulbright Canada LLP, Norton Rose Fulbright LLP, Norton Rose Fulbright Australia, Norton Rose Fulbright South Africa Inc and Norton Rose Fulbright US LLP are separate
legal entities and all of them are members of Norton Rose Fulbright Verein, a Swiss verein. Norton Rose Fulbright Verein helps coordinate the activities of the members but does not itself
provide legal services to clients. Details of each entity, with certain regulatory information, are at nortonrosefulbright.com.
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Jeffrey W. Linstrom
May 22, 2020



               Priority Collateral, which would include Anchor Drilling Fluid USA, LLC’s (“Anchor”) assets,
               equipment, inventory, goodwill and all Anchor assets and attributes other than its share capital,
               receivables and certain other property constituting the ABL Priority Collateral.

Somewhat remarkably, mere hours after reminding HSBC of its obligations under the Intercreditor Agreement,
we received your May 22, 2020 correspondence to Q’Max America. There, you confirmed, inter alia, the
appointment of a Chief Restructuring Officer (“CRO”) pursuant to an Engagement Agreement dated May 21,
2020 (the “Engagement”). A copy of this Engagement was not enclosed and we request a copy be delivered
forthwith.

Such is of some significant concern to HSBC because you state “CR3 [the CRO] has and shall have sole and
exclusive authority over the management and business and assets of the Borrower.”

The assets of the Borrower include valuable assets that are subject to the priority of the Agent, contrary to the
terms of the Intercreditor Agreement. Any dissipation, destruction, conversion, sale or use of the Agent’s
Parent Facility Priority Collateral is at the risk, expense and account of Encina and its appointed CRO.

As you are no doubt aware, the Intercreditor Agreement prevents Encina from the Exercise of Any Secured
Creditor Remedies unilaterally, to the detriment of the Parent Facility Priority Collateral of HSBC and the lenders
in HSBC’s syndicate. We trust that Encina is not taking and will not take any steps to enforce, or to exercise any
secured creditor remedies, against any Parent Facility Priority Collateral (as defined in the Intercreditor
Agreement).

As requested above, please provide a copy of such Engagement to me immediately so the impact of same on
HSBC and the Parent Facility Priority Collateral and its compliance or contravention of the terms of the
Intercreditor Agreement can be evaluated.

HSBC expressly reserves all rights, remedies, powers, and privileges under the Intercreditor Agreement as
against Encina.

Yours truly,

Norton Rose Fulbright Canada LLP
Per:




Howard Gorman, Q.C.
Senior Partner

HG/jv

Copy to:              Paul Irving (paul.irving@hsbc.ca)
                      Celina Carter (celina.carter@qmax.com)
                      Walker Macleod (wmacleod@mccarthy.ca)
                      Ken Kattner (kenric.kattner@haynesandboone.com)
                      Donald Rothman (drothman@riemerlaw.com)
                      Claire Zikovsky (czikovsky@stikeman.com)




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                              Jonathan Tomm
                            Barrister and SoIIctoi
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                              ENCINA BUSINESS CREDIT, LLC
                               123 N. Wacker Drive, Suite 2400
                                   Chicago, Illinois 60606




                                                              May 22, 2020


VIA E-MAIL (Celina.carter@qmax.com)
 Q’Max America Inc.
 11700 Katy Freeway, Suite 200
 Houston, TX 77079

                       Re:     Anchor Drilling Fluids USA, LLC

Ladies and Gentlemen:

       Reference is hereby made to that certain letter dated May 22, 2020 (the “Notice”), from
Encina Business Credit, LLC, in its capacity as Agent (“Encina”), to Q’Max America Inc.
(“Q’Max”), a copy of which is annexed hereto marked Exhibit “A”. Capitalized terms not
otherwise defined herein shall have the meanings ascribed to them in the Notice.

        Please be advised that, notwithstanding anything to the contrary contained in the Notice,
the effectiveness of the Notice is hereby suspended through Sunday, May 24, 2020 at 11:59 p.m.
prevailing eastern time, at which time, in the event that the Borrower has not theretofore filed a
voluntary petition for relief under chapter 7 in the United States Bankruptcy Court for the Southern
District of Texas (Victoria Division), the Notice shall automatically and without further action
immediately become effective.

         Encina hereby expressly reserves all rights, remedies, powers, and privileges under the
Credit Agreement and the Pledge Agreement. Nothing herein or in any other communication with
Encina, oral or written, shall be deemed an agreement by Encina to forbear from exercising any or
all of its rights, remedies, powers, and privileges. Encina hereby reserves the right to take such
actions and to exercise its rights, remedies, powers, and privileges to which it may be


                             [remainder of page intentionally left blank]
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entitled pursuant to the Credit Agreement, the Pledge Agreement, and applicable law at such times
as it, in its sole and exclusive discretion, deems necessary or appropriate.

                                                    Very truly yours,

                                                    ENCINA BUSINESS CREDIT, LLC,
                                                    Agent

                                                    By:_______________________
                                                    Name: Jeffrey W. Linstrom
                                                    Title: General Counsel


cc:     Howard Gorman, Esquire (howard.gorman@nortonrosefulbright.com)
        Walker MacLeod, Esquire (wmacleod@mccarthy.ca)
        Ken Kattner, Esquire (kenric.kattner@haynesandboone.com)
        Donald E. Rothman, Esquire (drothman@riemerlaw.com)
        Claire Zikovsky, Esquire (czikovsky@stikeman.com)
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                                      EXHIBIT A
                                     (see attached)




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                            ENCINA BUSINESS CREDIT, LLC
                             123 N. Wacker Drive, Suite 2400
                                 Chicago, Illinois 60606




                                                           May 22, 2020


VIA E-MAIL (Celina.carter@qmax.com)
Q’Max America Inc.
11700 Katy Freeway, Suite 200
Houston, TX 77079

                      Re:    Anchor Drilling Fluids USA, LLC

Ladies and Gentlemen:

        Reference is made to that certain Credit Agreement, dated as of September 6, 2019 (the
“Credit Agreement”), entered into by and among (i) Encina Business Credit, LLC, as Agent
(“Encina”) and as a Lender, (ii) Q’Max America Inc., (iii) Anchor Drilling Fluids USA, LLC
(the “Borrower”), (iv) the Guarantors, and (v) and the other Lenders party thereto. Reference is
further made to that certain Pledge Agreement, dated as of September 6, 2019 (the “Pledge
Agreement”), entered into by and between Encina and Q’Max America Inc. (“Q’Max”).

      Please be advised that one or more Events of Default have occurred under the Credit
Agreement, which constitute one or more Events of Default under the Pledge Agreement.
Accordingly, Q’Max is hereby notified that, EFFECTIVE IMMEDIATELY:

      1.    Encina hereby exercises its rights as proxy and attorney in fact pursuant to the
Pledge Agreement, and discharges and terminates Q’Max as Managing Member of the
Borrower;

       2.     Encina hereby appoints CR3 Partners, LLC (“CR3”) as the interim manager of
the Borrower with all the rights specified in the Second Amended and Restated Limited Liability
Company Agreement of the Borrower as specified for the Member-Manager.

       3.     Encina hereby exercises its rights as proxy and attorney in fact pursuant to the
Pledge Agreement, and discharges and terminates the following officers of the Borrower Rafael
Andres Diaz-Granados, Eric Glover, Chris Rivers, Brad Billon, Mark Margavio, Celina Carter
and Jocelyn Rivera; and

       4.     Encina hereby adopts and ratifies the Engagement Agreement, dated May 21,
2020, entered into by and among Q’Max, the Borrower, and CR3, and hereby confirms the
appointment of James Katchadurian of CR3 as the Chief Restructuring Officer of the Borrower.
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       PLEASE TAKE NOTICE that any and all actions taken or purported to be taken by
Q’Max as the former Managing Member of the Borrower, or any former officer of the Borrower,
from and after the service of this notice shall in each case be NULL AND VOID ab initio and of
no force or effect. CR3 has and shall have sole and exclusive authority over the management of
the business and assets of the Borrower.

        Encina hereby expressly reserves all rights, remedies, powers, and privileges under the
Credit Agreement and the Pledge Agreement. Nothing herein or in any other communication
with Encina, oral or written, shall be deemed an agreement by Encina to forbear from exercising
any or all of its rights, remedies, powers, and privileges. Encina hereby reserves the right to take
such actions and to exercise its rights, remedies, powers, and privileges to which it may be
entitled pursuant to the Credit Agreement, the Pledge Agreement, and applicable law at such
times as it, in its sole and exclusive discretion, deems necessary or appropriate.

                                                     Very truly yours,

                                                     ENCINA BUSINESS CREDIT, LLC,
                                                     Agent

                                                     By:_______________________
                                                     Name: Jeffrey W. Linstrom
                                                     Title: General Counsel


cc:         Howard Gorman, Esquire (howard.gorman@nortonrosefulbright.com)
            Walker MacLeod, Esquire (wmacleod@mccarthy.ca)
            Ken Kattner, Esquire (kenric.kattner@haynesandboone.com)
            Donald E. Rothman, Esquire (drothman@riemerlaw.com)
            Claire Zikovsky, Esquire (czikovsky@stikeman.com)



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                   THIS IS EXHIBIT”_________
                      referred to in the A vit of


                    Sworn before me this   .2      /
                   dayof                   A.D,2OO



                             Jonathan Tomm
                           Bamster and Solicitor
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 Southern
 ____________________              Texas
                      District of _________________
                                        (State)
                                                           7
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        0/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                            Anchor Drilling Fluids USA, LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               7 ___
                                              ___ 3 – ___
                                                       1 ___
                                                          2 ___
                                                             1 ___
                                                                5 ___
                                                                   3 ___
                                                                      9 ___
                                                                         5
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                               11700 Katy Fwy., Suite 200
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                               Houston, TX 77079
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              Harris
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  https://anchorusa.com/
                                              ____________________________________________________________________________________________________




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Debtor         Anchor Drilling Fluids USA, LLC
              _______________________________________________________                        Case number (if known)_____________________________________
              Name




 6.   Type of debtor                     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                         Partnership (excluding LLP)
                                         Other. Specify: __________________________________________________________________

                                        A. Check one:
 7.   Describe debtor’s business
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above

                                        B. Check all that apply:

                                         Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                           § 80a-3)
                                         Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            2 ___
                                           ___ 1 ___
                                                  1 ___
                                                     1

 8.   Under which chapter of the        Check one:
      Bankruptcy Code is the
      debtor filing?                     Chapter 7
                                         Chapter 9
       !"0+. 3%+ &/  /)((
      1/&*"// !"0+. )1/0 %" '
                                         Chapter 11. Check all that apply:
      0%" #&./0 /1 +4  !"0+.                       %" !ebtor &s a  /)(( 1/&*"// !"0+. / !"#&*"! &*           6   *! &0/
      / !"#&*"! &* 6  3%+                        ggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
      "(" 0/ 0+ ,.+ ""! 1*!".                            are less than $2,725,625 # 0%&/ /1 +4 &/ /"(" 0"! 00 % 0%" )+/0 ." "*0 (* " /%""0
      /1 %,0".  +# 0%" %,0".                         /00")"*0 +# +,".0&+*/ /% #(+3 /00")"*0 *! #"!".( &* +)" 04 ."01.* +. &# *5 +#
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      &/  /)(( 1/&*"// !"0+.                      The debtor is a debtor as defined in 11 U.S.C. § 1(1) &0/ $$."$0" *+* +*0&*$"*0
      )1/0 %" ' 0%" /" +*! /1                           (&-1&!0"! !"0/ "4 (1!&*$ !"0/ +3"! 0+ &*/&!"./ +. ##&(&0"/ ." ("// 0%*  
      +4                                                                If th&/ /1 +4 &/
                                                         /"(" 0"! attach the most recent balance sheet, statement of operations, cash-flow
                                                         statement, and federal income tax return or if a*5 of these documents do not exist, follow
                                                         the procedure in 11 U.S.C. § 1116(1)(B).
                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                            in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.
                                         Chapter 12
 9.   Were prior bankruptcy cases        No
      filed by or against the debtor
      within the last 8 years?           Yes.    District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                              District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY


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Debtor          Anchor Drilling Fluids USA, LLC
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 10.   Are any bankruptcy cases            No
       pending or being filed by a
       business partner or an              Yes.           See Attached
                                                    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have         No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information



 13.   Debtor’s estimation of             Check one:
       available funds                     Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                           1-49                            1,000-5,000                              25,001-50,000
 14.   Estimated number of                 50-99                           5,001-10,000                             50,001-100,000
       creditors
                                           100-199                         10,001-25,000                            More than 100,000
                                           200-999

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                             ATTACHMENT TO PETITION OF
                           ANCHOR DRILLING FLUIDS USA, LLC


Question No. 10 – Are any bankruptcy cases pending or being filed by a business partner or an
affiliate of the debtor?

Debtor                        Relationship          District       When           Case No.

QMAX America, Inc.           Debtor Affiliate      SD Texas       Concurrently    20-60030
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                             WRITTEN CONSENT
                          OF THE SOLE MEMBER OF
                      ANCHOR DRILLING FLUIDS USA, LLC

                                       May 24, 2020

        The undersigned, being the sole member of Anchor Drilling Fluids USA, LLC, a
member-managed Delaware limited liability company (the “Company”), does hereby
adopt, vote for, consent to and approve the following resolutions:

        WHEREAS, since 2019, the Company and its affiliates have been focused on a
permanent and comprehensive solution to its challenged fiscal circumstances to improve
its capital structure, reduce its debt levels, improve liquidity and strengthen its financial
position in order to be able to achieve its business objectives and maximize value for all
stakeholders; and

        WHEREAS, despite the Company’s and its affiliates’ efforts to navigate prolonged
difficult industry conditions and improve its capital structure, the Company has continued
to be negatively impacted by continued and further reductions in rig activity levels,
significant decreases in operating receipts and collection challenges with a major Mexican
customer; and

         WHEREAS, in late April 2020, it became apparent that the Company and its
affiliates would not be in a position to continue operating as a going-concern without access
to immediate additional liquidity. The Company and its affiliates began discussions with
the HSBC Lending Syndicate in February 2020 and entered into various credit agreement
amendments that relieve or modify covenants to address financial pressure; and

        WHEREAS, as a result, the Company and its affiliates determined to commence a
restructuring plan (the “Restructuring Plan”). The Restructuring Plan was developed in
consultation with the Company’s and its affiliates’ professional and financial advisors and
would be implemented through a proceeding filed under the Companies’ Creditors
Arrangement Act in Canada along with a case under chapter 15 of the United States
Bankruptcy Code (collectively, the “Proceedings”); and

         WHEREAS, in order for the Restructuring Plan to be successful, the Company and
its affiliates began negotiating with the HSBC Lending Syndicate and Encina Business
Credit, LLC (“Encina”) for additional loans to fund the Restructuring Plan in the
Proceedings; and

        WHEREAS, during April through May 2020, the Company and its affiliates and
their professional advisors undertook a significant number of negotiations and term sheet
drafts among the Company, the HSBC Lending Syndicate and Encina for additional
liquidity to fund the Restructuring Plan in the Proceedings. These negotiations were
difficult and protracted; and



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        WHEREAS, on May 17, 2020, the HSBC Lending Syndicate advised that they
would not provide any funding for the Restructuring Plan in the Proceedings and would
object to the Company and its affiliates commencing the Proceedings; and.

        WHEREAS, consequently, the Company and its affiliates continued negotiations
with Encina to fund debtor-in-possession financing in a chapter 11 case under the United
States Bankruptcy Code for the Company, Central Procurement Inc. (“Central”) and
Q”Max America Inc. (“Q’Max America” and collectively with the Company, the “U.S.
Subsidiaries”). Negotiations continued with Encina under the chapter 11 option during
the month of May. One of the purposes of the chapter 11 proceeding was to implement a
sale process to consummate an asset purchase transaction pursuant to which Palladium
Equity Partners IV, L.P., an affiliate of certain stockholders of the Company (“Palladium”)
would sponsor a new entity (“PurchaseCo”) to make a stalking horse bid to acquire certain
of the assets and ongoing business of the U.S. Subsidiaries (“ProfitCo”) (such sale, the
“Sale Transaction”); and

       WHEREAS, as an additional benefit of continuing the business of ProfitCo as going
concern, the Sale Transaction would preserve the jobs of more than 100 employees in
Texas, Ohio, Pennsylvania and New York and such employees would continue as
employees of ProfitCo; and

       WHEREAS, ultimately, on May 19, 2020 Encina indicated it was unwilling to fund
a chapter 11 case to support the process for the Sale Transaction because of insufficient
borrowing base under their ABL facility; and

        WHEREAS, at the time of Encina’s decision not to fund a chapter 11 case, the
liquidity position of the U.S. Subsidiaries would not allow them to operate any further; and

        WHEREAS, as a result, the U.S. Subsidiaries have explored every option to
restructure their financial affairs, but without additional liquidity from the HSBC Lending
Syndicate and/or Encina no viable options are available; and

        WHEREAS, Palladium has indicated it would be willing to provide additional
liquidity and pursue the Sale Transaction in Chapter 7 proceedings of the U.S. Subsidiaries
if the Chapter 7 trustee were willing to continue operations until the Sale Transaction could
be approved and consummated; and

        WHEREAS, in the judgment of the sole member of the Company, it is desirable
and in the best interest of the U.S. Subsidiaries to cause a petition to be filed by each of the
U.S. Subsidiaries seeking relief under the provisions of chapter 7 of title 11, United States
Code (the “Bankruptcy Code”), and for the Chapter 7 trustee to pursue a sale of ProfitCo
to PurchaseCo or an alternative bidder through the chapter 7 process in accordance with
the provisions of the Bankruptcy Code and other applicable law.




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         NOW, THEREFORE, BE IT

Filing and Prosecution of Bankruptcy Case

        RESOLVED, that it is desirable and in the best interest of the Company and its
creditors, stockholders, and other interested parties to authorize the Company to cause a
petition to be filed in the name of the Company (the “Chapter 7 Petition”) seeking relief
under the provisions of chapter 7 of the Bankruptcy Code; and it is further

        RESOLVED, that the President, any Vice President, or such other officer(s) of the
Company as they shall from time to time designate (each, an “Authorized Officer”) be,
and each hereby is, authorized and directed to execute and verify the Chapter 7 Petition
and to cause the same to be filed in the United States Bankruptcy Court for the Southern
District of Texas (the “Bankruptcy Court”), in such form and at such time as such
Authorized Officers shall determine; and it is further

       RESOLVED, that the Authorized Officers be, and each hereby is, authorized to
execute and file (or direct others to do so on behalf of the Company as provided herein) all
necessary documents, including, without limitation, all petitions, affidavits, schedules,
motions, lists, applications, pleadings and other papers, and in connection therewith, to
employ and retain all assistance by legal counsel, accountants or other professionals and to
take any and all action which they deem necessary and proper in connection with the
chapter 7 case; and it is further

Employment of Professionals

        RESOLVED, that the law firm of Porter Hedges, LLP be, and hereby is, employed
under general retainer as bankruptcy counsel for the Company to prepare and file the
chapter 7 case, and the Authorized Officers of the Company are hereby authorized and
directed to execute appropriate retention agreements and pay appropriate retainers; and it
is further

        RESOLVED, that the Authorized Officers of the Company be, and they hereby are,
authorized and directed to employ any other firm as professionals, appraisers or consultants
to the Company as are deemed necessary to represent and assist the Company in carrying
out its duties under the Bankruptcy Code and, in connection therewith, the Authorized
Officers of the Company are hereby authorized and directed to execute appropriate
retention agreements and pay appropriate retainers; and it is further

       RESOLVED, that all acts lawfully done or actions lawfully taken by any
Authorized Officers to seek relief under chapter 7 of the Bankruptcy Code or in connection
with the chapter 7 case, or any matter related thereto, be, and hereby are, adopted, ratified,
confirmed and approved in all respects; and it is further




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Operational Actions

        RESOLVED, that the Authorized Officers are authorized to take such actions as
they deem necessary in connection with the preparation for filing of the chapter 7 case,
including without limitation, paying final payrolls and related payroll taxes, sales taxes and
other trust fund taxes prior to such filings, terminating the employment of such employees
as such members, directors and Authorized Officers determine to be appropriate,
terminating the 401k plan of the Company and pursuing the sale of all its assets other than
those included in ProfitCo (the “Other Asset Sales”); and it is further

Sale of ProfitCo

        RESOLVED, that the Authorized Officers are authorized to pursue negotiations for
the sale of the assets comprising ProfitCo to PurchaseCo and to enter into an Asset
Purchase Agreement on the terms and conditions for such sale set forth in the Asset
Purchase Agreement attached hereto as Exhibit A, with such changes therein as the
Authorized Officers may approve, such approval to be evidenced by their execution
thereof; and it is further

General Authorizing Resolutions

        RESOLVED, that the Authorized Officers be, and each of them, hereby is
authorized to make, enter into, execute, deliver and file any and all other or further
agreements, documents, certificates, materials and instruments, and to take or cause to be
taken any and all other actions as any such Authorized Officers deem to be necessary,
appropriate or advisable to carry out the purposes of the foregoing resolutions and the
transactions contemplated thereunder or to successfully complete the filing of the chapter
7 case and the sale of ProfitCo and the Other Asset Sales; and it is further

        RESOLVED, that all authorized acts, transactions, or agreements undertaken prior
to the adoption of these resolutions by any such Authorized Officers in connection with the
foregoing matters are hereby authorized, approved, ratified and confirmed.



                               [Signature on Following Page]




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        IN WITNESS WHEREOF, the undersigned has executed this consent effective as of the
date first above written.


                                         Q’Max America Inc.,
                                         Its sole member



                                         By:
                                               Rafael Diaz-Granados, President




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                                                                          Execution




                         ASSET PURCHASE AGREEMENT

                               dated as of May 24, 2020

                                    by and among

                            QMAX ACQUISITION CORP.

                                      as Buyer,

                                         and

                              Q’MAX AMERICA INC.,

                                         and

                       ANCHOR DRILLING FLUIDS USA, LLC

                                      as Sellers




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                              ASSET PURCHASE AGREEMENT

       ASSET PURCHASE AGREEMENT, dated as of May 24, 2020, (the “Agreement Date”),
by and among Q’Max America Inc., a company incorporated under the laws of Delaware
(“Q’Max”), and Anchor Drilling Fluids USA, LLC, a Delaware limited liability company
(“Anchor Drilling” and, together with Q’Max, “Sellers” and each, a “Seller”) and QMax
Acquisition Corp., a Delaware corporation (“Buyer”). Each Seller and Buyer are referred to herein
individually as a “Party” and collectively as the “Parties”.

                                         WITNESSETH:

        WHEREAS, Sellers have agreed to sell to Buyer, and Buyer has agreed to purchase, the
Acquired Assets as of the Closing, and Buyer is willing to assume from Sellers the Assumed
Liabilities as of the Closing upon terms and subject to the conditions set forth hereinafter.

        NOW, THEREFORE, in consideration of the representations, warranties, covenants and
agreements contained herein, and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, and intending to be legally bound hereby, the
Parties hereto agree as follows:

                                          ARTICLE 1
                                         DEFINITIONS

      1.1       Defined Terms. As used herein, the terms below shall have the following respective
meanings:

        “ABL Facility” shall mean the credit agreement (as amended, restated, supplemented or
otherwise modified from time to time) dated as of September 6, 2019, by and among Anchor
Drilling Fluids USA, LLC, Q'Max America Inc., the lenders party thereto and Encina Business
Credit, LLC as agent on behalf of such lenders.

        “Accounts Receivable” shall have the meaning specified in Section 2.1(a).

        “Acquired Assets” shall have the meaning specified in Section 2.1.

        “Affiliate” shall, with respect to any Person, mean any other Person that directly, or
indirectly through one or more intermediaries, controls, or is controlled by, or is under common
control with, the Person specified, where “control” means the possession, directly or indirectly, of
the power to direct or cause the direction of the management policies of a Person, through
ownership of voting securities or rights, by contract, as trustee, executor or otherwise. For
purposes of this Agreement, Q’Max Solutions Inc. and each of its Subsidiaries (including each of
the Sellers), on the one hand, and the Buyer and its Affiliates, on the other hand, shall not be
deemed to be Affiliates of each other.

       “Agreement” shall mean this Asset Purchase Agreement, together with the exhibits and
Disclosure Schedules hereto, in each case as amended, restated, supplemented or otherwise
modified from time to time.



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        “Agreement Date” shall have the meaning specified in the preamble.

        “Allocation” shall have the meaning specified in Section 3.4.

         “Alternative Transaction” shall mean (i) any investment in, financing of, capital
contribution or loan to, or restructuring or recapitalization of the Sellers, (ii) any merger,
consolidation, share exchange or other similar transaction to which a Seller or any of its Affiliates
is a party that has the effect of transferring, directly or indirectly, all or any portion of the Acquired
Assets, or any issuance, sale or transfer of equity interests in, the Sellers, (iii) any direct or indirect
sale of all or any portion of the Acquired Assets, (iv) any issuance, sale or transfer of equity
interests in, the Sellers or any of their Subsidiaries or (v) any other transaction (other than a
liquidation or a plan of liquidation), including a reorganization (in any jurisdiction, whether
domestic, foreign, international or otherwise), that transfers or vests ownership of, economic rights
to, or benefits in all or a portion of the Acquired Assets, to any party other than Buyer or any of its
Affiliates, in each instance, whether or not such transaction is entered into in connection with any
bankruptcy, insolvency, arrangement, proposal, receivership or similar Proceedings.

        “Anchor Drilling” shall have the meaning specified in the preamble.

       “Assignment and Assumption Agreement” means an assignment and assumption
agreement, in a form mutually agreed to by the Parties, evidencing the assignment to the Buyer of
the Sellers’ rights, benefits and interests in, to and under the Assumed Contracts and the
assumption by the Buyer of the Assumed Liabilities under the Assumed Contracts.

        “Assumed Contracts” means those Leases and Executory Contracts that have been
designated by Buyer for assumption and assignment to Buyer by Seller pursuant to Section 2.4
and with respect to which an order has been entered by the Bankruptcy Court (which may be the
Sale Order) authorizing the assumption and assignment of the Lease or Executory Contract and an
Assumption Notice has been delivered and filed with the Bankruptcy Court. For the avoidance of
doubt, "Assumed Contracts" shall not include any Executory Contract or Lease that is excluded
and rejected pursuant to Section 2.4.

        “Assumed Liabilities” shall have the meaning specified in Section 2.3.

        “Assumption Notice” has the meaning set forth in Section 2.4(b).

       “Avoidance Actions” means all avoidance claims, causes of action, or rights of recovery
under Chapter 5 of the Bankruptcy Code or similar state Laws.

        “Bankruptcy Cases” shall mean the jointly administered bankruptcy cases commenced by
the Sellers.

        “Bankruptcy Code” shall mean title 11 of the United States Code, 11 U.S.C. §101 et seq.

        “Bankruptcy Court” shall mean the United States Bankruptcy Court for the Southern
District of Texas.

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       “Business Day” shall mean any day other than a Saturday, Sunday or a legal holiday on
which banking institutions in the City of New York are not required to open.

        “Buyer” shall have the meaning specified in the preamble.

        “Buyer’s Conditions Certificate” shall have the meaning specified in Section 7.2(d).

       “Capital Lease” shall mean, for any Person, a lease of any interest in any kind of property
(whether real, personal or mixed) or asset by such Person as lessee that is, should be or should
have been recorded as a “capital lease” on the balance sheet of such Person in accordance with
GAAP.

        “Cash Purchase Price” shall have the meaning specified in Section 3.2(a).

        “Chapter 7” means Chapter 7 of the Bankruptcy Code.

       “Claim” shall mean all actions, claims, counterclaims, suits, Proceedings, rights of action,
causes of action, Liabilities, obligations, losses, damages, remedies, penalties, judgments,
settlements, costs, expenses, fines, disbursements, demands, reasonable costs, fees and expenses
of counsel, including in respect of investigation, interest, demands and actions of any nature or
any kind whatsoever, known or unknown, disclosed or undisclosed, accrued or unaccrued, matured
or unmatured, choate or inchoate, legal or equitable, and arising in tort, contract or otherwise,
including any “claim” as defined in the Bankruptcy Code.

        “Closing” shall have the meaning specified in Section 3.1(a).

        “Closing Date” shall have the meaning specified in Section 3.1(a).

       “Closing Date Inventory” shall mean the carrying value of the Inventory as of the Closing
Date calculated as such Inventory would be recorded on a balance sheet of the Sellers in
accordance with GAAP and consistent with past practice.

        “Code” shall mean the Internal Revenue Code of 1986, as amended.

        “Conditions Certificate” shall have the meaning specified in Section 7.2(d).

        “Consent” shall have the meaning set forth in Section 2.4(e).

        “Contract” shall mean any contract, agreement, indenture, note, bond, loan, instrument,
lease (including Capital Lease), conditional sales contract, purchase order, mortgage, license,
franchise, insurance policy, letter of credit, commitment or other binding arrangement or
commitment, whether or not in written form, that is binding upon a Person or any of its property.

        “Cure Amounts” has the meaning set forth in Section 2.4(c).

        “C&A Grinding Equity Interests” shall have the meaning specified in Section 2.1(x).

        “C&A Grinding” shall mean C&A Grinding, LLC, a Georgia limited liability company.
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        “Continuing Employees” means those employees set forth on Schedule 1.1(a).

        “Designated Contracts” has the meaning set forth in Section 2.4(b).

       “Designation Deadline” means 5:00 p.m. (prevailing Eastern time) on the date that is ten
(10) days after the Petition Date.

        “Disclosure Schedules” shall mean the disclosure schedules, delivered by Sellers and
Buyer concurrently with the execution and delivery of this Agreement, as amended from time to
time in accordance with and subject to the terms hereof.

        “Encina” means Encina Business Credit, LLC.

       “Encina Exit Financing Commitment Letter” shall mean an executed commitment letter,
in form and substance acceptable to Buyer, pursuant to which Encina shall have agreed to lend at
the Closing the amounts set forth therein to Buyer in order to fund, subject to the terms and
conditions thereunder, the Regional Business and refinance (or assume on amended terms) the
ABL Facility and the financing provided in the New Money Financing Agreement.

        “Environmental Law” means any Law relating to pollution, the protection of human health
and safety (with respect to exposure to hazardous materials), the environment, natural resources
or the release, manufacture, processing, treatment, storage, disposal or handling of, or exposure to,
hazardous materials.

        “Environmental Liabilities and Obligations” means all Liabilities arising from any
impairment, impact or damage to the environment, health or safety, or any failure to comply with
Environmental Law, including Liabilities related to: (a) the transportation, storage, use,
arrangement for disposal or disposal of, or exposure to, Hazardous Materials; (b) the Release of
Hazardous Materials, including migration onto or from the Owned Real Property and Leased Real
Property that are Acquired Assets; (c) any other pollution or contamination of the surface,
substrata, soil, air, ground water, surface water or marine environments; (d) any other obligations
imposed under Environmental Law including pursuant to any applicable Permits issued pursuant
to under any Environmental Law; (e) Orders, notices to comply, notices of violation, alleged non-
compliance and inspection reports with respect to any Liabilities pursuant to Environmental Law;
and (f) all obligations with respect to personal injury, property damage, wrongful death and other
damages and losses arising under applicable Environmental Law.

       “ERISA Affiliate” means .any trade or business, whether or not incorporated, that together
with the Sellers would be deemed a "single employer" within the meaning of Section 4001(b)(i)
of ERISA.

        “Excluded Assets” shall have the meaning specified in Section 2.2.

        “Excluded Contract” has the meaning set forth in Section 2.4(b).

        “Excluded Liabilities” shall have the meaning specified in Section 2.5.

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        “Executory Contract” means a Contract to which one or more of the Sellers are party that
is subject to assumption or rejection under sections 365 of the Bankruptcy Code, other than the
Leases.

      “Expense Reimbursement” shall mean the documented actual out-of-pocket costs, fees and
expenses incurred by Buyer or its Affiliates in connection with the negotiation, documentation
and implementation of this Agreement, the Transaction Documents, and the transactions
contemplated thereby.

         “GAAP” shall mean generally accepted accounting principles as in effect from time to
time in the United States.

        “Governmental Entity” shall mean any federal, state, provincial, local, municipal,
domestic, foreign, multinational, international or other (a) government, (b) governmental or quasi-
governmental authority of any nature (including any governmental agency, ministry, branch,
department, official, or entity and any court or other tribunal), or (c) body exercising, or entitled
to exercise, any administrative, executive, judicial, legislative, prosecutorial, police, regulatory, or
Tax Authority or power of any nature, including any arbitration tribunal or stock exchange.

        “Guarantee” by any Person shall mean any obligation, contingent or otherwise, of such
Person guaranteeing, or having the economic effect of guaranteeing, any Indebtedness of any other
Person (the “Primary Obligor”) in any manner, whether directly or indirectly, and including,
without limitation, any obligation of such Person: (i) to purchase or pay (or advance or supply
funds for the purchase or payment of) such Indebtedness or to purchase (or to advance or supply
funds for the purchase of) any security for the payment of such Indebtedness; (ii) to purchase
property, securities or services for the purpose of assuring the holder of such Indebtedness of the
payment of such Indebtedness; or (iii) to maintain working capital, equity capital or other financial
statement condition or liquidity of the Primary Obligor so as to enable the Primary Obligor to pay
such Indebtedness (and “Guaranteed,” “Guaranteeing” and “Guarantor” shall have meanings
correlative to the foregoing).

        “Hazardous Material” means any substance, material or waste which is regulated by any
Governmental Entity, including petroleum and its by-products, asbestos, polychlorinated
biphenyls and any material, waste or substance which is defined or identified as a “hazardous
waste,” “hazardous substance,” “hazardous material,” “restricted hazardous waste,” “industrial
waste,” “solid waste,” “contaminant,” “pollutant,” “toxic waste” or “toxic substance” or otherwise
regulated under or subject to any provision of Environmental Law.

       “Horseheads Warehouse” shall mean that certain warehouse leased by the Sellers located
at 124 Wygant Road, Building B, Horseheads, New York 14845.

        “Indebtedness” of any Person means, without duplication, (a) all obligations of such Person
for borrowed money or with respect to deposits or advances of any kind, (b) all obligations of such
Person evidenced by (or which customarily would be evidenced by) bonds, debentures, notes or
similar instruments, (c) all reimbursement obligations of such Person with respect to letters of
credit and similar instruments, (d) all obligations of such Person under conditional sale or other

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title retention agreements relating to property or assets purchased by such Person, (e) all
obligations of such Person incurred, issued or assumed as the deferred purchase price of property
other than accounts payable incurred and paid on terms customary in the business of such Person
(it being understood that the “deferred purchase price” in connection with any purchase of property
or assets shall include only that portion of the purchase price which shall be deferred beyond the
date on which the purchase is actually consummated), (f) all obligations secured by (or for which
the holder of such Indebtedness has an existing right, contingent or otherwise, to be secured by)
any Lien on property owned or acquired by such Person, whether or not the obligations secured
thereby have been assumed, (g) all obligations of such Person under forward sales, futures, options
and other similar hedging arrangements (including interest rate hedging or protection agreements),
(h) all obligations of such Person to purchase or otherwise pay for merchandise, materials,
supplies, services or other property under an arrangement which provides that payment for such
merchandise, materials, supplies, services or other property shall be made regardless of whether
delivery of such merchandise, materials, supplies, services or other property is ever made or
tendered, (i) all guaranties by such Person of obligations of others, (j) all Capital Lease obligations
of such Person and (k) any obligations of such Person Guaranteeing or intended to Guarantee
(whether directly or indirectly Guaranteed, endorsed, co-made, discounted, or sold with recourse)
any obligation of any other Person that constitutes Indebtedness of such other Person under any of
clauses (a) through (j) above.

        “Interim Period” shall have the meaning specified in Section 6.1.

         “Intellectual Property” means all intellectual property and industrial property, throughout
the world, whether or not registerable, patentable or otherwise formally protectable, and whether
or not registered, patented, otherwise formally protected or the subject of a pending application for
registration, patent or any other formal protection, including all (i) trade-marks, corporate names
and business names currently or formerly used in connection with the Regional Business,
including, the “Q’Max America” and “Anchor Drilling Fluids” names and brands, (ii) inventions,
(iii) works and subject matter in which copyright, neighboring rights or moral rights subsist, (iv)
industrial designs, product designs, patents and design rights (v) know-how, trade secrets,
proprietary information, confidential information and information of a sensitive nature that have
value to the Regional Business or relate to business opportunities for the Regional Business, in
whatever form communicated, maintained or stored, (vi) telephone numbers and facsimile
numbers, (vii) registered domain names, and (viii) social media usernames and other internet
identities and all account information relating thereto.

       “Inventory” means all inventory (including finished goods, supplies, raw materials, work
in progress, spare, replacement and component parts), stock-in-trade and merchandise related to
the Regional Business maintained or held by, stored by or on behalf of, or in transit to, any Seller.

      “Knowledge” shall mean, with respect to any Seller, the actual knowledge of Rafael Andres
Diaz-Granados, Chris Pennington, Celina Carter and Eric Glover after reasonable and due inquiry.

       “Law” shall mean any federal, state, provincial, municipal, local, foreign, international or
multinational constitution, statute, law, ordinance, regulation, rule, code, by-law, Order, principle


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of common law or equity, or decree enacted, promulgated, issued, enforced or entered by any
Governmental Entity, or court of competent jurisdiction, or other requirement or rule of law.

        “Lease” shall have the meaning set forth in Section 4.4(a).

        “Leased Real Property” means all of the real property leased, subleased, used or occupied
by any Seller, together with all buildings, structures, fixtures and improvements erected thereon,
and any and all rights privileges, easements, licenses, hereditaments and other appurtenances
relating thereto, and used, or held for use, in connection with the operation of the Regional
Business.

        “Leetsdale Warehouse” shall mean that certain warehouse and office building leased by
the Sellers located at 545 W. Park Road, Leetsdale, Pennsylvania 15056.

         “Liabilities” shall mean, as to any Person, all debts, adverse Claims, liabilities,
commitments, responsibilities, and obligations of any kind or nature whatsoever, direct or indirect,
absolute or contingent, whether accrued or unaccrued, vested or otherwise, liquidated or
unliquidated, whether known or unknown, and whether or not actually reflected, or required to be
reflected, in such Person’s balance sheet or other books and records.

       “License Agreement” shall mean that certain Exclusive License Agreement by and
between Q’Max Solutions Inc. and Q’Max, dated May 22, 2020 pursuant to which Q’Max was
granted a license to certain Intellectual Property Rights as set forth thereunder.

        “Licensor” shall mean Q’Max Solutions Inc.

         “Lien” shall mean (i) any claim, Liability, prior claim, right of retention, lien, security
interest, floating charge, mortgage, pledge option, deed assignments, conditional sale, warrant,
adverse claim, charge (including court-ordered charge), easement, right-of-way, encroachment,
defect of title, hypothec, trust debenture, deemed trust (statutory or otherwise), judgment, writ of
seizure or execution, notice of sale, restriction on transfer, contractual right (including purchase
option, right of first refusal, rights of first offer or any other pre-emptive contractual right),
restriction on use or encumbrance, whether imposed by agreement, law, equity or otherwise and
whether or not registered, published or filed and whether secured, unsecured or otherwise, and (ii)
without limiting the foregoing clause (i), “Lien”, as such term is defined pursuant to
section 101(37) of the Bankruptcy Code.

       “Material Contracts” means, collectively, those contracts that are in the opinion of the
Buyer, necessary and essential to the operation of the Regional Business as listed and specified as
“Material Contracts” on Schedule 2.4(b)(i).

         “Midland Drilling Fluids Business” means the drilling and completion fluids, chemical
additives, and fluid engineering services provided by Sellers in the Permian basin. For the
avoidance of doubt, the Midland Solid Control Warehouse and the assets located at, and the
operations conducted at, the Midland Solid Control Warehouse shall not be deemed to be included
in this definition of Midland Drilling Fluids Business.

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         “Midland Solid Control Warehouse” shall mean that certain warehouse leased by the
Sellers located at 2106 East Country Road 120, Midland, Texas 79706.

        “New Money Financing Agreement” means a senior secured superpriority credit
agreement or note and any documents or instruments related thereto, to be entered into by Sellers
and Encina and/or any other Post-Petition Lenders (including Palladium Fund IV or its Affiliates),
in each case, in form and substance satisfactory to Buyer.

        “Newcomerstown Warehouse” shall mean those certain warehouses and buildings leased
by the Sellers located at 1122 West State Street, Newcomerstown, Ohio 43832 and 200 Enterprise
Drive, Newcomerstown, Ohio 43832.

        “Notices” shall have the meaning specified in Section 9.4.

        “Officer’s Certificate” shall have the meaning specified in Section 7.1(e).

        “Operating Order” shall mean an order granting Trustee’s emergency motion to approve
the Trustee’s authority to continue to operate the Regional Business, in form and substance
acceptable to Buyer.

       “Order” shall mean any judgment, order, injunction, writ, ruling, decree, stipulation,
determination, decision, verdict, or award of any Governmental Entity.

        “Ordinary Course of Business” shall mean that an action taken by a Person will be deemed
to have been taken in the “Ordinary Course of Business” only if that action is taken in the ordinary
course of business of such Person, consistent with past practices.

        “Owned Real Property” shall have the meaning set forth in Section 4.4(b).

        “Party” or “Parties” shall have the meaning specified in the preamble.

        “Permits” shall mean permits, licenses, registrations, certificates of occupancy, approvals,
consents, clearances, directives, orders, variances, registrations, rights, privileges, concessions and
other authorizations issued, granted, conferred or otherwise created by any Governmental Entity.

        “Permitted Liens” shall mean: (a) Liens for Taxes not yet due and payable or which are
being contested in good faith by appropriate Proceedings and for which an adequate reserve has
been established by Sellers; (b) statutory liens of landlords, carriers, warehousemen, mechanics,
and materialmen incurred in the Ordinary Course of Business for sums not yet due; (c) liens
incurred or deposits made in the Ordinary Course of Business in connection with workers’
compensation, unemployment insurance and other types of social security; or (d) liens or
encumbrances that arise solely by reason of acts of Buyer or its successors and assigns or otherwise
consented to by Buyer in accordance with the terms of this Agreement.

         “Person” shall mean an individual, a partnership, a joint venture, a corporation, a business
trust, a limited liability company, a trust, an unincorporated organization, a joint stock company,
a labor union, an estate, a Governmental Entity or any other entity.
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          “Petition Date” shall mean the date the Bankruptcy Cases are commenced by the Sellers.

          “Phase I Reports” shall have the meaning specified in Section 7.1(h).

          “Post-Closing Covenant” shall have the meaning specified in Section 9.12.

       “Post-Petition Financing Order” shall mean interim and final orders granting a motion by
the Trustee pursuant to U.S.C. §§ 105, 361 and 364 and Federal Bankruptcy Rules 2002, 4001 and
994 seeking authorization for the Trustee to incur post-petition secured Indebtedness and
approving the New Money Financing Agreement which shall be in form and substance acceptable
to Buyer.

       “Post-Petition Lenders” means Encina and any other lender under the New Money
Financing Agreement.

        “Post-Petition Trade Payables” shall mean the amount of Trade Payables of the Sellers
relating to the Regional Business that were incurred from and after the Petition Date that are
outstanding as of the Closing Date.

        “Pre-Closing Taxes” means any Liability for any Tax of or owed with respect to the
Acquired Assets allocable for a taxable period (or portion thereof) ending on or before the Closing
Date. In the case of any Taxes imposed on the Acquired Assets for a taxable period that begins
before and ends after the Closing Date, Pre-Closing Taxes shall equal (i) in the case of any Taxes
other than the Taxes based upon or related to income or receipts, the amount of such Tax for the
entire Tax period multiplied by a fraction the numerator of which is the number of days in the Tax
period ending on the Closing Date and the denominator of which is the number of days in the
entire Tax period; and (ii) in the case of any Tax based upon or related to income or receipts be
deemed equal to the amount which would be payable if the relevant Tax period ended on the
Closing Date.

          “Previously Omitted Contract” shall have the meaning specified in Section 2.4(b)(i).

         “Proceeding” shall mean any action, arbitration, audit, known investigation (including a
notice of preliminary investigation or formal investigation), notice of violation, hearing, litigation
or suit (whether civil, criminal or administrative), other than the Bankruptcy Case, commenced,
brought, conducted or heard by or before any Governmental Entity, including but not limited to
any and all such actions related to restitution or remission in criminal proceedings and civil
forfeiture and confiscation proceedings under the Law of any jurisdiction.

          “Property and Casualty Insurance Policies” shall mean the policies set forth in Schedule
1.1(b).

       “Property Tax Holdback Amount” means $380,000 (Three Hundred Eighty Thousand
Dollars).

          Property Taxes” shall mean all personal property Taxes and similar ad valorem Taxes.

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        “Purchase Price” shall have the meaning specified in Section 3.2(b).

        “Q’Max” shall have the meaning specified in the preamble.

        “Regional Business” shall have the meaning specified in Section 2.1.

       “Regional Business Warehouses” means, collectively, the Midland Solid Control
Warehouse, the Wellsville Warehouse, the Horseheads Warehouse, the Leetsdale Warehouse and
the Newcomerstown Warehouse.

         “Release” means any actual or threatened release, spill, emission, leaking, pumping,
pouring, emptying, dumping, injection, deposit, disposal, discharge, dispersal or leaching into the
indoor or outdoor environment, or including migration to or from a property, including but not
limited to any Owned Real Property or Leased Real Property.

        “Remedial Action” means all actions to (a) investigate, clean up, remove, treat or in any
other way address any Hazardous Material; (b) prevent the Release of any Hazardous Material; (c)
perform pre-remedial studies and investigations or post-remedial monitoring and care; or (d) to
correct or abate a condition of noncompliance with Environmental Laws.

       “Representative” shall mean, with respect to any Person, such Person’s officers, directors,
managers, employees, agents, representatives and financing sources (including any investment
banker, financial advisor, accountant, legal counsel, consultant, other advisor, agent, representative
or expert retained by or acting on behalf of such Person or its Subsidiaries).

        “Sale Motion” shall mean a motion, in form and substance acceptable to the Buyer, seeking
entry of an order approving this Agreement and the Transactions.

      “Sale Order” shall mean an Order of the Bankruptcy Court approving the Sale Motion,
which Order shall be in form and substance acceptable to Buyer.

       “Seller” or “Sellers” shall have the meaning specified in the preamble and shall include
any Trustee appointed to act on behalf of Sellers.

         “Subsidiary” shall mean, with respect to any Person (a) a corporation, a majority of whose
capital stock with voting power, under ordinary circumstances, to elect directors is at the time,
directly or indirectly, owned by such Person, by a subsidiary of such Person, or by such Person
and one or more subsidiaries of such Person, (b) a partnership in which such Person or a subsidiary
of such Person is, at the date of determination, a general partner of such partnership, or (c) any
other Person (other than a corporation) in which such Person, a subsidiary of such Person or such
Person and one or more subsidiaries of such Person, directly or indirectly, at the date of
determination thereof, has (i) at least a majority ownership interest thereof or (ii) the power to elect
or direct the election of a majority of the directors or other governing body of such Person.

        “Target Inventory” shall mean $9,000,000 (Nine Million Dollars).


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        “Tax” or “Taxes” shall mean (a) any and all taxes, assessments, levies, duties or other
governmental charge imposed by any Governmental Entity, including any income, alternative or
add-on minimum, accumulated earnings, franchise, capital stock, unclaimed property or
escheatment, environmental, profits, windfall profits, gross receipts, sales, use, value added,
transfer, registration, stamp, premium, excise, customs duties, severance, real property, personal
property, ad valorem, occupancy, license, occupation, employment, payroll, social security,
disability, unemployment, withholding, corporation, inheritance, value added, stamp duty reserve,
estimated or other tax, assessment, levy, duty (including duties of customs and excise) or other
governmental charge of any kind whatsoever, including any payments in lieu of taxes or other
similar payments, chargeable by any Tax Authority together with all penalties, interest and
additions thereto, whether disputed or not and (b) any liability in respect of any of the items
described in clause (a) payable under a tax sharing allocation, indemnity or similar agreement or
by reason of successor, transferee, or other liability, by contract, operation of law, or Treasury
Regulation Section 1.1502-6(a) (or any predecessor or successor thereto or any analogous or
similar provision of state, local or foreign Law).

       “Tax Authority” shall mean any taxing or other authority (whether within or outside the
U.S.) competent to impose Tax.

        “Tax Escrow Amount” shall mean $11,000 (Eleven Thousand Dollars).

        “Tax Return” shall mean any and all returns, declarations, reports, documents, Claims for
refund, or information returns, statements or filings which are supplied or required to be supplied
to any Tax Authority or any other Person, including any schedule or attachment thereto, and
including any amendments thereof.

        “Top Customers” shall have the meaning specified in Section 4.6(b)(i).

        “Top Suppliers” shall have the meaning specified in Section 4.6(a)(i)

       “Trade Payables” shall mean those accounts payable owned to the Sellers’ vendors for
Inventory-related goods.

       “Transaction Documents” shall mean this Agreement and any agreement, instrument or
other document entered into pursuant to the terms hereof, including the Assignment and
Assumption Agreement.

       “Transactions” shall mean the transactions contemplated by this Agreement, including the
purchase and sale of the Acquired Assets as provided for in this Agreement.

        “Transfer Tax” or “Transfer Taxes” shall mean any sales, use, transfer, conveyance,
documentary transfer, stamp, recording or other similar Tax imposed upon the sale, transfer or
assignment of property or any interest therein or the recording thereof, and any penalty, addition
to Tax or interest with respect thereto, but such term shall not include any Tax on, based upon or
measured by, the net income, gains or profits from such sale, transfer or assignment of the property
or any interest therein.

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         “Trustee” shall mean the trustee appointed by the United States Trustee in the Bankruptcy
Cases.

         “Trustee’s Conditions Certificate” shall have the meaning set forth in Section 7.1(d).

       “Trustee’s Operation Orders” shall mean the Post-Petition Financing Order and the
Operating Order.

       “WARN Act” means the United States Worker Adjustment and Retraining Notification
Act, and the rules and regulations promulgated thereunder.

      “Wellsville Warehouse” shall mean that certain warehouse leased by the Sellers located at
2400 Clark Avenue, Wellsville, Ohio 43968.

         1.2    Interpretation.

             (a)     Whenever the words “include,” “includes” or “including” are used in this
Agreement they shall be deemed to be followed by the words “without limitation.”

               (b)     Words denoting any gender shall include all genders. Where a word or
phrase is defined herein, each of its other grammatical forms shall have a corresponding meaning.

              (c)    A reference to any Party to this Agreement or any other agreement or
document shall include such Party’s successors and permitted assigns.

                (d)    A reference to any legislation or to any provision of any legislation shall
include any modification or re-enactment thereof, any legislative provision substituted therefor
and all regulations and statutory instruments issued thereunder or pursuant thereto.

                (e)     All references to “$” and dollars shall be deemed to refer to United States
currency.

              (f)  All references to any financial or accounting terms shall be defined in
accordance with GAAP.

                 (g)   The words “hereof,” “herein” and “hereunder” and words of similar import
when used in this Agreement shall refer to this Agreement as a whole and not to any particular
provision of this Agreement, and Section, Disclosure Schedule and exhibit references are to this
Agreement unless otherwise specified. All article, section, paragraph, schedule and exhibit
references used in this Agreement are to articles, sections and paragraphs of, and schedules and
exhibits to, this Agreement unless otherwise specified.

               (h)    The meanings given to terms defined herein shall be equally applicable to
both singular and plural forms of such terms.

              (i)    When calculating the period of time before which, within which or
following which any act is to be done or step taken pursuant to this Agreement, the date that is the

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reference date in calculating such period shall be excluded. If the last day of such period is not a
Business Day, the period in question shall end on the next succeeding Business Day. All references
herein to time are references to New York City time, unless otherwise specified herein.

              (j)   If a word or phrase is defined, its other grammatical forms have a
corresponding meaning.

               (k)    A reference to any agreement or document (including a reference to this
Agreement) is to the agreement or document as amended or supplemented, except to the extent
prohibited by this Agreement or that other agreement or document.

              (l)    Exhibits, Schedules and Annexes to this Agreement are hereby incorporated
and made a part hereof and are an integral part of this Agreement. Any capitalized terms used in
any Schedule or Exhibit but not otherwise defined therein shall be defined as set forth in this
Agreement.

                                 ARTICLE 2
                ACQUIRED ASSETS AND ASSUMPTION OF LIABILITIES

         2.1    Assets to be Acquired. Subject to the granting of the Sale Order, and the terms and
conditions of this Agreement and the Sale Order, at the Closing, the Sellers shall sell, assign,
transfer and deliver to Buyer, and Buyer shall purchase and acquire from the Sellers, all of Sellers’
right, title and interest, free and clear of all Liens (except for Liens supporting the Assumed
Liabilities described in Section 2.3(a) and other Permitted Liens expressly set forth in the Sale
Order), in each and all of the assets, properties and rights of Sellers used in the Sellers’ business
of (i) providing drilling and completion fluids, chemical additives, solids control services and
equipment, waste management services and equipment, fluid engineering services and other
products and services in the northeastern United States and (ii) providing solids control services
and equipment in the Permian basin, in support of oil and gas drilling (the “Regional Business”),
including, without limitation, all assets located at or used in the operations of the Sellers at the
Regional Business Warehouses, and the following as of the Closing but excluding the Excluded
Assets (collectively, the “Acquired Assets”):

                (a)     all accounts receivable, notes receivable, bill receivables, trade accounts,
hold backs, retention, book debts, insurance claims, negotiable instruments, chattel paper
(including without limitation, completed work which has not yet been billed) and other receivables
(including, without limitation, in respect of goods shipped, products sold, licenses granted, services
rendered or otherwise and all amounts that may be returned or returnable with respect to letters of
credit or other financial collateral drawn down prior to the closing of the transaction) from third
parties, together with any unpaid financing charges accrued thereon, in each instance, of the Sellers
(whether or not related to the Regional Business) (collectively, the “Accounts Receivable”);

                (b)     all Intellectual Property used in the Regional Business (provided that, with
respect to the Intellectual Property rights granted to Q’Max under the License Agreement, only to
the extent such Intellectual Property Rights were granted to Q’Max under the License Agreement)
including, without limitation, the Intellectual Property set forth on Schedule 2.1(b);

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                 (c)     all tangible assets, including all equipment, machinery, industrial and motor
vehicles, trailers, fixtures, furniture and other tangible property, including all such property that is
damaged and all attachments, appliances, fittings, gas and oil burners, chemical products, motors,
pumps, tanks, tools, manifolds, systems, blowers, molds, dies, tooling, lighting fixtures, signs,
doors, cabinets, partitions, mantels, screens, plumbing, heating, air conditioning, refrigerators,
freezers, refrigerating and cooling systems, waste disposal and storing, wiring, electrical systems,
telephones, televisions, monitors, security systems, racks, ovens, stoves, carpets, floor coverings,
wall coverings, office equipment, kitchen appliances, computers (including point-of-sale terminals
and systems), software, registers and safes, trash containers, meters and scales, combinations,
codes and keys, and any other furniture, fixtures, equipment and improvements, in each instance,
used in the operation of the Regional Business;

               (d)     all Inventory and goods related to the Regional Business now owned or
hereinafter acquired, wherever located, including raw materials, work in process, finished goods,
supplies, parts, subassemblies or material used or consumed in the operation of the Regional
Business maintained or held by, stored by or on behalf of, or in transit to, any of the Sellers;

                (e)     all goodwill, payment intangibles and general intangible assets and rights
of Sellers to the extent associated with the Regional Business or the Acquired Assets;

              (f)     all cash and cash equivalents relating to the Regional Business other than
the Cash Purchase Price;

               (g)     all deposits (including, without limitation, customer deposits and security
deposits (whether held in trust or otherwise) for rent, electricity, telephone or otherwise), advances,
prepayments, rights in respect of promotional allowances, vendor rebates and other refunds,
Claims, causes of action, rights of recovery, rights under warranties and guaranties, rights of setoff
and rights of recoupment of every kind and nature (whether or not known or unknown or
contingent or non-contingent), and the right to receive and retain mail, accounts receivable
payments and other communications of the Sellers, in each instance, relating to the Regional
Business;

              (h)     all customer lists, data, and information (including all lists of current and
past customers of each Seller), and any and all information relating thereto (including personal
information, such as name, address, telephone number, email address, website and any other
database information), and customer purchase history of the Regional Business;

             (i)      all right of publicity and all similar rights, including, all commercial
merchandising rights used in the Regional Business;

               (j)      all real estate leased by either of the Sellers as a lessee, sub-lessee or
assignee and covered by an Assumed Contract or owned by either of the Sellers, in each case
together with all interests in and to all improvements and fixtures located thereon or attached
thereto (including all warehouses, offices and plants and other tangible and intangible property
located thereon), and other appurtenances thereto, and rights in respect thereof, in each case, used
in the operation of the Regional Business, including the properties listed on Schedule 2.1(j);

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                (k)    all Assumed Contracts;

            (l)    all of Sellers’ deposits, advances or prepaid expenses relating to any of the
Assumed Contracts;

                (m)    all documents (including books and records) of the Regional Business,
including all financial, marketing and business data, pricing and cost information, business and
marketing plans and other information, files, correspondence, records, data, plans, engineering,
reports and recorded knowledge, historical trademark files, prosecution files of the Sellers in
whatever media retained or stored, including computer programs and disks, in each case of the
Regional Business; including files in the possession of Sellers, in each case, to the extent
reasonably available, not subject to claims of solicitor-client or attorney-client privilege, and
otherwise permitted by applicable Law;

               (n)    to the extent applicable, all certificates of title and other documentation
necessary to convey or otherwise evidence title to the equipment included in the Acquired Assets;

                (o)    all personnel files for Continuing Employees except as prohibited by Law;

                (p)    all Permits used in the operation of the Regional Business to the extent
transferable;

               (q)    all rights under or arising out of all insurance policies relating to the
Regional Business (including, without limitation, returns and refunds of any premiums paid, or
other amounts due back to the Sellers, with respect to cancelled policies, all proceeds received on
or after closing and all proceeds received prior to closing in connection with casualty events
involving tangible Acquired Assets);

                (r)     any claim, right or interest in and to all (or the benefit of all to the extent
not assignable) Tax refunds, rebates, abatements, credits and similar items received in or relating
to any period, or portion of any period, beginning on or after the Closing Date or any Tax Return,
relating to the Regional Business received after the Closing Date;

               (s)    causes of action, lawsuits, judgments, Claims and demands of any nature,
whether arising by way of counterclaim or otherwise, in each case to the extent arising from the
Acquired Assets or the Assumed Liabilities;

                (t)   all rights under non-disclosure or confidentiality, non-compete, or non-
solicitation agreements with employees and agents of the Sellers or with third parties relating to
the Regional Business;

               (u)     all rights under or pursuant to all warranties, representations and guarantees
made by vendors, suppliers, manufacturers, contractors and any other Person to the extent relating
to products sold, or services provided, to the Sellers in connection with the Regional Business or
to the extent affecting any Acquired Assets, other than any warranties, representations and
guarantees pertaining to any Excluded Assets;

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               (v)    all sales and promotional materials, catalogues and advertising literature
used in the Regional Business;

               (w)     all of Sellers’ equity interests, or securities convertible into, exchangeable
or exercisable for equity interests, in C&A Grinding and all related rights of Sellers with respect
thereto (the “C&A Grinding Equity Interests”);

                (x)    all Avoidance Actions available to Sellers related to the Regional Business
and all Claims and causes of action of Sellers as of the Petition Date and as of Closing against any
insider (as such term is defined in section 101(31) of the Bankruptcy Code (regardless of whether
or not such claims and causes of action have been asserted by Sellers) including rights of set-off
and rights of recoupment, refunds, claims, counterclaims, demands, causes of action and rights to
collect damages of Sellers against any equityholders or officers, managers, directors or employees
of Sellers; and

                (y)    all other assets, properties, interests, privileges and rights used in the
Regional Business wherever located and whether or not required to be reflected on a balance sheet
prepared in accordance with GAAP (including any assets acquired by Sellers after the date hereof
but prior to Closing).

       2.2     Excluded Assets. Notwithstanding anything to the contrary in this Agreement, in
no event shall Sellers be deemed to sell, assign, transfer or deliver to Buyer, and in no event will
Buyer be deemed to purchase and acquire from Sellers the following assets, properties, interests
and rights of Sellers (collectively, the “Excluded Assets”):

              (a)     assets, properties, interests and rights of Sellers exclusively used in the
Midland Drilling Fluids Business;

                (b)    Sellers’ rights under the Transaction Documents;

                (c)    all benefit plans and collective bargaining agreements, if any;

               (d)     other than the C&A Grinding Equity Interests, all shares of capital stock or
other equity interests issued by any Seller or securities convertible into, exchangeable or
exercisable for any such shares of capital stock or other equity interests;

                (e)    all books and records of Sellers that are not related to the Regional Business;

               (f)     all Tax Returns, received before the Closing Date and relating to a period
ending prior to the Closing Date; and

              (g)     any Contract to which any Seller or Subsidiary of any Seller is party or is
otherwise bound that are not Assumed Contracts.

        2.3   Liabilities to be Assumed by Buyer. Subject to the granting of the Sale Order, and
the terms and conditions of this Agreement and the Sale Order, at the Closing, the Sellers shall
assign to Buyer, and Buyer shall assume from the Sellers and pay when due, perform and
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discharge, in due course, without duplication, only the Assumed Liabilities. “Assumed Liabilities”
shall mean solely the following Liabilities:

             (a)   all Liabilities of the Sellers under the ABL Facility and the New Money
Financing Agreement on the terms and conditions set forth in the Encina Exit Financing
Commitment Letter;

                (b)     any Cure Amounts under Assumed Contracts; and

                 (c)    all Liabilities first arising from or after the Closing (i) as a direct result of
the ownership or operation of any of the Acquired Assets, and (ii) under the Assumed Contracts
as a result of the assumption by the Buyer of such Assumed Contracts.

        2.4     Assignment and Assumption of Contracts.

                (a)    The Sale Order shall provide for the assumption by Sellers, and the
assignment to the extent legally capable of being assigned by Sellers to Buyer, of the Designated
Contracts pursuant to section 365 of the Bankruptcy Code on the terms and conditions set forth in
the remainder of this Section 2.4. At Buyer’s request, and at Buyer’s sole cost and expense, Sellers
shall reasonably cooperate from the date hereof forward with Buyer as reasonably requested by
Buyer (i) to allow Buyer to enter into an amendment of any Lease upon assumption of such Lease
by Buyer (and Sellers shall reasonably cooperate with Buyer to the extent reasonably requested by
Buyer in negotiations with the landlords thereof), or (ii) to otherwise amend any Lease to the extent
such amendments would not adversely affect any Seller; provided that Sellers shall not be required
to enter into any such amendment if such amendment would result in an assumption by any Seller
of such Lease, unless such Lease will be assigned to Buyer at the time of such assumption.

                (b)     Attached hereto as Schedule 2.4(b) is a list, which list may be changed by
the Buyer in its sole discretion by adding or removing Executory Contracts or Leases or moving
Executory Contracts or Leases between subpart (i) and subpart (ii), from time to time, prior to the
Designation Deadline, identifying the Executory Contracts and Leases that Buyer has decided will
be assumed and assigned to Buyer on the Closing Date (the Executory Contracts and Leases listed
as of the Designation Deadline, the “Designated Contracts”). Subpart (i) of Schedule 2.4(b)
identifies Material Contracts that are also Designated Contracts and subpart (ii) of Schedule 2.4(b)
identifies Designated Contracts other than Material Contracts. In connection with the serving of
the Sale Motion, the applicable Seller shall file with the Bankruptcy Court and serve notice by first
class mail on all non-debtor counterparties to all Designated Contracts (such notice, an
“Assumption Notice”), and provide a copy of the same to Buyer, and at the Closing shall assume
and assign to, and Buyer shall accept the assignment of and assume such Executory Contract or
Lease. In connection with the serving of the Sale Motion, the applicable Seller shall file a notice
of rejection as of the Closing Date of every Executory Contract and Lease that is not a Designated
Contract (“Excluded Contracts”). The Assumption Notice and the notice of rejection of Excluded
Contracts shall be in form and substance acceptable to the Buyer.

             (c)      In connection with the assumption and assignment to Buyer of any
Designated Contract that is executory pursuant to this Section 2.4, the cure amounts, as determined

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by the Bankruptcy Court, if any (such amounts, the “Cure Amounts”), necessary to cure all
defaults, if any, and to pay all actual or pecuniary losses that have resulted from such defaults
under the Designated Contracts, including any amounts payable to any landlord under any Lease
that is a Designated Contract that relates to the period prior to the delivery of an Assumption Notice
with respect thereto, shall be paid by Buyer within ten (10) Business Days after the Closing.

               (d)    Sellers shall use their respective reasonable best efforts to obtain one or
more orders of the Bankruptcy Court, which order(s) shall be in form and substance reasonably
acceptable to Buyer, and shall reflect the terms and conditions set forth herein, to assume and
assign the Designated Contracts to Buyer on the terms set forth in this Section 2.4.

                (e)     The Parties shall use their commercially reasonable efforts, and cooperate
with each other to obtain any counterparty or third party consent (“Consent”) that is required to
assume and assign to Buyer any Designated Contract; provided, however, that none of the Parties
or any of their respective Affiliates shall be required to pay any consideration therefor other than
filing, recordation or similar fees, which shall be borne by Buyer. To the extent that any such
Consent is not obtained by the Closing Date, the applicable Seller so long as it is in existence, shall
use reasonable best efforts (at Buyer’s sole cost) during the term of such Designated Contract to
(i) provide to Buyer the benefits under such Designated Contract, (ii) cooperate in any reasonable
and lawful arrangement, including holding such Designated Contract in trust for Buyer pending
receipt of the required Consent, designed to provide such benefits to Buyer and (iii) enforce for
the account of Buyer any rights of such Seller under such Designated Contract, including the right
to elect to terminate such Designated Contract in accordance with the terms thereof upon the
written direction of Buyer. Buyer shall reasonably cooperate with Sellers in order to enable Sellers
to provide to Buyer the benefits contemplated by this Section 2.4(e).

                (f)      Notwithstanding the foregoing, a Contract shall not be a Designated
Contract hereunder and shall not be assigned to, or assumed by, Buyer to the extent that such
Contract (i) is rejected by a Seller in accordance with the terms hereof, deemed rejected under
Section 365 of the Bankruptcy Code, or terminated by the other party thereto or terminates or
expires in accordance with its terms on or prior to the Designation Deadline and is not continued
or otherwise extended prior to or upon assumption and assignment, or (ii) requires a Consent of
any Governmental Entity or other third party (other than, and in addition to, that of the Bankruptcy
Court) in order to permit the assumption and assignment by Seller to Buyer of such Contract
pursuant to Section 365 of the Bankruptcy Code, and no such Consent has been obtained prior to
the Closing. In addition, a Permit shall not be assigned to, or assumed by, Buyer to the extent that
such Permit requires a Consent of any Governmental Entity or other third party (other than, and in
addition to, that of the Bankruptcy Court) in order to permit the sale or transfer to Buyer of Sellers’
rights under such Permit, and no such Consent has been obtained prior to the Closing.

        2.5      Excluded Liabilities. Notwithstanding anything in this Agreement to the contrary,
Buyer shall not and does not assume, and shall be deemed not to have assumed and shall not be
obligated to pay, perform, discharge or in any other manner be liable or responsible for any
Liabilities of the Sellers or any predecessors of Sellers that are not Assumed Liabilities, whether
existing on the Closing Date or arising thereafter, whether absolute, accrued, contingent or
otherwise, whether due or to become due, known or unknown, matured or unmatured, direct or
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indirect, and Sellers shall be solely and exclusively liable for any and all such Liabilities, including,
without limitation, Liabilities relating to or arising out of any of the following (collectively, the
“Excluded Liabilities”):

              (a)     all Liabilities arising with respect to or relating to any of the Excluded
Assets, whether before, on or after the Closing;

              (b)    all Liabilities of Sellers for Indebtedness (including any intercompany
Indebtedness among the Sellers and their Affiliates) except as expressly set forth in Section 2.3(a);

               (c)     any Liability for (i) Taxes of Sellers or their Affiliates; (ii) any Pre-Closing
Taxes, including all Liabilities related to Property Taxes imposed upon or assessed directly against
the Acquired Assets attributable to the period before the Closing Date; (iii) Taxes relating to the
Excluded Assets or any other Excluded Liability, in each instance, for any period; and (iv) any
Transfer Taxes;

                (d)      all Liabilities of Sellers in respect of or relating to any Contract to which
any Seller is party or is otherwise bound that are not Assumed Contracts and all Liabilities arising
out of the rejection of any Excluded Contracts by Sellers;

               (e)     all Liabilities incurred or to be incurred by Sellers in connection with
negotiation, entry into and consummation of the transactions contemplated by the Transaction
Documents, including the consummation of the Transactions and any “success” fees, change of
control payments and any other payment obligations of Sellers payable as a result of the
consummation of the Transactions and the documents delivered in connection herewith;

                 (f)     all Liabilities of Sellers to its equity holders respecting dividends,
distributions in liquidation, redemptions of interests, option payments or otherwise, and any
liability of Sellers pursuant to any Contract with an Affiliate of Sellers;

             (g)    all Liabilities arising out of or relating to any business or property formerly
owned or operated by any of the Sellers, any Affiliate or predecessor thereof, but not presently
owned and operated by any of the Sellers;

              (h)    all Liabilities relating to Claims, actions, suits, arbitrations, litigation
matters, Proceedings or investigations (in each case whether involving private parties,
Governmental Entities, or otherwise) involving, against, or affecting any Seller, Acquired Asset,
the Regional Business, or any assets or properties of Sellers;

                (i)     all Liabilities arising under Environmental Laws;

                (j)     all accounts payable Liabilities;

                (k)    Liabilities with respect to employment or other provision of services,
compensation, severance, benefits or payments of any nature owed to any current or former
employee, officer, director, member, partner or independent contractor of any Seller or any ERISA
Affiliate (or any beneficiary or dependent of any such individual), whether or not employed by
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Buyer or any of its Affiliates after the Closing, that (i) arises out of or relates to the employment,
service provider or other relationship between any Seller or ERISA Affiliate and any such
individual, including but not limited to the termination of such relationship, (ii) arises out of or
relates to any benefit plan or (iii) arises out of or relates to events or conditions occurring on or
before the Closing Date;

               (l)    all Liabilities with respect to any terminated employees with respect to
sections 601 through 608 of ERISA and section 4980B of the IRC (also known as “COBRA”);

               (m)   all Liabilities (x) related to the WARN Act, to the extent applicable, with
respect to the termination of employment of Sellers’ employees and (y) with respect to the
termination of employment of the company “insiders” (as such term is defined under the
Bankruptcy Code);

               (n)     all Liabilities for fees, costs and expenses that have been incurred or that
are incurred or owed by Sellers or any other Person in connection with this Agreement or the
administration of the Bankruptcy Case (including all fees and expenses of professionals engaged
by the Sellers or any of their Affiliates) and administrative expenses and priority Claims accrued
through the Closing Date and all post-closing administrative wind-down expenses of the Sellers
pursuant to the Bankruptcy Code;

                 (o)    drafts or checks outstanding at the Closing that have been issued by the
Sellers;

              (p)    all Liabilities under any futures contracts, options on futures, swap
agreements or forward sale agreements;

                (q)   all Liabilities to any broker, investment banker, sale advisor, finder or agent
or similar intermediary for any broker’s fee, finders’ fee or similar fee or commission relating to
the Transactions; and

                 (r)    any and all other Liabilities, other than the Assumed Liabilities.

        2.6    Withholding. Buyer and its Affiliates shall be entitled to deduct and withhold from
any amounts payable pursuant to this Agreement such amounts as they reasonably determine that
they are required to deduct and withhold with respect to the making of such payment under the
Code and any provision of state, local or non-U.S. Tax Laws. To the extent that amounts are so
withheld and paid over to the applicable Tax Authorities, such withheld amounts shall be treated
for all purposes of this Agreement as having been paid to the Person entitled to receipt of such
payment.

                                       ARTICLE 3
                             CLOSING; CASH PURCHASE PRICE

           3.1   Closing; Transfer of Possession; Certain Deliveries.


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                (a)     The consummation of the Transactions (the “Closing”) shall take place on
the second Business Day after the satisfaction of all of the conditions set forth in Article 7 (other
than those conditions that by their nature are to be satisfied by actions taken at the Closing, but
subject to the satisfaction or the waiver thereof at the Closing by the Party entitled to waive that
condition) or on such other date as the Parties hereto shall mutually agree. The Closing shall be
held by electronic exchange of executed documents. The actual date of the Closing is herein called
the “Closing Date”.

                (b)    At the Closing, Sellers shall deliver, or cause to be delivered to Buyer:

                       (i)     the Trustee’s Conditions Certificate;

                       (ii)    the Officer’s Certificate;

                        (iii) a duly executed bill of sale, in a form mutually agreed to by the
Parties, transferring the Acquired Assets to Buyer;

                     (iv)    one or more Assignment and Assumption Agreements in form and
substance mutually acceptable to the Parties;

                       (v)     a copy of each Sale Order;

                      (vi)     such other assignments and other instruments of transfer or
conveyance as Buyer may reasonably request or as may otherwise be necessary to evidence and
effect sale, assignment, transfer, conveyance and delivery of the Acquired Assets to Buyer and
assumption of Assumed Liabilities by Buyer; and

                      (vii) an affidavit prepared in accordance with Treasury Regulations
Sections 1.1445-2 and dated as of the Closing Date attesting that each Seller is not a foreign person,
provided, however, that if Buyer does not receive a properly executed affidavit, as described above,
from any Seller then Buyer shall be permitted to withhold from any payments to be made pursuant
to this Agreement to such Seller any required withholding Tax under Section 1445 of the Code as
determined by Buyer and any such amounts withheld shall be treated for all purposes of this
Agreement as having been paid to Seller.

                (c)    At the Closing, Buyer shall deliver to Sellers:

                       (i)     a cash payment by wire transfer of immediately available funds to
an account set forth by Sellers of an aggregate amount equal to (A) the Cash Purchase Price minus
(B) the Deposit minus (C) the Tax Escrow Amount minus (D) the Property Tax Holdback Amount;

                      (ii)    to the extent payable on Closing, evidence that Cure Amounts (if
any) in respect of each Assumed Contract have been paid in accordance with the consent of the
applicable counterparty or as otherwise agreed upon by the Buyer and such counterparty;

                       (iii)   the Buyer’s Conditions Certificate;

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                       (iv)      a duly executed Assignment and Assumption Agreement; and

                        (v)     such other assignments and other instruments of transfer or
conveyance as Sellers may reasonably request or as may otherwise be necessary to evidence and
effect the sale, assignment, transfer, conveyance and delivery of the Acquired Assets to Buyer and
assumption of Assumed Liabilities by Buyer.

                (d)     At the Closing, Buyer shall deliver to the Trustee the Tax Escrow Amount
to be held in trust for the payment of any Transfer Taxes payable in connection with the
Transactions. If any funds remain in the Tax Escrow Amount following the full satisfaction of the
obligations set forth in the immediately preceding sentence, such amounts shall be released by the
Trustee to the Sellers.

                 (e)   At the Closing, Buyer shall deliver to each Continuing Employee an offer
letter offering such Continuing Employee employment with the Buyer or one of its Affiliates.

               (f)  At the Closing, Buyer shall deliver to Encina a duly executed waiver letter,
waiving any Claims Buyer may have acquired pursuant to Section 2.1(x) to the extent such Claims
are against Encina.

                (g)    At the Closing, Buyer shall deduct from the Cash Purchase Price and hold
in trust the Property Tax Holdback Amount, pursuant to Section 3.1(c)(i), for the payment by the
Buyer of any accrued and unpaid Property Taxes imposed upon or assessed directly against the
Acquired Assets allocable for a taxable period (or portion thereof) ending on or before the Closing
Date. If any portion of the Property Tax Holdback Amount remains following the full payment of
the obligations set forth in the immediately preceding sentence, such remaining portion shall be
delivered by the Buyer to the Trustee by wire transfer of immediately available funds to an account
designated by the Trustee.

        3.2     Consideration.

              (a)    Cash Purchase Price. The aggregate cash consideration for the Acquired
Assets (the “Cash Purchase Price”) shall be $1,250,000 (One Million Two Hundred and Fifty
Thousand Dollars).

                 (b)   Purchase Price. The total consideration for the Acquired Assets payable by
the Buyer to the Sellers (the “Purchase Price”) shall be the aggregate of (i) the Cash Purchase
Price, (ii) the Cure Amounts (if any), and (iii) the value of the Assumed Liabilities.

        3.3     Deposit. By no later than two (2) Business Days after the date that the Trustee files
the Sale Motion, and provided the Trustee’s Operation Orders have been entered into and are not
subject to stay, Buyer shall pay the Trustee, a deposit in the aggregate amount of $125,000 (One
Hundred Twenty-Five Thousand Dollars) (the “Deposit”), to be held by the Trustee in trust. The
Deposit (together with all accrued investment income thereon) shall be released by the Trustee to
either Buyer or Sellers, as applicable, as follows:


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               (a)     if the Closing shall occur, the Deposit and all accrued investment income
thereon shall be transferred by the Trustee to the Sellers;

                (b)     if this Agreement is terminated by Sellers pursuant to Section 8.1(h), the
Deposit, together with all accrued investment income thereon, shall be released by Trustee to
Sellers within five (5) Business Days of such termination; or

               (c)     if this Agreement is terminated for any reason (other than a termination
pursuant to Section 8.1(h)), the Deposit, together with all accrued investment income thereon, shall
be returned by Trustee to Buyer within five (5) Business Days of such termination.

        3.4      Allocation of Purchase Price. (i) The Purchase Price shall be allocated among
Sellers and (ii) the amount allocated to the Acquired Assets sold by each such Seller shall be further
allocated among such Acquired Assets in accordance with Section 1060 of the Code and the
Treasury Regulations promulgated thereunder or any similar provision of state, local or foreign
Law as applicable (the “Allocation”). The Allocation shall be delivered by Buyer to the Sellers
within ninety (90) days after the Closing. The Sellers will have the right to deliver reasonable
objections to the Allocation within thirty (30) days after Buyer’s delivery thereof, which objections
shall be set forth in writing by the Sellers in reasonable detail. Buyer shall consider any such
objections in good faith. Buyer and the Sellers shall file all Tax Returns (including, but not limited
to, Internal Revenue Service Form 8594) consistent with the Allocation (taking into account any
revisions made by Buyer in response to comments by the Sellers) absent a change in Law. Neither
Buyer nor the Sellers shall take any position or permit any of its Affiliates to take any position
inconsistent with the final Allocation in the preparation of financial statements or in the course of
any audit by any Tax Authority, Tax review or Tax proceeding related to any Tax Returns, unless,
and then only to the extent, otherwise required by applicable Law, provided, however, that nothing
contained herein shall prevent Buyer or the Sellers from settling any proposed deficiency or
adjustment by any Tax Authority based upon or arising out of the Allocation, and neither Buyer
nor the Sellers shall be required to litigate before any court any proposed deficiency or adjustment
by any Tax Authority challenging such Allocation. Buyer and the Sellers shall promptly notify and
provide the other with reasonable assistance in the event of an examination, audit, or other
proceeding relating to Taxes regarding the Allocation of the Purchase Price and the amount of the
Assumed Liabilities pursuant to this Section 3.4. Notwithstanding any other provisions of this
Agreement, the foregoing agreement shall survive the Closing Date without limitation.



                               ARTICLE 4
           REPRESENTATIONS AND WARRANTIES REGARDING SELLERS

       Except as set forth in the Disclosure Schedules, Sellers jointly and severally hereby
represent and warrant to Buyer, as of the Agreement Date as follows:

        4.1     Organization; Authority; Consents; Conflicts.

               (a)     Each Seller is duly organized, validly existing, and in good standing under
the Laws of the State of its formation.
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               (b)     Each Seller has all requisite corporate or limited liability company power
and authority, as applicable, to own, lease and operate its assets and to carry on the Regional
Business as currently conducted.

                (c)      Subject to the Sale Order having been entered into by the Bankruptcy Court,
the execution, delivery and performance by each Seller of any Transaction Document to which
such Seller is (or will become at Closing) a party, and the consummation of the Transactions, does
not and will not (i) conflict with or result in any breach of any provision of its certificate of
incorporation or bylaws or comparable governing documents or (ii) result in a violation of any
Law or Order applicable to it.

        4.2      Litigation; Orders. Except for the Bankruptcy Case and any adversary proceedings
or contested motions commenced in connection therewith, or as set forth on Schedule 4.2, there is,
no Claim, Proceeding or Order pending, outstanding or, to Sellers’ Knowledge, threatened against
either Sellers, the Acquired Assets or the Assumed Liabilities that, if adversely determined, would
be material to the Regional Business, the Acquired Assets or the Assumed Liabilities or that would
materially impair Sellers' ability to consummate the Transactions.

        4.3     Compliance with Laws; Permits. Sellers are in compliance with all applicable Laws
related to the Acquired Assets in all material respects, and the Sellers have not received any written
notice of any alleged material violation of applicable Law from any Governmental Entity or other
Person. The Sellers hold all material Permits necessary or required pursuant to applicable Law for
the operation of the Acquired Assets as presently conducted and for the ownership or operation of
the Acquired Assets. The Sellers have not received written notice of any material default under
any Permit related to the Acquired Assets and no material violations exist in respect of such
Permits.

        4.4     Real Property.

                 (a)     Schedule 4.4(a) contains a list and brief description of all Leased Real
Property held or used for, or necessary to the operation of the Regional Business. Sellers have
made available true and complete copies of all leases with respect to such Leased Real Property
(individually, a “Lease” and collectively, the “Leases”) to Buyer. Other than as set forth on
Schedule 4.4(a), Sellers are not in breach of any material term or in “default” under any Lease and,
to Sellers’ Knowledge, no party to any Lease has given Sellers written notice of or made a claim
with respect to any breach or default thereunder. To Sellers’ Knowledge, there are no conditions
that currently exist or with the passage of time will (i) result in a default or breach of any material
term by any party to a Lease or (ii) give rise to the right of the lessor to accelerate the obligations
thereunder or modify the terms thereof. To Sellers’ Knowledge, other than as noted on
Schedule 4.4(a), none of the Leased Real Property is subject to any sublease or grant to any Person
of any right to the use, occupancy or enjoyment of the Leased Real Property or any portion thereof
that would materially impair the use of the Leased Real Property in the operation of the Regional
Business. The Leased Real Property is not subject to any Liens (other than Permitted Liens). The
Leased Real Property is not subject to any use restrictions, exceptions, reservations or limitations
which in any material respect interfere with or impair the present and continued use thereof in the
Ordinary Course of Business. There are no pending or, to Sellers’ Knowledge, threatened
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condemnation proceedings or other Claims relating to any of the Leased Real Property. The Leases
that are Acquired Assets will continue to be legal, valid, binding, enforceable and in full force and
effect on the same material terms immediately following the consummation of the Transactions.

                (b)     Schedule 4.4(b) sets forth a true, correct and complete list of all Owned Real
Property, specifying the street address, the current owner and the current use of each parcel of
Owned Real Property in which any Seller has any title interest and which is related to, used, useful
or held for use in the conduct of the Regional Business (the “Owned Real Property”). Except for
Permitted Liens, Sellers have good and marketable title in the Owned Real Property set forth on
Schedule 4.4(b). To Sellers’ Knowledge, other than as noted on Schedule 4.4(b), none of the
Owned Real Property is subject to any lease or grant to any Person of any right to the use, purchase,
occupancy or enjoyment of such Owned Real Property or any portion thereof required to conduct
the Regional Business. Except for Permitted Liens, the Owned Real Property is not subject to any
Liens or to any use restrictions, exceptions, reservations or limitations, which in any material
respect interfere with or impair the present and continued use thereof in the Ordinary Course of
Business and in the same manner after the Closing as conducted by Sellers in the twelve months
prior to Closing. There are no pending or, to Sellers’ Knowledge, threatened condemnation
proceedings or other Claims relating to any of the Owned Real Property.

         4.5    Environmental Matters. Except as set forth on Schedule 4.5, (a) with respect to the
Regional Business and the Acquired Assets, there is no pending or, to Sellers’ Knowledge,
threatened suit, verbal or written notice, investigation, claim, litigation, proceeding or other Claim
by any Governmental Entity or any other Person that could reasonably be expected to result in any
material Environmental Liabilities and Obligations, and no Seller is subject to, or in default of,
any Order applicable to the Regional Business or the Acquired Assets and issued under or pursuant
to any Environmental Law, (b) there has been no Release of Hazardous Materials in connection
with the Regional Business, or at, from, on or under the Owned Real Property or the Leased Real
Property that could reasonably be expected to result in any material Environmental Liabilities and
Obligations, or require any material Remedial Action pursuant to any Environmental Law, (c)
Sellers have obtained and are in compliance with and, to the extent applicable, have filed timely
applications to renew, all material Permits that are required pursuant to any Environmental Law
for the operation of the Acquired Assets and all such Permits are valid and in full force and effect,
and no Claim is pending or, to the Knowledge of Sellers, threatened, which seeks to revoke, limit
or otherwise affect any such Permit; (d) none of the Sellers has any material financial assurance,
escrow, bonding or similar obligation under or pursuant to any Environmental Law, and (e) Sellers
have delivered or made available to Buyer copies of the following non-privileged records in
Sellers’ or its representatives’ possession, custody or control: (i) all material Permits issued
pursuant to any Environmental Law for the Regional Business or the operation of the Acquired
Assets; (ii) all material documents with respect to any pending or threatened material action,
litigation, proceeding or other Claim relating to or bearing on the Regional Business or the
Acquired Assets and arising under or relating to any Environmental Law, or with respect to any
Environmental Liabilities and Obligations; and (iii) all material written environmental reports,
audits and assessments (including Phase I environmental site assessment reports) for the Regional
Business and the Acquired Assets (including the Owned Real Property and Leased Real Property).

        4.6     Suppliers; Customers.
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                (a)      Suppliers.

                       (i)     Schedule 4.6(a) sets forth a complete and accurate list of (A) the
top ten (10) suppliers (excluding utilities) of the Sellers that accounted for the most expenses of
the Regional Business for the twelve month period ended April 30, 2020 (the “Top Suppliers”)
and (B) with respect to each such Top Supplier the aggregate amount of such expenses.

                       (ii)    Since April 1, 2020, (A) no Top Supplier has terminated or
adversely modified the amount, frequency or terms of the business such Top Supplier conducts
with the Sellers and (B) the Sellers have not received any notice, nor do the Sellers have any
Knowledge, that any Top Supplier intends to terminate or adversely modify the amount, frequency
or terms of the business such Top Supplier conducts with the Sellers. The Sellers do not have any
outstanding material disputes concerning the products and/or services provided by any Top
Supplier, and the Sellers have no Knowledge of any material dissatisfaction on the part of any Top
Supplier.

                (b)      Customers.

                       (i)     Schedule 4.6(b) sets forth a complete and accurate list of (A) the
top ten (10) customers of the Sellers that accounted for the most revenues of the Regional Business
for the twelve month period ended April 30, 2020 (the “Top Customers”) and (B) with respect to
each such Top Customer the aggregate amount of such revenues.

                      (ii)   Since April 1, 2020, (A) no Top Customer has terminated or
adversely modified the amount, frequency or terms of the business such Top Customer conducts
with the Sellers and (B) the Sellers have not received any notice, nor do the Sellers have any
Knowledge, that any Top Customer intends to terminate or adversely modify the amount,
frequency or terms of the business such Top Customer conducts with the Sellers. The Sellers do
not have any outstanding material disputes concerning the products and/or services provided by
any Top Customer, and the Sellers have no Knowledge of any material dissatisfaction on the part
of any Top Customer.

        4.7     RESERVED.

        4.8     Contracts. Schedule 4.8 sets forth a complete list, as of the date hereof, of (i) all
Contracts to which either Seller is a party and that are used in or related to the Regional Business
or the Acquired Assets, and (ii) the estimated Cure Amounts for each such Contract (and such
other commercial information related to the Contracts listed thereon as shall be reasonably
requested by Buyer), and each of the Contracts set forth on Schedule 4.8 is in full force and effect
and is a valid and binding obligation as to Seller and, to the knowledge of Seller, the other parties
thereto, unamended by oral or written agreement, in each case except as such enforceability may
be limited by bankruptcy, insolvency, reorganization, moratorium, fraudulent transfer or other
laws (whether statutory, regulatory or decisional), now or hereafter in effect, relating to or affecting
the rights of creditors generally or by equitable principles (regardless of whether considered in a
proceeding at law or in equity).

        4.9     Taxes.
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               (a)    All Tax Returns required to be filed by Sellers in respect of the Acquired
Assets have been duly filed on a timely basis or within valid and appropriate extensions of time,
and all such Tax Returns were when filed, and continue to be, correct and complete in all material
respects. All Taxes (whether or not shown on any Tax Return) owed by Sellers relating to the
Acquired Assets have been timely paid. There are no Liens with respect to Taxes imposed on the
Acquired Assets other than Permitted Liens.

                (b)     Sellers have complied with all Laws applicable to the Acquired Assets
relating to the payment and withholding of Taxes, and have duly and timely withheld and paid
over to the appropriate Tax Authority all amounts required to be so withheld and paid under all
such Laws. Sellers have not given nor requested extensions, waived or requested to waive any
statute of limitations in respect of Taxes associated with the Acquired Assets which waiver is
currently in effect. Sellers have not deferred payment of Sellers’ portion of payroll taxes otherwise
required to be deposited and paid for the period beginning March 27, 2020 through the Closing
Date under section 2302 of the Coronavirus, Aid, Relief and Economic Security Act (P.L. 116-
136).

                (c)     There is no Proceeding pending or threatened against Sellers in respect of
the Acquired Assets by any Tax Authority, including for the assessment or collection of Taxes.
No deficiencies for any Taxes have been proposed, asserted, threatened or assessed against Sellers
in respect of the Acquired Assets by any Tax Authority that have not been paid, resolved or settled,
and Sellers have not agreed to any requests for waivers of the time to assess or collect any such
Taxes. No Tax Authority with which Sellers do not file a particular Tax Return or to which Sellers
do not pay Taxes, in each case in respect of the Acquired Assets, has claimed that Sellers are or
may be subject to taxation by that Tax Authority. No issue has been raised by a Tax Authority in
any prior examination of Sellers relating to the Acquired Assets, which, by application of the same
or similar principles, could reasonably be expected to result in a material proposed deficiency for
any subsequent taxable period.

                (d)    Schedule 4.9 lists: (i) all jurisdictions in which Sellers pay Taxes and/or
have a duty to file Tax Returns, in each case in respect of the Acquired Assets; and (ii) all types of
Tax Returns filed by or on behalf of Sellers that relate in whole or in part to the Acquired Assets.

                (e)    Sellers have collected all sales, use, value-added, and similar Taxes in
respect of the Acquired Assets required to be collected, and has remitted, or will remit, on a timely
basis such amounts to the appropriate Tax Authority. Sellers have properly requested, received
and retained all necessary exemption certificates and other documentation supporting any claimed
exemption or waiver of Taxes in respect of the Acquired Assets on sales or similar transactions as
to which it would otherwise have been obligated to collect or withhold such Taxes.

        4.10 Brokers’ Fees and Commissions. No Seller nor any of its Affiliates, members,
managers, directors, officers, employees or agents has employed or has an liability to any
investment banker, broker, finder, agent or similar intermediary in connection with this
Agreement, the other Transaction Documents, or the Transactions contemplated hereby, and no
broker, finder, agent or similar intermediary is entitled to any broker’s fee, finder’s fee, or similar
fee or commission for which Buyer could become liable or obligated to pay.
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                                    ARTICLE 5
                     REPRESENTATIONS AND WARRANTIES OF BUYER

        Except as set forth on the Disclosure Schedules, Buyer hereby represents and warrants to
Sellers, as of the Agreement Date, and as of the Closing Date, as follows:

        5.1    Organization. Buyer is duly organized, validly existing and in good standing under
the Laws of the jurisdiction of its organization. Buyer has all necessary corporate power and
authority to own and operate its properties, to lease the property it operates under lease and to
conduct its business.

        5.2     Due Authorization, Execution and Delivery; Enforceability. Buyer has all requisite
corporate power and authority to execute and deliver this Agreement and the other Transaction
Documents to which it is (or will become at Closing) a party and to perform its obligations
hereunder and thereunder (subject to, in the case of the obligation to consummate the Transactions,
to the granting of the Sale Order). The execution, delivery and performance by Buyer of this
Agreement and the other Transaction Documents to which it is (or will become at Closing) a party
and the consummation of the Transactions have been duly and validly authorized by all requisite
corporate action on the part of Buyer and no other corporate action on the part of Buyer is necessary
to authorize this Agreement and such other Transaction Documents and to consummate the
Transactions (subject, in the case of the obligation to consummate the Transactions, to the granting
of the Sale Order). This Agreement and the other Transaction Documents to which Buyer is (or
will become at Closing) party have been (or will be) duly and validly executed and delivered by
Buyer and (assuming the due authorization, execution and delivery by all parties hereto and
thereto, other than Buyer) constitute (or will constitute) valid and binding obligations of Buyer
enforceable against Buyer in accordance with their terms (subject to, in the case of the obligation
to consummate the Transactions, to the granting of the Sale Order), in each case except as
enforceability may be limited by applicable bankruptcy, insolvency or similar Laws affecting the
enforcement of creditors’ rights generally or by equitable principles relating to enforceability.

       5.3     Governmental Approvals. No notice to, consent, approval or authorization of or
designation, declaration or filing with any Governmental Entity is required by Buyer with respect
to Buyer’s execution and delivery of any Transaction Document to which it is (or will become at
Closing) a party or the consummation of the Transactions, except (a) the Sale Order having been
entered into by the Bankruptcy Court and (b) any consent, approval or authorization of or
designation, declaration or filing with any Governmental Entity the failure of which to be made or
obtained would not, individually or in the aggregate, materially affect the ability of the Buyer to
consummate the Transactions.

        5.4     No Conflicts. The execution, delivery and performance by Buyer of any
Transaction Document to which Buyer is (or will become at Closing) a party and the
consummation of the Transactions, does not and will not (a) conflict with or result in any breach
of any provision of its certificate of incorporation or bylaws or comparable governing documents,
(b) conflict with or result in the breach of the terms, conditions or provisions of or constitute a
default (or an event which with notice or lapse of time or both would become a default) under, or
give rise to any right of termination, acceleration or cancellation under, any material Contract of
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Buyer, or (c) result in a violation of any Law or Order applicable to it, except, in the case of clauses
(b) and (c), as would not, individually or in the aggregate, materially affect the ability of the Buyer
to consummate the Transactions.

       5.5    Sufficiency of Funds. Buyer has sufficient funds to enable it to make payment of
the Cash Purchase Price and consummate the transactions contemplated by this Agreement.

        5.6     Condition of Business. Buyer hereby acknowledges and agrees that
notwithstanding anything expressed or implied herein to the contrary, except as expressly set forth
in Article 4 of this Agreement, Sellers, including each of their directors, officers, employees,
agents, shareholders, Affiliates, consultants, counsel, accountants or and other representatives,
including the Trustee, make no express or implied representations or warranties whatsoever,
including any representation or warranty as to physical condition or value of any of the Acquired
Assets or the future profitability or future earnings performance of the Regional Business. Buyer
will accept the Acquired Assets at the Closing and assume the Assumed Liabilities at the Closing
“AS IS,” “WHERE IS” AND “WITH ALL FAULTS”.

                                      ARTICLE 6
                                COVENANTS OF THE PARTIES

        6.1    Conduct Pending the Closing. During the period from the date of this Agreement
and continuing until the earlier of the termination of this Agreement in accordance with its terms
and the Closing (the “Interim Period”), except for the filing of the Bankruptcy Cases and subject
to the provisions of the New Money Financing Agreement, the Sellers shall use commercially
reasonable efforts to (x) operate the Regional Business in the Ordinary Course of Business and (y)
(A) preserve intact their respective business organizations, (B) maintain the Regional Business and
the Acquired Assets (normal wear and tear excepted), (C) keep available the services of their
respective officers and employees, (D) maintain satisfactory relationships with licensors,
licensees, suppliers, contractors, distributors, consultants, customers, vendors and others having
business relationships with Sellers in connection with the operation of the Regional Business,
(E) continue to operate the Regional Business and Acquired Assets in all material respects in
compliance with all Laws applicable to the Regional Business and Sellers and (F) not remove or
permit to be removed from any building, facility, or real property that constitute Acquired Assets
any asset, equipment, machinery or any Inventory (other than in connection with the sale of
Inventory in the Ordinary Course of Business or the removal of equipment to drill sites in the
Ordinary Course of Business).

        6.2     Access. Subject to applicable Law, during the Interim Period, the Sellers, (a) shall
give Buyer and its Representatives reasonable access during normal business hours to the offices,
properties, officers, employees, accountants, auditors, counsel and other Representatives, books
and records of the Sellers to the extent relating to the Acquired Assets, as Buyer reasonably deems
necessary in connection with effectuating the transactions contemplated by this Agreement,
(b) shall furnish to Buyer and its Representatives such financial, operating and property data to the
extent relating to the Regional Business and other information as Buyer and its Representatives
reasonably request and (c) shall cooperate reasonably with Buyer in its investigation of the
Acquired Assets. Buyer agrees that any on-site inspections of any leased real property shall be
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conducted in the presence of the Sellers or their Representatives. All inspections shall be conducted
so as not to interfere unreasonably with the use of any of the leased real property by the Sellers.

        6.3    Physical Inventory. Without limiting Section 6.2, the Sellers (a) shall give Buyer
and its Representatives reasonable access to the offices, properties, plants, warehouses, employees,
accountants and auditors of the Sellers in order to conduct a physical inventory of the Inventory,
Owned Real Property and Leased Real Property prior to the Closing Date and (b) shall cooperate
reasonably with Buyer in its investigation of the Inventory, Owned Real Property and Leased Real
Property.

        6.4     Tax Matters.

               (a)     All Transfer Taxes arising out of the transfer of the Acquired Assets
pursuant to this Agreement shall be borne by the Sellers. The Sellers shall file all necessary
documentation and returns with respect to such Transfer Taxes when due, and shall promptly,
following the filing thereof, furnish a copy of such return or other filing and a copy of a receipt
showing payment of any such Transfer Taxes to Buyer. Sellers shall pay all such Transfer Taxes
when due.

               (b)     Each of Buyer, on the one hand, and Sellers, on the other hand, shall
cooperate fully, as and to the extent reasonably requested, in connection with the preparation and
filing of Tax Returns and any audit, litigation or other proceeding with respect to Taxes and shall
furnish or cause to be furnished to the other, upon request, as promptly as practicable, such
information and assistance relating to the Acquired Assets as is reasonably necessary for filing of
all Tax Returns, including any Claim for exemption or exclusion from the application or imposition
of any Taxes, the preparation for any audit by any Tax Authority and the prosecution or defense
of any Proceeding relating to any Tax Return.

        6.5     Approvals; Commercially Reasonable Efforts; Notification; Consent.

                   (a)    Subject to the terms and conditions of this Agreement, each Party shall use
its commercially reasonably efforts to take, or cause to be taken, all actions, and to do, or cause to
be done, and to assist and cooperate with the other Parties in doing, all things necessary, proper or
advisable under applicable Law to consummate and make effective the Transactions. Without
limiting the generality of the foregoing, the Parties will use their respective commercially
reasonable efforts to (i) take all actions necessary to transfer the Acquired Assets, (ii) take all
actions necessary to cause all conditions set forth in Article 7 to be satisfied as soon as practicable,
(iii) lift or rescind any existing Order preventing, prohibiting or delaying the consummation of the
Transactions, (iv) effect all necessary registration, applications, notices and other filings required
by applicable Law, including, as applicable to Sellers, under the Bankruptcy Code, and (v) execute
and deliver any additional instruments necessary to fully carry out the purposes of this Agreement;
provided, however, that that nothing in this Agreement, including this Section 6.5 shall require
Buyer to (A) consent to any material condition or material concession required by any
Governmental Entity or third party; (B) consent to any divestitures of any material Subsidiary or
material assets of Buyer or its Affiliates or accept any material limitation on or material condition
on the manner in which any of the foregoing conducts their business; (C) pay any material amounts

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required or requested by any Governmental Entity; or (D) accept an agreement to hold separate
any material portion of any business or of any material assets of any material Subsidiary of Buyer
or its Affiliates. Buyer and the Sellers shall not, and shall cause their respective Affiliates not to,
take any action that would reasonably be expected to prevent or materially delay the approval of
any Governmental Entity of any of the filings referred to in this Section 6.5(a).

               (b)    Each Party shall (i) respond as promptly as reasonably practicable to any
inquiries or requests for additional information and documentary material received from any
Governmental Entity relating to the matters described in Section 6.5(a) and (ii) not enter into any
agreement with the any Governmental Entity pursuant to which such Party agrees not to
consummate the Transactions.

                 (c)     In connection with and without limiting the foregoing, each Party shall,
subject to applicable Law and except as prohibited by any applicable representative of any
applicable Governmental Entity: (i) promptly notify the other Parties of any material written
communication to that Party from any Governmental Entity concerning this Agreement or the
Transactions, and permit the other Parties to review in advance (and to consider any comments
made by the other Parties in relation to) any proposed written communication to any of the
foregoing; (ii) not participate in or agree to participate in any substantive meeting, telephone call
or discussion with any Governmental Entity in respect of any filings, investigation or inquiry
concerning this Agreement or the Transactions unless it consults with the other Parties in advance
and, to the extent permitted by such Governmental Entity, gives the other Parties the opportunity
to attend and participate in such meeting, telephone call or discussion; and (iii) subject to the
solicitor-client or attorney-client and similar applicable privileges, furnish outside legal counsel
for the other Parties with copies of all correspondence, filings, and written communications (and
memoranda setting forth the substance thereof) between such Party and its Affiliates and their
respective Representatives, on the one hand, and any Governmental Entity or its members or their
respective staffs, on the other hand, with respect to this Agreement and the Transactions; provided,
however, that any such Party may limit the disclosure of filings to protect confidential information,
including limiting dissemination of filings to an “outside counsel only” basis.

         6.6    Further Assurances. The Parties agree to (i) furnish upon request to each other such
further information, (ii) execute, acknowledge and deliver to each other such other documents and
(iii) do such other acts and things, all as the other Party may reasonably request for the purpose of
carrying out the intent of this Agreement and the Transaction Documents.

        6.7     Bankruptcy Actions and Court Filings.

               (a)    Sellers shall file motions, which shall be in form and substance acceptable
to Buyer, seeking entry of the (i) the Operating Order and (ii) the Post-Petition Financing Order
within two (2) Business Days following the Petition Date.

               (b)    Buyer and Sellers acknowledge that this Agreement and the Transactions
contemplated hereby are subject to the Trustee agreeing to pursue the consummation of the
Transaction, including the filing of the Sale Motion and the entry of the Sale Order. In the event


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of any discrepancy between this Agreement and the Sale Motion and the Sale Order, the Sale
Motion and the Sale Order shall govern.

                (c)    The Sellers shall, within seven (7) days following the Petition Date, file
with the Bankruptcy Court the Sale Motion and otherwise use their commercially reasonable
efforts to have the Bankruptcy Court enter the Sale Order as promptly as practicable.

       6.8     Expense Reimbursement. If this Agreement is (a) terminated pursuant to
Section 8.1(b)(ii), Section 8.1(b)(iii), Section 8.1(c), Section 8.1(d), Section 8.1(e), Section 8.1(f),
Section 8.1(g), Section 8.1(i), Section 8.1(k), Section 8.1(l), Section 8.1(m), Section 8.1(n) or
Section 8.1(o) and (b) at any time thereafter, an Alternative Transaction is consummated, then
Buyer shall be deemed to have earned the Expense Reimbursement, which shall be paid in cash
by wire transfer of immediately available funds to an account designated by Buyer, out of the
proceeds of such Alternative Transaction, without further order of the Bankruptcy Court,
contemporaneously with or as soon as reasonably practicable following the consummation of such
Alternative Transaction. For greater certainty, the payment of the Expense Reimbursement to the
Buyer shall be in addition to the return of the Deposit in accordance with Section 3.3(c).

         6.9    Preservation of Books and Records. During the pendency of the Bankruptcy Case,
Buyer and (if applicable) Sellers and the Trustee shall provide to Sellers and their respective
Affiliates and Representatives (after reasonable notice and during normal business hours and
without undue interference to the business operations of Buyer, and at the Sellers sole cost and
expense) reasonable access to, including the right to make copies of, all books and records included
in and otherwise related to the Acquired Assets, to the extent necessary to permit the Sellers to
determine any matter relating to its rights and obligations hereunder or to any period ending on or
before the Closing Date (for example, for purposes of any Tax or accounting audit or any claim or
litigation matter, but not for any dispute or claim between Buyer and Sellers in connection with
this Agreement, the Transaction Documents or otherwise), for periods prior to the Closing and
shall preserve such books and records until the earlier of (i) such period as shall be consistent with
Buyer’s records retention policy in effect from time to time, (ii) the retention period required by
applicable Law or (iii) the termination of the Bankruptcy Case. Such access shall include access
to any information in electronic form to the extent reasonably available. Buyer acknowledges that
Sellers have the right to retain originals or copies of all of books and records included in or related
to the Acquired Assets for periods prior to the Closing.

        6.10 Notification of Certain Matters. Sellers will promptly notify Buyer of: (i) any
written notice or other communication from any Person alleging that the consent of such Person is
or may be required in connection with the Transactions (including with respect to the transfer of
personal information); (ii) any written notice or other communication from any Governmental
Entity (other than the Bankruptcy Case) related to or in connection with the Transactions; and (iii)
promptly upon discovery thereof, any material variances from, or the existence or occurrence of
any event, fact or circumstance arising after the execution of this Agreement that would reasonably
be expected to cause any of the representations and warranties contained in Article 4 to be untrue
or inaccurate in a manner that would reasonably be expected to cause the conditions set forth in
Section 7.1 not to be satisfied.

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        6.11 Confidentiality. Upon and for a period of one (1) year following the Closing (or
indefinitely in the case of trade secrets), Sellers shall use commercially reasonable efforts to keep
confidential all non-public information regarding the Acquired Assets, except and to the extent
such public disclosure as Sellers and their counsel may reasonably determine to be required under
any applicable Law or Order (provided that Sellers will provide Buyer with prior written notice of
any such disclosure to the extent permitted by applicable Law or Order).

       6.12 Contractors. Sellers shall use commercially reasonable efforts to cause the
contractors set forth on Schedule 6.12 to continue to support the Regional Business, consistent
with past practice, from and after the Agreement Date until the Closing.

                                    ARTICLE 7
                     CONDITIONS TO OBLIGATIONS OF THE PARTIES

        7.1     Conditions Precedent to Obligations of Buyer. The obligation of Buyer to
consummate the Transactions is subject to the satisfaction (or written waiver by Buyer in Buyer’s
sole discretion) at or prior to the Closing Date of each of the following conditions:

              (a)    No Order. No court or other Governmental Entity has issued, enacted,
entered, promulgated or enforced any Law or Order (that is final and non-appealable and that has
not been vacated, withdrawn or overturned) restraining, enjoining or otherwise prohibiting the
Transactions.

                (b)    Accuracy of Representations and Warranties. The representations and
warranties of Sellers set forth in Article 4 shall be true and correct (disregarding all qualifications
or limitations as to “materiality” and words of similar import set forth therein) in all material
respects as of the Agreement Date and at and as of the Closing as though made at and as of the
Closing (in each case, except to the extent expressly made as of another date, in which case as of
such date as if made at and as of such date).

              (c)     Sellers Performance of Obligations. Sellers shall have performed in all
material respects all obligations and agreements contained in this Agreement required to be
performed by them on or prior to the Closing Date.

                 (d)    Trustee's Conditions Certificate. Buyer shall have received from the
Trustee a certificate (the “Trustee's Conditions Certificate”), dated the Closing Date, certifying
that all of the conditions specified in this Section 7.1 (other than the condition set forth in Section
7.1(b)) have been fulfilled and/or waived.

                 (e)    Officer’s Certificate. Buyer shall have received from the Sellers a
certificate, dated the Closing Date, of an executive officer of each Seller to the effect that, to the
best of such officer’s knowledge, all of the conditions specified in Section 7.1(b) been fulfilled
and/or waived (the “Officer’s Certificate”).

              (f)      Inventory. The Closing Date Inventory shall not be less than 90% of the
Target Inventory.

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                (g)   Post-Petition Trade Payables. All Post-Petition Trade Payables shall have
arisen in the Ordinary Course of Business, and no such Post-Petition Trade Payables shall be
delinquent in its payment in accordance with its terms.

               (h)    Environmental Studies. The Buyer shall have received Phase I
environmental site assessment reports with respect to each of the Regional Business Warehouses
(the “Phase I Reports”) and such Phase I Reports shall have been completed within three (3) weeks
of the Agreement Date and be satisfactory to Buyer in its sole discretion.

               (i)     ABL Facility and New Money Financing Agreement Advances. Aggregate
advances under the ABL Facility and New Money Financing Agreement immediately prior to the
Closing (and taking into any account any amounts to be funded at the Closing) are not greater than
85% of the Eligible Accounts Receivable (as such term is defined in the ABL Facility and/or the
New Money Financing Agreement, as applicable) inclusive of any amounts funded or committed
to be funded by the Buyer thereunder.

               (j)     Agreement of the Trustee. The Trustee shall have agreed to undertake and
perform in all material respects all obligations and agreements contained in this Agreement
(including the obligations set forth in Section 6.8) required to be performed by the Sellers or the
Trustee no later than two (2) Business Days following the Petition Date.

               (k)    Sale Order. The Sale Order shall have been entered and shall not be subject
to a stay pending appeal.

              (l)     Material Contracts. All consents necessary to assign the Material Contracts
to the Buyer shall have been obtained and all Material Contracts shall have been assumed and
assigned to Buyer at Closing.

               (m)    Cure Amounts. The aggregate Cure Amounts related to the Material
Contracts on the Closing Date shall not exceed $1,000,0000 (One Million Dollars).

                (n)    Northeast Rig Count. There shall be no less than thirteen (13) drilling rigs
actively servicing well sites that are operated by the Regional Business (excluding the portion of
the Regional Business conducting operations out of the Midland Solid Control Warehouse) on the
Closing Date.

               (o)     Midland Solid Control Rig Count. There shall be no less than eight (8) solid
control rigs actively servicing well sites that are operated by the Regional Business out of the
Midland Solid Control Warehouse on the Closing Date.

              (p)    Trustee’s Operation Orders. The Bankruptcy Court shall have entered the
Trustee’s Operation Orders no later than five (5) days following the Petition Date.

              (q)    Property and Casualty Insurance. On or before June 1, 2020, the Property
and Casualty Insurance Policies shall have been renewed and extended beyond June 1, 2020, in
form and substance acceptable to Buyer.

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                 (r)    Encina Exit Financing. Buyer shall have received the financing on the terms
set forth in the Encina Exit Financing Commitment Letter, provided that the condition forth in this
Section 7.1(r) shall only apply so long as Buyer shall have performed in all material respects its
obligations under such financing.

        7.2     Conditions Precedent to the Obligations of the Sellers. The obligation of the Sellers
to consummate the Transactions is subject to the satisfaction (or written waiver by the Sellers) at
or prior to the Closing Date of each of the following conditions:

               (a)    No Order. No court or other Governmental Entity has issued, enacted,
entered, promulgated or enforced any Law or Order (that is final and non-appealable and that has
not been vacated, withdrawn or overturned) restraining, enjoining or otherwise prohibiting the
transactions contemplated by this Agreement.

                (b)    Accuracy of Representations and Warranties. The representations and
warranties of Buyer set forth in Article 5 shall be true and correct (disregarding all qualifications
or limitations as to “materiality” and words of similar import set forth therein) in all material
respects as of the Agreement Date and at and as of the Closing as though made at and as of the
Closing (in each case, except to the extent expressly made as of another date, in which case as of
such date as if made at and as of such date).

                 (c)    Performance of Obligations. Buyer shall have performed in all material
respects all obligations and agreements contained in this Agreement required to be performed by
it on or prior to the Closing Date.

                (d)    Officer’s Certificate. The Sellers shall have received a certificate, dated the
Closing Date, of an executive officer of Buyer to the effect that all of the conditions specified in
this Section 7.2 been fulfilled and/or waived (the “Buyer’s Conditions Certificate” and together
with the Trustee’s Conditions Certificate and the Officer’s Certificate, the “Conditions
Certificates”).

         7.3    Frustration of Conditions Precedent. Neither Buyer nor the Sellers may rely on the
failure of any condition set forth in this Article 7, as applicable, to be satisfied if such failure was
caused by such Party’s failure to use, as required by this Agreement, its commercially reasonable
efforts to consummate the Transactions contemplated hereby.

                                           ARTICLE 8
                                          TERMINATION

       8.1    Termination of Agreement. This Agreement may be terminated and the
Transactions abandoned at any time prior to the Closing:

                (a)    by written agreement of the Sellers and Buyer;

                (b)    by either the Sellers or Buyer:


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                         (i)    if there shall be any Law that makes consummation of the
Transactions illegal or otherwise prohibited, or if any Order permanently restraining, prohibiting
or enjoining Buyer or Sellers from consummating the Transactions is entered and such Order shall
become final, provided, however, that no termination may be made by a Party under this Section
8.1(b)(i) if the issuance of such Order was caused by the breach or action or inaction of such Party;

                      (ii)   upon the filing of a motion by any of the Sellers to approve an
Alternative Transaction or the Bankruptcy Court’s granting an order approving an Alternative
Transaction;

                       (iii)   upon the Sellers’ entry into an Alternative Transaction;

                (c)    by Buyer, if there shall have been a breach by either Seller of any of their
representations, warranties, covenants or agreements contained in this Agreement or any other
event or condition shall result in either Seller being incapable of satisfying one or more of their
representations, warranties, covenants or agreements set forth herein, and in either case such
breach or other event or condition shall be incapable of being cured or, if capable of being cured,
shall not have been cured within three (3) days after written Notice thereof shall have been received
by Sellers;

                 (d)     by Buyer, if (i) either of the Operating Order or the interim Post-Petition
Financing Order shall not have been entered by the Bankruptcy Court within five (5) days after
the Petition Date, (ii) the Sale Motion shall not have been filed by the Trustee with the Bankruptcy
Court on or prior to seven (7) days following the Petition Date, (iii) the final Post-Petition
Financing Order shall not have been entered by the Bankruptcy Court within twenty-six (26) days
after the Petition Date, (iv) the Sale Order shall not have been entered by the Bankruptcy Court on
or prior to twenty-eight (28) days following the Agreement Date, or (v) the Closing shall not have
occurred on or prior to thirty-five (35) days following the Agreement Date; provided, however,
that with respect to the foregoing subclause (v) only, Buyer may not terminate the Agreement if
the failure of the Closing to occur is due to a breach of this Agreement by the Buyer;

            (e)    by Buyer, at any time after the occurrence of an “Event of Default” under
the New Money Financing Agreement in the Bankruptcy Case;

               (f)    by Buyer or the Sellers, if the Trustee does not agree that the Sellers can
proceed with this Agreement and undertake and perform in all material respects all obligations and
agreements contained in this Agreement by the filing of the Sale Motion;

                (g)    by Buyer or the Sellers, if the Trustee repudiates or seeks to reject this
Agreement;

                (h)     by the Sellers, if there shall have been a material breach by Buyer of any of
its representations, warranties, covenants or agreements contained in this Agreement that, shall not
have been cured within twenty (20) days after written Notice thereof shall have been received by
Buyer; provided that as of such date, the Sellers are not in breach of this Agreement;


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                (i)     by Buyer, at any time, if any of the conditions set forth in Sections 7.1(m),
7.1(n) or 7.1(o) are reasonably determined by Buyer to be incapable of being satisfied;

                (j)     by Buyer, if the Buyer has not received a duly executed Encina Exit
Financing Commitment Letter in form and substance acceptable to Buyer on or before the date
that is seven (7) following the Petition Date;

               (k)      by Buyer, on or after June 2, 2020, if the condition set forth in Section 7.1(q)
has not been satisfied;

              (l)     by Buyer, if either of the Trustee’s Operation Orders or the New Money
Financing Agreement are modified, amended, vacated or overturned, as applicable, without the
Buyer’s express prior written consent prior to Closing;

               (m)    by Buyer, if the Trustee files a motion with the Bankruptcy Court seeking
any post-Petition Date financing in the Bankruptcy Cases (other than the New Money Financing
Agreement);

               (n)    by Buyer, if any party seeks entry of an order pursuant to section 362
Bankruptcy Code or any other similar provisions to lift the automatic stay or seeks similar relief
with respect to any Acquired Assets; or

              (o)     by Buyer, if any party seeks to assert control over either of the Sellers, the
Regional Business or any Acquired Asset in any court, other than the Bankruptcy Court.

        8.2     Consequences of Termination. In the event of any termination of this Agreement
by either or both of Buyer and the Sellers pursuant to Section 8.1, written Notice thereof shall be
given by the terminating Party to the other Parties hereto, specifying the provision hereof pursuant
to which such termination is made, this Agreement shall thereupon terminate and become void and
of no further force and effect (other than Section 3.3 (Deposit), Section 6.8 (Expense
Reimbursement), this Section 8.2 (Consequences of Termination) and Article 9 (Miscellaneous)
and to the extent applicable in respect of such Sections and Article, Article 1 (Definitions)), and
the Transactions shall be abandoned without further action or Liability of any of the Parties hereto
(other than with respect to the sections set forth in this Agreement that shall continue in full force
and effect in accordance with this Section 8.2 following such termination), except that such
termination shall not relieve any Party of any Liability for fraud or willful breach of this
Agreement.

                                          ARTICLE 9
                                        MISCELLANEOUS

       9.1     Expenses. Except as set forth in this Agreement and whether or not the
Transactions are consummated, each Party hereto shall bear all costs and expenses incurred or to
be incurred by such Party in connection with the negotiation and entry into the Transaction
Documents and the consummation of the Transactions.


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        9.2     Assignment. Neither this Agreement nor any of the rights or obligations hereunder
may be assigned by Sellers without the prior written consent of Buyer, or by Buyer without the
prior written consent of the Sellers; provided that Buyer may, without the consent of any other
party, assign this Agreement and its rights and obligations hereunder in whole or in part to (a) any
Affiliate; provided that Buyer shall remain jointly liable with such Affiliates for Buyer’s
obligations hereunder or (b) following the Closing, to any successor or purchaser of all or part of
the business of Buyer or any of its Subsidiaries. Subject to the foregoing, this Agreement shall be
binding upon and inure to the benefit of the Parties hereto and their respective successors and
permitted assigns including the Trustee, any trustee in bankruptcy, receiver, liquidating trustee,
responsible Person or similar representative for Sellers appointed in connection with the
Bankruptcy Cases or any other Proceeding.

        9.3     Parties in Interest. This Agreement shall be binding upon and inure solely to the
benefit of Sellers (and their estate), Buyer and their respective successors or permitted assigns
(including any bankruptcy trustee or receiver appointed in respect thereof), and nothing in this
Agreement, express or implied, is intended to or shall confer upon any other Person any rights,
benefits or remedies of any nature whatsoever under or by reason of this Agreement except as
expressly set forth herein.

        9.4     Notices.     All notices, demands, requests, consents, approvals or other
communications (collectively, “Notices”) required or permitted to be given hereunder or that are
given with respect to this Agreement shall be in writing and shall be transmitted by electronic mail,
addressed as set forth below, or to such other address as such Party shall have specified most
recently by written Notice. Notice shall be deemed given on the date of service or transmission;
provided that if delivered or transmitted on a day other than a Business Day or after 5:00 p.m. New
York time, notice shall be deemed given on the next Business Day:

        If to any Seller:      Q’Max America Inc.
                               11700 Katy Freeway, Suite 200
                               Houston, TX 77079
                               Attention: Rafael Andres Diaz-Granados
                               Email: radg@qmax.com

        With copies to:        Porter Hedges LLP
                               1000 Main St., 36th Floor
                               Houston, TX 77002
                               Attention: John F. Higgins
                               Email: jhiggins@porterhedges.com

        If to Buyer:           QMax Acquisition Corp.
                               C/O
                               Palladium Equity Partners
                               1270 Avenue of The Americas, Suite 31
                               New York, NY 10020
                               Attention:   Caleb Clark and Scott Kirschner

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                              Email:       cclark@palladiumequity.com /
                              skirschner@palladiumequity.com

        With copies to:       O’Melveny & Myers LLP
                              Times Square Tower
                              7 Times Square
                              New York, NY 10036
                              Attention: Nancy Mitchell, Esq. / Matthew Hinker, Esq. / David
                              Schultz, Esq.
                              Email: nmitchell@omm.com / mhinker@omm.com /
                              dschultz@omm.com

       Rejection of or refusal to accept any Notice, or the inability to deliver any Notice because
of changed e-mail address of which no Notice was given, shall be deemed to be receipt of the
Notice as of the date of such rejection, refusal or inability to deliver.

        9.5    Choice of Law. Except to the extent the mandatory provisions of the Bankruptcy
Code apply, this Agreement shall be construed and interpreted, and the rights of the Parties shall
be determined, in accordance with the Laws of the State of Delaware, without giving effect to any
provision thereof that would require or permit the application of the substantive laws of any other
jurisdiction.

        9.6    Entire Agreement; Amendments and Waivers. This Agreement and all Transaction
Documents and all certificates and instruments delivered pursuant hereto and thereto constitute the
entire agreement among the Parties pertaining to the subject matter hereof and supersede all prior
agreements, understandings, negotiations, and discussions, whether oral or written, of the Parties.
This Agreement may be amended, supplemented or modified, and any of the terms, covenants,
representations, warranties or conditions may be waived, only in writing by Buyer and Sellers
(which may be by way of e-mail), or in the case of a waiver, by the Party waiving compliance. No
waiver of any of the provisions of this Agreement shall be deemed or shall constitute a waiver of
any other provision hereof (whether or not similar), and no such waiver shall constitute a
continuing waiver unless otherwise expressly provided.

        9.7    Counterparts; Electronic Signatures. This Agreement may be executed in one or
more counterparts, each of which shall be deemed an original, and all of which together shall
constitute one and the same instrument. Counterparts to this Agreement may be delivered via
electronic mail. In proving this Agreement, it shall not be necessary to produce or account for
more than one such counterpart signed by the Party against whom enforcement is sought.

        9.8     Severability. The invalidity or unenforceability of any provision of this Agreement
shall not affect the validity or enforceability of any other provisions of this Agreement. In the
event that any of the provisions of this Agreement shall be held by a court or other tribunal of
competent jurisdiction to be illegal, invalid or unenforceable, such provisions shall be limited or
eliminated only to the minimum extent necessary so that this Agreement shall otherwise remain in
full force and effect.


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        9.9    Headings. The table of contents and the headings of the Articles and Sections
herein are inserted for convenience of reference only and are not intended to be a part of, or to
affect the meaning or interpretation of, this Agreement.

        9.10    Exclusive Jurisdiction and Specific Performance.

               (a)     Subject to Section 9.10(b), without limiting any Party’s right to appeal any
order of the Bankruptcy Court, (i) the Bankruptcy Court shall retain exclusive jurisdiction to
enforce the terms of this Agreement and to decide any Claims or disputes which may arise or result
from, or be connected with, this Agreement, any breach or default hereunder, or the Transactions,
and (ii) any and all Proceedings related to the foregoing shall be filed and maintained only in the
Bankruptcy Court, and the Parties hereby irrevocably and unconditionally consent to, attorn to and
submit to the exclusive jurisdiction and venue of the Bankruptcy Court and shall receive Notices
at such locations as indicated in Section 9.4. For the avoidance of doubt, this Section 9.10 shall
not apply to any Claims that Buyer or its Affiliates may have against any third party following the
Closing.

                 (b)    Notwithstanding anything herein to the contrary, in the event the
Bankruptcy Case is terminated, the Parties hereby agree that all Claims or disputes which may
arise or result from, or be connected with, this Agreement, any breach or default hereunder, or the
Transactions, shall be heard and determined exclusively in any federal court sitting in the Borough
of Manhattan in the City of New York or, if that court does not have subject matter jurisdiction, in
any state court located in the City and County of New York (and, in each case, any appellate court
thereof), and the Parties hereby consent to and submit to the jurisdiction and venue of such courts.

      9.11 WAIVER OF RIGHT TO TRIAL BY JURY. SELLERS AND BUYER HEREBY
WAIVE TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW ANY RIGHT
THEY MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY PROCEEDING
DIRECTLY OR INDIRECTLY ARISING OUT OF OR IN CONNECTION WITH THIS
AGREEMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY (WHETHER BASED
ON CONTRACT, TORT OR ANY OTHER THEORY). FOR THE AVOIDANCE OF DOUBT,
THIS SECTION 9.11 SHALL NOT APPLY TO ANY CLAIMS THAT BUYER OR ITS
AFFILIATES MAY HAVE AGAINST ANY THIRD PARTY FOLLOWING THE CLOSING.

        9.12 Survival. Each and every representation and warranty contained in this Agreement
shall expire and be of no further force and effect as of the Closing. Each and every covenant and
agreement contained in this Agreement (other than the covenants contained in this Agreement
which by their terms are to be performed (in whole or in part) by the Parties following the Closing
(each, a “Post-Closing Covenant”)) shall expire and be of no further force and effect as of the
Closing. Each Post-Closing Covenant shall survive the Closing until the earlier of (a) performance
of such Post-Closing Covenant in accordance with this Agreement or, (b) (i) if time for
performance of such Post-Closing Covenant is specified in this Agreement, ninety (90) days
following the full performance of such covenant and the expiration of the time period for such
performance or (ii) if time for performance of such Post-Closing Covenant is not specified in this
Agreement, ninety (90) days following the expiration of the applicable statute of limitations with
respect to any claim for any failure to perform such Post-Closing Covenant; provided that if a
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written notice of any claim with respect to any Post-Closing Covenant is given prior to the
expiration thereof then such Post-Closing Covenant shall survive until, but only for purposes of,
the resolution of such claim by final, non-appealable judgment or settlement.

        9.13    Time of Essence. Time is of the essence of this Agreement.

        9.14 Non-Recourse. No past, present or future director, manager, officer, employee,
incorporator, member, partner or equity holder of Buyer or Sellers shall have any Liability for any
Liabilities of Buyer or Sellers, respectively, under this Agreement or for any Claim based on, in
respect of, or by reason of the Transactions. This Agreement may only be enforced against, and
any Claim, action, suit, Proceeding or investigation based upon, arising out of or related to this
Agreement may only be brought against, the Persons that are expressly named as parties to this
Agreement.

        9.15 Disclosure Schedules. Except as set forth in this Agreement, the inclusion of any
information (including dollar amounts) in Disclosure Schedules shall not be deemed to be an
admission or acknowledgment by any Party that such information is required to be listed on such
section of the relevant schedule or is material to or outside the Ordinary Course of Business of any
Person. The information contained in this Agreement, the exhibits hereto and the Disclosure
Schedules is disclosed solely for purposes of this Agreement, and no information contained herein
or therein shall be deemed to be an admission by any Party to any third party of any matter
whatsoever (including any violation of any Law or breach of contract). Unless the context
otherwise requires, all capitalized terms used in the Disclosure Schedules shall have the respective
meanings assigned in this Agreement. The Disclosure Schedules set forth items of disclosure with
specific reference to the particular Section or subsection of this Agreement to which the
information in the Disclosure Schedules relates.

        9.16 Mutual Drafting. This Agreement is the result of the joint efforts of Buyer and
Sellers, and each provision hereof has been subject to the mutual consultation, negotiation and
agreement of the Parties and there is to be no construction against any Party based on any
presumption of that Party’s involvement in the drafting thereof.

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       IN WITNESS WHEREOF, this Agreement has been duly executed and delivered by the
duly authorized officers of Sellers and Buyer as of the date first above written.

                                       BUYER:

                                       QMAX ACQUISITION CORP.

                                       By: _____________________________________
                                           Name: Caleb Clark
                                           Title: Chief Executive Officer



                                       SELLERS:

                                       Q’MAX AMERICA INC.



                                       By: _____________________________________
                                           Name:
                                           Title:



                                       ANCHOR DRILLING FLUIDS USA, LLC



                                       By: _______________________________________
                                           Name:
                                           Title:




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       IN WITNESS WHEREOF, this Agreement has been duly executed and delivered by the
duly authorized officers of Sellers and Buyer as of the date first above written.

                                       BUYER:

                                       QMAX ACQUISITION CORP.

                                       By: _____________________________________
                                           Name:
                                           Title:



                                       SELLERS:

                                       Q’MAX AMERICA INC.



                                            _______________
                                       By: _____________________________________
                                           Name: Rafael Diaz-Granados
                                           Title: President & CEO



                                       ANCHOR DRILLING FLUIDS USA, LLC



                                            ___
                                              _ ____________
                                       By: _______________________________________
                                            N
                                            Name:   Rafael Diaz-Granados
                                            Title: President & CEO




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                                           DISCLOSURE SCHEDULE

This Disclosure Schedule, including the exhibits and attachments hereto (collectively, this “Disclosure
Schedule”), is being furnished in connection with the execution and delivery of that certain Asset
Purchase Agreement, entered into on and dated as of May 24, 2020 (the “Agreement”), by and among
Q’Max America Inc., a company incorporated under the laws of Delaware (“Q’Max”), and Anchor
Drilling Fluids USA, LLC, a Delaware limited liability company (“Anchor Drilling” and, together with
Q’Max, “Sellers” and each, a “Seller”) and QMax Acquisition Corp., a Delaware corporation (“Buyer”).
Unless otherwise defined herein, all capitalized terms used in this Disclosure Schedule shall have the
respective meanings given such terms in the Agreement.


                                                   SCHEDULE 1.1(a)
                                             CONTINUING EMPLOYEES

  #        Payroll Name              Position ID   Home De partment De scription        Job Title De scription
      1    Adams, Brandon            B1E000076     Wellsville - Warehouse - Direct      Warehouseman
      2    Alsip, Brent              B1E000605     Newcomerstown-Solids Control-DIR     Solids Control Supervisor
      3    Anderson, Zachary         B1E000433     Midland SC - Engineer, SC - Direct   Solids Control T echnician
      4    Baker, Kyle Andrew        B1E000819     Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
      5    Bell, T odd               B1E000314     Newcomerstown - QHSE - IND           Safety Specialist
      6    Bostic, John              B1E000190     Leetsdale-Drilling Fluids-DIR        Engineering Manager
      7    Bradford, Brian           B1E000083     Newcomerstown-Solids Control-DIR     Solids Control Supervisor
      8    Breaux, Jonathan          B1E000896     Midland SC - Engineer, SC - Direct   Solids Control T echnician
      9    Bridges, Roy              B1E000282     Newcomerstown - Warehouse - Direct   Warehouse Manager
  10       Brignac, Chase Michael    B1E000636     Wexford - Sales - Indirect           T echnical Sales Engineer
  11       Bryant, Jason             B1E000170     Wellsville - Engineer - Direct       Drilling Fluids Engineer Supervisor
  12       Bryarley, T homas         B1E000350     Wellsville - Warehouse - Direct      Warehouse Supervisor I
  13       Burkhouse, Robert Roy     B1E000273     Wellsville - Engineer - Direct       Drilling Fluids Engineer
  14       Burris, Kenneth           B1E000222     Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
  15       Burrows, Gregory          B1E000870     Wellsville - Warehouse - Direct      Warehouseman
  16       Bush, Jason               B1E000171     Newcomerstown - Management           Area Operations Manager
  17       Camacho, Juan J           B1E000642     Midland SC - Engineer, SC - Direct   Solids Control T echnician
  18       Campbell, Marc            1J1000070     Headquarters - IT                    Network Support T echnician
  19       Chilson, Dale             B1E000111     Horseheads - Warehouse - Direct      Warehouse Manager
  20       Collier, David            B1E000803     Midland SC - Engineer, SC - Direct   Solids Control T echnician
  21       Conlon, Michael           B1E000246     Newcomerstown - Warehouse - Direct   Assistant Mud Plant Attendant
  22       Contreras, Gabriel Ivan   B1E000698     Midland SC - Engineer, SC - Direct   Solids Control T echnician
  23       Davis, Fred Allen         B1E000888     Wellsville - T rucking - Direct      T ransportation Specialist I
  24       Dawson, Jesse             B1E000184     Wellsville - Warehouse - Direct      Warehouse Supervisor II
  25       Deramo, Amy Jeanette      B1E000687     HQ - Anchor - Finance Accounting     Payables Specialist
  26       DiLoreto, Rocco Steven    B1E000944     Wellsville - Engineer - Direct       Drilling Fluids Engineer
  27       Drayer, Douglas Alan      B1E000529     Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
  28       Dugas, Justin             B1E000215     Newcomerstown - Sales - Indirect     Sales Manager




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  29    Duty, Donald James        B1E000688   Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
  30    Enke, Eugene Harold       B1E000141   Wellsville - Engineer - Direct       Drilling Fluids Engineer
  31    Escobar, Romeo            B1E000432   Midland SC-Solids Control-DIR        Solids Control Service T ech
  32    Evans, James              B1E000165   Wellsville - Engineer - Direct       Drilling Fluids Engineer
  33    Farrell, Patricia N.      B1E000708   Leetsdale-Administration-IND         Area Billing Specialist
  34    Faulkenberry, T ony T     B1E000374   Midland SC - Engineer, SC - Direct   Solids Control T echnician
  35    Fiveash, Daniel H         B1E000904   Midland SC - Engineer, SC - Direct   Solids Control T echnician
  36    Flowers, Charles          B1E000951   Wellsville - T rucking - Direct      T ransportation Specialist I
  37    Fofi, John                B1E000608   Newcomerstown-Solids Control-DIR     Solids Control Supervisor
  38    Fonzo, Anthony            B1E000534   Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
  39    Fore, Gregg Anthony       B1E000835   Midland SC - Engineer, SC - Direct   Solids Control T echnician
  40    Gilbert, Jessica          B1E000185   Leetsdale-Administration-IND         Administrative Assistant
  41    Giotto, David             B1E000122   Leetsdale - Warehouse - Direct       Warehouse Manager
  42    Goldsmith, T ara          B1E000635   HQ Anchor - Sales - Indirect         Business Development Manager
  43    Gomez, Jorge A            B1E000443   Midland SC - Engineer, SC - Direct   Solids Control T echnician
        Gonzalez-T orres, Felix
  44    Santos                    B1E000415   Midland SC - Engineer, SC - Direct   Solids Control T echnician
  45    Haggerty, Joshua          B1E000207   Wellsville - Engineer - Direct       Drilling Fluids Engineer
  46    Hagy, Javin               B1E000174   Newcomerstown-Solids Control-DIR     Shop Mechanic
  47    Hallmark, Joshua D.       B1E000675   Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
  48    Hanlon, Dale              B1E000855   Wellsville - Warehouse - Direct      Assistant Mud Plant Attendant
  49    Harris, Galen Paul        B1E000438   Midland SC-Solids Control-DIR        Solids Control Service T ech
  50    Herrington, James         B1E000162   Wellsville - Engineer - Direct       Drilling Fluids Engineer
  51    Hicks, Samantha Jean      B1E000876   HQ - Anchor - Finance Accounting     Assistant Controller
  52    Holpp, Virgil             B1E000330   Newcomerstown-Solids Control-DIR     Welder
  53    Hursey, Andrew            B1E000057   Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
  54    Hutchins, Keven           B1E000224   Wellsville - Engineer - Direct       Drilling Fluids Engineer
  55    Jacob, Gary               B1E000146   Leetsdale - T rucking - Direct       T ransportation Specialist I
  56    Karonka, Michael          B1E000251   Anchor - Management                  Area Manager - T exas
  57    Kelly, Adam               B1E000850   Leetsdale - T rucking - Direct       T ransportation Specialist I
  58    Lambes, Jamie             B1E000167   Newcomerstown-Administration-IND     Area Billing Specialist
  59    Lasko, T rent             B1E000317   Newcomerstown-Solids Control-DIR     Shop Mechanic
  60    Lattanzio Jr., Ralph      B1E000695   Wellsville - T rucking - Direct      T ransportation Specialist I
  61    Laws, T erry              B1E000401   Midland SC-Solids Control-DIR        Solids Control Service T ech
  62    Lewis, Jacob              B1E000161   Wellsville - T rucking - Direct      T ransportation Specialist I
  63    Lewis, James              B1E000163   Wellsville - T rucking - Direct      T ransportation Specialist I
  64    Lilly, Jason              B1E000172   HQ Anchor - Supply Chain - IND       Supply Chain Manager
  65    Lira, Antonio             B1E000856   Midland SC - Engineer, SC - Direct   Solids Control T echnician
  66    Looney, Diane             B1E000125   T ulsa - Human Resources             Human Resources Representative
  67    Lott, Victor              B1E000328   Wellsville - Engineer - Direct       Drilling Fluids Engineer
  68    Lower, Larry              B1E000231   Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
  69    Lowman, Christopher       B1E000554   Leetsdale-Drilling Fluids-DIR        Engineering Manager
  70    LUCAS, BOBBIE L           B1E000073   Wellsville-Administration-IND        Administrative Assistant
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  71    Lucien II, Gary J.        B1E000722   Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
  72    Mann, Chad                B1E000091   Newcomerstown-Solids Control-DIR     Maintenance Supervisor
  73    Mann, Robbie              B1E000269   Newcomerstown-Solids Control-DIR     Operations Manager - Solids Control
  74    Maple, Shea               B1E000297   Newcomerstown - QHSE - IND           QHSE Specialist
  75    McClelland, Joseph        B1E000200   Newcomerstown-Solids Control-DIR     Solids Control T echnician
  76    McClelland, Joseph W.     B1E000201   Newcomerstown - Warehouse - Direct   Assistant Mud Plant Attendant
  77    Mckain, T yler            B1E000321   Wellsville-Drilling Fluids-DIR       Drilling Fluids Engineer Supervisor
  78    Medina, Yery Jose         B1E000834   Midland SC - Engineer, SC - Direct   Solids Control T echnician
  79    Mirra, Michael            B1E000345   Wellsville - Engineer - Direct       Drilling Fluids Engineer
        Montano, Carlos
  80    Carrasco                  B1E000556   Midland SC-Solids Control-DIR        Solids Control Supervisor
  81    Mount, Daniel             B1E000114   Newcomerstown - Sales - Indirect     Sales Rep / Account Manager
  82    Moyer, Edward Franklin    B1E000840   Newcomerstown - Sales - Indirect     T echnical Sales Engineer
  83    Mullens, Christopher L.   B1E000769   Wellsville - Engineer - Direct       Drilling Fluids Engineer
  84    Naramore, Jodie           B1E000830   Midland SC-Solids Control-DIR        Solids Control Service T ech
  85    Naramore, Paul            B1E000719   Midland SC-Solids Control-DIR        Solids Control Service T ech
  86    Nolan, Charles            B1E000094   Newcomerstown-Solids Control-DIR     Solids Control T echnician
        Nowlin, T homas
  87    Matthew                   B1E000913   Midland SC - Engineer, SC - Direct   Solids Control T echnician
  88    Ochoa, Gardiel            B1E000616   Midland SC-Solids Control-DIR        Welder
  89    Orr, Brent                B1E000081   Wellsville - Engineer - Direct       Drilling Fluids Engineer
  90    Orr, Darrel Dean          B1E000828   Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
  91    Pennington, Christopher   B1E000101   HQ - Anchor - Executive              Vice President of Operations - US
  92    Peno, Robert              B1E000274   Leetsdale-Drilling Fluids-DIR        Drilling Fluids Engineer Supervisor
  93    Ponath, Brandon Wayne     B1E000798   Midland SC - Engineer, SC - Direct   Solids Control T echnician
  94    Pulliam, Justin           B1E000480   Midland SC - Engineer, SC - Direct   Solids Control T echnician
  95    Redmon, Jeff              B1E000536   Midland SC-Solids Control-DIR        Operations Manager - Solids Control
  96    Reyes, Juan               B1E000918   Midland SC - Engineer, SC - Direct   Solids Control T echnician
  97    Rivera, T ommy Aranda     B1E000651   Midland SC - Engineer, SC - Direct   Solids Control T echnician
  98    Roman, Chris              B1E000537   Midland SC-Solids Control-DIR        Service Manager
  99    Ross, Joshua              B1E000206   Newcomerstown - T rucking - Direct   T ransportation Specialist I
 100    Russen, John              B1E000187   Horseheads - T rucking - Direct      T ransportation Specialist I
 101    Salazar, Ramon            B1E000447   Midland SC - Engineer, SC - Direct   Solids Control T echnician
        Schockman, Bradley
 102    Alan                      B1E000943   Wellsville - Engineer - Direct       Drilling Fluids Engineer
 103    Schraeder, Kelby          B1E000426   Midland SC - Engineer, SC - Direct   Solids Control T echnician
 104    Sellers, Nathen           B1E000257   Wellsville - Warehouse - Direct      Plant Manager
 105    Shankles, Steven A        B1E000783   Midland SC - Engineer, SC - Direct   Solids Control T echnician
 106    Sharier Jr, Frank         B1E000143   Newcomerstown-Solids Control-DIR     Shop Mechanic
 107    Skinner, Ryan             B1E000351   Wellsville - Warehouse - Direct      Assistant Mud Plant Attendant
 108    Smith, Joseph William     B1E000821   Midland SC - Engineer, SC - Direct   Solids Control T echnician T rainee
 109    Spicer, Nicholas          B1E000957   Horseheads - Warehouse - Direct      Warehouse Supervisor II
 110    Stahl, Bryan              B1E000088   Newcomerstown-Solids Control-DIR     Solids Control T echnician
 111    Stang, Calvin             B1E000924   Midland SC - Engineer, SC - Direct   Solids Control T echnician
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 112    Stephens, Daniel        B1E000116   Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
 113    Stone, Jeff             B1E000518   Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
 114    T alkington, Brion      B1E000085   Newcomerstown-Solids Control-DIR     Solids Control Supervisor
 115    T ennant, Gary          B1E000147   Newcomerstown - Warehouse - Direct   Assistant Mud Plant Attendant
 116    Watson, Corodon Surea   B1E000406   Midland SC - Engineer, SC - Direct   Solids Control T echnician
 117    Welch, T imothy P.      B1E000852   Horseheads - T rucking - Direct      T ransportation Specialist I
 118    Whatley, Dirk Edward    B1E000866   Wellsville - T rucking - Direct      T ransportation Specialist I
 119    White, Stacy            B1E000298   Leetsdale-Drilling Fluids-DIR        Drilling Fluids Engineer Supervisor
 120    Willett, Harold         B1E000150   Wellsville - Warehouse - Direct      Warehouse Manager
 121    Williams, Brandon       B1E000449   Midland SC-Solids Control-DIR        Solids Control Supervisor
 122    Williams, Dacia         B1E000109   T ulsa - T rucking - Direct          DOT / Fleet Administrator
 123    Wise, Jeremy            B1E000519   Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
 124    Witherow, Anthony D.    B1E000734   Wellsville - Warehouse - Direct      Assistant Mud Plant Attendant
 125    Yates, Isaiah           B1E000445   Midland SC - Engineer, SC - Direct   Solids Control T echnician
        Zimmermann, Demi
 126    Jenee                   B1E000599   HQ - Anchor - Finance Accounting     Revenue Accounting Manager




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                                                               SCHEDULE 1.1(b)
                                                                 INSURANCE

                          Policy      Effective   Expiration
    Coverage                                                           Carrier                                Coverage Description
                         Number         Date        Date
                                                                                                                           Limits

                                                                                         General Aggregate                            $     2,000,000
                                                                                         Products-Completed Operations Aggregate      $     2,000,000
                                                                                         General Liability                            $     1,000,000
                                                                                         Products-Completed Operations Aggregate      $     1,000,000
  Ge ne ral Liability/                                                                   Damages to Premises Rented T o You           $       500,000
                                                                   Ironshore Specialty
   Pollution Le gal       4076500     6/1/2019     6/1/2020
                                                                  Insurance Company      Medical Expenses                             $        25,000
      Liability
                                                                                         Site Pollution Legal Liability               $     1,000,000
                                                                                         Contractors Pollution Liability              $     1,000,000


                                                                                         De ductible
                                                                                         Liability                                                 NIL
                                                                                         Each Pollution Occurrence                    $        25,000
                                                                                         Limits
                                                                                         Combined Single Limit - Symbol 1             $     2,000,000
                                                                                         Uninsured/Underinsured Motorist - Symbol 2           Statutory
                                                                                         Personal Injury Protection                           Statutory
                          AS2-641-                                Liberty Mutual Fire    Comprehensive - Symbol 2
  Commercial Auto                     6/1/2019     6/1/2020
                         445252-029                                  Insurance Co.       Collision - Symbol 2


                                                                                         De ductible
                                                                                         Liability                                    NIL


                                                                                         Limits
                                                                                         Statutory
     Worke rs
                          WC6-641-                                  T he First Liberty
  Compe nsation /                     6/1/2019     6/1/2020
                         445252-019                              Insurance Corporation   Employers Liability
 Employe rs Liability
                                                                                                                                                          Case 20-34791 Document 7-2 Filed in TXSB on 09/30/20 Page 1304 of 1445




                                                                                         Bodily Injury by Accident                    $     1,000,000
                                                                                         Policy Limit For Bodily Injury by Disease    $     1,000,000
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                                                                                   Bodily Injury by Disease                     $   1,000,000
                                                                                   De ductible                                             NIL
                                                                                   Limits
                                                                                   General Aggregate                            $ 30,000,000
                                                                                   Each Occurrence                              $ 30,000,000
                                                                                   Products-Completed Operations                $ 30,000,000
   $30M Umbre lla                                          Ironshore Specialty
                     004076600    6/1/2019   6/1/2020
      Liability                                           Insurance Company        *Umbrella limits are shared with Canada


                                                                                   De ductible                                             NIL



                                                                                   Limits
                                                                                   General Aggregate                            $ 25,000,000
                                                        Allianz Global Corporate   * Sublimits: Various
      Prope rty     GBP00229718   6/1/2019   6/1/2020
                                                             & Specialty SE        De ductible
                                                                                   Each Occurrence                              $      25,000
                                                                                   Additional Deductibles as listed on policy
                                                                                                                                                 Case 20-34791 Document 7-2 Filed in TXSB on 09/30/20 Page 1305 of 1445




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                                                                                SCHEDULE 2.1
                                                                            ASSETS TO BE ACQUIRED
(b)       Intellectual Property
Patents
      File No.                        Title                          Matter         Country           Status       Date          Application         Patent No.         G rant                Owner
                                                                     Type                                          Filed            No.                                  Date

 22P 12PR3        DEHYDRATOR SYSTEM AND METHODS OF USING            P rov       United States of    P ending     Aug 30,        62894512                                             Q'Max America, Inc.
                  THE SAME                                                      America                          2019

 22P 13US         AP P ARATUS, METHODS AND SYSTEMS FOR              Utility     United States of    Issued       May 16,        13896317            9352264           May 31,        Anchor Drilling
                  REMOVING PARTICULATE IMPURITIES FROM                          America                          2013                                                 2016           Fluids USA, LLC
                  ABOVE A SHALE SHAKER




Trademarks
  MARK            FILE      COUNTRY      STATUS       APPLICATION     DATE     REG ISTRA       REG ISTRAT                   G OODS AND SERVICES DESCRIPTION                                     OWNER
                 NUMB ER                                  NO.         FILED    TION NO.         ION DATE

 Q-ENVIRO        22M25MX1   Mexico       Registered   2085963         Aug 8,   1936224         Aug 8, 2018     Waste treatment apparatus for chemical treatment, oil removal, water           Q'Max
                                                                      2018                                     separation and recycling, sedimentation, filtration, and flocculation of       America, Inc.
                                                                                                               wastes from oil and gas drilling processes, shale gas drilling and fracking
                                                                                                               operations, and oil production and refinery processes; Waste water
                                                                                                               treatment apparatus for wastes in the nature of drill cuttings, oily slop
                                                                                                               wastes, water, solids and sludge including oil removal, solids removal,
                                                                                                               solids filtration and water separation and recycling; Apparatus for
                                                                                                               segregating liquid wastes from drilling cuttings; Apparatus for mud
                                                                                                               separation processes; Apparatus for solidification and stabilization of wet
                                                                                                               drilling cuttings; apparatus for dewatering sludge, waste, solids, drill
                                                                                                               cuttings, and drilling mud, and recycling waste water from oil and gas
                                                                                                               drilling operations.

 Q-ENVIRO        22M25MX2   Mexico       Registered   2085969         Aug 8,   1936227         Aug 8, 2018     Waste treatment in the nature oil removal, solids removal, solids filtration   Q'Max
                                                                      2018                                     and water separation and recycling of drill cuttings, oily slop wastes,        America, Inc.
                                                                                                               water, solids and sludge from oil and gas drilling and fracking processes;
                                                                                                               Chemical treatment of drilling wastes from oil and gas drilling operations
                                                                                                               including chemical flocculation; dewatering wastes from oil and gas
                                                                                                               drilling processes, fracking operations, and oil and gas production and
                                                                                                               refinery processes; Segregating liquid wastes from dry cuttings; collection
                                                                                                               and recycling of waste water from oil and gas drilling processes and
                                                                                                               fracking operations; Solids control and mud separation processes;
                                                                                                               Consulting services in the field of waste treatments including technical
                                                                                                                                                                                                              Case 20-34791 Document 7-2 Filed in TXSB on 09/30/20 Page 1306 of 1445




                                                                                                               consulting in the field of solid waste management, waste water removal


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                                                                                             and recycling of water from oil and gas drilling process and fracking
                                                                                             operations.

 ANCHOR     22M28US   United      Registered   85749071   Oct 9,    4839121   Oct 27, 2015   Chemical additives for drilling muds; chemical additives for oil well           Anchor
                      States of                           2012                               drilling fluid; chemical preparations for use in industry, namely, the oil      Drilling
                      America                                                                well drilling industry; chemicals for use in the field of oil exploration and   Fluids USA,
                                                                                             production; chemicals used in industry, namely, the oil well drilling           LLC
                                                                                             industry; chemicals used in oil drilling; all the foregoing not for use in
                                                                                             processes related to the separation of oil/gas from water

 ANCHOR     22M29US   United      Registered   85983278   Oct 9,    4737380   May 19, 2015   Well-site equipment rental, namely, rental of oil well drilling tools           Anchor
                      States of                           2012                                                                                                               Drilling
                      America                                                                                                                                                Fluids USA,
                                                                                                                                                                             LLC

 ANCHOR     22M30US   United      Registered   85539883   Feb 10,   4735566   May 12, 2015   Chemical additives for drilling muds; chemical additives for oil well           Anchor
 DRILLING             States of                           2012                               drilling fluid; chemical preparations for use in industry; chemicals for use    Drilling
 FLUIDS               America                                                                in the field of oil exploration and production; chemicals used in industry;     Fluids USA,
                                                                                             chemicals used in oil drilling                                                  LLC

 ALL IN.    22M31US   United      Registered   86141675   Dec       4879290   Jan 5, 2016    P roviding oilfield services to the oil and natural gas industry, namely, oil   Anchor
 EVERY                States of                           12,                                and gas well drilling on oil and gas wells, the rental of oil well drilling     Drilling
 WELL.                America                             2013                               tools and equipment for the oil and gas wells and drilling waste-water          Fluids USA,
                                                                                             treatment and/or disposable services, namely, hazardous waste disposal          LLC
                                                                                             services to the oil and natural gas industry

 CLEARP L   22M32US   United      Registered   86141722   Dec       4822825   Sep 29, 2015   Chemicals for use in the drilling industry, namely, anionic polymers, or a      Anchor
 EX                   States of                           12,                                blend of two or more anionic polymers and water                                 Drilling
 COMP LET             America                             2013                                                                                                               Fluids USA,
 E                                                                                                                                                                           LLC

 CLEARP L   22M33US   United      Registered   86141700   Dec       4822823   Sep 29, 2015   Chemicals for use in the drilling industry, namely, anionic polymers;           Anchor
 EX I                 States of                           12,                                anionic polymers used to coat solid materials in dewatering applications to     Drilling
                      America                             2013                               aid in the mechanical separation of solids                                      Fluids USA,
                                                                                                                                                                             LLC

 CLEARP L   22M34US   United      Registered   86141705   Dec       4822824   Sep 29, 2015   Chemicals for use in the drilling industry, namely, anionic polymers;           Anchor
 EX II                States of                           12,                                anionic polymers used to coat solid materials in dewatering applications to     Drilling
                      America                             2013                               aid in the mechanical separation of solids                                      Fluids USA,
                                                                                                                                                                             LLC




(j)   Real Estate
1.    Midland Solids Control Warehouse.

2.    Leetsdale Warehouse.
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3.    Wellsville Warehouse.
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4.    Horseheads Warehouse.

5.    Newcomerstown Warehouse.

6.    45,000 square feet of vacant land in Wellsville, Ohio, located across from the Wellsville Warehouse.

7.    Employee housing located at 1122 West State Street, Newcomerstown, Ohio 43832.

8.    Employee housing located at 2303 North Mulberry Lane Hobbs, New Mexico, 88240.

9.    Employee housing located at 5001 W. Wadley, Midland, Texas, Apartment No. P112.
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                                        SCHEDULE 2.4(b)
                                   DESIGNATED CONTRACTS
(i) MATERIAL CONTRACTS
1.     ABL Facility.

2.     New Money Financing Agreement.

3.     Amended and Restated Supply Agreement by and between Cimbar Performance Minerals WV, LLC
       and Anchor Drilling Fluids USA, LLC dated April 1, 2018 (the “Cimbar Supply Agreement”).

4.     Amendment No. 1 to Amended and Restated Supply Agreement by and between Cimbar Performance
       Minerals WV, LLC and Anchor Drilling Fluids USA, LLC dated January 1, 2020 (the “Amended
       Cimbar Supply Agreement”).

5.     Operating Agreement of C&A Grinding, L.L.C. by and between Cimbar Performance Minerals, Inc.
       and Anchor Drilling Fluids USA, Inc. dated January 1, 2012.

6.     Amendment No. 1 to Operating Agreement of C&A Grinding, L.L.C. by and between Cimbar
       Performance Minerals WV, LLC and Anchor Drilling Fluids USA, LLC dated April 1, 2018.

7.     Amendment No. 2 to Operating Agreement of C&A Grinding, L.L.C. by and between Cimbar
       Performance Minerals WV, LLC and Anchor Drilling Fluids USA, LLC dated March 3, 2020.

8.     Sublease Agreement by and between Cimbar Performance Minerals WV, LLC and Anchor Drilling
       Fluids USA, Inc. dated December 2011 (“Cimbar Sublease”).

9.     Amended Sublease Agreement by and between Cimbar Performance Minerals WV, LLC and Anchor
       Drilling Fluids USA, Inc. dated April 1, 2018 (“Cimbar Amended Sublease”).

10.    Residential Rental Agreement by and between The Phoenix Property Management and Q’Max dated
       July 1, 2010 for housing located at 2303 Mulberry Lane, Hobbs, NM 88240 (the “Hobbs Housing
       Lease”).

11.    Lease Agreement by and between Penny Clark of Sarah Viola Grewell Memorial Scholarship Fund
       and Anchor Drilling dated November 1, 2019 for housing located at 1122 West State Street
       Newcomerstown, Ohio 43832 (the “Newcomerstown Housing Lease”).

12.    Commercial Lease by and between BMS Enterprises, LLC and Anchor Drilling dated June 1, 2017
       (the “Newcomerstown Warehouse Lease”).

13.    Addendum to Lease Between Anchor Drilling and BMS Enterprises, LLC dated April 27, 2020 (the
       “Newcomerstown Warehouse Rent Deferral Agreement”).

14.    Lease by and between Horseheads Sand & Transloading Terminal, LLC and Anchor Drilling (the
       “Horseheads Warehouse Lease”).


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15.    Lease by and between Montevallo, Inc. and Q’Max dated April 4, 2014 (the “Midland Solids Control
       Warehouse Lease”).

16.    Lease by and between The Port Authority for Columbiana County, Ohio and Anchor Drilling for
       property described as 45,000 square feet of land in Wellsville, Ohio dated July 11, 2013 (the
       “Wellsville Yard Lease”).

17.    Lease by and between Metroplaza Partners LLC and Patriot Drilling Fluids, a Division of Q’Max
       America Inc. (the “Leetsdale Warehouse Lease”).

18.    Apartment Lease Contract by and between Le Mirage and Qmax LLC for Apartment No. P112 at
       5001 W. Wadley, Midland, Texas (the “Midland Apartment Lease”).

19.    Amended and Restated Equipment Lease With Option, by and between C&A Grinding, LLC, Cimbar
       Performance Minerals, Inc. and Anchor Drilling dated December 17, 2018.

20.    Letter Agreement with respect to Amended and Restated Equipment Lease With Option, by and
       between C&A Grinding, LLC, Cimbar Performance Minerals, Inc. and Anchor Drilling dated
       December 19, 2018.

21.    Letter Agreement, by and between Cimbar Performance Minerals and Anchor Drilling, dated April
       3, 2020.


(ii) OTHER DESIGNATED CONTRACTS
1.     Master Rental Service Agreement by and between Apache Corporation and Q’Max dated March 26,
       2015.

2.     Master Service Agreement by and between Callon Petroleum Company and Q’Max dated January
       26, 2016.

3.     Master Service Agreement by and between Diamondback E&P LLC and Anchor Drilling dated
       February 28, 2017.

4.     Master Service Agreement by and between Grenadier Energy Partners II, LLC and Anchor Drilling
       dated May 8, 2019.

5.     Amended and Restated Master Service/Sales Agreement by and between Pioneer Natural Resources
       USA, Inc. dated January 9, 2017.

6.     Master Service Agreement by and between Solaris Water Midstream, LLC and Anchor Drilling dated
       October 4, 2018.

7.     Master Service Agreement by and between XTO Energy Inc. and Anchor Drilling dated January 15,
       2007.
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8.     Master Service Agreement by and between Matador Production Company and Anchor Drilling dated
       April 29, 2019.

9.     Master Service Agreement by and between Patriot Resources, Inc. and Q’Max dated May 12, 2015.

10.    Master Service Agreement by and between CrownQuest Operating, LLC and Anchor Drilling dated
       October 16, 2015.

11.    Master Service Agreement by and between Halcon Operating Co., Inc. and Q’Max March 8, 2017.

12.    Master Service Agreement by and between Murphy Exploration & Production Company – USA and
       Anchor Drilling dated September 10, 2018.

13.    Master Service Agreement by and between Parsley Energy Operations, LLC and Anchor Drilling
       dated February 13, 2017.

14.    Master Service Agreement by and between XTO Energy Inc. and Anchor Drilling dated March 7,
       2008.

15.    Master Service Agreement by and between Southwestern Energy Production Company and SEECO,
       Inc. and Anchor Drilling dated September 1, 2009.

16.    Master Service Agreement by and between Ascent Resources – Utica, LLC and Anchor Drilling
       dated June 26, 2019.

17.    Master Service Agreement by and between EQT Production Company and Anchor Drilling dated
       August 12, 2010.

18.    Master Service Agreement by and between Antero Resources Company and Anchor Drilling dated
       May 30, 2014.

19.    Master Service Agreement by and between Gulfport Energy Corporation and Anchor Drilling dated
       May 24, 2012.

20.    Master Service Agreement by and between Gulfport Energy Corporation and Q’Max dated
       September 8, 2014.

21.    Master Service Agreement by and between Utica Resource Operating, LLC and Anchor Drilling
       dated November 13, 2018.

22.    Master Service Agreement with National Fuel Gas Supply Corporation and Anchor Drilling dated
       March 5, 2015.

23.    Master Service Agreement by and between TransCanada Operations USA Inc. and Anchor Drilling
       dated April 1, 2018.

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24.    Master Purchase Agreement No. MPA-18-0005 by and between American Refining Group, Inc. and
       Anchor Drilling dated June 15, 2018.

25.    Service Agreement No. MSA-19-0006 by and between American Refining Group, Inc. and Anchor
       Drilling dated July 8, 2019.

26.    Master Lease Agreement by and between Dell Financial Services L.L.C. and Q’Max America Inc.
       dated November 17, 2014.

27.    Master Equipment Lease Agreement by and between First National Capital, LLC, Q’Max and Anchor
       Drilling dated February 6, 2019.

28.    Open Ended Master Lease Agreement by and between Merchants Fleet Management and Anchor
       Drilling dated June 27, 2018 (the “Merchants Lease”).

29.    Consulting Agreement by and between Landwise Consulting LLC and Anchor Drilling dated June
       18, 2018.

30.    Consulting Agreement by and between Wayne Munn, LLC and Anchor Drilling dated May 9, 2019.

31.    Consulting Agreement by and between Spencer Ogden and Anchor Drilling dated July 12, 2018.

32.    Consulting Agreement by and between Stephen Wilbourn and Anchor Drilling dated April 7, 2020.

33.    Consulting Agreement by and between 1st Magnitude LLC and Anchor Drilling dated August 5, 2019.

34.    Consulting Agreement by and between Team Teller, LLC and Anchor Drilling dated August 1, 2019.

35.    Consulting Agreement by and between Nauset Consulting Inc. and Anchor Drilling dated July 22,
       2019.

36.    Consulting Agreement by and between KSKunz Consulting LLC and Anchor Drilling dated May 14,
       2019.

37.    Consulting Agreement by and between J Hibley Consulting LLC and Anchor Drilling dated May 20,
       2019.

38.    Consulting Agreement by and between BKD Consulting LLC and Anchor Drilling dated August 1,
       2018.

39.    Consulting Agreement by and between Rusco Operating, LLC and Anchor Drilling dated April 3,
       2018.

40.    Exclusive License Agreement by and between Q’Max Solutions Inc. and Q’Max dated May 22, 2020
       (the “License Agreement”).



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41.    Office Lease Agreement, by and between GCM SO, L.L.C. and Anchor Drilling dated October 28,
       2019.

42.    Master Service Agreement by and between Snyder Brothers, Inc. and Anchor Drilling dated May 22,
       2020.

43.    Master Purchase Agreement by and between American Refining, Inc. and Anchor Drilling dated June
       15, 2018.

44.    Master Service and Supply Agreement for Exploration and Production by and between Devon Energy
       Production Company, L.P. and Anchor Drilling dated May 18, 2016.

45.    Master Service Agreement by and between EAP Operating, LLC and Anchor Drilling dated October
       30, 2018.

46.    Master Service Agreement by and between Jay-Bee Oil & Gas, Inc. and Anchor Drilling dated
       December 22, 2015.

47.    Vehicle Master Lease Agreement by and between Mobilease, Inc. and Terra Oilfield Solutions, LLC
       dated August 7, 2017.




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                                             SCHEDULE 4.2
                                        LITIGATION; ORDERS
1. Kapolka v. Anchor Drilling Fluids USA, LLC and Q’Max America Inc., Civil Action No. 2:18-cv-
   10007 in the United States District Court for the Western District of Pennsylvania – Pittsburgh Division,
   alleging violations of the Fair Labor Standards Act.




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                                             SCHEDULE 4.4
                                            REAL PROPERTY
(a)
1.     The Midland Solids Control Warehouse consisting of a storage warehouse and office space. Q’Max
       currently owes approximately $37,000.00 for unpaid rent on the Midland Solids Control Warehouse
       Lease.

2.     The Leetsdale Warehouse consisting of a mud plant and warehouse. Q’Max is currently not in default
       of the Leetsdale Warehouse Lease.

3.     The Wellsville Warehouse consisting of a mobile office, warehouse, and blending facility. The
       Wellsville Warehouse is subleased by Anchor Drilling pursuant to a sublease with Cimbar
       Performance Minerals WV, LLC. Cimbar Performance WV, LLC leases the Wellsville Warehouse
       directly from Cimbar Performance Minerals, OH. Anchor Drilling currently owes approximately
       $29,700.00 for unpaid rent on the Cimbar Sublease.

4.     45,000 square feet of vacant land in Wellsville, Ohio, located across from the Wellsville Warehouse.
       Anchor currently owes approximately $2,500.00 for unpaid rent on the Wellsville Yard Lease.

5.     The Horseheads Warehouse. Anchor is currently not in default of the Horseheads Warehouse Lease.

6.     The Newcomerstown Warehouse consisting of a storage warehouse and mud plant. Anchor is
       currently not in default of the Newcomerstown Warehouse Lease. Anchor has continued to make rent
       payments per the Newcomerstown Warehouse Rent Deferral Agreement.

7.     Employee housing located at 1122 West State Street, Newcomerstown, Ohio 43832. Anchor
       currently owes approximately $3,000.00 for unpaid rent on Newcomerstown Housing Lease.

8.     Employee housing located at 2303 North Mulberry Lane Hobbs, New Mexico, 88240. Anchor is
       currently not in default of the Hobbs, NM Housing Lease.

9.     Employee housing located at 5001 W. Wadley, Midland, Texas, Apartment No. P112. Anchor is
       currently not in default of the Midland Apartment Lease.
(b)
       2984 North Wingate Avenue, Odessa, Texas 79764. Owned by Anchor Drilling. The premises
       contain an abandoned warehouse and a storage yard for solids control assets owned by Anchor
       Drilling.




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                                             SCHEDULE 4.5
                                     ENVIRONMENTAL MATTERS


(a)     None.
(b)     On October 10, 2017, a release of diesel fuel (estimated to be less than 550 gallons) occurred at
        Anchor Drilling’s facility in Wellsville, Ohio. The diesel fuel was released to a storm sewer and
        entered the Ohio River. The release was reported to the local, regional and federal authorities. The
        release was contained by the deployment of primary and secondary booms. Anchor Drilling
        immediately hired environmental remediation contractors to address the release.
(c)      None.
(d)      None.




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                                              SCHEDULE 4.6
                                          SUPPLIERS; CUSTOMERS
(a)
        Supplier                                 LTM Spend ending 4/30/20
 1.     Cimbar WV                                $13,000,821

 2.     American Refining Group, Inc.            $5,001,634
 3.     Ingevity Corporation                     $2,592,210
 4.     Synthex Organics, LLC                    $1,346,471
 5.      Abilene Rental Center, LLC              $1,304,626
 6.      Myers Well Service Inc.                 $1,236,658
 7.      Coyle Transport Services, Inc.          $440,309
 8.      United Centrifuge Manufacturing Inc.    $437,348
 9.      Tetra Specialty Chemicals               $428,341
 10.     Greer Industries, Inc.                  $326,233
(b)
          Customer                               LTM Revenue ending 4/30/20
1.        Southwestern Energy                    $22,720,231
2         Ascent Resources                       $14,411,356
3.        Devon Energy                           $8,715,197
4.        EAP Operating, LLC                     $5,733,569
5.        EQT Production Company                 $3,353,506
6.        Columbia Gas Transmission LLC          $3,156,421
7.        Antero Resources Corporation           $2,456,065
8.        XTO Energy, Inc.                       $2,180,700
9.        Tribune Resources, LLC                 $2,063,300
10.       Jay Bee Oil and Gas                    $1,756,930




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                                             SCHEDULE 4.8
                                        EXISTING CONTRACTS
                                         Contract                                              Cure
                                                                                              Amount
 1.      Cimbar Supply Agreement.                                                            $2,610,796
 2.      Amended Cimbar Supply Agreement.                                                    Same as #1
                                                                                               above
 3.      Operating Agreement of C&A Grinding, L.L.C. by and between Cimbar Performance         None
         Minerals, Inc. and Anchor Drilling Fluids USA, Inc. dated January 1, 2012.
 4.      Amendment No. 1 to Operating Agreement of C&A Grinding, L.L.C. by and between         None
         Cimbar Performance Minerals WV, LLC and Anchor Drilling Fluids USA, LLC dated
         April 1, 2018.
 5.      Amendment No. 2 to Operating Agreement of C&A Grinding, L.L.C. by and between         None
         Cimbar Performance Minerals WV, LLC and Anchor Drilling Fluids USA, LLC dated
         March 3, 2020.
 6.      Cimbar Sublease.                                                                       $29,700
 7.      Cimbar Amended Sublease.                                                             Same as #1
                                                                                                above
 8.      Amended and Restated Equipment Lease With Option, by and between C&A Grinding, None (Cimbar
         LLC, Cimbar Performance Minerals, Inc. and Anchor Drilling dated December 17, 2018.  owes the JV
                                                                                              $30,000 for
                                                                                                  rent)
 9.      Letter Agreement with respect to Amended and Restated Equipment Lease With Option,      None
         by and between C&A Grinding, LLC, Cimbar Performance Minerals, Inc. and Anchor
         Drilling dated December 19, 2018.
 10.     Settlement Agreement and Release, by and between Cimbar Performance Minerals WV,        None
         LLC and Anchor Drilling, dated January 10, 2019.
 11.     Letter Agreement, by and between Cimbar Performance Minerals and Anchor Drilling, Same as # 1
         dated April 3, 2020.                                                                    above
 12.     Master Rental Service Agreement by and between Apache Corporation and Q’Max dated       None
         March 26, 2015.
 13.     Master Service Agreement by and between Callon Petroleum Company and Q’Max dated        None
         January 26, 2016.
 14.     Master Service Agreement by and between Diamondback E&P LLC and Anchor Drilling         None
         dated February 28, 2017.
 15.     Master Service Agreement by and between Grenadier Energy Partners II, LLC and Anchor    None
         Drilling dated May 8, 2019.
 16.     Amended and Restated Master Service/Sales Agreement by and between Pioneer Natural      None
         Resources USA, Inc. dated January 9, 2017.
 17.     Master Service Agreement by and between Solaris Water Midstream, LLC and Anchor         None
         Drilling dated October 4, 2018.
 18.     Master Service Agreement by and between XTO Energy Inc. and Anchor Drilling dated       None
         January 15, 2007.
 19.     Master Service Agreement by and between Matador Production Company and Anchor           None
         Drilling dated April 29, 2019.
 20.     Master Service Agreement by and between Patriot Resources, Inc. and Q’Max dated May     None
         12, 2015.
 21.     Master Service Agreement by and between CrownQuest Operating, LLC and Anchor            None
         Drilling dated October 16, 2015.
 22.     Master Service Agreement by and between Halcon Operating Co., Inc. and Q’Max March      None
         8, 2017.
 23.     Master Service Agreement by and between Murphy Exploration & Production Company –       None
         USA and Anchor Drilling dated September 10, 2018.
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                              WRITTEN CONSENT
                           OF THE SOLE MEMBER OF
                       ANCHOR DRILLING FLUIDS USA, LLC

                                      May 22, 2020

       The undersigned, being the sole member of Anchor Drilling Fluids USA, LLC, a member-
managed Delaware limited liability company (the “Company”), does hereby adopt, vote for,
consent to and approve the following resolution:

        RESOLVED, that James Katchadurian is hereby appointed and elected to serve as the
Chief Restructuring Officer of the Company effective as of the date hereof and until his
resignation, death or removal.
        .
        IN WITNESS WHEREOF, the undersigned has executed this consent effective as of the
date first above written.


                                          Q’Max America Inc.,
                                          Its sole member



                                          By:
                                                 Rafael Diaz-Granados, President




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                   Sworn before me this                /
                   day            /       A.D, 20 O
                                /
                                 /-
                               Jonathan Tomm
                             Barrister and Solicitor
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS

--------------------------------------------------------------------- x
                                                                      :
                                                                          Chapter 11
In re:                                                                :
                                                                      :   Case No. 20-60031 (CML)
Anchor Drilling Fluids USA, LLC,                                      :
                                                                      :
                                                   Debtor.            :
                                                                      :
--------------------------------------------------------------------- x

                                 CORPORATE OWNERSHIP STATEMENT

       Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a governmental unit, that directly or indirectly own 10% or
more of any class of the Debtor’s equity interests:

               Shareholder                                    Approximate Percentage of Shares Held
           Q’Max America Inc.                                                   100%
          Central Procurement Inc.                           Owns 100% of shares of Q’Max America Inc.
           Q’Max Solutions Inc.                             Owns 100% of shares of Central Procurement Inc.
            Fluid Holding Corp                               Owns 100% of shares of Q’Max Solutions Inc.
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                   Sworn before me this              /
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                             Jonathan Tomm
                           Barrister and Solicitor
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 Southern
 ____________________              Texas
                      District of _________________
                                        (State)
                                                           7
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        0/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                            Q'MAX America, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               9 ___
                                              ___ 8 – ___
                                                       0 ___
                                                          5 ___
                                                             4 ___
                                                                2 3    1 ___
                                                                   ___ ___ 9
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                               11700 Katy Fwy., Suite 200
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                               Houston, TX 77079
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              Harris
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  https://qmax.com
                                              ____________________________________________________________________________________________________




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Debtor         Q'MAX America, Inc.
              _______________________________________________________                        Case number (if known)_____________________________________
              Name




 6.   Type of debtor                     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                         Partnership (excluding LLP)
                                         Other. Specify: __________________________________________________________________

                                        A. Check one:
 7.   Describe debtor’s business
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above

                                        B. Check all that apply:

                                         Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                           § 80a-3)
                                         Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            2 ___
                                           ___ 1 ___
                                                  1 ___
                                                     1

 8.   Under which chapter of the        Check one:
      Bankruptcy Code is the
      debtor filing?                     Chapter 7
                                         Chapter 9
       !"0+. 3%+ &/  /)((
      1/&*"// !"0+. )1/0 %" '
                                         Chapter 11. Check all that apply:
      0%" #&./0 /1 +4  !"0+.                       %" !ebtor &s a  /)(( 1/&*"// !"0+. / !"#&*"! &*           6   *! &0/
      / !"#&*"! &* 6  3%+                        ggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
      "(" 0/ 0+ ,.+ ""! 1*!".                            are less than $2,725,625 # 0%&/ /1 +4 &/ /"(" 0"! 00 % 0%" )+/0 ." "*0 (* " /%""0
      /1 %,0".  +# 0%" %,0".                         /00")"*0 +# +,".0&+*/ /% #(+3 /00")"*0 *! #"!".( &* +)" 04 ."01.* +. &# *5 +#
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      &/  /)(( 1/&*"// !"0+.                      The debtor is a debtor as defined in 11 U.S.C. § 1(1) &0/ $$."$0" *+* +*0&*$"*0
      )1/0 %" ' 0%" /" +*! /1                           (&-1&!0"! !"0/ "4 (1!&*$ !"0/ +3"! 0+ &*/&!"./ +. ##&(&0"/ ." ("// 0%*  
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                                                         /"(" 0"! attach the most recent balance sheet, statement of operations, cash-flow
                                                         statement, and federal income tax return or if a*5 of these documents do not exist, follow
                                                         the procedure in 11 U.S.C. § 1116(1)(B).
                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                            in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.
                                         Chapter 12
 9.   Were prior bankruptcy cases        No
      filed by or against the debtor
      within the last 8 years?           Yes.    District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                              District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY


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Debtor          Q'MAX America, Inc.
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 10.   Are any bankruptcy cases            No
       pending or being filed by a
       business partner or an              Yes.           See Attached
                                                    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have         No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information



 13.   Debtor’s estimation of             Check one:
       available funds                     Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                           1-49                            1,000-5,000                              25,001-50,000
 14.   Estimated number of                 50-99                           5,001-10,000                             50,001-100,000
       creditors
                                           100-199                         10,001-25,000                            More than 100,000
                                           200-999

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                              ATTACHMENT TO PETITION OF
                                 Q’MAX AMERICA, INC.


Question No. 10 – Are any bankruptcy cases pending or being filed by a business partner or an
affiliate of the debtor?

Debtor                               Relationship           District     When           Case No.

Anchor Drilling Fluids USA, LLC      Debtor Affiliate       SD Texas     Concurrently
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                                WRITTEN CONSENT
                            OF THE SOLE DIRECTOR OF
                              Q’MAX AMERICA INC.
                                       May 24, 2020

       The undersigned, being the sole director of Q’Max America Inc., a Delaware
corporation (the “Company”), does hereby adopt, vote for, consent to and approve the
following resolutions:

        WHEREAS, since 2019, the Company and its affiliates have been focused on a
permanent and comprehensive solution to its challenged fiscal circumstances to improve
its capital structure, reduce its debt levels, improve liquidity and strengthen its financial
position in order to be able to achieve its business objectives and maximize value for all
stakeholders; and

        WHEREAS, despite the Company’s and its affiliates’ efforts to navigate prolonged
difficult industry conditions and improve its capital structure, the Company has continued
to be negatively impacted by continued and further reductions in rig activity levels,
significant decreases in operating receipts and collection challenges with a major Mexican
customer; and

         WHEREAS, in late April 2020, it became apparent that the Company and its
affiliates would not be in a position to continue operating as a going-concern without access
to immediate additional liquidity. The Company and its affiliates began discussions with
the HSBC Lending Syndicate in February 2020 and entered into various credit agreement
amendments that relieve or modify covenants to address financial pressure; and

        WHEREAS, as a result, the Company and its affiliates determined to commence a
restructuring plan (the “Restructuring Plan”). The Restructuring Plan was developed in
consultation with the Company’s and its affiliates’ professional and financial advisors and
would be implemented through a proceeding filed under the Companies’ Creditors
Arrangement Act in Canada along with a case under chapter 15 of the United States
Bankruptcy Code (collectively, the “Proceedings”); and

         WHEREAS, in order for the Restructuring Plan to be successful, the Company and
its affiliates began negotiating with the HSBC Lending Syndicate and Encina Business
Credit, LLC (“Encina”) for additional loans to fund the Restructuring Plan in the
Proceedings; and

        WHEREAS, during April through May 2020, the Company and its affiliates and
their professional advisors undertook a significant number of negotiations and term sheet
drafts among the Company, the HSBC Lending Syndicate and Encina for additional
liquidity to fund the Restructuring Plan in the Proceedings. These negotiations were
difficult and protracted; and




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        WHEREAS, on May 17, 2020, the HSBC Lending Syndicate advised that they
would not provide any funding for the Restructuring Plan in the Proceedings and would
object to the Company and its affiliates commencing the Proceedings; and.

        WHEREAS, consequently, the Company and its affiliates continued negotiations
with Encina to fund debtor-in-possession financing in a chapter 11 case under the United
States Bankruptcy Code for the Company, Central Procurement Inc. (“Central”) and
Anchor Drilling Fluids USA LLC (“Anchor” and collectively with the Company, the “U.S.
Subsidiaries”). Negotiations continued with Encina under the chapter 11 option during
the month of May. One of the purposes of the chapter 11 proceeding was to implement a
sale process to consummate an asset purchase transaction pursuant to which Palladium
Equity Partners IV, L.P., an affiliate of certain stockholders of the Company (“Palladium”)
would sponsor a new entity (“PurchaseCo”) to make a stalking horse bid to acquire certain
of the assets and ongoing business of the U.S. Subsidiaries (“ProfitCo”) (such sale, the
“Sale Transaction”); and

       WHEREAS, as an additional benefit of continuing the business of ProfitCo as going
concern, the Sale Transaction would preserve the jobs of more than 100 employees in
Texas, Ohio, Pennsylvania and New York and such employees would continue as
employees of ProfitCo; and

       WHEREAS, ultimately, on May 19, 2020 Encina indicated it was unwilling to fund
a chapter 11 case to support the process for the Sale Transaction because of insufficient
borrowing base under their ABL facility; and

        WHEREAS, at the time of Encina’s decision not to fund a chapter 11 case, the
liquidity position of the U.S. Subsidiaries would not allow them to operate any further; and

        WHEREAS, as a result, the U.S. Subsidiaries have explored every option to
restructure their financial affairs, but without additional liquidity from the HSBC Lending
Syndicate and/or Encina no viable options are available; and

        WHEREAS, Palladium has indicated it would be willing to provide additional
liquidity and pursue the Sale Transaction in Chapter 7 proceedings of the U.S. Subsidiaries
if the Chapter 7 trustee were willing to continue operations until the Sale Transaction could
be approved and consummated; and

        WHEREAS, in the judgment of the sole director of the Company, it is desirable
and in the best interest of the U.S. Subsidiaries to cause a petition to be filed by each of the
U.S. Subsidiaries seeking relief under the provisions of chapter 7 of title 11, United States
Code (the “Bankruptcy Code”), and for the Chapter 7 trustee to pursue a sale of ProfitCo
to PurchaseCo or an alternative bidder through the chapter 7 process in accordance with
the provisions of the Bankruptcy Code and other applicable law.




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         NOW, THEREFORE, BE IT

Filing and Prosecution of Bankruptcy Case

        RESOLVED, that it is desirable and in the best interest of the US Subsidiaries and
their creditors, stockholders, and other interested parties to authorize the US Subsidiaries,
their members, directors and officers, to cause a petition to be filed in the name of each of
the US Subsidiaries (the “Chapter 7 Petitions”) seeking relief under the provisions of
chapter 7 of the Bankruptcy Code; and it is further

         RESOLVED, that the members, directors and the President, any Vice President, or
such other officer(s) of the US Subsidiaries as they shall from time to time designate (each,
an “Authorized Officer”) be, and each hereby is, authorized and directed to execute and
verify the Chapter 7 Petitions and to cause the same to be filed in the United States
Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”), in such
form and at such time as such members, directors and Authorized Officers shall determine;
and it is further

        RESOLVED, that such members, directors and Authorized Officers be, and each
hereby is, authorized to execute and file (or direct others to do so on behalf of the Company
as provided herein) all necessary documents, including, without limitation, all petitions,
affidavits, schedules, motions, lists, applications, pleadings and other papers, and in
connection therewith, to employ and retain all assistance by legal counsel, accountants or
other professionals and to take any and all action which they deem necessary and proper in
connection with the chapter 7 cases; and it is further

Employment of Professionals

        RESOLVED, that the law firm of Porter Hedges, LLP be, and hereby is, employed
under general retainer as bankruptcy counsel for the Company to prepare and file the
chapter 7 case, and the Authorized Officers of the Company are hereby authorized and
directed to execute appropriate retention agreements and pay appropriate retainers; and it
is further

        RESOLVED, that the Authorized Officers of the Company be, and they hereby are,
authorized and directed to employ any other firm as professionals, appraisers or consultants
to the Company as are deemed necessary to represent and assist the Company in carrying
out its duties under the Bankruptcy Code and, in connection therewith, the Authorized
Officers of the Company are hereby authorized and directed to execute appropriate
retention agreements and pay appropriate retainers; and it is further

       RESOLVED, that all acts lawfully done or actions lawfully taken by any
Authorized Officers to seek relief under chapter 7 of the Bankruptcy Code or in connection
with the chapter 7 case, or any matter related thereto, be, and hereby are, adopted, ratified,
confirmed and approved in all respects; and it is further




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Operational Actions

         RESOLVED, that the members, directors and Authorized Officers of the US
Subsidiaries are authorized to take such actions as they deem necessary in connection with
the preparation for filing of the chapter 7 cases, including without limitation, paying final
payrolls and related payroll taxes, sales taxes and other trust fund taxes prior to such filings,
terminating the employment of such employees as such members, directors and Authorized
Officers determine to be appropriate, terminating the 401k plan of Anchor and pursuing
the sale of all their assets other than those included in ProfitCo (the “Other Asset Sales”);
and it is further

Sale of ProfitCo

       RESOLVED, that the members, directors and Authorized Officers of the Company
and Anchor are authorized to pursue negotiations for the sale of the assets comprising
ProfitCo to PurchaseCo and to enter into an Asset Purchase Agreement on the terms and
conditions for such sale set forth in the Asset Purchase Agreement attached hereto as
Exhibit A, with such changes therein as the Authorized Officers may approve, such
approval to be evidenced by their execution thereof; and it is further

General Authorizing Resolutions

        RESOLVED, that the members, directors and Authorized Officers of the US
Subsidiaries be, and each of them, hereby is authorized to make, enter into, execute, deliver
and file any and all other or further agreements, documents, certificates, materials and
instruments, and to take or cause to be taken any and all other actions as any such members,
directors and Authorized Officers deem to be necessary, appropriate or advisable to carry
out the purposes of the foregoing resolutions and the transactions contemplated thereunder
or to successfully complete the filing of the chapter 7 cases and the sale of ProfitCo and
the Other Asset Sales; and it is further

       RESOLVED, that all authorized acts, transactions, or agreements undertaken prior
to the adoption of these resolutions by any such members, directors and Authorized
Officers in connection with the foregoing matters are hereby authorized, approved, ratified
and confirmed.



                                [Signature on Following Page]




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        IN WITNESS WHEREOF, the undersigned has executed this consent effective as of the
date first above written.



                                         Rafael Diaz-Granados




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                         ASSET PURCHASE AGREEMENT

                               dated as of May 24, 2020

                                    by and among

                            QMAX ACQUISITION CORP.

                                      as Buyer,

                                         and

                              Q’MAX AMERICA INC.,

                                         and

                       ANCHOR DRILLING FLUIDS USA, LLC

                                      as Sellers




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                              ASSET PURCHASE AGREEMENT

       ASSET PURCHASE AGREEMENT, dated as of May 24, 2020, (the “Agreement Date”),
by and among Q’Max America Inc., a company incorporated under the laws of Delaware
(“Q’Max”), and Anchor Drilling Fluids USA, LLC, a Delaware limited liability company
(“Anchor Drilling” and, together with Q’Max, “Sellers” and each, a “Seller”) and QMax
Acquisition Corp., a Delaware corporation (“Buyer”). Each Seller and Buyer are referred to herein
individually as a “Party” and collectively as the “Parties”.

                                         WITNESSETH:

        WHEREAS, Sellers have agreed to sell to Buyer, and Buyer has agreed to purchase, the
Acquired Assets as of the Closing, and Buyer is willing to assume from Sellers the Assumed
Liabilities as of the Closing upon terms and subject to the conditions set forth hereinafter.

        NOW, THEREFORE, in consideration of the representations, warranties, covenants and
agreements contained herein, and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, and intending to be legally bound hereby, the
Parties hereto agree as follows:

                                          ARTICLE 1
                                         DEFINITIONS

      1.1       Defined Terms. As used herein, the terms below shall have the following respective
meanings:

        “ABL Facility” shall mean the credit agreement (as amended, restated, supplemented or
otherwise modified from time to time) dated as of September 6, 2019, by and among Anchor
Drilling Fluids USA, LLC, Q'Max America Inc., the lenders party thereto and Encina Business
Credit, LLC as agent on behalf of such lenders.

        “Accounts Receivable” shall have the meaning specified in Section 2.1(a).

        “Acquired Assets” shall have the meaning specified in Section 2.1.

        “Affiliate” shall, with respect to any Person, mean any other Person that directly, or
indirectly through one or more intermediaries, controls, or is controlled by, or is under common
control with, the Person specified, where “control” means the possession, directly or indirectly, of
the power to direct or cause the direction of the management policies of a Person, through
ownership of voting securities or rights, by contract, as trustee, executor or otherwise. For
purposes of this Agreement, Q’Max Solutions Inc. and each of its Subsidiaries (including each of
the Sellers), on the one hand, and the Buyer and its Affiliates, on the other hand, shall not be
deemed to be Affiliates of each other.

       “Agreement” shall mean this Asset Purchase Agreement, together with the exhibits and
Disclosure Schedules hereto, in each case as amended, restated, supplemented or otherwise
modified from time to time.



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        “Agreement Date” shall have the meaning specified in the preamble.

        “Allocation” shall have the meaning specified in Section 3.4.

         “Alternative Transaction” shall mean (i) any investment in, financing of, capital
contribution or loan to, or restructuring or recapitalization of the Sellers, (ii) any merger,
consolidation, share exchange or other similar transaction to which a Seller or any of its Affiliates
is a party that has the effect of transferring, directly or indirectly, all or any portion of the Acquired
Assets, or any issuance, sale or transfer of equity interests in, the Sellers, (iii) any direct or indirect
sale of all or any portion of the Acquired Assets, (iv) any issuance, sale or transfer of equity
interests in, the Sellers or any of their Subsidiaries or (v) any other transaction (other than a
liquidation or a plan of liquidation), including a reorganization (in any jurisdiction, whether
domestic, foreign, international or otherwise), that transfers or vests ownership of, economic rights
to, or benefits in all or a portion of the Acquired Assets, to any party other than Buyer or any of its
Affiliates, in each instance, whether or not such transaction is entered into in connection with any
bankruptcy, insolvency, arrangement, proposal, receivership or similar Proceedings.

        “Anchor Drilling” shall have the meaning specified in the preamble.

       “Assignment and Assumption Agreement” means an assignment and assumption
agreement, in a form mutually agreed to by the Parties, evidencing the assignment to the Buyer of
the Sellers’ rights, benefits and interests in, to and under the Assumed Contracts and the
assumption by the Buyer of the Assumed Liabilities under the Assumed Contracts.

        “Assumed Contracts” means those Leases and Executory Contracts that have been
designated by Buyer for assumption and assignment to Buyer by Seller pursuant to Section 2.4
and with respect to which an order has been entered by the Bankruptcy Court (which may be the
Sale Order) authorizing the assumption and assignment of the Lease or Executory Contract and an
Assumption Notice has been delivered and filed with the Bankruptcy Court. For the avoidance of
doubt, "Assumed Contracts" shall not include any Executory Contract or Lease that is excluded
and rejected pursuant to Section 2.4.

        “Assumed Liabilities” shall have the meaning specified in Section 2.3.

        “Assumption Notice” has the meaning set forth in Section 2.4(b).

       “Avoidance Actions” means all avoidance claims, causes of action, or rights of recovery
under Chapter 5 of the Bankruptcy Code or similar state Laws.

        “Bankruptcy Cases” shall mean the jointly administered bankruptcy cases commenced by
the Sellers.

        “Bankruptcy Code” shall mean title 11 of the United States Code, 11 U.S.C. §101 et seq.

        “Bankruptcy Court” shall mean the United States Bankruptcy Court for the Southern
District of Texas.

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       “Business Day” shall mean any day other than a Saturday, Sunday or a legal holiday on
which banking institutions in the City of New York are not required to open.

        “Buyer” shall have the meaning specified in the preamble.

        “Buyer’s Conditions Certificate” shall have the meaning specified in Section 7.2(d).

       “Capital Lease” shall mean, for any Person, a lease of any interest in any kind of property
(whether real, personal or mixed) or asset by such Person as lessee that is, should be or should
have been recorded as a “capital lease” on the balance sheet of such Person in accordance with
GAAP.

        “Cash Purchase Price” shall have the meaning specified in Section 3.2(a).

        “Chapter 7” means Chapter 7 of the Bankruptcy Code.

       “Claim” shall mean all actions, claims, counterclaims, suits, Proceedings, rights of action,
causes of action, Liabilities, obligations, losses, damages, remedies, penalties, judgments,
settlements, costs, expenses, fines, disbursements, demands, reasonable costs, fees and expenses
of counsel, including in respect of investigation, interest, demands and actions of any nature or
any kind whatsoever, known or unknown, disclosed or undisclosed, accrued or unaccrued, matured
or unmatured, choate or inchoate, legal or equitable, and arising in tort, contract or otherwise,
including any “claim” as defined in the Bankruptcy Code.

        “Closing” shall have the meaning specified in Section 3.1(a).

        “Closing Date” shall have the meaning specified in Section 3.1(a).

       “Closing Date Inventory” shall mean the carrying value of the Inventory as of the Closing
Date calculated as such Inventory would be recorded on a balance sheet of the Sellers in
accordance with GAAP and consistent with past practice.

        “Code” shall mean the Internal Revenue Code of 1986, as amended.

        “Conditions Certificate” shall have the meaning specified in Section 7.2(d).

        “Consent” shall have the meaning set forth in Section 2.4(e).

        “Contract” shall mean any contract, agreement, indenture, note, bond, loan, instrument,
lease (including Capital Lease), conditional sales contract, purchase order, mortgage, license,
franchise, insurance policy, letter of credit, commitment or other binding arrangement or
commitment, whether or not in written form, that is binding upon a Person or any of its property.

        “Cure Amounts” has the meaning set forth in Section 2.4(c).

        “C&A Grinding Equity Interests” shall have the meaning specified in Section 2.1(x).

        “C&A Grinding” shall mean C&A Grinding, LLC, a Georgia limited liability company.
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        “Continuing Employees” means those employees set forth on Schedule 1.1(a).

        “Designated Contracts” has the meaning set forth in Section 2.4(b).

       “Designation Deadline” means 5:00 p.m. (prevailing Eastern time) on the date that is ten
(10) days after the Petition Date.

        “Disclosure Schedules” shall mean the disclosure schedules, delivered by Sellers and
Buyer concurrently with the execution and delivery of this Agreement, as amended from time to
time in accordance with and subject to the terms hereof.

        “Encina” means Encina Business Credit, LLC.

       “Encina Exit Financing Commitment Letter” shall mean an executed commitment letter,
in form and substance acceptable to Buyer, pursuant to which Encina shall have agreed to lend at
the Closing the amounts set forth therein to Buyer in order to fund, subject to the terms and
conditions thereunder, the Regional Business and refinance (or assume on amended terms) the
ABL Facility and the financing provided in the New Money Financing Agreement.

        “Environmental Law” means any Law relating to pollution, the protection of human health
and safety (with respect to exposure to hazardous materials), the environment, natural resources
or the release, manufacture, processing, treatment, storage, disposal or handling of, or exposure to,
hazardous materials.

        “Environmental Liabilities and Obligations” means all Liabilities arising from any
impairment, impact or damage to the environment, health or safety, or any failure to comply with
Environmental Law, including Liabilities related to: (a) the transportation, storage, use,
arrangement for disposal or disposal of, or exposure to, Hazardous Materials; (b) the Release of
Hazardous Materials, including migration onto or from the Owned Real Property and Leased Real
Property that are Acquired Assets; (c) any other pollution or contamination of the surface,
substrata, soil, air, ground water, surface water or marine environments; (d) any other obligations
imposed under Environmental Law including pursuant to any applicable Permits issued pursuant
to under any Environmental Law; (e) Orders, notices to comply, notices of violation, alleged non-
compliance and inspection reports with respect to any Liabilities pursuant to Environmental Law;
and (f) all obligations with respect to personal injury, property damage, wrongful death and other
damages and losses arising under applicable Environmental Law.

       “ERISA Affiliate” means .any trade or business, whether or not incorporated, that together
with the Sellers would be deemed a "single employer" within the meaning of Section 4001(b)(i)
of ERISA.

        “Excluded Assets” shall have the meaning specified in Section 2.2.

        “Excluded Contract” has the meaning set forth in Section 2.4(b).

        “Excluded Liabilities” shall have the meaning specified in Section 2.5.

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        “Executory Contract” means a Contract to which one or more of the Sellers are party that
is subject to assumption or rejection under sections 365 of the Bankruptcy Code, other than the
Leases.

      “Expense Reimbursement” shall mean the documented actual out-of-pocket costs, fees and
expenses incurred by Buyer or its Affiliates in connection with the negotiation, documentation
and implementation of this Agreement, the Transaction Documents, and the transactions
contemplated thereby.

         “GAAP” shall mean generally accepted accounting principles as in effect from time to
time in the United States.

        “Governmental Entity” shall mean any federal, state, provincial, local, municipal,
domestic, foreign, multinational, international or other (a) government, (b) governmental or quasi-
governmental authority of any nature (including any governmental agency, ministry, branch,
department, official, or entity and any court or other tribunal), or (c) body exercising, or entitled
to exercise, any administrative, executive, judicial, legislative, prosecutorial, police, regulatory, or
Tax Authority or power of any nature, including any arbitration tribunal or stock exchange.

        “Guarantee” by any Person shall mean any obligation, contingent or otherwise, of such
Person guaranteeing, or having the economic effect of guaranteeing, any Indebtedness of any other
Person (the “Primary Obligor”) in any manner, whether directly or indirectly, and including,
without limitation, any obligation of such Person: (i) to purchase or pay (or advance or supply
funds for the purchase or payment of) such Indebtedness or to purchase (or to advance or supply
funds for the purchase of) any security for the payment of such Indebtedness; (ii) to purchase
property, securities or services for the purpose of assuring the holder of such Indebtedness of the
payment of such Indebtedness; or (iii) to maintain working capital, equity capital or other financial
statement condition or liquidity of the Primary Obligor so as to enable the Primary Obligor to pay
such Indebtedness (and “Guaranteed,” “Guaranteeing” and “Guarantor” shall have meanings
correlative to the foregoing).

        “Hazardous Material” means any substance, material or waste which is regulated by any
Governmental Entity, including petroleum and its by-products, asbestos, polychlorinated
biphenyls and any material, waste or substance which is defined or identified as a “hazardous
waste,” “hazardous substance,” “hazardous material,” “restricted hazardous waste,” “industrial
waste,” “solid waste,” “contaminant,” “pollutant,” “toxic waste” or “toxic substance” or otherwise
regulated under or subject to any provision of Environmental Law.

       “Horseheads Warehouse” shall mean that certain warehouse leased by the Sellers located
at 124 Wygant Road, Building B, Horseheads, New York 14845.

        “Indebtedness” of any Person means, without duplication, (a) all obligations of such Person
for borrowed money or with respect to deposits or advances of any kind, (b) all obligations of such
Person evidenced by (or which customarily would be evidenced by) bonds, debentures, notes or
similar instruments, (c) all reimbursement obligations of such Person with respect to letters of
credit and similar instruments, (d) all obligations of such Person under conditional sale or other

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title retention agreements relating to property or assets purchased by such Person, (e) all
obligations of such Person incurred, issued or assumed as the deferred purchase price of property
other than accounts payable incurred and paid on terms customary in the business of such Person
(it being understood that the “deferred purchase price” in connection with any purchase of property
or assets shall include only that portion of the purchase price which shall be deferred beyond the
date on which the purchase is actually consummated), (f) all obligations secured by (or for which
the holder of such Indebtedness has an existing right, contingent or otherwise, to be secured by)
any Lien on property owned or acquired by such Person, whether or not the obligations secured
thereby have been assumed, (g) all obligations of such Person under forward sales, futures, options
and other similar hedging arrangements (including interest rate hedging or protection agreements),
(h) all obligations of such Person to purchase or otherwise pay for merchandise, materials,
supplies, services or other property under an arrangement which provides that payment for such
merchandise, materials, supplies, services or other property shall be made regardless of whether
delivery of such merchandise, materials, supplies, services or other property is ever made or
tendered, (i) all guaranties by such Person of obligations of others, (j) all Capital Lease obligations
of such Person and (k) any obligations of such Person Guaranteeing or intended to Guarantee
(whether directly or indirectly Guaranteed, endorsed, co-made, discounted, or sold with recourse)
any obligation of any other Person that constitutes Indebtedness of such other Person under any of
clauses (a) through (j) above.

        “Interim Period” shall have the meaning specified in Section 6.1.

         “Intellectual Property” means all intellectual property and industrial property, throughout
the world, whether or not registerable, patentable or otherwise formally protectable, and whether
or not registered, patented, otherwise formally protected or the subject of a pending application for
registration, patent or any other formal protection, including all (i) trade-marks, corporate names
and business names currently or formerly used in connection with the Regional Business,
including, the “Q’Max America” and “Anchor Drilling Fluids” names and brands, (ii) inventions,
(iii) works and subject matter in which copyright, neighboring rights or moral rights subsist, (iv)
industrial designs, product designs, patents and design rights (v) know-how, trade secrets,
proprietary information, confidential information and information of a sensitive nature that have
value to the Regional Business or relate to business opportunities for the Regional Business, in
whatever form communicated, maintained or stored, (vi) telephone numbers and facsimile
numbers, (vii) registered domain names, and (viii) social media usernames and other internet
identities and all account information relating thereto.

       “Inventory” means all inventory (including finished goods, supplies, raw materials, work
in progress, spare, replacement and component parts), stock-in-trade and merchandise related to
the Regional Business maintained or held by, stored by or on behalf of, or in transit to, any Seller.

      “Knowledge” shall mean, with respect to any Seller, the actual knowledge of Rafael Andres
Diaz-Granados, Chris Pennington, Celina Carter and Eric Glover after reasonable and due inquiry.

       “Law” shall mean any federal, state, provincial, municipal, local, foreign, international or
multinational constitution, statute, law, ordinance, regulation, rule, code, by-law, Order, principle


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of common law or equity, or decree enacted, promulgated, issued, enforced or entered by any
Governmental Entity, or court of competent jurisdiction, or other requirement or rule of law.

        “Lease” shall have the meaning set forth in Section 4.4(a).

        “Leased Real Property” means all of the real property leased, subleased, used or occupied
by any Seller, together with all buildings, structures, fixtures and improvements erected thereon,
and any and all rights privileges, easements, licenses, hereditaments and other appurtenances
relating thereto, and used, or held for use, in connection with the operation of the Regional
Business.

        “Leetsdale Warehouse” shall mean that certain warehouse and office building leased by
the Sellers located at 545 W. Park Road, Leetsdale, Pennsylvania 15056.

         “Liabilities” shall mean, as to any Person, all debts, adverse Claims, liabilities,
commitments, responsibilities, and obligations of any kind or nature whatsoever, direct or indirect,
absolute or contingent, whether accrued or unaccrued, vested or otherwise, liquidated or
unliquidated, whether known or unknown, and whether or not actually reflected, or required to be
reflected, in such Person’s balance sheet or other books and records.

       “License Agreement” shall mean that certain Exclusive License Agreement by and
between Q’Max Solutions Inc. and Q’Max, dated May 22, 2020 pursuant to which Q’Max was
granted a license to certain Intellectual Property Rights as set forth thereunder.

        “Licensor” shall mean Q’Max Solutions Inc.

         “Lien” shall mean (i) any claim, Liability, prior claim, right of retention, lien, security
interest, floating charge, mortgage, pledge option, deed assignments, conditional sale, warrant,
adverse claim, charge (including court-ordered charge), easement, right-of-way, encroachment,
defect of title, hypothec, trust debenture, deemed trust (statutory or otherwise), judgment, writ of
seizure or execution, notice of sale, restriction on transfer, contractual right (including purchase
option, right of first refusal, rights of first offer or any other pre-emptive contractual right),
restriction on use or encumbrance, whether imposed by agreement, law, equity or otherwise and
whether or not registered, published or filed and whether secured, unsecured or otherwise, and (ii)
without limiting the foregoing clause (i), “Lien”, as such term is defined pursuant to
section 101(37) of the Bankruptcy Code.

       “Material Contracts” means, collectively, those contracts that are in the opinion of the
Buyer, necessary and essential to the operation of the Regional Business as listed and specified as
“Material Contracts” on Schedule 2.4(b)(i).

         “Midland Drilling Fluids Business” means the drilling and completion fluids, chemical
additives, and fluid engineering services provided by Sellers in the Permian basin. For the
avoidance of doubt, the Midland Solid Control Warehouse and the assets located at, and the
operations conducted at, the Midland Solid Control Warehouse shall not be deemed to be included
in this definition of Midland Drilling Fluids Business.

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         “Midland Solid Control Warehouse” shall mean that certain warehouse leased by the
Sellers located at 2106 East Country Road 120, Midland, Texas 79706.

        “New Money Financing Agreement” means a senior secured superpriority credit
agreement or note and any documents or instruments related thereto, to be entered into by Sellers
and Encina and/or any other Post-Petition Lenders (including Palladium Fund IV or its Affiliates),
in each case, in form and substance satisfactory to Buyer.

        “Newcomerstown Warehouse” shall mean those certain warehouses and buildings leased
by the Sellers located at 1122 West State Street, Newcomerstown, Ohio 43832 and 200 Enterprise
Drive, Newcomerstown, Ohio 43832.

        “Notices” shall have the meaning specified in Section 9.4.

        “Officer’s Certificate” shall have the meaning specified in Section 7.1(e).

        “Operating Order” shall mean an order granting Trustee’s emergency motion to approve
the Trustee’s authority to continue to operate the Regional Business, in form and substance
acceptable to Buyer.

       “Order” shall mean any judgment, order, injunction, writ, ruling, decree, stipulation,
determination, decision, verdict, or award of any Governmental Entity.

        “Ordinary Course of Business” shall mean that an action taken by a Person will be deemed
to have been taken in the “Ordinary Course of Business” only if that action is taken in the ordinary
course of business of such Person, consistent with past practices.

        “Owned Real Property” shall have the meaning set forth in Section 4.4(b).

        “Party” or “Parties” shall have the meaning specified in the preamble.

        “Permits” shall mean permits, licenses, registrations, certificates of occupancy, approvals,
consents, clearances, directives, orders, variances, registrations, rights, privileges, concessions and
other authorizations issued, granted, conferred or otherwise created by any Governmental Entity.

        “Permitted Liens” shall mean: (a) Liens for Taxes not yet due and payable or which are
being contested in good faith by appropriate Proceedings and for which an adequate reserve has
been established by Sellers; (b) statutory liens of landlords, carriers, warehousemen, mechanics,
and materialmen incurred in the Ordinary Course of Business for sums not yet due; (c) liens
incurred or deposits made in the Ordinary Course of Business in connection with workers’
compensation, unemployment insurance and other types of social security; or (d) liens or
encumbrances that arise solely by reason of acts of Buyer or its successors and assigns or otherwise
consented to by Buyer in accordance with the terms of this Agreement.

         “Person” shall mean an individual, a partnership, a joint venture, a corporation, a business
trust, a limited liability company, a trust, an unincorporated organization, a joint stock company,
a labor union, an estate, a Governmental Entity or any other entity.
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          “Petition Date” shall mean the date the Bankruptcy Cases are commenced by the Sellers.

          “Phase I Reports” shall have the meaning specified in Section 7.1(h).

          “Post-Closing Covenant” shall have the meaning specified in Section 9.12.

       “Post-Petition Financing Order” shall mean interim and final orders granting a motion by
the Trustee pursuant to U.S.C. §§ 105, 361 and 364 and Federal Bankruptcy Rules 2002, 4001 and
994 seeking authorization for the Trustee to incur post-petition secured Indebtedness and
approving the New Money Financing Agreement which shall be in form and substance acceptable
to Buyer.

       “Post-Petition Lenders” means Encina and any other lender under the New Money
Financing Agreement.

        “Post-Petition Trade Payables” shall mean the amount of Trade Payables of the Sellers
relating to the Regional Business that were incurred from and after the Petition Date that are
outstanding as of the Closing Date.

        “Pre-Closing Taxes” means any Liability for any Tax of or owed with respect to the
Acquired Assets allocable for a taxable period (or portion thereof) ending on or before the Closing
Date. In the case of any Taxes imposed on the Acquired Assets for a taxable period that begins
before and ends after the Closing Date, Pre-Closing Taxes shall equal (i) in the case of any Taxes
other than the Taxes based upon or related to income or receipts, the amount of such Tax for the
entire Tax period multiplied by a fraction the numerator of which is the number of days in the Tax
period ending on the Closing Date and the denominator of which is the number of days in the
entire Tax period; and (ii) in the case of any Tax based upon or related to income or receipts be
deemed equal to the amount which would be payable if the relevant Tax period ended on the
Closing Date.

          “Previously Omitted Contract” shall have the meaning specified in Section 2.4(b)(i).

         “Proceeding” shall mean any action, arbitration, audit, known investigation (including a
notice of preliminary investigation or formal investigation), notice of violation, hearing, litigation
or suit (whether civil, criminal or administrative), other than the Bankruptcy Case, commenced,
brought, conducted or heard by or before any Governmental Entity, including but not limited to
any and all such actions related to restitution or remission in criminal proceedings and civil
forfeiture and confiscation proceedings under the Law of any jurisdiction.

          “Property and Casualty Insurance Policies” shall mean the policies set forth in Schedule
1.1(b).

       “Property Tax Holdback Amount” means $380,000 (Three Hundred Eighty Thousand
Dollars).

          Property Taxes” shall mean all personal property Taxes and similar ad valorem Taxes.

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        “Purchase Price” shall have the meaning specified in Section 3.2(b).

        “Q’Max” shall have the meaning specified in the preamble.

        “Regional Business” shall have the meaning specified in Section 2.1.

       “Regional Business Warehouses” means, collectively, the Midland Solid Control
Warehouse, the Wellsville Warehouse, the Horseheads Warehouse, the Leetsdale Warehouse and
the Newcomerstown Warehouse.

         “Release” means any actual or threatened release, spill, emission, leaking, pumping,
pouring, emptying, dumping, injection, deposit, disposal, discharge, dispersal or leaching into the
indoor or outdoor environment, or including migration to or from a property, including but not
limited to any Owned Real Property or Leased Real Property.

        “Remedial Action” means all actions to (a) investigate, clean up, remove, treat or in any
other way address any Hazardous Material; (b) prevent the Release of any Hazardous Material; (c)
perform pre-remedial studies and investigations or post-remedial monitoring and care; or (d) to
correct or abate a condition of noncompliance with Environmental Laws.

       “Representative” shall mean, with respect to any Person, such Person’s officers, directors,
managers, employees, agents, representatives and financing sources (including any investment
banker, financial advisor, accountant, legal counsel, consultant, other advisor, agent, representative
or expert retained by or acting on behalf of such Person or its Subsidiaries).

        “Sale Motion” shall mean a motion, in form and substance acceptable to the Buyer, seeking
entry of an order approving this Agreement and the Transactions.

      “Sale Order” shall mean an Order of the Bankruptcy Court approving the Sale Motion,
which Order shall be in form and substance acceptable to Buyer.

       “Seller” or “Sellers” shall have the meaning specified in the preamble and shall include
any Trustee appointed to act on behalf of Sellers.

         “Subsidiary” shall mean, with respect to any Person (a) a corporation, a majority of whose
capital stock with voting power, under ordinary circumstances, to elect directors is at the time,
directly or indirectly, owned by such Person, by a subsidiary of such Person, or by such Person
and one or more subsidiaries of such Person, (b) a partnership in which such Person or a subsidiary
of such Person is, at the date of determination, a general partner of such partnership, or (c) any
other Person (other than a corporation) in which such Person, a subsidiary of such Person or such
Person and one or more subsidiaries of such Person, directly or indirectly, at the date of
determination thereof, has (i) at least a majority ownership interest thereof or (ii) the power to elect
or direct the election of a majority of the directors or other governing body of such Person.

        “Target Inventory” shall mean $9,000,000 (Nine Million Dollars).


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        “Tax” or “Taxes” shall mean (a) any and all taxes, assessments, levies, duties or other
governmental charge imposed by any Governmental Entity, including any income, alternative or
add-on minimum, accumulated earnings, franchise, capital stock, unclaimed property or
escheatment, environmental, profits, windfall profits, gross receipts, sales, use, value added,
transfer, registration, stamp, premium, excise, customs duties, severance, real property, personal
property, ad valorem, occupancy, license, occupation, employment, payroll, social security,
disability, unemployment, withholding, corporation, inheritance, value added, stamp duty reserve,
estimated or other tax, assessment, levy, duty (including duties of customs and excise) or other
governmental charge of any kind whatsoever, including any payments in lieu of taxes or other
similar payments, chargeable by any Tax Authority together with all penalties, interest and
additions thereto, whether disputed or not and (b) any liability in respect of any of the items
described in clause (a) payable under a tax sharing allocation, indemnity or similar agreement or
by reason of successor, transferee, or other liability, by contract, operation of law, or Treasury
Regulation Section 1.1502-6(a) (or any predecessor or successor thereto or any analogous or
similar provision of state, local or foreign Law).

       “Tax Authority” shall mean any taxing or other authority (whether within or outside the
U.S.) competent to impose Tax.

        “Tax Escrow Amount” shall mean $11,000 (Eleven Thousand Dollars).

        “Tax Return” shall mean any and all returns, declarations, reports, documents, Claims for
refund, or information returns, statements or filings which are supplied or required to be supplied
to any Tax Authority or any other Person, including any schedule or attachment thereto, and
including any amendments thereof.

        “Top Customers” shall have the meaning specified in Section 4.6(b)(i).

        “Top Suppliers” shall have the meaning specified in Section 4.6(a)(i)

       “Trade Payables” shall mean those accounts payable owned to the Sellers’ vendors for
Inventory-related goods.

       “Transaction Documents” shall mean this Agreement and any agreement, instrument or
other document entered into pursuant to the terms hereof, including the Assignment and
Assumption Agreement.

       “Transactions” shall mean the transactions contemplated by this Agreement, including the
purchase and sale of the Acquired Assets as provided for in this Agreement.

        “Transfer Tax” or “Transfer Taxes” shall mean any sales, use, transfer, conveyance,
documentary transfer, stamp, recording or other similar Tax imposed upon the sale, transfer or
assignment of property or any interest therein or the recording thereof, and any penalty, addition
to Tax or interest with respect thereto, but such term shall not include any Tax on, based upon or
measured by, the net income, gains or profits from such sale, transfer or assignment of the property
or any interest therein.

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         “Trustee” shall mean the trustee appointed by the United States Trustee in the Bankruptcy
Cases.

         “Trustee’s Conditions Certificate” shall have the meaning set forth in Section 7.1(d).

       “Trustee’s Operation Orders” shall mean the Post-Petition Financing Order and the
Operating Order.

       “WARN Act” means the United States Worker Adjustment and Retraining Notification
Act, and the rules and regulations promulgated thereunder.

      “Wellsville Warehouse” shall mean that certain warehouse leased by the Sellers located at
2400 Clark Avenue, Wellsville, Ohio 43968.

         1.2    Interpretation.

             (a)     Whenever the words “include,” “includes” or “including” are used in this
Agreement they shall be deemed to be followed by the words “without limitation.”

               (b)     Words denoting any gender shall include all genders. Where a word or
phrase is defined herein, each of its other grammatical forms shall have a corresponding meaning.

              (c)    A reference to any Party to this Agreement or any other agreement or
document shall include such Party’s successors and permitted assigns.

                (d)    A reference to any legislation or to any provision of any legislation shall
include any modification or re-enactment thereof, any legislative provision substituted therefor
and all regulations and statutory instruments issued thereunder or pursuant thereto.

                (e)     All references to “$” and dollars shall be deemed to refer to United States
currency.

              (f)  All references to any financial or accounting terms shall be defined in
accordance with GAAP.

                 (g)   The words “hereof,” “herein” and “hereunder” and words of similar import
when used in this Agreement shall refer to this Agreement as a whole and not to any particular
provision of this Agreement, and Section, Disclosure Schedule and exhibit references are to this
Agreement unless otherwise specified. All article, section, paragraph, schedule and exhibit
references used in this Agreement are to articles, sections and paragraphs of, and schedules and
exhibits to, this Agreement unless otherwise specified.

               (h)    The meanings given to terms defined herein shall be equally applicable to
both singular and plural forms of such terms.

              (i)    When calculating the period of time before which, within which or
following which any act is to be done or step taken pursuant to this Agreement, the date that is the

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reference date in calculating such period shall be excluded. If the last day of such period is not a
Business Day, the period in question shall end on the next succeeding Business Day. All references
herein to time are references to New York City time, unless otherwise specified herein.

              (j)   If a word or phrase is defined, its other grammatical forms have a
corresponding meaning.

               (k)    A reference to any agreement or document (including a reference to this
Agreement) is to the agreement or document as amended or supplemented, except to the extent
prohibited by this Agreement or that other agreement or document.

              (l)    Exhibits, Schedules and Annexes to this Agreement are hereby incorporated
and made a part hereof and are an integral part of this Agreement. Any capitalized terms used in
any Schedule or Exhibit but not otherwise defined therein shall be defined as set forth in this
Agreement.

                                 ARTICLE 2
                ACQUIRED ASSETS AND ASSUMPTION OF LIABILITIES

         2.1    Assets to be Acquired. Subject to the granting of the Sale Order, and the terms and
conditions of this Agreement and the Sale Order, at the Closing, the Sellers shall sell, assign,
transfer and deliver to Buyer, and Buyer shall purchase and acquire from the Sellers, all of Sellers’
right, title and interest, free and clear of all Liens (except for Liens supporting the Assumed
Liabilities described in Section 2.3(a) and other Permitted Liens expressly set forth in the Sale
Order), in each and all of the assets, properties and rights of Sellers used in the Sellers’ business
of (i) providing drilling and completion fluids, chemical additives, solids control services and
equipment, waste management services and equipment, fluid engineering services and other
products and services in the northeastern United States and (ii) providing solids control services
and equipment in the Permian basin, in support of oil and gas drilling (the “Regional Business”),
including, without limitation, all assets located at or used in the operations of the Sellers at the
Regional Business Warehouses, and the following as of the Closing but excluding the Excluded
Assets (collectively, the “Acquired Assets”):

                (a)     all accounts receivable, notes receivable, bill receivables, trade accounts,
hold backs, retention, book debts, insurance claims, negotiable instruments, chattel paper
(including without limitation, completed work which has not yet been billed) and other receivables
(including, without limitation, in respect of goods shipped, products sold, licenses granted, services
rendered or otherwise and all amounts that may be returned or returnable with respect to letters of
credit or other financial collateral drawn down prior to the closing of the transaction) from third
parties, together with any unpaid financing charges accrued thereon, in each instance, of the Sellers
(whether or not related to the Regional Business) (collectively, the “Accounts Receivable”);

                (b)     all Intellectual Property used in the Regional Business (provided that, with
respect to the Intellectual Property rights granted to Q’Max under the License Agreement, only to
the extent such Intellectual Property Rights were granted to Q’Max under the License Agreement)
including, without limitation, the Intellectual Property set forth on Schedule 2.1(b);

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                 (c)     all tangible assets, including all equipment, machinery, industrial and motor
vehicles, trailers, fixtures, furniture and other tangible property, including all such property that is
damaged and all attachments, appliances, fittings, gas and oil burners, chemical products, motors,
pumps, tanks, tools, manifolds, systems, blowers, molds, dies, tooling, lighting fixtures, signs,
doors, cabinets, partitions, mantels, screens, plumbing, heating, air conditioning, refrigerators,
freezers, refrigerating and cooling systems, waste disposal and storing, wiring, electrical systems,
telephones, televisions, monitors, security systems, racks, ovens, stoves, carpets, floor coverings,
wall coverings, office equipment, kitchen appliances, computers (including point-of-sale terminals
and systems), software, registers and safes, trash containers, meters and scales, combinations,
codes and keys, and any other furniture, fixtures, equipment and improvements, in each instance,
used in the operation of the Regional Business;

               (d)     all Inventory and goods related to the Regional Business now owned or
hereinafter acquired, wherever located, including raw materials, work in process, finished goods,
supplies, parts, subassemblies or material used or consumed in the operation of the Regional
Business maintained or held by, stored by or on behalf of, or in transit to, any of the Sellers;

                (e)     all goodwill, payment intangibles and general intangible assets and rights
of Sellers to the extent associated with the Regional Business or the Acquired Assets;

              (f)     all cash and cash equivalents relating to the Regional Business other than
the Cash Purchase Price;

               (g)     all deposits (including, without limitation, customer deposits and security
deposits (whether held in trust or otherwise) for rent, electricity, telephone or otherwise), advances,
prepayments, rights in respect of promotional allowances, vendor rebates and other refunds,
Claims, causes of action, rights of recovery, rights under warranties and guaranties, rights of setoff
and rights of recoupment of every kind and nature (whether or not known or unknown or
contingent or non-contingent), and the right to receive and retain mail, accounts receivable
payments and other communications of the Sellers, in each instance, relating to the Regional
Business;

              (h)     all customer lists, data, and information (including all lists of current and
past customers of each Seller), and any and all information relating thereto (including personal
information, such as name, address, telephone number, email address, website and any other
database information), and customer purchase history of the Regional Business;

             (i)      all right of publicity and all similar rights, including, all commercial
merchandising rights used in the Regional Business;

               (j)      all real estate leased by either of the Sellers as a lessee, sub-lessee or
assignee and covered by an Assumed Contract or owned by either of the Sellers, in each case
together with all interests in and to all improvements and fixtures located thereon or attached
thereto (including all warehouses, offices and plants and other tangible and intangible property
located thereon), and other appurtenances thereto, and rights in respect thereof, in each case, used
in the operation of the Regional Business, including the properties listed on Schedule 2.1(j);

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                (k)    all Assumed Contracts;

            (l)    all of Sellers’ deposits, advances or prepaid expenses relating to any of the
Assumed Contracts;

                (m)    all documents (including books and records) of the Regional Business,
including all financial, marketing and business data, pricing and cost information, business and
marketing plans and other information, files, correspondence, records, data, plans, engineering,
reports and recorded knowledge, historical trademark files, prosecution files of the Sellers in
whatever media retained or stored, including computer programs and disks, in each case of the
Regional Business; including files in the possession of Sellers, in each case, to the extent
reasonably available, not subject to claims of solicitor-client or attorney-client privilege, and
otherwise permitted by applicable Law;

               (n)    to the extent applicable, all certificates of title and other documentation
necessary to convey or otherwise evidence title to the equipment included in the Acquired Assets;

                (o)    all personnel files for Continuing Employees except as prohibited by Law;

                (p)    all Permits used in the operation of the Regional Business to the extent
transferable;

               (q)    all rights under or arising out of all insurance policies relating to the
Regional Business (including, without limitation, returns and refunds of any premiums paid, or
other amounts due back to the Sellers, with respect to cancelled policies, all proceeds received on
or after closing and all proceeds received prior to closing in connection with casualty events
involving tangible Acquired Assets);

                (r)     any claim, right or interest in and to all (or the benefit of all to the extent
not assignable) Tax refunds, rebates, abatements, credits and similar items received in or relating
to any period, or portion of any period, beginning on or after the Closing Date or any Tax Return,
relating to the Regional Business received after the Closing Date;

               (s)    causes of action, lawsuits, judgments, Claims and demands of any nature,
whether arising by way of counterclaim or otherwise, in each case to the extent arising from the
Acquired Assets or the Assumed Liabilities;

                (t)   all rights under non-disclosure or confidentiality, non-compete, or non-
solicitation agreements with employees and agents of the Sellers or with third parties relating to
the Regional Business;

               (u)     all rights under or pursuant to all warranties, representations and guarantees
made by vendors, suppliers, manufacturers, contractors and any other Person to the extent relating
to products sold, or services provided, to the Sellers in connection with the Regional Business or
to the extent affecting any Acquired Assets, other than any warranties, representations and
guarantees pertaining to any Excluded Assets;

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               (v)    all sales and promotional materials, catalogues and advertising literature
used in the Regional Business;

               (w)     all of Sellers’ equity interests, or securities convertible into, exchangeable
or exercisable for equity interests, in C&A Grinding and all related rights of Sellers with respect
thereto (the “C&A Grinding Equity Interests”);

                (x)    all Avoidance Actions available to Sellers related to the Regional Business
and all Claims and causes of action of Sellers as of the Petition Date and as of Closing against any
insider (as such term is defined in section 101(31) of the Bankruptcy Code (regardless of whether
or not such claims and causes of action have been asserted by Sellers) including rights of set-off
and rights of recoupment, refunds, claims, counterclaims, demands, causes of action and rights to
collect damages of Sellers against any equityholders or officers, managers, directors or employees
of Sellers; and

                (y)    all other assets, properties, interests, privileges and rights used in the
Regional Business wherever located and whether or not required to be reflected on a balance sheet
prepared in accordance with GAAP (including any assets acquired by Sellers after the date hereof
but prior to Closing).

       2.2     Excluded Assets. Notwithstanding anything to the contrary in this Agreement, in
no event shall Sellers be deemed to sell, assign, transfer or deliver to Buyer, and in no event will
Buyer be deemed to purchase and acquire from Sellers the following assets, properties, interests
and rights of Sellers (collectively, the “Excluded Assets”):

              (a)     assets, properties, interests and rights of Sellers exclusively used in the
Midland Drilling Fluids Business;

                (b)    Sellers’ rights under the Transaction Documents;

                (c)    all benefit plans and collective bargaining agreements, if any;

               (d)     other than the C&A Grinding Equity Interests, all shares of capital stock or
other equity interests issued by any Seller or securities convertible into, exchangeable or
exercisable for any such shares of capital stock or other equity interests;

                (e)    all books and records of Sellers that are not related to the Regional Business;

               (f)     all Tax Returns, received before the Closing Date and relating to a period
ending prior to the Closing Date; and

              (g)     any Contract to which any Seller or Subsidiary of any Seller is party or is
otherwise bound that are not Assumed Contracts.

        2.3   Liabilities to be Assumed by Buyer. Subject to the granting of the Sale Order, and
the terms and conditions of this Agreement and the Sale Order, at the Closing, the Sellers shall
assign to Buyer, and Buyer shall assume from the Sellers and pay when due, perform and
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discharge, in due course, without duplication, only the Assumed Liabilities. “Assumed Liabilities”
shall mean solely the following Liabilities:

             (a)   all Liabilities of the Sellers under the ABL Facility and the New Money
Financing Agreement on the terms and conditions set forth in the Encina Exit Financing
Commitment Letter;

                (b)     any Cure Amounts under Assumed Contracts; and

                 (c)    all Liabilities first arising from or after the Closing (i) as a direct result of
the ownership or operation of any of the Acquired Assets, and (ii) under the Assumed Contracts
as a result of the assumption by the Buyer of such Assumed Contracts.

        2.4     Assignment and Assumption of Contracts.

                (a)    The Sale Order shall provide for the assumption by Sellers, and the
assignment to the extent legally capable of being assigned by Sellers to Buyer, of the Designated
Contracts pursuant to section 365 of the Bankruptcy Code on the terms and conditions set forth in
the remainder of this Section 2.4. At Buyer’s request, and at Buyer’s sole cost and expense, Sellers
shall reasonably cooperate from the date hereof forward with Buyer as reasonably requested by
Buyer (i) to allow Buyer to enter into an amendment of any Lease upon assumption of such Lease
by Buyer (and Sellers shall reasonably cooperate with Buyer to the extent reasonably requested by
Buyer in negotiations with the landlords thereof), or (ii) to otherwise amend any Lease to the extent
such amendments would not adversely affect any Seller; provided that Sellers shall not be required
to enter into any such amendment if such amendment would result in an assumption by any Seller
of such Lease, unless such Lease will be assigned to Buyer at the time of such assumption.

                (b)     Attached hereto as Schedule 2.4(b) is a list, which list may be changed by
the Buyer in its sole discretion by adding or removing Executory Contracts or Leases or moving
Executory Contracts or Leases between subpart (i) and subpart (ii), from time to time, prior to the
Designation Deadline, identifying the Executory Contracts and Leases that Buyer has decided will
be assumed and assigned to Buyer on the Closing Date (the Executory Contracts and Leases listed
as of the Designation Deadline, the “Designated Contracts”). Subpart (i) of Schedule 2.4(b)
identifies Material Contracts that are also Designated Contracts and subpart (ii) of Schedule 2.4(b)
identifies Designated Contracts other than Material Contracts. In connection with the serving of
the Sale Motion, the applicable Seller shall file with the Bankruptcy Court and serve notice by first
class mail on all non-debtor counterparties to all Designated Contracts (such notice, an
“Assumption Notice”), and provide a copy of the same to Buyer, and at the Closing shall assume
and assign to, and Buyer shall accept the assignment of and assume such Executory Contract or
Lease. In connection with the serving of the Sale Motion, the applicable Seller shall file a notice
of rejection as of the Closing Date of every Executory Contract and Lease that is not a Designated
Contract (“Excluded Contracts”). The Assumption Notice and the notice of rejection of Excluded
Contracts shall be in form and substance acceptable to the Buyer.

             (c)      In connection with the assumption and assignment to Buyer of any
Designated Contract that is executory pursuant to this Section 2.4, the cure amounts, as determined

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by the Bankruptcy Court, if any (such amounts, the “Cure Amounts”), necessary to cure all
defaults, if any, and to pay all actual or pecuniary losses that have resulted from such defaults
under the Designated Contracts, including any amounts payable to any landlord under any Lease
that is a Designated Contract that relates to the period prior to the delivery of an Assumption Notice
with respect thereto, shall be paid by Buyer within ten (10) Business Days after the Closing.

               (d)    Sellers shall use their respective reasonable best efforts to obtain one or
more orders of the Bankruptcy Court, which order(s) shall be in form and substance reasonably
acceptable to Buyer, and shall reflect the terms and conditions set forth herein, to assume and
assign the Designated Contracts to Buyer on the terms set forth in this Section 2.4.

                (e)     The Parties shall use their commercially reasonable efforts, and cooperate
with each other to obtain any counterparty or third party consent (“Consent”) that is required to
assume and assign to Buyer any Designated Contract; provided, however, that none of the Parties
or any of their respective Affiliates shall be required to pay any consideration therefor other than
filing, recordation or similar fees, which shall be borne by Buyer. To the extent that any such
Consent is not obtained by the Closing Date, the applicable Seller so long as it is in existence, shall
use reasonable best efforts (at Buyer’s sole cost) during the term of such Designated Contract to
(i) provide to Buyer the benefits under such Designated Contract, (ii) cooperate in any reasonable
and lawful arrangement, including holding such Designated Contract in trust for Buyer pending
receipt of the required Consent, designed to provide such benefits to Buyer and (iii) enforce for
the account of Buyer any rights of such Seller under such Designated Contract, including the right
to elect to terminate such Designated Contract in accordance with the terms thereof upon the
written direction of Buyer. Buyer shall reasonably cooperate with Sellers in order to enable Sellers
to provide to Buyer the benefits contemplated by this Section 2.4(e).

                (f)      Notwithstanding the foregoing, a Contract shall not be a Designated
Contract hereunder and shall not be assigned to, or assumed by, Buyer to the extent that such
Contract (i) is rejected by a Seller in accordance with the terms hereof, deemed rejected under
Section 365 of the Bankruptcy Code, or terminated by the other party thereto or terminates or
expires in accordance with its terms on or prior to the Designation Deadline and is not continued
or otherwise extended prior to or upon assumption and assignment, or (ii) requires a Consent of
any Governmental Entity or other third party (other than, and in addition to, that of the Bankruptcy
Court) in order to permit the assumption and assignment by Seller to Buyer of such Contract
pursuant to Section 365 of the Bankruptcy Code, and no such Consent has been obtained prior to
the Closing. In addition, a Permit shall not be assigned to, or assumed by, Buyer to the extent that
such Permit requires a Consent of any Governmental Entity or other third party (other than, and in
addition to, that of the Bankruptcy Court) in order to permit the sale or transfer to Buyer of Sellers’
rights under such Permit, and no such Consent has been obtained prior to the Closing.

        2.5      Excluded Liabilities. Notwithstanding anything in this Agreement to the contrary,
Buyer shall not and does not assume, and shall be deemed not to have assumed and shall not be
obligated to pay, perform, discharge or in any other manner be liable or responsible for any
Liabilities of the Sellers or any predecessors of Sellers that are not Assumed Liabilities, whether
existing on the Closing Date or arising thereafter, whether absolute, accrued, contingent or
otherwise, whether due or to become due, known or unknown, matured or unmatured, direct or
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indirect, and Sellers shall be solely and exclusively liable for any and all such Liabilities, including,
without limitation, Liabilities relating to or arising out of any of the following (collectively, the
“Excluded Liabilities”):

              (a)     all Liabilities arising with respect to or relating to any of the Excluded
Assets, whether before, on or after the Closing;

              (b)    all Liabilities of Sellers for Indebtedness (including any intercompany
Indebtedness among the Sellers and their Affiliates) except as expressly set forth in Section 2.3(a);

               (c)     any Liability for (i) Taxes of Sellers or their Affiliates; (ii) any Pre-Closing
Taxes, including all Liabilities related to Property Taxes imposed upon or assessed directly against
the Acquired Assets attributable to the period before the Closing Date; (iii) Taxes relating to the
Excluded Assets or any other Excluded Liability, in each instance, for any period; and (iv) any
Transfer Taxes;

                (d)      all Liabilities of Sellers in respect of or relating to any Contract to which
any Seller is party or is otherwise bound that are not Assumed Contracts and all Liabilities arising
out of the rejection of any Excluded Contracts by Sellers;

               (e)     all Liabilities incurred or to be incurred by Sellers in connection with
negotiation, entry into and consummation of the transactions contemplated by the Transaction
Documents, including the consummation of the Transactions and any “success” fees, change of
control payments and any other payment obligations of Sellers payable as a result of the
consummation of the Transactions and the documents delivered in connection herewith;

                 (f)     all Liabilities of Sellers to its equity holders respecting dividends,
distributions in liquidation, redemptions of interests, option payments or otherwise, and any
liability of Sellers pursuant to any Contract with an Affiliate of Sellers;

             (g)    all Liabilities arising out of or relating to any business or property formerly
owned or operated by any of the Sellers, any Affiliate or predecessor thereof, but not presently
owned and operated by any of the Sellers;

              (h)    all Liabilities relating to Claims, actions, suits, arbitrations, litigation
matters, Proceedings or investigations (in each case whether involving private parties,
Governmental Entities, or otherwise) involving, against, or affecting any Seller, Acquired Asset,
the Regional Business, or any assets or properties of Sellers;

                (i)     all Liabilities arising under Environmental Laws;

                (j)     all accounts payable Liabilities;

                (k)    Liabilities with respect to employment or other provision of services,
compensation, severance, benefits or payments of any nature owed to any current or former
employee, officer, director, member, partner or independent contractor of any Seller or any ERISA
Affiliate (or any beneficiary or dependent of any such individual), whether or not employed by
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Buyer or any of its Affiliates after the Closing, that (i) arises out of or relates to the employment,
service provider or other relationship between any Seller or ERISA Affiliate and any such
individual, including but not limited to the termination of such relationship, (ii) arises out of or
relates to any benefit plan or (iii) arises out of or relates to events or conditions occurring on or
before the Closing Date;

               (l)    all Liabilities with respect to any terminated employees with respect to
sections 601 through 608 of ERISA and section 4980B of the IRC (also known as “COBRA”);

               (m)   all Liabilities (x) related to the WARN Act, to the extent applicable, with
respect to the termination of employment of Sellers’ employees and (y) with respect to the
termination of employment of the company “insiders” (as such term is defined under the
Bankruptcy Code);

               (n)     all Liabilities for fees, costs and expenses that have been incurred or that
are incurred or owed by Sellers or any other Person in connection with this Agreement or the
administration of the Bankruptcy Case (including all fees and expenses of professionals engaged
by the Sellers or any of their Affiliates) and administrative expenses and priority Claims accrued
through the Closing Date and all post-closing administrative wind-down expenses of the Sellers
pursuant to the Bankruptcy Code;

                 (o)    drafts or checks outstanding at the Closing that have been issued by the
Sellers;

              (p)    all Liabilities under any futures contracts, options on futures, swap
agreements or forward sale agreements;

                (q)   all Liabilities to any broker, investment banker, sale advisor, finder or agent
or similar intermediary for any broker’s fee, finders’ fee or similar fee or commission relating to
the Transactions; and

                 (r)    any and all other Liabilities, other than the Assumed Liabilities.

        2.6    Withholding. Buyer and its Affiliates shall be entitled to deduct and withhold from
any amounts payable pursuant to this Agreement such amounts as they reasonably determine that
they are required to deduct and withhold with respect to the making of such payment under the
Code and any provision of state, local or non-U.S. Tax Laws. To the extent that amounts are so
withheld and paid over to the applicable Tax Authorities, such withheld amounts shall be treated
for all purposes of this Agreement as having been paid to the Person entitled to receipt of such
payment.

                                       ARTICLE 3
                             CLOSING; CASH PURCHASE PRICE

           3.1   Closing; Transfer of Possession; Certain Deliveries.


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                (a)     The consummation of the Transactions (the “Closing”) shall take place on
the second Business Day after the satisfaction of all of the conditions set forth in Article 7 (other
than those conditions that by their nature are to be satisfied by actions taken at the Closing, but
subject to the satisfaction or the waiver thereof at the Closing by the Party entitled to waive that
condition) or on such other date as the Parties hereto shall mutually agree. The Closing shall be
held by electronic exchange of executed documents. The actual date of the Closing is herein called
the “Closing Date”.

                (b)    At the Closing, Sellers shall deliver, or cause to be delivered to Buyer:

                       (i)     the Trustee’s Conditions Certificate;

                       (ii)    the Officer’s Certificate;

                        (iii) a duly executed bill of sale, in a form mutually agreed to by the
Parties, transferring the Acquired Assets to Buyer;

                     (iv)    one or more Assignment and Assumption Agreements in form and
substance mutually acceptable to the Parties;

                       (v)     a copy of each Sale Order;

                      (vi)     such other assignments and other instruments of transfer or
conveyance as Buyer may reasonably request or as may otherwise be necessary to evidence and
effect sale, assignment, transfer, conveyance and delivery of the Acquired Assets to Buyer and
assumption of Assumed Liabilities by Buyer; and

                      (vii) an affidavit prepared in accordance with Treasury Regulations
Sections 1.1445-2 and dated as of the Closing Date attesting that each Seller is not a foreign person,
provided, however, that if Buyer does not receive a properly executed affidavit, as described above,
from any Seller then Buyer shall be permitted to withhold from any payments to be made pursuant
to this Agreement to such Seller any required withholding Tax under Section 1445 of the Code as
determined by Buyer and any such amounts withheld shall be treated for all purposes of this
Agreement as having been paid to Seller.

                (c)    At the Closing, Buyer shall deliver to Sellers:

                       (i)     a cash payment by wire transfer of immediately available funds to
an account set forth by Sellers of an aggregate amount equal to (A) the Cash Purchase Price minus
(B) the Deposit minus (C) the Tax Escrow Amount minus (D) the Property Tax Holdback Amount;

                      (ii)    to the extent payable on Closing, evidence that Cure Amounts (if
any) in respect of each Assumed Contract have been paid in accordance with the consent of the
applicable counterparty or as otherwise agreed upon by the Buyer and such counterparty;

                       (iii)   the Buyer’s Conditions Certificate;

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                       (iv)      a duly executed Assignment and Assumption Agreement; and

                        (v)     such other assignments and other instruments of transfer or
conveyance as Sellers may reasonably request or as may otherwise be necessary to evidence and
effect the sale, assignment, transfer, conveyance and delivery of the Acquired Assets to Buyer and
assumption of Assumed Liabilities by Buyer.

                (d)     At the Closing, Buyer shall deliver to the Trustee the Tax Escrow Amount
to be held in trust for the payment of any Transfer Taxes payable in connection with the
Transactions. If any funds remain in the Tax Escrow Amount following the full satisfaction of the
obligations set forth in the immediately preceding sentence, such amounts shall be released by the
Trustee to the Sellers.

                 (e)   At the Closing, Buyer shall deliver to each Continuing Employee an offer
letter offering such Continuing Employee employment with the Buyer or one of its Affiliates.

               (f)  At the Closing, Buyer shall deliver to Encina a duly executed waiver letter,
waiving any Claims Buyer may have acquired pursuant to Section 2.1(x) to the extent such Claims
are against Encina.

                (g)    At the Closing, Buyer shall deduct from the Cash Purchase Price and hold
in trust the Property Tax Holdback Amount, pursuant to Section 3.1(c)(i), for the payment by the
Buyer of any accrued and unpaid Property Taxes imposed upon or assessed directly against the
Acquired Assets allocable for a taxable period (or portion thereof) ending on or before the Closing
Date. If any portion of the Property Tax Holdback Amount remains following the full payment of
the obligations set forth in the immediately preceding sentence, such remaining portion shall be
delivered by the Buyer to the Trustee by wire transfer of immediately available funds to an account
designated by the Trustee.

        3.2     Consideration.

              (a)    Cash Purchase Price. The aggregate cash consideration for the Acquired
Assets (the “Cash Purchase Price”) shall be $1,250,000 (One Million Two Hundred and Fifty
Thousand Dollars).

                 (b)   Purchase Price. The total consideration for the Acquired Assets payable by
the Buyer to the Sellers (the “Purchase Price”) shall be the aggregate of (i) the Cash Purchase
Price, (ii) the Cure Amounts (if any), and (iii) the value of the Assumed Liabilities.

        3.3     Deposit. By no later than two (2) Business Days after the date that the Trustee files
the Sale Motion, and provided the Trustee’s Operation Orders have been entered into and are not
subject to stay, Buyer shall pay the Trustee, a deposit in the aggregate amount of $125,000 (One
Hundred Twenty-Five Thousand Dollars) (the “Deposit”), to be held by the Trustee in trust. The
Deposit (together with all accrued investment income thereon) shall be released by the Trustee to
either Buyer or Sellers, as applicable, as follows:


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               (a)     if the Closing shall occur, the Deposit and all accrued investment income
thereon shall be transferred by the Trustee to the Sellers;

                (b)     if this Agreement is terminated by Sellers pursuant to Section 8.1(h), the
Deposit, together with all accrued investment income thereon, shall be released by Trustee to
Sellers within five (5) Business Days of such termination; or

               (c)     if this Agreement is terminated for any reason (other than a termination
pursuant to Section 8.1(h)), the Deposit, together with all accrued investment income thereon, shall
be returned by Trustee to Buyer within five (5) Business Days of such termination.

        3.4      Allocation of Purchase Price. (i) The Purchase Price shall be allocated among
Sellers and (ii) the amount allocated to the Acquired Assets sold by each such Seller shall be further
allocated among such Acquired Assets in accordance with Section 1060 of the Code and the
Treasury Regulations promulgated thereunder or any similar provision of state, local or foreign
Law as applicable (the “Allocation”). The Allocation shall be delivered by Buyer to the Sellers
within ninety (90) days after the Closing. The Sellers will have the right to deliver reasonable
objections to the Allocation within thirty (30) days after Buyer’s delivery thereof, which objections
shall be set forth in writing by the Sellers in reasonable detail. Buyer shall consider any such
objections in good faith. Buyer and the Sellers shall file all Tax Returns (including, but not limited
to, Internal Revenue Service Form 8594) consistent with the Allocation (taking into account any
revisions made by Buyer in response to comments by the Sellers) absent a change in Law. Neither
Buyer nor the Sellers shall take any position or permit any of its Affiliates to take any position
inconsistent with the final Allocation in the preparation of financial statements or in the course of
any audit by any Tax Authority, Tax review or Tax proceeding related to any Tax Returns, unless,
and then only to the extent, otherwise required by applicable Law, provided, however, that nothing
contained herein shall prevent Buyer or the Sellers from settling any proposed deficiency or
adjustment by any Tax Authority based upon or arising out of the Allocation, and neither Buyer
nor the Sellers shall be required to litigate before any court any proposed deficiency or adjustment
by any Tax Authority challenging such Allocation. Buyer and the Sellers shall promptly notify and
provide the other with reasonable assistance in the event of an examination, audit, or other
proceeding relating to Taxes regarding the Allocation of the Purchase Price and the amount of the
Assumed Liabilities pursuant to this Section 3.4. Notwithstanding any other provisions of this
Agreement, the foregoing agreement shall survive the Closing Date without limitation.



                               ARTICLE 4
           REPRESENTATIONS AND WARRANTIES REGARDING SELLERS

       Except as set forth in the Disclosure Schedules, Sellers jointly and severally hereby
represent and warrant to Buyer, as of the Agreement Date as follows:

        4.1     Organization; Authority; Consents; Conflicts.

               (a)     Each Seller is duly organized, validly existing, and in good standing under
the Laws of the State of its formation.
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               (b)     Each Seller has all requisite corporate or limited liability company power
and authority, as applicable, to own, lease and operate its assets and to carry on the Regional
Business as currently conducted.

                (c)      Subject to the Sale Order having been entered into by the Bankruptcy Court,
the execution, delivery and performance by each Seller of any Transaction Document to which
such Seller is (or will become at Closing) a party, and the consummation of the Transactions, does
not and will not (i) conflict with or result in any breach of any provision of its certificate of
incorporation or bylaws or comparable governing documents or (ii) result in a violation of any
Law or Order applicable to it.

        4.2      Litigation; Orders. Except for the Bankruptcy Case and any adversary proceedings
or contested motions commenced in connection therewith, or as set forth on Schedule 4.2, there is,
no Claim, Proceeding or Order pending, outstanding or, to Sellers’ Knowledge, threatened against
either Sellers, the Acquired Assets or the Assumed Liabilities that, if adversely determined, would
be material to the Regional Business, the Acquired Assets or the Assumed Liabilities or that would
materially impair Sellers' ability to consummate the Transactions.

        4.3     Compliance with Laws; Permits. Sellers are in compliance with all applicable Laws
related to the Acquired Assets in all material respects, and the Sellers have not received any written
notice of any alleged material violation of applicable Law from any Governmental Entity or other
Person. The Sellers hold all material Permits necessary or required pursuant to applicable Law for
the operation of the Acquired Assets as presently conducted and for the ownership or operation of
the Acquired Assets. The Sellers have not received written notice of any material default under
any Permit related to the Acquired Assets and no material violations exist in respect of such
Permits.

        4.4     Real Property.

                 (a)     Schedule 4.4(a) contains a list and brief description of all Leased Real
Property held or used for, or necessary to the operation of the Regional Business. Sellers have
made available true and complete copies of all leases with respect to such Leased Real Property
(individually, a “Lease” and collectively, the “Leases”) to Buyer. Other than as set forth on
Schedule 4.4(a), Sellers are not in breach of any material term or in “default” under any Lease and,
to Sellers’ Knowledge, no party to any Lease has given Sellers written notice of or made a claim
with respect to any breach or default thereunder. To Sellers’ Knowledge, there are no conditions
that currently exist or with the passage of time will (i) result in a default or breach of any material
term by any party to a Lease or (ii) give rise to the right of the lessor to accelerate the obligations
thereunder or modify the terms thereof. To Sellers’ Knowledge, other than as noted on
Schedule 4.4(a), none of the Leased Real Property is subject to any sublease or grant to any Person
of any right to the use, occupancy or enjoyment of the Leased Real Property or any portion thereof
that would materially impair the use of the Leased Real Property in the operation of the Regional
Business. The Leased Real Property is not subject to any Liens (other than Permitted Liens). The
Leased Real Property is not subject to any use restrictions, exceptions, reservations or limitations
which in any material respect interfere with or impair the present and continued use thereof in the
Ordinary Course of Business. There are no pending or, to Sellers’ Knowledge, threatened
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condemnation proceedings or other Claims relating to any of the Leased Real Property. The Leases
that are Acquired Assets will continue to be legal, valid, binding, enforceable and in full force and
effect on the same material terms immediately following the consummation of the Transactions.

                (b)     Schedule 4.4(b) sets forth a true, correct and complete list of all Owned Real
Property, specifying the street address, the current owner and the current use of each parcel of
Owned Real Property in which any Seller has any title interest and which is related to, used, useful
or held for use in the conduct of the Regional Business (the “Owned Real Property”). Except for
Permitted Liens, Sellers have good and marketable title in the Owned Real Property set forth on
Schedule 4.4(b). To Sellers’ Knowledge, other than as noted on Schedule 4.4(b), none of the
Owned Real Property is subject to any lease or grant to any Person of any right to the use, purchase,
occupancy or enjoyment of such Owned Real Property or any portion thereof required to conduct
the Regional Business. Except for Permitted Liens, the Owned Real Property is not subject to any
Liens or to any use restrictions, exceptions, reservations or limitations, which in any material
respect interfere with or impair the present and continued use thereof in the Ordinary Course of
Business and in the same manner after the Closing as conducted by Sellers in the twelve months
prior to Closing. There are no pending or, to Sellers’ Knowledge, threatened condemnation
proceedings or other Claims relating to any of the Owned Real Property.

         4.5    Environmental Matters. Except as set forth on Schedule 4.5, (a) with respect to the
Regional Business and the Acquired Assets, there is no pending or, to Sellers’ Knowledge,
threatened suit, verbal or written notice, investigation, claim, litigation, proceeding or other Claim
by any Governmental Entity or any other Person that could reasonably be expected to result in any
material Environmental Liabilities and Obligations, and no Seller is subject to, or in default of,
any Order applicable to the Regional Business or the Acquired Assets and issued under or pursuant
to any Environmental Law, (b) there has been no Release of Hazardous Materials in connection
with the Regional Business, or at, from, on or under the Owned Real Property or the Leased Real
Property that could reasonably be expected to result in any material Environmental Liabilities and
Obligations, or require any material Remedial Action pursuant to any Environmental Law, (c)
Sellers have obtained and are in compliance with and, to the extent applicable, have filed timely
applications to renew, all material Permits that are required pursuant to any Environmental Law
for the operation of the Acquired Assets and all such Permits are valid and in full force and effect,
and no Claim is pending or, to the Knowledge of Sellers, threatened, which seeks to revoke, limit
or otherwise affect any such Permit; (d) none of the Sellers has any material financial assurance,
escrow, bonding or similar obligation under or pursuant to any Environmental Law, and (e) Sellers
have delivered or made available to Buyer copies of the following non-privileged records in
Sellers’ or its representatives’ possession, custody or control: (i) all material Permits issued
pursuant to any Environmental Law for the Regional Business or the operation of the Acquired
Assets; (ii) all material documents with respect to any pending or threatened material action,
litigation, proceeding or other Claim relating to or bearing on the Regional Business or the
Acquired Assets and arising under or relating to any Environmental Law, or with respect to any
Environmental Liabilities and Obligations; and (iii) all material written environmental reports,
audits and assessments (including Phase I environmental site assessment reports) for the Regional
Business and the Acquired Assets (including the Owned Real Property and Leased Real Property).

        4.6     Suppliers; Customers.
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                (a)      Suppliers.

                       (i)     Schedule 4.6(a) sets forth a complete and accurate list of (A) the
top ten (10) suppliers (excluding utilities) of the Sellers that accounted for the most expenses of
the Regional Business for the twelve month period ended April 30, 2020 (the “Top Suppliers”)
and (B) with respect to each such Top Supplier the aggregate amount of such expenses.

                       (ii)    Since April 1, 2020, (A) no Top Supplier has terminated or
adversely modified the amount, frequency or terms of the business such Top Supplier conducts
with the Sellers and (B) the Sellers have not received any notice, nor do the Sellers have any
Knowledge, that any Top Supplier intends to terminate or adversely modify the amount, frequency
or terms of the business such Top Supplier conducts with the Sellers. The Sellers do not have any
outstanding material disputes concerning the products and/or services provided by any Top
Supplier, and the Sellers have no Knowledge of any material dissatisfaction on the part of any Top
Supplier.

                (b)      Customers.

                       (i)     Schedule 4.6(b) sets forth a complete and accurate list of (A) the
top ten (10) customers of the Sellers that accounted for the most revenues of the Regional Business
for the twelve month period ended April 30, 2020 (the “Top Customers”) and (B) with respect to
each such Top Customer the aggregate amount of such revenues.

                      (ii)   Since April 1, 2020, (A) no Top Customer has terminated or
adversely modified the amount, frequency or terms of the business such Top Customer conducts
with the Sellers and (B) the Sellers have not received any notice, nor do the Sellers have any
Knowledge, that any Top Customer intends to terminate or adversely modify the amount,
frequency or terms of the business such Top Customer conducts with the Sellers. The Sellers do
not have any outstanding material disputes concerning the products and/or services provided by
any Top Customer, and the Sellers have no Knowledge of any material dissatisfaction on the part
of any Top Customer.

        4.7     RESERVED.

        4.8     Contracts. Schedule 4.8 sets forth a complete list, as of the date hereof, of (i) all
Contracts to which either Seller is a party and that are used in or related to the Regional Business
or the Acquired Assets, and (ii) the estimated Cure Amounts for each such Contract (and such
other commercial information related to the Contracts listed thereon as shall be reasonably
requested by Buyer), and each of the Contracts set forth on Schedule 4.8 is in full force and effect
and is a valid and binding obligation as to Seller and, to the knowledge of Seller, the other parties
thereto, unamended by oral or written agreement, in each case except as such enforceability may
be limited by bankruptcy, insolvency, reorganization, moratorium, fraudulent transfer or other
laws (whether statutory, regulatory or decisional), now or hereafter in effect, relating to or affecting
the rights of creditors generally or by equitable principles (regardless of whether considered in a
proceeding at law or in equity).

        4.9     Taxes.
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               (a)    All Tax Returns required to be filed by Sellers in respect of the Acquired
Assets have been duly filed on a timely basis or within valid and appropriate extensions of time,
and all such Tax Returns were when filed, and continue to be, correct and complete in all material
respects. All Taxes (whether or not shown on any Tax Return) owed by Sellers relating to the
Acquired Assets have been timely paid. There are no Liens with respect to Taxes imposed on the
Acquired Assets other than Permitted Liens.

                (b)     Sellers have complied with all Laws applicable to the Acquired Assets
relating to the payment and withholding of Taxes, and have duly and timely withheld and paid
over to the appropriate Tax Authority all amounts required to be so withheld and paid under all
such Laws. Sellers have not given nor requested extensions, waived or requested to waive any
statute of limitations in respect of Taxes associated with the Acquired Assets which waiver is
currently in effect. Sellers have not deferred payment of Sellers’ portion of payroll taxes otherwise
required to be deposited and paid for the period beginning March 27, 2020 through the Closing
Date under section 2302 of the Coronavirus, Aid, Relief and Economic Security Act (P.L. 116-
136).

                (c)     There is no Proceeding pending or threatened against Sellers in respect of
the Acquired Assets by any Tax Authority, including for the assessment or collection of Taxes.
No deficiencies for any Taxes have been proposed, asserted, threatened or assessed against Sellers
in respect of the Acquired Assets by any Tax Authority that have not been paid, resolved or settled,
and Sellers have not agreed to any requests for waivers of the time to assess or collect any such
Taxes. No Tax Authority with which Sellers do not file a particular Tax Return or to which Sellers
do not pay Taxes, in each case in respect of the Acquired Assets, has claimed that Sellers are or
may be subject to taxation by that Tax Authority. No issue has been raised by a Tax Authority in
any prior examination of Sellers relating to the Acquired Assets, which, by application of the same
or similar principles, could reasonably be expected to result in a material proposed deficiency for
any subsequent taxable period.

                (d)    Schedule 4.9 lists: (i) all jurisdictions in which Sellers pay Taxes and/or
have a duty to file Tax Returns, in each case in respect of the Acquired Assets; and (ii) all types of
Tax Returns filed by or on behalf of Sellers that relate in whole or in part to the Acquired Assets.

                (e)    Sellers have collected all sales, use, value-added, and similar Taxes in
respect of the Acquired Assets required to be collected, and has remitted, or will remit, on a timely
basis such amounts to the appropriate Tax Authority. Sellers have properly requested, received
and retained all necessary exemption certificates and other documentation supporting any claimed
exemption or waiver of Taxes in respect of the Acquired Assets on sales or similar transactions as
to which it would otherwise have been obligated to collect or withhold such Taxes.

        4.10 Brokers’ Fees and Commissions. No Seller nor any of its Affiliates, members,
managers, directors, officers, employees or agents has employed or has an liability to any
investment banker, broker, finder, agent or similar intermediary in connection with this
Agreement, the other Transaction Documents, or the Transactions contemplated hereby, and no
broker, finder, agent or similar intermediary is entitled to any broker’s fee, finder’s fee, or similar
fee or commission for which Buyer could become liable or obligated to pay.
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                                    ARTICLE 5
                     REPRESENTATIONS AND WARRANTIES OF BUYER

        Except as set forth on the Disclosure Schedules, Buyer hereby represents and warrants to
Sellers, as of the Agreement Date, and as of the Closing Date, as follows:

        5.1    Organization. Buyer is duly organized, validly existing and in good standing under
the Laws of the jurisdiction of its organization. Buyer has all necessary corporate power and
authority to own and operate its properties, to lease the property it operates under lease and to
conduct its business.

        5.2     Due Authorization, Execution and Delivery; Enforceability. Buyer has all requisite
corporate power and authority to execute and deliver this Agreement and the other Transaction
Documents to which it is (or will become at Closing) a party and to perform its obligations
hereunder and thereunder (subject to, in the case of the obligation to consummate the Transactions,
to the granting of the Sale Order). The execution, delivery and performance by Buyer of this
Agreement and the other Transaction Documents to which it is (or will become at Closing) a party
and the consummation of the Transactions have been duly and validly authorized by all requisite
corporate action on the part of Buyer and no other corporate action on the part of Buyer is necessary
to authorize this Agreement and such other Transaction Documents and to consummate the
Transactions (subject, in the case of the obligation to consummate the Transactions, to the granting
of the Sale Order). This Agreement and the other Transaction Documents to which Buyer is (or
will become at Closing) party have been (or will be) duly and validly executed and delivered by
Buyer and (assuming the due authorization, execution and delivery by all parties hereto and
thereto, other than Buyer) constitute (or will constitute) valid and binding obligations of Buyer
enforceable against Buyer in accordance with their terms (subject to, in the case of the obligation
to consummate the Transactions, to the granting of the Sale Order), in each case except as
enforceability may be limited by applicable bankruptcy, insolvency or similar Laws affecting the
enforcement of creditors’ rights generally or by equitable principles relating to enforceability.

       5.3     Governmental Approvals. No notice to, consent, approval or authorization of or
designation, declaration or filing with any Governmental Entity is required by Buyer with respect
to Buyer’s execution and delivery of any Transaction Document to which it is (or will become at
Closing) a party or the consummation of the Transactions, except (a) the Sale Order having been
entered into by the Bankruptcy Court and (b) any consent, approval or authorization of or
designation, declaration or filing with any Governmental Entity the failure of which to be made or
obtained would not, individually or in the aggregate, materially affect the ability of the Buyer to
consummate the Transactions.

        5.4     No Conflicts. The execution, delivery and performance by Buyer of any
Transaction Document to which Buyer is (or will become at Closing) a party and the
consummation of the Transactions, does not and will not (a) conflict with or result in any breach
of any provision of its certificate of incorporation or bylaws or comparable governing documents,
(b) conflict with or result in the breach of the terms, conditions or provisions of or constitute a
default (or an event which with notice or lapse of time or both would become a default) under, or
give rise to any right of termination, acceleration or cancellation under, any material Contract of
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Buyer, or (c) result in a violation of any Law or Order applicable to it, except, in the case of clauses
(b) and (c), as would not, individually or in the aggregate, materially affect the ability of the Buyer
to consummate the Transactions.

       5.5    Sufficiency of Funds. Buyer has sufficient funds to enable it to make payment of
the Cash Purchase Price and consummate the transactions contemplated by this Agreement.

        5.6     Condition of Business. Buyer hereby acknowledges and agrees that
notwithstanding anything expressed or implied herein to the contrary, except as expressly set forth
in Article 4 of this Agreement, Sellers, including each of their directors, officers, employees,
agents, shareholders, Affiliates, consultants, counsel, accountants or and other representatives,
including the Trustee, make no express or implied representations or warranties whatsoever,
including any representation or warranty as to physical condition or value of any of the Acquired
Assets or the future profitability or future earnings performance of the Regional Business. Buyer
will accept the Acquired Assets at the Closing and assume the Assumed Liabilities at the Closing
“AS IS,” “WHERE IS” AND “WITH ALL FAULTS”.

                                      ARTICLE 6
                                COVENANTS OF THE PARTIES

        6.1    Conduct Pending the Closing. During the period from the date of this Agreement
and continuing until the earlier of the termination of this Agreement in accordance with its terms
and the Closing (the “Interim Period”), except for the filing of the Bankruptcy Cases and subject
to the provisions of the New Money Financing Agreement, the Sellers shall use commercially
reasonable efforts to (x) operate the Regional Business in the Ordinary Course of Business and (y)
(A) preserve intact their respective business organizations, (B) maintain the Regional Business and
the Acquired Assets (normal wear and tear excepted), (C) keep available the services of their
respective officers and employees, (D) maintain satisfactory relationships with licensors,
licensees, suppliers, contractors, distributors, consultants, customers, vendors and others having
business relationships with Sellers in connection with the operation of the Regional Business,
(E) continue to operate the Regional Business and Acquired Assets in all material respects in
compliance with all Laws applicable to the Regional Business and Sellers and (F) not remove or
permit to be removed from any building, facility, or real property that constitute Acquired Assets
any asset, equipment, machinery or any Inventory (other than in connection with the sale of
Inventory in the Ordinary Course of Business or the removal of equipment to drill sites in the
Ordinary Course of Business).

        6.2     Access. Subject to applicable Law, during the Interim Period, the Sellers, (a) shall
give Buyer and its Representatives reasonable access during normal business hours to the offices,
properties, officers, employees, accountants, auditors, counsel and other Representatives, books
and records of the Sellers to the extent relating to the Acquired Assets, as Buyer reasonably deems
necessary in connection with effectuating the transactions contemplated by this Agreement,
(b) shall furnish to Buyer and its Representatives such financial, operating and property data to the
extent relating to the Regional Business and other information as Buyer and its Representatives
reasonably request and (c) shall cooperate reasonably with Buyer in its investigation of the
Acquired Assets. Buyer agrees that any on-site inspections of any leased real property shall be
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conducted in the presence of the Sellers or their Representatives. All inspections shall be conducted
so as not to interfere unreasonably with the use of any of the leased real property by the Sellers.

        6.3    Physical Inventory. Without limiting Section 6.2, the Sellers (a) shall give Buyer
and its Representatives reasonable access to the offices, properties, plants, warehouses, employees,
accountants and auditors of the Sellers in order to conduct a physical inventory of the Inventory,
Owned Real Property and Leased Real Property prior to the Closing Date and (b) shall cooperate
reasonably with Buyer in its investigation of the Inventory, Owned Real Property and Leased Real
Property.

        6.4     Tax Matters.

               (a)     All Transfer Taxes arising out of the transfer of the Acquired Assets
pursuant to this Agreement shall be borne by the Sellers. The Sellers shall file all necessary
documentation and returns with respect to such Transfer Taxes when due, and shall promptly,
following the filing thereof, furnish a copy of such return or other filing and a copy of a receipt
showing payment of any such Transfer Taxes to Buyer. Sellers shall pay all such Transfer Taxes
when due.

               (b)     Each of Buyer, on the one hand, and Sellers, on the other hand, shall
cooperate fully, as and to the extent reasonably requested, in connection with the preparation and
filing of Tax Returns and any audit, litigation or other proceeding with respect to Taxes and shall
furnish or cause to be furnished to the other, upon request, as promptly as practicable, such
information and assistance relating to the Acquired Assets as is reasonably necessary for filing of
all Tax Returns, including any Claim for exemption or exclusion from the application or imposition
of any Taxes, the preparation for any audit by any Tax Authority and the prosecution or defense
of any Proceeding relating to any Tax Return.

        6.5     Approvals; Commercially Reasonable Efforts; Notification; Consent.

                   (a)    Subject to the terms and conditions of this Agreement, each Party shall use
its commercially reasonably efforts to take, or cause to be taken, all actions, and to do, or cause to
be done, and to assist and cooperate with the other Parties in doing, all things necessary, proper or
advisable under applicable Law to consummate and make effective the Transactions. Without
limiting the generality of the foregoing, the Parties will use their respective commercially
reasonable efforts to (i) take all actions necessary to transfer the Acquired Assets, (ii) take all
actions necessary to cause all conditions set forth in Article 7 to be satisfied as soon as practicable,
(iii) lift or rescind any existing Order preventing, prohibiting or delaying the consummation of the
Transactions, (iv) effect all necessary registration, applications, notices and other filings required
by applicable Law, including, as applicable to Sellers, under the Bankruptcy Code, and (v) execute
and deliver any additional instruments necessary to fully carry out the purposes of this Agreement;
provided, however, that that nothing in this Agreement, including this Section 6.5 shall require
Buyer to (A) consent to any material condition or material concession required by any
Governmental Entity or third party; (B) consent to any divestitures of any material Subsidiary or
material assets of Buyer or its Affiliates or accept any material limitation on or material condition
on the manner in which any of the foregoing conducts their business; (C) pay any material amounts

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required or requested by any Governmental Entity; or (D) accept an agreement to hold separate
any material portion of any business or of any material assets of any material Subsidiary of Buyer
or its Affiliates. Buyer and the Sellers shall not, and shall cause their respective Affiliates not to,
take any action that would reasonably be expected to prevent or materially delay the approval of
any Governmental Entity of any of the filings referred to in this Section 6.5(a).

               (b)    Each Party shall (i) respond as promptly as reasonably practicable to any
inquiries or requests for additional information and documentary material received from any
Governmental Entity relating to the matters described in Section 6.5(a) and (ii) not enter into any
agreement with the any Governmental Entity pursuant to which such Party agrees not to
consummate the Transactions.

                 (c)     In connection with and without limiting the foregoing, each Party shall,
subject to applicable Law and except as prohibited by any applicable representative of any
applicable Governmental Entity: (i) promptly notify the other Parties of any material written
communication to that Party from any Governmental Entity concerning this Agreement or the
Transactions, and permit the other Parties to review in advance (and to consider any comments
made by the other Parties in relation to) any proposed written communication to any of the
foregoing; (ii) not participate in or agree to participate in any substantive meeting, telephone call
or discussion with any Governmental Entity in respect of any filings, investigation or inquiry
concerning this Agreement or the Transactions unless it consults with the other Parties in advance
and, to the extent permitted by such Governmental Entity, gives the other Parties the opportunity
to attend and participate in such meeting, telephone call or discussion; and (iii) subject to the
solicitor-client or attorney-client and similar applicable privileges, furnish outside legal counsel
for the other Parties with copies of all correspondence, filings, and written communications (and
memoranda setting forth the substance thereof) between such Party and its Affiliates and their
respective Representatives, on the one hand, and any Governmental Entity or its members or their
respective staffs, on the other hand, with respect to this Agreement and the Transactions; provided,
however, that any such Party may limit the disclosure of filings to protect confidential information,
including limiting dissemination of filings to an “outside counsel only” basis.

         6.6    Further Assurances. The Parties agree to (i) furnish upon request to each other such
further information, (ii) execute, acknowledge and deliver to each other such other documents and
(iii) do such other acts and things, all as the other Party may reasonably request for the purpose of
carrying out the intent of this Agreement and the Transaction Documents.

        6.7     Bankruptcy Actions and Court Filings.

               (a)    Sellers shall file motions, which shall be in form and substance acceptable
to Buyer, seeking entry of the (i) the Operating Order and (ii) the Post-Petition Financing Order
within two (2) Business Days following the Petition Date.

               (b)    Buyer and Sellers acknowledge that this Agreement and the Transactions
contemplated hereby are subject to the Trustee agreeing to pursue the consummation of the
Transaction, including the filing of the Sale Motion and the entry of the Sale Order. In the event


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of any discrepancy between this Agreement and the Sale Motion and the Sale Order, the Sale
Motion and the Sale Order shall govern.

                (c)    The Sellers shall, within seven (7) days following the Petition Date, file
with the Bankruptcy Court the Sale Motion and otherwise use their commercially reasonable
efforts to have the Bankruptcy Court enter the Sale Order as promptly as practicable.

       6.8     Expense Reimbursement. If this Agreement is (a) terminated pursuant to
Section 8.1(b)(ii), Section 8.1(b)(iii), Section 8.1(c), Section 8.1(d), Section 8.1(e), Section 8.1(f),
Section 8.1(g), Section 8.1(i), Section 8.1(k), Section 8.1(l), Section 8.1(m), Section 8.1(n) or
Section 8.1(o) and (b) at any time thereafter, an Alternative Transaction is consummated, then
Buyer shall be deemed to have earned the Expense Reimbursement, which shall be paid in cash
by wire transfer of immediately available funds to an account designated by Buyer, out of the
proceeds of such Alternative Transaction, without further order of the Bankruptcy Court,
contemporaneously with or as soon as reasonably practicable following the consummation of such
Alternative Transaction. For greater certainty, the payment of the Expense Reimbursement to the
Buyer shall be in addition to the return of the Deposit in accordance with Section 3.3(c).

         6.9    Preservation of Books and Records. During the pendency of the Bankruptcy Case,
Buyer and (if applicable) Sellers and the Trustee shall provide to Sellers and their respective
Affiliates and Representatives (after reasonable notice and during normal business hours and
without undue interference to the business operations of Buyer, and at the Sellers sole cost and
expense) reasonable access to, including the right to make copies of, all books and records included
in and otherwise related to the Acquired Assets, to the extent necessary to permit the Sellers to
determine any matter relating to its rights and obligations hereunder or to any period ending on or
before the Closing Date (for example, for purposes of any Tax or accounting audit or any claim or
litigation matter, but not for any dispute or claim between Buyer and Sellers in connection with
this Agreement, the Transaction Documents or otherwise), for periods prior to the Closing and
shall preserve such books and records until the earlier of (i) such period as shall be consistent with
Buyer’s records retention policy in effect from time to time, (ii) the retention period required by
applicable Law or (iii) the termination of the Bankruptcy Case. Such access shall include access
to any information in electronic form to the extent reasonably available. Buyer acknowledges that
Sellers have the right to retain originals or copies of all of books and records included in or related
to the Acquired Assets for periods prior to the Closing.

        6.10 Notification of Certain Matters. Sellers will promptly notify Buyer of: (i) any
written notice or other communication from any Person alleging that the consent of such Person is
or may be required in connection with the Transactions (including with respect to the transfer of
personal information); (ii) any written notice or other communication from any Governmental
Entity (other than the Bankruptcy Case) related to or in connection with the Transactions; and (iii)
promptly upon discovery thereof, any material variances from, or the existence or occurrence of
any event, fact or circumstance arising after the execution of this Agreement that would reasonably
be expected to cause any of the representations and warranties contained in Article 4 to be untrue
or inaccurate in a manner that would reasonably be expected to cause the conditions set forth in
Section 7.1 not to be satisfied.

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        6.11 Confidentiality. Upon and for a period of one (1) year following the Closing (or
indefinitely in the case of trade secrets), Sellers shall use commercially reasonable efforts to keep
confidential all non-public information regarding the Acquired Assets, except and to the extent
such public disclosure as Sellers and their counsel may reasonably determine to be required under
any applicable Law or Order (provided that Sellers will provide Buyer with prior written notice of
any such disclosure to the extent permitted by applicable Law or Order).

       6.12 Contractors. Sellers shall use commercially reasonable efforts to cause the
contractors set forth on Schedule 6.12 to continue to support the Regional Business, consistent
with past practice, from and after the Agreement Date until the Closing.

                                    ARTICLE 7
                     CONDITIONS TO OBLIGATIONS OF THE PARTIES

        7.1     Conditions Precedent to Obligations of Buyer. The obligation of Buyer to
consummate the Transactions is subject to the satisfaction (or written waiver by Buyer in Buyer’s
sole discretion) at or prior to the Closing Date of each of the following conditions:

              (a)    No Order. No court or other Governmental Entity has issued, enacted,
entered, promulgated or enforced any Law or Order (that is final and non-appealable and that has
not been vacated, withdrawn or overturned) restraining, enjoining or otherwise prohibiting the
Transactions.

                (b)    Accuracy of Representations and Warranties. The representations and
warranties of Sellers set forth in Article 4 shall be true and correct (disregarding all qualifications
or limitations as to “materiality” and words of similar import set forth therein) in all material
respects as of the Agreement Date and at and as of the Closing as though made at and as of the
Closing (in each case, except to the extent expressly made as of another date, in which case as of
such date as if made at and as of such date).

              (c)     Sellers Performance of Obligations. Sellers shall have performed in all
material respects all obligations and agreements contained in this Agreement required to be
performed by them on or prior to the Closing Date.

                 (d)    Trustee's Conditions Certificate. Buyer shall have received from the
Trustee a certificate (the “Trustee's Conditions Certificate”), dated the Closing Date, certifying
that all of the conditions specified in this Section 7.1 (other than the condition set forth in Section
7.1(b)) have been fulfilled and/or waived.

                 (e)    Officer’s Certificate. Buyer shall have received from the Sellers a
certificate, dated the Closing Date, of an executive officer of each Seller to the effect that, to the
best of such officer’s knowledge, all of the conditions specified in Section 7.1(b) been fulfilled
and/or waived (the “Officer’s Certificate”).

              (f)      Inventory. The Closing Date Inventory shall not be less than 90% of the
Target Inventory.

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                (g)   Post-Petition Trade Payables. All Post-Petition Trade Payables shall have
arisen in the Ordinary Course of Business, and no such Post-Petition Trade Payables shall be
delinquent in its payment in accordance with its terms.

               (h)    Environmental Studies. The Buyer shall have received Phase I
environmental site assessment reports with respect to each of the Regional Business Warehouses
(the “Phase I Reports”) and such Phase I Reports shall have been completed within three (3) weeks
of the Agreement Date and be satisfactory to Buyer in its sole discretion.

               (i)     ABL Facility and New Money Financing Agreement Advances. Aggregate
advances under the ABL Facility and New Money Financing Agreement immediately prior to the
Closing (and taking into any account any amounts to be funded at the Closing) are not greater than
85% of the Eligible Accounts Receivable (as such term is defined in the ABL Facility and/or the
New Money Financing Agreement, as applicable) inclusive of any amounts funded or committed
to be funded by the Buyer thereunder.

               (j)     Agreement of the Trustee. The Trustee shall have agreed to undertake and
perform in all material respects all obligations and agreements contained in this Agreement
(including the obligations set forth in Section 6.8) required to be performed by the Sellers or the
Trustee no later than two (2) Business Days following the Petition Date.

               (k)    Sale Order. The Sale Order shall have been entered and shall not be subject
to a stay pending appeal.

              (l)     Material Contracts. All consents necessary to assign the Material Contracts
to the Buyer shall have been obtained and all Material Contracts shall have been assumed and
assigned to Buyer at Closing.

               (m)    Cure Amounts. The aggregate Cure Amounts related to the Material
Contracts on the Closing Date shall not exceed $1,000,0000 (One Million Dollars).

                (n)    Northeast Rig Count. There shall be no less than thirteen (13) drilling rigs
actively servicing well sites that are operated by the Regional Business (excluding the portion of
the Regional Business conducting operations out of the Midland Solid Control Warehouse) on the
Closing Date.

               (o)     Midland Solid Control Rig Count. There shall be no less than eight (8) solid
control rigs actively servicing well sites that are operated by the Regional Business out of the
Midland Solid Control Warehouse on the Closing Date.

              (p)    Trustee’s Operation Orders. The Bankruptcy Court shall have entered the
Trustee’s Operation Orders no later than five (5) days following the Petition Date.

              (q)    Property and Casualty Insurance. On or before June 1, 2020, the Property
and Casualty Insurance Policies shall have been renewed and extended beyond June 1, 2020, in
form and substance acceptable to Buyer.

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                 (r)    Encina Exit Financing. Buyer shall have received the financing on the terms
set forth in the Encina Exit Financing Commitment Letter, provided that the condition forth in this
Section 7.1(r) shall only apply so long as Buyer shall have performed in all material respects its
obligations under such financing.

        7.2     Conditions Precedent to the Obligations of the Sellers. The obligation of the Sellers
to consummate the Transactions is subject to the satisfaction (or written waiver by the Sellers) at
or prior to the Closing Date of each of the following conditions:

               (a)    No Order. No court or other Governmental Entity has issued, enacted,
entered, promulgated or enforced any Law or Order (that is final and non-appealable and that has
not been vacated, withdrawn or overturned) restraining, enjoining or otherwise prohibiting the
transactions contemplated by this Agreement.

                (b)    Accuracy of Representations and Warranties. The representations and
warranties of Buyer set forth in Article 5 shall be true and correct (disregarding all qualifications
or limitations as to “materiality” and words of similar import set forth therein) in all material
respects as of the Agreement Date and at and as of the Closing as though made at and as of the
Closing (in each case, except to the extent expressly made as of another date, in which case as of
such date as if made at and as of such date).

                 (c)    Performance of Obligations. Buyer shall have performed in all material
respects all obligations and agreements contained in this Agreement required to be performed by
it on or prior to the Closing Date.

                (d)    Officer’s Certificate. The Sellers shall have received a certificate, dated the
Closing Date, of an executive officer of Buyer to the effect that all of the conditions specified in
this Section 7.2 been fulfilled and/or waived (the “Buyer’s Conditions Certificate” and together
with the Trustee’s Conditions Certificate and the Officer’s Certificate, the “Conditions
Certificates”).

         7.3    Frustration of Conditions Precedent. Neither Buyer nor the Sellers may rely on the
failure of any condition set forth in this Article 7, as applicable, to be satisfied if such failure was
caused by such Party’s failure to use, as required by this Agreement, its commercially reasonable
efforts to consummate the Transactions contemplated hereby.

                                           ARTICLE 8
                                          TERMINATION

       8.1    Termination of Agreement. This Agreement may be terminated and the
Transactions abandoned at any time prior to the Closing:

                (a)    by written agreement of the Sellers and Buyer;

                (b)    by either the Sellers or Buyer:


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                         (i)    if there shall be any Law that makes consummation of the
Transactions illegal or otherwise prohibited, or if any Order permanently restraining, prohibiting
or enjoining Buyer or Sellers from consummating the Transactions is entered and such Order shall
become final, provided, however, that no termination may be made by a Party under this Section
8.1(b)(i) if the issuance of such Order was caused by the breach or action or inaction of such Party;

                      (ii)   upon the filing of a motion by any of the Sellers to approve an
Alternative Transaction or the Bankruptcy Court’s granting an order approving an Alternative
Transaction;

                       (iii)   upon the Sellers’ entry into an Alternative Transaction;

                (c)    by Buyer, if there shall have been a breach by either Seller of any of their
representations, warranties, covenants or agreements contained in this Agreement or any other
event or condition shall result in either Seller being incapable of satisfying one or more of their
representations, warranties, covenants or agreements set forth herein, and in either case such
breach or other event or condition shall be incapable of being cured or, if capable of being cured,
shall not have been cured within three (3) days after written Notice thereof shall have been received
by Sellers;

                 (d)     by Buyer, if (i) either of the Operating Order or the interim Post-Petition
Financing Order shall not have been entered by the Bankruptcy Court within five (5) days after
the Petition Date, (ii) the Sale Motion shall not have been filed by the Trustee with the Bankruptcy
Court on or prior to seven (7) days following the Petition Date, (iii) the final Post-Petition
Financing Order shall not have been entered by the Bankruptcy Court within twenty-six (26) days
after the Petition Date, (iv) the Sale Order shall not have been entered by the Bankruptcy Court on
or prior to twenty-eight (28) days following the Agreement Date, or (v) the Closing shall not have
occurred on or prior to thirty-five (35) days following the Agreement Date; provided, however,
that with respect to the foregoing subclause (v) only, Buyer may not terminate the Agreement if
the failure of the Closing to occur is due to a breach of this Agreement by the Buyer;

            (e)    by Buyer, at any time after the occurrence of an “Event of Default” under
the New Money Financing Agreement in the Bankruptcy Case;

               (f)    by Buyer or the Sellers, if the Trustee does not agree that the Sellers can
proceed with this Agreement and undertake and perform in all material respects all obligations and
agreements contained in this Agreement by the filing of the Sale Motion;

                (g)    by Buyer or the Sellers, if the Trustee repudiates or seeks to reject this
Agreement;

                (h)     by the Sellers, if there shall have been a material breach by Buyer of any of
its representations, warranties, covenants or agreements contained in this Agreement that, shall not
have been cured within twenty (20) days after written Notice thereof shall have been received by
Buyer; provided that as of such date, the Sellers are not in breach of this Agreement;


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                (i)     by Buyer, at any time, if any of the conditions set forth in Sections 7.1(m),
7.1(n) or 7.1(o) are reasonably determined by Buyer to be incapable of being satisfied;

                (j)     by Buyer, if the Buyer has not received a duly executed Encina Exit
Financing Commitment Letter in form and substance acceptable to Buyer on or before the date
that is seven (7) following the Petition Date;

               (k)      by Buyer, on or after June 2, 2020, if the condition set forth in Section 7.1(q)
has not been satisfied;

              (l)     by Buyer, if either of the Trustee’s Operation Orders or the New Money
Financing Agreement are modified, amended, vacated or overturned, as applicable, without the
Buyer’s express prior written consent prior to Closing;

               (m)    by Buyer, if the Trustee files a motion with the Bankruptcy Court seeking
any post-Petition Date financing in the Bankruptcy Cases (other than the New Money Financing
Agreement);

               (n)    by Buyer, if any party seeks entry of an order pursuant to section 362
Bankruptcy Code or any other similar provisions to lift the automatic stay or seeks similar relief
with respect to any Acquired Assets; or

              (o)     by Buyer, if any party seeks to assert control over either of the Sellers, the
Regional Business or any Acquired Asset in any court, other than the Bankruptcy Court.

        8.2     Consequences of Termination. In the event of any termination of this Agreement
by either or both of Buyer and the Sellers pursuant to Section 8.1, written Notice thereof shall be
given by the terminating Party to the other Parties hereto, specifying the provision hereof pursuant
to which such termination is made, this Agreement shall thereupon terminate and become void and
of no further force and effect (other than Section 3.3 (Deposit), Section 6.8 (Expense
Reimbursement), this Section 8.2 (Consequences of Termination) and Article 9 (Miscellaneous)
and to the extent applicable in respect of such Sections and Article, Article 1 (Definitions)), and
the Transactions shall be abandoned without further action or Liability of any of the Parties hereto
(other than with respect to the sections set forth in this Agreement that shall continue in full force
and effect in accordance with this Section 8.2 following such termination), except that such
termination shall not relieve any Party of any Liability for fraud or willful breach of this
Agreement.

                                          ARTICLE 9
                                        MISCELLANEOUS

       9.1     Expenses. Except as set forth in this Agreement and whether or not the
Transactions are consummated, each Party hereto shall bear all costs and expenses incurred or to
be incurred by such Party in connection with the negotiation and entry into the Transaction
Documents and the consummation of the Transactions.


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        9.2     Assignment. Neither this Agreement nor any of the rights or obligations hereunder
may be assigned by Sellers without the prior written consent of Buyer, or by Buyer without the
prior written consent of the Sellers; provided that Buyer may, without the consent of any other
party, assign this Agreement and its rights and obligations hereunder in whole or in part to (a) any
Affiliate; provided that Buyer shall remain jointly liable with such Affiliates for Buyer’s
obligations hereunder or (b) following the Closing, to any successor or purchaser of all or part of
the business of Buyer or any of its Subsidiaries. Subject to the foregoing, this Agreement shall be
binding upon and inure to the benefit of the Parties hereto and their respective successors and
permitted assigns including the Trustee, any trustee in bankruptcy, receiver, liquidating trustee,
responsible Person or similar representative for Sellers appointed in connection with the
Bankruptcy Cases or any other Proceeding.

        9.3     Parties in Interest. This Agreement shall be binding upon and inure solely to the
benefit of Sellers (and their estate), Buyer and their respective successors or permitted assigns
(including any bankruptcy trustee or receiver appointed in respect thereof), and nothing in this
Agreement, express or implied, is intended to or shall confer upon any other Person any rights,
benefits or remedies of any nature whatsoever under or by reason of this Agreement except as
expressly set forth herein.

        9.4     Notices.     All notices, demands, requests, consents, approvals or other
communications (collectively, “Notices”) required or permitted to be given hereunder or that are
given with respect to this Agreement shall be in writing and shall be transmitted by electronic mail,
addressed as set forth below, or to such other address as such Party shall have specified most
recently by written Notice. Notice shall be deemed given on the date of service or transmission;
provided that if delivered or transmitted on a day other than a Business Day or after 5:00 p.m. New
York time, notice shall be deemed given on the next Business Day:

        If to any Seller:      Q’Max America Inc.
                               11700 Katy Freeway, Suite 200
                               Houston, TX 77079
                               Attention: Rafael Andres Diaz-Granados
                               Email: radg@qmax.com

        With copies to:        Porter Hedges LLP
                               1000 Main St., 36th Floor
                               Houston, TX 77002
                               Attention: John F. Higgins
                               Email: jhiggins@porterhedges.com

        If to Buyer:           QMax Acquisition Corp.
                               C/O
                               Palladium Equity Partners
                               1270 Avenue of The Americas, Suite 31
                               New York, NY 10020
                               Attention:   Caleb Clark and Scott Kirschner

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                              Email:       cclark@palladiumequity.com /
                              skirschner@palladiumequity.com

        With copies to:       O’Melveny & Myers LLP
                              Times Square Tower
                              7 Times Square
                              New York, NY 10036
                              Attention: Nancy Mitchell, Esq. / Matthew Hinker, Esq. / David
                              Schultz, Esq.
                              Email: nmitchell@omm.com / mhinker@omm.com /
                              dschultz@omm.com

       Rejection of or refusal to accept any Notice, or the inability to deliver any Notice because
of changed e-mail address of which no Notice was given, shall be deemed to be receipt of the
Notice as of the date of such rejection, refusal or inability to deliver.

        9.5    Choice of Law. Except to the extent the mandatory provisions of the Bankruptcy
Code apply, this Agreement shall be construed and interpreted, and the rights of the Parties shall
be determined, in accordance with the Laws of the State of Delaware, without giving effect to any
provision thereof that would require or permit the application of the substantive laws of any other
jurisdiction.

        9.6    Entire Agreement; Amendments and Waivers. This Agreement and all Transaction
Documents and all certificates and instruments delivered pursuant hereto and thereto constitute the
entire agreement among the Parties pertaining to the subject matter hereof and supersede all prior
agreements, understandings, negotiations, and discussions, whether oral or written, of the Parties.
This Agreement may be amended, supplemented or modified, and any of the terms, covenants,
representations, warranties or conditions may be waived, only in writing by Buyer and Sellers
(which may be by way of e-mail), or in the case of a waiver, by the Party waiving compliance. No
waiver of any of the provisions of this Agreement shall be deemed or shall constitute a waiver of
any other provision hereof (whether or not similar), and no such waiver shall constitute a
continuing waiver unless otherwise expressly provided.

        9.7    Counterparts; Electronic Signatures. This Agreement may be executed in one or
more counterparts, each of which shall be deemed an original, and all of which together shall
constitute one and the same instrument. Counterparts to this Agreement may be delivered via
electronic mail. In proving this Agreement, it shall not be necessary to produce or account for
more than one such counterpart signed by the Party against whom enforcement is sought.

        9.8     Severability. The invalidity or unenforceability of any provision of this Agreement
shall not affect the validity or enforceability of any other provisions of this Agreement. In the
event that any of the provisions of this Agreement shall be held by a court or other tribunal of
competent jurisdiction to be illegal, invalid or unenforceable, such provisions shall be limited or
eliminated only to the minimum extent necessary so that this Agreement shall otherwise remain in
full force and effect.


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        9.9    Headings. The table of contents and the headings of the Articles and Sections
herein are inserted for convenience of reference only and are not intended to be a part of, or to
affect the meaning or interpretation of, this Agreement.

        9.10    Exclusive Jurisdiction and Specific Performance.

               (a)     Subject to Section 9.10(b), without limiting any Party’s right to appeal any
order of the Bankruptcy Court, (i) the Bankruptcy Court shall retain exclusive jurisdiction to
enforce the terms of this Agreement and to decide any Claims or disputes which may arise or result
from, or be connected with, this Agreement, any breach or default hereunder, or the Transactions,
and (ii) any and all Proceedings related to the foregoing shall be filed and maintained only in the
Bankruptcy Court, and the Parties hereby irrevocably and unconditionally consent to, attorn to and
submit to the exclusive jurisdiction and venue of the Bankruptcy Court and shall receive Notices
at such locations as indicated in Section 9.4. For the avoidance of doubt, this Section 9.10 shall
not apply to any Claims that Buyer or its Affiliates may have against any third party following the
Closing.

                 (b)    Notwithstanding anything herein to the contrary, in the event the
Bankruptcy Case is terminated, the Parties hereby agree that all Claims or disputes which may
arise or result from, or be connected with, this Agreement, any breach or default hereunder, or the
Transactions, shall be heard and determined exclusively in any federal court sitting in the Borough
of Manhattan in the City of New York or, if that court does not have subject matter jurisdiction, in
any state court located in the City and County of New York (and, in each case, any appellate court
thereof), and the Parties hereby consent to and submit to the jurisdiction and venue of such courts.

      9.11 WAIVER OF RIGHT TO TRIAL BY JURY. SELLERS AND BUYER HEREBY
WAIVE TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW ANY RIGHT
THEY MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY PROCEEDING
DIRECTLY OR INDIRECTLY ARISING OUT OF OR IN CONNECTION WITH THIS
AGREEMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY (WHETHER BASED
ON CONTRACT, TORT OR ANY OTHER THEORY). FOR THE AVOIDANCE OF DOUBT,
THIS SECTION 9.11 SHALL NOT APPLY TO ANY CLAIMS THAT BUYER OR ITS
AFFILIATES MAY HAVE AGAINST ANY THIRD PARTY FOLLOWING THE CLOSING.

        9.12 Survival. Each and every representation and warranty contained in this Agreement
shall expire and be of no further force and effect as of the Closing. Each and every covenant and
agreement contained in this Agreement (other than the covenants contained in this Agreement
which by their terms are to be performed (in whole or in part) by the Parties following the Closing
(each, a “Post-Closing Covenant”)) shall expire and be of no further force and effect as of the
Closing. Each Post-Closing Covenant shall survive the Closing until the earlier of (a) performance
of such Post-Closing Covenant in accordance with this Agreement or, (b) (i) if time for
performance of such Post-Closing Covenant is specified in this Agreement, ninety (90) days
following the full performance of such covenant and the expiration of the time period for such
performance or (ii) if time for performance of such Post-Closing Covenant is not specified in this
Agreement, ninety (90) days following the expiration of the applicable statute of limitations with
respect to any claim for any failure to perform such Post-Closing Covenant; provided that if a
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written notice of any claim with respect to any Post-Closing Covenant is given prior to the
expiration thereof then such Post-Closing Covenant shall survive until, but only for purposes of,
the resolution of such claim by final, non-appealable judgment or settlement.

        9.13    Time of Essence. Time is of the essence of this Agreement.

        9.14 Non-Recourse. No past, present or future director, manager, officer, employee,
incorporator, member, partner or equity holder of Buyer or Sellers shall have any Liability for any
Liabilities of Buyer or Sellers, respectively, under this Agreement or for any Claim based on, in
respect of, or by reason of the Transactions. This Agreement may only be enforced against, and
any Claim, action, suit, Proceeding or investigation based upon, arising out of or related to this
Agreement may only be brought against, the Persons that are expressly named as parties to this
Agreement.

        9.15 Disclosure Schedules. Except as set forth in this Agreement, the inclusion of any
information (including dollar amounts) in Disclosure Schedules shall not be deemed to be an
admission or acknowledgment by any Party that such information is required to be listed on such
section of the relevant schedule or is material to or outside the Ordinary Course of Business of any
Person. The information contained in this Agreement, the exhibits hereto and the Disclosure
Schedules is disclosed solely for purposes of this Agreement, and no information contained herein
or therein shall be deemed to be an admission by any Party to any third party of any matter
whatsoever (including any violation of any Law or breach of contract). Unless the context
otherwise requires, all capitalized terms used in the Disclosure Schedules shall have the respective
meanings assigned in this Agreement. The Disclosure Schedules set forth items of disclosure with
specific reference to the particular Section or subsection of this Agreement to which the
information in the Disclosure Schedules relates.

        9.16 Mutual Drafting. This Agreement is the result of the joint efforts of Buyer and
Sellers, and each provision hereof has been subject to the mutual consultation, negotiation and
agreement of the Parties and there is to be no construction against any Party based on any
presumption of that Party’s involvement in the drafting thereof.

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       IN WITNESS WHEREOF, this Agreement has been duly executed and delivered by the
duly authorized officers of Sellers and Buyer as of the date first above written.

                                       BUYER:

                                       QMAX ACQUISITION CORP.

                                       By: _____________________________________
                                           Name: Caleb Clark
                                           Title: Chief Executive Officer



                                       SELLERS:

                                       Q’MAX AMERICA INC.



                                       By: _____________________________________
                                           Name:
                                           Title:



                                       ANCHOR DRILLING FLUIDS USA, LLC



                                       By: _______________________________________
                                           Name:
                                           Title:




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       IN WITNESS WHEREOF, this Agreement has been duly executed and delivered by the
duly authorized officers of Sellers and Buyer as of the date first above written.

                                       BUYER:

                                       QMAX ACQUISITION CORP.

                                       By: _____________________________________
                                           Name:
                                           Title:



                                       SELLERS:

                                       Q’MAX AMERICA INC.



                                            _______________
                                       By: _____________________________________
                                           Name: Rafael Diaz-Granados
                                           Title: President & CEO



                                       ANCHOR DRILLING FLUIDS USA, LLC



                                            ___
                                              _ ____________
                                       By: _______________________________________
                                            N
                                            Name:   Rafael Diaz-Granados
                                            Title: President & CEO




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                                           DISCLOSURE SCHEDULE

This Disclosure Schedule, including the exhibits and attachments hereto (collectively, this “Disclosure
Schedule”), is being furnished in connection with the execution and delivery of that certain Asset
Purchase Agreement, entered into on and dated as of May 24, 2020 (the “Agreement”), by and among
Q’Max America Inc., a company incorporated under the laws of Delaware (“Q’Max”), and Anchor
Drilling Fluids USA, LLC, a Delaware limited liability company (“Anchor Drilling” and, together with
Q’Max, “Sellers” and each, a “Seller”) and QMax Acquisition Corp., a Delaware corporation (“Buyer”).
Unless otherwise defined herein, all capitalized terms used in this Disclosure Schedule shall have the
respective meanings given such terms in the Agreement.


                                                   SCHEDULE 1.1(a)
                                             CONTINUING EMPLOYEES

  #        Payroll Name              Position ID   Home De partment De scription        Job Title De scription
      1    Adams, Brandon            B1E000076     Wellsville - Warehouse - Direct      Warehouseman
      2    Alsip, Brent              B1E000605     Newcomerstown-Solids Control-DIR     Solids Control Supervisor
      3    Anderson, Zachary         B1E000433     Midland SC - Engineer, SC - Direct   Solids Control T echnician
      4    Baker, Kyle Andrew        B1E000819     Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
      5    Bell, T odd               B1E000314     Newcomerstown - QHSE - IND           Safety Specialist
      6    Bostic, John              B1E000190     Leetsdale-Drilling Fluids-DIR        Engineering Manager
      7    Bradford, Brian           B1E000083     Newcomerstown-Solids Control-DIR     Solids Control Supervisor
      8    Breaux, Jonathan          B1E000896     Midland SC - Engineer, SC - Direct   Solids Control T echnician
      9    Bridges, Roy              B1E000282     Newcomerstown - Warehouse - Direct   Warehouse Manager
  10       Brignac, Chase Michael    B1E000636     Wexford - Sales - Indirect           T echnical Sales Engineer
  11       Bryant, Jason             B1E000170     Wellsville - Engineer - Direct       Drilling Fluids Engineer Supervisor
  12       Bryarley, T homas         B1E000350     Wellsville - Warehouse - Direct      Warehouse Supervisor I
  13       Burkhouse, Robert Roy     B1E000273     Wellsville - Engineer - Direct       Drilling Fluids Engineer
  14       Burris, Kenneth           B1E000222     Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
  15       Burrows, Gregory          B1E000870     Wellsville - Warehouse - Direct      Warehouseman
  16       Bush, Jason               B1E000171     Newcomerstown - Management           Area Operations Manager
  17       Camacho, Juan J           B1E000642     Midland SC - Engineer, SC - Direct   Solids Control T echnician
  18       Campbell, Marc            1J1000070     Headquarters - IT                    Network Support T echnician
  19       Chilson, Dale             B1E000111     Horseheads - Warehouse - Direct      Warehouse Manager
  20       Collier, David            B1E000803     Midland SC - Engineer, SC - Direct   Solids Control T echnician
  21       Conlon, Michael           B1E000246     Newcomerstown - Warehouse - Direct   Assistant Mud Plant Attendant
  22       Contreras, Gabriel Ivan   B1E000698     Midland SC - Engineer, SC - Direct   Solids Control T echnician
  23       Davis, Fred Allen         B1E000888     Wellsville - T rucking - Direct      T ransportation Specialist I
  24       Dawson, Jesse             B1E000184     Wellsville - Warehouse - Direct      Warehouse Supervisor II
  25       Deramo, Amy Jeanette      B1E000687     HQ - Anchor - Finance Accounting     Payables Specialist
  26       DiLoreto, Rocco Steven    B1E000944     Wellsville - Engineer - Direct       Drilling Fluids Engineer
  27       Drayer, Douglas Alan      B1E000529     Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
  28       Dugas, Justin             B1E000215     Newcomerstown - Sales - Indirect     Sales Manager




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  29    Duty, Donald James        B1E000688   Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
  30    Enke, Eugene Harold       B1E000141   Wellsville - Engineer - Direct       Drilling Fluids Engineer
  31    Escobar, Romeo            B1E000432   Midland SC-Solids Control-DIR        Solids Control Service T ech
  32    Evans, James              B1E000165   Wellsville - Engineer - Direct       Drilling Fluids Engineer
  33    Farrell, Patricia N.      B1E000708   Leetsdale-Administration-IND         Area Billing Specialist
  34    Faulkenberry, T ony T     B1E000374   Midland SC - Engineer, SC - Direct   Solids Control T echnician
  35    Fiveash, Daniel H         B1E000904   Midland SC - Engineer, SC - Direct   Solids Control T echnician
  36    Flowers, Charles          B1E000951   Wellsville - T rucking - Direct      T ransportation Specialist I
  37    Fofi, John                B1E000608   Newcomerstown-Solids Control-DIR     Solids Control Supervisor
  38    Fonzo, Anthony            B1E000534   Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
  39    Fore, Gregg Anthony       B1E000835   Midland SC - Engineer, SC - Direct   Solids Control T echnician
  40    Gilbert, Jessica          B1E000185   Leetsdale-Administration-IND         Administrative Assistant
  41    Giotto, David             B1E000122   Leetsdale - Warehouse - Direct       Warehouse Manager
  42    Goldsmith, T ara          B1E000635   HQ Anchor - Sales - Indirect         Business Development Manager
  43    Gomez, Jorge A            B1E000443   Midland SC - Engineer, SC - Direct   Solids Control T echnician
        Gonzalez-T orres, Felix
  44    Santos                    B1E000415   Midland SC - Engineer, SC - Direct   Solids Control T echnician
  45    Haggerty, Joshua          B1E000207   Wellsville - Engineer - Direct       Drilling Fluids Engineer
  46    Hagy, Javin               B1E000174   Newcomerstown-Solids Control-DIR     Shop Mechanic
  47    Hallmark, Joshua D.       B1E000675   Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
  48    Hanlon, Dale              B1E000855   Wellsville - Warehouse - Direct      Assistant Mud Plant Attendant
  49    Harris, Galen Paul        B1E000438   Midland SC-Solids Control-DIR        Solids Control Service T ech
  50    Herrington, James         B1E000162   Wellsville - Engineer - Direct       Drilling Fluids Engineer
  51    Hicks, Samantha Jean      B1E000876   HQ - Anchor - Finance Accounting     Assistant Controller
  52    Holpp, Virgil             B1E000330   Newcomerstown-Solids Control-DIR     Welder
  53    Hursey, Andrew            B1E000057   Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
  54    Hutchins, Keven           B1E000224   Wellsville - Engineer - Direct       Drilling Fluids Engineer
  55    Jacob, Gary               B1E000146   Leetsdale - T rucking - Direct       T ransportation Specialist I
  56    Karonka, Michael          B1E000251   Anchor - Management                  Area Manager - T exas
  57    Kelly, Adam               B1E000850   Leetsdale - T rucking - Direct       T ransportation Specialist I
  58    Lambes, Jamie             B1E000167   Newcomerstown-Administration-IND     Area Billing Specialist
  59    Lasko, T rent             B1E000317   Newcomerstown-Solids Control-DIR     Shop Mechanic
  60    Lattanzio Jr., Ralph      B1E000695   Wellsville - T rucking - Direct      T ransportation Specialist I
  61    Laws, T erry              B1E000401   Midland SC-Solids Control-DIR        Solids Control Service T ech
  62    Lewis, Jacob              B1E000161   Wellsville - T rucking - Direct      T ransportation Specialist I
  63    Lewis, James              B1E000163   Wellsville - T rucking - Direct      T ransportation Specialist I
  64    Lilly, Jason              B1E000172   HQ Anchor - Supply Chain - IND       Supply Chain Manager
  65    Lira, Antonio             B1E000856   Midland SC - Engineer, SC - Direct   Solids Control T echnician
  66    Looney, Diane             B1E000125   T ulsa - Human Resources             Human Resources Representative
  67    Lott, Victor              B1E000328   Wellsville - Engineer - Direct       Drilling Fluids Engineer
  68    Lower, Larry              B1E000231   Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
  69    Lowman, Christopher       B1E000554   Leetsdale-Drilling Fluids-DIR        Engineering Manager
  70    LUCAS, BOBBIE L           B1E000073   Wellsville-Administration-IND        Administrative Assistant
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  71    Lucien II, Gary J.        B1E000722   Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
  72    Mann, Chad                B1E000091   Newcomerstown-Solids Control-DIR     Maintenance Supervisor
  73    Mann, Robbie              B1E000269   Newcomerstown-Solids Control-DIR     Operations Manager - Solids Control
  74    Maple, Shea               B1E000297   Newcomerstown - QHSE - IND           QHSE Specialist
  75    McClelland, Joseph        B1E000200   Newcomerstown-Solids Control-DIR     Solids Control T echnician
  76    McClelland, Joseph W.     B1E000201   Newcomerstown - Warehouse - Direct   Assistant Mud Plant Attendant
  77    Mckain, T yler            B1E000321   Wellsville-Drilling Fluids-DIR       Drilling Fluids Engineer Supervisor
  78    Medina, Yery Jose         B1E000834   Midland SC - Engineer, SC - Direct   Solids Control T echnician
  79    Mirra, Michael            B1E000345   Wellsville - Engineer - Direct       Drilling Fluids Engineer
        Montano, Carlos
  80    Carrasco                  B1E000556   Midland SC-Solids Control-DIR        Solids Control Supervisor
  81    Mount, Daniel             B1E000114   Newcomerstown - Sales - Indirect     Sales Rep / Account Manager
  82    Moyer, Edward Franklin    B1E000840   Newcomerstown - Sales - Indirect     T echnical Sales Engineer
  83    Mullens, Christopher L.   B1E000769   Wellsville - Engineer - Direct       Drilling Fluids Engineer
  84    Naramore, Jodie           B1E000830   Midland SC-Solids Control-DIR        Solids Control Service T ech
  85    Naramore, Paul            B1E000719   Midland SC-Solids Control-DIR        Solids Control Service T ech
  86    Nolan, Charles            B1E000094   Newcomerstown-Solids Control-DIR     Solids Control T echnician
        Nowlin, T homas
  87    Matthew                   B1E000913   Midland SC - Engineer, SC - Direct   Solids Control T echnician
  88    Ochoa, Gardiel            B1E000616   Midland SC-Solids Control-DIR        Welder
  89    Orr, Brent                B1E000081   Wellsville - Engineer - Direct       Drilling Fluids Engineer
  90    Orr, Darrel Dean          B1E000828   Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
  91    Pennington, Christopher   B1E000101   HQ - Anchor - Executive              Vice President of Operations - US
  92    Peno, Robert              B1E000274   Leetsdale-Drilling Fluids-DIR        Drilling Fluids Engineer Supervisor
  93    Ponath, Brandon Wayne     B1E000798   Midland SC - Engineer, SC - Direct   Solids Control T echnician
  94    Pulliam, Justin           B1E000480   Midland SC - Engineer, SC - Direct   Solids Control T echnician
  95    Redmon, Jeff              B1E000536   Midland SC-Solids Control-DIR        Operations Manager - Solids Control
  96    Reyes, Juan               B1E000918   Midland SC - Engineer, SC - Direct   Solids Control T echnician
  97    Rivera, T ommy Aranda     B1E000651   Midland SC - Engineer, SC - Direct   Solids Control T echnician
  98    Roman, Chris              B1E000537   Midland SC-Solids Control-DIR        Service Manager
  99    Ross, Joshua              B1E000206   Newcomerstown - T rucking - Direct   T ransportation Specialist I
 100    Russen, John              B1E000187   Horseheads - T rucking - Direct      T ransportation Specialist I
 101    Salazar, Ramon            B1E000447   Midland SC - Engineer, SC - Direct   Solids Control T echnician
        Schockman, Bradley
 102    Alan                      B1E000943   Wellsville - Engineer - Direct       Drilling Fluids Engineer
 103    Schraeder, Kelby          B1E000426   Midland SC - Engineer, SC - Direct   Solids Control T echnician
 104    Sellers, Nathen           B1E000257   Wellsville - Warehouse - Direct      Plant Manager
 105    Shankles, Steven A        B1E000783   Midland SC - Engineer, SC - Direct   Solids Control T echnician
 106    Sharier Jr, Frank         B1E000143   Newcomerstown-Solids Control-DIR     Shop Mechanic
 107    Skinner, Ryan             B1E000351   Wellsville - Warehouse - Direct      Assistant Mud Plant Attendant
 108    Smith, Joseph William     B1E000821   Midland SC - Engineer, SC - Direct   Solids Control T echnician T rainee
 109    Spicer, Nicholas          B1E000957   Horseheads - Warehouse - Direct      Warehouse Supervisor II
 110    Stahl, Bryan              B1E000088   Newcomerstown-Solids Control-DIR     Solids Control T echnician
 111    Stang, Calvin             B1E000924   Midland SC - Engineer, SC - Direct   Solids Control T echnician
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 112    Stephens, Daniel        B1E000116   Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
 113    Stone, Jeff             B1E000518   Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
 114    T alkington, Brion      B1E000085   Newcomerstown-Solids Control-DIR     Solids Control Supervisor
 115    T ennant, Gary          B1E000147   Newcomerstown - Warehouse - Direct   Assistant Mud Plant Attendant
 116    Watson, Corodon Surea   B1E000406   Midland SC - Engineer, SC - Direct   Solids Control T echnician
 117    Welch, T imothy P.      B1E000852   Horseheads - T rucking - Direct      T ransportation Specialist I
 118    Whatley, Dirk Edward    B1E000866   Wellsville - T rucking - Direct      T ransportation Specialist I
 119    White, Stacy            B1E000298   Leetsdale-Drilling Fluids-DIR        Drilling Fluids Engineer Supervisor
 120    Willett, Harold         B1E000150   Wellsville - Warehouse - Direct      Warehouse Manager
 121    Williams, Brandon       B1E000449   Midland SC-Solids Control-DIR        Solids Control Supervisor
 122    Williams, Dacia         B1E000109   T ulsa - T rucking - Direct          DOT / Fleet Administrator
 123    Wise, Jeremy            B1E000519   Newcomerstown-Engineer-SC-DIR        Solids Control T echnician
 124    Witherow, Anthony D.    B1E000734   Wellsville - Warehouse - Direct      Assistant Mud Plant Attendant
 125    Yates, Isaiah           B1E000445   Midland SC - Engineer, SC - Direct   Solids Control T echnician
        Zimmermann, Demi
 126    Jenee                   B1E000599   HQ - Anchor - Finance Accounting     Revenue Accounting Manager




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                                                               SCHEDULE 1.1(b)
                                                                 INSURANCE

                          Policy      Effective   Expiration
    Coverage                                                           Carrier                                Coverage Description
                         Number         Date        Date
                                                                                                                           Limits

                                                                                         General Aggregate                            $     2,000,000
                                                                                         Products-Completed Operations Aggregate      $     2,000,000
                                                                                         General Liability                            $     1,000,000
                                                                                         Products-Completed Operations Aggregate      $     1,000,000
  Ge ne ral Liability/                                                                   Damages to Premises Rented T o You           $       500,000
                                                                   Ironshore Specialty
   Pollution Le gal       4076500     6/1/2019     6/1/2020
                                                                  Insurance Company      Medical Expenses                             $        25,000
      Liability
                                                                                         Site Pollution Legal Liability               $     1,000,000
                                                                                         Contractors Pollution Liability              $     1,000,000


                                                                                         De ductible
                                                                                         Liability                                                 NIL
                                                                                         Each Pollution Occurrence                    $        25,000
                                                                                         Limits
                                                                                         Combined Single Limit - Symbol 1             $     2,000,000
                                                                                         Uninsured/Underinsured Motorist - Symbol 2           Statutory
                                                                                         Personal Injury Protection                           Statutory
                          AS2-641-                                Liberty Mutual Fire    Comprehensive - Symbol 2
  Commercial Auto                     6/1/2019     6/1/2020
                         445252-029                                  Insurance Co.       Collision - Symbol 2


                                                                                         De ductible
                                                                                         Liability                                    NIL


                                                                                         Limits
                                                                                         Statutory
     Worke rs
                          WC6-641-                                  T he First Liberty
  Compe nsation /                     6/1/2019     6/1/2020
                         445252-019                              Insurance Corporation   Employers Liability
 Employe rs Liability
                                                                                                                                                          Case 20-34791 Document 7-2 Filed in TXSB on 09/30/20 Page 1383 of 1445




                                                                                         Bodily Injury by Accident                    $     1,000,000
                                                                                         Policy Limit For Bodily Injury by Disease    $     1,000,000
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                                                                                   Bodily Injury by Disease                     $   1,000,000
                                                                                   De ductible                                             NIL
                                                                                   Limits
                                                                                   General Aggregate                            $ 30,000,000
                                                                                   Each Occurrence                              $ 30,000,000
                                                                                   Products-Completed Operations                $ 30,000,000
   $30M Umbre lla                                          Ironshore Specialty
                     004076600    6/1/2019   6/1/2020
      Liability                                           Insurance Company        *Umbrella limits are shared with Canada


                                                                                   De ductible                                             NIL



                                                                                   Limits
                                                                                   General Aggregate                            $ 25,000,000
                                                        Allianz Global Corporate   * Sublimits: Various
      Prope rty     GBP00229718   6/1/2019   6/1/2020
                                                             & Specialty SE        De ductible
                                                                                   Each Occurrence                              $      25,000
                                                                                   Additional Deductibles as listed on policy
                                                                                                                                                 Case 20-34791 Document 7-2 Filed in TXSB on 09/30/20 Page 1384 of 1445




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                                                                                SCHEDULE 2.1
                                                                            ASSETS TO BE ACQUIRED
(b)       Intellectual Property
Patents
      File No.                        Title                          Matter         Country           Status       Date          Application         Patent No.         G rant                Owner
                                                                     Type                                          Filed            No.                                  Date

 22P 12PR3        DEHYDRATOR SYSTEM AND METHODS OF USING            P rov       United States of    P ending     Aug 30,        62894512                                             Q'Max America, Inc.
                  THE SAME                                                      America                          2019

 22P 13US         AP P ARATUS, METHODS AND SYSTEMS FOR              Utility     United States of    Issued       May 16,        13896317            9352264           May 31,        Anchor Drilling
                  REMOVING PARTICULATE IMPURITIES FROM                          America                          2013                                                 2016           Fluids USA, LLC
                  ABOVE A SHALE SHAKER




Trademarks
  MARK            FILE      COUNTRY      STATUS       APPLICATION     DATE     REG ISTRA       REG ISTRAT                   G OODS AND SERVICES DESCRIPTION                                     OWNER
                 NUMB ER                                  NO.         FILED    TION NO.         ION DATE

 Q-ENVIRO        22M25MX1   Mexico       Registered   2085963         Aug 8,   1936224         Aug 8, 2018     Waste treatment apparatus for chemical treatment, oil removal, water           Q'Max
                                                                      2018                                     separation and recycling, sedimentation, filtration, and flocculation of       America, Inc.
                                                                                                               wastes from oil and gas drilling processes, shale gas drilling and fracking
                                                                                                               operations, and oil production and refinery processes; Waste water
                                                                                                               treatment apparatus for wastes in the nature of drill cuttings, oily slop
                                                                                                               wastes, water, solids and sludge including oil removal, solids removal,
                                                                                                               solids filtration and water separation and recycling; Apparatus for
                                                                                                               segregating liquid wastes from drilling cuttings; Apparatus for mud
                                                                                                               separation processes; Apparatus for solidification and stabilization of wet
                                                                                                               drilling cuttings; apparatus for dewatering sludge, waste, solids, drill
                                                                                                               cuttings, and drilling mud, and recycling waste water from oil and gas
                                                                                                               drilling operations.

 Q-ENVIRO        22M25MX2   Mexico       Registered   2085969         Aug 8,   1936227         Aug 8, 2018     Waste treatment in the nature oil removal, solids removal, solids filtration   Q'Max
                                                                      2018                                     and water separation and recycling of drill cuttings, oily slop wastes,        America, Inc.
                                                                                                               water, solids and sludge from oil and gas drilling and fracking processes;
                                                                                                               Chemical treatment of drilling wastes from oil and gas drilling operations
                                                                                                               including chemical flocculation; dewatering wastes from oil and gas
                                                                                                               drilling processes, fracking operations, and oil and gas production and
                                                                                                               refinery processes; Segregating liquid wastes from dry cuttings; collection
                                                                                                               and recycling of waste water from oil and gas drilling processes and
                                                                                                               fracking operations; Solids control and mud separation processes;
                                                                                                               Consulting services in the field of waste treatments including technical
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                                                                                                               consulting in the field of solid waste management, waste water removal


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                                                                                             and recycling of water from oil and gas drilling process and fracking
                                                                                             operations.

 ANCHOR     22M28US   United      Registered   85749071   Oct 9,    4839121   Oct 27, 2015   Chemical additives for drilling muds; chemical additives for oil well           Anchor
                      States of                           2012                               drilling fluid; chemical preparations for use in industry, namely, the oil      Drilling
                      America                                                                well drilling industry; chemicals for use in the field of oil exploration and   Fluids USA,
                                                                                             production; chemicals used in industry, namely, the oil well drilling           LLC
                                                                                             industry; chemicals used in oil drilling; all the foregoing not for use in
                                                                                             processes related to the separation of oil/gas from water

 ANCHOR     22M29US   United      Registered   85983278   Oct 9,    4737380   May 19, 2015   Well-site equipment rental, namely, rental of oil well drilling tools           Anchor
                      States of                           2012                                                                                                               Drilling
                      America                                                                                                                                                Fluids USA,
                                                                                                                                                                             LLC

 ANCHOR     22M30US   United      Registered   85539883   Feb 10,   4735566   May 12, 2015   Chemical additives for drilling muds; chemical additives for oil well           Anchor
 DRILLING             States of                           2012                               drilling fluid; chemical preparations for use in industry; chemicals for use    Drilling
 FLUIDS               America                                                                in the field of oil exploration and production; chemicals used in industry;     Fluids USA,
                                                                                             chemicals used in oil drilling                                                  LLC

 ALL IN.    22M31US   United      Registered   86141675   Dec       4879290   Jan 5, 2016    P roviding oilfield services to the oil and natural gas industry, namely, oil   Anchor
 EVERY                States of                           12,                                and gas well drilling on oil and gas wells, the rental of oil well drilling     Drilling
 WELL.                America                             2013                               tools and equipment for the oil and gas wells and drilling waste-water          Fluids USA,
                                                                                             treatment and/or disposable services, namely, hazardous waste disposal          LLC
                                                                                             services to the oil and natural gas industry

 CLEARP L   22M32US   United      Registered   86141722   Dec       4822825   Sep 29, 2015   Chemicals for use in the drilling industry, namely, anionic polymers, or a      Anchor
 EX                   States of                           12,                                blend of two or more anionic polymers and water                                 Drilling
 COMP LET             America                             2013                                                                                                               Fluids USA,
 E                                                                                                                                                                           LLC

 CLEARP L   22M33US   United      Registered   86141700   Dec       4822823   Sep 29, 2015   Chemicals for use in the drilling industry, namely, anionic polymers;           Anchor
 EX I                 States of                           12,                                anionic polymers used to coat solid materials in dewatering applications to     Drilling
                      America                             2013                               aid in the mechanical separation of solids                                      Fluids USA,
                                                                                                                                                                             LLC

 CLEARP L   22M34US   United      Registered   86141705   Dec       4822824   Sep 29, 2015   Chemicals for use in the drilling industry, namely, anionic polymers;           Anchor
 EX II                States of                           12,                                anionic polymers used to coat solid materials in dewatering applications to     Drilling
                      America                             2013                               aid in the mechanical separation of solids                                      Fluids USA,
                                                                                                                                                                             LLC




(j)   Real Estate
1.    Midland Solids Control Warehouse.

2.    Leetsdale Warehouse.
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3.    Wellsville Warehouse.
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4.    Horseheads Warehouse.

5.    Newcomerstown Warehouse.

6.    45,000 square feet of vacant land in Wellsville, Ohio, located across from the Wellsville Warehouse.

7.    Employee housing located at 1122 West State Street, Newcomerstown, Ohio 43832.

8.    Employee housing located at 2303 North Mulberry Lane Hobbs, New Mexico, 88240.

9.    Employee housing located at 5001 W. Wadley, Midland, Texas, Apartment No. P112.
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                                        SCHEDULE 2.4(b)
                                   DESIGNATED CONTRACTS
(i) MATERIAL CONTRACTS
1.     ABL Facility.

2.     New Money Financing Agreement.

3.     Amended and Restated Supply Agreement by and between Cimbar Performance Minerals WV, LLC
       and Anchor Drilling Fluids USA, LLC dated April 1, 2018 (the “Cimbar Supply Agreement”).

4.     Amendment No. 1 to Amended and Restated Supply Agreement by and between Cimbar Performance
       Minerals WV, LLC and Anchor Drilling Fluids USA, LLC dated January 1, 2020 (the “Amended
       Cimbar Supply Agreement”).

5.     Operating Agreement of C&A Grinding, L.L.C. by and between Cimbar Performance Minerals, Inc.
       and Anchor Drilling Fluids USA, Inc. dated January 1, 2012.

6.     Amendment No. 1 to Operating Agreement of C&A Grinding, L.L.C. by and between Cimbar
       Performance Minerals WV, LLC and Anchor Drilling Fluids USA, LLC dated April 1, 2018.

7.     Amendment No. 2 to Operating Agreement of C&A Grinding, L.L.C. by and between Cimbar
       Performance Minerals WV, LLC and Anchor Drilling Fluids USA, LLC dated March 3, 2020.

8.     Sublease Agreement by and between Cimbar Performance Minerals WV, LLC and Anchor Drilling
       Fluids USA, Inc. dated December 2011 (“Cimbar Sublease”).

9.     Amended Sublease Agreement by and between Cimbar Performance Minerals WV, LLC and Anchor
       Drilling Fluids USA, Inc. dated April 1, 2018 (“Cimbar Amended Sublease”).

10.    Residential Rental Agreement by and between The Phoenix Property Management and Q’Max dated
       July 1, 2010 for housing located at 2303 Mulberry Lane, Hobbs, NM 88240 (the “Hobbs Housing
       Lease”).

11.    Lease Agreement by and between Penny Clark of Sarah Viola Grewell Memorial Scholarship Fund
       and Anchor Drilling dated November 1, 2019 for housing located at 1122 West State Street
       Newcomerstown, Ohio 43832 (the “Newcomerstown Housing Lease”).

12.    Commercial Lease by and between BMS Enterprises, LLC and Anchor Drilling dated June 1, 2017
       (the “Newcomerstown Warehouse Lease”).

13.    Addendum to Lease Between Anchor Drilling and BMS Enterprises, LLC dated April 27, 2020 (the
       “Newcomerstown Warehouse Rent Deferral Agreement”).

14.    Lease by and between Horseheads Sand & Transloading Terminal, LLC and Anchor Drilling (the
       “Horseheads Warehouse Lease”).


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15.    Lease by and between Montevallo, Inc. and Q’Max dated April 4, 2014 (the “Midland Solids Control
       Warehouse Lease”).

16.    Lease by and between The Port Authority for Columbiana County, Ohio and Anchor Drilling for
       property described as 45,000 square feet of land in Wellsville, Ohio dated July 11, 2013 (the
       “Wellsville Yard Lease”).

17.    Lease by and between Metroplaza Partners LLC and Patriot Drilling Fluids, a Division of Q’Max
       America Inc. (the “Leetsdale Warehouse Lease”).

18.    Apartment Lease Contract by and between Le Mirage and Qmax LLC for Apartment No. P112 at
       5001 W. Wadley, Midland, Texas (the “Midland Apartment Lease”).

19.    Amended and Restated Equipment Lease With Option, by and between C&A Grinding, LLC, Cimbar
       Performance Minerals, Inc. and Anchor Drilling dated December 17, 2018.

20.    Letter Agreement with respect to Amended and Restated Equipment Lease With Option, by and
       between C&A Grinding, LLC, Cimbar Performance Minerals, Inc. and Anchor Drilling dated
       December 19, 2018.

21.    Letter Agreement, by and between Cimbar Performance Minerals and Anchor Drilling, dated April
       3, 2020.


(ii) OTHER DESIGNATED CONTRACTS
1.     Master Rental Service Agreement by and between Apache Corporation and Q’Max dated March 26,
       2015.

2.     Master Service Agreement by and between Callon Petroleum Company and Q’Max dated January
       26, 2016.

3.     Master Service Agreement by and between Diamondback E&P LLC and Anchor Drilling dated
       February 28, 2017.

4.     Master Service Agreement by and between Grenadier Energy Partners II, LLC and Anchor Drilling
       dated May 8, 2019.

5.     Amended and Restated Master Service/Sales Agreement by and between Pioneer Natural Resources
       USA, Inc. dated January 9, 2017.

6.     Master Service Agreement by and between Solaris Water Midstream, LLC and Anchor Drilling dated
       October 4, 2018.

7.     Master Service Agreement by and between XTO Energy Inc. and Anchor Drilling dated January 15,
       2007.
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8.     Master Service Agreement by and between Matador Production Company and Anchor Drilling dated
       April 29, 2019.

9.     Master Service Agreement by and between Patriot Resources, Inc. and Q’Max dated May 12, 2015.

10.    Master Service Agreement by and between CrownQuest Operating, LLC and Anchor Drilling dated
       October 16, 2015.

11.    Master Service Agreement by and between Halcon Operating Co., Inc. and Q’Max March 8, 2017.

12.    Master Service Agreement by and between Murphy Exploration & Production Company – USA and
       Anchor Drilling dated September 10, 2018.

13.    Master Service Agreement by and between Parsley Energy Operations, LLC and Anchor Drilling
       dated February 13, 2017.

14.    Master Service Agreement by and between XTO Energy Inc. and Anchor Drilling dated March 7,
       2008.

15.    Master Service Agreement by and between Southwestern Energy Production Company and SEECO,
       Inc. and Anchor Drilling dated September 1, 2009.

16.    Master Service Agreement by and between Ascent Resources – Utica, LLC and Anchor Drilling
       dated June 26, 2019.

17.    Master Service Agreement by and between EQT Production Company and Anchor Drilling dated
       August 12, 2010.

18.    Master Service Agreement by and between Antero Resources Company and Anchor Drilling dated
       May 30, 2014.

19.    Master Service Agreement by and between Gulfport Energy Corporation and Anchor Drilling dated
       May 24, 2012.

20.    Master Service Agreement by and between Gulfport Energy Corporation and Q’Max dated
       September 8, 2014.

21.    Master Service Agreement by and between Utica Resource Operating, LLC and Anchor Drilling
       dated November 13, 2018.

22.    Master Service Agreement with National Fuel Gas Supply Corporation and Anchor Drilling dated
       March 5, 2015.

23.    Master Service Agreement by and between TransCanada Operations USA Inc. and Anchor Drilling
       dated April 1, 2018.

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24.    Master Purchase Agreement No. MPA-18-0005 by and between American Refining Group, Inc. and
       Anchor Drilling dated June 15, 2018.

25.    Service Agreement No. MSA-19-0006 by and between American Refining Group, Inc. and Anchor
       Drilling dated July 8, 2019.

26.    Master Lease Agreement by and between Dell Financial Services L.L.C. and Q’Max America Inc.
       dated November 17, 2014.

27.    Master Equipment Lease Agreement by and between First National Capital, LLC, Q’Max and Anchor
       Drilling dated February 6, 2019.

28.    Open Ended Master Lease Agreement by and between Merchants Fleet Management and Anchor
       Drilling dated June 27, 2018 (the “Merchants Lease”).

29.    Consulting Agreement by and between Landwise Consulting LLC and Anchor Drilling dated June
       18, 2018.

30.    Consulting Agreement by and between Wayne Munn, LLC and Anchor Drilling dated May 9, 2019.

31.    Consulting Agreement by and between Spencer Ogden and Anchor Drilling dated July 12, 2018.

32.    Consulting Agreement by and between Stephen Wilbourn and Anchor Drilling dated April 7, 2020.

33.    Consulting Agreement by and between 1st Magnitude LLC and Anchor Drilling dated August 5, 2019.

34.    Consulting Agreement by and between Team Teller, LLC and Anchor Drilling dated August 1, 2019.

35.    Consulting Agreement by and between Nauset Consulting Inc. and Anchor Drilling dated July 22,
       2019.

36.    Consulting Agreement by and between KSKunz Consulting LLC and Anchor Drilling dated May 14,
       2019.

37.    Consulting Agreement by and between J Hibley Consulting LLC and Anchor Drilling dated May 20,
       2019.

38.    Consulting Agreement by and between BKD Consulting LLC and Anchor Drilling dated August 1,
       2018.

39.    Consulting Agreement by and between Rusco Operating, LLC and Anchor Drilling dated April 3,
       2018.

40.    Exclusive License Agreement by and between Q’Max Solutions Inc. and Q’Max dated May 22, 2020
       (the “License Agreement”).



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41.    Office Lease Agreement, by and between GCM SO, L.L.C. and Anchor Drilling dated October 28,
       2019.

42.    Master Service Agreement by and between Snyder Brothers, Inc. and Anchor Drilling dated May 22,
       2020.

43.    Master Purchase Agreement by and between American Refining, Inc. and Anchor Drilling dated June
       15, 2018.

44.    Master Service and Supply Agreement for Exploration and Production by and between Devon Energy
       Production Company, L.P. and Anchor Drilling dated May 18, 2016.

45.    Master Service Agreement by and between EAP Operating, LLC and Anchor Drilling dated October
       30, 2018.

46.    Master Service Agreement by and between Jay-Bee Oil & Gas, Inc. and Anchor Drilling dated
       December 22, 2015.

47.    Vehicle Master Lease Agreement by and between Mobilease, Inc. and Terra Oilfield Solutions, LLC
       dated August 7, 2017.




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                                             SCHEDULE 4.2
                                        LITIGATION; ORDERS
1. Kapolka v. Anchor Drilling Fluids USA, LLC and Q’Max America Inc., Civil Action No. 2:18-cv-
   10007 in the United States District Court for the Western District of Pennsylvania – Pittsburgh Division,
   alleging violations of the Fair Labor Standards Act.




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                                             SCHEDULE 4.4
                                            REAL PROPERTY
(a)
1.     The Midland Solids Control Warehouse consisting of a storage warehouse and office space. Q’Max
       currently owes approximately $37,000.00 for unpaid rent on the Midland Solids Control Warehouse
       Lease.

2.     The Leetsdale Warehouse consisting of a mud plant and warehouse. Q’Max is currently not in default
       of the Leetsdale Warehouse Lease.

3.     The Wellsville Warehouse consisting of a mobile office, warehouse, and blending facility. The
       Wellsville Warehouse is subleased by Anchor Drilling pursuant to a sublease with Cimbar
       Performance Minerals WV, LLC. Cimbar Performance WV, LLC leases the Wellsville Warehouse
       directly from Cimbar Performance Minerals, OH. Anchor Drilling currently owes approximately
       $29,700.00 for unpaid rent on the Cimbar Sublease.

4.     45,000 square feet of vacant land in Wellsville, Ohio, located across from the Wellsville Warehouse.
       Anchor currently owes approximately $2,500.00 for unpaid rent on the Wellsville Yard Lease.

5.     The Horseheads Warehouse. Anchor is currently not in default of the Horseheads Warehouse Lease.

6.     The Newcomerstown Warehouse consisting of a storage warehouse and mud plant. Anchor is
       currently not in default of the Newcomerstown Warehouse Lease. Anchor has continued to make rent
       payments per the Newcomerstown Warehouse Rent Deferral Agreement.

7.     Employee housing located at 1122 West State Street, Newcomerstown, Ohio 43832. Anchor
       currently owes approximately $3,000.00 for unpaid rent on Newcomerstown Housing Lease.

8.     Employee housing located at 2303 North Mulberry Lane Hobbs, New Mexico, 88240. Anchor is
       currently not in default of the Hobbs, NM Housing Lease.

9.     Employee housing located at 5001 W. Wadley, Midland, Texas, Apartment No. P112. Anchor is
       currently not in default of the Midland Apartment Lease.
(b)
       2984 North Wingate Avenue, Odessa, Texas 79764. Owned by Anchor Drilling. The premises
       contain an abandoned warehouse and a storage yard for solids control assets owned by Anchor
       Drilling.




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                                             SCHEDULE 4.5
                                     ENVIRONMENTAL MATTERS


(a)     None.
(b)     On October 10, 2017, a release of diesel fuel (estimated to be less than 550 gallons) occurred at
        Anchor Drilling’s facility in Wellsville, Ohio. The diesel fuel was released to a storm sewer and
        entered the Ohio River. The release was reported to the local, regional and federal authorities. The
        release was contained by the deployment of primary and secondary booms. Anchor Drilling
        immediately hired environmental remediation contractors to address the release.
(c)      None.
(d)      None.




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                                              SCHEDULE 4.6
                                          SUPPLIERS; CUSTOMERS
(a)
        Supplier                                 LTM Spend ending 4/30/20
 1.     Cimbar WV                                $13,000,821

 2.     American Refining Group, Inc.            $5,001,634
 3.     Ingevity Corporation                     $2,592,210
 4.     Synthex Organics, LLC                    $1,346,471
 5.      Abilene Rental Center, LLC              $1,304,626
 6.      Myers Well Service Inc.                 $1,236,658
 7.      Coyle Transport Services, Inc.          $440,309
 8.      United Centrifuge Manufacturing Inc.    $437,348
 9.      Tetra Specialty Chemicals               $428,341
 10.     Greer Industries, Inc.                  $326,233
(b)
          Customer                               LTM Revenue ending 4/30/20
1.        Southwestern Energy                    $22,720,231
2         Ascent Resources                       $14,411,356
3.        Devon Energy                           $8,715,197
4.        EAP Operating, LLC                     $5,733,569
5.        EQT Production Company                 $3,353,506
6.        Columbia Gas Transmission LLC          $3,156,421
7.        Antero Resources Corporation           $2,456,065
8.        XTO Energy, Inc.                       $2,180,700
9.        Tribune Resources, LLC                 $2,063,300
10.       Jay Bee Oil and Gas                    $1,756,930




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                                             SCHEDULE 4.8
                                        EXISTING CONTRACTS
                                         Contract                                              Cure
                                                                                              Amount
 1.      Cimbar Supply Agreement.                                                            $2,610,796
 2.      Amended Cimbar Supply Agreement.                                                    Same as #1
                                                                                               above
 3.      Operating Agreement of C&A Grinding, L.L.C. by and between Cimbar Performance         None
         Minerals, Inc. and Anchor Drilling Fluids USA, Inc. dated January 1, 2012.
 4.      Amendment No. 1 to Operating Agreement of C&A Grinding, L.L.C. by and between         None
         Cimbar Performance Minerals WV, LLC and Anchor Drilling Fluids USA, LLC dated
         April 1, 2018.
 5.      Amendment No. 2 to Operating Agreement of C&A Grinding, L.L.C. by and between         None
         Cimbar Performance Minerals WV, LLC and Anchor Drilling Fluids USA, LLC dated
         March 3, 2020.
 6.      Cimbar Sublease.                                                                       $29,700
 7.      Cimbar Amended Sublease.                                                             Same as #1
                                                                                                above
 8.      Amended and Restated Equipment Lease With Option, by and between C&A Grinding, None (Cimbar
         LLC, Cimbar Performance Minerals, Inc. and Anchor Drilling dated December 17, 2018.  owes the JV
                                                                                              $30,000 for
                                                                                                  rent)
 9.      Letter Agreement with respect to Amended and Restated Equipment Lease With Option,      None
         by and between C&A Grinding, LLC, Cimbar Performance Minerals, Inc. and Anchor
         Drilling dated December 19, 2018.
 10.     Settlement Agreement and Release, by and between Cimbar Performance Minerals WV,        None
         LLC and Anchor Drilling, dated January 10, 2019.
 11.     Letter Agreement, by and between Cimbar Performance Minerals and Anchor Drilling, Same as # 1
         dated April 3, 2020.                                                                    above
 12.     Master Rental Service Agreement by and between Apache Corporation and Q’Max dated       None
         March 26, 2015.
 13.     Master Service Agreement by and between Callon Petroleum Company and Q’Max dated        None
         January 26, 2016.
 14.     Master Service Agreement by and between Diamondback E&P LLC and Anchor Drilling         None
         dated February 28, 2017.
 15.     Master Service Agreement by and between Grenadier Energy Partners II, LLC and Anchor    None
         Drilling dated May 8, 2019.
 16.     Amended and Restated Master Service/Sales Agreement by and between Pioneer Natural      None
         Resources USA, Inc. dated January 9, 2017.
 17.     Master Service Agreement by and between Solaris Water Midstream, LLC and Anchor         None
         Drilling dated October 4, 2018.
 18.     Master Service Agreement by and between XTO Energy Inc. and Anchor Drilling dated       None
         January 15, 2007.
 19.     Master Service Agreement by and between Matador Production Company and Anchor           None
         Drilling dated April 29, 2019.
 20.     Master Service Agreement by and between Patriot Resources, Inc. and Q’Max dated May     None
         12, 2015.
 21.     Master Service Agreement by and between CrownQuest Operating, LLC and Anchor            None
         Drilling dated October 16, 2015.
 22.     Master Service Agreement by and between Halcon Operating Co., Inc. and Q’Max March      None
         8, 2017.
 23.     Master Service Agreement by and between Murphy Exploration & Production Company –       None
         USA and Anchor Drilling dated September 10, 2018.
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                                  WRITTEN CONSENT
                              OF THE SOLE DIRECTOR OF
                                Q’MAX AMERICA INC.
                                        May 22, 2020

       The undersigned, being the sole director of Q’Max America Inc., a Delaware corporation
(the “Company”), does hereby adopt, vote for, consent to and approve the following resolutions:

       RESOLVED, that James Katchadurian is hereby appointed and elected to serve as the
Chief Restructuring Officer of the Company effective as of the date hereof and until his
resignation, death or removal.

        IN WITNESS WHEREOF, the undersigned has executed this consent effective as of the
date first above written.



                                           Rafael Diaz-Granados




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                   THIS IS EXHIBIT”_________
                      ref9rred to in the Ativit of
                      (Q/’bk
                   Sworn before me this   2          /
                   day of          /      A.D. 20
                                  /
                              Jonathan Tomm
                            Banister and Solic4tor
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                         VICTORIA DIVISION

--------------------------------------------------------------------- x
                                                                      :
                                                                          Chapter 11
In re:                                                                :
                                                                      :   Case No. 20-60030 (CML)
Q’Max America Inc.,                                                   :
                                                                      :
                                                   Debtor.            :
                                                                      :
--------------------------------------------------------------------- x

                                 CORPORATE OWNERSHIP STATEMENT

       Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a governmental unit, that directly or indirectly own 10% or
more of any class of the Debtor’s equity interests:

                 Shareholder                                   Approximate Percentage of Shares Held
            Central Procurement Inc.                                             100%
             Q’Max Solutions Inc.                            Owns 100% of shares of Central Procurement Inc.
              Fluid Holding Corp.                             Owns 100% of shares of Q’Max Solutions Inc.
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                   Swombeforemethis                  /
                   dayof                 AD, 20
                                 /
                             Jonathan Tomm
                           8arrister and Solicftor
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From:                                         MacLeod, Walker W. <wmacleod@mccarthy.ca>
Sent:                                         May 12, 2020 10:34 AM
To:                                           Stephenson, Aaron
Cc:                                           Gorman, Howard A.
Subject:                                      RE: [EXT] QMax | Demands and Notices of Intention to Enforce


Aaron, thanks, we acknowledge receipt and accept service on behalf of both the Borrowers and Guarantors (as defined
in your letter).


                         Walker MacLeod
                         Partner | Associé
                         Bankruptcy and Restructuring | Faillite et restructuration
                         T: 403-260-3710
                         C: 403-463-1207
                         F: 403-260-3501
                         E: wmacleod@mccarthy.ca
                         McCarthy Tétrault LLP
                         Suite 4000
                         421 - 7th Avenue SW
                         Calgary AB T2P 4K9

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navigate the global impact of COVID-19.




From: Stephenson, Aaron <aaron.stephenson@nortonrosefulbright.com>
Sent: Tuesday, May 12, 2020 9:19 AM
To: MacLeod, Walker W. <wmacleod@mccarthy.ca>
Cc: Gorman, Howard A. <howard.gorman@nortonrosefulbright.com>
Subject: RE: [EXT] QMax | Demands and Notices of Intention to Enforce

Good morning Walker,

A demand and notices under BIA, s. 244 are attached. Please confirm your receipt and acceptance of same by reply
email.

Thanks.

Aaron Stephenson
Of Counsel

Norton Rose Fulbright Canada LLP / S.E.N.C.R.L., s.r.l.
400 3rd Avenue SW, Suite 3700, Calgary Alberta T2P 4H2 Canada
T: +1 403.267.8290 | F: +1 403.264.5973
                                                                                 1
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aaron.stephenson@nortonrosefulbright.com

NORTON ROSE FULBRIGHT

From: MacLeod, Walker W. <wmacleod@mccarthy.ca>
Sent: May 11, 2020 6:58 PM
To: Stephenson, Aaron <aaron.stephenson@nortonrosefulbright.com>
Cc: Gorman, Howard A. <howard.gorman@nortonrosefulbright.com>
Subject: RE: [EXT] QMax | Demands and Notices of Intention to Enforce

We are instructed to accept service of demands / 244’s on behalf of all of your loan parties (filing and non‐
filing). Service by email is good – thanks, wwm.


                         Walker MacLeod
                         Partner | Associé
                         Bankruptcy and Restructuring | Faillite et restructuration
                         T: 403-260-3710
                         C: 403-463-1207
                         F: 403-260-3501
                         E: wmacleod@mccarthy.ca
                         McCarthy Tétrault LLP
                         Suite 4000
                         421 - 7th Avenue SW
                         Calgary AB T2P 4K9

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navigate the global impact of COVID-19.




From: Stephenson, Aaron <aaron.stephenson@nortonrosefulbright.com>
Sent: Monday, May 11, 2020 6:00 PM
To: MacLeod, Walker W. <wmacleod@mccarthy.ca>
Cc: Gorman, Howard A. <howard.gorman@nortonrosefulbright.com>
Subject: [EXT] QMax | Demands and Notices of Intention to Enforce

Walker – I forgot to mention when we just spoke; did you get instructions to accept our demand and 244 notices by email
to your attention? Thanks.

Aaron Stephenson
Of Counsel

Norton Rose Fulbright Canada LLP / S.E.N.C.R.L., s.r.l.
400 3rd Avenue SW, Suite 3700, Calgary Alberta T2P 4H2 Canada
T: +1 403.267.8290 | F: +1 403.264.5973
aaron.stephenson@nortonrosefulbright.com

NORTON ROSE FULBRIGHT
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commercial electronic messages, such as account statements, invoices, client communications, and other
similar factual electronic communications. Suite 5300, TD Bank Tower, Box 48, 66 Wellington Street West,
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commercial electronic messages, such as account statements, invoices, client communications, and other
similar factual electronic communications. Suite 5300, TD Bank Tower, Box 48, 66 Wellington Street West,
Toronto, ON M5K 1E6




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May 12, 2020

                                                                                                        Norton Rose Fulbright Canada LLP
Sent By E-mail                                                                                          400 3rd Avenue SW, Suite 3700
(c/o scollins@mccarthy.ca; wmacleod@mccarthy.ca)                                                        Calgary, Alberta T2P 4H2 Canada

Q’Max Solutions Inc. (f/k/a Fluid Acquisition Corp.)     F: +1 403.264.5973
Q’Max Solutions Holdings Inc.                            nortonrosefulbright.com
1356760 Alberta Ltd. (f/k/a 1356760 Alberta Inc.)
Fluid Holding Corp.
QMax Canada Operations Inc. (f/k/a QMax Solutions EE
                                                         Howard Gorman, Q.C.
Operations Inc.)                                         +1 403.267.8144
Central Procurement Inc.1 (f/k/a Q’Max Solutions         howard.gorman@nortonrosefulbright.com
(Barbados) Inc.)
Central Procurement Inc.                                 Your reference               Our reference
Q’Max America Inc.                                                                    1001022899
Anchor Drilling Fluids USA, LLC (f/k/a Anchor Drilling
Fluids USA, Inc.)
QMax Mexico, S.A. de C.V.
QMax Solutions Colombia (branch of Central Procurement Inc. f/k/a Q’Max Solutions (Barbabos) Inc.)
Environmental Solutions for Petroleum Services – Free Zone – S.A.E.
SARL Environmental Solutions Algeria
QMax Ecuador S.A.


Dear Sirs:

Indebtedness of Q’Max Solutions Inc., Q’Max America Inc. and Q’Max Canada
Operations Inc., as borrowers (the Borrowers), and Q’Max Solutions Inc., Q’Max
Solutions Holdings Inc., 1356760 Alberta Ltd., Fluid Holding Corp., Q’Max Canada
Operations Inc., Q’Max America Inc., Anchor Drilling Fluids USA, LLC, Central
Procurement Inc., Central Procurement Inc., QMax Mexico, S.A. de C.V., QMax Ecuador
S.A. and Environmental Solutions for Petroleum Services – Free Zone – S.A.E., as
guarantors (the Guarantors), to HSBC Bank Canada, as Administrative Agent to the
Lenders from time to time party to the Credit Agreement (the Agent), and Bank of
Montreal, Business Development Bank of Canada, Export Development Canada, HSBC
Bank Canada and HSBC Bank USA, as lenders (the Lenders)

Thank you for agreeing through your legal counsel, Walker Macleod of McCarthy Tetrault LLP, to accept delivery
of this demand and the enclosed notices in respect of the above-referenced entities by email to
wmacleod@mccarthy.ca.

As you know, our offices are the solicitors who act on behalf of the Agent and in connection with amounts owing
to the Agent and the Lenders pursuant to various loans and advances made to the Borrowers by the Agent and
the Lenders pursuant to the terms of, inter alia, a Second Amended and Restated Credit Agreement dated July
31, 2018 between the Borrowers, the Agent, and the Lenders (as amended from time to time, the Credit
Agreement), and guaranteed pursuant to, inter alia, (i) Guarantee dated May 23, 2014 granted by Q’Max
Solutions Holdings Inc. in favour of the Agent, (ii) Guarantee dated May 23, 2014 granted by 1356760 Alberta
Ltd. in favour of the Agent, (iii) Limited Recourse Guarantee dated May 23, 2014 granted by Fluid Holding Corp.



1
    Governing jurisdiction: Barbados



CAN_DMS: \133233799\6

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provide legal services to clients. Details of each entity, with certain regulatory information, are at nortonrosefulbright.com.
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May 12, 2020



in favour of the Agent, (iv) Guarantee dated September 1, 2016 granted by QMax Canada Operations Inc. in
favour of the Agent, (v) Guarantee dated May 23, 2014 granted by Q’Max America Inc. in favour of the Agent,
(vi) Guarantee dated November 21, 2017 granted by Anchor Drilling Fluids USA, LLC in favour of the Agent, (vii)
Guarantee dated May 23, 2014 granted by Central Procurement Inc. (as Q’Max Solutions (Barbados) Inc.) in
favour of the Agent, (viii) Guarantee dated May 23, 2014 granted by QMax Mexico, S.A. de C.V. in favour of the
Agent, (ix) Corporate Guarantee Agreement dated as of July 31, 2014 granted by QMax Ecuador S.A. in favour
of the Agent and (x) Guarantee Agreement granted by Environmental Solutions for Petroleum Services – Free
Zone – S.A.E. in favour of the Agent, all as may have been amended from time to time (all such guarantees are
collectively referred to as the Guarantees).

The Credit Agreement and the Guarantees are, as applicable, secured by, inter alia, the following security
documents (collectively, the Security Documents):

   (i)     Security Agreement dated May 23, 2014 granted by Q’Max Solutions Inc. in favour of the Agent;

  (ii)     Security Agreement dated May 23, 2014 granted by Fluid Acquisition Corp. in favour of the Agent;

 (iii)     Securities Pledge Agreement dated May 23, 2014 granted by Q’Max Solutions Inc. in favour of the
           Agent in respect of the shares of Q’Max Solutions Holdings Inc., 1356760 Alberta Ltd. and QMax
           Canada Operations Inc. held by Q’Max Solutions Inc., as amended by an Amendment to Securities
           Pledge Agreement dated September 1, 2016 between Q’Max Solutions Inc. and the Agent;

 (iv)      Security Agreement dated May 23, 2014 granted by Q’Max Solutions Holdings Inc. in favour of the
           Agent;

  (v)      Security Agreement dated May 23, 2014 granted by 1356760 Alberta Ltd. in favour of the Agent;

 (vi)      Securities Pledge Agreement dated May 23, 2014 granted by Fluid Holding Corp. in favour of the Agent
           in respect of the shares of Q’Max Solutions Inc. (as Fluid Acquisition Corp.) held by Fluid Holding Corp.;

(vii)      Security Agreement dated September 1, 2016 between QMax Canada Operations Inc. and the Agent;

(viii)     Security Agreement dated as of May 23, 2014 granted by Q’Max America Inc. in favour of the Agent;

 (ix)      Security Agreement dated November 21, 2017 between Anchor Drilling Fluids USA, LLC in favour of the
           Agent, as amended by an Amendment No. 1 to Security agreement dated July 31, 2018;

  (x)      Account Security Deed dated 2014 (day and month not specified) between Central Procurement Inc. in
           favour of the Agent;

 (xi)      Debenture dated 2014 (day and month not specified) granted by Central Procurement Inc. in favour of
           the Agent;

(xii)      Shares Charge dated 2014 (day and month not specified) between Q’Max Solutions Inc. and the Agent,
           as security agent in respect of the shares in Central Procurement Inc. held by Q’Max Solutions Inc.;

(xiii)     Management and Guarantee Commercial Trust Agreement made on July 31, 2014 between Central
           Procurement Inc. through its branch office QMax Solutions Colombia, Helm Fiduciaria S.A., HSBC Bank
           Canada, HSBC Bank USA, Bank of Montreal, Export Development Canada and The Bank of Nova
           Scotia;

(xiv)      Promissory Note No. 01B dated August 22, 2018 issued by Central Procurement Inc. in favour of
           Business Development Bank of Canada;




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 (xv)       Promissory Note No. 02B dated August 22, 2018 issued by Central Procurement Inc. in favour of HSBC
            Bank USA, N.A.;

 (xvi)      Promissory Note No. 03B dated August 22, 2018 issued by Central Procurement Inc. in favour of HSBC
            Bank Canada;

(xvii)      Promissory Note No. 04B dated August 22, 2018 issued by Central Procurement Inc. in favour of Bank
            of Montreal;

(xviii)     Promissory Note No. 05B dated August 22, 2018 issued by Central Procurement Inc. in favour of Export
            Development Canada;

 (xix)      Contrato De Prenda Sobre Acciones dated July 31, 2014 between Q’Max Solutions Holdings Inc.,
            1356768 Alberta Ltd. and the Agent in respect of the shares in Q’Max Mexico, S.A. de C.V. held by
            Q’Max Solutions Holdings Inc. and 1356768 Alberta Ltd.;

 (xx)       Contrato De Prenda Sin Transmision De Posesion dated July 31, 2014 between Q’Max Mexico, S.A. de
            C.V. and the Agent.

 (xxi)      Convenio Modificatorio Del Contrato De Prenda Sin Transmision De Posesion dated July 31, 2014
            between Q’Max Mexico, S.A. de C.V. and the Agent;

(xxii)      Convenio Modificatoria Del Contrato De Prenda Sobre Acciones dated July 31, 2014 between Q’Max
            Solutions Holdings Inc., 1356760 Alberta Ltd. and the Agent;

(xxiii)     Encargo Fiduciario Que Otorga: QMax Ecuador S.A. A Favor De Fiducia S.A. Administradora De
            Fondos Y Fideicomisos Mercantiles Cuantia Indeterminada dated May 17, 2014 among QMax Ecuador
            S.A., the Agent and Administradora De Fondos Y Fideicomisos Mercantiles;

(xxiv)      Share Pledge granted by Q’Max Solutions Inc., 1356760 Alberta Ltd., Q’Max Solutions Holdings Inc. in
            favour of the Agent in respect of the shares of Environmental Solutions for Petroleum Services – Free
            Zone – S.A.E, held by Q’Max Solutions Inc., 1356760 Alberta Ltd. and Q’Max Solutions Holdings Inc.;

(xxv)       Assignment Agreement between Environmental Solutions for Petroleum Services – Free Zone – S.A.E.,
            as assignor, and the Agent, as assignee, assigning to the Agent all current and future insurance policies
            of Environmental Solutions for Petroleum Services – Free Zone – S.A.E.; and

(xxvi)      Share Pledge Agreement granted by Environmental Solutions for Petroleum Services – Free Zone –
            S.A.E. in favour of the Lenders in respect of the shares of SARL Environmental Solutions Algeria held by
            Environmental Solutions for Petroleum Services – Free Zone – S.A.E.

 Capitalized words used herein and not defined shall have the meanings assigned to them in the Credit
 Agreement.

 It is the position of the Agent and the Lenders that the Borrower and the Guarantors are in default of the Credit
 Agreement, the Guarantees, the Security Documents and the other above listed agreements, as applicable, for,
 among other things, failing to meet certain financial covenants set out in the Credit Agreement.

 As at May 5, 2020, the amounts outstanding and owing to the Agent and the Lenders pursuant to and in
 connection with the Credit Agreement, inclusive of interest, is USD $145,381,623.21 plus CDN $1,228,668.47 as
 well as outstanding letters of credit in the amounts of USD $3,916,296.42 and CDN $1,161,408.79 and
 outstanding credit card balances, plus accrued and accruing costs and disbursements, and interest continuing to
 accrue per diem (collectively, the Outstanding Amounts).




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May 12, 2020



In addition to the per diem interest, the amounts owing will be increased by any costs incurred by the Agent and
the Lenders in connection with the collection of the Outstanding Amounts and the enforcement of the Agent and
the Lenders’ security interests under the Security Documents.

Demand is hereby made upon the Borrowers and the Guarantors for payment in full of the Outstanding Amounts
together with any accrued interest and other legal fees or charges that may arise. In the event that payment is
not made in full by close of business on May 22, 2020, or the Agent and the Lenders determine that their
collateral is at risk, the Agent and the Lenders will take such steps as they may consider necessary to protect
their position.

Also enclosed for service upon you are Notices of Intention to Enforce Security provided in accordance with the
provisions of the Bankruptcy and Insolvency Act. If you consent to the Agent and the Lenders taking earlier
enforcement, please return the consent executed by a duly executed officer of each of the Borrower and the
Guarantors.

Notwithstanding delivery of this demand and the enclosed Notices, the Lenders are supportive of ongoing
marketing efforts to facilitate sales of various assets, division and/or subsidiaries within the Q’Max enterprise,
including in relation to Q’Max’s operations in Mexico, Colombia and the Middle East / Northern Africa.

Yours very truly,

Norton Rose Fulbright Canada LLP
Per:




Howard Gorman, Q.C.
Senior Partner

Copies to:          HSBC Bank Canada, as Agent, and HSBC Bank USA (via email)
                    Neil Honess (KPMG) (via email)
                    Aaron Stephenson and Craig Hickey (Norton Rose Fulbright Canada LLP) (via email)
                    Sean Collins and Walker Macleod (via email)




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                            NOTICE OF INTENTION TO ENFORCE SECURITY
                                        (Subsection 244(1))




To:      Q’Max Solutions Inc.


Take notice that:

1.       HSBC Bank Canada, as administrative agent (the Agent) to Bank of Montreal, Business
         Development Bank of Canada, Export Development Canada, HSBC Bank Canada and HSBC
         Bank USA (the Lenders) under the Second Amended and Restated Credit Agreement dated July
         31, 2018 between, inter alios, Q’Max Solutions Inc., Q’Max America Inc. and QMax Canada
         Operations Inc., as borrowers, the Agent, and the Lenders intends as a secured creditor to
         enforce its security on the property of the above insolvent person which encompasses all of their
         property and assets;

2.       The security that is to be enforced includes security granted by the insolvent person in favour of
         the Agent is set out in Schedule "A", attached hereto;

3.       The total amount of the indebtedness secured by the security, as at May 5, 2020, is USD
         $145,381,623.21 plus CDN $1,228,668.47 as well as outstanding letters of credit in the amounts
         of USD $3,916,296.42 and CDN $1,161,408.79 and outstanding credit card balances, plus
         accrued and accruing costs, disbursements and interest accruing from the date of this notice; and

4.       The Agent will not have the right to enforce the security until after the expiry of the 10 day period
         following the sending of this notice unless the insolvent person consents to an earlier
         enforcement.


Dated at Calgary, Alberta, this 12th day of May, 2020.



HSBC Bank Canada, as Administrative Agent
by its solicitors and agents, Norton Rose Fulbright Canada LLP




Per:     _______________________________
         Howard Gorman, Q.C.




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Q’Max Solutions Inc. hereby:

(a)      consents to the immediate enforcement by the Agent as a secured party of the security described
         in paragraph 2 above pursuant to Section 244(2) of the Bankruptcy and Insolvency Act (Canada);

(b)      consents to the secured party’s (the Agent’s) disposition of any or all collateral subject to the
         secured party’s (the Agent’s) security immediately or otherwise as the secured party may
         determine in its sole discretion, without notice as required by the Personal Property Security Act
         (Alberta); and

(c)      consents to the secured party's (the Agent’s) immediate appointment of a Receiver, or a
         Receiver-Manager, in accordance with the provisions of the above noted security.




Per:     ______________________________________ c/s
         Q’Max Solutions Inc.
         By its authorized signatory

         NAME:
         TITLE:




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                                            SCHEDULE “A”



       Second Amended and Restated Credit Agreement dated July 31, 2018 between Q’Max Solutions
        Inc., Q’Max America Inc. and QMax Canada Operations Inc., as borrowers, the Agent, as
        administrative agent for the Lenders, and those financial institutions who from time to time
        become lenders thereunder (collectively, the Lenders), as amended by amending agreements
        dated May 13, 2019, July 22, 2019, September 6, 2019 and March 31, 2020.

       Guarantee dated May 23, 2014 granted by Q’Max Solutions Inc. in favour of the Agent.

       Security Agreement dated May 23, 2014 granted by Q’Max Solutions Inc. in favour of the Agent.

       Securities Pledge Agreement dated May 23, 2014 granted by Q’Max Solutions Inc. in favour of
        the Agent in respect of the shares of Q’Max Solutions Holdings Inc., 1356760 Alberta Ltd. and
        QMax Canada Operations Inc. held by Q’Max Solutions Inc., as amended by an Amendment to
        Securities Pledge Agreement dated September 1, 2016 between Q’Max Solutions Inc. and the
        Agent.

       Shares Charge dated 2014 (day and month not specified) between Q’Max Solutions Inc. and the
        Agent, as security agent in respect of the shares in Central Procurement Inc, (as Q’Max Solutions
        (Barabdos) Inc.) held by Q’Max Solutions Inc..

       Share Pledge granted by Q’Max Solutions Inc., 1356760 Alberta Ltd., Q’Max Solutions Holdings
        Inc. in favour of the Agent in respect of the shares of Environmental Solutions for Petroleum
        Services – Free Zone – S.A.E, held by Q’Max Solutions Inc., 1356760 Alberta Ltd. and Q’Max
        Solutions Holdings Inc.

       Such further and other security documents, agreements, certificates and other documents as may
        have been entered into by Q’Max Solutions Inc. from time to time pursuant to or in connection
        with the Second Amended and Restated Credit Agreement and indebtedness owing to the Agent
        and the Lenders.




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                            NOTICE OF INTENTION TO ENFORCE SECURITY
                                        (Subsection 244(1))




To:      Q’Max Solutions Holdings Inc.


Take notice that:

1.       HSBC Bank Canada, as administrative agent (the Agent) to Bank of Montreal, Business
         Development Bank of Canada, Export Development Canada, HSBC Bank Canada and HSBC
         Bank USA (the Lenders) under the Second Amended and Restated Credit Agreement dated July
         31, 2018 between, inter alios, Q’Max Solutions Inc., Q’Max America Inc. and QMax Canada
         Operations Inc., as borrowers, the Agent, and the Lenders intends as a secured creditor to
         enforce its security on the property of the above insolvent person which encompasses all of their
         property and assets;

2.       The security that is to be enforced includes security granted by the insolvent person in favour of
         the Agent is set out in Schedule "B", attached hereto;

3.       The total amount of the indebtedness secured by the security, as at May 5, 2020, is USD
         $145,381,623.21 plus CDN $1,228,668.47 as well as outstanding letters of credit in the amounts
         of USD $3,916,296.42 and CDN $1,161,408.79 and outstanding credit card balances, plus
         accrued and accruing costs, disbursements and interest accruing from the date of this notice; and

4.       The Agent will not have the right to enforce the security until after the expiry of the 10 day period
         following the sending of this notice unless the insolvent person consents to an earlier
         enforcement.


Dated at Calgary, Alberta, this 12th day of May, 2020.



HSBC Bank Canada, as Administrative Agent
by its solicitors and agents, Norton Rose Fulbright Canada LLP




Per:     _______________________________
         Howard Gorman, Q.C.




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Q’Max Solutions Holdings Inc. hereby:


(a)      consents to the immediate enforcement by the Agent as a secured party of the security described
         in paragraph 2 above pursuant to Section 244(2) of the Bankruptcy and Insolvency Act (Canada);

(b)      consents to the secured party’s (the Agent’s) disposition of any or all collateral subject to the
         secured party’s (the Agent’s) security immediately or otherwise as the secured party may
         determine in its sole discretion, without notice as required by the Personal Property Security Act
         (Alberta); and

(c)      consents to the secured party's (the Agent’s) immediate appointment of a Receiver, or a
         Receiver-Manager, in accordance with the provisions of the above noted security.




Per:     ______________________________________ c/s
         Q’Max Solutions Holdings Inc.
         By its authorized signatory

         NAME:
         TITLE:




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                                           SCHEDULE “B”




       Guarantee dated May 23, 2014 granted by Q’Max Solutions Holdings Inc. in favour of the Agent.

       Security Agreement dated May 23, 2014 granted by Q’Max Solutions Holdings Inc. in favour of
        the Agent.

       Contrato De Prenda Sobre Acciones dated July 31, 2014 between Q’Max Solutions Holdings Inc.,
        1356768 Alberta Ltd. and the Agent in respect of the shares in Q’Max Mexico, S.A. de C.V. held
        by Q’Max Solutions Holdings Inc. and 1356768 Alberta Ltd.

       Convenio Modificatoria Del Contrato De Prenda Sobre Acciones dated July 31, 2014 between
        Q’Max Solutions Holdings Inc., 1356760 Alberta Ltd. and the Agent.

       Share Pledge granted by Q’Max Solutions Inc., 1356760 Alberta Ltd., Q’Max Solutions Holdings
        Inc. in favour of the Agent in respect of the shares of Environmental Solutions for Petroleum
        Services – Free Zone – S.A.E, held by Q’Max Solutions Inc., 1356760 Alberta Ltd. and Q’Max
        Solutions Holdings Inc.

       Such further and other security documents, agreements, certificates and other documents as may
        have been entered into by Q’Max Solutions Holdings Inc. from time to time pursuant to or in
        connection with the Guarantee and indebtedness owing to the Agent and the Lenders.




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                            NOTICE OF INTENTION TO ENFORCE SECURITY
                                        (Subsection 244(1))




To:      1356760 Alberta Ltd.


Take notice that:

1.       HSBC Bank Canada, as administrative agent (the Agent) to Bank of Montreal, Business
         Development Bank of Canada, Export Development Canada, HSBC Bank Canada and HSBC
         Bank USA (the Lenders) under the Second Amended and Restated Credit Agreement dated July
         31, 2018 between, inter alios, Q’Max Solutions Inc., Q’Max America Inc. and QMax Canada
         Operations Inc., as borrowers, the Agent, and the Lenders intends as a secured creditor to
         enforce its security on the property of the above insolvent person which encompasses all of their
         property and assets;

2.       The security that is to be enforced includes security granted by the insolvent person in favour of
         the Agent is set out in Schedule "C", attached hereto;

3.       The total amount of the indebtedness secured by the security, as at May 5, 2020, is USD
         $145,381,623.21 plus CDN $1,228,668.47 as well as outstanding letters of credit in the amounts
         of USD $3,916,296.42 and CDN $1,161,408.79 and outstanding credit card balances, plus
         accrued and accruing costs, disbursements and interest accruing from the date of this notice; and

4.       The Agent will not have the right to enforce the security until after the expiry of the 10 day period
         following the sending of this notice unless the insolvent person consents to an earlier
         enforcement.


Dated at Calgary, Alberta, this 12th day of May, 2020.



HSBC Bank Canada, as Administrative Agent
by its solicitors and agents, Norton Rose Fulbright Canada LLP




Per:     _______________________________
         Howard Gorman, Q.C.




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1356760 Alberta Ltd. hereby:


(a)      consents to the immediate enforcement by the Agent as a secured party of the security described
         in paragraph 2 above pursuant to Section 244(2) of the Bankruptcy and Insolvency Act (Canada);

(b)      consents to the secured party’s (the Agent’s) disposition of any or all collateral subject to the
         secured party’s (the Agent’s and HSBC US’s) security immediately or otherwise as the secured
         party may determine in its sole discretion, without notice as required by the Personal Property
         Security Act (Alberta); and

(c)      consents to the secured party's (the Agent’s) immediate appointment of a Receiver, or a
         Receiver-Manager, in accordance with the provisions of the above noted security.




Per:     ______________________________________ c/s
         1356760 Alberta Ltd.
         By its authorized signatory

         NAME:
         TITLE:




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                                           SCHEDULE “C”



       Guarantee dated May 23, 2014 granted by 1356760 Alberta Ltd. in favour of the Agent.

       Security Agreement dated May 23, 2014 granted by 1356760 Alberta Ltd. in favour of the Agent.

       Contrato De Prenda Sobre Acciones dated July 31, 2014 between Q’Max Solutions Holdings Inc.,
        1356768 Alberta Ltd. and the Agent in respect of the shares in Q’Max Mexico, S.A. de C.V. held
        by Q’Max Solutions Holdings Inc. and 1356768 Alberta Ltd.

       Convenio Modificatoria Del Contrato De Prenda Sobre Acciones dated July 31, 2014 between
        Q’Max Solutions Holdings Inc., 1356760 Alberta Ltd. and the Agent.

       Share Pledge granted by Q’Max Solutions Inc., 1356760 Alberta Ltd., Q’Max Solutions Holdings
        Inc. in favour of the Agent in respect of the shares of Environmental Solutions for Petroleum
        Services – Free Zone – S.A.E, held by Q’Max Solutions Inc., 1356760 Alberta Ltd. and Q’Max
        Solutions Holdings Inc.

       Such further and other security documents, agreements, certificates and other documents as may
        have been entered into by 1356760 Alberta Ltd. from time to time pursuant to or in connection
        with the Guarantee and indebtedness owing to the Agent and the Lenders.




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                            NOTICE OF INTENTION TO ENFORCE SECURITY
                                        (Subsection 244(1))




To:      Fluid Holding Corp.


Take notice that:

1.       HSBC Bank Canada, as administrative agent (the Agent) to Bank of Montreal, Business
         Development Bank of Canada, Export Development Canada, HSBC Bank Canada and HSBC
         Bank USA (the Lenders) under the Second Amended and Restated Credit Agreement dated July
         31, 2018 between, inter alios, Q’Max Solutions Inc., Q’Max America Inc. and QMax Canada
         Operations Inc., as borrowers, the Agent, and the Lenders intends as a secured creditor to
         enforce its security on the property of the above insolvent person which encompasses all of their
         property and assets;

2.       The security that is to be enforced includes security granted by the insolvent person in favour of
         the Agent is set out in Schedule "D", attached hereto;

3.       The total amount of the indebtedness secured by the security, as at May 5, 2020, is USD
         $145,381,623.21 plus CDN $1,228,668.47 as well as outstanding letters of credit in the amounts
         of USD $3,916,296.42 and CDN $1,161,408.79 and outstanding credit card balances, plus
         accrued and accruing costs, disbursements and interest accruing from the date of this notice; and

4.       The Agent will not have the right to enforce the security until after the expiry of the 10 day period
         following the sending of this notice unless the insolvent person consents to an earlier
         enforcement.


Dated at Calgary, Alberta, this 12th day of May, 2020.



HSBC Bank Canada, as Administrative Agent
by its solicitors and agents, Norton Rose Fulbright Canada LLP




Per:     _______________________________
         Howard Gorman, Q.C.




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Fluid Holding Corp. hereby:


(a)      consents to the immediate enforcement by the Agent as a secured party of the security described
         in paragraph 2 above pursuant to Section 244(2) of the Bankruptcy and Insolvency Act (Canada);

(b)      consents to the secured party’s (the Agent’s) disposition of any or all collateral subject to the
         secured party’s (the Agent’s) security immediately or otherwise as the secured party may
         determine in its sole discretion, without notice as required by the Personal Property Security Act
         (Alberta); and

(c)      consents to the secured party's (the Agent’s) immediate appointment of a Receiver, or a
         Receiver-Manager, in accordance with the provisions of the above noted security.




Per:     ______________________________________ c/s
         Fluid Holding Corp.
         By its authorized signatory

         NAME:
         TITLE:




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                                            SCHEDULE “D”



       Limited Recourse Guarantee dated May 23, 2014 granted by Fluid Holding Corp. in favour of the
        Agent.

       Securities Pledge Agreement dated May 23, 2014 granted by Fluid Holding Corp. in favour of the
        Agent in respect of the shares of Fluid Acquisition Corp. held by Fluid Holding Corp.

       Such further and other security documents, agreements, certificates and other documents as may
        have been entered into by Fluid Holding Corp. from time to time pursuant to or in connection with
        the Limited Recourse Guarantee and indebtedness owing to the Agent and the Lenders.




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                            NOTICE OF INTENTION TO ENFORCE SECURITY
                                        (Subsection 244(1))




To:      QMax Canada Operations Inc.


Take notice that:

1.       HSBC Bank Canada, as administrative agent (the Agent) to Bank of Montreal, Business
         Development Bank of Canada, Export Development Canada, HSBC Bank Canada and HSBC
         Bank USA (the Lenders) under the Second Amended and Restated Credit Agreement dated July
         31, 2018 between, inter alios, Q’Max Solutions Inc., Q’Max America Inc. and QMax Canada
         Operations Inc., as borrowers, the Agent, and the Lenders intends as a secured creditor to
         enforce its security on the property of the above insolvent person which encompasses all of their
         property and assets;

2.       The security that is to be enforced includes security granted by the insolvent person in favour of
         the Agent is set out in Schedule "E", attached hereto;

3.       The total amount of the indebtedness secured by the security, as at May 5, 2020, is USD
         $145,381,623.21 plus CDN $1,228,668.47 as well as outstanding letters of credit in the amounts
         of USD $3,916,296.42 and CDN $1,161,408.79 and outstanding credit card balances, plus
         accrued and accruing costs, disbursements and interest accruing from the date of this notice; and

4.       The Agent will not have the right to enforce the security until after the expiry of the 10 day period
         following the sending of this notice unless the insolvent person consents to an earlier
         enforcement.


Dated at Calgary, Alberta, this 12th day of May, 2020.



HSBC Bank Canada, as Administrative Agent
by its solicitors and agents, Norton Rose Fulbright Canada LLP




Per:     _______________________________
         Howard Gorman, Q.C.




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QMax Canada Operations Inc. hereby:


(a)      consents to the immediate enforcement by the Agent as a secured party of the security described
         in paragraph 2 above pursuant to Section 244(2) of the Bankruptcy and Insolvency Act (Canada);

(b)      consents to the secured party’s (the Agent’s) disposition of any or all collateral subject to the
         secured party’s (the Agent’s) security immediately or otherwise as the secured party may
         determine in its sole discretion, without notice as required by the Personal Property Security Act
         (Alberta); and

(c)      consents to the secured party's (the Agent’s) immediate appointment of a Receiver, or a
         Receiver-Manager, in accordance with the provisions of the above noted security.




Per:     ______________________________________ c/s
         QMax Canada Operations Inc.
         By its authorized signatory

         NAME:
         TITLE:




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                                            SCHEDULE “E”


       Second Amended and Restated Credit Agreement dated July 31, 2018 between Q’Max Solutions
        Inc., Q’Max America Inc., QMax Canada Operations Inc., as specified Canadian swingline
        borrower, the Agent, as administrative agent for the Lenders, and those financial institutions who
        from time to time become lenders thereunder (collectively, the Lenders), as amended by
        amending agreements dated May 13, 2019, July 22, 2019, September 6, 2019 and March 31,
        2020.

       Security Agreement dated September 1, 2016 between QMax Canada Operations Inc. and the
        Agent.

       Guarantee dated September 1, 2016 granted by QMax Canada Operations Inc. in favour of the
        Agent.

       Such further and other security documents, agreements, certificates and other documents as may
        have been entered into by Q’Max Canada Operations Inc. from time to time pursuant to or in
        connection with the Second Amended and Restated Credit Agreement, the Guarantee and
        indebtedness owing to the Agent and the Lenders.




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                            NOTICE OF INTENTION TO ENFORCE SECURITY
                                        (Subsection 244(1))




To:      Central Procurement Inc. (f/k/a Q’Max Solutions (Barbados) Inc.)


Take notice that:

1.       HSBC Bank Canada, as administrative agent (the Agent) to Bank of Montreal, Business
         Development Bank of Canada, Export Development Canada, HSBC Bank Canada and HSBC
         Bank USA (the Lenders) under the Second Amended and Restated Credit Agreement dated July
         31, 2018 between, inter alios, Q’Max Solutions Inc., Q’Max America Inc. and QMax Canada
         Operations Inc., as borrowers, the Agent, and the Lenders intends as a secured creditor to
         enforce its security on the property of the above insolvent person which encompasses all of their
         property and assets;

2.       The security that is to be enforced includes security granted by the insolvent person in favour of
         the Agent is set out in Schedule "F", attached hereto;

3.       The total amount of the indebtedness secured by the security, as at May 5, 2020, is USD
         $145,381,623.21 plus CDN $1,228,668.47 as well as outstanding letters of credit in the amounts
         of USD $3,916,296.42 and CDN $1,161,408.79 and outstanding credit card balances, plus
         accrued and accruing costs, disbursements and interest accruing from the date of this notice; and

4.       The Agent will not have the right to enforce the security until after the expiry of the 10 day period
         following the sending of this notice unless the insolvent person consents to an earlier
         enforcement.


Dated at Calgary, Alberta, this 12th day of May, 2020.


HSBC Bank Canada, as Administrative Agent
by its solicitors and agents, Norton Rose Fulbright Canada LLP




Per:     _______________________________
         Howard Gorman, Q.C.




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Central Procurement Inc. hereby:


(a)      consents to the immediate enforcement by the Agent as a secured party of the security described
         in paragraph 2 above pursuant to Section 244(2) of the Bankruptcy and Insolvency Act (Canada);

(b)      consents to the secured party’s (the Agent’s) disposition of any or all collateral subject to the
         secured party’s (the Agent’s) security immediately or otherwise as the secured party may
         determine in its sole discretion, without notice as required by the Personal Property Security Act
         (Alberta); and

(c)      consents to the secured party's (the Agent’s) immediate appointment of a Receiver, or a
         Receiver-Manager, in accordance with the provisions of the above noted security.




Per:     ______________________________________ c/s
         Central Procurement Inc.
         By its authorized signatory

         NAME:
         TITLE:




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                                          SCHEDULE “F”


       Guarantee dated May 23, 2014 granted by Central Procurement Inc. (as Q’Max Solutions
        (Barbados) Inc.) in favour of the Agent.

       Account Security Deed dated 2014 (day and month not specified) between Central Procurement
        Inc, (as Q’Max Solutions (Barabdos) Inc.) in favour of the Agent.

       Debenture dated 2014 (day and month not specified) granted by Central Procurement Inc, (as
        Q’Max Solutions (Barabdos) Inc.) in favour of the Agent.

       Management and Guarantee Commercial Trust Agreement made on July 31, 2014 between
        Central Procurement Inc. (as Q’Max Solutions (Barabdos) Inc.) through its branch office QMax
        Solutions Colombia, Helm Fiduciaria S.A., HSBC Bank Canada, HSBC Bank USA, Bank of
        Montreal, Export Development Canada and The Bank of Nova Scotia.

       Promissory Note No. 01B dated August 22, 2018 issued by Central Procurement Inc. in favour of
        Business Development Bank of Canada.

       Promissory Note No. 02B dated August 22, 2018 issued by Central Procurement Inc. in favour of
        HSBC Bank USA, N.A.

       Promissory Note No. 03B dated August 22, 2018 issued by Central Procurement Inc. in favour of
        HSBC Bank Canada.

       Promissory Note No. 04B dated August 22, 2018 issued by Central Procurement Inc. in favour of
        Bank of Montreal.

       Promissory Note No. 05B dated August 22, 2018 issued by Central Procurement Inc. in favour of
        Export Development Canada.

       Such security documents, agreements, certificates and other documents as may have been
        entered into by Central Procurement Inc. from time to time pursuant to or in connection with
        indebtedness owing to the Agent and the Lenders.




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                            NOTICE OF INTENTION TO ENFORCE SECURITY
                                        (Subsection 244(1))




To:      Q’Max America Inc.


Take notice that:

1.       HSBC Bank Canada, as administrative agent (the Agent) to Bank of Montreal, Business
         Development Bank of Canada, Export Development Canada, HSBC Bank Canada and HSBC
         Bank USA (the Lenders) under the Second Amended and Restated Credit Agreement dated July
         31, 2018 between, inter alios, Q’Max Solutions Inc., Q’Max America Inc. and QMax Canada
         Operations Inc., as borrowers, the Agent, and the Lenders intends as a secured creditor to
         enforce its security on the property of the above insolvent person which encompasses all of their
         property and assets;

2.       The security that is to be enforced includes security granted by the insolvent person in favour of
         the Agent is set out in Schedule "G", attached hereto;

3.       The total amount of the indebtedness secured by the security, as at May 5, 2020, is USD
         $145,381,623.21 plus CDN $1,228,668.47 as well as outstanding letters of credit in the amounts
         of USD $3,916,296.42 and CDN $1,161,408.79 and outstanding credit card balances, plus
         accrued and accruing costs, disbursements and interest accruing from the date of this notice; and

4.       The Agent will not have the right to enforce the security until after the expiry of the 10 day period
         following the sending of this notice unless the insolvent person consents to an earlier
         enforcement.


Dated at Calgary, Alberta, this 12th day of May, 2020.


HSBC Bank Canada, as Administrative Agent
by its solicitors and agents, Norton Rose Fulbright Canada LLP




Per:     _______________________________
         Howard Gorman, Q.C.




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Q’Max America Inc. hereby:


(a)      consents to the immediate enforcement by the Agent as a secured party of the security described
         in paragraph 2 above pursuant to Section 244(2) of the Bankruptcy and Insolvency Act (Canada);

(b)      consents to the secured party’s (the Agent’s) disposition of any or all collateral subject to the
         secured party’s (the Agent’s) security immediately or otherwise as the secured party may
         determine in its sole discretion, without notice as required by the Personal Property Security Act
         (Alberta); and

(c)      consents to the secured party's (the Agent’s) immediate appointment of a Receiver, or a
         Receiver-Manager, in accordance with the provisions of the above noted security.




Per:     ______________________________________ c/s
         Q’Max America Inc.
         By its authorized signatory

         NAME:
         TITLE:




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                                            SCHEDULE “G”


       Second Amended and Restated Credit Agreement dated July 31, 2018 between Q’Max Solutions
        Inc. and Q’Max America Inc., as borrowers, QMax Canada Operations Inc., as specified
        Canadian swingline borrower, the Agent, as administrative agent for the Lenders, and those
        financial institutions who from time to time become lenders thereunder (collectively, the Lenders),
        as amended by amending agreements dated May 13, 2019, July 22, 2019, September 6, 2019
        and March 31, 2020.

       Guarantee dated May 23, 2014 granted by Q’Max America Inc. in favour of the Agent.

       Security Agreement dated as of May 23, 2014 granted by Q’Max America Inc. in favour of the
        Agent.

       Such further and other security documents, agreements, certificates and other documents as may
        have been entered into by Q’Max America Inc. from time to time pursuant to or in connection with
        the Second Amended and Restated Credit Agreement and indebtedness owing to the Agent and
        the Lenders.




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                            NOTICE OF INTENTION TO ENFORCE SECURITY
                                        (Subsection 244(1))




To:      Anchor Drilling Fluids USA, LLC


Take notice that:

1.       HSBC Bank Canada, as administrative agent (the Agent) to Bank of Montreal, Business
         Development Bank of Canada, Export Development Canada, HSBC Bank Canada and HSBC
         Bank USA (the Lenders) under the Second Amended and Restated Credit Agreement dated July
         31, 2018 between, inter alios, Q’Max Solutions Inc., Q’Max America Inc. and QMax Canada
         Operations Inc., as borrowers, the Agent, and the Lenders intends as a secured creditor to
         enforce its security on the property of the above insolvent person which encompasses all of their
         property and assets;

2.       The security that is to be enforced includes security granted by the insolvent person in favour of
         the Agent is set out in Schedule "H", attached hereto;

3.       The total amount of the indebtedness secured by the security, as at May 5, 2020, is USD
         $145,381,623.21 plus CDN $1,228,668.47 as well as outstanding letters of credit in the amounts
         of USD $3,916,296.42 and CDN $1,161,408.79 and outstanding credit card balances, plus
         accrued and accruing costs, disbursements and interest accruing from the date of this notice; and

4.       The Agent will not have the right to enforce the security until after the expiry of the 10 day period
         following the sending of this notice unless the insolvent person consents to an earlier
         enforcement.


Dated at Calgary, Alberta, this 12th day of May, 2020.


HSBC Bank Canada, as Administrative Agent
by its solicitors and agents, Norton Rose Fulbright Canada LLP




Per:     _______________________________
         Howard Gorman, Q.C.




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Anchor Drilling Fluids USA, LLC hereby:


(a)      consents to the immediate enforcement by the Agent as a secured party of the security described
         in paragraph 2 above pursuant to Section 244(2) of the Bankruptcy and Insolvency Act (Canada);

(b)      consents to the secured party’s (the Agent’s) disposition of any or all collateral subject to the
         secured party’s (the Agent’s) security immediately or otherwise as the secured party may
         determine in its sole discretion, without notice as required by the Personal Property Security Act
         (Alberta); and

(c)      consents to the secured party's (the Agent’s) immediate appointment of a Receiver, or a
         Receiver-Manager, in accordance with the provisions of the above noted security.




Per:     ______________________________________ c/s
         Anchor Drilling Fluids USA, LLC
         By its authorized signatory

         NAME:
         TITLE:




CAN_DMS: \133233080\4                               23
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                                          SCHEDULE “H”


       Guarantee dated November 21, 2017 granted by Anchor Drilling Fluids USA, LLC in favour of the
        Agent.

       Security Agreement dated November 21, 2017 between Anchor Drilling Fluids USA, LLC in
        favour of the Agent, as amended by an amending agreement dated July 31, 2018.

       Such further and other security documents, agreements, certificates and other documents as may
        have been entered into by Anchor Drilling Fluids USA, LLC from time to time pursuant to or in
        connection with the Guarantee and indebtedness owing to the Agent and the Lenders.




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                            NOTICE OF INTENTION TO ENFORCE SECURITY
                                        (Subsection 244(1))




To:      QMax Mexico, S.A. de C.V.


Take notice that:

1.       HSBC Bank Canada, as administrative agent (the Agent) to Bank of Montreal, Business
         Development Bank of Canada, Export Development Canada, HSBC Bank Canada and HSBC
         Bank USA (the Lenders) under the Second Amended and Restated Credit Agreement dated July
         31, 2018 between, inter alios, Q’Max Solutions Inc., Q’Max America Inc. and QMax Canada
         Operations Inc., as borrowers, the Agent, and the Lenders intends as a secured creditor to
         enforce its security on the property of the above insolvent person which encompasses all of their
         property and assets;

2.       The security that is to be enforced includes security granted by the insolvent person in favour of
         the Agent is set out in Schedule "I", attached hereto;

3.       The total amount of the indebtedness secured by the security, as at May 5, 2020, is USD
         $145,381,623.21 plus CDN $1,228,668.47 as well as outstanding letters of credit in the amounts
         of USD $3,916,296.42 and CDN $1,161,408.79 and outstanding credit card balances, plus
         accrued and accruing costs, disbursements and interest accruing from the date of this notice; and

4.       The Agent will not have the right to enforce the security until after the expiry of the 10 day period
         following the sending of this notice unless the insolvent person consents to an earlier
         enforcement.


Dated at Calgary, Alberta, this 12th day of May, 2020.


HSBC Bank Canada, as Administrative Agent
by its solicitors and agents, Norton Rose Fulbright Canada LLP




Per:     _______________________________
         Howard Gorman, Q.C.




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QMax Mexico, S.A. de C.V. hereby:


(a)      consents to the immediate enforcement by the Agent as a secured party of the security described
         in paragraph 2 above pursuant to Section 244(2) of the Bankruptcy and Insolvency Act (Canada);

(b)      consents to the secured party’s (the Agent’s) disposition of any or all collateral subject to the
         secured party’s (the Agent’s) security immediately or otherwise as the secured party may
         determine in its sole discretion, without notice as required by the Personal Property Security Act
         (Alberta); and

(c)      consents to the secured party's (the Agent’s) immediate appointment of a Receiver, or a
         Receiver-Manager, in accordance with the provisions of the above noted security.




Per:     ______________________________________ c/s
         QMax Mexico, S.A. de C.V.
         By its authorized signatory

         NAME:
         TITLE:




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                                           SCHEDULE “I”


       Guarantee dated May 23, 2014 granted by QMax Mexico, S.A. de C.V. in favour of the Agent.

       Contrato De Prenda Sin Transmision De Posesion dated July 31, 2014 between Q’Max Mexico,
        S.A. de C.V. and the Agent.

       Convenio Modificatorio Del Contrato De Prenda Sin Transmision De Posesion dated July 31,
        2014 between Q’Max Mexico, S.A. de C.V. and the Agent.

       Such further and other security documents, agreements, certificates and other documents as may
        have been entered into by QMax Mexico, S.A. de C.V. from time to time pursuant to or in
        connection with the Guarantee and indebtedness owing to the Agent and the Lenders.




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                            NOTICE OF INTENTION TO ENFORCE SECURITY
                                        (Subsection 244(1))




To:      Environmental Solutions for Petroleum Services – Free Zone – S.A.E.


Take notice that:

1.       HSBC Bank Canada, as administrative agent (the Agent) to Bank of Montreal, Business
         Development Bank of Canada, Export Development Canada, HSBC Bank Canada and HSBC
         Bank USA (the Lenders) under the Second Amended and Restated Credit Agreement dated July
         31, 2018 between, inter alios, Q’Max Solutions Inc., Q’Max America Inc. and QMax Canada
         Operations Inc., as borrowers, the Agent, and the Lenders intends as a secured creditor to
         enforce its security on the property of the above insolvent person which encompasses all of their
         property and assets;

2.       The security that is to be enforced includes security granted by the insolvent person in favour of
         the Agent is set out in Schedule "J", attached hereto;

3.       The total amount of the indebtedness secured by the security, as at May 5, 2020, is USD
         $145,381,623.21 plus CDN $1,228,668.47 as well as outstanding letters of credit in the amounts
         of USD $3,916,296.42 and CDN $1,161,408.79 and outstanding credit card balances, plus
         accrued and accruing costs, disbursements and interest accruing from the date of this notice; and

4.       The Agent will not have the right to enforce the security until after the expiry of the 10 day period
         following the sending of this notice unless the insolvent person consents to an earlier
         enforcement.


Dated at Calgary, Alberta, this 12th day of May, 2020.


HSBC Bank Canada, as Administrative Agent
by its solicitors and agents, Norton Rose Fulbright Canada LLP




Per:     _______________________________
         Howard Gorman, Q.C.




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Environmental Solutions for Petroleum Services – Free Zone – S.A.E. hereby:


(a)      consents to the immediate enforcement by the Agent as a secured party of the security described
         in paragraph 2 above pursuant to Section 244(2) of the Bankruptcy and Insolvency Act (Canada);

(b)      consents to the secured party’s (the Agent’s) disposition of any or all collateral subject to the
         secured party’s (the Agent’s) security immediately or otherwise as the secured party may
         determine in its sole discretion, without notice as required by the Personal Property Security Act
         (Alberta); and

(c)      consents to the secured party's (the Agent’s) immediate appointment of a Receiver, or a
         Receiver-Manager, in accordance with the provisions of the above noted security.




Per:     ______________________________________ c/s
         Environmental Solutions for Petroleum Services – Free Zone – S.A.E.
         By its authorized signatory

         NAME:
         TITLE:




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                                           SCHEDULE “J”


       Guarantee Agreement granted by Environmental Solutions for Petroleum Services – Free Zone –
        S.A.E.

       Share Pledge Agreement granted by Environmental Solutions for Petroleum Services – Free
        Zone – S.A.E. in favour of the Lenders in respect of the shares of SARL Environmental Solutions
        Algeria held by Environmental Solutions for Petroleum Services – Free Zone – S.A.E.

       Assignment Agreement between Environmental Solutions for Petroleum Services – Free Zone –
        S.A.E., as assignor, and the Agent, as assignee, assigning to the Agent all current and future
        insurance policies of Environmental Solutions for Petroleum Services – Free Zone – S.A.E.

       Such further and other security documents, agreements, certificates and other documents as may
        have been entered into by Environmental Solutions for Petroleum Services – Free Zone – S.A.E.
        from time to time pursuant to or in connection with the Guarantee and indebtedness owing to the
        Agent and the Lenders.




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                            NOTICE OF INTENTION TO ENFORCE SECURITY
                                        (Subsection 244(1))




To:      QMax Ecuador S.A.


Take notice that:

1.       HSBC Bank Canada, as administrative agent (the Agent) to Bank of Montreal, Business
         Development Bank of Canada, Export Development Canada, HSBC Bank Canada and HSBC
         Bank USA (the Lenders) under the Second Amended and Restated Credit Agreement dated July
         31, 2018 between, inter alios, Q’Max Solutions Inc., Q’Max America Inc. and QMax Canada
         Operations Inc., as borrowers, the Agent, and the Lenders intends as a secured creditor to
         enforce its security on the property of the above insolvent person which encompasses all of their
         property and assets;

2.       The security that is to be enforced includes security granted by the insolvent person in favour of
         the Agent is set out in Schedule "K", attached hereto;

3.       The total amount of the indebtedness secured by the security, as at May 5, 2020, is USD
         $145,381,623.21 plus CDN $1,228,668.47 as well as outstanding letters of credit in the amounts
         of USD $3,916,296.42 and CDN $1,161,408.79 and outstanding credit card balances, plus
         accrued and accruing costs, disbursements and interest accruing from the date of this notice; and

4.       The Agent will not have the right to enforce the security until after the expiry of the 10 day period
         following the sending of this notice unless the insolvent person consents to an earlier
         enforcement.


Dated at Calgary, Alberta, this 12th day of May, 2020.


HSBC Bank Canada, as Administrative Agent
by its solicitors and agents, Norton Rose Fulbright Canada LLP




Per:     _______________________________
         Howard Gorman, Q.C.




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QMax Ecuador S.A. hereby:


(a)      consents to the immediate enforcement by the Agent as a secured party of the security described
         in paragraph 2 above pursuant to Section 244(2) of the Bankruptcy and Insolvency Act (Canada);

(b)      consents to the secured party’s (the Agent’s and HSBC US’s) disposition of any or all collateral
         subject to the secured party’s (the Agent’s and HSBC US’s) security immediately or otherwise as
         the secured party may determine in its sole discretion, without notice as required by the Personal
         Property Security Act (Alberta); and

(c)      consents to the secured party's (the Agent’s) immediate appointment of a Receiver, or a
         Receiver-Manager, in accordance with the provisions of the above noted security.




Per:     ______________________________________ c/s
         QMax Ecuador S.A.
         By its authorized signatory

         NAME:
         TITLE:




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                                           SCHEDULE “K”


       Corporate Guarantee Agreement dated as of July 31, 2014 granted by QMax Ecuador S.A. in
        favour of the Agent.

       Encargo Fiduciario Que Otorga: QMax Ecuador S.A. A Favor De Fiducia S.A. Administradora De
        Fondos Y Fideicomisos Mercantiles Cuantia Indeterminada dated May 17, 2014 among QMax
        Ecuador S.A., the Agent and Administradora De Fondos Y Fideicomisos Mercantiles.

       Such further and other security documents, agreements, certificates and other documents as may
        have been entered into by QMax Ecuador S.A. from time to time pursuant to or in connection with
        the Guarantee and indebtedness owing to the Agent and the Lenders.




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                            NOTICE OF INTENTION TO ENFORCE SECURITY
                                        (Subsection 244(1))




To:      Central Procurement Inc.


Take notice that:

1.       HSBC Bank Canada, as administrative agent (the Agent) to Bank of Montreal, Business
         Development Bank of Canada, Export Development Canada, HSBC Bank Canada and HSBC
         Bank USA (the Lenders) under the Second Amended and Restated Credit Agreement dated July
         31, 2018 between, inter alios, Q’Max Solutions Inc., Q’Max America Inc. and QMax Canada
         Operations Inc., as borrowers, the Agent, and the Lenders intends as a secured creditor to
         enforce its security on the property of the above insolvent person which encompasses all of their
         property and assets;

2.       The security that is to be enforced includes security granted by the insolvent person in favour of
         the Agent is set out in Schedule "L", attached hereto;

3.       The total amount of the indebtedness secured by the security, as at May 5, 2020, is USD
         $145,381,623.21 plus CDN $1,228,668.47 as well as outstanding letters of credit in the amounts
         of USD $3,916,296.42 and CDN $1,161,408.79 and outstanding credit card balances, plus
         accrued and accruing costs, disbursements and interest accruing from the date of this notice; and

4.       The Agent will not have the right to enforce the security until after the expiry of the 10 day period
         following the sending of this notice unless the insolvent person consents to an earlier
         enforcement.


Dated at Calgary, Alberta, this 12th day of May, 2020.


HSBC Bank Canada, as Administrative Agent
by its solicitors and agents, Norton Rose Fulbright Canada LLP




Per:     _______________________________
         Howard Gorman, Q.C.




CAN_DMS: \133233080\4                                 34
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Central Procurement Inc. hereby:


(a)      consents to the immediate enforcement by the Agent as a secured party of the security described
         in paragraph 2 above pursuant to Section 244(2) of the Bankruptcy and Insolvency Act (Canada);

(b)      consents to the secured party’s (the Agent’s) disposition of any or all collateral subject to the
         secured party’s (the Agent’s) security immediately or otherwise as the secured party may
         determine in its sole discretion, without notice as required by the Personal Property Security Act
         (Alberta); and

(c)      consents to the secured party's (the Agent’s) immediate appointment of a Receiver, or a
         Receiver-Manager, in accordance with the provisions of the above noted security.




Per:     ______________________________________ c/s
         Central Procurement Inc.
         By its authorized signatory

         NAME:
         TITLE:




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                                           SCHEDULE “L”


       Guarantee dated May 23, 2014 granted by Central Procurement Inc. in favour of the Agent.

       Account Security Deed dated 2014 (day and month not specified) between Central Procurement
        Inc. in favour of the Agent.

       Debenture dated 2014 (day and month not specified) granted by Central Procurement Inc. in
        favour of the Agent.

       Management and Guarantee Commercial Trust Agreement made on July 31, 2014 between
        Central Procurement Inc. through its branch office QMax Solutions Colombia, Helm Fiduciaria
        S.A., HSBC Bank Canada, HSBC Bank USA, Bank of Montreal, Export Development Canada
        and The Bank of Nova Scotia.

       Promissory Note No. 01B dated August 22, 2018 issued by Central Procurement Inc. in favour of
        Business Development Bank of Canada.

       Promissory Note No. 02B dated August 22, 2018 issued by Central Procurement Inc. in favour of
        HSBC Bank USA, N.A.

       Promissory Note No. 03B dated August 22, 2018 issued by Central Procurement Inc. in favour of
        HSBC Bank Canada.

       Promissory Note No. 04B dated August 22, 2018 issued by Central Procurement Inc. in favour of
        Bank of Montreal.

       Promissory Note No. 05B dated August 22, 2018 issued by Central Procurement Inc. in favour of
        Export Development Canada.

       Such security documents, agreements, certificates and other documents as may have been
        entered into by Central Procurement Inc. from time to time pursuant to or in connection with
        indebtedness owing to the Agent and the Lenders.




CAN_DMS: \133233080\4                            36
